Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 1 of 156




                       EXHIBIT 6A
      Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 2 of 156




                        ASSIGNEE RECORDATION COVER SHEET


       The following four documents attached hereto present evidence of legal transfer of title to

the patent properties listed in "Exhibit A of Amended Schedule Bl" from


                                        Alcatel Lucent
                                          ("Assignor")


                                               to


                                   WSOU Investments, LLC
                                         ("Assignee"):


1.     "PATENT      ASSIGNMENT"         as   set    forth   in   "AMENDED     SCHEDULE        Bl:
       ASSIGNMENT OF PATENT RIGHTS BY ALCATEL LUCENT" (3 pp) of that certain
       "Patent Purchase Agreement" effective July 22, 2017 between (a) Alcatel Lucent, (b)
       Nokia Solutions and Networks BV, and (c) Nokia Technologies Oy ("SELLERS"), and (d)
       Wade and Company ("PURCHASER"), as amended by "Amendment to Patent Purchase
       Agreement" between SELLERS and PURCHASER effective August 2, 2017.

2.     "ASSIGNMENT OF PATENT PURCHASE AGREEMENT" between (d) Wade and
       Company ("ASSIGNEE") and WSOU Investments, LLC ("ASSIGNOR") effective
       August 21, 2017 (1 page).


3.     "RELEASE AND RELINQUISHMENT OF INTEREST IN WSOU INVESTMENTS,
       LLC" by WCFT Cayman, Ltd. effective August 21, 2017 (1 page).


4.     "Exhibit A of AMENDED SCHEDULE Bl - Assigned Patents (ALU Only Assets) of
       PPA" (149 pp).




                                              1 of 1


                                                                          PATENT
                                                                  REEL: 044000 FRAME: 0136
      Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 3 of 156




                 d,MEN!llH! §~HEOlll.E ijl.: A$SJ§r:f).1ENT OF PATEN! Rl!i~ffS
                                          8V ,;!LCATEL U.l{~El\ff



                                          PA.TENT ASSlGNMEN'f



This PATENT ASSIGNMENT, irn::ludfog without limitation Exhibit A of Aroend~l :Sehedtde B ! hereto,
(<•Assignment") ls made hy:

( t) A!i,.'tlt~I Lut.-ent, a oornparw validly organizoo and exi.sHng under loo fa.w$ of France and having its
     principal ai;.ldress at l48/l52 Route de la Reine, 92.H)O Bou!ogneyBHlatH.:oUf½ Frante, eAssignor");
     to

(2) Wade and Cq:mpiuiy, a compat)y validly organizoo an.a existing under the laws of Ontint), Canada,
    having fti; prlndpal address at l7 ?rirme Arthur, Toronfo, ON M5R HJ4 CANADA. (the ''Assign~''),

AH reforonces to the plural herein also rnean     too singular, and vk-e vers&, unless the context other'-"'i:re
requires,

WHl:REAS, Asslt1nor is the owner t)f (:erta!n patems mm ~ttnt app!fo~ii<J11s, as ~perifierl in Exhibit A
hereto.

DEFlNl'nONS

"Assigned Patints" means {a) patellt applkations Hswd h t<:xhibit A of Amended Schedule H! hereto;
(b) all reissues, t-e~x.arninations, oorrtinuation5, etmtint~tionsyin-part. divisfona!s 1 renewals and extensions
of SUt.;h parents ~nd patent applications (whether pending, i$Sue{l, aband1,)ne<l -Or filed prior t<.1, on or after
the EH'et-iive Date); (c) all pat~nts and patent appllcatkms (l) to which any or all of tl'!<? foregt)ing dfrec-tly
or indirectly claims priority t◊, nr the benefit of. the filing: dab\ or (ii) for which any or all of the
foregoing directly or indirectly forms a hasls for priority or ntherwise pmvioe!ii the benefit of an earlier
fillng dat(t~ an<l {d) ~ll fi.1reign t."Ounterparts to any or all of the fore.going, and an i1tifa:y mooels,..
certHkat~.s of lnvtntio!\, Jmtem regfatrattons and equivalent rights ivoddwide,



PATENT ASSIGNMENT

Asslgnor hereby assigns, transfers, and conv.eys unto As.i;ignee, aU of Assignor's right, title, and interest
in and to each of the Assigned Parents.



The assignment, transfer. and ',.'Ol'lVl;l)'ance to .Assignee set forth above wll! beeome et1l-ctive 011 the
Ass1gnn'U;mt Daw and is mad~ suhJect !-0 certain eru::umbrance!l and retained rights ftir the Assigned
Pa.tent,;;. ln favor of Assignor and<'or its assignees and lk--ensees,




                                                                                       PATENT
                                                                               REEL: 044000 FRAME: 0137
       Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 4 of 156




IN \VITNESS \\'HERt:Oft'.   liw Assignor has ~at!S(:d this A~signment 10 he signed by its duly aulhorize<l
officers,



                                                   ASSlGNOR:

ALCATRL .LlJCENT




                                                                                  PATENT
                                                                          REEL: 044000 FRAME: 0138
   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 5 of 156




   Exhibit A of
AMENDED SCHEDULE




                                                        PATENT
                                                REEL: 044000 FRAME: 0139
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 6 of 156




                      ASSIGNMENT OF PATENT PURCHASE AGREEMENT

WHEREAS, Wade and Company, on the one hand, and Alcatel Lucent, Nokia Solutions and Networks BV
and Nokia Technologies Oy ("Nokia Parties"), on the other hand, entered into a Patent Purchase
Agreement with an effective date as of July 22, 2017 ("Patent Purchase Agreement");

WHEREAS, Wade and Company and the Nokia Parties entered into an Amendment to the Patent
Purchase .t\greement with an effectlve date as of August 21, 2017 (" Arnendment to Patent Purchase
Agreement'');

WHEREAS, the Amendment to the Patent Purchase Agreement permits Wade and Company to assign the
whole of its interest in the Patent Purchase Agreement to WSOU Investments LLC, a company organized
under the laws of Delaware;

NOW, THEREFORE, Wade and Company wishes to assign the whole of its interest 1n the Patent Purchase
Agreement to WSOU Investments LLC

         Wade and Company herebv assigns to WSOV Investments LLC and WSOU Investments LLC
         hereby accepts the whole of the interest of Wade and Company in the Patent Purchase
         .Agreement.

IN WITNESS WHEREOF, Wade and Company and WSOU Investments lLC, on behalf of themselves and
their Affiliates, hi:lve cai,ised this Agreement to be executed by their dulv authorized representatives to
become effective as of August 21., 2017,



                                                                    WSOU INVESTMENTS LLC




Title: Genera! Counsel, Managing Partner                            Title: Member



Date: August 21, 2017                                               Date: August 21, 2017




                                                                                 PATENT
                                                                         REEL: 044000 FRAME: 0140
       Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 7 of 156



                  RELEASE AND REUNQWSHMENT OF INTEREST IN WSOU INVESTMENTS, LLC


WHEREAS, WCFT Cayrm'jn, a Cayman Islands company C'WCFT Cayman*'}, on the one hand and
Orange Holdings, a Nevada corporation, on the other hand, had preliminary discussions
concerning formlng and operating WSOU lnvestments) LLC, a to be formed Delaware Urnited
liability company;

WHEREAS; \VSOU Investments, LLC was subsequently formed to rH1rchase 1nteHectuat property
from Alcatel Lucent) Nokia Solutions and Networks BV, No!~ia Technologies Oy; a.rid

WHEREAS, WCFT Cayman and Orange Holding never agreed to form WSOU Investments,, LLC;

NOW, THEREFORE, to avoid any controversy or dispute concerning the fact. that WCFT Cayman
does not own and has never owned an Interest tn WSOU Investments, LLC:

       WCFT Cayman hereby ;,mequhrocatly avers that it owns no interest in WSOU
       Investments, LLC and to the extent it ever had any owr'lf.ffship stake, it hereby
       releases, relinquishes and disavows any ownership interest ln WSOU Investments LLC it
       may have had.

!N WITNESS WHEREOF~ WCFT Cayman itself and its Affiliates have caused this Release and
Relinquishment of Interest to be executed by its duly- authorized representative made
effective as of August 21 1 2017.


WCfT Cayman Ltd.




Title: Director

Date: August 21 1 2017




                                                                        PATENT
                                                               REEL: 044000 FRAME: 0141
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 8 of 156
                          Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                                           Method And Apparatus OfVirtualized Resource
809616    809616-US-NP           US8792941      13/613159    20140073335        us   29-Jul-14      26-Sep-32      13-Sep-12               Sharing In Cellular Networks
                                                                                                                                           SIGNAL TRANSMISSION PERFORMANCE
                                                                                                                                           OPTIMIZATION DEVICE IN A SYSTEM FOR
019224    019224-US-CIP          US6148423      08/483886                  us          14-Nov-00      14-Nov-17            7-Jun-95
                                                                                                                                           TRANSMITTING DIGITAL DATA, ESPECIALLY ON AN
                                                                                                                                           OPTICAL LINK
100001    100001-DE-EPA          EP0817397      97401515.8   EP0817397     DE          31-Dec-08       30-Jun-17       30-Jun-97 HANDOVER
100001    100001-GB-EPA          EP0817397      97401515.8   EP0817397     GB          31-Dec-08       30-Jun-17       30-Jun-97 HANDOVER
100001    100001-US-NP           US5995807      08/887287                  us         30-Nov-99         2-Jul-17           2-Jul-97 HANDOVER

                                                                                                                                           ANTENNA DIVERSITY BASE STATION FOR
                                                                                                                                           TRANSMISSION OF UNIDIRECTIONAL CHANNELS AND
100082    100082-US-NP           US6522896      09/102002    20020022502   us          18-Feb-03       22-Jun-18       22-Jun-98
                                                                                                                                           CORRESPONDING METHOD OF TRANSMISSION OF A
                                                                                                                                           UNIDIRECTIONAL CHANNEL BY A BASE STATION

                                                                                                                                 OPTICAL ADD/DROP WAVELENGTH DIVISION
100295    100295-US-PCT          US6173093      09/051816                  us           9-Jan-01      18-Aug-17        3
                                                                                                                      l -Aug-
                                                                                                                              97
                                                                                                                                 MULTIPLEX SYSTEMS
                                                                                                                                           APPARATUS FOR ADDING AND DROPPING
100408    100408-US-NP           US6038045      08/956445                  us         14-Mar-00       23-Oct-17       23-Oct-97
                                                                                                                                           WAVELENGTH MULTIPLEX CHANNELS
100430    100430-US-NP           US6026204      08/960201                  us          15-Feb-00      29-Oct-17       29-Oct-97 SPECTRAL PRECOMPensation
100589    100589-US-NP           US5994795      09/062554                  us         30-Nov-99       20-A r-18       20-Anr-98 POWER DISTRIBUTION
                                                                                                                       lO-Feb-             METHODE POUR GERER LA CONCURRENCE DANS DES
100639    100639-US-NP           US6052527      09/021420                  us          18-Apr-00      10-Feb-18                       98
                                                                                                                                           OBJETS
100643    100643-US-NP           US6266406      09/057802                  us           24-Jul-0l       9-A r-18          9-Aor-98 IMPLEMENTATION OF A TCAP INTERFACE
100645    100645-US-NP           US6317428      09/059837                  us          13-Nov-0l      14-Aor-18        14-Aor-98 DESIGN AND IMPLEMENTATION OF IN SERVICE
                                                                                                                                           DEVICE FOR COMPENSATING THE DISPERSION OF
100683    100683-US-PCT          US6339489      09/125316                  us          15-Jan-02      30-Dec-17       30-Dec-97 POLARIZATION IN AN OPTICAL TRANSMISSION
                                                                                                                                           SYSTEM
                                                                                                                              _Feb-        MINIATURE ANNULAR MICROSTRIP RESONANT
100716    100716-US-NP           US6034645      09/028811                  us           7-Mar-00      24-Feb-18       24              98
                                                                                                                                           ANTENNA

                                                                                                                                           METHOD AND DEVICE FOR ON-LINE REGENERATION
                                                                                                                                           OF A SIGNAL TRANSMITTED BY WAVELENGTH
100784    100784-US-PCT          US6373608      09/155901                  us          16-Apr-02      10-Feb-18        10-Feb-98 DIVISION MULTIPLEXED SOLITONSAND OPTICAL
                                                                                                                                           TELECOMMUNICATION SYSTEM COMPRISING SUCH A
                                                                                                                                           REGENERATING DEVICE


                                                                                                                                           DEVICE FOR CONTROLLING THE AMPLITUDE AND THE
100792    100792-US-NP           US6172562      09/225508                  us           9-Jan-01        6-Jan-19           6-Jan-99
                                                                                                                                           PHASE OF A RADIO FREQUENCY SIGNAL

100849    100849-US-NP           US6061027      09/143657                  us          9-Mav-00       31-Aue:-18      31-Aue:-98 RADIATING STRUCTURE
                                                                                                                                           METHOD FOR TRANSMITTING ON A PLURALITY OF
                                                                                                                           -Mar-           TRANSMISSION MEDIA, WITH DYNAMIC DATA
100902    100902-US-PCT          US6526064      09/180774                  us          25-Feb-03      27-Mar-18       27              98
                                                                                                                                           DISPATCHING, AND CORRESPONDING TRANSMITTER
                                                                                                                                           AND TERMINAL
100946    100946-CN-NP           ZL98126980.X   98126980.X   1230037A      CN         26-May-04       11-Dec-18       11-Dec-98 MULTIFREQUENCY PATCH ANTENNA
100946    100946-DE-EPA          EP0924797      98403063.5   EP0924797     DE          25-Feb-04       7-Dec-18           7-Dec-98 MULTIFREQUENCY PATCH ANTENNA
100946    100946-FR-EPA          EP0924797      98403063.5   EP0924797     FR          25-Feb-04       7-Dec-18           7-Dec-98 MULTIFREQUENCY PATCH ANTENNA
100946    100946-GB-EPA          EP0924797      98403063.5   EP0924797     GB          25-Feb-04       7-Dec-18           7-Dec-98 MULTIFREQUENCY PATCH ANTENNA
                                                                                                                      ll-Dec-              MULTIFREQUENCY MICROSTRIP ANTENNA ANDA
100946    100946-US-NP           US6133879      09/209447                  us          17-Oct-00      11-Dec-18                       98
                                                                                                                                           DEVICE INCLUDING SAID ANTENNA
                                                                                                                                Shorted microstripantennaand apparatus using the
100949    100949-CN-NP           ZL98117083.8   98117083.8   1226093A      CN           5-Nov-03      11-Dec-18       11-Dec-98 same

                                                                                                                                Shorted microstripantennaand apparatus using the
100949    100949-DE-EPA          EP0923156      98402988.4   EP0923156     DE          28-Jan-04      30-Nov-18       30-Nov-98 same

                                                                                                                                Shorted microstripantennaand apparatus using the
100949    100949-FR-EPA          EP0923156      98402988.4   EP0923156     FR          28-Jan-04      30-Nov-18       30-Nov-98 same

                                                                                                                                Shorted microstripantennaand apparatus using the
100949    100949-GB-EPA          EP0923156      98402988.4   EP0923156     GB          28-Jan-04      30-Nov-18       30-Nov-98 same

                                                                                                                                Shorted microstripantennaand apparatus using the
100949    100949-US-NP           US6133880      09/209449                  us          17-Oct-00      11-Dec-18       11-Dec-98 same

                                                                                                                                           ANTENNA SOURCE FOR TRANSMITTING AND
100957    100957-US-NP           US6166699      09/081515                  us          26-Dec-00      20-May-18       2
                                                                                                                          0-May-
                                                                                                                                      98
                                                                                                                                           RECEIVING MICROWAVES
                                                                                                                                           SYSTEME DE RADIOTELECOMMUNICATIONSAVEC UN
101107    101107-FR-NP           FR2766318      9709068      2766318       FR         30-Nov-0l        17-Jul-17          17-Jul-97 TERMINAL MOBILE FONCTIONNANT EN MODE
                                                                                                                                           CELLULAIRE ET EN MODE SANS FIL

                                                                                                                                           RADIOTELECOMMUNICATIONS SYSTEM HAVING A
                                                                                                                          l3-Jul-          MOBILE TERMINAL THAT OPERATES BOTH IN
101107    101107-US-NP           US6141547      09/114499                  us          31-Oct-00       13-Jul-18                      98
                                                                                                                                           CELLULAR MODE AND IN CORDLESS MODE



                                                                                                                                           METHOD OF CONTROLLING A LIQUID CRYSTAL
101120    101120-US-NP           US6424350      09/273557                  us           23-Jul-02     22-Mar-19       22-Mar-99
                                                                                                                                           DISPLAY

101221    101221-DE-EPA          EP0929119      99400002.4   EP0929119     DE          13-Dec-06        4-Jan-19           4-Jan-99 ISOTROPIC BCCH BROADCAST BY BEAMFORMING BTS


101221    101221-FR-NP           FR2773661      9800191      2773661       FR          25-Feb-00       12-Jan-18          12-Jan-98 ISOTROPIC BCCH BROADCAST BY BEAMFORMING BTS


101221    101221-GB-EPA          EP0929119      99400002.4   EP0929119     GB          13-Dec-06        4-Jan-19           4-Jan-99 ISOTROPIC BCCH BROADCAST BY BEAMFORMING BTS

                                                                                                                                           METHOD OF TRANSMITTING A CONTROL SIGNAL BY
                                                                                                                                           A BASE STATION OF A DIGITAL CELLULAR MOBILE
101221    101221-US-NP           US6181955      09/227884                  us          30-Jan-0l       11-Jan-19          11-Jan-99
                                                                                                                                           RADIO SYSTEM AND A CORRESPONDING BASE
                                                                                                                                           STATION
                                                                                                                              -Feb-        OPTIMIZED POWER SUPPLY SYSTEM FORAN
101242    101242-US-NP           US6366072      09/244827    20020007262   us           2-Apr-02        4-Feb-19          4           99
                                                                                                                                           ELCTRONIC CIRCUIT

                                                                                                                                           Antenna realised according to microstrip technique
101279    101279-CN-NP           ZL98117088.9   98117088.9   1224254A      CN           6-Aug-03      11-Dec-18       11-Dec-98
                                                                                                                                           and device incorporating this antenna


                                                                                                                                           Antenna realised according to microstrip technique
101279    101279-DE-EPA          EP0923157      98403061.9   EP0923157     DE          15-Sep-04       7-Dec-18           7-Dec-98
                                                                                                                                           and device incorporating this antenna


                                                                                                                                           Antenna realised according to microstrip technique
101279    101279-FR-EPA          EP0923157      98403061.9   EP0923157     FR          15-Sep-04       7-Dec-18           7-Dec-98
                                                                                                                                           and device incorporating this antenna


                                                                                                                                           Antenna realised according to microstrip technique
101279    101279-GB-EPA          EP0923157      98403061.9   EP0923157     GB          15-Sep-04       7-Dec-18           7-Dec-98
                                                                                                                                           and device incorporating this antenna


                                                                                                                                           Antenna realised according to microstrip technique
101279    101279-US-NP           US6121930      09/209470                  us          19-Sep-00      11-Dec-18       11-Dec-98
                                                                                                                                           and device incorporating this antenna

101297    101297-US-NP           US7024619      09/373240                  us           4-Aor-06      12-Aue:-19      12-Aue:-99 EVENT CONDITION ACTION ...




                                                                   Page 1 of 149
                                                                                                             PATENT
                                                                                                     REEL: 044000 FRAME: 0142
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 9 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn   ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr      'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                   ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm     ROUTING CALLS WITH OVERFLOWS IN A PRIVATE
101353     101353-US-NP           US6813246                    09/362117                                                   us                        2-Nov-04                 28-Jul-19              28-Jul-99
                                                                                                                                                                                                                  NETWORK
                                                                                                                                                                                                                  ROUTING IN A PRIVATE NETWORK USING
101356     101356-DE-EPA          EP0979014                    99401902.4                     EP0979014                    DE                        9-May-07                 26-Jul-19              26-Jul-99
                                                                                                                                                                                                                 COMPRESSION
                                                                                                                                                                                                                  ROUTING IN A PRIVATE NETWORK USING
101356     101356-FR-EPA          EP0979014                    99401902.4                     EP0979014                    FR                        9-May-07                 26-Jul-19              26-Jul-99
                                                                                                                                                                                                                 COMPRESSION
                                                                                                                                                                                                                  ROUTING IN A PRIVATE NETWORK USING
101356     101356-GB-EPA          EP0979014                    99401902.4                     EP0979014                   GB                         9-May-07                 26-Jul-19              26-Jul-99
                                                                                                                                                                                                                 COMPRESSION
                                                                                                                                                                                                                  ROUTING IN A PRIVATE NETWORK WITH
101356     101356-US-NP           US6909694                    09/364308                                                   us                        21-Jun-05                30-Jul-19              30-Jul-99
                                                                                                                                                                                                                 COMPRESSION
                                                                                                                                                                                                                  Leitweglenkung vonvon einem privaten Netz
101357     101357-DE-EPA          EP0979015                    99401987.5                     EP0979015                    DE                        9-Nov-05                 5-Aug-19               5-Aug-99
                                                                                                                                                                                                                 ausgehendenAnrufen
101357     101357-GB-EPA          EP0979015                    99401987.5                     EP0979015                   GB                         9-Nov-05                 5-Au11:-19             5-Au11:-99 ACCESSING TO AN EXTERNAL NETWORK
101357     101357-IT-EPA          EP0979015                    99401987.5                     EP0979015                    IT                        9-Nov-05                 5-Au11:-19             5-Au11:-99 ACCESSING TO AN EXTERNAL NETWORK
                                                                                                                                                                                                                  ROUTING CALLS TO EXTERNAL NETWORKS FROM A
101357     101357-US-NP           US6667958                    09/362118                     20030206526                   us                       23-Dec-03                 28-Jul-19              28-Jul-99
                                                                                                                                                                                                                  PRIVATE NETWORK
101358     101358-US-NP           US6456710                    09/307031                                                   us                       24-Seo-02                 7-Mav-19              7-Mav-99 METHOD OF ACTIVATING A STATION
101359     101359-US-NP           US7639711                    09/323135                                                   us                       29-Dec-09                  1-Jun-19              1-Jun-99 PABX NETWORKING
                                                                                                                                                                                                                  PROCEDE DE TRANSMISSION DE DONNEES DE
101360     101360-US-NP           US7031298                    09/736158                     20020031112                   us                       18-Apr-06                 30-Jan-23             15-Dec-00
                                                                                                                                                                                                                 SIGNALISATION
                                                                                                                                                                                                                  POSITIONING BY COMPUTING PSEUDO-SPEEDS IN A
101454     101454-US-NP           US6181275                    09/320656                                                   us                        30-Jan-0l              27-May-19              27-May-99
                                                                                                                                                                                                                 SATELLITE NAVIGATION SYSTEM
101454     101454-EP-EPA                                       99401211.0                     EP0961132                    EP                                               20-Mav-19              20-Mav-99 LEO SATELLITE NAVIGATION SYSTEM
101729     101729-DE-EPA          EP0987911                    99402270.5                     EP0987911                    DE                        9-Aui;,:-06             16-Se -19              16-Seo-99 SUPPORT OF SOLSA
101729     101729-FR-EPA          EP0987911                    99402270.5                     EP0987911                    FR                        9-Aug-06                16-Seo-19              16-Seo-99 SUPPORT OF SOLSA
101729     101729-GB-EPA          EP0987911                    99402270.5                     EP0987911                   GB                         9-Aug-06                16-Seo-19              16-Seo-99 SUPPORT OF SOLSA
101729     101729-IT-EPA          EP0987911                    99402270.5                     EP0987911                    IT                        9-Aug-06                16-Sep-19              16-Sep-99 SUPPORT OF SOLSA
                                                                                                                                                                                                                  METHOD OF PROTECTING ATM CONNECTIONS IN A
101769     101769-US-NP           US6542461                    09/313358                                                   us                         1-Apr-03              18-May-19              18-May-99
                                                                                                                                                                                                                 TELECOMMUNICATIONS NETWORK
                                                                                                                                                                                                                  Encapsulation of the network topology in a IN-TINA
101881     101881-DE-EPA          EP1009171                    99403034.4                     EP1009171                    DE                       27-Oct-04                  6-Dec-19              6-Dec-99
                                                                                                                                                                                                                 I11:atewav
                                                                                                                                                                                                                  Encapsulation of the network topology in a IN-TINA
101881     101881-FR-EPA          EP1009171                    99403034.4                     EP1009171                    FR                       27-Oct-04                  6-Dec-19              6-Dec-99
                                                                                                                                                                                                                 lgatewav
                                                                                                                                                                                                                  Encapsulation of the network topology in a IN-TINA
101881     101881-GB-EPA          EP1009171                    99403034.4                     EP1009171                   GB                        27-Oct-04                  6-Dec-19              6-Dec-99
                                                                                                                                                                                                                 I gateway
                                                                                                                                                                                                                  Encapsulation of the network topology in a IN-TINA
101881     101881-IT-EPA          EP1009171                    99403034.4                     EP1009171                    IT                       27-Oct-04                  6-Dec-19              6-Dec-99
                                                                                                                                                                                                                 I11:atewav
                                                                                                                                                                                                                 GATEWAY MAKING IT POSSIBLE TO DEVELOP NEW
101881     101881-US-NP           US6683868                    09/418313                                                   us                        27-Jan-04               14-Oct-19              14-Oct-99 SERVICES INDEPENDENTLY FROM THE UNDERLYING
                                                                                                                                                                                                                  NETWORK

                                                                                                                                                                                                                 Vetfahren und Vorrichtung zur Steuerung einer
                                                                                                                                                                                                                  Frequenz durch ein asynchrones
101970     101970-DE-EPA          EP1006686                    99402641.7                     EP1006686                    DE                       24-Aug-05                25-Oct-19              25-Oct-99
                                                                                                                                                                                                                  Ubertragungsnetzwerkund Funktelefonienetzwerk,
                                                                                                                                                                                                                 das dieVorrichtungverwendet

101970     101970-FR-EPA          EP1006686                    99402641.7                     EP1006686                    FR                       24-AUP--05               25-Oct-19              25-Oct-99 TRANSPORTATION OF A FREQUENCY
101970     101970-GB-EPA          EP1006686                    99402641.7                     EP1006686                   GB                        24-Au11:-05              25-Oct-19              25-Oct-99 TRANSPORTATION OF A FREQUENCY
101970     101970-US-NP           US6819685                    09/443463                                                   us                       16-Nov-04                19-Nov-19              19-Nov-99 TRANSPORTATION OF A FREQUENCY
                                                                                                                                                                                                                 SYSTEM FOR REGULATING THE BIT RATE OR QUALITY
102194     102194-US-NP           US6795218                    09/527594                                                   us                       21-Sep-04               17-Mar-20               17-Mar-00 OF A DIGITAL DATA COMPRESSOR, IN PARTICULAR
                                                                                                                                                                                                                 AN IMAGE COMPRESSOR
102204     102204-US-PCT          US7477891                    09/959749                                                   us                        13-Jan-09              23-Mar-20              23-Mar-00 PROCEDE DE PROTECTION RADIOELECTRIQUE

                                                                                                                                                                                                                  PROCEDE DE PROTECTION RADIOELECTRIQUE D'UNE
102204     102204-EP-EPA                                       00400783.7                     EP1039771                    EP                                               22-Mar-20              22-Mar-00
                                                                                                                                                                                                                 ZONE CONTRE L'USAGE DE TELEPHONES MOBILES

                                                                                                                                                                                                                  MODULATION DE PHASE ALTERNEE POUR DES
102307     102307-DE-EPT          EP1224756                    00993672.5                     EP1224756                    DE                        9-Apr-08                26-Dec-20              26-Dec-00
                                                                                                                                                                                                                 TRANSMISSIONS RZ OPTIQUES NON-SOLITONS
                                                                                                                                                                                                                  MODULATION DE PHASE ALTERNEE POUR DES
102307     102307-ES-EPT          EP1224756                    00993672.5                     EP1224756                    ES                        9-Apr-08                26-Dec-20              26-Dec-00
                                                                                                                                                                                                                 TRANSMISSIONS RZ OPTIQUES NON-SOLITONS
                                                                                                                                                                                                                  MODULATION DE PHASE ALTERNEE POUR DES
102307     102307-FR-EPT          EP1224756                    00993672.5                     EP1224756                    FR                        9-Apr-08                26-Dec-20              26-Dec-00
                                                                                                                                                                                                                 TRANSMISSIONS RZ OPTIQUES NON-SOLITONS
                                                                                                                                                                                                                  MODULATION DE PHASE ALTERNEE POUR DES
102307     102307-GB-EPT          EP1224756                    00993672.5                     EP1224756                   GB                         9-Apr-08                26-Dec-20              26-Dec-00
                                                                                                                                                                                                                 TRANSMISSIONS RZ OPTIQUES NON-SOLITONS
                                                                                                                                                                                                                  MODULATION DE PHASE ALTERNEE POUR DES
102307     102307-IT-EPT          EP1224756                    00993672.5                     EP1224756                    IT                        9-Apr-08                26-Dec-20              26-Dec-00
                                                                                                                                                                                                                 TRANSMISSIONS RZ OPTIQUES NON-SOLITONS
                                                                                                                                                                                                                  DIFFERENTIAL OUTPUT STAGE FOR ELECTRONIC
102356     102356-US-NP           US6728373                    09/637501                                                   us                       27-Apr-04                 10-Jan-22             11-Aug-00 EQUIPMENT PROVIDING A REMOTE POWER FEED TO
                                                                                                                                                                                                                 A TERMINAL
102428     102428-DE-EPA          EP1085725                    00402148.1                     EP1085725                    DE                        2-Nov-11                 27-Jul-20              27-Jul-00 INTELLIGENT PROXI DISPATCH MECHANISM.
102428     102428-FR-EPA          EP1085725                    00402148.1                     EP1085725                    FR                        2-Nov-11                 27-Jul-20              27-Jul-00 INTELLIGENT PROXI DISPATCH MECHANISM.
102428     102428-GB-EPA          EP1085725                    00402148.1                     EP1085725                   GB                         2-Nov-11                 27-Jul-20              27-Jul-00 INTELLIGENT PROXI DISPATCH MECHANISM.
102428     102428-IT-EPA          EP1085725                    00402148.1                     EP1085725                    IT                        2-Nov-11                 27-Jul-20              27-Jul-00 INTELLIGENT PROXI DISPATCH MECHANISM.
                                                                                                                                                                                                                  REGENERATEUR OPTIQUE SYNCH RONE PAR
102455     102455-US-NP           US7050722                    09/810251                                                   us                       23-May-06               24-Nov-23               19-Mar-0l MODULATION D'INTENSITE ET MODULATION DE
                                                                                                                                                                                                                  PHASE PAR EFFET KERR CROISE.

                                                                                                                                                                                                                  BASCULEMENT ATOMIQUE DE L'OBJET DESTINATAIRE
102469     102469-DE-EPT          EP1114544                    00953229                       EP1114544                    DE                        14-Jun-06                 13-Jul-20             13-Jul-00
                                                                                                                                                                                                                  ENTRE DEUX INVOCATIONS TRANSACTIONNELLES


                                                                                                                                                                                                                  BASCULEMENT ATOMIQUE DE L'OBJET DESTINATAIRE
102469     102469-ES-EPT          EP1114544                    00953229                       EP1114544                    ES                        14-Jun-06                 13-Jul-20             13-Jul-00
                                                                                                                                                                                                                  ENTRE DEUX INVOCATIONS TRANSACTIONNELLES


                                                                                                                                                                                                                  BASCULEMENT ATOMIQUE DE L'OBJET DESTINATAIRE
102469     102469-FR-EPT          EP1114544                    00953229                       EP1114544                    FR                        14-Jun-06                 13-Jul-20             13-Jul-00
                                                                                                                                                                                                                  ENTRE DEUX INVOCATIONS TRANSACTIONNELLES


                                                                                                                                                                                                                  BASCULEMENT ATOMIQUE DE L'OBJET DESTINATAIRE
102469     102469-GB-EPT          EP1114544                    00953229                       EP1114544                   GB                         14-Jun-06                 13-Jul-20             13-Jul-00
                                                                                                                                                                                                                  ENTRE DEUX INVOCATIONS TRANSACTIONNELLES


                                                                                                                                                                                                                  BASCULEMENT ATOMIQUE DE L'OBJET DESTINATAIRE
102469     102469-IT-EPT          EP1114544                    00953229                       EP1114544                    IT                        14-Jun-06                 13-Jul-20             13-Jul-00
                                                                                                                                                                                                                  ENTRE DEUX INVOCATIONS TRANSACTIONNELLES

                                                                                                                                                                                                                 SCHEME FOR PACKET ALLOCATION IN A
102554     102554-BE-EPA          EP1067733                    99401686.3                     EP1067733                    BE                        9-Apr-03                   6-Jul-19              6-Jul-99
                                                                                                                                                                                                                  RADIOCOMMUNICATION SYSTEM
                                                                                                                                                                                                                 Concept des classes de puissance pour unschema
102554     102554-DE-EPA          EP1067733                    99401686.3                     EP1067733                    DE                        9-Apr-03                   6-Jul-19              6-Jul-99
                                                                                                                                                                                                                 d'allocation de cellules.
                                                                                                                                                                                                                 SCHEME FOR PACKET ALLOCATION IN A
102554     102554-FR-EPA          EP1067733                    99401686.3                     EP1067733                    FR                        9-Apr-03                   6-Jul-19              6-Jul-99
                                                                                                                                                                                                                  RADIOCOMMUNICATION SYSTEM
                                                                                                                                                                                                                 Concept des classes de puissance pour unschema
102554     102554-GB-EPA          EP1067733                    99401686.3                     EP1067733                   GB                         9-Apr-03                   6-Jul-19              6-Jul-99
                                                                                                                                                                                                                 d'allocation de cellules.
                                                                                                                                                                                                                 Concept des classes de puissance pour unschema
102554     102554-IT-EPA          EP1067733                    99401686.3                     EP1067733                    IT                        9-Apr-03                   6-Jul-19              6-Jul-99
                                                                                                                                                                                                                 d'allocation de cellules.




                                                                                                        Page 2 of 149
                                                                                                                                                                                   PATENT
                                                                                                                                                                           REEL: 044000 FRAME: 0143
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 10 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    SCHEME FOR PACKET ALLOCATION IN A
102554     102554-US-CNT          US7457268                    10/985060                     20050135414                   us                       25-Nov-08              12-Apr-21              10-Nov-04
                                                                                                                                                                                                               RADIOCOMMUNICATION SYSTEM
                                                                                                                                                                                                               DISPOSITIF DE COMPENSATION DE LA DISPERSION DE
102628     102628-DE-EPA          EP1113598                    00403065.6                     EP1113598                    DE                       19-Feb-03               6-Nov-20               6-Nov-00 POLARISATION DANS UN SYSTEME DE TRANSMISSION
                                                                                                                                                                                                               OPTIQUE
                                                                                                                                                                                                            DISPOSITIF DE COMPENSATION DE LA DISPERSION DE
102628     102628-FR-EPA          EP1113598                    00403065.6                     EP1113598                    FR                       19-Feb-03               6-Nov-20               6-Nov-00 POLARISATION DANS UN SYSTEME DE TRANSMISSION
                                                                                                                                                                                                               OPTIQUE
                                                                                                                                                                                                               DISPOSITIF DE COMPENSATION DE LA DISPERSION DE
102628     102628-GB-EPA          EP1113598                    00403065.6                     EP1113598                   GB                        19-Feb-03               6-Nov-20               6-Nov-00 POLARISATION DANS UN SYSTEME DE TRANSMISSION
                                                                                                                                                                                                               OPTIQUE
                                                                                                                                                                                                               DISPOSITIF DE COMPENSATION DE LA DISPERSION DE
102628     102628-IT-EPA          EP1113598                    00403065.6                     EP1113598                    IT                       19-Feb-03               6-Nov-20               6-Nov-00 POLARISATION DANS UN SYSTEME DE TRANSMISSION
                                                                                                                                                                                                               OPTIQUE
                                                                                                                                                                                                               DISPOSITIF DE COMPENSATION DE LA DISPERSION DE
102628     102628-JP-NP           JP4585115                    2000402352                    2001230728                   JP                        10-Sep-10              28-Dec-20              28-Dec-00 POLARISATION DANS UN SYSTEME DE TRANSMISSION
                                                                                                                                                                                                               OPTIQUE

                                                                                                                                                                                                               DEVICE FOR COMPENSATING POLARIZATION
102628     102628-US-NP           US6690889                    09/726038                     20010006427                   us                       10-Feb-04             22-Mar-22               30-Nov-00
                                                                                                                                                                                                               DISPERSION IN AN OPTICAL TRANSMISSION SYSTEM


                                                                                                                                                                                                               A METHOD OF MANAGING A TELECOMMUNICATION
102702     102702-US-NP           US7212533                    09/871816                     20020021666                   us                        1-May-07               23-Jan-24              4-Jun-01 NETWORK AND A NETWORK MANAGEMENT UNIT
                                                                                                                                                                                                               FOR IMPLEMENTING THE MEHTOD


                                                                                                                                                                                                               PROCEDE D'OBTENTION D'UNE REPRESENTATION
102865     102865-FR-NP           FR2810842                    0008154                       2810842                       FR                       11-Oct-02              26-Jun-20              26-Jun-00 GEOGRAPHIQUE DU TRAFIC DANS UN RESEAU DE
                                                                                                                                                                                                               RADIOCOMMUNICATION MOBILE

                                                                                                                                                                                                               Method to ensure the quality of preferred
                                                                                                                                                                                                               communication services, a local network, a station, a
102936     102936-US-NP           US7110418                    10/101322                     20020146032                   us                       19-Sep-06              29-Oct-24             20-Mar-02
                                                                                                                                                                                                               local network controller and a program module
                                                                                                                                                                                                               therefor
                                                                                                                                                                                                               A method to ensure the quality of preferred
                                                                                                                                                                                                               communication services, a local network, a station, a
102936     102936-EP-EPA                                       01440101.2                     EP1249970                    EP                                              10-Apr-21              10-Apr-0l
                                                                                                                                                                                                               local network controller and a program module
                                                                                                                                                                                                               therefor
                                                                                                                                                                                                               PROCEDE D'ETABLISSEMENT DE MODE DE
                                                                                                                                                                                                               FONCTIONNEMENT SANS DOUBLE TRANSCODAGE
103010     103010-DE-EPA          EP1113682                    00403626.5                     EP1113682                    DE                        31-Jan-07             21-Dec-20              21-Dec-00
                                                                                                                                                                                                               DANS UN SYSTEME CELLULAIRE DE
                                                                                                                                                                                                               RADIOCOMMUNICATIONS MOBILES.
                                                                                                                                                                                                               PROCEDE D'ETABLISSEMENT DE MODE DE
                                                                                                                                                                                                               FONCTIONNEMENT SANS DOUBLE TRANSCODAGE
103010     103010-FR-EPA          EP1113682                    00403626.5                     EP1113682                    FR                        31-Jan-07             21-Dec-20              21-Dec-00
                                                                                                                                                                                                               DANS UN SYSTEME CELLULAIRE DE
                                                                                                                                                                                                               RADIOCOMMUNICATIONS MOBILES.
                                                                                                                                                                                                               PROCEDE D'ETABLISSEMENT DE MODE DE
                                                                                                                                                                                                               FONCTIONNEMENT SANS DOUBLE TRANSCODAGE
103010     103010-GB-EPA          EP1113682                    00403626.5                     EP1113682                   GB                         31-Jan-07             21-Dec-20              21-Dec-00
                                                                                                                                                                                                               DANS UN SYSTEME CELLULAIRE DE
                                                                                                                                                                                                               RADIOCOMMUNICATIONS MOBILES.

                                                                                                                                                                                                               A METHOD OF BROADCASTING MULTIMEDIA
                                                                                                                                                                                                               INFORMATION ITEMS, A RECEIVER OF MULTIMEDIA
103095     103095-US-PCT          US7620967                    10/296145                     20040034682                   us                       17-Nov-09              28-Dec-26             23-May-0l INFORMATION ITEMS BROADCAST BY MEANS OF THE
                                                                                                                                                                                                               METHOD, ANDA USER INTERFACE FOR CONSULTING
                                                                                                                                                                                                               THE INFORMATION ITEMS


103102     103102-US-NP           US7131109                    09/888449                     20020029375                   us                       31-Oct-06                2-Jun-23             26-Jun-0l A METHOD OF MANAGING INFORMATION IN JAVA


103102     103102-FR-NP           FR2810755                    0008243                       2810755                       FR                        17-Jan-03             27-Jun-20              27-Jun-00 PROCEDE DE GESTION D'INFORMATIONS EN JAVA


                                                                                                                                                                                                               EQUIPEMENT DE TELECOMMUNICATION
103110     103110-DE-EPA          EP1195970                    01402390.7                     EP1195970                    DE                       25-Apr-12              18-Sep-21              18-Sep-0l
                                                                                                                                                                                                               PERMETTANT LA MIGRATION DU CONTROLE D'APPEL


                                                                                                                                                                                                               EQUIPEMENT DE TELECOMMUNICATION
103110     103110-ES-EPA          EP1195970                    01402390.7                     EP1195970                    ES                       25-Apr-12              18-Sep-21              18-Sep-0l
                                                                                                                                                                                                               PERMETTANT LA MIGRATION DU CONTROLE D'APPEL


                                                                                                                                                                                                               EQUIPEMENT DE TELECOMMUNICATION
103110     103110-FR-EPA          EP1195970                    01402390.7                     EP1195970                    FR                       25-Apr-12              18-Sep-21              18-Sep-0l
                                                                                                                                                                                                               PERMETTANT LA MIGRATION DU CONTROLE D'APPEL


                                                                                                                                                                                                               EQUIPEMENT DE TELECOMMUNICATION
103110     103110-GB-EPA          EP1195970                    01402390.7                     EP1195970                   GB                        25-Apr-12              18-Sep-21              18-Sep-0l
                                                                                                                                                                                                               PERMETTANT LA MIGRATION DU CONTROLE D'APPEL


                                                                                                                                                                                                               EQUIPEMENT DE TELECOMMUNICATION
103110     103110-IT-EPA          EP1195970                    01402390.7                     EP1195970                    IT                       25-Apr-12              18-Sep-21              18-Sep-0l
                                                                                                                                                                                                               PERMETTANT LA MIGRATION DU CONTROLE D'APPEL

                                                                                                                                                                                                               Telecommunication Equipment Unit Enabling call
103110     103110-US-NP           US8510414                    09/969579                     20020055354                   us                       13-Aug-13              13-Jun-26               4-Oct-01
                                                                                                                                                                                                               Control Migration
                                                                                                                                                                                                               PROCEDE DEMISE EN COMMUNICATION EN ACCORD
                                                                                                                                                                                                               AVEC UN ENSEMBLE PREDETERMINE DE
103124     103124-DE-EPA          EP1193946                    01402024.2                     EP1193946                    DE                       16-Sep-09               26-Jul-21              26-Jul-0l
                                                                                                                                                                                                               CARACTERISTIQUES ET/OU DE SERVICES REQUIS ET
                                                                                                                                                                                                               RESEAU CORRESPONDANT
                                                                                                                                                                                                               PROCEDE DEMISE EN COMMUNICATION EN ACCORD
                                                                                                                                                                                                               AVEC UN ENSEMBLE PREDETERMINE DE
103124     103124-FR-EPA          EP1193946                    01402024.2                     EP1193946                    FR                       16-Sep-09               26-Jul-21              26-Jul-0l
                                                                                                                                                                                                               CARACTERISTIQUES ET/OU DE SERVICES REQUIS ET
                                                                                                                                                                                                               RESEAU CORRESPONDANT
                                                                                                                                                                                                               PROCEDE DEMISE EN COMMUNICATION EN ACCORD
                                                                                                                                                                                                               AVEC UN ENSEMBLE PREDETERMINE DE
103124     103124-GB-EPA          EP1193946                    01402024.2                     EP1193946                   GB                        16-Sep-09               26-Jul-21              26-Jul-0l
                                                                                                                                                                                                               CARACTERISTIQUES ET/OU DE SERVICES REQUIS ET
                                                                                                                                                                                                               RESEAU CORRESPONDANT
                                                                                                                                                                                                               A METHOD OF SETTING UP A CALL WITH A
                                                                                                                                                                                                               PREDETERMINED SET OF REQUIREED SERVICES
103124     103124-US-PCT          US7170899                    10/089168                     20020150111                   us                        30-Jan-07              31-Jan-24              26-Jul-0l
                                                                                                                                                                                                               AND/OR CHARACTERISTICS,AND CORRESONDNG
                                                                                                                                                                                                               NETWORK

                                                                                                                                                                                                               A DICHOTOMY-BASED METHOD OF TRACING A
103142     103142-US-NP           US7113483                    10/090748                     20020131367                   us                       26-Sep-06                2-Dec-24             6-Mar-02
                                                                                                                                                                                                               ROUTE BETWEEN TWO NODES OF A DATA NETWORK

                                                                                                                                                                                                               PROCEDE DE TRANSMISSION SECURISE EVITANT LES
103282     103282-DE-EPA          EP1199832                    01402726.2                     EP1199832                    DE                        1-Apr-09              19-Oct-21              19-Oct-01
                                                                                                                                                                                                               RETRANSMISSION INUTILES
                                                                                                                                                                                                               PROCEDE DE TRANSMISSION SECURISE EVITANT LES
103282     103282-FR-EPA          EP1199832                    01402726.2                     EP1199832                    FR                        1-Apr-09              19-Oct-21              19-Oct-01
                                                                                                                                                                                                               RETRANSMISSION INUTILES
                                                                                                                                                                                                               PROCEDE DE TRANSMISSION SECURISE EVITANT LES
103282     103282-GB-EPA          EP1199832                    01402726.2                     EP1199832                   GB                         1-Apr-09              19-Oct-21              19-Oct-01
                                                                                                                                                                                                               RETRANSMISSION INUTILES




                                                                                                        Page 3 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0144
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 11 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm   DISPOSITIF DE DIFFUSION OPTIMISE
103389     103389-CN-PCT          ZL100531036                  02803447.3                   1484903                     CN                       19-Aug-09                3-Jan-22              3-Jan-02 D'INFORMATIONS DANS UN SYSTEME DE
                                                                                                                                                                                                           TELECOMMUNICATION

                                                                                                                                                                                                           DEVICE FOR THE OPTIMIZED TRANSMISSION OF
103389     103389-FR-NP           FR2819075                    0100078                      2819075                     FR                       18-Apr-03                4-Jan-21              4-Jan-01
                                                                                                                                                                                                           INFORMATION IN A TELECOMMUNICATION SYSTEM


                                                                                                                                                                                                           A DEVICE FOR OPTIMUM BROADCASTING OF
103389     103389-US-PCT          US7333770                    10/250480                    20040223459                 us                       19-Feb-08              21-Sep-23               3-Jan-02
                                                                                                                                                                                                           INFORMATION IN A TELECOMMUNICATION SYSTEM


                                                                                                                                                                                                           POINT DE DECISION D'AUTORISATION MODULAIRE
103566     103566-US-NP           US7406045                    10/117045                    20020146012                 us                        29-Jul-08              8-Nov-24               8-Apr-02 POUR TRAITER DES REQUETES DE RESERVATIONS DE
                                                                                                                                                                                                           RESSOURCES, AU SEIN D'UN RESEAU DE DONNEES

                                                                                                                                                                                                           SYSTEME DE DEMULTIPLEXAGE OPTIQUE DE BANDES
103573     103573-CN-PCT          ZL02821407.2                 02821407.2                   1579061                     CN                       21-Feb-07              26-Sep-22              26-Sep-02
                                                                                                                                                                                                           DE LONGUEURS D'ONDES
                                                                                                                                                                                                           SYSTEME DE DEMULTIPLEXAGE OPTIQUE DE BANDES
103573     103573-FR-NPl          FR2830145                    0113102                      2830145                     FR                       16-Apr-04              11-Oct-21              11-Oct-01
                                                                                                                                                                                                           DE LONGUEURS D'ONDES
                                                                                                                                                                                                           A SYSTEM FOR OPTICAL DEMULTIPLEXING
103573     103573-US-PCT          US7085447                    10/491147                                                us                        1-Aug-06             26-Nov-22               26-Sep-02
                                                                                                                                                                                                           WAVELENGTH BANDS
                                                                                                                                                                                                           A METHOD AND APPARATUS FOR ANALYZING
103599     103599-US-NP           US7103801                    10/285437                    20030088669                 us                        5-Sep-06               3-May-24               1-Nov-02 ALARMS COMING FROM A COMMUNICATIONS
                                                                                                                                                                                                           NETWORK
                                                                                                                                                                                                           PROCEDE D'ATTRIBUTION DE RESSOURCES EN
103633     103633-US-NP           US7385943                    10/142052                    20020176398                 us                        10-Jun-08            30-Nov-24              10-May-02 COMMUNICATION DANS UN SYSTEME DE
                                                                                                                                                                                                           TELECOMMUNICATIONS DU TYPE MF-TOMA
103715     103715-US-PCT          US6930642                    10/478859                    20040155823                 us                       16-Aug-05              10-Jun-22              10-Jun-02 A COMPACT MUL Tl BAND ANTENNA
                                                                                                                                                                                                           ANTENNE COMPACTE MULTIBANDE POUR
103715     103715-FR-NP           FR2825837                    0107689                      2825837                     FR                        8-Sep-06              12-Jun-21              12-Jun-0l
                                                                                                                                                                                                           TERMINAUX PORTABLES
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-CN-NP           ZL1188000                    02142530.2                   1414800                     CN                        2-Feb-05              20-Sep-22              20-Sep-02 equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-DE-EPA          EP1296467                    01440313.3                   EP1296467                   DE                       25-Feb-04              24-Sep-21              24-Sep-0l equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-ES-EPA          EP1296467                    01440313.3                   EP1296467                   ES                       25-Feb-04              24-Sep-21              24-Sep-0l equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-FR-EPA          EP1296467                    01440313.3                   EP1296467                   FR                       25-Feb-04              24-Sep-21              24-Sep-0l equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-GB-EPA          EP1296467                    01440313.3                   EP1296467                   GB                       25-Feb-04              24-Sep-21              24-Sep-0l equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-IT-EPA          EP1296467                    01440313.3                   EP1296467                   IT                       25-Feb-04              24-Sep-21              24-Sep-0l equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network
                                                                                                                                                                                                           Method for synchronizing terrestrial nodes
103787     103787-US-NP           US7330458                    10/237956                    20030058834                 us                       12-Feb-08               19-Jan-26             10-Sep-02 equippped with GNSS receivers and belonging to a
                                                                                                                                                                                                           terrestrial network

                                                                                                                                                                                                           METHOD OF FABRICATING AN ELECTRONIC MODULE
103825     103825-US-NP           US6991151                    10/712357                    20040108363                 us                        31-Jan-06             14-Nov-23              14-Nov-03
                                                                                                                                                                                                           COMPRISING AN ACTIVE COMPONENT ON A BASE

                                                                                                                                                                                                           PROCEDE DE FABRICATION D'UN MODULE
103825     103825-DE-EPA          EP1427008                    03292810.3                   EP1427008                   DE                       23-Apr-08              10-Nov-23              10-Nov-03 ELECTRONIQUE COMPORTANT UN COMP0SANT
                                                                                                                                                                                                           ACTIF SUR UNE EMBASE
                                                                                                                                                                                                           PROCEDE DE FABRICATION D'UN MODULE
103825     103825-FR-EPA          EP1427008                    03292810.3                   EP1427008                   FR                       23-Apr-08              10-Nov-23              10-Nov-03 ELECTRONIQUE COMPORTANT UN COMP0SANT
                                                                                                                                                                                                           ACTIF SUR UNE EMBASE
                                                                                                                                                                                                           PROCEDE DE FABRICATION D'UN MODULE
103825     103825-GB-EPA          EP1427008                    03292810.3                   EP1427008                   GB                       23-Apr-08              10-Nov-23              10-Nov-03 ELECTRONIQUE COMPORTANT UN COMP0SANT
                                                                                                                                                                                                           ACTIF SUR UNE EMBASE

                                                                                                                                                                                                           PROCEDES DE REALISATION ET D'AMELIORATION
103861     103861-DE-EPA          EP1383256                    03291662.9                   EP1383256                   DE                       18-Oct-06                 4-Jul-23              4-Jul-03 D'UNE LIGNE DE TRANSMISSION OPTIQUE ET
                                                                                                                                                                                                           MODULES DE COMPENSATION ASSOCIES


                                                                                                                                                                                                           PROCEDES DE REALISATION ET D'AMELIORATION
103861     103861-FR-EPA          EP1383256                    03291662.9                   EP1383256                   FR                       18-Oct-06                 4-Jul-23              4-Jul-03 D'UNE LIGNE DE TRANSMISSION OPTIQUE ET
                                                                                                                                                                                                           MODULES DE COMPENSATION ASSOCIES


                                                                                                                                                                                                           PROCEDES DE REALISATION ET D'AMELIORATION
103861     103861-GB-EPA          EP1383256                    03291662.9                   EP1383256                   GB                       18-Oct-06                 4-Jul-23              4-Jul-03 D'UNE LIGNE DE TRANSMISSION OPTIQUE ET
                                                                                                                                                                                                           MODULES DE COMPENSATION ASSOCIES

                                                                                                                                                                                                           A METHOD OF PRODUCING AND IMPROVING AN
103861     103861-US-NP           US7187824                    10/620369                    20040028325                 us                        6-Mar-07              27-Sep-23               17-Jul-03 OPTICAL TRANSMISSION LINE, AND ASSOCIATED
                                                                                                                                                                                                           COMPENSATION MODULES

                                                                                                                                                                                                           PROCEDES DE REALISATION ET D'AMELIORATION
103861     103861-CN-NP           ZL03145985.4                 03145985.4                   1479458                     CN                        2-Apr-08                18-Jul-23             18-Jul-03 D'UNE LIGNE DE TRANSMISSION OPTIQUE ET
                                                                                                                                                                                                           MODULES DE COMPENSATION ASSOCIES

                                                                                                                                                                                                           PASSERELLE PROTOCOLAIRE ENTRE UN TERMINAL
103935     103935-CN-PCT          ZL02802648.9                 02802648.9                   1526224                     CN                       28-Apr-10                5-Sep-22              5-Sep-02 H.323 ET UN AUTRE TERMINAL, SANS MISE EN
                                                                                                                                                                                                           OEUVRE DU ROLE DE MAITRE
                                                                                                                                                                                                           PASSERELLE PROTOCOLAIRE ENTRE UN TERMINAL
103935     103935-FR-NP           FR2829649                    0111850                      2829649                     FR                        30-Jan-04             13-Sep-21              13-Sep-0l H.323 ET UN AUTRE TERMINAL, SANS MISE EN
                                                                                                                                                                                                           OEUVRE DU ROLE DE MAITRE
                                                                                                                                                                                                           PASSERELLE PROTOCOLAIRE ENTRE UN TERMINAL
103935     103935-JP-PCT          JP4183616                    2003527959                   2005503072                  JP                       12-Sep-08                5-Sep-22              5-Sep-02 H.323 ET UN AUTRE TERMINAL, SANS MISE EN
                                                                                                                                                                                                           OEUVRE DU ROLE DE MAITRE

                                                                                                                                                                                                           PROTOCOL GATEWAY BETWEEN AN H.323 TERMINAL
103935     103935-US-PCT          US7417994                    10/398935                    20030189939                 us                       26-Aug-08              21-Apr-25               5-Sep-02 AND ANOTHER TERMINAL, WITHOUT
                                                                                                                                                                                                           IMPLEMENTATION OF THE ROLE OF MASTER

                                                                                                                                                                                                           CONTROL FOR ADMISSION TO A DATA NETWORK
103941     103941-US-NP           US7961608                    10/361491                    20030152029                 us                        14-Jun-11            22-Mar-30               11-Feb-03
                                                                                                                                                                                                           FOR PROVIDING SERVICE QUALITY
                                                                                                                                                                                                           PROCEDE DE DETERMINATION DE TEN DANCE DE
103952     103952-CN-NP           ZL02154849.8                 02154849.8                   1423457A                    CN                       18-Apr-07                2-Dec-22              2-Dec-02
                                                                                                                                                                                                           SERVICE
                                                                                                                                                                                                           PROCEDE DE DETERMINATION DE TEN DANCE DE
103952     103952-DE-EPA          EP1317114                    02292776.8                   EP1317114                   DE                       27-Feb-13               7-Nov-22               7-Nov-02
                                                                                                                                                                                                           SERVICE
                                                                                                                                                                                                           PROCEDE DE DETERMINATION DE TEN DANCE DE
103952     103952-FR-EPA          EP1317114                    02292776.8                   EP1317114                   FR                       27-Feb-13               7-Nov-22               7-Nov-02
                                                                                                                                                                                                           SERVICE




                                                                                                       Page 4 of 149
                                                                                                                                                                              PATENT
                                                                                                                                                                      REEL: 044000 FRAME: 0145
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 12 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    PROCEDE DE DETERMINATION DE TEN DANCE DE
103952     103952-GB-EPA          EP1317114                    02292776.8                     EP1317114                   GB                        27-Feb-13               7-Nov-22               7-Nov-02
                                                                                                                                                                                                               SERVICE
103952     103952-US-NP           US7366160                    10/307461                     20030108049                   us                       29-Apr-08              11-Oct-25               2-Dec-02 A METHOD OF DETERMINING SERVICE TRENDS

                                                                                                                                                                                                               DETERMINING THE PROBABLE CAUSE OF A
103955     103955-US-NP           US7610370                    10/340690                     20030135510                   us                       27-Oct-09               21-Jul-28             13-Jan-03 REDUCTION IN THE QUALITY OF A SERVICE ASA
                                                                                                                                                                                                               FUNCTION OF THE EVOLUTION OF A SET OF SERVICES

                                                                                                                                                                                                               PROCEDE DE FOURNITURE DE DON NEES DE
                                                                                                                                                                                                               CONFIGURATION DE SERVICE A UN DISPOSITIF DE
104031     104031-FR-NP           FR2841425                    0207629                       2841425                       FR                       24-Sep-04              20-Jun-22              20-Jun-02
                                                                                                                                                                                                               TELEPHONE MOBILE, PAR UN TERMINAL
                                                                                                                                                                                                               INFORMATIQUE
                                                                                                                                                                                                               CENTRALIZED SWITCHING AND ROUTING PACKET
104248     104248-US-NP           US8031723                    10/418094                     20040090957                   us                        4-Oct-11              10-Aug-26              18-Apr-03
                                                                                                                                                                                                               HANDLING DEVICE
                                                                                                                                                                                                               A RESOURCE MANAGER FOR A SATELLITE
104255     104255-US-NP           US7107050                    10/372845                     20030166401                   us                       12-Sep-06              12-Dec-23              26-Feb-03
                                                                                                                                                                                                               TELECOMMUNICATION SYSTEM

                                                                                                                                                                                                               SYSTEME DE TELECOMMUNICATION, NOTAMMENT
104272     104272-US-NP           US7991993                    10/403083                     20030188159                   us                        2-Aug-11               21-Jul-26              1-Apr-03
                                                                                                                                                                                                               DE TYPE IP, ET EQUIPEMENTS POUR UN TEL SYSTEME

                                                                                                                                                                                                               PROCEDE ET CONTROLEUR POUR FACILITER
                                  ZL200310103280
104356     104356-CN-NP                          200310103280.0                              1501745                       CN                        22-Jul-09              4-Nov-23               4-Nov-03 L'ITINERANCE DES TELEPHONES MOBILES
                                  .0

                                                                                                                                                                                                               TARGET PLMN INFORMATION TRANSFER THROUGH
104356     104356-DE-EPA          EP1420607                    03292656.0                     EP1420607                    OE                       23-Mar-11              24-Oct-23              24-Oct-03
                                                                                                                                                                                                               TMSI
                                                                                                                                                                                                               PROCEDE ET CONTROLEUR POUR FACILITER
104356     104356-FR-EPA          EP1420607                    03292656.0                     EP1420607                    FR                       23-Mar-11              24-Oct-23              24-Oct-03 L'ITINERANCE DES TELEPHONES MOBILES


                                                                                                                                                                                                               PROCEDE ET CONTROLEUR POUR FACILITER
104356     104356-GB-EPA          EP1420607                    03292656.0                     EP1420607                   GB                        23-Mar-11              24-Oct-23              24-Oct-03 L'ITINERANCE DES TELEPHONES MOBILES


                                                                                                                                                                                                               IMPROVEMENT OF THE TBF HANDOVER PROCEDURE
104382     104382-FR-NP           FR2832897                    0115228                       2832897                       FR                       27-Feb-04             23-Nov-21               23-Nov-0l
                                                                                                                                                                                                               FOR GPRS
                                                                                                                                                                                                               SYSTEME DE GESTION DE RESEAU PAR REGLES
104544     104544-FR-NP           FR2843260                    0209741                       2843260                       FR                        2-Apr-05               31-Jul-22              31-Jul-02
                                                                                                                                                                                                               COMPORTANT UN MOTEUR D'INFERENCE
                                                                                                                                                                                                               A Network Management System For Managing
104544     104544-US-NP           US8055742                    10/629682                     20040054769                   us                        8-Nov-11              19-Oct-26               30-Jul-03 Networks And Implementing Services On The
                                                                                                                                                                                                               Network Using Rules And An Inference Engine
104566     104566-DE-EPA          EP1416595                    02360303.8                     EP1416595                    OE                       21-Mav-08              30-Oct-22              30-Oct-02 Enhanced num      absorbin11: double-clad fiber
104566     104566-FR-EPA          EP1416595                    02360303.8                     EP1416595                    FR                       21-Mav-08              30-Oct-22              30-Oct-02 Enhanced num      absorbin11: double-clad fiber
104566     104566-GB-EPA          EP1416595                    02360303.8                     EP1416595                   GB                        21-Mav-08              30-Oct-22              30-Oct-02 Enhanced oum      absorbini;,: double-clad fiber
104566     104566-US-NP           US7034995                    10/671482                     20040085623                   us                       25-Aor-06                9-Jun-24             29-Seo-03 Enhanced oum      absorbini;,: double-clad fiber
104567     104567-DE-EPA          EP1394910                    02360245.1                     EP1394910                    OE                       26-Dec-12              26-Aug-22              26-Aug-02 Raman-Active Ootical Fiber
104567     104567-FR-EPA          EP1394910                    02360245.1                     EP1394910                    FR                       26-Dec-12              26-Aug-22              26-Aug-02 Raman-Active Ootical Fiber
104567     104567-GB-EPA          EP1394910                    02360245.1                     EP1394910                   GB                        26-Dec-12              26-Aug-22              26-Aug-02 Raman-Active Optical Fiber
104567     104567-US-NP           US7008892                    10/617212                     20040053768                   us                        7-Mar-06              22-Dec-23               11-Jul-03 Raman-Active Optical Fiber

                                                                                                                                                                                                               DISPOSITIF DE CONTROLE D'ADMISSION DE NIVEAU
104572     104572-US-NP           US7471627                    10/705837                     20040170183                   us                       30-Dec-08                4-Dec-25             13-Nov-03 RESEAU POUR UN RESEAU DE COMMUNICATIONS A
                                                                                                                                                                                                               PROTOCOLE DE NIVEAU SOUS-IP

                                                                                                                                                                                                               PHOTONIC CRYSTAL FIBER WITH A LARGE EFFECTIVE
104577     104577-US-NP           US6813428                    10/098127                     20020131741                   us                        2-Nov-04              27-Apr-22              15-Mar-02
                                                                                                                                                                                                               SURFACE AREA
                                                                                                                                                                                                               CARTE DE CONNEXION ETHERNET A UN RESEAU
104669     104669-DE-EPA          EP1523127                    04292326.8                     EP1523127                    OE                       29-Nov-06              29-Sep-24              29-Sep-04 LOCAL, A CONTROLE DE RACCORDEMENT A UN
                                                                                                                                                                                                               TERMINAL DE COMMUNICATION
                                                                                                                                                                                                               CARTE DE CONNEXION ETHERNET A UN RESEAU
104669     104669-FR-EPA          EP1523127                    04292326.8                     EP1523127                    FR                       29-Nov-06              29-Sep-24              29-Sep-04 LOCAL, A CONTROLE DE RACCORDEMENT A UN
                                                                                                                                                                                                               TERMINAL DE COMMUNICATION
                                                                                                                                                                                                               CARTE DE CONNEXION ETHERNET A UN RESEAU
104669     104669-GB-EPA          EP1523127                    04292326.8                     EP1523127                   GB                        29-Nov-06              29-Sep-24              29-Sep-04 LOCAL, A CONTROLE DE RACCORDEMENT A UN
                                                                                                                                                                                                               TERMINAL DE COMMUNICATION
                                                                                                                                                                                                               CARTE DE CONNEXION ETHERNET A UN RESEAU
104669     104669-IT-EPA          EP1523127                    04292326.8                     EP1523127                    IT                       29-Nov-06              29-Sep-24              29-Sep-04 LOCAL, A CONTROLE DE RACCORDEMENT A UN
                                                                                                                                                                                                               TERMINAL DE COMMUNICATION
                                                                                                                                                                                                               CARTE DE CONNEXION ETHERNET A UN RESEAU
104669     104669-US-NP           US7231535                    10/959160                                                   us                        12-Jun-07            30-Mar-25                7-Oct-04 LOCAL, A CONTROLE DE RACCORDEMENT A UN
                                                                                                                                                                                                               TERMINAL DE COMMUNICATION
                                                                                                                                                                                                               DISPOSITIF DE DETERMINATION DE CHEM INS DE
                                                                                                                                                                                                               COMMUTATION DANS UN RESEAU DE
104685     104685-DE-EPA          EP1432184                    03292852.5                     EP1432184                    OE                       18-Apr-12              17-Nov-23              17-Nov-03 COMMUNICATIONS A COMMUTATION
                                                                                                                                                                                                               D'ETIQUETTES, EN PRESENCE D'ATTRIBUTS DE
                                                                                                                                                                                                               SELECTION
                                                                                                                                                                                                               DISPOSITIF DE DETERMINATION DE CHEM INS DE
                                                                                                                                                                                                               COMMUTATION DANS UN RESEAU DE
104685     104685-FR-EPA          EP1432184                    03292852.5                     EP1432184                    FR                       18-Apr-12              17-Nov-23              17-Nov-03 COMMUNICATIONS A COMMUTATION
                                                                                                                                                                                                               D'ETIQUETTES, EN PRESENCE D'ATTRIBUTS DE
                                                                                                                                                                                                               SELECTION
                                                                                                                                                                                                               DISPOSITIF DE DETERMINATION DE CHEM INS DE
                                                                                                                                                                                                               COMMUTATION DANS UN RESEAU DE
104685     104685-GB-EPA          EP1432184                    03292852.5                     EP1432184                   GB                        18-Apr-12              17-Nov-23              17-Nov-03 COMMUNICATIONS A COMMUTATION
                                                                                                                                                                                                               D'ETIQUETTES, EN PRESENCE D'ATTRIBUTS DE
                                                                                                                                                                                                               SELECTION
                                                                                                                                                                                                               DISPOSITIF DE DETERMINATION DE CHEM INS DE
                                                                                                                                                                                                               COMMUTATION DANS UN RESEAU DE
104685     104685-US-NP           US7443832                    10/735895                     20040190490                   us                       28-Oct-08              27-Oct-26              16-Dec-03 COMMUNICATIONS A COMMUTATION
                                                                                                                                                                                                               D'ETIQUETTES, EN PRESENCE D'ATTRIBUTS DE
                                                                                                                                                                                                               SELECTION

                                                                                                                                                                                                               PROBE FOR MEASURING QUALITY OF SERVICE
104716     104716-US-NP           US7583604                    10/762301                     20050022180                   us                        1-Sep-09               16-Jan-27             23-Jan-04
                                                                                                                                                                                                               PARAMETERS IN A TELECOMMUNICATION NETWORK

                                                                                                                                                                                                               ARMOIRE CLIMATISEE PERFECTIONNEE POUR
104778     104778-DE-EPA          EP1401252                    03292275.9                     EP1401252                    OE                       16-Apr-08              16-Sep-23              16-Sep-03
                                                                                                                                                                                                               EQUIPEMENTS, NOTAMMENT DE TELEPHONIE
                                                                                                                                                                                                               ARMOIRE CLIMATISEE PERFECTIONNEE POUR
104778     104778-FR-EPA          EP1401252                    03292275.9                     EP1401252                    FR                       16-Apr-08              16-Sep-23              16-Sep-03
                                                                                                                                                                                                               EQUIPEMENTS, NOTAMMENT DE TELEPHONIE
                                                                                                                                                                                                               ARMOIRE CLIMATISEE PERFECTIONNEE POUR
104778     104778-GB-EPA          EP1401252                    03292275.9                     EP1401252                   GB                        16-Apr-08              16-Sep-23              16-Sep-03
                                                                                                                                                                                                               EQUIPEMENTS, NOTAMMENT DE TELEPHONIE

                                                                                                                                                                                                               PROCEDE ET DISPOSITIF PERFECTIONNES DE
                                                                                                                                                                                                               CONTROLE DE LA PUISSANCE DELIVREE EN SORTIE
104901     104901-DE-EPA          EP1434376                    03293232.9                     EP1434376                    OE                       19-Apr-06              19-Dec-23              19-Dec-03
                                                                                                                                                                                                               D'UN NOEUD D'UN RESEAU OPTIQUE A
                                                                                                                                                                                                               COMMUTATION DE BAN DES DE LONGUEURS D'ONDE




                                                                                                        Page 5 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0146
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 13 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                          PROCEDE ET DISPOSITIF PERFECTIONNES DE
                                                                                                                                                                                                          CONTROLE DE LA PUISSANCE DELIVREE EN SORTIE
104901     104901-FR-EPA          EP1434376                    03293232.9         EP1434376                   FR                                19-Apr-06              19-Dec-23              19-Dec-03
                                                                                                                                                                                                          D'UN NOEUD D'UN RESEAU OPTIQUE A
                                                                                                                                                                                                          COMMUTATION DE BAN DES DE LONGUEURS D'ONDE


                                                                                                                                                                                                          PROCEDE ET DISPOSITIF PERFECTIONNES DE
                                                                                                                                                                                                          CONTROLE DE LA PUISSANCE DELIVREE EN SORTIE
104901     104901-GB-EPA          EP1434376                    03293232.9         EP1434376                   GB                                19-Apr-06              19-Dec-23              19-Dec-03
                                                                                                                                                                                                          D'UN NOEUD D'UN RESEAU OPTIQUE A
                                                                                                                                                                                                          COMMUTATION DE BAN DES DE LONGUEURS D'ONDE


                                                                                                                                                                                                          PROCEDE ET DISPOSITIF PERFECTIONNES DE
                                                                                                                                                                                                          CONTROLE DE LA PUISSANCE DELIVREE EN SORTIE
104901     104901-US-NP           US7248799                    10/742786          20050276563                 us                                 24-Jul-07              27-Jul-25             23-Dec-03
                                                                                                                                                                                                          D'UN NOEUD D'UN RESEAU OPTIQUE A
                                                                                                                                                                                                          COMMUTATION DE BAN DES DE LONGUEURS D'ONDE

                                                                                                                                                                                                          GESTION DE RESSOURCES D'UN RESEAU DE
                                                                                                                                                                                                          COMMUNICATIONS DE TYPE POINT A MULTIPOINT
104939     104939-IL-PCT          IL171825                     171825             171825                      IL                                31-Mar-11               6-May-24              6-May-04
                                                                                                                                                                                                          OU MULTIPOINT A MULTIPOINT, PAR DEUX NIVEAUX
                                                                                                                                                                                                          D'ALLOCATION
                                                                                                                                                                                                          GESTION DE RESSOURCES D'UN RESEAU DE
                                                                                                                                                                                                          COMMUNICATIONS DE TYPE POINT A MULTIPOINT
104939     104939-US-PCT          US7515547                    10/556405          20060221909                 us                                 7-Apr-09              23-Dec-25              6-May-04
                                                                                                                                                                                                          OU MULTIPOINT A MULTIPOINT, PAR DEUX NIVEAUX
                                                                                                                                                                                                          D'ALLOCATION

                                                                                                                                                                                                          DEVICE AND A METHOD FOR TRANSFORMING SIGNAL
104972     104972-US-NP           US6985654                    10/829180          20040213513                 us                                 10-Jan-06             24-Apr-24              22-Apr-04
                                                                                                                                                                                                          PROPAGATION MODE BY INTERFERENCE

104994     104994-FR-NP           FR2857543                    0308306            2857543                     FR                                 19-Jan-07                8-Jul-23              8-Jul-03 NE POLICY ADAPTATION AT THE EML
                                                                                                                                                                                                          USE OF A COMMUNICATIONS NETWORK ELEMENT
104994     104994-US-NP           US7756960                    10/884972          20050010659                 us                                 13-Jul-10              15-Jan-27               7-Jul-04 MANAGEMENT SYSTEM TO MANAGE NETWORK
                                                                                                                                                                                                          POLICY RULES

                                                                                                                                                                                                          METHODS FOR IMPROVED HANDLING OF IMA LINK
105083     105083-DE-EPA          EP1545071                    03293249.3         EP1545071                   DE                                  8-Jul-09             19-Dec-23              19-Dec-03
                                                                                                                                                                                                          FAILURES, ESPECIALLY FOR UMTS RNC-NodeB LINKS


                                                                                                                                                                                                          METHODS FOR IMPROVED HANDLING OF IMA LINK
105083     105083-FR-EPA          EP1545071                    03293249.3         EP1545071                   FR                                  8-Jul-09             19-Dec-23              19-Dec-03
                                                                                                                                                                                                          FAILURES, ESPECIALLY FOR UMTS RNC-NodeB LINKS


                                                                                                                                                                                                          METHODS FOR IMPROVED HANDLING OF IMA LINK
105083     105083-GB-EPA          EP1545071                    03293249.3         EP1545071                   GB                                  8-Jul-09             19-Dec-23              19-Dec-03
                                                                                                                                                                                                          FAILURES, ESPECIALLY FOR UMTS RNC-NodeB LINKS

                                                                                                                                                                                                          Link Quality Method To Rely On The Downlink
                                  ZL200410005288
105114     105114-CN-NP                                        200410005288.8     CN1520126A                  CN                                12-Feb-14               29-Jan-24             29-Jan-04 Reported Block Error Rate In Egprs Ric
                                  .8
                                                                                                                                                                                                          Unacknowled ed Mode
                                                                                                                                                                                                          LINK QUALITY METHOD TO RELY ON THE DOWNLINK
105114     105114-FR-NP           FR2850516                    0301017            2850516                     FR                                  3-Jun-05              29-Jan-23             29-Jan-03 REPORTED BLOCK ERROR RATE IN EGPRS RLC
                                                                                                                                                                                                          UNACKNOWLEDGED MODE
                                                                                                                                                                                                          SERVEUR DE DONNEES UTILISE DANS UN SYSTEME
                                  ZL200480023357                                                                                                                                                          POUR LA FOURNITURE DE DONNEES
105132     105132-CN-PCT                                       200480023357.6     1836173                     CN                                11-Nov-09              28-Jun-24              28-Jun-04
                                  .6                                                                                                                                                                      D'AUGMENTATION POUR LES SIGNAUX DE
                                                                                                                                                                                                          NAVIGATION PAR SATELLITE
                                                                                                                                                                                                          SERVEUR DE DONNEES UTILISE DANS UN SYSTEME
                                                                                                                                                                                                          POUR LA FOURNITURE DE DONNEES
105132     105132-US-PCT          US7647173                    10/563227          20060161347                 us                                 12-Jan-10             13-Oct-25              28-Jun-04
                                                                                                                                                                                                          D'AUGMENTATION POUR LES SIGNAUX DE
                                                                                                                                                                                                          NAVIGATION PAR SATELLITE
                                                                                                                                                                                                          SERVEUR DE DONNEES UTILISE DANS UN SYSTEME
                                                                                                                                                                                                          POUR LA FOURNITURE DE DONNEES
105132     105132-DE-EPA          EP1494042                    04291627.0         EP1494042                   DE                                21-Dec-11              28-Jun-24              28-Jun-04
                                                                                                                                                                                                          D'AUGMENTATION POUR LES SIGNAUX DE
                                                                                                                                                                                                          NAVIGATION PAR SATELLITE
                                                                                                                                                                                                          SERVEUR DE DONNEES UTILISE DANS UN SYSTEME
                                                                                                                                                                                                          POUR LA FOURNITURE DE DONNEES
105132     105132-FR-EPA          EP1494042                    04291627.0         EP1494042                   FR                                21-Dec-11              28-Jun-24              28-Jun-04
                                                                                                                                                                                                          D'AUGMENTATION POUR LES SIGNAUX DE
                                                                                                                                                                                                          NAVIGATION PAR SATELLITE
                                                                                                                                                                                                          SERVEUR DE DONNEES UTILISE DANS UN SYSTEME
                                                                                                                                                                                                          POUR LA FOURNITURE DE DONNEES
105132     105132-GB-EPA          EP1494042                    04291627.0         EP1494042                   GB                                21-Dec-11              28-Jun-24              28-Jun-04
                                                                                                                                                                                                          D'AUGMENTATION POUR LES SIGNAUX DE
                                                                                                                                                                                                          NAVIGATION PAR SATELLITE

                                                                                                                                                                                                          DISPOSITIF DE TRAITEMENT DE MESURES DE
                                                                                                                                                                                                          PARAMETRES ET/OU DE TRAFICS, EN VUE D'UNE
                                  ZL200410073942
105202     105202-CN-NP                                        200410073942.9     1592210                     CN                                18-Mar-09                6-Sep-24              6-Sep-04 COMPTABILISATION LOCALE DE L'UTILISATION DE
                                  .9
                                                                                                                                                                                                          RESSOURCES, POUR UN EQUIPEMENT DE RESEAU DE
                                                                                                                                                                                                          COMMUNICATIONS


                                                                                                                                                                                                          DISPOSITIF DE TRAITEMENT DE MESURES DE
                                                                                                                                                                                                          PARAMETRES ET/OU DE TRAFICS, EN VUE D'UNE
105202     105202-EP-EPA                                       04292145.2         EP1513287                   EP                                                         1-Sep-24              1-Sep-04 COMPTABILISATION LOCALE DE L'UTILISATION DE
                                                                                                                                                                                                          RESSOURCES, POUR UN EQUIPEMENT DE RESEAU DE
                                                                                                                                                                                                          COMMUNICATIONS

                                                                                                                                                                                                          POLICY BASED ACCOUNTING EMBEDDED IN EDGE
105202     105202-FR-NP           FR2859588                    0310503            2859588                     FR                                19-May-06                5-Sep-23              5-Sep-03
                                                                                                                                                                                                          AND ACCESS NODES

                                                                                                                                                                                                          Device For Processing The Measurements Of
                                                                                                                                                                                                          Parameters And/Or Of Traffic Streams, For Local
105202     105202-US-NP           US9032056                    10/932053          20050055440                 us                                12-May-15              21-Jun-30               2-Sep-04
                                                                                                                                                                                                          Accounting Of The Use Of Resources, For An
                                                                                                                                                                                                          Equipment Element In A Communication Network

                                                                                                                                                                                                          Method For Managing An Interconnection Between
105215     105215-US-PCT          US8593949                    11/571039          20080285570                 us                                26-Nov-13             12-May-30               23-Jun-05 Telecommunication Networks And Device
                                                                                                                                                                                                          Im lementin11: This Method

                                                                                                                                                                                                          PROCEDE DE GESTION D'UNE INTERCONNEXION
105215     105215-EP-EPT                                       05857317.1         EP1762051                   EP                                                       23-Jun-25              23-Jun-05 ENTRE RESEAUX DE TELECOMMUNICATION ET
                                                                                                                                                                                                          DISPOSITIF METTANT EN OEUVRE CE PROCEDE

                                                                                                                                                                                                          RIP AS THE PE-CE ROUTING PROTOCOL IN 2547bis
105215     105215-FR-NP           FR2872369                    0451333            2872369                     FR                                 8-Sep-06              25-Jun-24              25-Jun-04
                                                                                                                                                                                                          VPNs
                                                                                                                                                                                                          DISPOSITIF DE FABRICATION D'UN MASQUE PAR
                                  ZL200610000306
105259     105259-CN-NP                                        200610000306.2     100382250                   CN                                28-Dec-07                4-Jan-26              4-Jan-06 GRAVURE PAR PLASMA D'UN SUBSTRAT
                                  .2
                                                                                                                                                                                                          SEMICONDUCTEUR
                                                                                                                                                                                                          DISPOSITIF DE FABRICATION D'UN MASQUE PAR
105259     105259-DE-EPA          EP1677146                    05112633.2         EP1677146                   DE                                19-Sep-12              21-Dec-25              21-Dec-05 GRAVURE PAR PLASMA D'UN SUBSTRAT
                                                                                                                                                                                                          SEMICONDUCTEUR




                                                                                            Page 6 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0147
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 14 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    DISPOSITIF DE FABRICATION D'UN MASQUE PAR
105259     105259-FR-EPA          EP1677146                    05112633.2         EP1677146                   FR                                19-Sep-12              21-Dec-25              21-Dec-05 GRAVURE PAR PLASMA D'UN SUBSTRAT
                                                                                                                                                                                                           SEMICONDUCTEUR
                                                                                                                                                                                                           DISPOSITIF DE FABRICATION D'UN MASQUE PAR
105259     105259-GB-EPA          EP1677146                    05112633.2         EP1677146                   GB                                19-Sep-12              21-Dec-25              21-Dec-05 GRAVURE PAR PLASMA D'UN SUBSTRAT
                                                                                                                                                                                                           SEMICONDUCTEUR
                                                                                                                                                                                                           DISPOSITIF DE FABRICATION D'UN MASQUE PAR
105259     105259-JP-NP           JP5075337                    2005371907         2006191043                 JP                                 31-Aug-12              26-Dec-25              26-Dec-05 GRAVURE PAR PLASMA D'UN SUBSTRAT
                                                                                                                                                                                                           SEMICONDUCTEUR
                                                                                                                                                                                                           DISPOSITIF DE FABRICATION D'UN MASQUE PAR
105259     105259-US-NP           US7938907                    11/319630          20060148274                 us                                10-May-11                8-Jan-27             29-Dec-05 GRAVURE PAR PLASMA D'UN SUBSTRAT
                                                                                                                                                                                                           SEMICONDUCTEUR
105322     105322-US-NP           US7536104                    11/109782          20050237974                 us                                19-Mav-09              26-Dec-26              20-Anr-05 RESEAU DE TRANSMISSION OPTIQUE EN ARBRE

                                  ZL200480033321                                                                                                                                                           PROCEDE POUR DETECTER LA PRESENCE OU
105377     105377-CN-PCT                                       200480033321.6     1879035                     CN                                12-May-10              23-Aug-24              23-Aug-04
                                  .6                                                                                                                                                                       L'ABSENCE D'UN TERMINAL MOBILE SUR UN CHEMIN


                                                                                                                                                                                                           PROCEDE POUR DETECTER LA PRESENCE OU
105377     105377-DE-EPT          EP1664833                    04786346.9         EP1664833                   DE                                13-Mar-13              23-Aug-24              23-Aug-04
                                                                                                                                                                                                           L'ABSENCE D'UN TERMINAL MOBILE SUR UN CHEMIN


                                                                                                                                                                                                           PROCEDE POUR DETECTER LA PRESENCE OU
105377     105377-FR-EPT          EP1664833                    04786346.9         EP1664833                   FR                                13-Mar-13              23-Aug-24              23-Aug-04
                                                                                                                                                                                                           L'ABSENCE D'UN TERMINAL MOBILE SUR UN CHEMIN


                                                                                                                                                                                                           PROCEDE POUR DETECTER LA PRESENCE OU
105377     105377-GB-EPT          EP1664833                    04786346.9         EP1664833                   GB                                13-Mar-13              23-Aug-24              23-Aug-04
                                                                                                                                                                                                           L'ABSENCE D'UN TERMINAL MOBILE SUR UN CHEMIN

                                                                                                                                                                                                           METHOD OF DETECTING THE PRESENCE OR THE
105377     105377-US-NP           US7430547                    10/941893          20050113111                 us                                30-Sep-08              25-Aug-26              16-Sep-04
                                                                                                                                                                                                           ABSENCE OF A MOBILE TERMINAL ON A PATH

                                                                                                                                                                                                           DISPOSITIF ET PROCEDE PERFECTIONNES DE GESTION
                                                                                                                                                                                                           DE TRANSMISSION DE BLOCS DE DON NEES DANS UN
105406     105406-US-NP           US7539122                    11/092745          20050220204                 us                                26-May-09              26-Dec-26             30-Mar-05
                                                                                                                                                                                                           CANAL DESCENDANT DE TYPE HS-DSCH D'UN RESEAU
                                                                                                                                                                                                           DE COMMUNICATIONS MOBILE


                                                                                                                                                                                                           GESTION DE TAILLE DE MEMOIRE VIRTUELLE POUR
                                                                                                                                                                                                           LA TRANSMISSION DE BLOCS DE BITS DE DONNEES
105449     105449-US-NP           US7545731                    11/092728          20050220024                 us                                  9-Jun-09             20-Dec-26             30-Mar-05
                                                                                                                                                                                                           DANS UN CANAL DESCENDANT DE TYPE HS-DSCH
                                                                                                                                                                                                           D'UN RESEAU DE COMMUNICATIONS MOBILE


                                                                                                                                                                                                           ROUTEUR, POUR UN RESEAU DE COMMUNICATIONS
                                                                                                                                                                                                           IP, ADAPTE A LA DETERMINATION DE
105479     105479-DE-EPT          EP1805971                    05800294.0         EP1805971                   DE                                10-Mar-10              23-Sep-25              23-Sep-05
                                                                                                                                                                                                           CARACTERISTIQUE{S) DE CONFIGURATION
                                                                                                                                                                                                           ADAPTATIVE{S) POUR DES ROUTEURS VOISINS


                                                                                                                                                                                                           ROUTEUR, POUR UN RESEAU DE COMMUNICATIONS
                                                                                                                                                                                                           IP, ADAPTE A LA DETERMINATION DE
105479     105479-FR-EPT          EP1805971                    05800294.0         EP1805971                   FR                                10-Mar-10              23-Sep-25              23-Sep-05
                                                                                                                                                                                                           CARACTERISTIQUE{S) DE CONFIGURATION
                                                                                                                                                                                                           ADAPTATIVE{S) POUR DES ROUTEURS VOISINS


                                                                                                                                                                                                           ROUTEUR, POUR UN RESEAU DE COMMUNICATIONS
                                                                                                                                                                                                           IP, ADAPTE A LA DETERMINATION DE
105479     105479-GB-EPT          EP1805971                    05800294.0         EP1805971                   GB                                10-Mar-10              23-Sep-25              23-Sep-05
                                                                                                                                                                                                           CARACTERISTIQUE{S) DE CONFIGURATION
                                                                                                                                                                                                           ADAPTATIVE{S) POUR DES ROUTEURS VOISINS

                                                                                                                                                                                                           DISPOSITIF DE SELECTION D'INFORMATIONS DE
105494     105494-US-NP           US7620039                    11/269738          20060098658                 us                                17-Nov-09              26-Sep-27               9-Nov-05 ROUTAGE POUR UN ROUTEUR D'UN RESEAU DE
                                                                                                                                                                                                           COMMUNICATION

                                                                                                                                                                                                           PROCEDE DE PREEMPTION DE RESSOURCES D'UN
                                                                                                                                                                                                           RESEAU DE COMMUNICATIONS MOBILES, EN VUE DE
105516     105516-DE-EPA          EP1538852                    04292863.0         EP1538852                   DE                                 8-Oct-08                3-Dec-24              3-Dec-04
                                                                                                                                                                                                           L'ETABLISSEMENT D'UN SERVICE EN FONCTION D'UN
                                                                                                                                                                                                           DEBIT MAXIMUM DE PREEMPTION ASSOCIE


                                                                                                                                                                                                           PROCEDE DE PREEMPTION DE RESSOURCES D'UN
                                                                                                                                                                                                           RESEAU DE COMMUNICATIONS MOBILES, EN VUE DE
105516     105516-FR-EPA          EP1538852                    04292863.0         EP1538852                   FR                                 8-Oct-08                3-Dec-24              3-Dec-04
                                                                                                                                                                                                           L'ETABLISSEMENT D'UN SERVICE EN FONCTION D'UN
                                                                                                                                                                                                           DEBIT MAXIMUM DE PREEMPTION ASSOCIE


                                                                                                                                                                                                           PROCEDE DE PREEMPTION DE RESSOURCES D'UN
                                                                                                                                                                                                           RESEAU DE COMMUNICATIONS MOBILES, EN VUE DE
105516     105516-GB-EPA          EP1538852                    04292863.0         EP1538852                   GB                                 8-Oct-08                3-Dec-24              3-Dec-04
                                                                                                                                                                                                           L'ETABLISSEMENT D'UN SERVICE EN FONCTION D'UN
                                                                                                                                                                                                           DEBIT MAXIMUM DE PREEMPTION ASSOCIE

                                                                                                                                                                                                           PROCEDE DE TEST POUR EQUIPEMENT DE LIGNE
105573     105573-US-NP           US7907720                    11/119829          20050250351                 us                                15-Mar-11               13-Jan-30             3-May-05 MUNI D'UN CIRCUIT HYBRIDE ET EQUIPEMENT DE
                                                                                                                                                                                                           LIGNE POUR MISE EN OEUVRE
                                                                                                                                                                                                           CONVENTIONAL GPS SIGNALLING, BACKWARD
105575     105575-FR-NP           FR2865606                    0400714            2865606                     FR                                16-May-08               26-Jan-24             26-Jan-04
                                                                                                                                                                                                           COMPATIBLE METHOD
                                                                                                                                                                                                           Method Of Supporting Location Services In A Mobile
105575     105575-US-NP           US8798908                    11/041572          20050182565                 us                                 5-Aug-14              16-Aug-28              25-Jan-05
                                                                                                                                                                                                           Radio Communications Svstem
                                                                                                                                                                                                           SMART ROUTING OF PDP CONTEXT BASED ON
105588     105588-FR-NP           FR2879070                    0452835            2879070                     FR                                23-Feb-07                2-Dec-24              2-Dec-04
                                                                                                                                                                                                           ADDRESS PROXIMITY

                                  ZL200510089918                                                                                                                                                           PROCEDE ET SYSTEME POUR L'EXPLOITATION D'UN
105618     105618-CN-NP                                        200510089918.9     1731869                     CN                                 12-Jun-13              4-Aug-25               4-Aug-05
                                  .9                                                                                                                                                                       RESEAU CELLULAIRE DE COMMUNICATIONS MOBILES


                                                                                                                                                                                                           PROCEDE ET SYSTEME POUR L'EXPLOITATION D'UN
105618     105618-EP-EPA                                       05106371.7         EP1624709                   EP                                                         12-Jul-25             12-Jul-05
                                                                                                                                                                                                           RESEAU CELLULAIRE DE COMMUNICATIONS MOBILES

                                                                                                                                                                                                           TUNING FREQUENCY INDICATOR FAMILY FOR A CELL
105618     105618-FR-NP           FR2874148                    0408656            2874148                     FR                                24-Nov-06               5-Aug-24               5-Aug-04
                                                                                                                                                                                                           OR A NETWORK PARAMETER
                                                                                                                                                                                                           Method Of Analyzing The Operation Of A c.ellular
105625     105625-US-NP           US8078116                    11/376085          20060223523                 us                                13-Dec-11              27-Aug-28              16-Mar-06
                                                                                                                                                                                                           Mobile Telecommunications Network
                                                                                                                                                                                                           AUTOMATIC QoS AND PERFORMANCE
105642     105642-FR-NP           FR2876862                    0411182            2876862                     FR                                27-Apr-07              20-Oct-24              20-Oct-04 CARTOGRAPHY OF MOBILE NETWORK BASED ON
                                                                                                                                                                                                           TERMINAL FEEDBACKS
                                                                                                                                                                                                           DISPOSITIF D'ATTRIBUTION DYNAMIQUE DE PREFIXES
                                  ZL200510132681
105666     105666-CN-NP                                        200510132681.8     1794737                     CN                                 16-Jun-10             20-Dec-25              20-Dec-05 DE LONGUEURS VARIABLES POUR DES EQUIPEMENTS
                                  .8
                                                                                                                                                                                                           DE RESEAU D'UN RESEAU IP
                                                                                                                                                                                                           DISPOSITIF D'ATTRIBUTION DYNAMIQUE DE PREFIXES
105666     105666-DE-EPA          EP1672877                    05300995.7         EP1672877                   DE                                 9-Feb-11                2-Dec-25              2-Dec-05 DE LONGUEURS VARIABLES POUR DES EQUIPEMENTS
                                                                                                                                                                                                           DE RESEAU D'UN RESEAU IP
                                                                                                                                                                                                           DISPOSITIF D'ATTRIBUTION DYNAMIQUE DE PREFIXES
105666     105666-FR-EPA          EP1672877                    05300995.7         EP1672877                   FR                                 9-Feb-11                2-Dec-25              2-Dec-05 DE LONGUEURS VARIABLES POUR DES EQUIPEMENTS
                                                                                                                                                                                                           DE RESEAU D'UN RESEAU IP




                                                                                            Page 7 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0148
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 15 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    DISPOSITIF D'ATTRIBUTION DYNAMIQUE DE PREFIXES
105666     105666-GB-EPA          EP1672877                    05300995.7         EP1672877                   GB                                 9-Feb-11                2-Dec-25              2-Dec-05 DE LONGUEURS VARIABLES POUR DES EQUIPEMENTS
                                                                                                                                                                                                           DE RESEAU D'UN RESEAU IP
                                                                                                                                                                                                           DISPOSITIF D'ATTRIBUTION DYNAMIQUE DE PREFIXES
105666     105666-US-NP           US7577138                    11/305042          20060159086                 us                                18-Aug-09              18-Apr-28              19-Dec-05 DE LONGUEURS VARIABLES POUR DES EQUIPEMENTS
                                                                                                                                                                                                           DE RESEAU D'UN RESEAU IP
                                                                                                                                                                                                           DIPOSITIF D'OPTIMISATION DE RESEAUX D'ACCES
105668     105668-DE-EPA          EP1670271                    05301018.7         EP1670271                   DE                                27-Feb-08                7-Dec-25              7-Dec-05 RADIO ET/OU DE RESEAUX DE COEUR
                                                                                                                                                                                                           MULTISTANDARDS EN INTERACTION
                                                                                                                                                                                                           DIPOSITIF D'OPTIMISATION DE RESEAUX D'ACCES
105668     105668-FR-EPA          EP1670271                    05301018.7         EP1670271                   FR                                27-Feb-08                7-Dec-25              7-Dec-05 RADIO ET/OU DE RESEAUX DE COEUR
                                                                                                                                                                                                           MULTISTANDARDS EN INTERACTION
                                                                                                                                                                                                           DIPOSITIF D'OPTIMISATION DE RESEAUX D'ACCES
105668     105668-GB-EPA          EP1670271                    05301018.7         EP1670271                   GB                                27-Feb-08                7-Dec-25              7-Dec-05 RADIO ET/OU DE RESEAUX DE COEUR
                                                                                                                                                                                                           MULTISTANDARDS EN INTERACTION
                                                                                                                                                                                                           SYSTEME DE COMMUTATION DE PAQUETS POUR
105677     105677-DE-EPA          EP1770927                    06121316.1         EP1770927                   DE                                 10-Jul-13             27-Sep-26              27-Sep-06
                                                                                                                                                                                                           NOEUD DE RESEAU DE COMMUNICATION
                                                                                                                                                                                                           SYSTEME DE COMMUTATION DE PAQUETS POUR
105677     105677-FR-EPA          EP1770927                    06121316.1         EP1770927                   FR                                 10-Jul-13             27-Sep-26              27-Sep-06
                                                                                                                                                                                                           NOEUD DE RESEAU DE COMMUNICATION
                                                                                                                                                                                                           SYSTEME DE COMMUTATION DE PAQUETS POUR
105677     105677-GB-EPA          EP1770927                    06121316.1         EP1770927                   GB                                 10-Jul-13             27-Sep-26              27-Sep-06
                                                                                                                                                                                                           NOEUD DE RESEAU DE COMMUNICATION
                                                                                                                                                                                                           SYSTEME DE COMMUTATION DE PAQUETS POUR
105677     105677-US-NP           US7639679                    11/529417          20070115957                 us                                29-Dec-09                2-Feb-28             29-Sep-06
                                                                                                                                                                                                           NOEUD DE RESEAU DE COMMUNICATION

                                                                                                                                                                                                           DISPOSITIF D'ANALYSE CARTOGRAPHIQUE DE
105709     105709-EP-EPA                                       06112115.8         EP1711026                   EP                                                      31-Mar-26              31-Mar-06 DONNEES D'ANALYSE, EN VUE DE L'OPTIMISATION
                                                                                                                                                                                                           D'UN RESEAU DE COMMUNICATION

                                                                                                                                                                                                           STRUCTURE A ABSORBANT OPTIQUE SATURABLE
105750     105750-EP-EPA                                       06116859.7         EP1742102                   EP                                                          7-Jul-26              7-Jul-06 POUR DISPOSITIF DE REGENERATION DE SIGNAUX
                                                                                                                                                                                                           OPTIQUES
                                                                                                                                                                                                           STRUCTURE A ABSORBANT OPTIQUE SATURABLE
105750     105750-FR-NP           FR2888430                    0507321            2888430                     FR                                26-Oct-07                 8-Jul-25              8-Jul-05 POUR DISPOSITIF DE REGENERATION DE SIGNAUX
                                                                                                                                                                                                           OPTIQUES
                                                                                                                                                                                                           STRUCTURE A ABSORBANT OPTIQUE SATURABLE
105750     105750-US-NP           US7375879                    11/483183          20080100908                 us                                20-May-08                10-Jul-26             10-Jul-06 POUR DISPOSITIF DE REGENERATION DE SIGNAUX
                                                                                                                                                                                                           OPTIQUES

                                                                                                                                                                                                           DISPOSITIF OPTIQUE A SOURCE LASER SEMI-
105766     105766-DE-EPA          EP1742313                    06116862.1         EP1742313                   DE                                15-Oct-08                 7-Jul-26              7-Jul-06
                                                                                                                                                                                                           CONDUCTEUR ET ISOLATEUR OPTIQUE INTEGRES


                                                                                                                                                                                                           DISPOSITIF OPTIQUE A SOURCE LASER SEMI-
105766     105766-FR-EPA          EP1742313                    06116862.1         EP1742313                   FR                                15-Oct-08                 7-Jul-26              7-Jul-06
                                                                                                                                                                                                           CONDUCTEUR ET ISOLATEUR OPTIQUE INTEGRES


                                                                                                                                                                                                           DISPOSITIF OPTIQUE A SOURCE LASER SEMI-
105766     105766-GB-EPA          EP1742313                    06116862.1         EP1742313                   GB                                15-Oct-08                 7-Jul-26              7-Jul-06
                                                                                                                                                                                                           CONDUCTEUR ET ISOLATEUR OPTIQUE INTEGRES


                                                                                                                                                                                                           DISPOSITIF OPTIQUE A SOURCE LASER SEMI-
105766     105766-US-NP           US7567604                    11/483182          20070064753                 us                                 28-Jul-09               10-Jul-26             10-Jul-06
                                                                                                                                                                                                           CONDUCTEUR ET ISOLATEUR OPTIQUE INTEGRES


                                  ZL200610101773                                                                                                                                                           DISPOSITIF OPTIQUE A SOURCE LASER SEMI-
105766     105766-CN-NP                                        200610101773.4     1905298                     CN                                27-Aug-08                10-Jul-26             10-Jul-06
                                  .4                                                                                                                                                                       CONDUCTEUR ET ISOLATEUR OPTIQUE INTEGRES


                                                                                                                                                                                                           PROCEDE DE TRANSFERT D'UNE COMMUNICATION
                                                                                                                                                                                                           IMPLIQUANT UN NOEUD MOBILE EN SITUATION DE
105782     105782-FR-NP           FR2888078                    0551833            2888078                     FR                                10-Aug-07              30-Jun-25              30-Jun-05
                                                                                                                                                                                                           MACRO-MOBILITE AU SEIN D'UN RESEAU DE
                                                                                                                                                                                                           COMMUNICATION IP A ROUTAGE HIERARCHIQUE


                                                                                                                                                                                                           DISPOSITIF D'OPTIMISATION D'UTILISATION DE
105795     105795-FR-NP           FR2895613                    0554092            2895613                     FR                                22-Feb-08              26-Dec-25              26-Dec-05
                                                                                                                                                                                                           SERVICES DANS DES RESEAUX D'ACCES HYBRIDES

                                  ZL200510131860
105820     105820-CN-NP                                        200510131860.X     1797966                     CN                                28-Mar-12              15-Dec-25              15-Dec-05 TERMINAL GPS/WIFI
                                  .X
                                                                                                                                                                                                           SHARED CIRCUITRY BETWEEN ASPS RECEIVER AND A
105820     105820-DE-EPA          EP1677476                    04293152.7         EP1677476                   DE                                21-Nov-07              28-Dec-24              28-Dec-04
                                                                                                                                                                                                           OFDM PROCESSING UNIT
                                                                                                                                                                                                           SHARED CIRCUITRY BETWEEN ASPS RECEIVER AND A
105820     105820-FR-EPA          EP1677476                    04293152.7         EP1677476                   FR                                21-Nov-07              28-Dec-24              28-Dec-04
                                                                                                                                                                                                           OFDM PROCESSING UNIT
                                                                                                                                                                                                           SHARED CIRCUITRY BETWEEN ASPS RECEIVER AND A
105820     105820-GB-EPA          EP1677476                    04293152.7         EP1677476                   GB                                21-Nov-07              28-Dec-24              28-Dec-04
                                                                                                                                                                                                           OFDM PROCESSING UNIT
105820     105820-US-NP           US7515102                    11/296324          20060139208                 us                                 7-Aor-09                5-Jun-26              8-Dec-05 TERMINAL GPS/WIFI

                                                                                                                                                                                                           DUTIL DE DIAGNOSTIC DE RESEAU DE
                                  ZL200610099607                                                                                                                                                           COMMUNICATION, A EXPLORATION DE RESULTATS
105849     105849-CN-NP                                        200610099607.5     1878100                     CN                                  9-Jul-14               7-Jun-26              7-Jun-06
                                  .5                                                                                                                                                                       DE TESTS REELS ET/OU DE VALIDATION PAR MODE
                                                                                                                                                                                                           D'AFFICHAGE CONTROLE


                                                                                                                                                                                                           DUTIL DE DIAGNOSTIC DE RESEAU DE
                                                                                                                                                                                                           COMMUNICATION, A EXPLORATION DE RESULTATS
105849     105849-US-NP           US7568126                    11/447267          20060274663                 us                                 28-Jul-09              20-Jul-27              6-Jun-06
                                                                                                                                                                                                           DE TESTS REELS ET/OU DE VALIDATION PAR MODE
                                                                                                                                                                                                           D'AFFICHAGE CONTROLE

                                  ZL200610171435                                                                                                                                                           NOEUD D'ACCES POUR RESEAU DE TRANSMISSION
105871     105871-CN-NP                                        200610171435.8     101005319                   CN                                15-Sep-10              27-Dec-26              27-Dec-06
                                  .8                                                                                                                                                                       OPTIQUE EN ANNEAU
                                                                                                                                                                                                           NOEUD D'ACCES POUR RESEAU DE TRANSMISSION
105871     105871-DE-EPA          EP1804407                    05301116.9         EP1804407                   DE                                11-Feb-09              28-Dec-25              28-Dec-05
                                                                                                                                                                                                           OPTIQUE EN ANNEAU
                                                                                                                                                                                                           NOEUD D'ACCES POUR RESEAU DE TRANSMISSION
105871     105871-FR-EPA          EP1804407                    05301116.9         EP1804407                   FR                                11-Feb-09              28-Dec-25              28-Dec-05
                                                                                                                                                                                                           OPTIQUE EN ANNEAU
                                                                                                                                                                                                           NOEUD D'ACCES POUR RESEAU DE TRANSMISSION
105871     105871-GB-EPA          EP1804407                    05301116.9         EP1804407                   GB                                11-Feb-09              28-Dec-25              28-Dec-05
                                                                                                                                                                                                           OPTIQUE EN ANNEAU
                                                                                                                                                                                                           NOEUD D'ACCES POUR RESEAU DE TRANSMISSION
105871     105871-US-NP           US7672588                    11/614054          20070223923                 us                                 2-Mar-10                9-Jun-28             20-Dec-06
                                                                                                                                                                                                           OPTIQUE EN ANNEAU
                                  ZL200610144412
105897     105897-CN-NP                                        200610144412.8     1963575                     CN                                 10-Jun-09              7-Nov-26              7-Nov-06 FIBRE OPTIQUE AMPLIFICATRICE
                                  .8
105897     105897-FR-NP           FR2896315                    0553374            2896315                     FR                                17-Sen-10               8-Nov-25              8-Nov-05 FIBRE OPTIQUE AMPLIFICATRICE
105897     105897-US-DIV          US7813614                    12/573583          20100020388                 us                                12-Oct-10               6-Nov-26               5-Oct-09 FIBRE OPTIQUE AMPLIFICATRICE
105897     105897-US-NP           US7869686                    11/556753          20070127877                 us                                 11-Jan-11              6-Nov-26              6-Nov-06 FIBRE OPTIQUE AMPLIFICATRICE

                                                                                                                                                                                                           SYSTEME DE RADIONAVIGATION A CONSTELLATION
105934     105934-US-NP           US7187322                    11/402019                                      us                                 6-Mar-07              12-Apr-26              12-Apr-06 DE SATELLITES DE POSITIONNEMENT A PHASES DE
                                                                                                                                                                                                           TRANSMISSION ET D'ANALYSE AL TERNEES


                                                                                                                                                                                                           DISPOSITIF DE SYNCHRONISATION A REDONDANCE
105961     105961-DE-EPA          EP1691498                    06101099.7         EP1691498                   DE                                23-Apr-08               31-Jan-26             31-Jan-06 DE SIGNAUX D'HORLOGE, POUR UN EQUIPEMENT
                                                                                                                                                                                                           D'UN RESEAU DE TRANSPORT SYNCH RONE




                                                                                            Page 8 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0149
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 16 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                        DISPOSITIF DE SYNCHRONISATION A REDONDANCE
105961     105961-FR-EPA          EP1691498                    06101099.7         EP1691498                   FR                                23-Apr-08               31-Jan-26             31-Jan-06 DE SIGNAUX D'HORLOGE, POUR UN EQUIPEMENT
                                                                                                                                                                                                           D'UN RESEAU DE TRANSPORT SYNCH RONE


                                                                                                                                                                                                        DISPOSITIF DE SYNCHRONISATION A REDONDANCE
105961     105961-GB-EPA          EP1691498                    06101099.7         EP1691498                   GB                                23-Apr-08               31-Jan-26             31-Jan-06 DE SIGNAUX D'HORLOGE, POUR UN EQUIPEMENT
                                                                                                                                                                                                           D'UN RESEAU DE TRANSPORT SYNCH RONE


                                                                                                                                                                                                           DISPOSITIF DE SYNCHRONISATION A REDONDANCE
105961     105961-US-NP           US7706413                    11/090596          20060182211                 us                                27-Apr-10             15-Mar-28              28-Mar-05 DE SIGNAUX D'HORLOGE, POUR UN EQUIPEMENT
                                                                                                                                                                                                           D'UN RESEAU DE TRANSPORT SYNCH RONE

                                                                                                                                                                                                           PROCEDE POUR LE CONTROLE DE MESURES RADIO
105973     105973-EP-EPT                                       06726261.8         EP1867197                   EP                                                      21-Mar-26              21-Mar-06 DANS UN SYSTEME CELLULAIRE DE
                                                                                                                                                                                                           RADIOCOMMUNICATIONS MOBILES
105986     105986-US-PCT          US8306017                    11/914188          20080198841                 us                                 6-Nov-12              14-Aue:-29            22-Mar-06 UMA CS/PSS lit Architecture And Interface

                                                                                                                                                                                                           METHOD TO DEVELOP HIGH DEGREE NODE WITH
106029     106029-US-NP           US7653307                    11/564125          20070183777                 us                                 26-Jan-10            28-May-28               28-Nov-06
                                                                                                                                                                                                           WSS SUFFERING FROM FILTERING EFFECTS


                                  ZL200610162988                                                                                                                                                           METHOD TO DEVELOP HIGH DEGREE NODE WITH
106029     106029-CN-NP                                        200610162988.7     1984502                     CN                                22-Dec-10             30-Nov-26               30-Nov-06
                                  .7                                                                                                                                                                       WSS SUFFERING FROM FILTERING EFFECTS


                                                                                                                                                                                                           METHOD TO DEVELOP HIGH DEGREE NODE WITH
106029     106029-DE-EPA          EP1793644                    06301129.0         EP1793644                   DE                                 13-Jan-10              7-Nov-26               7-Nov-06
                                                                                                                                                                                                           WSS SUFFERING FROM FILTERING EFFECTS


                                                                                                                                                                                                           METHOD TO DEVELOP HIGH DEGREE NODE WITH
106029     106029-FR-EPA          EP1793644                    06301129.0         EP1793644                   FR                                 13-Jan-10              7-Nov-26               7-Nov-06
                                                                                                                                                                                                           WSS SUFFERING FROM FILTERING EFFECTS


                                                                                                                                                                                                           METHOD TO DEVELOP HIGH DEGREE NODE WITH
106029     106029-GB-EPA          EP1793644                    06301129.0         EP1793644                   GB                                 13-Jan-10              7-Nov-26               7-Nov-06
                                                                                                                                                                                                           WSS SUFFERING FROM FILTERING EFFECTS

106039     106039-DE-EPA          EP1804434                    05292696.1         EP1804434                   DE                                21-Nov-07              13-Dec-25              13-Dec-05 Method for 3GPP-WIMAX internetworkine:
106039     106039-FR-EPA          EP1804434                    05292696.1         EP1804434                   FR                                21-Nov-07              13-Dec-25              13-Dec-05 Method for 3GPP-WIMAX internetworkine:
106039     106039-GB-EPA          EP1804434                    05292696.1         EP1804434                   GB                                21-Nov-07              13-Dec-25              13-Dec-05 Method for 3GPP-WIMAX internetworkine:
                                                                                                                                                                                                           PROCEDE ET DISPOSITIF DE GESTION D'UNE
                                                                                                                                                                                                           SURCHARGE DANS UNE CELLULE D'UN RESEAU DE
                                  ZL200610164549
106090     106090-CN-NP                                        200610164549.X     1980476                     CN                                 3-Nov-10                5-Dec-26              5-Dec-06 RADIOCOMMUNICATION, UTILISATION,
                                  .X
                                                                                                                                                                                                           PROGRAMME INFORMATIQUE ET MOYEN DE
                                                                                                                                                                                                           STOCKAGE CORRESPONDANTS
                                                                                                                                                                                                           PROCEDE ET DISPOSITIF DE GESTION D'UNE
                                                                                                                                                                                                           SURCHARGE DANS UNE CELLULE D'UN RESEAU DE
106090     106090-DE-EPA          EP1796416                    06124955.3         EP1796416                   DE                                15-Oct-08             28-Nov-26               28-Nov-06 RADIOCOMMUNICATION, UTILISATION,
                                                                                                                                                                                                           PROGRAMME INFORMATIQUE ET MOYEN DE
                                                                                                                                                                                                           STOCKAGE CORRESPONDANTS
                                                                                                                                                                                                           PROCEDE ET DISPOSITIF DE GESTION D'UNE
                                                                                                                                                                                                           SURCHARGE DANS UNE CELLULE D'UN RESEAU DE
106090     106090-FR-EPA          EP1796416                    06124955.3         EP1796416                   FR                                15-Oct-08             28-Nov-26               28-Nov-06 RADIOCOMMUNICATION, UTILISATION,
                                                                                                                                                                                                           PROGRAMME INFORMATIQUE ET MOYEN DE
                                                                                                                                                                                                           STOCKAGE CORRESPONDANTS
                                                                                                                                                                                                           PROCEDE ET DISPOSITIF DE GESTION D'UNE
                                                                                                                                                                                                           SURCHARGE DANS UNE CELLULE D'UN RESEAU DE
106090     106090-GB-EPA          EP1796416                    06124955.3         EP1796416                   GB                                15-Oct-08             28-Nov-26               28-Nov-06 RADIOCOMMUNICATION, UTILISATION,
                                                                                                                                                                                                           PROGRAMME INFORMATIQUE ET MOYEN DE
                                                                                                                                                                                                           STOCKAGE CORRESPONDANTS
                                                                                                                                                                                                           Method And Device For Management Of An Overload
                                                                                                                                                                                                           In Ac.ell Of A Radio Communication Network,
106090     106090-US-NP           US7853266                    11/567702          20070135113                 us                                14-Dec-10              13-Oct-29               6-Dec-06
                                                                                                                                                                                                           Corresponding Uses, Computer Porgram And Storage
                                                                                                                                                                                                           Means
                                                                                                                                                                                                           A METHOD FOR SERVICE DELIVERY IN A MOBILE
106091     106091-JP-NP           JP5019865                    2006343839         2007184915                 JP                                  22-Jun-12             21-Dec-26              21-Dec-06
                                                                                                                                                                                                           COMMUNICATION SYSTEM
                                                                                                                                                                                                           A METHOD FOR SERVICE DELIVERY IN A MOBILE
106091     106091-EP-EPA                                       05301126.8         EP1804435                   EP                                                       30-Dec-25              30-Dec-05
                                                                                                                                                                                                           COMMUNICATION SYSTEM

                                                                                                                                                                                                           DISPOSITIF RECONFIGURABLE DE MULTIPLEXAGE
                                                                                                                                                                                                           OPTIQUE A INSERTION/EXTRACTION COMPORTANT
106119     106119-EP-EPA                                       07107923.0         EP1855407                   EP                                                      10-May-27              10-May-07
                                                                                                                                                                                                           DES INTERFACES D'ENTREE/SORTIE OPTIQUESA
                                                                                                                                                                                                           BAN DES LARGES

                                                                                                                                                                                                           DISPOSITIF DE SELECTION DE POTENTIEL{S) FUTUR(S)
106121     106121-FR-NP           FR2902595                    0652135            2902595                     FR                                 16-Jan-09             15-Jun-26              15-Jun-06 RESEAU(X) D'ACCES RADIO DE RATTACHEMENT DE
                                                                                                                                                                                                           TERMINAUX MOBILES
                                                                                                                                                                                                           SEMANTIC DESCRIPTIONS/ ONTOLOGIES
106123     106123-EP-EPA                                       07116563.3         EP1903454                   EP                                                       17-Sep-27              17-Sep-07
                                                                                                                                                                                                           GENERATION FROM TEXT
                                                                                                                                                                                                           SEMANTIC DESCRIPTIONS/ ONTOLOGIES
106123     106123-KR-PCT          KR101416682                  20097005662                                    KR                                  2-Jul-14             17-Sep-27              17-Sep-07
                                                                                                                                                                                                           GENERATION FROM TEXT
                                                                                                                                                                                                           AUTONOMOUS SELECTIVE SYNCHRONIZATION
106211     106211-DE-EPA          EP2009821                    07290802.3         EP2009821                   DE                                 2-Nov-11              28-Jun-27              28-Jun-07
                                                                                                                                                                                                           ALGORITHM
                                                                                                                                                                                                           AUTONOMOUS SELECTIVE SYNCHRONIZATION
106211     106211-FR-EPA          EP2009821                    07290802.3         EP2009821                   FR                                 2-Nov-11              28-Jun-27              28-Jun-07
                                                                                                                                                                                                           ALGORITHM
                                                                                                                                                                                                           AUTONOMOUS SELECTIVE SYNCHRONIZATION
106211     106211-GB-EPA          EP2009821                    07290802.3         EP2009821                   GB                                 2-Nov-11              28-Jun-27              28-Jun-07
                                                                                                                                                                                                           ALGORITHM
                                  ZL200610064405                                                                                                                                                           MULTIPLE SPS CONSTELLATION PROCESSING
106226     106226-CN-NP                                        200610064405.7     101013153                   CN                                18-May-11              29-Dec-26              29-Dec-06
                                  .7                                                                                                                                                                       OPTIMISATION
                                                                                                                                                                                                           PROCEDE D'OPTIMISATION DES TRAITEMENTS DE
                                                                                                                                                                                                           DONNEES DE LOCALISATION EN PRESENCE DE
106226     106226-DE-EPA          EP1804071                    05301124.3         EP1804071                   DE                                15-Oct-08              29-Dec-25              29-Dec-05
                                                                                                                                                                                                           PLUSIEURS CONSTELLATIONS DE POSITIONNEMENT
                                                                                                                                                                                                           PAR SATELLITES
                                                                                                                                                                                                           PROCEDE D'OPTIMISATION DES TRAITEMENTS DE
                                                                                                                                                                                                           DONNEES DE LOCALISATION EN PRESENCE DE
106226     106226-FR-EPA          EP1804071                    05301124.3         EP1804071                   FR                                15-Oct-08              29-Dec-25              29-Dec-05
                                                                                                                                                                                                           PLUSIEURS CONSTELLATIONS DE POSITIONNEMENT
                                                                                                                                                                                                           PAR SATELLITES
                                                                                                                                                                                                           PROCEDE D'OPTIMISATION DES TRAITEMENTS DE
                                                                                                                                                                                                           DONNEES DE LOCALISATION EN PRESENCE DE
106226     106226-GB-EPA          EP1804071                    05301124.3         EP1804071                   GB                                15-Oct-08              29-Dec-25              29-Dec-05
                                                                                                                                                                                                           PLUSIEURS CONSTELLATIONS DE POSITIONNEMENT
                                                                                                                                                                                                           PAR SATELLITES
                                                                                                                                                                                                           MULTIPLE SPS CONSTELLATION PROCESSING
106226     106226-US-NP           US7646338                    11/617072          20070236387                 us                                 12-Jan-10            28-May-27               28-Dec-06
                                                                                                                                                                                                           OPTIMISATION
                                  ZL200710136209                                                                                                                                                           TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-CN-NP                                        200710136209.0     101149426                   CN                                 2-Nov-11                10-Jul-27             10-Jul-07
                                  .D                                                                                                                                                                       MESSAGES DE NAVIGATION
                                                                                                                                                                                                           TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-DE-EPA          EP1879040                    07111736.0         EP1879040                   DE                                14-Apr-10                 4-Jul-27              4-Jul-07
                                                                                                                                                                                                           MESSAGES DE NAVIGATION




                                                                                            Page 9 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0150
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 17 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-ES-EPA          EP1879040                    07111736.0                     EP1879040                    ES                       14-Apr-10                 4-Jul-27              4-Jul-07
                                                                                                                                                                                                               MESSAGES DE NAVIGATION
                                                                                                                                                                                                               TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-FR-EPA          EP1879040                    07111736.0                     EP1879040                    FR                       14-Apr-10                 4-Jul-27              4-Jul-07
                                                                                                                                                                                                               MESSAGES DE NAVIGATION
                                                                                                                                                                                                               TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-GB-EPA          EP1879040                    07111736.0                     EP1879040                   GB                        14-Apr-10                 4-Jul-27              4-Jul-07
                                                                                                                                                                                                               MESSAGES DE NAVIGATION
                                                                                                                                                                                                               TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-IT-EPA          EP1879040                    07111736.0                     EP1879040                    IT                       14-Apr-10                 4-Jul-27              4-Jul-07
                                                                                                                                                                                                               MESSAGES DE NAVIGATION
                                                                                                                                                                                                               TRANSMISSION DU FORMAT DES MESSAGES SUR LES
106235     106235-US-NP           US7489272                    11/775675                     20080136706                   us                       10-Feb-09                10-Jul-27             10-Jul-07
                                                                                                                                                                                                               MESSAGES DE NAVIGATION

                                                                                                                                                                                                               SYSTEME DE COMMUNICATION POUR LA GESTION
                                  ZL200780023321                                                                                                                                                               CENTRALISEE, PAR UN OPERATEUR VIRTUEL,
106268     106268-CN-PCT                                       200780023321.1                CN101473667A                  CN                       28-Dec-11              14-Jun-27              14-Jun-07
                                  .1                                                                                                                                                                           D'APPELS DE TERMINAUX D'ABONNES CONNECTES A
                                                                                                                                                                                                               DES RESEAUX DE COMMUNICATION D'ACCUEIL


                                                                                                                                                                                                               SYSTEME DE COMMUNICATION POUR LA GESTION
                                                                                                                                                                                                               CENTRALISEE, PAR UN OPERATEUR VIRTUEL,
106268     106268-DE-EPT          EP2041993                    07786743.0                     EP2041993                    DE                       14-Aug-13              14-Jun-27              14-Jun-07
                                                                                                                                                                                                               D'APPELS DE TERMINAUX D'ABONNES CONNECTES A
                                                                                                                                                                                                               DES RESEAUX DE COMMUNICATION D'ACCUEIL


                                                                                                                                                                                                               SYSTEME DE COMMUNICATION POUR LA GESTION
                                                                                                                                                                                                               CENTRALISEE, PAR UN OPERATEUR VIRTUEL,
106268     106268-FR-EPT          EP2041993                    07786743.0                     EP2041993                    FR                       14-Aug-13              14-Jun-27              14-Jun-07
                                                                                                                                                                                                               D'APPELS DE TERMINAUX D'ABONNES CONNECTES A
                                                                                                                                                                                                               DES RESEAUX DE COMMUNICATION D'ACCUEIL


                                                                                                                                                                                                               SYSTEME DE COMMUNICATION POUR LA GESTION
                                                                                                                                                                                                               CENTRALISEE, PAR UN OPERATEUR VIRTUEL,
106268     106268-GB-EPT          EP2041993                    07786743.0                     EP2041993                   GB                        14-Aug-13              14-Jun-27              14-Jun-07
                                                                                                                                                                                                               D'APPELS DE TERMINAUX D'ABONNES CONNECTES A
                                                                                                                                                                                                               DES RESEAUX DE COMMUNICATION D'ACCUEIL

                                                                                                                                                                                                               Centralized Communication Management Via A
106268     106268-US-PCT          US9237436                    12/308375                     20100189019                   us                        12-Jan-16             27-Sep-30              14-Jun-07 Virtual Operator For Connecting Subscriber Calls To
                                                                                                                                                                                                               Host Networks
                                                                                                                                                                                                               IP SIMPLE ADAPTATIVE HEADER COMPRESSION (IP-
106278     106278-EP-EPA                                       07119074.8                     EP1916819                    EP                                              23-Oct-27              23-Oct-07
                                                                                                                                                                                                               SACHl
                                                                                                                                                                                                               IP SIMPLE ADAPTATIVE HEADER COMPRESSION (IP-
106278     106278-FR-NP           FR2907624                    0654472                       2907624                       FR                       20-Feb-09              24-Oct-26              24-Oct-06
                                                                                                                                                                                                               SACHl
                                                                                                                                                                                                               Compression Device Wherein Compression Is
                                                                                                                                                                                                               Adapted As A Function Of The Transport Medium,
106278     106278-US-NP           US8885670                    11/876955                     20080098129                   us                       11-Nov-14              29-Oct-28              23-Oct-07
                                                                                                                                                                                                               And Associated Decompression Device, For
                                                                                                                                                                                                               Communication Eauioments
106279     106279-IN-PCT                                       5803/CHENP/2008                                             IN                                              11-Apr-27              11-Apr-07 GAN ENERGY SAVING
106284     106284-EP-EPA                                       07115572.5                     EP1898492                    EP                                                3-Se -27              3-Sen-07 DIELECTRIC ROTATIVE PHASE SHIFTER
106284     106284-FR-NP           FR2905803                    0653660                       2905803                       FR                        7-Mav-10              11-Se -26              11-Sen-06 DIELECTRIC ROTATIVE PHASE SHIFTER
                                                                                                                                                                                                               SPEED-UP OF ROADMs SWITCHING ELEMENT
106316     106316-DE-EPA          EP1906574                    07116724.1                     EP1906574                    DE                       13-Apr-11              19-Sep-27              19-Sep-07
                                                                                                                                                                                                               PROTECTION
                                                                                                                                                                                                               SPEED-UP OF ROADMs SWITCHING ELEMENT
106316     106316-FR-EPA          EP1906574                    07116724.1                     EP1906574                    FR                       13-Apr-11              19-Sep-27              19-Sep-07
                                                                                                                                                                                                               PROTECTION
                                                                                                                                                                                                               SPEED-UP OF ROADMs SWITCHING ELEMENT
106316     106316-GB-EPA          EP1906574                    07116724.1                     EP1906574                   GB                        13-Apr-11              19-Sep-27              19-Sep-07
                                                                                                                                                                                                               PROTECTION
                                                                                                                                                                                                               Method of establishing a path in a data network,
106333     106333-DE-EPA          EP1942616                    07290009.5                     EP1942616                    DE                        25-Jun-14               3-Jan-27              3-Jan-07 path computing elements, network elements and
                                                                                                                                                                                                               data network
                                                                                                                                                                                                               Method of establishing a path in a data network,
106333     106333-FR-EPA          EP1942616                    07290009.5                     EP1942616                    FR                        25-Jun-14               3-Jan-27              3-Jan-07 path computing elements, network elements and
                                                                                                                                                                                                               data network
                                                                                                                                                                                                               Method of establishing a path in a data network,
106333     106333-GB-EPA          EP1942616                    07290009.5                     EP1942616                   GB                         25-Jun-14               3-Jan-27              3-Jan-07 path computing elements, network elements and
                                                                                                                                                                                                               data network

                                                                                                                                                                                                               PROCEDE DE LOCALISATION D'UN SOFTPHONE ET
106353     106353-EP-EPA                                       07111651.1                     EP1876795                    EP                                                 3-Jul-27              3-Jul-07
                                                                                                                                                                                                               RESEAU POUR LA MISE EN OEUVRE DE CE PROCEDE


                                                                                                                                                                                                               PROCEDE DE LOCALISATION D'UN SOFTPHONE ET
106353     106353-FR-NP           FR2903550                    0652785                       2903550                       FR                       14-Nov-08                 4-Jul-26              4-Jul-06
                                                                                                                                                                                                               RESEAU POUR LA MISE EN OEUVRE DE CE PROCEDE

106424     106424-DE-EPA          EP1950641                    08100996.1                     EP1950641                    DE                        7-Apr-10               28-Jan-28             28-Jan-08 FRONT ACCESS PEM
106424     106424-FR-EPA          EP1950641                    08100996.1                     EP1950641                    FR                        7-Anr-10               28-Jan-28             28-Jan-08 FRONT ACCESS PEM
106424     106424-GB-EPA          EP1950641                    08100996.1                     EP1950641                   GB                         7-Anr-10               28-Jan-28             28-Jan-08 FRONT ACCESS PEM
                                                                                                                                                                                                               OVERALL COMPOSITE ACCURACY & BANDWIDTH
106447     106447-DE-EPA          EP1876465                    07111525.7                     EP1876465                    DE                        9-Oct-13                 2-Jul-27              2-Jul-07
                                                                                                                                                                                                               IMPROVEMENT
                                                                                                                                                                                                               OVERALL COMPOSITE ACCURACY & BANDWIDTH
106447     106447-FR-EPA          EP1876465                    07111525.7                     EP1876465                    FR                        9-Oct-13                 2-Jul-27              2-Jul-07
                                                                                                                                                                                                               IMPROVEMENT
                                                                                                                                                                                                               OVERALL COMPOSITE ACCURACY & BANDWIDTH
106447     106447-GB-EPA          EP1876465                    07111525.7                     EP1876465                   GB                         9-Oct-13                 2-Jul-27              2-Jul-07
                                                                                                                                                                                                               IMPROVEMENT
                                  ZL200710138863                                                                                                                                                               GROUND-BASED INTEGRITY ALERTS FOR SATELLITE
106448     106448-CN-NP                                        200710138863.5                101101329                     CN                        15-Jun-11                5-Jul-27              5-Jul-07
                                  .5                                                                                                                                                                           NAVIGATION SYSTEM

                                                                                                                                                                                                               Device For The Generation Of Integrity Messages
106448     106448-DE-EPA          EP1876466                    07111674.3                     EP1876466                    DE                       29-Feb-12                 3-Jul-27              3-Jul-07 Signalling Nominal, Degraded Or Inactive Surveillance
                                                                                                                                                                                                               Stations For Satellite Navigation Systems


                                                                                                                                                                                                               Device For The Generation Of Integrity Messages
106448     106448-FR-EPA          EP1876466                    07111674.3                     EP1876466                    FR                       29-Feb-12                 3-Jul-27              3-Jul-07 Signalling Nominal, Degraded Or Inactive Surveillance
                                                                                                                                                                                                               Stations For Satellite Navigation Systems


                                                                                                                                                                                                               Device For The Generation Of Integrity Messages
106448     106448-GB-EPA          EP1876466                    07111674.3                     EP1876466                   GB                        29-Feb-12                 3-Jul-27              3-Jul-07 Signalling Nominal, Degraded Or Inactive Surveillance
                                                                                                                                                                                                               Stations For Satellite Navigation Systems

                                                                                                                                                                                                               GROUND-BASED INTEGRITY ALERTS FOR SATELLITE
106448     106448-US-NP           US7511660                    11/773769                     20080007452                   us                       31-Mar-09                 5-Jul-27              5-Jul-07
                                                                                                                                                                                                               NAVIGATION SYSTEM

106454     106454-EP-EPA                                       07115996.6                     EP1909456                    EP                                              10-Sep-27              10-Sep-07 CONTROL OF IMS SECURITY BY MEANS OF DIAMETER


106454     106454-FR-NP           FR2906951                    0654078                       2906951                       FR                       12-Dec-08                4-Oct-26              4-Oct-06 CONTROL OF IMS SECURITY BY MEANS OF DIAMETER


                                                                                                                                                                                                               PASSIVE AND REACTIVE RECOVERY OF DYNAMIC
106459     106459-FR-NP           FR2916924                    0755438                       2916924                       FR                        9-Oct-09                4-Jun-27              4-Jun-07
                                                                                                                                                                                                               TELECOMMUNICATION APPLICATIONS

                                                                                                                                                                                                               APPLICATION IDENTIFICATION IN A SIP SPIRAL
106460     106460-DE-EPA          EP1956792                    07121635.2                     EP1956792                    DE                         8-Jul-15            27-Nov-27               27-Nov-07
                                                                                                                                                                                                               TRAFFIC
                                                                                                                                                                                                               APPLICATION IDENTIFICATION IN A SIP SPIRAL
106460     106460-FR-EPA          EP1956792                    07121635.2                     EP1956792                    FR                         8-Jul-15            27-Nov-27               27-Nov-07
                                                                                                                                                                                                               TRAFFIC




                                                                                                       Page 1 O of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0151
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 18 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                  ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    APPLICATION IDENTIFICATION IN A SIP SPIRAL
106460     106460-GB-EPA          EP1956792                    07121635.2                     EP1956792                   GB                          8-Jul-15             27-Nov-27               27-Nov-07
                                                                                                                                                                                                                TRAFFIC

106477     106477-DE-EPA          EP1928105                    06291849.5                     EP1928105                    DE                       11-May-11              30-Nov-26               30-Nov-06 POWER CONTROL METHOD FOR HSU PA IN UMTS


106477     106477-FR-EPA          EP1928105                    06291849.5                     EP1928105                    FR                       11-May-11              30-Nov-26               30-Nov-06 POWER CONTROL METHOD FOR HSU PA IN UMTS


106477     106477-GB-EPA          EP1928105                    06291849.5                     EP1928105                   GB                        11-May-11              30-Nov-26               30-Nov-06 POWER CONTROL METHOD FOR HSU PA IN UMTS


                                                                                                                                                                                                                A METHOD FOR IMPROVING PAGING
106495     106495-EP-EPA                                       06291100.3                     EP1876850                    EP                                                  3-Jul-26              3-Jul-06
                                                                                                                                                                                                                PERFORMANCES IN A WIRELESS ACCESS SYSTEM


                                                                                                                                                                                                                A METHOD FOR IMPROVING PAGING
106495     106495-KR-PCT          KR101467955                  20097000020                                                 KR                       26-Nov-14                  2-Jul-27              2-Jul-07
                                                                                                                                                                                                                PERFORMENCES IN A WIRELESS ACCESS SYSTEM

                                                                                                                                                                                                                Method For Improving Paging Performances In A
106495     106495-US-PCT          US9282533                    12/307199                     20100022256                   us                        8-Mar-16                25-Jul-29               2-Jul-07
                                                                                                                                                                                                                WirelessAccessSvstem
110222     110222-DE-EPA          EP0975167                    99440198.2                     EP0975167                    DE                       17-0ct-12                 13-Jul-19             13-Jul-99 Memorv Units for ON-Demand Service
110222     110222-FR-EPA          EP0975167                    99440198.2                     EP0975167                    FR                       17-0ct-12                 13-Jul-19             13-Jul-99 Memorv Units for ON-Demand Service
110222     110222-GB-EPA          EP0975167                    99440198.2                     EP0975167                   GB                        17-0ct-12                 13-Jul-19             13-Jul-99 Memory Units for ON-Demand Service
110222     110222-US-NP           US6434610                    09/350160                                                   us                       13-Aug-02                  9-Jul-19              9-Jul-99 Memory Units for ON-Demand Service

                                                                                                                                                                                                             Synchrones digitales Nachrichtenubertragungssytem,
110237     110237-US-DIV          US6411633                    09/697535                                                   us                        25-Jun-02              19-Dec-17              26-0ct-OO Steuerungseinrichtung, Netzelementund zentraler
                                                                                                                                                                                                                Taktgenerator

110237     110237-US-NP           US6163551                    08/994529                                                   us                       19-Dec-OO               19-Dec-17              19-Dec-97 Svnchronization Management
110268     110268-US-NP           US5982442                    08/980240                                                   us                        9-Nov-99              28-Nov-17               28-Nov-97 Reducing of blocking effect
110270     110270-US-NP           US6008759                    09/204506                                                   us                       28-Dec-99                 4-Dec-18              4-Dec-98 Single-Burst in an SOMA Mobile Radio System
110306     110306-US-NP           US6396602                    08/982734                                                   us                       28-May-02                 2-Dec-17              2-Dec-97 Optical Switching Unit

                                                                                                                                                                                                                Endgerat,Berechtigungskarteund
                                                                                                                                                                                                                Telekommunikationsnetz fur einen Teilnehmer sowie
110330     110330-DE-EPA          EP0899979                    98440167.9                     EP0899979                    DE                        18-Jun-08               31-Jul-18              31-Jul-98
                                                                                                                                                                                                                Vetfahren zum Andern eines dem Teilnehmer
                                                                                                                                                                                                                zugeordneten Diensteprofils


                                                                                                                                                                                                                Endgerat,Berechtigungskarteund
                                                                                                                                                                                                                Telekommunikationsnetz fur einen Teilnehmer sowie
110330     110330-ES-EPA          EP0899979                    98440167.9                     EP0899979                    ES                        18-Jun-08               31-Jul-18              31-Jul-98
                                                                                                                                                                                                                Vetfahren zum Andern eines dem Teilnehmer
                                                                                                                                                                                                                zugeordneten Diensteprofils


                                                                                                                                                                                                                Endgerat,Berechtigungskarteund
                                                                                                                                                                                                                Telekommunikationsnetz fur einen Teilnehmer sowie
110330     110330-FR-EPA          EP0899979                    98440167.9                     EP0899979                    FR                        18-Jun-08               31-Jul-18              31-Jul-98
                                                                                                                                                                                                                Vetfahren zum Andern eines dem Teilnehmer
                                                                                                                                                                                                                zugeordneten Diensteprofils


                                                                                                                                                                                                                Endgerat,Berechtigungskarteund
                                                                                                                                                                                                                Telekommunikationsnetz fur einen Teilnehmer sowie
110330     110330-GB-EPA          EP0899979                    98440167.9                     EP0899979                   GB                         18-Jun-08               31-Jul-18              31-Jul-98
                                                                                                                                                                                                                Vetfahren zum Andern eines dem Teilnehmer
                                                                                                                                                                                                                zugeordneten Diensteprofils


                                                                                                                                                                                                                Endgerat,Berechtigungskarteund
                                                                                                                                                                                                                Telekommunikationsnetz fur einen Teilnehmer sowie
110330     110330-IT-EPA          EP0899979                    98440167.9                     EP0899979                    IT                        18-Jun-08               31-Jul-18              31-Jul-98
                                                                                                                                                                                                                Vetfahren zum Andern eines dem Teilnehmer
                                                                                                                                                                                                                zugeordneten Diensteprofils

                                                                                                                                                                                                                Terminal for a subscriber of a mobile radio
110330     110330-AU-NP           AU739131                     78841/98                      739131                       AU                         14-Jan-02               7-Aug-18               7-Aug-98
                                                                                                                                                                                                                telecommunications network
                                                                                                                                                                                                                Mobile Service Profile shift to EMPD 18.01.02 (Mail
110330     110330-JP-DIV          JP5344903                    2008323291                    2009124717                   JP                        23-Aug-13                5-Aug-18              19-Dec-08
                                                                                                                                                                                                                fromS.Menagerl
                                                                                                                                                                                                                Mobile Service Profile shift to EMPD 18.01.02 (Mail
110330     110330-US-NP           US6353737                    09/128874                                                   us                        5-Mar-02                4-Aug-18               4-Aug-98
                                                                                                                                                                                                                fromS.Menagerl
110398     110398-US-NP           US6289091                    08/932867                                                   us                       11-Sep-01               18-Sep-17              18-Sep-97 Operator Shifting for Subscribers
110530     110530-TW-NP           TW116304                     87108174                      TW393871                     TW                        17-0ct-OO              26-Mav-18              26-Mav-98 Domestic Base Station IMPDl
110530     110530-US-NP           US6108522                    09/082325                                                   us                       22-Au11:-00            21-Mav-18              21-Mav-98 Domestic Base Station IMPDl
                                                                                                                                                                                                             Method for procuring instructions regarding a target
110561     110561-US-NP           US6337902                    09/207663                                                   us                         8-Jan-02                9-Dec-18              9-Dec-98 subscriber in a telecommunication network and
                                                                                                                                                                                                              nodal ooints for this
110630     110630-US-NP           US6016379                    09/127475                                                   us                        18-Jan-OO               31-Jul-18              31-Jul-98 Ootical Receiver for PMD
                                                                                                                                                                                                                Automatic Configuration of Transmission Networks
110635     110635-US-NP           US6205121                    09/150997                                                   us                       20-Mar-Ol               10-Sep-18              10-Sep-98
                                                                                                                                                                                                                for IP Traffic
110647     110647-US-NP           US6160882                    09/076511                                                   us                       12-Dec-OO              12-Mav-18              12-Mav-98 Dere,::,ulated access network

                                                                                                                                                                                                                Method of establishing a toll-free communication
110669     110669-US-NP           US6343123                    09/099896                                                   us                        29-Jan-02              18-Jun-18              18-Jun-98 connection, as well as a service unit, an exchange
                                                                                                                                                                                                                and a communications network

110714     110714-US-NP           US6295152                    09/209472                                                   us                       25-Seo-Ol               11-Dec-18              11-Dec-98 Adaotiver ootical Receiver and
110732     110732-CN-NP           ZL98116368.8                 98116368.8                    1207000                       CN                        3-Nov-06                24-Jul-18              24-Jul-98 Dual mode handv /MPD)
                                                                                                                                                                                                                Method for steering of call lines and communications
110732     110732-DE-EPA          EP0893933                    98440161.2                     EP0893933                    DE                       20-Dec-06                24-Jul-18              24-Jul-98
                                                                                                                                                                                                                terminal
                                                                                                                                                                                                                Method for steering of call lines and communications
110732     110732-FR-EPA          EP0893933                    98440161.2                     EP0893933                    FR                       20-Dec-06                24-Jul-18              24-Jul-98
                                                                                                                                                                                                                terminal
                                                                                                                                                                                                                Method for steering of call lines and communications
110732     110732-GB-EPA          EP0893933                    98440161.2                     EP0893933                   GB                        20-Dec-06                24-Jul-18              24-Jul-98
                                                                                                                                                                                                              terminal
110732     110732-US-NP           US6321096                    09/121426                     20010014614                   us                       20-Nov-Ol                23-Jul-18              23-Jul-98 Dual mode handv /MPD)
110743     110743-US-NP           US6240136                    09/252453                                                   us                       29-Mav-Ol               18-Feb-19              18-Feb-99 Entrv oointinto a data stream
                                                                                                                                                                                                                METHOD FOR ASSIGNING TASKS, DATA PROCESSING
                                                                                                                                                                                                                SYSTEM, CLIENT DATA
110750     110750-US-NP           US6725455                    09/313981                     20030177162                   us                       20-Apr-04              19-May-19              19-May-99
                                                                                                                                                                                                                PROCESSING NODES AND MACHINE-READABLE
                                                                                                                                                                                                                STORAGE MEDIUM

                                                                                                                                                                                                                Vetfahren zum Ubergeben von Betriebsparametern
                                                                                                                                                                                                             von einerZentrale an ein ortlich begrenztes
110811     110811-DE-EPT          EP0965237                    98966953.6                     EP0965237                    DE                        5-Dec-07               29-Dec-18              29-Dec-98 drahtloses Telekommunikationssystem und
                                                                                                                                                                                                                entsprechendes drahtloses
                                                                                                                                                                                                                Telekommunikationssystem


                                                                                                                                                                                                                Vetfahren zum Ubergeben von Betriebsparametern
                                                                                                                                                                                                             von einerZentrale an ein ortlich begrenztes
110811     110811-FR-EPT          EP0965237                    98966953.6                     EP0965237                    FR                        5-Dec-07               29-Dec-18              29-Dec-98 drahtloses Telekommunikationssystem und
                                                                                                                                                                                                                entsprechendes drahtloses
                                                                                                                                                                                                                Telekommunikationssystem




                                                                                                       Page 11 of 149
                                                                                                                                                                                  PATENT
                                                                                                                                                                          REEL: 044000 FRAME: 0152
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 19 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                           :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                     Vetfahren zum Ubergeben von Betriebsparametern
                                                                                                                                                                                                                     von einerZentrale an ein ortlich begrenztes
110811              110811-GB-EPT          EP0965237                    98966953.6         EP0965237                   GB                                  5-Dec-07             29-Dec-18               29-Dec-98 drahtloses Telekommunikationssystem und
                                                                                                                                                                                                                     entsprechendes drahtloses
                                                                                                                                                                                                                     Telekommunikationssystem


                                                                                                                                                                                                                     METHOD FOR TRANSFERRING OPERATING
                                                                                                                                                                                                                     PARAMETERS FROM A CONTROL CENTER TO A
110811              110811-US-PCT          U56741854                    09/380496          20030032420                 us                                25-May-04              29-Dec-18               29-Dec-98 LOCALLY LIMITED WIRELESS TELECOMMUNICATIONS
                                                                                                                                                                                                                     SYSTEM AND A CORRESPONDING WIRELESS
                                                                                                                                                                                                                     TELECOMMUNICATIONS SYSTEM

                                                                                                                                                                                                                     Method for distributing parameters in a cordless
110811              110811-JP-PCT          JP4152451                    535651/99          2001515680                 JP                                  11-Jul-08             29-Dec-18               29-Dec-98
                                                                                                                                                                                                                     networksvstem
                                                                                                                                                                                                                     Method for preparingaterminaltobe used ina
110836              110836-US-CIP          US6463293                    09/536976                                      us                                  8-0ct-02             25-Sep-17               28-Mar-OO
                                                                                                                                                                                                                     svstem and svstem and terminal
                                                                                                                                                                                                                     Method for preparingaterminaltobe used ina
110836              110836-US-NP           US6067351                    09/160749                                      us                                23-May-OO              25-Sep-18                25-Sep-98
                                                                                                                                                                                                                     svstem and svstem and terminal

                                                                                                                                                                                                                     Printer-option system for exchanging data between a
110840              110840-US-NP           US6067352                    09/161110                                      us                                23-May-OO              25-Sep-18                25-Sep-98 terminal and access means via a telephone network,
                                                                                                                                                                                                                     and access means,andterminal

                                                                                                                                                                                                                     Vetfahren, Module und Vermittlungsstelle zum
110917              110917-DE-EPA          EP0981087                    99440217.0         EP0981087                   DE                                 2-Mar-05               29-Jul-19               29-Jul-99 Kennzeichnen von Prozessen sowie von deren Oaten
                                                                                                                                                                                                                     und Betriebsmitteln
                                                                                                                                                                                                                     Method, module and controller for registering
110917              110917-FR-EPA          EP0981087                    99440217.0         EP0981087                   FR                                 2-Mar-05               29-Jul-19               29-Jul-99
                                                                                                                                                                                                                     lorocessesas well as their data and resources
                                                                                                                                                                                                                     Method, module and controller for registering
110917              110917-GB-EPA          EP0981087                    99440217.0         EP0981087                   GB                                 2-Mar-05               29-Jul-19               29-Jul-99
                                                                                                                                                                                                                     lorocessesas well as their data and resources
                                                                                                                                                                                                                     Method, module and controller for registering
110917              110917-IT-EPA          EP0981087                    99440217.0         EP0981087                   IT                                 2-Mar-05               29-Jul-19               29-Jul-99
                                                                                                                                                                                                                     I processes as well as their data and resources
110917              110917-US-NP           US6938255                    09/365784                                      us                                30-AUP--05              3-AUP--19                3-AUP--99 Process Relinkin,,.
                                                                                                                                                                                                                     Method for cooperative multitasking in a
110995              110995-US-NP           US6675190                    09/414311                                      us                                  6-Jan-04               7-0ct-19                7-0ct-99 communications network, and a network element for
                                                                                                                                                                                                                     carrvin out the method

                                                                                                                                                                                                                     Process for the automatic creation and monitoring of
111092              111092-US-NP           US6790044                    09/440690                                      us                                 14-Sep-04             16-Nov-19               16-Nov-99
                                                                                                                                                                                                                     a progress plan for a training course by a computer

                                                                                                                                                                                                                     Transmission system with spectrum widening with
111106              111106-DE-EPA          EP0994613                    99440278.2         EP0994613                   DE                                 26-Sep-07             15-0ct-19                15-0ct-99
                                                                                                                                                                                                                     multi-carrier modulation
                                                                                                                                                                                                                     Transmission system with spectrum widening with
111106              111106-FR-EPA          EP0994613                    99440278.2         EP0994613                   FR                                 26-Sep-07             15-0ct-19                15-0ct-99
                                                                                                                                                                                                                     multi-carrier modulation
                                                                                                                                                                                                                     Transmission system with spectrum widening with
111106              111106-GB-EPA          EP0994613                    99440278.2         EP0994613                   GB                                 26-Sep-07             15-0ct-19                15-0ct-99
                                                                                                                                                                                                                     multi-carrier modulation
                                                                                                                                                                                                                     SPREAD-SPECTRUM TRANSMISSION SYSTEM WITH
111106              111106-US-NP           US6680966                    09/418250          20030215001                 us                                 20-Jan-04             15-0ct-19                15-0ct-99 FILTERED MULTI-CARRIER
                                                                                                                                                                                                                     MODULATION
111180              111180-US-NP           US6597666                    09/447299                                      us                                 22-Jul-03            23-Nov-19                23-Nov-99 Editor for Switch Confi uration Data
                                                                                                                                                                                                                     Systeme de transmission TOMA multipoint      a point
111278              111278-US-NP           US6731615                    09/551493                                      us                                 4-May-04              18-Apr-20                18-Apr-OO utilisant une structure de burst particulil2reet
                                                                                                                                                                                                                     emetteurcorresoondant
                                                                                                                                                                                                                   Editierverfahrenfur Konfigurationsdaten eines
111298              111298-DE-EPA          EP1076437                    00116747.7         EP1076437                   DE                                 16-Apr-08              3-Aug-20                 3-Aug-00 Telekommunikationssystems sowie Computerprodukt
                                                                                                                                                                                                                     undServerdafur
                                                                                                                                                                                                                     Editierverfahrenfur Konfigurationsdaten eines
111298              111298-FR-EPA          EP1076437                    00116747.7         EP1076437                   FR                                 16-Apr-08              3-Aug-20                 3-Aug-00 Telekommunikationssystems sowie Computerprodukt
                                                                                                                                                                                                                     undServerdafur
                                                                                                                                                                                                                   Editierverfahrenfur Konfigurationsdaten eines
111298              111298-GB-EPA          EP1076437                    00116747.7         EP1076437                   GB                                 16-Apr-08              3-Aug-20                 3-Aug-00 Telekommunikationssystems sowie Computerprodukt
                                                                                                                                                                                                                     undServerdafur
                                                                                                                                                                                                                     Method of controlling power in a transmission link
                                                                                                                                                                                                                     between a transmitter and reciver in a point to
111300              111300-DE-EPA          EP1085676                    99402269.7         EP1085676                   DE                                 22-0ct-14             16-Sep-19                16-Sep-99
                                                                                                                                                                                                                     multipoint communication network and system for
                                                                                                                                                                                                                     carNin out said method
                                                                                                                                                                                                                     Method of controlling power in a transmission link
                                                                                                                                                                                                                     between a transmitter and reciver in a point to
111300              111300-FR-EPA          EP1085676                    99402269.7         EP1085676                   FR                                 22-0ct-14             16-Sep-19                16-Sep-99
                                                                                                                                                                                                                     multipoint communication network and system for
                                                                                                                                                                                                                     carrvin out said method
                                                                                                                                                                                                                     Method of controlling power in a transmission link
                                                                                                                                                                                                                     between a transmitter and reciver in a point to
111300              111300-GB-EPA          EP1085676                    99402269.7         EP1085676                   GB                                 22-0ct-14             16-Sep-19                16-Sep-99
                                                                                                                                                                                                                     multipoint communication network and system for
                                                                                                                                                                                                                     carNin out said method
                                                                                                                                                                                                                     Method of controlling power in a transmission link
                                                                                                                                                                                                                     between a transmitter and reciver in a point to
111300              111300-US-NP           US6650906                    09/659606                                      us                                18-Nov-03                9-Feb-22               11-Sep-OO
                                                                                                                                                                                                                     multipoint communication network and system for
                                                                                                                                                                                                                     carrvin out said method

                                                                                                                                                                                                                     Procede d'allocation/partage de ressources entre
111352              111352-CN-PCT          ZL00801321.7                 00801321.7         1317180A                    CN                                 19-0ct-05             30-Jun-20                30-Jun-OO
                                                                                                                                                                                                                     plusieurs abonnes d'un reseau de communications

                                                                                                                                                                                                                     CHANNEL ADAPTIVE FAST POWER CONTROL IN
111376              111376-US-NP           US6760320                    09/295392                                      us                                  6-Jul-04             21-Apr-19                21-Apr-99
                                                                                                                                                                                                                     CDMA
                                                                                                                                                                                                                     Method of and facility for converting a so net signal,
111379              111379-US-NP           US6717953                    09/656069                                      us                                  6-Apr-04             17-Sep-22                 6-Sep-00
                                                                                                                                                                                                                     to anSDH si nal

111412              111412-US-NP           US6324401                    09/356458                                      us                                27-Nov-Ol                19-Jul-19              19-Jul-99 Combined uplink and downlink handover criteria

                                                                                                                                                                                                                     Methodforsimplesignal,toneand phase change
111451              111451-US-NP           US6999526                    09/750058          20010007442                 us                                 14-Feb-06             18-Sep-22               29-Dec-OO
                                                                                                                                                                                                                     detection
                                                                                                                                                                                                                     DEDICATED BANDWIDTH DATA COMMUNICATION
          111480    111480-US-CIP          US7012896                    09/154966                                                us                    14-Mar-06           20-Apr-18                 17-Sep-98       SWITCH BACKPLANE
                                                                                                                                                                                                                     Ruckwandverdrahtung mit zugeordneter Bandbreite
          111480    111480-DE-EPA          EP0952702                    99440076.0         EP0952702                             DE                     3-Aug-05           19-Apr-19                 19-Apr-99       fur Datenvermittlung
                                                                                                                                                                                                                     Dedicated bandwidth data communication switch
          111480    111480-GB-EPA          EP0952702                    99440076.0         EP0952702                             GB                     3-Aug-05           19-Apr-19                 19-Apr-99       backplane
                                                                                                                                                                                                                     Dedicated bandwidth data communication switch
          111480    111480-IT-EPA          EP0952702                    99440076.0         EP0952702                              IT                    3-Aug-05           19-Apr-19                 19-Apr-99       backplane
                                                                                                                                                                                                                     Dedicated bandwidth data communication switch
          111480    111480-FR-EPA          EP0952702                    99440076.0         EP0952702                             FR                     3-Aug-05           19-Apr-19                 19-Apr-99       backplane
                                                                                                                                                                                                                     DEDICATED BANDWIDTH DATA COMMUNICATION
          111480    111480-US-DIV          US7586849                    11/231920          20060013225                           us                     8-Sep-09           23-Apr-20                 21-Sep-05       SWITCH BACKPLANE




                                                                                                   Page 12 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0153
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 20 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm A Method for Controlling the Transmitter Part of a
111639     111639-US-NP           U56795693                    09/836342          20010049264                 us                                21-Sep-04                9-Oct-22             18-Apr-0l Radio Transceiver and a Corresponding Radio
                                                                                                                                                                                                        Transceiver
111649     111649-US-NP           US7099583                    10/101958          20020149815                 us                                29-Aug-06                5-Jan-24            21-Mar-02 Optischer Crossconnect

                                                                                                                                                                                                          Vetfahren, Vermittlungsstelle,Gebuhrenrechner,
                                                                                                                                                                                                          Gebuhrenabrechnungsrechnerund Programm-
111697     111697-DE-EPA          EP1119174                    01440004.8         EP1119174                   DE                                23-Apr-03               10-Jan-21             10-Jan-0l
                                                                                                                                                                                                          Module zur Verarbeitung von Gebuhrendaten fur
                                                                                                                                                                                                          Telekommunikations-Dienstleistungen


                                                                                                                                                                                                          Vetfahren, Vermittlungsstelle,Gebuhrenrechner,
                                                                                                                                                                                                          Gebuhrenabrechnungsrechnerund Programm-
111697     111697-FR-EPA          EP1119174                    01440004.8         EP1119174                   FR                                23-Apr-03               10-Jan-21             10-Jan-0l
                                                                                                                                                                                                          Module zur Verarbeitung von Gebuhrendaten fur
                                                                                                                                                                                                          Telekommunikations-Dienstleistungen


                                                                                                                                                                                                          Vetfahren, Vermittlungsstelle,Gebuhrenrechner,
                                                                                                                                                                                                          Gebuhrenabrechnungsrechnerund Programm-
111697     111697-GB-EPA          EP1119174                    01440004.8         EP1119174                   GB                                23-Apr-03               10-Jan-21             10-Jan-0l
                                                                                                                                                                                                          Module zur Verarbeitung von Gebuhrendaten fur
                                                                                                                                                                                                          Telekommunikations-Dienstleistungen


                                                                                                                                                                                                          Vetfahren, Vermittlungsstelle,Gebuhrenrechner,
                                                                                                                                                                                                          Gebuhrenabrechnungsrechnerund Programm-
111697     111697-IT-EPA          EP1119174                    01440004.8         EP1119174                   IT                                23-Apr-03               10-Jan-21             10-Jan-0l
                                                                                                                                                                                                          Module zur Verarbeitung von Gebuhrendaten fur
                                                                                                                                                                                                          Telekommunikations-Dienstleistungen


                                                                                                                                                                                                          Process, exchange, charge computer, charge billing
111697     111697-US-NP           US6754320                    09/757576          20010040947                 us                                 22-Jun-04              27-Jan-21             11-Jan-0l computer and program modules for the processing
                                                                                                                                                                                                          of charge data for telecommunications services

                                                                                                                                                                                                          Exponentielle Echo- und Gerauschabsenkung in
111705     111705-DE-EPA          EP1103956                    00124577.8         EP1103956                   DE                                  8-Jun-05             10-Nov-20              10-Nov-00
                                                                                                                                                                                                          Sorachausen
                                                                                                                                                                                                          Exponentielle Echo- und Gerauschabsenkung in
111705     111705-FR-EPA          EP1103956                    00124577.8         EP1103956                   FR                                  8-Jun-05             10-Nov-20              10-Nov-00
                                                                                                                                                                                                          Sorachoausen
                                                                                                                                                                                                          Exponentielle Echo- und Gerauschabsenkung in
111705     111705-GB-EPA          EP1103956                    00124577.8         EP1103956                   GB                                  8-Jun-05             10-Nov-20              10-Nov-00
                                                                                                                                                                                                          Sprachpausen
                                                                                                                                                                                                          Exponentielle Echo- und Gerauschabsenkung in
111705     111705-US-NP           US6999920                    09/716272                                      us                                14-Feb-06              21-Oct-23              21-Nov-00
                                                                                                                                                                                                          Snrachausen
                                                                                                                                                                                                          A Method for Enhancing the Capacity of a c.ellular
111746     111746-DE-EPA          EP1120931                    00440019.8         EP1120931                   DE                                12-Oct-05               25-Jan-20             25-Jan-00 Radio-Communication System and Corresponding
                                                                                                                                                                                                          Svstem
                                                                                                                                                                                                          A Method for Enhancing the Capacity of a c.ellular
111746     111746-FR-EPA          EP1120931                    00440019.8         EP1120931                   FR                                12-Oct-05               25-Jan-20             25-Jan-00 Radio-Communication System and Corresponding
                                                                                                                                                                                                        System
                                                                                                                                                                                                        A Method for Enhancing the Capacity of a c.ellular
111746     111746-GB-EPA          EP1120931                    00440019.8         EP1120931                   GB                                12-Oct-05               25-Jan-20             25-Jan-00 Radio-Communication System and Corresponding
                                                                                                                                                                                                          Svstem
                                                                                                                                                                                                          A method for providing a service ina
111770     111770-US-NP           US6954523                    09/801693          20010026612                 us                                11-Oct-05                17-Jul-22            9-Mar-01 telecommunication network and a coresonding
                                                                                                                                                                                                       infrastructure manager
                                                                                                                                                                                                          Telecommunication system, and speech recognizer,
111897     111897-US-PCT          US7203650                    10/069612          20020138277                 us                                10-Apr-07              14-Apr-23              7-May-01
                                                                                                                                                                                                          andterminal,and method
                                                                                                                                                                                                          Telecommunication system, and speech recognizer,
111897     111897-DE-EPA          EP1168303                    00440197.2         EP1168303                   DE                                13-Sep-06              30-Jun-20              30-Jun-00
                                                                                                                                                                                                          andterminal,and method
                                                                                                                                                                                                          Telecommunication system, and speech recognizer,
111897     111897-FR-EPA          EP1168303                    00440197.2         EP1168303                   FR                                13-Sep-06              30-Jun-20              30-Jun-00
                                                                                                                                                                                                          andterminal,and method
                                                                                                                                                                                                          Telecommunication system, and speech recognizer,
111897     111897-GB-EPA          EP1168303                    00440197.2         EP1168303                   GB                                13-Sep-06              30-Jun-20              30-Jun-00
                                                                                                                                                                                                          andterminal,and method
                                                                                                                                                                                                          Telecommunication system, and speech recognizer,
111897     111897-IT-EPA          EP1168303                    00440197.2         EP1168303                   IT                                13-Sep-06              30-Jun-20              30-Jun-00
                                                                                                                                                                                                          andterminal,and method

                                                                                                                                                                                                          Frequency division multiplex transmission signal
111913     111913-US-NP           US7024480                    09/985243          20020056005                 us                                 4-Apr-06                6-Oct-23              2-Nov-01
                                                                                                                                                                                                          receiving apparatus using a plurality of carriers


                                                                                                                                                                                                          Method of phase controlling of a data signal, counter
111937     111937-US-NP           US7203225                    10/422946          20030206606                 us                                10-Apr-07              21-Jun-25              25-Apr-03
                                                                                                                                                                                                          clock circuit arrangement, and interface device

111950     111950-US-NP           US6941542                    09/902579          20020082904                 us                                 6-Seo-05              17-Aor-23               12-Jul-0l Process for generating information models
111950     111950-US-CPA          US7603650                    11/167176          20050246679                 us                                13-Oct-09                5-Jun-24             28-Jun-05   Process for generating information models
112027     112027-US-NP           US6833947                    10/348954          20030156784                 us                                21-Dec-04               2-Mav-23              23-Jan-03 0 tical Fiber Transmission Svstem

                                                                                                                                                                                                        Method for connecting a terminal over an access
112049     112049-DE-EPA          EP1370103                    02360165.1         EP1370103                   DE                                29-Sep-04                7-Jun-22              7-Jun-02 network to the core puart of a radio communication
                                                                                                                                                                                                          network and corresponding gateway


                                                                                                                                                                                                        Method for connecting a terminal over an access
112049     112049-FR-EPA          EP1370103                    02360165.1         EP1370103                   FR                                29-Sep-04                7-Jun-22              7-Jun-02 network to the core puart of a radio communication
                                                                                                                                                                                                          network and corresponding gateway


                                                                                                                                                                                                          Method for connecting a terminal over an access
112049     112049-GB-EPA          EP1370103                    02360165.1         EP1370103                   GB                                29-Sep-04                7-Jun-22              7-Jun-02 network to the core puart of a radio communication
                                                                                                                                                                                                          network and corresponding gateway


                                                                                                                                                                                                        Method for connecting a terminal over an access
112049     112049-IT-EPA          EP1370103                    02360165.1         EP1370103                   IT                                29-Sep-04                7-Jun-22              7-Jun-02 network to the core puart of a radio communication
                                                                                                                                                                                                          network and corresponding gateway

                                                                                                                                                                                                          METHOD FOR TRANSFERRING A CALL BETWEEN A
112064     112064-CN-NP           ZL02130328.2                 02130328.2         1216474                     CN                                24-Aug-05              16-Aug-22              16-Aug-02 TELECOMMUNICATIONS NETWORK AND A DATA
                                                                                                                                                                                                          NETWORK

                                                                                                                                                                                                          Vetfahrenzur UbergabeeinesAnrufszwischen
112064     112064-DE-EPA          EP1286508                    01440267.1         EP1286508                   DE                                 13-Jul-05             17-Aug-21              17-Aug-0l einem Telekommunikationsnetzwerk und einem
                                                                                                                                                                                                          Datennetzwerk


                                                                                                                                                                                                          Method to transmit a call between a
112064     112064-ES-EPA          EP1286508                    01440267.1         EP1286508                   ES                                 13-Jul-05             17-Aug-21              17-Aug-0l
                                                                                                                                                                                                          telecommunication network and a data network


                                                                                                                                                                                                        Procede pourtransmettre unappel d'un reseau de
112064     112064-FR-EPA          EP1286508                    01440267.1         EP1286508                   FR                                 13-Jul-05             17-Aug-21                                              a
                                                                                                                                                                                              17-Aug-0l telecommunication un reseau de donnees



                                                                                                                                                                                                          Method to transmit a call between a
112064     112064-GB-EPA          EP1286508                    01440267.1         EP1286508                   GB                                 13-Jul-05             17-Aug-21              17-Aug-0l
                                                                                                                                                                                                          telecommunication network and a data network




                                                                                          Page 13 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0154
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 21 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr      'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                               ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                          Vetfahrenzur UbergabeeinesAnrufszwischen
112064     112064-IT-EPA          EP1286508                    01440267.1         EP1286508                   IT                                 13-Jul-05               17-Aug-21              17-Aug-0l einem Telekommunikationsnetzwerk und einem
                                                                                                                                                                                                          Datennetzwerk


                                                                                                                                                                                                            Methodfortransferringacall between a
112064     112064-NL-EPA          EP1286508                    01440267.1         EP1286508                   NL                                 13-Jul-05               17-Aug-21              17-Aug-0l
                                                                                                                                                                                                            telecommunications network and a data network

                                                                                                                                                                                                            Method For Transferring A Call Between A
112064     112064-US-NP           US8054825                    10/217427          20030035415                 us                                 8-Nov-11                 23-Jan-32             14-Aug-02
                                                                                                                                                                                                            Telecommunications Network And A Data Network

                                                                                                                                                                                                            Method for supporting the communication of
113005     113005-US-NP           US7372950                    10/098508          20020143678                 us                                13-May-08                23-Dec-25              18-Mar-02
                                                                                                                                                                                                            information via a communications system
113027     113027-DE-EPA          EP1313268                    01440286.1         EP1313268                   DE                                 9-Feb-05                29-Au11:-21            29-Au11:-0l Router
113027     113027-FR-EPA          EP1313268                    01440286.1         EP1313268                   FR                                 9-Feb-05                29-Au11:-21            29-Au11:-0l Router
113027     113027-GB-EPA          EP1313268                    01440286.1         EP1313268                   GB                                 9-Feb-05                29-Aui;,:-21           29-Aui;i:-0l Router
113027     113027-US-NP           US7515539                    10/228300          20030043831                 us                                 7-Aor-09                  6-A r-25             27-Aui;,:-02 Router

113098     113098-US-NP           US7266087                    10/285508          20030103525                 us                                 4-Sep-07                 29-Jul-25              1-Nov-02 IP platform for advanced multipoint access systems

113163     113163-DE-EPA          EP1282256                    01440248.1         EP1282256                   DE                                 4-Oct-06                  1-Aug-21              1-Aug-01 Eye monitor for signal analysis
113163     113163-FR-EPA          EP1282256                    01440248.1         EP1282256                   FR                                 4-Oct-06                  1-Aug-21              1-Aug-01 Eye monitor for signal analysis
113163     113163-GB-EPA          EP1282256                    01440248.1         EP1282256                   GB                                 4-Oct-06                  l-Au11:-21            l-Au11:-0l Eve monitor for si nal anal sis
113163     113163-IT-EPA          EP1282256                    01440248.1         EP1282256                   IT                                 4-Oct-06                  l-Au11:-21            l-Au11:-0l Eve monitor for si nal anal sis
113163     113163-US-NP           US6784653                    10/192549          20030025491                 us                                31-Aui;,:-04              6-Mar-23               11-Jul-02 Eve Monitor
                                                                                                                                                                                                          Variable optische Verzogerungsleitung und
113208     113208-CN-NP           ZL1220897                    02159548.8         1432831                     CN                                28-Sep-05                27-Dec-22              27-Dec-02 Verwendung dervariablen optischen
                                                                                                                                                                                                            Verzogerungsleitung
                                                                                                                                                                                                            Variable optische Verzogerungsleitung und
113208     113208-DE-EPA          EP1326131                    02360008.3         EP1326131                   DE                                28-Feb-04                  8-Jan-22              8-Jan-02 Verwendung dervariablen optischen
                                                                                                                                                                                                          Verzo11:erun11:sleitun11:
                                                                                                                                                                                                          Variable optische Verzogerungsleitung und
113208     113208-FR-EPA          EP1326131                    02360008.3         EP1326131                   FR                                 28-Jul-04                 8-Jan-22              8-Jan-02 Verwendung dervariablen optischen
                                                                                                                                                                                                            Verzo11:erun11:sleitun11:
                                                                                                                                                                                                            Variable optische Verzogerungsleitung und
113208     113208-GB-EPA          EP1326131                    02360008.3         EP1326131                   GB                                 28-Jul-04                 8-Jan-22              8-Jan-02 Verwendung dervariablen optischen
                                                                                                                                                                                                          Verzogerungsleitung
                                                                                                                                                                                                          Variable optische Verzogerungsleitung und
113208     113208-IT-EPA          EP1326131                    02360008.3         EP1326131                   IT                                 28-Jul-04                 8-Jan-22              8-Jan-02 Verwendung dervariablen optischen
                                                                                                                                                                                                            Verzo11:erun11:sleitun11:
                                                                                                                                                                                                            Variable optical delay line and use of the variable
113208     113208-US-NP           US6795596                    10/320509          20030128906                 us                                21-Sep-04                17-Dec-22              17-Dec-02
                                                                                                                                                                                                            ootical delav line

                                                                                                                                                                                                            Vetfahrenzum Empfangeines Nachrichtensignals,
113216     113216-DE-EPA          EP1313276                    01440391.9         EP1313276                   DE                                  9-Jul-03               19-Nov-21              19-Nov-0l Empfanger, Empfangsvorrichtung und
                                                                                                                                                                                                            Nachrichtenubertragungssystem dafur


                                                                                                                                                                                                          Vetfahrenzum Empfangeines Nachrichtensignals,
113216     113216-FR-EPA          EP1313276                    01440391.9         EP1313276                   FR                                  9-Jul-03               19-Nov-21              19-Nov-0l Empfanger, Empfangsvorrichtung und
                                                                                                                                                                                                            Nachrichtenubertragungssystem dafur


                                                                                                                                                                                                            Vetfahrenzum Empfangeines Nachrichtensignals,
113216     113216-GB-EPA          EP1313276                    01440391.9         EP1313276                   GB                                  9-Jul-03               19-Nov-21              19-Nov-0l Empfanger, Empfangsvorrichtung und
                                                                                                                                                                                                            Nachrichtenubertragungssystem dafur


                                                                                                                                                                                                            Vetfahrenzum Empfangeines Nachrichtensignals,
113216     113216-IT-EPA          EP1313276                    01440391.9         EP1313276                   IT                                  9-Jul-03               19-Nov-21              19-Nov-0l Empfanger, Empfangsvorrichtung und
                                                                                                                                                                                                            Nachrichtenubertragungssystem dafur

                                                                                                                                                                                                            Method for receiving a message signal, receiver,
113216     113216-US-NP           US7257180                    10/295827          20030095614                 us                                14-Aug-07                  7-Oct-24             18-Nov-02 receiving device and message transmission system
                                                                                                                                                                                                            for this

                                                                                                                                                                                                            VetfahrenzurBestimmungderEntfernungzwischen
113244     113244-CN-NP           ZL02152676.1                 02152676.1         1423134                     CN                                28-May-08               29-Nov-22               29-Nov-02
                                                                                                                                                                                                            einer Mobilstation und einer Basisstation


                                                                                                                                                                                                            VetfahrenzurBestimmungderEntfernungzwischen
113244     113244-DE-EPA          EP1317161                    02360321.1         EP1317161                   DE                                28-May-08               22-Nov-22               22-Nov-02
                                                                                                                                                                                                            einer Mobilstation und einer Basisstation


                                                                                                                                                                                                            VetfahrenzurBestimmungderEntfernungzwischen
113244     113244-FR-EPA          EP1317161                    02360321.1         EP1317161                   FR                                28-May-08               22-Nov-22               22-Nov-02
                                                                                                                                                                                                            einer Mobilstation und einer Basisstation


                                                                                                                                                                                                            VetfahrenzurBestimmungderEntfernungzwischen
113244     113244-GB-EPA          EP1317161                    02360321.1         EP1317161                   GB                                28-May-08               22-Nov-22               22-Nov-02
                                                                                                                                                                                                            einer Mobilstation und einer Basisstation


                                                                                                                                                                                                            METHOD, MEDIUM ACCESS CONTROLLER, CONTROL
                                                                                                                                                                                                          MODULE, TERMINATING DEVICE AND TERMINATING
113272     113272-CN-NP           ZL1229946                    03142493.7         CN1474560                   CN                                30-Nov-05                12-Jun-23              12-Jun-03 MODULE FOR ALLOCATING TRANSMISSION CAPACITY
                                                                                                                                                                                                            OF A SHARED MEDIUM IN A MULTIPOINT-TO-POINT
                                                                                                                                                                                                            NETWORK


                                                                                                                                                                                                            Vetfahren, Medium-Zugangscontroller,
                                                                                                                                                                                                            Kontrollmodul, Terminierungsvorrichtung und
113272     113272-DE-EPA          EP1372312                    02360174.3         EP1372312                   DE                                  2-Jan-08               13-Jun-22              13-Jun-02 Terminierungsmodul zur Zuteilung von
                                                                                                                                                                                                            Ubertragungskapazitat eines gemeinsamen Mediums
                                                                                                                                                                                                            beieinemMehrpunkt-zu-Punkt-Netzwerk


                                                                                                                                                                                                            Vetfahren, Medium-Zugangscontroller,
                                                                                                                                                                                                            Kontrollmodul, Terminierungsvorrichtung und
113272     113272-FR-EPA          EP1372312                    02360174.3         EP1372312                   FR                                  2-Jan-08               13-Jun-22              13-Jun-02 Terminierungsmodul zur Zuteilung von
                                                                                                                                                                                                            Ubertragungskapazitat eines gemeinsamen Mediums
                                                                                                                                                                                                            beieinemMehrpunkt-zu-Punkt-Netzwerk


                                                                                                                                                                                                            Vetfahren, Medium-Zugangscontroller,
                                                                                                                                                                                                            Kontrollmodul, Terminierungsvorrichtung und
113272     113272-GB-EPA          EP1372312                    02360174.3         EP1372312                   GB                                  2-Jan-08               13-Jun-22              13-Jun-02 Terminierungsmodul zur Zuteilung von
                                                                                                                                                                                                            Ubertragungskapazitat eines gemeinsamen Mediums
                                                                                                                                                                                                            beieinemMehrpunkt-zu-Punkt-Netzwerk


                                                                                                                                                                                                            Tunable Optical Device and Optical System Using the
113335     113335-DE-EPA          EP1315024                    01440380.2         EP1315024                   DE                                21-Apr-04                12-Nov-21              12-Nov-0l
                                                                                                                                                                                                            Tunable Optical Device as Coding Filter


                                                                                                                                                                                                            Tunable Optical Device and Optical System Using the
113335     113335-FR-EPA          EP1315024                    01440380.2         EP1315024                   FR                                21-Apr-04                12-Nov-21              12-Nov-0l
                                                                                                                                                                                                            Tunable Optical Device as Coding Filter




                                                                                          Page 14 of 149
                                                                                                                                                                               PATENT
                                                                                                                                                                       REEL: 044000 FRAME: 0155
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 22 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                          Tunable Optical Device and Optical System Using the
113335     113335-GB-EPA          EP1315024                    01440380.2         EP1315024                   GB                                21-Apr-04              12-Nov-21              12-Nov-0l
                                                                                                                                                                                                          Tunable Optical Device as Coding Filter


                                                                                                                                                                                                          Tunable Optical Device and Optical System Using the
113335     113335-US-NP           US6917734                    10/290195          20030091286                 us                                 12-Jul-05               5-Apr-23              8-Nov-02
                                                                                                                                                                                                          Tunable Optical Device as Coding Filter

                                                                                                                                                                                                        Method for Remodulation ofa Modulated Optical
113415     113415-US-NP           US7228076                    10/373023          20030202797                 us                                  5-Jun-07            15-Mar-25               26-Feb-03 Signal and Device for Remodulation and
                                                                                                                                                                                                        Transmission Svstem
                                                                                                                                                                                                          Algorithm to control the power distribution of a
113447     113447-US-NP           US7042916                    10/827274          20040240487                 us                                 9-May-06                9-Jun-24             20-Apr-04
                                                                                                                                                                                                          multi-output-wavelength Raman laser
                                                                                                                                                                                                          VetfahrenzurSignalkodierung mittelseiner
113468     113468-DE-EPA          EP1394773                    02017836.4         EP1394773                   DE                                29-Mar-06               8-Aug-22               8-Aug-02
                                                                                                                                                                                                          Vektornuantisierun

113468     113468-FR-EPA          EP1394773                    02017836.4         EP1394773                   FR                                29-Mar-06               8-Aug-22               8-Aug-02 Method of coding a signal using vector quantization


113468     113468-GB-EPA          EP1394773                    02017836.4         EP1394773                   GB                                29-Mar-06               8-Aug-22               8-Aug-02 Method of coding a signal using vector quantization


113468     113468-IT-EPA          EP1394773                    02017836.4         EP1394773                   IT                                29-Mar-06               8-Aug-22               8-Aug-02 Method of coding a signal using vector quantization


113468     113468-US-NP           US7769581                    10/617210          20040030549                 us                                 3-Aug-10                11-Jul-23             11-Jul-03 Method of coding a signal using vector quantization

113487     113487-US-NP           US7554923                    10/437054          20030231638                 us                                 30-Jun-09             30-Jun-26             14-Mav-03 Tandem Connection Activation/Deactivation
113487     113487-DE-EPA          EP1372288                    02360171.9         EP1372288                   DE                                25-Aue:-04             12-Jun-22              12-Jun-02 Tandem Connection Activation/Deactivation
113487     113487-FR-EPA          EP1372288                    02360171.9         EP1372288                   FR                                25-Aue:-04             12-Jun-22              12-Jun-02 Tandem Connection Activation/Deactivation
113487     113487-GB-EPA          EP1372288                    02360171.9         EP1372288                   GB                                25-Aue:-04             12-Jun-22              12-Jun-02 Tandem Connection Activation/Deactivation
113487     113487-IT-EPA          EP1372288                    02360171.9         EP1372288                   IT                                25-Aue:-04             12-Jun-22              12-Jun-02 Tandem Connection Activation/Deactivation
                                                                                                                                                                                                          Localization ofan IP telecommunications terminal
113507     113507-US-NP           US7088819                    10/504021          20050141570                 us                                 8-Aug-06              19-Oct-24               9-Aug-04
                                                                                                                                                                                                          over a LAN

                                                                                                                                                                                                        A Phase-Shifted Binary Transmission Encoder, a
                                  ZL200310100591
113509     113509-CN-NP                                        200310100591.1     1497855                     CN                                20-Dec-06              20-Oct-23              20-Oct-03 Phase Modulator, and an Optical Network Element
                                  .1
                                                                                                                                                                                                          for Encoding Phase Shifted Binary Transmission


                                                                                                                                                                                                          Binarkodierer zur Phasenverschiebungfur einen
113509     113509-DE-EPA          EP1414152                    02360288.1         EP1414152                   DE                                20-Apr-05              21-Oct-22              21-Oct-02
                                                                                                                                                                                                          Phasenmodulator in einem optischen Netzwerk


                                                                                                                                                                                                          A Phase-Shifted Binary Transmission Encoder, a
113509     113509-FR-EPA          EP1414152                    02360288.1         EP1414152                   FR                                20-Apr-05              21-Oct-22              21-Oct-02 Phase Modulator, and an Optical Network Element
                                                                                                                                                                                                          for Encoding Phase Shifted Binary Transmission


                                                                                                                                                                                                          A Phase-Shifted Binary Transmission Encoder, a
113509     113509-GB-EPA          EP1414152                    02360288.1         EP1414152                   GB                                20-Apr-05              21-Oct-22              21-Oct-02 Phase Modulator, and an Optical Network Element
                                                                                                                                                                                                          for Encoding Phase Shifted Binary Transmission


                                                                                                                                                                                                          Phase shifted binary transmission encoder, a phase
113509     113509-US-NP           US7009461                    10/662380          20040075509                 us                                 7-Mar-06              31-Dec-23              16-Sep-03 modulator, and an optical network element for
                                                                                                                                                                                                          encoding phase shifted binary transmission

113529     113529-DE-EPA          EP1401205                    02360261.8         EP1401205                   DE                                25-Aor-12                5-Se-22               5-Seo-02 Monitorine: suooort server
113529     113529-FR-EPA          EP1401205                    02360261.8         EP1401205                   FR                                25-Aor-12                5-Seo-22              5-Seo-02 Monitorine: suooort server
113529     113529-GB-EPA          EP1401205                    02360261.8         EP1401205                   GB                                25-Aor-12                5-Seo-22              5-Seo-02 Monitorine: suooort server

113548     113548-CN-NP           ZL03149678.4                 03149678.4         1481087                     CN                                14-Sep-05               5-Aug-23               5-Aug-03 ADAPTIVE CHROMATIC DISPERSION COMPENSATOR

113548     113548-DE-EPA          EP1388961                    02360234.5         EP1388961                   DE                                 13-Jun-07              6-Aue:-22              6-Aue:-02 Adantive chromatic dis ersion comnensator
113548     113548-FR-EPA          EP1388961                    02360234.5         EP1388961                   FR                                 13-Jun-07              6-Aue:-22              6-Aue:-02 Adantive chromatic dis ersion comnensator
113548     113548-GB-EPA          EP1388961                    02360234.5         EP1388961                   GB                                 13-Jun-07              6-Aue:-22              6-Aue:-02 Adaotive chromatic dis ersion comoensator

113548     113548-US-NP           US6842547                    10/626597          20040151509                 us                                 11-Jan-05              29-Jul-23              25-Jul-03 ADAPTIVE CHROMATIC DISPERSION COMPENSATOR

113607     113607-US-NP           US7106500                    10/825120          20040207908                 us                                12-Seo-06             23-Mav-24               16-Aor-04 Raman amolifier svstem
                                                                                                                                                                                                          Polarization Mode Dispersion Controller Device and
113609     113609-DE-EPA          EP1427120                    02360332.7         EP1427120                   DE                                 9-Feb-05                3-Dec-22              3-Dec-02
                                                                                                                                                                                                          Method for its Operation
                                                                                                                                                                                                          Polarization Mode Dispersion Controller Device and
113609     113609-FR-EPA          EP1427120                    02360332.7         EP1427120                   FR                                 9-Feb-05                3-Dec-22              3-Dec-02
                                                                                                                                                                                                          Method for its Oneration
                                                                                                                                                                                                          Polarization Mode Dispersion Controller Device and
113609     113609-GB-EPA          EP1427120                    02360332.7         EP1427120                   GB                                 9-Feb-05                3-Dec-22              3-Dec-02
                                                                                                                                                                                                          Method for its Ooeration
                                                                                                                                                                                                          Polarization Mode Dispersion Controller Device and
113609     113609-US-NP           US7289739                    10/715557          20040105683                 us                                30-Oct-07              20-Sep-25              19-Nov-03
                                                                                                                                                                                                          Method for its Ooeration

113615     113615-US-NP           US7630347                    10/663771          20040076179                 us                                 8-Dec-09              23-Feb-27              17-Sep-03 A hybrid UMTS/WLAN telecommunication system

                                  ZL200310100424
113615     113615-CN-NP                                        200310100424.7     1497919                     CN                                10-Nov-06              15-Oct-23              15-Oct-03 A hybrid UMTS/WLAN telecommunication system
                                  .7

113615     113615-DE-EPA          EP1411670                    02360285.7         EP1411670                   DE                                28-Dec-05              17-Oct-22              17-Oct-02 A hybrid UMTS/WLAN telecommunication system


113615     113615-FR-EPA          EP1411670                    02360285.7         EP1411670                   FR                                28-Dec-05              17-Oct-22              17-Oct-02 A hybrid UMTS/WLAN telecommunication system


113615     113615-GB-EPA          EP1411670                    02360285.7         EP1411670                   GB                                28-Dec-05              17-Oct-22              17-Oct-02 A hybrid UMTS/WLAN telecommunication system


113615     113615-IT-EPA          EP1411670                    02360285.7         EP1411670                   IT                                28-Dec-05              17-Oct-22              17-Oct-02 A hybrid UMTS/WLAN telecommunication system

                                                                                                                                                                                                          Method To Provide An Operator Selection Service As
113699     113699-US-DIV          US8811589                    11/686674          20070153992                 us                                19-Aug-14             22-Mar-28               15-Mar-07 Well As A Communications Network And A Call
                                                                                                                                                                                                          Server Therefore
                                                                                                                                                                                                        A method to provide an operator selection service as
113699     113699-US-NP           US7260206                    10/685514          20040081306                 us                                21-Aug-07                2-Sep-25             16-Oct-03 well as a communications network and a call server
                                                                                                                                                                                                          therefore

113714     113714-US-NP           US7239878                    10/803888          20050003806                 us                                  3-Jul-07            19-Mar-24               19-Mar-04 A telecommunication method for a wireless network


                                                                                                                                                                                                        Method for transmitting signalling information
113736     113736-DE-EPA          EP1489806                    03291439.2         EP1489806                   DE                                 19-Jan-05             16-Jun-23              16-Jun-03 between an access point and a terminal ofa multi-
                                                                                                                                                                                                          carrier radio communication network


                                                                                                                                                                                                        Method for transmitting signalling information
113736     113736-FR-EPA          EP1489806                    03291439.2         EP1489806                   FR                                 19-Jan-05             16-Jun-23              16-Jun-03 between an access point and a terminal ofa multi-
                                                                                                                                                                                                          carrier radio communication network


                                                                                                                                                                                                        Method for transmitting signalling information
113736     113736-GB-EPA          EP1489806                    03291439.2         EP1489806                   GB                                 19-Jan-05             16-Jun-23              16-Jun-03 between an access point and a terminal ofa multi-
                                                                                                                                                                                                          carrier radio communication network




                                                                                          Page 15 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0156
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 23 of 156
                            Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW               liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                   :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                           Method for transmitting signalling information
                                                                                                                                                                                                           beween an access point and a terminal of a multi-
113736     113736-US-NP            US7346132                    10/849125          20040253960                 us                                18-Mar-08              13-Feb-26             20-May-04
                                                                                                                                                                                                           carrier radio communication network


                                   ZL200310118531                                                                                                                                                          A telecommunication method supporting multiple air
113772     113772-CN-NP                           200310118531.2                   1509112                     CN                                19-Apr-06              12-Dec-23              12-Dec-03
                                   .2                                                                                                                                                                      interfaces
                                                                                                                                                                                                           A telecommunication method supporting multiple air
113772     113772-DE-EPA           EP1432263                    02360350.9         EP1432263                   DE                                28-Sep-05              16-Dec-22              16-Dec-02
                                                                                                                                                                                                           interfaces
                                                                                                                                                                                                           A telecommunication method supporting multiple air
113772     113772-FR-EPA           EP1432263                    02360350.9         EP1432263                   FR                                28-Sep-05              16-Dec-22              16-Dec-02
                                                                                                                                                                                                           interfaces
                                                                                                                                                                                                           A telecommunication method supporting multiple air
113772     113772-GB-EPA           EP1432263                    02360350.9         EP1432263                   GB                                28-Sep-05              16-Dec-22              16-Dec-02
                                                                                                                                                                                                           interfaces
                                                                                                                                                                                                           A telecommunication method supporting multiple air
113772     113772-IT-EPA           EP1432263                    02360350.9         EP1432263                   IT                                28-Sep-05              16-Dec-22              16-Dec-02
                                                                                                                                                                                                           interfaces
                                                                                                                                                                                                           A telecommunication method supporting multiple air
113772     113772-US-NP            US7433707                    10/699687          20040116153                 us                                 7-Oct-08                 6-Jul-25             4-Nov-03
                                                                                                                                                                                                           interfaces
113805     113805-DE-EPA           EP1422968                    02360317.8         EP1422968                   DE                                 13-Jan-10             19-Nov-22              19-Nov-02 Failure Localization in a Transmission Network
113805     113805-FR-EPA           EP1422968                    02360317.8         EP1422968                   FR                                 13-Jan-10             19-Nov-22              19-Nov-02 Failure Localization in a Transmission Network
113805     113805-GB-EPA           EP1422968                    02360317.8         EP1422968                   GB                                 13-Jan-10             19-Nov-22              19-Nov-02 Failure Localization in a Transmission Network
113805     113805-US-NP            US7333425                    10/685414          20060126503                 us                                19-Feb-08              25-Apr-26              16-Oct-03 Failure Localization in a Transmission Network
                                                                                                                                                                                                           Method For Distribution Video Information To Mobile
113903     113903-US-NP            US8165569                    10/781628          20040203712                 us                                24-Apr-12              29-Feb-28              20-Feb-04
                                                                                                                                                                                                           Phone Based On Push Technolo11:v

                                                                                                                                                                                                           METHOD FOR DISTRIBUTING VIDEO INFORMATION
113903     113903-JP-NP            JP4073819                    2003106492         2004312605                 JP                                   1-Feb-08             10-Apr-23              10-Apr-03
                                                                                                                                                                                                           TO MOBILE PHONE BASED ON PUSH TECHNOLOGY

113984     113984-DE-EPA           EP1523118                    03292496.1         EP1523118                   DE                                15-Feb-06                9-Oct-23              9-Oct-03 Optical Packet Transmission
113984     113984-FR-EPA           EP1523118                    03292496.1         EP1523118                   FR                                15-Feb-06                9-Oct-23              9-Oct-03 Optical Packet Transmission
113984     113984-GB-EPA           EP1523118                    03292496.1         EP1523118                   GB                                15-Feb-06                9-Oct-23              9-Oct-03 Optical Packet Transmission
113984     113984-US-NP            US7535837                    10/935275          20050078684                 us                                19-Mav-09               26-Jan-27              8-Sen-04 OPTICAL PACKET TRANSMISSION
                                                                                                                                                                                                           Fast delivery of multimedia messages in cellular
114013     114013-DE-EPA           EP1511333                    03292144.7         EP1511333                   DE                                17-Sep-08              29-Aug-23              29-Aug-03
                                                                                                                                                                                                           networks
                                                                                                                                                                                                           Fast delivery of multimedia messages in cellular
114013     114013-ES-EPA           EP1511333                    03292144.7         EP1511333                   ES                                17-Sep-08              29-Aug-23              29-Aug-03
                                                                                                                                                                                                           networks
                                                                                                                                                                                                           Fast delivery of multimedia messages in cellular
114013     114013-FR-EPA           EP1511333                    03292144.7         EP1511333                   FR                                17-Sep-08              29-Aug-23              29-Aug-03
                                                                                                                                                                                                           networks
                                                                                                                                                                                                           Fast delivery of multimedia messages in cellular
114013     114013-GB-EPA           EP1511333                    03292144.7         EP1511333                   GB                                17-Sep-08              29-Aug-23              29-Aug-03
                                                                                                                                                                                                           networks
                                                                                                                                                                                                           Fast delivery of multimedia messages in cellular
114013     114013-IT-EPA           EP1511333                    03292144.7         EP1511333                   IT                                17-Sep-08              29-Aug-23              29-Aug-03
                                                                                                                                                                                                           networks
                                                                                                                                                                                                           A method of operating an optical transmission
114034     114034-US-NP            US7616898                    11/091532          20050259992                 us                                10-Nov-09                4-Jan-27            29-Mar-05 system with a bit-to-bit polarization interleaved
                                                                                                                                                                                                           bitstream
                                                                                                                                                                                                           Method and system for generating CS-RZ pulses
114051     114051-US-NP            US7509056                    11/023427          20050201760                 us                                24-Mar-09                19-Jul-26            29-Dec-04
                                                                                                                                                                                                           showing narrow width of bit duration
114069     114069-US-NP            US7519049                    10/790236                                      us                                14-Anr-09              20-A r-26              2-Mar-04 MOBILE PHONE SYSTEM

114168     114168-US-NP            US7440395                    11/059438                                      us                                21-Oct-08               2-Aug-26              17-Feb-05 Telecommunication Switch and Operating Method

                                   ZL200510079871
114191     114191-CN-NP                                         200510079871.8     1716909                     CN                                20-Aug-08              29-Jun-25              29-Jun-05 Ad-hoc extensions ofa cellular air interface
                                   .8
114191     114191-US-NP            US7336927                    11/147194          20060002332                 us                                26-Feb-08             14-Mar-26                8-Jun-05 Ad-hoc extensions ofa cellular air interface
114191     114191-DE-EPAl          EP1613006                    05014054.0         EP1613006                   DE                                 10-Jan-07             29-Jun-25              29-Jun-05 Ad-hoc extensions ofa cellular air interface
114191     114191-FR-EPAl          EP1613006                    05014054.0         EP1613006                   FR                                 10-Jan-07             29-Jun-25              29-Jun-05 Ad-hoc extensions ofa cellular air interface
114191     114191-GB-EPAl          EP1613006                    05014054.0         EP1613006                   GB                                 10-Jan-07             29-Jun-25              29-Jun-05 Ad-hoc extensions ofa cellular air interface
114191     114191-IT-EPAl          EP1613006                    05014054.0         EP1613006                   IT                                 10-Jan-07             29-Jun-25              29-Jun-05 Ad-hoc extensions ofa cellular air interface
                                                                                                                                                                                                         A method for admission control for mobile networks,
114295     114295-US-NP                                         11/357130          20060189322                 us                                                       21-Feb-26              21-Feb-06 an admisssion controller and a communication
                                                                                                                                                                                                           svstemtherewith
                                                                                                                                                                                                           A method for admission control for mobile networks
114295     114295-EP-EPA                                        05290415.8         EP1694088                   EP                                                       22-Feb-25              22-Feb-05 , an admission controller and a communication
                                                                                                                                                                                                         system therewith
                                   ZL200510097458                                                                                                                                                          Method for modulating an optical signal and optical
114306     114306-CN-NP                                         200510097458.4     1815928                     CN                                 2-Mar-11              28-Dec-25              28-Dec-05
                                   .4                                                                                                                                                                      transmitter
                                                                                                                                                                                                           Method for modulating an optical signal and optical
114306     114306-US-NP            US7599628                    11/300474          20060171723                 us                                 6-Oct-09               2-Nov-27              15-Dec-05
                                                                                                                                                                                                           transmitter
                                   ZL200510124398
114326     114326-CN-NP                                         200510124398.0     1835513                     CN                                 13-Jan-10            29-Nov-25               29-Nov-05 Method for exchanging packets of user data
                                   .0
114326     114326-US-NP            US7639689                    11283710           20060209832                 us                                29-Dec-09              26-Sep-28              22-Nov-05 Method for exchanging packets of user data
                                                                                                                                                                                                           Network element and method of mapping address
114341     114341-US-NP            US7965830                    11/110706          20050254439                 us                                 21-Jun-11               3-Apr-30             21-Apr-05
                                                                                                                                                                                                         information
114352     114352-US-NP            US7630480                    11/059603          20050207553                 us                                 8-Dec-09              10-Oct-28              17-Feb-05 Service Provisionin Svstem
                                                                                                                                                                                                        Method of Providing a Signing Key for Digitally
114394     114394-MX-PCT           MX266668                     2005012876                                     MX                                12-May-09             18-May-25              18-May-05 Signing Verifying or Encrypting Data and Mobile
                                                                                                                                                                                                           Terminal
                                                                                                                                                                                                           PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                   ZL200680002995                                                                                                                                                          DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-CN-PCT                                        200680002995.9     101107639                   CN                                  8-Jul-09              25-Jan-26             25-Jan-06
                                   .9                                                                                                                                                                      ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                           PROCEDE
                                                                                                                                                                                                           PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                                                                                                                                                                                           DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-DE-EPA           EP1686552                    05290188.1         EP1686552                   DE                                16-Sep-09               26-Jan-25             26-Jan-05
                                                                                                                                                                                                           ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                           PROCEDE
                                                                                                                                                                                                           PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                                                                                                                                                                                           DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-ES-EPA           EP1686552                    05290188.1         EP1686552                   ES                                16-Sep-09               26-Jan-25             26-Jan-05
                                                                                                                                                                                                           ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                           PROCEDE
                                                                                                                                                                                                           PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                                                                                                                                                                                           DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-FR-EPA           EP1686552                    05290188.1         EP1686552                   FR                                16-Sep-09               26-Jan-25             26-Jan-05
                                                                                                                                                                                                           ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                           PROCEDE
                                                                                                                                                                                                           PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                                                                                                                                                                                           DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-GB-EPA           EP1686552                    05290188.1         EP1686552                   GB                                16-Sep-09               26-Jan-25             26-Jan-05
                                                                                                                                                                                                           ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                           PROCEDE
                                                                                                                                                                                                           PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                                                                                                                                                                                           DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-IT-EPA           EP1686552                    05290188.1         EP1686552                   IT                                16-Sep-09               26-Jan-25             26-Jan-05
                                                                                                                                                                                                           ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                           PROCEDE




                                                                                           Page 16 of 149
                                                                                                                                                                              PATENT
                                                                                                                                                                      REEL: 044000 FRAME: 0157
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 24 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm   PROCEDE POUR ETABLIR UN APPEL D'URGENCE
                                                                                                                                                                                                          DANS UN RESEAU LOCAL INFORMATIQUE, TERMINAL
114424     114424-JP-PCT          JP4794578                    2007552692         2008529377                 JP                                  5-Aug-11               25-Jan-26             25-Jan-06
                                                                                                                                                                                                          ET SERVEUR POUR LA MISE EN OEUVRE DE CE
                                                                                                                                                                                                          PROCEDE
                                                                                                                                                                                                          Method For Setting Up An Emergency call In A
114424     114424-US-PCT          US8428049                    11/814768          20090316683                 us                                23-Apr-13               7-Mar-29              25-Jan-06 Computer Local Area Network, Terminal And Server
                                                                                                                                                                                                          For Im lementine: The Method
114435     114435-DE-EPA          EP1617532                    04291802.9         EP1617532                   DE                                31-Mav-06                15-Jul-24             15-Jul-04 WDM Laser Wavelene:th Control
114435     114435-FR-EPA          EP1617532                    04291802.9         EP1617532                   FR                                31-May-06                15-Jul-24             15-Jul-04 WDM Laser Wavelene:th Control
114435     114435-GB-EPA          EP1617532                    04291802.9         EP1617532                   GB                                31-May-06                15-Jul-24             15-Jul-04 WDM Laser Wavelene:th Control
114435     114435-US-NP           US7522845                    11/180736          20060013588                 us                                21-Apr-09              27-Jun-25               14-Jul-04 WDM Laser Wavelength Control
                                  ZL200510084160
114435     114435-CN-NP                                        200510084160.X     CN1722649                   CN                                 13-Jan-10               14-Jul-25             14-Jul-05 WDM Laser Wavelength Control
                                  .X
                                                                                                                                                                                                          A method for providing features to the user of a
114438     114438-US-NP           US7756260                    11/356120          20060198503                 us                                 13-Jul-10             17-Feb-26              17-Feb-06 telephone, a central unit and a telecommunication
                                                                                                                                                                                                          svstemtherefor

                                                                                                                                                                                                          Scheduler for a base station of a communications
114513     114513-DE-EPA          EP1667368                    04292897.8         EP1667368                   DE                                22-Sep-10                6-Dec-24              6-Dec-04
                                                                                                                                                                                                          network and method of operating a scheduler


                                                                                                                                                                                                          Scheduler for a base station of a communications
114513     114513-FR-EPA          EP1667368                    04292897.8         EP1667368                   FR                                22-Sep-10                6-Dec-24              6-Dec-04
                                                                                                                                                                                                          network and method of operating a scheduler


                                                                                                                                                                                                          Scheduler for a base station of a communications
114513     114513-GB-EPA          EP1667368                    04292897.8         EP1667368                   GB                                22-Sep-10                6-Dec-24              6-Dec-04
                                                                                                                                                                                                          network and method of operating a scheduler

                                                                                                                                                                                                          Base station and method for allocating HS-DSCH
                                  ZL200610091886
114541     114541-CN-NP                                        200610091886.0     1893316                     CN                                 8-Dec-10              14-Jun-26              14-Jun-06 channelisation codes in a wireless communication
                                  .0
                                                                                                                                                                                                          system
                                                                                                                                                                                                          Base station and method for allocating HS-DSCH
114541     114541-DE-EPA          EP1742403                    05291455.3         EP1742403                   DE                                24-Oct-07                 5-Jul-25              5-Jul-05 channelisation codes in a wireless communication
                                                                                                                                                                                                          svstem
                                                                                                                                                                                                          Base station and method for allocating HS-DSCH
114541     114541-FR-EPA          EP1742403                    05291455.3         EP1742403                   FR                                24-Oct-07                 5-Jul-25              5-Jul-05 channelisation codes in a wireless communication
                                                                                                                                                                                                          system
                                                                                                                                                                                                          Base station and method for allocating HS-DSCH
114541     114541-GB-EPA          EP1742403                    05291455.3         EP1742403                   GB                                24-Oct-07                 5-Jul-25              5-Jul-05 channelisation codes in a wireless communication
                                                                                                                                                                                                          svstem
                                                                                                                                                                                                          Base Station And Method For Allocating HS-DSCH
114541     114541-US-NP           US8774099                    11/446264          20070008933                 us                                  8-Jul-14            25-Mar-33                5-Jun-06 Channelisation Codes In A Wireless Communication
                                                                                                                                                                                                          Svstem
114635     114635-DE-EPA          EP1887718                    06291298.5         EP1887718                   DE                                14-Oct-09              10-Aue:-26             10-Aue:-06 Rule for operatine: am~lifiers output power
114635     114635-FR-EPA          EP1887718                    06291298.5         EP1887718                   FR                                14-Oct-09              10-Aue:-26             10-Aue:-06 Rule for operatine: am~lifiers output power
114635     114635-GB-EPA          EP1887718                    06291298.5         EP1887718                   GB                                14-Oct-09              10-Aug-26              10-Aug-06 Rule for operating am~ lifiers output power

                                                                                                                                                                                                          New WDM laser sources for Remote-Color-Managed
114640     114640-DE-EPA          EP1953941                    07300715.5         EP1953941                   DE                                 6-May-09               11-Jan-27             11-Jan-07
                                                                                                                                                                                                          Passive-Optical-Networks (RCM-PON)


                                                                                                                                                                                                          New WDM laser sources for Remote-Color-Managed
114640     114640-FR-EPA          EP1953941                    07300715.5         EP1953941                   FR                                 6-May-09               11-Jan-27             11-Jan-07
                                                                                                                                                                                                          Passive-Optical-Networks (RCM-PON)


                                                                                                                                                                                                          New WDM laser sources for Remote-Color-Managed
114640     114640-GB-EPA          EP1953941                    07300715.5         EP1953941                   GB                                 6-May-09               11-Jan-27             11-Jan-07
                                                                                                                                                                                                          Passive-Optical-Networks (RCM-PON)

                                  ZL200510097456
114697     114697-CN-NP                                        200510097456.5     1815926                     CN                                16-Dec-09              28-Dec-25              28-Dec-05 Performance monitoring for optical links
                                  .5
114697     114697-US-NP           US7295774                    11/302259          20060177220                 us                                13-Nov-07              14-Dec-25              14-Dec-05 Performance monitorin for o tical links
                                  ZL200610167014
114714     114714-CN-NP                                        200610167014.8     1997022                     CN                                29-Aug-12              12-Dec-26              12-Dec-06 Remotely controllable soft keys
                                  .8
                                                                                                                                                                                                          Remotely controllable soft keys
114714     114714-DE-EPA          EP1806901                    06290056.8         EP1806901                   DE                                 7-Dec-11                4-Jan-26              4-Jan-06

                                                                                                                                                                                                          Remotely controllable soft keys
114714     114714-FR-EPA          EP1806901                    06290056.8         EP1806901                   FR                                 7-Dec-11                4-Jan-26              4-Jan-06

                                                                                                                                                                                                          Remotely controllable soft keys
114714     114714-GB-EPA          EP1806901                    06290056.8         EP1806901                   GB                                 7-Dec-11                4-Jan-26              4-Jan-06

114714     114714-US-NP           US7779070                    11/599321          20070156828                 us                                17-Aue:-10             13-Nov-28              15-Nov-06 Remotel controllable soft ke s
114733     114733-EP-EPA                                       05300788.6         EP1770972                   EP                                                       30-Sep-25              30-Sep-05 PROCEDE POUR LIRE UN CLIP PERSONNALISE
114733     114733-US-NP           US8467501                    11/529233          20070121922                 us                                 18-Jun-13             16-Apr-32              29-Sep-06 Method For Plavine: A Personalized Clip

114786     114786-US-NP           US7450289                    11/395304          20060250835                 us                                11-Nov-08                6-Sep-26              3-Apr-06 Low power driver circuit for a polarization scrambler

114791     114791-US-NP           US8787959                    11/564116          20070123288                 us                                 22-Jul-14            15-Mav-31               28-Nov-06 Method Of Control line: A Broadcast Call
114802     114802-DE-EPA          EP1748590                    05291616.0         EP1748590                   DE                                  2-Jan-08              28-Jul-25              28-Jul-05 Wideband-narrowband telecommunication
114802     114802-ES-EPA          EP1748590                    05291616.0         EP1748590                   ES                                  2-Jan-08              28-Jul-25              28-Jul-05 Wideband-narrowband telecommunication
114802     114802-FR-EPA          EP1748590                    05291616.0         EP1748590                   FR                                  2-Jan-08              28-Jul-25              28-Jul-05 Wideband-narrowband telecommunication
114802     114802-GB-EPA          EP1748590                    05291616.0         EP1748590                   GB                                  2-Jan-08              28-Jul-25              28-Jul-05 Wideband-narrowband telecommunication
114802     114802-IT-EPA          EP1748590                    05291616.0         EP1748590                   IT                                  2-Jan-08              28-Jul-25              28-Jul-05 Wideband-narrowband telecommunication
114802     114802-US-NP           US7813378                    11/483522          20070036229                 us                                12-Oct-10                6-Jun-27              11-Jul-06 Wideband-narrowband telecommunication

                                                                                                                                                                                                          Method for providing harmonized public security and
114806     114806-EP-EPA                                       05003502.1         EP1694087                   EP                                                       18-Feb-25              18-Feb-05
                                                                                                                                                                                                          safety services and corresponding service platform


                                                                                                                                                                                                          Method for providing harmonized public security and
114806     114806-US-NP           US7631077                    11/354925          20060209747                 us                                 8-Dec-09              13-Nov-27              16-Feb-06
                                                                                                                                                                                                          safety services and corresponding service platform

                                                                                                                                                                                                          Method of using the frequency spectrum ofa TDD
114855     114855-DE-EPA          EP1784030                    05292322.4         EP1784030                   DE                                23-Apr-08               2-Nov-25               2-Nov-05
                                                                                                                                                                                                          radio system
                                                                                                                                                                                                          Method of using the frequency spectrum ofa TDD
114855     114855-FR-EPA          EP1784030                    05292322.4         EP1784030                   FR                                23-Apr-08               2-Nov-25               2-Nov-05
                                                                                                                                                                                                          radio svstem
                                                                                                                                                                                                          Method of using the frequency spectrum ofa TDD
114855     114855-GB-EPA          EP1784030                    05292322.4         EP1784030                   GB                                23-Apr-08               2-Nov-25               2-Nov-05
                                                                                                                                                                                                          radio svstem
114859     114859-US-NP           US7764630                    11/584627          20070115854                 us                                 27-Jul-10             18-Aue:-28             23-Oct-06 Automatic Discovervfor MTN Susses
                                                                                                                                                                                                          METHOD FOR TRANSMITTING USER DATA IN A MULTI
                                  ZL200610106450
114896     114896-CN-NP                                        200610106450.4     1909531                     CN                                21-Dec-11               24-Jul-26              24-Jul-06 CARRIER RADIO COMMUNICATION SYSTEM, AND
                                  .4
                                                                                                                                                                                                          CORRESPONDING RECEIVER
                                                                                                                                                                                                          METHOD FOR TRANSMITTING USER DATA IN A MULTI
114896     114896-DE-EPA          EP1750405                    05300634.2         EP1750405                   DE                                 27-Jun-07               1-Aug-25              1-Aug-05 CARRIER RADIO COMMUNICATION SYSTEM, AND
                                                                                                                                                                                                          CORRESPONDING RECEIVER
                                                                                                                                                                                                          METHOD FOR TRANSMITTING USER DATA IN A MULTI
114896     114896-FR-EPA          EP1750405                    05300634.2         EP1750405                   FR                                 27-Jun-07               1-Aug-25              1-Aug-05 CARRIER RADIO COMMUNICATION SYSTEM, AND
                                                                                                                                                                                                          CORRESPONDING RECEIVER
                                                                                                                                                                                                          METHOD FOR TRANSMITTING USER DATA IN A MULTI
114896     114896-GB-EPA          EP1750405                    05300634.2         EP1750405                   GB                                 27-Jun-07               1-Aug-25              1-Aug-05 CARRIER RADIO COMMUNICATION SYSTEM, AND
                                                                                                                                                                                                          CORRESPONDING RECEIVER




                                                                                          Page 17 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0158
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 25 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    METHOD FOR TRANSMITTING USER DATA IN A MULTI
114896     114896-US-NP           US7742534                    11/483720          20070025459                 us                                 22-Jun-10               7-Dec-28              11-Jul-06 CARRIER RADIO COMMUNICATION SYSTEM, AND
                                                                                                                                                                                                           CORRESPONDING RECEIVER
                                                                                                                                                                                                           METHOD FOR TRANSMITTING USER DATA IN A MULTI
114896     114896-KR-NP           KRl0-1167326                 200664868                                      KR                                 13-Jul-12               11-Jul-26             11-Jul-06 CARRIER RADIO COMMUNICATION SYSTEM, AND
                                                                                                                                                                                                        CORRESPONDING RECEIVER
114910     114910-US-NP           US7949075                    11/736578          20070248192                 us                                24-Mav-11             23-Mar-30               17-Aor-07 Svstem and method for serial data receotion

114918     114918-US-NP           US8098812                    11/637051          20070206777                 us                                 17-Jan-12              7-Nov-30              12-Dec-06 Method Of Controlling An Adaptation Of A Filter

114927     114927-US-NP           US7907568                    11/740610          20070254664                 us                                15-Mar-11              13-Aug-29              26-Apr-07 A method of performing a handover
                                                                                                                                                                                                           TRANSMITTER FOR TRANSMITTING USER DATA IN A
114929     114929-DE-EPA          EP1750406                    05300636.7         EP1750406                   DE                                 1-Aug-07                1-Aug-25              1-Aug-05 MULTI-CARRIER RADIO COMMUNICATION SYSTEM,
                                                                                                                                                                                                           CORRESPONDING METHOD
                                                                                                                                                                                                        TRANSMITTER FOR TRANSMITTING USER DATA IN A
114929     114929-FR-EPA          EP1750406                    05300636.7         EP1750406                   FR                                 1-Aug-07                1-Aug-25              1-Aug-05 MULTI-CARRIER RADIO COMMUNICATION SYSTEM,
                                                                                                                                                                                                           CORRESPONDING METHOD
                                                                                                                                                                                                           TRANSMITTER FOR TRANSMITTING USER DATA IN A
114929     114929-GB-EPA          EP1750406                    05300636.7         EP1750406                   GB                                 1-Aug-07                1-Aug-25              1-Aug-05 MULTI-CARRIER RADIO COMMUNICATION SYSTEM,
                                                                                                                                                                                                           CORRESPONDING METHOD
                                                                                                                                                                                                           Method of transmitting an optical signal and
114957     114957-DE-EPA          EP1788734                    05292481.8         EP1788734                   DE                                 7-Oct-09             21-Nov-25               21-Nov-05
                                                                                                                                                                                                           transmissionsvstem
                                                                                                                                                                                                           Method of transmitting an optical signal and
114957     114957-FR-EPA          EP1788734                    05292481.8         EP1788734                   FR                                 7-Oct-09             21-Nov-25               21-Nov-05
                                                                                                                                                                                                           transmissionsvstem
                                                                                                                                                                                                           Method of transmitting an optical signal and
114957     114957-GB-EPA          EP1788734                    05292481.8         EP1788734                   GB                                 7-Oct-09             21-Nov-25               21-Nov-05
                                                                                                                                                                                                           transmissionsvstem

                                                                                                                                                                                                           METHOD OF CORRECTING GAIN AND PHASE
115027     115027-US-NP           US7885351                    11/760175          20080049866                 us                                 8-Feb-11               7-Aug-29               8-Jun-07 IMBALANCE OF A MULTI-CARRIER TRANSMISSION
                                                                                                                                                                                                           SIGNAL, TRANSMITTER AND BASE STATION

115061     115061-DE-EPA          EP1898523                    06291418.9         EP1898523                   DE                                  4-Jul-12               5-Se -26              5-Sen-06 Im roved switchable        ower divider
115061     115061-FR-EPA          EP1898523                    06291418.9         EP1898523                   FR                                  4-Jul-12               5-Se -26              5-SeP-06 Im roved switchable        ower divider
115061     115061-GB-EPA          EP1898523                    06291418.9         EP1898523                   GB                                  4-Jul-12               5-Se -26              5-SeP-06 Im roved switchable ower divider
115067     115067-DE-EPA          EP1898588                    06291437.9         EP1898588                   DE                                 13-Jan-10               8-Sep-26              8-Sep-06 Tunnel tvPe request bv Foreign Agent /MIP)
115067     115067-FR-EPA          EP1898588                    06291437.9         EP1898588                   FR                                 13-Jan-10               8-Sep-26              8-Sep-06 Tunnel tvPe request bv Foreign Agent /MIP)
115067     115067-GB-EPA          EP1898588                    06291437.9         EP1898588                   GB                                 13-Jan-10               8-Sep-26              8-Sep-06 Tunnel type request by Foreign Agent /MIP)
                                                                                                                                                                                                         Intelligent routing of emergency's call notification in
115102     115102-DE-EPA          EP1879370                    07112273.3         EP1879370                   DE                                30-Apr-14                11-Jul-27             11-Jul-07 private or public network with means to find right
                                                                                                                                                                                                           lneo le
                                                                                                                                                                                                           Intelligent routing of emergency's call notification in
115102     115102-FR-EPA          EP1879370                    07112273.3         EP1879370                   FR                                30-Apr-14                11-Jul-27             11-Jul-07 private or public network with means to find right
                                                                                                                                                                                                        I people
                                                                                                                                                                                                         Intelligent routing of emergency's call notification in
115102     115102-GB-EPA          EP1879370                    07112273.3         EP1879370                   GB                                30-Apr-14                11-Jul-27             11-Jul-07 private or public network with means to find right
                                                                                                                                                                                                           loeople

                                                                                                                                                                                                           Emergency Communication Method, Server, Network
115102     115102-US-NP           US8085904                    11/777261          20080043933                 us                                27-Dec-11              25-Oct-30               12-Jul-07
                                                                                                                                                                                                           And Computer Program For Such Communication


                                  ZL200710126955                                                                                                                                                           Emergency Communication Method, Server, Network
115102     115102-CN-NP                                        200710126955.1     101110990                   CN                                13-May-15                 2-Jul-27              2-Jul-07
                                  .1                                                                                                                                                                       and Computer Program for such Communication


115108     115108-DE-EPA          EP1914902                    06301067.2         EP1914902                   DE                                21-Apr-10              20-Oct-26              20-Oct-06 Digital transmission system for CDMA and UMTS


115108     115108-FR-EPA          EP1914902                    06301067.2         EP1914902                   FR                                21-Apr-10              20-Oct-26              20-Oct-06 Digital transmission system for CDMA and UMTS


115108     115108-GB-EPA          EP1914902                    06301067.2         EP1914902                   GB                                21-Apr-10              20-Oct-26              20-Oct-06 Digital transmission system for CDMA and UMTS

                                  ZL200710112517                                                                                                                                                           Uplink Interferer Identification in an OFDM based
115187     115187-CN-NP                                        200710112517.X     101106819A                  CN                                 8-Dec-10              19-Jun-27              19-Jun-07
                                  .X                                                                                                                                                                       Mobile Communications Network
                                                                                                                                                                                                           Handover Method And Base Station For Radio
115187     115187-US-NP           US8755803                    11/762754          20070298802                 us                                 17-Jun-14             30-Dec-28              13-Jun-07
                                                                                                                                                                                                           Communication Network
                                                                                                                                                                                                           Uplink Interferer Identification in an OFDM based
115187     115187-KR-PCT          KR101051278                  20087031040                                    KR                                 18-Jul-11            30-May-27              30-May-07
                                                                                                                                                                                                           Mobile Communications Network
                                                                                                                                                                                                           Handover method and base station for a radio
115187     115187-DE-EPA          EP1871130                    06291040.1         EP1871130                   DE                                10-Dec-08              20-Jun-26              20-Jun-06
                                                                                                                                                                                                           communication network
                                                                                                                                                                                                           Handover method and base station for a radio
115187     115187-FR-EPA          EP1871130                    06291040.1         EP1871130                   FR                                10-Dec-08              20-Jun-26              20-Jun-06
                                                                                                                                                                                                           communication network
                                                                                                                                                                                                           Handover method and base station for a radio
115187     115187-GB-EPA          EP1871130                    06291040.1         EP1871130                   GB                                10-Dec-08              20-Jun-26              20-Jun-06
                                                                                                                                                                                                           communication network
                                                                                                                                                                                                           Bridging enterprise advanced communication
115194     115194-DE-EPA          EP2019555                    07301271.8         EP2019555                   DE                                 3-Mar-10               25-Jul-27              25-Jul-07 systemsthroughthepublicinternet(Warning: Hot
                                                                                                                                                                                                           ToPicl
                                                                                                                                                                                                         Bridging enterprise advanced communication
115194     115194-FR-EPA          EP2019555                    07301271.8         EP2019555                   FR                                 3-Mar-10               25-Jul-27              25-Jul-07 systemsthroughthepublicinternet(Warning: Hot
                                                                                                                                                                                                           Topic)
                                                                                                                                                                                                           Bridging enterprise advanced communication
115194     115194-GB-EPA          EP2019555                    07301271.8         EP2019555                   GB                                 3-Mar-10               25-Jul-27              25-Jul-07 systemsthroughthepublicinternet(Warning: Hot
                                                                                                                                                                                                         Tonicl
                                                                                                                                                                                                           Real Time Effective Bandwidth Estimation - EU-
115216     115216-DE-EPA          EP1876757                    06300766.0         EP1876757                   DE                                  1-Jul-09                6-Jul-26              6-Jul-06
                                                                                                                                                                                                           Pro·ect
                                                                                                                                                                                                           Real Time Effective Bandwidth Estimation - EU-
115216     115216-FR-EPA          EP1876757                    06300766.0         EP1876757                   FR                                  1-Jul-09                6-Jul-26              6-Jul-06
                                                                                                                                                                                                           Project
                                                                                                                                                                                                           Real Time Effective Bandwidth Estimation - EU-
115216     115216-GB-EPA          EP1876757                    06300766.0         EP1876757                   GB                                  1-Jul-09                6-Jul-26              6-Jul-06
                                                                                                                                                                                                           Project
                                                                                                                                                                                                           Transmission line and radiating cable made with
115229     115229-EP-EPA                                       07290882.5         EP2015317                   EP                                                         11-Jul-27             11-Jul-07
                                                                                                                                                                                                           crosslinkeddielectric

                                                                                                                                                                                                           Adaptive gain setting of in-line PON-EDFAs for single-
115242     115242-DE-EPA          EP2003798                    07290734.8         EP2003798                   DE                                 27-Jan-10             12-Jun-27              12-Jun-07
                                                                                                                                                                                                           lambda and WDM operation - FPG-PIEMAN


                                                                                                                                                                                                           Adaptive gain setting of in-line PON-EDFAs for single-
115242     115242-FR-EPA          EP2003798                    07290734.8         EP2003798                   FR                                 27-Jan-10             12-Jun-27              12-Jun-07
                                                                                                                                                                                                           lambda and WDM operation - FPG-PIEMAN


                                                                                                                                                                                                           Adaptive gain setting of in-line PON-EDFAs for single-
115242     115242-GB-EPA          EP2003798                    07290734.8         EP2003798                   GB                                 27-Jan-10             12-Jun-27              12-Jun-07
                                                                                                                                                                                                           lambda and WDM operation - FPG-PIEMAN

                                                                                                                                                                                                           2-D CODING SCHEMATIC FOR CURRENT SWITCHED
120013     120013-US-NP           US6157333                    09/153983                                      us                                 5-Dec-00              16-Sep-18              16-Sep-98
                                                                                                                                                                                                           DAC.
                                                                                                                                                                                                           SYNTHESIS OF INCREASED OPAMP OUTPUT
120107     120107-US-NP           US6097245                    09/145619                                      us                                 1-Aug-00                2-Sep-18              2-Sep-98
                                                                                                                                                                                                           IMPEDANCE.
                                                                                                                                                                                                           CELL SWITCHING DEVICE WITH NESTED PRIORITY
120110     120110-US-CNT          US7768914                    12/031208          20080137675                 us                                 3-Aug-10              29-Aug-21              14-Feb-08
                                                                                                                                                                                                        TRANSMISSION MEANS.
120110     120110-US-NP           US7352695                    09/778764          20010030974                 us                                  1-Anr-08            14-Mav-23                8-Feb-01 A SWITCH AND A SWITCHING METHOD.




                                                                                          Page 18 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0159
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 26 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm   Vermittlungsanordnung und Vetfahren zur Prufung
120111     120111-DE-EPA          EP1109366                    99403179.7                   EP1109366                   DE                        2-Nov-05              16-Dec-19              16-Dec-99 der Ubertragungvon Datenzellen in einer
                                                                                                                                                                                                           asvnchronenVermittlungsanordnung

                                                                                                                                                                                                           METHOD FOR CHECKING THE TRANSFER OF DATA
                                                                                                                                                                                                           CELLS IN AN ASYNCHRONOUS SWITCH ING
120111     120111-FR-EPA          EP1109366                    99403179.7                   EP1109366                   FR                        2-Nov-05              16-Dec-19              16-Dec-99
                                                                                                                                                                                                           ARRANGEMENT, ELEMENTARY SWITCHING UNIT AND
                                                                                                                                                                                                           NETWORK EQUIPPED FOR SUCH A METHOD.


                                                                                                                                                                                                           METHOD FOR CHECKING THE TRANSFER OF DATA
                                                                                                                                                                                                           CELLS IN AN ASYNCHRONOUS SWITCH ING
120111     120111-GB-EPA          EP1109366                    99403179.7                   EP1109366                   GB                        2-Nov-05              16-Dec-19              16-Dec-99
                                                                                                                                                                                                           ARRANGEMENT, ELEMENTARY SWITCHING UNIT AND
                                                                                                                                                                                                           NETWORK EQUIPPED FOR SUCH A METHOD.


                                                                                                                                                                                                           METHOD FOR CHECKING THE TRANSFER OF DATA
                                                                                                                                                                                                           CELLS IN AN ASYNCHRONOUS SWITCH ING
120111     120111-IT-EPA          EP1109366                    99403179.7                   EP1109366                   IT                        2-Nov-05              16-Dec-19              16-Dec-99
                                                                                                                                                                                                           ARRANGEMENT, ELEMENTARY SWITCHING UNIT AND
                                                                                                                                                                                                           NETWORK EQUIPPED FOR SUCH A METHOD.


                                                                                                                                                                                                           METHOD FOR CHECKING THE TRANSFER OF DATA
                                                                                                                                                                                                           CELLS IN AN ASYNCHRONOUS SWITCH ING
120111     120111-US-NP           US6901054                    09/732748                    20010004351                 us                       31-May-05              28-Apr-23              11-Dec-00
                                                                                                                                                                                                           ARRANGEMENT, ELEMENTARY SWITCHING UNIT AND
                                                                                                                                                                                                           NETWORK EQUIPPED FOR SUCH A METHOD.

120174     120174-US-NP           US7420966                    09/828927                                                us                        2-Seo-08                7-Jan-24             10-Aor-0l CONNECTION CONTROL MODULE.

120180     120180-US-NP           US6339791                    09/267367                                                us                        15-Jan-02            15-Mar-19               15-Mar-99 BROADCAST AND PRUNE MULTICAST SHORTCUT.

120182     120182-US-NP           US6834054                    09/547141                                                us                       21-Dec-04              11-A r-20              11-Anr-00 Method ofSunnortin,::, Shortcuts
                                                                                                                                                                                                           METHOD AND APPARATUS FOR ASSEMBLING
120193     120193-US-NP           US6898209                    09/795189                                                us                       24-May-05                12-Jul-23             1-Mar-01
                                                                                                                                                                                                           FRAMES.
120203     120203-DE-EPA          EP1014563                    98403167.4                   EP1014563                   DE                        1-Mar-06              14-Dec-18              14-Dec-98 ADSL LINE DRIVER.
120203     120203-FR-EPA          EP1014563                    98403167.4                   EP1014563                   FR                        1-Mar-06              14-Dec-18              14-Dec-98 ADSL LINE DRIVER.
120203     120203-GB-EPA          EP1014563                    98403167.4                   EP1014563                   GB                        1-Mar-06              14-Dec-18              14-Dec-98 ADSL LINE DRIVER.
120203     120203-IT-EPA          EP1014563                    98403167.4                   EP1014563                   IT                        1-Mar-06              14-Dec-18              14-Dec-98 ADSL LINE DRIVER.
120203     120203-US-NP           US6323729                    09/448763                                                us                       27-Nov-0l             24-Nov-19               24-Nov-99 ADSL LINE DRIVER.
                                                                                                                                                                                                           METHOD FOR ALLOCATING A BANDWIDTH BETWEEN
                                                                                                                                                                                                           NETWORK TERMINALS IN A COMMUNICATION
120260     120260-DE-EPA          EP1220494                    00403706.5                   EP1220494                   DE                       11-Feb-04              28-Dec-20              28-Dec-00 NETWORK AND NETWORK INCLUDING A MEDIUM
                                                                                                                                                                                                           ACCESS CONTROLLER FOR PERFORMING SUCH A
                                                                                                                                                                                                           METHOD.
                                                                                                                                                                                                           METHOD FOR ALLOCATING A BANDWIDTH BETWEEN
                                                                                                                                                                                                           NETWORK TERMINALS IN A COMMUNICATION
120260     120260-FR-EPA          EP1220494                    00403706.5                   EP1220494                   FR                       11-Feb-04              28-Dec-20              28-Dec-00 NETWORK AND NETWORK INCLUDING A MEDIUM
                                                                                                                                                                                                           ACCESS CONTROLLER FOR PERFORMING SUCH A
                                                                                                                                                                                                           METHOD.
                                                                                                                                                                                                           METHOD FOR ALLOCATING A BANDWIDTH BETWEEN
                                                                                                                                                                                                           NETWORK TERMINALS IN A COMMUNICATION
120260     120260-GB-EPA          EP1220494                    00403706.5                   EP1220494                   GB                       11-Feb-04              28-Dec-20              28-Dec-00 NETWORK AND NETWORK INCLUDING A MEDIUM
                                                                                                                                                                                                           ACCESS CONTROLLER FOR PERFORMING SUCH A
                                                                                                                                                                                                           METHOD.
                                                                                                                                                                                                           METHOD FOR ALLOCATING A BANDWIDTH BETWEEN
                                                                                                                                                                                                           NETWORK TERMINALS IN A COMMUNICATION
120260     120260-IT-EPA          EP1220494                    00403706.5                   EP1220494                   IT                       11-Feb-04              28-Dec-20              28-Dec-00 NETWORK AND NETWORK INCLUDING A MEDIUM
                                                                                                                                                                                                           ACCESS CONTROLLER FOR PERFORMING SUCH A
                                                                                                                                                                                                           METHOD.
                                                                                                                                                                                                           METHOD FOR ALLOCATING A BANDWIDTH BETWEEN
                                                                                                                                                                                                           NETWORK TERMINALS IN A COMMUNICATION
120260     120260-US-NP           US7012923                    10/025685                    20020118695                 us                       14-Mar-06               4-Aug-24              26-Dec-0l NETWORK AND NETWORK INCLUDING A MEDIUM
                                                                                                                                                                                                           ACCESS CONTROLLER FOR PERFORMING SUCH A
                                                                                                                                                                                                           METHOD.
120268     120268-US-NP           US6862607                    09/440200                                                us                        1-Mar-05              15-Nov-19              15-Nov-99 LIGHTWEIGHT HTTP PROTOCOL.
120290     120290-US-NP           US6917682                    09/729177                    20010021250                 us                        12-Jul-05              3-Mav-22               5-Dec-00 METHOD AND DEVICE FOR ECHO CANCELLING
120295     120295-US-NP           US6522630                    09/316394                                                us                       18-Feb-03             21-Mav-19              21-Mav-99 EXPLICIT ROUTING IN IP.
120298     120298-US-NP           US6980548                    09/348575                                                us                       27-Dec-05                 7-Jul-19              7-Jul-99 IP - NETWORK ADDRESS TRANSLATION

                                                                                                                                                                                                           Telekommunikationssystem und Verfahren zum
120299     120299-DE-EPA          EP1119149                    00440015.6                   EP1119149                   DE                       24-Nov-04               21-Jan-20             21-Jan-00
                                                                                                                                                                                                           Transportieren und Schutzen von lnformationen


                                                                                                                                                                                                           Telecommunication system for transporting and
120299     120299-FR-EPA          EP1119149                    00440015.6                   EP1119149                   FR                       24-Nov-04               21-Jan-20             21-Jan-00
                                                                                                                                                                                                           protecting information, terminal, and method


                                                                                                                                                                                                           Telecommunication system for transporting and
120299     120299-GB-EPA          EP1119149                    00440015.6                   EP1119149                   GB                       24-Nov-04               21-Jan-20             21-Jan-00
                                                                                                                                                                                                           protecting information, terminal, and method


                                                                                                                                                                                                           Telecommunication system for transporting and
120299     120299-IT-EPA          EP1119149                    00440015.6                   EP1119149                   IT                       24-Nov-04               21-Jan-20             21-Jan-00
                                                                                                                                                                                                           protecting information, terminal, and method


120354     120354-CN-NP           ZL00122476.X                 00122476.X                   1283916A                    CN                        6-Oct-04               2-Aug-20               2-Aug-00 AUTOMATIC DIFFSERV SLA NEGOTIATION USING PPP.

                                                                                                                                                                                                           METHOD FOR TRANSPORTING DATA, A RELATED
120354     120354-DE-EPA          EP1076441                    99402021.2                   EP1076441                   DE                       15-Apr-09               9-Aug-19               9-Aug-99 DATA TRANSMITTING ELEMENT ANDA DATA
                                                                                                                                                                                                           RECEIVING ELEMENT.
                                                                                                                                                                                                           METHOD FOR TRANSPORTING DATA, A RELATED
120354     120354-FR-EPA          EP1076441                    99402021.2                   EP1076441                   FR                       15-Apr-09               9-Aug-19               9-Aug-99 DATA TRANSMITTING ELEMENT ANDA DATA
                                                                                                                                                                                                           RECEIVING ELEMENT.
                                                                                                                                                                                                           METHOD FOR TRANSPORTING DATA, A RELATED
120354     120354-GB-EPA          EP1076441                    99402021.2                   EP1076441                   GB                       15-Apr-09               9-Aug-19               9-Aug-99 DATA TRANSMITTING ELEMENT ANDA DATA
                                                                                                                                                                                                           RECEIVING ELEMENT.

120354     120354-US-NP           US7061917                    09/384422                                                us                        13-Jun-06             27-Aug-19              27-Aug-99 AUTOMATIC DIFFSERV SLA NEGOTIATION USING PPP.


120375     120375-DE-EPA          EP1107513                    99440352.5                   EP1107513                   DE                       17-Mar-04              10-Dec-19              10-Dec-99 System zur Verwaltung von lnternetverbindungen

120375     120375-ES-EPA          EP1107513                    99440352.5                   EP1107513                   ES                       17-Mar-04              10-Dec-19              10-Dec-99 A System for Managing Internet Connections
120375     120375-FR-EPA          EP1107513                    99440352.5                   EP1107513                   FR                       17-Mar-04              10-Dec-19              10-Dec-99 A Svstem for Mana ini;,: Internet Connections
120375     120375-GB-EPA          EP1107513                    99440352.5                   EP1107513                   GB                       17-Mar-04              10-Dec-19              10-Dec-99 A Svstem for Mana ini;,: Internet Connections
120375     120375-IT-EPA          EP1107513                    99440352.5                   EP1107513                   IT                       17-Mar-04              10-Dec-19              10-Dec-99 A Svstem for Mana ini;,: Internet Connections

                                                                                                                                                                                                           System uses domain managers to communicate
                                                                                                                                                                                                           service parameters to domain boundary controllers
120375     120375-US-NP           US6799216                    09/731708                    20030191834                 us                       28-Sep-04             19-Mar-23                8-Dec-00
                                                                                                                                                                                                           for managing special internet connections across
                                                                                                                                                                                                           domain boundaries

                                                                                                                                                                                                           NETWORK STATUS REPORTING METHOD AND A
120382     120382-CN-NP           ZL408660                     00135489.2                   1301097A                    CN                         9-Jul-08             21-Dec-20              21-Dec-00
                                                                                                                                                                                                           COMMUNICATIONS NETWORK.




                                                                                                     Page 19 of 149
                                                                                                                                                                              PATENT
                                                                                                                                                                      REEL: 044000 FRAME: 0160
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 27 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                  ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm   NETWORK STATUS REPORTING METHOD AND A
120382     120382-DE-EPA          EP1111841                    99403256.3                     EP1111841                    DE                        22-Jun-11              21-Dec-19              21-Dec-99
                                                                                                                                                                                                               COMMUNICATIONS NETWORK.
                                                                                                                                                                                                               NETWORK STATUS REPORTING METHOD AND A
120382     120382-FR-EPA          EP1111841                    99403256.3                     EP1111841                    FR                        22-Jun-11              21-Dec-19              21-Dec-99
                                                                                                                                                                                                               COMMUNICATIONS NETWORK.
                                                                                                                                                                                                               NETWORK STATUS REPORTING METHOD AND A
120382     120382-GB-EPA          EP1111841                    99403256.3                     EP1111841                   GB                         22-Jun-11              21-Dec-19              21-Dec-99
                                                                                                                                                                                                               COMMUNICATIONS NETWORK.
                                                                                                                                                                                                               NETWORK STATUS REPORTING METHOD AND A
120382     120382-US-NP           US7508765                    09/737471                     20010004350                   us                       24-Mar-09                5-Nov-22              18-Dec-00
                                                                                                                                                                                                               COMMUNICATIONS NETWORK.
                                                                                                                                                                                                               HANDLING INCOMING CALLS IN THE CONTEXT OF
120387     120387-US-NP           US6944664                    09/666388                                                   us                       13-Sep-05                31-Jul-22             20-Sep-00
                                                                                                                                                                                                               VIRTUAL PRIVATE NETWORKS
                                                                                                                                                                                                               METHOD FOR MARKING PACKETS OF A DATA
120401     120401-CN-NP           ZL01125587.0                 01125587.0                    1344087A                      CN                       20-Oct-04               16-Aug-21              16-Aug-0l TRANSMISSION FLOW AND MARKER DEVICE
                                                                                                                                                                                                               PERFORMING THIS METHOD.
                                                                                                                                                                                                               MarkierungsapparatzumKreierenund Einfugen
120401     120401-DE-EPA          EP1180876                    00402306.5                     EP1180876                    DE                       26-Oct-05               18-Aug-20              18-Aug-00
                                                                                                                                                                                                               einer Prioritatin ein Datenoaket
                                                                                                                                                                                                             METHOD FOR MARKING PACKETS OF A DATA
120401     120401-FR-EPA          EP1180876                    00402306.5                     EP1180876                    FR                       26-Oct-05               18-Aug-20              18-Aug-00 TRANSMISSION FLOW AND MARKER DEVICE
                                                                                                                                                                                                               PERFORMING THIS METHOD.
                                                                                                                                                                                                               METHOD FOR MARKING PACKETS OF A DATA
120401     120401-GB-EPA          EP1180876                    00402306.5                     EP1180876                   GB                        26-Oct-05               18-Aug-20              18-Aug-00 TRANSMISSION FLOW AND MARKER DEVICE
                                                                                                                                                                                                               PERFORMING THIS METHOD.
                                                                                                                                                                                                             METHOD FOR MARKING PACKETS OF A DATA
120401     120401-US-NP           US7027395                    09/925738                     20020031089                   us                       11-Apr-06               14-Feb-24              10-Aug-0l TRANSMISSION FLOW AND MARKER DEVICE
                                                                                                                                                                                                               PERFORMING THIS METHOD.
                                                                                                                                                                                                               METHOD AND DEVICE FOR DISTRIBUTING ELECTRIC
120406     120406-US-NP           US6735301                    09/793120                     20020126829                   us                       11-May-04               31-Aug-21              27-Feb-0l POWER IN TELECOMMUNICATION CENTRAL OFFICE
                                                                                                                                                                                                               EQUIPMENT.
                                                                                                                                                                                                               METHOD TO GENERATE AN ACCEPTANCE DECISION
120407     120407-US-NP           US6912226                    09/795192                                                   us                        28-Jun-05              10-Jun-23               1-Mar-01
                                                                                                                                                                                                               IN A TELECOMMUNICATION SYSTEM.

                                                                                                                                                                                                               COMMUNICATION METHOD, RELATED BUFFERING
120434     120434-DE-EPA          EP1182829                    00402332.1                     EP1182829                    DE                        3-Oct-07               22-Aug-20              22-Aug-00
                                                                                                                                                                                                               ELEMENT AND LINE TERMINATION ELEMENT.


                                                                                                                                                                                                               COMMUNICATION METHOD, RELATED BUFFERING
120434     120434-FR-EPA          EP1182829                    00402332.1                     EP1182829                    FR                        3-Oct-07               22-Aug-20              22-Aug-00
                                                                                                                                                                                                               ELEMENT AND LINE TERMINATION ELEMENT.


                                                                                                                                                                                                               COMMUNICATION METHOD, RELATED BUFFERING
120434     120434-GB-EPA          EP1182829                    00402332.1                     EP1182829                   GB                         3-Oct-07               22-Aug-20              22-Aug-00
                                                                                                                                                                                                               ELEMENT AND LINE TERMINATION ELEMENT.


                                                                                                                                                                                                               COMMUNICATION METHOD, RELATED BUFFERING
120434     120434-US-NP           US7324446                    09/925331                     20020024933                   us                        29-Jan-08             30-Nov-24               10-Aug-0l
                                                                                                                                                                                                               ELEMENT AND LINE TERMINATION ELEMENT.

120448     120448-US-NP           US7020075                    09/879175                     20010053131                   us                       28-Mar-06               13-Jun-21              13-Jun-0l COMMUNICATION STACK.
120448     120448-DE-EPA          EP1168751                    00401763.8                     EP1168751                    DE                       22-Aug-07               20-Jun-20              20-Jun-00 COMMUNICATION STACK.
120448     120448-FR-EPA          EP1168751                    00401763.8                     EP1168751                    FR                       22-Aug-07               20-Jun-20              20-Jun-00 COMMUNICATION STACK.
120448     120448-GB-EPA          EP1168751                    00401763.8                     EP1168751                   GB                        22-Au11:-07             20-Jun-20              20-Jun-00 COMMUNICATION STACK.
120448     120448-IT-EPA          EP1168751                    00401763.8                     EP1168751                    IT                       22-Au11:-07             20-Jun-20              20-Jun-00 COMMUNICATION STACK.

120468     120468-DE-EPA          EP1176775                    00402123.4                     EP1176775                    DE                        1-Mar-06                24-Jul-20              24-Jul-00 Breitbandinger Niederspannungs-Leitungstreiber

120468     120468-FR-EPA          EP1176775                    00402123.4                     EP1176775                    FR                        1-Mar-06                24-Jul-20              24-Jul-00 LOW VOLTAGE BROADBAND LINE DRIVER
120468     120468-GB-EPA          EP1176775                    00402123.4                     EP1176775                   GB                         1-Mar-06                24-Jul-20              24-Jul-00 LOW VOLTAGE BROADBAND LINE DRIVER
120468     120468-IT-EPA          EP1176775                    00402123.4                     EP1176775                    IT                        1-Mar-06                24-Jul-20              24-Jul-00 LOW VOLTAGE BROADBAND LINE DRIVER
120468     120468-US-NP           US6985578                    09/910037                     20020034294                   us                        10-Jan-06               23-Jul-23              23-Jul-0l LOW VOLTAGE BROADBAND LINE DRIVER
120491     120491-US-NP           US7961607                    10/026690                     20020087715                   us                        14-Jun-11               21-Jan-28             27-Dec-0l MARKER DEVICE AND RELATED METHOD.
120500     120500-DE-EPA          EP1220443                    00403694.3                     EP1220443                    DE                        15-Jun-11              28-Dec-20              28-Dec-00 XDSL CLASS C-AB DRIVER.
120500     120500-FR-EPA          EP1220443                    00403694.3                     EP1220443                    FR                        15-Jun-11              28-Dec-20              28-Dec-00 XDSL CLASS C-AB DRIVER.
120500     120500-GB-EPA          EP1220443                    00403694.3                     EP1220443                   GB                         15-Jun-11              28-Dec-20              28-Dec-00 XDSL CLASS C-AB DRIVER.
120500     120500-US-NP           US6937720                    10/026435                     20020084811                   us                       30-Aug-05                 18-Jul-23            27-Dec-0l XDSL CLASS C-AB DRIVER.
120523     120523-DE-EPA          EP1220442                    00403693.5                     EP1220442                    DE                        5-Aor-06               28-Dec-20              28-Dec-00 xDSL FEEDBACK CLASS C-AB DRIVER.
120523     120523-FR-EPA          EP1220442                    00403693.5                     EP1220442                    FR                        5-Apr-06               28-Dec-20              28-Dec-00 xDSL FEEDBACK CLASS C-AB DRIVER.
120523     120523-GB-EPA          EP1220442                    00403693.5                     EP1220442                   GB                         5-Apr-06               28-Dec-20              28-Dec-00 xDSL FEEDBACK CLASS C-AB DRIVER.
120523     120523-IT-EPA          EP1220442                    00403693.5                     EP1220442                    IT                        5-Anr-06               28-Dec-20              28-Dec-00 xDSL FEEDBACK CLASS C-AB DRIVER.
120523     120523-US-NP           US6529071                    10/026655                     20020084774                   us                        4-Mar-03               27-Dec-21              27-Dec-0l xDSL FEEDBACK CLASS C-AB DRIVER.

                                                                                                                                                                                                             Method For Distributing Load Over Multiple Shared
120546     120546-US-NP           US8675655                    10/265446                     20030081608                   us                       18-Mar-14                 7-Oct-22              7-Oct-02 Resources In A Communication Network And
                                                                                                                                                                                                               Network Applying Such A Method

                                                                                                                                                                                                               TELECOMMUNICATIONS NETWORK AND A PACKET
120586     120586-DE-EPA          EP1320224                    01403222.1                     EP1320224                    DE                       21-Nov-07               12-Dec-21              12-Dec-0l
                                                                                                                                                                                                               HEADER TH ERE FORE.
                                                                                                                                                                                                               TELECOMMUNICATIONS NETWORK AND A PACKET
120586     120586-FR-EPA          EP1320224                    01403222.1                     EP1320224                    FR                       21-Nov-07               12-Dec-21              12-Dec-0l
                                                                                                                                                                                                               HEADER TH ERE FORE.
                                                                                                                                                                                                               TELECOMMUNICATIONS NETWORK AND A PACKET
120586     120586-GB-EPA          EP1320224                    01403222.1                     EP1320224                   GB                        21-Nov-07               12-Dec-21              12-Dec-0l
                                                                                                                                                                                                               HEADER TH ERE FORE.
                                                                                                                                                                                                               TELECOMMUNICATIONS NETWORK AND A PACKET
120586     120586-US-NP           US7881279                    10/316027                     20030118051                   us                         1-Feb-11              17-Sep-26              11-Dec-02
                                                                                                                                                                                                             HEADER TH ERE FORE.
120590     120590-JP-NP           JP4141707                    200263297                     2002290285                   JP                         20-Jun-08               8-Mar-22               8-Mar-02 HYBRID CIRCUIT FOR A BROADBAND MODEM.
120590     120590-CN-NP           ZL02107510.7                 02107510.7                    1384612A                      CN                       19-Sep-07              14-Mar-22               14-Mar-02 HYBRID CIRCUIT FOR A BROADBAND MODEM.
120590     120590-US-CNT          US7127062                    10/857012                     20040218753                   us                       24-Oct-06              15-Mar-21                 1-Jun-04 HYBRID CIRCUIT FOR A BROADBAND MODEM.
120611     120611-US-NP           US7362708                    10/265667                     20030072262                   us                       22-Anr-08               17-Se -25               8-Oct-02 Method and device for OMP load distribution
                                                                                                                                                                                                               Method And Apparatus For Packet Reordering In A
120635     120635-US-NP           US8045549                    10/389929                     20030189931                   us                       25-Oct-11              18-Mar-23               18-Mar-03
                                                                                                                                                                                                               Network Processor
                                                                                                                                                                                                               Telecommunication/Access System For Dealing With
120710     120710-US-NP           US8761198                    10/350080                     20030152090                   us                        24-Jun-14               2-May-27              24-Jan-03
                                                                                                                                                                                                               Different Address Lengths
                                                                                                                                                                                                               SCHEDULING UNIT WITH OPTIMIZED JITTER AND
120720     120720-US-NP           US7400631                    10/859955                     20040246970                   us                        15-Jul-08                9-Jan-27              4-Jun-04
                                                                                                                                                                                                               QUEUE OCCUPANCY
                                                                                                                                                                                                               SCHEDULING UNIT WITH OPTIMIZED JITTER AND
120720     120720-DE-EPA          EP1484939                    03291374.1                     EP1484939                    DE                       24-May-06                 6-Jun-23              6-Jun-03
                                                                                                                                                                                                               QUEUE OCCUPANCY
                                                                                                                                                                                                               SCHEDULING UNIT WITH OPTIMIZED JITTER AND
120720     120720-FR-EPA          EP1484939                    03291374.1                     EP1484939                    FR                       24-May-06                 6-Jun-23              6-Jun-03
                                                                                                                                                                                                               QUEUE OCCUPANCY
                                                                                                                                                                                                               SCHEDULING UNIT WITH OPTIMIZED JITTER AND
120720     120720-GB-EPA          EP1484939                    03291374.1                     EP1484939                   GB                        24-May-06                 6-Jun-23              6-Jun-03
                                                                                                                                                                                                               QUEUE OCCUPANCY

                                                                                                                                                                                                               POINT-TO-MULTIPOINT TELECOM MU NICATION
120738     120738-US-NP           US7701885                    10/436107                     20030219016                   us                       20-Apr-10               15-Feb-29             13-May-03
                                                                                                                                                                                                               SYSTEM WITH DOWNSTREAM FRAME STRUCTURE.

                                                                                                                                                                                                               COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-CN-NP           ZL268694                     200310121430.0                1514595                       CN                        21-Jun-06              16-Dec-23              16-Dec-03
                                                                                                                                                                                                               SERVICE PARAMETERS
                                                                                                                                                                                                               COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-DE-EPA          EP1432197                    02293155.4                     EP1432197                    DE                        8-Aug-07               19-Dec-22              19-Dec-02
                                                                                                                                                                                                               SERVICE PARAMETERS
                                                                                                                                                                                                               COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-ES-EPA          EP1432197                    02293155.4                     EP1432197                    ES                        8-Aug-07               19-Dec-22              19-Dec-02
                                                                                                                                                                                                               SERVICE PARAMETERS
                                                                                                                                                                                                               COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-FR-EPA          EP1432197                    02293155.4                     EP1432197                    FR                        8-Aug-07               19-Dec-22              19-Dec-02
                                                                                                                                                                                                               SERVICE PARAMETERS




                                                                                                       Page 20 of 149
                                                                                                                                                                                  PATENT
                                                                                                                                                                          REEL: 044000 FRAME: 0161
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 28 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr      'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                   ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-GB-EPA          EP1432197                    02293155.4                     EP1432197                   GB                         8-Aug-07                19-Dec-22              19-Dec-02
                                                                                                                                                                                                                 SERVICE PARAMETERS
                                                                                                                                                                                                                 COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-IT-EPA          EP1432197                    02293155.4                     EP1432197                    IT                        8-Aug-07                19-Dec-22              19-Dec-02
                                                                                                                                                                                                                 SERVICE PARAMETERS
                                                                                                                                                                                                                 COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-NL-EPA          EP1432197                    02293155.4                     EP1432197                    NL                        8-Aug-07                19-Dec-22              19-Dec-02
                                                                                                                                                                                                                 SERVICE PARAMETERS
                                                                                                                                                                                                                 COUPLING SELECTION/CONFIGURATION THROUGH
120777     120777-TR-EPA          EP1432197                    02293155.4                     EP1432197                   TR                         8-Aug-07                19-Dec-22              19-Dec-02
                                                                                                                                                                                                              SERVICE PARAMETERS
120804     120804-US-NP           US7168054                    10/728982                     20040123255                   us                        23-Jan-07              10-Mav-24                8-Dec-03 SOFTWARE TRAFFIC GENERATOR/ANALYSER
120806     120806-US-NP           US7082482                    10/739158                     20040153619                   us                        25-Jul-06                2-Aug-24              19-Dec-03 A DATA HANDLING DEVICE

                                  ZL200310103009                                                                                                                                                                 METHOD FOR TRAFFIC ENGINEERING AND INGRESS
120807     120807-CN-NP                                        200310103009.7                CN1499775                     CN                        20-Jun-07               28-Oct-23              28-Oct-03
                                  .7                                                                                                                                                                             ROUTER ADAPTED TO PERFORM SUCH A METHOD


120845     120845-DE-EPA          EP1434394                    02293244.6                     EP1434394                    DE                        8-Oct-08                26-Dec-22              26-Dec-02 IN-BAND OR IMPLICIT MPLS LABEL DISTRIBUTION.


120845     120845-FR-EPA          EP1434394                    02293244.6                     EP1434394                    FR                        8-Oct-08                26-Dec-22              26-Dec-02 IN-BAND OR IMPLICIT MPLS LABEL DISTRIBUTION.


120845     120845-GB-EPA          EP1434394                    02293244.6                     EP1434394                   GB                         8-Oct-08                26-Dec-22              26-Dec-02 IN-BAND OR IMPLICIT MPLS LABEL DISTRIBUTION.


                                                                                                                                                                                                                 MULTIPROTOCOL LABEL SWITCHING LABEL
                                                                                                                                                                                                              DISTRIBUTION METHOD, A RELATED FIRST
120845     120845-US-NP           US7362774                    10/737903                     20040125805                   us                       22-Apr-08               21-Mar-26               18-Dec-03 MULTIPROTOCOL LABEL SWITCHING NETWORK
                                                                                                                                                                                                                 ELEMENT AND A RELATED SECOND MULTIPROTOCOL
                                                                                                                                                                                                                 LABEL SWITCHING NETWORK ELEMENT

120885     120885-US-NP           US7551630                    10/863275                     20050002377                   us                        23-Jun-09               15-Oct-26               9-Jun-04 A ROUTER TO ROUTE PACKETS
120885     120885-DE-EPA          EP1487159                    03291427.7                     EP1487159                    DE                       20-Sep-06                13-Jun-23              13-Jun-03 A ROUTER TO ROUTE PACKETS
120885     120885-FR-EPA          EP1487159                    03291427.7                     EP1487159                    FR                       20-Sep-06                13-Jun-23              13-Jun-03 A ROUTER TO ROUTE PACKETS
120885     120885-GB-EPA          EP1487159                    03291427.7                     EP1487159                   GB                        20-Sep-06                13-Jun-23              13-Jun-03 A ROUTER TO ROUTE PACKETS
                                                                                                                                                                                                              METHOD FOR WAKING UP A SLEEPING DEVICE, A
120896     120896-US-NP           US7386738                    11/010410                     20050131555                   us                        10-Jun-08               16-Feb-26              14-Dec-04 RELATED NETWORK ELEMENT AND A RELATED
                                                                                                                                                                                                              WAKING DEVICE
120924     120924-CN-PCT          ZL801060662.0                200380106062.0                1726067                       CN                       13-Oct-10                24-Oct-23              24-Oct-03 GAMES CONSOLE VIDEO ADAPTOR
120924     120924-GB-NPl          GB2389291                    0228072.5                     2389291                      GB                        31-Aug-05                  2-Dec-22              2-Dec-02 GAMES CONSOLE VIDEO ADAPTOR
120924     120924-US-PCT                                       10/537175                     20060252545                   us                                                24-Oct-23              24-Oct-03 DTTTUNER

                                                                                                                                                                                                                 NETWORK-NODE FOR EXCHANGING DATA
120930     120930-CN-NP           ZL10092895.7                 200510092895.7                1744568                       CN                        8-Sep-10                23-Aug-25              23-Aug-05
                                                                                                                                                                                                                 INFORMATION VIAA PATH OR A DETOUR PATH.

121226     121226-DE-EPA          EP1883030                    06291207.6                     EP1883030                    DE                       24-Sen-08                 24-Jul-26              24-Jul-06 DISCOVERY-TIME BUSINESS FACADE.
121226     121226-FR-EPA          EP1883030                    06291207.6                     EP1883030                    FR                       24-Sen-08                 24-Jul-26              24-Jul-06 DISCOVERY-TIME BUSINESS FACADE.
121226     121226-GB-EPA          EP1883030                    06291207.6                     EP1883030                   GB                        24-SeP-08                 24-Jul-26              24-Jul-06 DISCOVERY-TIME BUSINESS FACADE.
123128     123128-US-NP           US6047028                    08/963791                                                   us                        4-APr-00                 4-Nov-17               4-Nov-97 BURST REDUCTION FOR VOD.
123134     123134-US-NP           US5951660                    08/987949                                                   us                       14-Sep-99                  10-Jul-17             10-Jul-97 POWER-UP CIRCUIT.
123162     123162-US-NP           US6194913                    09/212277                                                   us                       24-Feb-0l                16-Dec-18              16-Dec-98 SLEW RATE CONTROLLED OUTPUT BUFFER.
123165     123165-US-NP           US5861778                    08/925509                                                   us                        19-Jan-99                 8-Sep-17              8-Sep-97 FULLY DIFFERENTIAL LNA.
125085     125085-US-NP           US6294728                    09/104264                                                   us                       25-Sen-0l                24-Jun-18               24-Jun-98 Coaxial Cable
125087     125087-US-NP           US6246005                    135935                                                      us                        12-Jun-0l               l8-Au11:-l8            l8-Au11:-98 Radiatin11: coaxial cable
                                                                                                                                                                                                                 MODE FILTER FOR CONNECTING TWO
125090     125090-US-NP           US6130586                    137948                                                      us                       10-Oct-00                21-Aug-18              21-Aug-98
                                                                                                                                                                                                                 ELECTROMAGNETIC WAVEGUIDES
                                                                                                                                                                                                                 CONNECTING ELEMENT FORA COAXIAL HIGH-
125095     125095-US-NP           US6102737                    09/252012                                                   us                       15-Aug-00                18-Feb-19              18-Feb-99
                                                                                                                                                                                                                 FREQUENCY CABLE
                                                                                                                                                                                                                 Input Coupling Adjustment Arrangement for high
127002     127002-US-NP           US6025764                    885470                                                      us                       15-Feb-00                30-Jun-17              30-Jun-97
                                                                                                                                                                                                                 frequency filters
127009     127009-US-NP           US5949376                    09/102219                                                   us                        7-Sen-99                22-Jun-18              22-Jun-98 Dual nolarization natch antenna
127038     127038-US-NP           US6118355                    09/327508                                                   us                       12-Sen-00                  8-Jun-19              8-Jun-99 DUAL BAND COMBINER ARRANGEMENT

127041     127041-DE-EPA          EP0982802                    99401951.1                     EP0982802                    DE                        7-Sep-05                 30-Jul-19              30-Jul-99 Dipolspeiseanordnung fur eine Reflektorantenne


127041     127041-FR-EPA          EP0982802                    99401951.1                     EP0982802                    FR                        7-Sep-05                 30-Jul-19              30-Jul-99 Dipole feed arrangement for a reflector antenna


127041     127041-GB-EPA          EP0982802                    99401951.1                     EP0982802                   GB                         7-Sep-05                 30-Jul-19              30-Jul-99 Dipole feed arrangement for a reflector antenna


127086     127086-US-NP           US6794964                    09/883220                     20020036555                   us                       21-Sep-04               24-Nov-21               19-Jun-0l Bi-StableMicroswitchlncludingMagnetic Latch

                                                                                                                                                                                                                 Bi-Stable Microswitch Including Shape Memory Alloy
127087     127087-US-NP           US6603386                    09/885168                     20020036562                   us                        5-Aug-03                 27-Jul-21             21-Jun-0l
                                                                                                                                                                                                                 Latch
129036     129036-US-NP           US6226284                    09/107987                                                   us                        1-Mav-01                30-Jun-18              30-Jun-98 SPS SYNCHRONIZATION METHOD
                                                                                                                                                                                                                 Method and system for increasing the total amount
129208     129208-DE-EPA          EP1191734                    01402359.2                     EP1191734                    DE                       10-Oct-07                13-Sep-21              13-Sep-0l of useful information (throughput) transmitted in a
                                                                                                                                                                                                              radiocommunication system.
                                                                                                                                                                                                              Method and system for increasing the total amount
129208     129208-FR-EPA          EP1191734                    01402359.2                     EP1191734                    FR                       10-Oct-07                13-Sep-21              13-Sep-0l of useful information (throughput) transmitted in a
                                                                                                                                                                                                                 radiocommunication svstem.
                                                                                                                                                                                                                 Method and system for increasing the total amount
129208     129208-GB-EPA          EP1191734                    01402359.2                     EP1191734                   GB                        10-Oct-07                13-Sep-21              13-Sep-0l of useful information (throughput) transmitted in a
                                                                                                                                                                                                                 radiocommunication svstem.

                                                                                                                                                                                                                 Method and system for increasing the total amount
129208     129208-US-NP           US7206278                    09/953288                     20020034172                   us                       17-Apr-07                 29-Jul-24             17-Sep-0l of useful information(throughput)transmitted in a
                                                                                                                                                                                                                 radiocommunication system.

131002     131002-US-NP           US6320911                    115005                                                      us                       20-Nov-0l                  14-Jul-18             14-Jul-98 Clock in encoded video
131007     131007-US-NP           US6442199                    156140                                                      us                       27-Aui;,:-02             17-Se -18              17-SeP-98 Circuit for the stabilization of an eaualizer
                                                                                                                                                                                                                 Improved management of elastic store for byte
131036     131036-DE-EPA          EP1073226                    00402082.2                     EP1073226                    DE                        9-May-07                 21-Jul-20              21-Jul-00
                                                                                                                                                                                                                 svnchronous mapping ofSDH tributaries
                                                                                                                                                                                                                 Improved management of elastic store for byte
131036     131036-FR-EPA          EP1073226                    00402082.2                     EP1073226                    FR                        9-May-07                 21-Jul-20              21-Jul-00
                                                                                                                                                                                                                 synchronous mapping ofSDH tributaries
                                                                                                                                                                                                                 Improved management of elastic store for byte
131036     131036-GB-EPA          EP1073226                    00402082.2                     EP1073226                   GB                         9-May-07                 21-Jul-20              21-Jul-00
                                                                                                                                                                                                                 svnchronous mannini;,: ofSDH tributaries
                                                                                                                                                                                                                 Improved management of elastic store for byte
131036     131036-IT-NP           IT1310658                    TO99A000679                                                 IT                       19-Feb-02                 30-Jul-19              30-Jul-99
                                                                                                                                                                                                                 svnchronous maPPini;,: ofSDH tributaries
                                                                                                                                                                                                                 Telecommunications network with a transport layer
131070     131070-DE-EPA          EP1003348                    99440319.4                     EP1003348                    DE                         8-Jan-14               16-Nov-19              16-Nov-99
                                                                                                                                                                                                                 controlled bv an internet protocol laver
                                                                                                                                                                                                                 Telecommunications network with a transport layer
131070     131070-FR-EPA          EP1003348                    99440319.4                     EP1003348                    FR                         8-Jan-14               16-Nov-19              16-Nov-99
                                                                                                                                                                                                                 controlled by an internet protocol layer
                                                                                                                                                                                                                 Telecommunications network with a transport layer
131070     131070-GB-EPA          EP1003348                    99440319.4                     EP1003348                   GB                          8-Jan-14               16-Nov-19              16-Nov-99
                                                                                                                                                                                                                 controlled bv an internet nrotocol laver
                                                                                                                                                                                                                 DATA CENTERED TRANSMISSION NETWORK
131070     131070-US-NP           US6768746                    09/443453                                                   us                        27-Jul-04               19-Nov-19              19-Nov-99
                                                                                                                                                                                                                 MODELLEDAS"ON-DEMAND BANDWITH"
                                                                                                                                                                                                              METODO E DISPOSITIVO PER CONVERTIRE UN
131098     131098-DE-EPA          EP1111829                    00403543.2                     EP1111829                    DE                       20-Dec-06                14-Dec-20              14-Dec-00 SEGNALE STM-1 IN UN SEGNALE SUB-STM-1 E VICE-
                                                                                                                                                                                                                 VERSA IN TRASMISSIONI RADIO




                                                                                                       Page 21 of 149
                                                                                                                                                                                   PATENT
                                                                                                                                                                           REEL: 044000 FRAME: 0162
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 29 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    METODO E DISPOSITIVO PER CONVERTIRE UN
131098     131098-FR-EPA          EP1111829                    00403543.2         EP1111829                   FR                                20-Dec-06              14-Dec-20              14-Dec-00 SEGNALE STM-1 IN UN SEGNALE SUB-STM-1 E VICE-
                                                                                                                                                                                                           VERSA IN TRASMISSIONI RADIO
                                                                                                                                                                                                        METODO E DISPOSITIVO PER CONVERTIRE UN
131098     131098-GB-EPA          EP1111829                    00403543.2         EP1111829                   GB                                20-Dec-06              14-Dec-20              14-Dec-00 SEGNALE STM-1 IN UN SEGNALE SUB-STM-1 E VICE-
                                                                                                                                                                                                           VERSA IN TRASMISSIONI RADIO
                                                                                                                                                                                                           METHOD AND DEVICE FOR CONVERTING AN STM-1
131098     131098-US-NP           US6937625                    09/741074          20010004358                 us                                30-Aug-05                14-Jul-22            21-Dec-00 SIGNAL INTO A SUB-STMl SIGNAL AND VICE-VERSA
                                                                                                                                                                                                           IN RADIO TRANSMISSION
                                                                                                                                                                                                           INTERFACCIA DI TRASPORTO PER TRAME A DIVISIONE
131129     131129-DE-EPA          EP1178699                    01401962.4         EP1178699                   DE                                22-Apr-09               20-Jul-21              20-Jul-0l
                                                                                                                                                                                                           DI TEMPO
                                                                                                                                                                                                           INTERFACCIA DI TRASPORTO PER TRAME A DIVISIONE
131129     131129-FR-EPA          EP1178699                    01401962.4         EP1178699                   FR                                22-Apr-09               20-Jul-21              20-Jul-0l
                                                                                                                                                                                                           DI TEMPO
                                                                                                                                                                                                           INTERFACCIA DI TRASPORTO PER TRAME A DIVISIONE
131129     131129-GB-EPA          EP1178699                    01401962.4         EP1178699                   GB                                22-Apr-09               20-Jul-21              20-Jul-0l
                                                                                                                                                                                                           DI TEMPO
                                                                                                                                                                                                           INTERFACCIA DI TRASPORTO PER TRAME A DIVISIONE
131129     131129-US-NP           US7023836                    910811                                         us                                 4-Apr-06             16-Mar-24                24-Jul-0l
                                                                                                                                                                                                           DI TEMPO
                                                                                                                                                                                                           METODO ED APPARATO PER
                                                                                                                                                                                                           TRASMETTERE/RICEVERE SEGNALI DIGITAL! DI
131141     131141-US-NP           US6847655                    809260                                         us                                 25-Jan-05              5-Aug-23              16-Mar-0l LIVELLO STM-4(SDH) 0 STS-12(SONET) SU DUE
                                                                                                                                                                                                           PORTANTI RF IN UNASEZIONE DI RIGENERAZIONE
                                                                                                                                                                                                           RADIO
                                                                                                                                                                                                           METHOD AND APPARATUS FOR OBTAINING A
                                                                                                                                                                                                           SCALABLE AND MANAGED BANDWIDTH FOR
131153     131153-DE-EPA          EP1274191                    01401754.5         EP1274191                   DE                                 3-Nov-04                 2-Jul-21              2-Jul-01 CONNECTIONS BETWEEN ASYNCHRONOUS LEVEL
                                                                                                                                                                                                           AND SYNCHRONOUS HIERARCHY LEVEL IN A
                                                                                                                                                                                                           TELECOMMUNICATION NETWORK.
                                                                                                                                                                                                           METHOD AND APPARATUS FOR OBTAINING A
                                                                                                                                                                                                           SCALABLE AND MANAGED BANDWIDTH FOR
131153     131153-FR-EPA          EP1274191                    01401754.5         EP1274191                   FR                                 3-Nov-04                 2-Jul-21              2-Jul-01 CONNECTIONS BETWEEN ASYNCHRONOUS LEVEL
                                                                                                                                                                                                           AND SYNCHRONOUS HIERARCHY LEVEL IN A
                                                                                                                                                                                                           TELECOMMUNICATION NETWORK.
                                                                                                                                                                                                           METHOD AND APPARATUS FOR OBTAINING A
                                                                                                                                                                                                           SCALABLE AND MANAGED BANDWIDTH FOR
131153     131153-GB-EPA          EP1274191                    01401754.5         EP1274191                   GB                                 3-Nov-04                 2-Jul-21              2-Jul-01 CONNECTIONS BETWEEN ASYNCHRONOUS LEVEL
                                                                                                                                                                                                           AND SYNCHRONOUS HIERARCHY LEVEL IN A
                                                                                                                                                                                                           TELECOMMUNICATION NETWORK.
                                                                                                                                                                                                           METHOD AND APPARATUS FOR OBTAINING A
                                                                                                                                                                                                           SCALABLE AND MANAGED BANDWIDTH FOR
131153     131153-US-NP           US7333506                    179215             20030002530                 us                                19-Feb-08              16-Dec-24              26-Jun-02 CONNECTIONS BETWEEN ASYNCHRONOUS LEVEL
                                                                                                                                                                                                           AND SYNCHRONOUS HIERARCHY LEVEL IN A
                                                                                                                                                                                                           TELECOMMUNICATION NETWORK.

                                                                                                                                                                                                           ELEMENTO PROGRAMMABILE DI RETE SINCRONA E
131174     131174-CN-NP           ZL02127411.8                 02127411.8         1400773                     CN                                  1-Apr-09              31-Jul-22              31-Jul-02
                                                                                                                                                                                                           METODO DI GESTIONE DI TALE ELEMENTO


                                                                                                                                                                                                           ELEMENTO PROGRAMMABILE DI RETE SINCRONA E
131174     131174-DE-EPA          EP1282251                    02291777.7         EP1282251                   DE                                 21-Jun-06               15-Jul-22             15-Jul-02
                                                                                                                                                                                                           METODO DI GESTIONE DI TALE ELEMENTO


                                                                                                                                                                                                           ELEMENTO PROGRAMMABILE DI RETE SINCRONA E
131174     131174-FR-EPA          EP1282251                    02291777.7         EP1282251                   FR                                 21-Jun-06               15-Jul-22             15-Jul-02
                                                                                                                                                                                                           METODO DI GESTIONE DI TALE ELEMENTO


                                                                                                                                                                                                           ELEMENTO PROGRAMMABILE DI RETE SINCRONA E
131174     131174-GB-EPA          EP1282251                    02291777.7         EP1282251                   GB                                 21-Jun-06               15-Jul-22             15-Jul-02
                                                                                                                                                                                                           METODO DI GESTIONE DI TALE ELEMENTO


                                                                                                                                                                                                           ELEMENTO PROGRAMMABILE DI RETE SINCRONA E
131174     131174-US-NP           US7379482                    206961             20030027564                 us                                27-May-08              16-Jun-25               30-Jul-02
                                                                                                                                                                                                           METODO DI GESTIONE DI TALE ELEMENTO


                                                                                                                                                                                                           METODO PER ESEGUIRE UNA FUNZIONE DI
                                                                                                                                                                                                           PERFORMANCE MONITORING SULLA BASE DI DATI
131176     131176-CN-NP           ZL02131551.5                 02131551.5         1409503                     CN                                18-Mar-09              11-Sep-22              11-Sep-02
                                                                                                                                                                                                           RICAVATI MEDIANTE CORREZIONE ERRORI FEC, IN
                                                                                                                                                                                                           UNA RETE DI TELECOMUNICAZIONI


                                                                                                                                                                                                           Method to implement a performance monitoring
131176     131176-DE-EPA          EP1294121                    02292164.7         EP1294121                   DE                                 8-Apr-15                3-Sep-22              3-Sep-02 function on the ground of the retrieved data through
                                                                                                                                                                                                           FEC (forward error correction) in a telecom network


                                                                                                                                                                                                           Method to implement a performance monitoring
131176     131176-FR-EPA          EP1294121                    02292164.7         EP1294121                   FR                                 8-Apr-15                3-Sep-22              3-Sep-02 function on the ground of the retrieved data through
                                                                                                                                                                                                           FEC (forward error correction) in a telecom network


                                                                                                                                                                                                           Method to implement a performance monitoring
131176     131176-GB-EPA          EP1294121                    02292164.7         EP1294121                   GB                                 8-Apr-15                3-Sep-22              3-Sep-02 function on the ground of the retrieved data through
                                                                                                                                                                                                           FEC (forward error correction) in a telecom network


                                                                                                                                                                                                           METODO PER ESEGUIRE UNA FUNZIONE DI
                                                                                                                                                                                                           PERFORMANCE MONITORING SULLA BASE DI DATI
131176     131176-US-NP           US6999727                    219343                                         us                                14-Feb-06               10-Jan-24             16-Aug-02
                                                                                                                                                                                                           RICAVATI MEDIANTE CORREZIONE ERRORI FEC, IN
                                                                                                                                                                                                           UNA RETE DI TELECOMUNICAZIONI

                                                                                                                                                                                                           PROCESS FOR ALLOWING APPLETS TO BE RESIZED
131182     131182-US-NP           US7386862                    10/464658          20040212635                 us                                 10-Jun-08               2-Dec-24             19-Jun-03 INDEPENDENTLY FROM THE WEB/HTML PAGE THEY
                                                                                                                                                                                                           WERE CREATED.
                                                                                                                                                                                                           PROCESS FOR ALLOWING APPLETS TO BE RESIZED
131182     131182-CN-NP           ZL03146240.5                 03146240.5         CN1480838                   CN                                14-Sep-05                 4-Jul-23              4-Jul-03 INDEPENDENTLY FROM THE WEB/HTML PAGE THEY
                                                                                                                                                                                                           WERE CREATED.
                                                                                                                                                                                                           Method And Apparatus For Transmitting AGigabit-
131187     131187-US-NP           US8792465                    10/265441          20030072323                 us                                 29-Jul-14             17-Oct-26               7-Oct-02 Ethernet Signal By A High Capacity Point-To-Point
                                                                                                                                                                                                           RadioSvstem
                                                                                                                                                                                                           METHOD AND SYSTEM FOR DOUBLING THE
131188     131188-DE-EPA          EP1322050                    02292213.2         EP1322050                   DE                                15-Dec-10              10-Sep-22              10-Sep-02 SPECTRUM EFFICIENCY IN A RADIO TRANSMISSION
                                                                                                                                                                                                           SYSTEM
                                                                                                                                                                                                           METHOD AND SYSTEM FOR DOUBLING THE
131188     131188-FR-EPA          EP1322050                    02292213.2         EP1322050                   FR                                15-Dec-10              10-Sep-22              10-Sep-02 SPECTRUM EFFICIENCY IN A RADIO TRANSMISSION
                                                                                                                                                                                                           SYSTEM
                                                                                                                                                                                                           METHOD AND SYSTEM FOR DOUBLING THE
131188     131188-GB-EPA          EP1322050                    02292213.2         EP1322050                   GB                                15-Dec-10              10-Sep-22              10-Sep-02 SPECTRUM EFFICIENCY IN A RADIO TRANSMISSION
                                                                                                                                                                                                           SYSTEM




                                                                                          Page 22 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0163
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 30 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                           METHOD AND SYSTEM FOR DOUBLING THE
                                                                                                                                                                                                           SPECTRUM EFFICIENCY IN A RADIO TRANSMISSION
131188     131188-US-NP           US6954619                    10/243748          20030114108                 us                                11-Oct-05                9-Dec-23             16-Sep-02
                                                                                                                                                                                                           SYSTEM BY TRANSMITTING THE SAME SIGNAL FROM
                                                                                                                                                                                                           TWO DIFFERENT ANTENNAS

131216     131216-DE-EPA          EP1339181                    02291993.0         EP1339181                   DE                                26-Oct-05               8-AUP--22              8-AUP--02 MINIMUM DELAY DISPATCHER
131216     131216-FR-EPA          EP1339181                    02291993.0         EP1339181                   FR                                26-Oct-05               8-Au11:-22             8-Au11:-02 MINIMUM DELAY DISPATCHER
131216     131216-GB-EPA          EP1339181                    02291993.0         EP1339181                   GB                                26-Oct-05               8-Au11:-22             8-Au11:-02 MINIMUM DELAY DISPATCHER

                                                                                                                                                                                                           METHOD AND DEVICE FOR PROVIDING A MINIMUM
131216     131216-US-NP           US7292534                    355021                                         us                                 6-Nov-07               31-Jan-23             31-Jan-03 CONGESTION FLOW OF ETHERNET TRAFFIC
                                                                                                                                                                                                           TRANSPORTED OVER A SDH/SONET NETWORK

                                                                                                                                                                                                           METHOD AND APPARATUS FOR END-TO-END
131227     131227-DE-EPA          EP1388979                    02291952.6         EP1388979                   DE                                 10-Jul-13              2-Aug-22               2-Aug-02 CONNECTION BETWEEN AN RPR AN DAN MPLS
                                                                                                                                                                                                           NETWORK
                                                                                                                                                                                                           METHOD AND APPARATUS FOR END-TO-END
131227     131227-FR-EPA          EP1388979                    02291952.6         EP1388979                   FR                                 10-Jul-13              2-Aug-22               2-Aug-02 CONNECTION BETWEEN AN RPR AN DAN MPLS
                                                                                                                                                                                                           NETWORK
                                                                                                                                                                                                           METHOD AND APPARATUS FOR END-TO-END
131227     131227-GB-EPA          EP1388979                    02291952.6         EP1388979                   GB                                 10-Jul-13              2-Aug-22               2-Aug-02 CONNECTION BETWEEN AN RPR AN DAN MPLS
                                                                                                                                                                                                           NETWORK
                                                                                                                                                                                                           METHOD AND APPARATUS FOR END-TO-END
131227     131227-US-NP           US7447213                    614803             20040022268                 us                                 4-Nov-08                3-Jan-26               9-Jul-03 CONNECTION BETWEEN AN RPR AN DAN MPLS
                                                                                                                                                                                                           NETWORK.
                                                                                                                                                                                                           METHOD AND APPARATUS FOR END-TO-END
131227     131227-CN-NP           ZL03149513.3                 03149513.3         1472938                     CN                                 7-Oct-09                14-Jul-23             14-Jul-03 CONNECTION BETWEEN AN RPR AN DAN MPLS
                                                                                                                                                                                                           NETWORK.
                                                                                                                                                                                                           M TRAIL PROTECTION SCHEME FOR SDH/SONET
131259     131259-DE-EPA          EP1531566                    03292866.5         EP1531566                   DE                                18-Mar-09              12-Nov-23              12-Nov-03
                                                                                                                                                                                                           NETWORKS
                                                                                                                                                                                                           M TRAIL PROTECTION SCHEME FOR SDH/SONET
131259     131259-FR-EPA          EP1531566                    03292866.5         EP1531566                   FR                                18-Mar-09              12-Nov-23              12-Nov-03
                                                                                                                                                                                                           NETWORKS
                                                                                                                                                                                                           M TRAIL PROTECTION SCHEME FOR SDH/SONET
131259     131259-GB-EPA          EP1531566                    03292866.5         EP1531566                   GB                                18-Mar-09              12-Nov-23              12-Nov-03
                                                                                                                                                                                                           NETWORKS
                                                                                                                                                                                                           TRAIL/PATH PROTECTION FOR SDH/SONET
131259     131259-US-NP           US7630297                    10/822667          20050099941                 us                                 8-Dec-09              31-Aug-28              13-Apr-04
                                                                                                                                                                                                           NETWORKS
131332     131332-EP-EPA                                       07290521.9         EP1986363                   EP                                                       25-Aor-27              25-Aor-07 ASTRENGTHENEDGFP FRAMER
                                                                                                                                                                                                           METHOD AND APPARATUS FOR SUPPORTING TEST
131334     131334-DE-EPA          EP1928124                    06291864.4         EP1928124                   DE                                31-May-17             30-Nov-26               30-Nov-06
                                                                                                                                                                                                           OF A TELECOMMUNICATION NETWORK
                                                                                                                                                                                                           METHOD AND APPARATUS FOR SUPPORTING TEST
131334     131334-FR-EPA          EP1928124                    06291864.4         EP1928124                   FR                                31-May-17             30-Nov-26               30-Nov-06
                                                                                                                                                                                                           OF A TELECOMMUNICATION NETWORK
                                                                                                                                                                                                           METHOD AND APPARATUS FOR SUPPORTING TEST
131334     131334-GB-EPA          EP1928124                    06291864.4         EP1928124                   GB                                31-May-17             30-Nov-26               30-Nov-06
                                                                                                                                                                                                           OF A TELECOMMUNICATION NETWORK
                                                                                                                                                                                                           CLEAR CHANNEL 1:N SON ET TRANSPORT SYSTEM
132030     132030-US-NP           US6526021                    09/054557                                      us                                25-Feb-03                3-Apr-18              3-Apr-98
                                                                                                                                                                                                           AND METHOD
132032     132032-US-NP           US5945816                    09/063719                                      us                                31-Aug-99              21-Apr-18              21-Apr-98 Self-biased power isolator system

                                                                                                                                                                                                           A METHOD FOR USING MORE BANDWIDTH IN A UNI-
132037     132037-US-NP           US6477142                    09/185807                                      us                                 5-Nov-02               4-Nov-18               4-Nov-98
                                                                                                                                                                                                           DIRECTIONAL PATH-SWITCHED SON ET RING

132072     132072-US-NP           US5938474                    08/987994                                      us                                17-Aue:-99             10-Dec-17              10-Dec-97 CONNECTOR ASSEMBLY FOR A COAXIAL CABLE
132073     132073-US-NP           US6019635                    09/030153                                      us                                 1-Feb-00              25-Feb-18              25-Feb-98 COAXIAL CABLE CONNECTOR ASSEMBLY
                                                                                                                                                                                                           A LIGHTWAVE TRANSMISSION
132109     132109-US-NP           US5959986                    08/941462                                      us                                28-Sep-99              30-Sep-17              30-Sep-97 TELECOMMUNICATIONS SYSTEM EMPLOYING A
                                                                                                                                                                                                           STACKED MATRIX ARCHITECTURE
                                                                                                                                                                                                           METHOD AND APPARATUS FOR CONTROLLING
132117     132117-US-NP           US5991814                    08/891259                                      us                                23-Nov-99                10-Jul-17             10-Jul-97 COMMAND LINE TRANSFER TO A NETWORK
                                                                                                                                                                                                           ELEMENT
                                                                                                                                                                                                           PERIODIC VERIFICATION OF MANUALLY
132125     132125-US-NP           US6097728                    08/934955                                      us                                 1-Aug-00              22-Sep-17              22-Sep-97
                                                                                                                                                                                                           PROVISIONED 15-15 ROUTING DATA

132126     132126-US-NP           US6292472                    09/177197                                      us                                18-Sep-0l              22-Oct-18              22-Oct-98 Reduced polling in an SNMPvl-managed network


                                                                                                                                                                                                           Frame relay network featuring frame relay nodes
132127     132127-US-NP           US6628616                    09/236989          20020181397                 us                                30-Sep-03               30-Jan-18             30-Jan-98
                                                                                                                                                                                                           with controlled oversubscribed bandwidth trunks

                                                                                                                                                                                                           Double-Stacked Hourglass Log Periodic Dipole
132147     132147-US-NP           US6243050                    09/004117                                      us                                  5-Jun-01               7-Jan-18              7-Jan-98
                                                                                                                                                                                                           Antenna
                                                                                                                                                                                                           POWER SHARING AMPLIFIER SYSTEM FOR
132155     132155-US-NP           US6381212                    09/098896                                      us                                30-Apr-02              17-Jun-18              17-Jun-98 AMPLIFYING MULTIPLE INPUT SIGNALS WITH SHARED
                                                                                                                                                                                                           POWER AMPLIFIERS
                                                                                                                                                                                                           APPARATUS FOR COMMUNICATING DIVERSITY
132156     132156-US-NP           US6268946                    09/108627                                      us                                 31-Jul-0l                1-Jul-18              1-Jul-98
                                                                                                                                                                                                           SIGNALS OVER A TRANSMISSION MEDIUM
                                                                                                                                                                                                           CLASS A/F AMPLIFIER HAVING SECOND AND THIRD
132157     132157-US-NP           US5969575                    08/988565                                      us                                19-Oct-99              11-Dec-17              11-Dec-97
                                                                                                                                                                                                           ORDER HARMONIC INPUT AND OUTPUT
                                                                                                                                                                                                           CONTINUOUSLY MILLED INTERMITTENTLY RADIATING
132159     132159-US-NP           US5898350                    08/969663                                      us                                27-Apr-99              13-Nov-17              13-Nov-97
                                                                                                                                                                                                           COAXIAL CABLE

                                                                                                                                                                                                           MAGNETRON REACTOR FOR PROVIDING A HIGH
132199     132199-DE-NP           19936199.1                   19936199.1         19936199                    DE                                 24-Jan-13              31-Jul-19              31-Jul-99 DENSITY, INDUCTIVELY COUPLED PLASMA SOURCE
                                                                                                                                                                                                           FOR SPUTTERING METALAND DIELECTRIC FILMS

                                                                                                                                                                                                           REACTEURA PLASMA POUR LA PULVERISATION DE
132199     132199-FR-NP           FR2784906                    9911876            2784906                     FR                                24-Feb-06              23-Sep-19              23-Sep-99
                                                                                                                                                                                                           FILMS METALLIQUES ET DIELECTRIQUES

                                                                                                                                                                                                           MAGNETRON REACTOR FOR PROVIDING A HIGH
132199     132199-US-NP           US6132575                    09/162646                                      us                                17-Oct-00              28-Sep-18              28-Sep-98 DENSITY, INDUCTIVELY COUPLED PLASMA SOURCE
                                                                                                                                                                                                           FOR SPUTTERING METALAND DIELECTRIC FILMS


                                                                                                                                                                                                           METHOD AND SYSTEM FOR FRAME AND POINTER
132202     132202-DE-EPA          EP1193901                    01440324.0         EP1193901                   DE                                29-Nov-06                1-Oct-21              1-Oct-01
                                                                                                                                                                                                           ALIGNMENT OF SONET DATA CHANNELS


                                                                                                                                                                                                           METHOD AND SYSTEM FOR FRAME AND POINTER
132202     132202-FR-EPA          EP1193901                    01440324.0         EP1193901                   FR                                29-Nov-06                1-Oct-21              1-Oct-01
                                                                                                                                                                                                           ALIGNMENT OF SONET DATA CHANNELS


                                                                                                                                                                                                           METHOD AND SYSTEM FOR FRAME AND POINTER
132202     132202-GB-EPA          EP1193901                    01440324.0         EP1193901                   GB                                29-Nov-06                1-Oct-21              1-Oct-01
                                                                                                                                                                                                           ALIGNMENT OF SONET DATA CHANNELS


                                                                                                                                                                                                           METHOD AND SYSTEM FOR FRAME AND POINTER
132202     132202-US-NP           US6963560                    09/966588          20020118668                 us                                 8-Nov-05              15-Apr-24              28-Sep-0l
                                                                                                                                                                                                           ALIGNMENT OF SONET DATA CHANNELS

                                                                                                                                                                                                           OUTPUT POWER CONTROLLED WAVELENGTH
132205     132205-US-NP           US6185233                    09/328035                                      us                                 6-Feb-01                8-Jun-19              8-Jun-99
                                                                                                                                                                                                           STABILIZING SYSTEM
                                                                                                                                                                                                           COUPLING STRUCTURE FOR COUPLING CAVITY
132206     132206-DE-EPA          EP0986126                    99402022.0         EP0986126                   DE                                21-Mar-07               9-Aug-19               9-Aug-99
                                                                                                                                                                                                           RESONATORS




                                                                                          Page 23 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0164
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 31 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    COUPLING STRUCTURE FOR COUPLING CAVITY
132206     132206-FR-EPA          EP0986126                    99402022.0                     EP0986126                    FR                       21-Mar-07               9-Aug-19               9-Aug-99
                                                                                                                                                                                                               RESONATORS
                                                                                                                                                                                                               COUPLING STRUCTURE FOR COUPLING CAVITY
132206     132206-GB-EPA          EP0986126                    99402022.0                     EP0986126                   GB                        21-Mar-07               9-Aug-19               9-Aug-99
                                                                                                                                                                                                               RESONATORS
                                                                                                                                                                                                               COUPLING STRUCTURE FOR COUPLING CAVITY
132206     132206-IT-EPA          EP0986126                    99402022.0                     EP0986126                    IT                       21-Mar-07               9-Aug-19               9-Aug-99
                                                                                                                                                                                                               RESONATORS
                                                                                                                                                                                                               COUPLING STRUCTURE FOR COUPLING CAVITY
132206     132206-US-NP           US6081175                    09/151365                                                   us                        27-Jun-00             11-Sep-18              11-Sep-98
                                                                                                                                                                                                               RESONATORS

132220     132220-US-NP           US6043785                    09/201692                                                   us                       28-Mar-00             30-Nov-18               30-Nov-98 BROADBAND FIXED RADIUS TAPERED SLOT ANTENNA

132230     132230-US-NP           US6647107                    09/321516                                                   us                       11-Nov-03             27-May-19              27-May-99 Multi-User Answering System and Method
                                                                                                                                                                                                               METHOD AND APPARATUS FOR CALIBRATING
132251     132251-US-NP           US6310579                    09/570101                                                   us                       30-Oct-01             12-May-20              12-May-00 ANTENNA APPARATUS AND TESTING AN ANTENNA
                                                                                                                                                                                                               CONNECTED THERETO
                                                                                                                                                                                                               SPACE TAPERED ANTENNA HAVING COMPRESSED
132253     132253-US-NP           US6353410                    09/273113                                                   us                        5-Mar-02             19-Mar-19               19-Mar-99 SPACING OR FEED NETWORK PHASE PROGRESSION,
                                                                                                                                                                                                               OR BOTH
                                                                                                                                                                                                               A POWER SHARING AMPLIFIER SYSTEM FOR A
132254     132254-KR-NP           KR463611                     199922458                     20006204                      KR                       29-Dec-04              16-Jun-19              16-Jun-99
                                                                                                                                                                                                               CELLULAR COMMUNICATIONS SYSTEM
                                                                                                                                                                                                               A POWER SHARING AMPLIFIER SYSTEM FOR A
132254     132254-US-NP           US6185182                    09/098660                                                   us                        6-Feb-01              17-Jun-18              17-Jun-98
                                                                                                                                                                                                               CELLULAR COMMUNICATIONS SYSTEM
                                                                                                                                                                                                               ISOLATION IMPROVEMENT CIRCUIT FOR DUAL
132285     132285-AU-NP           AU763788                     65314/99                                                   AU                        27-Nov-03              16-Dec-19              16-Dec-99
                                                                                                                                                                                                               POLARIZATION ANTENNA
                                                                                                                                                                                                               ISOLATION IMPROVEMENT CIRCUIT FOR DUAL
132285     132285-US-NP           US6141539                    09/238837                                                   us                       31-Oct-00               27-Jan-19             27-Jan-99
                                                                                                                                                                                                               POLARIZATION ANTENNA

132287     132287-US-NP           US6383938                    09/295100                                                   us                        7-May-02              21-Apr-19              21-Apr-99 METHOD OF ANISOTROPIC ETCHING OF SUBSTRATES

                                                                                                                                                                                                               OPTICAL FIBER-DELAY LINE BUFFERS WITH VOID
132292     132292-DE-EPA          EP1030534                    99120996.6                     EP1030534                    DE                         4-Jan-12              4-Nov-19               4-Nov-99
                                                                                                                                                                                                               FILLING
                                                                                                                                                                                                               OPTICAL FIBER-DELAY LINE BUFFERS WITH VOID
132292     132292-FR-EPA          EP1030534                    99120996.6                     EP1030534                    FR                         4-Jan-12              4-Nov-19               4-Nov-99
                                                                                                                                                                                                               FILLING
                                                                                                                                                                                                               OPTICAL FIBER-DELAY LINE BUFFERS WITH VOID
132292     132292-GB-EPA          EP1030534                    99120996.6                     EP1030534                   GB                          4-Jan-12              4-Nov-19               4-Nov-99
                                                                                                                                                                                                               FILLING

132292     132292-US-NP           US6493120                    09/253309                                                   us                       10-Dec-02              19-Feb-19              19-Feb-99 Optical Fiber-Delay Line Buffers with Void Filling


                                                                                                                                                                                                               Repeater with flow control device transmitting
                                                                                                                                                                                                               congestion indication data from output port buffer to
132310     132310-US-NP           US6192422                    09/036727                                                   us                       20-Feb-0l               6-Mar-18               6-Mar-98
                                                                                                                                                                                                               associated network node upon port input buffer
                                                                                                                                                                                                               crossing threshold level


                                                                                                                                                                                                               NETWORK SWITCHING DEVICE WITH FORWARDING
132311     132311-DE-EPA          EP0993156                    99119104.0                                                  DE                         3-Jan-07               4-Oct-19              4-Oct-99
                                                                                                                                                                                                               DATABASE TABLES POPULATED BASED ON USE


                                                                                                                                                                                                               NETWORK SWITCHING DEVICE WITH FORWARDING
132311     132311-FR-EPA          EP0993156                    99119104.0                                                  FR                         3-Jan-07               4-Oct-19              4-Oct-99
                                                                                                                                                                                                               DATABASE TABLES POPULATED BASED ON USE


                                                                                                                                                                                                               NETWORK SWITCHING DEVICE WITH FORWARDING
132311     132311-GB-EPA          EP0993156                    99119104.0                                                 GB                          3-Jan-07               4-Oct-19              4-Oct-99
                                                                                                                                                                                                               DATABASE TABLES POPULATED BASED ON USE


                                                                                                                                                                                                               NETWORK SWITCHING DEVICE WITH FORWARDING
132311     132311-US-CNT          US6956854                    10/027723                     20020051450                   us                       18-Oct-05             29-Nov-19               20-Dec-0l
                                                                                                                                                                                                               DATABASE TABLES POPULATED BASED ON USE

                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-DE-EPA          EP0993152                    99119105.7                     EP0993152                    DE                       26-May-04                4-Oct-19              4-Oct-99
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-ES-EPA          EP0993152                    99119105.7                     EP0993152                    ES                       26-May-04                4-Oct-19              4-Oct-99
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-FR-EPA          EP0993152                    99119105.7                     EP0993152                    FR                       26-May-04                4-Oct-19              4-Oct-99
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-GB-EPA          EP0993152                    99119105.7                     EP0993152                   GB                        26-May-04                4-Oct-19              4-Oct-99
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-IT-EPA          EP0993152                    99119105.7                     EP0993152                    IT                       26-May-04                4-Oct-19              4-Oct-99
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-JP-NP           JP4391636                    282951/99                                                  JP                        16-Oct-09                4-Oct-19              4-Oct-99
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               SWITCHING DEVICE WITH MULTISTAGE QUEUING
132313     132313-US-NP           US6920146                    09/166343                                                   us                        19-Jul-05               5-Oct-18              5-Oct-98
                                                                                                                                                                                                               SCHEME
                                                                                                                                                                                                               METHOD AND APPARATUS FOR FORWARDING
132315     132315-US-NP           US6553000                    09/166609                                                   us                       22-Apr-03                5-Oct-18              5-Oct-98
                                                                                                                                                                                                               NETWORK TRAFFIC
                                                                                                                                                                                                               METHOD FOR DETECTING SIGNAL TRANSFER ERRORS
132317     132317-US-NP           US6553519                    09/166676                                                   us                       22-Apr-03                5-Oct-18              5-Oct-98
                                                                                                                                                                                                               IN NEAR REAL TIME

                                                                                                                                                                                                               Method and apparatus for regulating the amount of
132318     132318-US-NP           US6230191                    09/172100                                                   us                        8-May-01                5-Oct-18              5-Oct-98 buffer memory requested by a port in a multi-port
                                                                                                                                                                                                               switching device with shared buffer memory

                                                                                                                                                                                                               COMPUTER NETWORK SWITCH WITH PARALLEL
132319     132319-US-NP           US6470021                    09/172101                                                   us                       22-Oct-02                5-Oct-18              5-Oct-98
                                                                                                                                                                                                               ACCESS SHARED MEMORY ARCHITECTURE
                                                                                                                                                                                                               CONTROL ARCHITECTURE IN OPTICAL BURST-
132363     132363-AU-NP           AU781132                     61317/00                                                   AU                         5-May-05              26-Sep-20              26-Sep-00
                                                                                                                                                                                                               SWITCHED NETWORKS
                                                                                                                                                                                                               CONTROL ARCHITECTURE IN OPTICAL BURST-
132363     132363-CN-NP           ZL00129100.9                 00129100.9                    1296346A                      CN                       17-Sep-08              29-Sep-20              29-Sep-00
                                                                                                                                                                                                               SWITCHED NETWORKS
                                                                                                                                                                                                               CONTROL ARCHITECTURE IN OPTICAL BURST-
132363     132363-DE-EPA          EP1089498                    00120631.7                     EP1089498                    DE                        7-May-08              21-Sep-20              21-Sep-00
                                                                                                                                                                                                               SWITCHED NETWORKS
                                                                                                                                                                                                               CONTROL ARCHITECTURE IN OPTICAL BURST-
132363     132363-FR-EPA          EP1089498                    00120631.7                     EP1089498                    FR                        7-May-08              21-Sep-20              21-Sep-00
                                                                                                                                                                                                               SWITCHED NETWORKS
                                                                                                                                                                                                               CONTROL ARCHITECTURE IN OPTICAL BURST-
132363     132363-GB-EPA          EP1089498                    00120631.7                     EP1089498                   GB                         7-May-08              21-Sep-20              21-Sep-00
                                                                                                                                                                                                               SWITCHED NETWORKS
                                                                                                                                                                                                               CONTROL ARCHITECTURE IN OPTICAL BURST-
132363     132363-US-NP           US6721315                    09/409573                                                   us                       13-Apr-04              30-Sep-19              30-Sep-99
                                                                                                                                                                                                               SWITCHED NETWORKS
                                                                                                                                                                                                               A PREFERRED WDM PACKET-SWITCHED ROUTER
132390     132390-US-NP           US6810211                    09/584325                                                   us                       26-Oct-04                3-Dec-21            30-May-00 ARCHITECTURE AND METHOD FOR GENERATING
                                                                                                                                                                                                               SAME

                                                                                                                                                                                                               ALL-OPTICAL NETWORKING OPTICAL FIBER LINE
132394     132394-US-NP           US6819870                    09/569488                                                   us                       16-Nov-04             11-May-20              11-May-00
                                                                                                                                                                                                               DELAY BUFFERING APPARATUS AND METHOD

132427     132427-US-NP           US6839321                    09/618196                                                   us                         4-Jan-05              22-Jan-23              18-Jul-00 Domain-Based Con11:estion Mana11:ement
                                                                                                                                                                                                               SYSTEM AND METHOD FOR LOW-JITTER
132429     132429-US-NP           US6570694                    09/519067                                                   us                       27-May-03               3-Mar-20               3-Mar-00 ASYNCHRONOUS OPTICAL REGENERATION USING
                                                                                                                                                                                                               WAVELENGTH SAMPLING
                                                                                                                                                                                                               MULTI-CHANNEL FREQUENCY MULTIPLEXER WITH
132510     132510-US-NP           US6624723                    09/901059                                                   us                       23-Sep-03                16-Jul-21             10-Jul-0l
                                                                                                                                                                                                               SMALL DIMENSION




                                                                                                       Page 24 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0165
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 32 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                  ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    MULTI-CHANNEL FREQUENCY MULTIPLEXER WITH
132510     132510-CN-NP           ZL398311                     02140548.4                    CN1399437                     CN                       28-May-08                  9-Jul-22              9-Jul-02
                                                                                                                                                                                                                SMALL DIMENSION
132776     132776-US-NP           US7577965                    10/756332                     20040187141                   us                       18-Aug-09                14-Jan-24             14-Jan-04 ORBAL: A Push-Based Object Request Broker
                                  ZL200410080868
132783     132783-CN-NP                                        200410080868.3                1606200                       CN                       17-Dec-08                 9-Oct-24              9-Oct-04 Tuned Radio Frequency Coaxial Connector
                                  .3
132783     132783-US-NP           US6926555                    10/681220                     20050079759                   us                        9-Au11:-0S               9-Oct-23              9-Oct-03 Tuned Radio Frenuencv Coaxial Connector

                                                                                                                                                                                                                Auffullen des Kontos eines Teilnehmers fur einen
132813     132813-DE-EPT          EP1407401                    02739634.0                     EP1407401                    DE                       19-Sep-07                 3-Jun-22              3-Jun-02 Multimedia-Dienst auf einem Kommunikationsnetz,
                                                                                                                                                                                                                wahrendderDienstbereitgestelltwird

                                                                                                                                                                                                                Topping Up ASubscribers's Account For A
132813     132813-FR-EPT          EP1407401                    02739634.0                     EP1407401                    FR                       19-Sep-07                 3-Jun-22              3-Jun-02 Multimedia Service On A Communications Network
                                                                                                                                                                                                                WhileTheServicelsBein       Provided
                                                                                                                                                                                                                Topping Up ASubscribers's Account For A
132813     132813-GB-EPT          EP1407401                    02739634.0                     EP1407401                   GB                        19-Sep-07                 3-Jun-22              3-Jun-02 Multimedia Service On A Communications Network
                                                                                                                                                                                                                WhileTheServicelsBein       Provided
134011     134011-US-NP           US6895004                    09/550867                                                   us                       17-Mav-05               17-Aor-20              17-Aor-00 Internal Use OnlvAddresses
                                                                                                                                                                                                                Tuple-Based Lookup Scheme for Packet Switching
134020     134020-US-NP           US6944162                    09/679138                                                   us                       13-Sep-05                 9-Sep-22              3-Oct-00
                                                                                                                                                                                                                Node
134035     134035-CN-NP           ZL01124566.2                 01124566.2                    1339899A                      CN                       26-Mar-08               10-Aug-21              10-Aug-01 Switch emulation client
                                                                                                                                                                                                                SWITCH WITH EMULATION CLIENT
134035     134035-US-NP           US7035248                    09/781851                     20020110113                   us                       25-Apr-06               16-Apr-23              12-Feb-0l


                                  ZL200510107882                                                                                                                                                                METHODS AND DEVICES FOR ACHIEVING PARALLEL
134179     134179-CN-NP                                        200510107882.2                1756266                       CN                       11-Nov-09               29-Sep-25              29-Sep-05
                                  .2                                                                                                                                                                            OPERATION BETWEEN IP AND ANALOG PHONES


                                                                                                                                                                                                                METHODS AND DEVICES FOR ACHIEVING PARALLEL
134179     134179-DE-EPA          EP1643735                    05019314.3                     EP1643735                    DE                       26-Dec-07                 6-Sep-25              6-Sep-05
                                                                                                                                                                                                                OPERATION BETWEEN IP AND ANALOG PHONES


                                                                                                                                                                                                                METHODS AND DEVICES FOR ACHIEVING PARALLEL
134179     134179-GB-EPA          EP1643735                    05019314.3                     EP1643735                   GB                        26-Dec-07                 6-Sep-25              6-Sep-05
                                                                                                                                                                                                                OPERATION BETWEEN IP AND ANALOG PHONES


                                                                                                                                                                                                                METHODS AND DEVICES FOR ACHIEVING PARALLEL
134179     134179-US-NP           US7672294                    10/956204                     20060067302                   us                        2-Mar-10              29-Nov-28               30-Sep-04
                                                                                                                                                                                                                OPERATION BETWEEN IP AND ANALOG PHONES

                                                                                                                                                                                                                802.15 MSTI TOPOLOGY CHANGE WHEN REGIONAL
134234     134234-US-NP2          US7609655                    11/463718                     20070058571                   us                       27-Oct-09               10-Dec-26              10-Aug-06
                                                                                                                                                                                                                ROOT INFORMATION CHANGES
                                                                                                                                                                                                                Integrated circuit with stage-implemented content-
134924     134924-US-NP           US6006306                    08/887359                                                   us                       21-Dec-99                  2-Jul-17              2-Jul-97
                                                                                                                                                                                                                addressable memorvcell

134925     134925-US-NP           US6047024                    08/918544                                                   us                        4-Aug-00               22-Aug-17              22-Aug-97 Device for equalizing channel-distorted signals

                                                                                                                                                                                                                Custom Circuitry for Adaptive Hardware Routing
134927     134927-US-NP           US6061368                    08/964597                                                   us                        9-May-00                5-Nov-17               5-Nov-97
                                                                                                                                                                                                                Engine
                                                                                                                                                                                                                Translation hardware assist for data communication
134931     134931-US-NP           US6389035                    09/075299                                                   us                       14-May-02                8-May-18              8-May-98
                                                                                                                                                                                                                switch
                                                                                                                                                                                                                Hardware Copy Assist for Data Communication
134932     134932-US-NP           US6504842                    09/126916                                                   us                         7-Jan-03               30-Jul-18              30-Jul-98
                                                                                                                                                                                                                Switch
                                                                                                                                                                                                                Shadow Arrays for Distributed Memory
134933     134933-US-NP           US6292826                    09/161875                                                   us                       18-Sep-0l               28-Sep-18              28-Sep-98
                                                                                                                                                                                                                Multi rocessorArchitecture
                                                                                                                                                                                                                Data Communication Switch with Distributed
134935     134935-US-NP           US6711163                    09/313900                                                   us                       23-Mar-04              18-May-19              18-May-99
                                                                                                                                                                                                                Multicasting

                                                                                                                                                                                                                Method and Apparatus for Maintaining Packet Order
134936     134936-US-NP           US6721309                    09/314261                                                   us                       13-Apr-04              18-May-19              18-May-99
                                                                                                                                                                                                                Integrity in Parallel Switching Architecture


                                                                                                                                                                                                                INTEGRATED ELEMENT MANAGER AND INTEGRATED
135010     135010-US-NP           US6400713                    09/342740                                                   us                         4-Jun-02              29-Jun-19              29-Jun-99
                                                                                                                                                                                                                MULTI-SERVICES ACCESS PLATFORM

                                                                                                                                                                                                                SYSTEM FOR PROVIDING CONVERSION OF TDM-
135015     135015-US-NP           US6493346                    09/282894                                                   us                       10-Dec-02              31-Mar-19              31-Mar-99 BASED FRAME RELAY DATA IN ACROSS-CONNECT
                                                                                                                                                                                                                MATRIX TO AND FORMAT ATM DATA

                                                                                                                                                                                                                SUBSCRIBER SYSTEM FOR INTERACTIVE INTERFACING
135051     135051-US-NP           US6144998                    09/056590                                                   us                        7-Nov-00                 7-Apr-18              7-Apr-98
                                                                                                                                                                                                                WITH BROADCAST INFORMATION


                                                                                                                                                                                                                SYSTEM AND METHOD FOR PROVIDING
135064     135064-US-NP           US6570844                    09/221944                                                   us                       27-May-03               28-Dec-18              28-Dec-98
                                                                                                                                                                                                                REDUNDANCY IN A TELECOMMUNICATIONS SYSTEM


                                                                                                                                                                                                                SYSTEM AND METHOD OF POWER LIMITING CALL
135069     135069-DE-EPT          EP1142295                    99967686.9                     EP1142295                    DE                       30-Sep-09               28-Dec-19              28-Dec-99
                                                                                                                                                                                                                PROCESSING IN TELECOMMUNICATIONS EQUIPMENT


                                                                                                                                                                                                                SYSTEM AND METHOD OF POWER LIMITING CALL
135069     135069-FR-EPT          EP1142295                    99967686.9                     EP1142295                    FR                       30-Sep-09               28-Dec-19              28-Dec-99
                                                                                                                                                                                                                PROCESSING IN TELECOMMUNICATIONS EQUIPMENT


                                                                                                                                                                                                                SYSTEM AND METHOD OF POWER LIMITING CALL
135069     135069-GB-EPT          EP1142295                    99967686.9                     EP1142295                   GB                        30-Sep-09               28-Dec-19              28-Dec-99
                                                                                                                                                                                                                PROCESSING IN TELECOMMUNICATIONS EQUIPMENT

                                                                                                                                                                                                                INTELLIGENT SERVICE PERIPHERAL/INTELLIGENT
135074     135074-US-NP           US6226373                    09/108490                                                   us                        1-May-01                  1-Jul-18              1-Jul-98
                                                                                                                                                                                                                PERIPHERAL
                                                                                                                                                                                                                METHOD AND APPARATUS OF PROCESSING A CALL IN
135167     135167-US-NP           US6188759                    09/006272                                                   us                       13-Feb-0l                13-Jan-18             13-Jan-98
                                                                                                                                                                                                                A TELECOMMUNICATIONS NETWORK
135219     135219-US-PCT          US6600815                    09/331830                                                   us                        29-Jul-03              23-Dec-17              23-Dec-97 TELEPHONE NETWORK ACCESS ADAPTER
                                                                                                                                                                                                                SYSTEM AND METHOD FOR PROVIDING CALL
135229     135229-US-NP           US6198813                    08/941683                                                   us                        6-Mar-01               30-Sep-17              30-Sep-97 PROCESSING SERVICES USING CALL INDEPENDENT
                                                                                                                                                                                                                BUILDING BLOCKS
                                                                                                                                                                                                                TELECOMMUNICATIONS NETWORK ARCHITECTURE
135231     135231-US-NP           US6055232                    08/912039                                                   us                       25-Apr-00               15-Aug-17              15-Aug-97 DEPLOYING INTELLIGENT NETWORK SERVICES IN A
                                                                                                                                                                                                                LEGACY NETOWRK
                                                                                                                                                                                                                DISTRIBUTED TELECOMMUNICATIONS SWITCH ING
135234     135234-US-NP           US5953318                    08/984791                                                   us                       14-Sep-99                 4-Dec-17              4-Dec-97
                                                                                                                                                                                                                SYSTEM AND METHOD
                                                                                                                                                                                                                APPARATUS AND METHOD FOR BIDIRECTIONAL DATA
135252     135252-US-NP           US6430185                    08/997341                     20020057670                   us                        6-Aug-02               23-Dec-17              23-Dec-97
                                                                                                                                                                                                                TRANSFER
                                                                                                                                                                                                                CONNECTOR FORA PROTECTOR BLOCK IN A
135255     135255-US-NP           US6008976                    08/979018                                                   us                       28-Dec-99              26-Nov-17               26-Nov-97
                                                                                                                                                                                                                TELECOMMUNICATIONS SYSTEM
                                                                                                                                                                                                                DISTRIBUTED TELECOMMUNICATIONS SWITCH ING
135260     135260-US-NP           US6049541                    08/985387                                                   us                       11-Apr-00                 4-Dec-17              4-Dec-97
                                                                                                                                                                                                                SYSTEM AND METHOD
                                                                                                                                                                                                                METHOD AND SYSTEM FOR PROVIDING BILLING
135268     135268-US-NP           US5912954                    09/001622                                                   us                        15-Jun-99              31-Dec-17              31-Dec-97 INFORMATION IN A TELECOMMUNICATIONS
                                                                                                                                                                                                                NETWORK
135273     135273-US-NP           US6064726                    09/002195                                                   us                       16-Mav-00               31-Dec-17              31-Dec-97 FULLY FLEXIBLE ROUTING SYSTEM

                                                                                                                                                                                                                SYSTEM AND METHOD OF MESSAGE DISTRIBUTION
135275     135275-US-NP           US6115383                    08/928116                                                   us                        5-Sep-00               12-Sep-17              12-Sep-97
                                                                                                                                                                                                                IN A TELECOMMUNICATIONS NETWORK




                                                                                                       Page 25 of 149
                                                                                                                                                                                  PATENT
                                                                                                                                                                          REEL: 044000 FRAME: 0166
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 33 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm SYSTEM AND METHOD FOR TRANSLATING
135278     135278-US-NP           US6470028                    09/175063                                      us                                22-Oct-02              19-Oct-18              19-Oct-98 TELECOMMUNICATIONS SIGNALS OF SPAN
                                                                                                                                                                                                        INTERFACES

135282     135282-US-NP           US5959987                    08/944623                                      us                                28-Sep-99                2-Oct-17              2-Oct-97 SYSTEM AND APPARATUS FOR DATA BUS INTERFACE

                                                                                                                                                                                                          SYSTEM AND APPARATUS FOR CONTROLLING
135285     135285-US-NP           US6058120                    08/940369                                      us                                 2-May-00              30-Sep-17              30-Sep-97
                                                                                                                                                                                                          TELECOMMUNICATIONS COMPONENTS
                                                                                                                                                                                                          OC3 DELIVERY UNIT; COMMON CONTROLLER FOR
135286     135286-US-NP           US6240087                    09/052182                                      us                                29-May-0l             31-Mar-18              31-Mar-98
                                                                                                                                                                                                          APPLICATION MODULES
                                                                                                                                                                                                          SYSTEM AND APPARATUS FOR OPTICAL FIBER
135287     135287-US-NP           US5926303                    08/901996                                      us                                 20-Jul-99              29-Jul-17             29-Jul-97
                                                                                                                                                                                                          INTERFACE
                                                                                                                                                                                                          SYSTEM AND CIRCUIT FOR TELECOMMUNICATIONS
135289     135289-US-NP           US6044088                    08/940476                                      us                                28-Mar-00              30-Sep-17              30-Sep-97
                                                                                                                                                                                                          DATA CONVERSION
                                                                                                                                                                                                          MULTIPLE NETWORK CONFIGURATION WITH LOCAL
135292     135292-US-NP           US6324161                    09/070581                                      us                                27-Nov-0l              30-Apr-18              30-Apr-98 AND REMOTE NETWORK REDUNDANCY BY DUAL
                                                                                                                                                                                                          MEDIA REDIRECT
                                                                                                                                                                                                          METHOD OF FREQUENCY AND PHASE LOCKING IN A
135294     135294-US-NP           US6088414                    08/993288                                      us                                 11-Jul-00             18-Dec-17              18-Dec-97
                                                                                                                                                                                                          PLURALITY OF TEMPORAL FRAMES
                                                                                                                                                                                                          MULTI-STAGE PRECHARGING SYSTEM TO LIMIT
135299     135299-US-NP           US5909065                    08/996893                                      us                                  1-Jun-99             23-Dec-17              23-Dec-97 POWER SUPPLY TRANSIENTS WHEN PRINTED CIRCUIT
                                                                                                                                                                                                          BOARDS ARE PLUGGED IN
                                                                                                                                                                                                          APPARATUS AND METHOD FOR AUTOMATIC
135301     135301-US-NP           US6195795                    08/994252                                      us                                27-Feb-0l              19-Dec-17              19-Dec-97
                                                                                                                                                                                                          SOFTWARE RELEASE NOTIFICATION
                                                                                                                                                                                                          METHOD AND SYSTEM FOR COMMUNICATING
135305     135305-US-NP           US6088434                    08/960013                                      us                                 11-Jul-00             29-Oct-17              29-Oct-97 TELECOMMUNICATIONS PROVISIONING
                                                                                                                                                                                                          INFORMATION
                                                                                                                                                                                                          METHOD AND SYSTEM FOR PROVISIONING
135306     135306-US-NP           US6104796                    08/960326                                      us                                15-Aug-00              29-Oct-17              29-Oct-97
                                                                                                                                                                                                          TELECOMMUNICATIONS SERVICES

                                                                                                                                                                                                          METHOD AND SYSTEM FOR TESTING PROVISIONING
135307     135307-US-NP           US5970120                    08/960174                                      us                                19-Oct-99              29-Oct-17              29-Oct-97
                                                                                                                                                                                                          OF TELECOMMUNICATIONS SERVICES

                                                                                                                                                                                                          METHOD AND SYSTEM FOR COMMUNICATING
135314     135314-US-NP           US6061729                    09/002192                                      us                                 9-May-00              31-Dec-17              31-Dec-97 SERVICE INFORMATION IN AN ADVANCED
                                                                                                                                                                                                          INTELLIGENT NETWORK
                                                                                                                                                                                                          METHOD AND SYSTEM FOR PACKAGING SERVICE
135317     135317-US-NP           US5937412                    08/999007                                      us                                10-Aug-99              29-Dec-17              29-Dec-97 LOGIC PROGRAMS IN AN ADVANCED INTELLIGENT
                                                                                                                                                                                                          NETWORK
135319     135319-US-NP           US6243451                    08/947693                                      us                                  5-Jun-01               9-Oct-17              9-Oct-97 SERVICE MANAGEMENT ACCESS POINT
                                                                                                                                                                                                          SYSTEM AND METHOD FOR CONTROLLING ACCESS
135320     135320-US-NP           US6041325                    08/948161                                      us                                21-Mar-00                9-Oct-17              9-Oct-97
                                                                                                                                                                                                          TO A TELEPHONY DATABASE
                                                                                                                                                                                                          SERVICE MANAGEMENT SYSTEM FOR AN ADVANCED
135321     135321-US-NP           US6178438                    08/993433                                      us                                 23-Jan-0l             18-Dec-17              18-Dec-97
                                                                                                                                                                                                          INTELLIGENT NETWORK
                                                                                                                                                                                                          METHOD AND SYSTEM FOR PROVISIONING
135323     135323-US-NP           US6009430                    08/993792                                      us                                28-Dec-99              19-Dec-17              19-Dec-97 DATABASES IN AN ADVANCED INTELLIGENT
                                                                                                                                                                                                          NETWORK

135325     135325-US-NP           US6154467                    09/006694                                      us                                28-Nov-00               14-Jan-18             14-Jan-98 HIGH SPEED 557 SIGNALING ADAPTATION DEVICE

135326     135326-US-NP           US5839169                    08/901775                                      us                                24-Nov-98               28-Jul-17             28-Jul-97 CABLE TIE WITH SAFETY GUARD
135327     135327-US-NP           US5832567                    08/901774                                      us                                10-Nov-98               28-Jul-17             28-Jul-97 CABLE TIE WITH SAFETY GUARD

135330     135330-US-NP           US6065530                    09/001617                                      us                                23-May-00              31-Dec-17              31-Dec-97 WEATHERPROOF DESIGN FOR REMOTE TRANSCEIVER

                                                                                                                                                                                                          SYSTEM AND METHOD FOR PROVIDING SWITCHING
135347     135347-US-NP           US5936938                    08/961862                                      us                                10-Aug-99              31-Oct-17              31-Oct-97 BETWEEN PATHS IN A TELECOMMUNICATIONS
                                                                                                                                                                                                          SYSTEM
                                                                                                                                                                                                          PRODUCT-INDEPENDENT PERFORMANCE
135348     135348-US-NP           US6041332                    09/001321                                      us                                21-Mar-00              31-Dec-17              31-Dec-97
                                                                                                                                                                                                          MONITORING TOOL KIT
                                                                                                                                                                                                          SYSTEM AND METHOD FOR FACILITATING ISSUE
135351     135351-US-NP           US6222535                    09/177547                                      us                                24-Apr-0l              22-Oct-18              22-Oct-98
                                                                                                                                                                                                          TRACKING
135354     135354-US-NP           US6175618                    09/109029                                      us                                 16-Jan-0l                1-Jul-18              1-Jul-98 ANI BASED ROUTING
                                                                                                                                                                                                          PERFORMANCE MONITORING DATA ACQUISITION
135355     135355-US-NP           US6097702                    09/002141                                      us                                 1-Aug-00              31-Dec-17              31-Dec-97
                                                                                                                                                                                                          LIBRARY
                                                                                                                                                                                                          PERFORMANCE MONITORING MULTIPLEXER
135358     135358-US-NP           US6069875                    09/001318                                      us                                30-May-00              31-Dec-17              31-Dec-97
                                                                                                                                                                                                          MODULE FOR A PACKAGING PM DATA
135361     135361-US-NP           US6269396                    09/211016                                      us                                 31-Jul-0l             11-Dec-18              11-Dec-98 TELECOM PLATFORM SYSTEM AND METHOD
                                                                                                                                                                                                          SYSTEM AND METHOD FOR MESSAGE
135362     135362-US-NP           US6049545                    08/943436                                      us                                11-Apr-00                3-Oct-17              3-Oct-97 COMMUICATIONS IN A DISTRIBUTED
                                                                                                                                                                                                          TELECOMMUNICATIONS SWITCH
                                                                                                                                                                                                          FULLY FLEXIBLE ROUTING SERVICE FOR AN
135365     135365-US-NP           US6075854                    09/208192                                      us                                 13-Jun-00               8-Dec-18              8-Dec-98
                                                                                                                                                                                                          ADVANCED INTELLIGENT NETWORK
                                                                                                                                                                                                          SYSTEM AND METHOD FOR TRANSPORTING 557
135367     135367-US-NP           US6061364                    08/992373                                      us                                 9-May-00              16-Dec-17              16-Dec-97 SIGNALING OVER BROADBAND ASYNCHRONOUS
                                                                                                                                                                                                          TRANSFER MODE LINKS
                                                                                                                                                                                                          TELECOMMUNICATIONS SYSTEM CRAFT INTERFACE
135369     135369-US-NP           US6307546                    09/000664                                      us                                23-Oct-01              30-Dec-17              30-Dec-97 DEVICE WITH PARSER HAVING OBJECT-ORIENTED
                                                                                                                                                                                                          STATE MACHINE
                                                                                                                                                                                                          TELECOMMUNICATIONS SYSTEM CRAFT INTERFACE
135371     135371-US-NP           US6370154                    09/000663                                      us                                 9-Apr-02              30-Dec-17              30-Dec-97 DEVICE WITH BROADBAND END-TO-END CROSS-
                                                                                                                                                                                                          CONNECT CAPABILITY
                                                                                                                                                                                                          SYSTEM AND METHOD FOR COMMUNICATIONS AND
135374     135374-US-NP           US6119173                    08/944682                                      us                                12-Sep-00                7-Oct-17              7-Oct-97 PROCESS MANAGEMENT IN A DISTRIBUTED
                                                                                                                                                                                                          TELECOMMUNICATIONS SWITCH

                                                                                                                                                                                                          SYSTEM FOR FORWARDING AND LOGGING A DIGITAL
135375     135375-DE-EPT          EP1040687                    98963207.0         EP1040687                   DE                                11-Aug-04              15-Dec-18              15-Dec-98
                                                                                                                                                                                                          MESSAGE FROM A TELECOMMUNICATIONS DEVICE


                                                                                                                                                                                                          SYSTEM FOR FORWARDING AND LOGGING A DIGITAL
135375     135375-FR-EPT          EP1040687                    98963207.0         EP1040687                   FR                                11-Aug-04              15-Dec-18              15-Dec-98
                                                                                                                                                                                                          MESSAGE FROM A TELECOMMUNICATIONS DEVICE


                                                                                                                                                                                                          SYSTEM FOR FORWARDING AND LOGGING A DIGITAL
135375     135375-GB-EPT          EP1040687                    98963207.0         EP1040687                   GB                                11-Aug-04              15-Dec-18              15-Dec-98
                                                                                                                                                                                                          MESSAGE FROM A TELECOMMUNICATIONS DEVICE


                                                                                                                                                                                                          SYSTEM FOR FORWARDING AND LOGGING A DIGITAL
135375     135375-US-NP           US6175732                    08/990289                                      us                                 16-Jan-0l             15-Dec-17              15-Dec-97
                                                                                                                                                                                                          MESSAGE FROM A TELECOMMUNICATIONS DEVICE

135376     135376-US-NP           US6263212                    09/024360                                      us                                 17-Jul-0l             17-Feb-18              17-Feb-98 SHORT MESSAGE SERVICE CENTER
                                                                                                                                                                                                          METHOD FOR DYNAMICALLY UPDATING CELLULAR
135377     135377-CN-PCT          ZL99803224.7                 99803224.7         1291290A                    CN                                22-Feb-06               27-Jan-19             27-Jan-99
                                                                                                                                                                                                          PHONE UNIQUE ENCRYPTION KEYS
                                                                                                                                                                                                          METHOD FOR DYNAMICALLY UPDATING CELLULAR
135377     135377-DE-EPT          EP1051820                    99905566.8                                     DE                                30-Aug-06               27-Jan-19             27-Jan-99
                                                                                                                                                                                                          PHONE UNIQUE ENCRYPTION KEYS
                                                                                                                                                                                                          METHOD FOR DYNAMICALLY UPDATING CELLULAR
135377     135377-FR-EPT          EP1051820                    99905566.8                                     FR                                30-Aug-06               27-Jan-19             27-Jan-99
                                                                                                                                                                                                          PHONE UNIQUE ENCRYPTION KEYS




                                                                                          Page 26 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0167
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 34 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm   METHOD FOR DYNAMICALLY UPDATING CELLULAR
135377     135377-GB-EPT          EP1051820                    99905566.8                                                 GB                        30-Aug-06               27-Jan-19             27-Jan-99
                                                                                                                                                                                                              PHONE UNIQUE ENCRYPTION KEYS
                                                                                                                                                                                                              METHOD FOR DYNAMICALLY UPDATING CELLULAR
135377     135377-US-NP           US5991405                    09/014121                                                   us                       23-Nov-99               27-Jan-18             27-Jan-98
                                                                                                                                                                                                              PHONE UNIQUE ENCRYPTION KEYS
                                                                                                                                                                                                              A SPEECH RECOGNITION SYSTEM USING SHARED
135381     135381-US-NP           US6061653                    09/115782                                                   us                        9-May-00                14-Jul-18             14-Jul-98 SPEECH MODELS FOR MULTIPLE RECOGNITION
                                                                                                                                                                                                              PROCESSES
135383     135383-US-NP           US6233316                    09/013770                                                   us                       15-Mav-0l               27-Jan-18             27-Jan-98 VOICE ENHANCED PHONE CARD
                                                                                                                                                                                                              METHOD ANDA SYSTEM FOR ALLOWING DIGIT
135384     135384-EP-EPA                                       98403240.9                     EP0928094                    EP                                              21-Dec-18              21-Dec-98 STRING VOICE DIALING WHICH DISABLES RECEIVER-
                                                                                                                                                                                                              OF-HOOK
                                                                                                                                                                                                              METHOD ANDA SYSTEM FOR ALLOWING DIGIT
135384     135384-US-NP           US6167118                    09/001182                                                   us                       26-Dec-00              30-Dec-17              30-Dec-97 STRING VOICE DIALING WHICH DISABLES RECEIVER-
                                                                                                                                                                                                              OF-HOOK
135388     135388-US-NP           US5906475                    08/969068                                                   us                       25-Mav-99              12-Nov-17              12-Nov-97 HOUSING FOR A FAN

135397     135397-US-NP           US6363078                    09/052560                                                   us                       26-Mar-02             31-Mar-18              31-Mar-98 OC-3 DELIVERY UNIT: PATH VERIFICATION SCHEME

                                                                                                                                                                                                              PAIR GAIN TEST UNIT FOR USE IN A COMBINED
135400     135400-US-NP           US5946374                    08/989952                                                   us                       31-Aug-99              12-Dec-17              12-Dec-97 TELEPHONY/VIDEO COAXIAL CABLE TERMINATION
                                                                                                                                                                                                              UNIT
135401     135401-US-NP           US6122273                    08/988547                                                   us                       19-Sen-00              10-Dec-17              10-Dec-97 LINE INTERFACE SELECTION CIRCUIT
                                                                                                                                                                                                              METHOD AND APPARATUS FOR SIMULTANEOUS
                                                                                                                                                                                                              TRANSMISSION OF DIGITAL TELEPHONY AND
135402     135402-US-NP           US5969836                    08/991106                                                   us                       19-Oct-99              12-Dec-17              12-Dec-97
                                                                                                                                                                                                              ANALOG VIDEO OVER A SINGLE OPTIC FIBER USING
                                                                                                                                                                                                              WAVE DIVISION
                                                                                                                                                                                                              HDSL MODULES FOR TELECOMMUNICATIONS
135415     135415-US-NP           US6208664                    09/014040                                                   us                       27-Mar-0l               27-Jan-18             27-Jan-98
                                                                                                                                                                                                              CHANNEL UNITS
135417     135417-US-NP           US6473436                    09/014043                                                   us                       29-Oct-02               27-Jan-18             27-Jan-98 DIGITAL LOOP CARRIER

135426     135426-US-NP           US6259678                    09/001066                                                   us                        10-Jul-0l             30-Dec-17              30-Dec-97 TELECOMMUNICATIONS TERMINAL MANAGEMENT


                                                                                                                                                                                                              UNIVERSAL PERSONAL TELECOMMUNICATIONS
135428     135428-US-NP           US6018737                    08/993436                                                   us                        25-Jan-00             18-Dec-17              18-Dec-97
                                                                                                                                                                                                              SERVICE FOR AN ADVANCED INTELLIGENT NETWORK

                                                                                                                                                                                                              SYSTEM AND METHOD FOR TRAFFICKING
135437     135437-US-NP           US6477178                    09/052918                                                   us                        5-Nov-02             31-Mar-18              31-Mar-98
                                                                                                                                                                                                              TELECOMMUNICATIONS SIGNALS
                                                                                                                                                                                                              SYSTEM FOR CONSOLIDATING
135439     135439-US-NP           US6590899                    09/148175                                                   us                         8-Jul-03               4-Sep-18              4-Sep-98 TELECOMMUNICATIONS TRAFFIC ONTO A MINIMUM
                                                                                                                                                                                                              NUMBER OF OUTPUT PATHS
                                                                                                                                                                                                              SOFTWARE CONTROLLABLE TERMINATION
135441     135441-DE-EPA          EP1001349                    99308913.5                     EP1001349                    DE                       31-Dec-08               9-Nov-19               9-Nov-99
                                                                                                                                                                                                              NETWORK FOR HIGH SPEED BACKPLANE BUS
                                                                                                                                                                                                              SOFTWARE CONTROLLABLE TERMINATION
135441     135441-FR-EPA          EP1001349                    99308913.5                     EP1001349                    FR                       31-Dec-08               9-Nov-19               9-Nov-99
                                                                                                                                                                                                              NETWORK FOR HIGH SPEED BACKPLANE BUS
                                                                                                                                                                                                              SOFTWARE CONTROLLABLE TERMINATION
135441     135441-GB-EPA          EP1001349                    99308913.5                     EP1001349                   GB                        31-Dec-08               9-Nov-19               9-Nov-99
                                                                                                                                                                                                              NETWORK FOR HIGH SPEED BACKPLANE BUS
                                                                                                                                                                                                              SOFTWARE CONTROLLABLE TERMINATION
135441     135441-US-NP           US7005938                    09/188815                                                   us                       28-Feb-06               9-Nov-18               9-Nov-98
                                                                                                                                                                                                              NETWORK FOR HIGH SPEED BACKPLANE BUS
                                                                                                                                                                                                              THERMAL MANAGEMENT DEVICE AND SYSTEM FOR
135443     135443-US-NP           US6024165                    09/140454                                                   us                       15-Feb-00              26-Aug-18              26-Aug-98
                                                                                                                                                                                                              AN ELECTRONIC COMPONENT ENCLOSURE
135444     135444-US-NP           US6317873                    09/173158                                                   us                       13-Nov-0l              14-Oct-18              14-Oct-98 ASSEMBLY LANGUAGE TRANSLATOR
                                                                                                                                                                                                              BATTERY TEMPERATURE STABILIZATION SYSTEM AND
135504     135504-US-NP           US6407533                    09/703073                                                   us                        18-Jun-02             31-Oct-20              31-Oct-00
                                                                                                                                                                                                              METHOD
                                                                                                                                                                                                              System and Method of Preserving Stable Calls During
135510     135510-US-NP           US6522732                    09/455049                                                   us                       18-Feb-03                6-Dec-19              6-Dec-99 a Split Mode Operation of Telecommunications
                                                                                                                                                                                                              Enui ment
                                                                                                                                                                                                              COMMUNICATION SYSTEM HAVING ENHANCED
135516     135516-US-CNT          US7609622                    10/701089                     20040090911                   us                       27-Oct-09              10-Dec-22               4-Nov-03
                                                                                                                                                                                                              RELIABILITY
                                                                                                                                                                                                              METHOD AND APPARATUS FOR PASSING CONTROL
135517     135517-DE-EPA          EP1113611                    00127302.8                     EP1113611                    DE                       22-Sep-10              13-Dec-20              13-Dec-00 INFORMATION IN A BIDIRECTIONAL LINE SWTICHED
                                                                                                                                                                                                              RING CONFIGURATION
                                                                                                                                                                                                              METHOD AND APPARATUS FOR PASSING CONTROL
135517     135517-FR-EPA          EP1113611                    00127302.8                     EP1113611                    FR                       22-Sep-10              13-Dec-20              13-Dec-00 INFORMATION IN A BIDIRECTIONAL LINE SWTICHED
                                                                                                                                                                                                              RING CONFIGURATION
                                                                                                                                                                                                              METHOD AND APPARATUS FOR PASSING CONTROL
135517     135517-GB-EPA          EP1113611                    00127302.8                     EP1113611                   GB                        22-Sep-10              13-Dec-20              13-Dec-00 INFORMATION IN A BIDIRECTIONAL LINE SWTICHED
                                                                                                                                                                                                              RING CONFIGURATION
                                                                                                                                                                                                              METHOD AND APPARATUS FOR PASSING CONTROL
135517     135517-US-NP           US6683891                    09/473409                                                   us                        27-Jan-04             27-Dec-19              27-Dec-99 INFORMATION IN A BIDIRECTIONAL LINE SWTICHED
                                                                                                                                                                                                              RING CONFIGURATION
                                                                                                                                                                                                              MULTI-SERVICE NETWORK SWITCH WITH POLICY
135527     135527-US-NP           US6789118                    09/511145                                                   us                        7-Sep-04              23-Feb-20              23-Feb-00
                                                                                                                                                                                                              BASED ROUTING
                                                                                                                                                                                                              MULTI-SERVICE NETWORK SWITCH WITH A GENERIC
135533     135533-US-NP           US7116679                    09/511265                                                   us                        3-Oct-06              23-Feb-20              23-Feb-00
                                                                                                                                                                                                              FORWARDING
                                                                                                                                                                                                              SYSTEM AND METHOD FOR PACKET LEVEL
135535     135535-DE-EPA          EP1083696                    00119349.9                     EP1083696                    DE                       27-Apr-11                8-Sep-20              8-Sep-00
                                                                                                                                                                                                              DISTRIBUTED ROUTING IN FIBER OPTIC RINGS
                                                                                                                                                                                                              SYSTEM AND METHOD FOR PACKET LEVEL
135535     135535-FR-EPA          EP1083696                    00119349.9                     EP1083696                    FR                       27-Apr-11                8-Sep-20              8-Sep-00
                                                                                                                                                                                                              DISTRIBUTED ROUTING IN FIBER OPTIC RINGS
                                                                                                                                                                                                              SYSTEM AND METHOD FOR PACKET LEVEL
135535     135535-GB-EPA          EP1083696                    00119349.9                     EP1083696                   GB                        27-Apr-11                8-Sep-20              8-Sep-00
                                                                                                                                                                                                              DISTRIBUTED ROUTING IN FIBER OPTIC RINGS
135535     135535-US-NP           US6532088                    09/393747                                                   us                       11-Mar-03              10-Se -19              10-Seo-99 Distributed IP Routine: in SONET Rine:s
                                                                                                                                                                                                              SIGNAL TRANSFER POINT LOCAL NUMBER
135537     135537-US-CNT          US6549620                    10/192569                     20020176562                   us                       15-Apr-03                10-Jul-22             10-Jul-02 PORTABILITY DATABASE AUDIT SYSTEM AND
                                                                                                                                                                                                              METHOD

                                                                                                                                                                                                              APPARATUS AND METHOD OF PROCESSING LOCAL
135566     135566-US-CNT          US6574327                    10/192242                     20020176561                   us                         3-Jun-03             27-Dec-19               10-Jul-02 NUMBER PORTABILITY CALLS IN A SIGNAL TRANSFER
                                                                                                                                                                                                              POINT OF A TELECOMMUNICATIONS NETWORK

                                                                                                                                                                                                              BehandlungvonAnrufen in einer
135569     135569-DE-EPA          EP1111939                    00126463.9                     EP1111939                    DE                       24-Aug-05                7-Dec-20              7-Dec-00 Nummernportabilitatsumgebung mittels
                                                                                                                                                                                                              erzwune:enerStandardwee:elenkune:
                                                                                                                                                                                                              SYSTEM AND METHOD OF PERFORMING FORCED
135569     135569-FR-EPA          EP1111939                    00126463.9                     EP1111939                    FR                       24-Aug-05                7-Dec-20              7-Dec-00
                                                                                                                                                                                                              DEFAULT ROUTING OF CALLS
                                                                                                                                                                                                              SYSTEM AND METHOD OF PERFORMING FORCED
135569     135569-GB-EPA          EP1111939                    00126463.9                     EP1111939                   GB                        24-Aug-05                7-Dec-20              7-Dec-00
                                                                                                                                                                                                              DEFAULT ROUTING OF CALLS
                                                                                                                                                                                                              SYSTEM AND METHOD OF PERFORMING FORCED
135569     135569-IT-EPA          EP1111939                    00126463.9                     EP1111939                    IT                       24-Aug-05                7-Dec-20              7-Dec-00
                                                                                                                                                                                                              DEFAULT ROUTING OF CALLS
                                                                                                                                                                                                              SYSTEM AND METHOD OF PERFORMING FORCED
135569     135569-SE-EPA          EP1111939                    00126463.9                                                  SE                       24-Aug-05                7-Dec-20              7-Dec-00
                                                                                                                                                                                                              DEFAULT ROUTING OF CALLS
                                                                                                                                                                                                              SYSTEM AND METHOD OF PERFORMING FORCED
135569     135569-US-NP           US6526137                    09/470658                                                   us                       25-Feb-03              22-Dec-19              22-Dec-99
                                                                                                                                                                                                              DEFAULT ROUTING OF CALLS
135571     135571-US-NP           US6155921                    09/433334                                                   us                        5-Dec-00               4-Nov-19               4-Nov-99 AIR RAMP
135578     135578-DE-EPA          EP1111956                    00127917.3                     EP1111956                    DE                       25-Anr-07              20-Dec-20              20-Dec-00 VARIBLE RATE SUBSCRIBER BUS




                                                                                                       Page 27 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0168
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 35 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
135578     135578-FR-EPA          EP1111956                    00127917.3                     EP1111956                    FR                       25-Aor-07              20-Dec-20              20-Dec-00 VARIBLE RATE SUBSCRIBER BUS
135578     135578-GB-EPA          EP1111956                    00127917.3                     EP1111956                   GB                        25-Aor-07              20-Dec-20              20-Dec-00 VARIBLE RATE SUBSCRIBER BUS
135578     135578-IT-EPA          EP1111956                    00127917.3                     EP1111956                    IT                       25-Apr-07              20-Dec-20              20-Dec-00 VARIBLE RATE SUBSCRIBER BUS
135578     135578-US-NP           US6621830                    09/470141                                                   us                       16-Sep-03              22-Dec-19              22-Dec-99 VARIBLE RATE SUBSCRIBER BUS
                                                                                                                                                                                                              METHOD AND APPARATUS FOR ERRORLESS PATH
135591     135591-US-NP           U56795393                    09/690153                                                   us                       21-Sep-04             30-Nov-22               16-Oct-00
                                                                                                                                                                                                              PROTECTION AND REARRANGEMENT
                                                                                                                                                                                                              CONTROL DISTIRBUTION PROTOCOL FOR A
135598     135598-DE-EPA          EP1111850                    00122501.0                     EP1111850                    DE                       19-Mar-08              14-Oct-20              14-Oct-00
                                                                                                                                                                                                              PORTABLE ROUTER FRAMEWORK
                                                                                                                                                                                                              CONTROL DISTIRBUTION PROTOCOL FOR A
135598     135598-FR-EPA          EP1111850                    00122501.0                     EP1111850                    FR                       19-Mar-08              14-Oct-20              14-Oct-00
                                                                                                                                                                                                              PORTABLE ROUTER FRAMEWORK
                                                                                                                                                                                                              CONTROL DISTIRBUTION PROTOCOL FOR A
135598     135598-GB-EPA          EP1111850                    00122501.0                     EP1111850                   GB                        19-Mar-08              14-Oct-20              14-Oct-00
                                                                                                                                                                                                              PORTABLE ROUTER FRAMEWORK
                                                                                                                                                                                                              PORTABLE ROUTER FRAMEWORK- CONTROL AND
135598     135598-US-NP           US6977924                    09/469670                                                   us                       20-Dec-05              22-Dec-19              22-Dec-99
                                                                                                                                                                                                              DISTRIBUTION PROTOCOL

                                                                                                                                                                                                              MULTI-CHANNEL, MULTI-MODE REDUNDANT
135601     135601-US-NP           US6567579                    09/738223                     20020076143                   us                       20-May-03              21-Feb-21              15-Dec-00
                                                                                                                                                                                                              OPTICAL LOCAL LOOP HAVING A BUS TOPOLOGY

                                                                                                                                                                                                              VIRTUAL CHANNEL (VC) SCHEDULER SYSTEM AND
135603     135603-DE-EPA          EP1111851                    00127276.4                     EP1111851                    DE                        8-Aug-07              19-Dec-20              19-Dec-00
                                                                                                                                                                                                              SCHEDULING ALGORITHM
                                                                                                                                                                                                              VIRTUAL CHANNEL (VC) SCHEDULER SYSTEM AND
135603     135603-FR-EPA          EP1111851                    00127276.4                     EP1111851                    FR                        8-Aug-07              19-Dec-20              19-Dec-00
                                                                                                                                                                                                              SCHEDULING ALGORITHM
                                                                                                                                                                                                              VIRTUAL CHANNEL (VC) SCHEDULER SYSTEM AND
135603     135603-GB-EPA          EP1111851                    00127276.4                     EP1111851                   GB                         8-Aug-07              19-Dec-20              19-Dec-00
                                                                                                                                                                                                              SCHEDULING ALGORITHM
                                                                                                                                                                                                              VIRTUAL CHANNEL (VC) SCHEDULER SYSTEM AND
135603     135603-US-NP           US6430152                    09/469584                                                   us                        6-Aug-02              22-Dec-19              22-Dec-99
                                                                                                                                                                                                              SCHEDULING ALGORITHM
                                                                                                                                                                                                              A WEIGHTED ROUND ROBIN ENGINE USED IN
135609     135609-DE-EPA          EP1111858                    00127943.9                     EP1111858                    DE                       10-Oct-07              21-Dec-20              21-Dec-00
                                                                                                                                                                                                              SCHEDULING THE DISTIRBUTION OF ATM CELLS
                                                                                                                                                                                                              A WEIGHTED ROUND ROBIN ENGINE USED IN
135609     135609-FR-EPA          EP1111858                    00127943.9                     EP1111858                    FR                       10-Oct-07              21-Dec-20              21-Dec-00
                                                                                                                                                                                                              SCHEDULING THE DISTIRBUTION OF ATM CELLS
                                                                                                                                                                                                              A WEIGHTED ROUND ROBIN ENGINE USED IN
135609     135609-GB-EPA          EP1111858                    00127943.9                     EP1111858                   GB                        10-Oct-07              21-Dec-20              21-Dec-00
                                                                                                                                                                                                              SCHEDULING THE DISTIRBUTION OF ATM CELLS
                                                                                                                                                                                                              Weighted Round Robin (WRR) Engine for VC
135609     135609-US-NP           US6434155                    09/469583                                                   us                       13-Aug-02              22-Dec-19              22-Dec-99
                                                                                                                                                                                                              Scheduler

                                                                                                                                                                                                              METHOD AND APPARATUS FOR FAST DISTRIBUTED
135629     135629-US-NP           US6549513                    09/416545                                                   us                       15-Apr-03              12-Oct-19              12-Oct-99
                                                                                                                                                                                                              RESTORATION OF A COMMUNICATION NETWORK

                                                                                                                                                                                                              METHOD AND APPARATUS FOR DELIVERING CRITICAL
135643     135643-US-NP           US6404880                    09/471632                                                   us                        11-Jun-02             24-Dec-19              24-Dec-99
                                                                                                                                                                                                              INFORMATION
135655     135655-US-NP           US6608844                    09/391316                                                   us                       19-Aue:-03               7-Se -19              7-Seo-99 OC-3 DELIVERY UNIT; TIMING ARCHITECTURE
                                                                                                                                                                                                              TELECOMMUNICATIONS SYSTEM, SERVICE CONTROL
                                                                                                                                                                                                              POINT AND METHOD FOR PRE-SCREENING
135660     135660-US-NP           US6519331                    09/653938                                                   us                       11-Feb-03              28-Feb-21               1-Sep-00
                                                                                                                                                                                                              TELEPHONE CALLS TO HELP PREVENT TELEPHONE
                                                                                                                                                                                                              TOLL FRAUD
                                                                                                                                                                                                              SAFETY SHUTDOWN SYSTEM FOR A WDM FIBER
135661     135661-US-NP           US7130537                    09/648019                                                   us                       31-Oct-06                4-Apr-21             25-Aug-00
                                                                                                                                                                                                              OPTIC COMMUNICATIONS NETWORK
                                                                                                                                                                                                              METHOD AND APPARATUS FOR AN MLSC STATE
135676     135676-US-NP           US6826260                    09/541411                                                   us                       30-Nov-04             31-Mar-20              31-Mar-00
                                                                                                                                                                                                              MACHINE
                                                                                                                                                                                                              A SYSTEM AND METHOD FOR CONVERTING A
                                                                                                                                                                                                              SELECTED SIGNAL INTO A TIMING SIGNAL AND
135691     135691-US-NP           US6721896                    09/539362                                                   us                       13-Apr-04             31-Mar-20              31-Mar-00
                                                                                                                                                                                                              INSERTING THE PHASE OF THE TIMING SIGNAL INTO
                                                                                                                                                                                                              A FRAM ED SIGNAL

                                                                                                                                                                                                              1ST LEVEL POWER FAULT TESTING APPARATUS FOR
135724     135724-US-NP           US6456088                    09/753800                     20020105336                   us                       24-Sep-02                3-Jan-21              3-Jan-01
                                                                                                                                                                                                              TESTING TELECOMMUNICATIONS EQUIPMENT

                                                                                                                                                                                                              PrufeinrichtungfurLeistungsfehlerderzweiten
135725     135725-DE-EPA          EP1223731                    01130161.1                     EP1223731                    DE                        3-Aug-05              19-Dec-21              19-Dec-0l Ebene zur Prufungvon
                                                                                                                                                                                                              Telekommunikationsvorrichtune:en

                                                                                                                                                                                                              2ND LEVEL POWER FAULT TESTING APPARATUS FOR
135725     135725-FR-EPA          EP1223731                    01130161.1                     EP1223731                    FR                        3-Aug-05              19-Dec-21              19-Dec-0l
                                                                                                                                                                                                              TESTING TELECOMMUNICATIONS EQUIPMENT


                                                                                                                                                                                                              2ND LEVEL POWER FAULT TESTING APPARATUS FOR
135725     135725-GB-EPA          EP1223731                    01130161.1                     EP1223731                   GB                         3-Aug-05              19-Dec-21              19-Dec-0l
                                                                                                                                                                                                              TESTING TELECOMMUNICATIONS EQUIPMENT


                                                                                                                                                                                                              2ND LEVEL POWER FAULT TESTING APPARATUS FOR
135725     135725-IT-EPA          EP1223731                    01130161.1                     EP1223731                    IT                        3-Aug-05              19-Dec-21              19-Dec-0l
                                                                                                                                                                                                              TESTING TELECOMMUNICATIONS EQUIPMENT


                                                                                                                                                                                                              2ND LEVEL POWER FAULT TESTING APPARATUS FOR
135725     135725-US-NP           US6519321                    09/753885                     20020106058                   us                       11-Feb-03               22-Jul-21              3-Jan-01
                                                                                                                                                                                                              TESTING TELECOMMUNICATIONS EQUIPMENT

135731     135731-US-NP           US6915078                    09/638941                                                   us                         5-Jul-05             27-Feb-22              15-Aue:-00 OPTICAL FRAME FORMAT
                                                                                                                                                                                                              CONTEXT SWITCHING SYSTEM AND METHOD FOR
135758     135758-US-NP           US6934302                    09/853388                     20020167910                   us                       23-Aug-05               16-Jan-24            11-May-0l IMPLEMENTING A HIGH SPEED LINK {HSL) IN A
                                                                                                                                                                                                              NETWORK ELEMENT

                                                                                                                                                                                                              SYSTEM, INTELLIGENT NETWORK SERVICE ENGINE
135762     135762-US-NP           US6856982                    09/795246                                                   us                       15-Feb-05               31-Jan-23             26-Feb-0l AND METHOD FOR DETECTING A FRAUDULENT CALL
                                                                                                                                                                                                              USING REAL TIME FRAUD MANAGMENTTOOLS


                                                                                                                                                                                                              CONFIGURABLE SAFETY SHUTDOWN FOR AN
135773     135773-GB-EPA          EP1211825                    01125202.0                     EP1211825                   GB                         23-Jan-08             24-Oct-21              24-Oct-01
                                                                                                                                                                                                              OPTICAL AMPLIFIER USING NON-VOLATILE STORAGE


                                                                                                                                                                                                              CONFIGURABLE SAFETY SHUTDOWN FOR AN
135773     135773-US-NP           US6473224                    09/727565                     20020101651                   us                       29-Oct-02                1-Dec-20              1-Dec-00
                                                                                                                                                                                                              OPTICAL AMPLIFIER USING NON-VOLATILE STORAGE


135806     135806-US-NP           US7209492                    10/122461                     20040008696                   us                       24-Apr-07             23-Mar-25               15-Apr-02 DSO TIMING SOURCE TRANSIENT COMPENSATION

                                                                                                                                                                                                              NETWORK NAVIGATOR INTERFACE SYSTEM AND
135828     135828-US-NP           US6792608                    09/797118                                                   us                       14-Sep-04             12-May-22               1-Mar-01
                                                                                                                                                                                                              METHOD

                                                                                                                                                                                                              METHOD AND SYSTEM FOR EMBEDDING A FIRST
135831     135831-US-NP           US7079553                    10/122506                     20030193968                   us                        18-Jul-06              11-Jan-25             15-Apr-02
                                                                                                                                                                                                              CLOCK SIGNAL PHASE WITHIN A SECOND SIGNAL

                                                                                                                                                                                                              METHOD AND APPARATUS FOR FLOW CONTROL IN A
135840     135840-US-NP           US7039011                    10/003883                                                   us                        2-May-06             12-May-24               31-Oct-01
                                                                                                                                                                                                              PACKET SWITCH
135844     135844-US-NP           US6442032                    09/928186                                                   us                       27-Aue:-02             10-Aue:-21             10-Aue:-0l ETHERNET SWITCH MODULE AND SYSTEM
135852     135852-US-DIV          US6953889                    10/700703                     20040094317                   us                       11-Oct-05               4-Nov-23               4-Nov-03 ELECTRICAL SHIELD

                                                                                                                                                                                                              CLOCK SYNCHRONIZATION SYSTEM AND METHOD
135859     135859-US-NP           US7136388                    10/185561                     20040001516                   us                       14-Nov-06             12-May-25               27-Jun-02
                                                                                                                                                                                                              FOR USE IN A SCALABLE ACCESS NODE


                                                                                                                                                                                                              CLOCK SYNCHRONIZATION SYSTEM AND METHOD
135859     135859-DE-EPA          EP1376915                    03013583.4                     EP1376915                    DE                       25-Mar-09              14-Jun-23              14-Jun-03
                                                                                                                                                                                                              FOR USE IN A SCALABLE ACCESS NODE




                                                                                                       Page 28 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0169
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 36 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                            CLOCK SYNCHRONIZATION SYSTEM AND METHOD
135859     135859-FR-EPA          EP1376915                    03013583.4         EP1376915                   FR                                25-Mar-09               14-Jun-23              14-Jun-03
                                                                                                                                                                                                            FOR USE IN A SCALABLE ACCESS NODE


                                                                                                                                                                                                            CLOCK SYNCHRONIZATION SYSTEM AND METHOD
135859     135859-GB-EPA          EP1376915                    03013583.4         EP1376915                   GB                                25-Mar-09               14-Jun-23              14-Jun-03
                                                                                                                                                                                                            FOR USE IN A SCALABLE ACCESS NODE


135862     135862-US-NP           US7197032                    09/927190                                      us                                27-Mar-07                13-Jan-25             10-Aug-0l SWITCH ARCHITECTURE USING MULTIPLE CROSSBARS

                                                                                                                                                                                                            METHOD AND DEVICE FOR CLEANING OPTICAL
135887     135887-US-NP           U56769150                    10/053469                                      us                                 3-Aug-04               21-Jun-22               7-Nov-01
                                                                                                                                                                                                            CONNECTORS
                                                                                                                                                                                                            DECENTRALIZED SLS MONITORING FOR
135931     135931-US-NP           US7701863                    10/317801          20040151117                 us                                20-Apr-10                30-Jul-26             12-Dec-02 THROUGHPUT IN A DIFFERENTIATED SERVICE
                                                                                                                                                                                                            ENVIRONMENT
135955     135955-US-NP           US7483379                    10/147830          20030214913                 us                                 27-Jan-09                3-A r-25            17-Mav-02 PASSIVE NETWORK MONITORING SYSTEM
                                                                                                                                                                                                            METHOD AND SYSTEM FOR PROVIDING SOFTSWITCH
135956     135956-US-NP           US7023977                    10/320247          20040114748                 us                                 4-Apr-06               25-Aug-24              16-Dec-02 FAILURE PROTECTION IN A COMMUNICATION
                                                                                                                                                                                                            NETWORK

                                                                                                                                                                                                            CALL-ROUTING APPARATUS, AND ASSOCIATED
135974     135974-DE-EPA          EP1432254                    03027898.0         EP1432254                   DE                                 30-Jun-10                5-Dec-23              5-Dec-03 METHOD, FOR PROVIDING LOCAL CALL HANDLING
                                                                                                                                                                                                            FUNCTIONS I A COMMUNICATION NETWORK


                                                                                                                                                                                                            CALL-ROUTING APPARATUS, AND ASSOCIATED
135974     135974-FR-EPA          EP1432254                    03027898.0         EP1432254                   FR                                 30-Jun-10                5-Dec-23              5-Dec-03 METHOD, FOR PROVIDING LOCAL CALL HANDLING
                                                                                                                                                                                                            FUNCTIONS I A COMMUNICATION NETWORK


                                                                                                                                                                                                            CALL-ROUTING APPARATUS, AND ASSOCIATED
135974     135974-GB-EPA          EP1432254                    03027898.0         EP1432254                   GB                                 30-Jun-10                5-Dec-23              5-Dec-03 METHOD, FOR PROVIDING LOCAL CALL HANDLING
                                                                                                                                                                                                            FUNCTIONS I A COMMUNICATION NETWORK


                                                                                                                                                                                                            CALL-ROUTING APPARATUS, AND ASSOCIATED
135974     135974-US-NP           US7388868                    10/321230          20040114611                 us                                 17-Jun-08              16-Feb-25              17-Dec-02 METHOD, FOR PROVIDING LOCAL CALL HANDLING
                                                                                                                                                                                                            FUNCTIONS IN A COMMUNICATION NETWORK


                                                                                                                                                                                                            METHOD OF DETECTING SIGNAL DEGRADATION
137034     137034-US-NP           US6310911                    09/021833                                      us                                30-Oct-01               11-Feb-18              11-Feb-98
                                                                                                                                                                                                            FAULT CONDITIONS WITHIN SON ET & SDH SIGNALS

                                                                                                                                                                                                            Fair Allocation Of Excess Resources In A
137039     137039-US-NP           US6075771                    08/849450                                      us                                 13-Jun-00              27-Oct-17              27-Oct-97
                                                                                                                                                                                                            Communications Svstem
                                                                                                                                                                                                            Variation Fluctuation Smoothing (VFS) for ATM
137046     137046-US-PCT          US6442166                    09/230037                                      us                                27-Aug-02                 17-Jul-17             17-Jul-97
                                                                                                                                                                                                            Circuit Emulation
                                                                                                                                                                                                            Generation of primary rate clocks from correction
137068     137068-US-NP           US6262999                    09/057622                                      us                                 17-Jul-0l                9-Apr-18              9-Apr-98 values derived from the received synchronous
                                                                                                                                                                                                         residual time stamp.
                                                                                                                                                                                                            CONGESTION MANAGEMENT IN A MULTI-PORT
137070     137070-US-NP           US7145868                    08/980258                                      us                                 5-Dec-06              28-Nov-17               28-Nov-97
                                                                                                                                                                                                            SHARED MEMORY SWITCH
                                                                                                                                                                                                            Dynamic Configuration Of Edge Forwarders To Route
137098     137098-US-NP           US6335926                    09/166551                                      us                                  1-Jan-02                5-Oct-18              5-Oct-98
                                                                                                                                                                                                            Servers In a Distributed Routed Svstem
                                                                                                                                                                                                         Service management of multiple independent
137099     137099-US-NP           US7085277                    09/165735                                      us                                 1-Aug-06                 5-Oct-18              5-Oct-98
                                                                                                                                                                                                         forwarding realms
137101     137101-US-NP           US6498779                    09/083129                                      us                                24-Dec-02              22-Mav-18              22-Mav-98 MULTIPLE ENDPOINTS PATHS
137104     137104-US-NP           US6775288                    09/041683                                      us                                10-Aug-04              13-Mar-18              13-Mar-98 Identifying soft permanent virtual circuits
                                                                                                                                                                                                            Bandwidth load consideration in network route
137107     137107-US-NP           US6697333                    09/034399                                      us                                24-Feb-04                4-Mar-18              4-Mar-98
                                                                                                                                                                                                            selection.
137108     137108-US-NP           US6434169                    08/962174                                      us                                13-Au11:-02             31-Oct-17              31-Oct-97 VOICEBAND/MODEM SIGNAL RELAY
137110     137110-US-NP           US6370116                    09/084119                                      us                                 9-Aor-02              26-Mav-18              26-Mav-98 TOLERANT CIR MONITORING & POLICING
                                                                                                                                                                                                            ADAPTIVE BUFFERING ALLOCATION UNDER
137111     137111-US-NP           US6408006                    09/201759                                      us                                 18-Jun-02                1-Dec-18              1-Dec-98
                                                                                                                                                                                                            MULTIPLE QUALITY OF SERVICE
                                                                                                                                                                                                            Frame relay priority queses to offer multiple service
137118     137118-US-NP           US6108307                    08/989687                                      us                                22-Aug-00               12-Dec-17              12-Dec-97
                                                                                                                                                                                                            classes

                                                                                                                                                                                                            CONTROLLING TRAFFIC FLOW IN A PACKET-
137119     137119-US-NP           US6353618                    09/244165                                      us                                 5-Mar-02                 4-Feb-19              4-Feb-99
                                                                                                                                                                                                            SWITCHED NETWORK, METHOD AND APPARATUS

                                                                                                                                                                                                            Mutlicast methodology & apparatus for backpressure
137123     137123-US-NP           US6636510                    09/320628                                      us                                21-Oct-03              27-May-19              27-May-99
                                                                                                                                                                                                            basedswitchini;,:fabric.
                                                                                                                                                                                                            Rate monitoring of connections in a communications
137127     137127-US-NP           US6519264                    09/298788                                      us                                11-Feb-03               26-Apr-19              26-Apr-99
                                                                                                                                                                                                            network using historv buffer.
                                                                                                                                                                                                            Flexible threshold based buffering system for use in a
137128     137128-US-NP           US6687254                    09/339844                                      us                                 3-Feb-04               25-Jun-19              25-Jun-99
                                                                                                                                                                                                            digital communication devices.
137136     137136-US-NP           US6545979                    09/200442                                      us                                 8-Anr-03              27-Nov-18               27-Nov-98 Round trin delav measurement.
137139     137139-US-NP           US6504819                    09/160087                                      us                                  7-Jan-03              25-Se -18              25-Sen-98 Classes of Service in an MPOA Network
                                                                                                                                                                                                            Method and apparatus for data extraction from a bit
137140     137140-US-NP           US6330251                    09/087428                                      us                                11-Dec-0l              30-May-18              30-May-98
                                                                                                                                                                                                            stream
                                                                                                                                                                                                            METHOD AND APPARATUS FOR PACKETIZING DATA
137141     137141-US-NP           US6275505                    09/087840                                      us                                14-Aug-0l              30-May-18              30-May-98
                                                                                                                                                                                                            INTO A DATA STREAM
                                                                                                                                                                                                            Method and Apparatus For Managing Data
137142     137142-US-NP           US6771655                    09/087331                                      us                                 3-Aug-04              29-May-18              29-May-98
                                                                                                                                                                                                            Transportation
                                                                                                                                                                                                            Method and circuit for transporting data based on
137143     137143-US-NP           US6185635                    09/087890                                      us                                 6-Feb-01              30-May-18              30-May-98 the content of ingress data words and egress data
                                                                                                                                                                                                            words
                                                                                                                                                                                                            Method And Device For Recognizing Tones And
137149     137149-US-NP           US6486975                    09/260047                                      us                                26-Nov-02                2-Mar-19              2-Mar-99
                                                                                                                                                                                                            SeauencesThereof

                                                                                                                                                                                                            Method and apparatus for supporting multiple class
137152     137152-US-NP           US6618378                    09/358390                                      us                                 9-Sep-03                21-Jul-19              21-Jul-99
                                                                                                                                                                                                            of service connections in a communications network.


                                                                                                                                                                                                            Method and apparatus for routing server redundancy
137154     137154-US-CIP          US6438100                    09/368752                                      us                                20-Aug-02                5-Aug-19               5-Aug-99
                                                                                                                                                                                                            in a network having carrier scale internetworking

                                                                                                                                                                                                            POINTER SYSTEM FOR QUEUE SIZE CONTROL IN A
137164     137164-US-NP           US6229813                    09/199157                                      us                                 8-May-01              25-Nov-18               25-Nov-98
                                                                                                                                                                                                            MULTI-TASK PROCESSING APPLICATION

                                                                                                                                                                                                            METHOD AND APPARATUS FOR PER CONNECTION
137166     137166-US-NP           US6621825                    09/474415                                      us                                16-Sep-03               29-Dec-19              29-Dec-99
                                                                                                                                                                                                            QUEUING OF MULTICAST TRANSMISSIONS


                                                                                                                                                                                                            Method and apparatus combining a plurality of
137168     137168-US-NP           US6510158                    09/303352                                      us                                 21-Jan-03              30-Apr-19              30-Apr-99
                                                                                                                                                                                                            virtual circuits into a combined virtual circuit.

137172     137172-US-NP           US6519695                    09/246634                                      us                                11-Feb-03                 8-Feb-19              8-Feb-99 Exolicit Rate Comoutational Eni;,:ine
                                                                                                                                                                                                            Method and apparatus for prioritized release of
137179     137179-US-NP           US7200110                    09/275097                                      us                                 3-Apr-07              24-Mar-19              24-Mar-99
                                                                                                                                                                                                         connections in a communications network.
137182     137182-US-NP           US6807171                    09/342912                                      us                                19-Oct-04               30-Jun-19              30-Jun-99 Virtual path aggregation
                                                                                                                                                                                                            Subscription management system for data
137185     137185-US-NP           US7562129                    09/292365                                      us                                 14-Jul-09              15-Apr-19              15-Apr-99
                                                                                                                                                                                                            communication network




                                                                                          Page 29 of 149
                                                                                                                                                                              PATENT
                                                                                                                                                                      REEL: 044000 FRAME: 0170
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 37 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm   METHOD AND APPARATUS FOR PROVIDING
137190     137190-US-NP           US6421722                    09/303372                                                   us                        16-Jul-02             30-Apr-19              30-Apr-99
                                                                                                                                                                                                              INTERNETWORKING SERVICE RELIABILITY
                                                                                                                                                                                                              Method and apparatus for connection formal
137194     137194-US-NP           US6560242                    09/293296                                                   us                        6-May-03              16-Apr-19              16-Apr-99
                                                                                                                                                                                                             conversion in a communications network
137201     137201-US-NP           US6529474                    09/360648                                                   us                        4-Mar-03               26-Jul-19              26-Jul-99 Sha in11:Al1rnrithm
                                                                                                                                                                                                              METHOD AND APPARATUS FOR DATA DRIVEN
137202     137202-DE-EPA          EP1115224                    00121390.9                     EP1115224                    DE                        14-Jun-06             12-Oct-20              12-Oct-00
                                                                                                                                                                                                              NETWORK MANAGEMENT
                                                                                                                                                                                                              METHOD AND APPARATUS FOR DATA DRIVEN
137202     137202-FR-EPA          EP1115224                    00121390.9                     EP1115224                    FR                        14-Jun-06             12-Oct-20              12-Oct-00
                                                                                                                                                                                                              NETWORK MANAGEMENT
                                                                                                                                                                                                              METHOD AND APPARATUS FOR DATA DRIVEN
137202     137202-GB-EPA          EP1115224                    00121390.9                     EP1115224                   GB                         14-Jun-06             12-Oct-20              12-Oct-00
                                                                                                                                                                                                              NETWORK MANAGEMENT
                                                                                                                                                                                                              METHOD AND APPARATUS FOR DATA DRIVEN
137202     137202-IT-EPA          EP1115224                    00121390.9                     EP1115224                    IT                        14-Jun-06             12-Oct-20              12-Oct-00
                                                                                                                                                                                                              NETWORK MANAGEMENT
                                                                                                                                                                                                              Method and apparatus for data driven network
137202     137202-US-NP           US7346008                    09/418647                                                   us                       18-Mar-08              15-Oct-19              15-Oct-99
                                                                                                                                                                                                              manae:ement.
                                                                                                                                                                                                              Method and apparatus for load distribution across
137206     137206-US-CNT          US6823432                    10/156152                     20030051108                   us                       23-Nov-04             28-May-22              28-May-02
                                                                                                                                                                                                              memorv banks with constrained access
                                                                                                                                                                                                              Method and apparatus for load distribution across
137206     137206-US-NP           US6415366                    09/324207                                                   us                         2-Jul-02               2-Jun-19              2-Jun-99
                                                                                                                                                                                                              memory banks with constrained access.
                                                                                                                                                                                                              Method and apparatus for data buffer management
137207     137207-US-NP           US6539024                    09/277361                                                   us                       25-Mar-03             26-Mar-19              26-Mar-99
                                                                                                                                                                                                              in a communications switch

                                                                                                                                                                                                              Method and apparatus for high bandwidth multi-
137208     137208-US-NP           US6487210                    09/275677                                                   us                       26-Nov-02             24-Mar-19              24-Mar-99
                                                                                                                                                                                                              source interconnection using point-to-point buses.

                                                                                                                                                                                                              Method and apparatus for providing control
137221     137221-US-NP           US7068661                    09/352562                                                   us                        27-Jun-06               13-Jul-19             13-Jul-99 information in a system using distributed
                                                                                                                                                                                                             communication routing.
                                                                                                                                                                                                            Method And Apparatus For Segmentation And
137225     137225-US-DIV          US7463650                    11/269251                     20060050738                   us                        9-Dec-08                7-Jun-27              7-Nov-05 Reassembly Of Data Packets In A Communication
                                                                                                                                                                                                              Switch.
                                                                                                                                                                                                              Method and apparatus for segmentation and
137225     137225-US-NP           US6963572                    09/426791                                                   us                        8-Nov-05              22-Oct-19              22-Oct-99 reassembly of data packets in a communication
                                                                                                                                                                                                              switch.

                                                                                                                                                                                                              Subscriber permissions and restrictions for switched
137226     137226-US-NP           US6785228                    09/343179                                                   us                       31-Aug-04              30-Jun-19              30-Jun-99
                                                                                                                                                                                                              connections in a communications network

                                                                                                                                                                                                              Method and apparatus for merging virtual
137242     137242-US-NP           US7664115                    09/495207                                                   us                       16-Feb-10               31-Jan-20             31-Jan-00
                                                                                                                                                                                                              connections
                                                                                                                                                                                                              Electronic circuit pack and shelf and electronic circuit
137245     137245-DE-EPA          EP1113714                    00128113.8                     EP1113714                    DE                        23-Jan-08             21-Dec-20              21-Dec-00
                                                                                                                                                                                                              loackcombinations
                                                                                                                                                                                                              Electronic circuit pack and shelf and electronic circuit
137245     137245-FR-EPA          EP1113714                    00128113.8                     EP1113714                    FR                        23-Jan-08             21-Dec-20              21-Dec-00
                                                                                                                                                                                                              loackcombinations
                                                                                                                                                                                                              Electronic circuit pack and shelf and electronic circuit
137245     137245-GB-EPA          EP1113714                    00128113.8                     EP1113714                   GB                         23-Jan-08             21-Dec-20              21-Dec-00
                                                                                                                                                                                                              I pack combinations
                                                                                                                                                                                                              ELECTRONIC CIRCUIT PACK AND SH ELAND
137245     137245-US-NP           US6370035                    09/472909                                                   us                        9-Apr-02              27-Dec-19              27-Dec-99
                                                                                                                                                                                                              ELECTRONIC CIRCUIT PACK COMBINATIONS

                                                                                                                                                                                                              METHOD AND APPARATUS FOR STATISTICS
137246     137246-US-NP           US6661778                    09/524201                                                   us                        9-Dec-03             13-Mar-20               13-Mar-00
                                                                                                                                                                                                              COLLECTION IN A DATA COMMUNICATION NETWORK

                                                                                                                                                                                                            Control card Circuit And Method For Selecting A
137276     137276-US-DIV          US8201015                    12/283048                     20090119535                   us                        12-Jun-12             20-Aug-21               9-Sep-08 Synchronization Source Among A Plurality Of Line
                                                                                                                                                                                                              Card Circuits
                                                                                                                                                                                                              Method and Apparatus For Managing Network
137276     137276-US-NP           US7424636                    09/636115                                                   us                        9-Sep-08                1-Dec-24             10-Aug-00 Synchronization Information Among Multiple Line
                                                                                                                                                                                                              Cards
137281     137281-US-CNT          US6462951                    09/859591                                                   us                        8-Oct-02                7-A r-20            18-Mav-0l Securin heat sinks to electronic comoonents.
                                                                                                                                                                                                              Trellis decoding with multiple symbol noncoherent
137327     137327-US-NP           US6034997                    08/985302                                                   us                        7-Mar-00                4-Dec-17              4-Dec-97 detection and interleaving to combat frequency
                                                                                                                                                                                                              offset
                                                                                                                                                                                                              Increased Capacity In An OCDMA System for
137329     137329-DE-EPT          EP1040590                    98965380.3                                                  DE                       11-May-05              10-Dec-18              10-Dec-98
                                                                                                                                                                                                              Fre uencv Isolation
                                                                                                                                                                                                              Increased Capacity In An OCDMA System For
137329     137329-FR-EPT          EP1040590                    98965380.3                                                  FR                       11-May-05              10-Dec-18              10-Dec-98
                                                                                                                                                                                                              Fre uencv Isolation
                                                                                                                                                                                                              Increased Capacity In An OCDMA System for
137329     137329-GB-EPT          EP1040590                    98965380.3                                                 GB                        11-May-05              10-Dec-18              10-Dec-98
                                                                                                                                                                                                              Freauencv Isolation
                                                                                                                                                                                                              INCREASED CAPACITY IN AN OCDMA SYSTEM FOR
137329     137329-US-NP           US6317412                    08/989466                                                   us                       13-Nov-0l              12-Dec-17              12-Dec-97
                                                                                                                                                                                                              FREQUENCY ISOLATION
                                                                                                                                                                                                              APPARATUS FOR INCORPORATING MULTIPLE DATA
                                                                                                                                                                                                              RATES IN AN ORTHOGONAL DIRECT SEQUENCE CODE
137330     137330-JP-PCT          JP4361682                    2000535113                    2002506320                   JP                        21-Aug-09               1-Mar-19               1-Mar-99
                                                                                                                                                                                                              DIVISION MULTIPLE ACCESS (ODS-CDMA)
                                                                                                                                                                                                              COMMUNICATIONS SYSTEM
                                                                                                                                                                                                              APPARATUS FOR INCORPORATING MULTIPLE DATA
                                                                                                                                                                                                              RATES IN AN ORTHOGONAL DIRECT SEQUENCE CODE
137330     137330-US-NP           US6563808                    09/250845                                                   us                       13-May-03              17-Feb-19              17-Feb-99
                                                                                                                                                                                                              DIVISION MULTIPLE ACCESS (ODS-CDMA)
                                                                                                                                                                                                              COMMUNICATIONS SYSTEM

                                                                                                                                                                                                              Trellis decoding with multiple symbol noncoherent
137332     137332-US-NP           US6339624                    09/134469                                                   us                        15-Jan-02             14-Aug-18              14-Aug-98
                                                                                                                                                                                                              detection and diversity combining


                                                                                                                                                                                                            MOUNTING APPARATUS FOR EQUIPMENT
137343     137343-US-NP           US6504094                    09/765417                     20020046862                   us                         7-Jan-03              22-Jan-21             22-Jan-0l ENCLOSURES HAVING CABLE BEND RADIUS CONTROL
                                                                                                                                                                                                              AND CHANNEL FOR RETAINING CABLE


                                                                                                                                                                                                              METHOD AND APPARATUS FOR COMMUNICATING
137346     137346-US-NP           US7787458                    09/998504                     20030103503                   us                       31-Aug-10                3-Oct-28             30-Nov-0l
                                                                                                                                                                                                              DATA PACKETS ACCORDING TO CLASSES OF SERVICE


                                                                                                                                                                                                              METHOD AND APPARATUS FOR SCHEDULING AND
137355     137355-US-NP           US7596789                    10/334204                     20030182352                   us                       29-Sep-09              17-Oct-27              30-Dec-02
                                                                                                                                                                                                              SERVICING EVENTS USING A CALENDAR STRUCTURE


                                                                                                                                                                                                              APPARATUS FOR ELECTRICALLY INTERCONNECTING
137359     137359-US-NP           US6419499                    09/629404                                                   us                        16-Jul-02               1-Aug-20              1-Aug-00
                                                                                                                                                                                                              ELECTRONIC CIRCUIT SUBSTRATES

                                                                                                                                                                                                              SYSTEM AND METHOD FOR PROVIDING
137385     137385-CN-NP           ZL02147156.8                 02147156.8                    1426253                       CN                         7-Jan-09             24-Oct-22              24-Oct-02 PERFORMANCE DATA FOR A COMMUNICATION
                                                                                                                                                                                                              NETWORK
                                                                                                                                                                                                              SYSTEM AND METHOD FOR PROVIDING
137385     137385-DE-EPA          EP1322098                    02293032.5                     EP1322098                    DE                       14-Dec-05                6-Dec-22              6-Dec-02 PERFORMANCE DATA FOR A COMMUNICATION
                                                                                                                                                                                                              NETWORK
                                                                                                                                                                                                            SYSTEM AND METHOD FOR PROVIDING
137385     137385-FR-EPA          EP1322098                    02293032.5                     EP1322098                    FR                       14-Dec-05                6-Dec-22              6-Dec-02 PERFORMANCE DATA FOR A COMMUNICATION
                                                                                                                                                                                                              NETWORK




                                                                                                       Page 30 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0171
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 38 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    SYSTEM AND METHOD FOR PROVIDING
137385     137385-GB-EPA          EP1322098                    02293032.5         EP1322098                   GB                                14-Dec-05                6-Dec-22              6-Dec-02 PERFORMANCE DATA FOR A COMMUNICATION
                                                                                                                                                                                                           NETWORK
                                                                                                                                                                                                           SYSTEM AND METHOD FOR PROVIDING
137385     137385-IT-EPA          EP1322098                    02293032.5         EP1322098                   IT                                14-Dec-05                6-Dec-22              6-Dec-02 PERFORMANCE DATA FOR A COMMUNICATION
                                                                                                                                                                                                           NETWORK
                                                                                                                                                                                                           SYSTEM AND METHOD FOR PROVIDING SERVICE
137385     137385-US-NP           US7426573                    10/012428          20030110408                 us                                16-Sep-08              14-Aug-25              12-Dec-0l AVAILABILITY DATA FOR A COMMUNICATION
                                                                                                                                                                                                           NETWORK
137457     137457-DE-EPA          EP1322066                    02293097.8         EP1322066                   DE                                20-Dec-06              13-Dec-22              13-Dec-02 Command Line lnteface Processor
137457     137457-FR-EPA          EP1322066                    02293097.8         EP1322066                   FR                                20-Dec-06              13-Dec-22              13-Dec-02 Command Line lnteface Processor
137457     137457-GB-EPA          EP1322066                    02293097.8         EP1322066                   GB                                20-Dec-06              13-Dec-22              13-Dec-02 Command Line lnteface Processor
137457     137457-IT-EPA          EP1322066                    02293097.8         EP1322066                   IT                                20-Dec-06              13-Dec-22              13-Dec-02 Command Line lnteface Processor
137457     137457-US-NP           US7113989                    10/115900          20030115304                 us                                26-Sen-06              ll-Au11:-24             5-Anr-02 Command Line Interface Processor
                                                                                                                                                                                                           Intelligent Routing for Effective Utilization of
137462     137462-DE-EPA          EP1294146                    02292215.7         EP1294146                   DE                                 2-Nov-11              10-Sep-22              10-Sep-02
                                                                                                                                                                                                           Network Si nalin Resources
                                                                                                                                                                                                           Intelligent Routing for Effective Utilization of
137462     137462-FR-EPA          EP1294146                    02292215.7         EP1294146                   FR                                 2-Nov-11              10-Sep-22              10-Sep-02
                                                                                                                                                                                                           Network Signaling Resources
                                                                                                                                                                                                           Intelligent Routing for Effective Utilization of
137462     137462-GB-EPA          EP1294146                    02292215.7         EP1294146                   GB                                 2-Nov-11              10-Sep-22              10-Sep-02
                                                                                                                                                                                                           Network Signaling Resources
                                                                                                                                                                                                           Intelligent Routing for Effective Utilization of
137462     137462-JP-NP           JP4066416                    2002243214                                    JP                                  18-Jan-08             23-Aug-22              23-Aug-02
                                                                                                                                                                                                           Network Si nalin Resources
                                                                                                                                                                                                           Intelligent Routing for Effective Utilization of
137462     137462-US-NP           US7957274                    10/207844          20030053415                 us                                  7-Jun-11             26-Apr-26               31-Jul-02
                                                                                                                                                                                                           Network Si nalin Resources

                                                                                                                                                                                                           System And Method For Providing Gaps Between
137474     137474-DE-EPA          EP1322079                    02293095.2         EP1322079                   DE                                21-Nov-12              13-Dec-22              13-Dec-02
                                                                                                                                                                                                           Data Elements At Ingress To A Network Element


                                                                                                                                                                                                           System And Method For Providing Gaps Between
137474     137474-FR-EPA          EP1322079                    02293095.2         EP1322079                   FR                                21-Nov-12              13-Dec-22              13-Dec-02
                                                                                                                                                                                                           Data Elements At Ingress To A Network Element


                                                                                                                                                                                                           System And Method For Providing Gaps Between
137474     137474-GB-EPA          EP1322079                    02293095.2         EP1322079                   GB                                21-Nov-12              13-Dec-22              13-Dec-02
                                                                                                                                                                                                           Data Elements At Ingress To A Network Element


                                                                                                                                                                                                           System And Method For Providing Gaps Between
137474     137474-US-NP           US7525913                    10/195492          20030112757                 us                                28-Apr-09                4-Jan-25              16-Jul-02
                                                                                                                                                                                                           Data Elements At Ingress To A Network Element

                                                                                                                                                                                                           METHOD AND APPARATUS FOR AUTOMATIC
137487     137487-DE-EPA          EP1322069                    02293125.7         EP1322069                   DE                                16-Nov-05              17-Dec-22              17-Dec-02 DISCOVERY OF NETWORK DEVICES WITH DATA
                                                                                                                                                                                                           FORWARDING CAPABILITIES
                                                                                                                                                                                                           METHOD AND APPARATUS FOR AUTOMATIC
137487     137487-FR-EPA          EP1322069                    02293125.7         EP1322069                   FR                                16-Nov-05              17-Dec-22              17-Dec-02 DISCOVERY OF NETWORK DEVICES WITH DATA
                                                                                                                                                                                                           FORWARDING CAPABILITIES
                                                                                                                                                                                                           METHOD AND APPARATUS FOR AUTOMATIC
137487     137487-GB-EPA          EP1322069                    02293125.7         EP1322069                   GB                                16-Nov-05              17-Dec-22              17-Dec-02 DISCOVERY OF NETWORK DEVICES WITH DATA
                                                                                                                                                                                                           FORWARDING CAPABILITIES
                                                                                                                                                                                                           METHOD AND APPARATUS FOR AUTOMATIC
137487     137487-IT-EPA          EP1322069                    02293125.7         EP1322069                   IT                                16-Nov-05              17-Dec-22              17-Dec-02 DISCOVERY OF NETWORK DEVICES WITH DATA
                                                                                                                                                                                                           FORWARDING CAPABILITIES

                                                                                                                                                                                                           Method And Apparatus For Automatic Discovery Of
137487     137487-US-NP           US7515546                    10/029124          20030112765                 us                                 7-Apr-09              13-Nov-23              19-Dec-0l
                                                                                                                                                                                                           Network Devices With Data Forwarding Capabilities

137489     137489-DE-EPA          EP1326372                    02293090.3         EP1326372                   DE                                27-Feb-13              13-Dec-22              13-Dec-02 Method And System For IP Link Management
137489     137489-FR-EPA          EP1326372                    02293090.3         EP1326372                   FR                                27-Feb-13              13-Dec-22              13-Dec-02 Method And Svstem For IP Link Mana11:ement
137489     137489-GB-EPA          EP1326372                    02293090.3         EP1326372                   GB                                27-Feb-13              13-Dec-22              13-Dec-02 Method And Svstem For IP Link Mana11:ement
137489     137489-US-NP           US7856599                    10/027821          20030137532                 us                                21-Dec-10             31-Mav-24               19-Dec-0l Method And Svstem For IP Link Manai;,:ement
                                                                                                                                                                                                           SYSTEM AND METHOD FOR REASSEMBLING PACKETS
137491     137491-US-NP           US7254112                    10/294630          20030137936                 us                                 7-Aug-07              11-Nov-25              15-Nov-02
                                                                                                                                                                                                           IN A NETWORK ELEMENT

137496     137496-US-NP           US7342881                    10/465233          20040257991                 us                                11-Mar-08             30-Mar-26               20-Jun-03 Backpressure History Mechanism In Flow Control

                                                                                                                                                                                                           METHOD AND APPARATUS FOR FACILITATING
137511     137511-DE-EPA          EP1331772                    03290185.2         EP1331772                   DE                                29-Mar-06               23-Jan-23             23-Jan-03 ROUTING PROTOCOL REDUNDANCY IN A NETWORK
                                                                                                                                                                                                           ELEMENT
                                                                                                                                                                                                           METHOD AND APPARATUS FOR FACILITATING
137511     137511-FR-EPA          EP1331772                    03290185.2         EP1331772                   FR                                29-Mar-06               23-Jan-23             23-Jan-03 ROUTING PROTOCOL REDUNDANCY IN A NETWORK
                                                                                                                                                                                                           ELEMENT
                                                                                                                                                                                                           METHOD AND APPARATUS FOR FACILITATING
137511     137511-GB-EPA          EP1331772                    03290185.2         EP1331772                   GB                                29-Mar-06               23-Jan-23             23-Jan-03 ROUTING PROTOCOL REDUNDANCY IN A NETWORK
                                                                                                                                                                                                           ELEMENT
                                                                                                                                                                                                           METHOD AND APPARATUS FOR FACILITATING
137511     137511-IT-EPA          EP1331772                    03290185.2         EP1331772                   IT                                29-Mar-06               23-Jan-23             23-Jan-03 ROUTING PROTOCOL REDUNDANCY IN A NETWORK
                                                                                                                                                                                                           ELEMENT

                                                                                                                                                                                                           Method And Apparatus For Facilitating Routing
137511     137511-US-NP           US8769154                    10/350817          20030140166                 us                                  1-Jul-14              2-Aug-25              24-Jan-03
                                                                                                                                                                                                           Protocol Redundancy In A Network Element


                                                                                                                                                                                                           METHOD AND APPARATUS FOR SYNCHRONIZING
137513     137513-CN-NP           ZL03136787.9                 03136787.9         1462138A                    CN                                28-Apr-10               24-Jan-23             24-Jan-03
                                                                                                                                                                                                           REDUNDANT COMMUNICATION TASKS


                                                                                                                                                                                                           METHOD AND APPARATUS FOR SYNCHRONIZING
137513     137513-DE-EPA          EP1331771                    03290183.2         EP1331771                   DE                                 17-Jan-07              23-Jan-23             23-Jan-03
                                                                                                                                                                                                           REDUNDANT COMMUNICATION TASKS


                                                                                                                                                                                                           METHOD AND APPARATUS FOR SYNCHRONIZING
137513     137513-FR-EPA          EP1331771                    03290183.2         EP1331771                   FR                                 17-Jan-07              23-Jan-23             23-Jan-03
                                                                                                                                                                                                           REDUNDANT COMMUNICATION TASKS


                                                                                                                                                                                                           METHOD AND APPARATUS FOR SYNCHRONIZING
137513     137513-GB-EPA          EP1331771                    03290183.2         EP1331771                   GB                                 17-Jan-07              23-Jan-23             23-Jan-03
                                                                                                                                                                                                           REDUNDANT COMMUNICATION TASKS


                                                                                                                                                                                                           METHOD AND APPARATUS FOR SYNCHRONIZING
137513     137513-IT-EPA          EP1331771                    03290183.2         EP1331771                   IT                                 17-Jan-07              23-Jan-23             23-Jan-03
                                                                                                                                                                                                           REDUNDANT COMMUNICATION TASKS

                                                                                                                                                                                                           Method And Apparatus For Synchronizing Redundant
137513     137513-US-NP           US8005980                    10/350818          20030140167                 us                                23-Aug-11              10-Aug-26              24-Jan-03
                                                                                                                                                                                                           Communication Tasks

137515     137515-DE-EPA          EP1517494                    04300608.9         EP1517494                   DE                                 10-Jun-09             17-Sep-24              17-Sep-04 Providing Protection Switching Via Failure Prediction


137515     137515-FR-EPA          EP1517494                    04300608.9         EP1517494                   FR                                 10-Jun-09             17-Sep-24              17-Sep-04 Providing Protection Switching Via Failure Prediction


137515     137515-GB-EPA          EP1517494                    04300608.9         EP1517494                   GB                                 10-Jun-09             17-Sep-24              17-Sep-04 Providing Protection Switching Via Failure Prediction


137515     137515-US-NP           US8392755                    10/667722          20050066221                 us                                 5-Mar-13               9-Mar-24              22-Sep-03 Providing Protection Switching Via Failure Prediction

                                                                                                                                                                                                           Air-Cooled Electronic Equipment Enclosed In A
137523     137523-US-NP           US6678156                    10/200249                                      us                                 13-Jan-04              23-Jul-22              23-Jul-02
                                                                                                                                                                                                           Secure Cabinet




                                                                                          Page 31 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0172
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 39 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    SYSTEM AND METHOD OF DOWNLOADING DATA FOR
137534     137534-US-NP           US7234000                    10/302914                     20030154301                   us                        19-Jun-07             18-Feb-25              25-Nov-02
                                                                                                                                                                                                               A COMMUNICATION SWITCH
                                                                                                                                                                                                               Method For Distributing Aggregate Route
137538     137538-US-NP           US7742459                    10/350423                     20030137974                   us                        22-Jun-10            29-Nov-28               24-Jan-03
                                                                                                                                                                                                             Information
137549     137549-US-CNT          US7146451                    11/181843                     20060015672                   us                        5-Dec-06                15-Jul-25             15-Jul-05 PCI Brid e and Data Transfer Methods
                                                                                                                                                                                                               Method And Apparatus For Redundant Signaling
137558     137558-US-NP           US9332037                    10/397959                     20040042485                   us                        3-May-16               29-Jan-28            26-Mar-03
                                                                                                                                                                                                               Links
                                                                                                                                                                                                            Stackable Virtual Local Area Network Provisioning In
137570     137570-DE-EPA          EP1398920                    03300091.0                     EP1398920                    DE                       18-Mar-15              19-Aug-23              19-Aug-03
                                                                                                                                                                                                            Bridged Networks
                                                                                                                                                                                                               Stackable Virtual Local Area Network Provisioning In
137570     137570-FR-EPA          EP1398920                    03300091.0                     EP1398920                    FR                       18-Mar-15              19-Aug-23              19-Aug-03
                                                                                                                                                                                                               Bridged Networks
                                                                                                                                                                                                               Stackable Virtual Local Area Network Provisioning In
137570     137570-GB-EPA          EP1398920                    03300091.0                     EP1398920                   GB                        18-Mar-15              19-Aug-23              19-Aug-03
                                                                                                                                                                                                               Brid ed Networks
                                                                                                                                                                                                               Stackable Virtual Local Area Network Provisioning In
137570     137570-US-NP           US7453888                    10/227863                     20040042454                   us                       18-Nov-08                3-Feb-25             27-Aug-02
                                                                                                                                                                                                               Brid ed Networks
137597     137597-US-NP           US7636307                    10/386651                     20040179473                   us                       22-Dec-09                7-Jun-28             13-Mar-03 Random Earl          Packet Discard /REDl

                                                                                                                                                                                                               Software Configurable Cluster-Based Router Using
137603     137603-US-NP           US7436775                    10/625667                     20050018665                   us                       14-Oct-08                6-Jan-26              24-Jul-03
                                                                                                                                                                                                               Stock Personal Computers as Cluster Nodes


                                                                                                                                                                                                               Software Configurable Cluster-Based Router Using
137603     137603-DE-EPA          EP1501247                    04300407.6                     EP1501247                    DE                        7-May-08              29-Jun-24              29-Jun-04 Stock Personal Computers as Cluster Nodes



                                                                                                                                                                                                               Software Configurable Cluster-Based Router Using
137603     137603-FR-EPA          EP1501247                    04300407.6                     EP1501247                    FR                        7-May-08              29-Jun-24              29-Jun-04 Stock Personal Computers as Cluster Nodes



                                                                                                                                                                                                               Software Configurable Cluster-Based Router Using
137603     137603-GB-EPA          EP1501247                    04300407.6                     EP1501247                   GB                         7-May-08              29-Jun-24              29-Jun-04 Stock Personal Computers as Cluster Nodes


137616     137616-US-NP           US7420983                    10/386702                     20040179533                   us                        2-Seo-08              19-Jun-26              13-Mar-03 Dvnamic Assignment of Re-Assembl            Queues
                                                                                                                                                                                                               Dynamic Soft Permanent Virtual Orcuit Bulk
137630     137630-US-NP           US6778504                    10/318035                     20040114580                   us                       17-Aug-04              13-Dec-22              13-Dec-02
                                                                                                                                                                                                               Connection Tracing

                                                                                                                                                                                                               Aggregated Early Message Discard For Segmented
137684     137684-US-NP           US7324451                    10/696033                     20050094668                   us                        29-Jan-08              31-Jan-26             30-Oct-03
                                                                                                                                                                                                               Message Traffic in a Communications Network

137688     137688-US-NP           US7209530                    10/670304                     20050071704                   us                       24-Anr-07              13-Oct-25              26-Sen-03 Multi-ShelfSvstem Clock Svnchronization
                                                                                                                                                                                                               Network Service Level Agreement Arrival-Curve-
137689     137689-US-NP           US7680922                    10/696034                     20050097206                   us                       16-Mar-10              29-Oct-27              30-Oct-03
                                                                                                                                                                                                               Based Conformance Checking
137692     137692-US-CIP          US7619966                    10/724775                     20040174887                   us                       17-Nov-09                1-Jun-27              2-Dec-03 Hvbrid Virtual Private LAN Extensions
                                                                                                                                                                                                               Providing Emulated VPLS-Services Over Native ATM
137710     137710-DE-EPA          EP1542412                    04300868.9                     EP1542412                    DE                        13-Jun-12               9-Dec-24              9-Dec-04
                                                                                                                                                                                                               Networks
                                                                                                                                                                                                               Providing Emulated VPLS-Services Over Native ATM
137710     137710-FR-EPA          EP1542412                    04300868.9                     EP1542412                    FR                        13-Jun-12               9-Dec-24              9-Dec-04
                                                                                                                                                                                                               Networks
                                                                                                                                                                                                               Providing Emulated VPLS-Services Over Native ATM
137710     137710-GB-EPA          EP1542412                    04300868.9                     EP1542412                   GB                         13-Jun-12               9-Dec-24              9-Dec-04
                                                                                                                                                                                                               Networks
                                                                                                                                                                                                               Providing VPLS-Like Service Over Native ATM
137710     137710-US-NP           US7733869                    10/731091                     20050129024                   us                         8-Jun-10            27-Mar-27               10-Dec-03
                                                                                                                                                                                                               Networks
137725     137725-US-NP           US8732332                    10/715425                     20050108428                   us                       20-Mav-14              19-Nov-23              19-Nov-03 Content Switching With User-Defined Policies
                                                                                                                                                                                                               Redundant Memory Architecture With
137728     137728-US-NP           US7020032                    10/810808                     20050162944                   us                       28-Mar-06             27-May-24              29-Mar-04
                                                                                                                                                                                                               Defragmentation Capability
                                                                                                                                                                                                               Software Configurable Cluster-Based Router Using
137744     137744-US-NP           US7483998                    10/712104                     20050108425                   us                        27-Jan-09            29-Mar-26               14-Nov-03
                                                                                                                                                                                                               Hetero11:eneous Nodes As Cluster Nodes

                                  ZL201110234042                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-CN-DIV                                       201110234042.8                CN102281198A                  CN                        15-Jul-15              5-Aug-25              16-Aug-11
                                  .8                                                                                                                                                                           Differentiated Restricted Transit Network Nodes


                                  ZL200510089187                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-CN-NP                                        200510089187.8                CN1735066                     CN                       19-Oct-11               5-Aug-25               5-Aug-05
                                  .8                                                                                                                                                                           Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-DE-EPT          EP1779616                    05825756.9                     EP1779616                    DE                        29-Jun-11              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-ES-EPT          EP1779616                    05825756.9                     EP1779616                    ES                        29-Jun-11              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-FR-EPT          EP1779616                    05825756.9                     EP1779616                    FR                        29-Jun-11              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-GB-EPT          EP1779616                    05825756.9                     EP1779616                   GB                         29-Jun-11              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-IN-PCT          IN258507                     864/DELNP/2007                                              IN                        16-Jan-14              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-IT-EPT          EP1779616                    05825756.9                     EP1779616                    IT                        29-Jun-11              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                               MX/a/2007/00142                                                                                                                                 Forwarding Of Network Traffic In Respect Of
137748     137748-MX-PCT          MX273432                                                                                 MX                        18-Jan-10              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-RU-PCT          RU2358399                    2007108546                                                  RU                        10-Jun-09              8-Aug-25               8-Aug-05
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes


                                                                                                                                                                                                               Forwarding Of Network Traffic In Respect Of
137748     137748-US-NP           US7729261                    10/914170                     20060034171                   us                         1-Jun-10             18-Jun-27              10-Aug-04
                                                                                                                                                                                                               Differentiated Restricted Transit Network Nodes

137760     137760-US-NP           US7756998                    10/775214                     20050188106                   us                        13-Jul-10             17-Aui;,:-27           11-Feb-04 Mana ini;,: L3 VPN Virtual Routini;,: Tables
137773     137773-US-NP           US7835397                    10/831719                     20040213284                   us                       16-Nov-10             19-Mar-28               23-Aor-04 Frame Processing
137777     137777-US-NP           US8848587                    10/831245                     20040215961                   us                       30-Seo-14             20-Nov-29               23-Aor-04 Multicasting Network Packets
137783     137783-US-NP           US7352699                    10/740720                     20040213261                   us                         1-Apr-08               4-Jan-24             18-Dec-03 Switch Fabric Access Scheduler
                                                                                                                                                                                                               Network Fabric Access Device With Multiple System
137784     137784-US-NP           US7095713                    10/831711                                                   us                       22-Aug-06              23-Apr-24              23-Apr-04
                                                                                                                                                                                                               Side Interfaces
                                                                                                                                                                                                               Network Fabric Access Device With Multiple System
137784     137784-DE-EPD          EP1835673                    07110361.8                     EP1835673                    DE                        15-Jun-11             15-Jun-27              15-Jun-07
                                                                                                                                                                                                               Side Interfaces
                                                                                                                                                                                                               Network Fabric Access Device With Multiple System
137784     137784-FR-EPD          EP1835673                    07110361.8                     EP1835673                    FR                        15-Jun-11             15-Jun-27              15-Jun-07
                                                                                                                                                                                                               Side Interfaces
                                                                                                                                                                                                               Network Fabric Access Device With Multiple System
137784     137784-GB-EPD          EP1835673                    07110361.8                     EP1835673                   GB                         15-Jun-11             15-Jun-27              15-Jun-07
                                                                                                                                                                                                               Side Interfaces
                                                                                                                                                                                                               Using Network Transport Tunnels To Provide Service-
137797     137797-US-NP           US8098649                    10/833489                     20050013295                   us                        17-Jan-12             19-Sep-28              27-Apr-04
                                                                                                                                                                                                               Based DataTransnort




                                                                                                       Page 32 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0173
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 40 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                  :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                           Enhancement Of VRRP Interface And Router
                                                                                                                                                                                                           Selection Where An Non-Owner Router Is Configured
137799     137799-US-NP           US7716366                    10/833748          20040215821                 us                                11-May-10                2-Apr-27             27-Apr-04 To Respond To Control And Management Messages
                                                                                                                                                                                                           Addressed To An Address Associated With The Virtual
                                                                                                                                                                                                           Redundant Router

137800     137800-US-NP           US7508774                    10/833822          20040252634                 us                                24-Mar-09             26-Mav-26               27-Anr-04 Extensions To The 5 annin11: Tree Protocol
137823     137823-US-NP           US8190731                    10/866812          20050276275                 us                                29-Mav-12              19-Dec-31              15-Jun-04 Network Statistics Processin11: Device

137823     137823-DE-EPT          EP1774704                    05782509.3         EP1774704                   DE                                16-Dec-09              15-Jun-25              15-Jun-05 Improved Network Statistics Processing Device


137823     137823-FR-EPT          EP1774704                    05782509.3         EP1774704                   FR                                16-Dec-09              15-Jun-25              15-Jun-05 Improved Network Statistics Processing Device


137823     137823-GB-EPT          EP1774704                    05782509.3         EP1774704                   GB                                16-Dec-09              15-Jun-25              15-Jun-05 Improved Network Statistics Processing Device

137829     137829-US-NP           US7423974                    10/837225          20050243839                 us                                 9-Sen-08                2-Oct-26             30-Anr-04 Disablin11:Mutuall       Recursive Routes

                                                                                                                                                                                                           Full Mesh LSP and Full Mesh T-LDP Provisioning
137850     137850-US-NP           US7436782                    10/808365          20050210649                 us                                14-Oct-08               20-Jul-26            25-Mar-04 Between Provider Edge Routers In Support of Layer-2
                                                                                                                                                                                                           and Layer-3 Virtual Private Network Services


                                                                                                                                                                                                           Interworking Network Maps Of Network
137856     137856-US-NP           US7590072                    10/798412          20050201299                 us                                15-Sep-09               2-May-27              12-Mar-04
                                                                                                                                                                                                           Management and Element Management Systems


                                                                                                                                                                                                           Architecture For Configuration And Management Of
137866     137866-US-NP           US8204973                    10/903445          20050262232                 us                                 19-Jun-12             20-Sep-27               30-Jul-04
                                                                                                                                                                                                           Cross-Domain Network Services


137872     137872-US-NP           US7428663                    10/857826          20050278147                 us                                23-Sep-08              30-Dec-25               1-Jun-04 Electronic Device Diagnostic Methods and Systems


137884     137884-US-NP           US8379509                    11/117788          20050243712                 us                                19-Feb-13                8-Sep-30             29-Apr-05 Electronic Device Protection Systems And Methods

137887     137887-US-NP           US7489642                    10/834129          20050243731                 us                                10-Feb-09              23-A r-26              29-Anr-04 Silent Datanath Failure Detection
                                                                                                                                                                                                           Access Systems And Methods For A Shared
137895     137895-US-NP           US7742497                    10/861519          20050271076                 us                                 22-Jun-10             22-Apr-29               4-Jun-04
                                                                                                                                                                                                        Communication Medium
137895     137895-DE-EPA          EP1603283                    05300441.2         EP1603283                   DE                                  1-Seo-10               1-Jun-25              1-Jun-05 Access To A Shared Communication Medium
137895     137895-FR-EPA          EP1603283                    05300441.2         EP1603283                   FR                                  1-Seo-10               1-Jun-25              1-Jun-05 Access To A Shared Communication Medium
137895     137895-GB-EPA          EP1603283                    05300441.2         EP1603283                   GB                                  1-Seo-10               1-Jun-25              1-Jun-05 Access To A Shared Communication Medium
                                  ZL200510102416
137899     137899-CN-NP                                        200510102416.5     1747503                     CN                                14-Dec-11                6-Sep-25              6-Sep-05 Lawful Intercept of Traffic Connections
                                  .5
137899     137899-DE-EPA          EP1633119                    05300720.9         EP1633119                   DE                                11-Nov-09                7-Se -25              7-Sen-05 Lawful lntercent of Traffic Connections
137899     137899-FR-EPA          EP1633119                    05300720.9         EP1633119                   FR                                11-Nov-09                7-Se -25              7-Sen-05 Lawful lntercent of Traffic Connections
137899     137899-GB-EPA          EP1633119                    05300720.9         EP1633119                   GB                                11-Nov-09                7-Se -25              7-Sen-05 Lawful lntercent of Traffic Connections
137899     137899-US-NP           US7460484                    10/934509          20060050644                 us                                 2-Dec-08                8-Se -26              7-Seo-04 Lawful lnterceot Of Traffic Connections
                                                                                                                                                                                                           Address Error And Address Detection Systems And
137902     137902-US-NP           US7418636                    11/024119          20060156154                 us                                26-Aug-08              23-Jun-26              22-Dec-04
                                                                                                                                                                                                           Methods
137908     137908-US-NP           US7590053                    11/156566          20060285486                 us                                15-Seo-09             29-Mar-27               21-Jun-05 Multiole Endooint Protection Using SPVCs
                                  ZL200510113218                                                                                                                                                           Cookie-Based Mechanism Providing Lightweight
137912     137912-CN-NP                                        200510113218.9     1750456                     CN                                  2-Jun-10             14-Sep-25              14-Sep-05
                                  .9                                                                                                                                                                       Authentication Of Laver-2 Frames
                                                                                                                                                                                                           Cookie-Based Mechanism Providing Lightweight
137912     137912-US-NP           US7685420                    10/939378          20060056402                 us                                23-Mar-10               21-Jan-29             14-Sep-04
                                                                                                                                                                                                           Authentication Of Laver-2 Frames
137916     137916-US-NP           US7549078                    11/345259          20070180311                 us                                 16-Jun-09             12-Feb-27              31-Jan-06 Redundancv In Routini;,: Devices
                                                                                                                                                                                                           Communication Traffic Policing Apparatus and
137922     137922-US-NP           US7609634                    11/086535          20060215558                 us                                27-Oct-09               24-Jan-28            22-Mar-05
                                                                                                                                                                                                           Methods

                                                                                                                                                                                                           Jitter Controlled WFQ Algorithm On Network
137934     137934-DE-EPA          EP1684475                    06300016.0         EP1684475                   DE                                31-Dec-08                9-Jan-26              9-Jan-06
                                                                                                                                                                                                           Processors and Latency Contstrained Hardware


                                                                                                                                                                                                           Jitter Controlled WFQ Algorithm On Network
137934     137934-FR-EPA          EP1684475                    06300016.0         EP1684475                   FR                                31-Dec-08                9-Jan-26              9-Jan-06
                                                                                                                                                                                                           Processors and Latency Contstrained Hardware


                                                                                                                                                                                                           Jitter Controlled WFQ Algorithm On Network
137934     137934-GB-EPA          EP1684475                    06300016.0         EP1684475                   GB                                31-Dec-08                9-Jan-26              9-Jan-06
                                                                                                                                                                                                           Processors and Latency Contstrained Hardware

                                                                                                                                                                                                           Jitter Controlled WFQ Algorithm On Network
137934     137934-US-NP           US7414972                    11/032074          20060153071                 us                                19-Aug-08              30-Oct-26              11-Jan-05
                                                                                                                                                                                                           Processors and Latencv Constrained Hardware
                                                                                                                                                                                                           Protection For Wireless Devices Against False Access-
137938     137938-US-NP           US7783756                    11/143620          20060274643                 us                                24-Aug-10                7-Jun-29              3-Jun-05
                                                                                                                                                                                                           Point Attacks
                                                                                                                                                                                                           Protection For Wireless Devices Against False Access-
137938     137938-DE-EPT          EP1891791                    06795276.2         EP1891791                   DE                                21-Oct-09                2-Jun-26              2-Jun-06
                                                                                                                                                                                                           Point Attacks
                                                                                                                                                                                                           Protection For Wireless Devices Against False Access-
137938     137938-FR-EPT          EP1891791                    06795276.2         EP1891791                   FR                                21-Oct-09                2-Jun-26              2-Jun-06
                                                                                                                                                                                                           Point Attacks
                                                                                                                                                                                                           Protection For Wireless Devices Against False Access-
137938     137938-GB-EPT          EP1891791                    06795276.2         EP1891791                   GB                                21-Oct-09                2-Jun-26              2-Jun-06
                                                                                                                                                                                                        Point Attacks
137941     137941-DE-EPT          EP1927222                    06831816.1         EP1927222                   DE                                15-Dec-10              12-Se -26              12-Sen-06 Low Latencv, Workini;,: VPLS
137941     137941-FR-EPT          EP1927222                    06831816.1         EP1927222                   FR                                15-Dec-10              12-Se -26              12-Sen-06 Low Latencv. Workini;,: VPLS
137941     137941-GB-EPT          EP1927222                    06831816.1         EP1927222                   GB                                15-Dec-10              12-Se -26              12-Seo-06 Low Latencv, Workini;,: VPLS
137941     137941-US-NP           US7619992                    11/224057          20070058622                 us                                17-Nov-09             28-Mav-28               13-Seo-05 Low Latencv Workini;,: VPLS
                                                                                                                                                                                                           Credit-Based Rate Control For High-Speed Serial
137954     137954-US-NP           US7898956                    11/519559          20080062873                 us                                 1-Mar-11              23-Dec-29              12-Sep-06
                                                                                                                                                                                                           Interfaces
                                  ZL200610126516                                                                                                                                                           Method And System Of Multicast Host Authorization,
137958     137958-CN-NP                                        200610126516.6     1925412                     CN                                22-May-13              25-Aug-26              25-Aug-06
                                  .6                                                                                                                                                                       Trackin,::, And Accountin,::,
                                                                                                                                                                                                           Multicast Host Authorization Tracking, And
137958     137958-US-NP           US8503446                    11/212870          20070047545                 us                                 6-Aug-13               8-Nov-28              29-Aug-05
                                                                                                                                                                                                           Accountin11:
                                                                                                                                                                                                           Resiliency In Minimum Cost Tree-Based VPLS
137961     137961-US-NP           US7719957                    11/212661          20070047556                 us                                18-May-10              11-Aug-27              29-Aug-05
                                                                                                                                                                                                           Architecture
                                                                                                                                                                                                           Mechanism To Avoid Expensive Double-Encryption In
137970     137970-DE-EPA          EP1758310                    06300882.5         EP1758310                   DE                                20-Apr-11              17-Aug-26              17-Aug-06
                                                                                                                                                                                                           Mobile Networks
                                                                                                                                                                                                           Mechanism To Avoid Expensive Double-Encryption In
137970     137970-FR-EPA          EP1758310                    06300882.5         EP1758310                   FR                                20-Apr-11              17-Aug-26              17-Aug-06
                                                                                                                                                                                                           Mobile Networks
                                                                                                                                                                                                           Mechanism To Avoid Expensive Double-Encryption In
137970     137970-GB-EPA          EP1758310                    06300882.5         EP1758310                   GB                                20-Apr-11              17-Aug-26              17-Aug-06
                                                                                                                                                                                                           Mobile Networks
                                                                                                                                                                                                           Mechanism To Avoid Expensive Double-Encryption In
137970     137970-US-NP           US7613920                    11/207801          20070043940                 us                                 3-Nov-09                3-Sep-28             22-Aug-05
                                                                                                                                                                                                           Mobile Networks
                                                                                                                                                                                                           A Parallel Hardware Runtime Machine For Functional
137978     137978-US-NP           US7613753                    11/604722          20080126453                 us                                 3-Nov-09                16-Jul-27            28-Nov-06
                                                                                                                                                                                                           Programs
                                                                                                                                                                                                           Communication Network Connection Failure
137981     137981-US-NP           US8730814                    11/137147          20060268680                 us                                20-May-14                15-Jul-29           25-May-05
                                                                                                                                                                                                           Protection Methods And Svstems
                                                                                                                                                                                                           Communication Network Connection Failure
137981     137981-EP-EPT                                       06765612.4         EP1889401                   EP                                                      22-May-26              22-May-06
                                                                                                                                                                                                           Protection Methods And Svstems
                                                                                                                                                                                                           BRACKET ASSEMBLY USED TO CONNECT A PLUG-IN
139037     139037-US-NP           US7102895                    10/186418                                      us                                 5-Sep-06                12-Jul-24              1-Jul-02
                                                                                                                                                                                                           CARD TO A BACKPLANE

139070     139070-DE-EPA          EP1429519                    03026026.9         EP1429519                   DE                                 2-Aug-06              12-Nov-23              12-Nov-03 GRAPHICAL PROXY FOR LESS CAPABLE TERMINALS




                                                                                          Page 33 of 149
                                                                                                                                                                             PATENT
                                                                                                                                                                     REEL: 044000 FRAME: 0174
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 41 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
139070     139070-FR-EPA          EP1429519                    03026026.9                     EP1429519                    FR                        2-Aug-06              12-Nov-23              12-Nov-03 GRAPHICAL PROXY FOR LESS CAPABLE TERMINALS


139070     139070-GB-EPA          EP1429519                    03026026.9                     EP1429519                   GB                         2-Aug-06              12-Nov-23              12-Nov-03 GRAPHICAL PROXY FOR LESS CAPABLE TERMINALS


139070     139070-US-NP           US7110763                    10/317447                     20040114603                   us                       19-Sep-06                4-Apr-24             12-Dec-02 GRAPHICAL PROXY FOR LESS CAPABLE TERMINALS

                                                                                                                                                                                                               METHOD AND SYSTEM FOR PATH PROTECTION IN A
139074     139074-US-NP           US6992978                    09/324454                                                   us                        31-Jan-06               2-Jun-19              2-Jun-99
                                                                                                                                                                                                               COMMUNICATIONS NETWORK
                                                                                                                                                                                                               METHOD AND APPARATUS FOR IMPLEMENTING A
139078     139078-US-NP           US6973178                    10/320290                                                   us                        6-Dec-05              27-Aug-23              16-Dec-02 BANDLIMITED RINGING SIGNAL FOR TELEPHONE
                                                                                                                                                                                                               NETWORKS

                                                                                                                                                                                                               APPARATUS, AND ASSOCIATED METHOD, FOR
139082     139082-DE-EPA          EP1517525                    04020718.5                     EP1517525                    DE                        9-Apr-08                1-Sep-24              1-Sep-04 SELECTABLY AND AUTOMATICALLY REDIRECTING A
                                                                                                                                                                                                               TELEPHONIC CALL TO A SECONDARY LOCATION

                                                                                                                                                                                                               Apparatus, And An Associated Method, For Selectably
139082     139082-US-NP           US7460658                    10/663881                     20050058269                   us                        2-Dec-08              27-Dec-26              16-Sep-03 And Automatically Redirecting A Telephonic Call To A
                                                                                                                                                                                                               Secondarv Location
                                                                                                                                                                                                               POWER CONTROL CIRCUIT FOR LASER DIODE
139086     139086-US-CIP          US6826210                    10/213278                     20030026305                   us                       30-Nov-04               6-Aug-22               6-Aug-02
                                                                                                                                                                                                               HAVING WAVELENGTH COMPENSATION
                                                                                                                                                                                                               ASSEMBLY, AND ASSOCIATED METHOD, FOR
139102     139102-DE-EPA          EP1494412                    04015542.6                     EP1494412                    DE                       30-Aug-06                 1-Jul-24              1-Jul-04 TELEPHONIC CALL CONNECTION WITH A VIRTUALLY-
                                                                                                                                                                                                               RESIDENT TELEPHONIC STATION
                                                                                                                                                                                                               ASSEMBLY, AND ASSOCIATED METHOD, FOR
139102     139102-FR-EPA          EP1494412                    04015542.6                     EP1494412                    FR                       30-Aug-06                 1-Jul-24              1-Jul-04 TELEPHONIC CALL CONNECTION WITH A VIRTUALLY-
                                                                                                                                                                                                               RESIDENT TELEPHONIC STATION
                                                                                                                                                                                                               ASSEMBLY, AND ASSOCIATED METHOD, FOR
139102     139102-GB-EPA          EP1494412                    04015542.6                     EP1494412                   GB                        30-Aug-06                 1-Jul-24              1-Jul-04 TELEPHONIC CALL CONNECTION WITH A VIRTUALLY-
                                                                                                                                                                                                               RESIDENT TELEPHONIC STATION
                                                                                                                                                                                                               ASSEMBLY, AND ASSOCIATED METHOD, FOR
139102     139102-IT-EPA          EP1494412                    04015542.6                     EP1494412                    IT                       30-Aug-06                 1-Jul-24              1-Jul-04 TELEPHONIC CALL CONNECTION WITH A VIRTUALLY-
                                                                                                                                                                                                               RESIDENT TELEPHONIC STATION
                                                                                                                                                                                                               ASSEMBLY, AND ASSOCIATED METHOD, FOR
139102     139102-US-NP           US7706519                    10/612471                     20050002378                   us                       27-Apr-10               5-Nov-27                2-Jul-03 TELEPHONIC CALL CONNECTION WITH A VIRTUALLY-
                                                                                                                                                                                                               RESIDENT TELEPHONIC STATION
                                                                                                                                                                                                               ASSEMBLY, AND ASSOCIATED METHOD, FOR
139102     139102-CN-NP           ZL10062418.1                 200410062418.1                1578529                       CN                        23-Jun-10                2-Jul-24              2-Jul-04 TELEPHONIC CALL CONNECTION WITH A VIRTUALLY-
                                                                                                                                                                                                               RESIDENT TELEPHONIC STATION

                                                                                                                                                                                                               NETWORK MONITORING SYSTEM RESPONSIVE TO
139106     139106-US-NP           US7242668                    10/412127                     20040090923                   us                        10-Jul-07               5-Jan-26             11-Apr-03
                                                                                                                                                                                                               CHANGES IN PACKET ARRIVAL VARIANCE AND MEAN

                                                                                                                                                                                                               DISTRIBUTED AND DISJOINT FORWARDING AND
139133     139133-DE-EPA          EP1511238                    04018217.2                     EP1511238                    DE                       23-Feb-11               31-Jul-24              31-Jul-04
                                                                                                                                                                                                               ROUTING SYSTEM AND METHOD
                                                                                                                                                                                                               DISTRIBUTED AND DISJOINT FORWARDING AND
139133     139133-FR-EPA          EP1511238                    04018217.2                     EP1511238                    FR                       23-Feb-11               31-Jul-24              31-Jul-04
                                                                                                                                                                                                               ROUTING SYSTEM AND METHOD
                                                                                                                                                                                                               DISTRIBUTED AND DISJOINT FORWARDING AND
139133     139133-GB-EPA          EP1511238                    04018217.2                     EP1511238                   GB                        23-Feb-11               31-Jul-24              31-Jul-04
                                                                                                                                                                                                               ROUTING SYSTEM AND METHOD
                                                                                                                                                                                                               DISTRIBUTED AND DISJOINT FORWARDING AND
139133     139133-US-NP           US7606140                    10/651134                     20050050136                   us                       20-Oct-09              10-Jun-27              28-Aug-03
                                                                                                                                                                                                               ROUTING SYSTEM AND METHOD
                                                                                                                                                                                                               MULTI-TIME SCALE ADAPTIVE INTERNET PROTOCOL
139137     139137-US-NP           US7889644                    10/645257                     20050041583                   us                       15-Feb-11              19-Oct-26              21-Aug-03
                                                                                                                                                                                                               ROUTING SYSTEM AND METHOD

                                                                                                                                                                                                               METHOD FOR FORMING A BACK-DRILLED PLATED
139149     139149-US-DIV          US7337537                    11/354526                                                   us                        4-Mar-08             26-Mar-24               15-Feb-06 THROUGH HOLE IN A PRINTED CIRCUIT BOARD AND
                                                                                                                                                                                                               THE RESULTING PRINTED CIRCUIT BOARD

                                                                                                                                                                                                               SYSTEM AND METHOD FOR IMPLEMENTING RMII
139171     139171-US-NP           US7451243                    10/655463                     20050021753                   us                       11-Nov-08              14-Apr-26               4-Sep-03
                                                                                                                                                                                                               ETHERNET RESET
                                                                                                                                                                                                               SYSTEM AND METHOD FOR DISCOVERING
139195     139195-DE-EPA          EP1551125                    04029619.6                     EP1551125                    DE                       13-Feb-13              15-Dec-24              15-Dec-04 WAVELENGTHS IN NETWORK ELEMENTS HAVING AN
                                                                                                                                                                                                               OPTICAL ARCHITECTURE
                                                                                                                                                                                                               SYSTEM AND METHOD FOR DISCOVERING
139195     139195-FR-EPA          EP1551125                    04029619.6                     EP1551125                    FR                       13-Feb-13              15-Dec-24              15-Dec-04 WAVELENGTHS IN NETWORK ELEMENTS HAVING AN
                                                                                                                                                                                                               OPTICAL ARCHITECTURE
                                                                                                                                                                                                               SYSTEM AND METHOD FOR DISCOVERING
139195     139195-GB-EPA          EP1551125                    04029619.6                     EP1551125                   GB                        13-Feb-13              15-Dec-24              15-Dec-04 WAVELENGTHS IN NETWORK ELEMENTS HAVING AN
                                                                                                                                                                                                               OPTICAL ARCHITECTURE
                                                                                                                                                                                                               SYSTEM AND METHOD FOR DISCOVERING
139195     139195-US-NP           US7650073                    10/750123                     20050141437                   us                        19-Jan-10             28-Aug-25              29-Dec-03 WAVELENGTHS IN NETWORK ELEMENTS HAVING AN
                                                                                                                                                                                                               OPTICAL ARCHITECTURE
                                                                                                                                                                                                               WIDEBAND CROSS-CONNECT SYSTEM AND
139215     139215-US-NP           US7602701                    10/743592                                                   us                       13-Oct-09                1-Dec-27             22-Dec-03 PROTECTION METHOD UTILIZING SONET ADD/DROP
                                                                                                                                                                                                               MUTLIPLEXERS
139217     139217-US-NP           US7565357                    11/026452                     20060149752                   us                        21-Jul-09             13-Nov-26              30-Dec-04 MULTI-SENSOR COMMUNICATION SYSTEM
139217     139217-EP-EPA                                       05028327.4                     EP1677481                    EP                                              23-Dec-25              23-Dec-05 MULTI-SENSOR COMMUNICATION SYSTEM

                                                                                                                                                                                                               OPTICAL NETWORK TERMINATION APPARATUS WITH
139225     139225-US-NP           US7613395                    10/990157                     20060104637                   us                        3-Nov-09             12-Mar-28               16-Nov-04 SHARED COMPONENTS AND PASSIVE OPTICAL
                                                                                                                                                                                                               NETWORK SYSTEM COMPRISING SAME


                                                                                                                                                                                                               METHOD AND DEVICE FOR CONTROL AND
                                                                                                                                                                                                               COMPATIBLE DELIVERY OF DIGITALLY COMPRESSED
139228     139228-CN-NP           ZL00100307.0                 00100307                      1263421                       CN                        16-Jun-04              14-Jan-20             14-Jan-00 VISUAL DATA IN A HETEROGENEOUS
                                                                                                                                                                                                               COMMUNICATION NETWORK **RECEVIED FROM
                                                                                                                                                                                                               PACKET VIDEO CORPORATION**


                                                                                                                                                                                                               METHOD AND DEVICE FOR CONTROL AND
                                                                                                                                                                                                               COMPATIBLE DELIVERY OF DIGITALLY COMPRESSED
139228     139228-HK-NP           HK1027704                    00106854.2                    1027704A                      HK                         1-Apr-05              14-Jan-20             14-Jan-00 VISUAL DATA IN A HETEROGENEOUS
                                                                                                                                                                                                               COMMUNICATION NETWORK **ACQUIRED FROM
                                                                                                                                                                                                               PACKET VIDEO CORPORATION**


                                                                                                                                                                                                               METHOD AND DEVICE FOR CONTROL AND
                                                                                                                                                                                                               COMPATIBLE DELIVERY OF DIGITALLY COMPRESSED
139228     139228-US-NP           US6498865                    09/248462                                                   us                       24-Dec-02               22-Jan-19             22-Jan-99 VISUAL DATA IN A HETEROGENEOUS
                                                                                                                                                                                                               COMMUNICATION NETWORK **RECEVIED FROM
                                                                                                                                                                                                               PACKET VIDEO CORPORATION**

                                                                                                                                                                                                               AVAILABILITY AWARE COST MODELING FOR OPTICAL
139233     139233-US-NP           US7646730                    10/926818                     20050113098                   us                        12-Jan-10            21-Nov-26               26-Aug-04
                                                                                                                                                                                                               CORE NETWORKS




                                                                                                       Page 34 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0175
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 42 of 156
                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW                 liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                     :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                              SYSTEM AND METHOD FOR IMPLEMENTING FLOW
139235     139235-US-NP              US7760637                    10/865432                                      us                                 20-Jul-10              1-May-27              10-Jun-04 CONTROL WITH DYNAMIC LOAD BALANCING FOR
                                                                                                                                                                                                              SINGLE CHANNELIZED INPUT TO MULTIPLE OUTPUTS

                                                                                                                                                                                                              SCALABLE VLAN GROUPING IN A PROVIDER METRO
139237     139237-DE-EPA             EP1628441                    05016837.6         EP1628441                   DE                                16-Apr-08               3-Aug-25               3-Aug-05
                                                                                                                                                                                                              ETHERNET
                                                                                                                                                                                                              SCALABLE VLAN GROUPING IN A PROVIDER METRO
139237     139237-FR-EPA             EP1628441                    05016837.6         EP1628441                   FR                                16-Apr-08               3-Aug-25               3-Aug-05
                                                                                                                                                                                                              ETHERNET
                                                                                                                                                                                                              SCALABLE VLAN GROUPING IN A PROVIDER METRO
139237     139237-GB-EPA             EP1628441                    05016837.6         EP1628441                   GB                                16-Apr-08               3-Aug-25               3-Aug-05
                                                                                                                                                                                                              ETHERNET
                                                                                                                                                                                                              SCALABLE VLAN GROUPING IN A PROVIDER METRO
139237     139237-US-NP              US7408936                    10/922602          20060039383                 us                                 5-Aug-08               4-Aug-26              20-Aug-04
                                                                                                                                                                                                              ETHERNET

                                                                                                                                                                                                              557 TELECOMMUNICATIONS NODE AND METHOD
139284     139284-US-NP              US7835513                    11/271289          20060115069                 us                                16-Nov-10               8-May-28              12-Nov-05
                                                                                                                                                                                                              FOR SYNTHETIC GLOBAL TITLE TRANSLATION


                                                                                                                                                                                                              SYSTEM AND METHOD FOR LEVERAGING END-USERS'
139285     139285-US-NP              US7921193                    10/967385          20060095560                 us                                 5-Apr-11                3-Feb-30             16-Oct-04
                                                                                                                                                                                                              PREFERENCES FOR EFFICIENT COMMUNICATIONS

                                                                                                                                                                                                              HEAT DISSIPATION SYSTEM FOR MULTIPLE
139313     139313-CN-NP              ZL10114118.8                 200510114118.8                                 CN                                10-Nov-10              17-Oct-25              17-Oct-05 INTEGRATED CIRCUITS MOUNTED ON A PRINTED
                                                                                                                                                                                                              CIRCUIT BOARD
                                                                                                                                                                                                           HEAT DISSIPATION SYSTEM FOR MULTIPLE
139313     139313-DE-EPA             EP1648213                    05022017.7         EP1648213                   DE                                26-Nov-08              10-Oct-25              10-Oct-05 INTEGRATED CIRCUITS MOUNTED ON A PRINTED
                                                                                                                                                                                                              CIRCUIT BOARD
                                                                                                                                                                                                              HEAT DISSIPATION SYSTEM FOR MULTIPLE
139313     139313-FR-EPA             EP1648213                    05022017.7         EP1648213                   FR                                26-Nov-08              10-Oct-25              10-Oct-05 INTEGRATED CIRCUITS MOUNTED ON A PRINTED
                                                                                                                                                                                                              CIRCUIT BOARD
                                                                                                                                                                                                           HEAT DISSIPATION SYSTEM FOR MULTIPLE
139313     139313-GB-EPA             EP1648213                    05022017.7         EP1648213                   GB                                26-Nov-08              10-Oct-25              10-Oct-05 INTEGRATED CIRCUITS MOUNTED ON A PRINTED
                                                                                                                                                                                                              CIRCUIT BOARD
                                                                                                                                                                                                              HEAT DISSIPATION SYSTEM FOR MULTIPLE
139313     139313-US-NP              US7502229                    11/157667          20060082974                 us                                10-Mar-09              12-Nov-26              21-Jun-05 INTEGRATED CIRCUITS MOUNTED ON A PRINTED
                                                                                                                                                                                                              CIRCUIT BOARD
139355     139355-US-PCT             US7616648                    10/510436          20050232282                 us                                10-Nov-09              26-Feb-26              10-Aor-03 INTERNET AUDIO GATEWAY
                                                                                                                                                                                                              Restrictive And Preferential Routing In A Distributed
139381     139381-US-PCT             US8103279                    10/599893          20110104462                 us                                 24-Jan-12              10-Jan-26             21-Apr-05 Mobile Switching Center Environment With Media
                                                                                                                                                                                                           GatewavClusters
                                                                                                                                                                                                              CLUSTERING CALL SERVERS TO PROVIDE
139394     139394-JP-NP              JP4560506                    2006304842                                    JP                                  30-Jul-10             10-Nov-26              10-Nov-06
                                                                                                                                                                                                              PROTECTION AGAINST CALL SERVER FAILURE
                                                                                                                                                                                                              Clustering Call Servers To Provide Protection Against
139394     139394-US-NP              US9264455                    11/274956          20070109960                 us                                16-Feb-16                2-Apr-32             17-Nov-05
                                                                                                                                                                                                              Call Server Failure
                                                                                                                                                                                                              Context Controlled Data Tap Utilizing Parallel Logic
139402     139402-US-NP              US8565095                    11/315512          20060250971                 us                                22-Oct-13                1-Oct-28             22-Dec-05
                                                                                                                                                                                                              For Integrated Link Monitoring
139403     139403-US-NP              US8228956                    11/315544          20060233202                 us                                 24-Jul-12             11-Oct-28              22-Dec-05 Time Stamp Offset In Data Packet Bundling
                                                                                                                                                                                                              Core Network Interface For Packet Domain For UMA
139424     139424-US-CNT[2]          US9307576                    13/647675          20130028173                 us                                 5-Apr-16               18-Jan-27              9-Oct-12
                                                                                                                                                                                                              UNCAnnlications
                                                                                                                                                                                                              METHOD AND SYSTEM TO PROVIDE IMPROVED CORE
139424     139424-EP-EPT                                          06761964.3         EP1882377                   EP                                                         3-Apr-26              3-Apr-06 NETWORK INTERFACE FOR PACKET DOMAIN FOR
                                                                                                                                                                                                              UMA UNCAPPLICATIONS
                                                                                                                                                                                                              Individual End-To-End D/DV/L Measurement In IP
139465     139465-US-NP              US8295186                    11/536315          20080080501                 us                                23-Oct-12               19-Jan-28             28-Sep-06
                                                                                                                                                                                                              Multicast
139469     139469-US-NP              US7676550                    11/398111                                      us                                 9-Mar-10              12-Dec-27               5-Apr-06 MULTIPLE ACCESS PRESENCE AGENT

139470     139470-US-NP              US7890474                    11/382360                                      us                                15-Feb-11                2-Jan-27             9-May-06 PRESENCE DRIVEN COMMUNICATION CONTACTS

139500     139500-US-CIP             US7817789                    11/458581          20060245550                 us                                19-Oct-10              16-Aue:-22              19-Jul-06 MASS CALL DEFENSE
                                                                                                                                                                                                              Method for milti-standard software defined radio
140193     140193-US-NP              US7784028                    10/896877          20050027789                 us                                24-Aug-10               23-Jul-24              23-Jul-04
                                                                                                                                                                                                              base-bandorocessing
                                                                                                                                                                                                              Method for multi-standard software defined radio
140193     140193-DE-EPA             EP1503603                    04015290.2         EP1503603                   DE                                12-Sep-12              30-Jun-24              30-Jun-04
                                                                                                                                                                                                              base-band processing
                                                                                                                                                                                                              Method for multi-standard software defined radio
140193     140193-FR-EPA             EP1503603                    04015290.2         EP1503603                   FR                                12-Sep-12              30-Jun-24              30-Jun-04
                                                                                                                                                                                                              base-bandnrocessine:
                                                                                                                                                                                                              Method for multi-standard software defined radio
140193     140193-GB-EPA             EP1503603                    04015290.2         EP1503603                   GB                                12-Sep-12              30-Jun-24              30-Jun-04
                                                                                                                                                                                                              base-bandorocessine:
                                                                                                                                                                                                              Forwarding State Sharing Between Multiple Traffic
150012     150012-US-NP              US7570649                    11/067506          20060193332                 us                                 4-Aug-09               29-Jan-27             28-Feb-05
                                                                                                                                                                                                              Paths In A Communication Network
                                                                                                                                                                                                              Statistical Trace-Based Methods For Real-Time Traffic
150013     150013-DE-EPA             EP1764951                    06300951.8         EP1764951                   DE                                 2-Nov-11              14-Sep-26              14-Sep-06
                                                                                                                                                                                                              Classification
                                                                                                                                                                                                              Statistical Trace-Based Methods For Real-Time Traffic
150013     150013-FR-EPA             EP1764951                    06300951.8         EP1764951                   FR                                 2-Nov-11              14-Sep-26              14-Sep-06
                                                                                                                                                                                                              Classification
                                                                                                                                                                                                              Statistical Trace-Based Methods For Real-Time Traffic
150013     150013-GB-EPA             EP1764951                    06300951.8         EP1764951                   GB                                 2-Nov-11              14-Sep-26              14-Sep-06
                                                                                                                                                                                                              Classification
                                                                                                                                                                                                              Statistical Trace-Based Methods For Real-Time Traffic
150013     150013-US-NP              US7782793                    11/226328          20070076606                 us                                24-Aug-10               2-Mar-28              15-Sep-05
                                                                                                                                                                                                              Classification
150018     150018-US-NP              US8079017                    11/288226          20070124726                 us                                13-Dec-11                14-Jul-30            29-Nov-05 Automated QS Interface Testing Framework

150022     150022-US-NP              US7436291                    11/324596          20070157052                 us                                14-Oct-08              16-Aug-26               3-Jan-06 Protection Of Devices In A Redundant Configuration

                                     ZL200610071101                                                                                                                                                           Communication Traffice Management Monitoring
150033     150033-CN-NP                                           200610071101.3     1822588                     CN                                 26-Jan-11              24-Jan-26             24-Jan-06
                                     .3                                                                                                                                                                       Svstems And Methods
                                                                                                                                                                                                              Communication Traffic Management Monitoring
150033     150033-US-NP              US7489628                    11/041561          20060164979                 us                                10-Feb-09               25-Jul-26             24-Jan-05
                                                                                                                                                                                                              Svstemsand Methods
                                                                                                                                                                                                              Milestone Synchronization In Broadcast Multimedia
150036     150036-US-NP              US7668914                    11/090308          20060242240                 us                                23-Feb-10              25-Dec-27             28-Mar-05
                                                                                                                                                                                                              Streams

150051     150051-US-CIP             US7679924                    11/437965          20070086175                 us                                16-Mar-10              17-Aug-28             19-May-06 Configurable Chassis Guidance System and Method

150057     150057-US-NP              US9083915                    11/905247          20090089834                 us                                 14-Jul-15             27-Aue:-29             28-Sen-07 3DElectronic Pro ram Guide
                                     ZL200880001699                                                                                                                                                           Mechanism For Authentication Of caller And Callee
150063     150063-CN-PCT                                          200880001699.6     101578637                   CN                                19-Sep-12               16-Jan-28             16-Jan-08
                                     .6                                                                                                                                                                       In VOiP /Or IMSl Networks
                                                                                                                                                                                                              Mechanism For Authentication Of Caller and Callee In
150063     150063-EP-EPT                                          08719874.3         EP2104927                   EP                                                        16-Jan-28             16-Jan-08
                                                                                                                                                                                                              VOiP /or IMS) Networks
                                                                                                                                                                                                              Mechanism For Authentication Of caller and callee
150063     150063-US-NP              US8102838                    11/653980          20080172728                 us                                 24-Jan-12            25-Nov-30               17-Jan-07
                                                                                                                                                                                                              Using Otoacoustic Emissions
                                                                                                                                                                                                              Communication Traffic Congestion Management
150065     150065-US-NP              US7724660                    11/301714          20070133419                 us                                25-May-10                6-Oct-28             13-Dec-05
                                                                                                                                                                                                              Svstemsand Methods
                                                                                                                                                                                                           Methods and Data Structure for Indexed Storage of
150079     150079-US-NP              US7603377                    11/255953          20060288020                 us                                13-Oct-09                1-Feb-27             24-Oct-05 Hierarchically Interrelated Information in a Relational
                                                                                                                                                                                                              Database

150091     150091-US-DIV             US7962958                    12/709015          20100142709                 us                                 14-Jun-11               5-Oct-25             19-Feb-10 Rogue Access Point Detection In Wireless Networks


150091     150091-US-NP              US7716740                    11/242884          20070079376                 us                                11-May-10               5-Aug-28               5-Oct-05 Rogue Access Point Detection In Wireless Networks




                                                                                             Page 35 of 149
                                                                                                                                                                                PATENT
                                                                                                                                                                        REEL: 044000 FRAME: 0176
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 43 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mmCommunication System Hierarchical Testing Systems
150115     150115-EP-EPA                                       06301009.4                   EP1783610                   EP                                                3-Oct-26             3-Oct-06 And Methods - Entity Dependent Automatic Selection
                                                                                                                                                                                                        Of Tests
150136     150136-US-NP           US7885398                    11/367401                    20070206762                 us                        8-Feb-11                9-Dec-29             6-Mar-06 Multiple Criteria Based Load Balancing
150142     150142-US-NP           US7889656                    11/392736                    20070237079                 us                       15-Feb-11              16-Dec-29             30-Mar-06 Binned Duration Flow Trackin11:
                                                                                                                                                                                                           Disributed Communication Traffic Control Systems
150150     150150-US-NP           US7688721                    11/373919                    20070211627                 us                       30-Mar-10                1-Sep-28             13-Mar-06
                                                                                                                                                                                                           and Methods

                                                                                                                                                                                                           System And Method For Processing A Conference
150152     150152-US-NP           US9030968                    11/453875                    20070291736                 us                       12-May-15              28-Dec-27              16-Jun-06
                                                                                                                                                                                                           Session Through A Communication Channel

                                                                                                                                                                                                           Method and System For Generating Route
150176     150176-US-NP           US7500196                    11/386806                    20070223486                 us                        3-Mar-09              15-Feb-27             23-Mar-06 Distinguishers And Targets For A Virtual Private
                                                                                                                                                                                                           Network
                                                                                                                                                                                                         A Method And System For Using A Queuing Device As
150177     150177-US-NP           US7872973                    11/377578                    20070217336                 us                        18-Jan-11              23-Jan-28             17-Mar-06 A Lossless Stage In A Newark Device In A
                                                                                                                                                                                                           Communications Network

                                                                                                                                                                                                           A Method and System For Maximizing Network
150185     150185-US-NP           US7580359                    11/353086                    20070189170                 us                       25-Aug-09             10-Mar-28               14-Feb-06 Capacity Utilization In Multi protocol Label Switched
                                                                                                                                                                                                           Networks By Moving Label Switched Paths

150204     150204-US-NP           US7312993                    11/313748                    20070144704                 us                       25-Dec-07                9-A r-26             22-Dec-05 ElectronicsEnui mentCabinet
150205     150205-US-NP           US8375109                    11/701182                                                us                       12-Feb-13                8-A r-28             31-Jan-07 Shortened DHCP Lease Time
150208     150208-US-NP           US7613938                    11/370618                    20070214372                 us                        3-Nov-09              23-Dec-27              8-Mar-06 Power Cvcle Circuit

                                                                                                                                                                                                           System And Method Of Network Access Security
150210     150210-US-NP           US8191106                    11/808236                    20080307487                 us                       29-May-12             28-Nov-30                7-Jun-07
                                                                                                                                                                                                           Policy Management For Multi modal Device

                                                                                                                                                                                                           Pulsed Backpressure Mechanism For Reduced FIFO
150215     150215-US-NP           US7756028                    11/412085                    20070253333                 us                        13-Jul-10            13-May-29               27-Apr-06
                                                                                                                                                                                                         Utilization
150240     150240-US-NP           US7710999                    11/411968                    20070255842                 us                        4-Mav-10                3-Jun-28             27-Anr-06 PolicvCalendar
                                                                                                                                                                                                         Optimized Control Plane Signalling For A High
150244     150244-US-NP           US7512776                    11/367414                    20070208927                 us                       31-Mar-09              13-Apr-27               6-Mar-06 Availability Network Device In A Communications
                                                                                                                                                                                                           Network

                                                                                                                                                                                                         Method Of Reducing Buffer Usage By Detecting
150253     150253-US-NP           US7649906                    11/412143                    20070253446                 us                        19-Jan-10              23-Jan-28             27-Apr-06 Missing Fragments And Idle Links For Multilink
                                                                                                                                                                                                           Protocols And Devices Incorporating Same

                                                                                                                                                                                                           EAS Enhancement Using Alert Server and Metro ATM
150256     150256-US-NP           US7697558                    11/717090                    20080225848                 us                       13-Apr-10              23-Jun-28              13-Mar-07
                                                                                                                                                                                                           Network for DSL De lovment

                                                                                                                                                                                                           Method Of Collecting Consistent Flow Statistics
                                                                                                                                                                                                           Through Multiple Congestion Points Within A Multi-
150257     150257-US-NP           US7636357                    11/412084                    20070253338                 us                       22-Dec-09             20-May-28               27-Apr-06
                                                                                                                                                                                                           Service Switch/Router And Multi-Service
                                                                                                                                                                                                           Switches/Routers Provisioned With Same

                                                                                                                                                                                                           Identity Verification For Secure E-commerce
150258     150258-US-NP           US8315951                    11/979304                    20090119182                 us                       20-Nov-12               6-Nov-29               1-Nov-07
                                                                                                                                                                                                           Transactions
                                                                                                                                                                                                           Communication System And Method Of Configuring
150265     150265-US-NP           US8948045                    11/449073                    20070286094                 us                        3-Feb-15              26-Dec-27               8-Jun-06
                                                                                                                                                                                                           A Communication Interface

150266     150266-US-NP           US7734949                    11/394261                    20070234101                 us                         8-Jun-10               4-Jan-28            30-Mar-06 Information Error Recovery Apparatus and Methods

                                                                                                                                                                                                           Associating Hosts With Subscriber And Service Based
150268     150268-US-NP           US8416691                    11/414725                                                us                        9-Apr-13              12-Apr-28              27-Apr-06
                                                                                                                                                                                                           Requirements
                                                                                                                                                                                                           Associating Hosts With Subscriber And Service Based
150268     150268-EP-EPT                                       07789679.3                   EP2014058                   EP                                              27-Apr-27              27-Apr-07
                                                                                                                                                                                                           Requirements
150270     150270-US-NP           US7827310                    11/413965                                                us                        2-Nov-10              20-Se -28              27-Anr-06 Host Connectivitv Verification

                                                                                                                                                                                                           System And Method For Resilient VPLS Over Multi-
150272     150272-US-NP           US8284656                    11/443101                    20070253326                 us                        9-0ct-12                8-Feb-30            31-May-06
                                                                                                                                                                                                           Nodal APS Protected Provider Edge Nodes

                                                                                                                                                                                                           System And Method For Maintaining State
150292     150292-DE-EPT          EP2047628                    07859556.8                   EP2047628                   DE                         6-Jan-16               19-Jul-27             19-Jul-07 Synchronization In Redundant IMA Group Protection
                                                                                                                                                                                                           Switching
                                                                                                                                                                                                           System And Method For Maintaining State
150292     150292-FR-EPT          EP2047628                    07859556.8                   EP2047628                   FR                         6-Jan-16               19-Jul-27             19-Jul-07 Synchronization In Redundant IMA Group Protection
                                                                                                                                                                                                          Switchin11:
                                                                                                                                                                                                          System And Method For Maintaining State
150292     150292-GB-EPT          EP2047628                    07859556.8                   EP2047628                   GB                         6-Jan-16               19-Jul-27             19-Jul-07 Synchronization In Redundant IMA Group Protection
                                                                                                                                                                                                           Switchini;,:
                                                                                                                                                                                                           System And Method For Maintaining State
                                  ZL200780025991
150292     150292-CN-PCT                                       200780025991.7               101490995                   CN                        19-Jun-13               19-Jul-27             19-Jul-07 Synchronization In Redundant IMA Group Protection
                                  .7
                                                                                                                                                                                                          Switching
150296     150296-US-NP           US8214451                    11/624718                    20080178169                 us                         3-Jul-12             13-Dec-27              19-Jan-07 Network Service Version Mana,::,ement
300120     300120-FR-DP           FR954976                     954976                                                   FR                       14-Sen-95              14-Se -20              14-Sen-95 ICONE
                                                                                                                                                                                                           20 MODELES D'ICONE (DEPOT GROUPE)
300158     300158-FR-DP           FR971511                     971511                                                   FR                       13-Mar-97             13-Mar-22               13-Mar-97

800002     800002-EP-EPA                                       07300840.1                   EP1965575                   EP                                               1-Mar-27               1-Mar-07 Process of oersonal securitv manai;,:ement
                                                                                                                                                                                                           Method to establish public communciation link
800007     800007-EP-EPA                                       06022378.1                   EP1916816                   EP                                              26-0ct-26              26-0ct-06
                                                                                                                                                                                                           inside a orivate Intranet
800051     800051-FR-NP           FR2912028                    0752952                      2912028                     FR                        12-Jun-09              30-Jan-27             30-Jan-07 GUEST MOBILE USER ON FIXED NETWORK

                                                                                                                                                                                                           PROCEDE DtfTABLISSEMENT DE COMMUNICATIONS
                                                                                                                                                                                                           A COOT REDUIT POUR UN UTILISATEUR DE TERMINAL
                                                                                                                                                                                                           MOBILE SITUE A PROXIMITE D{.UN TERMINAL
800051     800051-EP-EPA                                       08101049.8                   EP1953968                   EP                                               29-Jan-28             29-Jan-08
                                                                                                                                                                                                           CONNECTE A UN RESEAU FIXE, ET DISPOSITIFS DE
                                                                                                                                                                                                           CONTR6LE DtfTABLISSEMENT DE COMMUNICATION
                                                                                                                                                                                                           ASSOCIES

800096     800096-DE-EPA          EP1947887                    07290083.0                   EP1947887                   DE                        15-Jul-09              19-Jan-27             19-Jan-07 Transoort Format Selection for HSDPA
800096     800096-FR-EPA          EP1947887                    07290083.0                   EP1947887                   FR                        15-Jul-09              19-Jan-27             19-Jan-07 Transoort Format Selection for HSDPA
800096     800096-GB-EPA          EP1947887                    07290083.0                   EP1947887                   GB                        15-Jul-09              19-Jan-27             19-Jan-07 Transport Format Selection for HSDPA
800101     800101-JP-PCT          JP4865042                    2009549387                   2010518769                  JP                       18-Nov-11               29-Jan-28             29-Jan-08 Dvnamic Transcodin,::, Mana ement

                                                                                                                                                                                                           Method And Apparatus For Assigning Transcoding
800101     800101-US-NP           US8605581                    12029067                     20080192760                 us                       10-Dec-13              12-Aug-31              11-Feb-08
                                                                                                                                                                                                           Resources In A Session Boarder Controller

                                  ZL200780033893                                                                                                                                                           Synchronization Recovery For Multiple-Link
800114     800114-CN-PCT                                       200780033893.8               101517988                   CN                       19-Sep-12              31-Aug-27              31-Aug-07
                                  .8                                                                                                                                                                       Communications
                                                                                                                                                                                                           Synchronization Recovery For Multiple-Link
800114     800114-DE-EPT          EP2078394                    07849299.8                   EP2078394                   DE                       30-Sep-15              31-Aug-27              31-Aug-07
                                                                                                                                                                                                           Communications Using Inverse Multiplexing
                                                                                                                                                                                                           Synchronization Recovery For Multiple-Link
800114     800114-FR-EPT          EP2078394                    07849299.8                   EP2078394                   FR                       30-Sep-15              31-Aug-27              31-Aug-07
                                                                                                                                                                                                           Communications Usin11: Inverse Multi lexin11:
                                                                                                                                                                                                           Synchronization Recovery For Multiple-Link
800114     800114-GB-EPT          EP2078394                    07849299.8                   EP2078394                   GB                       30-Sep-15              31-Aug-27              31-Aug-07
                                                                                                                                                                                                           Communications Usini;,: Inverse Multi lexini;,:
                                                                                                                                                                                                           Synchronization Recovery For Multiple-Link
800114     800114-US-NP           US8155156                    11/521690                    20080069149                 us                       10-Apr-12                14-Jul-29            15-Sep-06
                                                                                                                                                                                                           Communications




                                                                                                     Page 36 of 149
                                                                                                                                                                              PATENT
                                                                                                                                                                      REEL: 044000 FRAME: 0177
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 44 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
800134     800134-US-NP           US8111987                    12/355866                     20100183295                   us                        7-Feb-12             29-Mav-30               19-Jan-09 Rogue ONU Detection Via Photonic Mixing
800152     800152-DE-EPA          EP2031808                    07291057.3                     EP2031808                    DE                       11-Nov-09              31-Aug-27              31-Aug-07 Multi-connections deliverv over WiMAX
800152     800152-DE-EPD          EP2051460                    09151703.7                     EP2051460                    DE                         7-Jul-10             31-Aug-27              31-Aug-07 Multi-connections delivery over WiMAX
800152     800152-FR-EPA          EP2031808                    07291057.3                     EP2031808                    FR                       11-Nov-09              31-Aug-27              31-Aug-07 Multi-connections delivery over WiMAX
800152     800152-FR-EPD          EP2051460                    09151703.7                     EP2051460                    FR                         7-Jul-10             31-Aui;i:-27           31-Au11:-07 Multi-connections deliverv over WiMAX
800152     800152-GB-EPA          EP2031808                    07291057.3                     EP2031808                   GB                        11-Nov-09              31-Aui;i:-27           31-Au11:-07 Multi-connections deliverv over WiMAX
800152     800152-GB-EPD          EP2051460                    09151703.7                     EP2051460                   GB                          7-Jul-10             31-Aui;,:-27           31-Aui;,:-07 Multi-connections deliverv over WiMAX

                                                                                                                                                                                                               Method And Apparatus For Identifying An Alternative
800153     800153-US-NP           US8326917                    12/133117                     20080313279                   us                        4-Dec-12             14-May-29                4-Jun-08
                                                                                                                                                                                                               Peer Hosting An Alternative Communication Service

                                                                                                                                                                                                               Service peer as service provider for users in a peer-to
800153     800153-DE-EPA          EP2007103                    07301123.1                     EP2007103                    DE                        5-Aug-09              18-Jun-27              18-Jun-07
                                                                                                                                                                                                               I peer network
                                                                                                                                                                                                               Service peer as service provider for users in a peer-to
800153     800153-FR-EPA          EP2007103                    07301123.1                     EP2007103                    FR                        5-Aug-09              18-Jun-27              18-Jun-07
                                                                                                                                                                                                               lneernetwork
                                                                                                                                                                                                               Service peer as service provider for users in a peer-to
800153     800153-GB-EPA          EP2007103                    07301123.1                     EP2007103                   GB                         5-Aug-09              18-Jun-27              18-Jun-07
                                                                                                                                                                                                               loeernetwork

                                                                                                                                                                                                               System And Method Of Fault Tolerant Reconciliation
800172     800172-US-NP           US7730029                    11/521347                     20080082630                   us                         1-Jun-10             14-Jun-27              15-Sep-06
                                                                                                                                                                                                               Process For Control Card Redundancy

800173     800173-US-NP           US8023271                    11/975002                     20090101382                   us                       20-Sep-11               13-Jan-30             17-Oct-07 Improved Sealed Expansion Module
                                                                                                                                                                                                               Detecting Collisions On Multipoint Shared Optical
800178     800178-US-NP           US8290368                    12/500117                     20110008045                   us                       16-Oct-12               8-Mar-31                9-Jul-09
                                                                                                                                                                                                               Media
800279     800279-US-NP           US8125916                    12/117983                     20090325568                   us                       28-Feb-12             13-Mav-30               9-Mav-08 Method OfTransmittin Si11:nalin11:Messa11:es

                                                                                                                                                                                                               Modular Heat Sink Assembly Comprising A Larger
800283     800283-US-NP           US8109321                    12/043078                     20090223647                   us                        7-Feb-12              10-Nov-30              5-Mar-08 Main Heat Sink Member Thermally Connected To
                                                                                                                                                                                                               Smaller Additional Floating Heat Sink Members

                                                                                                                                                                                                               RADIO FLOW CONTROL FOR UMTS HSUPA
800286     800286-EP-EPA                                       06291848.7                     EP1928196                    EP                                             30-Nov-26               30-Nov-06
                                                                                                                                                                                                               CONSIDERING TRANSMISSION CAPACITY

                                                                                                                                                                                                               MS SEAMLESS MOBILITY BETWEEN HSI ONE TUNNEL
800287     800287-EP-EPT                                       07848877.2                     EP2100419                    EP                                              11-Sep-27              11-Sep-07
                                                                                                                                                                                                               MODE AND GPRS/UMTS TECHNOLOGIES


                                                                                                                                                                                                               ROUTAGE DE TRAFIC ENTRE SITES DISTANTS SUR UN
800290     800290-EP-EPA                                       08102192.5                     EP1968258                    EP                                              29-Feb-28              29-Feb-08
                                                                                                                                                                                                               RESEAU DE TRANSMISSION RADIO NON MAILLE

                                                                                                                                                                                                               LAC (L2TP ACCESS CONTROLLER) IN WIMAX WITH IP-
800310     800310-EP-EPA                                       08104239.2                     EP2110994                    EP                                                3-Jun-28              3-Jun-08
                                                                                                                                                                                                               cs
                                                                                                                                                                                                               LAC (L2TP ACCESS CONTROLLER) IN WIMAX WITH IP-
800310     800310-FR-NP           FR2917258                    0755503                       2917258                       FR                       26-Feb-10                6-Jun-27              6-Jun-07
                                                                                                                                                                                                               cs
800329     800329-US-NP           US7857267                    11/818136                     20080310083                   us                       28-Dec-10               2-May-29              13-Jun-07 Unique Mounting for Computer Equipment in Frames

                                  ZL200810130005
800387     800387-CN-NP                                        200810130005.0                CN101355803A                  CN                       14-Sep-11               23-Jul-28              23-Jul-08 OFDM resource assignment strategy and signaling
                                  .0

800387     800387-DE-EPA          EP2031907                    07290921.1                     EP2031907                    DE                         8-Jul-09              23-Jul-27              23-Jul-07 OFDM resource assignment strategy and signaling


800387     800387-ES-EPA          EP2031907                    07290921.1                     EP2031907                    ES                         8-Jul-09              23-Jul-27              23-Jul-07 OFDM resource assignment strategy and signaling


800387     800387-FR-EPA          EP2031907                    07290921.1                     EP2031907                    FR                         8-Jul-09              23-Jul-27              23-Jul-07 OFDM resource assignment strategy and signaling


800387     800387-GB-EPA          EP2031907                    07290921.1                     EP2031907                   GB                          8-Jul-09              23-Jul-27              23-Jul-07 OFDM resource assignment strategy and signaling


800387     800387-IT-EPA          EP2031907                    07290921.1                     EP2031907                    IT                         8-Jul-09              23-Jul-27              23-Jul-07 OFDM resource assignment strategy and signaling


800387     800387-NL-EPA          EP2031907                    07290921.1                     EP2031907                    NL                         8-Jul-09              23-Jul-27              23-Jul-07 OFDM resource assignment strategy and signaling


800387     800387-JP-PCT          JP5174164                    2010517378                    2010534437                   JP                         11-Jan-13              21-Jul-28              21-Jul-08 OFDM resource assignment strategy and signaling


800387     800387-US-NP           US8121081                    12/177500                     20090029711                   us                       21-Feb-12                7-Sep-30              22-Jul-08 Method and Apparatus Signaling Resource Allocation

                                                                                                                                                                                                               Optimization of Memory for EthOAM Multicast
800389     800389-US-NP           US7929455                    11/776655                     20080151780                   us                       19-Apr-11               5-Mar-28               12-Jul-07
                                                                                                                                                                                                               Entries
                                                                                                                                                                                                               PROCEDE DE DESCRIPTION COOPERATIVE D'OBJETS
800404     800404-EP-EPA                                       08290554.8                     EP2006783                    EP                                              13-Jun-28              13-Jun-08
                                                                                                                                                                                                               MEDIAS
                                                                                                                                                                                                               Distributed Virtual Port Loopback Implementation for
800410     800410-US-NP           US7826378                    11/689834                     20080232794                   us                        2-Nov-10              19-Nov-28             22-Mar-07
                                                                                                                                                                                                               a PON Architecture
800425     800425-DE-EPA          EP2001201                    08290511.8                     EP2001201                    DE                       22-Seo-10                3-Jun-28              3-Jun-08 MMSrouting usingatransoarent oroxvserver
800425     800425-FR-EPA          EP2001201                    08290511.8                     EP2001201                    FR                       22-Sep-10                3-Jun-28              3-Jun-08 MMSrouting using a transparent proxy server
800425     800425-GB-EPA          EP2001201                    08290511.8                     EP2001201                   GB                        22-Sep-10                3-Jun-28              3-Jun-08 MMSrouting using a transparent proxy server
                                                                                                                                                                                                               Dynamic and graphical analyzerinsidethe
800573     800573-DE-EPA          EP2023532                    08159655.3                     EP2023532                    DE                        6-Apr-11                 3-Jul-28              3-Jul-08
                                                                                                                                                                                                               carto11:ranhic area
                                                                                                                                                                                                               Dynamic and graphical analyzerinsidethe
800573     800573-FR-EPA          EP2023532                    08159655.3                     EP2023532                    FR                        6-Apr-11                 3-Jul-28              3-Jul-08
                                                                                                                                                                                                               cartoi;,:raohic area
                                                                                                                                                                                                               Dynamic and graphical analyzerinsidethe
800573     800573-GB-EPA          EP2023532                    08159655.3                     EP2023532                   GB                         6-Apr-11                 3-Jul-28              3-Jul-08
                                                                                                                                                                                                               cartograohic area
                                                                                                                                                                                                               Interference coordination with on-demand support
                                                                                                                                                                                                               by neighbor cells
800612     800612-DE-EPA          EP1944987                    07300719.7                     EP1944987                    DE                       13-Mar-13               11-Jan-27             11-Jan-07



                                                                                                                                                                                                               Interference coordination with on-demand support
                                                                                                                                                                                                               by neighbor cells
800612     800612-FR-EPA          EP1944987                    07300719.7                     EP1944987                    FR                       13-Mar-13               11-Jan-27             11-Jan-07



                                                                                                                                                                                                               Interference coordination with on-demand support
                                                                                                                                                                                                               by neighbor cells
800612     800612-GB-EPA          EP1944987                    07300719.7                     EP1944987                   GB                        13-Mar-13               11-Jan-27             11-Jan-07



                                                                                                                                                                                                               Virtual Macro Base Station for Wireless Cellular
800621     800621-DE-EPA          EP2180743                    08291003.5                     EP2180743                    DE                       30-Apr-14              24-Oct-28              24-Oct-08
                                                                                                                                                                                                               Networks
                                                                                                                                                                                                               Virtual Macro Base Station for Wireless Cellular
800621     800621-FR-EPA          EP2180743                    08291003.5                     EP2180743                    FR                       30-Apr-14              24-Oct-28              24-Oct-08
                                                                                                                                                                                                               Networks
                                                                                                                                                                                                               Virtual Macro Base Station for Wireless Cellular
800621     800621-GB-EPA          EP2180743                    08291003.5                     EP2180743                   GB                        30-Apr-14              24-Oct-28              24-Oct-08
                                                                                                                                                                                                               Networks
                                                                                                                                                                                                               Retransmission of erroneous/lost packets over
800663     800663-DE-EPT          EP2193620                    08786415.3                     EP2193620                    DE                        11-Jan-12              24-Jul-28              24-Jul-08
                                                                                                                                                                                                               broadcast svstems via cellular networks
                                                                                                                                                                                                               Retransmission of erroneous/lost packets over
800663     800663-FR-EPT          EP2193620                    08786415.3                     EP2193620                    FR                        11-Jan-12              24-Jul-28              24-Jul-08
                                                                                                                                                                                                               broadcast svstems via cellular networks
                                                                                                                                                                                                               Retransmission of erroneous/lost packets over
800663     800663-GB-EPT          EP2193620                    08786415.3                     EP2193620                   GB                         11-Jan-12              24-Jul-28              24-Jul-08
                                                                                                                                                                                                               broadcast svstems via cellular networks




                                                                                                       Page 37 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0178
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 45 of 156
                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn    ~~:J~JfW                 liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                     :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                               METHOD OF TRANSMITTING DATA FROM AN
                                                                                                                                                                                                               INFRASTRUCTURE OF A RADIO-COMMUNICATION
800663     800663-IN-PCT                                          2311/CHENP/2010    2311/CHENP/2010 IN                                                                     24-Jul-28              24-Jul-08
                                                                                                                                                                                                               NETWORK TO USER EQUIPMENT, AND EQUIPMENT
                                                                                                                                                                                                               FOR IMPLEMENTING THE METHOD

                                                                                                                                                                                                               Method Of Transmitting Data From An Infrastructure
                                                                                                                                                                                                               Of A Radio-Communication Network To User
800663     800663-US-PCT             US8537749                    12/678369          20100287593                 us                                17-Sep-13               24-Oct-29               24-Jul-08
                                                                                                                                                                                                               Equipment, And Equipment For Implementing The
                                                                                                                                                                                                               Method
800693     800693-US-NP              US7792942                    11/712576                                      us                                 7-Seo-10              30-Mar-28               27-Feb-07 DHCP Server Svnchronization with DHCP Proxv
                                                                                                                                                                                                               Automatic ONT Self Disabling System, Method And
800765     800765-US-NP              US8213792                    11/940377          20080138062                 us                                  3-Jul-12              26-Oct-28              15-Nov-07
                                                                                                                                                                                                               Computer Readable Medium

                                                                                                                                                                                                               Mechanism For Efficient Endpoint Discriminator
800818     800818-US-NP              US7801023                    11/902708          20090080446                 us                                21-Sep-10                  9-Jul-28            25-Sep-07 Allocation For APS Protected MLPPP Bundles On
                                                                                                                                                                                                               Distributed Routing Systems

                                                                                                                                                                                                               PuMMA: Pruning Mechanism in Multipoint
800832     800832-FR-NP              FR2918230                    0704721            2918230                     FR                                26-Feb-10               29-Jun-27              29-Jun-07
                                                                                                                                                                                                               Architectures

800836     800836-DE-EPA             EP1947800                    07123753.1         EP1947800                   DE                                18-Nov-09               20-Dec-27              20-Dec-07 Fixed Line network broadcast calls via NGN network.


800836     800836-FR-EPA             EP1947800                    07123753.1         EP1947800                   FR                                18-Nov-09               20-Dec-27              20-Dec-07 Fixed Line network broadcast calls via NGN network.


800836     800836-GB-EPA             EP1947800                    07123753.1         EP1947800                   GB                                18-Nov-09               20-Dec-27              20-Dec-07 Fixed Line network broadcast calls via NGN network.

                                                                                                                                                                                                               Kostenoptimierte Befestigungsmethode fur
                                     ZL200810210907
800847     800847-CN-NP                                           200810210907.5     101409480                   CN                                 15-Jun-11              12-Aug-28              12-Aug-08 Burstenfedern bei burstenbehaftetenGleich- und
                                     .5
                                                                                                                                                                                                               Wechselstrom-Motoren
                                                                                                                                                                                                               Kostenoptimierte Befestigungsmethode fur
800847     800847-DE-EPA             EP2031738                    07301332.8         EP2031738                   DE                                13-Oct-10               30-Aug-27              30-Aug-07 Burstenfedern bei burstenbehaftetenGleich- und
                                                                                                                                                                                                               Wechselstrom-Motoren
                                                                                                                                                                                                               Kostenoptimierte Befestigungsmethode fur
800847     800847-FR-EPA             EP2031738                    07301332.8         EP2031738                   FR                                13-Oct-10               30-Aug-27              30-Aug-07 Burstenfedern bei burstenbehaftetenGleich- und
                                                                                                                                                                                                               Wechselstrom-Motoren
                                                                                                                                                                                                               Kostenoptimierte Befestigungsmethode fur
800847     800847-GB-EPA             EP2031738                    07301332.8         EP2031738                   GB                                13-Oct-10               30-Aug-27              30-Aug-07 Burstenfedern bei burstenbehaftetenGleich- und
                                                                                                                                                                                                               Wechselstrom-Motoren
                                                                                                                                                                                                               Equipment and method for improving Worldwide
800877     800877-DE-EPA             EP2068464                    07291463.3         EP2068464                   DE                                 6-Mar-13                 6-Dec-27              6-Dec-07 Interoperability for Microwave Access (WIMAX)
                                                                                                                                                                                                               network ca acitv
                                                                                                                                                                                                               Equipment and method for improving Worldwide
800877     800877-FR-EPA             EP2068464                    07291463.3         EP2068464                   FR                                 6-Mar-13                 6-Dec-27              6-Dec-07 Interoperability for Microwave Access (WIMAX)
                                                                                                                                                                                                               network ca acitv
                                                                                                                                                                                                               Equipment and method for improving Worldwide
800877     800877-GB-EPA             EP2068464                    07291463.3         EP2068464                   GB                                 6-Mar-13                 6-Dec-27              6-Dec-07 Interoperability for Microwave Access (WIMAX)
                                                                                                                                                                                                               network capacity
800877     800877-JP-DIV                                          2014000254                                    JP                                                           5-Dec-28              5-Dec-08 MultichannelWimaxMSS

                                                                                                                                                                                                               EQUIPMENT AND METHOD FOR IMPROVING
800877     800877-US-NP              US8054793                    12/328609          20090154414                 us                                 8-Nov-11              11-May-30                4-Dec-08 WORLDWIDE INTEROPERABILITY FOR MICROWAVE
                                                                                                                                                                                                               ACCESS (WIMAX) NETWORK CAPACITY


                                                                                                                                                                                                               SYNCHRONIZATION CHANNEL WITH CYCLIC
800888     800888-US-NP              US6731673                    09/504548                                      us                                 4-May-04               15-Feb-20              15-Feb-00 HIERARCHICAL SEQUENCES AND METHOD FOR CELL
                                                                                                                                                                                                               SITE SEARCH WITH LOW DETECTOR COMPLEXITY

800891     800891-US-NP              US7991941                    12/014303          20090182925                 us                                 2-Au11:-ll               8-Feb-29             15-Jan-08 MEMORY ACCESS ASSIST

800892     800892-US-NP              US8204720                    11/756970          20080300834                 us                                 19-Jun-12               7-Aug-29               1-Jun-07 Graph-Based Modeling Apparatus And Techniques

                                                                                                                                                                                                               SPREADING CODE SELECTION PROCESS FOR
800905     800905-US-NP              US6680902                    09/488736                                      us                                 20-Jan-04               20-Jan-20             20-Jan-00 EQUALISATION IN CDMA COMMUNICATIONS
                                                                                                                                                                                                               SYSTEMS
                                                                                                                                                                                                               METHOD AND APPARATUS FOR PROVIDING HIGH
800912     800912-US-PCT             US6868520                    09/831421                                      us                                15-Mar-05               29-Oct-19              29-Oct-99 QUALITY TRANSMISSIONS IN A
                                                                                                                                                                                                               TELECOMMUNICATIONS SYSTEM

                                                                                                                                                                                                               METHOD FOR CONTROLLING A CHANNEL HANDOVER
800918     800918-US-NP              US6768903                    09/862051                                      us                                 27-Jul-04             27-Nov-22              21-May-0l
                                                                                                                                                                                                               IN A CELLULAR RADIOCOMMUNICATION NETWORK


                                                                                                                                                                                                               METHOD AND SYSTEM FOR SUPPLYING SERVICES TO
800919     800919-US-PCT(l)          US7184771                    09/958588                                      us                                27-Feb-07                 5-Apr-20              5-Apr-00
                                                                                                                                                                                                               MOBILE STATIONS IN ACTIVE MODE


                                                                                                                                                                                                               Communication method, radio network controller
800926     800926-US-NP              US7013142                    10/081423                                      us                                14-Mar-06               10-Aug-27              14-Mar-06
                                                                                                                                                                                                               and base node for implementing this method


800933     800933-US-PCT             US7228147                    10/479110          20040152481                 us                                  5-Jun-07               3-May-23             29-May-02 METHOD FOR CONTROLLING TRANSMISSION POWER


                                                                                                                                                                                                               Closed-loop transmission diversity radio station and
800935     800935-DE-EPA             EP1280286                    02291848.6         EP1280286                   DE                                 18-Jun-08               22-Jul-22              22-Jul-02
                                                                                                                                                                                                               transmission control method for such a station


                                                                                                                                                                                                               Closed-loop transmission diversity radio station and
800935     800935-FR-EPA             EP1280286                    02291848.6         EP1280286                   FR                                 18-Jun-08               22-Jul-22              22-Jul-02
                                                                                                                                                                                                               transmission control method for such a station


                                                                                                                                                                                                               Closed-loop transmission diversity radio station and
800935     800935-GB-EPA             EP1280286                    02291848.6         EP1280286                   GB                                 18-Jun-08               22-Jul-22              22-Jul-02
                                                                                                                                                                                                               transmission control method for such a station


                                                                                                                                                                                                               Closed-loop transmission diversity radio station and
800935     800935-US-NP              US7123942                    10/200627                                      us                                17-Oct-06               18-Sep-24               23-Jul-02
                                                                                                                                                                                                               transmission control method for such a station

                                                                                                                                                                                                               METHOD FOR CONTROLLING COMMUNICATION
800940     800940-CN-PCT             ZL03805392.6                 03805392.6         1640161                     CN                                25-Aug-10                 3-Jan-23              3-Jan-03 CHANNELS AND BASE STATION AND TERMINAL
                                                                                                                                                                                                               THEREFOR
                                                                                                                                                                                                               PROCEDE DE CONTROLE DE CANAUX DE
800940     800940-DE-EPT             EP1461969                    03712204.1         EP1461969                   DE                                13-Mar-13                 3-Jan-23              3-Jan-03 COMMUNICATION ET STATION DE BASE ET TERMINAL
                                                                                                                                                                                                               METTANT EN OEUVRE LE PROCEDE
                                                                                                                                                                                                               PROCEDE DE CONTROLE DE CANAUX DE
800940     800940-FR-EPT             EP1461969                    03712204.1         EP1461969                   FR                                13-Mar-13                 3-Jan-23              3-Jan-03 COMMUNICATION ET STATION DE BASE ET TERMINAL
                                                                                                                                                                                                               METTANT EN OEUVRE LE PROCEDE
                                                                                                                                                                                                               PROCEDE DE CONTROLE DE CANAUX DE
800940     800940-GB-EPT             EP1461969                    03712204.1         EP1461969                   GB                                13-Mar-13                 3-Jan-23              3-Jan-03 COMMUNICATION ET STATION DE BASE ET TERMINAL
                                                                                                                                                                                                               METTANT EN OEUVRE LE PROCEDE
                                                                                                                                                                                                               METHOD FOR CONTROLLING COMMUNICATION
800940     800940-US-PCT             US7881257                    10/500900          20050176435                 us                                 1-Feb-11                 5-Oct-26              3-Jan-03 CHANNELS AND BASE STATION AND TERMINAL
                                                                                                                                                                                                               THEREFOR




                                                                                             Page 38 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0179
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 46 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                       ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm     Method for controlling the exchange of frames
800942              800942-EP-EPA                                       03291006.9                   EP1359776                   EP                                              24-Apr-23               24-Apr-03 between a control unit and at least one radio station,
                                                                                                                                                                                                                      and control unit therefor

                                                                                                                                                                                                                   Method for controlling radio resources assigned to a
800944              800944-US-PCT                                       10/510274                    20050118993                 us                                              18-Feb-23               18-Feb-03 communication between a mobile terminal and a
                                                                                                                                                                                                                   cellularinfrastructure,andfacilities

                                                                                                                                                                                                                      Method for detecting a signal and receiver system
800954              800954-FR-EPA          EP1427157                    03292885.5                   EP1427157                   FR                        8-Feb-06             20-Nov-23                20-Nov-03
                                                                                                                                                                                                                      for the implementation of the metho
                                                                                                                                                                                                                      Method for detecting a signal and receiver system
800954              800954-GB-EPA          EP1427157                    03292885.5                                               GB                        8-Feb-06             20-Nov-23                20-Nov-03
                                                                                                                                                                                                                      for the implementation of the metho
                                                                                                                                                                                                                   Method of controlling access to resources of a
800960              800960-US-NP           US7653016                    10/875823                    20050026622                 us                        26-Jan-10            24-Mar-27                24-Jun-04 radiocommunication network and base station for
                                                                                                                                                                                                                      ,m   lementin11:the method
                                                                                                                                                                                                                      Method of controlling access to resources of a
800960              800960-DE-EPA          EP1492251                    04014728.2                   EP1492251                   DE                       28-Oct-09              11-Jun-24               11-Jun-04 radiocommunication network and base station for
                                                                                                                                                                                                                   implementing the method
                                                                                                                                                                                                                   Method of controlling access to resources of a
800960              800960-FR-EPA          EP1492251                    04014728.2                   EP1492251                   FR                       28-Oct-09              11-Jun-24               11-Jun-04 radiocommunication network and base station for
                                                                                                                                                                                                                      implementing the method
                                                                                                                                                                                                                      Method of controlling access to resources of a
800960              800960-GB-EPA          EP1492251                    04014728.2                   EP1492251                   GB                       28-Oct-09              11-Jun-24               11-Jun-04 radiocommunication network and base station for
                                                                                                                                                                                                                      ,m
                                                                                                                                                                                                                       lementini;,:the method
                                                                                                                                                                                                                      Apparatus and method for frequency band scanning
801007              801007-US-NP           US6370356                    09/174894                                                us                        8-Apr-02              19-Oct-18               19-Oct-98
                                                                                                                                                                                                                      in a mobile communication svstem
                                                                                                                                                                                                                      Method For Providing Hysteresis To Fluctuating
801014              801014-US-NP           US8218740                    11/880749                    20090028133                 us                        10-Jul-12              5-May-31                24-Jul-07
                                                                                                                                                                                                                      Signaling link
                                                                                                                                                                                                                      Method For Recovery From Linkset Failure In
801015              801015-US-NP           US8130933                    11/879846                    20090022300                 us                        6-Mar-12                3-Jan-31               19-Jul-07
                                                                                                                                                                                                                      Telecommunications Network
801027              801027-EP-EPA                                       08104088.3                   EP2003807                   EP                                             26-Mav-28               26-Mav-08 EDPCCH ENHANCED DECODING
                                                                                                                                                                                                                      Receiving Multicast Traffic At Non-Designated
801054              801054-US-NP           US8576702                    11/710136                    20080205395                 us                        5-Nov-13                 4-Jul-28             23-Feb-07
                                                                                                                                                                                                                      Routers

801065              801065-EP-EPA                                       08157138.2                   EP2009546                   EP                                             29-May-28               29-May-08 ServerSequenceapplication programming interface

801081              801081-US-NP           US8432894                    11/712161                    20080205410                 us                       30-Apr-13                15-Jul-29             27-Feb-07 Asymmetrical Forwarding In Laver 3 IP VPNs


          801156    801156-IN-PCT                                       6577/CHENP/2010              6577 /CH ENP/2010                  IN                                                            9-Apr-09        DRM Controlled Timed Deliver

801162              801162-US-NP           US7801045                    11/765385                    20080316921                 us                       21-Sep-10              19-Jun-27               19-Jun-07 Hierarchical Rate Limiter With Proportional Limiting

                                           ZL200880125893                                                                                                                                                             Uplink Ranging Assistant Downlink Time Difference
801182              801182-CN-PCT                                       200880125893.5               CN101933304A                CN                       19-Nov-14               29-Jan-28              29-Jan-08
                                           .5                                                                                                                                                                         of Arrival /URAD-TDoA)
                                                                                                                                                                                                                      Uplink Ranging Assistant Downlink Time Difference
801182              801182-EP-EPT                                       08700750.6                   EP2239913                   EP                                               29-Jan-28              29-Jan-08
                                                                                                                                                                                                                      of Arrival /URAD-TDoA)
                                                                                                                                                                                                                      Uplink Ranging Assistant Downlink Time Difference
801182              801182-IN-PCT                                       4655/CHENP/2010              4655/CHENP/2010 IN                                                           29-Jan-28              29-Jan-08
                                                                                                                                                                                                                      of Arrival IURAD-TDoAl
                                                                                                                                                                                                                      Uplink Ranging Assistant Downlink Time Difference
801182              801182-JP-PCT          JP5461434                    2010544554                   2011517144                  JP                        24-Jan-14              29-Jan-28              29-Jan-08
                                                                                                                                                                                                                      of Arrival /URAD-TDoAl
                                                                                                                                                                                                                      Uplink Ranging Assistant Downlink Time Difference
801182              801182-KR-PCT          KR101500310                  1020107019185                                            KR                        3-Mar-15               29-Jan-28              29-Jan-08
                                                                                                                                                                                                                      of Arrival /URAD-TDoA)
                                                                                                                                                                                                                      Method For Positioning Mobile Devices And
801182              801182-US-PCT          US8588087                    12864411                     20110019567                 us                       19-Nov-13              16-Dec-28               29-Jan-08
                                                                                                                                                                                                                      Apparatus For Positioning Mobile Devices
                                                                                                                                                                                                                      Failure Protection In A Provider Backbone Bridge
801241              801241-US-NP           US8751683                    11/972173                    20080228943                 us                        10-Jun-14               14-Jul-31             10-Jan-08
                                                                                                                                                                                                                      Network Usin Selective Redirection

801254              801254-US-NP           US8606940                    12/012878                    20090198800                 us                       10-Dec-13               8-Aug-29                6-Feb-08 DHCP Address Conflict Detection/Enforcement

                                                                                                                                                                                                                   A SYSTEM AND METHOD TO OVERLAY ADVANCED
801256              801256-US-NP           US8036128                    11/905239                    20090086636                 us                       11-Oct-11              19-Jun-28               28-Sep-07 BACKPRESSURE TECHNIQUES ONTO EXISTING LEGACY
                                                                                                                                                                                                                      SYSTEMS
                                                                                                                                                                                                                      Serial Link Buffer Fill-Level Compensation Using Multi
801258              801258-US-NP           US9047421                    12/112917                    20090276550                 us                         2-Jun-15               8-Feb-33              30-Apr-08 Purpose Start Of Protocol Data Unit Timing
                                                                                                                                                                                                                      Characters
                                                                                                                                                                                                                   A SYSTEM AND METHOD TO MONITOR FIFO
801261              801261-US-NP           US7724756                    12/000151                    20090147796                 us                       25-May-10              29-Jun-28               10-Dec-07 CONTENTS TO MAXIMIZE 1/0 BANDWIDTH AND
                                                                                                                                                                                                                      ELIMINATE PACKET UNDER-RUN ERRORS
                                                                                                                                                                                                                      INTELLIGENT EMBEDDED POWER RAIL AND CONTROL
801268              801268-US-NP           US7728627                    12/204139                    20100052766                 us                         1-Jun-10               4-Sep-28               4-Sep-08
                                                                                                                                                                                                                      SIGNAL SEQUENCER

801325              801325-DE-EPA          EP2009827                    08305348.8                   EP2009827                   DE                       15-Sep-10              27-Jun-28               27-Jun-08 Optical Time De-multiplexing node in WDM regime


801325              801325-ES-EPA          EP2009827                    08305348.8                   EP2009827                   ES                       15-Sep-10              27-Jun-28               27-Jun-08 Optical Time De-multiplexing node in WDM regime


801325              801325-FR-EPA          EP2009827                    08305348.8                   EP2009827                   FR                       15-Sep-10              27-Jun-28               27-Jun-08 Optical Time De-multiplexing node in WDM regime


801325              801325-GB-EPA          EP2009827                    08305348.8                   EP2009827                   GB                       15-Sep-10              27-Jun-28               27-Jun-08 Optical Time De-multiplexing node in WDM regime


801325              801325-IT-EPA          EP2009827                    08305348.8                   EP2009827                   IT                       15-Sep-10              27-Jun-28               27-Jun-08 Optical Time De-multiplexing node in WDM regime


                                                                                                                                                                                                                      Method and computer program product for
801365              801365-EP-EPA                                       07291175.3                   EP2043002                   EP                                              28-Sep-27               28-Sep-07
                                                                                                                                                                                                                      publishing a semantic service to a service registry

                                           ZL200810212494                                                                                                                                                             Method For Establishing A Bidirectional Point-To-
801373              801373-CN-NP                                        200810212494.4               101383769                   CN                       11-May-11                2-Sep-28               2-Sep-08
                                           .4                                                                                                                                                                         Point Connection

                                                                                                                                                                                                                      PROCEDE D'ETABLISSEMENT D'UNE CONNEXION
801373              801373-EP-EPA                                       08163450.3                   EP2031798                   EP                                                2-Sep-28               2-Sep-08
                                                                                                                                                                                                                      BIDIRECTIONNELLE POINT A MULTIPOINT


                                                                                                                                                                                                                      PROCEDE D'ETABLISSEMENT D'UNE CONNEXION
801373              801373-FR-NP           FR2920624                    0757329                      2920624                     FR                       12-Mar-10                3-Sep-27               3-Sep-07
                                                                                                                                                                                                                      BIDIRECTIONNELLE POINT A MULTIPOINT

                                                                                                                                                                                                                      Method For Establishing A Bidirectional Point-To-
801373              801373-KR-PCT          KR101202210                  20107007234                  20100063776                 KR                       12-Nov-12                2-Sep-28               2-Sep-08
                                                                                                                                                                                                                      Point Connection
                                                                                                                                                                                                                      Method For Establishing A Bidirectional Point-To-
801373              801373-US-NP           US8514850                    12/201372                    20090077237                 us                       20-Aug-13              22-Apr-29               29-Aug-08
                                                                                                                                                                                                                      Point Connection
                                                                                                                                                                                                                      DHCP Diagnostics Tool for Telecommunication
801384              801384-US-NP           US7865591                    11/986265                    20090132696                 us                         4-Jan-11             16-Feb-29                7-Nov-07
                                                                                                                                                                                                                      Networks
                                                                                                                                                                                                                      PROCEDE DE TAXATION DE SERVICES TEL QUE PUSH
801477              801477-EP-EPA                                       07290568.0                   EP1988700                   EP                                               4-May-27                4-May-07
                                                                                                                                                                                                                      MAIL
                                                                                                                                                                                                                      Methods For Using The ADSLs To Bridge The PSTN
801489              801489-KR-PCT          KR101498913                  20107002614                                              KR                       27-Feb-15               7-Aug-28                7-Aug-08
                                                                                                                                                                                                                      Traffic To The Internet
                                                                                                                                                                                                                      System and Method for Visualization and
801501              801501-US-NP           US7974531                    11/781429                    20090030664                 us                         5-Jul-11             18-Dec-29                23-Jul-07 Determination of NE Customer Input to Output Fiber
                                                                                                                                                                                                                      DWDMSignal Paths




                                                                                                              Page 39 of 149
                                                                                                                                                                                       PATENT
                                                                                                                                                                               REEL: 044000 FRAME: 0180
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 47 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                  :ia:~:A,m:::::::::::::::::
                                 liiitiiiiii~:il\::::'::•:•
                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm    Self Testing & Self Calibration Configuration for
801516     801516-DE-EPA          EP2066049                    07291428.6                     EP2066049                    DE                        2-Mar-11             30-Nov-27               30-Nov-07
                                                                                                                                                                                                               Homodvne Transceiver Svstems
                                                                                                                                                                                                               Self Testing & Self Calibration Configuration for
801516     801516-FR-EPA          EP2066049                    07291428.6                     EP2066049                    FR                        2-Mar-11             30-Nov-27               30-Nov-07
                                                                                                                                                                                                               Homodvne Transceiver Systems
                                                                                                                                                                                                               Self Testing & Self Calibration Configuration for
801516     801516-GB-EPA          EP2066049                    07291428.6                     EP2066049                   GB                         2-Mar-11             30-Nov-27               30-Nov-07
                                                                                                                                                                                                               Homodvne Transceiver Svstems
                                  ZL200780100724
801527     801527-CN-PCT                                       200780100724.1                102204342                     CN                        5-Nov-14              19-Sep-27              19-Sep-07 Reliable EVDO VoIP to 3G1X Orcuit Voice Handoff
                                  .1

                                                                                                                                                                                                               Method For Hand-Over Of Terminal, Network
801527     801527-US-PCT          US8346259                    12678464                      20100291930                   us                         1-Jan-13              13-Jan-28             19-Sep-07
                                                                                                                                                                                                               Element, Base Station, And Communication System


801527     801527-KR-PCT          KR101420605                  20107008370                                                 KR                        11-Jul-14             19-Sep-27              19-Sep-07 Reliable EVDO VoIP to 3G1X Orcuit Voice Handoff


                                                                                                                                                                                                               Method For Hand-Over Of Terminal, Network
801527     801527-JP-PCT          JP5031902                    2010525177                    2010539824                   JP                          6-Jul-12             19-Sep-27              19-Sep-07
                                                                                                                                                                                                               Element, Base Station, And Communication System

                                  ZL200880123758
801543     801543-CN-PCT                                       200880123758.7                CN101910900A                  CN                        13-Jun-12               8-Jan-28              8-Jan-08 Tunable Chromatic Dispersion Compensator
                                  .7

                                                                                                                                                                                                               Tunable Chromatic Dispersion Compensator
801543     801543-DE-EPT                                                                                                   DE
                                                                                                                                                                                                               Comprising An Eye Piece And Use Of Such Eye Piece


                                                                                                                                                                                                               Tunable Chromatic Dispersion Compensator
801543     801543-EP-EPT                                       08700613.6                     EP2240808                    EP                                                8-Jan-28              8-Jan-08
                                                                                                                                                                                                               Comprising An Eye Piece And Use Of Such Eye Piece


                                                                                                                                                                                                               Tunable Chromatic Dispersion Compensator
801543     801543-FR-EPT                                                                                                   FR
                                                                                                                                                                                                               Comprising An Eye Piece And Use Of Such Eye Piece


                                                                                                                                                                                                               Tunable Chromatic Dispersion Compensator
801543     801543-GB-EPT                                                                                                  GB
                                                                                                                                                                                                               Comprising An Eye Piece And Use Of Such Eye Piece

801543     801543-JP-PCT          JP5357895                    2010541671                    2011509430                   JP                         6-Seo-13                8-Jan-28              8-Jan-08 Tunable Chromatic Disoersion Com ensator
                                                                                                                                                                                                               Eye Piece And Tunable Chromatic Dispersion
801543     801543-US-PCT          US8238031                    12/735340                     20100302645                   us                        7-Aug-12             16-Mar-28                8-Jan-08
                                                                                                                                                                                                               Comoensator Using The Same
                                                                                                                                                                                                               Method for joint and cooperative operation of
801575     801575-DE-EPA          EP2026616                    07301305.4                     EP2026616                    DE                       20-Oct-10              10-Aug-27              10-Aug-07 different wireless communication systems in the
                                                                                                                                                                                                               same frequency band (channel)
                                                                                                                                                                                                               Method for joint and cooperative operation of
801575     801575-FR-EPA          EP2026616                    07301305.4                     EP2026616                    FR                       20-Oct-10              10-Aug-27              10-Aug-07 different wireless communication systems in the
                                                                                                                                                                                                               samefreauencvband /channell
                                                                                                                                                                                                               Method for joint and cooperative operation of
801575     801575-GB-EPA          EP2026616                    07301305.4                     EP2026616                   GB                        20-Oct-10              10-Aug-27              10-Aug-07 different wireless communication systems in the
                                                                                                                                                                                                               samefreauencvband /channel)
                                                                                                                                                                                                               Synchronised multi-cell multi-stream beamforming
801622     801622-IN-PCT                                       7715/CHENP/2010               7715/CHENP/2010 IN                                                              8-Apr-29              8-Apr-09
                                                                                                                                                                                                               with self-optimising patterns
                                                                                                                                                                                                               Synchronised multi-cell multi-stream beamforming
801622     801622-US-NP           US8055303                    12/472712                     20090296663                   us                        8-Nov-11              24-Apr-30             27-May-09
                                                                                                                                                                                                               withself-o timisini;,: natterns

                                                                                                                                                                                                               Quality of Transmission Estimator accounting for the
801657     801657-DE-EPA          EP2020772                    08305437.9                     EP2020772                    DE                       29-Sep-10               30-Jul-28              30-Jul-08
                                                                                                                                                                                                               optical routing in a transparent network


                                                                                                                                                                                                               Quality of Transmission Estimator accounting for the
801657     801657-FR-EPA          EP2020772                    08305437.9                     EP2020772                    FR                       29-Sep-10               30-Jul-28              30-Jul-08
                                                                                                                                                                                                               optical routing in a transparent network


                                                                                                                                                                                                               Quality of Transmission Estimator accounting for the
801657     801657-GB-EPA          EP2020772                    08305437.9                     EP2020772                   GB                        29-Sep-10               30-Jul-28              30-Jul-08
                                                                                                                                                                                                               optical routing in a transparent network


                                                                                                                                                                                                               PROCEDE DE GESTION DES COMMUNICATIONS DANS
                                                                                                                                                                                                               UN SYSTEME DE RADIOCOMMUNICATION
801714     801714-EP-EPT                                       08759700.1                     EP2171942                    EP                                             16-May-28              16-May-08
                                                                                                                                                                                                               CELLULAIRE, ET EQUIPEMENTS POUR LA MISE EN
                                                                                                                                                                                                               OEUVRE DE CE PROCEDE

                                                                                                                                                                                                               PROCEDE DE GESTION DES COMMUNICATIONS DANS
                                                                                                                                                                                                               UN SYSTEME DE RADIOCOMMUNICATION
                                                                                                                                                                                                               CELLULAIRE,
801714     801714-FR-NP           FR2917936                    0755868                       2917936                       FR                       21-Aug-09              19-Jun-27              19-Jun-07
                                                                                                                                                                                                               ET EQUIPEMENTS POUR LA MISE EN ll'JVRE DE CE
                                                                                                                                                                                                               PROCEDE



                                                                                                                                                                                                               SHOPPING BASKET PROVIDED WITH PROFILED ITEMS
801729     801729-EP-EPA                                       07301301.3                     EP2026272                    EP                                               9-Aug-27               9-Aug-07
                                                                                                                                                                                                               ASA FUNCTION OF LOCATION AND USER PROFILE

                                                                                                                                                                                                               Method And Tool For Router Interface L2
801791     801791-US-NP           US8243591                    12/068804                     20090201909                   us                       14-Aug-12              16-Jun-31              12-Feb-08
                                                                                                                                                                                                               Redundancy
801822     801822-EP-EPA                                       07301645.3                     EP2071475                    EP                                                7-Dec-27              7-Dec-07 Semantic Cookie
                                                                                                                                                                                                               Device And Method For Automatically Optimizing
801823     801823-US-NP           US8601454                    12/333452                     20090158263                   us                        3-Dec-13                9-Jun-32             12-Dec-08 Composite Applications Having Orchestrated
                                                                                                                                                                                                               Activities
                                                                                                                                                                                                               Sliding Air Filter for Horizontal Electronic Boards
801830     801830-DE-EPA          EP2068608                    07291465.8                     EP2068608                    DE                        3-Mar-10                6-Dec-27              6-Dec-07
                                                                                                                                                                                                               Eauioments
                                                                                                                                                                                                               Sliding Air Filter for Horizontal Electronic Boards
801830     801830-FR-EPA          EP2068608                    07291465.8                     EP2068608                    FR                        3-Mar-10                6-Dec-27              6-Dec-07
                                                                                                                                                                                                               Equipments
                                                                                                                                                                                                               Sliding Air Filter for Horizontal Electronic Boards
801830     801830-GB-EPA          EP2068608                    07291465.8                     EP2068608                   GB                         3-Mar-10                6-Dec-27              6-Dec-07
                                                                                                                                                                                                               Enui ments

                                                                                                                                                                                                               PROCEDE DE FOURNITURE DYNAMIQUE DE FLUX DE
                                                                                                                                                                                                               SERVICE A DES TERMINAUX DE COMMUNICATION
801876     801876-DE-EPT          EP2208310                    08805049.7                     EP2208310                    DE                        31-Jul-13               3-Oct-28              3-Oct-08 CONNECTESA UNE ZONE MBS D{.UN RESEAU LOCAL
                                                                                                                                                                                                               DE COMMUNICATION SANS FIL, ET STATION DE BASE
                                                                                                                                                                                                               ET SERVE UR MBS ASSOCIES


                                                                                                                                                                                                               PROCEDE DE FOURNITURE DYNAMIQUE DE FLUX DE
                                                                                                                                                                                                               SERVICE A DES TERMINAUX DE COMMUNICATION
801876     801876-FR-EPT          EP2208310                    08805049.7                     EP2208310                    FR                        31-Jul-13               3-Oct-28              3-Oct-08 CONNECTESA UNE ZONE MBS D{.UN RESEAU LOCAL
                                                                                                                                                                                                               DE COMMUNICATION SANS FIL, ET STATION DE BASE
                                                                                                                                                                                                               ET SERVE UR MBS ASSOCIES


                                                                                                                                                                                                               PROCEDE DE FOURNITURE DYNAMIQUE DE FLUX DE
                                                                                                                                                                                                               SERVICE A DES TERMINAUX DE COMMUNICATION
801876     801876-GB-EPT          EP2208310                    08805049.7                     EP2208310                   GB                         31-Jul-13               3-Oct-28              3-Oct-08 CONNECTESA UNE ZONE MBS D{.UN RESEAU LOCAL
                                                                                                                                                                                                               DE COMMUNICATION SANS FIL, ET STATION DE BASE
                                                                                                                                                                                                               ET SERVE UR MBS ASSOCIES




                                                                                                       Page 40 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0181
          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 48 of 156
                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn    ~~:J~JfW
                                     :ia:~:A,m:::::::::::::::::
                                    liiitiiiiii~:il\::::'::•:•
                                                                  :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr    'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                            PROCEDE ET SYSTEME DE CONTROLE PAR ECHO DE
801892     801892-EP-EPA                                          09150716.0                   EP2086166                   EP                                               16-Jan-29             16-Jan-09 LA FOURNITURE DE CONTENUS MBS DANS UNE ZONE
                                                                                                                                                                                                               MBS D'UN RESEAU DE COMMUNICATION


                                                                                                                                                                                                            PROCEDE ET SYSTEME DE CONTROLE PAR ECHO DE
801892     801892-FR-NP              FR2926693                    0850311                      2926693                     FR                        7-May-10               18-Jan-28             18-Jan-08 LA FOURNITURE DE CONTENUS MBS DANS UNE ZONE
                                                                                                                                                                                                               MBS D'UN RESEAU DE COMMUNICATION

                                                                                                                                                                                                               Satellite based measurement principles for antenna
801902     801902-DE-EPA             EP2196817                    08291162.9                   EP2196817                   DE                       27-Apr-16              10-Dec-28              10-Dec-08
                                                                                                                                                                                                               state variables
                                                                                                                                                                                                               Satellite based measurement principles for antenna
801902     801902-FR-EPA             EP2196817                    08291162.9                   EP2196817                   FR                       27-Apr-16              10-Dec-28              10-Dec-08
                                                                                                                                                                                                               state variables
                                                                                                                                                                                                               Satellite based measurement principles for antenna
801902     801902-GB-EPA             EP2196817                    08291162.9                   EP2196817                   GB                       27-Apr-16              10-Dec-28              10-Dec-08
                                                                                                                                                                                                               state variables

                                                                                                                                                                                                               Method And Apparatus For Simultaneous Support Of
801919     801919-US-NP              US8964571                    12/144120                    20090010257                 us                       24-Feb-15              14-Apr-28              23-Jun-08
                                                                                                                                                                                                               Fast Restoration And Native Multicast In IP Networks

                                                                                                                                                                                                            SYSTEM FOR DETERMINING A GEOGRAPHICAL
801939     801939-EP-EPA                                          07291512.7                   EP2071546                   EP                                              12-Dec-27              12-Dec-07 LOCATON, A RELATED GEOGRAPHICAL MAP, AND A
                                                                                                                                                                                                               RELATED RESOLUTION SERVER
                                                                                                                                                                                                               FACILITATE AND ENRICH TOURISM EXPERIENCE WITH
801939     801939-IN-PCT                                          3541/CHENP/2010              3541/CHENP/2010 IN                                                         27-Nov-28               27-Nov-08
                                                                                                                                                                                                               AUTOID
                                                                                                                                                                                                               PROCESS OPTIMIZING THE WDM AMPLIFICATION IN
801963     801963-DE-EPA             EP2053771                    07291299.1                   EP2053771                   DE                       14-Apr-10              26-Oct-27              26-Oct-07
                                                                                                                                                                                                               TRANSPARENT NETWORKS
                                                                                                                                                                                                               PROCESS OPTIMIZING THE WDM AMPLIFICATION IN
801963     801963-FR-EPA             EP2053771                    07291299.1                   EP2053771                   FR                       14-Apr-10              26-Oct-27              26-Oct-07
                                                                                                                                                                                                               TRANSPARENT NETWORKS
                                                                                                                                                                                                               PROCESS OPTIMIZING THE WDM AMPLIFICATION IN
801963     801963-GB-EPA             EP2053771                    07291299.1                   EP2053771                   GB                       14-Apr-10              26-Oct-27              26-Oct-07
                                                                                                                                                                                                               TRANSPARENT NETWORKS

801997     801997-IN-PCT                                          5804/CHENP/2010              5804/CHENP/2010 IN                                                          23-Feb-29              23-Feb-09 SMART MATCHING


802015     802015-DE-EPA             EP2086158                    08290079.6                   EP2086158                   DE                        22-Jun-11              29-Jan-28             29-Jan-08 Clock recovery scheme for optical coherent receiver


802015     802015-FR-EPA             EP2086158                    08290079.6                   EP2086158                   FR                        22-Jun-11              29-Jan-28             29-Jan-08 Clock recovery scheme for optical coherent receiver


802015     802015-GB-EPA             EP2086158                    08290079.6                   EP2086158                   GB                        22-Jun-11              29-Jan-28             29-Jan-08 Clock recovery scheme for optical coherent receiver

                                                                                                                                                                                                               Method for Simultaneous access to Home and visited
802027     802027-EP-EPA                                          08290377.4                   EP2111019                   EP                                              17-Apr-28              17-Apr-08
                                                                                                                                                                                                               networks services in roamin11:

                                                                                                                                                                                                               MEASURING IDEAL DECODER CHANGE CHANNEL
802046     802046-EP-EPA                                          08382032.4                   EP2150066                   EP                                               29-Jul-28              29-Jul-08
                                                                                                                                                                                                               TIME IN COMPRESSED VIDEO PLATFORMS

                                                                                                                                                                                                                 Method and apparatus to automatically send called
802103     802103-KR-PCT             KR101464951                  20107023095                                              KR                       19-Nov-14             18-Mar-28               18-Mar-08
                                                                                                                                                                                                               I party available alert to calling party
802128     802128-DE-EPA             EP2071754                    07291477.3                   EP2071754                   DE                       10-Feb-10              10-Dec-27              10-Dec-07 Polarization multiplexed optical OFDM
802128     802128-FR-EPA             EP2071754                    07291477.3                   EP2071754                   FR                       10-Feb-10              10-Dec-27              10-Dec-07 Polarization multi lexed ontical OFDM
802128     802128-GB-EPA             EP2071754                    07291477.3                   EP2071754                   GB                       10-Feb-10              10-Dec-27              10-Dec-07 Polarization multi lexed ontical OFDM
                                                                                                                                                                                                               Micro Coax Cable with foamed PFA dielectric and
802245     802245-EP-EPA                                          07291406.2                   EP2063437                   EP                                             26-Nov-27               26-Nov-07
                                                                                                                                                                                                               corrui;,:ated outer conductor

                                                                                                                                                                                                               Facilitating Management of Layer 2 Hardware
802258     802258-US-NP              US8195832                    12/001648                    20090158006                 us                         5-Jun-12               2-Oct-29             12-Dec-07
                                                                                                                                                                                                               Address Table Based on Packet Priority Information

                                                                                                                                                                                                               METHOD FOR RATE ONTROL OF MULTIMEDIA
                                                                                                                                                                                                               STREAMS AND APPARATUS FOR PERFORMING TH IS
802274     802274-EP-EPA                                          07291191.0                   EP2046063                   EP                                                2-Oct-27              2-Oct-07
                                                                                                                                                                                                               METHOD


                                                                                                                                                                                                               Transport synchronization for multicast over radio
802306     802306-DE-EPA             EP2066050                    08170088.2                   EP2066050                   DE                       30-May-12             27-Nov-28               27-Nov-08
                                                                                                                                                                                                               for mobile users
                                                                                                                                                                                                               Transport synchronization for multicast over radio
802306     802306-FR-EPA             EP2066050                    08170088.2                   EP2066050                   FR                       30-May-12             27-Nov-28               27-Nov-08
                                                                                                                                                                                                               for mobile users
                                                                                                                                                                                                               Transport synchronization for multicast over radio
802306     802306-GB-EPA             EP2066050                    08170088.2                   EP2066050                   GB                       30-May-12             27-Nov-28               27-Nov-08
                                                                                                                                                                                                               for mobile users
                                                                                                                                                                                                            Dynamic Adaptation of size and frequency for
802334     802334-IN-NP                                           627 /DEL/2008                                            IN                                             12-Mar-28               12-Mar-08 Ranging and Bandwidth request allocations for IEEE
                                                                                                                                                                                                               802.16e OFDMA Phvsical Laver
                                                                                                                                                                                                               Dynamic Adaptation of size and frequency for
802334     802334-EP-EPA                                          09154934.5                   EP2101532                   EP                                             11-Mar-29               11-Mar-09 Ranging and Bandwidth request allocations for IEEE
                                                                                                                                                                                                               802.16e OFDMA Physical Laver
                                                                                                                                                                                                               System and Method for Enabling Management
802364     802364-US-CIP             US7904546                    11/349061                                                us                        8-Mar-11               20-Jul-27              6-Feb-06
                                                                                                                                                                                                               Functions in a Network
802364     802364-US-CIP[2]          US8990365                    11/349031                                                us                       24-Mar-15             27-Mav-28                6-Feb-06 Processin11:Mana11:ementPackets
                                                                                                                                                                                                            Booting Intelligent Components by a Shared
802366     802366-US-NP              US7574589                    11/123864                                                us                       11-Aug-09             12-Mar-28                5-May-05
                                                                                                                                                                                                            Resource
802373     802373-US-NP              US9172629                    11/323317                                                us                       27-Oct-15                6-Jan-31             29-Dec-05 Classifving Packets
                                                                                                                                                                                                            METHOD AND HYBRID CIRCUIT FOR ATTENUATING
802402     802402-US-NP              US7929469                    12/386288                    20090270039                 us                       19-Apr-11                17-Jul-29            16-Apr-09 NEAR-END CROSSTALK IN A BIDIRECTIONAL SIGNAL
                                                                                                                                                                                                               TRANSMISSION

802470     802470-US-NP              US7783193                    11/754341                    20070280700                 us                       24-Aug-10             23-Nov-28              28-May-07 NOISE TONE AVOIDANCE IN OPTICAL NETWORKS

                                                                                                                                                                                                               USING DUAL RATE SCHEDULER TO MARK PROFILE
802477     802477-US-NP              US8031721                    12/029667                    20090201942                 us                        4-Oct-11              11-Sep-28              12-Feb-08
                                                                                                                                                                                                               STATE PER-PACKET
                                                                                                                                                                                                               PROCEDE PERMETTANT DE LOCALISER UN POINT
802488     802488-FR-EPA             EP2139288                    09163216.6                   EP2139288                   FR                       20-Mar-13              19-Jun-29              19-Jun-09 D'ACCES RADIO D'UN RESEAU DE
                                                                                                                                                                                                               TELECOMMUNICATION
                                                                                                                                                                                                            PROCEDE PERMETTANT DE LOCALISER UN POINT
802488     802488-GB-EPA             EP2139288                    09163216.6                   EP2139288                   GB                       20-Mar-13              19-Jun-29              19-Jun-09 D'ACCES RADIO D'UN RESEAU DE
                                                                                                                                                                                                               TELECOMMUNICATION
                                                                                                                                                                                                               PROCEDE PERMETTANT DE LOCALISER UN POINT
802488     802488-DE-EPA             EP2139288                    09163216.6                   EP2139288                   DE                       20-Mar-13              19-Jun-29              19-Jun-09 D'ACCES RADIO D'UN RESEAU DE
                                                                                                                                                                                                               TELECOMMUNICATION
802576     802576-US-NP              US7797823                    11/967756                    20090168348                 us                       21-Sep-10              25-Jun-28              31-Dec-07 HIGH DENSITY VENTILATION ASSEMBY


                                                                                                                                                                                                               PROCEDE POUR GERER L'ACCES D'UN EQUIPEMENT
                                                                                                                                                                                                               UTILISATEURA UNE INFRASTRUCTURE DE RESEAU DE
802593     802593-EP-EPA                                          09151884.5                   EP2086264                   EP                                                2-Feb-29              2-Feb-09 RADIOCOMMUNICATION, POINT D'ACCES DE
                                                                                                                                                                                                               L'INFRASTRUCTURE, ET EQUIPEMENT UTILISATEUR,
                                                                                                                                                                                                               POUR LA MISE EN OEUVRE DU PROCEDE


                                                                                                                                                                                                               enhanced RUA with RTSP facilities
802594     802594-EP-EPT                                          08789636.1                   EP2218241                   EP                                             12-May-28              12-May-08




                                                                                                        Page 41 of 149
                                                                                                                                                                                 PATENT
                                                                                                                                                                         REEL: 044000 FRAME: 0182
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 49 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm     PUB ER l Protection with Unidirectional-LSPs for
802610              802610-EP-EPA                                       08300142.0                     EP2101452                    EP                                              13-Mar-28                13-Mar-08
                                                                                                                                                                                                                          Bidirectional End-To-End Recoverv
                                                                                                                                                                                                                          CCBS Screening For Blacklisted Networks In IMS
802648              802648-DE-EPT          EP2301233                    08774445.4                     EP2301233                    DE                        25-Apr-12              27-Jun-28                27-Jun-08
                                                                                                                                                                                                                          Networks
                                                                                                                                                                                                                          CCBS Screening For Blacklisted Networks In IMS
802648              802648-FR-EPT          EP2301233                    08774445.4                     EP2301233                    FR                        25-Apr-12              27-Jun-28                27-Jun-08
                                                                                                                                                                                                                          Networks
                                                                                                                                                                                                                          CCBS Screening For Blacklisted Networks In IMS
802648              802648-GB-EPT          EP2301233                    08774445.4                     EP2301233                   GB                         25-Apr-12              27-Jun-28                27-Jun-08
                                                                                                                                                                                                                          Networks

                                                                                                                                                                                                                          Method and Apparatus for Selecting Maximally
802671              802671-US-NP           US7046634                    10/121654                                                   us                       16-May-06                 6-Jan-25               15-Apr-02
                                                                                                                                                                                                                          Disjoint Shortest Paths in a Network

                                                                                                                                                                                                                          Best companion beam index and CQI reporting for
802702              802702-DE-EPA          EP2166807                    08305573.1                     EP2166807                    DE                         1-Dec-10              19-Sep-28                19-Sep-08
                                                                                                                                                                                                                          multiuser-MIMD nrecodini;,:
                                                                                                                                                                                                                          Best companion beam index and CQI reporting for
802702              802702-FR-EPA          EP2166807                    08305573.1                     EP2166807                    FR                         1-Dec-10              19-Sep-28                19-Sep-08
                                                                                                                                                                                                                          multiuser-MIMD orecodini;,:
                                                                                                                                                                                                                          Best companion beam index and CQI reporting for
802702              802702-GB-EPA          EP2166807                    08305573.1                     EP2166807                   GB                          1-Dec-10              19-Sep-28                19-Sep-08
                                                                                                                                                                                                                          multiuser-MIMD orecoding
                                                                                                                                                                                                                          Methods and Systems Preventing Frame Mis-
802704              802704-US-NP           US7525960                    10/140997                     20030210693                   us                        28-Apr-09                5-Dec-23               9-May-02
                                                                                                                                                                                                                          Ordering in Explicitly Routed Networks
                                                                                                                                                                                                                          ASwitchandaSwitchingApparatusfora
802715              802715-US-NP           US7170895                    10/108515                                                   us                        30-Jan-07               7-Aug-25               29-Mar-02
                                                                                                                                                                                                                          Communication Network
                                                                                                                                                                                                                          Set pointer to a vCard about few videoconference
802732              802732-IN-PCT                                       5881/CHENP/2010               5881/CHENP/2010 IN                                                            20-Mar-29                20-Mar-09
                                                                                                                                                                                                                          loart
                                                                                                                                                                                                                          A method for radio link adaption of a channel
                                                                                                                                                                                                                          between a first network element and a second
802748              802748-DE-EPA          EP2139138                    08305317.3                     EP2139138                    DE                        19-Jun-13              24-Jun-28                24-Jun-08
                                                                                                                                                                                                                          network, a network element and a communication
                                                                                                                                                                                                                          network therefor
                                                                                                                                                                                                                          A method for radio link adaption of a channel
                                                                                                                                                                                                                          between a first network element and a second
802748              802748-FR-EPA          EP2139138                    08305317.3                     EP2139138                    FR                        19-Jun-13              24-Jun-28                24-Jun-08
                                                                                                                                                                                                                          network, a network element and a communication
                                                                                                                                                                                                                          network therefor
                                                                                                                                                                                                                          A method for radio link adaption of a channel
                                                                                                                                                                                                                          between a first network element and a second
802748              802748-GB-EPA          EP2139138                    08305317.3                     EP2139138                   GB                         19-Jun-13              24-Jun-28                24-Jun-08
                                                                                                                                                                                                                          network, a network element and a communication
                                                                                                                                                                                                                          network therefor
                                           ZL201080007760                                                                                                                                                                 Preferred attachment of MS on Femto cell of
802762              802762-CN-PCT                                       201080007760.5                102318400                     CN                        18-Feb-15                8-Jan-30                8-Jan-10
                                           .5                                                                                                                                                                             customer
                                                                                                                                                                                                                          Preferred attachment of MS on Femto cell of
802762              802762-DE-EPT          EP2386175                    10706697.9                     EP2386175                    DE                         27-Jul-16               8-Jan-30                8-Jan-10
                                                                                                                                                                                                                          customer
                                                                                                                                                                                                                          Preferred attachment of MS on Femto cell of
802762              802762-FR-EPT          EP2386175                    10706697.9                     EP2386175                    FR                         27-Jul-16               8-Jan-30                8-Jan-10
                                                                                                                                                                                                                          customer
                                                                                                                                                                                                                          Preferred attachment of MS on Femto cell of
802762              802762-GB-EPT          EP2386175                    10706697.9                     EP2386175                   GB                          27-Jul-16               8-Jan-30                8-Jan-10
                                                                                                                                                                                                                          customer
                                                                                                                                                                                                                          Preferred attachment of MS on Femto cell of
802762              802762-JP-PCT          JP5404813                    2011544907                    2012514927                   JP                          8-Nov-13                8-Jan-30                8-Jan-10
                                                                                                                                                                                                                          customer

                                                                                                                                                                                                                          Method For Managing Radio Links Within A Radio
802762              802762-US-PCT          US8655365                    13/143407                     20110269467                   us                        18-Feb-14              10-Jun-30                 8-Jan-10 Communication System With Mobile Units, And
                                                                                                                                                                                                                          Equipment Adapted To Implementing The Method

                                                                                                                                                                                                                          Limit allocated bandwidth in an OFDM system with
802770              802770-DE-EPA          EP2139290                    08305285.2                     EP2139290                    DE                         7-Sep-16              19-Jun-28                19-Jun-08
                                                                                                                                                                                                                          dynamic set of resources
                                                                                                                                                                                                                          Limit allocated bandwidth in an OFDM system with
802770              802770-FR-EPA          EP2139290                    08305285.2                     EP2139290                    FR                         7-Sep-16              19-Jun-28                19-Jun-08
                                                                                                                                                                                                                          dvnamic set of resources
                                                                                                                                                                                                                          Limit allocated bandwidth in an OFDM system with
802770              802770-GB-EPA          EP2139290                    08305285.2                     EP2139290                   GB                          7-Sep-16              19-Jun-28                19-Jun-08
                                                                                                                                                                                                                          dvnamic set of resources
                                                                                                                                                                                                                          Capability Sharing architecture and Implementation
802773              802773-KR-PCT          KR101526911                  20107028408                                                 KR                         2-Jun-15               29-Jul-28               29-Jul-08
                                                                                                                                                                                                                          In IM or communitv Network

802778              802778-US-PCT          US9037727                    13/000778                     20110270993                   us                       19-May-15                 6-Sep-28               27-Jun-08 Capability Grabbing Peer Device Functionality In SIP

                                                                                                                                                                                                                          End to End overload Control for Diameter
802797              802797-KR-PCT          KR101440670                  20107028231                                                 KR                         4-Sep-14             15-May-28                15-May-08
                                                                                                                                                                                                                          Annlications
                                                                                                                                                                                                                          Crosstalk reduction by field cancellation on PCB
802830              802830-DE-EPA          EP2152049                    08305459.3                     EP2152049                    DE                         17-Jul-13              8-Aug-28                8-Aug-08
                                                                                                                                                                                                                          tracks
                                                                                                                                                                                                                          Crosstalk reduction by field cancellation on PCB
802830              802830-FR-EPA          EP2152049                    08305459.3                     EP2152049                    FR                         17-Jul-13              8-Aug-28                8-Aug-08
                                                                                                                                                                                                                          tracks
                                                                                                                                                                                                                          Crosstalk reduction by field cancellation on PCB
802830              802830-GB-EPA          EP2152049                    08305459.3                     EP2152049                   GB                          17-Jul-13              8-Aug-28                8-Aug-08
                                                                                                                                                                                                                          tracks
                                                                                                                                                                                                                          Optical band allocation reducing the optical crosstalk
802887              802887-DE-EPA          EP2134007                    08290558.9                     EP2134007                    DE                       29-May-13               13-Jun-28                13-Jun-08
                                                                                                                                                                                                                          intransnarent networks
                                                                                                                                                                                                                          Optical band allocation reducing the optical crosstalk
802887              802887-FR-EPA          EP2134007                    08290558.9                     EP2134007                    FR                       29-May-13               13-Jun-28                13-Jun-08
                                                                                                                                                                                                                          intransoarent networks
                                                                                                                                                                                                                          Optical band allocation reducing the optical crosstalk
802887              802887-GB-EPA          EP2134007                    08290558.9                     EP2134007                   GB                        29-May-13               13-Jun-28                13-Jun-08
                                                                                                                                                                                                                          intransoarent networks

802890              802890-DE-EPA          EP2160045                    09167359.0                     EP2160045                    DE                        12-Oct-11               6-Aug-29                6-Aug-09 DXC architecture compliant to flexible WDM-packet


          802890    802890-FR-EPA          EP2160045                    09167359.0                     EP2160045                           FR              12-Oct-11             6-Aug-29                 6-Aug-09        DXC architecture compliant to flexible WDM-packet


          802890    802890-GB-EPA          EP2160045                    09167359.0                     EP2160045                          GB               12-Oct-11             6-Aug-29                 6-Aug-09        DXC architecture compliant to flexible WDM-packet
                                                                                                                                                                                                                          SIMPLE NOISE TOLERANT CARD TO CARD SIGNALING
                                                                                                                                                                                                                          FOR HOT INSERTABLE/REMOVABLE ELECTRICAL
          802895    802895-US-NP           US7765353                    12/060477                     20090248938                          us               27-Jul-10             9-Jul-28                1-Apr-08        CIRCUITS
                                                                                                                                                                                                                          Automatic e-mail classification for less interesting e-
          802941    802941-IN-PCT                                       5816/CHENP/2010               5816/CHENP/2010                      IN                                   27-Mar-29                 27-Mar-09       mail
                                                                                                                                                                                                                          Automatic e-mail classification for less interesting e-
          802941    802941-JP-PCT          JP5124684                    2011502353                    2011516951                           JP               2-Nov-12            27-Mar-29                 27-Mar-09       mail
                                                                                                                                                                                                                          Automatic e-mail classification for less interesting e-
          802941    802941-KR-PCT          KR101298960                  20107021854                   1020100121684                        KR              16-Aug-13            27-Mar-29                 27-Mar-09       mail
                                                                                                                                                                                                                          Electronic Message Handling Method Based On A
                                                                                                                                                                                                                          Message System Client And System To Implement
          802941    802941-US-NP           US8751585                    12/415089                     20090300124                          us              10-Jun-14            31-Mar-29                 31-Mar-09       The Method
                                                                                                                                                                                                                          PROCEDE DE GESTION DE MESSAGES
                                                                                                                                                                                                                          ELECTRONIQUESA PARTIR D'UN CLIENT DE
                                                                                                                                                                                                                          MESSAGERIE ET SYSTEME POUR METTRE EN OEUVRE
                                                                                                                                                                                                                          LE PROCEDE


          802941    802941-EP-EPA                                       09156414.6                     EP2107517                           EP                                   27-Mar-29                 27-Mar-09
                                                                                                                                                                                                                          Optimized Negotiation Of Coding Resources Between
          802974    802974-US-PCT                                       12/736286                     20110016216                          us                                   10-Apr-29                 10-Apr-09       Communication Clients
          802974    802974-EP-EPT                                       09742312.3                     EP2283631                           EP                                   10-Apr-29                 10-Apr-09       SIP Call Establishment Optimization




                                                                                                                Page 42 of 149
                                                                                                                                                                                           PATENT
                                                                                                                                                                                   REEL: 044000 FRAME: 0183
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 50 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                           :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                     ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                METHOD AND SYSTEM FOR DISTRIBUTED
                                                                                                                                                                                                                MEASUREMENT AND COMPENSATION OF
          802977    802977-US-NP           US8014668                    12/017041          20100283996                           us                     6-Sep-11            8-Jul-30                20-Jan-08   CHROMATIC DISPERSION IN OPTICAL NETWORKS
                                                                                                                                                                                                                Enhancements to SIP Forking for offering
          802990    802990-EP-EPT                                       08875842.0         EP2316210                             EP                                        8-Aug-28                 8-Aug-08    new/improved user services
                                                                                                                                                                                                                Enhancements to SIP Forking for offering
          802990    802990-KR-PCT          KR101455125                  20117005114                                              KR                    21-Oct-14           8-Aug-28                 8-Aug-08    new/improved user services

          803047    803047-EP-EPA                                       08290789.0         EP2159749                             EP                                       20-Aug-28                 20-Aug-08   Multi Utility Multi Module Information And Control
                                                                                                                                                                                                                MANAGEMENT PLATFORM AND ASSOCIATED
                                                                                                                                                                                                                METHOD FOR MANAGING SMART METERS
          803049    803049-KR-PCT          KR101520748                  1020107019187                                            KR                    11-May-15          13-Feb-29                 13-Feb-09
                                                                                                                                                                                                                Management Platform And Associated Method For
          803049    803049-US-NP           US8145540                    12/393643          20090222828                           us                    27-Mar-12          23-Apr-30                 26-Feb-09   Managing Smart Meters
                                                                                                                                                                                                                MANAGEMENT PLATFORM AND ASSOCIATED
                                                                                                                                                                                                                METHOD FOR MANAGING SMART METERS
          803049    803049-JP-PCT          JP5307837                    2010-548001        2011514062                            JP                     5-Jul-13          13-Feb-29                 13-Feb-09


          803076    803076-EP-EPA                                       09290142.0         EP2224767                             EP                                       27-Feb-29                 27-Feb-09   Low Complexity Resource Allocation Algorithm
                                                                                                                                                                                                                PROCEDE POUR COMMANDER AU MOINS UNE
                                                                                                                                                                                                                FONCTION D'UN CLIENT DE MESSAGERIE
          803078    803078-DE-EPA          EP2169886                    09170057.5         EP2169886                             DE                    29-Apr-15          11-Sep-29                 11-Sep-09   INSTANTAN EE
                                                                                                                                                                                                                PROCEDE POUR COMMANDER AU MOINS UNE
                                                                                                                                                                                                                FONCTION D'UN CLIENT DE MESSAGERIE
          803078    803078-FR-EPA          EP2169886                    09170057.5         EP2169886                             FR                    29-Apr-15          11-Sep-29                 11-Sep-09   INSTANTAN EE
                                                                                                                                                                                                                PROCEDE POUR COMMANDER AU MOINS UNE
                                                                                                                                                                                                                FONCTION D'UN CLIENT DE MESSAGERIE
                                                                                                                                                                                                                INSTANTANEE
          803078    803078-FR-NP           FR2936386                    0856437            2936386                               FR                    16-Sep-11          25-Sep-28                 25-Sep-08
                                                                                                                                                                                                                PROCEDE POUR COMMANDER AU MOINS UNE
                                                                                                                                                                                                                FONCTION D'UN CLIENT DE MESSAGERIE
          803078    803078-GB-EPA          EP2169886                    09170057.5         EP2169886                             GB                    29-Apr-15          11-Sep-29                 11-Sep-09   INSTANTAN EE
                                                                                                                                                                                                                Method for switching a client terminal from an idle
          803113    803113-DE-EPA          EP2148541                    08290713.0         EP2148541                             DE                     7-Sep-11           21-Jul-28                21-Jul-08   mode to an active mode
                                                                                                                                                                                                                Method for switching a client terminal from an idle
          803113    803113-FR-EPA          EP2148541                    08290713.0         EP2148541                             FR                     7-Sep-11           21-Jul-28                21-Jul-08   mode to an active mode
                                                                                                                                                                                                                Method for switching a client terminal from an idle
          803113    803113-GB-EPA          EP2148541                    08290713.0         EP2148541                             GB                     7-Sep-11           21-Jul-28                21-Jul-08   mode to an active mode
                                                                                                                                                                                                                IMPROVING RELIABILILTY OF A GTL BACKPLANE BUS
          803135    803135-US-NP           US7675325                    12/114463          20090273369                           us                    9-Mar-10            2-May-28                 2-May-08    SYSTEM


                                                                                                                                                                                                                Method And Device For Resource Management
          803145    803145-JP-PCT          JP5631303                    2011508985         2011521341                            JP                    17-Oct-14          14-May-29                 14-May-09   Recording Medium For Said Method


                                                                                                                                                                                                                Method And Device For Resource Management
          803145    803145-US-PCT                                       12/926268          20110313970                           us                                       14-May-29                 14-May-09   Recording Medium For Said Method
          803157    803157-EP-EPA                                       09167677.5         EP2164237                             EP                                       12-Aug-29                 12-Aug-09   Enriched Instant Messaging
                                                                                                                                                                                                                PROCEDE ET SYSTEME DE COMMUNICATION POUR
                                                                                                                                                                                                                L'AFFICHAGE D'UN LIEN VERS UN SERVICE A PARTIR
                                                                                                                                                                                                                D'UNE EXPRESSION ENONCEE EN COURS DE
          803157    803157-FR-NP           FR2935854                    0856126            2935854                               FR                    18-Feb-11          11-Sep-28                 11-Sep-08   CONVERSATION
                                                                                                                                                                                                                Method For Allocating Frequency Subchannels On An
                                                                                                                                                                                                                Air Interface Of A Wireless Communication System
                                                                                                                                                                                                                And Corresponding Radio Resource Allocation
          803193    803193-US-NP           US8958407                    12/433140          20090279494                           us                    17-Feb-15          24-Apr-33                 30-Apr-09   Module


                                                                                                                                                                                                                Method For Scheduling Packets Of A Plurality Of
          803281    803281-US-NP           US8588070                    12/588029          20100124234                           us                    19-Nov-13          19-Oct-30                 1-Oct-09    Flows And System For Carrying Out The Method


          803291    803291-US-PCT          US8509250                    12/988600          20110038340                           us                    13-Aug-13          16-Dec-29                 28-Apr-09   Resource Allocation Method And Apparatus Thereof
                                                                                                                                                                                                                Single/Multiple Preparation triggered from
          803365    803365-DE-EPA          EP2203014                    08291252.8         EP2203014                             DE                    10-Sep-14          29-Dec-28                 29-Dec-08   Admission Failure
                                                                                                                                                                                                                Single/Multiple Preparation triggered from
          803365    803365-FR-EPA          EP2203014                    08291252.8         EP2203014                             FR                    10-Sep-14          29-Dec-28                 29-Dec-08   Admission Failure
                                                                                                                                                                                                                Single/Multiple Preparation triggered from
          803365    803365-GB-EPA          EP2203014                    08291252.8         EP2203014                             GB                    10-Sep-14          29-Dec-28                 29-Dec-08   Admission Failure
                                                                                                                                                                                                                Single/Multiple Preparation triggered from
          803365    803365-KR-PCT          KR101296706                  20117017624                                              KR                     8-Aug-13           3-Dec-29                 3-Dec-09    Admission Failure
          803365    803365-US-NP           US8200224                    12/648055          20100167744                           us                    12-Jun-12          23-Aug-30                 28-Dec-09   Handover Method And Apparatus Thereof


                                                                                                                                                                                                                Location-Based Handovers From A Macrocell To A
          803382    803382-EP-EPT                                       09760615.6         EP2353323                             EP                                       20-Oct-29                 20-Oct-09   Femtocell Using Periodic Measurement Reporting
                                                                                                                                                                                                                A Method and System for Network Wide Fault
          803410    803410-US-NP           US7406260                    10/981591                                                us                     29-Jul-08          1-Feb-27                 5-Nov-04    Isolation in an Optical Network
          803411    803411-JP-PCT          JP5755154                    2011-553383        2012519921                            JP                     5-Jun-15          24-Feb-30                 24-Feb-10   TR-069 IN SESSION TRANSACTION SUPPORT
                                                                                                                                                                                                                Method And System For Remote Configuration Of A
          803411    803411-US-PCT          US8812628                    13/146561          20110314137                           us                    19-Aug-14          24-Feb-30                 24-Feb-10   Device
                                                                                                                                                                                                                Methods and Apparatus for Detecting a Faulty
                                                                                                                                                                                                                Component along an Optical Path in an Optical
          803415    803415-US-NP           US7139069                    11/065098                                                us                    21-Nov-06           3-Jun-25                 25-Feb-05   Network
                                                                                                                                                                                                                Optical Wavekey Network and Method for
          803451    803451-US-NP           US7827308                    10/733327          20040249976                           us                     2-Nov-10          28-Nov-27                 15-Dec-03   Distributing Management Information Therein
                                                                                                                                                                                                                Method of providing a successor list
          803462    803462-IN-PCT                                       7125/CHENP/2010    7125/CHENP/2010                        IN                                      19-Jun-29                 19-Jun-09
                                                                                                                                                                                                                Method of providing a successor list
          803462    803462-KR-PCT          KR101224374                  20107028992                                              KR                    15-Jan-13          19-Jun-29                 19-Jun-09
                                                                                                                                                                                                                Method Of Providing A Successor List
          803462    803462-US-NP           US8792331                    12/492872          20090323696                           us                     29-Jul-14          23-Jul-29                26-Jun-09
                                           ZL200910150968                                                                                                                                                       Method for an adaptive neighbour list in p2p
          803462    803462-CN-NP           .1                           200910150968.1     CN101616013A                          CN                     4-Jul-12          29-Jun-29                 29-Jun-09   networks
                                                                                                                                                                                                                Method of providing a successor list
          803462    803462-DE-EPA          EP2139202                    08290625.6         EP2139202                             DE                    28-Mar-12          27-Jun-28                 27-Jun-08
                                                                                                                                                                                                                Method of providing a successor list
          803462    803462-FR-EPA          EP2139202                    08290625.6         EP2139202                             FR                    28-Mar-12          27-Jun-28                 27-Jun-08
                                                                                                                                                                                                                Method of providing a successor list
          803462    803462-GB-EPA          EP2139202                    08290625.6         EP2139202                             GB                    28-Mar-12          27-Jun-28                 27-Jun-08
                                                                                                                                                                                                                Method And Apparatus For Processing Wanted
                                                                                                                                                                                                                Signals, Received By A Node Of A CDMA
                                                                                                                                                                                                                Communication System, In Order To Estimate The
          803463    803463-DE-EPA          EP2278725                    10168450.4         EP2278725                             DE                    14-Mar-12            5-Jul-30                 5-Jul-10   Power Of Thermal Noise




                                                                                                   Page 43 of 149
                                                                                                                                                                                     PATENT
                                                                                                                                                                             REEL: 044000 FRAME: 0184
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 51 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                           :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                     ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Processing Wanted
                                                                                                                                                                                                                Signals, Received By A Node Of A CDMA
                                                                                                                                                                                                                Communication System, In Order To Estimate The
          803463    803463-FR-EPA          EP2278725                    10168450.4         EP2278725                             FR                    14-Mar-12            5-Jul-30                 5-Jul-10   Power Of Thermal Noise
                                                                                                                                                                                                                Method And Apparatus For Processing Wanted
                                                                                                                                                                                                                Signals, Received By A Node Of A CDMA
                                                                                                                                                                                                                Communication System, In Order To Estimate The
          803463    803463-GB-EPA          EP2278725                    10168450.4         EP2278725                             GB                    14-Mar-12            5-Jul-30                 5-Jul-10   Power Of Thermal Noise
                                                                                                                                                                                                                Method and Apparatus for Compensating for Side
                                                                                                                                                                                                                Effects of Cross Gain Modulation in Amplified Optical
          803480    803480-CA-NP           CA2453813                    2453813            2453813                               CA                    11-Aug-09          19-Dec-23                 19-Dec-03   Networks
                                                                                                                                                                                                                Method and Apparatus for Compensating for Side
                                                                                                                                                                                                                Effects of Cross Gain Modulation in Amplified Optical
          803480    803480-US-NP           US7127165                    10/628418                                                us                    24-Oct-06          30-May-25                 29-Jul-03   Networks


                                                                                                                                                                                                                A Method and System for Light Path Monitoring in an
          803481    803481-US-NP           US7529480                    10/725025          20040120710                           us                    5-May-09            2-Jun-25                 2-Dec-03    Optical Communication Network
                                                                                                                                                                                                                Authenticaton Of Access Points In Wireless Local
          803518    803518-US-NP           US8176328                    12/211980          20100070771                           us                    8-May-12            4-Nov-30                 17-Sep-08   Area Networks
                                                                                                                                                                                                                DPI-Driven Bearer Termination For Short-Lived
          803520    803520-US-NP           US8179846                    12/206364          20100062781                           us                    15-May-12           25-Jul-30                8-Sep-08    Applications
                                                                                                                                                                                                                Virtual Card (VCard) Container For Creating and
          803548    803548-US-NP           US8295881                    12/378216          20100203873                           us                    23-Oct-12          26-Mar-30                 12-Feb-09   Sending Electronic Business Cards


                                                                                                                                                                                                                MLPPP SEQUENCE NUMBER SYNCHRONIZATION
          803569    803569-US-NP           US7929423                    12/347642          20100166020                           us                    19-Apr-11           3-Aug-29                 31-Dec-08   BETWEEN THE ACTIVE AND STANDBY TRANSMITTERS
          803606    803606-EP-EPA                                       08305967.5         EP2200264                             EP                                       18-Dec-28                 18-Dec-08   Service: "Are You Available"


                                                                                                                                                                                                                Method and Apparatus for Controlling a Variable
          803609    803609-US-NP           US6987922                    10/440247                                                us                    17-Jan-06          15-Mar-24                 19-May-03   Optical Attenuator in an Optical Network
                                                                                                                                                                                                                Method for Determining Locations and Gain Settings
          803616    803616-US-NP           US7046426                    10/443058                                                us                    16-May-06          13-Mar-24                 22-May-03   of Amplifiers in an Optical Network
                                                                                                                                                                                                                A Method for Describing Problems in a
          803627    803627-US-NP           US7580998                    10/606896          20040073663                           us                    25-Aug-09           20-Jul-26                27-Jun-03   Telecommunications Network
                                                                                                                                                                                                                Method and System for Precision Cross-Talk
          803632    803632-US-NP           US7031050                    10/607968                                                us                    18-Apr-06          19-Jun-24                 30-Jun-03   Cancellation in Optical Amplifiers
                                                                                                                                                                                                                Tunable NRZ/RZ transmission with conventional
          803746    803746-DE-EPA          EP2207281                    10150120.3         EP2207281                             DE                    20-Mar-13           5-Jan-30                 5-Jan-10    transceivers
                                                                                                                                                                                                                Tunable NRZ/RZ transmission with conventional
          803746    803746-FR-EPA          EP2207281                    10150120.3         EP2207281                             FR                    20-Mar-13           5-Jan-30                 5-Jan-10    transceivers
                                                                                                                                                                                                                Tunable NRZ/RZ transmission with conventional
          803746    803746-GB-EPA          EP2207281                    10150120.3         EP2207281                             GB                    20-Mar-13           5-Jan-30                 5-Jan-10    transceivers
                                                                                                                                                                                                                Duplex Reflective Re-Configurable Optical Add/Drop
          803758    803758-US-NP           US6832019                    10/440222                                                us                    14-Dec-04           22-Jul-23                19-May-03   Multiplexer
                                                                                                                                                                                                                Method and System for Determining Location and
                                                                                                                                                                                                                Value of Dispersion Compensating Modules in an
          803759    803759-US-NP           US6829406                    10/273858                                                us                     7-Dec-04           6-May-23                 2-Oct-02    Optical Network
                                                                                                                                                                                                                Method and System for Monitoring Performance of
          803760    803760-US-NP           US7184660                    10/136407                                                us                    27-Feb-07          28-Feb-24                 2-May-02    Optical Network
                                                                                                                                                                                                                Serverbased{.draganddropl betweenweb2.0
          803772    803772-EP-EPA                                       08167996.1         EP2184679                             EP                                       30-Oct-28                 30-Oct-08   widgets


          803796    803796-US-NP           US7227866                    10/273857                                                us                     5-Jun-07          18-Aug-24                 21-Oct-02   Fast Work-Conserving Round Robin Scheduling
                                                                                                                                                                                                                Method and System for Automatic Initialization of an
          803799    803799-US-NP           US7068932                    10/260621                                                us                    27-Jun-06          29-Sep-24                 1-Oct-02    Optical Network
                                                                                                                                                                                                                Method and System of Measuring Latency and Packet
          803800    803800-US-NP           US7127508                    10/134553                                                us                    24-Oct-06            1-Jul-24                30-Apr-02   Loss in a Network


          803838    803838-DE-EPA          EP2169825                    08290905.2         EP2169825                             DE                    22-Feb-12          24-Sep-28                 24-Sep-08   HIGH-EFFICIENCY DUAL-STATE POWER AMPLIFIER


          803838    803838-FR-EPA          EP2169825                    08290905.2         EP2169825                             FR                    22-Feb-12          24-Sep-28                 24-Sep-08   HIGH-EFFICIENCY DUAL-STATE POWER AMPLIFIER


          803838    803838-GB-EPA          EP2169825                    08290905.2         EP2169825                             GB                    22-Feb-12          24-Sep-28                 24-Sep-08   HIGH-EFFICIENCY DUAL-STATE POWER AMPLIFIER
                                                                                                                                                                                                                COMBINED MULTI-PATH HIGH-EFFICIENCY POWER
          803839    803839-DE-EPA          EP2169823                    08290904.5         EP2169823                             DE                    4-May-11           24-Sep-28                 24-Sep-08   AMPLIFIER
                                                                                                                                                                                                                COMBINED MULTI-PATH HIGH-EFFICIENCY POWER
          803839    803839-FR-EPA          EP2169823                    08290904.5         EP2169823                             FR                    4-May-11           24-Sep-28                 24-Sep-08   AMPLIFIER
                                                                                                                                                                                                                COMBINED MULTI-PATH HIGH-EFFICIENCY POWER
          803839    803839-GB-EPA          EP2169823                    08290904.5         EP2169823                             GB                    4-May-11           24-Sep-28                 24-Sep-08   AMPLIFIER
                                                                                                                                                                                                                Ultra high dispersion, high-efficiency sinusoidal
          803895    803895-DE-EPA          EP2199837                    08305949.3         EP2199837                             DE                     4-Apr-12          16-Dec-28                 16-Dec-08   grating
                                                                                                                                                                                                                Ultra high dispersion, high-efficiency sinusoidal
          803895    803895-FR-EPA          EP2199837                    08305949.3         EP2199837                             FR                     4-Apr-12          16-Dec-28                 16-Dec-08   grating
                                                                                                                                                                                                                Ultra high dispersion, high-efficiency sinusoidal
          803895    803895-GB-EPA          EP2199837                    08305949.3         EP2199837                             GB                     4-Apr-12          16-Dec-28                 16-Dec-08   grating
                                                                                                                                                                                                                RECEPTION OF ETHERNET PACKETS
                                                                                                                                                                                                                TRANSPORTED OVER A SYNCHRONOUS TRANSPORT
          803904    803904-DE-EPA          EP2207287                    09305021.9         EP2207287                             DE                     5-Sep-12           9-Jan-29                 9-Jan-09    NETWORK
                                                                                                                                                                                                                RECEPTION OF ETHERNET PACKETS
                                                                                                                                                                                                                TRANSPORTED OVER A SYNCHRONOUS TRANSPORT
          803904    803904-FR-EPA          EP2207287                    09305021.9         EP2207287                             FR                     5-Sep-12           9-Jan-29                 9-Jan-09    NETWORK
                                                                                                                                                                                                                RECEPTION OF ETHERNET PACKETS
                                                                                                                                                                                                                TRANSPORTED OVER A SYNCHRONOUS TRANSPORT
          803904    803904-GB-EPA          EP2207287                    09305021.9         EP2207287                             GB                     5-Sep-12           9-Jan-29                 9-Jan-09    NETWORK
                                                                                                                                                                                                                Interconnect System with Error Correction
          803907    803907-US-NP           US6981200                    10/004441                                                us                    27-Dec-05          18-Aug-23                 5-Dec-01


                                                                                                                                                                                                                Method and System for Automatic Address Allocation
          803908    803908-US-NP           US7000029                    10/023758                                                us                    14-Feb-06          16-Mar-24                 21-Dec-0l   in a Network and Network Protocol Therefor
          803909    803909-US-NP           US6788844                    10/087863                                                us                     7-Sep-04          31-Dec-22                 5-Mar-02    All-Optical Dynamic Gain Equalizer
                                                                                                                                                                                                                Enhanced Packet Network and Method for Carrying
                                                                                                                                                                                                                MultiplePacketStreamsWithinaSingleLabel
          803910    803910-US-NP           US7012933                    10/025872                                                us                    14-Mar-06          15-Aug-24                 26-Dec-0l   Switched Path
                                                                                                                                                                                                                ATCA Board guide rail plate with embedded vortex
          803925    803925-DE-EPA          EP2197256                    08291163.7         EP2197256                             DE                    17-Aug-11          10-Dec-28                 10-Dec-08   generator.
                                                                                                                                                                                                                ATCA Board guide rail plate with embedded vortex
          803925    803925-FR-EPA          EP2197256                    08291163.7         EP2197256                             FR                    17-Aug-11          10-Dec-28                 10-Dec-08   generator.
                                                                                                                                                                                                                ATCA Board guide rail plate with embedded vortex
          803925    803925-GB-EPA          EP2197256                    08291163.7         EP2197256                             GB                    17-Aug-11          10-Dec-28                 10-Dec-08   generator.
          803971    803971-US-NP           US6982977                    09/981887                                                us                     3-Jan-06          20-Mar-24                 19-Oct-01   Label Switched Routing System and Method




                                                                                                   Page 44 of 149
                                                                                                                                                                                     PATENT
                                                                                                                                                                             REEL: 044000 FRAME: 0185
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 52 of 156
                                        Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                               :ia:~:A,m:::::::::::::::::
                                              liiitiiiiii~:il\::::'::•:•
                                                                            :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Monitor, System and Method for Monitoring
          803982    803982-US-NP               US7092360                    10/028286                                                          us              15-Aug-06          20-Aug-24                 28-Dec-0l   Performance ofa Scheduler
                                                                                                                                                                                                                        Method and System for Traffic Management in
          803983    803983-US-NP               US6977943                    09/969785                                                          us              20-Dec-05          10-Apr-24                 4-Oct-01    Packet Networks Using Random Early Marking


          803984    803984-US-NP               US6567406                    09/464452                                                          us              20-May-03          10-Dec-19                 10-Dec-99   A Method of Labeling Data Units with a Domain Field
          803985    803985-US-NP               US6570849                    09/419471                                                          us              27-May-03          15-Oct-19                 15-Oct-99   TOM-Quality Voice Over Packet
                                                                                                                                                                                                                        Control Communications in Communications
          803986    803986-US-NP               US7035209                    09/934851                                                          us              25-Apr-06            2-Jul-24                23-Aug-Ol   Networks
                                                                                                                                                                                                                        System and Method for Performing Pre-emptive
          803987    803987-US-NP               US6915463                    10/025868                                                          us               5-Jul-05          18-Aug-23                 26-Dec-Ol   Protection Switching
                                                                                                                                                                                                                        Handling Out-Of-Sequence Packets In A Circuit
          804001    804001-US-NP               US8345680                    12/437274                     20100284397                          us               1-Jan-13            3-Jul-31                7-May-09    Emulation Service
                                                                                                                                                                                                                        Method For Encoding Data With Double-Interlaced
                                                                                                                                                                                                                        Parity Symbols, For A Radio Infrastructure, And
          804007    804007-US-PCT              US8677210                    13/145880                     20120008706                          us              18-Mar-14          29-May-30                 19-Jan-10   Associated Codec
          804022    804022-US-NP               US8000245                    12/362239                     20100188977                          us              16-Aug-11          19-Jun-29                 29-Jan-09   IP HEADER COMPRESSION REORDERING


          804097    804097-US-NP               US6785737                    09/917669                                                          us              31-Aug-04          12-Dec-22                 31-Jul-Ol   Network Resource Allocation Methods and Systems


                                                                                                                                                                                                                        Cable Spool With Height Adjustment capability And
          804111    804111-US-NP               US7997520                    12/437685                     20100282891                          us              16-Aug-11          8-May-29                  8-May-09    Method Of Performaing The Same
                                                                                                                                                                                                                        Cross-Channel Communication of Data Collected by
          804132    804132-US-NP               US7881439                    10/734911                                                          us               1-Feb-11           2-Dec-26                 12-Dec-03   Channel-Specific User


                                                                                                                                                                                                                        System of Automated Configuration of Network
          804137    804137-US-NP               US8041782                    09/653486                                                          us              18-0ct-11           8-Apr-24                 31-Aug-OO   Subscribers for Broadband Communication
          804138    804138-US-NP               US7765281                    10/715928                                                          us               27-Jul-10         29-Aug-26                 18-Nov-03   Large-Scale Targeted Data Distribution System
                                                                                                                                                                                                                        Model-Based Management Of An Existing
          804143    804143-US-NP               US7536290                    10/954775                                                          us              19-May-09          30-Aug-25                 30-Sep-04   Information Processing System


                                                                                                                                                                                                                        System And Method For Remotely Repairing And
                                                                                                                                                                                                                        Maintaining A Telecommunication Service Using
                                                                                                                                                                                                                        Service Relationships And Service Management
      804144(11)    804144(11)-US-NP           US8533021                    12/276279                     20090132324                          us              10-Sep-13          26-Mar-31                 21-Nov-08   System Employing The Same
                                                                                                                                                                                                                        Application And Method For Generating Automated
                                               ZL200880122618                                                                                                                                                           Offers Of Service And Service Management System
      804144(12)    804144(12)-CN-PCT          .8                           200880122618.8                102067520                           CN               30-Sep-15          21-Nov-28                 21-Nov-08   Incorporating The Same
                                                                                                                                                                                                                        Application And Method For Generating Automated
                                                                                                                                                                                                                        Offers Of Service And Service Management System
      804144(12)    804144(12)-EP-EPT                                       08853077.9                     EP2220816                           EP                                 21-Nov-28                 21-Nov-08   Incorporating The Same
                                                                                                                                                                                                                        Application And Method For Generating Automated
                                                                                                                                                                                                                        Offers Of Service And Service Management System
      804144(12)    804144(12)-US-NP           US8631108                    12/276281                     20090132693                          us              14-Jan-14          19-Nov-29                 21-Nov-08   Incorporating The Same
                                                                                                                                                                                                                        System And Method For Identifying And Calling A
                                                                                                                                                                                                                        Function Of A Service With Respect To A Subuscriber
                                               ZL200880122607                                                                                                                                                           And Service Management System Employing The
      804144(2)     804144(2)-CN-PCT           .X                           200880122607.X                102067517                           CN               25-Nov-15          21-Nov-28                 21-Nov-08   Same
                                                                                                                                                                                                                        System And Method for Identifying And Calling A
                                                                                                                                                                                                                        Function Of A Service With Respect to A Subscriber
                                                                                                                                                                                                                        And Service Management System Employing The
      804144(2)     804144(2)-US-NP            US8059565                    12/276256                     20090129292                          us              15-Nov-11           6-Aug-29                 21-Nov-08   Same
                                                                                                                                                                                                                        Normalization Engine And Method Of Requesting A
                                               ZL200880122603                                                                                                                                                           Key Or Performing An Operation Pertaining To An
      804144(3)     804144(3)-CN-PCT           .1                           200880122603.1                102037680                           CN               10-Dec-14          21-Nov-28                 21-Nov-08   End Point
                                                                                                                                                                                                                        Normalization Engine And Method Of Requesting A
                                                                                                                                                                                                                        Key Or Performing An Operation Pertaining To An
      804144(3)     804144(3)-DE-EPT           EP2215778                    08852364.2                     EP2215778                           DE               4-Jan-12          21-Nov-28                 21-Nov-08   End Point
                                                                                                                                                                                                                        Normalization Engine And Method Of Requesting A
                                                                                                                                                                                                                        Key Or Performing An Operation Pertaining To An
      804144(3)     804144(3)-FR-EPT           EP2215778                    08852364.2                     EP2215778                           FR               4-Jan-12          21-Nov-28                 21-Nov-08   End Point
                                                                                                                                                                                                                        Normalization Engine And Method Of Requesting A
                                                                                                                                                                                                                        Key Or Performing An Operation Pertaining To An
      804144(3)     804144(3)-GB-EPT           EP2215778                    08852364.2                     EP2215778                          GB                4-Jan-12          21-Nov-28                 21-Nov-08   End Point
                                                                                                                                                                                                                        Normalization Engine And Method of Requesting A
                                                                                                                                                                                                                        Key Or Performing An Operation Pertaining To An
      804144(3)     804144(3)-US-NP            US8468237                    12/276260                     20090132684                          us              18-Jun-13           9-Nov-29                 21-Nov-08   End Point
                                               ZL200880122609                                                                                                                                                           Service Management System And Method Of
      804144(4)     804144(4)-CN-PCT           .9                           200880122609.9                102084620                           CN               30-Sep-15          21-Nov-28                 21-Nov-08   Executing A Policy
                                                                                                                                                                                                                        Service Management System And Method Of
      804144(4)     804144(4)-EP-EPT                                        08851917.8                     EP2215776                           EP                                 21-Nov-28                 21-Nov-08   Executing A Policy In A Network
                                                                                                                                                                                                                        Service Management System And Method Of
      804144(4)     804144(4)-US-NP            US8850598                    12/276262                     20090133098                          us              30-Sep-14          27-Jun-30                 21-Nov-08   Executing A Policy
                                                                                                                                                                                                                        System And Method For Generating A Visual
                                                                                                                                                                                                                        Representation Of A Service And Sevice Management
      804144(5)     804144(5)-US-NP            US8321807                    12/276265                     20090132945                          us              27-Nov-12          15-Feb-31                 21-Nov-08   System Employing The Same


                                                                                                                                                                                                                        Application And Method For Dynamically Presenting
                                                                                                                                                                                                                        Data Regarding An End Point Or A Service And
      804144(7)     804144(7)-US-NP            US8527889                    12/276272                     20090132709                          us               3-Sep-13          14-Mar-31                 21-Nov-08   Service Management System Incorporating The Same


                                               ZL200880122605                                                                                                                                                           Service Diagnostic Engine And Method And Service
      804144(8)     804144(8)-CN-PCT           .0                           200880122605.0                101919205                           CN                17-Jul-13         21-Nov-28                 21-Nov-08   Management System Employing The Same


                                                                                                                                                                                                                        Service Diagnostic Engine And Method And Service
      804144(8)     804144(8)-DE-EPT           EP2215774                    08851097.9                     EP2215774                           DE              25-Apr-12          21-Nov-28                 21-Nov-08   Management System Employing The Same


                                                                                                                                                                                                                        Service Diagnostic Engine And Method And Service
      804144(8)     804144(8)-FR-EPT           EP2215774                    08851097.9                     EP2215774                           FR              25-Apr-12          21-Nov-28                 21-Nov-08   Management System Employing The Same


                                                                                                                                                                                                                        Service Diagnostic Engine And Method And Service
      804144(8)     804144(8)-GB-EPT           EP2215774                    08851097.9                     EP2215774                          GB               25-Apr-12          21-Nov-28                 21-Nov-08   Management System Employing The Same


                                                                                                                                                                                                                        Service Diagnostic Engine And Method And Service
      804144(8)     804144(8)-US-NP            US8181066                    12/276273                     20090132859                          us              15-May-12           6-Dec-29                 21-Nov-08   Management System Employing The Same


                                                                                                                                                                                                                        Self-Service Application For A Service Management
      804144(9)     804144(9)-US-NP            US8949393                    12/276275                     20090132710                          us               3-Feb-15           7-Feb-30                 21-Nov-08   System And Method Of Operation Thereof
                                                                                                                                                                                                                        An Apparatus for Emulating Optical Packet Memories
          804171    804171-DE-EPA              EP2265035                    09290450.7                     EP2265035                           DE              25-Dec-13          15-Jun-29                 15-Jun-09   with Infinite Queuing Delay




                                                                                                                    Page 45 of 149
                                                                                                                                                                                             PATENT
                                                                                                                                                                                     REEL: 044000 FRAME: 0186
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 53 of 156
                                       Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW                 liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                              :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm An Apparatus for Emulating Optical Packet Memories
          804171    804171-FR-EPA             EP2265035                    09290450.7         EP2265035                             FR                    25-Dec-13          15-Jun-29                 15-Jun-09   with Infinite Queuing Delay
                                                                                                                                                                                                                   An Apparatus for Emulating Optical Packet Memories
          804171    804171-GB-EPA             EP2265035                    09290450.7         EP2265035                             GB                    25-Dec-13          15-Jun-29                 15-Jun-09   with Infinite Queuing Delay


                                                                                                                                                                                                                   PROCEDE ET DISPOSITIF D'ENREGISTREMENT DE
                                                                                                                                                                                                                   DONNEES REPRESENTATIVES DE SENTIMENTS
                                                                                                                                                                                                                   RESSENTIS PAR DES PERSONNES DANS DES LIEUX
          804192    804192-EP-EPT                                          09795474.7         EP2359269                             EP                                       19-Nov-29                 19-Nov-09   LOCALISABLES ET SERVEURASSOCIE
                                                                                                                                                                                                                   IP Phone Dynamic Power Saving Hours linked to User
                                                                                                                                                                                                                   PresenceintheBusinessArea
          804194    804194-EP-EPT                                          10707571.5         EP2396960                             EP                                       22-Jan-30                 22-Jan-10
                                                                                                                                                                                                                   IP Phone Dynamic Power Saving Hours linked to User
                                                                                                                                                                                                                   PresenceintheBusinessArea
          804194    804194-IN-PCT                                          5554/CHENP/2011    5554/CHENP/2011                        IN                                      22-Jan-30                 22-Jan-10
                                                                                                                                                                                                                   Telephonic Service And Power Supply Status
                                                                                                                                                                                                                   Management Of A Communication Terminal
          804194    804194-US-PCT             US8767939                    13/201594          20120051527                           us                     1-Jul-14          28-Mar-30                 22-Jan-10   Depending On The Presence Of A User


          804216    804216-US-NP              US8395988                    12/383938          20100246384                           us                    12-Mar-13          19-Sep-29                 30-Mar-09   Method And System For Providing Voice Survivability
                                                                                                                                                                                                                   A Label Switched Communication Network, a Method
                                                                                                                                                                                                                   of Conditioning the Network and a Method of
          804229    804229-US-NP              US7126907                    09/943005                                                us                    24-Oct-06          5-May-24                  31-Aug-0l   Transmission


          804268    804268-US-NP              US6829438                    09/899151                                                us                     7-Dec-04          16-Mar-23                  6-Jul-01   Add/Drop Multiplexing in WDM Optical Networks
                                                                                                                                                                                                                   Method and Apparatus for Interworking Between
                                                                                                                                                                                                                   IMS/SIP and PSTN/PLMN to Exchange Dynamic
                                                                                                                                                                                                                   Charging Information
                                              ZL200980160662
          804271    804271-CN-PCT             .2                           200980160662.2     CN102474418A                          CN                    16-Dec-15           24-Jul-29                24-Jul-09
                                                                                                                                                                                                                   Interworking Between lms/Sip And Pstn/Plmn To
                                                                                                                                                                                                                   Exchange Dynamic Charging Information


          804271    804271-EP-EPT                                          09787608.0         EP2457345                             EP                                        24-Jul-29                24-Jul-09
                                                                                                                                                                                                                   Method and System for Monitoring Performance of
          804272    804272-US-NP              US7031606                    09/990366                                                us                    18-Apr-06          12-Jan-23                 23-Nov-0l   Optical Network
                                                                                                                                                                                                                   Redundancy Systems and Methods in
          804276    804276-US-NP              US6983294                    10/120435                                                us                     3-Jan-06          29-Oct-22                 12-Apr-02   Communications Systems
                                                                                                                                                                                                                   Methods and Apparatus for Selecting Multiple Paths
          804277    804277-US-NP              US6882627                    09/879937                                                us                    19-Apr-05          16-Oct-23                 14-Jun-0l   Taking Into Account Shared Risk


                                                                                                                                                                                                                   Packet Network Providing Fast Distribution of Node
          804280    804280-US-NP              US7126921                    10/101383                                                us                    24-Oct-06          22-Feb-25                 20-Mar-02   Related Information and a Method Therefor


                                                                                                                                                                                                                   A Method for Network Upgrade Using Amplified
          804284    804284-US-NP              US7652816                    11/615953          20070201126                           us                    26-Jan-10          24-Oct-27                 23-Dec-06   Spontaneous Emission (ASE) Sources
                                                                                                                                                                                                                   A Method of Avoiding Amplified Spontaneous
          804285    804285-US-NP              US7668460                    11/452200          20060291860                           us                    23-Feb-10          27-Nov-28                 14-Jun-06   Emission Loops in an Optical Network
                                                                                                                                                                                                                   Distributed Subscriber Management System
          804289    804289-US-DIV[2]          US7921457                    12/132583          20090319777                           us                     5-Apr-11          28-Feb-22                 3-Jun-08
                                                                                                                                                                                                                   REDUCTION OF FRAME ERROR RATE IN A NODE OF A
                                                                                                                                                                                                                   WIRELESS PACKET-SWITCHED COMMUNICATION
                                                                                                                                                                                                                   NETWORK
          804294    804294-DE-EPA             EP2306666                    09305919.4         EP2306666                             DE                    1-May-13           30-Sep-29                 30-Sep-09
                                                                                                                                                                                                                   REDUCTION OF FRAME ERROR RATE IN A NODE OF A
                                                                                                                                                                                                                   WIRELESS PACKET-SWITCHED COMMUNICATION
                                                                                                                                                                                                                   NETWORK
          804294    804294-FR-EPA             EP2306666                    09305919.4         EP2306666                             FR                    1-May-13           30-Sep-29                 30-Sep-09
                                                                                                                                                                                                                   REDUCTION OF FRAME ERROR RATE IN A NODE OF A
                                                                                                                                                                                                                   WIRELESS PACKET-SWITCHED COMMUNICATION
                                                                                                                                                                                                                   NETWORK
          804294    804294-GB-EPA             EP2306666                    09305919.4         EP2306666                             GB                    1-May-13           30-Sep-29                 30-Sep-09
                                                                                                                                                                                                                   Enabling Orcuit Switched services over Packet
                                                                                                                                                                                                                   Switched Radio Access Networks using an
                                                                                                                                                                                                                   Interworking Function
          804333    804333-CN-PCT                                          200980149515.5     CN102301794A                          CN                                        9-Nov-29                 9-Nov-09
                                                                                                                                                                                                                   Enabling Orcuit Switched services over Packet
                                                                                                                                                                                                                   Switched Radio Access Networks using an
                                                                                                                                                                                                                   Interworking Function
          804333    804333-EP-EPT                                          09796804.4         EP2356857                             EP                                        9-Nov-29                 9-Nov-09
                                                                                                                                                                                                                   Enabling Orcuit Switched services over Packet
                                                                                                                                                                                                                   Switched Radio Access Networks using an
                                                                                                                                                                                                                   Interworking Function
          804333    804333-JP-PCT                                          2011535186         2012508498                            JP                                        9-Nov-29                 9-Nov-09
                                                                                                                                                                                                                   Enabling Orcuit Switched services over Packet
                                                                                                                                                                                                                   Switched Radio Access Networks using an
                                                                                                                                                                                                                   Interworking Function
          804333    804333-KR-PCT                                          20117013066        20110083722                           KR                                        9-Nov-29                 9-Nov-09
                                                                                                                                                                                                                   Enabling Orcuit Switched services over Packet
                                                                                                                                                                                                                   Switched Radio Access Networks using an
                                                                                                                                                                                                                   Interworking Function
          804333    804333-US-PCT                                          13/128583          20110280217                           us                                        9-Nov-29                 9-Nov-09
                                                                                                                                                                                                                   Reconfigurable Optical Add/Drop Multiplexer With
          804335    804335-AU-PCT             AU2003286050                 2003286050                                               AU                    16-Feb-07          14-Nov-23                 14-Nov-03   Buried Dispersion Compensation Module
                                                                                                                                                                                                                   Reconfigurable Optical Add/Drop Multiplexer With
          804335    804335-DE-EPT             EP1568165                    03776724.1         EP1568165                             DE                     4-Jan-12          14-Nov-23                 14-Nov-03   Buried Dispersion Compensation Module
                                                                                                                                                                                                                   Reconfigurable Optical Add/Drop Multiplexer With
          804335    804335-FR-EPT             EP1568165                    03776724.1         EP1568165                             FR                     4-Jan-12          14-Nov-23                 14-Nov-03   Buried Dispersion Compensation Module
                                                                                                                                                                                                                   Reconfigurable Optical Add/Drop Multiplexer With
          804335    804335-GB-EPT             EP1568165                    03776724.1         EP1568165                             GB                     4-Jan-12          14-Nov-23                 14-Nov-03   Buried Dispersion Compensation Module
                                                                                                                                                                                                                   Reconfigurable Optical Add/Drop Multiplexer With
          804335    804335-IT-EPT             EP1568165                    03776724.1         EP1568165                              IT                    4-Jan-12          14-Nov-23                 14-Nov-03   Buried Dispersion Compensation Module
                                                                                                                                                                                                                   Reconfigurable Optical Add/Drop Multiplexer With
          804335    804335-US-NP              US6931176                    10/636664          20040101236                           us                    16-Aug-05          11-Dec-23                 8-Aug-03    Buried Dispersion Compensation Module
                                                                                                                                                                                                                   Active Filter For DC Power Supply
          804358    804358-DE-EPA             EP2264877                    09290463.0         EP2264877                             DE                    23-Apr-14          18-Jun-29                 18-Jun-09
                                                                                                                                                                                                                   Active Filter For DC Power Supply
          804358    804358-FR-EPA             EP2264877                    09290463.0         EP2264877                             FR                    23-Apr-14          18-Jun-29                 18-Jun-09
                                                                                                                                                                                                                   Active Filter For DC Power Supply
          804358    804358-GB-EPA             EP2264877                    09290463.0         EP2264877                             GB                    23-Apr-14          18-Jun-29                 18-Jun-09




                                                                                                      Page 46 of 149
                                                                                                                                                                                        PATENT
                                                                                                                                                                                REEL: 044000 FRAME: 0187
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 54 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Multi-Chassis Component Corrector and Associator
          804450    804450-US-NP           US8041811                    12/427539                     20100268807                          us              18-Oct-11          23-Oct-29                 21-Apr-09   Engine
          804460    804460-DE-EPA          EP2214451                    09305089.6                     EP2214451                           DE               3-Oct-12          30-Jan-29                 30-Jan-09   Default bearer ineNB
          804460    804460-FR-EPA          EP2214451                    09305089.6                     EP2214451                           FR               3-Oct-12          30-Jan-29                 30-Jan-09   Default bearer ineNB
          804460    804460-GB-EPA          EP2214451                    09305089.6                     EP2214451                          GB                3-Oct-12          30-Jan-29                 30-Jan-09   Default bearer ineNB
          804510    804510-EP-EPA                                       09305680.2                     EP2285025                           EP                                  16-Jul-29                16-Jul-09   Audio stereo effect over communication
                                           ZL200910150964
          804551    804551-CN-NP           .3                           200910150964.3                CN101938689A                        CN               28-Sep-16          29-Jun-29                 29-Jun-09   Location based One Number Service
                                                                                                                                                                                                                    Handling independent and unlimited clocks in
          804566    804566-EP-EPA                                       11175613.6                     EP2423811                           EP                                  27-Jul-31                27-Jul-11   running application with its own clock


          804653    804653-EP-EPA                                       09360034.4                     EP2267886                           EP                                 11-Jun-29                 11-Jun-09   TRANSMISSION-LINE CLASS E POWER AMPLIFIER


                                                                                                                                                                                                                    METHOD FOR ENHANCING THE USE OF RADIO
                                                                                                                                                                                                                    RESOURCE, USER EQUIPMENT AND NETWORK
          804685    804685-DE-EPA          EP2315492                    09306003.6                     EP2315492                           DE              21-Oct-15          22-Oct-29                 22-Oct-09   INFRASTRUCTURE FOR IMPLEMENTING THE METHOD


                                                                                                                                                                                                                    METHOD FOR ENHANCING THE USE OF RADIO
                                                                                                                                                                                                                    RESOURCE, USER EQUIPMENT AND NETWORK
          804685    804685-FR-EPA          EP2315492                    09306003.6                     EP2315492                           FR              21-Oct-15          22-Oct-29                 22-Oct-09   INFRASTRUCTURE FOR IMPLEMENTING THE METHOD


                                                                                                                                                                                                                    METHOD FOR ENHANCING THE USE OF RADIO
                                                                                                                                                                                                                    RESOURCE, USER EQUIPMENT AND NETWORK
          804685    804685-GB-EPA          EP2315492                    09306003.6                     EP2315492                          GB               21-Oct-15          22-Oct-29                 22-Oct-09   INFRASTRUCTURE FOR IMPLEMENTING THE METHOD
                                                                                                                                                                                                                    Method For Enhancing The Use Of Radio Resource,
                                                                                                                                                                                                                    User Equipment And Network Infrastructure For
          804685    804685-JP-PCT          JP5462372                    2012534685                    2013509064                           JP              24-Jan-14          20-Oct-30                 20-Oct-10   Implementing The Method
                                                                                                                                                                                                                    Synchronization Packet-Delay-Variation Dampening
          804708    804708-DE-EPA          EP2273706                    09290522.3                     EP2273706                           DE              30-May-12          30-Jun-29                 30-Jun-09   {SPD)
                                                                                                                                                                                                                    Synchronization Packet-Delay-Variation Dampening
          804708    804708-FR-EPA          EP2273706                    09290522.3                     EP2273706                           FR              30-May-12          30-Jun-29                 30-Jun-09   {SPD)
                                                                                                                                                                                                                    Synchronization Packet-Delay-Variation Dampening
          804708    804708-GB-EPA          EP2273706                    09290522.3                     EP2273706                          GB               30-May-12          30-Jun-29                 30-Jun-09   {SPD)
                                                                                                                                                                                                                    System and Method for Automatically Quiting SMS-
                                                                                                                                                                                                                    Based Parking
          804713    804713-JP-PCT          JP5635614                    2012-533600                   2013507706                           JP              24-Oct-14          11-Oct-30                 11-Oct-10


                                                                                                                                                                                                                    PROCEDE DE MANIPULATION DIRECTE DES
                                                                                                                                                                                                                    INTERACTIONS ENTRANTES DANS UNE APPLICATION
          804723    804723-EP-EPT                                       10805274.7                     EP2507703                           EP                                 26-Nov-30                 26-Nov-10   CLIENTE DE COMMUNICATION INSTANTANEE


          804791    804791-DE-EPA          EP2320581                    09306080.4                     EP2320581                           DE              30-Oct-13          10-Nov-29                 10-Nov-09   Optically controlled CombinedLINC&EER Transmitter


          804791    804791-FR-EPA          EP2320581                    09306080.4                     EP2320581                           FR              30-Oct-13          10-Nov-29                 10-Nov-09   Optically controlled CombinedLINC&EER Transmitter


          804791    804791-GB-EPA          EP2320581                    09306080.4                     EP2320581                          GB               30-Oct-13          10-Nov-29                 10-Nov-09   Optically controlled CombinedLINC&EER Transmitter
                                                                                                                                                                                                                    Confusion-Free Allocation of Identifiers with a Static
          804821    804821-DE-EPA          EP2330842                    09290892.0                     EP2330842                           DE               8-Aug-12           1-Dec-29                 1-Dec-09    Algorithm
                                                                                                                                                                                                                    Confusion-Free Allocation of Identifiers with a Static
          804821    804821-FR-EPA          EP2330842                    09290892.0                     EP2330842                           FR               8-Aug-12           1-Dec-29                 1-Dec-09    Algorithm
                                                                                                                                                                                                                    Confusion-Free Allocation of Identifiers with a Static
          804821    804821-GB-EPA          EP2330842                    09290892.0                     EP2330842                          GB                8-Aug-12           1-Dec-29                 1-Dec-09    Algorithm
                                                                                                                                                                                                                    Relaying Data Between A Base Station And User
          804832    804832-IN-PCT                                       7379/CHENP/2011               7379/CHENP/2011                      IN                                 13-Apr-30                 13-Apr-10   Equipment
                                                                                                                                                                                                                    Relaying Data Between A Base Station And User
          804832    804832-BR-PCT                                       Pl 1013851-0                   Pl1013851 0                         BR                                 13-Apr-30                 13-Apr-10   Equipment
                                                                                                                                                                                                                    Location supporting information exchange between
          804859    804859-JP-PCT          JP5314189                    2012506426                    2012524490                           JP               12-Jul-13         30-Mar-30                 30-Mar-10   eNBs during HO preparation
                                                                                                                                                                                                                    Location supporting information exchange between
          804859    804859-KR-PCT          KR101343308                  1020117027444                                                      KR              13-Dec-13          30-Mar-30                 30-Mar-10   eNBs during HO preparation
          804859    804859-US-PCT          US8570981                    13/265419                     20120039181                          us              29-Oct-13           4-Oct-30                 30-Mar-10   Telecommunication Method
                                                                                                                                                                                                                    Absence greeting automatic access from user's
          804872    804872-EP-EPA                                       10172386.4                     EP2290887                           EP                                 10-Aug-30                 10-Aug-10   profile
                                                                                                                                                                                                                    Absence greeting automatic access from user's
          804872    804872-FR-NP           FR2949635                    0955943                       FR2949635                            FR              21-Nov-14           1-Sep-29                 1-Sep-09    profile
                                                                                                                                                                                                                    REDUCED RATE SCRAMBLING SYSTEM WITH
          804910    804910-EP-EPA                                       09169825.8                     EP2309745                           EP                                  9-Sep-29                 9-Sep-09    MAXIMAL DISTORTION FOR H .264
                                                                                                                                                                                                                    Virtual Leased Line Address Resolution Protocol
                                                                                                                                                                                                                    Cache For Customer Edge Internet Protocol
          804914    804914-US-NP                                        12/480456                     20100309915                          us                                  8-Jun-29                 8-Jun-09    Addresses
                                                                                                                                                                                                                    New Path Initialization Alignment Method to improve
          804938    804938-KR-PCT          KR101302926                  20117031282                                                        KR              27-Aug-13          19-Mar-30                 19-Mar-10   ITU-T standard Q.2630.1
                                                                                                                                                                                                                    Method And Apparatus For Synchronizing AAL2 Path
          804938    804938-US-PCT          US9054897                    13/376258                     20120087366                          us               9-Jun-15          30-Jan-32                 19-Mar-10   States
                                                                                                                                                                                                                    PROCEDE D'ASSISTANCE AU DEVELOPPEMENT OU A
          804984    804984-EP-EPT                                       10725362.7                     EP2419823                           EP                                  1-Apr-30                 1-Apr-10    L'UTILISATION D'UN SYSTEME COMPLEXE
                                                                                                                                                                                                                    Decision for Cooperation and Fast c.ell Selection in
          805030    805030-IN-PCT                                       7860/CHENP/2011               7860/CHENP/2011                      IN                                 15-Apr-30                 15-Apr-10   CoMP UL {LTE-Advanced)
                                                                                                                                                                                                                    Decision for Cooperation and Fast c.ell Selection in
          805030    805030-KR-PCT          KR101317664                  10-2011-7028019                                                    KR               7-Oct-13          15-Apr-30                 15-Apr-10   CoMP UL {LTE-Advanced)
                                                                                                                                                                                                                    Uplink Communication In A Wireless Communication
          805030    805030-US-PCT          US8675520                    13/266097                     20120044872                          us              18-Mar-14          15-Apr-30                 15-Apr-10   Network
                                                                                                                                                                                                                    Decision for Cooperation and Fast c.ell Selection in
          805030    805030-BR-PCT                                       Pl1015343.8                    Pl1015343.8                         BR                                 15-Apr-30                 15-Apr-10   CoMP UL {LTE-Advanced)
                                                                                                                                                                                                                    Method And Apparatus For Roaming Between
                                                                                                                                                                                                                    HPLMN With CSOPS IWF Interworking Function and
          805050    805050-DE-EPA          EP2288205                    09290629.6                     EP2288205                           DE              21-Mar-12          17-Aug-29                 17-Aug-09   VPLMN Supporting SRVCC
                                                                                                                                                                                                                    Method And Apparatus For Roaming Between
                                                                                                                                                                                                                    HPLMN With CSOPS IWF Interworking Function and
          805050    805050-FR-EPA          EP2288205                    09290629.6                     EP2288205                           FR              21-Mar-12          17-Aug-29                 17-Aug-09   VPLMN Supporting SRVCC
                                                                                                                                                                                                                    Method And Apparatus For Roaming Between
                                                                                                                                                                                                                    HPLMN With CSOPS IWF Interworking Function and
          805050    805050-GB-EPA          EP2288205                    09290629.6                     EP2288205                          GB               21-Mar-12          17-Aug-29                 17-Aug-09   VPLMN Supporting SRVCC
          805051    805051-JP-PCT          JP5450805                    2012512287                    2012528500                           JP              10-Jan-14          28-Apr-30                 28-Apr-10   Compact Multi-Channel DQPSK Receiver
          805051    805051-KR-PCT          KR101329875                  20117028303                                                        KR               8-Nov-13          28-Apr-30                 28-Apr-10   Compact Multi-Channel DQPSK Receiver
                                                                                                                                                                                                                    System And Method For Demultiplexing Optical Multi
          805051    805051-US-NP           US8521027                    12/662797                     20100303463                          us              27-Aug-13          23-Apr-31                 4-May-10    Wavelength Signals
          805051    805051-EP-EPA                                       09305492.2                     EP2256972                           EP                                 28-May-29                 28-May-09   Compact Multi-Channel DQPSK Receiver
                                                                                                                                                                                                                    Electronic Mail Server And Method For Automatically
          805064    805064-EP-EPT                                       10788185.6                     EP2513806                           EP                                 30-Nov-30                 30-Nov-10   Generating Address Lists




                                                                                                                Page 4 7 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0188
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 55 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                           :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                     ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Using A Shared Ring
                                                                                                                                                                                                                Buffer To Provide Thread Synchronization In A Multi-
          805103    805103-US-NP           U58751737                    12/492598          20100332755                           us                    10-Jun-14          23-Aug-31                 26-Jun-09   Core Processor System
                                                                                           7703/CHENP/2011                                                                                                      Power Control And Interference Coordination To
          805117    805117-IN-PCT                                       7703/CHENP/2011    A                                      IN                                      23-Apr-30                 23-Apr-10   Support Half-Duplex Relay System
                                                                                                                                                                                                                Power Control And Interference Coordination To
          805117    805117-JP-PCT          JP5461688                    2012507417         2012525079                            JP                    24-Jan-14          23-Apr-30                 23-Apr-10   Support Half-Duplex Relay System
                                                                                                                                                                                                                Power Control And Interference Coordination To
          805117    805117-KR-PCT          KR101321425                  20117027940                                              KR                    15-Oct-13          23-Apr-30                 23-Apr-10   Support Half-Duplex Relay System
                                                                                                                                                                                                                Method And Apparatus For Power Control And
          805117    805117-US-NP           US9445380                    12/766031          20100272009                           us                    13-Sep-16          20-Sep-33                 23-Apr-10   Interference Coordination
                                                                                                                                                                                                                Power Control And Interference Coordination To
          805117    805117-BR-PCT                                       Pl1013832-3        Pl1013832-3                           BR                                       23-Apr-30                 23-Apr-10   Support Half-Duplex Relay System


          805130    805130-EP-EPA                                       09305751.1         EP2285003                             EP                                       12-Aug-29                 12-Aug-09   Error Detection/Correction via Optimized Hashing
                                                                                                                                                                                                                Linearization and Calibration Technique for Multiple
          805140    805140-EP-EPA                                       09290766.6         EP2309590                             EP                                        7-Oct-29                 7-Oct-09    Antenna Techniques in Base Stations


          805159    805159-US-NP           US9124417                    12/660900          20110216902                           us                     1-Sep-15           13-Jul-32                5-Mar-10    Computation Of Garbled Tables In Garbled Circuit
          805160    805160-US-NP           US9053464                    12/587057          20110078257                           us                     9-Jun-15          21-May-32                 30-Sep-09   Information Security Method And Apparatus
                                                                                                                                                                                                                A Method Of Providing A Call Completion Service To
                                                                                                                                                                                                                A Not Registered Or Not Available User In A
                                                                                                                                                                                                                Telecommunication Network
          805195    805195-EP-EPT                                       09786253.6         EP2446603                             EP                                       24-Jun-29                 24-Jun-09


                                                                                                                                                                                                                A method for downlink communication by means of
                                                                                                                                                                                                                a downlink superimposed radio signal, a base station
          805200    805200-BR-PCT                                       1120120140493      1120120140493                         BR                                       15-Nov-30                 15-Nov-10   and a user terminal therefor


                                                                                                                                                                                                                A method for downlink communication by means of
                                           CN20108005606                                                                                                                                                        a downlink superimposed radio signal, a base station
          805200    805200-CN-PCT          2.4                          201080056062.4                                           CN                    17-Dec-14          15-Nov-30                 15-Nov-10   and a user terminal therefor


                                                                                                                                                                                                                A method for downlink communication by means of
                                                                                                                                                                                                                a downlink superimposed radio signal, a base station
          805200    805200-DE-EPA          EP2333982                    09306206.5         EP2333982                             DE                    27-Feb-13          10-Dec-29                 10-Dec-09   and a user terminal therefor


                                                                                                                                                                                                                A method for downlink communication by means of
                                                                                                                                                                                                                a downlink superimposed radio signal, a base station
          805200    805200-FR-EPA          EP2333982                    09306206.5         EP2333982                             FR                    27-Feb-13          10-Dec-29                 10-Dec-09   and a user terminal therefor


                                                                                                                                                                                                                A method for downlink communication by means of
                                                                                                                                                                                                                a downlink superimposed radio signal, a base station
          805200    805200-GB-EPA          EP2333982                    09306206.5         EP2333982                             GB                    27-Feb-13          10-Dec-29                 10-Dec-09   and a user terminal therefor


                                                                                                                                                                                                                A method for downlink communication by means of
                                                                                                                                                                                                                a downlink superimposed radio signal, a base station
          805200    805200-IN-PCT                                       5041/CHENP/2012    5041/CHENP/2012                        IN                                      15-Nov-30                 15-Nov-10   and a user terminal therefor


                                                                                                                                                                                                                Method For Downlink Communication By Means Of A
                                                                                                                                                                                                                Downlink Superimposed Radio Signal, A Base Station
          805200    805200-US-PCT          US9300377                    13/514659          20120236818                           us                    29-Mar-16          15-Nov-30                 15-Nov-10   And A User Terminal Therefor
          805216    805216-DE-EPA          EP2333959                    09290924.1         EP2333959                             DE                    30-Nov-11           9-Dec-29                 9-Dec-09    Table Based Delta Sigma Modulator
          805216    805216-FR-EPA          EP2333959                    09290924.1         EP2333959                             FR                    30-Nov-11           9-Dec-29                 9-Dec-09    Table Based Delta Sigma Modulator
          805216    805216-GB-EPA          EP2333959                    09290924.1         EP2333959                             GB                    30-Nov-11           9-Dec-29                 9-Dec-09    Table Based Delta Sigma Modulator
                                                                                                                                                                                                                Closed-Loop Efficiency Modulation For Use In AC
          805249    805249-US-NP           US8134848                    12/540155          20110038189                           us                    13-Mar-12           9-Sep-30                 12-Aug-09   Powered Applications
                                                                                                                                                                                                                Image Projector Employing A Speckle-Reducing Laser
          805251    805251-US-NP           US8226241                    12/466790          20100290009                           us                     24-Jul-12         26-Sep-30                 15-May-09   Source
                                                                                                                                                                                                                Method And Processing Arrangement For Joint
          805291    805291-US-CNT          US9276796                    14/737838          20150280955                           us                     3-Jan-16          26-Apr-30                 12-Jun-15   Processing Of Uplink Data
                                                                                                                                                                                                                Solving multi-cell timing issues in uplink COMP joint
          805291    805291-DE-EPA          EP2264960                    09290467.1         EP2264960                             DE                     1-Oct-14          19-Jun-29                 19-Jun-09   processing
                                                                                                                                                                                                                Solving multi-cell timing issues in uplink COMP joint
          805291    805291-FR-EPA          EP2264960                    09290467.1         EP2264960                             FR                     1-Oct-14          19-Jun-29                 19-Jun-09   processing
                                                                                                                                                                                                                Solving multi-cell timing issues in uplink COMP joint
          805291    805291-GB-EPA          EP2264960                    09290467.1         EP2264960                             GB                     1-Oct-14          19-Jun-29                 19-Jun-09   processing
                                                                                                                                                                                                                Method And Apparatus For The Detection Of
                                                                                                                                                                                                                Impulsive Noise In Transmitted Speech Signals For
          805308    805308-US-NP           US8560312                    12640744           20110153313                           us                    15-Oct-13            1-Jul-32                17-Dec-09   UselnSpeechQualityAssessment
                                                                                                                                                                                                                Monolithic Integrated duplexer with very low
          805351    805351-EP-EPA                                       09306205.7         EP2336814                             EP                                       10-Dec-29                 10-Dec-09   1.3µm/1.55µmcross-talk


                                                                                                                                                                                                                Method and Apparatus for Notifying Account
          805362    805362-KR-PCT          KR101459353                  20127020701                                              KR                     3-Nov-14           8-Jan-30                 8-Jan-10    Information ofa Data-Type-Oriented User Equipment


                                                                                                                                                                                                                Method and Apparatus for Notifying Account
          805362    805362-EP-EPT                                       10841890.6                                               EP                                        8-Jan-30                 8-Jan-10    Information ofa Data-Type-Oriented User Equipment


                                                                                           9357 /CH ENP/2011                                                                                                    Bit-wise interleaving based Multi-Protocol
          805364    805364-IN-PCT                                       9357/CHENP/2011    A                                      IN                                       9-Jun-30                 9-Jun-10    Encapsulation Inter-burst Forward Error Correction
                                                                                                                                                                                                                Improved Forward Error Correction with Bit-wise
                                                                                                                                                                                                                Interleaving
          805364    805364-DE-EPA          EP2264931                    09305543.2         EP2264931                             DE                    25-Nov-15          15-Jun-29                 15-Jun-09
                                                                                                                                                                                                                Improved Forward Error Correction with Bit-wise
                                                                                                                                                                                                                Interleaving
          805364    805364-ES-EPA          EP2264931                    09305543.2         EP2264931                              ES                   25-Nov-15          15-Jun-29                 15-Jun-09
                                                                                                                                                                                                                Improved Forward Error Correction with Bit-wise
                                                                                                                                                                                                                Interleaving
          805364    805364-FR-EPA          EP2264931                    09305543.2         EP2264931                             FR                    25-Nov-15          15-Jun-29                 15-Jun-09
                                                                                                                                                                                                                Improved Forward Error Correction with Bit-wise
                                                                                                                                                                                                                Interleaving
          805364    805364-GB-EPA          EP2264931                    09305543.2         EP2264931                             GB                    25-Nov-15          15-Jun-29                 15-Jun-09
                                                                                                                                                                                                                Improved Forward Error Correction with Bit-wise
                                                                                                                                                                                                                Interleaving
          805364    805364-IT-EPA          EP2264931                    09305543.2         EP2264931                              IT                   25-Nov-15          15-Jun-29                 15-Jun-09


          805421    805421-US-PCT          US9081906                    13/510674          20120264413                           us                     14-Jul-15          9-Mar-31                 26-Nov-10   Office System Comprising A Telephony Application
                                                                                                                                                                                                                System And A Method For Determining An Optimal
          805429    805429-EP-EPA                                       10195417.0         EP2343854                             EP                                       16-Dec-30                 16-Dec-10   Restoration Connection




                                                                                                   Page 48 of 149
                                                                                                                                                                                     PATENT
                                                                                                                                                                             REEL: 044000 FRAME: 0189
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 56 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Multi-Modal Adaptive Fusion For Real-World, Noisy,
          805440    805440-DE-EPA          EP2323105                    09290794.8                   EP2323105                          DE               3-Dec-14          16-Oct-29                 16-Oct-09   Machine Monitoring Systems
                                                                                                                                                                                                                 Multi-Modal Adaptive Fusion For Real-World, Noisy,
          805440    805440-FR-EPA          EP2323105                    09290794.8                   EP2323105                          FR               3-Dec-14          16-Oct-29                 16-Oct-09   Machine Monitoring Systems
                                                                                                                                                                                                                 Multi-Modal Adaptive Fusion For Real-World, Noisy,
          805440    805440-GB-EPA          EP2323105                    09290794.8                   EP2323105                          GB               3-Dec-14          16-Oct-29                 16-Oct-09   Machine Monitoring Systems


                                                                                                                                                                                                                 Maintaining Time-Division Multiplexing Over
          805444    805444-JP-PCT          JP5372248                    2012515579                                                      JP              27-Sep-13          10-Jun-30                 10-Jun-10   Pseudowire Connections During Network Outages


                                                                                                                                                                                                                 Maintaining Time-Division Multiplexing Over
          805444    805444-KR-PCT          KR101353183                  20117030065                                                     KR              13-Jan-14          10-Jun-30                 10-Jun-10   Pseudowire Connections During Network Outages


                                                                                                                                                                                                                 Maintaining Time-Division Multiplexing Over
          805444    805444-US-NP           US8498199                    12/485623                    20100315941                        us               30-Jul-13         24-May-31                 16-Jun-09   Pseudowire Connections During Network Outages


                                                                                                                                                                                                                 Maintaining Time-Division Multiplexing Over
          805444    805444-DE-EPT          EP2443777                    10776134.8                   EP2443777                          DE              12-Aug-15          10-Jun-30                 10-Jun-10   Pseudowire Connections During Network Outages


                                                                                                                                                                                                                 Maintaining Time-Division Multiplexing Over
          805444    805444-FR-EPT          EP2443777                    10776134.8                   EP2443777                          FR              12-Aug-15          10-Jun-30                 10-Jun-10   Pseudowire Connections During Network Outages


                                                                                                                                                                                                                 Maintaining Time-Division Multiplexing Over
          805444    805444-GB-EPT          EP2443777                    10776134.8                   EP2443777                          GB              12-Aug-15          10-Jun-30                 10-Jun-10   Pseudowire Connections During Network Outages
                                           ZL201080027598                                                                                                                                                        Indicating Dynamic Allocation Of Component Carriers
          805449    805449-CN-PCT          .3                           201080027598.3               CN102461301A                       CN              22-Oct-14           2-Jun-30                 2-Jun-10    In Multi-Component Carrier Systems
                                                                                                                                                                                                                 Indicating Dynamic Allocation Of Component Carriers
          805449    805449-DE-EPT          EP2446683                    10723886.7                   EP2446683                          DE              30-Mar-16           2-Jun-30                 2-Jun-10    In Multi-Component Carrier Systems
                                                                                                                                                                                                                 Indicating Dynamic Allocation Of Component Carriers
          805449    805449-FR-EPT          EP2446683                    10723886.7                   EP2446683                          FR              30-Mar-16           2-Jun-30                 2-Jun-10    In Multi-Component Carrier Systems
                                                                                                                                                                                                                 Indicating Dynamic Allocation Of Component Carriers
          805449    805449-GB-EPT          EP2446683                    10723886.7                   EP2446683                          GB              30-Mar-16           2-Jun-30                 2-Jun-10    In Multi-Component Carrier Systems
                                                                                                                                                                                                                 Indicating Dynamic Allocation Of Component Carriers
          805449    805449-JP-PCT          JP5770723                    2012517545                   2012531163                         JP               3-Jul-15           2-Jun-30                 2-Jun-10    In Multi-Component Carrier Systems
                                                                                                                                                                                                                 Indicating Dynamic Allocation Of Component Carriers
          805449    805449-US-NP           US8432859                    12/488917                    20100322158                        us              30-Apr-13          30-Oct-30                 22-Jun-09   In Multi-Component Carrier Systems
                                                                                                                                                                                                                 METHOD AND DEVICE FOR PROVIDING
                                                                                                                                                                                                                 COMMUNICATION
          805472    805472-JP-PCT          JP5749738                    2012547441                   2013516867                         JP              22-May-15           4-Jan-31                 4-Jan-11    TO USER EQUIPMENT
                                                                                                                                                                                                                 Efficient Techniques For Achieving Security Against
          805477    805477-EP-EPT                                       10793076.0                   EP2507934                          EP                                 23-Nov-30                 23-Nov-10   Cheating Tamper-Resistant Tokens
                                                                                                                                                                                                                 Efficient Techniques For Achieving Security Against
          805477    805477-JP-PCD          JP5944437                    2014123153                   2014197885                         JP               3-Jun-16          23-Nov-30                 23-Nov-10   Cheating Tamper-Resistant Tokens
                                                                                                                                                                                                                 Efficient Techniques For Achieving Security Against
          805477    805477-KR-PCD          KR101580485                  20147015555                                                     KR              21-Dec-15          23-Nov-30                 23-Nov-10   Cheating Tamper-Resistant Tokens
                                                                                                                                                                                                                 Efficient Techniques For Achieving Security Against
          805477    805477-KR-PCT          KR101467067                  20127014241                                                     KR              24-Nov-14          23-Nov-30                 23-Nov-10   Cheating Tamper-Resistant Tokens
                                                                                                                                                                                                                 Efficient Techniques For Achieving Secure
          805477    805477-US-NP           US8683204                    12/592907                    20110138184                        us              25-Mar-14          25-Apr-31                 4-Dec-09    Transactions Using Tamper-Resistant Tokens


                                                                                                                                                                                                                 Method And System For Synchronizing A Data Base
          805509    805509-US-NP           US8385321                    12/462291                    20110026513                        us              26-Feb-13          16-Mar-31                 31-Jul-09   At A Plurality Of Nodes In An Ad Hoc Network
                                                                                                                                                                                                                 MPLS End to End Emulation for Mobile Wireless
          805561    805561-EP-EPA                                       10305007.6                   EP2341668                          EP                                  5-Jan-30                 5-Jan-10    Backhauling


                                                                                                                                                                                                                 Optoelectronic Device For Differential
                                                                                                                                                                                                                 Photoreception, With Automatic Compensation Of
                                                                                                                                                                                                                 Phase And Amplitude Imbalances
          805572    805572-KR-PCT          KR101450485                  20137003513                                                     KR               6-Oct-14           12-Jul-31                12-Jul-11
          805598    805598-DE-EPA          EP2337242                    09306261.0                   EP2337242                          DE              14-May-14          18-Dec-29                 18-Dec-09   Analog Power Amplifier based Class-O
          805598    805598-FR-EPA          EP2337242                    09306261.0                   EP2337242                          FR              14-May-14          18-Dec-29                 18-Dec-09   Analog Power Amplifier based Class-O
          805598    805598-GB-EPA          EP2337242                    09306261.0                   EP2337242                          GB              14-May-14          18-Dec-29                 18-Dec-09   Analog Power Amplifier based Class-O
          805653    805653-EP-EPT                                       09846684.0                   EP2449799                          EP                                 30-Jun-29                 30-Jun-09   Account Sponsorship Charging
                                                                                                                                                                                                                 Method, A Telecommunication System And A
                                                                                                                                                                                                                 Network Node For Sponsoring A Communication
          805653    805653-US-PCT          US8625758                    13/381412                    20120106722                        us               7-Jan-14          30-Jun-29                 30-Jun-09   Service
                                           ZL201080057640                                                                                                                                                        A Method And Apparatus For Selective Message
          805687    805687-CN-PCT          .6                           201080057640.6               102656872                          CN              12-Nov-14          22-Nov-30                 22-Nov-10   Service Blocking
                                                                                                                                                                                                                 A Method And Apparatus For Selective Message
          805687    805687-EP-EPT                                       10795494.3                   EP2514188                          EP                                 22-Nov-30                 22-Nov-10   Service Blocking
                                                                                                                                                                                                                 A Method And Apparatus For Selective Message
          805687    805687-IN-PCT                                       5002/CHENP/2012              5002/CHENP/2012                    IN                                 22-Nov-30                 22-Nov-10   Service Blocking
                                                                                                                                                                                                                 A Method And Apparatus For Selective Message
          805687    805687-JP-PCT          JP6000125                    2012544549                   2013514727                         JP               9-Sep-16          22-Nov-30                 22-Nov-10   Service Blocking
                                                                                                                                                                                                                 A Method And Apparatus For Selective Message
          805687    805687-KR-PCT          KR101434330                  20127018557                                                     KR              20-Aug-14          22-Nov-30                 22-Nov-10   Service Blocking
                                                                                                                                                                                                                 Method And Apparatus For Selective Message Service
          805687    805687-US-NP           US8620362                    12/641874                    20110151896                        us              31-Dec-13          11-Apr-31                 18-Dec-09   Blocking
          805726    805726-DE-EPA          EP2285033                    09360040.1                   EP2285033                          DE               3-Oct-12          13-Aug-29                 13-Aug-09   Modification of data transmission regime
          805726    805726-FR-EPA          EP2285033                    09360040.1                   EP2285033                          FR               3-Oct-12          13-Aug-29                 13-Aug-09   Modification of data transmission regime
          805726    805726-GB-EPA          EP2285033                    09360040.1                   EP2285033                          GB               3-Oct-12          13-Aug-29                 13-Aug-09   Modification of data transmission regime
                                                                                                                                                                                                                 Infrared Energy Powered Cooling Apparatus And
          805737    805737-US-NP           US8208252                    12/590282                    20110103006                        us              26-Jun-12           5-Nov-29                 5-Nov-09    Computer Chassis Comprising Same


                                                                                                                                                                                                                 Dynamic Load Balancing And Scaling Of Allocated
          805755    805755-JP-PCT          JP5654022                    2012532102                   2013506908                         JP              28-Nov-14          15-Sep-30                 15-Sep-10   Cloud Resources In An Enterprise Network


                                                                                                                                                                                                                 Dynamic Load Balancing And Scaling Of Allocated
          805755    805755-KR-PCT          KR101421848                  20127008048                                                     KR               15-Jul-14         15-Sep-30                 15-Sep-10   Cloud Resources In An Enterprise Network
          805787    805787-EP-EPT                                       10803312.7                   EP2522168                          EP                                 16-Dec-30                 16-Dec-10   Managing SMS Spoofing Using SMPP Protocol


          805787    805787-IN-PCT                                       5553/CHENP/2012              5553/CHENP/2012                    IN                                 16-Dec-30                 16-Dec-10   Managing SMS Spoofing Using SMPP Protocol
          805787    805787-JP-PCT          JP5826187                    2012548020                   2013516898                         JP              23-Oct-15          16-Dec-30                 16-Dec-10   Managing SMS Spoofing Using SMPP Protocol
          805787    805787-US-NP           US8271007                    12/652867                    20110165860                        us              18-Sep-12          27-Mar-31                 6-Jan-10    Managing SMS Spoofing Using SMPP Protocol


                                                                                                                                                                                                                 Method And Apparatus For Regulating Rogue
          805792    805792-US-NP           US8249446                    12/649606                    20110033180                        us              21-Aug-12          18-Apr-30                 30-Dec-09   Behavior In Optical Network Transmission Devices


          805812    805812-EP-EPA                                       10196979.8                   EP2363982                          EP                                 24-Dec-30                 24-Dec-10   Failure prediction for Fast IGP Convergence (FAFIC)




                                                                                                              Page 49 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0190
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 57 of 156
                             Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                                  Neighbor Discovery For Ethernet Private Line On User
                                                                                                                                  Network Interfaces
805823    805823-DE-EPA             EP2341661        10290001.6        EP2341661         DE   21-Mar-12   4-Jan-30    4-Jan-10
                                                                                                                                  Neighbor Discovery For Ethernet Private Line On User
                                                                                                                                  Network Interfaces
805823    805823-FR-EPA             EP2341661        10290001.6        EP2341661         FR   21-Mar-12   4-Jan-30    4-Jan-10
                                                                                                                                  Neighbor Discovery For Ethernet Private Line On User
                                                                                                                                  Network Interfaces
805823    805823-GB-EPA             EP2341661        10290001.6        EP2341661         GB   21-Mar-12   4-Jan-30    4-Jan-10
                                                                                                                                  Method For Processing A Plurality Of Data And
                                    ZL201080057426                                                                                Switching Device For Switching Communication
805835    805835-CN-PCT             .0               201080057426.0    CN102656850       CN   20-Jan-16   18-Nov-30   18-Nov-10   Packets
                                                                                                                                  Method For Processing A Plurality Of Data And
                                                                                                                                  Switching Device For Switching Communication
805835    805835-DE-EPA             EP2337274        09290960.5        EP2337274         DE   5-Mar-14    17-Dec-29   17-Dec-09   Packets
                                                                                                                                  Method For Processing A Plurality Of Data And
                                                                                                                                  Switching Device For Switching Communication
805835    805835-FR-EPA             EP2337274        09290960.5        EP2337274         FR   5-Mar-14    17-Dec-29   17-Dec-09   Packets
                                                                                                                                  Method For Processing A Plurality Of Data And
                                                                                                                                  Switching Device For Switching Communication
805835    805835-GB-EPA             EP2337274        09290960.5        EP2337274         GB   5-Mar-14    17-Dec-29   17-Dec-09   Packets
                                                                                                                                  Method For Processing A Plurality Of Data And
                                                                                                                                  Switching Device For Switching Communication
805835    805835-US-PCT             US9282064        13/511823         20120275460       us   8-Mar-16    10-Mar-31   18-Nov-10   Packets
                                                                                                                                  Method And Apparatus For Concerted Signal
805855    805855-US-NP              US8837350        12/827791         20110158205       us   16-Sep-14   2-Apr-31    30-Jun-10   Transmission On Multiple Antennas
                                                                                                                                  Optically controlled Power Mixer based Class-S
805892    805892-DE-EPA             EP2424326        10305909.3        EP2424326         DE   24-Apr-13   23-Aug-30   23-Aug-10   Concept
                                                                                                                                  Optically controlled Power Mixer based Class-S
805892    805892-FR-EPA             EP2424326        10305909.3        EP2424326         FR   24-Apr-13   23-Aug-30   23-Aug-10   Concept
                                                                                                                                  Optically controlled Power Mixer based Class-S
805892    805892-GB-EPA             EP2424326        10305909.3        EP2424326         GB   24-Apr-13   23-Aug-30   23-Aug-10   Concept
805909    805909-KR-PCT             KR101527267      20127017387                         KR    2-Jun-15   3-Jan-31    3-Jan-11    Orthogonal Multiple Description Coding
805909    805909-EP-EPT                              11732020.0        EP2522081         EP               3-Jan-31    3-Jan-11    Orthogonal Multiple Description Coding
                                                                                                                                  Group Call Control In A Wireless Broadband
805910    805910-US-NP              US8422448        12/895734         20120033623       us   16-Apr-13   29-Jun-31   30-Sep-10   Communication Network
                                    ZL201080057169
805912    805912-CN-PCT             .0               201080057169.0    CN102656494A      CN   16-Sep-15   16-Dec-30   16-Dec-10   Vertical Coupler On lnP Wafer
805912    805912-EP-EPT                              10842583.6        EP2513693         EP               16-Dec-30   16-Dec-10   Vertical Coupler On lnP Wafer
805912    805912-JP-PCT             JP5559358        2012544808        2013514555        JP   13-Jun-14   16-Dec-30   16-Dec-10   Vertical Coupler On lnP Wafer
805912    805912-KR-PCT             KR101435731      20127015508                         KR   22-Aug-14   16-Dec-30   16-Dec-10   Vertical Coupler On lnP Wafer
805912    805912-SG-PCT             SG181649         201204306-3                         SG   6-May-15    16-Dec-30   16-Dec-10   Vertical Coupler On lnP Wafer
                                                                                                                                  Photonic Integrated Orcuit Having A Waveguide-
805912    805912-US-NP              US8494315        12/640151         20110150386       us   23-Jul-13   10-Jun-31   17-Dec-09   Grating Coupler
                                                                                                                                  Flexible Telecommunication Cabinet
805918    805918-DE-EPA             EP2337435        09290955.5        EP2337435         DE   24-Oct-12   17-Dec-29   17-Dec-09
                                                                                                                                  Flexible Telecommunication Cabinet
805918    805918-FR-EPA             EP2337435        09290955.5        EP2337435         FR   24-Oct-12   17-Dec-29   17-Dec-09
                                                                                                                                  Flexible Telecommunication Cabinet
805918    805918-GB-EPA             EP2337435        09290955.5        EP2337435         GB   24-Oct-12   17-Dec-29   17-Dec-09


                                                                                                                                  Method And Apparatus For Reducing Redundant
805939    805939-US-CNT             US8831003        13/922335         20130279524       us   9-Sep-14    15-Jan-30   20-Jun-13   Traffic In Communication Networks


                                                                                                                                  Method And Apparatus For Reducing Redundant
805939    805939-US-CNT[2]          US9030960        14/279482         20140247836       us   12-May-15   15-Jan-30   16-May-14   Traffic In Communication Networks


                                                                                                                                  Method And Apparatus For Reducing Redundant
805939    805939-US-NP              US8548012        12/688307         20110176556       us   1-Oct-13    31-Dec-30   15-Jan-10   Traffic In Communication Networks
                                                                                                                                  MLPPP Occupancy Based Round Robin
805953    805953-US-NP              US8514700        12/915790         20120106567       us   20-Aug-13   14-May-31   29-Oct-10
                                                                                                                                  Distributing Cells On An IMA Logical Link Having
805954    805954-US-NP              US8854987        12/646771         20110149976       us   7-Oct-14    7-Aug-33    23-Dec-09   Inactive IMASub-Links
                                                                                                                                  Thermal Management Of Electronics And Photonics
805963    805963-EP-EPA                              12290025.1        EP2618645         EP               19-Jan-32   19-Jan-12   Equipment
                                                                                                                                  SMTP Extension - Integrating communication
805972    805972-DE-EPA             EP2315400        10174434.0        EP2315400         DE   17-Jun-15   27-Aug-30   27-Aug-10   hyperlinks protocol into SMTP
                                                                                                                                  SMTP Extension - Integrating communication
805972    805972-FR-EPA             EP2315400        10174434.0        EP2315400         FR   17-Jun-15   27-Aug-30   27-Aug-10   hyperlinks protocol into SMTP
                                                                                                                                  SMTP Extension - Integrating communication
805972    805972-GB-EPA             EP2315400        10174434.0        EP2315400         GB   17-Jun-15   27-Aug-30   27-Aug-10   hyperlinks protocol into SMTP
                                                                                                                                  Versatile local oscillator for coherent-detection
805974    805974-EP-EPA                              11150497.3        EP2343840         EP               10-Jan-31   10-Jan-11   based systems
                                                                                                                                  Versatile local oscillator for coherent-detection
805974    805974-FR-NP                               1000102           2955222           FR               12-Jan-30   12-Jan-10   based systems
                                                                                                                                  Power Allocation
805988    805988-EP-EPA                              09360043.5        EP2306779         EP               5-Oct-29    5-Oct-09
805991    805991-DE-EPA             EP2328292        10191810.0        EP2328292         DE   31-Oct-12   19-Nov-30   19-Nov-10   WDM CHANNEL EXTRACTION DEVICE
805991    805991-FR-EPA             EP2328292        10191810.0        EP2328292         FR   31-Oct-12   19-Nov-30   19-Nov-10   WDM CHANNEL EXTRACTION DEVICE
805991    805991-GB-EPA             EP2328292        10191810.0        EP2328292         GB   31-Oct-12   19-Nov-30   19-Nov-10   WDM CHANNEL EXTRACTION DEVICE
806002    806002-US-NP              US8271656        12/662798         20110276718       us   18-Sep-12   18-Mar-31   4-May-10    Decreasing Latency In Anonymity Networks
                                                                                                                                  Using Social Networks Sites To Control Busy/No
806006    806006-EP-EPT                              11702524.7        EP2532150         EP               13-Jan-31   13-Jan-11   Answer Call Coverage
                                                                                                                                  Using Social Networks Sites To Control Busy/No
806006    806006-JP-PCT             JP5739455        2012551986        2013519297        JP   1-May-15    13-Jan-31   13-Jan-11   Answer Call Coverage
                                                                                                                                  Using Social Networks Sites To Control Busy/No
806006    806006-KR-PCT             KR101483040      20127022691                         KR   9-Jan-15    13-Jan-31   13-Jan-11   Answer Call Coverage
806034    806034-DE-EPA             EP2341652        10305009.2        EP2341652         DE   17-Aug-16   5-Jan-30    5-Jan-10    Enhanced Radio Protection Switching
806034    806034-FR-EPA             EP2341652        10305009.2        EP2341652         FR   17-Aug-16   5-Jan-30    5-Jan-10    Enhanced Radio Protection Switching
806034    806034-GB-EPA             EP2341652        10305009.2        EP2341652         GB   17-Aug-16   5-Jan-30    5-Jan-10    Enhanced Radio Protection Switching
                                    ZL201080043520                                                                                Neighbor Orthogonal Training Pilots For Multi-Cell
806057    806057-CN-PCT             .0               201080043520.0    CN102577285A      CN   27-May-15   17-Sep-30   17-Sep-10   Communication Systems
                                                                                                                                  Pilot Signal Allocation Method And Apparatus For
806057    806057-DE-EPT             EP2484069        10757693.6        EP2484069         DE   20-Apr-16   17-Sep-30   17-Sep-10   Multi-User Wireless Systems
                                                                                                                                  Pilot Signal Allocation Method And Apparatus For
806057    806057-FR-EPT             EP2484069        10757693.6        EP2484069         FR   20-Apr-16   17-Sep-30   17-Sep-10   Multi-User Wireless Systems
                                                                                                                                  Pilot Signal Allocation Method And Apparatus For
806057    806057-GB-EPT             EP2484069        10757693.6        EP2484069         GB   20-Apr-16   17-Sep-30   17-Sep-10   Multi-User Wireless Systems
                                                                                                                                  Neighbor Orthogonal Training Pilots For Multi-Cell
806057    806057-IN-PCT                              2797/CHENP/2012   2797/CHENP/2012   IN               17-Sep-30   17-Sep-10   Communication Systems




                                                                            Page 50 of 149
                                                                                                                   PATENT
                                                                                                           REEL: 044000 FRAME: 0191
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 58 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                           :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                     ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Neighbor Orthogonal Training Pilots For Multi-Cell
          806057    806057-JP-PCT          JP5410613                    2012532114         2013506380                            JP                    15-Nov-13          17-Sep-30                 17-Sep-10   Communication Systems
                                                                                                                                                                                                                Pilot Signal Allocation Method and Apparatus for
          806057    806057-US-NP           US8179779                    12/586823          20110075617                           us                    15-May-12          10-Nov-30                 29-Sep-09   Multi-User Wireless Systems
          806092    806092-US-NP           US8639692                    12/824849          20110320447                           us                    28-Jan-14          20-Aug-31                 28-Jun-10   High-Dimensional Stratified Sampling
          806092    806092-JP-PCT          JP5687763                    2013518418         2013534674                            JP                    30-Jan-15           9-Jun-31                 9-Jun-11    Hig-Dimensional Stratified Sampling
          806092    806092-KR-PCT          KR101442383                  20127034078                                              KR                    12-Sep-14           9-Jun-31                 9-Jun-11    Hig-Dimensional Stratified Sampling
          806092    806092-US-CNT          US9047362                    14/053806          20140040268                           us                     2-Jun-15          28-Jun-30                 15-Oct-13   High-Dimensional Stratified Sampling
                                                                                                                                                                                                                Method For Handling Femtoto Femto Handover
          806107    806107-DE-EPA          EP2309796                    09360044.3         EP2309796                             DE                     4-Jul-12           7-Oct-29                 7-Oct-09    Failures
                                                                                                                                                                                                                Method For Handling Femtoto Femto Handover
          806107    806107-FR-EPA          EP2309796                    09360044.3         EP2309796                             FR                     4-Jul-12           7-Oct-29                 7-Oct-09    Failures
                                                                                                                                                                                                                Method For Handling Femtoto Femto Handover
          806107    806107-GB-EPA          EP2309796                    09360044.3         EP2309796                             GB                     4-Jul-12           7-Oct-29                 7-Oct-09    Failures
          806135    806135-KR-PCT          KR101429029                  20127018108                                              KR                     5-Aug-14          15-Dec-30                 15-Dec-10   Small cell UL interference management
                                                                                                                                                                                                                A Method For Compensating For A Heterogeneous
          806144    806144-EP-EPA                                       11158335.7         EP2367305                             EP                                       15-Mar-31                 15-Mar-11   Optical Line


          806148    806148-DE-EPA          EP2544018                    11290288.7         EP2544018                             DE                     3-Apr-13          27-Jun-31                 27-Jun-11   Schatzung Der Position Einer Mobilen Vorrichtung


          806148    806148-FR-EPA          EP2544018                    11290288.7         EP2544018                             FR                     3-Apr-13          27-Jun-31                 27-Jun-11   Estimation de la localisation d'un dispositif mobile
          806148    806148-GB-EPA          EP2544018                    11290288.7         EP2544018                             GB                     3-Apr-13          27-Jun-31                 27-Jun-11   Estimating A Location Of A Mobile Device


                                                                                                                                                                                                                Technique For Effectively Communicating Location
          806246    806246-US-NP           US9081078                    12/698243          20110187599                           us                     14-Jul-15          11-Jul-32                2-Feb-10    Information In A Wireless Communication Service
                                                                                                                                                                                                                Forward error correction for differentially encoded
          806283    806283-DE-EPA          EP2403167                    10290356.4         EP2403167                             DE                    10-Oct-12          30-Jun-30                 30-Jun-10   transmission systems
                                                                                                                                                                                                                Forward error correction for differentially encoded
          806283    806283-FR-EPA          EP2403167                    10290356.4         EP2403167                             FR                    10-Oct-12          30-Jun-30                 30-Jun-10   transmission systems
                                                                                                                                                                                                                Forward error correction for differentially encoded
          806283    806283-GB-EPA          EP2403167                    10290356.4         EP2403167                             GB                    10-Oct-12          30-Jun-30                 30-Jun-10   transmission systems
                                                                                                                                                                                                                Energy saver modes controlled by user presence (IM)
          806317    806317-EP-EPA                                       11159661.5         EP2372993                             EP                                       24-Mar-31                 24-Mar-11   state
                                           ZL201080057574                                                                                                                                                       System And Method For Controlling Peer-To-Peer
          806336    806336-CN-PCT          .2                           201080057574.2     CN102656868A                          CN                    30-Sep-15          23-Nov-30                 23-Nov-10   Connections
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
          806336    806336-DE-EPT          EP2514172                    10784638.8         EP2514172                             DE                    14-May-14          23-Nov-30                 23-Nov-10   Connections
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
          806336    806336-FR-EPT          EP2514172                    10784638.8         EP2514172                             FR                    14-May-14          23-Nov-30                 23-Nov-10   Connections
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
          806336    806336-GB-EPT          EP2514172                    10784638.8         EP2514172                             GB                    14-May-14          23-Nov-30                 23-Nov-10   Connections
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
          806336    806336-IN-PCT                                       4950/CHENP/2012    4950/CHENP/2012                        IN                                      23-Nov-30                 23-Nov-10   Connections
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
          806336    806336-JP-PCT          JP5591350                    2012544553         2013514728                            JP                     8-Aug-14          23-Nov-30                 23-Nov-10   Connections
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
                                                                                                                                                                                                                Connections
          806336    806336-US-NP           US8949436                    12/641429          20110153835                           us                     3-Feb-15          27-Sep-32                 18-Dec-09
                                                                                                                                                                                                                System And Method For Controlling Peer-To-Peer
          806336    806336-KR-PCT          KR101421040                  20127018538                                              KR                     14-Jul-14         23-Nov-30                 23-Nov-10   Connections


          806347    806347-JP-PCT          JP5646049                    2013510547         2013531287                            JP                    24-Dec-14           2-May-31                 2-May-11    System For Processing Data Relating To Buildings


                                                                                                                                                                                                                Data packet transmission regime modification and
          806348    806348-DE-EPA          EP2328297                    09360051.8         EP2328297                             DE                    12-Sep-12          27-Nov-29                 27-Nov-09   notification thereof to a set of active base stations


                                                                                                                                                                                                                Data packet transmission regime modification and
          806348    806348-FR-EPA          EP2328297                    09360051.8         EP2328297                             FR                    12-Sep-12          27-Nov-29                 27-Nov-09   notification thereof to a set of active base stations


                                                                                                                                                                                                                Data packet transmission regime modification and
          806348    806348-GB-EPA          EP2328297                    09360051.8         EP2328297                             GB                    12-Sep-12          27-Nov-29                 27-Nov-09   notification thereof to a set of active base stations
                                           ZL201280011857                                                                                                                                                       Method Of Performing An Inter-Technology Handoff
          806359    806359-CN-PCT          .2                           201280011857.2     CN103430594A                          CN                     8-Feb-17          14-Feb-32                 14-Feb-12   In A Loosely Coupled Architecture
                                                                                                                                                                                                                Method Of Performing An Inter-Technology Handoff
          806359    806359-JP-PCT          JP5791739                    2013557727         2014510485                            JP                    14-Aug-15          14-Feb-32                 14-Feb-12   In A Loosely Coupled Architecture
                                                                                                                                                                                                                Method Of Performing An Inter-Technology Handoff
          806359    806359-KR-PCT          KR101551674                  20137026238                                              KR                     3-Sep-15          14-Feb-32                 14-Feb-12   In A Loosely Coupled Architecture
                                                                                                                                                                                                                Method Of Performing An Inter-Technology Handoff
          806359    806359-US-NP                                        13/042777          20120230293                           us                                        8-Mar-31                 8-Mar-11    In A Loosely Coupled Architecture
                                                                                                                                                                                                                Method Of Performing An Inter-Technology Handoff
          806359    806359-EP-EPT                                       12706380.8         EP2684394                             EP                                       14-Feb-32                 14-Feb-12   In A Loosely Coupled Architecture
                                                                                                                                                                                                                Element Of A Wavelength Division Multiplexing
          806369    806369-JP-PCT          JP5410620                    2012555351         2013521683                            JP                    15-Nov-13          11-Feb-31                 11-Feb-11   Optical Network
                                                                                                                                                                                                                Element Of A Wavelength Division Multiplexing
          806369    806369-US-PCT          US8774633                    13/579866          20130108265                           us                     8-Jul-14          20-Jun-31                 11-Feb-11   Optical Network
                                                                                                                                                                                                                Cross Layer Coding For Satellite Mobile TV Broadcast
          806414    806414-EP-EPT                                       13740164.2         EP2875643                             EP                                        12-Jul-33                12-Jul-13   Method And Apparatus
                                                                                                                                                                                                                Cross Layer Coding For Satellite Mobile TV Broadcast
          806414    806414-CN-PCT                                       201380037841.3     CN104471948A                          CN                                        12-Jul-33                12-Jul-13   Method And Apparatus
                                                                                                                                                                                                                Cross Layer Coding For Satellite Mobile TV Broadcast
          806414    806414-JP-PCT                                       2015523142         2015532794                            JP                                        12-Jul-33                12-Jul-13   Method And Apparatus
                                                                                                                                                                                                                Cross Layer Coding For Satellite Mobile TV Broadcast
          806414    806414-US-NP           US9131254                    13/552800          20140023147                           us                     8-Sep-15          26-May-33                 19-Jul-12   Method And Apparatus
                                                                                                                                                                                                                Control Options During Information Recording
                                                                                                                                                                                                                Sessions
          806421    806421-JP-PCT          JP5628420                    2013517041         2013530655                            JP                    10-Oct-14          10-Sep-30                 10-Sep-10
                                                                                                                                                                                                                Control capabilities For Information Recording
                                                                                                                                                                                                                Sessions
          806422    806422-EP-EPT                                       10778580.0         EP2594081                             EP                                       14-Sep-30                 14-Sep-10
                                                                                                                                                                                                                Control capabilities For Information Recording
                                                                                                                                                                                                                Sessions
          806422    806422-KR-PCT          KR101486675                  20137001115                                              KR                    20-Jan-15          14-Sep-30                 14-Sep-10
                                                                                                                                                                                                                System And Method For Dynamically Adjusting
                                                                                                                                                                                                                Quality Of Service Configuration Based On Real-Time
          806441    806441-KR-PCT          KR101479019                  20127028220                                              KR                    29-Dec-14          23-Mar-31                 23-Mar-11   Traffic
                                                                                                                                                                                                                System And Method For Dynamically Adjusting
                                                                                                                                                                                                                Quality Of Service Configuration Based On Real-Time
          806441    806441-JP-PCT          JP5570652                    2013502652         2013524631                            JP                     4-Jul-14          23-Mar-31                 23-Mar-11   Traffic
                                                                                                                                                                                                                Splitter-box for Co MP overlay in fiber backhauling
          806451    806451-EP-EPA                                       10305076.1         EP2348787                             EP                                       22-Jan-30                 22-Jan-10   networks for LTE




                                                                                                   Page 51 of 149
                                                                                                                                                                                     PATENT
                                                                                                                                                                             REEL: 044000 FRAME: 0192
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 59 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm PROCEDE DE SELECTION DE NOEUDS DE BORDURE
          806472    806472-DE-EPA          EP2472783                    11150127.6                   EP2472783                          DE              29-May-13           4-Jan-31                 4-Jan-11    INTER-DOMAINES
                                                                                                                                                                                                                 PROCEDE DE SELECTION DE NOEUDS DE BORDURE
          806472    806472-FR-EPA          EP2472783                    11150127.6                   EP2472783                          FR              29-May-13           4-Jan-31                 4-Jan-11    INTER-DOMAINES
                                                                                                                                                                                                                 PROCEDE DE SELECTION DE NOEUDS DE BORDURE
          806472    806472-GB-EPA          EP2472783                    11150127.6                   EP2472783                          GB              29-May-13           4-Jan-31                 4-Jan-11    INTER-DOMAINES
                                                                                                                                                                                                                 Method And Appartus For Detecting A Misaligned
          806554    806554-US-NP           US8526027                    12/726491                    20110228308                        us               3-Sep-13          24-Dec-31                 18-Mar-10   Page


          806558    806558-EP-EPA                                       10305185.0                   EP2369355                          EP                                 25-Feb-30                 25-Feb-10   Pushing Functionality for locked PLLs and Synthesizer
                                                                                                                                                                                                                 Improved security for mobile terminal temporary
          806559    806559-EP-EPA                                       10306283.2                   EP2456242                          EP                                 23-Nov-30                 23-Nov-10   identifiers
                                                                                                                                                                                                                 Dynamic Delay Budget Allocation Using Single-Point
          806570    806570-US-NP           US8861352                    12/802088                    20110292797                        us              14-Oct-14          15-May-33                 28-May-10   Estimation Of End-To-End Delay


                                                                                                                                                                                                                 Improved saturation power Electro-Absorption
          806615    806615-EP-EPA                                       10305893.9                   EP2420882                          EP                                 16-Aug-30                 16-Aug-10   Modulator by Selective Area Growth
                                                                                                                                                                                                                 Method For Operating A Relay Node Of A Mobile
                                                                                                                                                                                                                 Communication Network And Relay Node Of A
          806618    806618-DE-EPA          EP2410812                    10290416.6                   EP2410812                          DE               5-Jun-13           22-Jul-30                22-Jul-10   Mobile Communication Network
                                                                                                                                                                                                                 Method For Operating A Relay Node Of A Mobile
                                                                                                                                                                                                                 Communication Network And Relay Node Of A
          806618    806618-FR-EPA          EP2410812                    10290416.6                   EP2410812                          FR               5-Jun-13           22-Jul-30                22-Jul-10   Mobile Communication Network
                                                                                                                                                                                                                 Method For Operating A Relay Node Of A Mobile
                                                                                                                                                                                                                 Communication Network And Relay Node Of A
          806618    806618-GB-EPA          EP2410812                    10290416.6                   EP2410812                          GB               5-Jun-13           22-Jul-30                22-Jul-10   Mobile Communication Network
                                                                                                                                                                                                                 Adaptive Distinct Counting For Network-Traffic
          806632    806632-US-NP           US8931088                    12/732293                    20110239299                        us               6-Jan-15          27-Apr-32                 26-Mar-10   Monitoring And Other Applications
                                                                                                                                                                                                                 Phase skew compensation at a coherent optical
          806639    806639-KR-PCT          XX-XXXXXXX                   10-2012-7027458                                                 KR              31-Mar-15          21-Apr-30                 21-Apr-10
                                                                                                                                                                                                                 Minimising Data Session Interruption for LTE
          806657    806657-DE-EPA          EP2355421                    10360004.5                   EP2355421                          DE              22-Aug-12          20-Jan-30                 20-Jan-10   Handover
                                                                                                                                                                                                                 Minimising Data Session Interruption for LTE
          806657    806657-FR-EPA          EP2355421                    10360004.5                   EP2355421                          FR              22-Aug-12          20-Jan-30                 20-Jan-10   Handover
                                                                                                                                                                                                                 Minimising Data Session Interruption for LTE
          806657    806657-GB-EPA          EP2355421                    10360004.5                   EP2355421                          GB              22-Aug-12          20-Jan-30                 20-Jan-10   Handover
          806664    806664-US-NP           US8446725                    12/851299                    20120033379                        us              21-May-13           9-Feb-31                 5-Aug-10    Airflow Control In An Electronic Chassis
                                                                                                                                                                                                                 Automated installation and activation of software on
          806680    806680-IN-PCT                                       328/CHENP/2013               328/CHENP/2013                     IN                                 21-Jun-31                 21-Jun-11   CPEs by using RF-id
                                                                                                                                                                                                                 Automated installation and activation of software on
          806680    806680-JP-PCT          JP5684907                    2013-517166                  2013530472                         JP              23-Jan-15          21-Jun-31                 21-Jun-11   CPEs by using RF-id
                                                                                                                                                                                                                 Automated installation and activation of software on
          806680    806680-KR-PCT          KRl0-1478570                 10-2013-7002228                                                 KR              26-Dec-14          21-Jun-31                 21-Jun-11   CPEs by using RF-id
                                                                                                                                                                                                                 Method For Installation Of An Application
          806680    806680-DE-EPA          EP2403216                    10290359.8                   EP2403216                          DE              5-Mar-14           30-Jun-30                 30-Jun-10
                                                                                                                                                                                                                 Method For Installation Of An Application
          806680    806680-FR-EPA          EP2403216                    10290359.8                   EP2403216                          FR              5-Mar-14           30-Jun-30                 30-Jun-10
                                                                                                                                                                                                                 Method For Installation Of An Application
          806680    806680-GB-EPA          EP2403216                    10290359.8                   EP2403216                          GB              5-Mar-14           30-Jun-30                 30-Jun-10
                                                                                                                                                                                                                 Prevention Of Mismatch Of Authentication
                                                                                                                                                                                                                 Parameter In Hybrid Communication System
          806696    806696-US-NP           US8995959                    13/237032                    20130072156                        us              31-Mar-15          12-Feb-33                 20-Sep-11
                                                                                                                                                                                                                 INTER-NODE B SERVING HS-DSCH CELL CHANGE
                                                                                                                                                                                                                 WITH TARGET CELL PRE-CONFIGURATION AND
                                                                                                                                                                                                                 SIGNALING OF ALTERNATIVE CONFIGURATION
          806794    806794-EP-EPT                                       11700013.3                   EP2534879                          EP                                  4-Jan-31                 4-Jan-11    INFORMATION TO USER EQUIPMENT
          806801    806801-JP-PCT          JP5681277                    2013503762                   2013524286                         JP              16-Jan-15          22-Mar-31                 22-Mar-11   Optical Grating Coupler
          806801    806801-EP-EPT                                       11711234.2                   EP2556396                          EP                                 22-Mar-31                 22-Mar-11   Optical Grating Coupler


          806826    806826-EP-EPA                                       10305542.2                   EP2389040                          EP                                 21-May-30                 21-May-10   System Load Indication and Load Control Method
                                                                                                                                                                                                                 POLARIZATION DEMULTIPLEXING
          806833    806833-DE-EPA          EP2381594                    10305416.9                   EP2381594                          DE              31-May-17          21-Apr-30                 21-Apr-10   AT A COHERE NT OPTICAL RECEIVER
                                                                                                                                                                                                                 POLARIZATION DEMULTIPLEXING
          806833    806833-FR-EPA          EP2381594                    10305416.9                   EP2381594                          FR              31-May-17          21-Apr-30                 21-Apr-10   AT A COHERE NT OPTICAL RECEIVER
                                                                                                                                                                                                                 POLARIZATION DEMULTIPLEXING
          806833    806833-GB-EPA          EP2381594                    10305416.9                   EP2381594                          GB              31-May-17          21-Apr-30                 21-Apr-10   AT A COHERE NT OPTICAL RECEIVER
                                                                                                                                                                                                                 A Method In An Optical Network To Allocate A Total
          806845    806845-DE-EPA          EP2403169                    10305705.5                   EP2403169                          DE              16-Jan-13          29-Jun-30                 29-Jun-10   Optical Bandwidth
                                                                                                                                                                                                                 A Method In An Optical Network To Allocate A Total
          806845    806845-FR-EPA          EP2403169                    10305705.5                   EP2403169                          FR              16-Jan-13          29-Jun-30                 29-Jun-10   Optical Bandwidth
                                                                                                                                                                                                                 A Method In An Optical Network To Allocate A Total
          806845    806845-GB-EPA          EP2403169                    10305705.5                   EP2403169                          GB              16-Jan-13          29-Jun-30                 29-Jun-10   Optical Bandwidth
                                                                                                                                                                                                                 System, Method, And Apparatus For High-Sensitivity
          806873    806873-US-NP           US8879922                    13/270804                    20130089339                        us               4-Nov-14          20-Apr-33                 11-Oct-11   Optical Detection
                                                                                                                                                                                                                 Power-Aware Task Management for Mobile
          806875    806875-EP-EPT                                       12703663.0                   EP2673993                          EP                                 31-Jan-32                 31-Jan-12   Terminals
                                                                                                                                                                                                                 Power-Aware Task Management for Mobile
          806875    806875-JP-PCT          JP5785273                    2013553459                   2014511595                         JP               31-Jul-15         31-Jan-32                 31-Jan-12   Terminals
                                                                                                                                                                                                                 Power-Aware Task Management for Mobile
          806875    806875-KR-PCT          KR101529539                  20137023195                                                     KR              11-Jun-15          31-Jan-32                 31-Jan-12   Terminals


          806924    806924-IN-PCT                                       1800/CHENP/2013              1800/CHENP/2013                    IN                                 23-Jun-31                 23-Jun-11   Text Messaging Over An eHRPD Network
          806924    806924-JP-PCT          JP5695192                    2013518493                   2013534787                         JP              13-Feb-15          23-Jun-31                 23-Jun-11   Text Messaging Over An eHRPD Network
          806924    806924-KR-PCT          KR101487730                  20137002902                                                     KR              23-Jan-15          23-Jun-31                 23-Jun-11   Text Messaging Over An eHRPD Network
                                                                                                                                                                                                                 Text Messaging Over An eHRPD Network
          806924    806924-US-NP           US8195209                    12/830932                    20120009955                        us               5-Jun-12           6-Oct-30                  6-Jul-10
                                                                                                                                                                                                                 Bi-directional fiber-fed wireless system with digital
          806965    806965-DE-EPA          EP2403166                    10290369.7                   EP2403166                          DE              21-Jan-15            2-Jul-30                 2-Jul-10   optical signals
                                                                                                                                                                                                                 Bi-directional fiber-fed wireless system with digital
          806965    806965-FR-EPA          EP2403166                    10290369.7                   EP2403166                          FR              21-Jan-15            2-Jul-30                 2-Jul-10   optical signals
                                                                                                                                                                                                                 Bi-directional fiber-fed wireless system with digital
          806965    806965-GB-EPA          EP2403166                    10290369.7                   EP2403166                          GB              21-Jan-15            2-Jul-30                 2-Jul-10   optical signals
                                                                                                                                                                                                                 Feedback For Multi-User Mimo Systems
          806970    806970-IN-PCT                                       9163/CHENP/2012              9163/CHENP/2012                    IN                                  7-Mar-31                 7-Mar-11
                                                                                                                                                                                                                 Feedback For Multi-User Mimo Systems
          806970    806970-BR-PCT                                       112012024858.8               112012024858.8                     BR                                  7-Mar-31                 7-Mar-11
                                                                                                                                                                                                                 Forwarding of UE mobility state information on X2
          806985    806985-EP-EPA                                       10290233.5                   EP2385725                          EP                                 3-May-30                  3-May-10    interface
                                                                                                                                                                                                                 Methods For Reducing Interference In
          807000    807000-KR-PCT          KR101487222                  20127026234                                                     KR              22-Jan-15          14-Feb-31                 14-Feb-11   Communication Systems




                                                                                                              Page 52 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0193
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 60 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Methods For Reducing Interference In
          807000    807000-US-NP           US9048907                    12/659471                     20110223867                          us               2-Jun-15          31-Mar-31                 10-Mar-10   Communication Systems
                                                                                                                                                                                                                    Method And Apparatus For Reducing Effects Of Lost
                                                                                                                                                                                                                    Packets On Redundancy Reduction In
          807009    807009-DE-EPT          EP2548393                    11712077.4                     EP2548393                           DE               12-Jul-17         10-Mar-31                 10-Mar-11   Communication Networks
                                                                                                                                                                                                                    Method And Apparatus For Reducing Effects Of Lost
                                                                                                                                                                                                                    Packets On Redundancy Reduction In
          807009    807009-FR-EPT          EP2548393                    11712077.4                     EP2548393                           FR               12-Jul-17         10-Mar-31                 10-Mar-11   Communication Networks
                                                                                                                                                                                                                    Method And Apparatus For Reducing Effects Of Lost
                                                                                                                                                                                                                    Packets On Redundancy Reduction In
          807009    807009-GB-EPT          EP2548393                    11712077.4                     EP2548393                          GB                12-Jul-17         10-Mar-31                 10-Mar-11   Communication Networks
                                                                                                                                                                                                                    Method And Apparatus For Reducing Effects Of Lost
                                                                                                                                                                                                                    Packets On Redundancy Reduction In
          807009    807009-US-CIP          US8432911                    12/732800                     20110176543                          us              30-Apr-13          23-Nov-30                 26-Mar-10   Communication Networks
                                                                                                                                                                                                                    Interface Between a Plurality of Graphical
                                                                                                                                                                                                                    Applications
          807031    807031-EP-EPA                                       10305688.3                     EP2400385                           EP                                 28-Jun-30                 28-Jun-10
                                                                                                                                                                                                                    A Method For Achieving Self-x Properties In Highly
          807087    807087-EP-EPA                                       10360032.6                     EP2413269                           EP                                  30-Jul-30                30-Jul-10   Dimensional Or Continuous Systems


          807091    807091-JP-PCT          JP5583274                    2013523548                    2013544380                           JP               25-Jul-14           7-Jul-31                 7-Jul-11   Automatic Memory Zeroing In Processor Caches


          807091    807091-KR-PCT          KR101451045                  2013-7005686                                                       KR               7-Oct-14            7-Jul-31                 7-Jul-11   Automatic Memory Zeroing In Processor Caches
                                           ZL201180036120
          807091    807091-CN-PCT          .1                           201180036120.1                CN103052945                         CN               16-Sep-15            7-Jul-31                 7-Jul-11   Automatic Memory Zeroing In Processor Caches


                                                                                                                                                                                                                    Method For Operating A Wireless Communication
                                                                                                                                                                                                                    Network, Base Station Of A Wireless Communication
                                                                                                                                                                                                                    Network, Terminal of A Wireless Communication
                                                                                                                                                                                                                    Network And Wireless Communication Network
          807098    807098-DE-EPA          EP2429247                    10290477.8                     EP2429247                           DE              24-Dec-14           6-Sep-30                 6-Sep-10


                                                                                                                                                                                                                    Method For Operating A Wireless Communication
                                                                                                                                                                                                                    Network, Base Station Of A Wireless Communication
                                                                                                                                                                                                                    Network, Terminal of A Wireless Communication
                                                                                                                                                                                                                    Network And Wireless Communication Network
          807098    807098-FR-EPA          EP2429247                    10290477.8                     EP2429247                           FR              24-Dec-14           6-Sep-30                 6-Sep-10


                                                                                                                                                                                                                    Method For Operating A Wireless Communication
                                                                                                                                                                                                                    Network, Base Station Of A Wireless Communication
                                                                                                                                                                                                                    Network, Terminal of A Wireless Communication
                                                                                                                                                                                                                    Network And Wireless Communication Network
          807098    807098-GB-EPA          EP2429247                    10290477.8                     EP2429247                          GB               24-Dec-14           6-Sep-30                 6-Sep-10
                                                                                                                                                                                                                    Methods And Apparatus For Identifying Peers On A
                                                                                                                                                                                                                    Peer-To-Peer Network
          807164    807164-US-NP           US9191438                    12/894328                     20120084429                          us              17-Nov-15           28-Jul-31                30-Sep-10
                                                                                                                                                                                                                    Frequency Synchronization Using Clock Recovery
          807166    807166-US-NP           US8693608                    12/885958                     20120069944                          us               8-Apr-14          27-Dec-31                 20-Sep-10   Loop With Adaptive Packet Filtering


                                                                                                                                                                                                                    A method, a system, a server, a client, a computer
                                                                                                                                                                                                                    program and a computer program product for
                                                                                                                                                                                                                    determining a user guide in a computer network
          807169    807169-KR-PCT          KR101464145                  20137018855                                                        KR              17-Nov-14          13-Dec-31                 13-Dec-11
          807187    807187-DE-EPA          EP2403135                    10290342.4                     EP2403135                           DE              11-Dec-13          24-Jun-30                 24-Jun-10   High-Efficiency Four-Way Doherty Amplifier
          807187    807187-FR-EPA          EP2403135                    10290342.4                     EP2403135                           FR              11-Dec-13          24-Jun-30                 24-Jun-10   High-Efficiency Four-Way Doherty Amplifier
          807187    807187-GB-EPA          EP2403135                    10290342.4                     EP2403135                          GB               11-Dec-13          24-Jun-30                 24-Jun-10   High-Efficiency Four-Way Doherty Amplifier


          807188    807188-DE-EPA          EP2418769                    10290409.1                     EP2418769                           DE               4-Sep-13           20-Jul-30                20-Jul-10   Power Amplifier For Mobile Telecommunications


          807188    807188-FR-EPA          EP2418769                    10290409.1                     EP2418769                           FR               4-Sep-13           20-Jul-30                20-Jul-10   Power Amplifier For Mobile Telecommunications


          807188    807188-GB-EPA          EP2418769                    10290409.1                     EP2418769                          GB                4-Sep-13           20-Jul-30                20-Jul-10   Power Amplifier For Mobile Telecommunications
          807249    807249-KR-PCT          KR101446450                  2013-7004467                                                       KR              24-Sep-14           25-Jul-31                25-Jul-11   Enhanced Manifest for HAS Streaming
                                                                                                                                                                                                                    Method For Transmission Of Data In A Radio
                                                                                                                                                                                                                    Communication System, First Network Node And
          807253    807253-DE-EPA          EP2403174                    10305698.2                     EP2403174                           DE              30-Oct-13          29-Jun-30                 29-Jun-10   Second Network Node Thereof
                                                                                                                                                                                                                    Method For Transmission Of Data In A Radio
                                                                                                                                                                                                                    Communication System, First Network Node And
          807253    807253-FR-EPA          EP2403174                    10305698.2                     EP2403174                           FR              30-Oct-13          29-Jun-30                 29-Jun-10   Second Network Node Thereof
                                                                                                                                                                                                                    Method For Transmission Of Data In A Radio
                                                                                                                                                                                                                    Communication System, First Network Node And
          807253    807253-GB-EPA          EP2403174                    10305698.2                     EP2403174                          GB               30-Oct-13          29-Jun-30                 29-Jun-10   Second Network Node Thereof
                                                                                                                                                                                                                    A Gateway For The Survivability Of An Enterprise
                                           ZL201310655246                                                                                                                                                           Network Using SIP
          807264    807264-CN-PCD          .8                           201310655246.8                103634490                           CN               16-Sep-15          24-Jan-32                 24-Jan-12
                                           ZL201280013166                                                                                                                                                           A Backup SIP Server For The Survivability Of An
          807264    807264-CN-PCT          .6                           201280013166.6                103430524                           CN               15-Apr-15          24-Jan-32                 24-Jan-12   Enterprise Network Using SIP
                                                                                                                                                                                                                    A Gateway For The Survivability Of An Enterprise
                                                                                                                                                                                                                    Network Using SIP
          807264    807264-IN-PCD                                       7792/CHENP/2013               7792/CHENP/2013                      IN                                 24-Jan-32                 24-Jan-12
                                                                                                                                                                                                                    A Backup SIP Server For The Survivability Of An
          807264    807264-IN-PCT                                       7252/CHENP/2013               7252/CHENP/2013                      IN                                 24-Jan-32                 24-Jan-12   Enterprise Network Using SIP
                                                                                                                                                                                                                    A Gateway For The Survivability Of An Enterprise
                                                                                                                                                                                                                    Network Using SIP
          807264    807264-JP-PCD          JP5865404                    201425081                     2014150535                           JP               8-Jan-16          24-Jan-32                 24-Jan-12
                                                                                                                                                                                                                    A Backup SIP Server For The Survivability Of An
          807264    807264-JP-PCT          JP5636516                    2013558332                    2014511072                           JP              24-Oct-14          24-Jan-32                 24-Jan-12   Enterprise Network Using SIP
                                                                                                                                                                                                                    A Gateway For The Survivability Of An Enterprise
                                                                                                                                                                                                                    Network Using SIP
          807264    807264-KR-PCD          KR101431413                  20137024308                                                        KR              11-Aug-14          24-Jan-32                 24-Jan-12
                                                                                                                                                                                                                    A Backup SIP Server For The Survivability Of An
          807264    807264-KR-PCT          KR101458336                  20137024286                                                        KR              29-Oct-14          24-Jan-32                 24-Jan-12   Enterprise Network Using SIP
                                                                                                                                                                                                                    Gateway For The Survivability Of An Enterprise
                                                                                                                                                                                                                    Network Using SIP
          807264    807264-US-PCD          US9477561                    14/021491                     20140012996                          us              25-Oct-16           2-Feb-35                 9-Sep-13
                                                                                                                                                                                                                    Backup SIP Server For The Survivability Of An
          807264    807264-US-PCT          US9201743                    14/000714                      US20130346789                       us               1-Dec-15          24-Jun-32                 24-Jan-12   Enterprise Network Using SIP
                                                                                                                                                                                                                    Validating Ethernet Virtual Connection Service
          807280    807280-US-NP           US8891385                    12/984213                     20120170465                          us              18-Nov-14           3-Feb-32                 4-Jan-11




                                                                                                                Page 53 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0194
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 61 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Handover Data Exchange With An IEEE 802.21
                                                                                                                                                                                                                 Network Entity
          807287    807287-EP-EPA                                       10306193.3                   EP2448208                          EP                                 29-Oct-30                 29-Oct-10
                                                                                                                                                                                                                 Method And Apparatus For Using Boarding Passes To
          807300    807300-US-NP           US8397989                    12/791086                    20110290875                        us              19-Mar-13          23-Mar-31                 1-Jun-10    Apply Business Rules
          807317    807317-FR-NP           FR2965131                    1003727                      2965131                            FR              28-Sep-12          20-Sep-30                 20-Sep-10   Delay Asymmetry Compensation (DAC)
                                                                                                                                                                                                                 Method For Correcting A Delay Asymmetry
          807317    807317-JP-PCT          JP5671619                    2013528748                   2013538022                         JP              26-Dec-14          15-Sep-31                 15-Sep-11
                                                                                                                                                                                                                 Method For Correcting A Delay Asymmetry
          807317    807317-KR-PCT          KR101479483                  1020137010084                                                   KR              30-Dec-14          15-Sep-31                 15-Sep-11
                                                                                                                                                                                                                 Method For Correcting A Delay Asymmetry
          807317    807317-EP-EPT                                       11773098.6                   EP2619936                          EP                                 15-Sep-31                 15-Sep-11
                                           ZL201180047563
          807327    807327-CN-PCT          .0                           201180047563.0               CN10314107A                        CN               3-Aug-16          22-Aug-31                 22-Aug-11   A Method and a Device for Managing an Urgent Call
          807327    807327-EP-EPT                                       11749156.3                   EP2609725                          EP                                 22-Aug-31                 22-Aug-11   Urgent Call Management System
          807327    807327-FR-NP           FR2964284                    1056753                      2964284                            FR              17-Aug-12          25-Aug-30                 25-Aug-10   Contact Me Through My Neighbors


          807327    807327-IN-PCT                                       1675/DELNP/2013              1675/DELNP/2013                    IN                                 22-Aug-31                 22-Aug-11   Urgent Call Management System
          807327    807327-JP-PCT          JP5931066                    2013525277                   2013541871                         JP              13-May-16          22-Aug-31                 22-Aug-11   Urgent Call Management System
                                                                                                                                                                                                                 A Method and a Tool for Smart Opening/Saving of
                                                                                                                                                                                                                 Documents in Operating Systems with Folders
          807332    807332-EP-EPA          EP2402869                    11161031.7                   EP2402869                          EP              25-Jan-17           4-Apr-31                 4-Apr-11    Semantic Indexing
                                                                                                                                                                                                                 A Method and a Tool for Smart Opening/Saving of
                                                                                                                                                                                                                 Documents in Operating Systems with Folders
          807332    807332-JP-PCT          JP5627772                    2013517434                   2013531851                         JP              10-Oct-14           2-May-31                 2-May-11    Semantic Indexing
                                                                                                                                                                                                                 A Method and a Tool for Smart Opening/Saving of
                                                                                                                                                                                                                 Documents in Operating Systems with Folders
          807332    807332-KR-PCT          KR101434947                  20127033967                                                     KR              21-Aug-14           2-May-31                 2-May-11    Semantic Indexing
                                                                                                                                                                                                                 A Method and a Tool for Smart Opening/Saving of
                                                                                                                                                                                                                 Documents in Operating Systems with Folders
          807332    807332-FR-NP           FR2962236                    1002766                      2962236                            FR               13-Jul-12         30-Jun-30                 30-Jun-10   Semantic Indexing
          807366    807366-CN-PCT                                       201380008536.1               CN104115484A                       CN                                  6-Feb-33                 6-Feb-13    Lensless Compressive Image Acquisition
          807366    807366-KR-PCT          KR101647241                  20147022069                  20140111025                        KR               3-Aug-16           6-Feb-33                 6-Feb-13    Lensless Compressive Image Acquisition
          807366    807366-US-CNT                                       14/609804                    20160006916                        us                                  7-Feb-32                 30-Jan-15   Lensless Compressive Image Acquisition
          807366    807366-EP-EPT                                       13704699.1                   EP2813070                          EP                                  6-Feb-33                 6-Feb-13    Lensless Compressive Image Acquisition
                                                                                                                                                                                                                 Virtual Ethernet Switch Via PCI-E Card
          807423    807423-US-NP           US8601199                    12/806898                    20120054405                        us               3-Dec-13           28-Jul-31                24-Aug-10
                                                                                                                                                                                                                 Tri-Colour Data Packet Counting For Tri-Colour
          807435    807435-US-NP           US8559331                    12/880373                    20120063352                        us              15-Oct-13          10-Sep-31                 13-Sep-10   Marking Policies
                                                                                                                                                                                                                 Weighted Memory Allocation mechanism for a multi-
          807462    807462-EP-EPA                                       10290430.7                   EP2413244                          EP                                  30-Jul-30                30-Jul-10   class cache
                                                                                                                                                                                                                 Venturi-supported Double Wall Ventilation of Free
          807476    807476-EP-EPA                                       10306045.5                   EP2434854                          EP                                 28-Sep-30                 28-Sep-10   Airflow Cooled Cabinet


                                                                                                                                                                                                                 Enabling A Distributed Policy Architecture With
          807498    807498-EP-EPT                                       11749038.3                   EP2604058                          EP                                  1-Aug-31                 1-Aug-11    Extended Son (Extended Self Organizing Networks)


                                                                                                                                                                                                                 Enabling A Distributed Policy Architecture With
          807498    807498-KR-PCT          KR101495557                  20137006004                                                     KR              16-Feb-15           1-Aug-31                 1-Aug-11    Extended Son (Extended Self Organizing Networks)
                                                                                                                                                                                                                 A Monolithic Integrated Structure Comprising A
                                                                                                                                                                                                                 Buried Heterostructure Semiconductor Optical
                                                                                                                                                                                                                 Amplifier And A Photodetector
                                           ZL201180047519
          807519    807519-CN-PCT          .X                           201180047519.X               CN103154791A                       CN               1-Jul-15          27-Sep-31                 27-Sep-11
                                                                                                                                                                                                                 A Monolithic Integrated Structure Comprising A
                                                                                                                                                                                                                 Buried Heterostructure Semiconductor Optical
                                                                                                                                                                                                                 Amplifier And A Photodetector


          807519    807519-EP-EPA                                       10306064.6                   EP2439822                          EP                                 30-Sep-30                 30-Sep-10
                                                                                                                                                                                                                 A Monolithic Integrated Structure Comprising A
                                                                                                                                                                                                                 Buried Heterostructure Semiconductor Optical
                                                                                                                                                                                                                 Amplifier And A Photodetector


          807519    807519-JP-PCT          JP5837601                    2013530701                   2013540351                         JP              13-Nov-15          27-Sep-31                 27-Sep-11
                                                                                                                                                                                                                 A Monolithic Integrated Structure Comprising A
                                                                                                                                                                                                                 Buried Heterostructure Semiconductor Optical
                                                                                                                                                                                                                 Amplifier And A Photodetector


          807519    807519-KR-PCT          KR101525334                  20137011120                                                     KR              27-May-15          27-Sep-31                 27-Sep-11
                                                                                                                                                                                                                 A Monolithic Integrated Structure Comprising A
                                                                                                                                                                                                                 Buried Heterostructure Semiconductor Optical
                                                                                                                                                                                                                 Amplifier And A Photodetector


          807519    807519-US-PCT          US8995804                    13/824726                    20130301985                        us              31-Mar-15          27-Sep-31                 27-Sep-11


          807527    807527-DE-EPA          EP2437441                    10290521.3                   EP2437441                          OE              25-Sep-13          30-Sep-30                 30-Sep-10   Look-up table for routing in elastic optical networks


          807527    807527-FR-EPA          EP2437441                    10290521.3                   EP2437441                          FR              25-Sep-13          30-Sep-30                 30-Sep-10   Look-up table for routing in elastic optical networks


          807527    807527-GB-EPA          EP2437441                    10290521.3                   EP2437441                          GB              25-Sep-13          30-Sep-30                 30-Sep-10   Look-up table for routing in elastic optical networks


          807528    807528-US-NP           US9378503                    12/801893                    20120005370                        us              28-Jun-16          27-Nov-33                 30-Jun-10   Methods Of Routing For Networks With Feedback


          807529    807529-JP-PCT          JP5603485                    2013512655                   2013533535                         JP              29-Aug-14          17-May-31                 17-May-11   Application Layer Authentication In Packet Networks


          807529    807529-KR-PCT          KR101495412                  20127030966                                                     KR              13-Feb-15          17-May-31                 17-May-11   Application Layer Authentication In Packet Networks


          807529    807529-US-NP           US8973125                    12/790143                    20110296518                        us              3-Mar-15           14-Feb-31                 28-May-10   Application Layer Authentication In Packet Networks


          807529    807529-EP-EPT                                       11722965.8                   EP2577932                          EP                                 17-May-31                 17-May-11   Application Layer Authentication In Packet Networks
          807551    807551-US-NP           US8582423                    13/010617                    20120033678                        us              12-Nov-13          21-Aug-31                 20-Jan-11   Multi-Chassis Inter-Process Communication
                                                                                                                                                                                                                 System And Method For Transport Control Protocol
          807552    807552-US-NP           US9059940                    13/010343                    20120033541                        us              16-Jun-15          20-Nov-31                 20-Jan-11   In A Multi-Chassis Domain
                                                                                                                                                                                                                 System And Method For Traffic Distribution In A
          807553    807553-US-NP           US8488608                    13/010414                    20120033669                        us               16-Jul-13          25-Jul-31                20-Jan-11   Multi-Chassis Link Aggregation
                                                                                                                                                                                                                 Method For Choosing An Alternate Offline Charging
                                                                                                                                                                                                                 System During An Overload And Apparatus
          807568    807568-US-NP           US9357081                    12/946394                    20120123914                        us              31-May-16          23-Apr-33                 15-Nov-10   Associated Therewith
                                           ZL201180038254
          807570    807570-CN-PCT          .7                           201180038254.7               CN103098424A                       CN              30-Sep-15           19-Jul-31                19-Jul-11   Multi-Chassis Virtual-Fabric Aggregation
          807570    807570-JP-PCT          JP5661929                    2013523182                   2013535922                         JP              12-Dec-14           19-Jul-31                19-Jul-11   Multi-Chassis Virtual-Fabric Aggregation




                                                                                                              Page 54 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0195
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 62 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
          807570    807570-KR-PCT          KR101455013                  20137002752                                                        KR              20-Oct-14           19-Jul-31                19-Jul-11   Multi-Chassis Virtual-Fabric Aggregation
                                                                                                                                                                                                                    System And Method For Multi-Chassis Link
          807570    807570-US-NP           U58767735                    13/010168                     20120033665                          us               1-Jul-14           9-Sep-31                 20-Jan-11   Aggregation


          807582    807582-US-NP           US8462774                    13/010711                     20120033672                          us              11-Jun-13          14-Sep-31                 20-Jan-11   Virtual IP Interfaces On Multi-Chassis Link Aggregates
                                                                                                                                                                                                                    Human Readable Iconic Display
          807585    807585-US-NP                                        12/956714                     20120137257                          us                                 30-Nov-30                 30-Nov-10
          807606    807606-EP-EPA                                       10306332.7                    EP2461550                            EP                                  1-Dec-30                 1-Dec-10    Call Back Remainder Notification
          807643    807643-DE-EPA          EP2472718                    11290003.0                     EP2472718                           DE               22-Jul-15          3-Jan-31                 3-Jan-11    Digital Doherty
          807643    807643-FR-EPA          EP2472718                    11290003.0                     EP2472718                           FR               22-Jul-15          3-Jan-31                 3-Jan-11    Digital Doherty
          807643    807643-GB-EPA          EP2472718                    11290003.0                     EP2472718                          GB                22-Jul-15          3-Jan-31                 3-Jan-11    Digital Doherty
                                                                                                                                                                                                                    A Process For Routing Communication Data In A
                                                                                                                                                                                                                    Communication Network, And Module In Said
          807656    807656-EP-EPA                                       11187179.4                     EP2587858                           EP                                 28-Oct-31                 28-Oct-11   Communication Network
          807656    807656-IN-NP                                        2578/DEL/2010                                                      IN                                 28-Oct-30                 28-Oct-10   A Method of applying quench factor


          807659    807659-EP-EPT                                       11813850.2                                                         EP                                 22-Dec-31                 22-Dec-11   Airspeed Measurement For Jets, Cars And Trucks


          807659    807659-JP-PCT          JP5711388                    2013548423                    2014501931                           JP              13-Mar-15          22-Dec-31                 22-Dec-11   Airspeed Measurement For Jets, Cars And Trucks
                                                                                                                                                                                                                    Method And System For Client Recovery Strategy In A
                                                                                                                                                                                                                    Redundant Server Configuration
          807660    807660-EP-EPT                                       11790696.6                     EP2641357                           EP                                 10-Nov-31                 10-Nov-11


                                                                                                                                                                                                                    Method And Apparatus For Efficient Generation Of
                                           ZL201280004817                                                                                                                                                           Interleaved Return-To-Zero (IRZ) Polarization-
          807712    807712-CN-PCT          .5                           201280004817.5                CN103444103A                        CN                9-Nov-16           5-Jan-32                 5-Jan-12    Division Multiplexed (PDM) Signals
                                                                                                                                                                                                                    Apparatus And Method For Generating Interleaved
                                                                                                                                                                                                                    Return-To-Zero (IRZ) Polarization-Division
          807712    807712-DE-EPT          EP2661827                    12701196.3                     EP2661827                           DE              27-May-15           5-Jan-32                 5-Jan-12    Multiplexed(PDM)Signals
                                                                                                                                                                                                                    Apparatus And Method For Generating Interleaved
                                                                                                                                                                                                                    Return-To-Zero (IRZ) Polarization-Division
          807712    807712-FR-EPT          EP2661827                    12701196.3                     EP2661827                           FR              27-May-15           5-Jan-32                 5-Jan-12    Multiplexed(PDM)Signals
                                                                                                                                                                                                                    Apparatus And Method For Generating Interleaved
                                                                                                                                                                                                                    Return-To-Zero (IRZ) Polarization-Division
          807712    807712-GB-EPT          EP2661827                    12701196.3                     EP2661827                          GB               27-May-15           5-Jan-32                 5-Jan-12    Multiplexed(PDM)Signals


                                                                                                                                                                                                                    Method And Apparatus For Efficient Generation Of
                                                                                                                                                                                                                    Interleaved Return-To-Zero (IRZ) Polarization-
          807712    807712-JP-PCT          JP5694565                    2013548499                                                         JP              13-Feb-15           5-Jan-32                 5-Jan-12    Division Multiplexed (PDM) Signals


                                                                                                                                                                                                                    Method And Apparatus For Efficient Generation Of
                                                                                                                                                                                                                    Interleaved Return-To-Zero (IRZ) Polarization-
          807712    807712-KR-PCT          KR101496935                  20137020636                                                        KR              23-Feb-15           5-Jan-32                 5-Jan-12    Division Multiplexed (PDM) Signals
                                                                                                                                                                                                                    Apparatus And Method For Generating Interleaved
                                                                                                                                                                                                                    Return-To-Zero (IRZ) Polarization-Division
          807712    807712-US-NP           US8842997                    12/985835                     20120177372                          us              23-Sep-14          15-Jan-32                 6-Jan-11    Multiplexed(PDM)Signals
                                                                                                                                                                                                                    Method Of Determining Access Times For Wireless
          807721    807721-KR-PCT          KR101463407                  20127032783                                                        KR              13-Nov-14          13-Jun-31                 13-Jun-11   Communication Devices
                                                                                                                                                                                                                    Method Of Determining Access Times For Wireless
          807721    807721-EP-EPT                                       11726629.6                     EP2583525                           EP                                 13-Jun-31                 13-Jun-11   Communication Devices
          807734    807734-DE-EPA          EP2482481                    11290038.6                     EP2482481                           DE               16-Jul-14         21-Jan-31                 21-Jan-11   Method of optical data transmission
          807734    807734-FR-EPA          EP2482481                    11290038.6                     EP2482481                           FR               16-Jul-14         21-Jan-31                 21-Jan-11   Method of optical data transmission
          807734    807734-GB-EPA          EP2482481                    11290038.6                     EP2482481                          GB                16-Jul-14         21-Jan-31                 21-Jan-11   Method of optical data transmission
          807791    807791-US-NP           US9104410                    12/984060                     20120173889                          us              11-Aug-15          19-Nov-33                 4-Jan-11    Power Saving Hardware
                                                                                                                                                                                                                    Energy-Management In A User-Premises Area
          807796    807796-US-NP           US9363103                    13/531019                     20130344875                          us               7-Jun-16          10-Dec-34                 22-Jun-12   Network
                                                                                                                                                                                                                    Method Of Uplink Control Channel Allocation For A
                                                                                                                                                                                                                    Relay Backhaul Link
          807823    807823-US-NP                                        13/042797                     20110310789                          us                                 21-Jun-30                 8-Mar-11
                                                                                                                                                                                                                    Method Of Uplink Control Channel Allocation For A
          807823    807823-EP-EPT                                       11728467.9                     EP2583387                           EP                                 15-Jun-31                 15-Jun-11   Relay Backhaul Link
                                                                                                                                                                                                                    Method Of Uplink Control Channel Allocation For A
          807823    807823-KR-PCT          KR101419284                  20127033417                                                        KR               8-Jul-14          15-Jun-31                 15-Jun-11   Relay Backhaul Link
                                                                                                                                                                                                                    Method For Communicating Between Customer
          807842    807842-US-PCT          US9036513                    13/702399                     20130114617                          us              19-May-15          21-Jun-31                 21-Jun-11   Device And Server Device
                                                                                                                                                                                                                    Method For Communicating Between Customer
          807842    807842-EP-EPA                                       10290358.0                     EP2403201                           EP                                 30-Jun-30                 30-Jun-10   Device and Server Device
          807846    807846-EP-EPT                                       13717404.1                     EP2842343                           EP                                  9-Apr-33                 9-Apr-13    Dynamic Interstitial Transitions
                                                                                                                                                                                                                    Conformal Antenna Array
          807877    807877-EP-EPT                                       11807821.1                     EP2661789                           EP                                 19-Dec-31                 19-Dec-11
                                                                                                                                                                                                                    Conformal Antenna Array
          807877    807877-US-NP           US8594735                    12/984950                     20120171972                          us              26-Nov-13           2-Aug-31                 5-Jan-11


                                                                                                                                                                                                                    Method And Apparatus For Reducing Rendering
                                                                                                                                                                                                                    Latency For Audio Streaming Applications Using
          807927    807927-US-NP           US9137051                    12/971698                     20120158408                          us              15-Sep-15          18-Jun-34                 17-Dec-10   Internet Protocol Communications Networks
          807961    807961-EP-EPT                                       10838367.0                     EP2647257                           EP                                 30-Nov-30                 30-Nov-10   FEMTOCELL BASE STATION
                                           ZL201180047572                                                                                                                                                           Enhanced TDM Agnostic Matrix
          807965    807965-CN-PCT          .X                           201180047572                  103141061                           CN                1-Apr-15          28-Sep-31                 28-Sep-11
                                                                                                                                                                                                                    Device and method for switching data traffic in a
          807965    807965-DE-EPA          EP2437442                    10306069.5                     EP2437442                           DE              13-Feb-13          30-Sep-30                 30-Sep-10   digital transmission network
                                                                                                                                                                                                                    Device and method for switching data traffic in a
          807965    807965-FR-EPA          EP2437442                    10306069.5                     EP2437442                           FR              13-Feb-13          30-Sep-30                 30-Sep-10   digital transmission network
                                                                                                                                                                                                                    Device and method for switching data traffic in a
          807965    807965-GB-EPA          EP2437442                    10306069.5                     EP2437442                          GB               13-Feb-13          30-Sep-30                 30-Sep-10   digital transmission network
                                                                                                                                                                                                                    Enhanced TDM Agnostic Matrix
          807965    807965-JP-PCT          JP5674951                    JP2013530720                                                       JP               9-Jan-15          28-Sep-31                 28-Sep-11
                                                                                                                                                                                                                    Enhanced TDM Agnostic Matrix
          807965    807965-KR-PCT          KRl0-1459356                 20137010909                                                        KR               3-Nov-14          28-Sep-31                 28-Sep-11
                                                                                                                                                                                                                    Device And Method For Switching Data Traffic In A
          807965    807965-US-PCT          US9154446                    13/819027                     20130182716                          us               6-Oct-15           31-Jul-32                28-Sep-11   Digital Transmission Network
          807966    807966-EP-EPA                                       11290053.5                     EP2482575                           EP                                 28-Jan-31                 28-Jan-11   Authenticating and localizing a mobile user
                                           ZL201180040937                                                                                                                                                           Peer-To-Peer Traffic Localization For Content In A
          807967    807967-CN-PCT          .6                           201180040937.6                CN103069781A                        CN               9-Mar-16            28-Jul-31                28-Jul-11   Distributed Hash Table
                                                                                                                                                                                                                    Peer-To-Peer Traffic Localization For Content In A
          807967    807967-EP-EPT                                       11743909.1                     EP2636205                           EP                                  28-Jul-31                28-Jul-11   Distributed Hash Table
                                                                                                                                                                                                                    Peer-To-Peer Traffic Localization For Content In A
          807967    807967-JP-PCT          JP5611468                    2013525924                    2013543667                           JP              12-Sep-14           28-Jul-31                28-Jul-11   Distributed Hash Table
                                                                                                                                                                                                                    Peer-To-Peer Traffic Localization For Content In A
          807967    807967-KR-PCT          KR101474233                  20137007122                                                        KR              12-Dec-14           28-Jul-31                28-Jul-11   Distributed Hash Table




                                                                                                                Page 55 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0196
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 63 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Peer To Peer Localization For Content In A
          807967    807967-US-NP           US9055082                    12/868454                     20120054322                          us               9-Jun-15          24-Nov-31                 25-Aug-10   Distributed Hash Table
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-BR-PCT                                       112012025715.3                112012025715.3                       BR                                 16-Mar-31                 16-Mar-11


                                                                                                                                                                                                                    METHOD FOR CONTROLLING COMMUNICATIONS IN
                                           ZL201180017199                                                                                                                                                           A MULTI-CARRIER WIRELESS COMMUNICATION
          807981    807981-CN-PCT                                       201180017199.3                102835181                           CN               11-May-16          16-Mar-31                 16-Mar-11   SYSTEM AND THE ASSOCIATED NETWORK NODES
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-DE-EPA          EP2375851                    10360034.2                     EP2375851                           DE              28-Sep-16           9-Aug-30                 9-Aug-10
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-FR-EPA          EP2375851                    10360034.2                     EP2375851                           FR              28-Sep-16           9-Aug-30                 9-Aug-10
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-GB-EPA          EP2375851                    10360034.2                     EP2375851                          GB               28-Sep-16           9-Aug-30                 9-Aug-10
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-IN-PCT                                       8406/CHENP/2012               8406/CHENP/2012                      IN                                 16-Mar-31                 16-Mar-11
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-JP-PCD          JP5766339                    2014146189                    2014212572                           JP              26-Jun-15          16-Mar-31                 16-Mar-11
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-JP-PCT          JP5583264                    2013503023                    2013524661                           JP               25-Jul-14         16-Mar-31                 16-Mar-11
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-KR-PCT          KR101409163                  20127025932                                                        KR              12-Jun-14          16-Mar-31                 16-Mar-11
                                                                                                                                                                                                                    Controlling Communications In A Multi-Carrier
                                                                                                                                                                                                                    Wireless Communication System
          807981    807981-US-PCT                                       13/639242                     20130121167                          us                                 16-Mar-31                 16-Mar-11
                                                                                                                                                                                                                    Assisted Position Evaluation And Selection For Femto
          808000    808000-EP-EPA                                       11290086.5                     EP2487949                           EP                                 14-Feb-31                 14-Feb-11   BS
                                                                                                                                                                                                                    Method For Performing Mobility Decision For A User
          808009    808009-DE-EPA          EP2621225                    12153126.3                     EP2621225                           DE              24-Sep-14          30-Jan-32                 30-Jan-12   Equipment
                                                                                                                                                                                                                    Method For Performing Mobility Decision For A User
          808009    808009-FR-EPA          EP2621225                    12153126.3                     EP2621225                           FR              24-Sep-14          30-Jan-32                 30-Jan-12   Equipment
                                                                                                                                                                                                                    Method For Performing Mobility Decision For A User
          808009    808009-GB-EPA          EP2621225                    12153126.3                     EP2621225                          GB               24-Sep-14          30-Jan-32                 30-Jan-12   Equipment
                                                                                                                                                                                                                    Securing Two-Party Computation Against Malicious
                                                                                                                                                                                                                    Adversaries
          808034    808034-US-NP           US8488791                    13/017449                     20120070000                          us               16-Jul-13          7-Apr-31                 31-Jan-11
                                                                                                                                                                                                                    IP Multicast Snooping And Routing With Multi-
          808077    808077-US-NP           US8472447                    13/010382                     20120033668                          us              25-Jun-13           8-Aug-31                 20-Jan-11   Chassis Link Aggregation


                                                                                                                                                                                                                    System And Method For Congestion Notification In
                                                                                                                                                                                                                    An Ethernet DAM Network




          808107    808107-US-NP           US9270564                    13/609375                     20140071831                          us              23-Feb-16           8-Apr-34                 11-Sep-12
                                                                                                                                                                                                                    Method And Apparatus For Transparently Modifying
          808195    808195-EP-EPA                                       11305588.3                     EP2525544                           EP                                 16-May-31                 16-May-11   A TCP Conversation
                                           ZL201180040932                                                                                                                                                           Method And Apparatus For Accommodating
          808203    808203-CN-PCT          .3                           201180040932.3                CN103141052A                        CN               23-Mar-16          18-Aug-31                 18-Aug-11   Overlapping Reference Signal Patterns
                                                                                                                                                                                                                    Method For Accommodating Overlapping Reference
          808203    808203-DE-EPT          EP2609709                    11754572.3                     EP2609709                           DE              16-Nov-16          18-Aug-31                 18-Aug-11   Signal Patterns
                                                                                                                                                                                                                    Method For Accommodating Overlapping Reference
          808203    808203-FR-EPT          EP2609709                    11754572.3                     EP2609709                           FR              16-Nov-16          18-Aug-31                 18-Aug-11   Signal Patterns
                                                                                                                                                                                                                    Method For Accommodating Overlapping Reference
          808203    808203-GB-EPT          EP2609709                    11754572.3                     EP2609709                          GB               16-Nov-16          18-Aug-31                 18-Aug-11   Signal Patterns
                                                                                                                                                                                                                    Method For Accommodating Overlapping Reference
          808203    808203-IN-PCT                                       1425/CHENP/2013               1425/CHENP/2013                      IN                                 18-Aug-31                 18-Aug-11   Signal Patterns
                                                                                                                                                                                                                    Method For Accommodating Overlapping Reference
          808203    808203-KR-PCT          KR101468527                  20137007296                                                        KR              27-Nov-14          18-Aug-31                 18-Aug-11   Signal Patterns
                                                                                                                                                                                                                    Method For Accommodating Overlapping Reference
          808203    808203-US-NP           US8842620                    13/205931                     20120051404                          us              23-Sep-14           8-Aug-32                 9-Aug-11    Signal Patterns
                                                                                                                                                                                                                    Voice Signature Solutions Architecture And Business
          808234    808234-EP-EPT                                       11770932.9                     EP2622600                           EP                                 22-Sep-31                 22-Sep-11   Model
                                                                                                                                                                                                                    Voice Signature Solutions Architecture And Business
          808234    808234-KR-PCT          KR101431401                  20137007891                                                        KR              11-Aug-14          22-Sep-31                 22-Sep-11   Model
                                                                                                                                                                                                                    Method And Apparatus For Voice Signature
          808234    808234-US-NP           US9118669                    12/894198                     20120084078                          us              25-Aug-15           14-Jul-31                30-Sep-10   Authentication
          808261    808261-EP-EPT                                       11807817.9                     EP2661690                           EP                                 19-Dec-31                 19-Dec-11   Seamless Scaling Of Enterprise Applications


                                           ZL201180061299                                                                                                                                                           Dynamic evaluation of the per OMS per channel
          808273    808273-CN-PCT          .6                           201180061299.6                103262443                           CN               16-Dec-15          18-Nov-31                 18-Nov-11   premphasis power (OMS= Optical Multiplex Section)


                                                                                                                                                                                                                    Dynamic evaluation of the per OMS per channel
          808273    808273-DE-EPA          EP2466770                    10306462.2                     EP2466770                           DE              29-May-13          20-Dec-30                 20-Dec-10   premphasis power (OMS= Optical Multiplex Section)


                                                                                                                                                                                                                    Dynamic evaluation of the per OMS per channel
          808273    808273-FR-EPA          EP2466770                    10306462.2                     EP2466770                           FR              29-May-13          20-Dec-30                 20-Dec-10   premphasis power (OMS= Optical Multiplex Section)


                                                                                                                                                                                                                    Dynamic evaluation of the per OMS per channel
          808273    808273-GB-EPA          EP2466770                    10306462.2                     EP2466770                          GB               29-May-13          20-Dec-30                 20-Dec-10   premphasis power (OMS= Optical Multiplex Section)
                                                                                                                                                                                                                    Dynamic Evaluation Of The Optical Multiplex Section
          808273    808273-US-PCT          US9002200                    13/885562                     20140147113                          us               7-Apr-15           2-Mar-32                 18-Nov-11   Per-Channel Pre-Emphasis Power


                                                                                                                                                                                                                    Dynamic evaluation of the per OMS per channel
          808273    808273-JP-PCT          JP5575992                    2013545136                    2014505405                           JP               11-Jul-14         18-Nov-31                 18-Nov-11   premphasis power (OMS= Optical Multiplex Section)
                                           ZL201180048803                                                                                                                                                           Setting Uplink Antenna Transmission Weights In Soft
          808274    808274-CN-PCT          .9                           201180048803.9                103155435                           CN                3-Feb-16           8-Sep-31                 8-Sep-11    Handover
                                                                                                                                                                                                                    Setting Uplink Antenna Transmission Weights In Soft
          808274    808274-DE-EPA          EP2439856                    10360036.7                     EP2439856                           DE              15-Jan-14           8-Oct-30                 8-Oct-10    Handover
                                                                                                                                                                                                                    Setting Uplink Antenna Transmission Weights In Soft
          808274    808274-FR-EPA          EP2439856                    10360036.7                     EP2439856                           FR              15-Jan-14           8-Oct-30                 8-Oct-10    Handover




                                                                                                                Page 56 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0197
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 64 of 156
                          Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                               Setting Uplink Antenna Transmission Weights In Soft
808274    808274-GB-EPA          EP2439856        10360036.7        EP2439856         GB   15-Jan-14   8-Oct-30    8-Oct-10    Handover
                                                                    2618/CHENP/2013                                            Setting Uplink Antenna Transmission Weights In Soft
808274    808274-IN-PCT                           2618/CHENP/2013   A                 IN               8-Sep-31    8-Sep-11    Handover
                                                                                                                               Setting Uplink Antenna Transmission Weights In Soft
808274    808274-JP-PCT          JP5636504        2013532057        2013546225        JP   24-Oct-14   8-Sep-31    8-Sep-11    Handover
                                                                                                                               Setting Uplink Antenna Transmission Weights In Soft
808274    808274-KR-PCT          KRl0-1463731     20137011713                         KR   14-Nov-14   8-Sep-31    8-Sep-11    Handover
808274    808274-US-PCT          US9203479        13/878360         20130272237       us   1-Dec-15    30-Mar-32   8-Sep-11    Transmission Control
                                                                                                                               Multi-Operator Virtual Shared Femto Gateway For
808427    808427-EP-EPA                           11290074.1        EP2485564         EP               4-Feb-31    4-Feb-11    Small Cells
                                                                                                                               Method, Controller Device And Computer Program
                                                                                                                               For Measuring Energy Efficiency Of A Multi Blades
808428    808428-EP-EPA                           11306100.6        EP2568384         EP               6-Sep-31    6-Sep-11    System
                                                                                                                               Procede de gestion des composants logiciels integres
808510    808510-RU-PCT          RU2359316        2006103986        2006103986        RU   20-Jun-09    9-Jul-24    9-Jul-04   dans unsystemeembarque
                                                                                                                               Procede de gestion des composants logiciels integres
808510    808510-EP-EPT                           04767651.5        EP1649363         EP                9-Jul-24    9-Jul-04   dans unsystemeembarque
                                                                                                                               Procede de gestion des composants logiciels integres
808510    808510-FR-NP           FR2857471        0403174           2857471           FR   26-Sep-08   26-Mar-24   26-Mar-04   dans unsystemeembarque
                                                                                                                               Procede de gestion des composants logiciels integres
808510    808510-IN-PCT                           599/DELNP/2006    599/DELNP/2006    IN                9-Jul-24    9-Jul-04   dans unsystemeembarque
                                                                                                                               Procede de gestion des composants logiciels integres
808510    808510-JP-PCT          JP4724660        2006518306        2007527562        JP   15-Apr-11    9-Jul-24    9-Jul-04   dans unsystemeembarque
                                                                                                                               Procede de gestion des composants logiciels integres
808510    808510-US-PCT          US7757296        11/328725         20060161768       us   13-Jul-10    9-Jul-24    9-Jul-04   dans unsystemeembarque
808511    808511-EP-EPT                           07871796.4        EP2087423         EP               5-Dec-27    5-Dec-07    ChargementdeMiddleware
808512    808512-EP-EPT                           08826615.0        EP2181388         EP               17-Jul-28   17-Jul-08   Gestion de ressources
                                                                                                                               Method For Managing The Shared Resources Of A
                                                                                                                               Computer System, A Module For Supervising The
                                                                                                                               Implementation Of Same And A Computer System
808512    808512-US-PCT          US8701116        12/669144         20110055840       us   15-Apr-14   3-May-30    17-Jul-08   Having One Such Module
808513    808513-EP-EPT                           09721298.9        EP2245590         EP               30-Jan-29   30-Jan-09   Image resizing
                                                                                                                               Generating Semantic Structured Documents From
808528    808528-US-PCT                           13/992875         20130326336       us               30-Nov-31   30-Nov-11   Text Documents
                                                                                                                               A Home Network Physical Layer Configuration
                                                                                                                               Platform And Method
808546    808546-KR-PCT          KRl0-1525837     10-2013-7022877                     KR   29-May-15   19-Jan-32   19-Jan-12
808556    808556-SG-PCT          SG193250         201306572-7                         SG   23-Oct-14   23-Feb-32   23-Feb-12   Monolithic Photonic Integrated Circuit
808556    808556-US-NP           US8676009        13/112653         20120237153       us   18-Mar-14   1-Feb-32    20-May-11   Monolithic Photonic Integrated Circuit
808556    808556-EP-EPT                           12714419.4        EP2686721         EP               23-Feb-32   23-Feb-12   Monolithic Photonic Integrated Circuit
                                                                                                                               Content Collaboration Among Heterogeneous
808572    808572-KR-PCT          KR101483384      20137014109                         KR   9-Jan-15    1-Dec-31    1-Dec-11    Distributed Mediums
                                                                                                                               Systeme permettant d4optimiser la gestion des
                                                                                                                               composants logiciels integres dans un systeme
808621    808621-FR-NP           FR2857476        0308489           2857476           FR   23-Sep-05   10-Jul-23   10-Jul-03   embarque,notammentdansun
                                                                                                                               Simplified RLC-PDCP Architecture With Pre-
808637    808637-DE-EPA          EP2477365        11360007.6        EP2477365         DE   11-Mar-15   13-Jan-31   13-Jan-11   Processing And Combined Buffer
                                                                                                                               Simplified RLC-PDCP Architecture With Pre-
808637    808637-FR-EPA          EP2477365        11360007.6        EP2477365         FR   11-Mar-15   13-Jan-31   13-Jan-11   Processing And Combined Buffer
                                                                                                                               Simplified RLC-PDCP Architecture With Pre-
808637    808637-GB-EPA          EP2477365        11360007.6        EP2477365         GB   11-Mar-15   13-Jan-31   13-Jan-11   Processing And Combined Buffer
808680    808680-US-NP           US9007993        13/289404         20120147826       us   14-Apr-15   13-Feb-33   4-Nov-11    Method For Inter-Base Station Signaling
                                                                                                                               Radio Coverage In Mobile Telecommunications
808712    808712-EP-EPA                           11290047.7        EP2485516         EP               27-Jan-31   27-Jan-11   Systems
                                                                                                                               Method And Apparatus To Derive System Timing at a
808743    808743-KR-PCT          KR101506924      20137019175                         KR   24-Mar-15   7-Dec-31    7-Dec-11    Wireless Base Station
                                                                                                                               Selection of physical parameters to characterize
808761    808761-EP-EPA                           11305207.0        EP2493102         EP               25-Feb-31   25-Feb-11   optical links
808764    808764-US-NP           US8843098        13/157379         20120314734       us   23-Sep-14   19-Apr-32   10-Jun-11   Reconstruction Filter With Built-In Balun
                                 ZL201280008743                                                                                Optical Transmission With Polarization Division
808770    808770-CN-PCT          .2               201280008743.2    CN103392309A      CN   6-Apr-16    16-Feb-32   16-Feb-12   Multiplexing
                                                                                                                               Optical Transmission With Polarization Division
808770    808770-JP-PCT          JP5727631        2013554850        2014511607        JP   10-Apr-15   16-Feb-32   16-Feb-12   Multiplexing
                                                                                                                               Optical Transmission With Polarization Division
808770    808770-KR-PCT          KR101542358      20137021851                         KR   31-Jul-15   16-Feb-32   16-Feb-12   Multiplexing
                                                                                                                               Optical Transmission With Polarization Division
808770    808770-US-PCT          US9077483        13/978635         20130322881       us    7-Jul-15   31-Mar-32   16-Feb-12   Multiplexing
808776    808776-US-NP           US8559769        13/014864         20120195547       us   15-Oct-13   6-Apr-32    27-Jan-11   All-Optical Phase Shifter In Silicon
808777    808777-US-NP           US8699834        13/023173         20120189310       us   15-Apr-14   12-Jan-32   8-Feb-11    Bandwidth Adjustable Bandpass Filter
                                                                                                                               Detection of loss or malfunctions in electrical
                                 ZL201180047959                                                                                distribution networks
808788    808788-CN-PCT          .5               201180047959.5    CN103140740A      CN    6-Jan-16   2-Aug-31    2-Aug-11
                                                                                                                               Detection of loss or malfunctions in electrical
                                                                                                                               distribution networks
808788    808788-JP-PCT          JP5607258        JP2013532085      2013545425        JP   5-Sep-14    2-Aug-31    2-Aug-11
                                                                                                                               Detection of loss or malfunctions in electrical
                                                                                                                               distribution networks
808788    808788-KR-PCT          KR101524386      20137008667                         KR   22-May-15   2-Aug-31    2-Aug-11
                                                                                                                               Detection of loss or malfunctions in electrical
                                                                                                                               distribution networks
808788    808788-DE-EPA          EP2439497        11290266.3        EP2439497         DE   4-Mar-15    9-Jun-31    9-Jun-11
                                                                                                                               Detection of loss or malfunctions in electrical
                                                                                                                               distribution networks
808788    808788-FR-EPA          EP2439497        11290266.3        EP2439497         FR   4-Mar-15    9-Jun-31    9-Jun-11
                                                                                                                               Detection of loss or malfunctions in electrical
                                                                                                                               distribution networks
808788    808788-GB-EPA          EP2439497        11290266.3        EP2439497         GB   4-Mar-15    9-Jun-31    9-Jun-11
                                                                                                                               Geothermally-Cooled Solar Thermoelectric Energy
808791    808791-US-NP           US9385292        13/293214         20130118543       us    5-Jul-16   12-Nov-34   10-Nov-11   Harvester
                                                                                                                               Method and System for Migration of Managed
808812    808812-US-NP           US9063963        12/984047         20120173689       us   23-Jun-15   9-Oct-31     4-Jan-11   Devices
808857    808857-JP-PCT          JP5724031        2014501547        2014515210        JP   3-Apr-15    22-Mar-32   22-Mar-12   Method of decoding optical data signals
808857    808857-KR-PCT          KRl0-1506139     10-2013-7028522                     KR   20-Mar-15   22-Mar-32   22-Mar-12   Method of decoding optical data signals
808857    808857-US-PCT          US9106346        14/000333         20140016947       us   11-Aug-15   21-May-32   22-Mar-12   Method Of Decoding Optical Data Signals
808857    808857-EP-EPA                           11160751.1        EP2506516         EP               31-Mar-31   31-Mar-11   Method Of Decoding Optical Data Signals


                                                                                                                               Method Of Registering A Location Of An Access
                                                                                                                               Terminal Within A FEMTO Network With A Macro
808863    808863-US-NP           US8725146        13/213679         20120184273       us   13-May-14   13-Jan-31   19-Aug-11   Network, And Associated Apparatuses




                                                                         Page 57 of 149
                                                                                                                PATENT
                                                                                                        REEL: 044000 FRAME: 0198
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 65 of 156
                                       Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                              :ia:~:A,m:::::::::::::::::
                                             liiitiiiiii~:il\::::'::•:•
                                                                           :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Notification of too many "No answer" of Forwarded
          808870    808870-EP-EPT                                          11755307.3                   EP2724506                          EP                                  6-Sep-31                 6-Sep-11    to Number
                                                                                                                                                                                                                    Method Of Selection Of Neighbour Cells And Mobile
          808878    808878-EP-EPA                                          11305045.4                   EP2477434                          EP                                 17-Jan-31                 17-Jan-11   Station To Carry Out The Method
          808886    808886-US-NP              US8897649                    13/238737                    20130071113                        us              25-Nov-14          15-Feb-33                 21-Sep-11   Optical Transport System Two-Carrier Signals
                                                                                                                                                                                                                    (Telecom-profile-compatible) Redundant
                                                                                                                                                                                                                    Distributed/Network Boundary Clock (RNBC): system
          808895    808895-DE-EPA             EP2541815                    11171771.6                   EP2541815                          DE              18-Dec-13          28-Jun-31                 28-Jun-11   and implementation
                                                                                                                                                                                                                    (Telecom-profile-compatible) Redundant
                                                                                                                                                                                                                    Distributed/Network Boundary Clock (RNBC): system
          808895    808895-FR-EPA             EP2541815                    11171771.6                   EP2541815                          FR              18-Dec-13          28-Jun-31                 28-Jun-11   and implementation
                                                                                                                                                                                                                    (Telecom-profile-compatible) Redundant
                                                                                                                                                                                                                    Distributed/Network Boundary Clock (RNBC): system
          808895    808895-GB-EPA             EP2541815                    11171771.6                   EP2541815                          GB              18-Dec-13          28-Jun-31                 28-Jun-11   and implementation
                                                                                                                                                                                                                    Establishing Device To Device Communication
          808914    808914-IN-NP                                           1738/DEL/2013                1738/DEL/2013                      IN                                 11-Jun-33                 11-Jun-13   Channel
                                                                                                                                                                                                                    Method And Apparatus For Energy Efficient
          808917    808917-EP-EPT                                          12795692.8                   EP2795468                          EP                                 19-Nov-32                 19-Nov-12   Distributed And Elastic Load Balancing
                                                                                                                                                                                                                    Method And Apparatus For Energy Efficient
          808917    808917-JP-PCT             JP5978313                    2014549058                   2015503781                         JP               29-Jul-16         19-Nov-32                 19-Nov-12   Distributed And Elastic Load Balancing
                                                                                                                                                                                                                    Method And Apparatus For Energy Efficient
          808917    808917-US-NP              US9223630                    13/334141                    20130166943                        us              29-Dec-15          23-Jun-33                 22-Dec-11   Distributed And Elastic Load Balancing


                                                                                                                                                                                                                    A method for transmission of reference signals, a
          808922    808922-EP-EPA                                          11305716.0                   EP2533582                          EP                                  9-Jun-31                 9-Jun-11    base station and a user terminal therefor


                                                                                                                                                                                                                    A method for transmission of reference signals, a
          808922    808922-JP-PCT             JP5759067                    2014-513988                  2014516231                         JP              12-Jun-15          25-May-32                 25-May-12   base station and a user terminal therefor


                                                                                                                                                                                                                    A method for transmission of reference signals, a
          808922    808922-TW-NP              TWl472184                    101117559                                                      TW                1-Feb-15          17-May-32                 17-May-12   base station and a user terminal therefor


                                                                                                                                                                                                                    Method And Apparatus For Providing Application
                                                                                                                                                                                                                    With Interface To Composite Network Service
          808965    808965-US-NP              US8589956                    13/077630                    20120254899                        us              19-Nov-13          14-May-32                 31-Mar-11
                                                                                                                                                                                                                    A Method and a Tool for End-user Query
                                                                                                                                                                                                                    Reformulation Through Progress if Results Filtering
          809060    809060-EP-EPA                                          12175263.8                   EP2570940                          EP                                   6-Jul-32                 6-Jul-12   and Semantic Analysis
                                                                                                                                                                                                                    A Method and a Tool for End-user Query
                                                                                                                                                                                                                    Reformulation Through Progress if Results Filtering
          809060    809060-FR-NP                                           1158289                      2980290                            FR                                 19-Sep-31                 19-Sep-11   and Semantic Analysis
                                                                                                                                                                                                                    Method For Heat Dissipation In Active Antenna
          809071    809071-EP-EPA                                          11290332.3                   EP2549589                          EP                                  20-Jul-31                20-Jul-11   Arrays
          809109    809109-CN-PCT                                          201280027934.3               CN103597903A                       CN                                  2-May-32                 2-May-12    Wireless Data Card
          809109    809109-IN-NP                                           1611/DEL/2011                1611/DEL/2011                      IN                                  7-Jun-31                 7-Jun-11    Wireless Data Card
          809109    809109-EP-EPT                                          12718982.7                   EP2719246                          EP                                  2-May-32                 2-May-12    Wireless Data Card
                                                                                                                                                                                                                    Credit server for massive impulsive purchase of
          809132    809132-EP-EPA                                          11382180.5                   EP2530944                          EP                                 31-May-31                 31-May-11   multimedia assets


          809133    809133-US-NP              US8620383                    13/253120                    20130090124                        us              31-Dec-13           5-Oct-31                 5-Oct-11    Dynamic Resource Sharing Among Cellular Networks


                                                                                                                                                                                                                    Dynamic Resource Sharing Among Cellular Networks


      809133[1]     809133[1]-US-DIV          US9473287                    14/065790                    20140056254                        us              18-Oct-16           14-Jul-32                29-Oct-13
          809158    809158-US-CIP             US9008515                    13/018109                    20120087655                        us              14-Apr-15          17-Feb-32                 31-Jan-11   Direct Lazer Modulation


                                                                                                                                                                                                                    lntetfaceBetweenRestfulWebServicesAnd Packet-
          809186    809186-CN-PCT                                          201280029395.7               CN103636243A                       CN                                 23-May-32                 23-May-12   Switched Networks Networks For Text Messaging


                                                                                                        10170/DELNP/201                                                                                             lntetfaceBetweenRestfulWebServicesAnd Packet-
          809186    809186-IN-PCT                                          10170/DELNP/2013 3                                              IN                                 23-May-32                 23-May-12   Switched Networks Networks For Text Messaging


                                                                                                                                                                                                                    lntetfaceBetweenRestfulWebServicesAnd Packet-
          809186    809186-JP-PCT             JP5753316                    2014515836                   2014523151                         JP              29-May-15          23-May-32                 23-May-12   Switched Networks Networks For Text Messaging


                                                                                                                                                                                                                    lntetfaceBetweenRestfulWebServicesAnd Packet-
          809186    809186-KR-PCT             KR101567292                  20137033211                  20140015539                        KR               3-Nov-15          23-May-32                 23-May-12   Switched Networks Networks For Text Messaging
                                                                                                                                                                                                                    lntetfaceBetweenRestfulWebServicesAnd Packet-
          809186    809186-US-NP              US8923899                    13/160658                    20120322468                        us              30-Dec-14          21-Dec-31                 15-Jun-11   Switched Networks For Text Messaging


                                                                                                                                                                                                                    lntetfaceBetweenRestfulWebServicesAnd Packet-
          809186    809186-EP-EPT                                          12726287.1                   EP2721847                          EP                                 23-May-32                 23-May-12   Switched Networks Networks For Text Messaging
                                                                                                                                                                                                                    Method And Apparatus For Managing Components
          809193    809193-US-NP              US8776011                    13/077718                    20120254825                        us               8-Jul-14          28-Oct-32                 31-Mar-11   Of Application EnablementSuite
                                                                                                                                                                                                                    Blocking Subtitle/super-imposed images in Multi-
          809246    809246-EP-EPA                                          11306092.5                   EP2566179                          EP                                  2-Sep-31                 2-Sep-11


                                                                                                                                                                                                                    Method And Apparatus For Determining Uplink Noise
          809271    809271-CN-PCT                                          201280018131.1               CN103548277A                       CN                                 10-Apr-32                 10-Apr-12   Power In A Wireless Communication System


                                                                                                                                                                                                                    Method And Apparatus For Determining Uplink Noise
          809271    809271-IN-PCT                                          7718/CHENP/2013              7718/CHENP/2013                    IN                                 10-Apr-32                 10-Apr-12   Power In A Wireless Communication System


                                                                                                                                                                                                                    Method And Apparatus For Determining Uplink Noise
          809271    809271-JP-PCT             JP6008942                    2014505206                   2014515232                         JP              23-Sep-16          10-Apr-32                 10-Apr-12   Power In A Wireless Communication System


                                                                                                                                                                                                                    Method And Apparatus For Determining Uplink Noise
          809271    809271-US-NP              US9209858                    13/084901                    20120263046                        us               8-Dec-15           1-Aug-31                 12-Apr-11   Power In A Wireless Communication System


                                                                                                                                                                                                                    Method And Apparatus For Determining Uplink Noise
          809271    809271-EP-EPT                                          12715528.1                   EP2697907                          EP                                 10-Apr-32                 10-Apr-12   Power In A Wireless Communication System


                                                                                                                                                                                                                    Telecommunication Sandwich Card Arrangement
          809279    809279-EP-EPA                                          11306151.9                   EP2571284                          EP                                 15-Sep-31                 15-Sep-11   With Common Optical Module At The Front side
                                                                                                                                                                                                                    Methods And Apparatuses For Adapting Buffer
          809285    809285-US-NP              US9154452                    13/434080                    20130259063                        us               6-Oct-15          22-Mar-34                 29-Mar-12   Capacity At Routers
                                                                                                                                                                                                                    Method Of Scheduling And Admission Control For
                                                                                                                                                                                                                    Guaranteed Bit Rate And/Or Maximum Bit Rate
          809311    809311-JP-PCT             JP5852227                    2014505209                   2014517562                         JP              11-Dec-15          10-Apr-32                 10-Apr-12   Services




                                                                                                                 Page 58 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0199
                  Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 66 of 156
                                      Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


l~iiM@             ~~:J~Jf~                 1:~tt1J           @~~,~~!rn'-'-     ~~~,@.,!~              ,~~~         ~~!l!\H?:~ t~rtrH10 lmrn
                                                                                                                                             Method Of Scheduling And Admission Control For
                                                                                                                                             Guaranteed Bit Rate And/Or Maximum Bit Rate
         809311    809311-KR-PCT             KR101539214      20137030152                         KR    20-Jul-15    10-Apr-32   10-Apr-12   Services
                                                                                                                                             Method Of Scheduling And Admission Control For
                                                                                                                                             Guaranteed Bit Rate And/Or Maximum Bit Rate
         809311    809311-US-NP              US8467330        13/086796         20120263120       us    18-Jun-13    8-Dec-31    14-Apr-11   Services
                                                                                                                                             Method For Managing A User Profile Within A Social
         809333    809333-EP-EPA                              11183731.6        EP2579201         EP                 3-Oct-31    3-Oct-11    Network
                                                                                                                                             Broadcasting Availability Of Free Internet Access At
         809347    809347-US-NP              US9125024        13/218119         20130051299       us    1-Sep-15     3-Dec-32    25-Aug-11   Wireless Access Points
         809364    809364-US-NP              US8819638        13/237223         20130074046       us    26-Aug-14    20-Aug-32   20-Sep-11   Application Prototyping Suite
                                                                                                                                             Adjustable Multiple-Channel Optical Switch
         809366    809366-US-NP              US9188741        13/174029         20120230690       us    17-Nov-15     8-Jan-34   30-Jun-11


         809375    809375-IN-PCT                              7515/CHENP/2013   7515/CHENP/2013   IN                 12-Mar-32   12-Mar-12   Printed Circuit Board and Diplexer Circuit
         809375    809375-JP-PCT             JP5726366        2014-500319       2014512116        JP    10-Apr-15    12-Mar-32   12-Mar-12   Printed Circuit Board and Diplexer Circuit
         809375    809375-KR-PCT             KR101508916      10-2013-7024876                     KR    31-Mar-15    12-Mar-32   12-Mar-12   Printed Circuit Board and Diplexer Circuit
         809375    809375-US-PCT             US9270322        14/006997         20140022958       us    23-Feb-16    3-Oct-32    12-Mar-12   Printed Circuit Board and Diplexer Circuit
                                                                                                                                             Visualization ofan optical signal through linear
         809408    809408-CN-PCT                              201380048024.8    CN104641580A      CN                 12-Sep-33   12-Sep-13   optical sampling
                                                                                                                                             Visualization ofan optical signal through linear
         809408    809408-DE-EPT             EP2896145        13763215.4        EP2896145         DE    27-Jul-16    12-Sep-33   12-Sep-13   optical sampling
                                                                                                                                             Visualization ofan optical signal through linear
         809408    809408-FR-EPT             EP2896145        13763215.4        EP2896145         FR    27-Jul-16    12-Sep-33   12-Sep-13   optical sampling
                                                                                                                                             Visualization ofan optical signal through linear
         809408    809408-GB-EPT             EP2896145        13763215.4        EP2896145         GB    27-Jul-16    12-Sep-33   12-Sep-13   optical sampling
                                                                                                                                             Optimal Multi-Factor Evaluation In Computing
         809432    809432-US-NP              US8498957        13/116263         20120303571       us    30-Jul-13    18-Jan-32   26-May-11   Systems
                                                                                                                                             Method For Relaying Data In A Communication
         809466    809466-US-NP              US8838020        13/222234         20130052942       us    16-Sep-14    19-Oct-32   31-Aug-11   Network


                                                                                                                                             Method And Apparatus For Encoding/Decoding Data
         809467    809467-US-NP                               13/296482         20130121422       us                 15-Nov-31   15-Nov-11   For Motion Detection In A Communication System
                                                                                                                                             TRANSMISSION METHOD AND MOBILE STATION TO
         809494    809494-JP-PCT             JP5805295        2014501591        2014515212        JP    11-Sep-15    28-Mar-32   28-Mar-12   CARRYOUT THE METHOD
                                                                                                                                             Slow Memory compensation in a non linear sigma
         809500    809500-DE-EPA             EP2544374        11305884.6        EP2544374         DE    5-Mar-14      8-Jul-31    8-Jul-11   delta modulator
                                                                                                                                             Slow Memory compensation in a non linear sigma
         809500    809500-FR-EPA             EP2544374        11305884.6        EP2544374         FR    5-Mar-14      8-Jul-31    8-Jul-11   delta modulator
                                                                                                                                             Slow Memory compensation in a non linear sigma
         809500    809500-GB-EPA             EP2544374        11305884.6        EP2544374         GB    5-Mar-14      8-Jul-31    8-Jul-11   delta modulator
         809520    809520-EP-EPA                              11360015.9        EP2519060         EP                 28-Apr-31   28-Apr-11   Power Saving
                                                                                                                                             Method And System For Dynamic Power Control For
         809522    809522-US-NP              US9357482        13/181608         20130017854       us    31-May-16    25-Apr-32   13-Jul-11   Base Stations
                                                                                                                                             Adjustment Of Radio Resource Control State Timers
         809528    809528-US-NP              US8792355        13/228808         20130064107       us    29-Jul-14    13-May-32   9-Sep-11    In A Radio Access Network
                                                                                                                                             Method And Apparatus For Managing DRM
         809538    809538-EP-EPA                              11306525.4        EP2595078         EP                 21-Nov-31   21-Nov-11   Information In A Network
                                             ZL201380016895                                                                                  System And Method For Virtual Fabric Link Failure
         809541    809541-CN-PCT             .1               201380016895.1    CN104221336A      CN    12-Apr-17    15-Mar-33   15-Mar-13   Recovery
                                                                                                                                             System And Method For Virtual Fabric Link Failure
         809541    809541-EP-EPT                              13713656.0        EP2832059         EP                 15-Mar-33   15-Mar-13   Recovery
                                                                                                                                             System And Method For Virtual Fabric Link Failure
         809541    809541-JP-PCT             JP5873597        2015503323        2015515809        JP    22-Jan-16    15-Mar-33   15-Mar-13   Recovery
                                                                                                                                             System And Method For Virtual Fabric Link Failure
         809541    809541-KR-PCT             KR1563102        20147026822       20140127904       KR    19-Oct-15    15-Mar-33   15-Mar-13   Recovery
                                                                                                                                             System And Method For Virtual Fabric Link Failure
         809541    809541-US-CIP             US8913489        13/431116         20120182866       us    16-Dec-14    15-Jan-33   27-Mar-12   Recovery
                                                                                7588/CHENP/2013
         809544    809544-IN-PCT                              7588/CHENP/2013   A                 IN                 8-May-32    8-May-12    A Mobility Concept
                                                                                                                                             A System And Method For Service Initiation Control In
         809556    809556-DE-EPA             EP2579528        11290438.8        EP2579528         DE    21-May-14    26-Sep-31   26-Sep-11   An Access Network
                                                                                                                                             A System And Method For Service Initiation Control In
         809556    809556-FR-EPA             EP2579528        11290438.8        EP2579528         FR    21-May-14    26-Sep-31   26-Sep-11   An Access Network
                                                                                                                                             A System And Method For Service Initiation Control In
         809556    809556-GB-EPA             EP2579528        11290438.8        EP2579528         GB    21-May-14    26-Sep-31   26-Sep-11   An Access Network
                                                                                                                                             Method And System For Ingress Multicast Load
         809567    809567-US-NP              US8953450        13/495046         20130336115       us    10-Feb-15    28-Jun-32   13-Jun-12   Balancing
                                                                                                                                             Method For Transmitting Data In A Communication
                                                                                                                                             System, First Network Node And Second Network
         809592    809592-EP-EPA                              11305871.3        EP2544420         EP                  7-Jul-31    7-Jul-11   Node Thereof
                                                                                                                                             Method And Apparatus Of Dynamic Spectrum
         809617    809617-US-NP              US8892109        13/461979         20130295946       us    18-Nov-14    30-May-32   2-May-12    Sharing In Cellular Networks
                                                                                                                                             Method And Apparatus Of Dynamic Spectrum
     809617[1]     809617[1]-US-DIV                           14/517289         20150057009       us                 2-May-32    17-Oct-14   Sharing In Cellular Networks


         809622    809622-DE-EPA             EP2542005        11305837.4        EP2542005         DE    30-Oct-13    30-Jun-31   30-Jun-11   Modified UL Grant Timing In HetNets Using ABS


         809622    809622-FR-EPA             EP2542005        11305837.4        EP2542005         FR    30-Oct-13    30-Jun-31   30-Jun-11   Modified UL Grant Timing In HetNets Using ABS


         809622    809622-GB-EPA             EP2542005        11305837.4        EP2542005         GB    30-Oct-13    30-Jun-31   30-Jun-11   Modified UL Grant Timing In HetNets Using ABS
                                                                                                                                             Apparatus and Method for Scheduling a Mobile
         809623    809623-EP-EPA                              11306058.6        EP2563083         EP                 22-Aug-31   22-Aug-11   Terminal
                                                                                                                                             Apparatus and Method for Scheduling a Mobile
                                                                                                                                             Terminal
         809623    809623-TW-NP              TWl472256        101126477                           TW    1-Feb-15     23-Jul-32   23-Jul-12
                                                                                                                                             Emission Reporting And Monitoring
         809626    809626-CN-PCT                              201280049810.5    103875228         CN                 21-Sep-32   21-Sep-12
                                                                                                                                             Emission Reporting And Monitoring
         809626    809626-EP-EPT                              12766052.0        EP2767069         EP                 21-Sep-32   21-Sep-12
         809626    809626-IN-NP                               2915/DEL/2011     2915/DEL/2011     IN                 10-Oct-31   10-Oct-11   Emission Reporting And Monitoring
                                                                                                                                             A process to predict type of search when looking for
         809628    809628-EP-EPA                              11305534.7        EP2521047         EP                 6-May-31    6-May-11    connected objects
         809653    809653-US-DIV             US8639123        13/108048         20110211828       us    28-Jan-14     1-Apr-27   16-May-11   Flexible Dispersion Mapping
                                                                                                                                             Energy Saving Through Dynamic Forecasted Traffic
         809687    809687-DE-EPA             EP2530979        11290253.1        EP2530979         DE    22-Oct-14     3-Jun-31   3-Jun-11    Demand In Macrocell Based Network
                                                                                                                                             Energy Saving Through Dynamic Forecasted Traffic
         809687    809687-FR-EPA             EP2530979        11290253.1        EP2530979         FR    22-Oct-14     3-Jun-31   3-Jun-11    Demand In Macrocell Based Network
                                                                                                                                             Energy Saving Through Dynamic Forecasted Traffic
         809687    809687-GB-EPA             EP2530979        11290253.1        EP2530979         GB    22-Oct-14     3-Jun-31   3-Jun-11    Demand In Macrocell Based Network




                                                                                     Page 59 of 149
                                                                                                                               PATENT
                                                                                                                       REEL: 044000 FRAME: 0200
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 67 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                           :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                     ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                Electronic Transactions with Mobile Communications
                                                                                                                                                                                                                Devices via Encoded Acoustic Signals
          809692    809692-JP-PCT          JP5832640                    2014511317         2014-525060                           JP                     6-Nov-15          17-May-31                 17-May-11


                                                                                                                                                                                                                Electronic Transactions with Mobile Communications
                                                                                                                                                                                                                Devices via Encoded Acoustic Signals
          809692    809692-KR-PCT          KRl0-1541637                 2013-7033378                                             KR                     28-Jul-15         17-May-31                 17-May-11


                                                                                                                                                                                                                Electronic Transactions with Mobile Communications
                                                                                                                                                                                                                Devices via Encoded Acoustic Signals
          809692    809692-US-PCT                                       14/113251          20150012421                           us                                       17-May-31                 17-May-11


                                                                                                                                                                                                                Electronic Transactions with Mobile Communications
                                                                                                                                                                                                                Devices via Encoded Acoustic Signals
          809692    809692-EP-EPT                                       11793518.9         EP2710750                             EP                                       17-May-31                 17-May-11


          809699    809699-US-NP           US8824501                    13/245160          20130070785                           us                     2-Sep-14          20-Apr-32                 26-Sep-11   Performance Enhancement Through Optical Variants
                                                                                                                                                                                                                ADOBE -Automatic Diagnosis Based On Optimization
          809708    809708-EP-EPA                                       11305896.0         EP2544401                             EP                                         8-Jul-31                 8-Jul-11   Of Bayesian Networks
                                                                                                                                                                                                                Board-Level Heat Transfer Apparatus For
          809713    809713-US-NP           US8913391                    13/360997          20130194755                           us                    16-Dec-14          29-Aug-32                 30-Jan-12   Communication Platforms
                                                                                                                                                                                                                A Board-Level Heat Transfer Apparatus For
          809713    809713-EP-EPT                                       13744369.3         EP2810544                             EP                                       28-Jan-33                 28-Jan-13   Communication Platforms


          809715    809715-EP-EPA                                       11290573.2         EP2605345                             EP                                       13-Dec-31                 13-Dec-11   Thermal Management Of Photonics Assemblies


          809715    809715-US-NP           US9113576                    13/690450          20130146253                           us                    18-Aug-15          24-Oct-33                 30-Nov-12   Thermal Management Of Photonics Assemblies
                                                                                                                                                                                                                Support Of IP Connections Over Trusted Non-3GPP
          809730    809730-CN-PCT                                       201280041233.5     103748926                             CN                                       20-Jun-32                 20-Jun-12   Access
                                                                                                                                                                                                                Support Of IP Connections Over Trusted Non-3GPP
          809730    809730-JP-PCT                                       2014516323         2014525163                            JP                                       20-Jun-32                 20-Jun-12   Access
                                                                                                                                                                                                                Support Of Ip Connections Over Trusted Non-3gpp
          809730    809730-EP-EPA                                       11305789.7         EP2538721                             EP                                       22-Jun-31                 22-Jun-11   Access
                                                                                                                                                                                                                Blind Equalization For Polarization-Switched QPSK
          809750    809750-US-NP           US8995834                    13/335326          20130163988                           us                    31-Mar-15          26-Jun-32                 22-Dec-11   Optical Communications
                                                                                                                                                                                                                A Method For Setting-Up A Telephone Call, A
                                                                                                                                                                                                                Corresponding Telephone Server And Telephone
          809780    809780-EP-EPA                                       11290449.5         EP2575337                             EP                                       29-Sep-31                 29-Sep-11   Terminal


          809784    809784-DE-EPA          EP2568598                    11290396.8         EP2568598                             DE                    26-Feb-14           6-Sep-31                 6-Sep-11    Doherty Amplifier With Adaptive Input Divider


          809784    809784-DE-EPD          EP2579457                    12008281.3         EP2579457                             DE                    12-Nov-14           6-Sep-31                 6-Sep-11    Doherty Amplifier With Adaptive Input Divider


          809784    809784-FR-EPA          EP2568598                    11290396.8         EP2568598                             FR                    26-Feb-14           6-Sep-31                 6-Sep-11    Doherty Amplifier With Adaptive Input Divider


          809784    809784-FR-EPD          EP2579457                    12008281.3         EP2579457                             FR                    12-Nov-14           6-Sep-31                 6-Sep-11    Doherty Amplifier With Adaptive Input Divider


          809784    809784-GB-EPA          EP2568598                    11290396.8         EP2568598                             GB                    26-Feb-14           6-Sep-31                 6-Sep-11    Doherty Amplifier With Adaptive Input Divider


          809784    809784-GB-EPD          EP2579457                    12008281.3         EP2579457                             GB                    12-Nov-14           6-Sep-31                 6-Sep-11    Doherty Amplifier With Adaptive Input Divider
                                                                                                                                                                                                                Method And Apparatus For Data Transmission With
          809807    809807-US-NP           US9301313                    13/159158          20120314735                           us                    29-Mar-16          28-Aug-33                 13-Jun-11   User Selection


          809847    809847-US-NP           US8849130                    13/537467          20130071124                           us                    30-Sep-14           3-Apr-33                 29-Jun-12   Coherent Optical Receivers For Colorless Reception
                                                                                                                                                                                                                Method Of Transmitting Real Time Traffic With
          809849    809849-US-NP           US9237482                    13/731710          20140185438                           us                    12-Jan-16          19-May-33                 31-Dec-12   Reduced Header In Wireless Network


          809872    809872-EP-EPT                                       12762139.9         EP2761799                             EP                                        7-Sep-32                 7-Sep-12    Transmitter And Method For Optical Transmission
                                                                                                                                                                                                                Determining Validity Of SIP Messages Without
          809882    809882-DE-EPT          EP2749001                    12753337.0         EP2749001                             DE                    13-Jan-16          21-Aug-32                 21-Aug-12   Parsing
                                                                                                                                                                                                                Determining Validity Of SIP Messages Without
          809882    809882-FR-EPT          EP2749001                    12753337.0         EP2749001                             FR                    13-Jan-16          21-Aug-32                 21-Aug-12   Parsing
                                                                                                                                                                                                                Determining Validity Of SIP Messages Without
          809882    809882-GB-EPT          EP2749001                    12753337.0         EP2749001                             GB                    13-Jan-16          21-Aug-32                 21-Aug-12   Parsing
                                                                                                                                                                                                                Extending Content Delivery Networks To End User
          809923    809923-IN-NP                                        2245/DEL/2012      2245/DEL/2012                          IN                                       19-Jul-32                19-Jul-12   Devices


          809927    809927-US-NP           US8699359                    13/250158          20130083671                           us                    15-Apr-14           3-Apr-32                 30-Sep-11   Data Plane Delay KPI Monitoring In Live Network
                                                                                                                                                                                                                Optical PDM-QAM burst mode system with OFDM
          809981    809981-DE-EPA          EP2568636                    11290398.4         EP2568636                             DE                    13-Nov-13           6-Sep-31                 6-Sep-11    synchronisation symbols
                                                                                                                                                                                                                Optical PDM-QAM burst mode system with OFDM
          809981    809981-FR-EPA          EP2568636                    11290398.4         EP2568636                             FR                    13-Nov-13           6-Sep-31                 6-Sep-11    synchronisation symbols
                                                                                                                                                                                                                Optical PDM-QAM burst mode system with OFDM
          809981    809981-GB-EPA          EP2568636                    11290398.4         EP2568636                             GB                    13-Nov-13           6-Sep-31                 6-Sep-11    synchronisation symbols
                                                                                                                                                                                                                Method Of Optical Data Transmission Using Mode
          809997    809997-CN-PCT                                       2013800163708      CN104205693A                          CN                                       25-Mar-33                 25-Mar-13   Division Multiplexing
                                                                                                                                                                                                                Method Of Optical Data Transmission Using Mode
          809997    809997-JP-PCT          JP5941593                    2015502263         2015516738                            JP                    27-May-16          25-Mar-33                 25-Mar-13   Division Multiplexing
                                                                                                                                                                                                                Method Of Optical Data Transmission Using Mode
          809997    809997-KR-PCT          KR101585854                  1020147026702      20140131975                           KR                    11-Jan-16          25-Mar-33                 25-Mar-13   Division Multiplexing
                                                                                                                                                                                                                Method Of Optical Data Transmission Using Mode
          809997    809997-US-PCT          US9225461                    14/382964          20150043910                           us                    29-Dec-15          25-Mar-33                 25-Mar-13   Division Multiplexing
                                                                                                                                                                                                                Network-Assisted Peer-To-Peer Secure
                                                                                                                                                                                                                Communication Establishment
          810053    810053-CN-PCT                                       201280052908.6     CN103947176A                          CN                                       22-Oct-32                 22-Oct-12


                                                                                                                                                                                                                Method And System For Reducing Mac-ls Reset
          810098    810098-EP-EPT                                       12769461.0         EP2740232                             EP                                        13-Jul-32                13-Jul-12   Ambiguity For Common E-DCH Transmissions


                                                                                                                                                                                                                Method And System For Reducing Mac-ls Reset
          810098    810098-JP-PCT          JP5864746                    2014523411         2014528188                            JP                     8-Jan-16           13-Jul-32                13-Jul-12   Ambiguity For Common E-DCH Transmissions


                                                                                                                                                                                                                Method And System For Reducing Mac-ls Reset
          810098    810098-KR-PCT          KR101637788                  20147002689        20140031387                           KR                     1-Jul-16           13-Jul-32                13-Jul-12   Ambiguity For Common E-DCH Transmissions


                                                                                                                                                                                                                Method And System For Reducing Mac-ls Reset
          810098    810098-US-NP           US8954084                    13/195118          20130035102                           us                    10-Feb-15          24-Jan-33                 1-Aug-11    Ambiguity For Common E-DCH Transmissions
                                                                                                                                                                                                                Dynamic Top-k Recommender System For Content
          810112    810112-EP-EPA                                       11290532.8         EP2595066                             EP                                       21-Nov-31                 21-Nov-11   Delivery Systems




                                                                                                   Page 60 of 149
                                                                                                                                                                                     PATENT
                                                                                                                                                                             REEL: 044000 FRAME: 0201
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 68 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Sharing Up-Link Resources In Universal Mobile
                                                                                                                                                                                                                 Telecommunications System
          810122    810122-EP-EPT                                       12737742.2                   EP2742758                          EP                                   4-Jul-32                 4-Jul-12
                                                                                                                                                                                                                 Sharing Up-Link Resources In Universal Mobile
          810122    810122-IN-NP                                        2304/DEL/2011                2304/DEL/2011                      IN                                 12-Aug-31                 12-Aug-11   Telecommunications System
                                                                                                                                                                                                                 Sharing Up-Link Resources In Universal Mobile
                                                                                                                                                                                                                 Telecommunications System
          810122    810122-JP-PCT          JP5782190                    2014524311                   2014527747                         JP               24-Jul-15           4-Jul-32                 4-Jul-12
                                                                                                                                                                                                                 METHOD FOR GESTURE CONTROL, GESTURE SERVER
                                                                                                                                                                                                                 DEVICE AND
          810129    810129-JP-PCT          JP5826408                    2014-545170                  2015500528                         JP              23-Oct-15          26-Nov-32                 26-Nov-12   SENSOR INPUT DEVICE
                                                                                                                                                                                                                 Method And Apparatus For Flexible Inter-Frequency
          810137    810137-EP-EPA                                       11306026.3                   EP2557841                          EP                                  9-Aug-31                 9-Aug-11    Or Inter-System Measurements
          810164    810164-DE-EPA          EP2575401                    11360044.9                   EP2575401                          DE              24-Sep-14          30-Sep-31                 30-Sep-11   Transmit Power Control
          810164    810164-FR-EPA          EP2575401                    11360044.9                   EP2575401                          FR              24-Sep-14          30-Sep-31                 30-Sep-11   Transmit Power Control
          810164    810164-GB-EPA          EP2575401                    11360044.9                   EP2575401                          GB              24-Sep-14          30-Sep-31                 30-Sep-11   Transmit Power Control


                                                                                                                                                                                                                 Method, Apparatus And Computer Program For
          810191    810191-EP-EPA                                       11306029.7                   EP2557852                          EP                                 10-Aug-31                 10-Aug-11   Selecting Calls And For A Mobile Transceiver
                                                                                                                                                                                                                 Method And System For Regenerating And Reshaping
          810218    810218-US-NP           US8797639                    13/330418                    20130155491                        us               5-Aug-14          28-Jan-33                 19-Dec-11   Of Optical Signals
          810259    810259-US-NP           US8787708                    13/210299                    20130044974                        us               22-Jul-14          8-Mar-32                 15-Aug-11   Endless Phase Shifting
                                                                                                                                                                                                                 Methods And Apparatus For Providing Transfer Of A
                                                                                                                                                                                                                 Heat Load Between A Heat Source And A Heat
          810263    810263-EP-EPA                                       12305589.9                   EP2669943                          EP                                 28-May-32                 28-May-12   Receiver
                                                                                                                                                                                                                 Creation Of Statistical Dynamic Flows Using Data And
          810267    810267-EP-EPT                                       12743586.5                   EP2742476                          EP                                  17-Jul-32                17-Jul-12   Content Aggregation
                                                                                                                                                                                                                 Creation Of Statistical Dynamic Flows Using Data And
          810267    810267-JP-PCT          JP5925317                    2014525026                   2014527668                         JP              28-Apr-16           17-Jul-32                17-Jul-12   Content Aggregation
                                                                                                                                                                                                                 Creation Of Statistical Dynamic Flows Using Data And
          810267    810267-KR-PCT          KR101612640                  20147003232                  20140043937                        KR               7-Apr-16           17-Jul-32                17-Jul-12   Content Aggregation
                                                                                                                                                                                                                 System And Method For Identifying A Path Of A
                                                                                                                                                                                                                 Billboard Audience Group And Providing Advertising
          810267    810267-US-NP                                        13/538155                    20130041753                        us                                 29-Jun-32                 29-Jun-12   Content Based On The Path


                                                                                                                                                                                                                 Efficient Propagation Of Link State Advertisements In
                                                                                                                                                                                                                 Densely Interconnected OSPF Networks
          810295    810295-US-NP           US8614952                    13/296934                    20130121156                        us              24-Dec-13          19-Jun-32                 15-Nov-11


          810302    810302-CN-PCT                                       2012800469189                103827869                          CN                                 21-Aug-32                 21-Aug-12   User-Enhanced Ranking Of Information Objects


                                                                                                                                                                                                                 Interaction methodwiththegraphinthesearch
          810302    810302-EP-EPA                                       11182967.7                   EP2575053                          EP                                 27-Sep-31                 27-Sep-11   results navigation with graph visualization


          810302    810302-IN-PCT                                       2180/DELNP/2014              2180/DELNP/2014                    IN                                 21-Aug-32                 21-Aug-12   User-Enhanced Ranking Of Information Objects


          810302    810302-JP-PCT          JP5926386                    2014532293                   2014531678                         JP              28-Apr-16          21-Aug-32                 21-Aug-12   User-Enhanced Ranking Of Information Objects


          810302    810302-KR-PCT          KR101584981                  20147010051                  20140069164                        KR               7-Jan-16          21-Aug-32                 21-Aug-12   User-Enhanced Ranking Of Information Objects


          810302    810302-US-PCT                                       14/345566                    20140344241                        us                                 21-Aug-32                 21-Aug-12   User-Enhanced Ranking Of Information Objects
                                                                                                                                                                                                                 Method And Apparatus Providing Flow Control Using
          810320    810320-US-NP           US9007901                    13/369551                    20130208593                        us              14-Apr-15          16-Jun-32                 9-Feb-12    On-Off Signals In High Delay Networks


                                                                                                                                                                                                                 System And Method For Managing Data Transfer
                                                                                                                                                                                                                 From A Data Center Including Bandwidth Limits And
                                                                                                                                                                                                                 A Flex Parameter Indicating Bandwidth Variation
          810359    810359-US-NP           US9055086                    13/338636                    20130174172                        us               9-Jun-15          28-Jan-33                 28-Dec-11   Between Data Transfer Periods
          810372    810372-EP-EPA                                       12360029.8                   EP2648441                          EP                                  5-Apr-32                 5-Apr-12    Probing Techniques
                                                                                                                                                                                                                 PRISE EN COMPTE DE LA CONFIANCE STATISTIQUE
                                                                                                                                                                                                                 POUR L'EVALUATION DE L'IMPORTANCE D'UNE PAGE
          810378    810378-EP-EPA                                       11306340.8                   EP2584475                          EP                                 17-Oct-31                 17-Oct-11   WEB

                                                                                                                                                                                                                 PRISE EN COMPTE DE LA DIVERSITE DU CHEMIN
                                                                                                                                                                                                                 POUR LA DETERMINATION DE L'IMPORTANCE D'UNE
                                                                                                                                                                                                                 UNITE D'INFORMATION DANS UN PARCOURS
          810379    810379-EP-EPA                                       11306341.6                   EP2584476                          EP                                 17-Oct-31                 17-Oct-11   ALEATOIRE AU SEIN D'UN RESEAU D'INFORMATION


          810382    810382-CN-PCT                                       2013800171598                CN104221324A                       CN                                 25-Mar-33                 25-Mar-13   Home Network Identification Method and Device


          810382    810382-IN-PCT                                       6595/CHENP/2014              6595/CHENP/2014                    IN                                 25-Mar-33                 25-Mar-13   Home Network Identification Method and Device


          810382    810382-KR-PCT          KRl0-1529020                 10-2014-7026922                                                 KR               9-Jun-15          25-Mar-33                 25-Mar-13   Home Network Identification Method and Device


          810382    810382-US-PCT                                       14/384874                    20150063162Al                      us                                 25-Mar-33                 25-Mar-13   Home Network Identification Method And Device
          810415    810415-EP-EPA                                       11185308.1                   EP2581838                          EP                                 14-Oct-31                 14-Oct-11   Method For Ranking Messages
          810415    810415-US-PCT                                       14/351630                    20140358947                        us                                  7-Sep-32                 7-Sep-12    Method For Ranking Messages
          810419    810419-EP-EPA                                       12196804.4                   EP2604396                          EP                                 12-Dec-32                 12-Dec-12   A Remote Intervention System


                                                                                                                                                                                                                 Apparatus, Method And Computer Program For A
          810565    810565-DE-EPA          EP2575266                    11306266.5                   EP2575266                          DE               4-Dec-13          30-Sep-31                 30-Sep-11   Mobile Transceiver And A Base Station Transceiver


                                                                                                                                                                                                                 Apparatus, Method And Computer Program For A
          810565    810565-FR-EPA          EP2575266                    11306266.5                   EP2575266                          FR               4-Dec-13          30-Sep-31                 30-Sep-11   Mobile Transceiver And A Base Station Transceiver


                                                                                                                                                                                                                 Apparatus, Method And Computer Program For A
          810565    810565-GB-EPA          EP2575266                    11306266.5                   EP2575266                          GB               4-Dec-13          30-Sep-31                 30-Sep-11   Mobile Transceiver And A Base Station Transceiver


                                                                                                                                                                                                                 Method For Paging User Equipment In A Wireless
                                                                                                                                                                                                                 Communication Network, Corresponding User
          810604    810604-EP-EPA                                       11306258.2                   EP2575402                          EP                                 30-Sep-31                 30-Sep-11   Equipment And Network Node


                                                                                                                                                                                                                 Method for transmitting a voice mail message in a
                                                                                                                                                                                                                 telecommunications network system,
          810653    810653-EP-EPA                                       12290091.3                   EP2640049                          EP                                 16-Mar-32                 16-Mar-12   communication terminal device and voice mail server
                                                                                                                                                                                                                 An Improved Method For Computing A Constrained
          810804    810804-EP-EPA                                       12177358.4                   EP2688242                          EP                                  20-Jul-32                20-Jul-12   Path In A Network
          810813    810813-EP-EPA                                       12305465.2                   2658116                            EP                                 23-Apr-32                 23-Apr-12   AMPLIFIER CIRCUIT
                                                                                                                                                                                                                 Optimization Mechanisms For Latency Reduction And
                                                                                                                                                                                                                 Elasticity Improvement In Geographically Distributed
          810815    810815-EP-EPT                                       12798527.3                   EP2788872                          EP                                 19-Nov-32                 19-Nov-12   Datacenters




                                                                                                              Page 61 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0202
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 69 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
          810825    810825-EP-EPA                                       12305666.5                     EP2674922                           EP                                 11-Jun-32                 11-Jun-12   Protection At Network Element Location


                                                                                                                                                                                                                    A Femtocell Base Station, A User Terminal, A Method
                                                                                                                                                                                                                    Of Sending Femtocell Base Station Status Information
          810829    810829-EP-EPA                                       12290065.7                     EP2632204                           EP                                 27-Feb-32                 27-Feb-12   To A User Terminal, And A Method Of Receiving
                                                                                                                                                                                                                    Apparatus, Method And Computer Program For A
          810838    810838-EP-EPA                                       12305284.7                     EP2637321                           EP                                  9-Mar-32                 9-Mar-12    Base Station Transceiver
                                                                                                                                                                                                                    Method For Optimizing Radio Link Transmission In A
                                                                                                                                                                                                                    Radio Communication System, Transmission Unit,
                                                                                                                                                                                                                    Selection Unit, Network Node, And Apparatus
          810852    810852-DE-EPA          EP2592764                    11306477.8                     EP2592764                           DE              19-Mar-14          14-Nov-31                 14-Nov-11   Thereof
                                                                                                                                                                                                                    Method For Optimizing Radio Link Transmission In A
                                                                                                                                                                                                                    Radio Communication System, Transmission Unit,
                                                                                                                                                                                                                    Selection Unit, Network Node, And Apparatus
          810852    810852-FR-EPA          EP2592764                    11306477.8                     EP2592764                           FR              19-Mar-14          14-Nov-31                 14-Nov-11   Thereof
                                                                                                                                                                                                                    Method For Optimizing Radio Link Transmission In A
                                                                                                                                                                                                                    Radio Communication System, Transmission Unit,
                                                                                                                                                                                                                    Selection Unit, Network Node, And Apparatus
          810852    810852-GB-EPA          EP2592764                    11306477.8                     EP2592764                          GB               19-Mar-14          14-Nov-31                 14-Nov-11   Thereof
                                                                                                                                                                                                                    Voice And Data Communication Over Wireless
          810860    810860-IN-NP                                        130/DEL/2012                  130/DEL/2012                         IN                                 13-Jan-32                 13-Jan-12   Networks
          810886    810886-EP-EPA                                       12360051.2                     EP2693794                           EP                                  2-Aug-32                 2-Aug-12    Radio Cells
                                                                                                                                                                                                                    Extending the LDAP "Who am I?" Operation for
                                                                                                                                                                                                                    virtual Public distribution list
          810893    810893-EP-EPA                                       13174366.8                     EP2690834                           EP                                 28-Jun-33                 28-Jun-13


                                                                                                                                                                                                                    Method For Reducing The Uplink Interferences
                                                                                                                                                                                                                    Produced By Non-serving Users And Associated
          810894    810894-EP-EPA                                       12290038.4                     EP2624638                           EP                                 31-Jan-32                 31-Jan-12   Equipment In Heterogeneous Networks
                                                                                                                                                                                                                    Location Update In A Multi-Radio Access Technology
          810922    810922-EP-EPA                                       11306473.7                     EP2592884                           EP                                 14-Nov-31                 14-Nov-11   Mobile System
                                                                                                                                                                                                                    METHOD OF OPERATING A COMMUNICATION
          810934    810934-EP-EPA                                       12305344.9                    2642677                              EP                                 23-Mar-32                 23-Mar-12   NETWORK AND NETWORK NODE
                                                                                                                                                                                                                    Apparatuses, Methods, and Computer Programs for
          810956    810956-EP-EPA                                       12305856.2                     EP2688348                           EP                                  16-Jul-32                16-Jul-12   Base Station Transceivers
          810980    810980-EP-EPA                                       12305368.8                     EP2645837                           EP                                 29-Mar-32                 29-Mar-12   Device For Thermoelectric Heat Exchange
                                                                                                                                                                                                                    Temperature Control Device With A Passive Thermal
          811036    811036-US-NP           US9181933                    13/710052                     20140157769                          us              10-Nov-15          27-Aug-33                 10-Dec-12   Feedback Control Valve
          811079    811079-DE-EPA          EP2693560                    12360054.6                     EP2693560                           DE              28-Dec-16           2-Aug-32                 2-Aug-12    Filter Assembly
          811079    811079-FR-EPA          EP2693560                    12360054.6                     EP2693560                           FR              28-Dec-16           2-Aug-32                 2-Aug-12    Filter Assembly
          811079    811079-GB-EPA          EP2693560                    12360054.6                     EP2693560                          GB               28-Dec-16           2-Aug-32                 2-Aug-12    Filter Assembly
          811121    811121-EP-EPA                                       12360018.1                     EP2640115                           EP                                 16-Mar-32                 16-Mar-12   Radio Coverage Reporting


          811122    811122-EP-EPA                                       12159246.3                                                         EP                                 13-Mar-32                 13-Mar-12   System And Method For Transmitting A Video Signal
          811135    811135-EP-EPA                                       12305102.1                     EP2620681                           EP                                 26-Jan-32                 26-Jan-12   A FluidicValve Unit
                                                                                                                                                                                                                    Method And Apparatus For Defferred Scheduling For
                                                                                                                                                                                                                    JTAGSystems
          811143    811143-KR-PCT          KR101545109                  20147017632                                                        KR              10-Aug-15          25-Oct-32                 25-Oct-12
                                                                                                                                                                                                                    Method And Apparatus For Deferred Scheduling For
                                                                                                                                                                                                                    JTAGSystems


          811143    811143-US-CIP          US8719649                    13/338581                     20120117436                          us              6-May-14           27-Dec-29                 28-Dec-11
                                                                                                                                                                                                                    Method And Apparatus For Defferred Scheduling For
                                                                                                                                                                                                                    JTAGSystems
          811143    811143-EP-EPT                                       12783476.0                     EP2798360                           EP                                 25-Oct-32                 25-Oct-12


          811165    811165-US-CIP          US9148389                    13/674259                     20130077621                          us              29-Sep-15          18-Feb-32                 12-Nov-12   System And Method For A Virtual Chassis System


                                                                                                                                                                                                                    Network Node And Method In A Node Operable In A
                                                                                                                                                                                                                    Virtual Chassis System Where In It Is Determined
                                                                                                                                                                                                                    Whether To Issue A Warning That An Administrative
          811166    811166-CN-PCT                                       201380058724.5                CN104813617A                        CN                                   6-Nov-33                 6-Nov-13    Action Triggers A Virtual Chassis Split


                                                                                                                                                                                                                    Network Node And Method In A Node Operable In A
                                                                                                                                                                                                                    Virtual Chassis System Where In It Is Determined
                                                                                                                                                                                                                    Whether To Issue A Warning That An Administrative
          811166    811166-EP-EPT                                       13795082.0                                                         EP                                  6-Nov-33                 6-Nov-13    Action Triggers A Virtual Chassis Split


                                                                                                                                                                                                                    Network Node And Method In A Node Operable In A
                                                                                                                                                                                                                    Virtual Chassis System Where In It Is Determined
                                                                                                                                                                                                                    Whether To Issue A Warning That An Administrative
          811166    811166-KR-PCT          KR101689096                  20157012357                   20150070270                          KR              16-Dec-16           6-Nov-33                 6-Nov-13    Action Triggers A Virtual Chassis Split
                                                                                                                                                                                                                    System And Method For Virtual Chassis Split
                                                                                                                                                                                                                    Prevention



          811166    811166-US-CIP          US9148390                    13/674315                     20130073711                          us              29-Sep-15          18-Feb-32                 12-Nov-12
                                                                                                                                                                                                                    System And Method For A Pass Thru Mode In A
                                                                                                                                                                                                                    Virtual Chassis System
          811167    811167-CN-PCT                                       201380058266.5                CN104769896A                        CN                                   6-Nov-33                 6-Nov-13
                                                                                                                                                                                                                    System And Method For A Pass Thru Mode In A
                                                                                                                                                                                                                    Virtual Chassis System
          811167    811167-EP-EPT                                       13795078.8                     EP2918054                           EP                                  6-Nov-33                 6-Nov-13
                                                                                                                                                                                                                    System And Method For A Pass Thru Mode In A
                                                                                                                                                                                                                    Virtual Chassis System
          811167    811167-JP-PCT          JP6109954                    2015541865                    2016502329                           JP              17-Mar-17           6-Nov-33                 6-Nov-13
                                                                                                                                                                                                                    System And Method For A Pass Thru Mode In A
                                                                                                                                                                                                                    Virtual Chassis System
          811167    811167-KR-PCT          KR101665276                  20157012325                   20150067361                          KR               5-Oct-16           6-Nov-33                 6-Nov-13
                                                                                                                                                                                                                    System And Method For A Pass Thru Mode In A
                                                                                                                                                                                                                    Virtual Chassis System



          811167    811167-US-CIP          US9148391                    13/674352                     20130064137                          us              29-Sep-15           7-Feb-32                 12-Nov-12
          811168    811168-CN-PCT                                       201380070107.7                CN104919760A                        CN                                   6-Nov-33                 6-Nov-13    Virtual Chassis System Control Protocols
          811168    811168-EP-EPT                                       13795080.4                     EP2918049                           EP                                  6-Nov-33                 6-Nov-13    Virtual Chassis System Control Protocols
          811168    811168-JP-PCT          JP6072278                    2015541866                    2016501462                           JP              13-Jan-17           6-Nov-33                 6-Nov-13    Virtual Chassis System Control Protocols
          811168    811168-KR-PCT          KR101691759                  20157012358                   20150067365                          KR              26-Dec-16           6-Nov-33                 6-Nov-13    Virtual Chassis System Control Protocols
          811168    811168-US-CIP          US9172662                    13/674392                     20130064102                          us              27-Oct-15          19-Jan-32                 12-Nov-12   Virtual Chassis System Control Protocols
                                                                                                                                                                                                                    Wireless Communication Systems, Replay Systems
          811186    811186-CN-PCT                                       201380005341.1                CN104041103A                        CN                                   7-Jan-33                 7-Jan-13    And Methods Of Relaying Data




                                                                                                                Page 62 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0203
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 70 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Wireless Communication Systems, Replay Systems
          811186    811186-EP-EPT                                       13700807.4                   EP2803220                          EP                                  7-Jan-33                 7-Jan-13    And Methods Of Relaying Data
                                                                                                                                                                                                                 Wireless Communication Systems, Replay Systems
          811186    811186-JP-PCT                                       2014552228                   2015509326                         JP                                  7-Jan-33                 7-Jan-13    And Methods Of Relaying Data
                                                                                                                                                                                                                 Wireless Communication Systems, Replay Systems
          811186    811186-US-NP           US8811246                    13/350364                    20130182634                        us              19-Aug-14          24-Jun-32                 13-Jan-12   And Methods Of Relaying Data
          811202    811202-EP-EPA                                       14186913.1                   EP3001586                          EP                                 29-Sep-34                 29-Sep-14   Optical Communication System


          811227    811227-US-NP           US8923706                    13/556635                    20140029957                        us              30-Dec-14          19-Jan-33                 24-Jul-12   Frequency Equalization For An Optical Transmitter
          811232    811232-EP-EPA                                       12360006.6                   EP2621235                          EP                                 27-Jan-32                 27-Jan-12   Transmission Regime Control


                                                                                                                                                                                                                 A Method For Allocating Transmission Resource In
          811253    811253-EP-EPA                                       12306129.3                   EP2709416                          EP                                 18-Sep-32                 18-Sep-12   HD FDD Wireless Communication Systems


                                                                                                                                                                                                                 Support Of Mobile-Terminated Service Delivery Over
          811259    811259-CN-PCT                                       201380016745.0               104221450                          CN                                 25-Jan-33                 25-Jan-13   A Multi-Rat And/Or Multi-Domain Mobile Network


                                                                                                                                                                                                                 Support Of Mobile Terminated Service Delivery Over
          811259    811259-EP-EPA                                       12290034.3                   EP2621227                          EP                                 27-Jan-32                 27-Jan-12   A Multi-Rat And/or Multi-Domain Mobile Network


                                                                                                                                                                                                                 Support Of Mobile-Terminated Service Delivery Over
          811259    811259-JP-PCT          JP6008987                    2014553734                   2015512180                         JP              23-Sep-16          25-Jan-33                 25-Jan-13   A Multi-Rat And/Or Multi-Domain Mobile Network


                                                                                                                                                                                                                 Support Of Mobile-Terminated Service Delivery Over
          811259    811259-US-PCT          US9282527                    14/374829                    20150011210                        us              8-Mar-16           25-Jan-33                 25-Jan-13   A Multi-Rat And/Or Multi-Domain Mobile Network
                                                                                                                                                                                                                 Methods For Transmitting And Receiving Control
          811283    811283-CN-PCT                                       201380007194.1               CN104221320A                       CN                                 28-Jan-33                 28-Jan-13   Information
                                                                                                                                                                                                                 Methods For Transmitting And Receiving Control
          811283    811283-JP-PCT          JP5959666                    2014555601                   2015511448                         JP               1-Jul-16          28-Jan-33                 28-Jan-13   Information
                                                                                                                                                                                                                 Methods For Transmitting And Receiving Control
          811283    811283-KR-PCT          KR101646860                  20147021081                  20140114402                        KR               2-Aug-16          28-Jan-33                 28-Jan-13   Information
                                                                                                                                                                                                                 Methods For Transmitting And Receiving Control
                                                                                                                                                                                                                 Information Using Time-Frequency Resources Of
          811283    811283-US-NP           US9571241                    13/360937                    20130195068                        us              14-Feb-17          21-Jan-34                 30-Jan-12   Decoding Candidates
                                                                                                                                                                                                                 Methods For Transmitting And Receiving Control
          811283    811283-EP-EPT                                       13703262.9                   EP2810396                          EP                                 28-Jan-33                 28-Jan-13   Information
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-DE-EPA          EP2683102                    12305799.4                   EP2683102                          DE               8-Oct-14            3-Jul-32                 3-Jul-12   Digital Baseband Signal
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-FR-EPA          EP2683102                    12305799.4                   EP2683102                          FR               8-Oct-14            3-Jul-32                 3-Jul-12   Digital Baseband Signal
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-GB-EPA          EP2683102                    12305799.4                   EP2683102                          GB               8-Oct-14            3-Jul-32                 3-Jul-12   Digital Baseband Signal
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-CN-PCT                                       201380035338.4               CN104412529A                       CN                                 23-May-33                 23-May-13   Digital Baseband Signal
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-IN-PCT                                       9403/CHENP/2014              9403/CHENP/2014                    IN                                 23-May-33                 23-May-13   Digital Baseband Signal
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-KR-PCT          KRlOl 715529                 20157000005                  20150018618                        KR              6-Mar-17           23-May-33                 23-May-13   Digital Baseband Signal
                                                                                                                                                                                                                 Device And Method For Transmitting Samples Of A
          811288    811288-US-PCT                                       14/412503                    20150189692                        us                                 23-May-33                 23-May-13   Digital Baseband Signal
          811293    811293-EP-EPA                                       12306051.9                   EP2704069                          EP                                  4-Sep-32                 4-Sep-12    Question And Answer Management System
                                                                                                                                                                                                                 A Network Map For Location-Based Mobility
                                                                                                                                                                                                                 Decisions
          811295    811295-EP-EPT                                       13771594.2                   EP2880935                          EP                                  22-Jul-33                22-Jul-13
                                                                                                                                                                                                                 A Network Map For Location-Based Mobility
                                                                                                                                                                                                                 Decisions
          811295    811295-CN-PCT                                       201380041152.X               CN104521299A                       CN                                  22-Jul-33                22-Jul-13
                                                                                                                                                                                                                 A Network Map For Location-Based Mobility
                                                                                                                                                                                                                 Decisions
          811295    811295-KR-PCT          KR101615879                  20157004985                  20150038382                        KR              21-Apr-16           22-Jul-33                22-Jul-13


                                                                                                                                                                                                                 Network Map For Location-Based Mobility Decisions
          811295    811295-US-NP           US8768369                    13/564065                    20140038634                        us               1-Jul-14           1-Aug-32                 1-Aug-12
                                                                                                                                                                                                                 A Proactive, Location-Based Trigger For Handover
                                                                                                                                                                                                                 And Redirection Procedures
          811318    811318-CN-PCT                                       201380051943.0               CN104704880A                       CN                                 23-Sep-33                 23-Sep-13
                                                                                                                                                                                                                 A Proactive, Location-Based Trigger For Handover
                                                                                                                                                                                                                 And Redirection Procedures
          811318    811318-EP-EPT                                       13844321.3                   EP2904845                          EP                                 23-Sep-33                 23-Sep-13
                                                                                                                                                                                                                 A Proactive, Location-Based Trigger For Handover
                                                                                                                                                                                                                 And Redirection Procedures
          811318    811318-JP-PCT          JP6074044                    2015534892                   2015536102                         JP              13-Jan-17          23-Sep-33                 23-Sep-13
                                                                                                                                                                                                                 A Proactive, Location-Based Trigger For Handover
                                                                                                                                                                                                                 And Redirection Procedures
          811318    811318-KR-PCT          KR101649861                  20157008425                  20150052211                        KR              16-Aug-16          23-Sep-33                 23-Sep-13
                                                                                                                                                                                                                 A Method For Triggering Transmissions, And A
          811378    811378-EP-EPA                                       12305366.2                   EP2645611                          EP                                 29-Mar-32                 29-Mar-12   Network Device Therefor
                                                                                                                                                                                                                 Method And Apparatus For Providing Green
          811405    811405-EP-EPA                                       12193336.0                   EP2733624                          EP                                 20-Nov-32                 20-Nov-12   Recommendations Of Digital Contents
                                                                                                                                                                                                                 Method For Providing Automatic Repeat Request
                                                                                                                                                                                                                 Error Control And Related Terminal And ARQ Control
          811414    811414-DE-EPA          EP2706697                    12306075.8                   EP2706697                          DE               5-Aug-15           7-Sep-32                 7-Sep-12    Center
                                                                                                                                                                                                                 Method For Providing Automatic Repeat Request
                                                                                                                                                                                                                 Error Control And Related Terminal And ARQ Control
          811414    811414-FR-EPA          EP2706697                    12306075.8                   EP2706697                          FR               5-Aug-15           7-Sep-32                 7-Sep-12    Center
                                                                                                                                                                                                                 Method For Providing Automatic Repeat Request
                                                                                                                                                                                                                 Error Control And Related Terminal And ARQ Control
          811414    811414-GB-EPA          EP2706697                    12306075.8                   EP2706697                          GB               5-Aug-15           7-Sep-32                 7-Sep-12    Center
                                                                                                                                                                                                                 Blade And Advanced Mezzanine Card AMC Activation
                                                                                                                                                                                                                 Control In An Advanced Telecom Computing
          811429    811429-EP-EPA                                       12306104.6                   EP2709318                          EP                                 13-Sep-32                 13-Sep-12   Architecture ATCA Shelf
                                                                                                                                                                                                                 A method for determination of an ap-propriate data
                                                                                                                                                                                                                 compression for retransmission, and a network
          811462    811462-EP-EPA                                       12305679.8                   EP2675098                          EP                                 15-Jun-32                 15-Jun-12   device therefor
          811483    811483-DE-EPA          EP2642812                    12360021.5                   EP2642812                          DE              28-Dec-16          19-Mar-32                 19-Mar-12   Control Signalling
          811483    811483-FR-EPA          EP2642812                    12360021.5                   EP2642812                          FR              28-Dec-16          19-Mar-32                 19-Mar-12   Control Signalling
          811483    811483-GB-EPA          EP2642812                    12360021.5                   EP2642812                          GB              28-Dec-16          19-Mar-32                 19-Mar-12   Control Signalling
                                                                                                                                                                                                                 Methods To Adjust And Validate SIR Target For
          811489    811489-DE-EPA          EP2736290                    12360079.3                   EP2736290                          DE              19-Aug-15          21-Nov-32                 21-Nov-12   eFACH Transmission
                                                                                                                                                                                                                 Methods To Adjust And Validate SIR Target For
          811489    811489-FR-EPA          EP2736290                    12360079.3                   EP2736290                          FR              19-Aug-15          21-Nov-32                 21-Nov-12   eFACH Transmission




                                                                                                              Page 63 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0204
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 71 of 156
                                       Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                              :ia:~:A,m:::::::::::::::::
                                             liiitiiiiii~:il\::::'::•:•
                                                                           :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Methods To Adjust And Validate SIR Target For
          811489    811489-GB-EPA             EP2736290                    12360079.3                   EP2736290                          GB              19-Aug-15          21-Nov-32                 21-Nov-12   eFACH Transmission


                                                                                                                                                                                                                    Apparatuses, Methods And Computer Programs For A
          811491    811491-EP-EPA                                          12306271.3                   EP2720429                          EP                                 15-Oct-32                 15-Oct-12   Remote Unit And A Central Unit
          811501    811501-US-NP              U58773292                    13/647607                    20140097974                        us               8-Jul-14          9-Oct-32                  9-Oct-12    Data Compression
          811505    811505-EP-EPA                                          12382363.5                   EP2709333                          EP                                 18-Sep-32                 18-Sep-12   Method And Devices For Data Leak Protection
                                                                                                                                                                                                                    Optical Communication Method For Transmitting An
          811531    811531-EP-EPA                                          12183011.1                   EP2704364                          EP                                  4-Sep-32                 4-Sep-12    Information Signal
          811538    811538-EP-EPA                                          12290385.9                   EP2730958                          EP                                  7-Nov-32                 7-Nov-12    DETECTEUR COHERENT AMPLIFIE
                                                                                                                                                                                                                    Optical Feed-Forward Equalizer For Mimo Signal
                                                                                                                                                                                                                    Processing


          811576    811576-US-NP              US9083472                    13/786638                    20130236195                        us               14-Jul-15          12-Jul-32                6-Mar-13
          811577    811577-EP-EPA                                          12305638.4                   EP2672648                          EP                                  6-Jun-32                 6-Jun-12    Signaling Concept For Multi-User Detection
          811578    811578-EP-EPA                                          12290406.3                   EP2735977                          EP                                 21-Nov-32                 21-Nov-12   Media Cloud Copyless Message Passing
          811578    811578-US-NP                                           14/050933                    20140143335                        us                                 10-Oct-33                 10-Oct-13   Media Cloud Copyless Message Passing
                                                                                                                                                                                                                    Apparatus and method for forwarding packets or
          811593    811593-EP-EPA                                          12306452.9                   EP2736205                          EP                                 22-Nov-32                 22-Nov-12   messages
                                                                                                                                                                                                                    Spatial Division Diversity In Photonic Integrated
                                                                                                                                                                                                                    Circuits


          811608    811608-US-NP              US9335477                    13/827205                    20140079353                        us              10-May-16          22-Aug-33                 14-Mar-13
                                                                                                                                                                                                                    Protected Broadcast In A Warning Message Delivery
          811616    811616-EP-EPA                                          12305875.2                   EP2688322                          EP                                  19-Jul-32                19-Jul-12   Chain
                                                                                                                                                                                                                    Multi-Flow Network
          811632    811632-EP-EPA                                          12360023.1                   EP2645808                          EP                                 26-Mar-32                 26-Mar-12


                                                                                                                                                                                                                    Apparatuses, Methods, and Computer Programs for a
          811641    811641-EP-EPA                                          13305042.7                   EP2757750                          EP                                 16-Jan-33                 16-Jan-13   Channel Estimator and a Base Station Transceiver
                                                                                                                                                                                                                    Method And Apparatus For Generating A Modulated
          811663    811663-EP-EPA                                          13305357.9                   EP2785000                          EP                                 25-Mar-33                 25-Mar-13   RF Signal
                                                                                                                                                                                                                    System, Method, And Apparatus To Mitigate Risk Of
                                                                                                                                                                                                                    Compromised Privacy
          811668    811668-US-NP              US9239936                    13/628207                    20140090090                        us              19-Jan-16          21-Nov-33                 27-Sep-12
          811683    811683-EP-EPA                                          12360024.9                   EP2645773                          EP                                 27-Mar-32                 27-Mar-12   Managing Handover


                                                                                                                                                                                                                    Konnektivitatsprufung Eines Bidirektionalen
          811708    811708-DE-EPA             EP2706705                    12306070.9                   EP2706705                          DE               4-Nov-15           7-Sep-32                 7-Sep-12    Kreispfads In Einem Kommunikationsnetzwerk
                                                                                                                                                                                                                    Connectivity Checking Of A Bidirectional Circular
          811708    811708-FR-EPA             EP2706705                    12306070.9                   EP2706705                          FR               4-Nov-15           7-Sep-32                 7-Sep-12    Path In A Communication Network
                                                                                                                                                                                                                    Connectivity Checking Of A Bidirectional Circular
          811708    811708-GB-EPA             EP2706705                    12306070.9                   EP2706705                          GB               4-Nov-15           7-Sep-32                 7-Sep-12    Path In A Communication Network
                                                                                                                                                                                                                    Connectivity Checking Of A Bidirectional Circular
          811708    811708-US-PCT                                          14/419503                    20150229550                        us                                 15-Aug-33                 15-Aug-13   Path In A Communication Network


                                                                                                                                                                                                                    Method And Apparatus For Optimizing Usage Of
          811718    811718-US-NP              US8937945                    13/611915                    20140071985                        us              20-Jan-15           4-Feb-33                 12-Sep-12   Ternary Content Addressable Memory (TCAM)


                                                                                                                                                                                                                    Signalling Method To Implement SMS-Only
          811748    811748-EP-EPT                                          13717376.1                   EP2834999                          EP                                  1-Apr-33                 1-Apr-13    Functionality For PS-Only Devices In 2G/3G Network


                                                                                                                                                                                                                    Apparatus And Method For Transferring Mulitple
          811781    811781-US-NP              US9312838                    14/107878                    20150171850                        us              12-Apr-16            3-Jul-34                16-Dec-13   Asynchronous Clock Signals Over A Single Conductor
                                                                                                                                                                                                                    Lensless Compressive Image Acquisition
          811811    811811-US-CIP                                          13/658900                    20130201343                        us                                  7-Feb-32                 24-Oct-12
                                                                                                                                                                                                                    A method, a server and a pointing device for
          811855    811855-EP-EPA                                          12305969.3                   EP2693330                          EP                                  3-Aug-32                 3-Aug-12    enhancing presentations
                                                                                                                                                                                                                    Signal Processing Device And Method Of Processing
                                                                                                                                                                                                                    At Least Two Input Signals For A Transmitter Of A
          811873    811873-EP-EPA                                          12290298.4                   EP2706714                          EP                                 10-Sep-32                 10-Sep-12   Communications Device
          811874    811874-EP-EPA                                          12360034.8                   EP2663013                          EP                                 10-May-32                 10-May-12   UplinkMIMO
          811942    811942-EP-EPA                                          12360042.1                   EP2667671                          EP                                 21-May-32                 21-May-12   A Multi-Flow Network


                                                                                                                                                                                                                    System And Method Providing Standby Bypass For
          811951    811951-US-NP              US8982691                    13/630908                    20140092722                        us              17-Mar-15          18-Apr-33                 28-Sep-12   Double Failure Protection In MPLS Network


                                              ZL201210360590                                                                                                                                                        Charging Correlation For Parallel Charging Request In
          811997    811997-CN-NP              .X                           201210360590.X               CN103686660A                       CN              21-Dec-16          21-Sep-32                 21-Sep-12   LTE Policy And Charging Control (PCC) Architecture
          812017    812017-EP-EPT                                          13821037.2                   EP2939358                          EP                                 18-Dec-33                 18-Dec-13   Security Aspects Of Spatial Multiplexing
                                                                                                                                                                                                                    Secure Data Transmission via Spatially Multiplexed
                                                                                                                                                                                                                    Optical Signals
      812017[1]     812017[1]-US-DIV                                       15/183690                    20170093503                        us                                 28-Dec-32                 15-Jun-16
                                                                                                                                                                                                                    WiFi AP Selection Framework In Heterogeneous
                                                                                                                                                                                                                    Networks (HetNet)
          812029    812029-EP-EPT                                          13740421.6                   EP2875680                          EP                                   3-Jul-33                 3-Jul-13
                                                                                                                                                                                                                    WiFi AP Selection Framework In Heterogeneous
                                                                                                                                                                                                                    Networks (HetNet)
          812029    812029-CN-PCT                                          201380038117.2               CN104488326A                       CN                                   3-Jul-33                 3-Jul-13
                                                                                                                                                                                                                    WiFi AP Selection Framework In Heterogeneous
                                                                                                                                                                                                                    Networks (HetNet)
          812029    812029-IN-PCT                                          217/CHENP/2015               217/CHENP/2015                     IN                                   3-Jul-33                 3-Jul-13
                                                                                                                                                                                                                    WiFi AP Selection Framework In Heterogeneous
                                                                                                                                                                                                                    Networks (HetNet)
          812029    812029-JP-PCT                                          2015523113                   2015526986                         JP                                   3-Jul-33                 3-Jul-13
                                                                                                                                                                                                                    WiFi AP Selection Framework In Heterogeneous
                                                                                                                                                                                                                    Networks (HetNet)
          812029    812029-KR-PCT             KR101609522                  20157001043                  20150023020                        KR              30-Mar-16            3-Jul-33                 3-Jul-13
                                                                                                                                                                                                                    Method And Apparatus For Selecting A Wireless
          812029    812029-US-NP              US9338740                    13/551894                    20140022918                        us              10-May-16          17-Aug-33                 18-Jul-12   Access Point


          812068    812068-US-NP              US9172461                    13/730131                    20140186030                        us              27-Oct-15          11-Apr-33                 28-Dec-12   Optical Fibers With Varied Mode-Dependent Loss
                                                                                                                                                                                                                    A Small c.ell Base Station,A Macrocell Base Station
                                                                                                                                                                                                                    Controller, A Telecommunications Network, And A
          812069    812069-EP-EPA                                          12290305.7                   EP2712250                          EP                                 19-Sep-32                 19-Sep-12   Method of Handover


                                                                                                                                                                                                                    Method And Apparatus For Resource Allocation For
          812076    812076-CN-PCT                                          201380029054.4               CN104365125A                       CN                                 30-May-33                 30-May-13   Device-To-Device Communication


                                                                                                                                                                                                                    Method And Apparatus For Resource Allocation For
          812076    812076-JP-PCT                                          2015515164                   2015518359                         JP                                 30-May-33                 30-May-13   Device-To-Device Communication




                                                                                                                 Page 64 of 149
                                                                                                                                                                                         PATENT
                                                                                                                                                                                 REEL: 044000 FRAME: 0205
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 72 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                 Method And Apparatus For Resource Allocation For
          812076    812076-US-NP           US8948107                    13/484863                    20130322345                        us               3-Feb-15           9-Feb-33                 31-May-12   Device-To-Device Communication


                                                                                                                                                                                                                 Method And Apparatus For Resource Allocation For
          812076    812076-EP-EPT                                       13730697.3                   EP2856786                          EP                                 30-May-33                 30-May-13   Device-To-Device Communication
          812087    812087-EP-EPA                                       12306668.0                   EP2747216                          EP                                 24-Dec-32                 24-Dec-12   Connector With Improved ESD Protection
          812119    812119-EP-EPA                                       13305904.8                   EP2819159                          EP                                 27-Jun-33                 27-Jun-13   Cooling Technique
                                                                                                                                                                                                                 Process For Protecting The Privacy Of A User In A
          812158    812158-EP-EPA                                       12306353.9                   EP2728917                          EP                                 30-Oct-32                 30-Oct-12   Network


                                                                                                                                                                                                                 Privacy-Enabling Module For Web Applications
          812171    812171-CN-PCT                                       201380060280.9               CN104823199A                       CN                                 13-Nov-33                 13-Nov-13


                                                                                                                                                                                                                 Privacy-Enabling Module For Web Applications
          812171    812171-JP-PCT                                       2015544082                   2016506555                         JP                                 13-Nov-33                 13-Nov-13


                                                                                                                                                                                                                 Privacy-Enabling Module For Web Applications
          812171    812171-EP-EPT                                       13798478.7                   EP2923297                          EP                                 13-Nov-33                 13-Nov-13
                                                                                                                                                                                                                 Method of protecting data stored in an electronic
          812185    812185-EP-EPA                                       12290433.7                   EP2743860                          EP                                 12-Dec-32                 12-Dec-12   database
                                                                                                                                                                                                                 Setting The Power Of A Plurality Of Optical Signals In
                                                                                                                                                                                                                 An Optical Network
          812218    812218-EP-EPA                                       14305514.3                   EP2930869                          EP                                  8-Apr-34                 8-Apr-14


                                                                                                                                                                                                                 A method and device for a vehicle assist system
          812225    812225-DE-EPA          EP2727759                    12290381.8                   EP2727759                          DE              14-Jan-15           5-Nov-32                 5-Nov-12


                                                                                                                                                                                                                 A method and device for a vehicle assist system
          812225    812225-FR-EPA          EP2727759                    12290381.8                   EP2727759                          FR              14-Jan-15           5-Nov-32                 5-Nov-12


                                                                                                                                                                                                                 A method and device for a vehicle assist system
          812225    812225-GB-EPA          EP2727759                    12290381.8                   EP2727759                          GB              14-Jan-15           5-Nov-32                 5-Nov-12


                                                                                                                                                                                                                 Method of deriving data symbols from an optical
          812245    812245-EP-EPA                                       12306657.3                   EP2747323                          EP                                 21-Dec-32                 21-Dec-12   polarization division multiplexed signal


                                                                                                                                                                                                                 Method Of Receiving A Phase-modulated
          812246    812246-EP-EPA                                       13305395.9                   EP2784962                          EP                                 28-Mar-33                 28-Mar-13   Polarization Division Multiplexed Optical Signal


          812249    812249-CN-PCT                                       201380035368.5               CN 104769872 A                     CN                                 25-Jun-33                 25-Jun-13   Reprogrammable Optical Networks
                                                                                                                                                                                                                 Device Discovery For Device-To-Device
          812290    812290-CN-PCT                                       201380044683.4               CN104871632A                       CN                                 23-Aug-33                 23-Aug-13   Communication
                                                                                                                                                                                                                 Device Discovery For Device-To-Device
          812290    812290-EP-EPT                                       13756974.5                   EP2891377                          EP                                 23-Aug-33                 23-Aug-13   Communication
                                                                                                                                                                                                                 Device Discovery For Device-To-Device
          812290    812290-TW-NP           TWl559809                    102130244                    201414347                         TW               21-Nov-16          23-Aug-33                 23-Aug-13   Communication
                                                                                                                                                                                                                 Device Discovery For Device-To-Device
          812290    812290-US-NP           US9451570                    13/598199                    20140064263                        us              20-Sep-16          23-May-34                 29-Aug-12   Communication
                                                                                                                                                                                                                 Method, Apparatus And Computer Readable Medium
                                                                                                                                                                                                                 For Timing Alignment In Overlaid Heterogeneous
          812313    812313-EP-EPT                                       13742091.5                   EP2875684                          EP                                  11-Jul-33                11-Jul-13   Wireless Networks
                                                                                                                                                                                                                 Method, Apparatus And Computer Readable Medium
                                                                                                                                                                                                                 For Timing Alignment In Overlaid Heterogeneous
          812313    812313-CN-PCT                                       201380038135.0               CN104488337A                       CN                                  11-Jul-33                11-Jul-13   Wireless Networks
                                                                                                                                                                                                                 Method, Apparatus And Computer Readable Medium
                                                                                                                                                                                                                 For Timing Alignment In Overlaid Heterogeneous
          812313    812313-US-NP           US8934452                    13/551088                    20140023035                        us              13-Jan-15           5-Apr-33                 17-Jul-12   Wireless Networks


                                                                                                                                                                                                                 Apparatus, Method, And Computer Program For A
          812339    812339-EP-EPA                                       12306497.4                   EP2739105                          EP                                 30-Nov-32                 30-Nov-12   Central Unit Of A Base Station Transceiver
          812368    812368-DE-EPA          EP2696639                    12360060.3                   EP2696639                          DE              4-Mar-15            6-Aug-32                 6-Aug-12    Initiating Handover
          812368    812368-FR-EPA          EP2696639                    12360060.3                   EP2696639                          FR              4-Mar-15            6-Aug-32                 6-Aug-12    Initiating Handover
          812368    812368-GB-EPA          EP2696639                    12360060.3                   EP2696639                          GB              4-Mar-15            6-Aug-32                 6-Aug-12    Initiating Handover
                                                                                                                                                                                                                 Method for finding an optimal position of a new pico
          812372    812372-EP-EPA                                       12290285.1                   EP2704475                          EP                                 29-Aug-32                 29-Aug-12   cellwithinamacrocell


          812377    812377-US-NP           US9172660                    13/828167                    20140269684                        us              27-Oct-15          12-Dec-33                 14-Mar-13   Switch Fabric With Collector-Based c.ell Reordering
          812446    812446-EP-EPA                                       12306181.4                   EP2713436                          EP                                 28-Sep-32                 28-Sep-12   Module Active Antenna Unit
                                                                                                                                                                                                                 System And Method For Scheduling Cell Broadcast
          812457    812457-US-NP           US8964616                    13/617423                    20140078945                        us              24-Feb-15          28-Mar-33                 14-Sep-12   Message
                                                                                                                                                                                                                 Distance-Based Automatic Gain Control And
                                                                                                                                                                                                                 Proximity-Effect Compensation
          812458    812458-CN-PCT                                       201380055403.X               CN104685837A                       CN                                 21-Oct-33                 21-Oct-13


                                                                                                                                                                                                                 Method and apparatus for transmitting an
          812467    812467-CN-PCT                                       2013800630847                CN104904148A                       CN                                 22-Nov-33                 22-Nov-13   asynchronous transport signal over an optical section
                                                                                                                                                                                                                 Method and Apparatus for Transmitting an
                                                                                                                                                                                                                 Asynchronous Transport Signal over an Optical
          812467    812467-EP-EPA                                       12306506.2                   EP2738964                          EP                                  3-Dec-32                 3-Dec-12    Section
                                                                                                                                                                                                                 Method And Apparatus For Transmitting An
                                                                                                                                                                                                                 Asynchronous Transport Signal Over An Optical
          812467    812467-US-PCT          US9407458                    14/438658                    20150288538                        us               2-Aug-16          22-Nov-33                 22-Nov-13   Section
          812473    812473-EP-EPA                                       12360071.0                   EP2713664                          EP                                 28-Sep-32                 28-Sep-12   Network Attachment


                                                                                                                                                                                                                 Resilient End-To-End Message Protection For Large-
                                                                                                                                                                                                                 Scale Cyber-Physical System Communications
          812488    812488-EP-EPT                                       13852343.6                   EP2915280                          EP                                 30-Oct-33                 30-Oct-13
                                                                                                                                                                                                                 Method And Apparatus For Resilient End-To-End
                                                                                                                                                                                                                 Message Protection For Large-Scale Cyber-Physical
          812488    812488-US-NP           US9106413                    13/837440                    20140129838                        us              11-Aug-15          29-Dec-32                 15-Mar-13   System Communications
                                                                                                                                                                                                                 A Method Of Extracting The Most Significant Frames
                                                                                                                                                                                                                 Out Of A Video Stream Based OnAesthetical
          812495    812495-EP-EPA                                       12306554.2                   EP2741488                          EP                                 10-Dec-32                 10-Dec-12   Criterions
                                                                                                                                                                                                                 Capability-Based Communications
          812502    812502-EP-EPT                                       13815934.8                   EP2939375                          EP                                 18-Dec-33                 18-Dec-13
                                                                                                                                                                                                                 Capability-Based Communications
          812502    812502-JP-PCT                                       2015550483                   2016509288                         JP                                 18-Dec-33                 18-Dec-13
                                                                                                                                                                                                                 Mobility Robustness Optimization Based On
          812517    812517-CN-PCT                                       201380050511.8               CN104704869A                       CN                                 13-Sep-33                 13-Sep-13   Reference Signal Strength Maps




                                                                                                              Page 65 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0206
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 73 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Mobility Robustness Optimization Based On
          812517    812517-EP-EPT                                       13766850.5                   EP2901736                          EP                                 13-Sep-33                 13-Sep-13   Reference Signal Strength Maps
                                                                                                                                                                                                                 Mobility Robustness Optimization Based On
          812517    812517-JP-PCT          JP6050506                    2015534539                   2015530849                         JP               2-Dec-16          13-Sep-33                 13-Sep-13   Reference Signal Strength Maps
                                                                                                                                                                                                                 Mobility Robustness Optimization Based On
          812517    812517-US-NP           US9179384                    13/731183                    20140087739                        us               3-Nov-15           28-Jul-33                31-Dec-12   Reference Signal Strength Maps
          812521    812521-DE-EPT          EP2939365                    13824058.5                   EP2939365                          DE              27-Apr-16          23-Dec-33                 23-Dec-13   Devices And Methods For Multicast
          812521    812521-FR-EPT          EP2939365                    13824058.5                   EP2939365                          FR              27-Apr-16          23-Dec-33                 23-Dec-13   Devices And Methods For Multicast
          812521    812521-GB-EPT          EP2939365                    13824058.5                   EP2939365                          GB              27-Apr-16          23-Dec-33                 23-Dec-13   Devices And Methods For Multicast
          812557    812557-US-NP           US8975955                    13/710605                    20140159808                        us              10-Mar-15          21-Mar-33                 11-Dec-12   Design And Analysis Of Doherty Amplifiers
                                                                                                                                                                                                                 Method And Apparatus For Processing GPRS
                                                                                                                                                                                                                 Tunneling Protcol User Plane Traffic In A Cloud-Based
                                                                                                                                                                                                                 Mobile Network
          812564    812564-US-NP           US9185058                    13/835821                    20140269533                        us              10-Nov-15          25-Mar-33                 15-Mar-13
                                                                                                                                                                                                                 Orchestration Models Learning For Video Conference
          812565    812565-DE-EPA          EP2704430                    12182272.0                   EP2704430                          DE              15-Apr-15          29-Aug-32                 29-Aug-12   Systems
                                                                                                                                                                                                                 Orchestration Models Learning For Video Conference
          812565    812565-FR-EPA          EP2704430                    12182272.0                   EP2704430                          FR              15-Apr-15          29-Aug-32                 29-Aug-12   Systems
                                                                                                                                                                                                                 Orchestration Models Learning For Video Conference
          812565    812565-GB-EPA          EP2704430                    12182272.0                   EP2704430                          GB              15-Apr-15          29-Aug-32                 29-Aug-12   Systems
                                                                                                                                                                                                                 OPTICAL NETWORK NODE FOR AN OPTICAL RING
          812616    812616-DE-EPA          EP2747324                    12306635.9                   EP2747324                          DE               1-Apr-15          20-Dec-32                 20-Dec-12   NETWORK
                                                                                                                                                                                                                 OPTICAL NETWORK NODE FOR AN OPTICAL RING
          812616    812616-FR-EPA          EP2747324                    12306635.9                   EP2747324                          FR               1-Apr-15          20-Dec-32                 20-Dec-12   NETWORK
                                                                                                                                                                                                                 OPTICAL NETWORK NODE FOR AN OPTICAL RING
          812616    812616-GB-EPA          EP2747324                    12306635.9                   EP2747324                          GB               1-Apr-15          20-Dec-32                 20-Dec-12   NETWORK
          812632    812632-US-NP                                        13/926746                    20140378103                        us                                 25-Jun-33                 25-Jun-13   Archiving A Delivery Status For Text Message


          812633    812633-US-NP                                        14/672661                    20160295459                        us                                 30-Mar-35                 30-Mar-15   Method And Apparatus For Improved Load Balancing
                                                                                                                                                                                                                 Resource Allocation In Heterogeneous LTE Networks
          812634    812634-US-NP           US9042253                    13/729790                    20140086198                        us              26-May-15          25-Apr-33                 28-Dec-12   Via CSMA-Based Algorithms
          812637    812637-EP-EPA                                       12306173.1                   EP2713532                          EP                                 27-Sep-32                 27-Sep-12   Optical coherent transponder
          812659    812659-EP-EPA                                       12360070.2                   EP2713525                          EP                                 27-Sep-32                 27-Sep-12   Downlink Radio Link Failure For MF-HSDPA
                                                                                                                                                                                                                 Interference Alignment For Single-User MIMD
          812667    812667-KR-NP           KR101514126                  1020130059757                                                   KR              15-Apr-15          27-May-33                 27-May-13   Channel Using Real-Valued Modulation


          812815    812815-EP-EPA                                       12306190.5                   EP2713653                          EP                                 28-Sep-32                 28-Sep-12   User Plane Handover For Heterogeneous Networks


          812828    812828-EP-EPA                                       13305687.9                   EP2809037                          EP                                 27-May-33                 27-May-13   A Method And A Router For Inter-Domain Routing
                                                                                                                                                                                                                 Methods For Allocating Wireless Resources In
                                                                                                                                                                                                                 Wireless Network
          812851    812851-CN-PCT                                       201380050770.0               CN104770035A                       CN                                 25-Sep-33                 25-Sep-13
                                                                                                                                                                                                                 Methods For Allocating Wireless Resources In
                                                                                                                                                                                                                 Wireless Network
          812851    812851-TW-NP           TWl513346                    102134752                    201419912                         TW               11-Dec-15          26-Sep-33                 26-Sep-13
                                                                                                                                                                                                                 Methods And Apparatuses For Allocating Wireless
          812851    812851-US-NP           US9161342                    13/803794                    20140092820                        us              13-Oct-15          29-Jun-33                 14-Mar-13   Resources In Wireless Network


                                                                                                                                                                                                                 Transmission Of Uplink Physical Layer Signaling In A
          812971    812971-EP-EPA                                       12306701.9                   EP2750463                          EP                                 28-Dec-32                 28-Dec-12   Mobile System Supporting carrier Aggregation


                                                                                                                                                                                                                 Method For Signal Conditioning In A Processing
          812985    812985-EP-EPA                                       13305166.4                   EP2765704                          EP                                 12-Feb-33                 12-Feb-13   Apparatus And Processing Apparatus Thereof
                                                                                                                                                                                                                 Optical Communication With Spatially Multiplexed
          812988    812988-EP-EPA                                       14305289.2                   EP2913943                          EP                                 28-Feb-34                 28-Feb-14   Optical Packet Signals
                                                                                                                                                                                                                 Signal Modulation By Pulse Train Segments For
          812995    812995-DE-EPA          EP2728745                    12191281.0                   EP2728745                          DE              12-Aug-15           5-Nov-32                 5-Nov-12    Radiofrequency Communications
                                                                                                                                                                                                                 Signal Modulation By Pulse Train Segments For
          812995    812995-FR-EPA          EP2728745                    12191281.0                   EP2728745                          FR              12-Aug-15           5-Nov-32                 5-Nov-12    Radiofrequency Communications
                                                                                                                                                                                                                 Signal Modulation By Pulse Train Segments For
          812995    812995-GB-EPA          EP2728745                    12191281.0                   EP2728745                          GB              12-Aug-15           5-Nov-32                 5-Nov-12    Radiofrequency Communications
                                                                                                                                                                                                                 Signal Modulation By Pulse Train Segments For
          812995    812995-TW-NP           TWl551050                    103116093                                                      TW               21-Sep-16           6-May-34                 6-May-14    Radiofrequency Communications
                                                                                                                                                                                                                 Communication Through Multiplexed One-
          813002    813002-US-CIP          US9300400                    13/731738                    20130136449                        us              29-Mar-16          19-Oct-31                 31-Dec-12   Dimensional Optical Signals
                                                                                                                                                                                                                 Apparatus And Method For Providing Required
                                                                                                                                                                                                                 Information On A Topology Of A Communication
          813078    813078-EP-EPA                                       13305091.4                   EP2760160                          EP                                 25-Jan-33                 25-Jan-13   Network
          813124    813124-EP-EPT                                       14707139.3                   EP2965498                          EP                                 27-Feb-34                 27-Feb-14   Multiple Tariff Switches Management
          813158    813158-DE-EPA          EP2894800                    14305026.8                   EP2894800                          DE              30-Mar-16           9-Jan-34                 9-Jan-14    Optical Interconnection Device And Method
          813158    813158-FR-EPA          EP2894800                    14305026.8                   EP2894800                          FR              30-Mar-16           9-Jan-34                 9-Jan-14    Optical Interconnection Device And Method
          813158    813158-GB-EPA          EP2894800                    14305026.8                   EP2894800                          GB              30-Mar-16           9-Jan-34                 9-Jan-14    Optical Interconnection Device And Method


                                                                                                                                                                                                                 Device For Aligning And Fastening An Optical Fiber
          813200    813200-EP-EPA                                       13194668.3                   EP2878980                          EP                                 27-Nov-33                 27-Nov-13   Coupled To An Opto-Electronic Component
                                                                                                                                                                                                                 Method And Device For Controlling Use Of
                                                                                                                                                                                                                 Applications By A Communication Equipment Of A
          813229    813229-EP-EPA                                       12195955.5                   EP2741469                          EP                                  6-Dec-32                 6-Dec-12    User Having Accepted A Contract Of Use
                                                                                                                                                                                                                 EQUIPMENT-PROTECTED HARDWARE DEVICE FOR IN-
                                                                                                                                                                                                                 SERVICE FIRMWARE UPGRADE OF TRANSMISSION
          813251    813251-EP-EPA                                       13305597.0                   EP2802107                          EP                                 7-May-33                  7-May-13    SYSTEMS
          813257    813257-CN-NP                                        201310224907.1               CN104243396A                       CN                                  7-Jun-33                 7-Jun-13    Fixed SCTP Path Selection
                                                                                                                                                                                                                 Optimal Diversion To Number Service Support Under
          813263    813263-CN-NP                                        201310478766.6               CN104581664A                       CN                                 14-Oct-33                 14-Oct-13   New EU Roaming Regulation Structure


                                                                                                                                                                                                                 Method For Operating A Base Station In A
                                                                                                                                                                                                                 Heterogeneous Radio Access Network And Base
                                                                                                                                                                                                                 Station Thereof And Method For Operating A Mobile
                                                                                                                                                                                                                 Station In A Heterogeneous Radio Access Network
          813314    813314-TW-NP           TWl542243                    103118139                    201501563                         TW                11-Jul-16         23-May-34                 23-May-14   And Mobile Station Thereof


                                                                                                                                                                                                                 Method For Operating A Base Station In A
                                                                                                                                                                                                                 Heterogeneous Radio Access Network And Base
                                                                                                                                                                                                                 Station Thereof And Method For Operating A Mobile
                                                                                                                                                                                                                 Station In A Heterogeneous Radio Access Network
          813314    813314-EP-EPA                                       13305905.5                   EP2819465                          EP                                 27-Jun-33                 27-Jun-13   And Mobile Station Thereof
          813337    813337-EP-EPA                                       13305351.2                   EP2782281                          EP                                 22-Mar-33                 22-Mar-13   Data Transmission
          813391    813391-EP-EPA                                       13305049.2                   EP2757855                          EP                                 17-Jan-33                 17-Jan-13   Traffic Offload
          813392    813392-EP-EPA                                       13305372.8                   EP2785091                          EP                                 26-Mar-33                 26-Mar-13   Hyper Frame Number
                                                                                                                                                                                                                 A Graceful Shutdown Mechanism For Diameter
          813398    813398-CN-NP                                        201310539818.6               CN104601533A                       CN                                 31-Oct-33                 31-Oct-13   Based Application




                                                                                                              Page 66 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0207
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 74 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Communication System Comprising A Plurality Of
          813411    813411-EP-EPA                                       13305586.3                   EP2800429                          EP                                 3-May-33                  3-May-13    Communication Nodes
                                                                                                                                                                                                                 Electronic Device Having Thermally Managed
                                                                                                                                                                                                                 Electron Path And Method Of Thermal Management
                                                                                                                                                                                                                 Of Very Cold Electrons
          813467    813467-US-DIV          US8614108                    13/738568                    20130123111                        us              24-Dec-13          12-Nov-28                 10-Jan-13
                                                                                                                                                                                                                 Real-Time Transport Protocol (RTP) Source
                                                                                                                                                                                                                 Translator
          813475    813475-US-NP           US9106655                    14/049316                    20150100634                        us              11-Aug-15           9-Oct-33                 9-Oct-13
          813557    813557-EP-EPA                                       13306803.1                   EP2887620                          EP                                 20-Dec-33                 20-Dec-13   Session Initiation Protocol Messaging
                                                                                                                                                                                                                 Device For Controlling Sychronisation Of A Set Of
                                                                                                                                                                                                                 Data Contents With A Multimedia Content, And
                                                                                                                                                                                                                 Device For Retrieving Said Data Contents For An
          813584    813584-EP-EPA                                       13155839.7                   EP2767910                          EP                                 19-Feb-33                 19-Feb-13   Equipment
          813615    813615-US-NP                                        14/256320                    20150302123                        us                                 18-Apr-34                 18-Apr-14   CROSS-REFERENCE TO RELATED APPLICATIONS


                                                                                                                                                                                                                 Method And Device For Determining Similarity
          813657    813657-EP-EPA                                       13305367.8                   EP2784698                          EP                                 26-Mar-33                 26-Mar-13   Between Semantically Described Objects
                                                                                                                                                                                                                 Radio Access Network Geographic Information
          813696    813696-US-NP           US9426044                    14/256406                    20150304180                        us              23-Aug-16            1-Jul-34                18-Apr-14   System With Multiple Format
          813761    813761-US-NP           US9230215                    13/869364                    20140324750                        us               5-Jan-16          23-Jan-34                 24-Apr-13   Ontological Concept Expansion
          813817    813817-EP-EPA                                       13305259.7                   EP2775563                          EP                                  7-Mar-33                 7-Mar-13    Network Node And Method
                                                                                                                                                                                                                 A Method For Improving Amplifier Digital Pre-
                                                                                                                                                                                                                 Distortion Estimation Performance And Radio
          813839    813839-EP-EPA                                       13360028.8                   EP2846461                          EP                                 10-Sep-33                 10-Sep-13   Transmitter


          813847    813847-CN-NP                                        201310229023.5               CN104243085A                       CN                                  8-Jun-33                 8-Jun-13    High Performance Payload Conversion Method
                                                                                                                                                                                                                 Method For Determining Parameter(S) Of A
                                                                                                                                                                                                                 Transmission System With Cascaded Devices Based
          813898    813898-EP-EPA                                       13172865.1                   EP2816745                          EP                                 19-Jun-33                 19-Jun-13   On A Semiconductor Gain Medium


                                                                                                                                                                                                                 APPARATUS, METHOD AND COMPUTER PROGRAM
                                                                                                                                                                                                                 FOR RECOVERING A PHASE OF A RECEIVED SIGNAL
          813901    813901-EP-EPA                                       13305677.0                   EP2806584                          EP                                 24-May-33                 24-May-13


                                                                                                                                                                                                                 Method And Device For Improving A Home Network
          813912    813912-EP-EPA                                       13290117.4                   EP2809039                          EP                                 27-May-33                 27-May-13   Making Use Of An Adaptive Guard Interval
          813919    813919-EP-EPA                                       13306307.3                   EP2854015                          EP                                 25-Sep-33                 25-Sep-13   Communication Storage System
                                                                                                                                                                                                                 Method And Assembly Including A Connection
          814046    814046-US-NP           US9308596                    14/157887                    20150205046                        us              12-Apr-16          27-Apr-34                 17-Jan-14   Between Metal Layers And A Fusible Material
                                                                                                                                                                                                                 Tri-Colour Data Packet Counting For Tri-Colour
          814047    814047-US-DIV          US8958424                    13/956676                    20130315247                        us              17-Feb-15          13-Sep-30                 1-Aug-13    Marking Policies
                                                                                                                                                                                                                 Dispersion Management For Inhomogeneous Fiber-
          814098    814098-US-NP           US9160456                    14/032352                    20150086218                        us              13-Oct-15          10-Jan-34                 20-Sep-13   Optic links
                                                                                                                                                                                                                 Methods And Systems For Scheduling
          814162    814162-US-NP           US9370020                    13/895408                    20140342748                        us              14-Jun-16          27-Sep-33                 16-May-13   Communications In A Co-Channel Network
                                                                                                                                                                                                                 Method for operating an optical transport network
          814186    814186-EP-EPA                                       13290286.7                   EP2874337                          EP                                 15-Nov-33                 15-Nov-13   node
                                                                                                                                                                                                                 System And Method For Modelling And Profiling In
          814188    814188-US-NP           US9026542                    12/842921                    20110276577                        us              5-May-15            6-Jun-31                 23-Jul-10   Multiple Languages
          814214    814214-IN-NP                                        1505/DEL/2013                                                   IN                                 20-May-33                 20-May-13   Device to Device Communication
                                                                                                                                                                                                                 Photonic Integrated Orcuit Having A Waveguide-
          814235    814235-US-DIV          US8750654                    13/919396                                                       us              10-Jun-14          17-Dec-29                 17-Jun-13   Grating Coupler
                                                                                                                                                                                                                 A Fast HLR/HSS Reset Method To Reduce
          814267    814267-CN-NP                                        201310723023.0               CN104735639A                       CN                                 24-Dec-33                 24-Dec-13   Registration Storm


                                                                                                                                                                                                                 Transmitter Method For Reducing Unwanted Signal
                                                                                                                                                                                                                 Distortions In A Multi-Band Radio Frequency Signal,
          814343    814343-EP-EPA                                       14305237.1                   EP2911294                          EP                                 20-Feb-34                 20-Feb-14   Transmitter Apparatus And Network Node Thereof
                                                                                                                                                                                                                 Policy And QoS Control Enhancement To Reduce Bill
          814350    814350-CN-NP                                        201410119767.6               CN104955014A                       CN                                 27-Mar-34                 27-Mar-14   Cycle Storm


          814359    814359-US-CNT                                       14/689937                    20150222519                        us                                  25-Jul-33                17-Apr-15   Adaptive Polling Of Information From A Device


          814359    814359-US-NP           US9032119                    13/950574                    20150032875                        us              12-May-15           25-Jul-33                25-Jul-13   Adaptive Polling Of Information From A Device
          814363    814363-US-NP           US9223099                    14/039374                    20150093068                        us              29-Dec-15            1-Jul-34                27-Sep-13   Optical Device
          814368    814368-US-NP           US9329345                    14/087714                    20150147027                        us              3-May-16           25-Jan-34                 22-Nov-13   Hybrid Wavelength Selective Switch
          814372    814372-EP-EPA                                       13306313.1                   EP2854043                          EP                                 26-Sep-33                 26-Sep-13   Digital Circuit For Slope Filtering
                                                                                                                                                                                                                 Method Of Reliable Loss Of Frame Alarming In An
          814382    814382-DE-EPA          EP2884681                    13306696.9                   EP2884681                          DE              9-Mar-16           11-Dec-33                 11-Dec-13   Optical Transmission Network
                                                                                                                                                                                                                 Method Of Reliable Loss Of Frame Alarming In An
          814382    814382-FR-EPA          EP2884681                    13306696.9                   EP2884681                          FR              9-Mar-16           11-Dec-33                 11-Dec-13   Optical Transmission Network
                                                                                                                                                                                                                 Method Of Reliable Loss Of Frame Alarming In An
          814382    814382-GB-EPA          EP2884681                    13306696.9                   EP2884681                          GB              9-Mar-16           11-Dec-33                 11-Dec-13   Optical Transmission Network
                                                                                                                                                                                                                 Channel Resource Allocation For Device-To-Device
          814467    814467-IN-NP                                        2571/DEL/2013                2571/DEL/2013                      IN                                 30-Aug-33                 30-Aug-13   Communication


                                                                                                                                                                                                                 Method And System For Graphical User Interface
          814471    814471-EP-EPA                                       13360015.5                   EP2833260                          EP                                  2-Aug-33                 2-Aug-13    Layout Generation, Computer Program Product


                                                                                                                                                                                                                 Transmitter Method For Transmitting Radio
                                                                                                                                                                                                                 Frequency Signals From Multiple Antenna Eleemnets,
                                                                                                                                                                                                                 Receiver Method, Transmitter Apparatus, Receiver
          814497    814497-EP-EPA                                       13306655.5                   EP2882154                          EP                                  3-Dec-33                 3-Dec-13    Apparatus And Network Node Thereof
          814520    814520-US-NP           US9286429                    14/144695                    20150186580                        us              15-Mar-16          10-Mar-34                 31-Dec-13   System And Method For Amplifier Design
                                                                                                                                                                                                                 A Method To Enable Data Warehousing capability In
          814525    814525-CN-NP                                        201410171886.6               CN105095224A                       CN                                 25-Apr-34                 25-Apr-14   Telecom HLR/HSS
          814534    814534-EP-EPA                                       13306454.3                   EP2866368                          EP                                 22-Oct-33                 22-Oct-13   Digital Polarization Demultiplexing
                                                                                                                                                                                                                 Handling Network Connection Changes During
          814566    814566-US-NP                                        14/501217                    20160094599                        us                                 30-Sep-34                 30-Sep-14   Adaptive BitrateStreaming
          814628    814628-EP-EPA                                       13306756.1                   EP2887287                          EP                                 18-Dec-33                 18-Dec-13   EMAIL SYSTEM
                                                                                                                                                                                                                 Method For Digitally Modulating A Signal In A
          814643    814643-EP-EPA                                       14305306.4                   EP2916507                          EP                                  4-Mar-34                 4-Mar-14    Communication Network
                                                                                                                                                                                                                 A Bandwidth Tunable Filter And A Method For
          814644    814644-EP-EPA                                       14305063.1                   EP2897214                          EP                                 17-Jan-34                 17-Jan-14   Constructing And Tuning Such A Filter
                                                                                                                                                                                                                 Management Method For Use By A Management
          814656    814656-EP-EPA                                       13306338.8                   EP2854336                          EP                                 27-Sep-33                 27-Sep-13   System
                                                                                                                                                                                                                 Method For Data Graph Navigation In A Big Traffic
          814663    814663-EP-EPA                                       14154920.4                   EP2908471                          EP                                 12-Feb-34                 12-Feb-14   Dataset Of A Network
          814664    814664-EP-EPA                                       13290220.6                   EP2849339                          EP                                 13-Sep-33                 13-Sep-13   Correction Of An Output Signal




                                                                                                              Page 67 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0208
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 75 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm RADIO ACCESS UNIT WITH ANALOGUE CARRIER
          814679    814679-EP-EPA                                       13306685.2                   2882256                            EP                                  9-Dec-33                 9-Dec-13    RECOVERY
                                                                                                                                                                                                                 Green loT Device Dynamic Scheduling Scheme And
          814702    814702-CN-NP                                        201410256842.3               CN105338008A                       CN                                 10-Jun-34                 10-Jun-14   Control


                                                                                                                                                                                                                 Communication Techniques for Delivering
          814739    814739-CN-PCT                                       201480044831.7               CN105453602A                       CN                                  21-Jul-34                21-Jul-14   Information to Users Experiencing High Attenuation
                                                                                                                                                                                                                 Communication Techniques
          814739    814739-EP-EPA                                       13306141.6                   EP2835990                          EP                                  9-Aug-33                 9-Aug-13


                                                                                                                                                                                                                 Communication Techniques for Delivering
          814739    814739-JP-PCT                                       2016532258                   2016529820                         JP                                  21-Jul-34                21-Jul-14   Information to Users Experiencing High Attenuation


                                                                                                                                                                                                                 Communication Techniques for Delivering
          814739    814739-KR-PCT                                       20167005942                                                     KR                                  21-Jul-34                21-Jul-14   Information to Users Experiencing High Attenuation
          814739    814739-TW-NP           TWl549556                    103126569                                                      TW               11-Sep-16           4-Aug-34                 4-Aug-14    Communication Techniques


                                                                                                                                                                                                                 Communication Techniques for Delivering
          814739    814739-US-PCT                                       14/910724                    20160198438                        us                                  21-Jul-34                21-Jul-14   Information to Users Experiencing High Attenuation
          814758    814758-EP-EPA                                       13306142.4                   EP2836029                          EP                                  9-Aug-33                 9-Aug-13    Communication Techniques
                                                                                                                                                                                                                 Communication Techniques
          814758    814758-TW-NP           TWl555429                    103126570                                                      TW               21-Oct-16           4-Aug-34                 4-Aug-14
                                                                                                                                                                                                                 Dispositifet procede pour la detection d{.une atteinte
                                                                                                                                                                                                                 a l{.integrite d{.une ligne de transport d{.un signal
          814790    814790-EP-EPA                                       14306775.9                   EP3018507                          EP                                  6-Nov-34                 6-Nov-14    optique
                                                                                                                                                                                                                 Method And Apparatus For Providing Allocating
                                                                                                                                                                                                                 Resources
          814807    814807-US-NP                                        14/053745                    20150106820                        us                                 15-Oct-33                 15-Oct-13
                                                                                                                                                                                                                 Two-Stage Device-To-Device (D2D) Discovery
          814880    814880-US-NP           US9456330                    14/448148                    20150043545                        us              27-Sep-16           4-Oct-34                 31-Jul-14   Procedures


                                                                                                                                                                                                                 Method For Converting An Analogue Signal Into A
                                                                                                                                                                                                                 Digital Signal, Analogue-To-Digital Converter System,
          814896    814896-EP-EPA                                       14305148.0                   EP2903165                          EP                                  4-Feb-34                 4-Feb-14    Receiver Apparatus And Network Node Thereof
                                                                                                                                                                                                                 Apparatus, Method and Computer Program for an
          814920    814920-EP-EPA                                       13306406.3                   EP2860888                          EP                                 14-Oct-33                 14-Oct-13   Optical Receiver
          814926    814926-CN-NP                                        201410199215.0               CN105096960A                       CN                                 12-May-34                 12-May-14   Wideband Packet Acoustic Echo Cancellation
                                                                                                                                                                                                                 Simultaneous Localization And Mapping Systems And
                                                                                                                                                                                                                 Methods
          814933    814933-EP-EPT                                       14793717.1                   EP3060936                          EP                                 22-Oct-34                 22-Oct-14
                                                                                                                                                                                                                 Simultaneous Localization And Mapping Systems And
          814933    814933-US-NP                                        14/063735                    20150119086                        us                                 25-Oct-33                 25-Oct-13   Methods


                                                                                                                                                                                                                 Apparatus Comprising an Oscillation Blade Fan and
          814948    814948-EP-EPA                                       14306013.5                   EP2960521                          EP                                 27-Jun-34                 27-Jun-14   Method for Cleaning the Oscillation Blade Fan
                                                                                                                                                                                                                 Multi-Source Correlation Of Network Topology
          814952    814952-US-NP           US9215164                    14/075294                    20150131458                        us              15-Dec-15           6-May-34                 8-Nov-13    Metrics
                                                                                                                                                                                                                 New H .248 Package Supporting Packet Acoustic Echo
          814964    814964-CN-NP                                        201410208746.1               CN105100524A                       CN                                 16-May-34                 16-May-14   Cancellation Control


                                                                                                                                                                                                                 A Radiofrequency Amplifier Device And Configuration
                                                                                                                                                                                                                 Device, Associated Amplification Method And
          814968    814968-EP-EPA                                       14160039.5                   EP2919383                          EP                                 14-Mar-34                 14-Mar-14   Configuration Method


                                                                                                                                                                                                                 A Calibration Device, Associated Calibration Methods,
          814990    814990-EP-EPA                                       13191813.8                   EP2871787                          EP                                  6-Nov-33                 6-Nov-13    For A Multi-Path Radio Frequency Antennas System


          815044    815044-CN-NP                                        201410528332.7               CN105577605A                       CN                                  9-Oct-34                 9-Oct-14    Bidirectional REST Over Websocket For WebRTC


          815088    815088-IN-NP                                        408/DEL/2014                                                    IN                                 13-Feb-34                 13-Feb-14   Group Alerts Over A Telecommunication Network
                                                                                                                                                                                                                 Minimizing Symmetrical Latency Impact By Jittter
          815130    815130-US-NP                                        14/132664                    20150172154                        us                                 18-Dec-33                 18-Dec-13   Buffer For TDM CES
                                                                                                                                                                                                                 Resource Reservation Based Scheduling Mechanisms
          815134    815134-CN-NP                                        201410171659.3               CN105099934A                       CN                                 25-Apr-34                 25-Apr-14   For ATCA Based Products
          815157    815157-EP-EPA                                       14306262.8                   EP2982869                          EP                                  8-Aug-34                 8-Aug-14    Magnetohydrodynamic Device
                                                                                                                                                                                                                 Dynamic Allocation Of Capacity Licenses For A Radio
          815184    815184-EP-EPA                                       14305596.0                   EP2938114                          EP                                 23-Apr-34                 23-Apr-14   Access Network


                                                                                                                                                                                                                 An Antenna, A Multiple Antenna Array And A Method
          815189    815189-EP-EPA                                       14290052.1                   EP2913892                          EP                                 27-Feb-34                 27-Feb-14   Of Radiating A Radio-Frequency Signal


                                                                                                                                                                                                                 Wireless Access Node Calibration capability For
          815206    815206-US-NP           US9277527                    14/197377                    20150257123                        us              1-Mar-16           27-May-34                 5-Mar-14    Improved Mobile Wireless Device Location Accuracy
                                                                                                                                                                                                                 Allocation Of Communication Resources For Device
                                                                                                                                                                                                                 To Device Wireless Communication
          815212    815212-CN-PCT                                       201480059538.8               CN105684544A                       CN                                 26-Sep-34                 26-Sep-14
                                                                                                                                                                                                                 Allocation Of Communication Resources For Device
          815212    815212-EP-EPA                                       13306485.7                   EP2869657                          EP                                 30-Oct-33                 30-Oct-13   To Device Wireless Communication
                                                                                                                                                                                                                 Allocation Of Communication Resources For Device
                                                                                                                                                                                                                 To Device Wireless Communication
          815212    815212-JP-PCT                                       2016527185                   2016535501                         JP                                 26-Sep-34                 26-Sep-14
                                                                                                                                                                                                                 Allocation Of Communication Resources For Device
                                                                                                                                                                                                                 To Device Wireless Communication
          815212    815212-TW-NP           TWl552631                    103137009                                                      TW                1-Oct-16          27-Oct-34                 27-Oct-14
                                                                                                                                                                                                                 Allocation Of Communication Resources For Device
                                                                                                                                                                                                                 To Device Wireless Communication
          815212    815212-US-PCT                                       15/032443                    20160270135                        us                                 26-Sep-34                 26-Sep-14


                                                                                                                                                                                                                 Process for guiding ina building a user connected
          815215    815215-EP-EPA                                       14305633.1                   EP2940426                          EP                                 28-Apr-34                 28-Apr-14   through at least one mobile terminal to a network


          815228    815228-US-NP           US9506761                    14/152437                    20150198447                        us              29-Nov-16          10-Jan-34                 10-Jan-14   Method And Apparatus For Indoor Position Tagging
          815244    815244-EP-EPA                                       14305611.7                   EP2938173                          EP                                 25-Apr-34                 25-Apr-14   Electronics Enclosure Cooling
                                                                                                                                                                                                                 SIP/SDP Support For Packet-Based Acoustic Echo
          815247    815247-CN-NP                                        201410209106.2               CN105100018A                       CN                                 16-May-34                 16-May-14   Cancellation


          815248    815248-CN-NP                                        201410469518.X               CN105490986A                       CN                                 15-Sep-34                 15-Sep-14   To Open IMS Core capability Via RESTful Method


                                                                                                                                                                                                                 Method For Encrypting Or Decrypting A3D Object
          815276    815276-US-PCT                                       15/117881                    20170169606                        us                                  9-Feb-35                 9-Feb-15




                                                                                                              Page 68 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0209
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 76 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
          815276    815276-EP-EPA                                       14305177.9                   EP2905923                          EP                                 11-Feb-34                 11-Feb-14   Method For Encrypting Or Decrypting A3D Object
                                                                                                                                                                                                                 Angled Card cage For Improved Cooling Airflow In
          815319    815319-US-NP           US9241425                    14/319619                    20150382510                        us              19-Jan-16           15-Jul-34                30-Jun-14   Front To Back Airflow Products
                                                                                                                                                                                                                 Low Consumption Duty Cycle Mode For Wireless
          815331    815331-EP-EPA                                       14305234.8                                                      EP                                 20-Feb-34                 20-Feb-14   Base Stations
                                                                                                                                                                                                                 Method To Establish Steam-Based Multimedia
          815338    815338-CN-NP                                        201410743023.1               CN105656869A                       CN                                  8-Dec-34                 8-Dec-14    Session With Multiple Devices
                                                                                                                                                                                                                 RF PATH MANAGEMENT FOR ENERGY EFFICIENT
          815352    815352-EP-EPA                                       14305441.9                   EP2924888                          EP                                 27-Mar-34                 27-Mar-14   CELLULAR NEWTWORKS


                                                                                                                                                                                                                 Dual Profile For Arp And Dsp Hosted In The Same Des
          815357    815357-CN-NP                                        201410306769.6               CN105338505A                       CN                                 30-Jun-34                 30-Jun-14   To Support Eu Roaming Regulation Iii
                                                                                                                                                                                                                 Data Matching Based In Hash Table Representations
          815379    815379-US-NP                                        14/189119                    20150242429                        us                                 25-Feb-34                 25-Feb-14   Of Hash Tables


                                                                                                                                                                                                                 Secondary Lookup For Scaling DatapathArchitecture
          815383    815383-US-NP           US9356861                    14/215171                    20150263947                        us              31-May-16          24-Jun-34                 17-Mar-14   Beyond Integrated Hardware Capacity
                                                                                                                                                                                                                 Packet Switching Signaling-Independent Conference
          815396    815396-CN-NP                                        201410613706.5               CN105553678A                       CN                                  4-Nov-34                 4-Nov-14    Router
          815402    815402-EP-EPA                                       14360005.4                   EP2913893                          EP                                 18-Mar-34                 18-Mar-14   Antenna Element
                                                                                                                                                                                                                 Ud LDAP And Ud SOAP Collaboration For UDC Load
          815413    815413-CN-NP                                        201410347989.3               CN105450534A                       CN                                  21-Jul-34                21-Jul-14   Distribution
                                                                                                                                                                                                                 Signaling-Independent Solution Of Packet-Based
          815427    815427-CN-NP                                        201410645731.1               CN105656785A                       CN                                 12-Nov-34                 12-Nov-14   Acoustic Echo cancellation
                                                                                                                                                                                                                 Providing A Coverage Enhanced Mode Of Operation
          815429    815429-EP-EPA                                       14305130.8                   EP2836032                          EP                                 30-Jan-34                 30-Jan-14   Within A Wireless Network
                                                                                                                                                                                                                 Apparatus, And Method For Cooling An Electronics
          815451    815451-EP-EPA                                       14306249.5                   EP2983460                          EP                                  7-Aug-34                 7-Aug-14    Chassis


          815453    815453-EP-EPA                                       14290362.4                   EP3029560                          EP                                  2-Dec-34                 2-Dec-14    A User Interface Interaction System And Method
                                                                                                                                                                                                                 Wireless Telecommunication Network Nodes And
          815473    815473-EP-EPA                                       14305112.6                   EP2903337                          EP                                 29-Jan-34                 29-Jan-14   Methods
                                                                                                                                                                                                                 A device, a method and a user equipment providing
          815484    815484-EP-EPA                                       14305386.6                   EP2922315                          EP                                 19-Mar-34                 19-Mar-14   direction information
                                                                                                                                                                                                                 Establishing Secure calls Between Communication
          815513    815513-IN-NP                                        2131/DEL/2014                                                   IN                                  28-Jul-34                28-Jul-14   Devices
                                                                                                                                                                                                                 Unified Loading Factor Model For Load Balancing
          815532    815532-CN-NP                                        201410443952.0               CN105450537A                       CN                                  2-Sep-34                 2-Sep-14    And Overload Control


                                                                                                                                                                                                                 Prioritising Requests For Communication Resources
          815553    815553-DE-EPA          EP2903364                    14305123.3                   EP2903364                          DE              3-May-17           30-Jan-34                 30-Jan-14   For Device To Device Wireless Communication


                                                                                                                                                                                                                 Prioritising Requests For Communication Resources
          815553    815553-FR-EPA          EP2903364                    14305123.3                   EP2903364                          FR              3-May-17           30-Jan-34                 30-Jan-14   For Device To Device Wireless Communication


                                                                                                                                                                                                                 Prioritising Requests For Communication Resources
          815553    815553-GB-EPA          EP2903364                    14305123.3                   EP2903364                          GB              3-May-17           30-Jan-34                 30-Jan-14   For Device To Device Wireless Communication
          815556    815556-US-NP                                        14/261519                    20150312771                        us                                 25-Apr-34                 25-Apr-14   Small Cell Deployment Systems And Methods
          815567    815567-EP-EPA                                       14290219.6                   EP2975789                          EP                                  18-Jul-34                18-Jul-14   Optical Transmitter


                                                                                                                                                                                                                 Using Temporary Access Number To Set Many
          815599    815599-CN-NP                                        201410305958.1               CN105338465A                       CN                                 30-Jun-34                 30-Jun-14   Mobile Devices Operating Mode Simultaneously
          815727    815727-EP-EPA                                       14290056.2                   EP2916385                          EP                                  7-Mar-34                 7-Mar-14    Ea Polymer Based Antenna Phase Control
                                                                                                                                                                                                                 METHOD, NETWORK DEVICE, SYSTEM AND
                                                                                                                                                                                                                 COMPUTER-READABLE MEDIUM FOR ESTIMATING A
          815734    815734-EP-EPA                                       14305862.6                   EP2953314                          EP                                  6-Jun-34                 6-Jun-14    COMMUNICATION SERVICE
                                                                                                                                                                                                                 Providing Protection To A Service In A
          815759    815759-DE-EPA          EP2975809                    14306171.1                   EP2975809                          DE              15-Feb-17           18-Jul-34                18-Jul-14   Communication Network
                                                                                                                                                                                                                 Providing Protection To A Service In A
          815759    815759-ES-EPA          EP2975809                    14306171.1                   EP2975809                          ES              15-Feb-17           18-Jul-34                18-Jul-14   Communication Network
                                                                                                                                                                                                                 Providing Protection To A Service In A
          815759    815759-FR-EPA          EP2975809                    14306171.1                   EP2975809                          FR              15-Feb-17           18-Jul-34                18-Jul-14   Communication Network
                                                                                                                                                                                                                 Providing Protection To A Service In A
          815759    815759-GB-EPA          EP2975809                    14306171.1                   EP2975809                          GB              15-Feb-17           18-Jul-34                18-Jul-14   Communication Network
                                                                                                                                                                                                                 Providing Protection To A Service In A
          815759    815759-IT-EPA          EP2975809                    14306171.1                   EP2975809                           IT             15-Feb-17           18-Jul-34                18-Jul-14   Communication Network
                                                                                                                                                                                                                 Method of enhanced FEC in video routing conference
          815785    815785-EP-EPA                                       14306349.3                   EP2993855                          EP                                  2-Sep-34                 2-Sep-14    system
                                                                                                                                                                                                                 Lightweight Directory Access Protocol Combined
          815804    815804-CN-NP                                        201410508738.9               CN105528343A                       CN                                 28-Sep-34                 28-Sep-14   Request/Result Control
                                                                                                                                                                                                                 A Cabinet For Housing Electric And/Or Electronic
          815814    815814-EP-EPA                                       14290202.2                   EP2975919                          EP                                  14-Jul-34                14-Jul-14   Components


                                                                                                                                                                                                                 MULTILEVEL ENCODING FOR IMPROVING MEMORY
          815818    815818-EP-EPA                                       14183086.9                   EP2991231                          EP                                  1-Sep-34                 1-Sep-14    EFFICIENCY IN MULTISTAGE DECODING
                                                                                                                                                                                                                 Control Of Congestion Window Size Of An
          815821    815821-US-NP                                        14/562050                    20150236966                        us                                  5-Dec-34                 5-Dec-14    Information Transmission Connection
                                                                                                                                                                                                                 Method Of Optical Data Transmission Using Hybrid
          815912    815912-EP-EPA                                       14306060.6                   EP2963847                          EP                                 30-Jun-34                 30-Jun-14   Phase Modulation
          815915    815915-US-NP           US9167079                    14/444591                                                       us              20-Oct-15           28-Jul-34                28-Jul-14   Subscriber Cable Pair Identification


                                                                                                                                                                                                                 Method For Manufacturing An Optical Transmitter By
                                                                                                                                                                                                                 Growth Of Structures On A Thin lnp Buffer Bonded
          815945    815945-EP-EPA                                       14306985.4                   EP3032661                          EP                                  9-Dec-34                 9-Dec-14    Onto A Silicon Based Substrate


                                                                                                                                                                                                                 Switch Mode Power Amplifier Architecture
          815961    815961-EP-EPA                                       14172054.0                   EP2955845                          EP                                 12-Jun-34                 12-Jun-14   Comprising A Polyharmonic Reconstruction Filter
                                                                                                                                                                                                                 MULTIPLE TARIFF SWITCHES MANAGEMENT FOR
          815985    815985-EP-EPA                                       14306611.6                   EP3010181                          EP                                 13-Oct-34                 13-Oct-14   ADVICE OF CHARGE
          816030    816030-EP-EPA                                       14306527.4                   EP3003000                          EP                                 30-Sep-34                 30-Sep-14   A Cooler Device
          816031    816031-EP-EPA                                       14306526.6                   EP3002457                          EP                                 30-Sep-34                 30-Sep-14   AN ENERGY HARVERSTING TECHNIQUE
          816032    816032-EP-EPA                                       15305072.9                   EP3048643                          EP                                 23-Jan-35                 23-Jan-15   Device and Method


                                                                                                                                                                                                                 A Method For Controlling The Execution Of An
          816038    816038-EP-EPA                                       14306529.0                   EP3002699                          EP                                 30-Sep-34                 30-Sep-14   Application In A Virtual Computer Environment
                                                                                                                                                                                                                 Cloud Based Auto-Configuration For lnterdepedent
          816045    816045-CN-NP                                        201410835826.X               CN105791000A                       CN                                 26-Dec-34                 26-Dec-14   Applications
                                                                                                                                                                                                                 Encoder, Decoder, And Methods For Encoding And
          816097    816097-EP-EPA                                       14186535.2                   EP3001571                          EP                                 26-Sep-34                 26-Sep-14   Decoding




                                                                                                              Page 69 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0210
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 77 of 156
                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn             ~~:J~JfW
                                           :ia:~:A,m:::::::::::::::::
                                          liiitiiiiii~:il\::::'::•:•
                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm VOLUME BASED MANAGEMENT OF MULTIPLE TARIFF
          816099    816099-EP-EPA                                       14306610.8                   EP3010180                          EP                                 13-0ct-34                 13-Oct-14   SWITCHES
                                                                                                                                                                                                                 Background Music Service In Core Network Of
          816170    816170-CN-NP                                        201410447377.1               CN105391876A                       CN                                  3-Sep-34                 3-Sep-14    Telecommunications Systems

                                                                                                                                                                                                                 Low Complexity User Equipment and Their Operation
          816172    816172-EP-EPA                                       14305682.8                   EP2942986                          EP                                 9-May-34                  9-May-14    Within Wireless Communication Networks
                                                                                                                                                                                                                 Method Supporting Centralized Mobile
          816173    816173-CN-NP                                        201410460877.9               CN105472728A                       CN                                 11-Sep-34                 11-Sep-14   Position/Location Centers
                                                                                                                                                                                                                 Method For Managing Access To An Access Node,
                                                                                                                                                                                                                 Device, Network,
          816200    816200-EP-EPA                                       14305680.2                   EP2943037                          EP                                 9-May-34                  9-May-14    Node And Computer Program Product
                                                                        PCT/EP2016/05622                                                                                                                         A method for generation of a pulse pattern, and a
          816254    816254-WO-PCT                                                                    2016156105                        WO                                  22-Mar-36                 22-Mar-16   transmitter therefor
                                                                                                                                                                                                                 A method for generation of a pulse pattern, and a
          816254    816254-EP-EPA                                       15305459.8                   EP3076547                          EP                                 30-Mar-35                 30-Mar-15   transmitter therefor


                                                                                                                                                                                                                 Method Of Compensating Chromatic Dispersion And
                                                                                                                                                                                                                 Nonlinear Impairments Of An Optical Transmission
          816293    816293-EP-EPA                                       14306469.9                   EP3001583                          EP                                 24-Sep-34                 24-Sep-14   Path Using Digital Backpropagation


          816408    816408-EP-EPA                                       14306858.3                   EP3024195                          EP                                 24-Nov-34                 24-Nov-14   Method And Devices For Multimedia Conferencing
                                                                                                                                                                                                                 Receiver, Method For A Receiver And Computer
          816497    816497-EP-EPA                                       14307101.7                   EP3035564                          EP                                 19-Dec-34                 19-Dec-14   Program
          816526    816526-EP-EPA                                       14306263.6                   EP2983441                          EP                                  8-Aug-34                 8-Aug-14    Device-to-Device Communication


                                                                                                                                                                                                                 An Optical Regenerator, An Optical Transceiver, And
          816580    816580-EP-EPA                                       15153491.4                   EP3051722                          EP                                  2-Feb-35                 2-Feb-15    Associated Optical Regeneration System
                                                                                                                                                                                                                 Selection Of Ues For Signalling Based MBMS MDT
          816588    816588-EP-EPA                                       14180073.0                   EP2983397                          EP                                  6-Aug-34                 6-Aug-14    Log Retrieval
                                                                                                                                                                                                                 Facilitating Direct User Equipment to User Equipment
          816629    816629-EP-EPA                                       14306256.0                   EP2983387                          EP                                  7-Aug-34                 7-Aug-14    Transmission


                                                                                                                                                                                                                 Systems And Methods For Localizing Audio Streams
          816681    816681-US-CNT                                       15/188046                    20160302009                        us                                 30-Sep-34                 21-Jun-16   Via Acoustic Large Scale Speaker Arrays


                                                                                                                                                                                                                 Apparatuses, Methods and Computer Programs
                                                                                                                                                                                                                 Suitable for Providing Information Related to a
                                                                                                                                                                                                                 Quality of One or More Wireless Fronthaul Links
                                                                                                                                                                                                                 between a Base Band Unit and One or More Radio
          816763    816763-EP-EPA                                       15305101.6                   EP3051861                          EP                                 29-Jan-35                 29-Jan-15   Units of a Base Station Transceiver


                                                                                                                                                                                                                 Input Module And c.entral Control Unit For A
          816780    816780-EP-EPA                                       14306946.6                   EP3029953                          EP                                  4-Dec-34                 4-Dec-14    Switching System And Switching System Thereof
                                                                                                                                                                                                                 A Solution To Support Presence Reporting Area For
          816791    816791-CN-NP                                        201510005011.3               CN105827569A                       CN                                  5-Jan-35                 5-Jan-15    IMS Over LTE
                                                                                                                                                                                                                 DEVICE FOR ALIGNING AND FASTENING AN OPTICAL
                                                                                                                                                                                                                 ELEMENT COUPLED TO AN OPTOELECTRONIC
          816825    816825-EP-EPA                                       15305007.5                   EP3043198                          EP                                  6-Jan-35                 6-Jan-15    COMPONENT


          816838    816838-EP-EPA                                       14307030.8                   EP3035758                          EP                                 15-Dec-34                 15-Dec-14   Coexistence Of Cellular And Non-Cellular Systems
                                                                                                                                                                                                                 Methods, Server And Client For Multi-part Interactive
          816847    816847-EP-EPA                                       15305391.3                                                      EP                                 17-Mar-35                 17-Mar-15   Content Delivery
                                                                                                                                                                                                                 Optical Device With Integrated Reflector(s)
                                                                                                                                                                                                                 Comprising A Loop Reflector Integrating A Mach-
          816858    816858-EP-EPA                                       14307007.6                   EP3032303                          EP                                 11-Dec-34                 11-Dec-14   Zehnder Interferometer
                                                                                                                                                                                                                 An Antenna Element, An Interconnect, A Method And
          816865    816865-EP-EPA                                       15305252.7                   EP3059803                          EP                                 19-Feb-35                 19-Feb-15   An Antenna Array
                                                                                                                                                                                                                 Parallelization Of Scalable Delta Sigma Modulator
          816901    816901-EP-EPA                                       14306827.8                   EP3024147                          EP                                 18-Nov-34                 18-Nov-14   With Reset Function


                                                                                                                                                                                                                 Apparatus, Optical Receiver, Method And Computer
                                                                                                                                                                                                                 Program For Processing A First And A Second
                                                                                                                                                                                                                 Electrical Signal Based On A Polarization Multiplexed
          816933    816933-EP-EPA                                       14306613.2                   EP3010166                          EP                                 13-Oct-34                 13-Oct-14   Signal Comprising Two Polarizations
                                                                                                                                                                                                                 Methods For Designing Receiver And Transmitter
          816946    816946-EP-EPA                                       14306664.5                   EP3010165                          EP                                 17-Oct-34                 17-Oct-14   Modules


                                                                                                                                                                                                                 Stokes-Vector-Based Transmission And Detection Of
          816962    816962-US-NP           US9641279                    14/596912                    20160204894                        us              2-May-17           19-Mar-35                 14-Jan-15   Optical Polarization-Division-Multiplexed Signals
          816996    816996-EP-EPA                                       15305605.6                   EP3086202                          EP                                 22-Apr-35                 22-Apr-15   Thermal Interface
                                                                                                                                                                                                                 METHOD TO MANAGE THE ACCESS RIGHTS
                                                                                                                                                                                                                 ASSOCIATED TO A DATAFLOW SYSTEM AND
          817006    817006-EP-EPA                                       15305804.5                   EP3098746                          EP                                 28-May-35                 28-May-15   COMPUTER-READABLE MEDIUM
                                                                                                                                                                                                                 Method And Apparatus For Making An Optical Fiber
          817013    817013-US-NP                                        14/670816                    20160282569                        us                                 27-Mar-35                 27-Mar-15   Array


                                                                                                                                                                                                                 METHOD, USER EQUIPMENT, BASE STATION AND
                                                                                                                                                                                                                 COMPUTER-READABLE MEDIUM FOR TRANSMITTING
          817145    817145-EP-EPA                                       14306786.6                   EP3018959                          EP                                  7-Nov-34                 7-Nov-14    A BUFFER STATUS REPORT MESSAGE
                                                                                                                                                                                                                 Broadcast At MBSFN Granularity In MBMS
          817157    817157-EP-EPA                                       14192113.0                   EP3018964                          EP                                  6-Nov-34                 6-Nov-14    Distributed Architecture


                                                                                                                                                                                                                 Method For Improving Signal Transmission Quality In
          817161    817161-EP-EPA                                       15290154.2                   EP3104537                          EP                                 10-Jun-35                 10-Jun-15   An Optical Network And Associated Equipment
          817163    817163-EP-EPA                                       14306808.8                   EP3021354                          EP                                 14-Nov-34                 14-Nov-14   AFluidicPump
                                                                                                                                                                                                                 Methods And Devices For Transmission Of Interactive
          817173    817173-EP-EPA                                       15305248.5                   EP3059972                          EP                                 19-Feb-35                 19-Feb-15   Content
                                                                                                                                                                                                                 A Method, An Apparatus And A Computer Program
                                                                                                                                                                                                                 For Decoding A Receive Signal Carrying Encoded Data
          817182    817182-EP-EPA                                       15305631.2                   EP3086496                          EP                                 24-Apr-35                 24-Apr-15   Values
                                                                                                                                                                                                                 Method For Providing A Bidrectional Optical Timing
          817191    817191-CN-NP                                        201510128748.4               CN106162382A                       CN                                 23-Mar-35                 23-Mar-15   Channel Over OTN
                                                                                                                                                                                                                 Method And Device for Transmission Of Web
          817244    817244-EP-EPA                                       15305083.6                   EP3051438                          EP                                 27-Jan-35                 27-Jan-15   Content


                                                                                                                                                                                                                 AN OPTICAL NODE AND ASSOCIATED METHOD FOR
          817272    817272-EP-EPA                                       15305138.8                   EP3051724                          EP                                 30-Jan-35                 30-Jan-15   SIMULTANEOUS RECEIVING OF OPTICAL SIGNALS
                                                                                                                                                                                                                 A Method And System For Scaling,
                                                                                                                                                                                                                 Telecommunications Network And Computer
          817292    817292-EP-EPA                                       14306797.3                   EP3021521                          EP                                 11-Nov-34                 11-Nov-14   Program Product




                                                                                                              Page 70 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0211
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 78 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn                      ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr     'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm     Method And Device For Transmission Of Media
            817378           817378-EP-EPA                                                15305001.8                   EP3041193                          EP                                    5-Jan-35                 5-Jan-15        Content
                                                                                                                                                                                                                                         Determining Dynamic User Attributes Using Dynamic
            817379           817379-EP-EPA                                                15157715.2                   EP3035648                          EP                                    5-Mar-35                 5-Mar-15        Host Configuration Protocol


                                                                                                                                                                                                                                         Signal Transformation Circuitry, Method For A Signal
            817426           817426-EP-EPA                                                14307102.5                   EP3035623                          EP                                   19-Dec-34                 19-Dec-14       Transformation Circuitry And Computer Program


            817476           817476-US-NP                     US9405070                   14/713284                                                       us               2-Aug-16            15-May-35                 15-May-15       Optical Buffer With A Signal-Switching Capability
            817483           817483-EP-EPA                                                15306290.6                   EP3131347                          EP                                   13-Aug-35                 13-Aug-15       Energy-Efficient Scheduling
                                                                                          PCT/EP2016/06892                                                                                                                               Energy-Efficient Scheduling
            817483           817483-WO-PCT                                                                             2017025525                        WO                                     9-Aug-36                 9-Aug-16
                                                                                                                                                                                                                                         Carrier Phase Estimation At A Coherent Optical
            817510           817510-EP-EPA                                                15305959.7                   EP3110043                          EP                                   22-Jun-35                 22-Jun-15       Receiver
                                                                                                                                                                                                                                         Method For Monitoring A User Equipment Specific
                                                                                                                                                                                                                                         Search Space, User Equipment, A Node And A
            817536           817536-EP-EPA                                                15305136.2                   EP3051738                          EP                                   30-Jan-35                 30-Jan-15       Computer Program Product
                                                                                                                                                                                                                                         Predicting the State of Wireless Links Based on Radio
            817562           817562-EP-EPA                                                15305429.1                   EP3073776                          EP                                   24-Mar-35                 24-Mar-15       Maps
                                                                                                                                                                                                                                         Predicting The Trajectory Of Vehicular Users Based
            817563           817563-EP-EPA                                                15305428.3                   EP3073460                          EP                                   24-Mar-35                 24-Mar-15       On Road Maps And Mobility History
                                                                                                                                                                                                                                         Apparatus And Metod For Regenerating Symbols Of A
            817662           817662-EP-EPA                                                15305630.4                   EP3086525                          EP                                   24-Apr-35                 24-Apr-15       Modulation Scheme
                                                                                                                                                                                                                                         Method For Optimizing An Optical Network By
                                                                                                                                                                                                                                         Analysis Of Statistical Values Associated To
            817708           817708-EP-EPA                                                15305706.2                   EP3091698                          EP                                   7-May-35                  7-May-15        Parameters
                                                                                                                                                                                                                                         Method For Managing Routing In A Content
            817727           817727-EP-EPA                                                15161973.1                   EP3076741                          EP                                   31-Mar-35                 31-Mar-15       Distribution Network In A Mobile Network
                                                                                                                                                                                                                                         Method For Modifying Thermal Performance And A
            817799           817799-EP-EPA                                                15305372.3                   EP3067471                          EP                                   12-Mar-35                 12-Mar-15       Cooling System
                                                                                                                                                                                                                                         A Cooling System, A Method For Cooling And An
                                                                                                                                                                                                                                         Electronic Apparatus
            817806           817806-EP-EPA                                                15305371.5                   EP3068203                          EP                                   12-Mar-35                 12-Mar-15


                                                                                                                                                                                                                                         A Technique Of Simultaneous Signature Detecting
            818229           818229-CN-NP                                                 201510843808.0               CN106803819A                       CN                                   26-Nov-35                 26-Nov-15       And Information Transmitting System


                                                                                                                                                                                                                                         An Adaptive Antenna Array and an Apparatus and
            818246           818246-EP-EPA                                                15306264.1                   EP3128612                          EP                                    4-Aug-35                 4-Aug-15        Method for Feeding Signals to an Adaptive Array


            818307           818307-CN-NP                                                 201510848699.1                                                  CN                                   27-Nov-35                 27-Nov-15       Devices And Methods Related To RF Connection


                                                                                                                                                                                                                                         Methods, Apparatuses And Systems For Enhancing
            818422           818422-US-NP                                                 14/826696                    20170048812                        us                                   14-Aug-35                 14-Aug-15       Measurement Gap In Asynchronous Networks
                                                                                                                                                                                                                                         Verfahren und Steuereinrichtungfureinen
94935                        94935-US-NP                      US6092106                   08/991674                                                us                         18-Jul-OO             16-Dec-17                16-Dec-97
                                                                                                                                                                                                                                         Abholdienst von Oaten


        Aakalu 2-2 {NG)      Aakalu 2-2 {NG)-US-NP            US5915466                   09/008726                                                       us              29-Jun-99            19-Jan-18                 19-Jan-98       Heat Dissipating Structure For An Electrical Assembly


    Aakalu 3-1-6-3 {NG)      Aakalu 3-1-6-3 {NG)-US-NP        US5953207                   09/109255                                                       us              14-Sep-99            30-Jun-18                 30-Jun-98       Thermally Conductive Enclosure For A Battery
                                                                                                                                                                                                                                         Protective Shutter Assembly For A Forced Air Cooling
        Aakalu 4-1 {NG)      Aakalu 4-1 {NG)-US-NP            US6042348                   09/075479                                                       us              28-Mar-OO            11-May-18                 11-May-98       System
                                                                                                                                                                                                                                         Combined Solar Shield And Antenna Ground Plane
     Aakalu 6-7-1 {NG)       Aakalu 6-7-1 {NG)-US-NP          US5986618                   09/137906                                                       us              16-Nov-99            21-Aug-18                 21-Aug-98       Structure For An Electrical Assembly


     Aakalu 7-2-2 {NG)       Aakalu 7-2-2 {NG)-US-NP          US6008475                   09/158593                                                       us              28-Dec-99            22-Sep-18                 22-Sep-98       Heat Providing Structure For An Electrical Assembly
                             Abdelgadir 7-6-34-11 (MAJ-US-                                                                                                                                                                               Alignment Mark Having A Protective Oxide Layer For
 Abdelgadir 7-6-34-11 (MA)   NP                               US6624039                   09/615122                                                       us              23-Sep-03             13-Jul-20                13-Jul-OO       Use With Shallow Trench Isolation
                                                                                                                                                                                                                                         Method And Apparatus For Designing Various
   Abed 1-1-1-1-1-6(MI)      Abed 2-2-3-2-12-7 (Ml)-US-DIV    US7680495                   11/118728                    20050202811                        us              16-Mar-10            25-May-25                 29-Apr-05       Network Configuration Scenarios


     Abel 1-8-1-11 (JN)      Abel 1-8-1-11 (JN)-US-NP         US5987203                   08/947598                                                       us              16-Nov-99             9-0ct-17                 9-0ct-97        Distribution Module For Optical Couplings
         Abel 2-9 (JN)       Abel 2-9 (JN)-US-NP              US5930425                   09/063505                                                       us               27-Jul-99           21-Apr-18                 21-Apr-98       High Density Coupling Module
                                                                                                                                                                                                                                         Method And Apparatus For Determination Of A
                                                                                                                                                                                                                                         Power Level In A RF Booster ForWireless
   Aboukhalil 2-3-1 (JC)     Aboukhalil 2-3-1 (JC)-US-NP      US6175748                   09/020555                                                       us              16-Jan-Ol             9-Feb-18                 9-Feb-98        Communications
                                                                                                                                                                                                                                         Low Voltage Cutoff Circuit With Short Circuit
                                                                                                                                                                                                                                         Detection Capability And Method Of Operation
    Aboyoussef 1-1 (A)       Aboyoussef 2-2 (A)-US-CNT        US6339526                   09/354821                                                       us              15-Jan-02              1-Jul-18                16-Jul-99       Thereof
                             Abramov 1-4-7-15-31 (AA)-US-                                                                                                                                                                                Method And Apparatus For Monitoring Multi-
 Abramov 1-4-7-15-31 (AA)    NP                               US6078709                   08/968554                                                       us              20-Jun-OO            12-Nov-17                 12-Nov-97       Wavelength Optical Systems
                                                                                                                                                                                                                                         Parallel Backtracing For Satisfiability On
  Abramovici 14-1-3 (M)      Abramovici 14-1-3 (M)-US-NP      US6292916                   09/209405                                                       us              18-Sep-Ol            10-Dec-18                 10-Dec-98       Reconfigurable Hardware
                                                                                                                                                                                                                                         Virtual Logic System For Solving Satisfiability
   Abramovici 16-2 (M)       Abramovici 16-2 (M)-US-NP        US6442732                   09/295534                                                       us              27-Aug-02            21-Apr-19                 21-Apr-99       Problems Using Reconfigurable Hardware
                             Abramovici 2-2-6-20 (GM)-US-
 Abramovici 2-2-6-20 (GM)    NP                               US6389298                   09/228266                                                       us              14-May-02            11-Jan-19                 11-Jan-99       Signaling To Support Wireless Service Redirection
                             Abramovici 3-6-13-30 (GM)-US-                                                                                                                                                                               Wireless Service Redirection Signaling Based On
 Abramovici 2-2-6-20 (GM)    CNT                              US6941142                   10/095625                    20020090916                        us               6-Sep-05             8-Jun-20                 12-Mar-02       Protocol Revision


                                                                                                                                                                                                                                         Generation Of Wave Functions By Storage Of
        Abreu 1-13 (E)       Abreu 1-13 (E)-US-NP             US5861568                   09/050153                                                       us              19-Jan-99            30-Mar-18                 30-Mar-98       Parameters For Piecewise Linear Approximations
                                                                                                                                                                                                                                         Methods Of Determining Cells For Deletion In
  Abusch-Magder2-l(D)        Abusch-Magder 2-1 (DJ-US-NP      US7206584                   10/787149                    20050192015                        us              17-Apr-07            21-Aug-24                 27-Feb-04       Network Design


 Abusch-Magder3-1-l(D)       Abusch-Magder 3-1-1 (DJ-US-NP    US7639988                   11/072439                    20060199545                        us              29-Dec-09             10-Jul-26                7-Mar-05        Methods Of Simplifying Network Simulation


   Abusch-Magder4(D)         Abusch-Magder 4 (DJ-US-NP        US7181248                   11/200937                                                       us              20-Feb-07            17-Aug-25                 10-Aug-05       Design And Construction Of Wireless Systems


                                                                                                                                                                                                                                         Palladium Surface Coatings Suitable For Wirebonding
     Abys 34-1-3 (JA)        Abys 34-1-3 (JA)-US-NP           US6139977                   09/095237                                                       us              31-0ct-OO            10-Jun-18                 10-Jun-98       And Process For Forming Palladium Surface Coatings
                                                                                                                                                                                                                                         Improved Hydrodynamically Controlled Hull Cell And
     Abys 36-3-8 (JA)        Abys 36-3-8 (JA)-US-NP           US6139711                   09/251547                                                       us              31-0ct-OO            17-Feb-19                 17-Feb-99       Method Of Use
                                                                                                                                                                                                                                         Electroplating Solution For Electroplating Lead And
     Abys 37-1-2 (JA)        Abys 37-1-2 (JA)-US-NP           US6267863                   09/246001                                                       us               31-Jul-01            5-Feb-19                 5-Feb-99        Lead /Tin Alloys


        Abys 38-9 (JA)       Abys 38-9 (JA)-US-NP             US6126807                   09/302360                                                       us               3-0ct-00            30-Apr-19                 30-Apr-99       Process For Making Sodium Gold Sulfite Solution
                                                                                                                                                                                                                                         Process For Making Gold Salt For Use In
        Abys 38-9 (JA)       Abys 48-13 (JA)-US-DIV           US6423202                   09/606957                                                       us               23-Jul-02           30-Apr-19                 30-Jun-OO       Electroplating Process


    Abys 39-1-2-10 (JA)      Abys 39-1-2-10 (JA)-US-NP        US6241870                   09/306033                                                       us               5-Jun-01             6-May-19                 6-May-99        Rhodium Sulfate Compounds and Rhodium Plating




                                                                                                                                Page 71 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0212
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 79 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                             :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Metal Article Coated With Multilayer Surface Finish
      Abys 44-8 (JA)        Abys 44-8 (JA)-DE-EPA            EP1086807                    00307862.3          EP1086807                             DE                    10-Nov-04          11-Sep-20                 11-Sep-00   For Porosity Reduction
                                                                                                                                                                                                                                   Metal Article Coated With Multilayer Surface Finish
      Abys 44-8 (JA)        Abys 44-8 (JA)-GB-EPA            EP1086807                    00307862.3          EP1086807                             GB                    10-Nov-04          11-Sep-20                 11-Sep-00   For Porosity Reduction
                                                                                                                                                                                                                                   Metal Article Coated With Multilayer Surface Finish
      Abys 44-8 (JA)        Abys 44-8 (JA)-H K-NP            HK1032562                    01103046.7          1032562A                              HK                    18-Mar-05          11-Sep-20                 11-Sep-00   For Porosity Reduction
                                                                                                                                                                                                                                   Metal Article Coated With Multilayer Surface Finish
      Abys 44-8 (JA)        Abys 44-8 (JA)-KR-NP             KR783847                     20000055641                                               KR                     3-Dec-07          22-Sep-20                 22-Sep-00   For Porosity Reduction
                                                                                                                                                                                                                                   Metal Article Coated With Multilayer Surface Finish
      Abys 44-8 (JA)        Abys 44-8 (JA)-US-NP             US6335107                    09/404059                                                 us                     1-Jan-02          23-Sep-19                 23-Sep-99   For Porosity Reduction
                                                                                                                                                                                                                                   Ultra-Thin Composite Surface Finish For Electronic
   Abys 49-2-11-1-3 (JA)    Abys 49-2-11-1-3 (JA)-US-NP      US6452258                    09/707042                                                 us                    17-Sep-02           6-Nov-20                 6-Nov-00    Packaging


   Abys 53-1-3-7-7 (JA)     Abys 53-1-3-7-7 (JA)-US-NP       US6542232                    09/887826                                                 us                     1-Apr-03          22-Jun-21                 22-Jun-0l   Method Of Determining The Quality Of Hard Gold
                                                                                                                                                                                                                                   Solder Electroplating Bath Including Brighteners
    Abys 55-1-2-9 (JA)      Abys 55-1-2-9 (JA)-US-NP         U56730209                    10/081326                                                 us                    4-May-04           22-Feb-22                 22-Feb-02   Having Reduced Volatility
                                                                                                                                                                                                                                   System And Method For Multi-Protocol Label
   Acharya 16-5-5-6 (5)     Acharya 16-5-5-6 (5)-JP-NP       JP4917742                    2004135595          2004336777                            JP                     3-Feb-12          30-Apr-24                 30-Apr-04   Switching Network Tuning
                                                                                                                                                                                                                                   System And Method For Multi-Protocol Label
   Acharya 16-5-5-6 (5)     Acharya 16-5-5-6 (5)-US-NP       US7872976                    10/428464           20040218595                           us                    18-Jan-11          28-Nov-27                 2-May-03    Switching Network Tuning


                                                                                                                                                                                                                                   System And Method For Rerouting Circuits On SO NET
   Acharya 17-6-6-7 (5)     Acharya 17-6-6-7 (5)-US-NP       US7864690                    10/637289           20050030901                           us                     4-Jan-11          9-May-28                  8-Aug-03    And SDH Rings Without Disrupting Service
                                                                                                                                                                                                                                   Route Determination Method And Apparatus For
   Acharya 19-7-7-8 (5)     Acharya 19-7-7-8 (5)-US-NP       US7518990                    10/745881           20050147081                           us                    14-Apr-09           3-Jan-27                 26-Dec-03   Virtually-Concatenated Data Traffic
                                                                                                                                                                                                                                   Link Delay Determination Using Virtual
   Acharya 21-8-8-10 (5)    Acharya 21-8-8-10 (5)-US-NP      US8289859                    10/853422           20050265251                           us                    16-Oct-12           2-Jun-29                 25-May-04   Concatenation
                                                                                                                                                                                                                                   Differential Delay Constrained Routing For Virtually-
    Acharya 22-9-11 (5)     Acharya 22-9-11 (5)-US-NP        US7408881                    10/949638           20060067235                           us                     5-Aug-08           9-Jun-26                 24-Sep-04   Concatenated Data Traffic
                                                                                                                                                                                                                                   Packet-Aware Transport Architecture For Enhanced
     Acharya 27-11 (5)      Acharya 27-11 (5)-US-NP          US7675899                    11/290873           20070121658                           us                    9-Mar-10            7-Jan-29                 30-Nov-05   Data Volume
                                                                                                                                                                                                                                   Computer Implemented Method And Apparatus For
                                                                                                                                                                                                                                   Providing A Logical Point Of Access To One Or More
     Acharya 3-6-8 (5)      Acharya 3-6-8 (SJ-DE-EPA         EP0998097                    99306683.6          EP0998097                             DE                    25-May-05          23-Aug-19                 23-Aug-99   Files
                                                                                                                                                                                                                                   Computer Implemented Method And Apparatus For
                                                                                                                                                                                                                                   Providing A Logical Point Of Access To One Or More
     Acharya 3-6-8 (5)      Acharya 3-6-8 (SJ-FR-EPA         EP0998097                    99306683.6          EP0998097                             FR                    25-May-05          23-Aug-19                 23-Aug-99   Files
                                                                                                                                                                                                                                   Computer Implemented Method And Apparatus For
                                                                                                                                                                                                                                   Providing A Logical Point Of Access To One Or More
     Acharya 3-6-8 (5)      Acharya 3-6-8 (SJ-GB-EPA         EP0998097                    99306683.6          EP0998097                             GB                    25-May-05          23-Aug-19                 23-Aug-99   Files
                                                                                                                                                                                                                                   Computer Implemented Method And Apparatus For
                                                                                                                                                                                                                                   Providing A Logical Point Of Access To One Or More
     Acharya 3-6-8 (5)      Acharya 3-6-8 (5)-US-NP          US7047483                    09/328607                                                 us                    16-May-06           9-Jun-19                 9-Jun-99    Files


    Acharya 6-11-7 (5)      Acharya 6-11-7 (5)-US-NP         US6353832                    09/310079                                                 us                    5-Mar-02           11-May-19                 11-May-99   Selectivity Estimation In Spatial Databases
                                                                                                                                                                                                                                   Adaptive Scheduling Of Data Delivery In A Central
    Acharya 8-15-3 (5)      Acharya 18-18-18 (5)-US-CNT      US7058946                    10/659757           20040083477                           us                     6-Jun-06          23-Jun-19                 10-Sep-03   Server
                                                                                                                                                                                                                                   A system And Method For Scheduling Data Delivery
    Acharya 9-16-4 (5)      Acharya 9-16-4 (5)-US-NP         US6502062                    09/337865                                                 us                    31-Dec-02          21-Jun-19                 21-Jun-99   Using Flow And Stretch Algorithms


                                                                                                                                                                                                                                   Method For Overload In A Telecommunications
       Adams 1 (RA)         Adams 1 (RAJ-US-NP               US6826268                    10/119517           20020159576                           us                    30-Nov-04          10-Apr-22                 10-Apr-02   Network And Apparatus Therefor
                                                                                                                                                                                                                                   Optical Add-Drop Module With Low Loss And High
   Adams 13-5-3-10 {LE)     Adams 13-5-3-10 {LE)-JP-NP       JP3745941                    2000177065                                                JP                     2-Dec-05          13-Jun-20                 13-Jun-00   Isolation
                                                                                                                                                                                                                                   Optical Add-Drop Module With Low Loss And High
   Adams 13-5-3-10 {LE)     Adams 13-5-3-10 {LE)-US-NP       US6577415                    09/333407                                                 us                    10-Jun-03          15-Jun-19                 15-Jun-99   Isolation
                                                                                                                                                                                                                                   Improved Interface Between Channel Units Of
     Adams 1-3-9 (RL)       Adams 1-3-9 (RL)-US-NP           U56788678                    09/454930                                                 us                     7-Sep-04           3-Dec-19                 3-Dec-99    Multiple Local Exchange Carriers
                            Adams 15-20-8-13-11-15 {LE)-US
 Adams 4-19-7-9-8-14 {LE)   DIV                              US6166837                    09/444471                                                 us                    26-Dec-00          17-Oct-17                 22-Nov-99   Laser Transmitter For Reduced SBS
                            Adams 16-21-9-14-12-16 {LE)-US
 Adams 4-19-7-9-8-14 {LE)   DIV                              US6331908                    09/444470                                                 us                    18-Dec-0l          17-Oct-17                 22-Nov-99   Laser Transmitter For Reduced SBS
                                                                                                                                                                                                                                   Single Port Random Access Memory Equipped With A
                                                                                                                                                                                                                                   Relief Module To Operate As A Dual Port Shared
       Adenl(CM)            Aden 1 (CM)-US-NP               U56771556                     10/097583                                                 us                     3-Aug-04          13-Mar-22                 13-Mar-02   Memory
                            Adleman 1-1-5-2-2-2-1-2 (R)-US-                                                                                                                                                                        Method For Automatically Provisioning A Network
Adleman 1-1-5-2-2-2-1-2 (R) NP                               US6920288                    10/093847                                                 us                     19-Jul-05         11-Dec-23                 8-Mar-02    Element
                                                                                                                                                                                                                                   Method And Apparatus For Restricting Call
    Agarwal 11-4-1 (A)      Agarwal 11-4-1 (A)-US-NP         US6920326                    09/845488           20020068578                           us                     19-Jul-05         12-Feb-23                 30-Apr-0l   Terminations When A Mobile Unit Is Roaming


                                                                                                                                                                                                                                   Method And System For Increasing The Capacity And
     Agarwal 1-5-4(A)       Agarwal 1-5-4 (A)-US-NP          US7123835                    10/351948           20040146297                           us                    17-Oct-06          12-Nov-24                 27-Jan-03   Spectral Efficiency Of Optical Transmission
                                                                                                                                                                                                                                   Using PSTN To Convey Participants IP Addresses For
        AGCS 100            AGCS 100 ()-US-NP                US6981022                    09/985696                                                 us                    27-Dec-05          24-Jan-24                 2-Nov-01    Multimedia Conferencing
        AGCS 103            AGCS 103 ()-US-NP                US6565370                    10/093922                                                 us                    20-May-03          11-Mar-22                 11-Mar-02   Connector Protection Bracket
        AGCS 104            AGCS 104 ()-US-NP                US6544311                    10/123475                                                 us                     8-Apr-03          17-Apr-22                 17-Apr-02   Chassis Thermal Zones
        AGCS 105            AGCS 105 ()-US-NP                US6698638                    10/150815           20030214771                           us                    2-Mar-04           20-May-22                 20-May-02   Printed Circuit Board Scrap Edge Removal Tool
        AGCS 106            AGCS 106 ()-US-NP                US7146001                    10/174878           20030235286                           us                     5-Dec-06          19-Mar-24                 19-Jun-02   Dynamic Essential Line Service


        AGCS 107            AGCS 107 ()-US-NP                U56796818                    10/225645           20040038571                           us                    28-Sep-04          21-Aug-22                 21-Aug-02   Card Extender With Insertion/Removal Arrangement


          AGCS65            AGCS 65 ()-US-NP                 US5930237                    08/885580                                                 us                     27-Jul-99         30-Jun-17                 30-Jun-97   Video Conference System With ATM Cell Reuse
                                                                                                                                                                                                                                   Device For Providing Disposable Sanitary Keyboard
          AGCS 67           AGCS 67 ()-US-NP                 US5944432                    08/988340                                                 us                    31-Aug-99          23-Oct-17                 23-Oct-97   Covers
                                                                                                                                                                                                                                   Method Of Accessing An IP In An ISDN Network With
          AGCS 68           AGCS 68 ()-US-NP                 US6215864                    09/005737                                                 us                    10-Apr-0l          12-Jan-18                 12-Jan-98   Partial Release
                                                                                                                                                                                                                                   Method Of Accessing a SCP In An ISUP Network With
          AGCS 69           AGCS 69 ()-US-NP                 US6075855                    09/020351                                                 us                    13-Jun-00           9-Feb-18                 9-Feb-98    Partial Release
          AGCS 70           AGCS 70 ()-US-NP                 US6021192                    09/020520                                                 us                     1-Feb-00           9-Feb-18                 9-Feb-98    Tone Detector
                                                                                                                                                                                                                                   Message Waiting Indicator In a Computer Integrated
          AGCS 72           AGCS 72 ()-US-NP                 US6292544                    09/055204                                                 us                    18-Sep-0l           6-Apr-18                 6-Apr-98    Telephony System
                                                                                                                                                                                                                                   Telephone Extension Switch Hook State Detection
          AGCS 73           AGCS 73 ()-US-NP                 US6041107                    09/070058                                                 us                    21-Mar-00          30-Apr-18                 30-Apr-98   System


                                                                                                                                                                                                                                   System For Providing Bridging Of Backplane
          AGCS 74           AGCS 74 ()-US-NP                 US6282599                    09/189184                                                 us                    28-Aug-01          10-Nov-18                 10-Nov-98   Expansion Slot Buses Between Two Adjacent Systems


          AGCS 76           AGCS 76 ()-TW-NP                 TWNl-138633                  88119039            TW448676                             TW                      1-Aug-01           2-Nov-19                 2-Nov-99    Dynamic Concentration Of Announcement Circuits


          AGCS 76           AGCS 76 ()-US-NP                 US6487287                    09/253879                                                 us                    26-Nov-02          22-Feb-19                 22-Feb-99   Dynamic Concentration Of Announcement Circuits




                                                                                                                      Page 72 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0213
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 80 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                               :ia:~:A,m:::::::::::::::::
                                                               liiitiiiiii~:il\::::'::•:•
                                                                                            :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm System For Programming Field Programmable
          AGCS 80            AGCS 80 ()-US-NP                   US6459297                   09/399571                                                          us               1-Oct-02          20-Sep-19                 20-Sep-99   Devices
          AGCS81             AGCS 81 ()-US-NP                   US6490450                   09/448749                                                          us               3-Dec-02          24-Nov-19                 24-Nov-99   Capture Mobile Subscriber Information
          AGCS83             AGCS 83 ()-US-NP                   US6882641                   09/511256                                                          us              19-Apr-05          23-Feb-20                 23-Feb-00   Call Center Queue Administration
          AGCS 84            AGCS 84 ()-US-NP                   U56798768                   09/511258                                                          us              28-Sep-04          23-Feb-20                 23-Feb-00   Multimedia call Routing In An IP Network
          AGCS 86            AGCS 86 ()-US-NP                   US6166547                   09/524600                                                          us              26-Dec-00          14-Mar-20                 14-Mar-00   Line Card Loss Of Battery Detector
                                                                                                                                                                                                                                        Called Party Identification In Packet Switched
          AGCS 88            AGCS 88 ()-US-NP                   US6678359                   09/544181                                                          us              13-Jan-04           6-Apr-20                 6-Apr-00    Networks
          AGCS 90            AGCS 90 ()-US-NP                   US6493442                   09/589528                                                          us              10-Dec-02           7-Jun-20                 7-Jun-00    AIN Triggers To Invoke Non-AIN Features
                                                                                                                                                                                                                                        Guaranteed Admission And Incremental Bandwidth
          AGCS 99            AGCS 99 ()-US-NP                   US6956857                   09/961773                                                          us              18-Oct-05          16-Apr-24                 24-Sep-0l   Allocation In a Packet Network
                                                                                                                                                                                                                                        System And Method For Multicast Conferencing And
     Aggarwal 1-11 (5)       Aggarwal 1-11 (5)-US-NP            US6154463                   08/917344                                                          us              28-Nov-00          26-Aug-17                 26-Aug-97   Online Discussion Groups
      Aggarwal3(5)           Aggarwal 3 (5)-US-NP               US7506370                   10/428722                     20040221154                          us              17-Mar-09          17-Mar-26                 2-May-03    Mobile Security Architecture
                                                                                                                                                                                                                                        Network Auto-Provisioning And Distributed
 Agrawal 2-1-4-25-2-5 (NJ    Agrawal 2-1-4-25-2-5 (NJ-US-NP     U56763190                   09/755613                                                          us               13-Jul-04          6-Apr-22                 5-Jan-01    Restoration
      Ahmed21(W)             Ahmed 21 (W)-US-NP                 US8295249                   10/126699                     20030198253                          us              23-Oct-12           4-Oct-30                 22-Apr-02   Block Size Detection For MPSK Signaling
                                                                                                                                                                                                                                        Distributed Dynamic Channel Allocation Technique
                                                                                                                                                                                                                                        For Multi-Carrier CDMA Cellular Systems With Mobile
       Ahmed5(W)             Ahmed 5 (W)-US-NP                  US7373151                   09/379675                                                          us              13-May-08          24-Aug-19                 24-Aug-99   Base Stations
                                                                                                                                                                                                                                        Method And Apparatus For Topology Sensing In
  Ahmed 6-6-8-3-19 (W)       Ahmed 6-6-8-3-19 (W)-US-NP         US7158484                   09/513325                                                          us               2-Jan-07          25-Feb-20                 25-Feb-00   Networks With Mobile Nodes
                                                                                                                                                                                                                                        Three-Dimensional Virtual Reality Enhancement
  Aho 3-13-4-10-12 (AV)      Aho 3-13-4-10-12 (AV)-US-NP        US6256043                   08/938304                                                          us               3-Jul-01          26-Sep-17                 26-Sep-97   Techniques
                                                                                                                                                                                                                                        Technique For Effectively Managing Resources In A
     Ahuja 14-1-1 (SR)       Ahuja 14-1-1 (SR)-US-NP            US6041307                   09/012866                                                          us              21-Mar-00          23-Jan-18                 23-Jan-98   Network


     Ahuja 17-1-2 (SR)       Ahuja 17-1-2 (SR)-US-NP            US6175869                   09/057274                                                          us              16-Jan-0l           8-Apr-18                 8-Apr-98    Client-Side Techniques For Web Server Allocation


                                                                                                                                                                                                                                        Method and apparatus for pricing links/paths based
                                                                                                                                                                                                                                        on a requested amount of bandwidth wherein links
      Ahuja 18-3 (SR)        Ahuja 18-3 (SR)-US-NP              US6411603                   09/122032                                                          us              25-Jun-02           23-Jul-18                23-Jul-98   can be load balanced by varying their costs
                                                                                                                                                                                                                                        Shaping Of An EM Field For Transmission To Multiple
      Aiken 5-11 (RT)        Aiken 5-11 (RT)-JP-NP             JP4762460                    2001287725                                                         JP              17-Jun-11          20-Sep-21                 20-Sep-0l   Terminals
                                                                                                                                                                                                                                        Shaping Of An EM Field For Transmission To Multiple
      Aiken 5-11 (RT)        Aiken 5-11 (RT)-US-NP              US7242964                   09/672512                                                          us               10-Jul-07          2-Jan-23                 28-Sep-00   Terminals


     Aizenberg 7-18 (J)      Aizenberg 7-18 (J)-US-NP           US7927783                   10/920673                     20060040213                          us              19-Apr-11          16-Mar-29                 18-Aug-04   Tunable Lithography With A Refractive Mask


                                                                                                                                                                                                                                        Method For Optimizing Stability Of A Line Interface
  Akhteruzzaman 10 (M)       Akhteruzzaman 10 (M)-JP-NP        JP3624121                    11231914                                                           JP               3-Dec-04          18-Aug-19                 18-Aug-99   Circuit In A Telecommunications Network


                                                                                                                                                                                                                                        Method For Optimizing Stability Of A Line Interface
  Akhteruzzaman 10 (M)       Akhteruzzaman 10 (M)-US-NP         US6353668                   09/138155                                                          us              5-Mar-02           21-Aug-18                 21-Aug-98   Circuit In A Telecommunications Network
                                                                                                                                                                                                                                        Telephone With Automatic Pause Responsive, Noise
  Akhteruzzaman 11 (M)       Akhteruzzaman 11 (M)-US-NP         US6212275                   09/108155                                                          us               3-Apr-01          30-Jun-18                 30-Jun-98   Reduction Muting And Method


                                                                                                                                                                                                                                        Method And Apparatus For Detecting And
                                                                                                                                                                                                                                        Announcing Pin Fraud On Coin Telephones That Use
  Akhteruzzaman15(M)         Akhteruzzaman 15 (M)-US-NP         US6104795                   09/206192                                                          us              15-Aug-00           4-Dec-18                 4-Dec-98    Battery Reversal Pulses To Meter Charges
                                                                                                                                                                                                                                        Method And System For Providing Redundancy In
                             Akhteruzzaman 18-4-7 (M)-US-                                                                                                                                                                               Security Systems Served By A Public Switched
 Akhteruzzaman 18-4-7 (M)    NP                                 US6067346                   09/215828                                                          us              23-May-00          18-Dec-18                 18-Dec-98   Telephone Network
                                                                                                                                                                                                                                        Enhanced Life-Line Service For cable Telephone
  Akhteruzzaman21-9(A)       Akhteruzzaman 21-9 (A)-US-NP       US6393104                   09/397563                                                          us              21-May-02          16-Sep-19                 16-Sep-99   Customers
                             Akhteruzzaman 27-16-11 (A)-US-                                                                                                                                                                             HandoffOf Phone Calls Between Wireless And Wired
Akhteruzzaman 27-16-11 (A) NP                                   US6584316                   09/565816                                                          us              24-Jun-03          5-May-20                  5-May-00    Networks
                             Akhteruzzaman 32-26-16 (A)-US-                                                                                                                                                                             System And Method For Managing Response To A
Akhteruzzaman 32-26-16 (A) NP                                   U56701156                   09/740362                     20020077137                          us              2-Mar-04           19-Dec-20                 19-Dec-00   Need At A Site
                             Akhteruzzaman 40-37-11 (A)-US-                                                                                                                                                                             Remembrance-Promoted Number Receipt For Call
Akhteruzzaman 40-37-11 (A) NP                                   US7110515                   10/128183                     20030198327                          us              19-Sep-06          22-Nov-22                 23-Apr-02   Allowance
                                                                                                                                                                                                                                        Common Connection Method For Flip-Chip
   Aksyuk 29-5-11 (VA)       Aksyuk 29-5-11 (VA)-US-NP          US7145248                   10/185249                     20040000724                          us               5-Dec-06          28-Jun-22                 28-Jun-02   Assembled Devices


     Aksyuk 34-5 (VA)        Aksyuk 34-5 (VA)-JP-NP            JP4891559                    2005100620                    2005288688                           JP              22-Dec-11          31-Mar-25                 31-Mar-05   Tip-Ti It-Piston Actuator


     Aksyuk 34-5 (VA)        Aksyuk 34-5 (VA)-US-NP             US7068409                   10/813951                     20050219675                          us              27-Jun-06          31-Mar-24                 31-Mar-04   Tip-Ti It-Piston Actuator


   Aksyuk 49-25-17 (VA)      Aksyuk 49-25-17 (VA)-US-NP         US8154378                   11/836860                     20090040008                          us              10-Apr-12           26-Jul-28                10-Aug-07   Thermal Actuator For A MEMS-Based Replay Switch


   Aksyuk 51-28-19 (VA)      Aksyuk 51-28-19 (VA)-US-NP         US7733200                   11/904949                     20090085699                          us               8-Jun-10          19-Jan-28                 29-Sep-07   MEMS Actuator
                                                                                                                                                                                                                                        System For Alerting A Network Of Changes In
     Alamineh 1 (DAS)        Alamineh 1 (DAS)-US-NP             US6914877                   09/410249                                                          us               5-Jul-05          30-Sep-19                 30-Sep-99   Operational Status Of Communication Links
                                                                                                                                                                                                                                        Method And Apparatus For Analyzing The Progress
 Alexander 1-1-1-2-1-4-2-1   Alexander 1-1-1-2-1-4-2-1 {EG)-                                                                                                                                                                            Of A Software Upgrade On A Telecommunications
           {EG)              US-NP                              US6691300                   09/430983                                                          us              10-Feb-04           1-Nov-19                 1-Nov-99    Switch
                             Alexandrovich 1-12-9 (MJ)-US-                                                                                                                                                                              Fabry-Perot Stepped Etalon With Improved
 Alexandrovich 1-12-9(MJ)    NP                                 US7187447                   09/538754                                                          us              6-Mar-07           30-Mar-20                 30-Mar-00   Transmittance Characteristics
                                                                                                                                                                                                                                        Method And Apparatus For Supporting Voice
                                                                                                                                                                                                                                        Message Services With Automatic Rebound In A
   Alger4-12-2-2-6 {LE)      Alger 4-12-2-2-6 {LE)-US-NP        US6839555                   09/846972                     20020160755                          us               4-Jan-05          30-Apr-21                 30-Apr-0l   Wireless Intelligent Network
                                                                                                                                                                                                                                        Mobile Radio Telecommunication System With
    AI-Housami 3 (HM)        AI-Housami 3 (HM)-US-NP            US7050814                   09/782359                     20010016497                          us              23-May-06          14-Oct-22                 14-Feb-0l   Improved Uplink Resource Allocation
                                                                                                                                                                                                                                        Transmitting A Control Message On A Forward
                             AI-Housami 5-30-9-12 (HM)-US-                                                                                                                                                                              Access Channel (FACH) In A Network For Mobile
AI-Housami 5-30-9-12 (HM) NP                                    US7242953                   10/420146                     20040214590                          us               10-Jul-07         21-Sep-24                 22-Apr-03   Telecommunications


       Ali 3-2-4 (55)        Ali 3-2-4 (55)-US-NP               US6353927                   09/119232                                                          us              5-Mar-02            21-Jul-18                21-Jul-98   Data Download Technique Into Installed Memory
                                                                                                                                                                                                                                        Method And Apparatus For Fast Shared Restoration
    Alicherry 10-5 (M)       Alicherry 10-5 (M)-US-NP           US7609624                   10/838098                     20050243711                          us              27-Oct-09          31-Dec-26                 3-May-04    In Communications Networks
                                                                                                                                                                                                                                        Method And Apparatus For Designing Networks To
   Alicherry 11-7-1 (M)      Alicherry 11-7-1 (M)-US-NP         US7453796                   10/860948                     20050286411                          us              18-Nov-08          9-May-26                  4-Jun-04    Support Fast Restoration
                             Alicherry 14-14-10-30 (M)-US-
 Alicherry 14-14-10-30 (M)   NP                                 US8270301                   11/025100                     20060140116                          us              18-Sep-12          8-May-27                  29-Dec-04   Delay Distributed Virtually-Concatenated Data Traffic
                                                                ZL200510135751                                                                                                                                                          Method And Apparatus For Provisioning A Hop
    Alicherry 16-8(M)        Alicherry 16-8 (M)-CN-NP           .5                          200510135751.5                CN1798068A                          CN               5-May-10           29-Dec-25                 29-Dec-05   Limited Protection Pathway In A Network
                                                                                                                                                                                                                                        Method And Apparatus For Provisioning A Hop
    Alicherry 16-8(M)        Alicherry 16-8 (M)-EP-EPA                                      05257708.7                     EP1679837                           EP                                 15-Dec-25                 15-Dec-05   Limited Protection Pathway In A Network
                                                                                                                                                                                                                                        Method And Apparatus For Provisioning A Hop
    Alicherry 16-8(M)        Alicherry 16-8 (M)-IN-NP                                       1963/CHE/2005                                                      IN                                 29-Dec-25                 29-Dec-05   Limited Protection Pathway In A Network




                                                                                                                                    Page 73 of 149
                                                                                                                                                                                                             PATENT
                                                                                                                                                                                                     REEL: 044000 FRAME: 0214
                            Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 81 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                        ~~:J~JfW                           liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                  :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Provisioning A Hop
     Alicherry 16-S(M)         Alicherry 16-8 (M)-JP-NP           JP4864453                    2005374501          2006191596                            JP                    18-Nov-11          27-Dec-25                 27-Dec-05   Limited Protection Pathway In A Network
                                                                                                                                                                                                                                        Method And Apparatus For Provisioning A Hop
     Alicherry 16-S(M)         Alicherry 16-8 (M)-US-NP            US7990846                   11/027905           20060146733                           us                     2-Aug-11           7-Oct-29                 30-Dec-04   Limited Protection Pathway In A Network
                               Alicherry 17-3-19-12-35 (M)-US-
Alicherry 17-3-19-12-35 (M) NP                                     US7636309                   11/169194           20060291392                           us                    22-Dec-09          25-Nov-27                 28-Jun-05   Multi-Path Routing Using Intra-Flow Splitting
                               Alicherry 19-4-36-1-11 (M)-US-
 Alicherry 19-4-36-1-11 (M)    NP                                 US7835271                    11/321549           20070153674                           us                    16-Nov-10          22-May-28                 29-Dec-05   Signaling Protocol For P-Cycle Restoration
                                                                                                                                                                                                                                        Joint Placement And Configuration Of Cross-
                                                                                                                                                                                                                                        Connects And Add-Drop Multiplexers In An Optical
   Alicherry2-2-2-17(M)        Alicherry 2-2-2-17 (M)-US-NP       US6842723                    10/393306                                                 us                    11-Jan-05          20-Mar-23                 20-Mar-03   Mesh Network


   Alicherry 7-7-6-22 (M)      Alicherry 7-7-6-22 (M)-US-NP       US7466688                    10/656497           20050063309                           us                    16-Dec-08          17-Mar-26                 5-Sep-03    Routing And Design In K-Shared Networks


      Allain 1-6-19 (BJ)       Allain 1-6-19 (BJ)-US-NP           US6449259                    08/885539                                                 us                    10-Sep-02          30-Jun-17                 30-Jun-97   Communication Controller
                                                                                                                                                                                                                                        Method And Apparatus For Providing Scaleable
 Allen 1-1-1-2-4-1-1-1 (RL)    Allen 1-1-1-2-4-1-1-1 (RL)-US-NP US6058490                      09/063560                                                 us                    2-May-00           21-Apr-18                 21-Apr-98   Levels of Application Availability
                                                                                                                                                                                                                                        Product Classification Process For Optical
      Allen2-3-4(AB)           Allen 2-3-4 (AB)-US-NP             US6240398                    09/226827                                                 us                    29-May-0l           7-Jan-19                 7-Jan-99    Subassemblies
                                                                                                                                                                                                                                        System For Providing Unified Cellular And Wire-Line
       Allers 1-24 (JE)        Allers 1-24(JE)-US-NP              US7058415                    10/436730                                                 us                     6-Jun-06           7-Jun-24                 12-May-03   Service To A Dual Mode Handset
                                                                                                                                                                                                                                        A Receiver Architecture Employing Space Time
                                                                                                                                                                                                                                        Spreading And Orthogonal Transmit Diversity
    All press 14-6-2 (SA)      All press 14-6-2 (SA)-DE-EPA       EP1085677                    00307633.8          EP1085677                             DE                     11-Jul-07          4-Sep-20                 4-Sep-00    Techniques
                                                                                                                                                                                                                                        A Receiver Architecture Employing Space Time
                                                                                                                                                                                                                                        Spreading And Orthogonal Transmit Diversity
    All press 14-6-2 (SA)      All press 14-6-2 (SA)-FR-EPA       EP1085677                    00307633.8          EP1085677                             FR                     11-Jul-07          4-Sep-20                 4-Sep-00    Techniques
                                                                                                                                                                                                                                        A Receiver Architecture Employing Space Time
                                                                                                                                                                                                                                        Spreading And Orthogonal Transmit Diversity
    All press 14-6-2 (SA)      All press 14-6-2 (SA)-GB-EPA       EP1085677                    00307633.8          EP1085677                             GB                     11-Jul-07          4-Sep-20                 4-Sep-00    Techniques
                                                                                                                                                                                                                                        A Receiver Architecture Employing Space Time
                                                                                                                                                                                                                                        Spreading And Orthogonal Transmit Diversity
    All press 14-6-2 (SA)      All press 14-6-2 (SA)-US-NP        US6317410                    09/395325                                                 us                    13-Nov-01          13-Sep-19                 13-Sep-99   Techniques
                                                                                                                                                                                                                                        Transmitter Architecture Employing Space Time
                                                                                                                                                                                                                                        Spreading And Orthogonal Transmit Diversity
  All press 15-7-7-10-3 (SA)   All press 15-7-7-10-3 (SA)-KR-NP   KR608427                     20000053298                                               KR                     26-Jul-06          8-Sep-20                 8-Sep-00    Techniques
                                                                                                                                                                                                                                        Transmitter Architecture Employing Space Time
                                                                                                                                                                                                                                        Spreading And Orthogonal Transmit Diversity
  All press 15-7-7-10-3 (SA)   All press 15-7-7-10-3 (SA)-US-NP   US6392988                    09/394172                                                 us                    21-May-02          13-Sep-19                 13-Sep-99   Techniques


      Allpress3-2(5A)          Allpress3-2 (SA)-DE-EPA            EP0837565                    97306779.6          EP0837565                             DE                    27-Nov-02           2-Sep-17                 2-Sep-97    15-95 Compatible Wideband Communication Scheme


      Allpress3-2(5A)          Allpress3-2(5A)-FI-EPA             EP0837565                    97306779.6          EP0837565                              Fl                   27-Nov-02           2-Sep-17                 2-Sep-97    15-95 Compatible Wideband Communication Scheme


      Allpress3-2(5A)          Allpress3-2 (SA)-FR-EPA            EP0837565                    97306779.6          EP0837565                             FR                    27-Nov-02           2-Sep-17                 2-Sep-97    15-95 Compatible Wideband Communication Scheme


      Allpress3-2(5A)          Allpress3-2 (SA)-GB-EPA            EP0837565                    97306779.6          EP0837565                             GB                    27-Nov-02           2-Sep-17                 2-Sep-97    15-95 Compatible Wideband Communication Scheme


      Allpress3-2(5A)          Allpress3-2(5A)-SE-EPA             EP0837565                    97306779.6          EP0837565                             SE                    27-Nov-02           2-Sep-17                 2-Sep-97    15-95 Compatible Wideband Communication Scheme
                                                                                                                                                                                                                                        A Method And Apparatus For Strong Signal
     Allpress 5-4-4(5A)        All press 5-4-4 (SA)-US-NP         US6195537                    08/938404                                                 us                    27-Feb-0l          25-Sep-17                 25-Sep-97   Suppression In Multi-Carrier Signals
                                                                                                                                                                                                                                        Time Division Multiple Access Communication
   All press 7-4-4-1-1 (SA)    All press 7-4-4-1-1 (SA)-JP-NP     JP3481488                    56347/1999          2000004208                            JP                    10-Oct-03           4-Mar-19                 4-Mar-99    System
                                                                                                                                                                                                                                        Time Division Multiple Access Communication
   All press 7-4-4-1-1 (SA)    All press 7-4-4-1-1 (SA)-KR-NP     KR354941                     19990007099                                               KR                    18-Sep-02           4-Mar-19                 4-Mar-99    System
                                                                                                                                                                                                                                        Time Division Multiple Access Communication
   All press 7-4-4-1-1 (SA)    All press 7-4-4-1-1 (SA)-TW-NP     TWNl-122456                  88102937            408538                               TW                     11-Oct-00          26-Feb-19                 26-Feb-99   System
                                                                                                                                                                                                                                        Time Division Multiple Access Communication
   All press 7-4-4-1-1 (SA)    All press 7-4-4-1-1 (SA)-US-NP     U56744778                    09/262531                                                 us                     1-Jun-04           4-Mar-19                 4-Mar-99    System


     Al-Rawi 1-1-6 (HB)        Al-Rawi 1-1-6 (HB)-US-NP           US6445360                    09/805081           20020000947                           us                     3-Sep-02          13-Mar-21                 13-Mar-01   Antenna Structure For Fixed Wireless System
                                                                                                                                                                                                                                        Optical Protection Switch Employing An Interference
  Al-Salameh 4-5-3-1 (DY)      Al-Salameh 4-5-3-1 (DY)-US-NP      US6075629                    09/014174                                                 us                    13-Jun-00          27-Jan-18                 27-Jan-98   Filter
                                                                                                                                                                                                                                        Optical Transmission System Including Optical
    AI-Salameh5-3(DY)          Al-Salameh 5-3 (DY)-US-NP          US6414771                    09/067233           20010040711                           us                     2-Jul-02          27-Apr-18                 27-Apr-98   Restoration
                                                                                                                                                                                                                                        Optical Transmission System Including Optical
     Al-Salameh 8 (DY)         Al-Salameh 8 (DY)-US-NP            US6262820                    09/115558                                                 us                     17-Jul-01          15-Jul-18                15-Jul-98   Restoration


         Alur2-4(R)            Alur 2-4 (R)-US-NP                 US6324496                    09/099372                                                 us                    27-Nov-01          18-Jun-18                 18-Jun-98   Model Checking Of Hierarchical State Machines
         Alur3-6(R)            Alur 3-6 (R)-US-NP                 US6516306                    09/375657                                                 us                     4-Feb-03          17-Aug-19                 17-Aug-99   Model Checking Of Message Flow Diagrams
                                                                                                                                                                                                                                        Dynamic Latency Assignment Methodology For
     Alvarez 2-4-3 (TL)        Alvarez 2-4-3 (TL)-US-NP           US7321557                    09/699773                                                 us                    22-Jan-08           5-Apr-23                 30-Oct-00   Bandwidth Optimization Of Packet Flows


   Aman 4-32-1-4-5 (AK)        Aman 4-32-1-4-5 (AK)-US-NP         US6192088                    09/052455                                                 us                    20-Feb-0l          31-Mar-18                 31-Mar-98   Carrier Recovery System
                                                                                                                                                                                                                                        Addressing Scheme For Convolutional Interleaver/De-
       Aman6-1 (AK)            Aman 6-1 (AK)-US-NP                US6178530                    09/065854                                                 us                    23-Jan-0l          24-Apr-18                 24-Apr-98   Interleaver
                                                                                                                                                                                                                                        Optical Probe for Scanning Surfaces within
    Amir 17-5-1-9-2-5 (I)      Amir 17-5-1-9-2-5 (1)-US-NP        US6137116                    09/063795                                                 us                    24-Oct-00          21-Apr-18                 21-Apr-98   Constricted Spaces
                                                                                                                                                                                                                                        Method And System For Correcting Phase And
                                                                                                                                                                                                                                        Amplitude Imbalances Of A Quadrature Modulated
      Amir 20-10-2 (I)         Amir 20-10-2 (1)-US-NP             US6512800                    09/267280                                                 us                    28-Jan-03          12-Mar-19                 12-Mar-99   RF Signal
                                                                                                                                                                                                                                        Method And Apparatus For Wavelet-Based Image
    Ammicht3-1-14(E)           Ammicht 3-1-14 (E)-US-NP           U56788820                    09/432749           20030190082                           us                     7-Sep-04           3-Nov-19                 3-Nov-99    Compression
                                                                                                                                                                                                                                        Wavelet-Based Compression Of Images For Storage,
                                                                                                                                                                                                                                        Transmission And Reconstruction Using Hierarchical
    Ammicht4-2-15 (E)          Ammicht 4-2-15 (E)-US-NP           US6549673                    09/429467                                                 us                    15-Apr-03          28-Oct-19                 28-Oct-99   Subband Decomposition


                                                                                                                                                                                                                                        Switchable And Reconfigurable Optical Grating
  Amundson 3-3-5-17 (KR)       Amundson 3-3-5-17 (KR)-US-NP       US6285812                    09/118198                                                 us                     4-Sep-01           17-Jul-18                17-Jul-98   Devices And Methods For Making Them
                                                                                                                                                                                                                                        Method For Managing Wireless Assets In A Coverage
          An 1 (Y)             An 1 (Y)-US-NP                     US7139578                    10/104293           20040203832                           us                    21-Nov-06           4-Apr-23                 22-Mar-02   Area


                                                                                                                                                                                                                                        Method And Apparatus For Providing Channel Error
     Anand 1-16-15 (R)         Anand 1-16-15 (R)-US-NP            US6681365                    09/680708                                                 us                    20-Jan-04           6-Oct-20                 6-Oct-00    Protection For A Source Coded Bit Stream
                                                                                                                                                                                                                                        Method And Apparatus For Enabling Transmission Of
                                                                                                                                                                                                                                        Variable Length Encoded Data In A Low Signal to
     Anderlind 2-6(EE)         Anderlind 2-6 {EE)-KR-NP           KR442926                     20000025566                                               KR                     23-Jul-04         13-May-20                 13-May-00   Noise Ratio Environment
                                                                                                                                                                                                                                        Method And Apparatus For Enabling Transmission Of
                                                                                                                                                                                                                                        Variable Length Encoded Data In A Low Signal to
     Anderlind 2-6(EE)         Anderlind 2-6 {EE)-JP-NP           JP3712593                    2000144215          2001024516                            JP                    26-Aug-05          17-May-20                 17-May-00   Noise Ratio Environment




                                                                                                                           Page 7 4 of 149
                                                                                                                                                                                                             PATENT
                                                                                                                                                                                                     REEL: 044000 FRAME: 0215
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 82 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                             :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Enabling Transmission Of
                                                                                                                                                                                                                                   Variable Length Encoded Data In A Low Signal to
    Anderlind 2-6(EE)       Anderlind 2-6 {EE)-US-NP          US6563879                   09/312711                                                 us                    13-May-03          17-May-19                 17-May-99   Noise Ratio Environment
                                                                                                                                                                                                                                   Method And Apparatus For Enabling Transmission Of
                                                                                                                                                                                                                                   Variable Length Encoded Data In A Low Signal to
    Anderlind 2-6(EE)       Anderlind 4-9 {EE)-US-DIV         US6697435                   10/101697                                                 us                    24-Feb-04           27-Jul-19                21-Mar-02   Noise Ratio Environment


  Andersen 1-53-14(BA)      Andersen 1-53-14 (BAJ-US-NP       US6236497                   09/201454                                                 us                    22-May-Ol          30-Nov-18                 30-Nov-98   Direct Free-Space Pump-Signal Mixing for EDFA
     Andersen2(BA)          Andersen2 (BAJ-US-NP             US6190055                    09/199546                                                 us                    20-Feb-Ol          25-Nov-18                 25-Nov-98   Reducing Stress In Optical Fibers
     Andersen2(JA)          Andersen2 (JA)-US-NP             US6196036                    09/371513                                                 us                    6-Mar-01           10-Aug-19                 10-Aug-99   Torque-Limited Key
                                                                                                                                                                                                                                   Electromagnetic Interference Shielding For Small
      Andresl-3(JL)         Andres 1-3 (JL)-US-NP            US6950291                    09/450934                                                 us                    27-Sep-05          29-Nov-19                 29-Nov-99   Magnetic Devices
                                                                                                                                                                                                                                   Compact Antennas Having Directed Beams and
                                                                                                                                                                                                                                   Potentially More Than One Degree of Freedom Per
  Andrews 11-14-1 (MR)      Andrews 11-14-1 (MR)-US-NP       US6809693                    10/306811                                                 us                    26-0ct-04          27-Nov-22                 27-Nov-02   Concentration Region
                                                                                                                                                                                                                                   Methods And Apparatus For Transmission Scheduling
   Andrews 11-8 (DM)        Andrews 11-8 (DM)-US-NP          US7174180                    10/895743           20060019662                           us                     6-Feb-07          29-Jan-25                 21-Jul-04   In Wireless Networks
                                                                                                                                                                                                                                   Communication Employing Triply-Polarized
    Andrews 1-7 (MR)        Andrews 1-7 (MR)-US-NP           US6195064                    09/379151                                                 us                    27-Feb-Ol          23-Aug-19                 23-Aug-99   Transmissions
                                                                                                                                                                                                                                   Communication Employing Triply-Polarized
    Andrews 1-7 (MR)        Andrews 2-8-20 (MR)-US-CIP       US6317098                    09/477972                                                 us                    13-Nov-01          23-Aug-19                 5-Jan-00    Transmissions
                                                                                                                                                                                                                                   Linear Programming Method Of Network Design For
                                                                                                                                                                                                                                   Carrying Traffic From End nodes To A core Network At
    Andrews3-2(DM)          Andrews 3-2 (DM)-US-NP           US6363334                    09/255945                                                 us                    26-Mar-02          23-Feb-19                 23-Feb-99   Least Cost
                                                                                                                                                                                                                                   Method And System For Theory Of Constraints Buffer
   Andrews 6-5-1 (MW)       Andrews 6-5-1 (MW)-US-NP         US6501473                    09/271728                                                 us                    31-Dec-02          18-Mar-19                 18-Mar-99   Graphing,Trackingand Management


   Andruska 12-2 (DL)       Andruska 12-2 (DL)-US-NP         US5937035                    08/929022                                                 us                    10-Aug-99          15-Sep-17                 15-Sep-97   lnterswitch Telephone Status Monitoring


   Andruska 13-10 (DL)      Andruska 13-10 (DL)-US-NP        US6408066                    09/461885                                                 us                    18-Jun-02          15-Dec-19                 15-Dec-99   ADC Skill-Based Routing


     Andruska 16 (DL)       Andruska 16 (DL)-DE-EPA          EP1562302                    05250274.7          EP1562302                             DE                    19-Aug-09          20-Jan-25                 20-Jan-05   Shared Wireline Code Division Multiple Access


     Andruska 16 (DL)       Andruska 16 (DL)-FR-EPA          EP1562302                    05250274.7          EP1562302                             FR                    19-Aug-09          20-Jan-25                 20-Jan-05   Shared Wireline Code Division Multiple Access


     Andruska 16 (DL)       Andruska 16 (DL)-GB-EPA          EP1562302                    05250274.7          EP1562302                             GB                    19-Aug-09          20-Jan-25                 20-Jan-05   Shared Wireline Code Division Multiple Access


     Andruska 16 (DL)       Andruska 16 (DL)-US-NP           US7346070                    10/772956           20050174957                           us                    18-Mar-08          26-Apr-26                 5-Feb-04    Shared Wireline Code Division Multiple Access


   Andry 2-3-1-5-6(5C)      Andry 2-3-1-5-6 (SC)-US-NP       US6392160                    09/200092                                                 us                    21-May-02          25-Nov-18                 25-Nov-98   Backplane For Radio FrequancySignals
                                                                                                                                                                                                                                   Timing Orcuitry For Muxing/Demuxing Of Optical
    Antosik 1-4-1-5 (R)     Antosik 1-4-1-5 (R)-CN-NP        ZL01132801.0                 01132801.0          CN1344077A                            CN                     7-Nov-07           7-Sep-21                 7-Sep-01    Communication Signals
                                                                                                                                                                                                                                   Timing Orcuitry For Muxing/Demuxing Of Optical
    Antosik 1-4-1-5 (R)     Antosik 1-4-1-5 (R)-DE-EPA       EP1187383                    01306899.4          EP1187383                             DE                    21-May-03          14-Aug-21                 14-Aug-Ol   Communication Signals
                                                                                                                                                                                                                                   Timing Orcuitry For Muxing/Demuxing Of Optical
    Antosik 1-4-1-5 (R)     Antosik 1-4-1-5 (R)-FR-EPA       EP1187383                    01306899.4          EP1187383                             FR                    21-May-03          14-Aug-21                 14-Aug-Ol   Communication Signals
                                                                                                                                                                                                                                   Timing Orcuitry For Muxing/Demuxing Of Optical
    Antosik 1-4-1-5 (R)     Antosik 1-4-1-5 (R)-JP-NP        JP4652635                    2001271176          2002152164                            JP                    24-Dec-10           7-Sep-21                 7-Sep-01    Communication Signals
                                                                                                                                                                                                                                   Timing Orcuitry For Muxing/Demuxing Of Optical
    Antosik 1-4-1-5 (R)     Antosik 1-4-1-5 (R)-US-NP        U56792005                    09/658516                                                 us                    14-Sep-04           8-Sep-20                 8-Sep-00    Communication Signals
                                                                                                                                                                                                                                   Circuitry For Mixed-Rate Optical Communication
   Antosik 2-1-2-6-1 (R)    Antosik 2-1-2-6-1 (R)-CN-NP      ZL01132600.X                 01132600.X          CN1345142A                            CN                     2-Apr-08           7-Sep-21                 7-Sep-01    Networks
                                                                                                                                                                                                                                   Circuitry For Mixed-Rate Optical Communication
   Antosik 2-1-2-6-1 (R)    Antosik 2-1-2-6-1 (R)-DE-EPA     EP1198087                    01306896.0          EP1198087                             DE                    6-May-04           14-Aug-21                 14-Aug-Ol   Networks
                                                                                                                                                                                                                                   Circuitry For Mixed-Rate Optical Communication
   Antosik 2-1-2-6-1 (R)    Antosik 2-1-2-6-1 (R)-FR-EPA     EP1198087                    01306896.0          EP1198087                             FR                    6-May-04           14-Aug-21                 14-Aug-Ol   Networks
                                                                                                                                                                                                                                   Circuitry For Mixed-Rate Optical Communication
   Antosik 2-1-2-6-1 (R)    Antosik 2-1-2-6-1 (R)-JP-NP      JP4652636                    2001271371                                                JP                    24-Dec-10           7-Sep-21                 7-Sep-01    Networks
                                                                                                                                                                                                                                   Circuitry For Mixed-Rate Optical Communication
   Antosik 2-1-2-6-1 (R)    Antosik 2-1-2-6-1 (R)-US-NP      US6822975                    09/658515                                                 us                    23-Nov-04           8-Sep-20                 8-Sep-00    Networks
                                                                                                                                                                                                                                   Method For Creating And Playing Back A Smart
                                                                                                                                                                                                                                   Bookmark That Automatically Retrieves A Requested
                                                                                                                                                                                                                                   Web Page Through A Plurality Of Intermediate Web
  Anupam 10-6-12-4 (VJ      Anupam 10-6-12-4 (VJ-US-NP       US6535912                    09/387571                                                 us                    18-Mar-03          31-Aug-19                 31-Aug-99   Pages


                                                                                                                                                                                                                                   Method And Apparatus For Sharing Asymmetric
                                                                                                                                                                                                                                   Information And Services In Simultaneously Viewed
   Anupam 6-16-3 (VJ        Anupam 6-16-3 (VJ-US-NP          US6353851                    09/221067                                                 us                    5-Mar-02           28-Dec-18                 28-Dec-98   Documents On A Communication System
                                                                                                                                                                                                                                   Methods And Apparatus For Enabling Shared Web-
  Anupam 9-19-3-1 (VJ       Anupam 14-20-4-2 (V)-US-CNT      US6687739                    10/075798                                                 us                     3-Feb-04           16-Jul-19                13-Feb-02   Based Interaction In Stateful Servers


   Aquino3-1-1-1 (MK)       Aquino 3-1-1-1 (MK)-US-NP        US6389131                    09/161966                                                 us                    14-May-02          28-Sep-18                 28-Sep-98   Enhanced Initiate Call Attempt Process


  Aravamudan 11-1 (M)       Aravamudan 11-1 (M)-US-NP        US6567398                    09/092495                                                 us                    20-May-03           5-Jun-18                 5-Jun-98    Distributed Call System


   Aravamudan 8-5 (M)       Aravamudan 8-5 (M)-US-NP         US6006272                    09/027708                                                 us                    21-Dec-99          23-Feb-18                 23-Feb-98   Method For Network Address Translation


 Arboleda 1-1-1-5-45 (CR)   Arboleda 1-1-1-5-45 (CR)-US-NP   US7468973                    11/482624           20080112389                           us                    23-Dec-08          30-Aug-26                  7-Jul-06   Switch Data Transform To IMS Process
                                                                                                                                                                                                                                   Uniform Configuration Controller For Replicated
     Ardis 1-1-l(MA)        Ardis 1-1-1 (MAJ-US-NP           US6591373                    09/461886                                                 us                     8-Jul-03          15-Dec-19                 15-Dec-99   Component Systems
                                                                                                                                                                                                                                   Explicit Route And Multicast Tree Setup Using Label
   Armitagel-1-l(GJ)        Armitage 1-1-1 (GJ)-US-NP        US6374303                    09/190307                                                 us                    16-Apr-02          12-Nov-18                 12-Nov-98   Distribution
                                                                                                                                                                                                                                   Supporting Mobile Hosts On An Internet Protocol
     Armitage2(GJ)          Armitage 2 (GJ)-US-NP            US7650424                    09/824960           20020026525                           us                    19-Jan-10          23-Nov-28                 3-Apr-01    Network


    Arney 10-18-4 (5)       Arney 10-18-4 (5)-US-NP          US8915957                    10/798064           20050203613                           us                    23-Dec-14          17-Aug-29                 11-Mar-04   Drug Delivery Stent
                                                                                                                                                                                                                                   Improved Platen-Based Image-Acquisition Apparatus
      Arney4-6-1 (5)        Arney 4-6-1 (5)-US-NP            US6101291                    09/022327                                                 us                     8-Aug-00          11-Feb-18                 11-Feb-98   Having Preview Feature
                                                                                                                                                                                                                                   Method for Performing Image-Acquisition with
      Arney4-6-1 (5)        Arney 7-10-2 (SJ-US-DIV          US6298172                    09/430550                                                 us                     2-0ct-01          11-Feb-18                 29-0ct-99   Preview of Image to be Transferred
                                                                                                                                                                                                                                   Cascaded Polyphase OFT-Filter Bank For A Wireless
   Arunachalam3-2(5)        Arunachalam3-2 (5)-US-NP         US6411653                    09/356261                                                 us                    25-Jun-02           16-Jul-19                16-Jul-99   Telecommunications System
                                                                                                                                                                                                                                   Control Processor Switchover for a
        Ascend 10           Ascend 10 ()-US-NP               US5953314                    08/919828                                                 us                    14-Sep-99          28-Aug-17                 28-Aug-97   Telecommunications Switch
                                                                                                                                                                                                                                   Timing Synchronization and Switchover in a Network
        Ascend 11           Ascend 11 ()-US-NP               US6078595                    08/920250                                                 us                    20-Jun-OO          27-Aug-17                 27-Aug-97   Switch
                                                                                                                                                                                                                                   Electronic Interconnection Method and Apparatus for
        Ascend 14           Ascend 14 ()-US-NP               US6015300                    08/919825                                                 us                    18-Jan-OO          28-Aug-17                 28-Aug-97   Minimizing Propagation Delays
                                                                                                                                                                                                                                   Apparatus and Method for Routing Data Packets
        Ascend25            Ascend 25 ()-US-NP               US6553002                    08/921189                                                 us                    22-Apr-03          29-Aug-17                 29-Aug-97   Through a Communication Network
        Ascend 29           Ascend 29 ()-US-NP               US6711153                    09/459441                                                 us                    23-Mar-04          13-Dec-19                 13-Dec-99   Route Lookup Engine




                                                                                                                      Page 75 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0216
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 83 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                               :ia:~:A,m:::::::::::::::::
                                                               liiitiiiiii~:il\::::'::•:•
                                                                                            :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
        Ascend 29           Ascend 29 ()-JP-DIV                JP4542539                    2006319441                    2007110745                           JP               2-Jul-10          13-Dec-19                 13-Dec-00   Route Lookup Engine


         Ascend 6           Ascend 6 ()-US-NP                   US6008995                   08/924473                                                          us              28-Dec-99          19-Aug-17                 19-Aug-97   Card Cage Accomodating PC Cards of Differnt Size
                                                                                                                                                                                                                                        Closed User Group Processing Decision for Efficient
         Ascend 7           Ascend 7 ()-US-NP                   US5987520                   09/008224                                                          us              16-Nov-99          16-Jan-18                 16-Jan-98   Call Security Validation
                                                                                                                                                                                                                                        Virtual Path Merging in a Multipoint-to-Point
         Ascend 8           Ascend 35 ()-US-CNT                 US6967955                   09/534737                                                          us              22-Nov-05          7-May-18                  27-Mar-00   Network Tunneling Protocol


Asghar 1-9-1-1-4-1-9-37-1-1 Asghar 1-9-1-1-4-1-9-37-1-1 (NJ-                                                                                                                                                                            Methods And Systems For Alleviating Congestion In A
            (NJ             US-NP                               US8045453                   11/139692                     20060159021                          us              25-Oct-11           8-Oct-29                 31-May-05   Connection-Oriented Data Network
       Ashby4 (KB)          Ashby 4 (KB)-US-NP                  US6029060                   08/895065                                                          us              22-Feb-00           16-Jul-17                16-Jul-97   Mixer With Current Mirror Load
                                                                                                                                                                                                                                        Method And Apparatus For MAP Decoding Of First-
                                                                                                                                                                                                                                        Order Reed Muller Codes And Related Error
      Ashikhmin 1 (A)       Ashikhmin 1 (A)-US-NP               US6990626                   10/112574                     20030188250                          us              24-Jan-06          13-Oct-23                 29-Mar-02   Correction Codes
                                                                ZL200980137264                                                                                                                                                          Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-CN-PCT             .9                          200980137264.9                102160346                           CN               24-Sep-14          14-Sep-29                 14-Sep-09   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-DE-EPT             EP2332300                   09789302.8                     EP2332300                           DE               8-Feb-12          14-Sep-29                 14-Sep-09   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-FR-EPT             EP2332300                   09789302.8                     EP2332300                           FR               8-Feb-12          14-Sep-29                 14-Sep-09   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-GB-EPT             EP2332300                   09789302.8                     EP2332300                          GB                8-Feb-12          14-Sep-29                 14-Sep-09   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-IN-PCT                                         1942/CHENP/2011               1942/CHENP/2011                      IN                                 14-Sep-29                 14-Sep-09   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-KR-PCT             KR101226045                 20117006412                                                        KR              18-Jan-13          14-Sep-29                 14-Sep-09   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Precoding Signals For Transmission In
     Ashikhmin 23 (A)       Ashikhmin 23 (A)-US-NP              US8107550                   12/232737                     20100074356                          us              31-Jan-12           20-Jul-30                23-Sep-08   Wireless MIMD System
                                                                                                                                                                                                                                        Methods For Reducing lnter-c.ell lntetference By
                                                                                                                                                                                                                                        Precoding Signals For Transmission In Wireless
  Ashikhmin 27-3-19 (A)     Ashikhmin 27-3-19 (A)-US-NP         US8140070                   12/320864                     20100203912                          us              20-Mar-12          16-May-30                 6-Feb-09    MIMD System


                                                                                                                                                                                                                                        Method And Apparatus For Map Decoding Of Binary
     Ashikhmin4-1 (A)       Ashikhmin 4-1 (A)-US-NP             US7168028                   10/285365                     20040088645                          us              23-Jan-07           29-Jul-24                31-Oct-02   Hamming Codes And Related Error Correction Codes


                                                                                                                                                                                                                                        Methods And Apparatus For Code Division Multiple
                                                                                                                                                                                                                                        Access Communication Using Code Book That
    Ashikhmin 7-27 (A)      Ashikhmin 7-27 (A)-US-NP            US9094144                   10/835085                     20050243895                          us               28-Jul-15         19-Nov-27                 29-Apr-04   Provides Reduced Peak-To-Average Power Ratio


                                                                                                                                                                                                                                        Methods And Apparatus For Code Division Multiple
                                                                                                                                                                                                                                        Access Communication Using Code Book That
    Ashikhmin 7-27 (A)      Ashikhmin 7-27 (A)-JP-NP           JP5313428                    2005131542                    2005318631                           JP               12-Jul-13         28-Apr-25                 28-Apr-05   Provides Reduced Peak-To-Average Power Ratio


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-JP-NP            JP5289672                    2005272988                    2006101508                           JP              14-Jun-13          21-Sep-25                 21-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                ZL200510106880                                                                                                                                                          Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-CN-NP             .1                          200510106880.1                CN1756102A                          CN               16-Mar-11          26-Sep-25                 26-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-DE-EPA            EP1641135                   05255924.2                     EP1641135                           DE               16-Jul-14         22-Sep-25                 22-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-FR-EPA            EP1641135                   05255924.2                     EP1641135                           FR               16-Jul-14         22-Sep-25                 22-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-GB-EPA            EP1641135                   05255924.2                     EP1641135                          GB                16-Jul-14         22-Sep-25                 22-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-IN-NP             IN260980                    1357/CHE/2005                                                      IN              29-May-14          26-Sep-25                 26-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-KR-NP             KR101211940                 20050089488                                                        KR               7-Dec-12          26-Sep-25                 26-Sep-05   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Generating A Channel
     Ashikhmin 8-6 (A)      Ashikhmin 8-6 (A)-US-NP             US7660568                   10/950725                     20060068714                          us               9-Feb-10          22-Mar-28                 27-Sep-04   Estimate Using A Non-Pilot Portion Of A Signal


                                                                                                                                                                                                                                        Method And Apparatus For Identifying Network
 Atkinson5-51-31-2(GW)      Atkinson 5-51-31-2 {GW)-US-NP       US8509098                   11/414126                     20070253341                          us              13-Aug-13           6-Dec-29                 28-Apr-06   Connectivity Changes In Dynamic Networks


   August 17-43-21 {KG)     August 17-43-21 {KG)-US-NP          US6389055                   09/050737                                                          us              14-May-02          30-Mar-18                 30-Mar-98   Integrating Digital Data With Perceptible Signals
  August25-1-7-8-1-2-2-4    August 25-1-7-8-1-2-2-4 {KG)-US                                                                                                                                                                             Method And Apparatus For Interactive Language
           {KG)             NP                                  US7149690                   09/392844                     20030028378                          us              12-Dec-06           9-Sep-19                 9-Sep-99    Instruction
                                                                                                                                                                                                                                        Adaptive Routing System And Method For QOS
   Aukia 1-9-14-14-7 (P)    Aukia 1-9-14-14-7 (P)-US-NP         US6594268                   09/266622                                                          us               15-Jul-03         11-Mar-19                 11-Mar-99   Packet Networks
                                                                                                                                                                                                                                        Technique For Wireless Communications Using A
      Avidor 5-1 (DJ        Avidor 5-1 (DJ-US-NP                US6127972                   09/069325                                                          us               3-Oct-00          29-Apr-18                 29-Apr-98   Multi-Sector Antenna Arrangement
     Avidor 7-2-1 (DJ       Avidor 7-2-1 (DJ-US-NP              US6654612                   09/607499                                                          us              25-Nov-03          30-Jun-20                 30-Jun-00   Distributed Channel Assignment Method


                                                                                                                                                                                                                                        Portable Electronic Device Having A Travel Mode For
                                                                                                                                                                                                                                        Use When Demonstrating Operability Of The Device
      Axenfeld 1 (RR)       Axenfeld 1 (RR)-US-NP               US5991886                   08/929710                                                          us              23-Nov-99          15-Sep-17                 15-Sep-97   To Security Personnel


                                                                                                                                                                                                                                        Portable Electronic Device Having A Travel Mode For
                                                                                                                                                                                                                                        Use When Demonstrating Operability Of The Device
      Axenfeld 1 (RR)       Axenfeld 2 (RR)-US-CNT              US6269448                   09/416515                                                          us               31-Jul-01         15-Sep-17                 8-Oct-99    To Security Personnel


                                                                ZL200810161131                                                                                                                                                          Method And Apparatus For Radio Link Failure
 Aydin 1-1-1-1-1-1-41 (OJ   Aydin 1-1-1-1-1-1-41 (O)-CN-NP      .2                          200810161131.2                101374347                           CN               25-Jun-14          13-Aug-28                 13-Aug-08   Recovery In A Wireless Communications Network


                                                                                                                                                                                                                                        Method And Apparatus For Radio Link Failure
 Aydin 1-1-1-1-1-1-41 (OJ   Aydin 1-1-1-1-1-1-41 (OJ-DE-EPA EP2026610                       07291011.0                     EP2026610                           DE              26-Feb-14          14-Aug-27                 14-Aug-07   Recovery In A Wireless Communications Network


                                                                                                                                                                                                                                        Method And Apparatus For Radio Link Failure
 Aydin 1-1-1-1-1-1-41 (OJ   Aydin 1-1-1-1-1-1-41 (OJ-FR-EPA EP2026610                       07291011.0                     EP2026610                           FR              26-Feb-14          14-Aug-27                 14-Aug-07   Recovery In A Wireless Communications Network


                                                                                                                                                                                                                                        Method And Apparatus For Radio Link Failure
 Aydin 1-1-1-1-1-1-41 (OJ   Aydin 1-1-1-1-1-1-41 (OJ-GB-EPA EP2026610                       07291011.0                     EP2026610                          GB               26-Feb-14          14-Aug-27                 14-Aug-07   Recovery In A Wireless Communications Network


                                                                                                                                                                                                                                        Method And Apparatus For Radio Link Failure
 Aydin 1-1-1-1-1-1-41 (OJ   Aydin 1-1-1-1-1-1-41 (OJ-IN-PCT                                 762/CHENP/2010                762/CHENP/2010                       IN                                  21-Jul-28                21-Jul-08   Recovery In A Wireless Communications Network




                                                                                                                                    Page 76 of 149
                                                                                                                                                                                                             PATENT
                                                                                                                                                                                                     REEL: 044000 FRAME: 0217
                            Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 84 of 156
                                                     Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                        ~~:J~JfW                          liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                 :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                       Method And Apparatus For Radio Link Failure
  Aydin 1-1-1-1-1-1-41 (OJ     Aydin 1-1-1-1-1-1-41 (OJ-KR-PCT KR101462064                    20107003269                                               KR                    10-Nov-14           21-Jul-28                21-Jul-08   Recovery In A Wireless Communications Network


                                                                                                                                                                                                                                       Method And Apparatus For Radio Link Failure
  Aydin 1-1-1-1-1-1-41 (OJ     Aydin 1-1-1-1-1-1-41 (O)-US-NP    US8054806                    12/221904           20090046578                           us                     8-Nov-11          20-Aug-28                 7-Aug-08    Recovery In A Wireless Communications Network
        Aykin 1 (T)            Aykin 1 (T)-US-NP                  US6516301                   09/304294                                                 us                     4-Feb-03          3-May-19                  3-May-99    Order-Based Material Management System
                                                                                                                                                                                                                                       Method And Apparatus For Dynamic Biasing Of
                                                                                                                                                                                                                                       Baseband Orcuitry In A Communication System
       Aytur 2-8 (TS)          Aytur 2-8 (TS)-US-NP              US7095994                    10/305584                                                 us                    22-Aug-06          20-Feb-24                 27-Nov-02   Receiver
                                                                                                                                                                                                                                       Method And Apparatus For Suppressing Local
       Aytur 3-9 (TS)          Aytur 3-9 (TS)-US-NP              US7206557                    10/338198           20040132424                           us                    17-Apr-07          16-May-24                 8-Jan-03    Oscillator Leakage In A Wireless Transmitter
                                                                                                                                                                                                                                       Method And Apparatus For Shortening The Critical
                                                                                                                                                                                                                                       Path Of Reduced Complexity Sequence Estimation
      Azadet 10-2 (K)          Azadet 10-2 (K)-US-NP             US6999521                    09/471920                                                 us                    14-Feb-06          23-Dec-19                 23-Dec-99   Techniques


        Azar24 (K)             Azar 24 (K)-US-NP                 US6538885                    09/662995                                                 us                    25-Mar-03          15-Sep-20                 15-Sep-00   Electronic Circuit Cooling With Impingement Plate
        Azar27 (K)             Azar 27 (K)-US-NP                 US6452799                    09/662423                                                 us                    17-Sep-02          15-Sep-20                 15-Sep-00   Integrated Orcuit Cooling System
      Baals 12-14 (KA)         Baals 12-14 (KA)-US-NP            US6813347                    09/828985           20020146107                           us                     2-Nov-04          10-Apr-21                 10-Apr-0l   Selective Call Waiting
                                                                                                                                                                                                                                       A method For Improving Receivers For The 3GPP
                                                                                                                                                                                                                                       Standard By Employing Coded Control-Symbols As
       Bachl 2-6-2 (R)         Bachl 2-6-2 (R)-KR-NP             KR501617                     20020029503                                               KR                     6-Jul-05          28-May-22                 28-May-02   Additional Pilot Symbols
                                                                                                                                                                                                                                       A method For Improving Receivers For The 3GPP
                                                                                                                                                                                                                                       Standard By Employing Coded Control-Symbols As
       Bachl 2-6-2 (R)         Bachl 2-6-2 (R)-JP-NP             JP4017917                    2002147977                                                JP                    28-Sep-07          22-May-22                 22-May-02   Additional Pilot Symbols
                                                                 ZL200680030327                                                                                                                                                        Method For Reducing Discarded Slots And Frames In
   Bachl 8-28-24-12 (RW)       Bachl 8-28-24-12 (RW)-CN-PCT      .7                           200680030327.7      CN101278587A                          CN                    24-Sep-14          16-Aug-26                 16-Aug-06   A Wireless Communications System
                                                                                                                                                                                                                                       Method For Reducing Discarded Slots And Frames In
   Bachl 8-28-24-12 (RW)       Bachl 8-28-24-12 (RW)-EP-EPT                                   06789770.2          EP1917826                             EP                                       16-Aug-26                 16-Aug-06   A Wireless Communications System
                                                                                                                                                                                                                                       Method For Reducing Discarded Slots And Frames In
   Bachl 8-28-24-12 (RW)       Bachl 8-28-24-12 (RW)-JP-PCT      JP4847529                    2008527979          2009506637                            JP                    21-Oct-11          16-Aug-26                 16-Aug-06   A Wireless Communications System
                                                                                                                                                                                                                                       Method For Reducing Discarded Slots And Frames In
   Bachl 8-28-24-12 (RW)       Bachl 8-28-24-12 (RW)-US-NP       US7558229                    11/212131           20070076644                           us                     7-Jul-09          25-Aug-25                 25-Aug-05   A Wireless Communications System


   Baeyens 4-65-10 (YL)        Baeyens 4-65-10 (YL)-US-NP        US8081050                    12/392924           20100214040                           us                    20-Dec-11          29-Dec-29                 25-Feb-09   Multilayer Planar Tunable Filter
 Baggal-1-1-1-1-1-1-1-3-1      Bagga 1-1-1-1-1-1-1-1-3-1 (YS)-                                                                                                                                                                         Inter-Domain Network Management System For
            (YS)               US-NP                             US7197546                    09/520133                                                 us                    27-Mar-07           7-Mar-20                 7-Mar-00    Multi-Layer Networks
                               Bailey 1-4-1-5-11-1-2-1 (L)-US-                                                                                                                                                                         Bandwidth Packing Rate Controller For Optimizing
 Bailey 1-4-1-5-11-1-2-1 (L)   NP                                US7936675                    11/565772           20080130501                           us                    3-May-11           13-Mar-28                 1-Dec-06    Resource Utilization
                                                                                                                                                                                                                                       Method For Determining Volume Changes In Viscous
     Bair 5-10-18 {HE)         Bair 5-10-18 {HE)-US-NP           US6016696                    09/162486                                                 us                    25-Jan-00          25-Sep-18                 25-Sep-98   Liquids
                                                                                                                                                                                                                                       Automatic Protocol Version Detection And Call
                                                                                                                                                                                                                                       Processing Reconfiguration In A Communication
      Baker23-2 (AD)           Baker23-2 (ADJ-US-NP              US7099333                    09/800684           20020172220                           us                    29-Aug-06           5-Aug-23                 7-Mar-01    System
       Baker26 (AD)            Baker 26 (ADJ-US-NP               US7269177                    10/298704           20040095946                           us                    11-Sep-07           4-Oct-25                 18-Nov-02   Logical Star Topologies For Non-Star Networks
                                                                                                                                                                                                                                       Digital Communication System for High-Speed
      Baker4-2-5(TW)           Baker 4-2-5 (TW)-US-NP            US6163563                    08/997715                                                 us                    19-Dec-00          23-Dec-17                 23-Dec-97   Complex Correlation


                                                                                                                                                                                                                                       A Device For Generating Multiple Spreading
      Baker5-3-2(TW)           Baker5-3-2 (TW)-US-NP             US6266331                    09/108429                                                 us                     24-Jul-01           1-Jul-18                 1-Jul-98   Sequences In Reverse High Speed Data Channels
                                                                                                                                                                                                                                       Method For Detecting Similarities In Java Sources
       Baker 8-1 (BS)          Baker8-1 (BS)-US-NP               US6282698                    09/205813                                                 us                    28-Aug-01           4-Dec-18                 4-Dec-98    From Bytecodes


                                                                                                                                                                                                                                       Method And Apparatus For Determining Channel
  Balachandran 15-43 (K)       Balachandran 15-43 (K)-US-NP      US7020185                    09/724231                                                 us                    28-Mar-06           5-Jun-22                 28-Nov-00   Conditions In A Communication System
                               Balachandran21-1-3-12 (K)-US-
 Balachandran21-1-3-12(K)      NP                                US7054346                    09/850124           20020164990                           us                    30-May-06          27-Aug-23                 7-May-01    Enhanced Frequency Hopping In A Wireless System
                               Balachandran22-2-1-2 (K)-US-                                                                                                                                                                            Variable Spacing Pulse Position Modulation For Ultra-
 Balachandran22-2-1-2(K)       NP                                US7082153                    10/251954           20040057501                           us                     25-Jul-06         29-Sep-24                 23-Sep-02   Wideband Communication Links
 Balachandran 26-24-25-13      Balachandran26-24-25-13 (K)-                                                                                                                                                                            Flexible Transmission Method For Wireless
             (K)               US-NP                             US7304971                    10/285413           20040085934                           us                     4-Dec-07          23-Aug-25                 1-Nov-02    Communications


                               Balachandran3-10-2-25 (K)-IN-                                                                                                                                                                           System And Method For Measuring Channel Quality
 Balachandran3-10-2-25 (K)     NP                                                             241/MAS/99                                                 IN                                      25-Feb-19                 25-Feb-99   Information In A Communication System


                               Balachandran3-10-2-25 (K)-US-                                                                                                                                                                           System And Method For Measuring Channel Quality
 Balachandran3-10-2-25 (K)     NP                                US6215827                    09/044636                                                 us                    10-Apr-0l          19-Mar-18                 19-Mar-98   Information In A Communication System
 Balachandran32-17-29-5-2      Balachandran32-17-29-5-2 (K)-                                                                                                                                                                           Method For Scheduling Transmission In
             (K)               US-NP                             US7734805                    10/413401           20040210619                           us                     8-Jun-10          24-Aug-26                 15-Apr-03   Communication Systems
                                                                                                                                                                                                                                       Adaptive Sleeping And Awakening Protocol For An
 Balachandran 33-6-13 (K)      Balachandran 33-6-13 (K)-US-NP US7356561                       10/426691           20040230638                           us                     8-Apr-08          19-Jun-25                 1-May-03    Energy-Efficient ADHOC Network
                                                                                                                                                                                                                                       Method Of Transmitting Broadcast-Multicast
 Balachandran 38-22-35-12      Balachandran38-22-35-12 (K)-                                                                                                                                                                            Services Parameters Messages In A Wireless
             (K)               US-NP                             US7372823                    10/805701           20050207365                           us                    13-May-08           9-Dec-25                 22-Mar-04   Communications System
                                                                                                                                                                                                                                       An Architecture To Support Network-Wide Multiple-
 Balachandran 57-19-4-59       Balachandran 57-19-4-59 (K)-CN- ZL200980136620                                                                                                                                                          In-Multiple-Out Wireless Communication Over An
             (K)               PCT                               s                            200980136620.5      102160446                             CN                    23-Sep-15           3-Sep-29                 3-Sep-09    Uplink
                                                                                                                                                                                                                                       An Architecture To Support Network-Wide Multiple-
 Balachandran 57-19-4-59       Balachandran57-19-4-59 (K)-EP-                                                                                                                                                                          In-Multiple-Out Wireless Communication Over An
             (K)               EPT                                                            09789257.4          EP2335445                             EP                                        3-Sep-29                 3-Sep-09    Uplink
                                                                                                                                                                                                                                       An Architecture To Support Network-Wide Multiple-
 Balachandran 57-19-4-59       Balachandran 57-19-4-59 (K)-KR-                                                                                                                                                                         In-Multiple-Out Wireless Communication Over An
             (K)               PCT                               KR101176377                  20117006102                                               KR                    17-Aug-12           3-Sep-29                 3-Sep-09    Uplink
                                                                                                                                                                                                                                       Apparatus And Methods For Improving The
 Balachandran 6-1-2-2-11-1     Balachandran6-1-2-2-11-1 (K)-                                                                                                                                                                           Assignment Of Parallel DemodulatorsTo Multi paths
             (K)               US-NP                             US6532222                    09/186765                                                 us                    11-Mar-03           5-Nov-18                 5-Nov-98    Of Wireless Signals


  Baldwin 4-17-2-27 {KW)       Baldwin 4-17-2-27 {KW)-US-NP      US7439096                    09/789397           20020155729                           us                    21-Oct-08          20-Jun-22                 21-Feb-0l   Semiconductor Device Encapsulation


   Baldwin4-2-53-5(MS)         Baldwin 4-2-53-5 (MS)-US-NP       US7103635                    09/770135           20020004820                           us                     5-Sep-06           4-Mar-23                 26-Jan-0l   Really Simple Mail Transport Protocol
                                                                                                                                                                                                                                       Design, Fabrication And Operation Of Antennas For
    Balentsl-2-1-1-l(L)        Balents 1-2-1-1-1 (L)-US-NP       US6501963                    09/378362                                                 us                    31-Dec-02          20-Aug-19                 20-Aug-99   Diffusive Environments
                                                                                                                                                                                                                                       Apparatus And Method For Retrieving Data From A
        Ball 4-1 (TJ)          Ball 4-1 (TJ)-US-NP               US6222847                    08/999708                                                 us                    24-Apr-0l           8-Oct-17                 8-Oct-97    Network Site
                                                                                                                                                                                                                                       Method And Apparatus For Creating And Sending
    Ball 8-7-7-2-5-4 (TJ)      Ball 8-7-7-2-5-4 (TJ)-US-NP       US6393107                    09/318140                                                 us                    21-May-02          25-May-19                 25-May-99   StructuredVoicemail Messages
                                                                                                                                                                                                                                       Channel Access Control In Wireless Communications
   Balogh 1-1-11-8-2 (DA)      Balogh 1-1-11-8-2 (DA)-US-NP      US6535736                    09/210019                                                 us                    18-Mar-03          11-Dec-18                 11-Dec-98   System
         Bao 5-2 (Z)           Bao 19-28 (Z)-US-DIV              US6372532                    09/754959                                                 us                    16-Apr-02          10-Jun-18                 5-Jan-01    Patterned Light Emitting Diode Devices




                                                                                                                          Page 77 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0218
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 85 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                           liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                      Method And Apparatus For Intra-Layer Transitions
      Baras 1-17-3 (T)       Baras 1-17-3 (T)-US-NP              US7013452                   10/395956           20040188138                           us                    14-Mar-06          24-Mar-23                 24-Mar-03   And Connector Launch In Multilayer Circuit Boards
       Baras 2-4 (T)         Baras 2-4 (T)-US-NP                US7026885                    10/448824           20040239441                           us                    11-Apr-06          12-0ct-23                 30-May-03   Low-Loss Coupler
      Barbierl-l(J)          Barbier 1-1 (J)-US-PCT              US6249441                   09/445273                                                 us                    19-Jun-0l          28-May-18                 28-May-98   Support Frame For Electronic Plug-In Units
                                                                                                                                                                                                                                      Electronic Plug-In Unit Which Includes An Improved
     Barbier2-2-2-l(J)       Barbier2-2-2-1 (J)-US-PCT          US6350950                    09/445272                                                 us                    26-Feb-02          28-May-18                 28-May-98   Heat Dissipation Device
                             Barclay 14-64-12-12-11 (DL)-US-                                                                                                                                                                          System And Method For Routing Calls Using A
Barclay 14-64-12-12-11 (DL) NP                              US7248686                        10/847177           20050254638                           us                     24-Jul-07         17-May-24                 17-May-04   Universal Access Phone Number
                            Barclay 22-97-20-19-18 (DL)-US-
Barclay 22-97-20-19-18 (DL) NP                                  US6987843                    10/954460                                                 us                    17-Jan-06          30-Sep-24                 30-Sep-04   Network Support For Fax Retry Blocking
                                                                                                                                                                                                                                      Systems And Methods For Visualizing Multi-
                             Barg 1-2-32-1-2-1-1-1 (TAJ-US-                                                                                                                                                                           Dimensional Data In Spreadsheets And Other Data
 Barg 1-2-32-1-2-1-1-l(TA)   NP                                 US6707454                    09/415923                                                 us                    16-Mar-04          12-Oct-19                 12-Oct-99   Structures


 Barkerl-1-1-1-1-2-2-1-1     Barkerl-1-1-1-1-2-2-1-l(WE)-                                                                                                                                                                             Method For Computer Internet Remote Mangement
          {WE)               US-NP                              US6363421                    09/088463                                                 us                    26-Mar-02          31-May-18                 31-May-98   Of A Telecommunication Network Element
 Barkerl-1-1-1-1-2-2-1-1                                                                                                                                                                                                              Telecommunications Network With A Distributive
           {WE)              Barrett 1-4-4 (GR)-US-CIP          US6782420                    09/321483                                                 us                    24-Aug-04          31-May-18                 27-May-99   Network Management System


   Barnett2-1-2-4-3 (RL)     Barnett 2-1-2-4-3 (RL)-US-NP       US6189848                    09/352812                                                 us                    20-Feb-0l           13-Jul-19                13-Jul-99   FastenerWithlntergralSpringClip
                                                                                                                                                                                                                                      lnterpolator, A Resampler Employing The
                                                                                                                                                                                                                                      lnterpolator And Method Of Interpolating A Signal
      Barnette 1 (JD)        Barnette 1 (JD)-US-NP              US6970511                    09/650850                                                 us                    29-Nov-05          21-Mar-23                 29-Aug-00   Associated Therewith
                                                                                                                                                                                                                                      Resampler For A Bit Pump And Method Of
     Barnette 2-2 (JD)       Barnette 3-3 (JD)-US-CNT           US7542536                    11/234361           20060023821                           us                     2-Jun-09           2-May-21                 23-Sep-05   Resampling A Signal Associated Therewith
                                                                                                                                                                                                                                      Resampler For A Bit Pump And Method Of
     Barnette 2-2 (JD)       Barnette 2-2 (JD)-US-NP            US6973146                    09/652116                                                 us                     6-Dec-05           7-Oct-22                 29-Aug-00   Resampling A Signal Associated Therewith


                                                                                                                                                                                                                                      Method Of Forming A Coded Composite Transport
    Barry2-1-1-l(MP)        Barry2-1-1-1 (MP)-US-NP          US7352723                       10/422838           20040213183                           us                     1-Apr-08           4-Apr-26                 25-Apr-03   Channel For Downlink Transmissions
Barshefsky 1-1-1-1-14-1-1-1 Barshefsky 1-1-1-1-14-1-1-1 (A)-                                                                                                                                                                          System And Method For Analyzing And Displaying
            (A)              US-NP                              US6385609                    09/298756                                                 us                    7-May-02           23-Apr-19                 23-Apr-99   Switch Output


                                                                                                                                                                                                                                      Method And Apparatus For Determining Whether
                             Barshefsky2-2-1-1-5-2-2 (A)-US-                                                                                                                                                                          The Advance State Of A Telecommunications Switch
Barshefsky2-2-1-1-5-2-2(A) NP                                   US6393101                    09/431741                                                 us                    21-May-02           1-Nov-19                 1-Nov-99    Is Adequate For A Software Upgrade


                                                                                                                                                                                                                                      Telephonic Handset Apparatus Having An Earpiece
    Bartlett 12-14 {CS)      Bartlett 12-14 (CS)-US-NP          US6163610                    09/055481                                                 us                    19-Dec-00           6-Apr-18                 6-Apr-98    Monitor And Reduced Inter-User Variability
                             Bartter 1-20-2-1-1-1 (WD)-DE-                                                                                                                                                                            Network-Based Electronic Commerce System
 Bartterl-20-2-1-1-l(WD)     EPA                                EP1416456                    03255060.0          EP1416456                             DE                    23-Nov-05          14-Aug-23                 14-Aug-03   Incorporating Prepaid Service Offerings
                             Bartter 1-20-2-1-1-1 (WD)-FR-                                                                                                                                                                            Network-Based Electronic Commerce System
 Bartterl-20-2-1-1-l(WD)     EPA                                EP1416456                    03255060.0          EP1416456                             FR                    23-Nov-05          14-Aug-23                 14-Aug-03   Incorporating Prepaid Service Offerings
                             Bartter 1-20-2-1-1-1 (WD)-GB-                                                                                                                                                                            Network-Based Electronic Commerce System
 Bartterl-20-2-1-1-l(WD)     EPA                                EP1416456                    03255060.0          EP1416456                             GB                    23-Nov-05          14-Aug-23                 14-Aug-03   Incorporating Prepaid Service Offerings


                                                                                                                                                                                                                                      A System And Method For Modeling And Optimizing
 Barve 1-10-4-16-1-4 (RD)    Barve 1-10-4-16-1-4 (RD)-US-NP     US6260108                    09/110114                                                 us                     10-Jul-01           2-Jul-18                 2-Jul-98   1/0 Throughput of Multiple Disks On A Bus


                                                                                                                                                                                                                                      System And Method For Modeling And Optimizing
 Barve 2-12-5-19-2-5 (RD)    Barve 2-12-5-19-2-5 (RD)-US-NP     US6301640                    09/110110           20010013084                           us                     9-Oct-01            2-Jul-18                 2-Jul-98   1/0 Throughput Of Multiple Disks On A Bus


  Baryshnikov 3-3-2-4 (Y)    Baryshnikov 3-3-2-4 (Y)-EP-EPT                                  08795046.5          EP2193496                             EP                                        5-Aug-28                 5-Aug-08    Meeting Optimizer
 Barzegar 13-1-1-2-1-1-24-   Barzegar 13-1-1-2-1-1-24-23 (F)-                                                                                                                                                                         Protocol Converter And Router For Multi-Mode
           23(F)             KR-NP                              KR274295                     9734741                                                   KR                     8-Sep-00           24-Jul-17                24-Jul-97   Wireless Data Communications
                                                                                                                                                                                                                                      Method And Apparatus For Controlling Curvatures Of
  Basavanhally 35-28 (NR)    Basavanhally 35-28 (NR)-US-NP      US7649670                    11/245761           20070079922                           us                    19-Jan-10           30-Jul-28                7-Oct-05    MicrolensesAnd Micromirrors
                                                                ZL200510089423
   Baskaran 1-1-6-2 (NJ      Baskaran 1-1-6-2 (N)-CN-NP         .6                           200510089423.6      CN1731769A                            CN                    5-May-10            5-Aug-25                 5-Aug-05    Digital Delay Buffers And Related Methods


   Baskaran 1-1-6-2 (NJ      Baskaran 1-1-6-2 (NJ-DE-EPA        EP1624601                    05254818.7          EP1624601                             DE                    23-Jan-08           2-Aug-25                 2-Aug-05    Digital Delay Buffers And Related Methods


   Baskaran 1-1-6-2 (NJ      Baskaran 1-1-6-2 (NJ-FR-EPA        EP1624601                    05254818.7          EP1624601                             FR                    23-Jan-08           2-Aug-25                 2-Aug-05    Digital Delay Buffers And Related Methods


   Baskaran 1-1-6-2 (NJ      Baskaran 1-1-6-2 (NJ-GB-EPA        EP1624601                    05254818.7          EP1624601                             GB                    23-Jan-08           2-Aug-25                 2-Aug-05    Digital Delay Buffers And Related Methods


   Baskaran 1-1-6-2 (NJ      Baskaran 1-1-6-2 (NJ-JP-NP         JP4673697                    2005227356          2006050641                            JP                    28-Jan-11           5-Aug-25                 5-Aug-05    Digital Delay Buffers And Related Methods


   Baskaran 1-1-6-2 (NJ      Baskaran 1-1-6-2 (NJ-US-NP         US8762600                    10/911726           20060028902                           us                    24-Jun-14          10-Aug-28                 5-Aug-04    Digital Delay Buffers And Related Methods
      Bassanil-l(EJ)         Bassani 1-1 (EJ)-US-NP             US7744324                    11/133598           20060263172                           us                    29-Jun-10           4-May-27                 20-May-05   A Cup Washer For A Fastener
                                                                                                                                                                                                                                      Finger Assignment System For A Multiple Finger
        Basso 1 (J)          Basso 1 (J)-DE-EPA                 EP0896438                    98305815.7                                                DE                    11-Oct-00           21-Jul-18                21-Jul-98   Receiver and Method Thereof
                                                                                                                                                                                                                                      Finger Assignment System For A Multiple Finger
        Basso 1 (J)          Basso 1 (J)-FI-EPA                 EP0896438                    98305815.7                                                 Fl                   11-Oct-00           21-Jul-18                21-Jul-98   Receiver and Method Thereof
                                                                                                                                                                                                                                      Finger Assignment System For A Multiple Finger
        Basso 1 (J)          Basso 1 (J)-FR-EPA                 EP0896438                    98305815.7                                                FR                    11-Oct-00           21-Jul-18                21-Jul-98   Receiver and Method Thereof
                                                                                                                                                                                                                                      Finger Assignment System For A Multiple Finger
        Basso 1 (J)          Basso 1 (J)-SE-EPA                 EP0896438                    98305815.7                                                SE                    11-Oct-00           21-Jul-18                21-Jul-98   Receiver and Method Thereof
                                                                                                                                                                                                                                      Finger Assignment System For A Multiple Finger
        Basso 1 (J)          Basso 1 (J)-US-NP                  US6345078                    08/903626                                                 us                     5-Feb-02           31-Jul-17                31-Jul-97   Receiver and Method Thereof
                                                                                                                                                                                                                                      Method And Apparatus For Exchanging Routing
                                                                                                                                                                                                                                      Information Within An Autonomous System In A
    Basu 2-1-4-5-22 (A)      Basu 2-1-4-5-22 (A)-US-NP          US7180864                    10/085568           20030174653                           us                    20-Feb-07          21-Sep-24                 27-Feb-02   Packet-Based Data Network
                                                                                                                                                                                                                                      Method And Apparatus For Reducing The Number Of
                                                                                                                                                                                                                                      Write Operations During Route Updates In Pipelined
       Basu 5-6 (A)          Basu 5-6 (A)-US-NP                 US7171490                    10/246204           20040054806                           us                    30-Jan-07          25-Jan-25                 18-Sep-02   Forwarding Engines
                                                                                                                                                                                                                                      Method And Apparatus For Performing Network
      Basu 6-1-3 (A)         Basu 6-1-3 (A)-US-NP               US7260064                    10/269671           20040071082                           us                    21-Aug-07          17-Aug-25                 11-Oct-02   Routing Based On Queue Lengths
                                                                                                                                                                                                                                      Method And Apparatus For Performing Network
                                                                                                                                                                                                                                      Routing With Use Of Power Efficient TCAM-Based
      Basu 7-7-6 (A)         Basu 7-7-6 (A)-US-NP               US7356033                    10/301242           20040100950                           us                     8-Apr-08          18-Nov-25                 21-Nov-02   Forwarding Engine Architectures
                                                                                                                                                                                                                                      Selection Of Incoming Call Screening Treatment
      Batni 10-8(RP)         Batni 10-8 (RP)-US-NP              US7580512                    11/168633           20070003032                           us                    25-Aug-09          18-Dec-27                 28-Jun-05   Based On Emotional State Criterion
                                                                                                                                                                                                                                      Control Service Employment Of Offer Message From
                                                                                                                                                                                                                                      Resource Server To Determine Whether To Add
                                                                                                                                                                                                                                      Indication Of The Resource Server To Resource
    Batni 13-1-11 (RP)       Batni 13-1-11 (RP)-US-NP           US7844044                    11/173966           20070005747                           us                    30-Nov-10          18-Jan-29                 30-Jun-05   Server Mapping Table
                                                                                                                                                                                                                                      Call Triggering To One Or More Service Nodes Upon
      Batni 4-5-3 (RP)       Batni 4-5-3 (RP)-US-NP             US7376419                    10/767101           20050164707                           us                    20-May-08           27-Jul-25                28-Jan-04   Receipt Of Initial Trigger Response




                                                                                                                         Page 78 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0219
                            Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 86 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                            liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                 :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Selection Of Ring back Tone Indicative Of Emotional
                                                                                                                                                                                                                                       State That Is Input By User Of Called Communication
       Batni 6-3 (RP)        Batni 6-3 (RP)-IN-NP                IN276200                     1839/CHE/2005       1839/CH E/2005                         IN                    4-Oct-16          15-Dec-25                 15-Dec-05   Device
                                                                                                                                                                                                                                       Selection Of Ring back Tone Indicative Of Emotional
                                                                                                                                                                                                                                       State That Is Input By User Of Called Communication
       Batni 6-3 (RP)        Batni 6-3 (RP)-JP-NP                JP4908841                    2005362561          2006174478                            JP                    20-Jan-12          16-Dec-25                 16-Dec-05   Device
                                                                                                                                                                                                                                       Selection Of Ring back Tone Indicative Of Emotional
                                                                                                                                                                                                                                       State That Is Input By User Of Called Communication
       Batni 6-3 (RP)        Batni 6-3 (RP)-NZ-NP                NZ544098                     544098              1535                                  NZ                    13-Sep-07          12-Dec-25                 12-Dec-05   Device
                                                                                                                                                                                                                                       Selection Of Ring back Tone Indicative Of Emotional
                                                                                                                                                                                                                                       State That Is Input By User Of Called Communication
       Batni 6-3 (RP)        Batni 6-3 (RP)-US-NP                US8036361                    11/015609           20060147021                           us                    11-Oct-11           7-Jan-28                 17-Dec-04   Device
                                                                 ZL200510091580
    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-CN-NP         .0                           200510091580.0      CN1741678A                            CN                    12-May-10          23-Aug-25                 23-Aug-05   An Extended Cellular Telephony Protocol


    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-DE-EPA        EP1631020                    05255105.8          EP1631020                             OE                    26-Jan-11          18-Aug-25                 18-Aug-05   An Extended Cellular Telephony Protocol


    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-FR-EPA        EP1631020                    05255105.8          EP1631020                             FR                    26-Jan-11          18-Aug-25                 18-Aug-05   An Extended Cellular Telephony Protocol


    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-GB-EPA        EP1631020                    05255105.8          EP1631020                             GB                    26-Jan-11          18-Aug-25                 18-Aug-05   An Extended Cellular Telephony Protocol


    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-JP-NP         JP4813848                    2005240844          2006074762                            JP                     2-Sep-11          23-Aug-25                 23-Aug-05   An Extended Cellular Telephony Protocol


    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-KR-NP         KR101212971                  20050077388                                               KR                    11-Dec-12          23-Aug-25                 23-Aug-05   An Extended Cellular Telephony Protocol


    Battaglia 2-26-59 (F)    Battaglia 2-26-59 (F)-US-NP         US8249106                    10/924115           20060039349                           us                    21-Aug-12          24-May-28                 23-Aug-04   Extended Cellular Telephony Protocol
                                                                                                                                                                                                                                       Wall-Mountable Support Bracket For A Component
                                                                                                                                                                                                                                       Unit Of A Base Station For Wireless
                                                                                                                                                                                                                                       Telecommunications, And Method Of Hoisting The
       Battenl(MV)           Batten l(MV)-US-NP                  US7469867                    11/445861           20070278367                           us                    30-Dec-08          13-Jun-26                 2-Jun-06    Component Unit
                                                                                                                                                                                                                                       Managing Mobility Of Wireless Devices In Distributed
     Bauerl-5-l(MG)          Bauer 1-5-1 (MG)-US-NP              US7496066                    11/022328           20060140143                           us                    24-Feb-09          21-May-26                 23-Dec-04   Communication Networks
  Baulier2-2-1-1-9-1-46-1    Bau lier 2-2-1-1-9-1-46-1 (GD)-US                                                                                                                                                                         Real-Time Event Processing System For
            {GO)             NP                                  US6496831                    09/276339                                                 us                    17-Dec-02          25-Mar-19                 25-Mar-99   Telecommunications And Other Applications
                                                                                                                                                                                                                                       Micromechanically Active Reconfigurable Optical
  Baumann 1-1-5-63 (FH)      Baumann 1-1-5-63 {FH)-US-NP         US6751377                    09/861840                                                 us                    15-Jun-04          21-May-21                 21-May-0l   Add-Drop Filters
                                                                                                                                                                                                                                       Mechanically Tunable Optical Devices Such As
  Baumann 1-1-5-63 (FH)      Baumann 3-5-9-66 {FH)-US-CIP        US6970619                    10/403872           20050074209                           us                    29-Nov-05           23-Jul-21                31-Mar-03   Interferometers


     Baumann 2-8 (FH)        Baumann 2-8 {FH)-US-NP              US6810166                    10/299132           20040096146                           us                    26-Oct-04          19-Nov-22                 19-Nov-02   Optical Waveguide Switch
                                                                                                                                                                                                                                       Translator For Enabling Logical Partitioning Of A
     Baxter 10-1-3 (LA)      Baxter 10-1-3 (LA)-US-NP            US7107356                    10/081311           20020129166                           us                    12-Sep-06          24-Apr-24                 21-Feb-02   Network Switch
                                                                                                                                                                                                                                       A System And Method For Integrating Policy
                                                                                                                                                                                                                                       Management Into Converged Prepaid /Postpaid
   Bayley 1-1-57-1-1 (JS)    Bayley 1-1-57-1-1 (JS)-EP-EPT                                    07762782.6          EP1980077                             EP                                       30-Jan-27                 30-Jan-07   Telecommunications Services
                                                                                                                                                                                                                                       Method And Apparatus For Generating Composite
  Beacken3-3-1-1-l(MJ)       Beacken3-3-1-1-l(MJ)-US-NP          US6072536                    08/959580                                                 us                     6-Jun-00          29-Oct-17                 29-Oct-97   Images
        Bean 1 (JR)          Bean 1 (JR)-US-NP                   US6584590                    09/374256                                                 us                    24-Jun-03          13-Aug-19                 13-Aug-99   JTAG Port-Sharing Device
                                                                                                                                                                                                                                       Method And Apparatus For Use In Specifying And
                                                                                                                                                                                                                                       Insuring Policies For Management Of Computer
   Bearden3-5-3-3(MJ)        Bearden3-5-3-3 (MJ)-US-NP           US6732168                    09/610631                                                 us                    4-May-04           13-Dec-21                  5-Jul-00   Networks


   Beasley 1-1-1-1-8(DB)     Beasley 1-1-1-1-8 (DB)-US-NP        US8762950                    12/178745           20100023930                           us                    24-Jun-14           6-May-31                 24-Jul-08   Software Tool For Scenario-Based Code Inspections
                                                                                                                                                                                                                                       Voice Over IP System Recovery Apparatus For Service
                                                                                                                                                                                                                                       And Packet Groups Based On Failure Detection
      Beauford 4 (KD)        Beauford 4 (KD)-US-NP               US8040796                    12/221217           20100027416                           us                    18-Oct-11          14-Jan-29                 31-Jul-08   Thresholds
       Beck 3-16 (EC)        Beck3-16 (EC)-US-NP                 US7230910                    09/772359           20020101825                           us                    12-Jun-07           4-Feb-24                 30-Jan-0l   Optimal Channel Sounding System


       Becker2 (DC)          Becker2 (DC)-US-NP                  US8245203                    11/771986           20090007065                           us                    14-Aug-12          12-Jun-31                 29-Jun-07   Logging System And Method For Computer Software
      Bedrosian2(PS)         Bedrosian 2 {PS)-US-NP              US6574245                    09/219230                                                 us                     3-Jun-03          23-Dec-18                 23-Dec-98   Enhanced Synchronization Status Messaging


      Bedrosian3(PS)         Bedrosian 3 {PS)-US-NP              US6362909                    09/047247                                                 us                    26-Mar-02          24-Mar-18                 24-Mar-98   Line Powering Shelf For Data Transmission Line
      Bedrosian5(PS)         Bedrosian 5 {PS)-US-NP              US7183863                    09/175521                                                 us                    27-Feb-07          20-Oct-18                 20-Oct-98   Self-Initializing Frequency Detector


     Beger 1-9-1-1 (A)       Beger 1-9-1-1 (A)-US-NP             US6911645                    10/383911           20040173731                           us                    28-Jun-05          24-Dec-23                 7-Mar-03    DWDM Channel Detection System


      Beitman3(BA)           Beitman3(BA)-US-NP                  US7464101                    11/401809                                                 us                     9-Dec-08          11-Jan-27                 11-Apr-06   Fuzzy Alphanumeric Search Apparatus And Method
                                                                                                                                                                                                                                       Method And Apparatus For Fault-Resilient Multicast
     Bejerano 25-17 (Y)      Bejerano 25-17 (Y)-US-NP            US8243585                    12/546762           20110051726                           us                    14-Aug-12          8-May-30                  25-Aug-09   Using MutipleSources
                                                                                                                                                                                                                                       System And Method For Provisioning QOS Paths With
  Bejerano 3-16-1-49-1 (Y)   Bejerano 3-16-1-49-1 (Y)-US-NP      US7409459                    10/672535           20050091350                           us                     5-Aug-08           7-Jun-26                 26-Sep-03   Restoration In A Network
                                                                                                                                                                                                                                       Methods And Devices For Coordinating The
      Bejerano 6-6 (Y)       Bejerano 6-6 (Y)-US-NP              US7477610                    10/788458           20050190701                           us                    13-Jan-09           2-Aug-26                 1-Mar-04    Transmissions Of Access Points In WLANs
       Bell 1-l(MR)          Bell 1-1 (MR)-US-NP                 US6128191                    09/196730                                                 us                     3-Oct-00          20-Nov-18                 20-Nov-98   Heat Sink With Integral Self-Locking Clamp
                                                                                                                                                                                                                                       Method And Apparatus For Providing Multiple
                             Benco 102-69-72-93-68 (DS)-US-                                                                                                                                                                            Simultaneous VOiP Call Sessions For A Single
Benco 102-69-72-93-68 (DS) NP                                    US7653046                    11/013732           20060133345                           us                    26-Jan-10          25-Nov-28                 16-Dec-04   Directory Number
                           Benco 109-28-78-100 (DS)-US-
 Benco 109-28-78-100 (DS)    CNT                                 US7805138                    12/583912           20090318141                           us                    28-Sep-10          27-Aug-29                 27-Aug-09   Network Support For Roaming Optimization
                             Benco 119-35-86-109 (DS)-US-
 Benco 119-35-86-109 (DS)    NP                                  US7221931                    11/112247           20060238607                           us                    22-May-07          15-May-25                 22-Apr-05   Network Support For Electronic Passports
                             Benco 146-56-106-132 (DS)-US-                                                                                                                                                                             Network Support For RF Backhaul For Very Remote
Benco 146-56-106-132 (DS) NP                                     US7706803                    11/172546           20070004418                           us                    27-Apr-10           14-Jul-25                30-Jun-05   Base Stations
                          Benco 149-58-108-134 (DS)-EP-
Benco 149-58-108-134 (DS) EPT                                                                 06827412.5          EP1946535                             EP                                        2-Nov-26                 2-Nov-06    Network Support For Enhanced VoIP caller ID
                          Benco 19-13-13-13-13 (DS)-US-                                                                                                                                                                                Method For Dead Zone Data Collection Using Mobile
 Benco 19-13-13-13-13 (DS)   NP                                  US7215969                    10/623627           20050020284                           us                    8-May-07            29-Jul-24                21-Jul-03   Station
                             Benco 34-25-25-28-25 (DS)-US-                                                                                                                                                                             Network Support For Caller Identification Based On
 Benco 34-25-25-28-25 (DS)   NP                                  US7415456                    10/697577           20050097131                           us                    19-Aug-08           7-Jun-25                 30-Oct-03   Biometric Measurement
                             Benco 55-41-41-50-41 (DS)-US-                                                                                                                                                                             Network Support For Per User Packet Data
 Benco 55-41-41-50-41 (DS)   NP                                  US7224974                    10/739560           20050148335                           us                    29-May-07           26-Jul-24                18-Dec-03   Throughput
                             Benco 71-49-49-66-49 (DS)-US-                                                                                                                                                                             Satellite And Cellular Usage Characteristics
 Benco 71-49-49-66-49 (DS)   NP                                  US7103346                    10/818030           20050221854                           us                     5-Sep-06           3-Nov-24                 5-Apr-04    Determination
                             Benco 74-51-51-68-51 (DS)-US-                                                                                                                                                                             Selecting One Of A Plurality Of Service Providers To
 Benco 74-51-51-68-51 (DS)   NP                                  US7526270                    10/836290           20050245230                           us                    28-Apr-09           6-Nov-24                 30-Apr-04   Handle A Comnunication Session
                             Benco 77-52-52-69-52 (DS)-US-                                                                                                                                                                             Real-Time Transmission Of A Video Between Mobile
 Benco 77-52-52-69-52 (DS)   NP                                  US8010119                    10/835676           20050246742                           us                    30-Aug-11           5-Dec-28                 30-Apr-04   Stations


                             Benco 84-58-58-75-58 (DS)-US-                                                                                                                                                                             Request To Mobile Station To Change To Common
 Benco 84-58-58-75-58 (DS)   NP                                  US7254395                    10/859490           20050272427                           us                     7-Aug-07           6-May-25                 2-Jun-04    Mode Of Communication Upon Entry Into Zone




                                                                                                                          Page 79 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0220
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 87 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                              :ia:~:A,m:::::::::::::::::
                                                              liiitiiiiii~:il\::::'::•:•
                                                                                           :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Automatic Exploration and Testing of Dynamic Web
  Benedikt 9-10-8-1 (MA)     Benedikt 9-10-8-1 (MAJ-US-NP      US7716322                   10/252210                     20040059809                          us              11-May-10          30-Oct-28                 23-Sep-02   Sites
                                                                                                                                                                                                                                       Method And Apparatus For Receiving Digital Wireless
                                                                                                                                                                                                                                       Transmissions Using Multiple-Antenna
     Benesty 13-1-2 (J)      Benesty 13-1-2 (J)-US-NP          US7136437                   10/196865                     20040013212                          us              14-Nov-06           5-Oct-24                 17-Jul-02   Communication Schemes


  Benet6-12-16-2-2 (RB)      Benet 6-12-16-2-2 (RB)-US-NP      US7426666                   10/848496                     20050262402                          us              16-Sep-08            4-Jul-26                18-May-04   Noisy Channel Emulator For High Speed Data
                                                                                                                                                                                                                                       Voice Call Continuity Between GSM/UMTS CS Domain
  Bennett4-16-26-18 (Al)     Bennett 4-16-26-18 (AJ)-IN-PCT                                724/CHENP/2009                724/CHENP/2009                       IN                                 20-Mar-27                 20-Mar-07   And3GPP LTE


  Bennett4-16-26-18 (Al)     Bennett 4-16-26-18 (AJ)-US-PCT    US8976757                   12/309969                     20090296654                          us              10-Mar-15            4-Jul-30                20-Mar-07   Call Continuity
                                                                                                                                                                                                                                       On Explicit Indication Of Bearers To Be Subject To
   Bennett 6-28-2-3 (AJ)     Bennett 6-28-2-3 (AJ)-EP-EPT                                  09776708.1                     EP2292049                           EP                                 10-Jun-29                 10-Jun-09   Voice Call Continuity
                                                                                                                                                                                                                                       On Explicit Indication Of Bearers To Be Subject To
   Bennett 6-28-2-3 (AJ)     Bennett 6-28-2-3 (AJ)-IN-PCT                                  8025/CHENP/2010               8025/CHENP/2010                      IN                                 10-Jun-29                 10-Jun-09   Voice Call Continuity
                                                                                                                                                                                                                                       On Explicit Indication Of Bearers To Be Subject To
   Bennett 6-28-2-3 (AJ)     Bennett 6-28-2-3 (AJ)-JP-PCT     JP5174237                    2011513925                    2011524706                           JP              11-Jan-13          10-Jun-29                 10-Jun-09   Voice Call Continuity
                                                                                                                                                                                                                                       Explicit Indication Of Bearers Subject To Voice Call
   Bennett 6-28-2-3 (AJ)     Bennett 6-28-2-3 (AJ)-US-PCT      US8934356                   12/999797                     20110158121                          us              13-Jan-15          10-Jun-29                 10-Jun-09   Continuity
       Benzl-l(KK)           Benz 1-1 {KK)-US-NP               US6048212                   09/044658                                                          us              11-Apr-00          19-Mar-18                 19-Mar-98   Radio Frequency Connector


      Benz 3-6-13 (A)        Benz 3-6-13 (A)-US-NP             US7508577                   11/093010                     20060221436                          us              24-Mar-09           20-Jul-25                29-Mar-05   Method And System For Suppressing ASE Noise
                                                                                                                                                                                                                                       Deliberate Signal Degradation For Optimizing
      Benz 5-4-2 (A)         Benz 5-4-2 (A)-US-NP              US7609981                   11/221068                     20070053688                          us              27-Oct-09           2-Jan-28                 7-Sep-05    Receiver Control Loops
                                                                                                                                                                                                                                       Method And Apparatus For Signaling Over Packet-
  Berenbaum 6-8-16 (AD)      Berenbaum 6-8-16 (ADJ-US-NP       US6404782                   09/157825                                                          us              11-Jun-02          21-Sep-18                 21-Sep-98   Based Systems
                                                                                                                                                                                                                                       Method And Apparatus For Performing
     Berenzweigl(AL)         Berenzweig 1 (AL)-US-NP           US6584310                   09/073870                                                          us              24-Jun-03          7-May-18                  7-May-98    Authentication in Communication Systems
 Berenzweig 2-1-18-1-11-7    Berenzweig 2-1-18-1-11-7 (AL)-
            (AL)             US-NP                             US6266412                   09/097782                                                          us               24-Jul-01         15-Jun-18                 15-Jun-98   Encrypting Speech Coder
                                                                                                                                                                                                                                       Method For Establishing A Key Using Over-The-Air
                                                                                                                                                                                                                                       Communication And Password Protocol And
   Berenzweig5-5(AL)         Berenzweig5-5(AL)-DE-EPA          EP0977396                   99305706.6                     EP0977396                           DE              13-Oct-04           20-Jul-19                20-Jul-99   Password Protocol
                                                                                                                                                                                                                                       Method For Establishing A Key Using Over-The-Air
                                                                                                                                                                                                                                       Communication And Password Protocol And
   Berenzweig5-5(AL)         Berenzweig5-5(AL)-FR-EPA          EP0977396                   99305706.6                     EP0977396                           FR              13-Oct-04           20-Jul-19                20-Jul-99   Password Protocol
                                                                                                                                                                                                                                       Method For Establishing A Key Using Over-The-Air
                                                                                                                                                                                                                                       Communication And Password Protocol And
   Berenzweig5-5(AL)         Berenzweig5-5(AL)-GB-EPA          EP0977396                   99305706.6                     EP0977396                          GB               13-Oct-04           20-Jul-19                20-Jul-99   Password Protocol
                                                                                                                                                                                                                                       Method For Establishing A Key Using Over-The-Air
                                                                                                                                                                                                                                       Communication And Password Protocol And
   Berenzweig5-5(AL)         Berenzweig5-5(AL)-US-NP           US6192474                   09/127769                                                          us              20-Feb-0l           31-Jul-18                31-Jul-98   Password Protocol


    Bergerl-1-1-l(M)         Bergerl-1-1-1 (M)-US-NP           US6021245                   09/124272                                                          us               1-Feb-00           29-Jul-18                29-Jul-98   NONE
                                                                                                                                                                                                                                       Method And Apparatus For Correcting The Phase Of
  Berger5-5-4-1-3-3 (M)      Berger 5-5-4-1-3-3 (M)-US-NP      US7065160                   10/042594                     20030128779                          us              20-Jun-06          30-Jan-24                 9-Jan-02    A Clock In A Data Receiver
                                                                                                                                                                                                                                       Reflective Faraday-Based Optical Devices Including
   Bergmann49-3-2 (EE)       Bergmann 49-3-2 {EE)-US-NP        US6049412                   09/158670                                                          us              11-Apr-00          22-Sep-18                 22-Sep-98   An Optical Monitoring Tap
                                                                                                                                                                                                                                       Method And Apparatus For Random Access Packet
                                                                                                                                                                                                                                       Transmission By Performing Load Control
  Bernhard 6-35-17 {UP)      Bernhard 6-35-17 {UP)-DE-EPA      EP1331767                   02250557.2                                                         DE               4-Apr-07          28-Jan-22                 28-Jan-02   Functionality
                                                                                                                                                                                                                                       Method And Apparatus For Random Access Packet
                                                                                                                                                                                                                                       Transmission By Performing Load Control
  Bernhard 6-35-17 {UP)      Bernhard 6-35-17 {UP)-FR-EPA      EP1331767                   02250557.2                                                         FR               4-Apr-07          28-Jan-22                 28-Jan-02   Functionality
                                                                                                                                                                                                                                       Method And Apparatus For Random Access Packet
                                                                                                                                                                                                                                       Transmission By Performing Load Control
  Bernhard 6-35-17 {UP)      Bernhard 6-35-17 {UP)-GB-EPA      EP1331767                   02250557.2                                                        GB                4-Apr-07          28-Jan-22                 28-Jan-02   Functionality
                                                                                                                                                                                                                                       Establishing Or Releasing A Radio Connection
                                                                                                                                                                                                                                       Between A Mobile And A Cell For Wireless
    Bernhard 8-5 {UP)        Bernhard 8-5 {UP)-JP-NP          JP4828874                    2005198400                    2006025432                           JP              22-Sep-11            7-Jul-25                 7-Jul-05   Telecommunications
                                                                                                                                                                                                                                       Establishing Or Releasing A Radio Connection
                                                                                                                                                                                                                                       Between A Mobile And A Cell For Wireless
    Bernhard 8-5 {UP)        Bernhard 8-5 {UP)-US-NP           US7239875                   10/886181                     20060009158                          us               3-Jul-07          28-Aug-25                  7-Jul-04   Telecommunications
                                                                                                                                                                                                                                       Establishing Or Releasing A Radio Connection
                                                                                                                                                                                                                                       Between A Mobile And A Cell For Wireless
    Bernhard 8-5 {UP)        Bernhard 8-5 {UP)-DE-EPA          EP1615459                   05254040.8                     EP1615459                           DE               1-Oct-08          29-Jun-25                 29-Jun-05   Telecommunications
                                                                                                                                                                                                                                       Establishing Or Releasing A Radio Connection
                                                                                                                                                                                                                                       Between A Mobile And A Cell For Wireless
    Bernhard 8-5 {UP)        Bernhard 8-5 {UP)-FR-EPA          EP1615459                   05254040.8                     EP1615459                           FR               1-Oct-08          29-Jun-25                 29-Jun-05   Telecommunications
                                                                                                                                                                                                                                       Establishing Or Releasing A Radio Connection
                                                                                                                                                                                                                                       Between A Mobile And A Cell For Wireless
    Bernhard 8-5 {UP)        Bernhard 8-5 {UP)-GB-EPA          EP1615459                   05254040.8                     EP1615459                          GB                1-Oct-08          29-Jun-25                 29-Jun-05   Telecommunications
      Bess is 3-3-3 (T)      Bessis 3-3-3 (T)-US-NP            US7644165                   11/141546                     20060268857                          us               5-Jan-10           5-Sep-28                 31-May-05   Method And Apparatus For SIP Messaging


  Bestwick 10-5-19-9 (GS)    Bestwick 10-5-19-9 {GS)-GB-NP    GB2354819                    GB9922934.6                   GB2354819                           GB               10-Oct-01          28-Sep-19                 28-Sep-99   Cabinet For Units Which dissipate Heat


  Bestwick4-12-4-3 (GS)      Bestwick 4-12-4-3 {GS)-GB-NP     GB2354378                    GB9921728.3                   GB9921728.                          GB               29-Aug-01          14-Sep-19                 14-Sep-99   Non-lnterruptable Power Supply


  Bestwick6-2-14-5 (GS)      Bestwick 6-2-14-5 {GS)-GB-NP     GB2354066                    9921094.0                                                         GB                18-Jul-01          7-Sep-19                 7-Sep-99    Cabinet For Units Which Dissipate Heat


   Bestwick 7-16-6 (GS)      Bestwick 7-16-6 {GS)-GB-NP       GB2354379                    GB9921732.5                   GB2354379                           GB               29-Aug-01          14-Sep-19                 14-Sep-99   Air Conditioning With Brush


  Bestwick 9-4-18-8 (GS)     Bestwick 9-4-18-8 {GS)-GB-NP     GB2354316                    GB9921715.0                   GB9921715.                          GB               12-Sep-0l          14-Sep-19                 14-Sep-99   Cabinet For Units Which Dissipate Heat
      Bhallal-3{KS)          Bhalla 1-3 {KS)-US-NP             US6327059                   09/098568                                                          us               4-Dec-01          17-Jun-18                 17-Jun-98   Optical Signal Processing Modules
                                                                                                                                                                                                                                       Strategically Selecting Data Captures For Signal
    Bhandari 5-1-2 (R)       Bhandari 5-1-2 (R)-US-NP          US7809080                   11/617144                     20080157870                          us               5-Oct-10          27-Mar-29                 28-Dec-06   Predistortion
                             Bhatoolaul 10-23-2-9 (DL)-AU-                                                                                                                                                                             Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   NP                               AU748635                     71666/00                                                          AU               19-Sep-02          17-Nov-20                 17-Nov-00   Telecommunications Systems
                             Bhatoolaul 10-23-2-9 (DL)-DE-                                                                                                                                                                             Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   EPA                               EP1104207                   99309327.7                     EP1104207                           DE               3-Aug-05          23-Nov-19                 23-Nov-99   Telecommunications Systems
                                                                                                                                                                                                                                       Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   Bhatoolaul 10-23-2-9 (DL)-FI-EPA EP1104207                    99309327.7                     EP1104207                           Fl               3-Aug-05          23-Nov-19                 23-Nov-99   Telecommunications Systems
                             Bhatoolaul 10-23-2-9 (DL)-FR-                                                                                                                                                                             Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   EPA                               EP1104207                   99309327.7                     EP1104207                           FR               3-Aug-05          23-Nov-19                 23-Nov-99   Telecommunications Systems
                             Bhatoolaul 10-23-2-9 (DL)-GB-                                                                                                                                                                             Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   EPA                               EP1104207                   99309327.7                     EP1104207                          GB                3-Aug-05          23-Nov-19                 23-Nov-99   Telecommunications Systems
                                                                                                                                                                                                                                       Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   Bhatoolaul 10-23-2-9 (DL)-KR-NP KR0396957                     20000069506                                                        KR              22-Aug-03          22-Nov-20                 22-Nov-00   Telecommunications Systems
                                                                                                                                                                                                                                       Data Packet Length Indication For Mobile
 Bhatoolaul 10-23-2-9 (DL)   Bhatoolaul 10-23-2-9 (DL)-US-NP US6956870                     09/713129                                                          us              18-Oct-05           9-Jan-23                 15-Nov-00   Telecommunications Systems




                                                                                                                                   Page 80 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0221
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 88 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW
                                                               :ia:~:A,m:::::::::::::::::
                                                               liiitiiiiii~:il\::::'::•:•
                                                                                            :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                              Bhatoolaul 11-24-3-10 (DL)-US-
 Bhatoolaul 11-24-3-10 (DL)   NP                                US6944178                   09/713179                                                          us              13-Sep-05            8-Jul-23                15-Nov-00   Mobile Telecommunications Systems
                              Bhatoolaul 12-26-4-11 (DL)-US-                                                                                                                                                                            Cellular Mobile Telephone Network And Method Of
 Bhatoolaul 12-26-4-11 (DL)   NP                                U56788940                   09/805094                     20010046864                          us               7-Sep-04          13-Mar-21                 13-Mar-01   Operating The Same
                                                                                                                                                                                                                                        Improved Message Access For Radio
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 8-21-7 (DL)-US-PCT     US6992998                   09/936102                                                          us              31-Jan-06          10-Dec-19                 10-Dec-99   Telecommunications System
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 6-19-5 (DL)-DE-EPT     EP1159847                   99959568.9                                                         DE               7-Dec-05          10-Dec-19                 10-Dec-99   Systems
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 6-19-5 (DL)-FR-EPT     EP1159847                   99959568.9                                                         FR               7-Dec-05          10-Dec-19                 10-Dec-99   Systems
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 6-19-5 (DL)-GB-EPT     EP1159847                   99959568.9                                                        GB                7-Dec-05          10-Dec-19                 10-Dec-99   Systems
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 7-20-6 (DL)-DE-EPT     EP1159848                   99959576.2                     EP1159848                           DE              27-Jun-07          10-Dec-19                 10-Dec-99   System
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 7-20-6 (DL)-FR-EPT     EP1159848                   99959576.2                     EP1159848                           FR              27-Jun-07          10-Dec-19                 10-Dec-99   System
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 7-20-6 (DL)-GB-EPT     EP1159848                   99959576.2                     EP1159848                          GB               27-Jun-07          10-Dec-19                 10-Dec-99   System
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 7-20-6 (DL)-US-PCT     US7076262                   09/936101                                                          us               11-Jul-06         10-Dec-19                 10-Dec-99   System
                                                                                                                                                                                                                                        Improved Message Access For Radio
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 8-21-7 (DL)-DE-EPT     EP1159840                   99959575.4                     EP1159840                           DE               2-Jul-08          10-Dec-19                 10-Dec-99   Telecommunications System
                                                                                                                                                                                                                                        Improved Message Access For Radio
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 8-21-7 (DL)-FR-EPT     EP1159840                   99959575.4                     EP1159840                           FR               2-Jul-08          10-Dec-19                 10-Dec-99   Telecommunications System
                                                                                                                                                                                                                                        Improved Message Access For Radio
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 8-21-7 (DL)-GB-EPT     EP1159840                   99959575.4                     EP1159840                          GB                2-Jul-08          10-Dec-19                 10-Dec-99   Telecommunications System
                                                                                                                                                                                                                                        Message Access For Radio Telecommunications
   Bhatoolaul 3-15-3 (DL)     Bhatoolaul 6-19-5 (DL)-US-PCT     US6944456                   09/936038                                                          us              13-Sep-05          10-Dec-19                 10-Dec-99   Systems
                                                                                                                                                                                                                                        Code Division Multiple Access System Having
    Bhatoolaul 4-16 (DL)      Bhatoolaul 4-16 (DL)-US-NP        US7286500                   10/019702                                                          us              23-Oct-07          22-Sep-22                 6-Jun-00    Improved Pilot Channels
                                                                                                                                                                                                                                        Methodology of Reducing Areas With Multiple
                                                                                                                                                                                                                                        Dominant Pilots By Installing Simulcasting Elements
     Bi 14-10-7-1-8 (Q)       Bi 14-10-7-1-8 (Q)-TW-NP         TWNl-118267                  87120832                      399377                              TW                21-Jul-00         28-Jan-19                 28-Jan-99   Or Omni-Directional Base Station
                                                                                                                                                                                                                                        Methodology of Reducing Areas With Multiple
                                                                                                                                                                                                                                        Dominant Pilots By Installing Simulcasting Elements
     Bi 14-10-7-1-8 (Q)       Bi 14-10-7-1-8 (Q)-DE-EPA         EP0926914                   98309851.8                     EP0926914                           DE              2-Mar-16            1-Dec-18                 1-Dec-98    Or Omni-Directional Base Station
                                                                                                                                                                                                                                        Methodology of Reducing Areas With Multiple
                                                                                                                                                                                                                                        Dominant Pilots By Installing Simulcasting Elements
     Bi 14-10-7-1-8 (Q)       Bi 14-10-7-1-8 (Q)-FR-EPA         EP0926914                   98309851.8                     EP0926914                           FR              2-Mar-16            1-Dec-18                 1-Dec-98    Or Omni-Directional Base Station
                                                                                                                                                                                                                                        Methodology of Reducing Areas With Multiple
                                                                                                                                                                                                                                        Dominant Pilots By Installing Simulcasting Elements
     Bi 14-10-7-1-8 (Q)       Bi 14-10-7-1-8 (Q)-GB-EPA         EP0926914                   98309851.8                     EP0926914                          GB               2-Mar-16            1-Dec-18                 1-Dec-98    Or Omni-Directional Base Station


                                                                                                                                                                                                                                        Methodology Of Reducing Areas With Multiple
                                                                                                                                                                                                                                        Dominant Pilots By Installing Simulcasting Elements
     Bi 14-10-7-1-8 (Q)       Bi 23-41-30-3-39 (Q)-US-CNT       US7006485                   09/990468                     20020036999                          us              28-Feb-06            8-Jul-19                21-Nov-0l   Or Omni-Directional Base Station


          Bi 15(Q)            Bi 15 (Q)-US-NP                   US6408418                   09/181811                                                          us              18-Jun-02          29-Oct-18                 29-Oct-98   Reduced-State Device and Method For Decoding Data


          Bi 15(Q)            Bi 15 (Q)-KR-NP                   KR606159                    19990047500                   20000047571                          KR               21-Jul-06         29-Oct-19                 29-Oct-99   Reduced-State Device and Method For Decoding Data
                                                                                                                                                                                                                                        Method Of Supporting Multiple Service Levels In A
      Bi 29-18-2-5 (Q)        Bi 29-18-2-5 (Q)-US-NP            US7400877                   10/616553                     20050009522                          us               15-Jul-08         13-Nov-24                 10-Jul-03   Wireless Data Network
                                                                                                                                                                                                                                        Controlling Transmission Power In A Reverse Link Of
                                                                                                                                                                                                                                        AFeedback-BasedSpreadSpectrumWireless
      Bi 42-18-19(Q)          Bi 42-18-19 (Q)-US-NP                                         11/213328                     20070049317                          us                                 26-Aug-25                 26-Aug-05   Network
                                                                                                                                                                                                                                        Method Of Providing Pilot Signals For Uplink Power
        Bi 54-10 (Q)          Bi 54-10 (Q)-EP-EPT                                           07754704.0                     EP2002627                           EP                                 30-Mar-27                 30-Mar-07   Control
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-CN-PCT             ZL80024433.9                200780024433.9                101480086A                          CN                9-Nov-11          22-Jun-27                 22-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-IL-PCT             IL196104                    196104                                                             IL              29-May-13          22-Jun-27                 22-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-DE-EPT             EP2103156                   07809841.5                     EP2103156                           DE               4-Jul-12          22-Jun-27                 22-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-FR-EPT             EP2103156                   07809841.5                     EP2103156                           FR               4-Jul-12          22-Jun-27                 22-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-GB-EPT             EP2103156                   07809841.5                     EP2103156                          GB                4-Jul-12          22-Jun-27                 22-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-TW-NP             TWl444080                    096123539                     200822768                           TW                1-Jul-14          28-Jun-27                 28-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-KR-PCT             KR101048283                 20087031514                                                        KR               5-Jul-11          22-Jun-27                 22-Jun-07   Messages On An Access Channel
                                                                                                                                                                                                                                        A Method Of Controlling Mobile Unit Response
       Bi 57-36-4 (Q)         Bi 57-36-4 (Q)-US-NP              US7660606                   11/427639                     20080004050                          us               9-Feb-10           2-Oct-27                 29-Jun-06   Messages On An Access Channel
                                                                                                                                                                                                                                        Method And Apparatus For Scheduling Packets In An
                                                                                                                                                                                                                                        Orthogonal Frequency Division Multiple Access
        Bi 60-13 (Q)          Bi 60-13 (Q)-US-NP                US8203955                   11/820890                     20080316928                          us              19-Jun-12          21-May-29                 21-Jun-07   {OFDMA) System


    Biles 2-5-1-3-6 (PJ)      Biles 2-5-1-3-6 (PJ)-US-NP        US6566269                   09/616845                                                          us              20-May-03           14-Jul-20                14-Jul-00   Removal Of Post-Etch Residuals On Wafer Surface


     Bilicskal-1-2(0)         Bilicska 1-1-2 (CJ)-US-NP         US6016058                   08/942526                                                          us              18-Jan-00           3-Oct-17                 3-Oct-97    In-Service Wiring Verification Circuitry


    Birniel-1-1-l(WK)         Birniel-1-1-l(WK)-DE-EPA          EP1079652                   00306932.5                     EP1079652                           DE              20-Oct-10          14-Aug-20                 14-Aug-00   Enhanced Roaming Notification Of Call Handoffs


    Birniel-1-1-l(WK)         Birniel-1-1-l(WK)-FR-EPA          EP1079652                   00306932.5                     EP1079652                           FR              20-Oct-10          14-Aug-20                 14-Aug-00   Enhanced Roaming Notification Of Call Handoffs


    Birniel-1-1-l(WK)         Birniel-1-1-l(WK)-GB-EPA          EP1079652                   00306932.5                     EP1079652                          GB               20-Oct-10          14-Aug-20                 14-Aug-00   Enhanced Roaming Notification Of Call Handoffs


    Birniel-1-1-l(WK)         Birniel-1-1-l(WK)-US-NP           US7184765                   09/384646                                                          us              27-Feb-07          27-Aug-19                 27-Aug-99   Enhanced Roaming Notification Of Call Handoffs


     Bischoffl-l(TW)          Bischoff 1-1 (TW)-US-NP           US6718377                   09/526011                                                          us               6-Apr-04          15-Mar-20                 15-Mar-00   An Extensible Operational Support System Interface
                                                                                                                                                                                                                                        Non-Volatile MEMS Micro-Relays Using Magnetic
   Bishop 36-189-4-1 (DJ)     Bishop 36-189-4-1 (DJ)-CA-NP      CA2323025                   2323025                                                           CA                29-Jul-03          6-Oct-20                 6-Oct-00    Actuators
                                                                                                                                                                                                                                        Non-Volatile MEMS Micro-Relays Using Magnetic
   Bishop 36-189-4-1 (DJ)     Bishop 36-189-4-1 (DJ)-DE-EPA     EP1093141                   00308867.1                     EP1093141                           DE              15-Dec-04           9-Oct-20                 9-Oct-00    Actuators
                                                                                                                                                                                                                                        Non-Volatile MEMS Micro-Relays Using Magnetic
   Bishop 36-189-4-1 (DJ)     Bishop 36-189-4-1 (DJ)-FR-EPA     EP1093141                   00308867.1                     EP1093141                           FR              15-Dec-04           9-Oct-20                 9-Oct-00    Actuators
                                                                                                                                                                                                                                        Non-Volatile MEMS Micro-Relays Using Magnetic
   Bishop 36-189-4-1 (DJ)     Bishop 36-189-4-1 (DJ)-GB-EPA     EP1093141                   00308867.1                     EP1093141                          GB               15-Dec-04           9-Oct-20                 9-Oct-00    Actuators
                                                                                                                                                                                                                                        Non-Volatile MEMS Micro-Relays Using Magnetic
   Bishop 36-189-4-1 (DJ)     Bishop 36-189-4-1 (DJ)-US-NP      US6124650                   09/418874                                                          us              26-Sep-00          15-Oct-19                 15-Oct-99   Actuators




                                                                                                                                    Page 81 of 149
                                                                                                                                                                                                             PATENT
                                                                                                                                                                                                     REEL: 044000 FRAME: 0222
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 89 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Methods And Systems For Efficient Multicast Across
     Bitar7-11-1 (NJ        Bitar 7-11-1 (NJ-US-NP            US8213421                   10/838782                     20050243825                          us               3-Jul-12          17-Feb-29                 3-May-04    A Mesh Backplane
                                                                                                                                                                                                                                      Improved Arrangement For Public Safety Answering
  Blair 1-7-1-7-2-5 (MR)    Blair 1-7-1-7-2-5 (MR)-US-NP      US6101240                   09/174363                                                          us               8-Aug-00          15-Oct-18                 15-Oct-98   Points
                                                                                                                                                                                                                                      Method And Apparatus For Compressing Rabin
   Bleichenbacher 5 (DJ     Bleichenbacher 5 (DJ-US-NP        US7593526                   10/763601                     20050163314                          us              22-Sep-09            5-Jul-28                23-Jan-04   Signatures

                                                                                                                                                                                                                                      Method And Apparatus For Synchronous Switching
  Bleisteiner 14-5-4 (BM)   Bleisteiner 14-5-4 (BM)-JP-PCT   JP5078878                    2008508887                    2008539662                           JP               7-Sep-12          10-Apr-26                 10-Apr-06   Of Optical Transport Network Signals


                                                                                                                                                                                                                                      Method And Apparatus For Synchronous Switching
  Bleisteiner 14-5-4 (BM)   Bleisteiner 14-5-4 (BM)-US-NP     US7711007                   11/116510                     20060245450                          us              4-May-10           11-Aug-27                 28-Apr-05   Of Optical Transport Network Signals


                                                                                                                                                                                                                                      Method And Apparatus For Synchronous Switching
  Bleisteiner 14-5-4 (BM)   Bleisteiner 14-5-4(BM)-EP-EPT                                 06749549.9                     EP1875643                           EP                                 10-Apr-26                 10-Apr-06   Of Optical Transport Network Signals


  Bleisteiner5-5-1-l(BM)    Bleisteiner5-5-1-1 (BM)-US-NP     US6920149                   09/865065                     20020018493                          us               19-Jul-05         29-Aug-23                 24-May-0l   Digital Data Transmission System
     Blodgett 12 (JR)       Blodgett 12 (JR)-US-NP            US6268768                   09/450993                                                          us               31-Jul-01         29-Nov-19                 29-Nov-99   Amplifier Having Linear Characteristics
                                                                                                                                                                                                                                      Method And Apparatus For Correct And Complete
                                                                                                                                                                                                                                      Transactions In A Fault Tolerant Distributed Database
    Blood 2-2-1-1 (ML)      Blood 2-2-1-1 (ML)-US-NP          US6202067                   09/056499                                                          us              13-Mar-0l           7-Apr-18                 7-Apr-98    System
                                                                                                                                                                                                                                      Real-Time Event Processing System With Subscription
     Blott3-2-l(SM)         Blott 3-2-1 (SM)-US-NP            US6449618                   09/276340                                                          us              10-Sep-02          25-Mar-19                 25-Mar-99   Model
                                                                                                                                                                                                                                      Method And Apparatus For Applying Once-Only
     Blott 6-9-6 (SM)       Blott 6-9-6 (SM)-US-NP            US6721314                   09/316118                                                          us              13-Apr-04          20-May-19                 20-May-99   Processing In A Data Network


    Blumberg 11-5 (G)       Blumberg 11-5 (G)-US-NP           US7830142                   11/474831                     20070296410                          us               9-Nov-10          25-Feb-29                 26-Jun-06   Tuning Fork Magnetometer


Blumberg 4-3-3-14-9-4-3-2- Blumberg 4-3-3-14-9-4-3-2-1-4-                                                                                                                                                                             A Method And Apparatus For Providing Call
       1-4-2-4 (MR)         2-4 (MR)-US-NP                    US7653068                   10/864583                     20060007913                          us              26-Jan-10           6-Sep-28                 9-Jun-04    Admission Control In Packet Networks
                                                                                                                                                                                                                                      Noninvasive Load And Pressure Sensor System
                                                                                                                                                                                                                                      Utilizing the Principle of Refraction of Light Through
    Blyler 42-6-71 {LL)     Blyler 42-6-71 {LL)-US-NP         US6016703                   09/197651                                                          us              25-Jan-00          23-Nov-18                 23-Nov-98   a Compressible Fluid


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-TW-NP         TWNl-134583                  88107347                      TW441215                            TW               18-Jun-0l           6-May-19                 6-May-99    Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-DE-EPA         EP0969679                   99304916.2                     EP0969679                           DE              22-Oct-03          23-Jun-19                 23-Jun-99   Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-FI-EPA         EP0969679                   99304916.2                     EP0969679                           Fl              22-Oct-03          23-Jun-19                 23-Jun-99   Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-FR-EPA         EP0969679                   99304916.2                     EP0969679                           FR              22-Oct-03          23-Jun-19                 23-Jun-99   Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-GB-EPA         EP0969679                   99304916.2                     EP0969679                          GB               22-Oct-03          23-Jun-19                 23-Jun-99   Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-SE-EPA         EP0969679                   99304916.2                     EP0969679                           SE              22-Oct-03          23-Jun-19                 23-Jun-99   Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-KR-NP          KR603717                    19990025112                   20000006540                          KR               14-Jul-06         29-Jun-19                 29-Jun-99   Adjustable Height Ground Level Serviceable Cellsite.


    Bobadilla 7-1 (DJ)      Bobadilla 7-1 (DJ)-US-NP          US6134422                   09/109241                                                          us              17-Oct-00          30-Jun-18                 30-Jun-98   Adjustable Height Ground Level Serviceable Cellsite.
                                                                                                                                                                                                                                      Method And Apparatus For Transmitting Information
                                                                                                                                                                                                                                      Simultaneously To Multiple Destinations Over Shared
    Boccardi 1-18-1 (F)     Boccardi 1-18-1 (F)-EP-EPT                                    08743043.5                     EP2149203                           EP                                 18-Apr-28                 18-Apr-08   Wireless Resources


   Bodnar 3-12-2-3 (BL)     Bodnar3-12-2-3 (BL)-DE-EPA        EP0977403                   99305716.5                     EP0977403                           DE               3-Apr-02           20-Jul-19                20-Jul-99   A Large Packet Switch Router


   Bodnar 3-12-2-3 (BL)     Bodnar3-12-2-3 (BL)-FR-EPA        EP0977403                   99305716.5                     EP0977403                           FR               3-Apr-02           20-Jul-19                20-Jul-99   A Large Packet Switch Router


   Bodnar 3-12-2-3 (BL)     Bodnar3-12-2-3 (BL)-GB-EPA        EP0977403                   99305716.5                     EP0977403                          GB                3-Apr-02           20-Jul-19                20-Jul-99   A Large Packet Switch Router


   Bodnar 3-12-2-3 (BL)     Bodnar3-12-2-3 (BL)-US-NP         US6310878                   09/124874                                                          us              30-Oct-01           30-Jul-18                30-Jul-98   A Large Packet Switch Router


   Bodnar 3-12-2-3 (BL)     Bodnar3-12-2-3 (BL)-JP-NP        JP3449539                    11210764                                                           JP               11-Jul-03          26-Jul-19                26-Jul-99   A Large Packet Switch Router


                                                                                                                                                                                                                                      Switching Internet Traffic Through Digital Switches
   Bodnar 4-13-3-4 (BL)     Bodnar 4-13-3-4 (BL)-US-NP        US6324176                   09/092666                                                          us              27-Nov-01           5-Jun-18                 5-Jun-98    Having A Time Slot Interchange Network
                                                                                                                                                                                                                                      Ubiquitous Data Synchronization for Replicated
    Bogantz 1-2-2 (RL)      Bogantz 1-2-2 (RL)-US-NP          US6243715                   09/188493                                                          us               5-Jun-01           9-Nov-18                 9-Nov-98    Databases


                                                                                                                                                                                                                                      Transaction State Data Replication by Transaction
    Bogantz 2-1-3 (RL)      Bogantz 2-1-3 (RL)-US-NP          US6347322                   09/188465                                                          us              12-Feb-02           9-Nov-18                 9-Nov-98    Forwarding in Replicated Database Systems


   Bogdan 2-1-1-1 (BJ)      Bogdan 2-1-1-1 (BJ)-US-NP         US7562345                   10/648909                     20070050479                          us               14-Jul-09         26-Apr-26                 27-Aug-03   Firmware Management Tool
 Bohannon 7-3-17-2-30-10    Bohannon 7-3-17-2-30-10 (PL)-                                                                                                                                                                             System And Method For PhysicallyVersioning Data In
           {PL)             US-NP                             US6122645                   09/002635                                                          us              19-Sep-00           5-Jan-18                 5-Jan-98    A Main Memory Database


                                                                                                                                                                                                                                      Method For Making A Call In A Multiple Bit-Rate
                                                                                                                                                                                                                                      Channel, Corresponding Bit-Rate Switching
    Boissel 1-1-2-1 (G)     Boissel 1-1-2-1 (G)-US-NP         US6625210                   09/459045                                                          us              23-Sep-03          10-Dec-19                 10-Dec-99   Procedure And Transmission Network
                                                                                                                                                                                                                                      Suppression Of Coherent Rayleigh Noise In
     Boivin 1-5-21 (L)      Boivin 1-5-21 (L)-US-NP           US6137611                   08/937299                                                          us              24-Oct-00          27-Sep-17                 27-Sep-97   Bidirectional Communication Systems


                                                                                                                                                                                                                                      High-Capacity Chirped-Pulse Wavelength-Division
   Boivin 2-31-22-5 (L)     Boivin 2-31-22-5 (L)-US-NP        US6141127                   09/027055                                                          us              31-Oct-00          20-Feb-18                 20-Feb-98   Multiplexed Communication Method And Apparatus
                                                                                                                                                                                                                                      Apparatus, Method And System For Intelligent
                                                                                                                                                                                                                                      Tandeming Of Incoming Calls To Application Nodes In
    Boland 6-17-1 (RR)      Boland 6-17-1 (RR)-US-NP          US6876738                   09/591471                                                          us               5-Apr-05           9-Jun-20                 9-Jun-00    Telecommunication Systems


                                                                                                                                                                                                                                      Apparatus, Method And System For Message-Based
                                                                                                                                                                                                                                      Intelligent Tandeming Of Incoming Calls To
   Boland 8-2-15-2 (RR)     Boland 8-2-15-2 (RR)-US-NP        US6956939                   09/591472                                                          us              18-Oct-05           9-Nov-21                 9-Jun-00    Application Nodes In Telecommunication Systems
                                                                                                                                                                                                                                      System And Method For Pathological Pattern
      Boles 4-9 (GM)        Boles 4-9 (GM)-US-NP              US8259944                   12/214051                     20090313697                          us               4-Sep-12          26-Jun-30                 16-Jun-08   Protection
       Balle 12 {CA)        Balle 12 {CA)-JP-NP              JP4874496                    2002185554                                                         JP               2-Dec-11          26-Jun-22                 26-Jun-02   Method For Making Micro Lenses
       Balle 12 {CA)        Balle 12 {CA)-US-NP               US6926850                   09/916011                     20030020188                          us               9-Aug-05           4-Dec-22                 26-Jul-0l   Method For Making Micro Lenses


                                                                                                                                                                                                                                      Optical Micro-Electromechanical Systems (MEMS)
     Balle 15-15 {CA)       Balle 15-15 {CA)-US-NP            US6912081                   10/095820                     20030174383                          us              28-Jun-05          12-Mar-22                 12-Mar-02   Devices And Methods Of Making Same


    Balle 18-6-12 {CA)      Balle 18-6-12 {CA)-US-NP          US7254034                   11/013054                     20060126309                          us               7-Aug-07          15-Sep-25                 15-Dec-04   Thermal Management For Shielded Orcuit Packs
       Balle 19(CA)         Balle 19 {CA)-JP-NP              JP5099977                    2005108158                    2005291699                           JP               5-Oct-12           5-Apr-25                 5-Apr-05    Armament Fuse Arrangement
       Balle 19(CA)         Balle 19 {CA)-US-NP               US7701694                   10/817986                     20050217467                          us              20-Apr-10          14-Jan-27                 5-Apr-04    Armament Fuse Arrangement




                                                                                                                                  Page 82 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0223
                            Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 90 of 156
                                                      Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                        ~~:J~JfW
                                                                  :ia:~:A,m:::::::::::::::::
                                                                  liiitiiiiii~:il\::::'::•:•
                                                                                               :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                                ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Test Structure To Monitor The Release Step In A
      Balle 29-24 {CA)         Balle 29-24 {CA)-US-NP              US7932727                   12/058859                     20090243625                          us              26-Apr-11          27-Mar-29                 31-Mar-08   MicromachiningProcess
                                                                                                                                                                                                                                           Micro-Posts Having Improved Uniformity And A
      Balle 34-31 {CA)         Balle 34-31 {CA)-US-NP              US8828520                   12/165880                     20100003460                          us               9-Sep-14            1-Jul-28                 1-Jul-08   Method Of Manufacture Thereof


     Bollenz 1-2-11 (BJ        Bollenz 1-2-11 (BJ-US-NP            US7242701                   11/058331                     20060182157                          us               10-Jul-07          8-Jan-26                 15-Feb-05   Laser Wavelength Control Arrangement And Method
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-AU-NP        AU752350                     36790/99                                                          AU               16-Jan-03          25-Jun-19                 25-Jun-99   Geographic Region
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-DE-EPA        EP0982962                   99304964.2                     EP0982962                           DE              20-Jun-0l          23-Jun-19                 23-Jun-99   Geographic Region
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-FI-EPA        EP0982962                   99304964.2                     EP0982962                           Fl              20-Jun-0l          23-Jun-19                 23-Jun-99   Geographic Region
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-FR-EPA        EP0982962                   99304964.2                     EP0982962                           FR              20-Jun-0l          23-Jun-19                 23-Jun-99   Geographic Region
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-SE-EPA        EP0982962                   99304964.2                     EP0982962                           SE              20-Jun-0l          23-Jun-19                 23-Jun-99   Geographic Region
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-KR-NP         KR311674                    19990025111                                                        KR              27-Sep-0l          29-Jun-19                 29-Jun-99   Geographic Region
                                                                                                                                                                                                                                           Method And Apparatus For Determining Whether A
                                                                                                                                                                                                                                           Wireless Station Is Operating Within A Prescribed
    Bolliger 6-5-1-5 (BD)      Bolliger 6-5-1-5 (BD)-US-NP         US5969679                   09/108336                                                          us              19-Oct-99          30-Jun-18                 30-Jun-98   Geographic Region


                                                                                                                                                                                                                                           Method And Apparatus For Provisioning Distribution
       Bolling 1 (AC)          Bolling 1 (AC)-US-NP                US7002991                   09/635800                                                          us              21-Feb-06           7-Aug-22                 11-Aug-00   Channels In A Communications Network


    Bontekoe 5-1 (HMH)         Bontekoe 5-1 (HMH)-US-NP            US6078225                   09/119551                                                          us              20-Jun-00           21-Jul-18                21-Jul-98   Switching Algorithm For Clock Distribution Function
                                                                                                                                                                                                                                           Forward Error Correction For High Speed Optical
   Bordogna 9-1-1 (MA)         Bordogna 9-1-1 (MAJ-US-NP           US6683855                   09/143781                                                          us              27-Jan-04          31-Aug-18                 31-Aug-98   Transmission Systems
                                                                                                                                                                                                                                           A Method Of Determining The Minimum Number Of
                                                                                                                                                                                                                                           Securing Points Required On an Electronic Isolation
                                                                                                                                                                                                                                           Shield To Sufficiently Secure The Shield To A Orcuit
    Borowiec 1-5-1 (JA)        Borowiec 3-7-3 (JA)-US-DIV          US6266877                   09/246065                                                          us               31-Jul-01          29-Jul-17                8-Feb-99    Board
                                                                                                                                                                                                                                           Methods And Apparatus For Planning Wireless Data
                                                                                                                                                                                                                                           Networks Using Analytical Modeling Of User Level
    Borst 14-19-4-8 (SC)       Borst 14-19-4-8 (SC)-US-NP          US8099098                   10/422286                     20040214577                          us              17-Jan-12           23-Jul-27                24-Apr-03   Performance
                                                                                                                                                                                                                                           Switching Network Providing Multiple Timing Paths
      Bartolini 11 (JR)        Bartolini 11 (JR)-US-NP             US5999543                   08/921673                                                          us               7-Dec-99          29-Aug-17                 29-Aug-97   for Port Circuits
                                                                                                                                                                                                                                           Synchronizing A Central Timing Unit To An External
    Bartolini 12-11 (JR)       Bartolini 12-11 (JR)-US-NP          US6163549                   08/921677                                                          us              19-Dec-00          29-Aug-17                 29-Aug-97   Link Via A Switching Network


     Bartolini 13-1 (JR)       Bartolini 13-1 (JR)-US-NP           US6005902                   08/921676                                                          us              21-Dec-99          29-Aug-17                 29-Aug-97   Providing Timing to an External System
                               Bartolini 14-7-72-1-16 (JR)-US-
 Bartolini 14-7-72-1-16 (JR)   NP                                  US6262363                   09/224601                                                          us               17-Jul-01         31-Dec-18                 31-Dec-98   Electromagnetic Shielding Method And Apparatus


                               Bartolini 15-8-73-5-17 (JR)-US-                                                                                                                                                                             Arrangement For Enclosing A Fluid And Method Of
 Bartolini 15-8-73-5-17 (JR)   NP                                  US6208511                   09/224589                                                          us              27-Mar-0l          31-Dec-18                 31-Dec-98   Manufacturing A Fluid Retaining Enclosure
                               Bartolini 19-12-85-3-24 (JR)-US-
 Bartolini 15-8-73-5-17 (JR)   CIP                                 US6304447                   09/476024                                                          us              16-Oct-01          31-Dec-18                 31-Dec-99   Arrangement For Cooling An Electrical Assembly
                               Bartolini 16-9-74-2-18 (JR)-US-                                                                                                                                                                             Method And Arrangement For Cooling An Electronic
 Bartolini 16-9-74-2-18 (JR)   NP                                  US6175501                   09/224602                                                          us              16-Jan-0l          31-Dec-18                 31-Dec-98   Assembly
                               Bartolini 20-13-87-4-27 (JR)-US-                                                                                                                                                                            Arrangement For Liquid Cooling An Electrical
Bartolini 20-13-87-4-27 (JR) NP                                    US6938678                   09/602037                                                          us               6-Sep-05          13-Apr-22                 23-Jun-00   Assembly Using Assisted Flow


     Bartolini 2-9-3 (EJ)      Bartolini 2-9-3 (EJ)-US-NP          US6064669                   08/921675                                                          us              16-May-00          29-Aug-17                 29-Aug-97   Bit Sliced Digital Cross Connect Switching System
       Bartolini 5 (EJ)        Bartolini 5 (EJ)-US-NP              US6687907                   09/642122                                                          us               3-Feb-04          18-Aug-20                 18-Aug-00   Prevention Of Broadband Cable Service Theft
                                                                                                                                                                                                                                           Testing Method And Apparatus For Flat Panel
       Bosacchi 5 (BJ          Bosacchi 5 (BJ-US-NP                US6111424                   08/923507                                                          us              29-Aug-00           4-Sep-17                 4-Sep-97    Displays


    Bosch 31-13-11 (P)         Bosch 31-13-11 (P)-US-NP            US8451840                   12/612293                     20100135301                          us              28-May-13          25-Nov-31                 4-Nov-09    Mobility In IP Without Mobile IP
                                                                                                                                                                                                                                           Method Of Performing A Layer Operation In A
      Bosch 4-4-9 (P)          Bosch 4-4-9 (P)-US-NP               US8111698                   11/094436                     20060222010                          us               7-Feb-12           6-Dec-26                 31-Mar-05   Communications Network
                                                                                                                                                                                                                                           Method Of Performing A Layer Operation In A
      Bosch 4-4-9 (P)          Bosch 4-4-9 (P)-EP-EPT                                          06739163.1                     EP1864474                           EP                                 21-Mar-26                 21-Mar-06   Communications Network
                                                                                                                                                                                                                                           Transmission Of Maintenance Information Of An
                                                                                                                                                                                                                                           Active Packet Connection Through Employment Of
 Botkin 4-4-15-10-6-4-5-5      Botkin 4-4-15-10-6-4-5-5 (DJ)-US                                                                                                                                                                            Packets Communicated Over The Active Packet
            (DJ)               NP                                  US7821940                   10/818331                     20050220028                          us              26-Oct-10          26-Sep-26                 5-Apr-04    Connection
                                                                                                                                                                                                                                           Measurement-Based Management Method For
    Bouillet 2-20-17 (E)       Bouillet 4-22-21 (E)-US-DIV         US7165115                   10/213480                     20030101263                          us              16-Jan-07          16-Nov-19                 7-Aug-02    Packet Communication Networks
                                                                                                                                                                                                                                           Measurement-Based Management Method For
    Bouillet 2-20-17 (E)       Bouillet 2-20-17 (E)-US-NP          US6954739                   09/441693                                                          us              11-Oct-05          16-Nov-19                 16-Nov-99   Packet Communication Networks
                                                                                                                                                                                                                                           Measurement-Based Management Method For
    Bouillet 2-20-17 (E)       Bouillet 2-20-17 (E)-JP-NP         JP3694231                    2000349142                    2001189760                           JP               1-Jul-05          16-Nov-20                 16-Nov-00   Packet Communication Networks
        Bou lie 2 (C)          Bou lie 2 (CJ-US-PCT                US6603963                   09/445946                                                          us               5-Aug-03          17-Jun-18                 17-Jun-98   Remote Loop-Back Device
                                                                                                                                                                                                                                           Efficient Rate Control For Multi-Resolution Video
        Boyce 1 (JM)           Boyce 1 (JM)-US-NP                  US6343098                   09/031035                                                          us              29-Jan-02          26-Feb-18                 26-Feb-98   Encoding
                                                                                                                                                                                                                                           Method and Apparatus For Generating Selected
                                                                                                                                                                                                                                           Image Views From A Larger Image Having Dependent
       Boyce 2-3 (JM)          Boyce 2-3 (JM)-US-NP                US6246801                   09/036141                                                          us              12-Jun-0l           6-Mar-18                 6-Mar-98    Macroblocks


        Boyce 3 (JM)           Boyce 3 (JM)-US-NP                  US6542693                   09/087068                     20010053276                          us               1-Apr-03          29-May-18                 29-May-98   Digital Video Playback With Trick Play Features
  Boyer 1-1-1-2-1-4-1-1-4      Boyer 1-1-1-2-1-4-1-1-4 (GR)-US-
            (GR)               NP                                  US6154469                   09/018982                                                          us              28-Nov-00           5-Feb-18                 5-Feb-98    A Voice Frequency Data Enhancement Method


                                                                                                                                                                                                                                           Method And Apparatus For Generating Unlimited
      Boyer 2-16 (DG)          Boyer 2-16 (DG)-US-NP               US6337882                   09/036143                                                          us               8-Jan-02           6-Mar-18                 6-Mar-98    Selected Image Views From A Larger Image


                                                                                                                                                                                                                                           Apparatus, Method And System For Automatic
   Boyle 2-1-3-8-1-9 (PJ)      Boyle 2-1-3-8-1-9 (PJ)-US-NP        US6606305                   09/199850                                                          us              12-Aug-03          25-Nov-18                 25-Nov-98   Telecommunication Conferencing And Broadcasting


    Brachmann2-l(M)            Brachmann2-1 (M)-US-NP              US6351154                   09/363528                     20020000836                          us              26-Feb-02           29-Jul-19                29-Jul-99   Phase Detector
                                                                                                                                                                                                                                           A Time-Frequency Method And Apparatus For
                                                                                                                                                                                                                                           Simulating The Initial Transient Response Of Quartz
    Brachtendotf 1 (HG)        Brachtendorf 1 {HG)-US-NP           US6195623                   09/153719                                                          us              27-Feb-0l          15-Sep-18                 15-Sep-98   Oscillators




                                                                                                                                       Page 83 of 149
                                                                                                                                                                                                                PATENT
                                                                                                                                                                                                        REEL: 044000 FRAME: 0224
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 91 of 156
                                                     Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW
                                                                :ia:~:A,m:::::::::::::::::
                                                                liiitiiiiii~:il\::::'::•:•
                                                                                             :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                 ZL200910258006                                                                                                                                                          Method For Identifying Handover Candidate Cell With
    Bradley 1-42-18 (NJ       Bradley 1-42-18 (N)-CN-NP          .8                          200910258006.8                101754303                           CN               25-Dec-13           9-Dec-29                 9-Dec-09    High PSC Re-use In UMTS
                                                                                                                                                                                                                                         Method For Identifying Handover Candidate Cell With
    Bradley 1-42-18 (NJ       Bradley 1-42-18 (NJ-DE-EPA         EP2197228                   08291190.0                     EP2197228                           DE              12-Oct-11          12-Dec-28                 12-Dec-08   High PSC Re-use In UMTS
                                                                                                                                                                                                                                         Method For Identifying Handover Candidate Cell With
    Bradley 1-42-18 (NJ       Bradley 1-42-18 (NJ-FR-EPA         EP2197228                   08291190.0                     EP2197228                           FR              12-Oct-11          12-Dec-28                 12-Dec-08   High PSC Re-use In UMTS
                                                                                                                                                                                                                                         Method For Identifying Handover Candidate Cell With
    Bradley 1-42-18 (NJ       Bradley 1-42-18 (NJ-GB-EPA         EP2197228                   08291190.0                     EP2197228                          GB               12-Oct-11          12-Dec-28                 12-Dec-08   High PSC Re-use In UMTS


                                                                                                                                                                                                                                         Method Of Identification Of A Femtocell Base Station
    Bradley 1-42-18 (NJ       Bradley 1-42-18 (NJ-US-NP          US8345633                   12/635239                     20100150109                          us               1-Jan-13          21-Sep-30                 10-Dec-09   As A Handover Target, And Apparatus Therefor


    Bradyl-2-1-2(GM)          Brady 1-2-1-2 (GM)-US-NP           US6283766                   09/726182                                                          us               4-Sep-01          29-Nov-20                 29-Nov-00   Magnetic Clamp Device
       Brady2 (GM)            Brady 2 (GM)-US-NP                 US6371769                   09/838019                                                          us              16-Apr-02          19-Apr-21                 19-Apr-0l   Magnetic Clamp Adaptor
                                                                                                                                                                                                                                         Method And Apparatus For Frequency Offset
 Brardjanian 1-1-1-9-6 (NJ    Brardjanian 1-1-1-9-6 (NJ-US-NP    US6590945                   09/353009                                                          us               8-Jul-03           13-Jul-19                13-Jul-99   Compensation


                              Brardjanian 2-2-9-14-8 (NJ-US-                                                                                                                                                                             Method And Apparatus For Sampling Timing
 Brardjanian 2-2-9-14-8 (NJ   NP                                 US6567480                   09/371529                                                          us              20-May-03          10-Aug-19                 10-Aug-99   Adjustment And Frequency Offset Compensation


    Brassil 1-1-15-7(JT)      Brassil 1-1-15-7 (JT)-US-NP        US6086706                   08/170619                                                          us               11-Jul-00          11-Jul-17                20-Dec-93   Document Copying Deterrent Method
                                                                                                                                                                                                                                         Dynamic Bandwidth Allocation In A Reservation
       Brassil3(JT)           Brassil 3 (JT)-US-NP               US7143166                   09/351597                                                          us              28-Nov-06           12-Jul-19                12-Jul-99   System
                                                                                                                                                                                                                                         Electrochemical Process For Fabricating Article
                                                                                                                                                                                                                                         Exhibiting Substantial Three-Dimensional Order And
     Braun 1-18-4 (PV)        Braun 1-18-4 {PV)-DE-EPA           EP1030196                   00300708.5                     EP1030196                           DE              24-Oct-01          31-Jan-20                 31-Jan-00   Resultant Article
                                                                                                                                                                                                                                         Electrochemical Process For Fabricating Article
                                                                                                                                                                                                                                         Exhibiting Substantial Three-Dimensional Order And
     Braun 1-18-4 (PV)        Braun 1-18-4 {PV)-FR-EPA           EP1030196                   00300708.5                     EP1030196                           FR              24-Oct-01          31-Jan-20                 31-Jan-00   Resultant Article
                                                                                                                                                                                                                                         Electrochemical Process For Fabricating Article
                                                                                                                                                                                                                                         Exhibiting Substantial Three-Dimensional Order And
     Braun 1-18-4 (PV)        Braun 1-18-4 {PV)-GB-EPA           EP1030196                   00300708.5                     EP1030196                          GB               24-Oct-01          31-Jan-20                 31-Jan-00   Resultant Article
                                                                                                                                                                                                                                         Electrochemical Process For Fabricating Article
                                                                                                                                                                                                                                         Exhibiting Substantial Three-Dimensional Order And
     Braun 1-18-4 (PV)        Braun 1-18-4 {PV)-US-NP            US6409907                   09/248858                                                          us              25-Jun-02          11-Feb-19                 11-Feb-99   Resultant Article


   Bream 3-90-14-21 (JL)      Bream 3-90-14-21 (JL)-DE-EPA       EP1096340                   00309102.2                     EP1096340                           DE              29-Jun-11          16-Oct-20                 16-Oct-00   Holographic Media


   Bream 3-90-14-21 (JL)      Bream 3-90-14-21 (JL)-FR-EPA       EP1096340                   00309102.2                     EP1096340                           FR              29-Jun-11          16-Oct-20                 16-Oct-00   Holographic Media


   Bream 3-90-14-21 (JL)      Bream 3-90-14-21 (JL)-GB-EPA       EP1096340                   00309102.2                     EP1096340                          GB               29-Jun-11          16-Oct-20                 16-Oct-00   Holographic Media


   Bream 3-90-14-21 (JL)      Bream 3-90-14-21 (JL)-US-NP        US6160645                   09/427421                                                          us              12-Dec-00          26-Oct-19                 26-Oct-99   Holographic Media
                                                                                                                                                                                                                                         Concurrency-Control Protocols For Management Of
                                                                                                                                                                                                                                         Replicated Data Items In A Distributed Database
    Breitbart 2-2-29 (Y)      Breitbart 2-2-29 (Y)-US-NP         US5999931                   08/953571                                                          us               7-Dec-99          17-Oct-17                 17-Oct-97   System


                                                                                                                                                                                                                                         Computer Implemented Method And Apparatus For
      Breitbart 3-1 (Y)       Breitbart 3-1 (Y)-US-NP            US6963914                   09/328657                                                          us               8-Nov-05           9-Jun-19                 9-Jun-99    Managing Replicated Files In A Network


    Brentl-1-1-16(KW)         Brentl-1-1-16(KW)-US-NP            US6272358                   09/090362                                                          us               7-Aug-01           4-Jun-18                 4-Jun-98    Vocoder By-pass For Digital Mobile -to - Mobile calls
                                                                                                                                                                                                                                         System And Method For Optimally Configuring
                                                                                                                                                                                                                                         Border Gateway Selection For Transit Traffic Flows In
   Bressoud 2-44-1 (TC)       Bressoud 2-44-1 (TC)-US-NP         US7197040                   10/186761                     20030142682                          us              27-Mar-07          25-May-25                  1-Jul-02   A Computer Network
                                                                                                                                                                                                                                         Caller Line Identification For GSM And Wireless
    Bright 1-1-1-1 (PL)       Bright 1-1-1-1 (PL)-US-NP          US6400947                   09/035403                                                          us               4-Jun-02           5-Mar-18                 5-Mar-98    Communications Systems
                                                                                                                                                                                                                                         Multiple-Protocol Home Location Register And
       Bright4-1 (PL)         Bright4-1 (PL)-JP-NP              JP4606686                    2002053545                                                         JP              15-Oct-10          28-Feb-22                 28-Feb-02   Method Of Use
                                                                                                                                                                                                                                         Multiple-Protocol Home Location Register And
       Bright4-1 (PL)         Bright 4-1 (PL)-US-NP              US6950876                   09/812401                                                          us              27-Sep-05          13-May-23                 19-Mar-01   Method Of Use
                                                                                                                                                                                                                                         Method and Apparatus for Measuring Network
     Brinkman 1-4 (TE)        Brinkman 1-4 (TE)-US-NP            US6683856                   09/169596                                                          us              27-Jan-04           9-Oct-18                 9-Oct-98    Performance and Stress Analysis


                                                                                                                                                                                                                                         System And Method To Enable A Calling Party To
     Brockman2-2(RJ)          Brockman2-2 (RJ)-US-NP             US6546085                   09/430510                                                          us               8-Apr-03          29-Oct-19                 29-Oct-99   Verify Delivery And To cancel Stored Facsimiles
       Brogle 1-7 (J)         Brogle 1-7 (J)-US-DP               USD498467                   29/143225                                                          us              16-Nov-04          16-Nov-18                 8-Jun-01    Latch For Electronic card Faceplates
                                                                                                                                                                                                                                         System And Method For Controlling Excessive
       Brooke 4 (JC)          Brooke 4 (JC)-US-NP                US5917308                   08/929246                                                          us              29-Jun-99          10-Sep-17                 10-Sep-97   Charging-Current In A Battery Power System


  Brooks 2-5-3-2-7-2 (FC)     Brooks 4-9-5-5-8-4 (FC)-DE-EPA     EP69938387.0                99304806.5                     EP1045540                           DE              19-Mar-08          18-Jun-19                 18-Jun-99   Packet Radio Network


  Brooks 2-5-3-2-7-2 (FC)     Brooks 4-9-5-5-8-4 (FC)-FR-EPA     EP1045540                   99304806.5                     EP1045540                           FR              19-Mar-08          18-Jun-19                 18-Jun-99   Packet Radio Network


  Brooks 2-5-3-2-7-2 (FC)     Brooks 4-9-5-5-8-4 (FC)-GB-EPA     EP1045540                   99304806.5                     EP1045540                          GB               19-Mar-08          18-Jun-19                 18-Jun-99   Packet Radio Network
                                                                                                                                                                                                                                         High Quality Audio And Video Over Digital Subscriber
    Brouwerl-29(WL)           Brouwer 1-29 {WL)-US-NP            US7039056                   09/921109                     20030026265                          us              2-May-06             2-Jul-24                2-Aug-01    Lines (DSLs)


  Bruckstein3-1-70(AM)        Bruckstein 3-1-70 (AM)-US-NP       US6091394                   08/923480                                                          us               18-Jul-00          4-Sep-17                 4-Sep-97    Technique For Holographic Representation Of Images
                                                                                                                                                                                                                                         Process For Pose Estimation Of A Camera Viewing An
 Bruckstein 4-2-1-71 (AM)     Bruckstein 4-2-1-71 (AM)-US-NP     US5995214                   08/989533                                                          us              30-Nov-99          12-Dec-17                 12-Dec-97   Image Scene
                                                                                                                                                                                                                                         Method And Apparatus For Suppressing Route
                                                                                                                                                                                                                                         Request Messages For Wireless Gateway
    Brudos 1-16-1 (PG)        Brudos 1-16-1 {PG)-US-NP           US6505050                   09/689552                                                          us               7-Jan-03          12-Oct-20                 12-Oct-00   Applications
                                                                                                                                                                                                                                         Power Overload Control Method Useful With High
   Brueck 12-31-6-37 (5)      Brueck 12-31-6-37 (5)-DE-EPT       EP2127125                   07862772.6                     EP2127125                           DE              28-Oct-15          11-Dec-27                 11-Dec-07   Speed Downlink Packet Access
                                                                                                                                                                                                                                         Power Overload Control Method Useful With High
   Brueck 12-31-6-37 (5)      Brueck 12-31-6-37 (5)-FR-EPT       EP2127125                   07862772.6                     EP2127125                           FR              28-Oct-15          11-Dec-27                 11-Dec-07   Speed Downlink Packet Access
                                                                                                                                                                                                                                         Power Overload Control Method Useful With High
   Brueck 12-31-6-37 (5)      Brueck 12-31-6-37 (5)-GB-EPT       EP2127125                   07862772.6                     EP2127125                          GB               28-Oct-15          11-Dec-27                 11-Dec-07   Speed Downlink Packet Access
                                                                                                                                                                                                                                         Power Overload Control Method Useful With High
   Brueck 12-31-6-37 (5)      Brueck 12-31-6-37 (SJ-JP-PCT      JP5410296                    2009542803                    2010514357                           JP              15-Nov-13          11-Dec-27                 11-Dec-07   Speed Downlink Packet Access
                                                                                                                                                                                                                                         Power Overload Control Method Useful With High
   Brueck 12-31-6-37 (5)      Brueck 12-31-6-37 (5)-US-NP        US9204403                   11/614140                     20080151818                          us               1-Dec-15          17-Nov-30                 21-Dec-06   Speed Downlink Packet Access
                                                                                                                                                                                                                                         Methods Of Power Overload Control In
    Brueck5-27-22 (5)         Brueck 13-32-39 (SJ-US-DIV         US8145233                   11/980421                     20080096576                          us              27-Mar-12          24-Jun-27                 31-Oct-07   Communication Systems
                                                                                                                                                                                                                                         Methods Of Power Overload Control In
    Brueck5-27-22 (5)         Brueck5-27-22 (5)-KR-NP            KR101092872                 20050033671                                                        KR               6-Dec-11          22-Apr-25                 22-Apr-05   Communication Systems
                                                                                                                                                                                                                                         Methods Of Power Overload Control In
    Brueck5-27-22 (5)         Brueck5-27-22 (5)-US-NP            US7620004                   10/835112                     20050243752                          us              17-Nov-09          13-Sep-28                 30-Apr-04   Communication Systems




                                                                                                                                     Page 84 of 149
                                                                                                                                                                                                              PATENT
                                                                                                                                                                                                      REEL: 044000 FRAME: 0225
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 92 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                              :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                    Method Of Determining When A Mobile Station Is
                                                                                                                                                                                                                                    Ready To Be Served During A Handoff In A Wireless
   Brueck9-39-33-19 (5)      Brueck 9-39-33-19 (5)-US-NP      US8050683                    11/645602           20080161003                           us                     1-Nov-11           13-Jul-30                27-Dec-06   Communications Network
                                                                                                                                                                                                                                    SNMP Agent Code Generation And SNMP Agent
                                                                                                                                                                                                                                    Framework For Network Management Application
  Brunell 8-2-8-1-8-8 {EG)   Brunell 8-2-8-1-8-8 {EG)-US-NP    US7555743                   10/868419           20050278692                           us                    30-Jun-09          26-Oct-25                 15-Jun-04   Development


   Bruno3-19-1-41 (JL)       Bruno 3-19-1-41 (JL)-US-NP       US6556578                    09/295458                                                 us                    29-Apr-03          14-Apr-19                 14-Apr-99   Early Fair Drop: A New Buffer Management Policy


                                                                                                                                                                                                                                    Method And system For Providing Computer Storage
  Bruno 4-1-11-20-42 (JL)    Bruno 4-1-11-20-42 (JL)-US-NP    US6434631                    09/418795                                                 us                    13-Aug-02          15-Oct-19                 15-Oct-99   Access With Quality Of Service Guarantees
                                                                                                                                                                                                                                    Operating System Transfer Of Control And Parameter
  Bruno 5-2-12-44-1 (JL)     Bruno 5-2-12-44-1 (JL)-US-NP     US6604123                    09/311229                                                 us                     5-Aug-03          13-May-19                 13-May-99   Manipulation Using Portals


                                                                                                                                                                                                                                    Employment Of Value Of Unknown In Portion Of
      Bruns 2-5 (GR)         Bruns 2-5 (GR)-US-NP             US6708328                    09/465578                                                 us                    16-Mar-04          17-Dec-19                 17-Dec-99   Partial State Space For Analysis Of Part Of System


  Brusilovsky 2-2-2-10 (A)   Brusilovsky 2-2-2-10 (A)-US-NP   US6819667                    09/368985                                                 us                    16-Nov-04           5-Aug-19                 5-Aug-99    PSTN-lnternet Notification Service
                                                                                                                                                                                                                                    Method And Apparatus For Detecting Wireless Data
    Bu 14-10-11-27 (T)       Bu 14-10-11-27 (T)-US-NP         US8081567                    12/011908           20090190511                           us                    20-Dec-11          22-Sep-30                 30-Jan-08   Subscribers Using Natted Devices
                                                                                                                                                                                                                                    Design And Evaluation Of A Fast And Robust Worm
      Bu 7-4-3-41 (T)        Bu 7-4-3-41 (T)-US-CNT           US9069962                    14/096145           20140181978                           us                    30-Jun-15           4-Dec-33                 4-Dec-13    Detection Algorithm
                                                                                                                                                                                                                                    Coarse Wavelength Division Multiplexing Optical
    Buchholz 2-13 (DB)       Buchholz 2-13 (DB)-US-NP         US5943456                    08/915244                                                 us                    24-Aug-99          20-Aug-17                 20-Aug-97   System
                                                                                                                                                                                                                                    ATM Access Interface: Hardware Based Quick
 Buchholz 3-14-1-4-5 (DB)    Buchholz 3-14-1-4-5 (DB)-US-NP   US6198750                    09/042833                                                 us                    6-Mar-01           17-Mar-18                 17-Mar-98   Response Flow Control
                             Buddhikot 15-9-24-30 (MM)-US-                                                                                                                                                                          Apparatus And Method For Practical And Efficient
Buddhikot 15-9-24-30 (MM) NP                             US8042017                         11/789287           20080267106                           us                    18-Oct-11          20-Jun-30                 24-Apr-07   Broadcast In Mobile Ad Hoc Networks
  Buddhikot 19-5-19-5-3   Buddhikot 19-5-19-5-3 (MM)-KR-
           (MM)              PCT                              KR101190537                  20107027079                                               KR                     8-Oct-12          22-Apr-29                 22-Apr-09   Method Of Identifying A Transmitting Device
                                                                                                                                                                                                                                    Routing Bandwidth Guaranteed Paths With Local
  Buddhikot 7-4-8-2 (MM)     Buddhikot 7-4-8-2 (MM)-US-NP     US8675493                    10/187664           20040004938                           us                    18-Mar-14          7-May-30                   2-Jul-02   Restoration In Label Switched Networks
                                                                                                                                                                                                                                    Method Of Throttling Uplink Traffic In A Wireless
     Budka 6-1-1 (KC)        Budka 27-2-7 (KC)-US-DIV         US8325734                    12/076313           20080165747                           us                     4-Dec-12          19-Oct-24                 17-Mar-08   Communication System
                                                                                                                                                                                                                                    Cellular Communications System And Related
  Buehrer 10-5-5-3 (RM)      Buehrer 10-5-5-3 (RM)-US-NP      US6801791                    09/810694           20020169006                           us                     5-Oct-04          14-Mar-21                 14-Mar-01   Methods


                                                                                                                                                                                                                                    Multistage Interference Cancellation For CDMA
    Buehrerl-1-1 (MR)        Buehrer 1-1-1 (MR)-US-NP         US6363103                    09/058065                                                 us                    26-Mar-02           9-Apr-18                 9-Apr-98    Applications Using M-ary Orthogonal Modulation
                                                                                                                                                                                                                                    Base Station System Including Parallel Interference
   Buehrer 2-4-1-2 (RM)      Buehrer2-4-1-2 (RM)-JP-NP                                     2000196333                                                JP                                       29-Jun-20                 29-Jun-00   Cancellation Processor
                                                                                                                                                                                                                                    Base Station System Including Parallel Interference
   Buehrer 2-4-1-2 (RM)      Buehrer 2-4-1-2 (RM)-US-NP       US6157847                    09/342145                                                 us                     5-Dec-00          29-Jun-19                 29-Jun-99   Cancellation Processor
                                                                                                                                                                                                                                    Base Station System Including Parallel Interference
   Buehrer 2-4-1-2 (RM)      Buehrer 2-4-1-2 (RM)-DE-EPA      EP1065796                    00305207.3          EP1065796                             DE                     3-Sep-08          20-Jun-20                 20-Jun-00   Cancellation Processor
                                                                                                                                                                                                                                    Base Station System Including Parallel Interference
   Buehrer 2-4-1-2 (RM)      Buehrer 2-4-1-2 (RM)-FR-EPA      EP1065796                    00305207.3          EP1065796                             FR                     3-Sep-08          20-Jun-20                 20-Jun-00   Cancellation Processor
                                                                                                                                                                                                                                    Base Station System Including Parallel Interference
   Buehrer 2-4-1-2 (RM)      Buehrer 2-4-1-2 (RM)-GB-EPA      EP1065796                    00305207.3          EP1065796                             GB                     3-Sep-08          20-Jun-20                 20-Jun-00   Cancellation Processor
                                                                                                                                                                                                                                    Iterative Channel Estimation And Compensation
    Buehrer3-2-3 (RM)        Buehrer3-2-3 (RM)-US-NP          US6614857                    09/296409                                                 us                     2-Sep-03          23-Apr-19                 23-Apr-99   Based Thereon
                                                                                                                                                                                                                                    Methods And Apparatus For Downlink Diversity In
    Buehrer5-1-1 (RM)        Buehrer 17-10-2 (RM)-US-CNT      US7400614                    10/282455           20030061656                           us                     15-Jul-08         22-Dec-19                 29-Oct-02   CDMA Using Walsh Codes
                                                                                                                                                                                                                                    Methods And Apparatus For Downlink Diversity In
    Buehrer5-1-1 (RM)        Buehrer5-1-1 (RM)-JP-NP          JP4046456                    2000113922                                                JP                    30-Nov-07          14-Apr-20                 14-Apr-00   CDMA Using Walsh Codes
                                                                                                                                                                                                                                    Methods And Apparatus For Downlink Diversity In
    Buehrer5-1-1 (RM)        Buehrer 5-1-1 (RM)-US-NP         US6515978                    09/294661                                                 us                     4-Feb-03          19-Apr-19                 19-Apr-99   CDMA Using Walsh Codes
                                                                                                                                                                                                                                    Methods And Apparatus For Downlink Diversity In
    Buehrer5-1-1 (RM)        Buehrer5-1-1 (RM)-EP-EPD[2]                                   04022902.3          EP1523120                             EP                                       19-Apr-19                 25-Sep-04   CDMA Using Walsh Codes
                                                                                                                                                                                                                                    Motion Compensation Image Interpolation - Frame
   Bugwadia 1-26-1 (KA)      Bugwadia 1-26-1 (KA)-US-NP       US6229570                    09/161337                                                 us                    8-May-01           25-Sep-18                 25-Sep-98   Rate Conversion For HDTV
                                                                                                                                                                                                                                    Method And Apparatus For Continuous Speech
                                                                                                                                                                                                                                    Recognition Using A Layered, Self-Adjusting Decoder
     Buhrke 4-14 (ER)        Buhrke 4-14 (ER)-US-NP           US6006181                    08/928372                                                 us                    21-Dec-99          12-Sep-17                 12-Sep-97   Network
                                                                                                                                                                                                                                    Multiple Inclined Wafer Holder For Improved Vapor
                                                                                                                                                                                                                                    Transport And Reflux For Sealed Ampoule Diffusion
  Bui usu 2-35-10-1-1 (DV)   Bui usu 2-35-10-1-1 (DV)-US-NP   US6520348                    09/542622                                                 us                    18-Feb-03           4-Apr-20                 4-Apr-00    Process
                                                                                                                                                                                                                                    Apparatus, Method and System for Wireless
                                                                                                                                                                                                                                    Telecommuncation Session Control by an Adjunct
   Bunting 1-1-3-11 (RL)     Bunting 1-1-3-11 (RL)-US-NP      US6393289                    09/196484                                                 us                    21-May-02          19-Nov-18                 19-Nov-98   Network Entity


  Buratynski 1-6-17 (EK)     Buratynski 1-6-17 {EK)-US-NP     US6374661                    09/162751                                                 us                    23-Apr-02          29-Sep-18                 29-Sep-98   Realistic, Repeatable And Controllable Drop Testing
                                                                                                                                                                                                                                    Allocating Memory To Low Usage Packet Data
   Burgess 12-7-6-6 (JK)     Burgess 12-7-6-6 (JK)-US-NP      US8750177                    11/618105           20080161004                           us                    10-Jun-14          10-Dec-29                 29-Dec-06   Sessions In A Wireless Communication System
                                                                                                                                                                                                                                    Vacating Low Usage Packet Data Sessions In A
   Burgess 13-8-7-7 (JK)     Burgess 13-8-7-7 (JK)-US-NP      US8849351                    11/618140           20080161007                           us                    30-Sep-14           22-Jul-31                29-Dec-06   Wireless Communication System
                                                                                                                                                                                                                                    Method And Appartus To Allow Hand-Off From A
    Burgess 14-25 (JK)       Burgess 14-25 (JK)-US-NP         US8027681                    11/758477           20080305801                           us                    27-Sep-11          7-May-30                  5-Jun-07    Macrocell To A Femtocell
                                                              ZL200880113748
    Burgess 16-32 (JK)       Burgess 16-32 (JK)-CN-PCT        .5                           200880113748.5      101843141                             CN                    27-Nov-13          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-DE-EPT        EP2218281                    08845526.6          EP2218281                             DE                     7-Sep-11          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-FR-EPT        EP2218281                    08845526.6          EP2218281                             FR                     7-Sep-11          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-GB-EPT        EP2218281                    08845526.6          EP2218281                             GB                     7-Sep-11          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-IN-PCT        IN278689                     2343/CHENP/2010     2343/CHENP/2010                        IN                   28-Dec-16          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-JP-PCT        JP5132777                    2010532022          2011502423                            JP                    16-Nov-12          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-KR-PCT        KR101184198                  20107011132         20100084558                           KR                    13-Sep-12          23-Oct-28                 23-Oct-08   Hand-Off Trigger At Access Technology Borders


    Burgess 16-32 (JK)       Burgess 16-32 (JK)-US-NP         US8054802                    11/976802           20090111468                           us                     8-Nov-11          24-Nov-29                 29-Oct-07   Hand-Off Trigger At Access Technology Borders
     Burgess 2-2 (PN)        Burgess 2-2 {PN)-US-NP           US7535887                    09/597430                                                 us                    19-May-09          20-May-26                 20-Jun-00   Packetizing Telecommunications Switch
                                                                                                                                                                                                                                    Multi-Carrier Method For Providing Access To A
  Burgess 8-5-18-5-3 (JK)    Burgess 8-5-18-5-3 (JK)-US-NP    US6970447                    10/086507           20040203702                           us                    29-Nov-05          27-Apr-24                 1-Mar-02    Wireless Communication System
                                                                                                                                                                                                                                    Arrangement For Manipulating a PIN in an Electrical
                                                                                                                                                                                                                                    Assembly Including a Reciprocating Engaging
     Burgholzer 5 (BL)       Burgholzer 5 (BL)-US-NP          US6233805                    09/396856                                                 us                    22-May-0l          15-Sep-19                 15-Sep-99   Member




                                                                                                                       Page 85 of 149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0226
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 93 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                             :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                   System For Visually Representing Modification
                                                                                                                                                                                                                                   Information About An Characteristic-Dependent
 Burkwald 1-30-1-2-l(SK)    Burkwald 1-30-1-2-1 {SK)-US-NP    US6356285                   08/992408                                                 us                    12-Mar-02          17-Dec-17                 17-Dec-97   Information Processing System
     Burnett 4-1 (D5)       Burnett 4-1 (D5)-US-NP            US5966524                   08/939456                                                 us                    12-Oct-99          29-Sep-17                 29-Sep-97   A3-DElectromagneticlnfiniteElement
                                                                                                                                                                                                                                   Wireless Communication Network With Automatic
        Busch 4(P)          Busch 4(P)-US-NP                  US7155247                   10/410471           20030199283                           us                    26-Dec-06          10-Oct-24                 9-Apr-03    Threshold Adjustment
                                                                                                                                                                                                                                   Apparatus, Method And System For Personal
     Bushnell lO(WJ)        Bushnell 10 (WJ)-US-NP           US6249579                    09/087412                                                 us                    19-Jun-0l          29-May-18                 29-May-98   Telecommunication Speed Calling


     Bushnell12(WJ)         Bushnell 12(WJ)-US-NP            US6320955                    09/259236                                                 us                    20-Nov-01           1-Mar-19                 1-Mar-99    Remote Activation Of Call Trace


     Bushnell 14(WJ)        Bushnell 14(WJ)-DE-EPA           EP1081932                    00307186.7          EP1081932                             DE                    17-Mar-04          21-Aug-20                 21-Aug-00   Call Me Conference Call System


     Bushnell 14(WJ)        Bushnell 14(WJ)-FR-EPA           EP1081932                    00307186.7          EP1081932                             FR                    17-Mar-04          21-Aug-20                 21-Aug-00   Call Me Conference Call System


     Bushnell 14(WJ)        Bushnell 14(WJ)-GB-EPA           EP1081932                    00307186.7          EP1081932                             GB                    17-Mar-04          21-Aug-20                 21-Aug-00   Call Me Conference Call System


     Bushnell 14(WJ)        Bushnell 14(WJ)-JP-NP            JP4865123                    2000262278                                                JP                    18-Nov-11          31-Aug-20                 31-Aug-00   Call Me Conference Call System


     Bushnell 14(WJ)        Bushnell 14(WJ)-US-NP            US6754322                    09/386729                                                 us                    22-Jun-04          31-Aug-19                 31-Aug-99   Call Me Conference Call System
                                                                                                                                                                                                                                   Phone Connector Component Operationally
                                                                                                                                                                                                                                   Connectable Through Packet Network To Any
                                                                                                                                                                                                                                   Selected One Or More Switch Components For
                                                                                                                                                                                                                                   Originating And/Or Terminating Telecommunication
    Bushnell20-l(WJ)        Bushnell 20-l(WJ)-US-NP          US7180890                    09/825645           20020145997                           us                    20-Feb-07          15-Aug-23                 4-Apr-01    Service
                                                                                                                                                                                                                                   System For Implementing Simulated Facility Groups
     Bushnell21(WJ)         Bushnell21(WJ)-US-NP             US7324532                    10/359825           20040156391                           us                    29-Jan-08           8-Jan-26                 7-Feb-03    On A GR303-Type Interface
                                                                                                                                                                                                                                   An Electromagnetic Interference Cover For A Conduit
                            Buskmiller 3-18-25-12 (MR)-US-                                                                                                                                                                         And An Electronic Equipment Chassis Employing The
Buskmiller3-18-25-12 (MR) NP                                 US6252180                    09/370531                                                 us                    26-Jun-0l           9-Aug-19                 9-Aug-99    Same
                                                                                                                                                                                                                                   Electromagnetic Interference Cover For An
  Buskmiller 4-19-26-5-13   Buskmiller 4-19-26-5-13 (MR)-                                                                                                                                                                          Electronics Module And An Electronic Equipment
           (MR)             US-NP                            US6284970                    09/395041                                                 us                     4-Sep-01          13-Sep-19                 13-Sep-99   Chassis Employing The Same
                                                                                                                                                                                                                                   NPA Split Management In Intelligent Network
      Buttitta3-2(A)        Buttitta3-2 (A)-DE-EPA           EP1005238                    99307439.2          EP1005238                             DE                    24-Oct-01          21-Sep-19                 21-Sep-99   Environment
                                                                                                                                                                                                                                   NPA Split Management In Intelligent Network
      Buttitta3-2(A)        Buttitta3-2 (A)-FR-EPA           EP1005238                    99307439.2          EP1005238                             FR                    24-Oct-01          21-Sep-19                 21-Sep-99   Environment
                                                                                                                                                                                                                                   NPA Split Management In Intelligent Network
      Buttitta3-2(A)        Buttitta3-2 (A)-GB-EPA           EP1005238                    99307439.2          EP1005238                             GB                    24-Oct-01          21-Sep-19                 21-Sep-99   Environment
                                                                                                                                                                                                                                   NPA Split Management In Intelligent Network
      Buttitta3-2(A)        Buttitta3-2 (A)-JP-NP            JP3728154                    275435/1999         2000115359                            JP                     7-Oct-05          29-Sep-19                 29-Sep-99   Environment
                                                                                                                                                                                                                                   NPA Split Management In Intelligent Network
      Buttitta3-2(A)        Buttitta 3-2 (A)-KR-NP           KR633716                     19990041792                                               KR                     4-Oct-06          29-Sep-19                 29-Sep-99   Environment
                                                                                                                                                                                                                                   NPA Split Management In Intelligent Network
      Buttitta3-2(A)        Buttitta 3-2 (A)-US-NP           US6289095                    09/162911                                                 us                    11-Sep-0l          29-Sep-18                 29-Sep-98   Environment
      Buttsl-3(ML)          Butts 1-3 (ML)-US-NP             US5978460                    08/941555                                                 us                     2-Nov-99          30-Sep-17                 30-Sep-97   Coin Telephone Data Port Protection


       Byers 24 (CC)        Byers 24 (CC)-US-NP              US6157308                    09/329687                                                 us                     5-Dec-00          10-Jun-19                 10-Jun-99   Detecting Hidden Faults In Reliable Power Systems
                                                                                                                                                                                                                                   Enhanced Automatic Speech Recognition Using
       Byers 32 (CC)        Byers 32 (CC)-US-NP              US6219645                    09/453113                                                 us                    17-Apr-0l           2-Dec-19                 2-Dec-99    Multiple Directional Microphones


                                                                                                                                                                                                                                   System and Method For Providing Host Geographic
     Byers 36-27 (CC)       Byers 36-27 (CC)-US-NP           US6975619                    09/528572                                                 us                    13-Dec-05          20-Mar-20                 20-Mar-00   Location Information In A Packet Data Network


  Byers 37-5-1-10-9 (CC)    Byers 37-5-1-10-9 (CC)-US-NP     US6907035                    09/593184                                                 us                    14-Jun-05           4-Dec-22                 13-Jun-00   Master Controller For A Flexible Switching System
                                                                                                                                                                                                                                   System And Method For Providing Controlled
       Byers 38 (CC)        Byers 38 (CC)-US-NP              US6975594                    09/604152                                                 us                    13-Dec-05          25-Oct-22                 27-Jun-00   Broadband Access Bandwidth
                                                                                                                                                                                                                                   Interconnecting Processing Units Of A Stored
                                                                                                                                                                                                                                   Program Controlled System Using Wavelength
      Byers 42-4 (CC)       Byers 42-4 (CC)-DE-EPA           EP1284430                    02254780.6          EP1284430                             DE                    26-Apr-06            9-Jul-22                 9-Jul-02   Division Multiplexed Free Space Optics
                                                                                                                                                                                                                                   Interconnecting Processing Units Of A Stored
                                                                                                                                                                                                                                   Program Controlled System Using Wavelength
      Byers 42-4 (CC)       Byers 42-4 (CC)-FR-EPA           EP1284430                    02254780.6          EP1284430                             FR                    26-Apr-06            9-Jul-22                 9-Jul-02   Division Multiplexed Free Space Optics
                                                                                                                                                                                                                                   Interconnecting Processing Units Of A Stored
                                                                                                                                                                                                                                   Program Controlled System Using Wavelength
      Byers 42-4 (CC)       Byers 42-4 (CC)-GB-EPA           EP1284430                    02254780.6          EP1284430                             GB                    26-Apr-06            9-Jul-22                 9-Jul-02   Division Multiplexed Free Space Optics
                                                                                                                                                                                                                                   Audible Signaling Device With Determinate
       Byers 49 (CC)        Byers 49 (CC)-US-NP              US7095861                    10/081352           20030161483                           us                    22-Aug-06          29-Nov-23                 22-Feb-02   Directional Radiation
                                                                                                                                                                                                                                   Backplane Configuration With Shortest-Path-Relative-
      Byers 55-8 (CC)       Byers 55-8 (CC)-US-NP            US7206888                    10/626215           20050016766                           us                    17-Apr-07           20-Jul-24                24-Jul-03   Shift Routing
       Byers 62 (CC)        Byers 62 (CC)-US-NP              US7423852                    11/137524           20060268483                           us                     9-Sep-08          28-Mar-26                 25-May-05   Apparatus For Providing Holdover Power


     Byers 65-1-9(CC)       Byers 65-1-9 (CC)-US-NP          US7863912                    11/998607           20090140755                           us                     4-Jan-11          30-Nov-27                 30-Nov-07   Circuit Board Testing System


       Byers 66 (CC)        Byers 66 (CC)-US-NP              US8842431                    11/872520           20090097204                           us                    23-Sep-14          20-Oct-30                 15-Oct-07   Horizontal Chassis Having Front To Back Airflow
     Byers 67-11 (CC)       Byers 67-11 (CC)-US-NP           US8844609                    12/381385           20100230079                           us                    30-Sep-14           2-Oct-32                 11-Mar-09   Cooling Manifold
                                                                                                                                                                                                                                   Hybrid Standby Power System, Method Of Operation
                            Byrne 14-7-20-11-6-4 (VM)-US-                                                                                                                                                                          Thereof And Telecommunications Installation
  Byrne 5-2-9-8-1-3 (VM)    CNT                              US5995396                    09/268917                                                 us                    30-Nov-99          16-Dec-17                 15-Mar-99   Employing The Same
     Cadet 13-26 (G)        Cadet 13-26 (G)-US-NP            US5948967                    08/998440                                                 us                     7-Sep-99          26-Dec-17                 26-Dec-97   Acoustic Analysis Of Gas Mixtures
                                                                                                                                                                                                                                   Telephone Calling Card Service System Integrating
       Cai 10-3 (Y)         Cai 10-3 (Y)-DE-EPA              EP1085738                    00305393.1          EP1085738                             DE                    29-Nov-06          27-Jun-20                 27-Jun-00   Virtual Destination Numbers
                                                                                                                                                                                                                                   Telephone Calling Card Service System Integrating
       Cai 10-3 (Y)         Cai 10-3 (Y)-FR-EPA              EP1085738                    00305393.1          EP1085738                             FR                    29-Nov-06          27-Jun-20                 27-Jun-00   Virtual Destination Numbers
                                                                                                                                                                                                                                   Telephone Calling Card Service System Integrating
       Cai 10-3 (Y)         Cai 10-3 (Y)-GB-EPA              EP1085738                    00305393.1          EP1085738                             GB                    29-Nov-06          27-Jun-20                 27-Jun-00   Virtual Destination Numbers
                                                                                                                                                                                                                                   Telephone Calling Card Service System Integrating
       Cai 10-3 (Y)         Cai 10-3 (Y)-US-NP               US6356630                    09/346152                                                 us                    12-Mar-02            9-Jul-19                 9-Jul-99   Virtual Destination Numbers


                                                                                                                                                                                                                                   Pre-Biller In Internet Protocol Multimedia Subsystem
       Cai 109-7 (Y)        Cai 109-7 (Y)-US-NP              US8126123                    11/711545           20080205614                           us                    28-Feb-12          30-Dec-30                 27-Feb-07   (IMS) Charging Gateway Function (CGF)


                                                                                                                                                                                                                                   Implementing Rating Timer Control In A Pre-Biller To
      Cai 110-11 (Y)        Cai 110-11 (Y)-KR-PCT            KR101158980                  20097020406                                               KR                    15-Jun-12          20-Mar-28                 20-Mar-08   Support On-line And Off-line Charging


                                                                                                                                                                                                                                   Implementing Rating Timer Control In A Pre-Biller To
      Cai 110-11 (Y)        Cai 110-11 (Y)-IN-PCT                                         5675/CHENP/2009     5675/CHENP/2009                        IN                                      20-Mar-28                 20-Mar-08   Support On-line And Off-line Charging


                                                                                                                                                                                                                                   Implementing Rating Timer Control In A Pre-Biller To
      Cai 110-11 (Y)        Cai 110-11 (Y)-JP-PCT            JP5380428                    2010500929          2010524296                            JP                     4-Oct-13          20-Mar-28                 20-Mar-08   Support On-line And Off-line Charging




                                                                                                                      Page 86 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0227
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 94 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                        liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                            :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                       ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                  Implementing Rating Timer Control In A Pre-Biller To
      Cai 110-11 (Y)        Cai 110-11 (Y)-US-NP             US9197515                   11/778250           20080243655                           us                    24-Nov-15          18-Aug-33                 16-Jul-07   Support On-Line And Off-Line Charging
     cai 113-2-3-2 (Y)      Cai 113-2-3-2 (Y)-US-NP         US8942668                    11/738387           20080261559                           us                    27-Jan-15          27-Dec-31                 20-Apr-07   Camel Service Charging In IMS Networks


                                                                                                                                                                                                                                  Intelligent-Networked Telephone System Having
        Cai 11-4 (Y)        Cai 11-4 (Y)-US-NP               US6590970                   09/346153                                                 us                     8-Jul-03            9-Jul-19                 9-Jul-99   Advertisement With Bonus Free Phone call Service
                                                                                                                                                                                                                                  Method And Apparatus For Providing Virtual WiFi
      Cai 122-40 (Y)        Cai 122-40 (Y)-US-NP            US9100381                    12/023255           20090198808                           us                     4-Aug-15          11-Aug-29                 31-Jan-08   Access
                                                            ZL200780101972                                                                                                                                                        Charging In IMS Networks For Sessions That Are
     cai 124-2-5-5 (Y)      Cai 124-2-5-5 (Y)-CN-PCT        .8                           200780101972.8      101919204                             CN                    30-Apr-14          18-Dec-27                 18-Dec-07   Transferred Between Access Networks
                                                                                                                                                                                                                                  Online Charging For Supplement Services In IMS
      Cai 131-15 (Y)        Cai 131-15 (Y)-EP-EPT                                        08730737.7          EP2248299                             EP                                       26-Feb-28                 26-Feb-08   Networks


                                                                                                                                                                                                                                  Method And Apparatus For Data Message Delivery To
      Cai 136-29 (Y)        Cai 136-29 (Y)-US-NP                                         12/171629           20100009701                           us                                        11-Jul-28                11-Jul-08   A Recipient Migrated Across Technology Networks


      Cai 140-51 (Y)        Cai 140-51 (Y)-US-CNT           US8934862                    14/091282           20140078937                           us                    13-Jan-15          26-Nov-33                 26-Nov-13   Advice Of Charging (AoC) Services In IMS Networks


      Cai 140-51 (Y)        Cai 140-51 (Y)-US-NP            US8620262                    12/357208           20100184403                           us                    31-Dec-13          29-Aug-31                 21-Jan-09   Advice Of Charging (AoC) Services In IMS Networks
                                                                                                                                                                                                                                  Intelligent-Networked System With Service For
                                                                                                                                                                                                                                  Notifying And Hearing Selected E-Mails Via A Public
       Cai 15-11 (Y)        Cai 15-11 (Y)-US-NP             US6862342                    09/516267                                                 us                    1-Mar-05           29-Feb-20                 29-Feb-00   Switched Telephone Network


                                                                                                                                                                                                                                  Communication Of Intelligent Network Signaling
     Cai 17-1-2-1-1 (Y)     Cai 17-1-2-1-1 (Y)-JP-NP        JP4812184                    2001144536                                                JP                     2-Sep-11          15-May-21                 15-May-0l   BetweenASSPAndAnExternal Intelligent Peripheral


                                                                                                                                                                                                                                  Communication Of Intelligent Network Signaling
     Cai 17-1-2-1-1 (Y)     Cai 17-1-2-1-1 (Y)-US-NP        US7035391                    09/808934           20010053158                           us                    25-Apr-06           5-Jun-23                 15-Mar-01   BetweenASSPAndAnExternal Intelligent Peripheral
       Cai 37-3-4 (Y)       Cai 37-3-4 (Y)-EP-EPA                                        05257714.5          EP1675332                             EP                                       15-Dec-25                 15-Dec-05   Anti-Spam Server
        Cai 51-1 (Y)        Cai 51-1 (Y)-DE-EPT             EP1955504                    06849905.2          EP1955504                             DE                     7-Sep-16          28-Nov-26                 28-Nov-06   Anti-Spam Application Storage System
        Cai 51-1 (Y)        Cai 51-1 (Y)-FR-EPT             EP1955504                    06849905.2          EP1955504                             FR                     7-Sep-16          28-Nov-26                 28-Nov-06   Anti-Spam Application Storage System
        Cai 51-1 (Y)        Cai 51-1 (Y)-GB-EPT             EP1955504                    06849905.2          EP1955504                             GB                     7-Sep-16          28-Nov-26                 28-Nov-06   Anti-Spam Application Storage System
                                                                                                                                                                                                                                  Intelligent Networked, Automated Telephone Calling
                                                                                                                                                                                                                                  Card Service System Capable Of Bailout To An
       Cai 5-2-1 (Y)        Cai 5-2-1 (Y)-US-NP             US6178234                    09/249282                                                 us                    23-Jan-0l          11-Feb-19                 11-Feb-99   Operator
                                                                                                                                                                                                                                  A Method And Apparatus For Implementing SMS
      cai 59-2-1-1 (Y)      Cai 59-2-1-1 (Y)-EP-EPT                                      07753934.4          EP2002621                             EP                                       23-Mar-27                 23-Mar-07   Spam Filtering
      cai 77-9-2-1 (Y)      Cai 77-9-2-1 (Y)-EP-EPT                                      07810010.4          EP2044751                             EP                                       28-Jun-27                 28-Jun-07   Media Security For IMS Sessions
                                                            ZL200780023124                                                                                                                                                        Local Calling Area Determination In Wireless
        Cai 78-7 (Y)        Cai 78-7 (Y)-CN-PCT             .X                           200780023124.X      101473664                             CN                    28-Mar-12          11-Jun-27                 11-Jun-07   Networks
                                                                                                                                                                                                                                  Local Calling Area Determination In Wireless
        Cai 78-7 (Y)        Cai 78-7 (Y)-DE-EPT             EP2036389                    07796004.5          EP2036389                             DE                    19-Oct-11          11-Jun-27                 11-Jun-07   Networks
                                                                                                                                                                                                                                  Local Calling Area Determination In Wireless
        Cai 78-7 (Y)        Cai 78-7 (Y)-FR-EPT             EP2036389                    07796004.5          EP2036389                             FR                    19-Oct-11          11-Jun-27                 11-Jun-07   Networks
                                                                                                                                                                                                                                  Local Calling Area Determination In Wireless
        Cai 78-7 (Y)        Cai 78-7 (Y)-GB-EPT             EP2036389                    07796004.5          EP2036389                             GB                    19-Oct-11          11-Jun-27                 11-Jun-07   Networks
                                                                                                                                                                                                                                  Local Calling Area Determination In Wireless
        Cai 78-7 (Y)        Cai 78-7 (Y)-IN-PCT                                          6831/CHENP/2008     6831/CHENP/2008                        IN                                      11-Jun-27                 11-Jun-07   Networks
                                                                                                                                                                                                                                  Local Calling Area Determination In Wireless
        Cai 78-7 (Y)        Cai 78-7 (Y)-US-NP              US7725104                    11/425196                                                 us                    25-May-10          25-Jan-29                 20-Jun-06   Networks
                                                                                                                                                                                                                                  Home Zone Determination For Electronic Messaging
       Cai 80-18 (Y)        Cai 80-18 (Y)-IN-PCT                                         35/CHENP/2009       35/CHENP/2009                          IN                                      28-Jun-27                 28-Jun-07   Services
                                                                                                                                                                                                                                  Home Zone Determination For Electronic Messaging
       Cai 80-18 (Y)        Cai 80-18 (Y)-US-NP             US8812581                    11/456480           20080010349                           us                    19-Aug-14          31-Oct-30                 10-Jul-06   Services
                                                                                                                                                                                                                                  Home Zone Determination For Electronic Messaging
       Cai 80-18 (Y)        Cai 80-18 (Y)-JP-PCT            JP5039783                    2009-519448         2009543516                            JP                     13-Jul-12         28-Jun-27                 28-Jun-07   Services
                                                                                                                                                                                                                                  Home Zone Determination For Electronic Messaging
       Cai 80-18 (Y)        Cai 80-18 (Y)-DE-EPT            EP2044783                    07810002.1          EP2044783                             DE                    12-Aug-09          28-Jun-27                 28-Jun-07   Services
                                                                                                                                                                                                                                  Home Zone Determination For Electronic Messaging
       Cai 80-18 (Y)        Cai 80-18 (Y)-FR-EPT            EP2044783                    07810002.1          EP2044783                             FR                    12-Aug-09          28-Jun-27                 28-Jun-07   Services
                                                                                                                                                                                                                                  Home Zone Determination For Electronic Messaging
       Cai 80-18 (Y)        Cai 80-18 (Y)-GB-EPT            EP2044783                    07810002.1          EP2044783                             GB                    12-Aug-09          28-Jun-27                 28-Jun-07   Services
                                                                                                                                                                                                                                  Methods And Apparatus For Accessing Enhanced
                                                                                                                                                                                                                                  Wireless Services Platforms Via The Public Switched
  Calabrese 1-1-5-2 (RT)    Calabrese 1-1-5-2 (RT)-US-NP    US6236857                    09/107557                                                 us                    22-May-0l          29-Jun-18                 29-Jun-98   Telephone Network


                                                                                                                                                                                                                                  Method For Updating Message Waiting Number
    Calabrese 2-4 (RT)      Calabrese 2-4 (RT)-US-NP        US6055423                    08/999012                                                 us                    25-Apr-00          29-Dec-17                 29-Dec-97   Count For A Mobile Telephone In An ANSl41 Network


   calabrese 4-1-5 (RT)     Calabrese 4-1-5 (RT)-US-NP      US6343215                    09/189821                                                 us                    29-Jan-02          10-Nov-18                 10-Nov-98   Ansi 41 Dialed Number Validation
                                                                                                                                                                                                                                  Method And Apparatus Providing Call Redirection For
                                                                                                                                                                                                                                  Subsequent Call Events In A Telephone
  Calabrese 7-12-3-4 (RT)   Calabrese 7-12-3-4 (RT)-US-NP   US6389279                    09/440872                                                 us                    14-May-02          16-Nov-19                 16-Nov-99   Communications System
                                                                                                                                                                                                                                  Apparatus And Method Providing Ubiquitous Call
                                                                                                                                                                                                                                  Transfer Of An Incoming call To A Mobile Subscriber
   calabrese 8-12-5 (RT)    Calabrese 8-12-5 (RT)-US-NP     US6519454                    09/461834                                                 us                    11-Feb-03          15-Dec-19                 15-Dec-99   Unit


                                                                                                                                                                                                                                  Using The Talbot Effect For Lens less Imaging Of
     campbell 15 (SP)       Campbell 15 {SP)-US-NP          US6122081                    09/378129                                                 us                    19-Sep-00          18-Aug-19                 18-Aug-99   Periodic Structures In A Holographic Memory System
                                                                                                                                                                                                                                  Method And System For Sending A Data Message To
                                                                                                                                                                                                                                  A Calling Phone While Communicating With A First
    Cannell 2-6-4 {LE)      Cannell 2-6-4 {LE)-US-NP        US6850604                    09/871266           20020181674                           us                     1-Feb-05          31-May-21                 31-May-0l   Phone


                                                                                                                                                                                                                                  System And Method For Selectively Retrieving
    Cannon 10-1-3 (TC)      Cannon 10-1-3 (TC)-US-NP        US6519327                    09/363928                                                 us                    11-Feb-03           30-Jul-19                30-Jul-99   Messages Stored On Telephony And Data Networks
                                                                                                                                                                                                                                  System And Method For Storing And Executing
                                                                                                                                                                                                                                  Network Queries Used In Interactive Voice Response
     Cannon 11-4 (TC)       Cannon 11-4 (TC)-US-NP          US6389398                    09/338890                                                 us                    14-May-02          23-Jun-19                 23-Jun-99   Systems
                                                                                                                                                                                                                                  Method And Apparatus Providing Transient Control
     Cannon 1-6 (CB)        Cannon 1-6 (CB)-US-NP           US8909038                    10/338097           20040131353                           us                     9-Dec-14          15-Jan-29                 7-Jan-03    In Optical Add-Drop Nodes


   Cannon 2-3-5-6 (JM)      Cannon 2-3-5-6 (JM)-US-NP       US6038291                    09/081751                                                 us                    14-Mar-00          20-May-18                 20-May-98   CALL FORWARDING VIA A 2-LINE PHONE
                                                                                                                                                                                                                                  Circular Memory Addressing Option For Audio
      Cannon3(JM)           Cannon 3 (JM)-US-NP             US6275569                    08/942789                                                 us                    14-Aug-01           2-Oct-17                 2-Oct-97    Messages
                                                                                                                                                                                                                                  Apparatus And Method Which Saves call Related
                                                                                                                                                                                                                                  Information When The Status Of Recorded Voice
    Cannon 6-9-1 (JM)       Cannon 6-9-1 (JM)-US-NP         US6292543                    09/007771                                                 us                    18-Sep-0l          16-Jan-18                 16-Jan-98   Message Is Changed Remotely




                                                                                                                     Page 87 of 149
                                                                                                                                                                                                       PATENT
                                                                                                                                                                                               REEL: 044000 FRAME: 0228
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 95 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                   ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                           :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                 Computer File Transmission System That upon
                                                                                                                                                                                                                                 Detecting a Transmission Error Recursively Splits the
   Cantoral 1-10-1 (E)    Cantoral 1-10-1 (E)-US-NP         US6192412                   09/124164                                                 us                    20-Feb-0l           28-Jul-18                28-Jul-98   File into Smaller Subcomponents for Retransmission
     Cao 11-11-16 (J)     Cao 11-11-16 (J)-US-NP           US8134934                    12/563476           20110069632                           us                    13-Mar-12          7-May-30                  21-Sep-09   Tracking Network-Data Flows


  Cao 12-11-1-6-9-1 (Q)   Cao 12-11-1-6-9-1 (Q)-AU-NP      AU727121                     52666/99                                                  AU                    15-Mar-0l           1-Oct-19                 1-0ct-99    Communication System


  Cao 12-11-1-6-9-1 (Q)   Cao 12-11-1-6-9-1 (Q)-DE-EPA     EP0993137                    98308091.2          EP0993137                             DE                    21-Dec-05           5-Oct-18                 5-Oct-98    Communication System


  Cao 12-11-1-6-9-1 (Q)   Cao 12-11-1-6-9-1 (Q)-FR-EPA     EP0993137                    98308091.2          EP0993137                             FR                    21-Dec-05           5-Oct-18                 5-Oct-98    Communication System


  Cao 12-11-1-6-9-1 (Q)   Cao 12-11-1-6-9-1 (Q)-GB-EPA     EP0993137                    98308091.2          EP0993137                             GB                    21-Dec-05           5-Oct-18                 5-Oct-98    Communication System


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-DE-EPA         EP1119213                    00300362.1          EP1119213                             DE                     11-Jul-07         19-Jan-20                 19-Jan-00   Radio Resource Allocation Methods And Apparatus


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-DE-EPD[2]      EP1596621                    05015295.8          EP1596621                             DE                    7-Mar-07           19-Jan-20                 14-Jul-05   Radio Resource Allocation Methods And Apparatus


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-FR-EPA         EP1119213                    00300362.1          EP1119213                             FR                     11-Jul-07         19-Jan-20                 19-Jan-00   Radio Resource Allocation Methods And Apparatus


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-FR-EPD[2]      EP1596621                    05015295.8          EP1596621                             FR                    7-Mar-07           19-Jan-20                 14-Jul-05   Radio Resource Allocation Methods And Apparatus


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-GB-EPA         EP1119213                    00300362.1          EP1119213                             GB                     11-Jul-07         19-Jan-20                 19-Jan-00   Radio Resource Allocation Methods And Apparatus


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-GB-EPD[2]      EP1596621                    05015295.8          EP1596621                             GB                    7-Mar-07           19-Jan-20                 14-Jul-05   Radio Resource Allocation Methods And Apparatus


    cao 18-11-6-3 (Q)     Cao 18-11-6-3 (Q)-US-NP          US6704291                    09/760582           20010019543                           us                    9-Mar-04           16-Jan-21                 16-Jan-0l   Radio Resource Allocation Methods And Apparatus
                                                                                                                                                                                                                                 Power Control For Mobile Wireless Communication
      Cao3-3-3 (Q)        Cao 3-3-3 (Q)-AU-NP              AU715782                     89584/98                                                  AU                    25-May-00          28-Oct-18                 28-Oct-98   System
                                                                                                                                                                                                                                 Power Control For Mobile Wireless Communication
      Cao3-3-3 (Q)        Cao 3-3-3 (Q)-CA-NP              CA2248487                    2248487                                                   CA                    15-Jan-02          30-Sep-18                 30-Sep-98   System
                                                                                                                                                                                                                                 Power Control For Mobile Wireless Communication
      Cao3-3-3 (Q)        Cao 3-3-3 (Q)-US-NP              US6292471                    09/182032                                                 us                    18-Sep-0l          29-Oct-18                 29-Oct-98   System
                                                                                                                                                                                                                                 Telecommunications Network Comprising A Base
                                                                                                                                                                                                                                 Station And A Mobile Station, And A Method Of
                                                                                                                                                                                                                                 Transferring To And/Or Adding Into A call
                                                                                                                                                                                                                                 Connection At Least One Other Uplink Channel For
    Cao 37-15-17 (Q)      Cao 37-15-17 (Q)-GB-NP           GB2384650                    0201880.2                                                 GB                    24-Dec-03          28-Jan-22                 28-Jan-02   User Data
                                                                                                                                                                                                                                 Telecommunications Network Comprising A Base
                                                                                                                                                                                                                                 Station And A Mobile Station, And A Method Of
                                                                                                                                                                                                                                 Transferring To And/Or Adding Into A call
                                                                                                                                                                                                                                 Connection At Least One Other Uplink Channel For
    Cao 37-15-17 (Q)      Cao 37-15-17 (Q)-US-NP           US7218947                    10/351042           20030144021                           us                    15-May-07          14-Aug-24                 27-Jan-03   User Data


                                                                                                                                                                                                                                 Apparatus And Method For Automatic Port Identity
          Cao7 (Y)        Cao 7 (Y)-JP-NP                  JP3871895                    200170264           2001292177                            JP                    27-Oct-06          13-Mar-21                 13-Mar-01   Discovery In Hierarchical Heterogenous Systems


                                                                                                                                                                                                                                 Apparatus And Method For Automatic Port Identity
          Cao7 (Y)        Cao 7 (Y)-US-NP                  US7009980                    09/523615                                                 us                    7-Mar-06           13-Mar-20                 13-Mar-00   Discovery In Hierarchical Heterogenous Systems
                                                                                                                                                                                                                                 Estimating Cardinality Distributions In Network
      Cao 8-8-12 (J)      Cao 8-8-12 (J)-US-NP             US8406132                    12/129883           20090296594                           us                    26-Mar-13          24-Jan-32                 30-May-08   Traffic


                                                                                                                                                                                                                                 Method And Apparatus For The Detection And
                                                                                                                                                                                                                                 Suppression Of Echo In Packet Based Communication
     cao 9-10-18 (BJ      Cao 9-10-18 (BJ-US-NP            US8144862                    12/231646           20100054454                           us                    27-Mar-12          14-Nov-30                 4-Sep-08    Networks Using Frame Energy Estimation
                                                                                                                                                                                                                                 Power Monitoring Arrangement For Optical Cross-
      Capik 2-8 (RJ)      Capik 2-8 (RJ)-US-NP             US6760502                    10/006175           20030103716                           us                     6-Jul-04          26-Apr-22                 4-Dec-01    Connect Systems
  Cappuzzo 7-35-14-2-12   Cappuzzo 7-35-14-2-12 (MAJ-US-
           (MAJ           NP                               US6366730                    09/542096                                                 us                     2-Apr-02           3-Apr-20                 3-Apr-00    Tunable Optical Waveguides
                                                                                                                                                                                                                                 Interleaved Broadcast Techniques For Wavelength
      Caridi 2-4 (EA)     Caridi 2-4 (EA)-US-NP            US6028685                    08/937673                                                 us                    22-Feb-00          25-Sep-17                 25-Sep-97   Division Multiplexed Systems
                                                                                                                                                                                                                                 Display Techniques For Three Dimensional Virtual
    Carrara 2-7 (GU)      Carrara 2-7 {GU)-US-NP           US6320589                    08/906214                                                 us                    20-Nov-01           4-Aug-17                 4-Aug-97    Reality
                                                                                                                                                                                                                                 Display Techniques For Three-Dimensional Virtual
   Carrara 5-3-11 (GU)    Carrara 5-3-11 {GU)-US-NP        US6256044                    09/098218                                                 us                     3-Jul-01          16-Jun-18                 16-Jun-98   Reality
                                                                                                                                                                                                                                 Display Technique For Three Dimensional Virtual
    carraro 6-12 (GU)     Carrara 6-12 {GU)-US-NP          US6226009                    09/107566                                                 us                    1-May-01           29-Jun-18                 29-Jun-98   Reality
                                                                                                                                                                                                                                 Software-Hardware Partitoning Of A Scheduled
    Carroll 6-5-4 (MD)    Carroll 6-5-4 (MD)-US-NP         US7525971                    11/081932           20060209825                           us                    28-Apr-09          14-Oct-26                 16-Mar-05   Medium-Access Protocol
                                                                                                                                                                                                                                 Technique For Balancing Loads In A Communications
      Carusol(JT)         Caruso 1 (JT)-US-NP              US6259788                    09/019454                                                 us                     10-Jul-01          5-Feb-18                 5-Feb-98    Network
                                                                                                                                                                                                                                 System And Method For Variable Bandwidth
                                                                                                                                                                                                                                 Transmission Facilities Between A Local Telephone
  casanova 2-2-6-2 (LM)   Casanova 2-2-6-2 (LM)-US-NP      US6657993                    09/309349                                                 us                     2-Dec-03          11-May-19                 11-May-99   Switch And A Remote Line Unit
                                                                                                                                                                                                                                 Methods Of Detecting Protocol Support In Wireless
      Casati lO(A)        Casati 10 (A)-DE-EPA             EP1560381                    05250275.4          EP1560381                             DE                    28-Dec-11          20-Jan-25                 20-Jan-05   Communication Systems
                                                                                                                                                                                                                                 Methods Of Detecting Protocol Support In Wireless
      Casati lO(A)        Casati 10 (A)-FR-EPA             EP1560381                    05250275.4          EP1560381                             FR                    28-Dec-11          20-Jan-25                 20-Jan-05   Communication Systems
                                                                                                                                                                                                                                 Methods Of Detecting Protocol Support In Wireless
      Casati lO(A)        Casati 10 (A)-GB-EPA             EP1560381                    05250275.4          EP1560381                             GB                    28-Dec-11          20-Jan-25                 20-Jan-05   Communication Systems
                                                                                                                                                                                                                                 Methods Of Detecting Protocol Support In Wireless
      Casati lO(A)        Casati 10 (A)-KR-NP              KR1107846                    20050008893         20060042907                           KR                    12-Jan-12           1-Feb-25                 1-Feb-05    Communication Systems
                                                                                                                                                                                                                                 Methods Of Detecting Protocol Support In Wireless
      Casati lO(A)        Casati 10 (A)-US-NP              US7440459                    10/768053           20050172012                           us                    21-Oct-08          11-Apr-26                 2-Feb-04    Communication Systems
                                                           ZL200780030267
   casati 17-27-19 (A)    Casati 17-27-19 (A)-CN-PCT       .3                           200780030267.3      101502046                             CN                     4-Jul-12           31-Jul-27                31-Jul-07   Broadcast Anchor Availability Indication


   casati 17-27-19 (A)    Casati 17-27-19 (A)-DE-EPT       EP2055043                    07836363.7          EP2055043                             DE                     1-Jan-14           31-Jul-27                31-Jul-07   Broadcast Anchor Availability Indication


   casati 17-27-19 (A)    Casati 17-27-19 (A)-FR-EPT       EP2055043                    07836363.7          EP2055043                             FR                     1-Jan-14           31-Jul-27                31-Jul-07   Broadcast Anchor Availability Indication


   casati 17-27-19 (A)    Casati 17-27-19 (A)-GB-EPT       EP2055043                    07836363.7          EP2055043                             GB                     1-Jan-14           31-Jul-27                31-Jul-07   Broadcast Anchor Availability Indication


   casati 17-27-19 (A)    Casati 17-27-19 (A)-JP-PCT       JP5048065                    2009524609          2010500847                            JP                     27-Jul-12          31-Jul-27                31-Jul-07   Broadcast Anchor Availability Indication


   casati 17-27-19 (A)    Casati 17-27-19 (A)-IN-PCT       IN280318                     671/CHENP/2009      671/CHENP/2009                         IN                   16-Feb-17           31-Jul-27                31-Jul-07   Broadcast Anchor Availability Indication


   casati 17-27-19 (A)    Casati 17-27-19 (A)-US-NP        US9438436                    11/503661           20080051025                           us                     6-Sep-16           10-Jul-32                14-Aug-06   Broadcast Anchor Availability Indication
                                                           ZL200980153757
     Casati 29-3 (A)      Casati 29-3 (A)-CN-PCT           .1                           200980153757.1      102273130                             CN                    15-Jan-14          31-Dec-29                 31-Dec-09   Message Transmission
     Casati 29-3 (A)      Casati 29-3 (A)-DE-EPA           EP2204946                    09360001.3          EP2204946                             DE                     3-Aug-11           5-Jan-29                 5-Jan-09    Message Transmission




                                                                                                                    Page 88 of 149
                                                                                                                                                                                                      PATENT
                                                                                                                                                                                              REEL: 044000 FRAME: 0229
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 96 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                    ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
      Casati 29-3 (A)      Casati 29-3 (A)-FR-EPA             EP2204946                   09360001.3                     EP2204946                           FR               3-Aug-11           5-Jan-29                 5-Jan-09    Message Transmission
      Casati 29-3 (A)      Casati 29-3 (A)-GB-EPA             EP2204946                   09360001.3                     EP2204946                          GB                3-Aug-11           5-Jan-29                 5-Jan-09    Message Transmission

                                                                                                                                                                                                                                      A Method Of Sending A Multicast Message To Mobile
      Casati 8-14 (A)      Casati 8-14 (A)-DE-EPA             EP1286557                   01309800.9                     EP1286557                           DE              14-May-08          21-Nov-21                 21-Nov-0l   Stations, And A Radio Telecommunications Network


                                                                                                                                                                                                                                      A Method Of Sending A Multicast Message To Mobile
      Casati 8-14 (A)      Casati 8-14 (A)-FR-EPA             EP1286557                   01309800.9                     EP1286557                           FR              14-May-08          21-Nov-21                 21-Nov-0l   Stations, And A Radio Telecommunications Network


                                                                                                                                                                                                                                      A Method Of Sending A Multicast Message To Mobile
      Casati 8-14 (A)      Casati 8-14 (A)-GB-EPA             EP1286557                   01309800.9                     EP1286557                          GB               14-May-08          21-Nov-21                 21-Nov-0l   Stations, And A Radio Telecommunications Network
                                                                                                                                                                                                                                      A Method Of Sending A Multicast Message In Such As
                                                                                                                                                                                                                                      A GPRS/UMTS Network, And A Mobile
      Casati 9-15 (A)      Casati 9-15 (A)-DE-EPA             EP1286556                   01309799.3                                                         DE              22-Mar-06          21-Nov-21                 21-Nov-0l   Telecommunications Network
                                                                                                                                                                                                                                      A Method Of Sending A Multicast Message In Such As
                                                                                                                                                                                                                                      A GPRS/UMTS Network, And A Mobile
      Casati 9-15 (A)      Casati 9-15 (A)-FR-EPA             EP1286556                   01309799.3                                                         FR              22-Mar-06          21-Nov-21                 21-Nov-0l   Telecommunications Network
                                                                                                                                                                                                                                      A Method Of Sending A Multicast Message In Such As
                                                                                                                                                                                                                                      A GPRS/UMTS Network, And A Mobile
      Casati 9-15 (A)      Casati 9-15 (A)-GB-EPA             EP1286556                   01309799.3                                                        GB               22-Mar-06          21-Nov-21                 21-Nov-0l   Telecommunications Network
                           Cates 1-29-12-3-2-10-2 (CB)-US-                                                                                                                                                                            Method For Administering Advanced Number
Cates 1-29-12-3-2-10-2 (CB) NP                                US6359980                   09/651866                                                          us              19-Mar-02          31-Aug-20                 31-Aug-00   Portability Numbers
                                                                                                                                                                                                                                      Article Comprising an lntermetallic Superconductor
       cava 17 (RJ)        Cava 19-1 (RJ)-US-CIP              US6096263                   08/165143                                                          us               1-Aug-00           1-Aug-17                 10-Dec-93   Material
                                                                                                                                                                                                                                      Device And Method Of Collecting And Distributing
                                                                                                                                                                                                                                      Reporting Service Measurment Data In A Wireless
     Cayer 1-10 {CL)       Cayer 1-10 {CL)-US-NP              US8346276                   12/385120                     20100246418                          us               1-Jan-13          3-May-30                  31-Mar-09   Communications System


   Cercioglu 2-5-8 (NM)    Cercioglu 2-5-8 (NM)-US-NP         US6151210                   09/306062                                                          us              21-Nov-00           6-May-19                 6-May-99    Modular Design Of Electronic Equipment Systems
                                                                                                                                                                                                                                      Accessing Data During The Transition Between
      Ceruti 1-l(MJ)       Ceruti 1-1 (MJ)-US-NP              US5896527                   08/962181                                                          us              20-Apr-99          31-Oct-17                 31-Oct-97   Program Releases
                                                                                                                                                                                                                                      Intonation Transformation For Speech Therapy And
    Cezanne 4-11-4 (J)     Cezanne 4-11-4 (J)-US-NP           US7373294                   10/438642                                                          us              13-May-08           7-Feb-26                 15-May-03   The Like


                                                                                                                                                                                                                                      Semiconductor Device With High-Temperature
  Chakrabarti 17-19 {UK)   Chakrabarti 17-19 {UK)-US-NP       US6320265                   09/290535                                                          us              20-Nov-01          12-Apr-19                 12-Apr-99   Ohmic Contact And Method Of Forming The Same
                                                                                                                                                                                                                                      Hardware Configuration, Support Node And Method
                                                                                                                                                                                                                                      For Implementing General Packet Radio Services
    Chakrabarti 5-6 (5)    Chakrabarti 5-6(5)-JP-DIV         JP5438085                    2011233474                    2012075124                           JP              20-Dec-13           7-Mar-21                 7-Mar-01    OverGSM
                                                                                                                                                                                                                                      Hardware Configuration, Support Node And Method
                                                                                                                                                                                                                                      For Implementing General Packet Radio Services
    Chakrabarti 5-6 (5)    Chakrabarti 5-6(5)-JP-NP          JP5373238                    2001063266                                                         JP              27-Sep-13           7-Mar-21                 7-Mar-01    OverGSM
                                                                                                                                                                                                                                      Hardware Configuration, Support Node And Method
                                                                                                                                                                                                                                      For Implementing General Packet Radio Services
    Chakrabarti 5-6 (5)    Chakrabarti 5-6 (5)-MX-NP          MX232455                    2001-002161                                                       MX               30-Nov-05          28-Feb-21                 28-Feb-0l   OverGSM
                                                                                                                                                                                                                                      Hardware Configuration, Support Node And Method
                                                                                                                                                                                                                                      For Implementing General Packet Radio Services
    Chakrabarti 5-6 (5)    Chakrabarti 5-6(5)-US-NP           US6678281                   09/520385                                                          us              13-Jan-04           8-Mar-20                 8-Mar-00    OverGSM
                                                                                                                                                                                                                                      Hardware Configuration, Support Node And Method
                                                                                                                                                                                                                                      For Implementing General Packet Radio Services
    Chakrabarti 5-6 (5)    Chakrabarti 8-7 (SJ-US-DIV         US7420953                   10/731236                                                          us               2-Sep-08          22-Aug-22                 9-Dec-03    OverGSM
                                                                                                                                                                                                                                      Non-Reciprocal Network Element That Produces An
                                                                                                                                                                                                                                      Input Impedance That Is A Product Of Its Load
     Chakrabarti 6 (5)     Chakrabarti 6 (5)-US-NP            US7020676                   10/260873                     20040064496                          us              28-Mar-06          25-Aug-24                 27-Sep-02   Impedances


                                                                                                                                                                                                                                      Non-Reciprocal Network Element That Produces An
                                                                                                                                                                                                                                      Input Impedance That Is A Function Of The
     Chakrabarti 7 (5)     Chakrabarti 7 (5)-US-NP            US7092981                   10/260088                     20040073595                          us              15-Aug-06           1-Oct-24                 27-Sep-02   Multiplication-Division Of Its Load Impedances
                                                                                                                                                                                                                                      Method And Apparatus For Injecting Transient
    Chakraborty 11 (TJ)    Chakraborty 11 (TJ)-EP-EPT                                     07852485.7                     EP2074515                           EP                                  1-Oct-27                 1-Oct-07    Hardware Faults For Software Testing
                                                                                                                                                                                                                                      Method And Apparatus For Injecting Transient
    Chakraborty 11 (TJ)    Chakraborty 11 (TJ)-IN-PCT                                     1127/DELNP/2009               1127/DELNP/2009                      IN                                  1-Oct-27                 1-Oct-07    Hardware Faults For Software Testing
                                                                                                                                                                                                                                      Method And Apparatus For Injecting Transient
    Chakraborty 11 (TJ)    Chakraborty 11 (TJ)-KR-PCT         KR101174186                 20097007874                                                        KR               8-Aug-12           1-Oct-27                 1-Oct-07    Hardware Faults For Software Testing
                                                                                                                                                                                                                                      Method And Apparatus For Injecting Transient
    Chakraborty 11 (TJ)    Chakraborty 11 (TJ)-US-NP          US7689866                   11/550498                     20080155328                          us              30-Mar-10          11-Jun-28                 18-Oct-06   Hardware Faults For Software Testing


    Chakraborty 5 (TJ)     Chakraborty 5 (TJ)-US-NP           US6124715                   09/059012                                                          us              26-Sep-00          13-Apr-18                 13-Apr-98   Testing Of Live Circuit Boards


     Chambers l(MS)        Chambers 1 (MS)-US-NP              US7436851                   09/280618                                                          us              14-Oct-08          29-Mar-19                 29-Mar-99   Destination Call Routing Apparatus And Method


  Chambers 1-1-9-2 (JM)    Chambers 1-1-9-2 (JM)-US-NP        US6820090                   10/103922                     20030182293                          us              16-Nov-04          22-Mar-22                 22-Mar-02   Method For Generating Quantiles From Data Streams
                                                                                                                                                                                                                                      Handling Of Forward-To Numbers Across Regional
  Chambers3-3-1-3 (MD)     Chambers 3-3-1-3 (MD)-US-NP        U56782254                   09/364724                                                          us              24-Aug-04           30-Jul-19                30-Jul-99   And Political Boundaries


  Chambers 7-5-1-8 (MD)    Chambers 7-5-1-8 (MD)-US-NP        US7113787                   10/758849                     20050159160                          us              26-Sep-06          18-Dec-24                 16-Jan-04   Wireless Priority Service For lntersystem call Delivery
                                                                                                                                                                                                                                      Method And Apparatus For Load-Based Billing In
  Chambers 9-15-9 (MD)     Chambers 9-15-9 (MD)-US-NP         US8521543                   10/796425                     20050216382                          us              27-Aug-13           2-Aug-30                 9-Mar-04    Communication Networks


                                                                                                                                                                                                                                      Methods And Apparatus For Improved Transmission
                                                                                                                                                                                                                                      Control Protocol Transmission Over A Wireless
      Chan3-20(M)          Chan 3-20 (M)-US-NP                US8230106                   10/403551                     20040215753                          us               24-Jul-12           1-Jul-29                31-Mar-03   Channel Exhibiting Rate And Delay Variations
                                                                                                                                                                                                                                      Control Of Stress In Metal Films By Controlling The
       Chan3-3 (HJ         Chan 3-3 (HJ-US-NP                 US6933004                   10/441457                                                          us              23-Aug-05           10-Jul-23                20-May-03   Temperature During Film Deposition
                                                                                                                                                                                                                                      Centralized Cell Homing And Load Balancing In A
   Chan5-1-22-5-29(M)      Chan 5-1-22-5-29 (M)-JP-NP        JP4767572                    2005100626                    2005304019                           JP              24-Jun-11          31-Mar-25                 31-Mar-05   Base Station Controller
                                                                                                                                                                                                                                      Centralized Cell Homing And Load Balancing In A
   Chan5-1-22-5-29(M)      Chan 5-1-22-5-29 (M)-KR-NP         KR101170983                 20050025148                                                        KR               30-Jul-12         25-Mar-25                 25-Mar-05   Base Station Controller
                                                                                                                                                                                                                                      Centralized Cell Homing And Load Balancing In A
   Chan5-1-22-5-29(M)      Chan 5-1-22-5-29 (M)-US-NP         US7257409                   10/813774                     20050221839                          us              14-Aug-07           7-Oct-24                 31-Mar-04   Base Station Controller
                                                                                                                                                                                                                                      Conversion Of International Mobile Station Identity
    Chandnani 1-1 (VS)     Chandnani 1-1 {VS)-JP-NP                                       2000101550                                                         JP                                  3-Apr-20                 3-Apr-00    (IMSI) Number
                                                                                                                                                                                                                                      Conversion Of International Mobile Station Identity
    Chandnani 1-1 (VS)     Chandnani 1-1 {VS)-US-NP           US6445929                   09/283143                     20010016495                          us               3-Sep-02           1-Apr-19                 1-Apr-99    (IMSI) Number
                                                                                                                                                                                                                                      Network-Based Methods And Systems For
 Chandranmenon 10-12-23-   Chandranmenon 10-12-23-24                                                                                                                                                                                  Responding To Customer Requests Based On
          24 {GP)          {GP)-JP-PCT                       JP5839773                    2009551664                    2010520527                           JP              20-Nov-15          11-Feb-28                 11-Feb-08   Provider Presence Information
                                                                                                                                                                                                                                      Network-Based Methods And Systems For
 Chandranmenon 10-12-23-   Chandranmenon 10-12-23-24                                                                                                                                                                                  Responding To Customer Requests Based On
          24 {GP)          {GP)-EP-EPT                                                    08725431.4                     EP2132947                           EP                                 11-Feb-28                 11-Feb-08   Provider Presence Information




                                                                                                                                  Page 89 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0230
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 97 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                            :ia:~:A,m:::::::::::::::::
                                                            liiitiiiiii~:il\::::'::•:•
                                                                                         :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
  Chandranmenon 9-8-20      Chandranmenon 9-8-20 (GP)-US-                                                                                                                                                                            Methods, Devices And Architectures For Establishing
           {GP)             NP                               US7643459                   11/453800                     20070291706                          us               5-Jan-10          27-Aug-28                 16-Jun-06   Peer-To-Peer Sessions


Chandross 85-3-11-7-7-17-3 Chandross 85-3-11-7-7-17-3-3
           3{EA)            (EA)-DE-EPA                      EP1026546                   99309584.3                     EP1026546                           DE               31-Jul-02         30-Nov-19                 30-Nov-99   Recording Medium And Process For Forming Medium


Chandross 85-3-11-7-7-17-3 Chandross 85-3-11-7-7-17-3-3
           3{EA)            (EA)-FR-EPA                      EP1026546                   99309584.3                     EP1026546                           FR               31-Jul-02         30-Nov-19                 30-Nov-99   Recording Medium And Process For Forming Medium


Chandross 85-3-11-7-7-17-3 Chandross 85-3-11-7-7-17-3-3
           3{EA)            (EA)-GB-EPA                      EP1026546                   99309584.3                     EP1026546                          GB                31-Jul-02         30-Nov-19                 30-Nov-99   Recording Medium And Process For Forming Medium


Chandross 85-3-11-7-7-17-3 Chandross 85-3-11-7-7-17-3-3
           3{EA)            (EA)-JP-NP                      JP3696458                    11348002                                                           JP               8-Jul-05           7-Dec-19                 7-Dec-99    Recording Medium And Process For Forming Medium
       Chang 11 (5)         Chang 11 (5)-US-NP               US7020821                   09/791201                     20020161851                          us              28-Mar-06          13-May-23                 22-Feb-0l   Redundant Packet Network Architecture


       Chang 2 {LF)         Chang 2 {LF)-US-NP               US7020144                   09/825397                                                          us              28-Mar-06          13-Dec-23                 3-Apr-01    High Capacity Multi-AAL System For VTOA Gateway
      Chang 2-1-7 (L)       Chang 2-1-7 (L)-US-NP            US6335703                   09/515950                                                          us               1-Jan-02          29-Feb-20                 29-Feb-00   PatchAntennaWithFiniteGround Plane
                                                                                                                                                                                                                                     Patch Antenna With Impedance Transformer And
      Chang 3-2-8 (L)       Chang 3-2-8 (L)-US-NP            US6346913                   09/515229                                                          us              12-Feb-02          29-Feb-20                 29-Feb-00   Methods For Making Same
                                                                                                                                                                                                                                     Method For Enhancing Resource Reservation
        Chang 4 (Y)         Chang 4 (Y)-US-NP                US6058113                   08/940251                                                          us              2-May-00           30-Sep-17                 30-Sep-97   Communications
                                                                                                                                                                                                                                     Controlling Cooling Air Intake For Air Cooled
     Chang 4-2-9 (55)       Chang 4-2-9 (55)-US-NP           US7003377                   10/736002                     20050128703                          us              21-Feb-06           8-Apr-24                 15-Dec-03   Equipment
                                                                                                                                                                                                                                     Multimedia Conference Call Participant Identification
        Chang 6 (Y)         Chang 6 (Y)-US-NP                US6304648                   09/217503                                                          us              16-Oct-01          21-Dec-18                 21-Dec-98   System And Method
                                                                                                                                                                                                                                     Method And System For Interleaving Of Full Rate
                                                                                                                                                                                                                                     Channels Suitable For Half Duplex Operation And
   Chang 6-17-1-41 {KK)     Chang 6-17-1-41 {KK)-US-NP       US6813252                   09/738344                     20010040883                          us               2-Nov-04          23-Jan-23                 15-Dec-00   Statistical Multiplexing


                                                                                                                                                                                                                                     Methods And Systems For Determining The Location
     Chang 8-23 {KK)        Chang 8-23 {KK)-US-NP            U56701153                   09/628011                                                          us              2-Mar-04            28-Jul-20                28-Jul-00   Of Mobiles In A UMTS Telecommunications System
       Chao 2-8(ET)         Chao 2-8 {ET)-US-NP              US6236720                   09/187957                                                          us              22-May-0l           6-Nov-18                 6-Nov-98    Distributed Subcriber Adjunct Services System
                                                                                                                                                                                                                                     In-Situ Boron Doped Polysilicon With Dual Layer And
                                                                                                                                                                                                                                     Dual Grain Structure For Use In Integrated Circuits
   Chaplin 1-3-3-4-32 (5)   Chaplin 1-3-3-4-32 (5)-US-NP     US6162711                   09/232114                                                          us              19-Dec-00          15-Jan-19                 15-Jan-99   Manufacturing
                                                                                                                                                                                                                                     Control Of The Transmission Power Of A CDMA
   Charriere 12-4-13 (P)    Charriere 12-4-13 (P)-DE-EPA     EP1311076                   01309520.3                                                         DE              7-Mar-07           12-Nov-21                 12-Nov-0l   Based System
                                                                                                                                                                                                                                     Control Of The Transmission Power Of A CDMA
   Charriere 12-4-13 (P)    Charriere 12-4-13 (P)-FR-EPA     EP1311076                   01309520.3                                                         FR              7-Mar-07           12-Nov-21                 12-Nov-0l   Based System
                                                                                                                                                                                                                                     Control Of The Transmission Power Of A CDMA
   Charriere 12-4-13 (P)    Charriere 12-4-13 (P)-GB-EPA     EP1311076                   01309520.3                                                        GB               7-Mar-07           12-Nov-21                 12-Nov-0l   Based System
                                                                                                                                                                                                                                     Control Of The Transmission Power Of A CDMA
   Charriere 12-4-13 (P)    Charriere 12-4-13 (P)-US-NP      US7136666                   10/290619                     20030092463                          us              14-Nov-06           6-Jun-24                 8-Nov-02    Based System
      Chatterjee 1 (R)      Chatterjee 1 (R)-TW-NP          TWNl-140420                  88106297                      453125                              TW                1-Sep-01          12-Aug-19                 12-Aug-99   Point-To-Point-To-Point Calling
      Chatterjee 1 (R)      Chatterjee 1 (R)-US-NP           US6424707                   09/062764                                                          us               23-Jul-02         20-Apr-18                 20-Apr-98   Point-To-Point-To-Point Calling
                                                                                                                                                                                                                                     Pulse Detection Circuit, Method Of Operation
                                                                                                                                                                                                                                     Thereof And Fan Assembly Test Circuit Employing The
     Chavez 3-8-1 (FH)      Chavez 3-8-1 {FH)-US-NP          US6255860                   09/116864                                                          us               3-Jul-01           16-Jul-18                16-Jul-98   Same
                                                                                                                                                                                                                                     Efficient Flexible Channel Allocation In A Wireless
       Chen 1-1 (5)         Chen 1-1 (5)-US-NP               US6301233                   09/164496                                                          us               9-Oct-01           1-Oct-18                 1-Oct-98    Telecommunications System


                                                                                                                                                                                                                                     Method For Handling Subscriber Input During
   Chen 1-1-2-1-1 {OP)      Chen 1-1-2-1-1 {OP)-US-NP        US7941146                   11/651520                     20070254660                          us              10-May-11           2-Oct-29                 10-Jan-07   lnterswitch Handover In A Communication System
                                                                                                                                                                                                                                     Process For Making Crystalline Structures Having
                                                                                                                                                                                                                                     Interconnected Pores And High Refractive Index
    Chen 1-1-33-12 (G)      Chen 1-1-33-12 (G)-US-NP         US7168266                   10/383150                     20040172973                          us              30-Jan-07           20-Jul-24                6-Mar-03    Contrasts
                                                                                                                                                                                                                                     System And Method For Improving Index
      Chen 1-17-1 (5)       Chen 1-17-1 (5)-US-NP            U56772179                   10/034450                     20030126116                          us               3-Aug-04          28-Dec-21                 28-Dec-0l   Performance Through Prefetching
                                                                                                                                                                                                                                     Methods And Devices For Creating Bi-Directional
       Chen 1-2 (F)         Chen 1-2 (F)-US-NP               US7596140                   10/613104                     20050007960                          us              29-Sep-09           14-Jul-28                 7-Jul-03   LSPs
                                                                                                                                                                                                                                     Article Comprising A Power Amplifier With Feed
                                                                                                                                                                                                                                     Forward Linearizer Using A RLS Parameter Tracking
        Chen 1-2 (J)        Chen 1-2 (J)-US-NP               US5963091                   09/053469                                                          us               5-Oct-99           1-Apr-18                 1-Apr-98    Algorithm
                                                                                                                                                                                                                                     Smooth Method For Adjusting Downlink Transmitted
      Chen 1-2-15 {X)       Chen 1-2-15 {X)-US-NP            US7123931                   10/385320                     20040209636                          us              17-Oct-06          14-Jun-24                 10-Mar-03   Power
                                                                                                                                                                                                                                     A Through Via Plate Electrical Connector And Method
     Chen 13-3-3 (55)       Chen 13-3-3 (55)-US-NP           US6206708                   09/482837                                                          us              27-Mar-0l          13-Jan-20                 13-Jan-00   Of Manufacture Thereof
                                                                                                                                                                                                                                     Time Division Multiplexing A DC-To-DC Voltage
     Chen 14-1-24 (G)       Chen 14-1-24 (G)-US-NP           US8247999                   12/009851                     20090184659                          us              21-Aug-12          16-Oct-28                 22-Jan-08   Converter
                                                                                                                                                                                                                                     Integrated Active Cooling Device For Board Mounted
     Chen 15-5-4(55)        Chen 15-5-4 (55)-US-NP           US6263957                   09/482839                                                          us               24-Jul-01         13-Jan-20                 13-Jan-00   Electronic Components
      Chen 16-6 (55)        Chen 16-6 (55)-US-NP             US6394175                   09/483041                                                          us              28-May-02          13-Jan-20                 13-Jan-00   Top Mounted Cooling Device Using Heat Pipes
                                                                                                                                                                                                                                     Method Of Supporting Seamless Hand-Off In A
      Chen 18-3 {XX)        Chen 18-3 {XX)-US-NP             US6987743                   09/919023                     20020122412                          us              17-Jan-06          25-Oct-23                 31-Jul-0l   Mobile Telecommunications Network


       Chen2 (GM)           Chen 2 (GM)-US-NP                US6130907                   09/006983                                                          us              10-Oct-00          14-Jan-18                 14-Jan-98   Interference Detection For Spread Spectrum Systems


       Chen2 (GM)           Chen 2 (GM)-KR-NP                KR346323                    19990000670                                                        KR               15-Jul-02         13-Jan-19                 13-Jan-99   Interference Detection For Spread Spectrum Systems
                                                                                                                                                                                                                                     Miniature Liquid Transfer Pump And Method Of
      Chen 20-10 (55)       Chen 20-10 (55)-US-NP            US6386844                   09/505086                                                          us              14-May-02          16-Feb-20                 16-Feb-00   Manufacturing The Same
                                                                                                                                                                                                                                     Fast Method For Adjusting Downlink Transmitted
      Chen 2-3-16 {X)       Chen 2-3-16 {X)-US-NP            US7155250                   10/385345                     20040180685                          us              26-Dec-06           4-Aug-24                 10-Mar-03   Power


  Chen 23-6-6-1-4-2-2 (Y)   Chen 23-6-6-1-4-2-2 (Y)-US-NP    US6538486                   09/686236                                                          us              25-Mar-03          11-Oct-20                 11-Oct-00   Latch Chain Having Improved Sensitivity
       Chen3-2 (HJ          Chen 3-2 (HJ-US-NP               US7541953                   11/318188                     20070146182                          us               2-Jun-09          23-Dec-25                 23-Dec-05   Self-calibrating Current Source Arrays
                                                                                                                                                                                                                                     Technique for Communicating Digitally Modulated
                                                                                                                                                                                                                                     Signals Over An Amplitude-Modulation Frequency
       Chen3-26 (BJ         Chen 3-26(B)-JP-DIV                                          2007188957                    2007325298                           JP                                 22-Apr-18                 22-Apr-99   Band
                                                                                                                                                                                                                                     Technique for Communicating Digitally Modulated
                                                                                                                                                                                                                                     Signals Over An Amplitude-Modulation Frequency
       Chen3-26 (BJ         Chen 3-26(B)-US-NP               US6445750                   09/064938                                                          us               3-Sep-02          22-Apr-18                 22-Apr-98   Band


   Chen 3-37-3-4-25 (T)     Chen 3-37-3-4-25 (T)-US-NP       US6920598                   09/861740                     20020174395                          us               19-Jul-05          9-Dec-22                 21-May-0l   System And Method For Error Recovery Using NAKs
                                                                                                                                                                                                                                     Hybrid Method For Adjusting Downlink Transmitted
      Chen 3-4-17 {X)       Chen 3-4-17 {X)-US-NP            US7181235                   10/385019                     20040180684                          us              20-Feb-07           6-Aug-24                 10-Mar-03   Power
                                                                                                                                                                                                                                     List Viterbi Algorithms For Continuous Data
       Chen4-27 (BJ         Chen 4-27 (BJ-US-NP              US6108386                   09/055082                                                          us              22-Aug-00           3-Apr-18                 3-Apr-98    Transmission


       Chen 4-7 (CJ         Chen 5-17 (CJ-US-DIV             US7062142                   10/699091                     20040091624                          us              13-Jun-06          13-Jun-22                 31-Oct-03   Organosilicate Materials With Mesoscopic Structures




                                                                                                                                 Page 90 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0231
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 98 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                              :ia:~:A,m:::::::::::::::::
                                                              liiitiiiiii~:il\::::'::•:•
                                                                                           :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
   Chen 54-26-14-8 (Y)      Chen 54-26-14-8 (Y)-US-NP          US7548668                   11/944183                                                          us              16-Jun-09          21-Nov-27                 21-Nov-07   Programmable Optical Array
      Chen 5-8-3 (J)        Chen 5-8-3 (J)-JP-NP              JP3756383                    2000166157                                                         JP               6-Jan-06           2-Jun-20                 2-Jun-00    Code Assignment In A CDMA Wireless System
      Chen 5-8-3 (J)        Chen 5-8-3 (J)-US-NP              US7035238                    09/353460                                                          us              25-Apr-06           13-Jul-19                13-Jul-99   Code Assignment In A CDMA Wireless System
        Chen 6 (JC)         Chen 6 (JC)-US-NP                  US6108469                   09/201174                                                          us              22-Aug-00          30-Nov-18                 30-Nov-98   Wavelength Selective Resonant Gratings
                                                                                                                                                                                                                                       Self-calibrating Integrated Photonic Orcuits And
    Chen 60-18-12 (Y)       Chen 60-18-12 (Y)-KR-PCT           KR101195299                 20107020777                                                        KR              22-Oct-12          17-Mar-29                 17-Mar-09   Method Of Control Thereof
                                                                                                                                                                                                                                       Self-calibrating Integrated Photonic Orcuits And
    Chen 60-18-12 (Y)       Chen 60-18-12 (Y)-US-NP            US7688872                   12/050225                     20090238557                          us              30-Mar-10          18-Mar-28                 18-Mar-08   Method Of Control Thereof
      Chen 6-26(P)          Chen 7-30 (P)-US-CIP               US7782899                   11/349273                     20070168482                          us              24-Aug-10           18-Jul-28                8-Feb-06    Multiple Carrier Resource Management
     Chen 6-42-1 {X)        Chen 6-42-1 {X)-GB-EPA             EP1096814                   99308388.0                     EP1096814                          GB               16-Aug-06          25-Oct-19                 25-Oct-99   Radio Communication Network
                                                                                                                                                                                                                                       Packet Delay Estimation In High Speed Packet
       Chen 8-2 {X)         Chen 8-2 {X)-US-NP                 US6201793                   09/039699                                                          us              13-Mar-0l          16-Mar-18                 16-Mar-98   Switches
                                                                                                                                                                                                                                       Optimal Complementary Punctured Convolutional
      Chen8-34 (BJ          Chen 8-34 (BJ-US-NP                US6768778                   09/217655                                                          us               27-Jul-04         21-Dec-18                 21-Dec-98   Codes


                                                                                                                                                                                                                                       Method And Apparatus For Controlling Bit Slippage In
     Chen 9-1-26 (HZ)       Chen 9-1-26 (HZ)-US-NP             US6377645                   09/307012                                                          us              23-Apr-02          7-May-19                  7-May-99    High-Speed Communications Systems
                                                                                                                                                                                                                                       Method Of Controlling Downlink Transmission
       Cheng 1 (F)          Cheng 1 (F)-US-NP                  US7376119                   10/422844                     20040213199                          us              20-May-08          21-Dec-25                 25-Apr-03   Timing In Communication Systems
                                                                                                                                                                                                                                       Method And System For Dynamic Downlink Power
                                                                                                                                                                                                                                       Control In A Time-Division, Multiplex Wireless
   Cheng 12-7-1-1 (TS)      Cheng 12-7-1-1 (TS)-IN-NP          IN202208                    49/MAS/2001                                                        IN               3-Oct-06          17-Jan-21                 17-Jan-0l   Systems
                                                                                                                                                                                                                                       Method And System For Dynamic Downlink Power
                                                                                                                                                                                                                                       Control In A Time-Division, Multiplex Wireless
   Cheng 12-7-1-1 (TS)      Cheng 12-7-1-1 (TS)-US-NP          US6411817                   09/488543                                                          us              25-Jun-02          21-Jan-20                 21-Jan-00   Systems


                                                                                                                                                                                                                                       Resource Allocation Based On Interference
     Cheng 17-9-7 (F)       Cheng 17-9-7 (F)-US-NP             US8412249                   11/313258                     20070142067                          us               2-Apr-13           2-Feb-28                 20-Dec-05   Mitigation In A Wireless Communication System
                                                                                                                                                                                                                                       Interference Mitigation In A Wireless Communication
    Cheng 18-11-8 (F)       Cheng 18-11-8 (F)-US-NP            US8150412                   11/368790                     20070207828                          us               3-Apr-12          11-Oct-30                 6-Mar-06    System


                                                                                                                                                                                                                                       A Random Access Channel Message Format For An
 Cheng 28-21-16-29-15 (F)   Cheng 28-21-16-29-15 (F)-US-NP US8000306                       11/741068                     20080267134                          us              16-Aug-11          24-Apr-30                 27-Apr-07   Extended Range Wireless Communication System


    Cheng 29-17-16(F)       Cheng 29-17-16 (F)-US-NP           US8345804                   11/946541                     20080310561                          us               1-Jan-13          16-Dec-29                 28-Nov-07   Simplified RACH Preamble Detection Receiver
     Cheng 30-18 (F)        Cheng 30-18 (F)-TW-NP             TWl469608                    097136483                     200939722                           TW               11-Jan-15          23-Sep-28                 23-Sep-08   Multiplexing Of PUCCH Information
     Cheng 30-18 (F)        Cheng 30-18 (F)-US-PCT             US9319195                   12/237849                     20090196238                          us              19-Apr-16          11-May-34                 25-Sep-08   Multiplexing PUCCH Information
     Cheng 30-18 (F)        Cheng 34-20-17 (F)-US-NP           US8351532                   12/239983                     20090196370                          us               8-Jan-13          19-Sep-30                 29-Sep-08   Iterative Interference Cancellation
                                                                                                                                                                                                                                       Method And Apparatus For Determining Forward And
                                                                                                                                                                                                                                       Reverse Link Performance In A Wireless
      Cheng 3-1 (TS)        Cheng 3-1 (TS)-KR-NP               KR0319238                   19990000689                                                        KR              17-Dec-0l          13-Jan-19                 13-Jan-99   Communication System
                                                                                                                                                                                                                                       Method And Apparatus For Determining Forward And
                                                                                                                                                                                                                                       Reverse Link Performance In A Wireless
      Cheng 3-1 (TS)        Cheng 3-1 (TS)-US-NP               US6154638                   09/008255                                                          us              28-Nov-00          16-Jan-18                 16-Jan-98   Communication System
                                                                                                                                                                                                                                       Shared Control and Signaling Channel for Users
                                                                                                                                                                                                                                       Subscribing to Data Services in a Communication
      Cheng 3-9(F)          Cheng 3-9 (F)-US-NP                US7680507                   10/286946                     20040087325                          us              16-Mar-10          23-Nov-23                 4-Nov-02    System
                                                                                                                                                                                                                                       CDMA Power Control For Paging And Initial Traffic
      Cheng 6-2 (TS)        Cheng 6-2 (TS)-DE-EPA              EP0991206                   99307470.7                     EP0991206                           DE               16-Jul-03         21-Sep-19                 21-Sep-99   Channel Power
                                                                                                                                                                                                                                       CDMA Power Control For Paging And Initial Traffic
      Cheng 6-2 (TS)        Cheng 6-2 (TS)-FI-EPA              EP0991206                   99307470.7                     EP0991206                           Fl               16-Jul-03         21-Sep-19                 21-Sep-99   Channel Power
                                                                                                                                                                                                                                       CDMA Power Control For Paging And Initial Traffic
      Cheng 6-2 (TS)        Cheng 6-2 (TS)-FR-EPA              EP0991206                   99307470.7                     EP0991206                           FR               16-Jul-03         21-Sep-19                 21-Sep-99   Channel Power
                                                                                                                                                                                                                                       CDMA Power Control For Paging And Initial Traffic
      Cheng 6-2 (TS)        Cheng 6-2 (TS)-GB-EPA              EP0991206                   99307470.7                     EP0991206                          GB                16-Jul-03         21-Sep-19                 21-Sep-99   Channel Power
                                                                                                                                                                                                                                       CDMA Power Control For Paging And Initial Traffic
      Cheng 6-2 (TS)        Cheng 6-2 (TS)-US-NP               US6963750                   09/163396                                                          us               8-Nov-05          30-Sep-18                 30-Sep-98   Channel Power
      Cheng 7-3 (TS)        Cheng 7-3 (TS)-US-NP               US6353602                   09/131390                                                          us              5-Mar-02            7-Aug-18                 7-Aug-98    CDMA Base Station Assisted Soft Handoff


    Cheng 8-15-18(F)        Cheng 8-15-18 (F)-DE-EPA           EP1508980                   04254623.4                     EP1508980                           DE              21-Nov-07           31-Jul-24                31-Jul-04   Enhanced Uplink Data Transmission


    Cheng 8-15-18(F)        Cheng 8-15-18 (F)-FR-EPA           EP1508980                   04254623.4                     EP1508980                           FR              21-Nov-07           31-Jul-24                31-Jul-04   Enhanced Uplink Data Transmission


    Cheng 8-15-18(F)        Cheng 8-15-18 (F)-GB-EPA           EP1508980                   04254623.4                     EP1508980                          GB               21-Nov-07           31-Jul-24                31-Jul-04   Enhanced Uplink Data Transmission


    Cheng 8-15-18(F)        Cheng 8-15-18 (F)-JP-NP           JP4589055                    2004238963                    2005065303                           JP              17-Sep-10          19-Aug-24                 19-Aug-04   Enhanced Uplink Data Transmission


    Cheng 8-15-18(F)        Cheng 8-15-18 (F)-US-NP            US7564867                   10/642581                     20050053088                          us               21-Jul-09         19-Feb-26                 19-Aug-03   Enhanced Uplink Data Transmission


    Cheng 8-15-18(F)        Cheng 8-15-18 (F)-KR-NP            KR101168424                 20040064943                   20050020948                          KR               18-Jul-12         18-Aug-24                 18-Aug-04   Enhanced Uplink Data Transmission
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                            Cheng 8-5-4-38-1-14 (TS)-DE-                                                                                                                                                                               Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   EPA                                EP0984649                   99306307.2                     EP0984649                           DE              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-ES-EPA EP0984649                      99306307.2                     EP0984649                           ES              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-FI-EPA    EP0984649                   99306307.2                     EP0984649                           Fl              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-FR-EPA EP0984649                      99306307.2                     EP0984649                           FR              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                            Cheng 8-5-4-38-1-14 (TS)-GB-                                                                                                                                                                               Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   EPA                                EP0984649                   99306307.2                     EP0984649                          GB               27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-IT-EPA    EP0984649                   99306307.2                     EP0984649                           IT              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-JP-DIV   JP4794362                    2006157032                    2006319997                           JP               5-Aug-11          17-Aug-18                 7-Aug-99    Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-KR-NP     KR646120                    19990033653                                                        KR               8-Nov-06          16-Aug-19                 16-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                            Cheng 8-5-4-38-1-14 (TS)-NL-                                                                                                                                                                               Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   EPA                                EP0984649                   99306307.2                     EP0984649                           NL              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems
                                                                                                                                                                                                                                       Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                       Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)   Cheng 8-5-4-38-1-14 (TS)-SE-EPA EP0984649                      99306307.2                     EP0984649                           SE              27-Dec-06          10-Aug-19                 10-Aug-99   Communication Systems




                                                                                                                                   Page 91 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0232
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 99 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                          liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                               :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Triggering Handdowns And Handoffs Of Mobile
                                                                                                                                                                                                                                     Stations Between Bordering Cells Of Cellular Wireless
 Cheng 8-5-4-38-1-14 (TS)    Cheng 8-5-4-38-1-14 (TS)-US-NP     U56771963                   09/135191                                                 us                     3-Aug-04          17-Aug-18                 17-Aug-98   Communication Systems

                                                                                                                                                                                                                                     Erasure Decoding Optimization Of
                                                                                                                                                                                                                                     Acknowledgement/Negative Acknowledgement
      Cheng 9-16 (F)         Cheng 9-16 (F)-DE-EPA              EP1509060                   04254624.2          EP1509060                             DE                     2-Dec-09           31-Jul-24                31-Jul-04   Information In A Wireless Communication System


                                                                                                                                                                                                                                     Erasure Decoding Optimization Of
                                                                                                                                                                                                                                     Acknowledgement/Negative Acknowledgement
      Cheng 9-16 (F)         Cheng 9-16 (F)-FR-EPA             EP1509060                    04254624.2          EP1509060                             FR                     2-Dec-09           31-Jul-24                31-Jul-04   Information In A Wireless Communication System


                                                                                                                                                                                                                                     Erasure Decoding Optimization Of
                                                                                                                                                                                                                                     Acknowledgement/Negative Acknowledgement
      Cheng 9-16 (F)         Cheng 9-16 (F)-GB-EPA             EP1509060                    04254624.2          EP1509060                             GB                     2-Dec-09           31-Jul-24                31-Jul-04   Information In A Wireless Communication System


                                                                                                                                                                                                                                     Erasure Decoding Optimization Of
                                                                                                                                                                                                                                     Acknowledgement/Negative Acknowledgement
      Cheng 9-16 (F)         Cheng 9-16(F)-JP-NP               JP4607519                    2004240194          2005073254                            JP                    15-Oct-10          20-Aug-24                 20-Aug-04   Information In A Wireless Communication System


                                                                                                                                                                                                                                     Erasure Decoding Optimization Of
                                                                                                                                                                                                                                     Acknowledgement/Negative Acknowledgement
      Cheng 9-16 (F)         Cheng 9-16 (F)-US-NP              US7331008                    10/644864           20050042985                           us                    12-Feb-08          22-Mar-25                 21-Aug-03   Information In A Wireless Communication System


                                                                                                                                                                                                                                     Hierarchical Subband Linear Predictive Cepstral
   Chengalvarayan 4 (R)      Chengalvarayan 4 (R)-US-NP        US6292776                    09/266958                                                 us                    18-Sep-0l          12-Mar-19                 12-Mar-99   Features For HMM-Based Speech Recognition
                                                                                                                                                                                                                                     Ceramic Piezoelectric And Devices Using The
      Cheong 4-1 (5)         Cheong 4-1 (5)-US-NP              US6517737                    09/798707           20020123421                           us                    11-Feb-03           2-Mar-21                 2-Mar-01    Piezoelectric
      Cheong 4-1 (5)         Cheong 6-2 (SJ-US-DIV             U56703765                    10/267399           20030038275                           us                    9-Mar-04            2-Mar-21                 9-Oct-02    Devices Using A Ceramic Piezoelectric
                                                                                                                                                                                                                                     Flow Control Between Fiber Channel And Wide Area
 Cherian 1-1-1-1-5-1 (BK)    Cherian 1-1-1-1-5-1 (BK)-US-NP    US7397764                    10/426819           20040218531                           us                     8-Jul-08          31-Jan-26                 30-Apr-03   Networks
                                                                                                                                                                                                                                     Reuse Of Services Between Different Domains using
     Chiang 4-1-8-6 (T)      Chiang 4-1-8-6 (T)-US-NP          US6363424                    09/388393                                                 us                    26-Mar-02           1-Sep-19                 1-Sep-99    State Machine Mapping Technologies
                                                                                                                                                                                                                                     High Throughput Photoreflectance Technique And
    Chichester 1-2 (RJ)      Chichester 1-2 (RJ)-US-NP         US5982499                    09/024603                                                 us                     9-Nov-99          17-Feb-18                 17-Feb-98   Apparatus
                                                                                                                                                                                                                                     Method And Apparatus For Warranty Cost
 Chien 1-1-1-1-1-1-1-1 (Y)   Chien 1-1-1-1-1-1-1-1 (Y)-US-NP   US8131653                    10/954678           20060069581                           us                    6-Mar-12           30-Aug-27                 30-Sep-04   Calculation
                                                                                                                                                                                                                                     Method and System of Enhancing Emergency Call
     Chinl-1-12(FM)          Chin 1-1-12 (FM)-US-NP            US6721396                    10/180824                                                 us                    13-Apr-04          26-Jun-22                 26-Jun-02   Services


   Chin 17-16-120 (FM)       Chin 17-16-120(FM)-US-NP          US7535999                    11/131755           20060262911                           us                    19-May-09          13-Feb-27                 18-May-05   Voice Mail Bridging In Communication Systems
                                                                                                                                                                                                                                     System And Method For Delivering Incoming Calls To
                                                                                                                                                                                                                                     Mobile Units In Border c.ells Using Packet-Based
       Chin2(MW)             Chin 2 (MW)-US-NP                 US7127244                    10/224812           20040198349                           us                    24-Oct-06          12-Dec-23                 21-Aug-02   Links
                                                                                                                                                                                                                                     System And Method For Routing Calls In A
     Chin 6-2-4-4 (FM)       Chin 6-2-4-4 (FM)-US-NP           US7570754                    10/858989           20050271198                           us                     4-Aug-09           9-Sep-26                 2-Jun-04    Telecommunications Network
  Chirovsky 15-39-66-9-6     Chirovsky 17-44-89-14-8 (LM)-                                                                                                                                                                           Method of Making Wafer Having Top And Bottom
           (LMF)             US-DIV                            US6485996                    09/769024                                                 us                    26-Nov-02          27-Sep-18                 25-Jan-0l   Emitting Vertical-cavity Lasers
                                                                                                                                                                                                                                     Method For Forming Shallow Trench Isolation
  Chittipeddi 74-21-4(5)     Chittipeddi 74-21-4 (5)-US-NP     US6358785                    09/588058                                                 us                    19-Mar-02           6-Jun-20                 6-Jun-00    Structures
                                                                                                                                                                                                                                     Perceptual-Based Spatio-Temporal Segmentation For
    Chiu 1-14-17-25 (Y)      Chiu 1-14-17-25 (Y)-US-NP         US6360017                    09/239135                                                 us                    19-Mar-02          28-Jan-19                 28-Jan-99   Motion Estimation
       Chiu 1-3 {SH)         Chiu 1-3 {SH)-DE-EPA              EP1006217                    99309320.2          EP1006217                             DE                    7-Mar-01           23-Nov-19                 23-Nov-99   TIN ELECTROPLATING PROCESS
       Chiu 1-3 {SH)         Chiu 1-3 {SH)-GB-EPA              EP1006217                    99309320.2          EP1006217                             GB                    7-Mar-01           23-Nov-19                 23-Nov-99   TIN ELECTROPLATING PROCESS
       Chiu 1-3 {SH)         Chiu 1-3 {SH)-JP-NP               JP3359602                    11343859                                                  JP                    11-Oct-02           2-Dec-19                 2-Dec-99    TIN ELECTROPLATING PROCESS
       Chiu 1-3 {SH)         Chiu 1-3 {SH)-US-NP               US6342148                    09/296574                                                 us                    29-Jan-02          22-Apr-19                 22-Apr-99   TIN ELECTROPLATING PROCESS
                                                                                                                                                                                                                                     Motion Vector Estimation Based On Statistical
       Chiu 2-15 (Y)         Chiu 2-15 (Y)-US-NP               US6463164                    09/137400                                                 us                     8-Oct-02          20-Aug-18                 20-Aug-98   FeaturesOfAnlmageFrame


                                                                                                                                                                                                                                     Layered Video Coding Using Perceptual Coding
      Chiu 3-16-1 (Y)        Chiu 3-16-1 (Y)-US-NP             US6233283                    09/102811                                                 us                    15-May-0l          23-Jun-18                 23-Jun-98   Criteria For Error Resilience On Packet Networks
      Chiu 5-1-5-2 (Y)       Chiu 5-1-5-2 (Y)-US-NP            U56771824                    09/473809                                                 us                     3-Aug-04          28-Dec-19                 28-Dec-99   Adaptive Variable Length Decoding Method
      Chiu 5-1-5-2 (Y)       Chiu 7-4-6-3 (Y)-US-DIV           US7043088                    10/910027           20050008238                           us                    9-May-06           19-May-20                 3-Aug-04    Adaptive Variable Length Decoding Method
                                                                                                                                                                                                                                     Method And Apparatus For Integrating Guaranteed-
                                                                                                                                                                                                                                     Bandwidth And Best-Effort Traffic In A Packet
   Chiussi 22-1-10 (FM)      Chiussi 22-1-10 (FM)-JP-NP        JP4017867                    2002000603                                                JP                    28-Sep-07           7-Jan-22                 7-Jan-02    Network
                                                                                                                                                                                                                                     Method And Apparatus For Integrating Guaranteed-
                                                                                                                                                                                                                                     Bandwidth And Best-Effort Traffic In A Packet
   Chiussi 22-1-10 (FM)      Chiussi 22-1-10 (FM)-US-NP        US7099330                    10/010582                                                 us                    29-Aug-06           9-Oct-23                 13-Nov-0l   Network
                                                                                                                                                                                                                                     System For Guaranteeing Data Transfer Rates And
     Chiussi 8-l(FM)         Chiussi 8-1 (FM)-US-NP            US6075791                    08/959362                                                 us                    13-Jun-00          28-Oct-17                 28-Oct-97   Delays In Packet Networks
     Choi 12-4-8 (JH)        Thomann 3-12 (BJ)-US-CIP          US6510226                    09/489321                                                 us                    21-Jan-03          24-Nov-17                 21-Jan-00   Dual Network Housing Device
                                                                                                                                                                                                                                     Method For Supporting Per-Connection Queuing For
  Choudhury 5-3-1-2 (AK)     Choudhury 5-3-1-2 (AK)-US-NP      US6092115                    08/961122                                                 us                     18-Jul-00         30-Oct-17                 30-Oct-97   Feedback-Controlled Traffic
                                                                                                                                                                                                                                     Self-Steering Directional Loudspeakers And A Method
       Chow 1-20 (5)         Chow 1-20 (SJ-JP-PCT              JP5606543                    2012536865          2013509807                            JP                     5-Sep-14          15-Oct-30                 15-Oct-10   Of Operation Thereof


   Chowdhury 11-12 (A)       Chowdhury 11-12 (A)-JP-PCT        JP5058983                    2008513501          2008543173                            JP                    10-Aug-12           1-May-26                 1-May-06    Reducing Crosstalk In Optical Wavelength Converters


   Chowdhury 11-12 (A)       Chowdhury 11-12 (A)-US-NP         US9054807                    11/138007           20060269292                           us                     9-Jun-15          10-Jan-30                 26-May-05   Reducing Crosstalk In Optical Wavelength Converters


                                                                                                                                                                                                                                     Method For RTP Setup Coordination For Talk Groups
                                                                                                                                                                                                                                     When Interconnecting Public Safety Wireless
 Chowdhury 1-12-2-1-1 (5)    Chowdhury 1-12-2-1-1 (5)-US-NP US7774012                       11/699943           20080181145                           us                    10-Aug-10          25-Apr-29                 30-Jan-07   Networks And Commercial Wireless Networks
                                                                                                                                                                                                                                     Reducing Crosstalk In Free-Space Optical
   Chowdhury 14-14 (A)       Chowdhury 14-14 (A)-IN-PCT                                     62/CHENP/2009       62/CHENP/2009                          IN                                       10-Jul-27                10-Jul-07   Communications


                                                                                                                                                                                                                                     Interoperability Between Different Types Of Wireless
 Chowdhury 2-13-3-2-2 (5)    Chowdhury 2-13-3-2-2 (5)-US-NP US7974650                       11/708297           20080200162                           us                     5-Jul-11           8-Feb-30                 20-Feb-07   Networks For Push To Talk Group calls


                                                                                                                                                                                                                                     Electro-Optic Devices Having Flattened Frequency
   Chowdhury 4-11-4 (A)      Chowdhury 4-11-4 (A)-US-NP        US7079714                    10/631649           20040136634                           us                     18-Jul-06          8-Nov-23                 31-Jul-03   Response With Reduced Drive Voltage
                             Chraplyvy 23-12-1-21 (AR)-US-                                                                                                                                                                           Wavelength Division Multiplexed System having
 Chraplyvy 23-12-1-21 (AR)   NP                                US6381048                    09/153605                                                 us                    30-Apr-02          15-Sep-18                 15-Sep-98   Reduced Cross-Phase Modulation
                                                                                                                                                                                                                                     Method And Apparatus For Wavelength-Division
     Chraplyvy 24 (AR)       Chraplyvy 24 (AR)-US-NP           US6363181                    09/396862                                                 us                    26-Mar-02          15-Sep-19                 15-Sep-99   Multiplexing
 Chraplyvy 27-13-15-22-14    Chraplyvy 27-13-15-22-14 (AR)-                                                                                                                                                                          Lightwave Communication Systems Using
            (AR)             JP-NP                             JP3734999                    2000037111                                                JP                    28-Oct-05          15-Feb-20                 15-Feb-00   Semiconductor Optical Amplifiers
 Chraplyvy 27-13-15-22-14    Chraplyvy 27-13-15-22-14 (AR)-                                                                                                                                                                          Lightwave Communication Systems Using
            (AR)             US-NP                             US6473212                    09/253259                                                 us                    29-Oct-02          19-Feb-19                 19-Feb-99   Semiconductor Optical Amplifiers




                                                                                                                        Page 92 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0233
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 100 of 156
                                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                   ~~:J~JfW
                                                        :ia:~:A,m:::::::::::::::::
                                                        liiitiiiiii~:il\::::'::•:•
                                                                                     :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method and Apparatus for Protecting Fiber Optic
      Chromatis2          Chromatis 2 ()-US-NP           US6471413                   09/811004                                                          us              29-Oct-02          16-Mar-21                 16-Mar-01   Connectors
      Chromatis 6         Chromatis 6 ()-US-PCT          US7400828                   09/914523                                                          us               15-Jul-08          14-Jul-19                14-Jul-99   Fault Protection In Networks
                                                                                                                                                                                                                                 Route Optimization Of Media Channel In Mobile
       Chu 10 (TP)        Chu 10 (TP)-US-NP              US7643446                   11/583273                     20080096570                          us               5-Jan-10           2-Mar-28                 18-Oct-06   Wireless Network
                                                                                                                                                                                                                                 System And Method For Optimizing A Wireless
                                                                                                                                                                                                                                 Network By Adaptive Configuration Of Base Stations
    Chu 14-50-35 (T)      Chu 14-50-35 (T)-US-NP         US6496707                   09/012512                                                          us              17-Dec-02          23-Jan-18                 23-Jan-98   And Wireless Terminals
                                                                                                                                                                                                                                 Peer-To-Peer Communication Between Different
    Chu 15-2-44 (TP)      Chu 15-2-44 (TP)-US-NP         US7720976                   12/059105                     20090248800                          us              18-May-10           5-Nov-28                 31-Mar-08   Types Of Internet Hosts
                                                                                                                                                                                                                                 Automatic Maintenance Of A Distributed Source
    Chu 17-40-46 (TP)     Chu 17-40-46 (TP)-US-NP        US7778204                   12/179872                     20100020719                          us              17-Aug-10          17-Oct-28                 25-Jul-08   Tree(DST) Network
                                                                                                                                                                                                                                 Method And Apparatus For Locating Services Within
     Chu 19-43 (TP)       Chu 19-43 (TP)-KR-PCD          KR101433702                 20147008205                                                        KR              19-Aug-14           1-Dec-30                 1-Dec-10    Peer-To-Peer Networks
                                                                                                                                                                                                                                 Method And Apparatus For Locating Services Within
     Chu 19-43 (TP)       Chu 19-43 (TP)-US-NP                                       12/640072                     20110153634                          us                                 17-Dec-29                 17-Dec-09   Peer-To-Peer Networks
                                                                                                                                                                                                                                 Method And Architecture For Service Location In
     Chu 19-43 (TP)       Chu 19-43 (TP)-EP-EPT                                      10793358.2                     EP2514175                           EP                                  1-Dec-30                 1-Dec-10    Chord Networks


                                                                                                                                                                                                                                 Methods And Systems For Efficiently Configuring IP-
     Chu 2-12-1 (TP)      Chu 2-12-1 (TP)-US-NP          US8656050                   10/252796                     20040059831                          us              18-Feb-14          13-Apr-29                 24-Sep-02   Based, Virtual Private Networks
                                                                                                                                                                                                                                 Methods And Devices For Converting Routing Data
                                                                                                                                                                                                                                 From One Protocol To Another In A Virtual Private
     Chu 4-4-5 (TP)       Chu 4-4-5 (TP)-US-CNT          US9124567                   13/342637                     20120140772                          us               1-Sep-15          14-Mar-23                 3-Jan-12    Network
                                                                                                                                                                                                                                 Method And Apparatus For Establishment And
                                                                                                                                                                                                                                 Management Of Voice-Over IP Virtual Private
    Chu 6-4-6-10 (TP)     Chu 6-4-6-10 (TP)-US-NP        US7486684                   10/674885                     20050068942                          us               3-Feb-09           2-Jun-26                 30-Sep-03   Networks In IP-Based Communication Systems


    Chua 1-36-1 (LM)      Chua 1-36-1 (LM)-US-NP         US6610599                   10/175459                                                          us              26-Aug-03          19-Jun-22                 19-Jun-02   Removal Of Metal Veils From Via Holes
                                                                                                                                                                                                                                 Method For Establishment Of The Power Level For
                                                                                                                                                                                                                                 Uplink Data Transmission lnA Multiple Access System
     Chuah 10 (MC)        Chuah 10 (MC)-US-NP            US6285665                   09/083797                                                          us               4-Sep-01          22-May-18                 22-May-98   For Communications Networks
                                                                                                                                                                                                                                 Method For Access Control In A Multiple Access
     Chuah 11 (MC)        Chuah 11 (MC)-US-NP            US6567416                   09/084072                                                          us              20-May-03          22-May-18                 22-May-98   System For Communications Networks


     Chuah 11 (MC)        Chuah 69 (MC)-US-DIV           US7197025                   10/389744                                                          us              27-Mar-07           9-Apr-20                 18-Mar-03   Method For Paging A Device In A Wireless Network
                                                                                                                                                                                                                                 Packet Transport Method And Device Utilizing
    Chuah 19-11 (MC)      Chuah 19-11 (MC)-US-NP         US6735190                   09/176707                                                          us              11-May-04          21-Oct-18                 21-Oct-98   Header Removal Fields
                                                                                                                                                                                                                                 Methods And Apparatus For Providing Short RACH
   Chuah 24-16-4 (MC)     Chuah 24-16-4 (MC)-DE-EPA      EP1006743                   99309317.8                     EP1006743                           DE              18-Jan-06          23-Nov-19                 23-Nov-99   Frames For Fast Latency
                                                                                                                                                                                                                                 Methods And Apparatus For Providing Short RACH
   Chuah 24-16-4 (MC)     Chuah 24-16-4 (MC)-FR-EPA      EP1006743                   99309317.8                     EP1006743                           FR              18-Jan-06          23-Nov-19                 23-Nov-99   Frames For Fast Latency
                                                                                                                                                                                                                                 Methods And Apparatus For Providing Short RACH
   Chuah 24-16-4 (MC)     Chuah 24-16-4 (MC)-GB-EPA      EP1006743                   99309317.8                     EP1006743                          GB               18-Jan-06          23-Nov-19                 23-Nov-99   Frames For Fast Latency
                                                                                                                                                                                                                                 Methods And Apparatus For Providing Short RACH
   Chuah 24-16-4 (MC)     Chuah 24-16-4 (MC)-JP-NP      JP3607545                    342786/1999                   2000228787                           JP              15-Oct-04           2-Dec-19                 2-Dec-99    Frames For Fast Latency
                                                                                                                                                                                                                                 Methods And Apparatus For Providing Short RACH
   Chuah 24-16-4 (MC)     Chuah 24-16-4 (MC)-US-NP       US6757293                   09/203932                                                          us              29-Jun-04           2-Dec-18                 2-Dec-98    Frames For Fast Latency
                                                                                                                                                                                                                                 An RSVP-Based Tunnel Protocol Providing Integrated
   Chuah28-3-3(MC)        Chuah 28-3-3 (MC)-US-NP        US6519254                   09/259170                                                          us              11-Feb-03          26-Feb-19                 26-Feb-99   Services
                                                                                                                                                                                                                                 Method For Bandwidth Sharing In A Multiple Access
      Chuah3(MC)          Chuah3 (MC)-US-NP              US6327254                   09/083675                                                          us               4-Dec-01          22-May-18                 22-May-98   System For Communications Networks
                                                                                                                                                                                                                                 Application-Level Switching Server For Internet
  Chuah31-42-5-22(MC)     Chuah 31-42-5-22 (MC)-US-NP    US6704311                   09/344781                                                          us              9-Mar-04           25-Jun-19                 25-Jun-99   Protocol (IP) Based Networks
                                                                                                                                                                                                                                 Providing Quality Of Service In Layer Two Tunneling
     Chuah32(MC)          Chuah32 (MC)-JP-NP            JP3737668                    2000101549                                                         JP               4-Nov-05           3-Apr-20                 3-Apr-00    Protocol Networks
                                                                                                                                                                                                                                 Providing Quality Of Service In Layer Two Tunneling
     Chuah32(MC)          Chuah32 (MC)-US-NP             US6654808                   09/285817                                                          us              25-Nov-03           2-Apr-19                 2-Apr-99    Protocol Networks


                                                                                                                                                                                                                                 A RECEIVER INITIATED RECOVERY ALGORITHM (RIRA)
     Chuah34(MC)          Chuah 34 (MC)-JP-NP           JP3732720                    2000206313                                                         JP              21-Oct-05            7-Jul-20                 7-Jul-00   FOR THE LAYER 2 TUNNELING PROTOCOL (L2TP)


                                                                                                                                                                                                                                 A RECEIVER INITIATED RECOVERY ALGORITHM (RIRA)
     Chuah34(MC)          Chuah 34 (MC)-US-NP            US6487689                   09/350431                                                          us              26-Nov-02            8-Jul-19                 8-Jul-99   FOR THE LAYER 2 TUNNELING PROTOCOL (L2TP)


                                                                                                                                                                                                                                 A RECEIVER INITIATED RECOVERY ALGORITHM (RIRA)
     Chuah34(MC)          Chuah 34 (MC)-DE-EPA           EP1067744                   00305391.5                     EP1067744                           DE               6-Apr-05          27-Jun-20                 27-Jun-00   FOR THE LAYER 2 TUNNELING PROTOCOL (L2TP)


                                                                                                                                                                                                                                 A RECEIVER INITIATED RECOVERY ALGORITHM (RIRA)
     Chuah34(MC)          Chuah 34 (MC)-FR-EPA           EP1067744                   00305391.5                     EP1067744                           FR               6-Apr-05          27-Jun-20                 27-Jun-00   FOR THE LAYER 2 TUNNELING PROTOCOL (L2TP)


                                                                                                                                                                                                                                 A RECEIVER INITIATED RECOVERY ALGORITHM (RIRA)
     Chuah34(MC)          Chuah 34 (MC)-GB-EPA           EP1067744                   00305391.5                     EP1067744                          GB                6-Apr-05          27-Jun-20                 27-Jun-00   FOR THE LAYER 2 TUNNELING PROTOCOL (L2TP)
                                                                                                                                                                                                                                 A Sender-Initiated Recovery Algorithm (SIRA) For The
     Chuah35(MC)          Chuah35 (MC)-JP-NP            JP3746418                    2000206312                                                         JP               2-Dec-05            7-Jul-20                 7-Jul-00   Layer 2 Tunneling Protocol (L2TP)
                                                                                                                                                                                                                                 A Sender-Initiated Recovery Algorithm (SIRA) For The
     Chuah35(MC)          Chuah35 (MC)-US-NP             US7085273                   09/349571                                                          us               1-Aug-06            8-Jul-19                 8-Jul-99   Layer 2 Tunneling Protocol (L2TP)


   Chuah 37-8-9 (MC)      Chuah 37-8-9 (MC)-US-NP        US6414950                   09/138680                                                          us               2-Jul-02          24-Aug-18                 24-Aug-98   In Sequence Delivery Of Messages


   Chuah 68-5-8 (MC)      Chuah 68-5-8 (MC)-US-NP        US7733896                   10/222785                     20040032877                          us               8-Jun-10          22-Jan-29                 19-Aug-02   Dynamic Access Priority Scheme
                                                                                                                                                                                                                                 Transmission Method For Communication Systems
   Chuah 70-30-9 (MC)     Chuah 70-30-9 (MC)-KR-NP       KR101098294                 20040016829                   20040083360                          KR              19-Dec-11          12-Mar-24                 12-Mar-04   Supporting A Multicast Mode
                                                                                                                                                                                                                                 Transmission Method For Communication Systems
   Chuah 70-30-9 (MC)     Chuah 70-30-9 (MC)-US-NP       US7894468                   10/391766                     20040184471                          us              22-Feb-11          30-Oct-29                 20-Mar-03   Supporting A Multicast Mode
                                                                                                                                                                                                                                 Transmission Method For Communication Systems
   Chuah 70-30-9 (MC)     Chuah 70-30-9 (MC)-JP-NP      JP4549706                    200479378                     2004289830                           JP               16-Jul-10         19-Mar-24                 19-Mar-04   Supporting A Multicast Mode


                                                                                                                                                                                                                                 Method And Apparatus For Dynamic Frequency
    Chuah 72-7 (MC)       Chuah 72-7 (MC)-US-NP          US7171160                   10/609776                     20040266351                          us              30-Jan-07          18-Jan-25                 30-Jun-03   Selection In A Wireless Communications Network
     Chuah7-3 (MC)        Chuah 7-3 (MC)-US-NP           US6449272                   09/074745                                                          us              10-Sep-02          8-May-18                  8-May-98    A Multi-Hop Point-To-Point-Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-DE-EPA        EP0986222                   99306934.3                     EP0986222                           DE               6-Jan-10          31-Aug-19                 31-Aug-99   A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-DE-EPD        EP1549006                   05001382.0                     EP1549006                           DE              19-Oct-11          31-Aug-19                 31-Aug-99   A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-FR-EPA        EP0986222                   99306934.3                     EP0986222                           FR               6-Jan-10          31-Aug-19                 31-Aug-99   A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-FR-EPD        EP1549006                   05001382.0                     EP1549006                           FR              19-Oct-11          31-Aug-19                 31-Aug-99   A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-GB-EPA        EP0986222                   99306934.3                     EP0986222                          GB                6-Jan-10          31-Aug-19                 31-Aug-99   A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-GB-EPD        EP1549006                   05001382.0                     EP1549006                          GB               19-Oct-11          31-Aug-19                 31-Aug-99   A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-JP-NP        JP3613453                    255014/1999                   2000115250                           JP               5-Nov-04           9-Sep-19                 9-Sep-99    A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 18-14 (MC)-US-CIP        US6496491                   09/150403                                                          us              17-Dec-02          8-May-18                  9-Sep-98    A Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 50-18 (MC)-US-CNT        US6917600                   09/595347                                                          us               12-Jul-05          4-Dec-20                 15-Jun-00   Mobile Point-To-Point Protocol
     Chuah 8-4 (MC)       Chuah 8-4 (MC)-JP-NP          JP3836272                    126562/1999                   11355271                             JP               4-Aug-06          7-May-19                  7-May-99    Mobile Point-To-Point Protocol




                                                                                                                             Page 93 of 149
                                                                                                                                                                                                      PATENT
                                                                                                                                                                                              REEL: 044000 FRAME: 0234
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 101 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                            :ia:~:A,m:::::::::::::::::
                                                            liiitiiiiii~:il\::::'::•:•
                                                                                         :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
      Chuah 8-4 (MC)         Chuah 8-4 (MC)-US-NP           US6801509                    09/074582                                                          us               5-Oct-04          8-May-18                  8-May-98    Mobile Point-To-Point Protocol
      Chuah 8-4 (MC)         Chuah 18-14 (MC)-JP-DIV        JP4546173                    2004204197                    2005045791                           JP               9-Jul-10           9-Sep-19                 9-Sep-99    A Mobile Point-To-Point Protocol
                                                                                                                                                                                                                                     Method And Apparatus For Network Speech
      Chuang 3-3 (C)         Chuang 3-3 (C)-US-NP            U56760435                   09/500191                                                          us               6-Jul-04           8-Feb-20                 8-Feb-00    Enhancement


                                                                                                                                                                                                                                     Multilevel Coding With Unequal Error Protection And
      Chung 2-19 (5)         Chung 2-19 (5)-JP-NP           JP5153036                    2001106868                                                         JP              14-Dec-12           5-Apr-21                 5-Apr-01    Time Diversity For Bandwidth Efficient Transmission


                                                                                                                                                                                                                                     Multilevel Coding With Unequal Error Protection And
      Chung 2-19 (5)         Chung 2-19 (5)-US-NP            US7190732                   09/765754                     20010028684                          us              13-Mar-07           7-Feb-24                 19-Jan-0l   Time Diversity For Bandwidth Efficient Transmission
                                                                                                                                                                                                                                     Apparatus And Method For Prolonging Battery Life In
                                                                                                                                                                                                                                     A Portable Unit Configured For Operating In A
     Ciccone 5-4-4 (JL)      Ciccone 5-4-4 (JL)-US-NP        US6078819                   08/969427                                                          us              20-Jun-00           1-Nov-17                 1-Nov-97    Frequency Hopping System
                                                                                                                                                                                                                                     Configuration File Framework To Support High
                                                                                                                                                                                                                                     Availability Schema Based Upon Asynchronous
       Cilli 1-6 (BR)        Cilli 1-6 (BR)-US-NP            US8959053                   12/191091                     20100042639                          us              17-Feb-15          26-May-33                 13-Aug-08   Checkpointing
      Ciurpita 4-3 (G)       Ciurpita 4-3 (G)-US-NP          US6516068                   09/139183                                                          us               4-Feb-03          25-Aug-18                 25-Aug-98   Microphone Expander
                                                                                                                                                                                                                                     Configuring Optical Launch Powers In Optical Fiber
     Claisse 1-13-2 (P)      Claisse 3-19-6 (PR)-US-DIV      US8938145                   12/008481                     20120170943                          us              20-Jan-15          9-May-31                  11-Jan-08   Transmission Lines
     Claisse 2-17 (PR)       Claisse 2-17 (PR)-US-NP         US7965945                   11/522785                     20080069573                          us              21-Jun-11          19-Feb-30                 15-Sep-06   Flexible Dispersion Mapping


    Clarisse 4-2-3 (OB)      Clarisse 4-2-3 (OBJ-US-NP       US7496189                   10/166194                     20030228010                          us              24-Feb-09          10-Jun-22                 10-Jun-02   Caller Information Display Methods And Systems
                                                                                                                                                                                                                                     Service Brokering System For Intelligent
        Clark l(A)           Clark 1 (A)-US-NP               US6560326                   09/295570                                                          us              6-May-03           21-Apr-19                 21-Apr-99   Telecommunications Network
                                                                                                                                                                                                                                     Providing Of Service(s) By A Service Control
                                                                                                                                                                                                                                     Component To Telephony Device(s) On A Call
                                                                                                                                                                                                                                     Through Employment Of Data Strem(s) Associated
     Clark 12-11 (EA)        Clark 12-11 (EA)-US-NP          US8094801                   10/736408                     20050129209                          us              10-Jan-12           27-Jul-29                15-Dec-03   With The Call


      Clark7-7-3 (EA)        Clark 7-7-3 (EA)-US-NP          US7639664                   10/449521                     20040240381                          us              29-Dec-09          27-Sep-28                 30-May-03   Dynamic Management of Trunk Group Members


                                                                                                                                                                                                                                     Methods And Apparatus for Producing Ultrasonic
     Clarke 14-1-2 (JE)      Clarke 14-1-2 (JE)-US-NP        US6220777                   09/139145                                                          us              24-Apr-0l          24-Aug-18                 24-Aug-98   Weld Joint Design For Injection Molded Plastic Parts
                                                                                                                                                                                                                                     Changing The Scrambling Code Of A Base Station For
    Claussen 14-47 (HJ       Claussen 14-47 (H)-EP-EPT                                   07836249.8                     EP2050293                           EP                                  26-Jul-27                26-Jul-07   Wireless Telecommunications
                                                                                                                                                                                                                                     Automatic Allocation Of Geographically Joint Area
    Claussen34-29(H)         Claussen 34-29 (HJ-KR-PCT       KRl0-1165585                20107027788                                                        KR               9-Jul-12          24-Apr-29                 24-Apr-09   Codes
                                                                                                                                                                                                                                     Automatic Allocation Of Geographically Joint Area
    Claussen34-29(H)         Claussen 34-29 (HJ-IN-PCT                                   7162/CHENP/2010               7162/CHENP/2010                      IN                                 24-Apr-29                 24-Apr-09   Codes
                                                                                                                                                                                                                                     Allocating Base Stations To Location Areas In Cellular
    Claussen34-29(H)         Claussen 34-29 (HJ-US-NP        US8179854                   12/464321                     20090285171                          us              15-May-12           31-Jul-30                12-May-09   Telecommunications Networks
                                                                                                                                                                                                                                     Femtocell Base Station, And A Method Of Radio
                                                                                                                                                                                                                                     Communication In a Network Comprising A Femtocell
     Claussen39-7 (HJ        Claussen 39-7 (HJ-US-NP         US8285293                   12/621196                     20100130222                          us               9-Oct-12          22-Sep-30                 18-Nov-09   Base Station


   Clifton 6-99-19 (MB)      Clifton 6-99-19 (MB)-US-NP      U56702661                   10/303378                                                          us              9-Mar-04           25-Nov-22                 25-Nov-02   Cooling Method and Apparatus


   Clifton 8-109-22 (MB)     Clifton 8-109-22 (MB)-US-NP     U56798657                   10/448586                                                          us              28-Sep-04          30-May-23                 30-May-03   Self-Cooling Unit


                                                                                                                                                                                                                                     Method Of Queue Length Based Burst Management
    Cloutier 1-28-1 (JE)     Cloutier 1-28-1 (JE)-US-NP      U56754189                   09/288368                                                          us              22-Jun-04           8-Apr-19                 8-Apr-99    In Wireless Communication Systems
                                                                                                                                                                                                                                     Remote Control Device And Method Of Using The
       Cohen 1 (Al)          Cohen 1 (Al)-US-NP              US6388559                   09/218188                                                          us              14-May-02          22-Dec-18                 22-Dec-98   Same
                                                                                                                                                                                                                                     Method Of Upstream Channel Modeling For A PCM
      Cohen 3-3 (HB)         Cohen 3-3 (HB)-US-NP            US5887027                   08/998249                                                          us              23-Mar-99          24-Dec-17                 24-Dec-97   Modem


                                                                                                                                                                                                                                     A Method And Apparatus For Transmitting Frequency
      Coldren2 (RA)          Coldren 2 (RAJ-US-NP            US7743164                   10/778556                     20050198391                          us              22-Jun-10          26-Feb-28                 13-Feb-04   Shift Key Data In A Packetized Format
                                                                                                                                                                                                                                     Time-Based Mapping Of Control Channel Bursts In A
       Conner 1 (KF)         Conner 1 {KF)-US-NP             US6597681                   09/447790                                                          us               22-Jul-03         23-Nov-19                 23-Nov-99   Wireless Communication Network
                                                                                                                                                                                                                                     Method And Apparatus For Generating One-Time
      Cook 1-9-3 (DL)        Cook 1-9-3 (DL)-US-NP           US8954745                   11/732199                     20090328165                          us              10-Feb-15          13-Nov-31                 3-Apr-07    Passwords
                                                                                                                                                                                                                                     Coupling Of Splitter With Subset Of Plurality Of Lines
 Corvino 1-7-1-24-1-4 (PT)   Corvino 1-7-1-24-1-4 {PT)-US-NP US6975620                   09/776322                     20020105941                          us              13-Dec-05          19-May-23                 2-Feb-01    On One-To-One Basis
      Costa3-1-3 (M)         Costa 3-1-3 (M)-JP-NP          JP3746414                    2000171839                                                         JP               2-Dec-05           8-Jun-20                 8-Jun-00    Signalling Radio Service Requirements
      Costa3-1-3 (M)         Costa 3-1-3 (M)-US-NP           US6862455                   09/587524                                                          us              1-Mar-05            5-Jun-20                 5-Jun-00    Signalling Radio Service Requirements
      Costa3-1-3 (M)         Costa 3-1-3 (M)-DE-EPA          EP1059816                   99304440.3                     EP1059816                           DE              17-Nov-04           8-Jun-19                 8-Jun-99    Signalling Radio Service Requirements
      Costa3-1-3 (M)         Costa 3-1-3 (M)-FR-EPA          EP1059816                   99304440.3                     EP1059816                           FR              17-Nov-04           8-Jun-19                 8-Jun-99    Signalling Radio Service Requirements
      Costa3-1-3 (M)         Costa 3-1-3 (M)-GB-EPA          EP1059816                   99304440.3                     EP1059816                          GB               17-Nov-04           8-Jun-19                 8-Jun-99    Signalling Radio Service Requirements
                                                                                                                                                                                                                                     Location Area Identifier With Core Network identity
     Costa 9-9-6-8 (M)       Costa 9-9-6-8 (M)-DE-EPT        EP1205083                   00938805.9                     EP1205083                           DE              21-Jan-09          20-Jun-20                 20-Jun-00   Field
                                                                                                                                                                                                                                     Location Area Identifier With Core Network identity
     Costa 9-9-6-8 (M)       Costa 9-9-6-8 (M)-FR-EPT        EP1205083                   00938805.9                     EP1205083                           FR              21-Jan-09          20-Jun-20                 20-Jun-00   Field
                                                                                                                                                                                                                                     Location Area Identifier With Core Network identity
     Costa 9-9-6-8 (M)       Costa 9-9-6-8 (M)-GB-EPT        EP1205083                   00938805.9                     EP1205083                          GB               21-Jan-09          20-Jun-20                 20-Jun-00   Field
                                                                                                                                                                                                                                     Multi resolution Adaptive Parameterization Of
   Cowsar 1-1-1-1-3 (LC)     Cowsar 1-1-1-1-3 (LC)-US-NP     US6285372                   09/075303                                                          us               4-Sep-01          8-May-18                  8-May-98    Surfaces


       Craft 11 (TF)         Craft 11 (TF)-US-NP             US7283365                   11/037677                     20060158846                          us              16-Oct-07          28-Jan-26                 18-Jan-05   Jet Impingement Cooling Apparatus And Method


        Craft4 (TF)          Craft 4 (TF)-US-NP              US6061975                   09/096921                                                          us              16-May-00          12-Jun-18                 12-Jun-98   Telecommunications Equipment Enclosure System
                                                                                                                                                                                                                                     Device For Mangaging Wire And cable For Electronic
        Craft6 (TF)          Craft 6 (TF)-US-NP              US6184474                   09/177764                                                          us               6-Feb-01          23-Oct-18                 23-Oct-98   Systems


    Craft 8-4-2-4-1 (TF)     Craft 8-4-2-4-1 (TF)-US-NP      US6407917                   09/699746                                                          us              18-Jun-02          30-Oct-20                 30-Oct-00   Fluid Flow Management System
                             Crevasse 30-28-11-5 (AM)-US-                                                                                                                                                                            Method for Performing Chemical-Mechanical
  Crevasse 1-10-4-1 (AM)     DIV                            US6261958                    09/450485                                                          us               17-Jul-01          8-Oct-17                 29-Nov-99   Polishing
 Crevasse 29-76-59-123-52    Crevasse 29-76-59-123-52 (AM)-                                                                                                                                                                          Reducing Polish Platen Corrosion During Integrated
           (AM)              US-NP                           US6264536                   09/496115                                                          us               24-Jul-01          1-Feb-20                 1-Feb-00    Circuit Fabrication


   Crowe 1-9-2-3-3 (DE)      Crowe 1-9-2-3-3 (DE)-US-NP      US6115460                   08/885540                                                          us               5-Sep-00          30-Jun-17                 30-Jun-97   A Call ReDirection System
                                                                                                                                                                                                                                     Event Correlation Feature For A Telephone Network
     Crowley 1-1 (JL)        Crowley 1-1 (JL)-US-NP          US6481005                   08/170111                                                          us              12-Nov-02          12-Nov-19                 20-Dec-93   Operations Support System


    Crowley2-1-1 (JL)        Crowley 2-1-1 (JL)-US-NP        US6081590                   09/017651                                                          us              27-Jun-00           2-Feb-18                 2-Feb-98    Call Treatment In Portable Number Networks
                                                                                                                                                                                                                                     Method Of Using The Repetition Of An Erasure
                                                                                                                                                                                                                                     Indicator BIT To Enhance A Power Control Command
        Cui 4-2 (DJ          Cui 4-2 (D)-DE-EPT              EP1977532                   07762632.3                     EP1977532                           DE              12-Nov-14          26-Jan-27                 26-Jan-07   During Handoff
                                                                                                                                                                                                                                     Method Of Using The Repetition Of An Erasure
                                                                                                                                                                                                                                     Indicator BIT To Enhance A Power Control Command
        Cui 4-2 (DJ          Cui 4-2 (D)-FR-EPT              EP1977532                   07762632.3                     EP1977532                           FR              12-Nov-14          26-Jan-27                 26-Jan-07   During Handoff




                                                                                                                                 Page 94 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0235
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 102 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                             :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method Of Using The Repetition Of An Erasure
                                                                                                                                                                                                                                   Indicator BIT To Enhance A Power Control Command
       Cui 4-2 (DJ          Cui 4-2 (D)-GB-EPT                EP1977532                   07762632.3          EP1977532                             GB                    12-Nov-14          26-Jan-27                 26-Jan-07   During Handoff


                                                                                                                                                                                                                                   Using The Repetition Of An Erasure Indicator Bit To
       Cui 4-2 (DJ          Cui 4-2 (DJ-KR-PCT               KR101329540                  20087017649                                               KR                     8-Nov-13          26-Jan-27                 26-Jan-07   Enhance A Power Control Command During Handoff


                                                                                                                                                                                                                                   Using The Repetition Of An Erasure Indicator Bit To
       Cui 4-2 (DJ          Cui 4-2 (D)-US-CNT               US8249642                    12/828466           20100284371                           us                    21-Aug-12          13-Apr-26                  1-Jul-10   Enhance A Power Control Command During Handoff
                                                                                                                                                                                                                                   Time Division Multiplexed Transmission Of OFDM
   Cupo 15-8-2-4 (RL)       Cupo 15-8-2-4 (RL)-US-NP         US6347071                    09/170057                                                 us                    12-Feb-02          13-Oct-18                 13-Oct-98   Symbols
                                                                                                                                                                                                                                   In-Band-On-Channel (IBOC) System And Methods Of
                                                                                                                                                                                                                                   Operation Using Orthogonal Frequency Division
                                                                                                                                                                                                                                   Multiplexing (OFDM) With Timing And Frequency
     Cupo 20-2 (RL)         Cupo 20-2 (RL)-US-NP             US6961393                    09/352404                                                 us                     1-Nov-05           14-Jul-19                14-Jul-99   Offset Correction
                                                                                                                                                                                                                                   Electronic Data Processing Apparatus And Method
                                                                                                                                                                                                                                   For Sound Synthesis Using Transfer Functions Of
       Curtin 3 (SD)        Curtin3 (SD)-US-NP               US6208969                    09/122520                                                 us                    27-Mar-0l           24-Jul-18                24-Jul-98   Sound Samples


   Curtis 24-4-10 (KR)      Curtis 24-4-10 (KR)-US-NP        US6163391                    09/113634                                                 us                    19-Dec-00           10-Jul-18                10-Jul-98   Method And Apparatus For Holographic Data Storage
                                                                                                                                                                                                                                   Process For Holography Using Reference Beam
  Curtis 25-1-5-15 (KR)     Curtis 25-1-5-15 (KR)-US-NP      US6191875                    09/363336                                                 us                    20-Feb-0l           29-Jul-19                29-Jul-99   Having Correlated Phase Content
                                                                                                                                                                                                                                   Process For Holography Involving Skip-Sorted
   Curtis 28-1-12 (KR)      Curtis 28-1-12 (KR)-DE-EPA       EP1162520                    00311160.6          EP1162520                             DE                    12-Mar-03          14-Dec-20                 14-Dec-00   Hologram Storage
                                                                                                                                                                                                                                   Process For Holography Involving Skip-Sorted
   Curtis 28-1-12 (KR)      Curtis 28-1-12 (KR)-FR-EPA       EP1162520                    00311160.6          EP1162520                             FR                    12-Mar-03          14-Dec-20                 14-Dec-00   Hologram Storage
                                                                                                                                                                                                                                   Process For Holography Involving Skip-Sorted
   Curtis 28-1-12 (KR)      Curtis 28-1-12 (KR)-GB-EPA       EP1162520                    00311160.6          EP1162520                             GB                    12-Mar-03          14-Dec-20                 14-Dec-00   Hologram Storage
                                                                                                                                                                                                                                   Process For Holography Involving Skip-Sorted
   Curtis 28-1-12 (KR)      Curtis 28-1-12 (KR)-JP-NP        JP5105670                    2001167199                                                JP                    12-Oct-12           1-Jun-21                 1-Jun-01    Hologram Storage
                                                                                                                                                                                                                                   Process For Holography Involving Skip-Sorted
   Curtis 28-1-12 (KR)      Curtis 28-1-12 (KR)-US-NP        US6614566                    09/588908                                                 us                     2-Sep-03           7-Jun-20                 7-Jun-00    Hologram Storage


    Curtis 29-13 (KR)       Curtis 29-13 (KR)-JP-NP          JP4159758                    2001111421                                                JP                     25-Jul-08         10-Apr-21                 10-Apr-0l   Process For Holography Involving Tilt Compensation


    Curtis 29-13 (KR)       Curtis 29-13 (KR)-DE-EPA         EP1148478                    00309804.3          EP1148478                             DE                    10-Jan-07           6-Nov-20                 6-Nov-00    Process For Holography Involving Tilt Compensation


    Curtis 29-13 (KR)       Curtis 29-13 (KR)-FR-EPA         EP1148478                    00309804.3          EP1148478                             FR                    10-Jan-07           6-Nov-20                 6-Nov-00    Process For Holography Involving Tilt Compensation


    Curtis 29-13 (KR)       Curtis 29-13 (KR)-GB-EPA         EP1148478                    00309804.3          EP1148478                             GB                    10-Jan-07           6-Nov-20                 6-Nov-00    Process For Holography Involving Tilt Compensation


    Curtis 29-13 (KR)       Curtis 29-13 (KR)-US-NP          US6388779                    09/553512                                                 us                    14-May-02          20-Apr-20                 20-Apr-00   Process For Holography Involving Tilt Compensation
                                                                                                                                                                                                                                   Automatic Power Shut-Down Arrangement For
  Czarnochal-1-2-5(W)       Czarnocha 1-1-2-5 (W)-US-NP      US6504630                    09/205512                                                 us                     7-Jan-03           4-Dec-18                 4-Dec-98    Optical Line Systems
 Dagdeviren 15-1-26-2-15    Dagdeviren 15-1-26-2-15 (NR)-
            (NR)            US-NP                            US6356593                    09/067895                                                 us                    12-Mar-02          28-Apr-18                 28-Apr-98   Data Optimized Codec
                                                                                                                                                                                                                                   Low Profile Printed Orcuit Board RF Shield For
          Dai 1 {X)         Dai 1 {X)-US-NP                  US6235985                    09/059066                                                 us                    22-May-0l          13-Apr-18                 13-Apr-98   Radiating Pin


      Dai 1-1-4 (HJ         Dai 1-1-4 (HJ-US-NP              US7453629                    11/321151           20070153365                           us                    18-Nov-08          29-Dec-25                 29-Dec-05   Semiconductor Optical Amplifier Pulse Reshaper


      Dai 1-1-4 (HJ         Dai 2-2-5 (HJ-US-DIV             US7692853                    12/187542           20080310013                           us                     6-Apr-10          29-Dec-25                 7-Aug-08    Semiconductor Optical Amplifier Pulse Reshaper
                                                                                                                                                                                                                                   Efficient Wireless call Delivery Across Regional And
       Dai2-2(W)            Dai 2-2 (W)-US-NP                US6625453                    09/364904                                                 us                    23-Sep-03           30-Jul-19                30-Jul-99   Political Boundaries


    Dajer2-1-1-3(M)         Dajer2-1-1-3 (M)-US-NP           US6094585                    08/970588                                                 us                     25-Jul-00         11-Nov-17                 11-Nov-97   CDMA Forward Link Power Overload Control
                                                                                                                                                                                                                                   Code-Division, Multiple-Access Base Station Having
     Dajer 6-2-27 (M)       Dajer 6-2-27 (M)-JP-NP           JP3902920                    2001161991          2002026781                            JP                    12-Jan-07          30-May-21                 30-May-0l   Transmit Diversity
                                                                                                                                                                                                                                   Code-Division, Multiple-Access Base Station Having
     Dajer 6-2-27 (M)       Dajer 6-2-27 (M)-US-NP           US6539209                    09/580775                                                 us                    25-Mar-03          12-May-21                 30-May-00   Transmit Diversity


                                                                                                                                                                                                                                   Multi-Carrier/Multi-Sector Channel Pooling In A
     Dajer9-3-29 (M)        Dajer 9-3-29 (M)-DE-EPA          EP1094676                    00308863.0          EP1094676                             DE                    28-May-08           9-Oct-20                 9-Oct-00    Wireless Communication System Base Station


                                                                                                                                                                                                                                   Multi-Carrier/Multi-Sector Channel Pooling In A
     Dajer9-3-29 (M)        Dajer 9-3-29 (M)-FR-EPA          EP1094676                    00308863.0          EP1094676                             FR                    28-May-08           9-Oct-20                 9-Oct-00    Wireless Communication System Base Station


                                                                                                                                                                                                                                   Multi-Carrier/Multi-Sector Channel Pooling In A
     Dajer9-3-29 (M)        Dajer 9-3-29 (M)-GB-EPA          EP1094676                    00308863.0          EP1094676                             GB                    28-May-08           9-Oct-20                 9-Oct-00    Wireless Communication System Base Station


                                                                                                                                                                                                                                   Multi-Carrier/Multi-Sector Channel Pooling In A
     Dajer9-3-29 (M)        Dajer 9-3-29 (M)-JP-NP           JP4625171                    2000317403                                                JP                    12-Nov-10          18-Oct-20                 18-Oct-00   Wireless Communication System Base Station


                                                                                                                                                                                                                                   Multi-Carrier/Multi-Sector Channel Pooling In A
     Dajer9-3-29 (M)        Dajer 9-3-29 (M)-US-NP           US7161912                    09/420275                                                 us                     9-Jan-07          18-Oct-19                 18-Oct-99   Wireless Communication System Base Station
                                                                                                                                                                                                                                   Method And Apparatus For Even Distribution Of
    Dalsingl-1-l(WK)        Dalsing 1-1-1 {WK)-US-NP         US6377675                    09/365930                                                 us                    23-Apr-02           2-Aug-19                 2-Aug-99    signaling Link Selection Codes


    Damask 1-40 (JN)        Damask 1-40 (JN)-US-NP           US6252711                    09/532143                                                 us                    26-Jun-0l          21-Mar-20                 21-Mar-00   Polarization Diversity For Birefringent Filters
                                                                                                                                                                                                                                   Double-Pass Polarization Diversified Birefringent
    Damask5-39 (JN)         Damask 5-39 (JN)-US-NP           US6393039                    09/532150                                                 us                    21-May-02          21-Mar-20                 21-Mar-00   Filter
      Damask 6 (JN)         Damask 6 (JN)-US-NP              US6577445                    09/664579                                                 us                    10-Jun-03           2-Jan-21                 18-Sep-00   Composite Birefringent Crystal Unit And Filter
                                                                                                                                                                                                                                   Circuit Board Test Fixture With Electrostatic
 Dangel mayer 4-21-4 (GT)   Dangel mayer 4-21-4 {GT)-US-NP   US6541988                    09/879476           20020186029                           us                     1-Apr-03          12-Jun-21                 12-Jun-0l   Discharge {ESD) Protection
     Daoud 138 (BH)         Daoud 138 (BH)-US-NP             US6148133                    09/146464                                                 us                    14-Nov-00           3-Sep-18                 3-Sep-98    Cable Bend Limiter Trough


     Daoud 190 (BH)         Daoud 190 (BH)-US-NP             US6289160                    09/391018                                                 us                    11-Sep-0l           7-Sep-19                 7-Sep-99    A Fiber-Optic Cable Routing And Storage Device
                                                                                                                                                                                                                                   A Fiber-Optic Cable Tray Having Adjustable
     Daoud 227 (BH)         Daoud 227 (BH)-US-NP             US6311007                    09/390204                                                 us                    30-Oct-01           7-Sep-19                 7-Sep-99    Components
                                                                                                                                                                                                                                   Strain Relief Device With Bend Limiter And Slack
  Daoud 285-56-84 (BH)      Daoud 285-56-84 (BH)-US-NP       US6487357                    09/871093           20020181921                           us                    26-Nov-02          31-May-21                 31-May-0l   Storage


  Daoud 286-3-85-2 (BH)     Daoud 286-3-85-2 (BH)-US-NP      US6610411                    09/965043           20030059626                           us                    26-Aug-03          27-Sep-21                 27-Sep-0l   Silicone Gel Tape For Coax Connector Connection
     Daoud 289 (BH)         Daoud 289 (BH)-US-NP             US6512876                    09/841832                                                 us                    28-Jan-03          25-Apr-21                 25-Apr-0l   Fiber Splice Tray
                                                                                                                                                                                                                                   Fiber-Optic Cable Routing And Management System
   Daoud 293-94 (BH)        Daoud 293-94 (BH)-US-NP          US6567601                    09/884511                                                 us                    20-May-03          19-Jun-21                 19-Jun-0l   And Components


  Daoud 294-96-18 (BH)      Daoud 294-96-18 (BH)-US-NP       US6781851                    10/158709           20030223213                           us                    24-Aug-04          30-May-22                 30-May-02   Electromagnetic Interference Shield


   Daoud 295-97 (BH)        Daoud 295-97 (BH)-US-NP          US6634794                    10/162730                                                 us                    21-Oct-03           5-Jun-22                 5-Jun-02    Optical Fiber Connector Assembly




                                                                                                                      Page 95 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0236
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 103 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                                 :ia:~:A,m:::::::::::::::::
                                                                 liiitiiiiii~:il\::::'::•:•
                                                                                              :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                               ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Stackable Optical Fiber Splice Tray And Mounting
   Daoud 305-107 (BH)        Daoud 305-107 (BH)-US-NP             US6915059                   10/448511                     20040240825                          us               5-Jul-05          30-May-23                 30-May-03   Shelves


  Daoud 310-114-27 (BH)      Daoud 310-114-27 (BH)-US-NP          US7095624                   10/774224                     20050173782                          us              22-Aug-06           3-Jun-24                 6-Feb-04    ElectromagneticShieldWithVee-SlotPanelJoints


  Daoud 312-120-32 (BH)      Daoud 312-120-32 (BH)-US-NP          US7130176                   11/019515                     20060139853                          us              31-Oct-06           6-Jan-25                 23-Dec-04   Protective Enclosures And Related Methods
                                                                                                                                                                                                                                          Systems And Methods For Forecasting Demand For A
    Daoud 318-6 (BH)         Daoud 318-6 (BH)-US-NP               US7280882                   11/376928                                                          us               9-Oct-07          16-Mar-26                 16-Mar-06   Subcomponent
                                                                                                                                                                                                                                          Multiple Machine View Execution In A Computer
    D'Arcy3-2-2-2 {PG)       D'Arcy 3-2-2-2 {PG)-US-NP            US6079010                   09/052671                                                          us              20-Jun-00          31-Mar-18                 31-Mar-98   System


                                                                                                                                                                                                                                          Method Of Reverse Link Transmission In A Wireless
     Das 12-25-31 (5)        Das 12-25-31 (5)-US-NP               US7564822                   11/133100                     20060268786                          us               21-Jul-09           1-Jul-26                19-May-05   Network Using Code And Frequency Multiplexing
                                                                                                                                                                                                                                          Variable Rate Channel Quality Feedback In A Wireless
       Das 14-18 (A)         Das 14-18 (A)-US-NP                  US7477876                   10/002746                     20030087605                          us              13-Jan-09            8-Jul-25                2-Nov-01    Communication System


    Das 1-4-18-58 (A)        Das 1-4-18-58 (A)-US-NP              US7873689                   11/026499                     20060149774                          us              18-Jan-11          25-Dec-28                 30-Dec-04   Distributed Set-Expression Cardinality Estimation


                                                                                                                                                                                                                                          Method For Management Of Voice-Over IP
      Das 1-6-7 {KP)         Das 1-6-7 {KP)-US-NP                 US7420962                   10/674123                     20050070230                          us               2-Sep-08          30-Jan-26                 26-Sep-03   Communications Of Various Relative Priority Levels


    Das 21-26-22-9 (A)       Das 21-26-22-9 (A)-KR-NP             KR10979656                  20030019509                                                        KR              27-Aug-10          28-Mar-23                 28-Mar-03   Shared Signaling For Multiple User Equipment


    Das 21-26-22-9 (A)       Das 21-26-22-9 (A)-US-NP             US7508804                   10/115966                     20030189918                          us              24-Mar-09           3-Oct-24                 5-Apr-02    Shared Signaling For Multiple User Equipment
                                                                                                                                                                                                                                          Error Detection Methods In Wireless Communication
   Das 22-27-23-10 (A)       Das 22-27-23-10 (A)-US-NP            US7162675                   10/115967                     20030192003                          us               9-Jan-07          16-May-23                 5-Apr-02    Systems
                                                                  ZL200680045819                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-CN-PCT                  .3                          200680045819.3                101322384                           CN                3-Apr-13           4-Dec-26                 4-Dec-06    Transmissions
                                                                                                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-DE-EPT                  EP1958422                   06844812.5                     EP1958422                           DE              25-Jun-14           4-Dec-26                 4-Dec-06    Transmissions
                                                                                                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-FR-EPT                  EP1958422                   06844812.5                     EP1958422                           FR              25-Jun-14           4-Dec-26                 4-Dec-06    Transmissions
                                                                                                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-GB-EPT                  EP1958422                   06844812.5                     EP1958422                          GB               25-Jun-14           4-Dec-26                 4-Dec-06    Transmissions
                                                                                                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-KR-PCT                  KR101351753                 20087013480                                                        KR               8-Jan-14           4-Dec-26                 4-Dec-06    Transmissions
                                                                                                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-US-NP                   US8214640                   11/294731                     20070130475                          us               3-Jul-12          18-Jun-29                 5-Dec-05    Transmissions
                                                                                                                                                                                                                                          Method Of Embedding Information In Internet
       Das 2-4 {KP)          Das 2-4 {KP)-JP-PCT                 JP5043034                    2008544426                    2009518958                           JP               20-Jul-12          4-Dec-26                 4-Dec-06    Transmissions


                                                                                                                                                                                                                                          System And Method For Enhancing Throughput In An
                                                                                                                                                                                                                                          Additive Gaussian Noise Channel With A
       Das 3-7-4 (5)         Das 3-7-4 (5)-US-NP                  US7342958                   10/875755                     20050286621                          us              11-Mar-08           9-Jun-26                 24-Jun-04   Predetermined Rate Set And Unknown Interference


                                                                                                                                                                                                                                          Incremental Addition And Scale-Back Of Resources
       Das 5-7 {KP)          Das 5-7 {KP)-US-NP                   US8570870                   12/317881                     20100034195                          us              29-Oct-13          20-Apr-32                 30-Dec-08   Adapting To Network Resource Availability
                                                                                                                                                                                                                                          Error Control Coding For Transmission Equipment
  Dave 10-1-3-2-1-5 (BP)     Dave 10-1-3-2-1-5 (BP)-US-NP         US6516436                   09/483056                                                          us               4-Feb-03          13-Jan-20                 13-Jan-00   Protection
                                                                                                                                                                                                                                          Low-Overhead Fault-Tolerance Techniques For
       Dave 12 (BP)          Dave 12 (BP)-US-NP                   US6850704                   09/614436                                                          us               1-Feb-05           12-Jul-20                12-Jul-00   Optical And Other Cross-Connect Systems


                                                                                                                                                                                                                                          Hardware-Software Co-Synthesis Of Hierarchical
       Dave 3-3 (BP)         Dave 3-3 (BP)-US-NP                  US6289488                   09/025537                                                          us              11-Sep-0l          17-Feb-18                 17-Feb-98   Heterogeneous Distributed Embedded Systems


                                                                                                                                                                                                                                          Hardware/Software Co-Synthesis Of Dynamically
        Dave 9 (BP)          Dave 9 (BP)-US-NP                    US6415384                   09/393535                                                          us               2-Jul-02          10-Sep-19                 10-Sep-99   Reconfigurable Embedded Systems
                                                                                                                                                                                                                                          Method And Apparatus For Re-Synchronizing A
     Davies 1-1-1 (GJ)       Davies 1-1-1 (GJ)-US-NP              US6230210                   09/140273                                                          us              8-May-01           26-Aug-18                 26-Aug-98   Network Manager And Its NetworkAgents


   Davila 4-11-2-1 (MA)      Davila 4-11-2-1 (MAJ-US-NP           US6007605                   09/020721                                                          us              28-Dec-99           9-Feb-18                 9-Feb-98    Integration Exclusion Filter And Pressurizing Means
       Davis 1 (KC)          Davis 1 (KC)-US-NP                   US7054372                   09/737370                     20020075962                          us              30-May-06          21-Dec-22                 15-Dec-00   Digital Transmission Line Tap Orcuit


                                                                                                                                                                                                                                          System For Expanding A Parameter Encoding Field In
                                                                                                                                                                                                                                          A Message To Allow Additional Parameters To be
                                                                                                                                                                                                                                          Added While Maintaining Compatibility With Existing
 Davis 1-1-1-7-3-1-6 (WR)    Davis 1-1-1-7-3-1-6 (WR)-DE-EPA EP0982953                        99305357.8                     EP0982953                           DE              22-Aug-01            6-Jul-19                 6-Jul-99   Parameter Encodings


                                                                                                                                                                                                                                          System For Expanding A Parameter Encoding Field In
                                                                                                                                                                                                                                          A Message To Allow Additional Parameters To be
                                                                                                                                                                                                                                          Added While Maintaining Compatibility With Existing
 Davis 1-1-1-7-3-1-6 (WR)    Davis 1-1-1-7-3-1-6 (WR)-FR-EPA EP0982953                        99305357.8                     EP0982953                           FR              22-Aug-01            6-Jul-19                 6-Jul-99   Parameter Encodings


                                                                                                                                                                                                                                          System For Expanding A Parameter Encoding Field In
                                                                                                                                                                                                                                          A Message To Allow Additional Parameters To be
                             Davis 1-1-1-7-3-1-6 (WR)-GB-                                                                                                                                                                                 Added While Maintaining Compatibility With Existing
 Davis 1-1-1-7-3-1-6 (WR)    EPA                                  EP0982953                   99305357.8                     EP0982953                          GB               22-Aug-01            6-Jul-19                 6-Jul-99   Parameter Encodings


                                                                                                                                                                                                                                          System For Expanding A Parameter Encoding Field In
                                                                                                                                                                                                                                          A Message To Allow Additional Parameters To be
                                                                                                                                                                                                                                          Added While Maintaining Compatibility With Existing
 Davis 1-1-1-7-3-1-6 (WR)    Davis 1-1-1-7-3-1-6 (WR)-US-NP       US6529505                   09/115149                                                          us              4-Mar-03            14-Jul-18                14-Jul-98   Parameter Encodings
      Davis 1-2 (DM)         Davis 1-2 (DM)-US-NP                 US6062302                   08/940754                                                          us              16-May-00          30-Sep-17                 30-Sep-97   Composite Heat Sink
                                                                                                                                                                                                                                          Telecommunications Switching Circuit Using Tri-State
       Davis 2-1 (RJ)        Davis 2-1 (RJ)-US-NP                 US6717911                   09/464878                                                          us               6-Apr-04          16-Dec-19                 16-Dec-99   Buffers
 De Cristofaro 1-2-12-7-25   De Cristofaro 1-2-12-7-25 (JL)-US                                                                                                                                                                            Thermoplastic Composite Materials For Wear
            (JL)             NP                                   US7718724                   11/717977                     20080226921                          us              18-May-10           7-Nov-27                 14-Mar-07   Surfaces And Methods For Making Same
 De Cristofaro 4-14-9-27-1   De Cristofaro 4-14-9-27-1 (JL)-US                                                                                                                                                                            Initial Strike-Face Layer For Armor, A Method Of
            (JL)             NP                                   US8141471                   11/864560                     20090084256                          us              27-Mar-12          12-Apr-30                 28-Sep-07   Constructing An Armor Plate And Armor


                                                                                                                                                                                                                                          Method And Apparatus For Implementing Run-
     Delind2-3(AJV)          De Lind 2-3 (AJV)-US-NP              US6241778                   09/335816                                                          us               5-Jun-01          18-Jun-19                 18-Jun-99   Length Limited And Maximum Transition Run Codes
                                                                                                                                                                                                                                          System And Method For Multi-Channel Mitigation Of
    De Lind 8-18-3 (AJ)      De Lind 9-22-6 (AJ)-DE-EPA           EP1507346                   04254519.4                     EP1507346                           DE              21-Jun-06           28-Jul-24                28-Jul-04   PMD/PDL/PDG
                                                                                                                                                                                                                                          System And Method For Multi-Channel Mitigation Of
    De Lind 8-18-3 (AJ)      De Lind 9-22-6 (AJ)-FR-EPA           EP1507346                   04254519.4                     EP1507346                           FR              21-Jun-06           28-Jul-24                28-Jul-04   PMD/PDL/PDG
                                                                                                                                                                                                                                          System And Method For Multi-Channel Mitigation Of
    De Lind 8-18-3 (AJ)      De Lind 9-22-6 (AJ)-GB-EPA           EP1507346                   04254519.4                     EP1507346                          GB               21-Jun-06           28-Jul-24                28-Jul-04   PMD/PDL/PDG
                                                                                                                                                                                                                                          System And Method For Multi-Channel Mitigation Of
    De Lind 8-18-3 (AJ)      De Lind 9-22-6 (AJ)-CN-NP            ZL10057405.5                200410057405.5                1581737                             CN                28-Jul-10         12-Aug-24                 12-Aug-04   PMD/PDL/PDG




                                                                                                                                      Page 96 of 149
                                                                                                                                                                                                               PATENT
                                                                                                                                                                                                       REEL: 044000 FRAME: 0237
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 104 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm System And Method For Multi-Channel Mitigation Of
    De Lind 8-18-3 (AJ)      De Lind 9-22-6 (AJ)-US-CIP       US7010180                   10/639824                     20050036727                          us              7-Mar-06            31-Jul-23                13-Aug-03   PMD/PDL/PDG
                                                                                                                                                                                                                                      System And Method For Multi-Channel Mitigation Of
    De Lind 8-18-3 (AJ)      De Lind 9-22-6 (AJ)-JP-NP       JP4777626                    2004231830                    2005065273                           JP               8-Jul-11           9-Aug-24                 9-Aug-04    PMD/PDL/PDG

DelindVanWijngaardenlS De LindVanWijngaarden 15-19-                                                                                                                                                                                   Method And Apparatus For Cellular Communication
     19-15-21-5- (AJ)  15-21-5-(AJ)-US-CIP          US7929487                             11/435665                     20060209752                          us              19-Apr-11          13-Nov-27                 17-May-06   Over Data Networks


De LindVanWijngaarden30 De LindVanWijngaarden30-3             ZL201080049570                                                                                                                                                          Method And Apparatus For Error Detection In A
           3 (AJ)            (AJ)-CN-PCT                      .X                          201080049570.X                CN102771074A                        CN               19-Aug-15           4-Nov-30                 4-Nov-10    Communication System


De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                                                                                                                                     Method And Apparatus For Error Detection In A
           3 (AJ)            (AJ)-EP-EPT                                                  10829067.7                     EP2497217                           EP                                  4-Nov-30                 4-Nov-10    Communication System


De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                                                                                                                                     Method And Apparatus For Error Detection In A
           3 (AJ)            (AJ)-JP-PCT                     JP5717748                    2012537981                    2013510514                           JP              27-Mar-15           4-Nov-30                 4-Nov-10    Communication System


De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                                                                                                                                     Method And Apparatus For Error Detection In A
           3 (AJ)            (AJ)-KR-PCT                      KR101354288                 2012-7011532                                                       KR              15-Jan-14           4-Nov-30                 4-Nov-10    Communication System


De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                                                                                                                                     Method And Apparatus For Error Detection In A
           3 (AJ)            (AJ)-US-NP                       US8892983                   12/612674                     20100153828                          us              18-Nov-14            7-Jul-32                4-Nov-09    Communication System


De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                                                                                                                                     Method And Apparatus For Error Detection In A
          3 (AJ) [2]         (AJ) [2]-US-DIV                                              14/508879                     20150039977                          us                                  4-Nov-29                 7-Oct-14    Communication System
                                                                                                                                                                                                                                      Method And Apparatus For Operating Domain Name
    DeArdo 3-1-1-1 {CE)      DeArdo 3-1-1-1 {CE)-US-NP        US6351743                   09/318908                                                          us              26-Feb-02          26-May-19                 26-May-99   Servers


                                                                                                                                                                                                                                      Method For Treating Semiconductor Wafers With
       DeBusk 1 (DK)         DeBusk 1 (DK)-US-NP              US6127289                   08/924268                                                          us               3-Oct-00           5-Sep-17                 5-Sep-97    Corona Charge Devices Using Corona Charging
      Degani 46-4 (Y)        Degani 58-5 (Y)-US-DIV           US6597069                   09/661741                                                          us               22-Jul-03         24-Apr-19                 14-Sep-00   Flip Chip Metallization
                                                                                                                                                                                                                                      Method Of Testing And Constructing Monolithic
    Degani 59-39-73 (Y)      Degani 59-39-73 (Y)-US-NP        US6680212                   09/879759                     20020081755                          us              20-Jan-04          12-Jun-21                 12-Jun-0l   Multi-Chip Modules
                                                                                                                                                                                                                                      Digital Loop Carrier System With Enhanced Call
     Deichstetter3 (EA)      Deichstetter3 (EA)-US-NP         U56788783                   09/624561                                                          us               7-Sep-04           24-Jul-20                24-Jul-00   Handling And Method
                                                                                                                                                                                                                                      Method And Apparatus For Packet Network Tunnel
       DeJager3 (DJ          DeJager3 (DJ-US-NP               US6839353                   09/573759                                                          us               4-Jan-05          18-May-20                 18-May-00   Management


     Delavaux 31-2 (JP)      Delavaux31-2 (JP)-US-NP          US6819481                   09/873696                     20020181043                          us              16-Nov-04           4-Jun-21                 4-Jun-01    Bidirectional Wave Division Multiplex Systems
                                                                                                                                                                                                                                      Expansion Bridge Apparatus And Method For An I2C
      Delmonico 1 (JJ)       Delmonico 1 (JJ)-US-NP           US6874052                   09/677061                                                          us              29-Mar-05          29-Sep-20                 29-Sep-00   Bes


    DeMarco 8-9-8 (JJ)       DeMarco 8-9-8 (JJ)-US-NP         US6195200                   09/025465                                                          us              27-Feb-0l          18-Feb-18                 18-Feb-98   High Power Multiwavelength Light Source


    Dempsey 10-2 (PAA)       Dempsey 10-2 (PAA)-US-NP         US6499136                   09/437959                                                          us              24-Dec-02          10-Nov-19                 10-Nov-99   Single-Shot Entry Code


   Dempsey 5-2-4 (PAA)       Dempsey 5-2-4 (PAA)-US-NP        US6195565                   09/033985                                                          us              27-Feb-0l           3-Mar-18                 3-Mar-98    Bandwidth Control In A Packet-Based Data System


                                                                                                                                                                                                                                      Method And Apparatus For Error Free Switching In A
   Dempsey 7-1-5 (PAA)       Dempsey 7-1-5 (PAA)-US-NP        US6169726                   09/213930                                                          us               2-Jan-01          17-Dec-18                 17-Dec-98   Redundant Duplex Communication Carrier System
                             Dempsey 9-2-1-3-1-1 (PAA)-US-
 Dempsey 9-2-1-3-1-1 (PAA)   NP                               US6418540                   09/384602                                                          us               9-Jul-02          27-Aug-19                 27-Aug-99   State Transfer With Throw-Away Thread
                                                                                                                                                                                                                                      Optical Multiplexer/Demultiplexer Arrangement For
                                                                                                                                                                                                                                      WDM Signals Having In-Band And Out-Of-Band Signal
    Denkin 10-4-2 (NM)       Denkin 10-4-2 (NM)-US-NP         US6512864                   09/590538                                                          us              28-Jan-03           8-Jun-20                 8-Jun-00    Components


                                                                                                                                                                                                                                      Method And Apparatus For Stabilizing Transient
  Denkin 11-2-1-3-1 (NM)     Denkin 11-2-1-3-1 (NM)-DE-EPA    EP1130822                   00307857.3                     EP1130822                           DE              19-Feb-03          11-Sep-20                 11-Sep-00   Control In Amplified Optical Networks


                                                                                                                                                                                                                                      Method And Apparatus For Stabilizing Transient
  Denkin 11-2-1-3-1 (NM)     Denkin 11-2-1-3-1 (NM)-FR-EPA    EP1130822                   00307857.3                     EP1130822                           FR              19-Feb-03          11-Sep-20                 11-Sep-00   Control In Amplified Optical Networks


                                                                                                                                                                                                                                      Method And Apparatus For Stabilizing Transient
  Denkin 11-2-1-3-1 (NM)     Denkin 11-2-1-3-1 (NM)-JP-NP    JP4414603                    200151336                     2001274755                           JP              27-Nov-09          27-Feb-21                 27-Feb-0l   Control In Amplified Optical Networks


                                                                                                                                                                                                                                      Method And Apparatus For Stabilizing Transient
  Denkin 11-2-1-3-1 (NM)     Denkin 11-2-1-3-1 (NM)-US-NP     US6356386                   09/515906                                                          us              12-Mar-02          29-Feb-20                 29-Feb-00   Control In Amplified Optical Networks
                                                                                                                                                                                                                                      Apparatus For Detecting Raman Gain In An Optical
    Denkin 12-6-2 (NM)       Denkin 12-6-2 (NM)-US-NP         US6980740                   09/599194                                                          us              27-Dec-05           13-Jul-23                22-Jun-00   Transmission System
                                                                                                                                                                                                                                      Apparatus For Detecting Raman Gain In An Optical
    Denkin 12-6-2 (NM)       Denkin 12-6-2 (NM)-DE-EPA        EP1168684                   01305052.1                     EP1168684                           DE              17-Mar-10          11-Jun-21                 11-Jun-0l   Transmission System
                                                                                                                                                                                                                                      Apparatus For Detecting Raman Gain In An Optical
    Denkin 12-6-2 (NM)       Denkin 12-6-2 (NM)-FR-EPA        EP1168684                   01305052.1                     EP1168684                           FR              17-Mar-10          11-Jun-21                 11-Jun-0l   Transmission System
                                                                                                                                                                                                                                      Apparatus For Detecting Raman Gain In An Optical
    Denkin 12-6-2 (NM)       Denkin 12-6-2 (NM)-GB-EPA        EP1168684                   01305052.1                     EP1168684                          GB               17-Mar-10          11-Jun-21                 11-Jun-0l   Transmission System
                                                                                                                                                                                                                                      Apparatus For Detecting Raman Gain In An Optical
    Denkin 12-6-2 (NM)       Denkin 12-6-2 (NM)-JP-NP        JP4472896                    2001188954                    2002064432                           JP              12-Mar-10          22-Jun-21                 22-Jun-0l   Transmission System
                                                                                                                                                                                                                                      Optical Protection Switch Employing An Interference
    Denkin 4-2-10 (NM)       Denkin 4-2-10 (NM)-US-NP         US6266168                   08/994213                                                          us               24-Jul-01         19-Dec-17                 19-Dec-97   Filter
      Denkin 8-1 (NM)        Denkin 8-1 (NM)-US-NP            US6205790                   09/322936                                                          us              27-Mar-0l          28-May-19                 28-May-99   Efficient Thermoelectric Controller


                                                                                                                                                                                                                                      An Interleaved Wavelengths Multi/Demultiplexer
                                                                                                                                                                                                                                      With Multiple-Input-Ports And Multiple-Output-Ports
      Denkin 9-3 (NM)        Denkin 9-3 (NM)-US-NP            US6181849                   09/302373                                                          us              30-Jan-0l          30-Apr-19                 30-Apr-99   For Wavelength Add/Drop WDM Systems


   Derakhshan 1-2-1 (F)      Derakhshan 1-2-1 (F)-US-NP       US7430420                   11/021554                     20060142032                          us              30-Sep-08          26-Jun-25                 23-Dec-04   Cell Selection And Inter-Frequency Handover
                                                                                                                                                                                                                                      A Method Of Auditing Cross-Connections Related To
                                                                                                                                                                                                                                      Concatenated Signsla In A Synchronous Optical
    Derbenwickl-1 (LF)       Derbenwick 1-1 {LF)-US-NP        US6262975                   09/112417                                                          us               17-Jul-01           9-Jul-18                 9-Jul-98   Network
                                                                                                                                                                                                                                      Methods And Apparatus For Instability Detection In
   Deshpande 1-11-3 (5)      Deshpande 1-11-3 (5)-US-NP       US8699357                   11/564931                     20080130645                          us              15-Apr-14          12-May-30                 30-Nov-06   Inter-Domain Routing
                                                                                                                                                                                                                                      Implementation Of Collaborative
     Deutsch 12-7 (DA)       Deutsch 12-7 (DA)-US-NP          US7693523                   11/005966                     20080008304                          us               6-Apr-10           3-Feb-29                 7-Dec-04    Telecommunications Services
                                                                                                                                                                                                                                      System For Deferred call Answering In A
    Deutsch 3-11-3 (DA)      Deutsch 3-11-3 (DA)-US-NP        US6028922                   08/922856                                                          us              22-Feb-00           3-Sep-17                 3-Sep-97    Telecommunications System
                                                                                                                                                                                                                                      Subrate Voice Switching Over Switching And
     Deutsch 4-23 (DA)       Deutsch 4-23 (DA)-US-NP          US6243400                   09/032055                                                          us               5-Jun-01          27-Feb-18                 27-Feb-98   Telecommunication Networks
                                                                                                                                                                                                                                      Dynamic Assignment Of Subrate Voice Channels In
     Deutsch 5-24 (DA)       Deutsch 5-24 (DA)-US-NP          US6052391                   09/032056                                                          us              18-Apr-00          27-Feb-18                 27-Feb-98   Telecommunication Networks




                                                                                                                                  Page 97 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0238
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 105 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                        liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                            :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                       ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Material Exhibiting Compensation For Polymerization
                                                                                                                                                                                                                                  Induced Shrinkage And Recording Medium Formed
       Dhar2-25 (L)         Dhar 2-25 (L)-JP-NP             JP3504884                    187136/1999         2000086914                            JP                    19-Dec-03            1-Jul-19                 1-Jul-99   Therefrom
                                                                                                                                                                                                                                  Material Exhibiting Compensation For Polymerization
                                                                                                                                                                                                                                  Induced Shrinkage And Recording Medium Formed
       Dhar2-25 (L)         Dhar 2-25 (L)-US-NP              US6124076                   09/108496                                                 us                    26-Sep-00            1-Jul-18                 1-Jul-98   Therefrom
                                                                                                                                                                                                                                  Material Exhibiting Compensation For Polymerization
                                                                                                                                                                                                                                  Induced Shrinkage And Recording Medium Formed
       Dhar2-25 (L)         Dhar 8-37 (L)-US-DIV            US6221536                    09/573488                                                 us                    24-Apr-Ol            1-Jul-18                16-May-OO   Therefrom
                                                                                                                                                                                                                                  Method And Apparatus For Bidirectional
  DiGiovanni 36-10-5 (DJ)   DiGiovanni 36-10-5 (DJ)-US-NP   US6381045                    09/103925                                                 us                    30-Apr-02          24-Jun-18                 24-Jun-98   Communication Over A Single Optical Fiber


                                                                                                                                                                                                                                  Method of applying a precursor to an assembled
   DiGiovanni 50-1 (DJ)     DiGiovanni 50-1 (DJ)-US-NP      US6397636                    09/315631                                                 us                     4-Jun-02          20-May-19                 20-May-99   fiber bundle and fusingthefundletogether
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-DE-EPA          EP1244248                    01308397.7          EP1244248                             DE                    26-Jan-05           2-0ct-21                 2-0ct-01    Monitoring
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-DE-EPD[2]       EP1505768                    04026967.2          EP1505768                             DE                    26-Nov-08           2-0ct-21                 2-0ct-01    Monitoring
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-FR-EPA          EP1244248                    01308397.7          EP1244248                             FR                    26-Jan-05           2-0ct-21                 2-0ct-01    Monitoring
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-FR-EPD[2]       EP1505768                    04026967.2          EP1505768                             FR                    26-Nov-08           2-0ct-21                 2-0ct-01    Monitoring
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-GB-EPA          EP1244248                    01308397.7          EP1244248                             GB                    26-Jan-05           2-0ct-21                 2-0ct-01    Monitoring
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-GB-EPD[2]       EP1505768                    04026967.2          EP1505768                             GB                    26-Nov-08           2-0ct-21                 2-0ct-01    Monitoring
                                                                                                                                                                                                                                  Method And Apparatus for Efficient Reactive
      Oilman 1-6(M)         Di Iman 1-6 (M)-US-NP           US8402129                    09/813415           20020138599                           us                    19-Mar-13          27-Dec-27                 21-Mar-01   Monitoring


 Dinu 4-4-12-2-22-15 (M)    Dinu 4-4-12-2-22-15 (M)-US-NP   US6795617                    10/426900                                                 us                    21-Sep-04          30-Apr-23                 30-Apr-03   Optical Device For Generating Pulsed Light
      Dispenza5 (JA)        Dispenza 5 (JA)-US-NP           US6079920                    09/247678                                                 us                    27-Jun-OO           9-Feb-19                 9-Feb-99    Captive Fastener
                                                                                                                                                                                                                                  Conductive Fire-Retardant Thermoplastic Elastomer
      Dispenza 6 (JA)       Dispenza 6 (JA)-DE-EPA          EP1094473                    00308866.3          EP1094473                             DE                     9-Feb-05           9-0ct-20                 9-0ct-00    Mixture
                                                                                                                                                                                                                                  Conductive Fire-Retardant Thermoplastic Elastomer
      Dispenza 6 (JA)       Dispenza 6 (JA)-FR-EPA          EP1094473                    00308866.3          EP1094473                             FR                     9-Feb-05           9-0ct-20                 9-0ct-00    Mixture
                                                                                                                                                                                                                                  Conductive Fire-Retardant Thermoplastic Elastomer
      Dispenza 6 (JA)       Dispenza 6 (JA)-GB-EPA          EP1094473                    00308866.3          EP1094473                             GB                     9-Feb-05           9-0ct-20                 9-0ct-00    Mixture
                                                                                                                                                                                                                                  Conductive Fire-Retardant Thermoplastic Elastomer
      Dispenza 6 (JA)       Dispenza 6 (JA)-US-NP           US6268408                    09/425397                                                 us                     31-Jul-01         22-0ct-19                 22-0ct-99   Mixture
                                                                                                                                                                                                                                  Receiver For High Rate Digital Communication
    Dittrich 4-4-23 (A)     Dittrich 4-4-23 (A)-US-NP       US7161980                    10/223151           20040032905                           us                     9-Jan-07           7-Sep-24                 19-Aug-02   System
                                                                                                                                                                                                                                  Cellular-Clustering Arrangements And Corresponding
                                                                                                                                                                                                                                  Antenna Patterns For Wireless Communication
                                                                                                                                                                                                                                  Networks Employing High-Altitude Aeronautical
    Djuknic 1-1-1 (GM)      Djuknic 1-1-1 (GM)-KR-NP        KR371825                     9758908                                                   KR                    28-Jan-03           8-Nov-17                 8-Nov-97    Antenna Platforms
                                                                                                                                                                                                                                  Cellular-Clustering Arrangements And Corresponding
                                                                                                                                                                                                                                  Antenna Patterns For Wireless Communication
                                                                                                                                                                                                                                  Networks Employing High-Altitude Aeronautical
    Djuknic 1-1-1 (GM)      Djuknic 1-1-1 (GM)-JP-NP        JP3086864                    09303192            2000970227                            JP                     14-Jul-OO          5-Nov-17                 5-Nov-97    Antenna Platforms
                                                                                                                                                                                                                                  Retrieval And Manipulation Of Electronically Stored
                                                                                                                                                                                                                                  Information Via Pointers Embedded In The
     Djuknic2-1 (GM)        Djuknic 2-1 (GM)-US-NP          US6964374                    09/166144                                                 us                    15-Nov-05           2-0ct-18                 2-0ct-98    Associated Printed Material
                                                                                                                                                                                                                                  Portability Of Subscriber Features In A
    Dobner 1-9-17 (FJ)      Dobner 1-9-17 (FJ)-US-NP        US7245709                    10/614930           20050008136                           us                     17-Jul-07          2-Mar-25                  8-Jul-03   Telecommunication System


                                                                                                                                                                                                                                  Asynchronous Object Oriented Configuration Control
   Dobrowolski 1-1 (GJ)     Dobrowolski 1-1 (GJ)-US-NP      US6493323                    09/312747                                                 us                    10-Dec-02          14-May-19                 14-May-99   System For Highly Reliable Distributed Systems
      Doerr 100 (CR)        Doerr 100 (CR)-US-NP            US7106923                    11/096022           20060222295                           us                    12-Sep-06           1-Apr-25                 31-Mar-05   Dispersion Compensator
      Doerr 100 (CR)        Doerr 100 (CR)-EP-EPT                                        06748488.1          EP1869516                             EP                                       21-Mar-26                 21-Mar-06   Dispersion Compensator


                                                                                                                                                                                                                                  Integrated MicroelectromechanicalWavelength
    Doerr 103-21 (CR)       Doerr 103-21 (CR)-US-NP         US7283709                    11/244778                                                 us                    16-0ct-07          10-Nov-25                 6-0ct-05    Selective Switch And Method Of Making Same
      Doerr 106 (CR)        Doerr 106 (CR)-DE-EPT           EP1958301                    06844958.6          EP1958301                             DE                    16-Sep-09           7-Dec-26                 7-Dec-06    Wide-Bandwidth Mode-Locked Laser
      Doerr 106 (CR)        Doerr 106 (CR)-FR-EPT           EP1958301                    06844958.6          EP1958301                             FR                    16-Sep-09           7-Dec-26                 7-Dec-06    Wide-Bandwidth Mode-Locked Laser
      Doerr 106 (CR)        Doerr 106 (CR)-GB-EPT           EP1958301                    06844958.6          EP1958301                             GB                    16-Sep-09           7-Dec-26                 7-Dec-06    Wide-Bandwidth Mode-Locked Laser
      Doerr 106 (CR)        Doerr 106 (CR)-US-NP            US7733923                    11/296996           20070133632                           us                     8-Jun-10          12-Jun-26                 8-Dec-05    Wide-Bandwidth Mode-Locked Laser


    Doerr 110-24 (CR)       Doerr 110-24 (CR)-US-NP         US7123402                    11/333105                                                 us                    17-0ct-06          17-Jan-26                 17-Jan-06   Cloning Optical-Frequency Comb Sources
      Doerr 123 (CR)        Doerr 123 (CR)-US-NP            US7403670                    11/651824                                                 us                     22-Jul-08         10-Jan-27                 10-Jan-07   Compact Optical Modulator
                                                                                                                                                                                                                                  Temperature Compensated Multi-Channel,
                                                                                                                                                                                                                                  Wavelength-Division-Multiplexed Passive Optical
  Doerr 13-14-1-4-25 (CR)   Doerr 13-14-1-4-25 (CR)-US-NP   US6304350                    09/070608                                                 us                    16-0ct-01          30-Apr-18                 30-Apr-98   Network
      Doerr 132 (CR)        Doerr 132 (CR)-US-NP            US7620275                    12/035636           20090214150                           us                    17-Nov-09          27-Apr-28                 22-Feb-08   Integrated Polarization Splitter/Combiner
     Doerr 133-9 (CR)       Doerr 133-9 (CR)-US-NP          US7919349                    12/391039           20100216275                           us                     5-Apr-11          18-Jun-29                 23-Feb-09   Photonic Integration Scheme
      Doerr 134 (CR)        Doerr 134 (CR)-US-DIV           US7689092                    12/509626           20090285519                           us                    30-Mar-10          25-Mar-28                 27-Jul-09   Integrated Tunable Optical Equalizer
      Doerr 134 (CR)        Doerr 134 (CR)-US-NP            US7609934                    12/055115           20090245719                           us                    27-0ct-09          25-Mar-28                 25-Mar-08   Integrated Tunable Optical Equalizer
                                                                                                                                                                                                                                  Wavelength-Division-Multiplexing Cross-Connect
                                                                                                                                                                                                                                  Using Angular Dispersive Elements And Phase
       Doerr 14 (CR)        Doerr 14 (CR)-US-NP             US6049640                    08/923304                                                 us                    11-Apr-OO           4-Sep-17                 4-Sep-97    Shifters
       Doerr 19 (CR)        Doerr 19 (CR)-US-NP             US6172781                    09/040748                                                 us                     9-Jan-01          18-Mar-18                 18-Mar-98   Wave Division Multiplexed Optical Network


       Doerr25 (CR)         Doerr 25 (CR)-DE-EPA            EP1020740                    00300041.1          EP1020740                             DE                     2-Nov-06           6-Jan-20                 6-Jan-00    Optical Device Having Equal Length Waveguide Paths


       Doerr25 (CR)         Doerr 25 (CR)-FR-EPA            EP1020740                    00300041.1          EP1020740                             FR                     2-Nov-06           6-Jan-20                 6-Jan-00    Optical Device Having Equal Length Waveguide Paths


       Doerr25 (CR)         Doerr 25 (CR)-GB-EPA            EP1020740                    00300041.1          EP1020740                             GB                     2-Nov-06           6-Jan-20                 6-Jan-00    Optical Device Having Equal Length Waveguide Paths


       Doerr25 (CR)         Doerr 25 (CR)-IT-EPA            EP1020740                    00300041.1          EP1020740                              IT                    2-Nov-06           6-Jan-20                 6-Jan-00    Optical Device Having Equal Length Waveguide Paths


       Doerr25 (CR)         Doerr 25 (CR)-US-NP             US6219471                    09/232109                                                 us                    17-Apr-Ol          15-Jan-19                 15-Jan-99   Optical Device Having Equal Length Waveguide Paths
                                                                                                                                                                                                                                  Apparatus And Method For Achieving A Smooth
       Doerr 26 (CR)        Doerr 26 (CR)-US-NP             US6445847                    09/428907                                                 us                     3-Sep-02          28-0ct-19                 28-0ct-99   Spectral Response Optical Filter
                                                                                                                                                                                                                                  Wavelength Selective Cross-Connect With Reduced
  Doerr 34-4-16-32 (CR)     Doerr 34-4-16-32 (CR)-US-NP     US6532090                    09/467429                                                 us                    11-Mar-03          28-Feb-20                 28-Feb-OO   Complexity
     Doerr 36-62 (CR)       Doerr 36-62 (CR)-US-NP          US6385373                    09/490610                                                 us                    7-May-02           25-Jan-20                 25-Jan-OO   Compensated Cascaded Waveguides
                                                                                                                                                                                                                                  Reducing Polarization Dependency Of Optical
       Doerr 41 (CR)        Doerr 41 (CR)-US-NP             US6304380                    09/520828                                                 us                    16-0ct-01           6-Mar-20                 6-Mar-00    Apparatus
      Doerr 43-2 (CR)       Doerr 43-2 (CR)-US-NP           US6393173                    09/535785                                                 us                    21-May-02          28-Mar-20                 28-Mar-OO   2 X 2 Integrated Optical Cross-Connect.
                                                                                                                                                                                                                                  Beam Propagation Method For Step-Index
       Doerr 48 (CR)        Doerr 48 (CR)-US-NP             US6708127                    09/809123           20020165682                           us                    16-Mar-04          15-Mar-21                 15-Mar-01   Waveguides




                                                                                                                     Page 98 of 149
                                                                                                                                                                                                       PATENT
                                                                                                                                                                                               REEL: 044000 FRAME: 0239
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 106 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm NxN Switching Arrangement Of Two Planar Arrays
     Doerr 60-71 (CR)        Doerr 60-71 (CR)-US-NP           US6859574                   10/115828                                                          us              22-Feb-05           3-Apr-22                 3-Apr-02    Without Waveguide Crossings
                                                                                                                                                                                                                                      lntegrateable Band Filter Using Waveguide Grating
       Doerr 75 (CR)         Doerr 102 (CR)-US-DIV            US7043123                   11/217625                     20060008209                          us              9-May-06            9-Sep-23                 1-Sep-05    Routers
                                                                                                                                                                                                                                      lntegrateable Band Filter Using Waveguide Grating
       Doerr 75 (CR)         Doerr 75 (CR)-US-NP              US7010197                   10/657846                     20050053323                          us              7-Mar-06           12-Feb-24                 9-Sep-03    Routers
                                                                                                                                                                                                                                      lntegrateable Band Filter Using Waveguide Grating
       Doerr 75 (CR)         Doerr 83 (CR)-US-CIP             US7003198                   10/783306                     20050053332                          us              21-Feb-06          30-Dec-23                 20-Feb-04   Routers
     Doerr 77-21 (CR)        Doerr 88-22 (CR)-US-CIP          US7215852                   10/704389                     20050036739                          us              8-May-07           14-Oct-24                 7-Nov-03    Method and Apparatus For Mode Conversion
                                                                                                                                                                                                                                      Optical System For Characterizing A Colloidal
      Dogariu 4-2 (A)        Dogariu 4-2 (A)-US-NP            US6525823                   09/691300                                                          us              25-Feb-03          18-Oct-20                 18-Oct-00   Suspension Using Interferometry
                                                                                                                                                                                                                                      Interferometer With Optical Fiber Interconnected
      Dogariu 5-3 (A)        Dogariu 5-3 (A)-US-NP            US6590664                   09/691299                                                          us               8-Jul-03          18-Oct-20                 18-Oct-00   Dual Arm Sampler


                                                                                                                                                                                                                                      Method And Apparatus For Permitting Direct Handoff
      Dolan 10 (MF)          Dolan 10 (MF)-DE-EPA             EP1071305                   00305865.8                     EP1071305                           DE               7-Nov-07           11-Jul-20                11-Jul-00   Between Base Stations In A Wireless Network


                                                                                                                                                                                                                                      Method And Apparatus For Permitting Direct Handoff
      Dolan 10 (MF)          Dolan 10 (MF)-FR-EPA             EP1071305                   00305865.8                     EP1071305                           FR               7-Nov-07           11-Jul-20                11-Jul-00   Between Base Stations In A Wireless Network


                                                                                                                                                                                                                                      Method And Apparatus For Permitting Direct Handoff
      Dolan 10 (MF)          Dolan 10 (MF)-GB-EPA             EP1071305                   00305865.8                     EP1071305                          GB                7-Nov-07           11-Jul-20                11-Jul-00   Between Base Stations In A Wireless Network


                                                                                                                                                                                                                                      Method And Apparatus For Permitting Direct Handoff
      Dolan 10 (MF)          Dolan 10 (MF)-JP-NP             JP3707667                    2000218826                    2001078246                           JP              12-Aug-05           19-Jul-20                19-Jul-00   Between Base Stations In A Wireless Network


                                                                                                                                                                                                                                      Method And Apparatus For Permitting Direct Handoff
      Dolan 10 (MF)          Dolan 10 (MF)-KR-NP              KR610034                    20000041247                   20010021099                          KR               1-Aug-06           19-Jul-20                19-Jul-00   Between Base Stations In A Wireless Network


                                                                                                                                                                                                                                      Method And Apparatus For Permitting Direct Handoff
      Dolan 10 (MF)          Dolan 10 (MF)-US-NP              US6628632                   09/356510                                                          us              30-Sep-03           19-Jul-19                19-Jul-99   Between Base Stations In A Wireless Network
                                                                                                                                                                                                                                      Wireless Communication System Enhanced Call
 Dolan 13-14-3-6-14 (MF)     Dolan 13-14-3-6-14 (MF)-US-NP    US7299047                   10/642599                     20050043048                          us              20-Nov-07          27-Feb-24                 19-Aug-03   Recovery
                                                                                                                                                                                                                                      Using Discrete Message-Oriented Services To Deliver
       Dolan6 (MF)           Dolan 6 (MF)-US-NP               US6977921                   09/136678                                                          us              20-Dec-05          19-Aug-18                 19-Aug-98   Short Audio Communications


                                                                                                                                                                                                                                      Virtual Resource Allocation Method And Apparatus
   Dolan 7-7-21-9 (MF)       Dolan 7-7-21-9 (MF)-US-NP        US6377572                   09/080769                                                          us              23-Apr-02          18-May-18                 18-May-98   For Wireless Data Communications Systems


                                                                                                                                                                                                                                      Method For Multi-Mode Operation Of A Subscriber
   Dombkowski 1-5 {KE)       Dombkowski 1-5 {KE)-US-NP        US6298065                   08/921175                                                          us               2-Oct-01          29-Aug-17                 29-Aug-97   Line Card In A Telecommunications System
                                                                                                                                                                                                                                      System And Method For An All Digital
  Dombkowski 4-2-11 {KE)     Dombkowski 4-2-11 {KE)-US-NP     US6647024                   09/306751                                                          us              11-Nov-03          7-May-19                  7-May-99    Communication System With A Life Line
                                                                                                                                                                                                                                      Door Gasket Resistance Based Intrusion Alarm
   Dombrowski 1-1 (MC)       Dombrowski 1-1 (MC)-US-NP        US5942974                   09/069333                                                          us              24-Aug-99          29-Apr-18                 29-Apr-98   System


                                                                                                                                                                                                                                      Method And Apparatus For Detecting A Packet Error
                                                                                                                                                                                                                                      In A Wireless Communications System With
   Dominique 13-10 (F)       Dominique 13-10 (F)-US-NP        US7395492                   10/939718                     20060059402                          us               1-Jul-08           5-Aug-25                 13-Sep-04   Minimum Overhead Using Tail Bits In Turbo Code


                                                                                                                                                                                                                                      Method Of Scaling Soft Symbols Of An Uplink
                                                                                                                                                                                                                                      Enhanced Dedicated Transport Channel (E-DCH) And
                                                                                                                                                                                                                                      Method For Enabling Use Of A Log-Map Turbo
  Dominique 43-37-22 (F)     Dominique 43-37-22 (F)-US-NP     US7929510                   11/711618                     20080205329                          us              19-Apr-11          29-Mar-29                 28-Feb-07   Decoding Algorithm For Processing the E-DCH
                                                                                                                                                                                                                                      Method And Apparatus For Detecting A Three-State
                                                                                                                                                                                                                                      Signal lnABaseStationlnAWireless
   Dominique 6-12-2 (F)      Dominique 6-12-2 (F)-DE-EPA      EP1560357                   05250277.0                     EP1560357                           DE              21-Jun-06          20-Jan-25                 20-Jan-05   Communications System
                                                                                                                                                                                                                                      Method And Apparatus For Detecting A Three-State
                                                                                                                                                                                                                                      Signal lnABaseStationlnAWireless
   Dominique 6-12-2 (F)      Dominique 6-12-2 (F)-FR-EPA      EP1560357                   05250277.0                     EP1560357                           FR              21-Jun-06          20-Jan-25                 20-Jan-05   Communications System
                                                                                                                                                                                                                                      Method And Apparatus For Detecting A Three-State
                                                                                                                                                                                                                                      Signal lnABaseStationlnAWireless
   Dominique 6-12-2 (F)      Dominique 6-12-2 (F)-GB-EPA      EP1560357                   05250277.0                     EP1560357                          GB               21-Jun-06          20-Jan-25                 20-Jan-05   Communications System
                                                                                                                                                                                                                                      Method And Apparatus For Detecting A Three-State
                                                                                                                                                                                                                                      Signal lnABaseStationlnAWireless
   Dominique 6-12-2 (F)      Dominique 6-12-2 (F)-US-NP       US7356749                   10/770028                     20050169405                          us               8-Apr-08          15-Dec-25                 2-Feb-04    Communications System
                                                                                                                                                                                                                                      Method And Apparatus For Detecting An Uplink
                                                                                                                                                                                                                                      Packet Data Channel In A CDMA Wireless
    Dominique 9-6-1 (F)      Dominique 9-6-1 (F)-US-NP        US7792134                   10/835810                     20050243855                          us               7-Sep-10          27-Sep-26                 30-Apr-04   Communications System
                                                                                                                                                                                                                                      Improved Feedforward Multicarrier Linear RF Power
 Donaldson 1-3-48-2-9 (JL)   Donaldson 1-3-48-2-9 (JL)-US-NP US6057733                    08/993682                                                          us              2-May-00           18-Dec-17                 18-Dec-97   Amplifier


    Dong 1-4-3-1-3 (G)       Dong 1-4-3-1-3 (G)-US-NP         US6424948                   09/253190                                                          us               23-Jul-02         19-Feb-19                 19-Feb-99   Declarative Workflow System Supporting Side-Effects
                                                                                                                                                                                                                                      Data Item Evaluation Based On The Combination Of
  Dong 2-7-5-3-2-2-5 (G)     Dong 2-7-5-3-2-2-5 (G)-US-NP     US6499023                   09/253274                                                          us              24-Dec-02          19-Feb-19                 19-Feb-99   Multiple Factors
                                                                                                                                                                                                                                      Failure Simulation Based On System Level Boundary
       Doris 1-2 (HJ         Doris 1-2 (HJ-US-NP              US7707470                   11/553159                     20080104465                          us              27-Apr-10          15-Nov-27                 26-Oct-06   Scan Architecture


                                                                                                                                                                                                                                      Method And Apparatus For Polarization-Independent
      Dorrer 13 (CJ)         Dorrer 13 (CJ)-US-NP             US7555221                   11/020930                     20060140638                          us              30-Jun-09           9-Jun-26                 23-Dec-04   RF Spectrum Analysis Of An Optical Source


                                                                                                                                                                                                                                      Optical Pulse Shaper Having Hybrid Planar Lightwave
                                                                                                                                                                                                                                      Circuit And Free-Space Optics With MEMS Piston-
     Dorrer 21-23 (CJ)       Dorrer 21-23 (CJ)-US-NP          US7289697                   11/236291                                                          us              30-Oct-07          27-Sep-25                 27-Sep-05   Motion Micromirrors And Feedback Control


                                                                                                                                                                                                                                      Distributed Precomputation Of Network Signal Paths
   Doshi 27-28-10-2 (BT)     Doshi 27-28-10-2 (BT)-US-NP      US6151304                   08/959809                                                          us              21-Nov-00          29-Oct-17                 29-Oct-97   With Improved Performance Through Parellelization
                                                                                                                                                                                                                                      Multi-Phase Process For Distributed Precomputtation
   Doshi 28-29-11-3 (BT)     Doshi 28-29-11-3 (BT)-US-NP      US6215763                   08/960463                                                          us              10-Apr-0l          29-Oct-17                 29-Oct-97   Of Network Signal Paths


                                                                                                                                                                                                                                      Distributed Precomputation Of Network Signal Paths
   Doshi 29-30-12-4 (BT)     Doshi 29-30-12-4 (BT)-US-NP      US6021113                   08/960569                                                          us               1-Feb-00          29-Oct-17                 29-Oct-97   With Table-Based Link Capacity Control


                                                                                                                                                                                                                                      Distributed Precomputation Of Network Signal Paths
   Doshi 29-30-12-4 (BT)     Doshi 43-46-21-9 (BT)-US-CNT     US6205117                   09/448266                                                          us              20-Mar-0l          29-Oct-17                 24-Nov-99   With Table-Based Link Capacity Control
                                                                                                                                                                                                                                      Hybrid Centralized/Distributed Precomputation Of
   Doshi 30-31-13-5 (BT)     Doshi 30-31-13-5 (BT)-US-NP      US6130875                   08/959800                                                          us              10-Oct-00          29-Oct-17                 29-Oct-97   Network Signal Paths
                             Doshi 36-7-20-15-10 (BT)-DE-                                                                                                                                                                             Method For Providing Quality Of Service For Delay
 Doshi 36-7-20-15-10 (BT)    EPA                              EP0999674                   99307282.6                     EP0999674                           DE              28-Apr-04          14-Sep-19                 14-Sep-99   Sensitive Traffic Over IP Networks
                             Doshi 36-7-20-15-10 (BT)-FR-                                                                                                                                                                             Method For Providing Quality Of Service For Delay
 Doshi 36-7-20-15-10 (BT)    EPA                              EP0999674                   99307282.6                     EP0999674                           FR              28-Apr-04          14-Sep-19                 14-Sep-99   Sensitive Traffic Over IP Networks




                                                                                                                                  Page 99 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0240
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 107 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW
                                                               :ia:~:A,m:::::::::::::::::
                                                               liiitiiiiii~:il\::::'::•:•
                                                                                            :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                              Doshi 36-7-20-15-10 (BT)-GB-                                                                                                                                                                           Method For Providing Quality Of Service For Delay
 Doshi 36-7-20-15-10 (BT)     EPA                               EP0999674                   99307282.6                   EP0999674                          GB              28-Apr-04          14-Sep-19                 14-Sep-99   Sensitive Traffic Over IP Networks
                                                                                                                                                                                                                                     Method For Providing Quality Of Service For Delay
 Doshi 36-7-20-15-10 (BT)     Doshi 36-7-20-15-10 (BT)-JP-NP   JP3492950                    268018/1999                  2000196664                         JP              14-Nov-03          22-Sep-19                 22-Sep-99   Sensitive Traffic Over IP Networks
                                                                                                                                                                                                                                     Method For Providing Quality Of Service For Delay
 Doshi 36-7-20-15-10 (BT)     Doshi 36-7-20-15-10 (BT)-US-NP    US6529499                   09/158694                                                       us              4-Mar-03           22-Sep-18                 22-Sep-98   Sensitive Traffic Over IP Networks
                                                                                                                                                                                                                                     Methods And Apparatus For Protection Against
     Doshi 48-11 (BT)         Doshi 48-11 (BT)-US-NP            US7096275                   09/588490                                                       us              22-Aug-06           4-Aug-23                 6-Jun-00    Network Failures
                              Doshi 52-2-17-18-1-1 (BT)-US-                                                                                                                                                                          Methods and Devices for Providing Optical, Service-
 Doshi 52-2-17-18-1-1 (BT)    NP                                US7620273                   10/073931                    20020131153                        us              17-Nov-09          11-Jun-23                 14-Feb-02   Enabled Cross-Connections


     Doshi 53-18 (BT)         Doshi 53-18 (BT)-US-NP            US7406074                   10/193932                    20040008619                        us               29-Jul-08         16-Feb-26                 12-Jul-02   Bundling Messages In Communication Networks
                              Doshi 58-10-27-19-36 (BT)-US-                                                                                                                                                                          Restoration Path Calculation Considering Shared-Risk
 Doshi 58-10-27-19-36 (BT)    NP                                US8867333                   10/673055                    20040205237                        us              21-Oct-14          19-Sep-29                 26-Sep-03   Link Groups In Mesh Networks


     Doubrava 1-9 (M)         Doubrava 1-9 (M)-DE-EPA           EP1182786                   00307166.9                                                      DE               8-Nov-06          21-Aug-20                 21-Aug-00   Transmission And Reception Device For Mobile Radio


     Doubrava 1-9 (M)         Doubrava 1-9 (M)-US-NP            US6928269                   09/918947                    20020022457                        us               9-Aug-05          10-Jan-24                 31-Jul-0l   Transmission And Reception Device For Mobile Radio
                                                                                                                                                                                                                                     Controlling Wireless Communications On Behalf Of
      Dou mi 1-3-4 (T)        Dou mi 1-3-4 (T)-US-CNT           US9408065                   14/551372                    20150148026                        us               2-Aug-16          18-Dec-26                 24-Nov-14   Public Service Agencies
                                                                                                                                                                                                                                     Method For Extracting Process Determinant
   Downey 8-10-10 (SW)        Rietman 16 (EA)-US-CIP            US6420194                   09/616120                                                       us               16-Jul-02         12-Oct-19                 14-Jul-00   Conditions From A Plurality Of Process Signals


      Dragone 50 (C)          Dragone 50 (C)-US-NP              US6023544                   08/998354                                                       us               8-Feb-00          24-Dec-17                 24-Dec-97   Monitoring With An Optical Wavelength Router
                                                                                                                                                                                                                                     Broadband Optical Switching Arrangments With Very
      Dragone 68 (CP)         Dragone 68 {CP)-US-NP             US6823096                   09/755243                                                       us              23-Nov-04           5-Jan-21                 5-Jan-01    Low Crosstalk
                                                                                                                                                                                                                                     Method And Apparatus For Generating Cyclical
      Dravida 32-2 (5)        Dravida 32-2 (5)-US-NP            US6195780                   08/987927                                                       us              27-Feb-0l          10-Dec-17                 10-Dec-97   Redundancy Code
       Duelkl-3(M)            Duelkl-3 (M)-US-NP                US6829401                   10/135216                    20030202733                        us               7-Dec-04          30-Apr-22                 30-Apr-02   Parallelization of Optical Switch Fabrics
       Duelk7-2 (M)           Duelk 7-2 (M)-US-NP               US7822915                   11/772135                    20090002864                        us              26-Oct-10          18-Aug-28                 30-Jun-07   Memory Controller For Packet Applications


                                                                                                                                                                                                                                     Optimum Routing Of calls Over The Public Switched
      Dunn 15-4 (JP)          Dunn 15-4 (JP)-US-NP              US6324280                   09/072809                                                       us              27-Nov-01          5-May-18                  5-May-98    Telephone Network And The Internet
                                                                                                                                                                                                                                     Method For Worldwide Administration Of Advanced
     Dunn 30-13-3 (JP)        Dunn 30-13-3 (JP)-US-NP           US6611831                   09/633668                                                       us              26-Aug-03           7-Aug-20                 7-Aug-00    Number Portability Numbers
                                                                                                                                                                                                                                     Flexible Caller ID And Calling Name Information
      Durga 2-11 (VJ          Durga 2-11 (VJ-US-NP              US7551731                   10/930285                    20060045243                        us              23-Jun-09          18-Apr-27                 31-Aug-04   Presentation


     Durston 1-3-1 (AC)       Durston 1-3-1 (AC)-US-NP          US6154373                   09/275332                                                       us              28-Nov-00          24-Mar-19                 24-Mar-99   High Density Cross-Connection System


     Duttweiler25 (DL)        Duttweiler 25 (DL)-US-NP          US5951626                   08/953120                                                       us              14-Sep-99          17-Oct-17                 17-Oct-97   Adaptive Filter
                                                                                                                                                                                                                                     Echo Cancellation In The Network For Data
   Duttweiler 27-12 (DL)      Duttweiler 27-12 (DL)-US-NP       US6628780                   08/961901                    20020057790                        us              30-Sep-03          31-Oct-17                 31-Oct-97   Applications
                                                                                                                                                                                                                                     Predictive Bursty Real-Time Traffic Control For
       Duty 1-1 (DA)          Duty 1-1 (DA)-DE-EPA              EP0991253                   99307464.0                   EP0991253                          DE               2-Apr-03          21-Sep-19                 21-Sep-99   Telecommunications Switching Systems
                                                                                                                                                                                                                                     Predictive Bursty Real-Time Traffic Control For
       Duty 1-1 (DA)          Duty 1-1 (DA)-FR-EPA              EP0991253                   99307464.0                   EP0991253                          FR               2-Apr-03          21-Sep-19                 21-Sep-99   Telecommunications Switching Systems
                                                                                                                                                                                                                                     Predictive Bursty Real-Time Traffic Control For
       Duty 1-1 (DA)          Duty 1-1 (DA)-GB-EPA              EP0991253                   99307464.0                   EP0991253                          GB               2-Apr-03          21-Sep-19                 21-Sep-99   Telecommunications Switching Systems
                                                                                                                                                                                                                                     Predictive Bursty Real-Time Traffic Control For
       Duty 1-1 (DA)          Duty 1-1 (DA)-US-NP               US6252950                   09/163614                                                       us              26-Jun-0l          30-Sep-18                 30-Sep-98   Telecommunications Switching Systems


     Dwyer2-2-15 (HJ          Dwyer 2-2-15 (HJ-US-NP            US6286027                   09/201034                                                       us               4-Sep-01          30-Nov-18                 30-Nov-98   Two Step Thread Creation With Register Renaming


   Dziong 12-21-38 (ZM)       Dziong 12-21-38 (ZM)-US-NP        US7500013                   10/817760                    20050220026                        us              3-Mar-09            13-Jul-26                2-Apr-04    Calculation Of Link-Detour Paths In Mesh Networks


     Earnshaw3(MP)            Earnshaw3 (MP)-US-NP              US7565038                   11/700534                                                       us               21-Jul-09         31-Jan-27                 31-Jan-07   Thermo-Optic Waveguide Apparatus
                                                                                                                                                                                                                                     A Method And Apparatus For Determining An
                                                                                                                                                                                                                                     Address Uniquely Identifying A Hardware Component
     Ebyl-22-3-5 (PM)         Eby 1-22-3-5 (PM)-US-NP           US6442640                   09/198289                                                       us              27-Aug-02          23-Nov-18                 23-Nov-98   On A Common Bus
                                                                                                                                                                                                                                     Method For Dynamically Reconfiguring Data Bus
       Eby2-6 (PM)            Eby 2-6 (PM)-US-NP                US6493777                   09/396938                                                       us              10-Dec-02          15-Sep-19                 15-Sep-99   Control


                                                                                                                                                                                                                                     System For Interconnecting Circuit-Based Terminal
                                                                                                                                                                                                                                     Devices With Packet-Based Terminal Devices In A
       Echols 2 (TE)          Echols 2 (TE)-US-NP               US7065069                   09/659363                                                       us              20-Jun-06          25-Jun-23                 12-Sep-00   Voice Communication Connection


     Eckl 15-25-9{WF)         Eckl 15-25-9{WF)-DE-EPA           EP1675263                   04258102.5                   EP1675263                          DE               7-Oct-09          23-Dec-24                 23-Dec-04   Controlling Q-Factor Of Filters


     Eckl 15-25-9{WF)         Eckl 15-25-9{WF)-FR-EPA           EP1675263                   04258102.5                   EP1675263                          FR               7-Oct-09          23-Dec-24                 23-Dec-04   Controlling Q-Factor Of Filters


     Eckl 15-25-9{WF)         Eckl 15-25-9{WF)-GB-EPA           EP1675263                   04258102.5                   EP1675263                          GB               7-Oct-09          23-Dec-24                 23-Dec-04   Controlling Q-Factor Of Filters


     Eckl 15-25-9{WF)         Eckl 15-25-9{WF)-US-NP            US7433668                   11/021481                    20060141957                        us               7-Oct-08          29-Nov-26                 23-Dec-04   Controlling Q-Factor Of Filters


                                                                                                                                                                                                                                     Distorting a Two-Dimensional Image To Represent A
       Edmark2(JT)            Ed mark 2 (JT)-US-NP              US6229548                   09/107059                                                       us              8-May-01           30-Jun-18                 30-Jun-98   Realistic Three-Dimensional Virtual Reality
                                                                                                                                                                                                                                     Display Techniques For Three-Dimensional Virtual
       Edmark2(JT)            Ed mark 6 (JT)-US-CIP             US6504535                   09/191012                                                       us               7-Jan-03          30-Jun-18                 12-Nov-98   Reality
                                                                                                                                                                                                                                     Display Techniques ForThree-Dimenional Virtual
       Edmark2(JT)            Ed mark 7 (JT)-US-CIP             US6351262                   09/190743                                                       us              26-Feb-02          30-Jun-18                 12-Nov-98   Reality
                                                                                                                                                                                                                                     Display Techniques For Three-Dimensional Virtual
       Edmark5(JT)            Ed mark 5 (JT)-US-NP              US6236402                   09/160758                                                       us              22-May-0l          25-Sep-18                 25-Sep-98   Reality
                                                                                                                                                                                                                                     Display Techniques For Three-Dimensional Virtual
       Edmark8(JT)            Ed mark 8 (JT)-US-NP              US6567085                   09/470480                                                       us              20-May-03          22-Dec-19                 22-Dec-99   Reality
                                                                                                                                                                                                                                     Optical Pulse Compressor For Optical
     Eggleton 2-2 (BJ)        Eggleton 2-2 (BJ)-US-NP           US6108474                   08/989093                                                       us              22-Aug-00          11-Dec-17                 11-Dec-97   Communications System
                              Eggleton 23-1-26-11-9 (BJ)-US-
 Eggleton 23-1-26-11-9 (BJ)   NP                                US6529676                   09/733182                    20020071646                        us              4-Mar-03            8-Dec-20                 8-Dec-00    Waveguide Incorporating Tunable Scattering Material
                                                                                                                                                                                                                                     Optical Pulse Source For Long Haul Optical
  Eggleton 26-1-1-14 (BJ)     Eggleton 26-1-1-14 (BJ)-JP-NP    JP4828770                    2002070749                                                      JP              22-Sep-11          14-Mar-22                 14-Mar-02   Communication Systems
                                                                                                                                                                                                                                     Optical Pulse Source For Long Haul Optical
  Eggleton 26-1-1-14 (BJ)     Eggleton 26-1-1-14 (BJ)-US-NP     US6940889                   10/084788                                                       us               6-Sep-05          26-Feb-22                 26-Feb-02   Communication Systems
                                                                                                                                                                                                                                     Controlling Mirror Shape For Generating Interference
   Eggleton 27-1-12 (BJ)      Eggleton 27-1-12 (BJ)-US-NP       US6386714                   09/849050                                                       us              14-May-02           4-May-21                 4-May-01    Pattern And The Like


     Eggleton 6-5 (BJ)        Eggleton 6-5 (BJ)-DE-EPA          EP0998067                   99308370.8                   EP0998067                          DE               24-Jul-02         22-Oct-19                 22-Oct-99   Article Comprising An Optical Pulse Compressor


     Eggleton 6-5 (BJ)        Eggleton 6-5 (BJ)-FR-EPA          EP0998067                   99308370.8                   EP0998067                          FR               24-Jul-02         22-Oct-19                 22-Oct-99   Article Comprising An Optical Pulse Compressor


     Eggleton 6-5 (BJ)        Eggleton 6-5 (BJ)-GB-EPA          EP0998067                   99308370.8                   EP0998067                          GB               24-Jul-02         22-Oct-19                 22-Oct-99   Article Comprising An Optical Pulse Compressor




                                                                                                                                 Page 100 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0241
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 108 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW                           liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                 :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
      Eggleton 6-5 (BJ)       Eggleton 6-5 (BJ)-IT-EPA            EP0998067                   99308370.8          EP0998067                              IT                    24-Jul-02         22-Oct-19                 22-Oct-99   Article Comprising An Optical Pulse Compressor


      Eggleton 6-5 (BJ)       Eggleton 6-5 (BJ)-US-NP             US6163638                   09/181728                                                 us                    19-Dec-00          29-Oct-18                 29-0ct-98   Article Comprising An Optical Pulse Compressor
                                                                                                                                                                                                                                       Method for Initiating Call Blocking Based Upon Pilot
  Eibling 3-5-34-5-27 {EE)    Eibling 3-5-34-5-27 {EE)-US-NP      US6487415                   09/356816                                                 us                    26-Nov-02           19-Jul-19                19-Jul-99   Fraction


                                                                                                                                                                                                                                       Method And Apparatus For Peak-To-Average Signal
      Eibling5-5{EE)          Eibling 5-5 {EE)-US-NP             US6842492                    09/507270                                                 us                    11-Jan-05          18-Feb-20                 18-Feb-00   Reduction For Radio Frequency Transmitters


    Eichenbaum 11 (BR)        Eichenbaum 11 (BR)-US-NP           US6252719                    09/272494                                                 us                    26-Jun-0l          19-Mar-19                 19-Mar-99   Beam Splitter/Combiner Module
                                                                                                                                                                                                                                       Method And Apparatus For Constructing Network
       Eick25-1 {SG)          Eick25-1 {SG)-US-NP                US6154212                    08/965182                                                 us                    28-Nov-00           6-Nov-17                 6-Nov-97    Interfaces
                                                                                                                                                                                                                                       Health Check Algorithm For Protection Circuit In
  Eijk 1-3-2-3-3-1-1-6 {PV)   Eijk 1-3-2-3-3-1-1-6 {PV)-US-NP    U56778781                    09/781862                                                 us                    17-Aug-04          12-Feb-21                 12-Feb-0l   Optical Network
                                                                                                                                                                                                                                       Fast Protection Switching By Snooping On Upstream
  Eijk 2-4-3-4-4-2-2-7 {PV)   Eijk 2-4-3-4-4-2-2-7 {PV)-DE-EPA EP1231812                      01306905.9          EP1231812                             DE                    14-Apr-04          14-Aug-21                 14-Aug-0l   Signals In An Optical Network
                                                                                                                                                                                                                                       Fast Protection Switching By Snooping On Upstream
  Eijk 2-4-3-4-4-2-2-7 {PV)   Eijk 2-4-3-4-4-2-2-7 {PV)-FR-EPA   EP1231812                    01306905.9          EP1231812                             FR                    14-Apr-04          14-Aug-21                 14-Aug-0l   Signals In An Optical Network
                                                                                                                                                                                                                                       Fast Protection Switching By Snooping On Upstream
  Eijk 2-4-3-4-4-2-2-7 {PV)   Eijk 2-4-3-4-4-2-2-7 {PV)-US-NP    US6868232                    09/781864                                                 us                    15-Mar-05          12-Feb-21                 12-Feb-0l   Signals In An Optical Network
                                                                                                                                                                                                                                       Hybrid Protection Using Mesh Restoration And 1:1
      Einstein 5-4 (DS)       Einstein5-4 (DS)-US-NP             US7242664                    10/158713           20030223359                           us                     10-Jul-07         31-Mar-25                 30-May-02   Protection
                                                                                                                                                                                                                                       Communication Between User Agents Through
                                                                                                                                                                                                                                       Employment Of CODEC Format Unsupported By One
      Ejzak36-5 (RP)          Ejzak36-5 (RP)-US-NP               US7443879                    10/295775           20040095958                           us                    28-Oct-08          23-Dec-25                 14-Nov-02   Of The User Agents
                                                                                                                                                                                                                                       Method Of Handing Off A Packet Switched Call To A
       Ejzak42 (RP)           Ejzak42 (RP)-US-NP                 US7366514                    10/823667           20050245261                           us                    29-Apr-08          29-Mar-25                 14-Apr-04   Circuit Switched Call
                                                                                                                                                                                                                                       Method Of Transferring A Packet Switched Call To A
       Ejzak43 (RP)           Ejzak43 (RP)-US-NP                 US7301938                    10/823580           20050245263                           us                    27-Nov-07          15-Nov-24                 14-Apr-04   Circuit Switched Call


                                                                                                                                                                                                                                       Mobile Communication Device Receipt Through
                                                                                                                                                                                                                                       Second Telecommunication Network Of call Directed
     Ejzak46-15-7 (RP)        Ejzak 46-15-7 (RP)-US-NP           US8218462                    11/084281           20060211423                           us                     10-Jul-12         24-Dec-27                 18-Mar-05   To Registration In First Telecommunication Network
                                                                                                                                                                                                                                       A Method And System For Providing Voice Call
       Ejzak52 (RP)           Ejzak52 (RP)-US-NP                 US7885234                    11/872923           20090086674                           us                     8-Feb-11           17-Jul-29                16-Oct-07   Continuity
                                                                                                                                                                                                                                       System And Method For Adaptive Modification Of
                                                                                                                                                                                                                                       Modulated And Coded Schemes In A Communication
        Ejzak 8(RP)           Ejzak8 (RP)-JP-NP                  JP3096680                    10265035                                                  JP                     4-Aug-00          18-Sep-18                 18-Sep-98   System
                                                                                                                                                                                                                                       System And Method For Adaptive Modification Of
                                                                                                                                                                                                                                       Modulated And Coded Schemes In A Communication
        Ejzak 8(RP)           Ejzak8 (RP)-US-NP                  US6389066                    08/938031                                                 us                    14-May-02          21-Sep-17                 21-Sep-97   System
                                                                                                                                                                                                                                       A Method And Apparatus For Electronic Labeling And
   Elberty 1-1-1-1-1 (TA)     Elberty 1-1-1-1-1 (TAJ-US-NP       US6084512                    09/165462                                                 us                     4-Jul-00           2-Oct-18                 2-Oct-98    Localizing


                                                                                                                                                                                                                                       Method of Determining Answer Supervision At A Line
  Elder 1-3-3-4-15-6 (MJ)     Elder 1-3-3-4-15-6 (MJ)-US-NP      US6810120                    09/570617                                                 us                    26-Oct-04          15-May-20                 15-May-00   Appearance Of A Public Switch Telephone Network
                                                                                                                                                                                                                                       Apparatus For Developing Internal ROM Code Using
        EI-Kik4 (TS)          EI-Kik4 (TS)-US-NP                 US6327649                    09/236049                                                 us                     4-Dec-01          22-Jan-19                 22-Jan-99   AROM Bus External Interface
      Elko15-l(GW)            Elko 15-1 {GW)-US-NP               US6424719                    09/363674                                                 us                     23-Jul-02          29-Jul-19                29-Jul-99   Acoustic Crosstalk Cancellation System


                                                                                                                                                                                                                                       Packet Scheduling In A Communication Network With
      Elwalid 9-17 (A)        Elwalid 9-17 (A)-JP-NP             JP3505121                    200076282           2000295251                            JP                    19-Dec-03          17-Mar-20                 17-Mar-00   Statistical MultiplexingOfServiceClasses


                                                                                                                                                                                                                                       Packet Scheduling In A Communication Network With
      Elwalid 9-17 (A)        Elwalid 9-17 (A)-US-NP             US6567415                    09/273433                                                 us                    20-May-03          20-Mar-19                 20-Mar-99   Statistical MultiplexingOfServiceClasses
                                                                                                                                                                                                                                       Device Box For Wall Mounted Communications
        Engel2(MA)            Engel 2(MA)-US-NP                  US6207895                    09/275616                                                 us                    27-Mar-0l          24-Mar-19                 24-Mar-99   Apparatus
                                                                                                                                                                                                                                       Article Comprising An Optical Fiber cascaded Raman
    Engelberth7-6(JW)         Engel berth 7-6 (JW)-DE-EPA        EP0984532                    99306126.6          EP0984532                             DE                    17-Oct-01           2-Aug-19                 2-Aug-99    Resonator
                                                                                                                                                                                                                                       Article Comprising An Optical Fiber cascaded Raman
    Engelberth7-6(JW)         Engel berth 7-6 (JW)-FR-EPA        EP0984532                    99306126.6          EP0984532                             FR                    17-Oct-01           2-Aug-19                 2-Aug-99    Resonator
                                                                                                                                                                                                                                       Article Comprising An Optical Fiber cascaded Raman
    Engelberth7-6(JW)         Engel berth 7-6 (JW)-GB-EPA        EP0984532                    99306126.6          EP0984532                             GB                    17-Oct-01           2-Aug-19                 2-Aug-99    Resonator
                                                                                                                                                                                                                                       Article Comprising An Optical Fiber cascaded Raman
    Engelberth7-6(JW)         Engel berth 7-6 (JW)-IT-EPA        EP0984532                    99306126.6          EP0984532                              IT                   17-Oct-01           2-Aug-19                 2-Aug-99    Resonator
                                                                                                                                                                                                                                       Article Comprising An Optical Fiber cascaded Raman
    Engelberth7-6(JW)         Engel berth 7-6 (JW)-US-NP         US6163552                    09/134296                                                 us                    19-Dec-00          14-Aug-18                 14-Aug-98   Resonator


   Engel horn 1-29-2 {SL)     Engel horn 1-29-2 {SL)-US-NP       US6317042                    09/562885                                                 us                    13-Nov-01           1-May-20                 1-May-00    Automated Emergency Announcement System
        Ensor 8 (JR)          Ensor 8 (JR)-US-NP                 US6144390                    08/906216                                                 us                     7-Nov-00           4-Aug-17                 4-Aug-97    Display Composition Technique


    Erben 1-6-43-2 {CG)       Erben 1-6-43-2 {CG)-US-NP          US6711308                    10/032798           20030165282                           us                    23-Mar-04          26-Dec-21                 26-Dec-0l   Electro-Optical Modulators
                                                                                                                                                                                                                                       Integrated Optical Devices and Method of Fabrication
    Erben 1-6-43-2 {CG)       Erben 4 {CG)-US-CIP                U56751396                    10/326346           20030123806                           us                    15-Jun-04          26-Dec-21                 20-Dec-02   Therefor


    Erben 1-6-43-2 {CG)       Erben 5-13-53-5 (CG)-US-DIV        US6819808                    10/762976                                                 us                    16-Nov-04          26-Dec-21                 22-Jan-04   Electro-Optical Modulators
      Erben 2-28 {CG)         Erben 2-28 {CG)-US-NP              US6856745                    10/188942           20040005132                           us                    15-Feb-05            2-Jul-22                 2-Jul-02   Waveguide And Application Therefore
                                                                                                                                                                                                                                       Advanced Signaling System For Switcing And Control
     Erfani 3-26-22 (5)       Erfani 3-26-22 (SJ-DE-EPA          EP1271994                    02250067.2          EP1271994                             DE                    16-Aug-06           7-Jan-22                 7-Jan-02    In Integrated Optical Networks
                                                                                                                                                                                                                                       Advanced Signaling System For Switcing And Control
     Erfani 3-26-22 (5)       Erfani 3-26-22 (SJ-FR-EPA          EP1271994                    02250067.2          EP1271994                             FR                    16-Aug-06           7-Jan-22                 7-Jan-02    In Integrated Optical Networks
                                                                                                                                                                                                                                       Advanced Signaling System For Switcing And Control
     Erfani 3-26-22 (5)       Erfani 3-26-22 (SJ-GB-EPA          EP1271994                    02250067.2          EP1271994                             GB                    16-Aug-06           7-Jan-22                 7-Jan-02    In Integrated Optical Networks
                                                                                                                                                                                                                                       Independently Switched Voice And Data Calls Using A
       Eryilmaz2(E)           Eryilmaz2 (E)-US-NP                US6407995                    08/911119                                                 us                    18-Jun-02          14-Aug-17                 14-Aug-97   Single PSTN Line Connection


                                                                                                                                                                                                                                       Method And Apparatus For Macroblock DC And AC
      Eryurtlu 2(FM)          Eryurtlu2(FM)-DE-EPA               EP1081958                    99306931.9          EP1081958                             DE                     1-Feb-06          31-Aug-19                 31-Aug-99   Coefficient Prediction For Video Coding


                                                                                                                                                                                                                                       Method And Apparatus For Macroblock DC And AC
      Eryurtlu 2(FM)          Eryurtlu 2 (FM)-FR-EPA             EP1081958                    99306931.9          EP1081958                             FR                     1-Feb-06          31-Aug-19                 31-Aug-99   Coefficient Prediction For Video Coding


                                                                                                                                                                                                                                       Method And Apparatus For Macroblock DC And AC
      Eryurtlu 2(FM)          Eryurtlu2(FM)-GB-EPA               EP1081958                    99306931.9          EP1081958                             GB                     1-Feb-06          31-Aug-19                 31-Aug-99   Coefficient Prediction For Video Coding


                                                                                                                                                                                                                                       Method And Apparatus For Macroblock DC And AC
      Eryurtlu 2(FM)          Eryurtlu 2 (FM)-US-NP              US6977961                    10/069687                                                 us                    20-Dec-05          15-May-20                 15-May-00   Coefficient Prediction For Video Coding
      Eryurtlu 3{FM)          Eryurtlu 3 (FM)-US-NP              US7191389                    10/069686                                                 us                    13-Mar-07          15-May-20                 15-May-00   Video Signal Error Detection Systems
                                                                                                                                                                                                                                       Systems And Methods For Providing Location
    Esh 1-18-34-14 (TD)       Esh 1-18-34-14 (TD)-DE-EPT         EP1889462                    06772077.1          EP1889462                             DE                    25-Feb-15           5-Jun-26                 5-Jun-06    Enabled Voice Mail




                                                                                                                         Page 101 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0242
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 109 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW                           liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                 :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Systems And Methods For Providing Location
    Esh 1-18-34-14 (TD)       Esh 1-18-34-14 (TD)-FR-EPT         EP1889462                    06772077.1          EP1889462                             FR                    25-Feb-15           5-Jun-26                 5-Jun-06    Enabled Voice Mail
                                                                                                                                                                                                                                       Systems And Methods For Providing Location
    Esh 1-18-34-14 (TD)       Esh 1-18-34-14 (TD)-GB-EPT         EP1889462                    06772077.1          EP1889462                             GB                    25-Feb-15           5-Jun-26                 5-Jun-06    Enabled Voice Mail
                                                                                                                                                                                                                                       Articles And Systems Comprising Digitally Tunable
 Espindola 18-162-11 (RP)     Espindola 18-162-11 (RP)-US-NP      US6128427                   09/141906                                                 us                     3-Oct-00          28-Aug-18                 28-Aug-98   Optical Gratings
                              Espindola 6-148-2-44 (RP)-US-                                                                                                                                                                            Magnetically Reconfigurable Optical Grating Devices
 Espindola 6-148-2-44 (RP)    NP                                 US6141470                    09/020206                                                 us                    31-Oct-00           6-Feb-18                 6-Feb-98    And Communication Systems
                                                                                                                                                                                                                                       Dispersion Compensation In Optical Fiber
    Essiambre 3-4-11 (R)      Essiambre 3-4-11 (R)-US-NP         U56792214                    09/671924                                                 us                    14-Sep-04          28-Sep-20                 28-Sep-00   Transmission Lines
                                                                                                                                                                                                                                       Method and Apparatus for Extending Optical
     Essiambre5-1 (R)         Essiambre 5-1 (R)-US-NP            US7027740                    10/152645           20040208617                           us                    11-Apr-06          27-May-24                 21-May-02   Communication
                                                                                                                                                                                                                                       Estimating The Noise Components Of A Signal During
         Etter2(W)            Etter 12 (W)-US-CNT                US8135587                    11/398555           20060271360                           us                    13-Mar-12           5-Sep-19                 6-Apr-06    Periods Of Speech Activity
         Etter2(W)            Etter2(W)-US-NP                    US7072831                    09/107919                                                 us                     4-Jul-06          30-Jun-18                 30-Jun-98   Estimating The Noise Components Of A Signal


                                                                                                                                                                                                                                       Methods And Apparatus For Enhanced Security
                              Etzel 3-1-9-1-10-6-1 (MH)-JP-                                                                                                                                                                            Expansion Of A Secret Key Into A Lookup Table For
 Etzel 3-1-9-1-10-6-1 (MH)    PCT                                JP3459074                    11500659                                                  JP                     8-Aug-03          13-Apr-18                 13-Apr-98   Improved Security For Wireless Telephone Message


                                                                                                                                                                                                                                       Methods And Apparatus For Enhanced Security
                                                                                                                                                                                                                                       Expansion Of A Secret Key Into A Lookup Table For
 Etzel 3-1-9-1-10-6-1 (MH)    Etzel 3-1-9-1-10-6-1 (MH)-US-NP US6233337                       09/059116                                                 us                    15-May-0l          13-Apr-18                 13-Apr-98   Improved Security For Wireless Telephone Message


                                                                                                                                                                                                                                       Methods And Apparatus For Self-Inverting Multiple-
                              Etzel 4-2-10-2-11-7-2 (MH)-US-                                                                                                                                                                           Iteration CMEA Crypto-Processing For Improved
 Etzel 4-2-10-2-11-7-2 (MH)   NP                                 US6418224                    09/073131                                                 us                     9-Jul-02          5-May-18                  5-May-98    Security For Wireless Telephone Messages
                                                                                                                                                                                                                                       Methods And Apparatus For Multiple-Iteration CMEA
                              Etzel 7-5-13-5-14-10-5 (MH)-JP-                                                                                                                                                                          Encryption And DecryptionFor Improved Security For
Etzel 7-5-13-5-14-10-5 (MH) PCT                                  JP3459073                    10544336                                                  JP                     8-Aug-03          14-Apr-18                 14-Apr-98   Wireless Telephone Messages
                                                                                                                                                                                                                                       Methods And Apparatus For Multiple-Iteration CMEA
                              Etzel 7-5-13-5-14-10-5 (MH)-US-                                                                                                                                                                          Encryption And DecryptionFor Improved Security For
Etzel 7-5-13-5-14-10-5 (MH) NP                                   US6266411                    09/059107                                                 us                     24-Jul-01         13-Apr-18                 13-Apr-98   Wireless Telephone Messages


     Eubanks2-4(GW)           Eubanks 2-4 {GW)-US-NP             US5923515                    09/013582                                                 us                     13-Jul-99         27-Jan-18                 27-Jan-98   Battery Protection Fuse Assembly
       Evans 30 (JG)          Evans 30 (JG)-US-NP                US6278722                    09/030554                                                 us                    21-Aug-01          25-Feb-18                 25-Feb-98   Architecture for a Digital Portable Telephone
         Even 4(5)            Even 4 (5)-US-NP                   US6018523                    08/955685                                                 us                    25-Jan-00          22-Oct-17                 22-Oct-97   Switching Networks Having Improved Layouts


      Ewes 6-5-1-11 (I)       Ewes 6-5-1-11 (I)-JP-NP            JP5329738                    2005269310          2006093700                            JP                     2-Aug-13          16-Sep-25                 16-Sep-05   Heat-Transfer Devices
                                                                                                                                                                                                                                       Method and computer program logic for providing
                                                                                                                                                                                                                                       an intelligent network operator console with
          Excel22             Excel 22 ()-US-NP                  US5987118                    08/956221                                                 us                    16-Nov-99          21-Oct-17                 21-Oct-97   enhanced services
                                                                                                                                                                                                                                       Telecommunication Switching System Administrative
          Excel 30            Excel 30 ()-US-NP                  US6137801                    09/072858                                                 us                    24-Oct-00          5-May-18                  5-May-98    and Management Tools
                                                                                                                                                                                                                                       Resource Interface Unit for Telecommunications
          Excel32             Excel 32 ()-US-NP                  US6373849                    09/093583                                                 us                    16-Apr-02           8-Jun-18                 8-Jun-98    Switching Node
                                                                                                                                                                                                                                       Programming Call Processing Application in a
          Excel33             Excel 33 ()-US-NP                  US6526050                    09/093555                                                 us                    25-Feb-03           8-Jun-18                 8-Jun-98    Switching System
                                                                                                                                                                                                                                       Telecommunications Switching Node with Multiple
          Excel 34            Excel 34 ()-US-NP                  US6285670                    09/017644                                                 us                     4-Sep-01           2-Feb-18                 2-Feb-98    Ports for Host-Node Communications


                                                                                                                                                                                                                                       Method and Apparatus for Non-Disruptive Addition
          Excel 36            Excel 36 ()-US-NP                  US6370146                    09/107152                                                 us                     9-Apr-02          29-Jun-18                 29-Jun-98   of a New Node to an lnternodal Network
                                                                                                                                                                                                                                       Method and Apparatus for In Service Software
                                                                                                                                                                                                                                       upgrade for Expandable Telecommunications
          Excel 37            Excel 37 ()-US-NP                  US6397385                    09/356284                                                 us                    28-May-02           16-Jul-19                16-Jul-99   Systems
          Excel 38            Excel 38 ()-US-NP                  US6389024                    09/093554                                                 us                    14-May-02           8-Jun-18                 8-Jun-98    Flexible Call Routing System
                                                                                                                                                                                                                                       Dialing Plan Arrangement for Expandable
          Excel 40            Excel 40 ()-US-NP                  US6370136                    09/272664                                                 us                     9-Apr-02          18-Mar-19                 18-Mar-99   Telecommunications System
                                                                                                                                                                                                                                       Arrangement for Providing Network Protocol Data
                                                                                                                                                                                                                                       Independence in an Expandable Telecommunications
          Excel 41            Excel 41 ()-US-NP                  US6463056                    09/272659                                                 us                     8-Oct-02          18-Mar-19                 18-Mar-99   System
                                                                                                                                                                                                                                       A Universal Application Programming Interface
          Excel 43            Excel 43 ()-US-NP                  US6594685                    09/291869                                                 us                     15-Jul-03         14-Apr-19                 14-Apr-99   Having Generic Message Format
                                                                                                                                                                                                                                       Joystick Interface Having a Processor for Waking up a
                              Fadavi-Ardekani 21-6-8-3 (J)-GB-                                                                                                                                                                         Host Processor in a Sleep Mode Based on Joystick
Fadavi-Ardekani 21-6-8-3 (J) NP                                  GB2342475                    9914626.8                                                 GB                    31-Jan-0l          23-Jun-19                 23-Jun-99   Movement
                                                                                                                                                                                                                                       Joystick Interface Having a Processor for Waking up a
                              Fadavi-Ardekani 21-6-8-3 (J)-US-                                                                                                                                                                         Host Processor in a Sleep Mode Based on Joystick
Fadavi-Ardekani 21-6-8-3 (J) NP                                  US6279048                    09/110673                                                 us                    21-Aug-01            7-Jul-18                 7-Jul-98   Movement
                                                                                                                                                                                                                                       Arrangement Of Delivering Internet Protocol
                                                                                                                                                                                                                                       Datagrams For Multimedia Services To The Same
       Falck5-17(KF)          Falck5-17(KF)-US-NP                US6360265                    09/112170                                                 us                    19-Mar-02            8-Jul-18                 8-Jul-98   Server


   Falkenstein 1-1-8 (DI)     Falkenstein 1-1-8 (Dl)-US-NP       US7016379                    09/910601                                                 us                    21-Mar-06          11-Feb-24                 20-Jul-0l   Integrated Network Element
                                                                                                                                                                                                                                       Methods Of Channel Coding For Communication
        Farag 5 (EN)          Farag 5 {EN)-KR-PCT                KR101280144                  20087002968                                               KR                    24-Jun-13           21-Jul-26                21-Jul-06   Systems
                                                                 ZL200680028405                                                                                                                                                        Methods Of Channel Coding For Communication
        Farag 5 (EN)          Farag 5 {EN)-CN-PCT                .X                           200680028405.X      CN101233692A                          CN                    13-Feb-13           21-Jul-26                21-Jul-06   Systems
                                                                                                                                                                                                                                       Methods Of Channel Coding For Communication
        Farag 5 (EN)          Farag 5 {EN)-DE-EPT                EP1911165                    06788065.8          EP1911165                             DE                    4-Mar-15            21-Jul-26                21-Jul-06   Systems
                                                                                                                                                                                                                                       Methods Of Channel Coding For Communication
        Farag 5 (EN)          Farag 5 {EN)-FR-EPT                EP1911165                    06788065.8          EP1911165                             FR                    4-Mar-15            21-Jul-26                21-Jul-06   Systems
                                                                                                                                                                                                                                       Methods Of Channel Coding For Communication
        Farag 5 (EN)          Farag 5 {EN)-GB-EPT                EP1911165                    06788065.8          EP1911165                             GB                    4-Mar-15            21-Jul-26                21-Jul-06   Systems
                                                                                                                                                                                                                                       Methods Of Channel Coding For Communication
        Farag 5 (EN)          Farag 5 {EN)-US-NP                 US7764743                    11/197306           20070030917                           us                     27-Jul-10          7-Mar-28                 5-Aug-05    Systems
       Faria 1-3 (RC)         Faria 1-3 (RC)-US-NP               US7260098                    10/255272           20040062247                           us                    21-Aug-07          21-Jun-25                 26-Sep-02   Cyclic Buffering Of A Datastream
                                                                                                                                                                                                                                       Channel Responsive Television Input Signal Interface
       Farleigh 4 {SE)        Farleigh 4 {SE)-US-NP              US6208388                    08/953877                                                 us                    27-Mar-0l          18-Oct-17                 18-Oct-97   Circuit And Method
                              Fatehi 10-1-1-1-1-4-1 (MT)-US-
 Fatehi 10-1-1-1-1-4-1 (MT)   NP                                 US6008934                    08/966423                                                 us                    28-Dec-99           7-Nov-17                 7-Nov-97    Shared-Pump Multi-Fiber Optical Amplifier


     Fatehi 23-27(MT)         Fatehi 23-27 (MT)-US-NP            US6067389                    09/123085                                                 us                    23-May-00           27-Jul-18                27-Jul-98   Wavelength-Selective Optical Cross-Connect
      Fatehi25-2(MT)          Fatehi 25-2 (MT)-US-NP             US6185021                    09/045481                                                 us                     6-Feb-01          20-Mar-18                 20-Mar-98   Cross-Connecting Optical Translator Array
                                                                                                                                                                                                                                       Dynamically Assignable Optical Signal Access Control
     Fatehi 28-10 (MT)        Fatehi 28-10 (MT)-US-NP            US6535313                    09/173793                                                 us                    18-Mar-03          16-Oct-18                 16-Oct-98   Apparatus
                                                                                                                                                                                                                                       Optical Wavelength-Space Cross-Connect Switch
     Fatehi 32-40 (MT)        Fatehi 32-40 (MT)-DE-EPA           EP1076469                    00306518.2          EP1076469                             DE                    19-May-10           31-Jul-20                31-Jul-00   Architecture
                                                                                                                                                                                                                                       Optical Wavelength-Space Cross-Connect Switch
     Fatehi 32-40 (MT)        Fatehi 32-40 (MT)-FR-EPA           EP1076469                    00306518.2          EP1076469                             FR                    19-May-10           31-Jul-20                31-Jul-00   Architecture




                                                                                                                         Page 102 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0243
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 110 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                           liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                                :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Optical Wavelength-Space Cross-Connect Switch
     Fatehi 32-40 (MT)       Fatehi 32-40 (MT)-GB-EPA           EP1076469                    00306518.2          EP1076469                             GB                    19-May-10           31-Jul-20                31-Jul-00   Architecture
                                                                                                                                                                                                                                      Optical Wavelength-Space Cross-Connect Switch
     Fatehi 32-40 (MT)       Fatehi 32-40 (MT)-US-NP             US6192172                   09/370824                                                 us                    20-Feb-0l           9-Aug-19                 9-Aug-99    Architecture
                                                                                                                                                                                                                                      Space Wavelength Time-Division Multiple Access
   Fatehi 36-20-19 (MT)      Fatehi 36-20-19 (MT)-US-NP          US6694100                   09/587576                                                 us                    17-Feb-04           5-Jun-20                 5-Jun-00    Optical Transmission system
      Faynberg 2-2 (I)       Faynberg 2-2 (I)-US-NP             US6222826                    08/974322                                                 us                    24-Apr-0l          19-Nov-17                 19-Nov-97   Multimedia calling Method And Apparatus
  Feder 14-11-19-3-1-60-8    Feder 14-11-19-3-1-60-8 (PM)-                                                                                                                                                                            Method And Apparatus For Cellular Communication
           (PM)              US-CNT                             US8194597                    13/089351           20110194548                           us                     5-Jun-12          30-Jun-24                 19-Apr-11   Over Data Networks
                                                                                                                                                                                                                                      Wireless Modem Alignment In A Multi-Cell
     Feder 7-7-11 (PM)       Feder 7-7-11 (PM)-US-NP            US6438363                    09/440045                                                 us                    20-Aug-02          15-Nov-19                 15-Nov-99   Environment
                                                                                                                                                                                                                                      Method And Apparatus For Identifying Telephone
                                                                                                                                                                                                                                      Callers Who Have Been Unsuccessful In Reaching A
     Feinberg 2-1 (BN)       Feinberg 2-1 (BN)-US-NP            US6208721                    09/235435                                                 us                    27-Mar-0l          22-Jan-19                 22-Jan-99   Called Destination
                                                                                                                                                                                                                                      Method And Apparatus For Generating A Verified
                                                                                                                                                                                                                                      Algorithm For Transforming AProgram From A First
      Feltyl-2-l(AP)         Felty 1-2-1 (AP)-US-NP             US6343372                    09/330526                                                 us                    29-Jan-02          11-Jun-19                 11-Jun-99   Form To A Second Form


                                                                                                                                                                                                                                      Method And Apparatus For A Fast Process Monitor
      Fenchel 3 {GG)         Fenchel 3 {GG)-US-NP               US6964047                    10/027200           20030120713                           us                     8-Nov-05           5-Nov-23                 20-Dec-0l   Suitable For A High Availability System


                                                                                                                                                                                                                                      Method And System For Supporting Multi-Method
     Ferragina 1-11 (P)      Ferragina 1-11 (P)-US-NP           US6434566                    09/203066                                                 us                    13-Aug-02           1-Dec-18                 1-Dec-98    Dispatching In Object-Oriented Programming


    Ferranti 3-21-7 (SA)     Ferranti 3-21-7 (SA)-US-NP         US6272022                    09/438986                                                 us                     7-Aug-01          12-Nov-19                 12-Nov-99   Bracket Assembly With Enhanced EMI Containment


  Feulner 1-2-4-2-7 (MR)     Feulner 1-2-4-2-7 (MR)-DE-EPA      EP1079481                    00306920.0          EP1079481                             DE                     6-Apr-05          14-Aug-20                 14-Aug-00   Fast Gain Control For Optical Amplifiers


  Feulner 1-2-4-2-7 (MR)     Feulner 1-2-4-2-7 (MR)-FR-EPA      EP1079481                    00306920.0          EP1079481                             FR                     6-Apr-05          14-Aug-20                 14-Aug-00   Fast Gain Control For Optical Amplifiers


  Feulner 1-2-4-2-7 (MR)     Feulner 1-2-4-2-7 (MR)-US-NP       US6366393                    09/382853                                                 us                     2-Apr-02          25-Aug-19                 25-Aug-99   Fast Gain Control For Optical Amplifiers
                                                                                                                                                                                                                                      Method And Apparatus For Temporal Alignment Of
     Fidlerl-1-22(FB)        Fidler 1-1-22 (FB)-US-NP           US7613125                    11/306425                                                 us                     3-Nov-09           2-Sep-28                 28-Dec-05   Multiple Parallel Data Streams


   Fields 2-29-24-18 (JA)    Fields 2-29-24-18 (JA)-US-NP       US6771671                    09/444091                                                 us                     3-Aug-04          22-Nov-19                 22-Nov-99   Data Flow Synchronization And Ordering
       Fineberg 1 (VJ        Fineberg 1 (VJ-US-NP                                            10/121188           20030196105                           us                                       12-Apr-22                 12-Apr-02   Remote Access VPN Extranets


      Fischer2-1 (G)         Fischer 2-1 (G)-US-NP              US6898257                    09/788900           20010055347                           us                    24-May-05          20-Feb-21                 20-Feb-0l   Transmitter Device Having A Modulation Closed Loop
      Fischer31-2 (G)        Fischer31-2 (G)-DE-EPA             EP1643593                    04255959.1          EP1643593                             DE                    12-Jan-11          29-Sep-24                 29-Sep-04   Aperture Antenna Element
      Fischer31-2 (G)        Fischer 31-2 (G)-FR-EPA            EP1643593                    04255959.1          EP1643593                             FR                    12-Jan-11          29-Sep-24                 29-Sep-04   Aperture Antenna Element
      Fischer31-2 (G)        Fischer31-2 (G)-GB-EPA             EP1643593                    04255959.1          EP1643593                             GB                    12-Jan-11          29-Sep-24                 29-Sep-04   Aperture Antenna Element
      Fischer31-2 (G)        Fischer 31-2 (G)-US-NP             US7030825                    10/954033           20060066497                           us                    18-Apr-06           3-Dec-24                 29-Sep-04   Aperture Antenna Element
      Fishkin2-2 {SG)        Fishkin 2-2 {SG)-US-NP             US7404101                    10/701276           20050096884                           us                     22-Jul-08          1-May-26                 4-Nov-03    Optimal Configuration Method


   Fishman 12-19-3 (DA)      Fishman 13-20-4 (DA)-US-DIV        US6411750                    09/997058           20020051619                           us                    25-Jun-02          16-Dec-19                 29-Nov-0l   Distortion Analyzer


                             Fishman 15-7-15-3-17 (DA)-US-                                                                                                                                                                            Method, Apparatus and System For Reducing Gain
 Fishman 15-7-15-3-17 (DA)   NP                                 US6859306                    10/357646           20040150875                           us                    22-Feb-05           4-Feb-23                 4-Feb-03    Ripple In A RAMAN-Amplified WDM System


                                                                                                                                                                                                                                      Simultaneous Electrical Pre-Compensation Of Self-
    Fishman 22-48 (DA)       Fishman 22-48 (DA)-US-NP           US7660537                    11/367141           20070206954                           us                     9-Feb-10           1-Sep-28                 3-Mar-06    Phase Modulation And Chromatic Dispersion


                                                                                                                                                                                                                                      Method And Apparatus For Automatic Compensation
    Fishman 9-18-2 (DA)      Fishman 9-18-2 (DA)-US-NP          US5930414                    08/931553                                                 us                     27-Jul-99         16-Sep-17                 16-Sep-97   Of First-Order Polarization Mode Dispersion (PWD)
                                                                                                                                                                                                                                      A Receiver For Pilot-Aided Code-Division Multiple
     Flanaganl-l(MJ)         Flanagan 1-1 (MJ)-US-NP            US6141334                    08/980321                                                 us                    31-Oct-00          28-Nov-17                 28-Nov-97   Access
      Flanagan 7 (RT)        Flanagan 7 (RT)-US-NP              US6163569                    09/136257                                                 us                    19-Dec-00          19-Aug-18                 19-Aug-98   Split-Architecture Modem
  Fleming 10-11-41-74-3-4    Fleming 10-11-41-74-3-4 (DA)-                                                                                                                                                                            Process For Fabricating Silica Article Utilizing Sol-Gel
           (DA)              US-NP                              US6080339                    09/097496                                                 us                    27-Jun-00          15-Jun-18                 15-Jun-98   Extrusion
 Fleming 14-140-50-25-42     Fleming 14-140-50-25-42 (DA)-                                                                                                                                                                            Device For Tuning Wavelength Response Of An
            (DA)             US-NP                              US5987200                    08/957953                                                 us                    16-Nov-99          27-Oct-17                 27-Oct-97   Optical Fiber Grating


    Florkey 16-10-24 (CJ     Florkey 16-10-24 (CJ-US-NP         US7860231                    10/768409           20050170826                           us                    28-Dec-10          15-Dec-26                 30-Jan-04   Porting A Directory Number For A Duration Of Time


                                                                                                                                                                                                                                      Communication Device Employment Of One Or More
                                                                                                                                                                                                                                      Restrictions To Make Determination Of Allowability
  Florkey 5-5-13-5-35 (CJ    Florkey 5-5-13-5-35 (CJ-US-NP      US8000695                    10/609861           20050027830                           us                    16-Aug-11            1-Jul-26                30-Jun-03   Of One Or More Communication Sessions
                                                                                                                                                                                                                                      Packet Routing And Queuing At Headend Of Shared
        Fluss 1 {HS)         Fluss 1 {HS)-US-NP                 US6304578                    09/071471                                                 us                    16-Oct-01           1-May-18                 1-May-98    Data Channel
       Flynn 1 (RW)          Flynn 1 (RW)-US-NP                 US6198785                    08/939417                                                 us                    6-Mar-01           29-Sep-17                 29-Sep-97   Autobaud Rate Detection And Adjustment
                                                                                                                                                                                                                                      Method For Controlling A Network Element From A
       Foley2-2 (MP)         Foley 2-2 (MP)-US-NP               US6487590                    09/184101                                                 us                    26-Nov-02          30-Oct-18                 30-Oct-98   Remote Workstation
        Ford 28 (JE)         Ford 28 (JE)-US-NP                 US6307657                    09/118553                                                 us                    23-Oct-01           17-Jul-18                17-Jul-98   Optomechanical Platform


      Ford 38-37{JE)         Ford 38-37 (JE)-US-NP              US6392769                    09/272976                                                 us                    21-May-02          19-Mar-19                 19-Mar-99   Automatic Level Control Circuit For Optical System
                                                                                                                                                                                                                                      Optical Network Using Remote Optical Powering Of
   Ford 40-41-30-30 (JE)     Ford 40-41-30-30 (JE)-US-NP        US6567195                    09/335334                                                 us                    20-May-03          17-Jun-19                 17-Jun-99   Optoelectronic Switch
                                                                                                                                                                                                                                      Reduction Of Modal Noise In Step-Index Fiber
      Ford 43-31 (JE)        Ford 43-31 (JE)-US-NP              US6577420                    09/427682                                                 us                    10-Jun-03          27-Oct-19                 27-Oct-99   Bundles
                                                                                                                                                                                                                                      Wireless Communications System Having A Layered
                                                                                                                                                                                                                                      Space-Time Architecture Employing Multi-Element
       Foschini 6 (GJ)       Foschini 6 (GJ)-KR-NP              KR626099                     9730477                                                   KR                    13-Sep-06            1-Jul-17                 1-Jul-97   Antennas
  Foster 1-2-43-75-14-1-5    Foster 1-2-43-75-14-1-5 {GT)-US-
            {GT)             NP                                 US6842462                    09/466485                                                 us                    11-Jan-05          17-Dec-19                 17-Dec-99   Wireless Access Of Packet Based Networks


      Francis 2-2 {EG)       Francis 2-2 {EG)-US-NP             US7814634                    11/180812           20070011857                           us                    19-Oct-10          18-Oct-27                 13-Jul-05   Electrical Connector Extraction And/Or Insertion Tool
                                                                                                                                                                                                                                      Corrosion Protection System For Anti-Tank
       Franey 15 (JP)        Franey 15 (JP)-US-NP               US6334529                    09/477834                                                 us                     1-Jan-02           5-Jan-20                 5-Jan-00    Ammunition
                                                                                                                                                                                                                                      Patch Antenna Using Non-Conductive Thermo Form
   Franey 17-5-18-5 (JP)     Franey 17-5-18-5 (JP)-DE-EPA       EP1094543                    00308861.4          EP1094543                             DE                    15-Sep-04           9-Oct-20                 9-Oct-00    Frame
                                                                                                                                                                                                                                      Patch Antenna Using Non-Conductive Thermo Form
   Franey 17-5-18-5 (JP)     Franey 17-5-18-5 (JP)-FR-EPA       EP1094543                    00308861.4          EP1094543                             FR                    15-Sep-04           9-Oct-20                 9-Oct-00    Frame
                                                                                                                                                                                                                                      Patch Antenna Using Non-Conductive Thermo Form
   Franey 17-5-18-5 (JP)     Franey 17-5-18-5 (JP)-GB-EPA       EP1094543                    00308861.4          EP1094543                             GB                    15-Sep-04           9-Oct-20                 9-Oct-00    Frame
                                                                                                                                                                                                                                      Patch Antenna Using Non-Conductive Thermo Form
   Franey 17-5-18-5 (JP)     Franey 17-5-18-5 (JP)-KR-NP        KR668997                     200061808                                                 KR                     9-Jan-07          20-Oct-20                 20-Oct-00   Frame
                                                                                                                                                                                                                                      Patch Antenna Using Non-Conductive Thermo Form
   Franey 17-5-18-5 (JP)     Franey 17-5-18-5 (JP)-US-NP        US6407704                    09/425373                                                 us                    18-Jun-02          22-Oct-19                 22-Oct-99   Frame
                                                                                                                                                                                                                                      Article and Method for In-Process Testing of RF
        Frei 2 (MR)          Frei 2 (MR)-US-NP                  US5942766                    08/932001                                                 us                    24-Aug-99          17-Sep-17                 17-Sep-97   Products




                                                                                                                        Page 103 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0244
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 111 of 156
                                               Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                           liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                               :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Radio Telecommunications Network And Method Of
   Freiberg 19-8-1 (LF)     Freiberg 19-8-1 {LF)-DE-EPA        EP1089458                    99310301.9          EP1089458                             DE                     3-Oct-07          21-Dec-19                 21-Dec-99   Operating Such A Network
                                                                                                                                                                                                                                     Radio Telecommunications Network And Method Of
   Freiberg 19-8-1 (LF)     Freiberg 19-8-1 {LF)-GB-EPA        EP1089458                    99310301.9          EP1089458                             GB                     3-Oct-07          21-Dec-19                 21-Dec-99   Operating Such A Network
                                                                                                                                                                                                                                     Method And Apparatus For Controlling Pump Powers
                                                                                                                                                                                                                                     Of Broadband Raman Amplifiers Used In Optical
      Freund S(RW)          Freund 8 (RW)-US-NP                 US6912084                   10/223789           20040036954                           us                    28-Jun-05           3-Oct-23                 20-Aug-02   Transmission Systems
                                                                                                                                                                                                                                     Method And Apparatus For Structure-Preserving
      Freund 9(RW)          Freund 9 (RW)-US-NP                US7228259                    10/881190           20060004551                           us                     5-Jun-07            8-Jul-25                30-Jun-04   Reduced-Order Modeling
                                                                                                                                                                                                                                     Call Processing System Utilizing Subscriber Services
      Frey 14-3 (AE)        Frey 14-3 (AE)-US-NP               US6535596                    08/939353                                                 us                    18-Mar-03          29-Sep-17                 29-Sep-97   And Preferences


                                                                                                                                                                                                                                     Method And Apparatus For Implementing Feature
  Frey 17-2-6-2-2-1 (AE)    Frey 17-2-6-2-2-1 (AE)-US-NP       US6940846                    09/461876                                                 us                     6-Sep-05          15-Dec-19                 15-Dec-99   Assist On A Telecommunication Network
                                                                                                                                                                                                                                     Power Amplification By Using Different Fixed Power
     Friedell-15(B)         Friedel 1-15 (BJ-US-NP             US7091772                    10/601491           20040008081                           us                    15-Aug-06          13-Aug-23                 23-Jun-03   Supply Signals For The Amplifier
                                                                                                                                                                                                                                     Reconfiguring Impedance Matching For High Power
      Friedel 8-3 (BJ       Friedel 8-3 (BJ-US-NP              US7515016                    11/372240           20070210873                           us                     7-Apr-09          25-Jan-27                 9-Mar-06    Circuits
                                                                                                                                                                                                                                     Reconfiguring Impedance Matching For High Power
      Friedel 8-3 (BJ       Friedel 8-3 (B)-EP-EPA                                          06251259.5          EP1833169                             EP                                        9-Mar-26                 9-Mar-06    Circuits
                            Fritzinger 14-8-3-17-18 (LBJ-US-                                                                                                                                                                         Shallow Trench Isolation Method Providing Rounded
Fritzinger 14-2-3-17-18 (LB) NP                                US6174786                    09/447154                                                 us                    16-Jan-0l          23-Nov-19                 23-Nov-99   Top Trench Corners


    Fuchs 1-1-18 (CA)       Fuchs 1-1-18 {CA)-JP-NP            JP5113987                    200593388           2005283585                            JP                    19-Oct-12          29-Mar-25                 29-Mar-05   Optical Analyzers Of Polarization Properties


    Fuchs 1-1-18 (CA)       Fuchs 1-1-18 {CA)-US-NP            US7206069                    10/812164           20050213104                           us                    17-Apr-07          16-Feb-25                 29-Mar-04   Optical Analyzers Of Polarization Properties
                                                                                                                                                                                                                                     Optical Apparatus Having A Polarization Splitter And
    Fuchs 1-1-18 (CA)       Fuchs 2-23 {CA)-US-DIV             US7463361                    11/702451           20070133005                           us                     9-Dec-08          29-Mar-24                 5-Feb-07    Multiple Interferometers
                                                                                                                                                                                                                                     Method And Apparatus For Transmitting A
     Fuller 5-2-5 (RC)      Fuller 5-2-5 (RC)-US-NP            US6671079                    10/016904           20030112487                           us                    30-Dec-03          14-Dec-21                 14-Dec-0l   Modulated Optical Signal
                                                                                                                                                                                                                                     Method For Modeling Noise Emitted By Digital
  Gabara 80-2-4-7-1 (TJ)    Gabara 80-7 (TJ)-US-NP             US6938224                    10/079447           20020147956                           us                    30-Aug-05          27-Aug-22                 20-Feb-02   Circuits
                                                                                                                                                                                                                                     System And Method For Providing Anonymous
  Gabber4-9-5-14-2 (E)      Gabber 4-9-5-14-2 (E)-US-NP        US6591291                    09/041209                                                 us                     8-Jul-03          12-Mar-18                 12-Mar-98   Remailing And Filtering Of Electronic Mail
                                                                                                                                                                                                                                     Method And Apparatus For Compound Hardware
     Gaddess 1-1 (TG)       Gaddess 1-1 (TG)-US-NP             US6385668                    09/288763                                                 us                    7-May-02            8-Apr-19                 8-Apr-99    Configuration Control
                                                                                                                                                                                                                                     Method And Apparatus For Re-Establishing A Call In A
     Gafrick6-6 (JM)        Gafrick 6-6 (JM)-KR-NP             KR755289                     20010004251                                               KR                    29-Aug-07          30-Jan-21                 30-Jan-0l   Communication System
                                                                                                                                                                                                                                     Method And Apparatus For Re-Establishing A Call In A
     Gafrick6-6 (JM)        Gafrick 6-6 (JM)-US-NP             US6556816                    09/494267                                                 us                    29-Apr-03          31-Jan-20                 31-Jan-00   Communication System
                                                                                                                                                                                                                                     Selective Establishment Of Telecommunications
                                                                                                                                                                                                                                     Connections Over Packet And Circuit Switched
   Gallagherl-22(MB)        Gallagherl-22 (MB)-US-NP           US6704304                    09/588248                                                 us                    9-Mar-04           13-Jun-22                 6-Jun-00    Networks
                                                                                                                                                                                                                                     Testing System for Simulating Human Faculties in the
     Galler 1-1-1 (Bl)      Galler 1-1-1 (Bl)-US-NP            US5883665                    08/938402                                                 us                    16-Mar-99          26-Sep-17                 26-Sep-97   Operation of Video Equipment


 Ganapathy 4-11-12-1-26     Ganapathy 4-11-12-1-26 {SK)-US-                                                                                                                                                                          Retrieval And Matching Of Color Patterns Based On A
           {SK)             NP                                 US6411953                    09/236854                                                 us                    25-Jun-02          25-Jan-19                 25-Jan-99   Predetermined Vocabulary And Grammar


 Ganapathy 4-11-12-1-26     Ganapathy 5-16-18-4-27 {SK)-US-                                                                                                                                                                          Retrieval And Matching Of Color Patterns Based On A
           {SK)             DIV                                US6487554                    10/020346                                                 us                    26-Nov-02          25-Jan-19                 30-Oct-01   Predetermined Vocabulary And Grammar


 Ganapathy 4-11-12-1-26     Ganapathy 6-17-19-5-28 {SK)-US-                                                                                                                                                                          Retrieval And Matching Of Color Patterns Based On A
           {SK)             DIV                                US6732119                    10/188687           20030044062                           us                    4-May-04            30-Jul-19                 3-Jul-02   Predetermined Vocabulary And Grammar
                                                                                                                                                                                                                                     Context Sharing For Similar Words In Context
     Gandhi2-l(MB)          Gandhi 2-1 (MB)-US-NP              US6285980                    09/184620                                                 us                     4-Sep-01           2-Nov-18                 2-Nov-98    Dependent Hidden Markov Models
      Gannon 1 (JR)         Gannon 1 (JR)-US-NP                US6140929                    09/208054                                                 us                    31-Oct-00           9-Dec-18                 9-Dec-98    Self-Testing Grounding Device
                                                                                                                                                                                                                                     Method And Apparatus For Achieving Data Rate
                                                                                                                                                                                                                                     Variability In Orthogonal Spread Spectrum
    Gans51-1-36(MJ)         Gans 51-1-36 (MJ)-IN-NP            IN206755                     104/MAS/99                                                 IN                   11-May-07          28-Jan-19                 28-Jan-99   Communication Systems
                                                                                                                                                                                                                                     Method And Apparatus For Achieving Data Rate
                                                                                                                                                                                                                                     Variability In Orthogonal Spread Spectrum
    Gans51-1-36(MJ)         Gans51-1-36(MJ)-JP-NP              JP3884184                    11053120                                                  JP                    24-Nov-06           1-Mar-19                 1-Mar-99    Communication Systems
                                                                                                                                                                                                                                     Method And Apparatus For Achieving Data Rate
                                                                                                                                                                                                                                     Variability In Orthogonal Spread Spectrum
    Gans51-1-36(MJ)         Gans 51-1-36 (MJ)-US-NP            US6366588                    09/032166                                                 us                     2-Apr-02          27-Feb-18                 27-Feb-98   Communication Systems


                                                                                                                                                                                                                                     Methods And Devices For Assigning Mobile Devices
      Ganti 1-3-3 (A)       Ganti 1-3-3 (A)-US-NP              US7333813                    10/457456           20040253962                           us                    19-Feb-08          26-Feb-25                 10-Jun-03   To Base Stations In The Presence Of Interference
                                                                                                                                                                                                                                     Method And System For Fair Exchange Of User
     Garay 10-1 (JA)        Garay 10-1 (JA)-US-NP              US7412055                    10/611771           20050018847                           us                    12-Aug-08          11-Sep-25                 30-Jun-03   Information
                                                                                                                                                                                                                                     Decentralized Redundancy Detection Circuit And
     Garcia 3-4 (RR)        Garcia 3-4 (RR)-US-NP              US5954833                    08/902055                                                 us                    21-Sep-99           29-Jul-17                29-Jul-97   Method Of Operation Thereof
      Garg2-3 (BB)          Garg 2-3 (BB)-US-NP                US6970455                    09/191708           20020131442                           us                    29-Nov-05          13-Nov-18                 13-Nov-98   Space/Time Switch Architecture
                                                                                                                                                                                                                                     Control Of Telemetry Interface Gateway During A
   Garland21-19(SM)         Garland 21-19 (SM)-US-NP           US6104804                    08/994232                                                 us                    15-Aug-00          19-Dec-17                 19-Dec-97   Voice Call
                                                                                                                                                                                                                                     Control Of Telemetry Interface Gateway For A Voice
   Garland22-20(SM)         Garland 22-20 (SM)-US-NP           US6212270                    08/994245                                                 us                     3-Apr-01          19-Dec-17                 19-Dec-97   Call
                                                                                                                                                                                                                                     Improved Communications Between Service
   Garland23-22(SM)         Garland 23-22 (SM)-US-NP           US6167042                    08/931567                                                 us                    26-Dec-00          16-Sep-17                 16-Sep-97   Providers And Customer Premises Equipment
                                                                                                                                                                                                                                     System For Direct Suppressed Ringing Access Of
  Garland 24-1-25 (SM)      Garland 24-1-25 (SM)-US-NP         US6275571                    09/092122                                                 us                    14-Aug-01           5-Jun-18                 5-Jun-98    Subscriber lines
                                                                                                                                                                                                                                     System For Party Line Suppressed Ringing Access Of
   Garland25-26(SM)         Garland 25-26 (SM)-US-NP           US6038297                    09/092246                                                 us                    14-Mar-00           5-Jun-18                 5-Jun-98    Subscriber lines


                                                                                                                                                                                                                                     System For Suppressed Ringing Access Of Subscriber
                                                                                                                                                                                                                                     Lines To Identify Usage Anomalies Of Customer
  Garland 27-29-1 (SM)      Garland 27-29-1 (SM)-US-NP         US6263055                    09/150055                                                 us                     17-Jul-01          9-Sep-18                 9-Sep-98    Premise Equipmnet Connected Thereto
                                                                                                                                                                                                                                     Automatic Remote Meter Reading System And
   Garland29-31(SM)         Garland 29-31 (SM)-CA-NP           CA2279670                    2279670                                                   CA                    24-Sep-02           5-Aug-19                 5-Aug-99    Method Employing Selectable Line Interface
                                                                                                                                                                                                                                     Automatic Remote Meter Reading System And
   Garland29-31(SM)         Garland 29-31 (SM)-US-NP           US5995601                    09/164153                                                 us                    30-Nov-99          30-Sep-18                 30-Sep-98   Method Employing Selectable Line Interface
                                                                                                                                                                                                                                     System And Method For Establishing A Call Path
  Garland32-5-33{SM)        Garland 32-5-33 (SM)-US-NP         US6442256                    09/241346                                                 us                    27-Aug-02           2-Feb-19                 2-Feb-99    Through A Private Network
                                                                                                                                                                                                                                     Telecommunications Network Architecture For
    Garland35-3(SM)         Garland 35-3(SM)-US-NP             US6453026                    09/425152                                                 us                    17-Sep-02          21-Oct-19                 21-Oct-99   Accessing Customer Premises Equipment


 Garland 38-2-4-6-39 (SM)   Garland 38-2-4-6-39 (SM)-US-NP US6452490                        09/382282                                                 us                    17-Sep-02          24-Aug-19                 24-Aug-99   Home/Commercial Security Monitoring System
                                                                                                                                                                                                                                     Method And Apparatus For Multiple Logical Channel
                                                                                                                                                                                                                                     Information Delivery Over Multiple Suppressed
   Garland 39-44 (SM)       Garland 39-44 (SM)-US-NP           US6389120                    09/390510                                                 us                    14-May-02           3-Sep-19                 3-Sep-99    Ringing Physical Channels




                                                                                                                       Page 104 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0245
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 112 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW
                                                               :ia:~:A,m:::::::::::::::::
                                                               liiitiiiiii~:il\::::'::•:•
                                                                                            :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Providing Alerting/Call Waiting/Call Holding Services
     Garland 40-2 (SM)        Garland 40-2 (SM)-US-NP           US6493445                   09/397208                                                          us              10-Dec-02          16-Sep-19                 16-Sep-99   To On-Line Internet Users
                                                                                                                                                                                                                                        Method And Apparatus For Assessing Quality Of
        Garney3 (DJ           Garney 3 (DJ-US-NP                US7174285                   09/536502                                                          us               6-Feb-07          27-Mar-20                 27-Mar-00   Service For Communication Networks
  Garofalakis 6-1-36-11-10    Garofalakis 6-1-36-11-10 (MN)-
           (MN)               US-NP                             US7080314                   09/595719                                                          us               18-Jul-06         11-Feb-23                 16-Jun-00   Document Descriptor Extraction Method
       Garrett 1 (DJ          Garrett 1 (DJ-US-NP               US7437657                   10/211688                     20030028846                          us              14-Oct-08           14-Jul-25                2-Aug-02    High Speed Add-Compare-Select Processing


     Garrett 10-21 (DJ        Garrett 10-21 (DJ-US-NP           US7398446                   10/447113                     20040255217                          us               8-Jul-08           6-Dec-25                 29-May-03   Low Power Operation Of An Address Interleaver
       Garrett 2 (DJ          Garrett2 (DJ-US-NP                US7400688                   10/211687                     20030026347                          us               15-Jul-08         26-Aug-24                 2-Aug-02    Path Metric Normalization
                                                                                                                                                                                                                                        Turbo Decoder With Reduced-Size Branch Metric
       Garrett3-4 (DJ         Garrett 3-4 (DJ-US-PCT            US7647547                   10/480136                     20040181742                          us              12-Jan-10          26-Jun-24                 2-Aug-02    Cache
                                                                                                                                                                                                                                        Clamping And Non Linear Quantization Of Extrinsic
       Garrett4-5 (DJ         Garrett4-5 (D)-EP-EPT                                         02753430.4                    EP1413061                            EP                                  2-Aug-22                 2-Aug-02    Information In An Iterative Decoder
                                                                                                                                                                                                                                        Clamping And Non Linear Quantization Of Extrinsic
       Garrett4-5 (DJ         Garrett 4-5 (DJ-JP-PCT           JP4195378                    2003520091                    2004538705                           JP               3-Oct-08           2-Aug-22                 2-Aug-02    Information In An Iterative Decoder
                              Garyantes 2-1-5-5-l(MF)-DE-
 Garyantes 2-1-5-5-1 (MF)     EPA                               EP1107471                   99309994.4                    EP1107471                            DE              8-Mar-06           10-Dec-19                 10-Dec-99   Time-Division Multiplexed Rake Finger For W-CDMA
                              Garyantes 2-1-5-5-1 (MF)-FR-
 Garyantes 2-1-5-5-1 (MF)     EPA                               EP1107471                   99309994.4                    EP1107471                            FR              8-Mar-06           10-Dec-19                 10-Dec-99   Time-Division Multiplexed Rake Finger For W-CDMA
                              Garyantes 2-1-5-5-l(MF)-GB-
 Garyantes 2-1-5-5-1 (MF)     EPA                               EP1107471                   99309994.4                    EP1107471                           GB               8-Mar-06           10-Dec-19                 10-Dec-99   Time-Division Multiplexed Rake Finger For W-CDMA


 Garyantes 2-1-5-5-1 (MF)     Garyantes 2-1-5-5-1 (MF)-US-NP    US6954487                   09/729900                                                          us              11-Oct-05          12-Jun-23                 5-Dec-00    Time-Division Multiplexed Rake Finger For W-CDMA


 Gasparyan 6-40-30-11 (A)     Gasparyan 6-40-30-11 (A)-US-NP US7449649                      11/379507                     20070272528                          us              11-Nov-08          29-Sep-26                 23-May-06   Liquid Switch
                              Gasparyan 9-57-44-14 (A)-US-
 Gasparyan 6-40-30-11 (A)     DIV                               US7554046                   12/173889                                                          us              30-Jun-09          20-Apr-26                 16-Jul-08   Liquid Switch


   Gasparyan 7-22-21 (A)      Gasparyan 7-22-21 (A)-US-DIV      US7973637                   12/732752                     20100182120                          us               5-Jul-11          29-Jun-27                 26-Mar-10   A Mems Device With Bi-Directional Element


   Gasparyan 7-22-21 (A)      Gasparyan 7-22-21 (A)-US-NP       US7760065                   11/772039                     20090002118                          us               20-Jul-10         12-Feb-28                 29-Jun-07   A Mems Device With Bi-Directional Element
      Gates 12-4 (FV)         Gates 12-4 (FV)-US-NP             US6353419                   09/266031                                                          us              5-Mar-02           11-Mar-19                 11-Mar-99   Antenna Deployer For Raised Microcells
                                                                                                                                                                                                                                        Electronic Apparatus Having An Environmentally
       Gates7(WG)             Gates 7 {WG)-US-NP                US6101090                   09/273143                                                          us               8-Aug-00          19-Mar-19                 19-Mar-99   Sealed External Enclosure


                                                                                                                                                                                                                                        Solution Space Principle Component-Based Adaptive
        Gay 10 {SL)           Gay 10 {SL)-US-NP                 US7069286                   10/256882                     20040062403                          us              27-Jun-06           4-Oct-24                 27-Sep-02   Filter and Method Of Operation Thereof
                                                                                                                                                                                                                                        Security Protection For A Customer Programmable
      Gayde 31-5 (RS)         Gayde 31-5 (RS)-US-NP             US8689334                   11/712092                     20080209564                          us               1-Apr-14          29-Mar-29                 28-Feb-07   Platform
                                                                                                                                                                                                                                        Autonomous Overload Control For Distributed Real
      Gehi 1-3-6{GM)          Gehi 1-3-6 (GM)-US-NP             US5943232                   08/959933                                                          us              24-Aug-99          29-Oct-17                 29-Oct-97   Time Systems
                                                                                                                                                                                                                                        Apparatus And Method For Reducing Phase
                                                                                                                                                                                                                                        Modulated Gain Fluctuations In Optical
       Gehlot 12 {NL)         Gehlot 12 {NL)-US-NP              US6377377                   09/197403                                                          us              23-Apr-02          20-Nov-18                 20-Nov-98   Communications Systems And Networks


                                                                                                                                                                                                                                        Method And System For Using Power Lines For
     Gehlot 23-23 {NL)        Gehlot 23-23 {NL)-US-NP           US7072408                   09/788959                     20020113689                          us               4-Jul-06           6-Feb-23                 20-Feb-0l   Signaling, Telephony And Data Communications


                                                                                                                                                                                                                                        Methods And Systems For Controlling Handoffs In A
     Gehlot 38-35 {NL)        Gehlot 38-35 {NL)-US-NP           US7197310                   10/628231                     20050026618                          us              27-Mar-07          15-Oct-24                 29-Jul-03   Wireless Communication System


       Gehlot4 {NL)           Gehlot 4 {NL)-US-NP               US6353806                   09/197802                                                          us              5-Mar-02           23-Nov-18                 23-Nov-98   System Level Hardware Simulator And Its Automation
                                                                                                                                                                                                                                        Apparatus And Method To Overcome Dispersion
                                                                                                                                                                                                                                        Limitations In High Speed Communications Systems
       Gehlot5 {NL)           Gehlot 5 {NL)-US-NP               US6462850                   09/197222                                                          us               8-Oct-02          20-Nov-18                 20-Nov-98   And Networks
                                                                                                                                                                                                                                        Apparatus And Method For Reducing Optical
                                                                                                                                                                                                                                        Impairments In Optical Communications Systems And
       Gehlot6 {NL)           Gehlot 6 {NL)-US-NP               US6542271                   09/197073                                                          us               1-Apr-03          20-Nov-18                 20-Nov-98   Networks
                                                                                                                                                                                                                                        Adaptive Gain And/Or Phase Adjustment Control
    Ghanadan 1-70 (R)         Ghanadan 1-70 (R)-AU-NP          AU766523                     51967/00                                                          AU                5-Feb-04          11-Aug-20                 11-Aug-00   System And Method
                                                                                                                                                                                                                                        Adaptive Gain And/Or Phase Adjustment Control
    Ghanadan 1-70 (R)         Ghanadan 1-70 (R)-CA-NP          CA2315577                    2315577                                                            CA              1-Mar-05            4-Aug-20                 4-Aug-00    System And Method
                                                                                                                                                                                                                                        Adaptive Gain And/Or Phase Adjustment Control
    Ghanadan 1-70 (R)         Ghanadan 1-70 (R)-IN-NP           IN216217                    660/MAS/2000                                                       IN              10-Mar-08          18-Aug-20                 18-Aug-00   System And Method
                                                                                                                                                                                                                                        Adaptive Gain And/Or Phase Adjustment Control
    Ghanadan 1-70 (R)         Ghanadan 1-70 (R)-US-NP           US6259319                   09/377387                                                          us               10-Jul-01         19-Aug-19                 19-Aug-99   System And Method
                                                                                                                                                                                                                                        Alternating Gain And Phase Control System And
    Ghanadan 2-71 (R)         Ghanadan 2-71 (R)-AU-NP          AU765299                     51968/00                                                          AU                8-Jan-04          11-Aug-20                 11-Aug-00   Method
                                                                                                                                                                                                                                        Alternating Gain And Phase Control System And
    Ghanadan 2-71 (R)         Ghanadan 2-71 (R)-CA-NP          CA2315583                    2315583                                                            CA               8-Feb-05           8-Aug-20                 8-Aug-00    Method
                                                                                                                                                                                                                                        Alternating Gain And Phase Control System And
    Ghanadan 2-71 (R)         Ghanadan 2-71 (R)-IN-NP           IN244905                    659/MAS/2000                                                       IN              24-Dec-10          17-Aug-20                 17-Aug-00   Method
                                                                                                                                                                                                                                        Alternating Gain And Phase Control System And
    Ghanadan 2-71 (R)         Ghanadan 2-71 (R)-US-NP           US6392480                   09/378009                                                          us              21-May-02          19-Aug-19                 19-Aug-99   Method
                                                                                                                                                                                                                                        System And Method For Producing Amplified
   Ghanadan 3-2-14(R)         Ghanadan 3-2-14 (R)-US-NP         US6294956                   09/444318                                                          us              25-Sep-0l          19-Nov-19                 19-Nov-99   Signal(s) Or Version(s) Thereof
       Ghosh 1-1 (R)          Ghosh 1-1 (R)-DE-EPA              EP1168267                   00305204.0                                                         DE              31-Jan-07          20-Jun-20                 20-Jun-00   Paging Device
       Ghosh 1-1 (R)          Ghosh 1-1 (R)-FR-EPA              EP1168267                   00305204.0                                                         FR              31-Jan-07          20-Jun-20                 20-Jun-00   Paging Device
       Ghosh 1-1 (R)          Ghosh 1-1 (R)-GB-EPA              EP1168267                   00305204.0                                                        GB               31-Jan-07          20-Jun-20                 20-Jun-00   Paging Device
                                                                                                                                                                                                                                        Multiple Stage And/Or Nested Predistortion System
    Giardina 3-12-1 (CR)      Giardina 3-12-1 (CR)-US-NP        US6931080                   09/928628                     20030031270                          us              16-Aug-05          13-Sep-23                 13-Aug-0l   And Method
                              Giaretta 2-28-22-28-16 (G)-US-
 Giaretta 2-28-22-28-16 (G)   NP                                US6690682                   09/444780                                                          us              10-Feb-04          22-Nov-19                 22-Nov-99   Bit Multiplexing Of Packet-Based Channels
                              Giaretta 4-3-2-29-8-16 (G)-US-
 Giaretta 4-3-2-29-8-16 (G)   NP                                US6510265                   09/552773                                                          us              21-Jan-03          20-Apr-20                 20-Apr-00   High-Speed Multi-Mode Fiber-Optic Link


                                                                                                                                                                                                                                        Optoelectronic Phase-Locked Loop With Balanced
                                                                                                                                                                                                                                        Photodetection For Clock Recovery In High-Speed
      Giaretta5-1 (G)         Giaretta 5-1 (G)-US-NP            US6542723                   09/503036                                                          us               1-Apr-03          11-Feb-20                 11-Feb-00   Optical Time Division Multiplexed Systems
       Giles 32 (CR)          Giles 32 (CR)-US-NP               US5995255                   08/959354                                                          us              30-Nov-99          28-Oct-17                 28-Oct-97   Concatenated Fiber Grating Optical Monitor
                                                                                                                                                                                                                                        PMD-Reduction Processing For A Multi-Channel
     Giles 66-11-1 (RC)       Giles 66-11-1 (RC)-US-NP          US7330663                   10/425432                     20030223758                          us              12-Feb-08           6-Feb-25                 29-Apr-03   Receiver
                                                                                                                                                                                                                                        Method And Apparatus For Optical Signal
      Gill 17-37 (DM)         Gill 17-37 (DM)-US-NP             US7409163                   10/881236                     20060002714                          us               5-Aug-08          18-Mar-26                 30-Jun-04   Transmission
                                                                                                                                                                                                                                        Method And Apparatus For Optical Signal
      Gill 17-37 (DM)         Gill 17-37 (DM)-DE-EPA            EP1612971                   05253819.6                    EP1612971                            DE              18-Oct-06          21-Jun-25                 21-Jun-05   Transmission
                                                                                                                                                                                                                                        Method And Apparatus For Optical Signal
      Gill 17-37 (DM)         Gill 17-37 (DM)-FR-EPA            EP1612971                   05253819.6                    EP1612971                            FR              18-Oct-06          21-Jun-25                 21-Jun-05   Transmission
                                                                                                                                                                                                                                        Method And Apparatus For Optical Signal
      Gill 17-37 (DM)         Gill 17-37 (DM)-GB-EPA            EP1612971                   05253819.6                    EP1612971                           GB               18-Oct-06          21-Jun-25                 21-Jun-05   Transmission




                                                                                                                                  Page 105 of 149
                                                                                                                                                                                                             PATENT
                                                                                                                                                                                                     REEL: 044000 FRAME: 0246
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 113 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                             :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Optical Signal
      Gill 17-37 (DM)       Gill 17-37 (DM)-JP-NP            JP4772397                    2005192125          2006020325                            JP                     1-Jul-11          30-Jun-25                 30-Jun-05   Transmission
                                                                                                                                                                                                                                   Method And Apparatus For Amplifying Design
       Gillis3(PW)          Gillis3(PW)-US-NP                 US6405189                   09/182493                                                 us                    11-Jun-02          30-Oct-18                 30-Oct-98   Information Into Software Products
                                                                                                                                                                                                                                   Data-Driven Method Simulator And Simulation
       Gillis6(PW)          Gillis 6 {PW)-US-NP              US7035784                    09/667709                                                 us                    25-Apr-06          13-Oct-22                 22-Sep-00   Process

                                                                                                                                                                                                                                   Method Of Muting A Non-Speaking Cellular
    Gitlin 41-16-1 (RD)     Gitlin 41-16-1 (RD)-KR-NP        KR322327                     9849661                                                   KR                    15-Jan-02          19-Nov-18                 19-Nov-98   Telephone Caller Participating In A Conference Call


                                                                                                                                                                                                                                   Method Of Muting A Non-Speaking Cellular
    Gitlin 41-16-1 (RD)     Gitlin 41-16-1 (RD)-US-NP        US5995827                    08/974951                                                 us                    30-Nov-99          20-Nov-17                 20-Nov-97   Telephone Caller Participating In A Conference Call


                                                                                                                                                                                                                                   Methods And Apparatus For Reducing Cochannel
   Gitlin 42-8-3-10 (RD)    Gitlin 42-8-3-10 (RD)-US-NP      US6188718                    09/138465                                                 us                    13-Feb-0l          21-Aug-18                 21-Aug-98   Interference In A Mixed-Rate Communication System


                                                                                                                                                                                                                                   Power Control And Cell Site Location Technique For
   Gitlin 44-12-5-13 (RD)   Gitlin 44-12-5-13 (RD)-US-NP     US6438379                    09/322941                                                 us                    20-Aug-02          28-May-19                 28-May-99   CDMA Systems With Hierarchical Architecture
                                                                                                                                                                                                                                   Flexible Runtime Configurable Application Program
                                                                                                                                                                                                                                   Interface (API) That Is Command Independent And
      Giulianelli 1 (DJ     Giulianelli 1 (DJ-US-NP          US6636521                    09/215241                                                 us                    21-Oct-03          18-Dec-18                 18-Dec-98   Reusable
         Glas 5(J)          Glas 5 (J)-US-NP                 US6546237                    09/386587                                                 us                     8-Apr-03          31-Aug-19                 31-Aug-99   Differential FM Detector For Radio Receivers
                                                                                                                                                                                                                                   A SRO+ BAO+ NB205 + Ceram-Glass Electro-Optical
  Glass 34-11-8-13 (AM)     Glass 34-11-8-13 (AM)-US-NP      US6568219                    09/629757                                                 us                    27-May-03           31-Jul-20                31-Jul-00   Device And Method Of Making
                                                                                                                                                                                                                                   Methods And Devices For Improving The
                                                                                                                                                                                                                                   Performance Of Wireless Devices Using Speed And
     Goeddel 11 (TW)        Goeddel 11 (TW)-US-NP            U56757547                    09/565388                                                 us                    29-Jun-04          5-May-20                  5-May-00    Noise Metrics
                                                                                                                                                                                                                                   Methods And Devices For Estimating QAM Symbol
                                                                                                                                                                                                                                   Sequences Over Flat Fading Channels Using Multiple
      Goeddel 8 (TW)        Goeddel 8 (TW)-US-NP             US6487254                    09/306836                                                 us                    26-Nov-02          7-May-19                  7-May-99    Offset Sequences
                                                                                                                                                                                                                                   Optical Transmission Line Automatic Power Shut-
       Goel 1-1 {VP)        Goel 1-1 {VP)-US-NP              US6359708                    08/932679                                                 us                    19-Mar-02          18-Sep-17                 18-Sep-97   Down System


   Goel 2-1-1-3-1-2 {VP)    Goel 2-1-1-3-1-2 {VP)-US-NP      US6124957                    09/023583                                                 us                    26-Sep-00          13-Feb-18                 13-Feb-98   Optical Signal Translator Unit
                                                                                                                                                                                                                                   Quality Of Service Based Path Selection For
     Goel 2-3-3-16(A)       Goel 2-3-3-16 (A)-US-NP          US6661797                    09/514725                                                 us                     9-Dec-03          28-Feb-20                 28-Feb-00   Connection-Oriented Networks
        Goetz 7 (HJ         Goetz 7 (HJ-US-NP                US8373967                    11/392459           20070236864                           us                    12-Feb-13          25-Feb-31                 29-Mar-06   High-Speed Differential AC Coupling Device
                                                                                                                                                                                                                                   System And Method For Establishing PSTN Calls Via
    Goldman 12-4 (50)       Goldman 12-4 (5O)-US-NP          US8379825                    10/867086           20050276409                           us                    19-Feb-13          13-Nov-27                 14-Jun-04   An IP Request


    Goldman 15-6 (50)       Goldman 15-6 (5O)-US-NP          US7894406                    10/955089           20060072549                           us                    22-Feb-11          22-Feb-27                 30-Sep-04   System For Routing Remote VOiP Emergency Calls


                                                                                                                                                                                                                                   Mobile Forced Premature Detonation Of Improvised
  Goldman 23-4-4-12 (50)    Goldman 23-4-4-12 (5O)-US-NP     US7552670                    11/233198           20070234892                           us                    30-Jun-09          15-May-26                 22-Sep-05   Explosive Devices Via Wireless Phone Signaling


                            Goldman 33-14-14-22 (5O)-US-                                                                                                                                                                           Mobile Forced Premature Detonation Of Improvised
 Goldman 33-14-14-22 (50)   NP                               US7698981                    11/317481           20080134868                           us                    20-Apr-10           7-Aug-26                 22-Dec-05   Explosive Devices (IED) Via Noise Print Simulation
                            Goldman 39-20-20-28 (5O)-JP-
 Goldman 39-20-20-28 (50)   PCT                              JP4865857                    2009514427          2009540676                            JP                    18-Nov-11          11-Jun-27                 11-Jun-07   AutoDialer Flow Control
                            Goldman 39-20-20-28 (5O)-US-
 Goldman 39-20-20-28 (50)   NP                               US8023634                    11/452690           20070291925                           us                    20-Sep-11          15-Nov-29                 14-Jun-06   AutoDialer Flow Control
                            Goldman 39-20-20-28 (5O)-DE-
 Goldman 39-20-20-28 (50)   EPT                              EP2055113                    07809477.8          EP2055113                             DE                    16-Sep-15          11-Jun-27                 11-Jun-07   AutoDialer Flow Control
                            Goldman 39-20-20-28 (5O)-FR-
 Goldman 39-20-20-28 (50)   EPT                              EP2055113                    07809477.8          EP2055113                             FR                    16-Sep-15          11-Jun-27                 11-Jun-07   AutoDialer Flow Control
                            Goldman 39-20-20-28 (5O)-GB-
 Goldman 39-20-20-28 (50)   EPT                              EP2055113                    07809477.8          EP2055113                             GB                    16-Sep-15          11-Jun-27                 11-Jun-07   AutoDialer Flow Control
                            Goldman 43-23-23-31 (5O)-US-
 Goldman 43-23-23-31 (50)   NP                                                            11/822051           20090003617                           us                                       28-Jun-27                 28-Jun-07   Noise cancellation For Buildings And/Or Structures
  Goldman 50-31-6-30-38     Goldman 50-31-6-30-38 (5O)-US-
            (50)            NP                               US8098798                    11/590464           20080101553                           us                    17-Jan-12           5-Dec-29                 31-Oct-06   Logging Call Data For Failed Emergency calls
                            Goldman 54-35-34-42 (5O)-US-
 Goldman 54-35-34-42 (50)   NP                               US8204208                    11/626350           20080192921                           us                    19-Jun-12          22-Mar-30                 23-Jan-07   Priority Telephone Service Reversion And Notification
                            Goldman 56-37-36-44 (5O)-US-                                                                                                                                                                           Emergency Call Service With Automatic Third Party
 Goldman 56-37-36-44 (50)   NP                               US8041017                    11/725011           20080226039                           us                    18-Oct-11           26-Jul-30                16-Mar-07   Notification And/Or Bridging
                            Goldman 57-38-37-45 (5O)-US-                                                                                                                                                                           Methods And Apparatus For Measuring Performance
 Goldman 57-38-37-45 (50)   NP                               US7716534                    11/744549           20080276126                           us                    11-May-10           29-Jul-28                4-May-07    In Processing System
                                                                                                                                                                                                                                   Telecommunication Replay Service Assistance For
    Goldman 66-1 (50)       Goldman 66-1 (5O)-US-NP          US8204179                    12/104202           20090262906                           us                    19-Jun-12          20-Apr-31                 16-Apr-08   Incoming Calls


                                                                                                                                                                                                                                   Method and Apparatus For Providing User Status
                                                                                                                                                                                                                                   Information When In A Telephone Conference
    Goldman 75-49 (50)      Goldman 75-49 (5O)-EP-EPT                                     10763087.3          EP2484103                             EP                                       22-Sep-30                 22-Sep-10


                                                                                                                                                                                                                                   System And Method For Using A Window Mechanism
     Golestani 1-44 (J)     Golestani 1-44 (J)-US-NP         US6115749                    08/949718                                                 us                     5-Sep-00          14-Oct-17                 14-Oct-97   To Control Multicast Data Congestion


                                                                                                                                                                                                                                   Scalable Congestion Control Method For Multicast
      Golestani 2 (SJ)      Golestani 2 (SJ)-US-NP           US7102998                    09/273948                                                 us                     5-Sep-06          22-Mar-19                 22-Mar-99   Communications Over A DataNetwork
      Golestani 3 (SJ)      Golestani 3 (SJ)-US-NP           US6965943                    09/327347                                                 us                    15-Nov-05           5-Jun-19                 5-Jun-99    End-To-End Internet Control
                                                                                                                                                                                                                                   Method Of Transmitting Control Signals In A Digital
     Gollamudi 14 (5)       Gollamudi 14 (5)-US-NP           US7801087                    11/413763           20070253374                           us                    21-Sep-10           7-Dec-27                 27-Apr-06   Communications System
      Gollamudi 3 (5)       Gollamudi 3 (SJ-DE-EPA           EP1265376                    01309540.1          EP1265376                             DE                    19-Jan-05          12-Nov-21                 12-Nov-0l   Method For Multiple Antenna Transmission
      Gollamudi 3 (5)       Gollamudi 3 (SJ-FR-EPA           EP1265376                    01309540.1          EP1265376                             FR                    19-Jan-05          12-Nov-21                 12-Nov-0l   Method For Multiple Antenna Transmission
      Gollamudi 3 (5)       Gollamudi 3 (SJ-GB-EPA           EP1265376                    01309540.1          EP1265376                             GB                    19-Jan-05          12-Nov-21                 12-Nov-0l   Method For Multiple Antenna Transmission
      Gollamudi 3 (5)       Gollamudi 3 (5)-US-NP            US7499499                    09/873706           20020186779                           us                    3-Mar-09           9-May-24                  4-Jun-01    Method For Multiple Antenna Transmission
                                                                                                                                                                                                                                   Article Comprising Means For Mode-Selection Launch
                                                                                                                                                                                                                                   Into A Multi mode Optical Fiber, And Method For A
    Golowich 8-21 {SE)      Golowich 8-21 {SE)-US-NP         US6501884                    09/608364                                                 us                    31-Dec-02          30-Jun-20                 30-Jun-00   Mode-Selective Launch
                                                                                                                                                                                                                                   Arrangement For Controlling Peripheral Component
                                                                                                                                                                                                                                   Interconnect (PCI) Units From A Plurality Of Control
      Gomez 1-1 (JJB)       Gomez 1-1 (JJB)-US-NP            US6119193                    08/961998                                                 us                    12-Sep-00          31-Oct-17                 31-Oct-97   Processors
                                                                                                                                                                                                                                   Concurrent In-System Programming Of
       Gomez2 (JJ)          Gomez 2 (JJ)-US-NP               US7127708                    10/109083           20030187629                           us                    24-Oct-06          28-Nov-23                 28-Mar-02   Programmable Devices


                                                                                                                                                                                                                                   Methods And Systems For Remotely Controlling A
       Gomez3 (JJ)          Gomez 3 (JJ)-US-NP               US7017081                    10/259111           20040064764                           us                    21-Mar-06          13-Apr-24                 27-Sep-02   Test Access Port Of A Target Device


    Gonzalez 6-5-4 (JG)     Gonzalez 6-5-4 (JG)-US-NP        US7120210                    10/155377                                                 us                    10-Oct-06          23-Sep-24                 24-May-02   Method And System For Processing A Signal
      Goodrich 8 (RR)       Goodrich 8 (RR)-US-NP            US5906260                    08/888227                                                 us                    25-May-99            3-Jul-17                 3-Jul-97   Anti-fraud Coin Chute Device




                                                                                                                     Page 106 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0247
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 114 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                              :ia:~:A,m:::::::::::::::::
                                                              liiitiiiiii~:il\::::'::•:•
                                                                                           :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                            ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
    Goossen 73 (KW)          Goossen 73 {KW)-US-NP             US6337753                   09/217710                                                          us               8-Jan-02          21-Dec-18                 21-Dec-98   Optical Power Equalizer
                                                                                                                                                                                                                                       System And Method Of Transmission Using Coplanar
    Goossen 77 (KW)          Goossen 77 {KW)-US-NP             US6434726                   09/342809                                                          us              13-Aug-02          29-Jun-19                 29-Jun-99   Bond Wires
                                                                                                                                                                                                                                       High Speed Dedicated Physical Control Channel For
                             Gopalakrishnan 16-10-3 (NJ-US-                                                                                                                                                                            Use In Wireless Data Transmissions From Mobile
Gopalakrishnan 16-10-3 (NJ NP                               US7333457                      10/289100                     20040085936                          us              19-Feb-08           9-Sep-25                 6-Nov-02    Devices
Gopalakrishnan 5-3-5-6-14- Gopalakrishnan 5-3-5-6-14-9 (NJ-                                                                                                                                                                            Downlink And Uplink Channel Structures For
          9 (NJ              US-NP                             US7006464                   09/716105                                                          us              28-Feb-06          26-Dec-22                 17-Nov-00   Downlink Shared Channel System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-DE-EPA           EP0822726                   97305461.2                     EP0822726                           DE              22-Dec-04           22-Jul-17                22-Jul-97   System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-FI-EPA           EP0822726                   97305461.2                     EP0822726                           Fl              22-Dec-04           22-Jul-17                22-Jul-97   System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-FR-EPA           EP0822726                   97305461.2                     EP0822726                           FR              22-Dec-04           22-Jul-17                22-Jul-97   System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-IT-EPA           EP0822726                   97305461.2                     EP0822726                           IT              22-Dec-04           22-Jul-17                22-Jul-97   System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-NL-EPA           EP0822726                   97305461.2                     EP0822726                           NL              22-Dec-04           22-Jul-17                22-Jul-97   System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-SE-EPA           EP0822726                   97305461.2                     EP0822726                           SE              22-Dec-04           22-Jul-17                22-Jul-97   System
                                                                                                                                                                                                                                       Subscriber Authentication For Radio Local Loop
    Gordon 3-4-3 (M)         Gordon 3-4-3 (M)-KR-NP            KR603154                    9737431                                                            KR               13-Jul-06          31-Jul-17                31-Jul-97   System


                                                                                                                                                                                                                                       Using Internet And Internet Protocols To Bypass
                                                                                                                                                                                                                                       PSTN, GSM Map, And ANSl-41 Networks For Wireless
    Gorrepati 5-8 (PB)       Gorrepati 5-8 (PB)-US-NP          US6603761                   09/479860                                                          us               5-Aug-03           7-Jan-20                 7-Jan-00    Telephone Call Delivery


   Gottfried 3-6-1 {NL)      Gottfried 3-6-1 {NL)-US-NP        US6008715                   09/215724                                                          us              28-Dec-99          18-Dec-18                 18-Dec-98   Electro-Static Discharge {ESD) Hardened Fuse


                                                                                                                                                                                                                                       Multiple Description Transform Coding Of Audio
      Goyal 1-9 {VK)         Arean 1-2-10 (R)-US-CIP           US6253185                   09/190908                                                          us              26-Jun-0l          25-Feb-18                 12-Nov-98   Using Optimal Transforms Of Arbitrary Dimension


                                                                                                                                                                                                                                       Method Description For Transform Coding Using
      Goyal 1-9 {VK)         Goyal 1-9 {VK)-US-NP              US6345125                   09/030488                     20010016079                          us               5-Feb-02          25-Feb-18                 25-Feb-98   Optimal Transforms Of Arbitrary Dimension
                                                               ZL201080010623
    Goyal 19-7-15 (5)        Goyal 19-7-15 (5)-CN-PCT          .7                          201080010623.7                102341718                           CN               20-May-15           3-Mar-30                 3-Mar-10    Test Instruction Set Architecture


    Goyal 19-7-15 (5)        Goyal 19-7-15 (5)-DE-EPT          EP2404182                   10708456.8                     EP2404182                           DE              21-May-14           3-Mar-30                 3-Mar-10    Test Instruction Set Architecture


    Goyal 19-7-15 (5)        Goyal 19-7-15 (5)-FR-EPT          EP2404182                   10708456.8                     EP2404182                           FR              21-May-14           3-Mar-30                 3-Mar-10    Test Instruction Set Architecture


    Goyal 19-7-15 (5)        Goyal 19-7-15 (5)-GB-EPT          EP2404182                   10708456.8                     EP2404182                          GB               21-May-14           3-Mar-30                 3-Mar-10    Test Instruction Set Architecture


    Goyal 19-7-15 (5)        Goyal 19-7-15 (SJ-IN-PCT                                      6391/CHENP/2011               6391/CHENP/2011                      IN                                  3-Mar-30                 3-Mar-10    Test Instruction Set Architecture


    Goyal 19-7-15 (5)        Goyal 19-7-15 (SJ-JP-PCT         JP5489249                    2011553067                    2012519912                           JP              7-Mar-14            3-Mar-30                 3-Mar-10    Test Instruction Set Architecture


    Goyal 19-7-15 (5)        Goyal 19-7-15 (SJ-KR-PCT          KR101489550                 20117020633                                                        KR              28-Jan-15           3-Mar-30                 3-Mar-10    Test Instruction Set Architecture
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
    Goyal 19-7-15 (5)        Goyal 19-7-15 (5)-US-NP           US8533545                   12/495237                     20100229036                          us              10-Sep-13          15-Jun-31                 30-Jun-09   Multipe Instruction Types
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
                                                               ZL201080010624                                                                                                                                                          Multipe Instruction Types
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-CN-PCT       .1                          201080010624.1                CN102439470A                        CN                16-Jul-14          3-Mar-30                 3-Mar-10
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-DE-EPT       EP2404183                   10710945.6                     EP2404183                           DE              13-Aug-14           3-Mar-30                 3-Mar-10    Multipe Processors
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-FR-EPT       EP2404183                   10710945.6                     EP2404183                           FR              13-Aug-14           3-Mar-30                 3-Mar-10    Multipe Processors
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-GB-EPT       EP2404183                   10710945.6                     EP2404183                          GB               13-Aug-14           3-Mar-30                 3-Mar-10    Multipe Processors
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
                                                                                                                                                                                                                                       Multipe Instruction Types
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-IN-PCT                                   6390/CHENP/2011               6390/CHENP/2011                      IN                                  3-Mar-30                 3-Mar-10
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
                                                                                                                                                                                                                                       Multipe Instruction Types
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-JP-PCT      JP5683502                    2011553072                    2012519853                           JP              23-Jan-15           3-Mar-30                 3-Mar-10
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
                                                                                                                                                                                                                                       Multipe Instruction Types
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)12]-KR-PCT       KR101329465                 20117023268                                                        KR               7-Nov-13           3-Mar-30                 3-Mar-10
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)12]      Goyal 19-7-15 (5)-US-NP[2]        US8677198                   12/495295                     20100229042                          us              18-Mar-14          27-Nov-30                 30-Jun-09   Multiple Processors
                                                               ZL201080010625                                                                                                                                                          Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)13]      Goyal 19-7-15 (5)13]-CN-PCT       .6                          201080010625.6                102341719                           CN                1-Apr-15           3-Mar-30                 3-Mar-10    Multipe Instruction Types
                                                                                                                                                                                                                                       VERFAH REN UND VORRICHTUNG ZUR
                                                                                                                                                                                                                                       SYSTEM PRU FUNG LINTER VERWENDUNG VON SCAN-
   Goyal 19-7-15 (5)13]      Goyal 19-7-15 (5)13]-DE-EPT       EP2404184                   10717905.3                     EP2404184                           DE               2-Oct-13           3-Mar-30                 3-Mar-10    KETTEN-ZERLEGUNG


                                                                                                                                                                                                                                       PROCEDE ET APPAREIL POUR TESTER UN SYSTEME        A
   Goyal 19-7-15 (5)13]      Goyal 19-7-15 (5)13]-FR-EPT       EP2404184                   10717905.3                     EP2404184                           FR               2-Oct-13           3-Mar-30                 3-Mar-10    L'AIDE D'UNE DECOMPOSITION DE CHATNE DE TEST
                                                                                                                                                                                                                                       METHOD AND APPARATUS FOR SYSTEM TESTING
   Goyal 19-7-15 (5)13]      Goyal 19-7-15 (5)13]-GB-EPT       EP2404184                   10717905.3                     EP2404184                          GB                2-Oct-13           3-Mar-30                 3-Mar-10    USING SCAN CHAIN DECOMPOSITION
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)13]      Goyal 19-7-15 (5)13]-JP-PCT      JP5684739                    2011553080                    2012519854                           JP              23-Jan-15           3-Mar-30                 3-Mar-10    Multipe Instruction Types
                                                                                                                                                                                                                                       Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)13]      Goyal 19-7-15 (5)13]-KR-PCD       KR101533170                 20137015909                                                        KR              25-Jun-15           3-Mar-30                 3-Mar-10    Multipe Instruction Types


                                                                                                                                                                                                                                       Multiple Description Transform Coding Of Images
    Goyal 3-11-1 {VK)        Goyal 3-11-1 {VK)-US-NP           US6330370                   09/163655                     20010016080                          us              11-Dec-0l          30-Sep-18                 30-Sep-98   Using Optimal Transforms OfArbitrary Dimension
                                                                                                                                                                                                                                       Method And Apparatus For Reduced Complexity
       Goyal 4 {VK)          Goyal 4 {VK)-US-NP                US6198412                   09/234562                                                          us              6-Mar-01           20-Jan-19                 20-Jan-99   Entropy Coding
                                                                                                                                                                                                                                       Method And Apparatus For Adaptive Signal
       Goyal 5 {VK)          Goyal 5 {VK)-US-NP                US6993477                   09/590251                                                          us              31-Jan-06          10-Oct-23                 8-Jun-00    Processing Involving A Karhunen-Loeve Basis


                                                                                                                                                                                                                                       Methods And Apparatus For Lattice-Structured
    Goyal 6-1-15 {VK)        Goyal 6-1-15 {VK)-US-NP           US6594627                   09/533232                                                          us               15-Jul-03         23-Mar-20                 23-Mar-00   Multiple Description Vector Quantization Coding
                                                                                                                                                                                                                                       Surface Acoustic Wave Devices Comprising Large-
 Graebner 17-146-34 (JE)     Graebner 17-146-34 (JE)-US-NP     US6222299                   09/020752                                                          us              24-Apr-0l           9-Feb-18                 9-Feb-98    Grained Diamonds


     Graebner 18 (JE)        Graebner 18(JE)-US-NP             US6052497                   09/083415                                                          us              18-Apr-00          22-May-18                 22-May-98   System Comprising Acousto-Optic Tunable Filter
                                                                                                                                                                                                                                       Fibers With Polymeric Coatings And Methods Of
    Granstrom 1-54(J)        Granstrom 1-54 (J)-US-NP          US7385220                   10/822510                     20050227059                          us              10-Jun-08          13-May-26                 12-Apr-04   Making The Same




                                                                                                                                 Page 107 of 149
                                                                                                                                                                                                            PATENT
                                                                                                                                                                                                    REEL: 044000 FRAME: 0248
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 115 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                              :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Voicemail System Component Employment of
                                                                                                                                                                                                                                    Internet Protocol Network To Store Or Access One Or
                                                                                                                                                                                                                                    More Voicemail Messages On One Or More Storage
  Greenl-1-1-2-32(ML)        Greenl-1-1-2-32 (ML)-US-NP        US7079630                   10/099874                                                 us                     18-Jul-06         15-Mar-22                 15-Mar-02   Devices
      Greene 1 (MR)          Greene 1 (MR)-JP-NP              JP3268254                    107775                                                    JP                    11-Jan-02          19-Jan-18                 19-Jan-98   Portable Device Battery Technique
      Greene 1 (MR)          Greene 1 (MR)-DE-EPA             EP0854583                    98300055.5          EP0854583                             DE                    29-Mar-00           6-Jan-18                 6-Jan-98    Portable Device Battery Technique
      Greene 1 (MR)          Greene 1 (MR)-FR-EPA             EP0854583                    98300055.5          EP0854583                             FR                    29-Mar-00           6-Jan-18                 6-Jan-98    Portable Device Battery Technique
                                                                                                                                                                                                                                    Method For Providing On-Screen Notification Of Non-
     Gregory2-2-2 (C)        Gregory 2-2-2 (C)-US-NP          US6300966                    09/211892                                                 us                     9-Oct-01          15-Dec-18                 15-Dec-98   Visible Alarmed Network Elements


    Greywall 30-8 (DS)       Greywall 30-8 (DS)-US-NP         US6980339                    10/741491           20050134955                           us                    27-Dec-05          19-Dec-23                 19-Dec-03   Deformable MEMS Mirror
     Greywall 36 (DS)        Greywall 36 (DS)-US-NP           US7218193                    10/919134           20060033598                           us                    15-May-07          16-Aug-24                 16-Aug-04   MEMS-Based Inertial Switch


   Greywall 46-19 (DS)       Greywall 46-19 (DS)-US-NP        US7403322                    11/225777           20070058899                           us                     22-Jul-08         28-Sep-25                 13-Sep-05   MEMS-Based Alignment Of Optical Components
                                                                                                                                                                                                                                    Spot Array Generation Using A MEMS Light
   Greywall 51-29 (DS)       Greywall 51-29 (DS)-US-NP        US7468828                    11/550867           20080094682                           us                    23-Dec-08          21-Dec-26                 19-Oct-06   Modulator
     Greywall 52 (DS)        Greywall 52 (DS)-US-NP           US7485870                    11/531011           20080272306                           us                     3-Feb-09          29-Nov-26                 12-Sep-06   Pneumatic Infrared Detector
                                                                                                                                                                                                                                    Data Architecture For Fetch-Intensive Database
   Griffin 4-2-1-4-1 (TG)    Griffin 4-2-1-4-1 (TG)-US-NP     US6006216                    08/902447                                                 us                    21-Dec-99           29-Jul-17                29-Jul-97   Applications
                                                                                                                                                                                                                                    Transporting A Gigabit Per Second Data Stream Over
    Grimbergenl(SP)          Grimbergenl {SP)-US-NP           US7164688                    10/113753           20020163939                           us                    16-Jan-07          17-Mar-25                 1-Apr-02    A SDH/Sonet Network


   Grimes 86-41-26 (GJ)      Grimes 86-41-26 (GJ)-US-NP       US6402393                    09/515998                                                 us                    11-Jun-02          29-Feb-20                 29-Feb-00   Interconnection System For Optical Circuit Boards
                                                                                                                                                                                                                                    METHOD OF SUPPORTING QUALITY-OF-SERVICE
                                                                                                                                                                                                                                    APPLICATION SESSION CONTINUITY DURING INTER-
                             Grinshpun 3-35-11-3-33 (E)-US-                                                                                                                                                                         TECHNOLOGY HANDOVER USING A COMMON
Grinshpun 3-35-11-3-33 (E)   NP                               US7920523                    11/970169           20090175239                           us                     5-Apr-11          31-Dec-29                 7-Jan-08    PACKET DATA FUNCTION
       Gripp2-35 (J)         Gripp 2-35 (J)-US-NP             US7171117                    09/648822                                                 us                    30-Jan-07           7-Feb-24                 25-Aug-00   Optical Router
       Gripp2-35 (J)         Gripp 2-35 (J)-CA-NP             CA2352379                    2352379                                                   CA                    6-May-08             4-Jul-21                 4-Jul-01   Optical Router
      Gronbach 6 (5)         Gronbach 6 (5)-US-NP             US7706696                    11/437907           20070269222                           us                    27-Apr-10          25-Feb-29                 19-May-06   Pilot Tone Bias Control
                                                                                                                                                                                                                                    Methods And Apparatus For Overriding
                                                                                                                                                                                                                                    Denunciations Of Unwanted Traffic In One Or More
    Grosse 18-19 (EH)        Grosse 18-19 {EH)-IN-PCT                                      2437/CHENP/2009     2437 /CH ENP/2009                      IN                                      23-Oct-27                 23-Oct-07   Packet Networks
       Grover 1 (LK)         Grover 1 {LK)-US-NP              US6317766                    09/184540                                                 us                    13-Nov-01           2-Nov-18                 2-Nov-98    Fast Wuantum Mechanical Algorithms
                                                                                                                                                                                                                                    Solder Thieving Pad For Wave Soldered Through-Hole
     Groves 1-4-1 (EJ)       Groves 1-4-1 (EJ)-US-NP          US6292372                    09/353386                                                 us                    18-Sep-0l           15-Jul-19                15-Jul-99   Components


   Grubb 10-13-56 {SG)       Grubb 10-13-56 {SG)-US-NP        US5933438                    08/910948                                                 us                     3-Aug-99           8-Aug-17                 8-Aug-97    MultipleFiberLaserPumpSources
                                                                                                                                                                                                                                    Multiple Handset Cordless Telephone Including A
    Grundvig 14-5 (JP)       Grundvig 14-5 (JP)-US-NP         US6434394                    09/165157                                                 us                    13-Aug-02           2-Oct-18                 2-Oct-98    Ring Signal/Call Routing Module


                                                                                                                                                                                                                                    Credit-Based Adaptive Flow Control For Multi-Stage
         Gu l(GZ)            Gu 1 (GZ)-US-NP                  US6992984                    09/520677                                                 us                    31-Jan-06           7-Mar-20                 7-Mar-00    Multi-Dimensional Switching Architecture
                                                                                                                                                                                                                                    Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-IN-PCT     IN279283                     3735/CHENP/2008     3735/CHENP/2008                        IN                   17-Jan-17          26-Jan-27                 26-Jan-07   During Soft Handoff
                                                              ZL200780003314                                                                                                                                                        Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-CN-PCT     .5                           200780003314.5      101375564                             CN                    23-May-12          26-Jan-27                 26-Jan-07   During Soft Handoff
                                                                                                                                                                                                                                    Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-DE-EPT     EP1977573                    07762913.7          EP1977573                             DE                     2-Jun-10          26-Jan-27                 26-Jan-07   During Soft Handoff
                                                                                                                                                                                                                                    Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-FR-EPT     EP1977573                    07762913.7          EP1977573                             FR                     2-Jun-10          26-Jan-27                 26-Jan-07   During Soft Handoff
                                                                                                                                                                                                                                    Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-GB-EPT     EP1977573                    07762913.7          EP1977573                             GB                     2-Jun-10          26-Jan-27                 26-Jan-07   During Soft Handoff
                                                                                                                                                                                                                                    Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-KR-PCT     KR101358882                  20087018066         20080096516                           KR                    28-Jan-14          26-Jan-27                 26-Jan-07   During Soft Handoff
                                                                                                                                                                                                                                    Method Of Managing Use Of Channelization Codes
  Guethaus 3-16-17 (RJ)      Guethaus 3-16-17 (RJ)-US-NP      US7689222                    11/340527           20070178902                           us                    30-Mar-10          24-Jan-29                 27-Jan-06   During Soft Handoff
                                                                                                                                                                                                                                    Method For Recovering Emergency calls At An
     Guevara 1-1 (JM)        Guevara 1-1 (JM)-US-NP           US6519324                    09/548548                                                 us                    11-Feb-03          13-Apr-20                 13-Apr-00   Operator Position During A Position Failure


    Guinn 2-34-43 (KV)       Guinn 2-34-43 {KV)-US-NP         US6232923                    09/467664                                                 us                    15-May-0l          11-Nov-19                 11-Nov-99   Patch Antenna Construction


    Gupta 10-3-3 {SK)        Gupta 13-5-5 {SK)-US-CIP         US7302389                    10/637235           20040230430                           us                    27-Nov-07          21-Nov-25                 8-Aug-03    Automatic Assessment Of Phonological Processes
                                                                                                                                                                                                                                    Method And Apparatus For Routing A Packet Within
                                                                                                                                                                                                                                    A Plurality Of Nodes Arranged In A Line Or A Tree
     Gupta 1-3-46 (A)        Gupta 1-3-46 (A)-US-NP           US7542470                    10/404010           20040190517                           us                     2-Jun-09          30-Apr-26                 31-Mar-03   Given A Maximum Stack Depth
                                                                                                                                                                                                                                    Method And Apparatus For Managing A Random
      Gupta 4-11 (P)         Gupta 4-11 (P)-US-NP             US9131371                    11/241684           20070076631                           us                     8-Sep-15           1-Feb-32                 30-Sep-05   Access Communication System
                                                                                                                                                                                                                                    Automatic Pronunciation Scoring for Language
     Gupta 8-1-4 {SK)        Gupta 8-1-4 {SK)-US-NP           US7219059                    10/188539           20040006468                           us                    15-May-07          17-Aug-24                  3-Jul-02   Learning
                                                                                                                                                                                                                                    Method And Apparatus For Performing Link
                                                                                                                                                                                                                                    Defragmentation Subject To An Interface Rate
      Gupta 9-10 (BJ         Gupta 9-10 (BJ-US-NP             US7397815                    11/044974           20060165122                           us                     8-Jul-08          17-Nov-26                 27-Jan-05   Constraint
                                                                                                                                                                                                                                    Method And Apparatus For Providing An Interactive
  Gupta 9-2-2-19-1-2 {SK)    Gupta 9-2-2-19-1-2 {SK)-US-NP    US7299188                    10/361256           20040006461                           us                    20-Nov-07          21-Mar-25                 10-Feb-03   Language Tutor
                                                                                                                                                                                                                                    Method And Apparatus For Establishing Spanning
     Haalen 3-11 (Rv)        Haalen 3-11 (Rv)-US-NP           US8953499                    11/126504           20060268747                           us                    10-Feb-15          31-Dec-30                 11-May-05   Trees
                                                                                                                                                                                                                                    Method And Apparatus For Preventing Congestion In
     Haalen 9-16 (Rv)        Haalen 9-16 (Rv)-US-NP           US7539133                    11/387321           20070223372                           us                    26-May-09          14-Nov-27                 23-Mar-06   Load-Balancing Networks
                             Habegger 1-1-1-1-1-8 {KL)-US-
 Habegger 1-1-1-1-1-8 (KL)   NP                               US6026076                    08/920993                                                 us                    15-Feb-00          29-Aug-17                 29-Aug-97   Detecting Digital Multiplexer Faults
                                                                                                                                                                                                                                    Method And Apparatus For Providing Efficient Circuit
     Hagirahim 10 (HJ        Hagirahim 10 (HJ-US-NP           US7006490                    09/827847           20020145998                           us                    28-Feb-06          11-Sep-23                 6-Apr-01    Switch-To-Switch Communication
                                                                                                                                                                                                                                    Method And Apparatus For Providing Efficient VoIP
    Hagirahim 8-7 (HJ        Hagirahim 8-7 (HJ-US-NP          US7330460                    09/659650                                                 us                    12-Feb-08          22-Sep-24                 12-Sep-00   Gateway-To-Gateway Communication


       Hahm l(MD)            Hahm 1 (MD)-DE-EPA               EP0977355                    99305709.0          EP0977355                             DE                    21-Sep-05           20-Jul-19                20-Jul-99   Device And Method for Limiting Peaks Of A Signal


       Hahm l(MD)            Hahm 1 (MD)-FR-EPA               EP0977355                    99305709.0          EP0977355                             FR                    21-Sep-05           20-Jul-19                20-Jul-99   Device And Method for Limiting Peaks Of A Signal


       Hahm l(MD)            Hahm 1 (MD)-GB-EPA               EP0977355                    99305709.0          EP0977355                             GB                    21-Sep-05           20-Jul-19                20-Jul-99   Device And Method for Limiting Peaks Of A Signal


       Hahm l(MD)            Hahm 1 (MD)-JP-NP                JP3484375                    216067/1999         2000216654                            JP                    17-Oct-03           30-Jul-19                30-Jul-99   Device And Method for Limiting Peaks Of A Signal


       Hahm l(MD)            Hahm 1 (MD)-US-NP                US6356606                    09/126743                                                 us                    12-Mar-02           31-Jul-18                31-Jul-98   Device And Method for Limiting Peaks Of A Signal


       Hahm 5(MD)            Hahm 5 (MD)-US-NP                US6311202                    09/267451                                                 us                    30-Oct-01          12-Mar-19                 12-Mar-99   Hardware Efficient Fast Hadamard Transform Engine


                                                                                                                                                                                                                                    Border Gateway Reservation Protocol For Tree-Based
     Hahne 9-1-5 {EL)        Hahne 9-1-5 {EL)-US-NP           US6538416                    09/418702                                                 us                    25-Mar-03          15-Oct-19                 15-Oct-99   Aggregation Of Inter-Domain Reservations




                                                                                                                      Page 108 of 149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0249
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 116 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Automatic Retaining Of Speech Recognizer While
    Hai mi-Cohen 11 (R)      Hai mi-Cohen 11 (R)-US-NP        US6374221                   09/337229                                                          us              16-Apr-02          22-Jun-19                 22-Jun-99   Using Reliable Transcripts


                                                                                                                                                                                                                                      Method And Apparatus For Recording And Playing
    Hai mi-Cohen 12 (R)      Hai mi-Cohen 12 (R)-US-NP        US6233320                   09/337777                                                          us              15-May-0l          22-Jun-18                 22-Jun-98   Back A Conversation Using A Digital Wireless Phone
                                                                                                                                                                                                                                      Method And Apparatus For Noise Suppression And
   Hai mi-Cohen 13-1 (R)     Hai mi-Cohen 13-1 (R)-US-NP      US6711259                   09/444638                                                          us              23-Mar-04          22-Nov-19                 22-Nov-99   Side-Tone Generation
                                                                                                                                                                                                                                      Wireless Terminal And Wireless Telecommunications
                                                                                                                                                                                                                                      System Adapted To PreventThe Theft Of Wireless
     Hai mi-Cohen 6 (R)      Hai mi-Cohen 6 (R)-US-NP         US5983093                   08/906817                                                          us               9-Nov-99           6-Aug-17                 6-Aug-97    Service
                                                                                                                                                                                                                                      Methods And Apparatus For Digital Wireless Test
     Hai mi-Cohen 7 (R)      Hai mi-Cohen 7 (R)-US-NP         US6545616                   09/334017                                                          us               8-Apr-03          15-Jun-19                 15-Jun-99   Telephony
      Hakim 5-1 (SJ)         Hakim 5-1 (SJ)-US-NP             US6614780                   09/002481                                                          us               2-Sep-03           2-Jan-18                 2-Jan-98    Internet calling Apparatus And Method
                                                                                                                                                                                                                                      Wave Division Multiplexing Channel Telemetry By
      Hakki 17-3 (BW)        Hakki 17-3 (BW)-US-NP            US6549311                   09/353716                                                          us              15-Apr-03           14-Jul-19                14-Jul-99   Phase Modulation
      Hakki 19(BW)           Hakki 19 (BW)-US-NP              US6631003                   09/436766                                                          us               7-Oct-03           9-Nov-19                 9-Nov-99    Uncorrelated Michelson Interferometer


                                                                                                                                                                                                                                      Method And Apparatus For Conducting Subscriber's
   Halcomb 2-7-3-2 {HW)      Halcomb 2-7-3-2 {HW)-US-NP       US7039685                   09/862140                     20020174210                          us              2-May-06           14-Feb-23                 21-May-0l   Phone Testing Remotely Via The Internet


    Halcomb 3-8 {HW)         Halcomb 3-8 {HW)-US-NP           US7072824                   09/851898                     20020170030                          us               4-Jul-06          18-Mar-24                 9-May-01    Method And Apparatus For Emulating A Processor
                             Hampel 14-33-42-14 {KG)-US-
  Hampel 8-30-39-11 {KG)     DIV                              US6350335                   09/694388                                                          us              26-Feb-02          16-Feb-19                 23-Oct-00   MicrostripPhaseShifters
                                                                                                                                                                                                                                      Lockable Latch And Switch Actuator Assembly for A
       Hanas 2-7 (C)         Hanas 2-7 (C)-US-NP              US6266248                   09/436852                                                          us               24-Jul-01          9-Nov-19                 9-Nov-99    Circuit Card
      Hansen 11 (PB)         Hansen 11 (PB)-US-NP             US6034799                   08/884690                                                          us              7-Mar-00           30-Jun-17                 30-Jun-97   Tuning Source For Lightwave Systems


     Hansen 14-2 (PB)        Hansen 14-2 (PB)-US-NP           US6078418                   08/909978                                                          us              20-Jun-00          12-Aug-17                 12-Aug-97   Wavelength Locking Of Variable Dispersive Elements
                                                                                                                                                                                                                                      Optical Disfferential Phase Shift Keying Transmission
                                                                                                                                                                                                                                      System Having Multiplexing, Routing And
     Hansen 16-4 (PB)        Hansen 16-4 (PB)-US-NP           US6271950                   09/136434                                                          us               7-Aug-01          18-Aug-18                 18-Aug-98   Add/Replace Capabilities


   Hansen 17-5-12 (PB)       Hansen 17-5-12 (PB)-US-NP        US6304368                   09/231279                                                          us              16-Oct-01          15-Jan-19                 15-Jan-99   Broadband Optical Amplification System


   Hansen 2-1-2-14 (MH)      Hansen 2-1-2-14 (MH)-US-NP       US6424745                   09/081469                                                          us               23-Jul-02         19-May-18                 19-May-98   Method And Apparatus For Object Recognition
                                                                                                                                                                                                                                      Method, Apparatus And System For Improved Inter-
       Hao 1-2-4(F)          Hao 1-2-4 (F)-US-NP              US7693069                   10/629375                     20050025118                          us               6-Apr-10          18-Sep-26                 28-Jul-03   Domain Routing Convergence
     Hao 17-59-60 (F)        Hao 17-59-60 (F)-US-NP           US8054760                   12/543529                     20110044201                          us               8-Nov-11          19-Nov-29                 19-Aug-09   Line-Rate, Real-Time-Traffic Detector
                                                                                                                                                                                                                                      Testing Of Network Routers Under Given Routing
      Hao 1-8-1-1 (R)        Hao 1-8-1-1 (R)-US-NP            US6728214                   09/614434                                                          us              27-Apr-04           12-Jul-20                12-Jul-00   Protocols
                                                                                                                                                                                                                                      Method And Apparatus For Coincidence Counting For
     Hao 7-42-47-2 (F)       Hao 7-42-47-2 (F)-US-NP          US7957272                   11/372895                     20070211635                          us               7-Jun-11          11-Jun-28                 10-Mar-06   Estimating Flow Statistics


                                                                                                                                                                                                                                      Method And System For Maximizing Wavelength
   Harby 6-14-2-2-2 (RS)     Harby 6-14-2-2-2 (RS)-US-NP      US8305881                   10/919618                     20060039278                          us               6-Nov-12          15-Sep-29                 17-Aug-04   Reuse In Optically Protected WDM Networks
     Hardin 7-22 (RH)        Hardin 7-22 (RH)-US-NP           US6099575                   09/102850                                                          us               8-Aug-00          23-Jun-18                 23-Jun-98   Constraint Validity Checking


      Harrison 1 (MJ)        Harrison 1 (MJ)-US-NP            US6421071                   09/329235                                                          us               16-Jul-02         10-Jun-19                 10-Jun-99   Synchronous Scrolling Of Time Stamped Log Files


                                                                                                                                                                                                                                      Automatic Updating Of Test Management System
      Harrison 2 (MJ)        Harrison 2 (MJ)-US-NP            US6434502                   09/329689                                                          us              13-Aug-02          10-Jun-19                 10-Jun-99   With Test Results Entered Into An Electronic Logbook
                                                                                                                                                                                                                                      Apparatus For Loop Testing In A Communication
      Harsanyi 2 (SR)        Harsanyi 2 (SR)-US-NP            US6266326                   09/055471                                                          us               24-Jul-01          6-Apr-18                 6-Apr-98    System
                                                                                                                                                                                                                                      Dual Hubbed Architecture For A Communication
  Harshavardhana 15 (P)      Harshavardhana 15 (P)-US-NP      US6463033                   09/072368                                                          us               8-Oct-02           4-May-18                 4-May-98    Network
                             Harshavardhana 16-2-9 (P)-US-                                                                                                                                                                            Multivariate Rate-based Overload Control For
 Harshavardhana 16-2-9 (P)   NP                               US6327361                   09/114645                                                          us               4-Dec-01           13-Jul-18                13-Jul-98   Multiple-Class Communications Traffic
Harshavardhana 20-1-1-1-8- Harshavardhana 20-1-1-1-8-1 (P)                                                                                                                                                                            Method And Apparatus For Signaling Path
           l(P)              US-NP                            US7426179                   09/528762                                                          us              16-Sep-08          17-Mar-20                 17-Mar-00   Restoration Information In A Mesh Network
                                                                                                                                                                                                                                      Protection Scheme For Single Fiber Bidirectional
                                                                                                                                                                                                                                      Passive Optical Point-To-Multipoint Network
     Harstead 3-1 (EE)       Harstead 3-1 {EE)-US-NP          US6327400                   09/412524                                                          us               4-Dec-01           5-Oct-19                 5-Oct-99    Architectures
                                                                                                                                                                                                                                      Method And Apparatus For Performing Rapid
       Hartung 18 (J)        Hartung 18 (J)-US-NP             US6477555                   09/349263                                                          us               5-Nov-02            7-Jul-19                 7-Jul-99   Convolution
                                                                                                                                                                                                                                      Method and Apparatus for Receiving Wireless
       Hassibi 1 (BJ         Hassibi 1 (BJ-US-NP              US6600796                   09/438900                                                          us               29-Jul-03         12-Nov-19                 12-Nov-99   Transmissions Using Multiple-Antenna Arrays
                                                                                                                                                                                                                                      Method Of Wireless Communication Using Unitary
    Hassibi 2-7-1-11 (BJ     Hassibi 2-7-1-11 (BJ-DE-EPA      EP1133097                   00310080.7                     EP1133097                           DE              26-Mar-03          13-Nov-20                 13-Nov-00   Space-Time Signal Constellations
                                                                                                                                                                                                                                      Method Of Wireless Communication Using Unitary
    Hassibi 2-7-1-11 (BJ     Hassibi 2-7-1-11 (BJ-FR-EPA      EP1133097                   00310080.7                     EP1133097                           FR              26-Mar-03          13-Nov-20                 13-Nov-00   Space-Time Signal Constellations
                                                                                                                                                                                                                                      Method Of Wireless Communication Using Unitary
    Hassibi 2-7-1-11 (BJ     Hassibi 2-7-1-11 (BJ-GB-EPA      EP1133097                   00310080.7                     EP1133097                          GB               26-Mar-03          13-Nov-20                 13-Nov-00   Space-Time Signal Constellations
                                                                                                                                                                                                                                      Method Of Wireless Communication Using Unitary
    Hassibi 2-7-1-11 (BJ     Hassibi 2-7-1-11 (BJ-US-NP       US6801579                   09/643459                                                          us               5-Oct-04          22-Aug-20                 22-Aug-00   Space-Time Signal Constellations


                                                                                                                                                                                                                                      Method Of Wireless Communication Using
     Hassibi 3-8-8 (BJ       Hassibi 3-8-8 (BJ-US-NP          US6693976                   09/528973                                                          us              17-Feb-04          21-Mar-20                 21-Mar-00   Structured Unitary Space-Time Signal Constellations
                                                                                                                                                                                                                                      Method Of Multiple-Antenna Wireless
      Hassibi 4-9 (BJ        Hassibi 4-9 (BJ-US-NP            US6944236                   09/902847                     20020044611                          us              13-Sep-05           5-Oct-23                 11-Jul-0l   Communication Using Space-Time Codes


       Haueis l(M)           Haueis 1 (M)-US-NP               US6888470                   10/261085                     20040061618                          us              3-May-05           30-Sep-22                 30-Sep-02   Sensing Of Mirror Position In An Optical Switch
                                                                                                                                                                                                                                      Available Bit Rate Flow Control Algorithms For ATM
         He 1-6 (L)          He 1-6(L)-US-NP                  US6178159                   09/033030                                                          us              23-Jan-0l           2-Mar-18                 2-Mar-98    Networks
                                                                                                                                                                                                                                      Connection Admission Control And Routing By
         He 2-7 (L)          He 5-9 (L)-US-CNT                US7092395                   10/668539                     20040066785                          us              15-Aug-06          22-Apr-19                 23-Sep-03   Allocating Resources In Network Nodes
                                                                                                                                                                                                                                      Push Out Technique For Shared Memory Buffer
          He 3 (L)           He 3 (L)-US-NP                   US6704316                   09/124278                                                          us              9-Mar-04           26-Sep-20                 29-Jul-98   Management In A Network Node
                                                                                                                                                                                                                                      Unified Messaging Server And Method Bridges
                                                                                                                                                                                                                                      Multimedia Messaging Service Functions With Legacy
       Heck4-1 (JF)          Heck4-1 (JF)-DE-EPA              EP1519526                   04255474.1                     EP1519526                           DE              24-May-06           9-Sep-24                 9-Sep-04    Handsets
                                                                                                                                                                                                                                      Unified Messaging Server And Method Bridges
                                                                                                                                                                                                                                      Multimedia Messaging Service Functions With Legacy
       Heck4-1 (JF)          Heck4-1 (JF)-FR-EPA              EP1519526                   04255474.1                     EP1519526                           FR              24-May-06           9-Sep-24                 9-Sep-04    Handsets
                                                                                                                                                                                                                                      Unified Messaging Server And Method Bridges
                                                                                                                                                                                                                                      Multimedia Messaging Service Functions With Legacy
       Heck4-1 (JF)          Heck4-1 (JF)-GB-EPA              EP1519526                   04255474.1                     EP1519526                          GB               24-May-06           9-Sep-24                 9-Sep-04    Handsets
                                                                                                                                                                                                                                      Method And Apparatus For Improving Traffic
        Heer 10 (Al)         Heer 10 (AJ)-US-NP               US7746784                   11/387165                     20070223377                          us              29-Jun-10           6-Sep-28                 23-Mar-06   Distribution in Load-Balancing Networks
                                                                                                                                                                                                                                      Method and Apparatus for Using Multiple, Co-
       Heer 15 (DN)          Heer 15 (DN)-US-NP               US6341328                   09/295010                                                          us              22-Jan-02          20-Apr-19                 20-Apr-99   Dependent DMAControllers




                                                                                                                                Page 109 of 149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0250
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 117 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                             :ia:~:A,m:::::::::::::::::
                                                             liiitiiiiii~:il\::::'::•:•
                                                                                          :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                           ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Managing Scrambling Codes During Serving Radio
    Hempel 1-18-7 (T)       Hempel 1-18-7 (T)-US-NP           US7443819                   11/087151                     20060215625                          us              28-Oct-08          28-Apr-26                 23-Mar-05   Network Subsystem Relocation
                                                                                                                                                                                                                                      Mechanism To Resume Filter Criteria At Specific
   Henrikson 13-3 (EH)      Henrikson 13-3 {EH)-US-NP         US9094411                   12/148100                     20090262920                          us               28-Jul-15          7-Sep-32                 16-Apr-08   Point
     Hernandez 1 (G)        Hernandez 1 (G)-US-NP             US6545690                   09/407876                                                          us               8-Apr-03          29-Sep-19                 29-Sep-99   Liaison Interface
     Hernandez 2 (G)        Hernandez 2 (G)-US-NP             US6658646                   09/407890                                                          us               2-Dec-03          29-Sep-19                 29-Sep-99   Multiple Interface Scripting Language
     Hernandez 3 (G)        Hernandez 3 (G)-US-NP             US6651241                   09/407885                                                          us              18-Nov-03          29-Sep-19                 29-Sep-99   Scriptor And Interpreter


                                                                                                                                                                                                                                      Technology To Create/Edit/Run An Executable File On
     Hernandez 3 (G)        Hernandez 6 (G)-US-CIP            US7343586                   09/722576                                                          us              11-Mar-08          31-May-21                 28-Nov-00   A Host Via A Web Browser Connected Thereto
                                                                                                                                                                                                                                      Technology To Translate Non-Text Display
                                                                                                                                                                                                                                      Generation Data Representing An Indicator Into Text
     Hernandez 4 (G)        Hernandez 4 (G)-US-NP             US7080319                   09/407878                                                          us               18-Jul-06         29-Sep-19                 29-Sep-99   Variables


Hernandez-Valencia 10-1-4- Hernandez-Valencia 10-1-4-21                                                                                                                                                                               Method And Apparatus For Congestion Control For
           21 (E)           (E)-US-NP                         US6747953                   09/578071                                                          us               8-Jun-04          24-May-20                 24-May-00   Packet-Based Networks Using call Blocking


                                                                                                                                                                                                                                      Method And Apparatus For Congestion Control For
Hernandez-Valencia 13-4-7- Hernandez-Valencia 13-4-7-24                                                                                                                                                                               Packet-Based Networks Using Call Gapping And
           24 (E)           (E)-US-NP                         US6980517                   09/577515                                                          us              27-Dec-05          24-May-20                 24-May-00   Rerouting In the Peripheral Domain
                                                                                                                                                                                                                                      A Non-Conformance Indicator For The Guaranteed
 Hernandez-Valencia 5 (E)   Hernandez-Valencia 5 (E)-US-NP    US6266327                   09/045351                                                          us               24-Jul-01         20-Mar-18                 20-Mar-98   Frame Rate Service
                                                                                                                                                                                                                                      Enhanced Orcuit Pack Heat Transfer Using Vortex
       Hernon 5 (DJ         Hernon 5 (DJ-US-NP                US7961462                   12/473657                     20100302730                          us              14-Jun-11          18-Aug-29                 28-May-09   Generators
                                                                                                                                                                                                                                      Apparatus And Method For Reducing The Effects Of
                                                                                                                                                                                                                                      Intermodulation Interference In A Cellular Radio
       Herrig2 (HW)         Herrig 2 {HW)-US-NP               US6470183                   09/431785                                                          us              22-Oct-02           2-Nov-19                 2-Nov-99    System
                                                                                                                                                                                                                                      Method For Determining Cellular Radio Channel
                                                                                                                                                                                                                                      Assignments To Minimize Interference Due To
       Herrig3 (HW)         Herrig 3 {HW)-US-NP               US6539203                   09/431792                                                          us              25-Mar-03           2-Nov-19                 2-Nov-99    Intermodulation Products


                                                                                                                                                                                                                                      Apparatus And Method To Reduce The Reuse Factor
       Herrig4(HW)          Herrig 4 {HW)-US-NP               US6591108                   09/519816                                                          us               8-Jul-03           6-Mar-20                 6-Mar-00    For Adaptive-Dynamic Channel Assignment Systems
                                                                                                                                                                                                                                      Test Generator For Converting A Model Of Computer
                                                                                                                                                                                                                                      Component Object Behavior And Stimulus Values To
        Hess 2 (GC)         Hess 2 (GC)-US-NP                 US7076713                   09/702963                                                          us               11-Jul-06         16-Oct-23                 31-Oct-00   Test Script
                                                                                                                                                                                                                                      Temperature Compensated Coaxial cavity Resonator
     Hesselbarth 7 (J)      Hesselbarth 7 (J)-DE-EPA          EP2083471                   08101021.7                     EP2083471                           DE              15-Dec-10          28-Jan-28                 28-Jan-08   Using Anisotropic Material
                                                                                                                                                                                                                                      Temperature Compensated Coaxial cavity Resonator
     Hesselbarth 7 (J)      Hesselbarth 7 (J)-FR-EPA          EP2083471                   08101021.7                     EP2083471                           FR              15-Dec-10          28-Jan-28                 28-Jan-08   Using Anisotropic Material
                                                                                                                                                                                                                                      Temperature Compensated Coaxial cavity Resonator
     Hesselbarth 7 (J)      Hesselbarth 7 (J)-GB-EPA          EP2083471                   08101021.7                     EP2083471                          GB               15-Dec-10          28-Jan-28                 28-Jan-08   Using Anisotropic Material


                                                                                                                                                                                                                                      Detection And Compensation Of lngressing Frame
    Hessler 1-1-1-3 (P)     Hessler 1-1-1-3 (P)-US-NP         US7200157                   09/937367                                                          us               3-Apr-07          28-Mar-20                 28-Mar-00   Offset Discontinuities For Tandem Connection Trails
                                                                                                                                                                                                                                      Enhanced Multiframe Alignment For Tandem
    Hessler 2-2-2-4 (P)     Hessler 2-2-2-4 (P)-AU-NP        AU744601                     55062/00                                                          AU               13-Jun-02          31-Aug-20                 31-Aug-00   Connection Trials
                                                                                                                                                                                                                                      Enhanced Multiframe Alignment For Tandem
    Hessler 2-2-2-4 (P)     Hessler2-2-2-4 (P)-DE-EPA         EP1083690                   99307104.2                     EP1083690                           DE              24-May-06           7-Sep-19                 7-Sep-99    Connection Trials
                                                                                                                                                                                                                                      Enhanced Multiframe Alignment For Tandem
    Hessler 2-2-2-4 (P)     Hessler2-2-2-4 (P)-FR-EPA         EP1083690                   99307104.2                     EP1083690                           FR              24-May-06           7-Sep-19                 7-Sep-99    Connection Trials
                                                                                                                                                                                                                                      Enhanced Multiframe Alignment For Tandem
    Hessler 2-2-2-4 (P)     Hessler2-2-2-4 (P)-GB-EPA         EP1083690                   99307104.2                     EP1083690                          GB               24-May-06           7-Sep-19                 7-Sep-99    Connection Trials
                                                                                                                                                                                                                                      Enhanced Multiframe Alignment For Tandem
    Hessler 2-2-2-4 (P)     Hessler2-2-2-4 (P)-JP-NP         JP4629201                    2000270152                                                         JP              19-Nov-10           6-Sep-20                 6-Sep-00    Connection Trials
                                                                                                                                                                                                                                      Enhanced Multiframe Alignment For Tandem
    Hessler 2-2-2-4 (P)     Hessler2-2-2-4 (P)-US-NP          US6798748                   09/655249                                                          us              28-Sep-04           5-Sep-20                 5-Sep-00    Connection Trials
                                                                                                                                                                                                                                      Enhanced Multiframe Processing For Tandem
                                                                                                                                                                                                                                      Connection Trails With Transmission Of Protection
    Hessler 3-3-3-5 (P)     Hessler3-3-3-5 (P)-AU-NP         AU745023                     55069/00                                                          AU               20-Jun-02          31-Aug-20                 31-Aug-00   Schemes
                                                                                                                                                                                                                                      Enhanced Multiframe Processing For Tandem
                                                                                                                                                                                                                                      Connection Trails With Transmission Of Protection
    Hessler 3-3-3-5 (P)     Hessler3-3-3-5 (P)-DE-EPA         EP1083691                   99307111.7                     EP1083691                           DE               2-Jul-08           7-Sep-19                 7-Sep-99    Schemes
                                                                                                                                                                                                                                      Enhanced Multiframe Processing For Tandem
                                                                                                                                                                                                                                      Connection Trails With Transmission Of Protection
    Hessler 3-3-3-5 (P)     Hessler3-3-3-5 (P)-FR-EPA         EP1083691                   99307111.7                     EP1083691                           FR               2-Jul-08           7-Sep-19                 7-Sep-99    Schemes
                                                                                                                                                                                                                                      Enhanced Multiframe Processing For Tandem
                                                                                                                                                                                                                                      Connection Trails With Transmission Of Protection
    Hessler 3-3-3-5 (P)     Hessler3-3-3-5 (P)-GB-EPA         EP1083691                   99307111.7                     EP1083691                          GB                2-Jul-08           7-Sep-19                 7-Sep-99    Schemes
                                                                                                                                                                                                                                      Enhanced Multiframe Processing For Tandem
                                                                                                                                                                                                                                      Connection Trails With Transmission Of Protection
    Hessler 3-3-3-5 (P)     Hessler3-3-3-5 (P)-JP-NP         JP4579391                    2000270153                                                         JP               3-Sep-10           6-Sep-20                 6-Sep-00    Schemes
                                                                                                                                                                                                                                      Enhanced Multiframe Processing For Tandem
                                                                                                                                                                                                                                      Connection Trails With Transmission Of Protection
    Hessler 3-3-3-5 (P)     Hessler3-3-3-5 (P)-US-NP          US6807152                   09/655250                                                          us              19-Oct-04           5-Sep-20                 5-Sep-00    Schemes


     Heyningen 1-2 (P)      Heyningen 1-2 (P)-US-NP           US6970480                   09/933062                     20020021662                          us              29-Nov-05          18-Dec-23                 20-Aug-0l   Protection Switching For DuplexAtm-Pon Systems


                                                                                                                                                                                                                                      Method And System For Support Of Overlapping IP
                                                                                                                                                                                                                                      Addresses Between An Interworking Function And A
      Hiller 16-9 (TL)      Hiller 16-9 (TL)-US-NP            US6445922                   09/461881                                                          us               3-Sep-02          15-Dec-19                 15-Dec-99   Mobile IP Foreign Agent
                                                                                                                                                                                                                                      A System To Improve The Performance Of Tape
    Hillyer 3-16-27 (BK)    Hillyer 3-16-27 (BK)-US-NP        US6282607                   08/936495                                                          us              28-Aug-01          18-Sep-17                 18-Sep-97   Storage Systems
                                                                                                                                                                                                                                      Routing Internet Communications Using Network
      Hilt5-18-1 (VJ        Hilt 5-18-1 (VJ-US-NP             US7948917                   11/260890                     20070097951                          us              24-May-11          20-Feb-29                 27-Oct-05   Coordinates
       Hilt 6-12 (VJ        Hilt 6-12 (VJ-JP-PCT             JP5137941                    2009-503077                   2009532947                           JP              22-Nov-12          30-Mar-27                 30-Mar-07   Network Load Balancing And Overload Control
       Hilt 6-12 (VJ        Hilt 6-12 (V)-US-CNT                                          14/939587                     20160065475                          us                                 31-Mar-26                 12-Nov-15   Network Load Balancing And Overload Control
       Hilt 6-12 (VJ        Hilt 6-12 (VJ-US-NP               US9219686                   11/395455                     20070233896                          us              22-Dec-15           2-Sep-31                 31-Mar-06   Network Load Balancing And Overload Control
     Hitzeman 1 (BP)        Hitzeman 1 (BP)-US-NP             US6760312                   09/451327                                                          us               6-Jul-04          30-Nov-19                 30-Nov-99   Quality Of Service On Demand
                                                                                                                                                                                                                                      Method And Apparatus For Detection And Decoding
                                                                                                                                                                                                                                      Of Signals Received From A Linear Propagation
   Hochwald 11-22 (BM)      Hochwald 11-22 (BM)-US-NP         US7236536                   10/205706                     20030076890                          us              26-Jun-07          22-Dec-24                 26-Jul-02   Channel
                            Hochwald 4-6-10-5-4 (BM)-DE-                                                                                                                                                                              Wireless Transmission Method For Antenna Arrays
 Hochwald 4-6-10-5-4 (BM)   EPA                               EP1009124                   99309613.0                     EP1009124                           DE               4-Dec-02          30-Nov-19                 30-Nov-99   Using Unitary Space-Time Signals
                            Hochwald 4-6-10-5-4 (BM)-FR-                                                                                                                                                                              Wireless Transmission Method For Antenna Arrays
 Hochwald 4-6-10-5-4 (BM)   EPA                               EP1009124                   99309613.0                     EP1009124                           FR               4-Dec-02          30-Nov-19                 30-Nov-99   Using Unitary Space-Time Signals
                            Hochwald 4-6-10-5-4 (BM)-JP-                                                                                                                                                                              Wireless Transmission Method For Antenna Arrays
 Hochwald 4-6-10-5-4 (BM)   NP                               JP3604981                    11346884                                                           JP               8-Oct-04           6-Dec-19                 6-Dec-99    Using Unitary Space-Time Signals
                            Hochwald 4-6-10-5-4 (BM)-US-                                                                                                                                                                              Wireless Transmission Method For Antenna Arrays
 Hochwald 4-6-10-5-4 (BM)   NP                                US6363121                   09/206843                                                          us              26-Mar-02           7-Dec-18                 7-Dec-98    Using Unitary Space-Time Signals




                                                                                                                                Page110of149
                                                                                                                                                                                                           PATENT
                                                                                                                                                                                                   REEL: 044000 FRAME: 0251
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 118 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                          liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                               :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                     Method For Wireless Differential Communication
    Hochwald 6-8 (BM)        Hochwald 6-8 (BM)-DE-EPA          EP1069723                    00305565.4          EP1069723                             DE                    31-Aug-11            3-Jul-20                 3-Jul-00   Using Multiple Transmitter Antennas


                                                                                                                                                                                                                                     Method For Wireless Differential Communication
    Hochwald 6-8 (BM)        Hochwald 6-8 (BM)-FR-EPA          EP1069723                    00305565.4          EP1069723                             FR                    31-Aug-11            3-Jul-20                 3-Jul-00   Using Multiple Transmitter Antennas


                                                                                                                                                                                                                                     Method For Wireless Differential Communication
    Hochwald 6-8 (BM)        Hochwald 6-8 (BM)-GB-EPA          EP1069723                    00305565.4          EP1069723                             GB                    31-Aug-11            3-Jul-20                 3-Jul-00   Using Multiple Transmitter Antennas


                                                                                                                                                                                                                                     Method For Wireless Differential Communication
    Hochwald 6-8 (BM)        Hochwald 6-8 (BM)-JP-NP           JP4657423                    2000214304                                                JP                     7-Jan-11           14-Jul-20                14-Jul-00   Using Multiple Transmitter Antennas


                                                                                                                                                                                                                                     Method For Wireless Differential Communication
    Hochwald 6-8 (BM)        Hochwald 6-8 (BM)-US-NP           US6724842                    09/356387                                                 us                    20-Apr-04           16-Jul-19                16-Jul-99   Using Multiple Transmitter Antennas


   Hodes 17-3-1-2 (MS)       Hodes 17-3-1-2 (MS)-US-NP         US7825324                    11/618056           20080155992                           us                     2-Nov-10          28-Oct-27                 29-Dec-06   Spreading ThermoElectric Coolers


    Hodes 21-37-9 (MS)       Hodes 21-37-9 (MS)-IN-PCT                                      2084/DELNP/2010     2084/DELNP/2010                        IN                                      22-Sep-28                 22-Sep-08   Recirculating Gas Rack Cooling Architecture


    Hodes 21-37-9 (MS)       Hodes 21-37-9 (MS)-US-NP          US9025330                    11/865020           20090086434                           us                    5-May-15           22-Nov-27                 30-Sep-07   Recirculating Gas Rack Cooling Architecture


    Hodes 21-37-9 (MS)       Hodes 21-37-9 (MS)-JP-PCT         JP5576282                    2010526913          2010541238                            JP                     11-Jul-14         22-Sep-28                 22-Sep-08   Recirculating Gas Rack Cooling Architecture


      Hodes 28 (MS)          Hodes 28 (MS)-IN-PCT                                           149/DELNP/2011      149/DELNP/2011                         IN                                      29-Jun-29                 29-Jun-09   Stackable Thermoelectric Modules
      Hodes 28 (MS)          Hodes 28 (MS)-JP-PCT              JP5702280                    2011518706          2011528189                            JP                    27-Feb-15          29-Jun-29                 29-Jun-09   Stackable Thermoelectric Modules
                                                               ZL200980127527
      Hodes 28 (MS)          Hodes 28 (MS)-CN-PCT              .8                           200980127527.8      102089895                             CN                    17-Sep-14          29-Jun-29                 29-Jun-09   Stackable Thermoelectric Modules
      Hodes 28 (MS)          Hodes 28 (MS)-DE-EPT              EP2313937                    09788846.5          EP2313937                             DE                    19-Mar-14          29-Jun-29                 29-Jun-09   Stacked Thermoelectric Modules
      Hodes 28 (MS)          Hodes 28 (MS)-FR-EPT              EP2313937                    09788846.5          EP2313937                             FR                    19-Mar-14          29-Jun-29                 29-Jun-09   Stacked Thermoelectric Modules
      Hodes 28 (MS)          Hodes 28 (MS)-GB-EPT              EP2313937                    09788846.5          EP2313937                             GB                    19-Mar-14          29-Jun-29                 29-Jun-09   Stacked Thermoelectric Modules
                                                               ZL200780029457                                                                                                                                                        Method Of Predicting Transmission Speed
     Hoekstra 8-6 (GJ)       Hoekstra 8-6 (GJ)-CN-PCT          .3                           200780029457.3      101502155                             CN                    30-Nov-11           26-Jul-27                26-Jul-07   Adaptations
                                                                                                                                                                                                                                     Method Of Predicting Transmission Speed
     Hoekstra 8-6 (GJ)       Hoekstra 8-6 (GJ)-DE-EPT          EP2052573                    07810798.4          EP2052573                             DE                     7-Jul-10           26-Jul-27                26-Jul-07   Adaptations
                                                                                                                                                                                                                                     Method Of Predicting Transmission Speed
     Hoekstra 8-6 (GJ)       Hoekstra 8-6 (GJ)-FR-EPT          EP2052573                    07810798.4          EP2052573                             FR                     7-Jul-10           26-Jul-27                26-Jul-07   Adaptations
                                                                                                                                                                                                                                     Method Of Predicting Transmission Speed
     Hoekstra 8-6 (GJ)       Hoekstra 8-6 (GJ)-GB-EPT          EP2052573                    07810798.4          EP2052573                             GB                     7-Jul-10           26-Jul-27                26-Jul-07   Adaptations
                                                                                                                                                                                                                                     Method Of Predicting Transmission Speed
     Hoekstra 8-6 (GJ)       Hoekstra 8-6 (GJ)-KR-PCT          KR101106879                  20097002504                                               KR                    10-Jan-12           26-Jul-27                26-Jul-07   Adaptations
                                                                                                                                                                                                                                     Method Of Predicting Transmission Speed
     Hoekstra 8-6 (GJ)       Hoekstra 8-6 (GJ)-US-NP           US7693097                    11/463389           20080039038                           us                     6-Apr-10          31-Aug-27                 9-Aug-06    Adaptations
                                                                                                                                                                                                                                     Method And Apparatus For Improving The Quality Of
                                                                                                                                                                                                                                     Speech Signals Transmitted Over Wireless
  Hoffbeck 1-13-1-5-2 (JP)   Hoffbeck 1-13-1-5-2 (JP)-DE-EPA EP0984570                      99306658.8          EP0984570                             DE                     6-Dec-06          23-Aug-19                 23-Aug-99   Communication Facilities
                                                                                                                                                                                                                                     Method And Apparatus For Improving The Quality Of
                                                                                                                                                                                                                                     Speech Signals Transmitted Over Wireless
  Hoffbeck 1-13-1-5-2 (JP)   Hoffbeck 1-13-1-5-2 (JP)-ES-EPA   EP0984570                    99306658.8          EP0984570                             ES                     6-Dec-06          23-Aug-19                 23-Aug-99   Communication Facilities
                                                                                                                                                                                                                                     Method And Apparatus For Improving The Quality Of
                                                                                                                                                                                                                                     Speech Signals Transmitted Over Wireless
  Hoffbeck 1-13-1-5-2 (JP)   Hoffbeck 1-13-1-5-2 (JP)-FR-EPA EP0984570                      99306658.8          EP0984570                             FR                     6-Dec-06          23-Aug-19                 23-Aug-99   Communication Facilities
                                                                                                                                                                                                                                     Method And Apparatus For Improving The Quality Of
                                                                                                                                                                                                                                     Speech Signals Transmitted Over Wireless
  Hoffbeck 1-13-1-5-2 (JP)   Hoffbeck 1-13-1-5-2 (JP)-GB-EPA EP0984570                      99306658.8          EP0984570                             GB                     6-Dec-06          23-Aug-19                 23-Aug-99   Communication Facilities
                                                                                                                                                                                                                                     Method And Apparatus For Improving The Quality Of
                                                                                                                                                                                                                                     Speech Signals Transmitted Over Wireless
  Hoffbeck 1-13-1-5-2 (JP)   Hoffbeck 1-13-1-5-2 (JP)-IT-EPA   EP0984570                    99306658.8          EP0984570                              IT                    6-Dec-06          23-Aug-19                 23-Aug-99   Communication Facilities
                                                                                                                                                                                                                                     Method And Apparatus For Improving The Quality Of
                                                                                                                                                                                                                                     Speech Signals Transmitted Over Wireless
  Hoffbeck 1-13-1-5-2 (JP)   Hoffbeck 1-13-1-5-2 (JP)-US-NP    US6445686                    09/146788                                                 us                     3-Sep-02           3-Sep-18                 3-Sep-98    Communication Facilities
                                                                                                                                                                                                                                     Integrated On-Board Automated Alignment For Low
     Hoffmann 1-15 (5)       Hoffmann 1-15 (5)-US-NP           US6236286                    09/327538                                                 us                    22-May-0l           8-Jun-19                 8-Jun-99    Distortion Amplifier


                                                                                                                                                                                                                                     Intermodulation Distortion Identification And
      Hoffmann 3 (5)         Hoffmann 3 (5)-US-NP              US7436900                    09/820146           20020141509                           us                    14-Oct-08          20-Sep-25                 28-Mar-01   Quantization Circuit For A Linear Amplifier System
     Holland 11 (WR)         Holland 11 (WR)-US-NP             US6519026                    09/369915                                                 us                    11-Feb-03           6-Aug-19                 6-Aug-99    Optical Time-Domain Reflectometer (OTDR)
                                                                                                                                                                                                                                     Test And Measurement System For Detecting And
                                                                                                                                                                                                                                     Monitoring Faults And Losses In Passive Optical
     Holland 17 (WR)         Holland 17 (WR)-US-NP             US6396575                    09/584588                                                 us                    28-May-02          31-May-20                 31-May-00   Networks
                                                                                                                                                                                                                                     Method And Apparatus For Testing Event Driven
  Holzmann 14-11-5 (GJ)      Holzmann 14-11-5 (GJ)-US-NP       US6353896                    09/211967                                                 us                    5-Mar-02           15-Dec-18                 15-Dec-98   Software
      Hostetler 1 (LB)       Hostetler 1 (LBJ-US-NP            US7929684                    10/628714           20050025303                           us                    19-Apr-11           7-Oct-29                 28-Jul-03   High Availability Multi-Tenant Feature
                                                                                                                                                                                                                                     Distributed Call Admission And Load Balancing
      Houck4-2 (DJ)          Houck 4-2 (DJ)-US-NP              U56778496                    09/589304                                                 us                    17-Aug-04           7-Jun-20                 7-Jun-00    Method And Apparatus For Packet Networks
                                                                                                                                                                                                                                     Method Of Rejecting Radio Links Based On Timing
      Houweling 1 (T)        Houweling 1 (T)-US-NP             US8532651                    12/956397           20120135727                           us                    10-Sep-13          12-Jun-31                 30-Nov-10   Information Regarding A Detected Cell
                                                                                                                                                                                                                                     Method And Apparatus To Automatically Back Up
       Howell 1 (RE)         Howell 1 (RE)-US-NP               US6363498                    08/975382                                                 us                    26-Mar-02          20-Nov-17                 20-Nov-97   Switching System Files
                                                                                                                                                                                                                                     Method For Document Comparison And Classification
      Hu 12-5-12 (J)         Hu 12-5-12 (J)-US-NP              US6542635                    09/391713                                                 us                     1-Apr-03           8-Sep-19                 8-Sep-99    Using Document Image


      Hu 15-8-3-20 (J)       Hu 15-8-3-20 (J)-US-NP            US7054871                    09/734057                                                 us                    30-May-06           8-Mar-23                 11-Dec-00   Method For Identifying And Using Table Structures
                                                                                                                                                                                                                                     In-Band Flow Control Methods for Communications
        Hu 7-4 (TH)          Hu 7-4 (TH)-KR-NP                 KR101011936                  20030029450                                               KR                    25-Jan-11          9-May-23                  9-May-03    Systems
                                                                                                                                                                                                                                     In-Band Flow Control Methods For Communications
        Hu 7-4 (TH)          Hu 7-4 (TH)-US-NP                 US8089879                    10/145514           20030214906                           us                     3-Jan-12          25-Jan-26                 15-May-02   Systems


                                                                                                                                                                                                                                     On-Demand Dynamically Updated User Database &
        Hua 15-2 (5)         Hua 15-2 (5)-US-NP                US7106702                    10/158815           20030223386                           us                    12-Sep-06           4-Mar-25                 31-May-02   AAA Function For High Reliability Networks


                                                                                                                                                                                                                                     Method And Apparatus For Providing Distributed SLF
                                                                                                                                                                                                                                     Routing Capability In An Internet Multimedia
        Hua 17-4 (5)         Hua 17-4 (5)-JP-NP                JP4762658                    2005287625          2006109478                            JP                    17-Jun-11          30-Sep-25                 30-Sep-05   Subsystem (IMS) Network


                                                                                                                                                                                                                                     Method And Apparatus For Providing Distributed SLF
                                                                                                                                                                                                                                     Routing Capability In An Internet Multimedia
        Hua 17-4 (5)         Hua 17-4 (5)-CN-NP                ZL10107176.8                 200510107176.8      CN1758634A                            CN                     1-Dec-10          28-Sep-25                 28-Sep-05   Subsystem (IMS) Network




                                                                                                                       Page 111 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0252
                           Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 119 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                        liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                             :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                   Method And Apparatus For Providing Distributed SLF
                                                                                                                                                                                                                                   Routing Capability In An Internet Multimedia
        Hua 17-4 (5)         Hua 17-4 (SJ-DE-EPA              EP1643719                   05255916.8          EP1643719                             DE                    25-Apr-07          22-Sep-25                 22-Sep-05   Subsystem (IMS) Network


                                                                                                                                                                                                                                   Method And Apparatus For Providing Distributed SLF
                                                                                                                                                                                                                                   Routing Capability In An Internet Multimedia
        Hua 17-4 (5)         Hua 17-4 (SJ-FR-EPA              EP1643719                   05255916.8          EP1643719                             FR                    25-Apr-07          22-Sep-25                 22-Sep-05   Subsystem (IMS) Network


                                                                                                                                                                                                                                   Method And Apparatus For Providing Distributed SLF
                                                                                                                                                                                                                                   Routing Capability In An Internet Multimedia
        Hua 17-4 (5)         Hua 17-4 (SJ-GB-EPA             EP1643719                    05255916.8          EP1643719                             GB                    25-Apr-07          22-Sep-25                 22-Sep-05   Subsystem (IMS) Network


                                                                                                                                                                                                                                   Method And Apparatus For Providing Distributed SLF
                                                                                                                                                                                                                                   Routing Capability In An Internet Multimedia
        Hua 17-4 (5)         Hua 17-4 (5)-US-NP              US7453876                    10/956858           20060067338                           us                    18-Nov-08           4-May-26                 30-Sep-04   Subsystem (IMS) Network
                                                                                                                                                                                                                                   Code Division Multiple Access Communication With
    Huang 10-5-29 (HCJ       Huang 10-5-29 (HCJ-DE-EPA       EP0969610                    99304917.0          EP0969610                             DE                    31-Dec-08          23-Jun-19                 23-Jun-99   Enhanced Multipath Diversity
                                                                                                                                                                                                                                   Code Division Multiple Access Communication With
    Huang 10-5-29 (HCJ       Huang 10-5-29 (HCJ-FR-EPA       EP0969610                    99304917.0          EP0969610                             FR                    31-Dec-08          23-Jun-19                 23-Jun-99   Enhanced Multipath Diversity
                                                                                                                                                                                                                                   Code Division Multiple Access Communication With
    Huang 10-5-29 (HCJ       Huang 10-5-29 (HCJ-GB-EPA       EP0969610                    99304917.0          EP0969610                             GB                    31-Dec-08          23-Jun-19                 23-Jun-99   Enhanced Multipath Diversity
                                                                                                                                                                                                                                   Code Division Multiple Access Communication With
    Huang 10-5-29 (HCJ       Huang 10-5-29 (HCJ-US-NP        US6373832                    09/108775                                                 us                    16-Apr-02            2-Jul-18                 2-Jul-98   Enhanced Multipath Diversity
                             Huang 1-1-1-2-1-17-1 (RY)-US-                                                                                                                                                                         Process For Improving Device Yield In Integrated
 Huang 1-1-1-2-1-17-1 (RY)   NP                              US5950096                    08/935362                                                 us                     7-Sep-99          22-Sep-17                 22-Sep-97   Circuit Fabrication
                                                                                                                                                                                                                                   High-Speed Data Services Using Multiple Transmit
      Huang 13 (HCJ          Foschini 9-14-5 (GJ)-CA-PCT     CA2377539                    2377539                                                   CA                     2-Dec-08          16-Jun-20                 16-Jun-00   Antennas
                                                                                                                                                                                                                                   High-Speed Data Services Using Multiple Transmit
      Huang 13 (HCJ          Foschini 9-14-5 (GJ)-CN-PCT     ZL00810923.0                 00810923.0          CN1399819A                            CN                    15-Apr-09          16-Jun-20                 16-Jun-00   Antennas
                                                                                                                                                                                                                                   High-Speed Data Services Using Multiple Transmit
      Huang 13 (HCJ          Foschini 9-14-5 (GJ)-DE-EPT     EP1190506                    00942895.4          EP1190506                             DE                    14-Dec-11          16-Jun-20                 16-Jun-00   Antennas
                                                                                                                                                                                                                                   High-Speed Data Services Using Multiple Transmit
      Huang 13 (HCJ          Foschini 9-14-5 (GJ)-FR-EPT     EP1190506                    00942895.4          EP1190506                             FR                    14-Dec-11          16-Jun-20                 16-Jun-00   Antennas
                                                                                                                                                                                                                                   High-Speed Data Services Using Multiple Transmit
      Huang 13 (HCJ          Foschini 9-14-5 (GJ)-GB-EPT     EP1190506                    00942895.4          EP1190506                             GB                    14-Dec-11          16-Jun-20                 16-Jun-00   Antennas
                                                                                                                                                                                                                                   High-Speed Data Services Using Multiple Transmit
      Huang 13 (HCJ          Foschini 9-14-5 (GJ)-JP-PCT     JP4855615                    2001506165          2003503887                            JP                     4-Nov-11          16-Jun-20                 16-Jun-00   Antennas
                                                                                                                                                                                                                                   High-Speed Data Services Using Mutliple Transmit
      Huang 13 (HCJ          Huang 13 (HCJ-US-NP             US6370129                    09/587345                                                 us                     9-Apr-02           5-Jun-20                 5-Jun-00    Antennas
                                                                                                                                                                                                                                   An Antenna Configuration for a Hybrid Inner/Outer
    Huang 1-3-1-1-2 (J)      Huang 1-3-1-1-2 (J)-US-NP       US6351654                    09/167186                                                 us                    26-Feb-02           6-Oct-18                 6-Oct-98    Sectored Cell


                                                                                                                                                                                                                                   Fiber Filter To Improve Return Loss At Signal Band Of
       Huang 16 (5)          Huang 16(5)-US-NP               US6256138                    09/479831                                                 us                     3-Jul-01           7-Jan-20                 7-Jan-00    A Fiber Amplifier For Pump Laser Modules
                                                                                                                                                                                                                                   Error Correction Trellis Coding With Periodically
       Huang 2-1 (DJ         Huang 2-1 (DJ-US-NP             US7225392                    10/090371           20030167441                           us                    29-May-07          25-May-23                 4-Mar-02    Inserted Known Symbols


        Huang 3 (DJ          Huang 3 (DJ-US-NP               US7170946                    10/090237           20030165199                           us                    30-Jan-07          27-Apr-24                 4-Mar-02    System And Method For Reviving Catastrophic Codes


                                                                                                                                                                                                                                   Partial Decorrelation For A Coherent Wireless
     Huang 4-19 (HCJ         Huang 4-19 (HCJ-KR-NP           KR275239                     9815762                                                   KR                    20-Sep-00           1-May-18                 1-May-98    Multicode Code Division Multiple Access Receiver


                                                                                                                                                                                                                                   Methods And Apparatus For Coherent Detection Of
       Huang 7(HCJ           Huang 7 (HCJ-US-NP              US6385185                    09/104791                                                 us                    7-May-02           25-Jun-18                 25-Jun-98   Signals With Orthogonal Data Modulation


    Huckett 1-8-1-1 (SJ)     Huckett 1-8-1-1 (SJ)-US-NP      US7289516                    10/632049           20050025177                           us                    30-Oct-07          17-Jan-26                 31-Jul-03   Universal Interface
                                                                                                                                                                                                                                   Garbage Collection Without Fine-Grain
   Huelsbergen 1-4 (LF)      Huelsbergen 1-4 {LF)-US-NP      US6052699                    08/987030                                                 us                    18-Apr-00          10-Dec-17                 10-Dec-97   Synchronization
                                                                                                                                                                                                                                   Method For Selecting Base Station For Handover
                                                                                                                                                                                                                                   From Plurality Of Target Base Stations And Device
       Huet 1-35 (F)         Huet 1-35 (F)-US-NP             US8364150                    12/654867           20110164593                           us                    29-Jan-13           7-Oct-30                 7-Jan-10    Thereof


                                                                                                                                                                                                                                   System And Method Including Dynamic Differential
      Hull 3-2-2 (RB)        Hull 3-2-2 (RB)-US-NP           US6327362                    09/198232                                                 us                     4-Dec-01          23-Nov-18                 23-Nov-98   Treatment In Workflows And Contact Flows
                                                                                                                                                                                                                                   Decreased-Size Representation Employed With
                                                                                                                                                                                                                                   Portion Of Automated Number Identification
                                                                                                                                                                                                                                   Information In Determination Of Network Control
       Hung 1-1 (HJ          Hung 1-1 (HJ-US-NP              US6389123                    09/436941                                                 us                    14-May-02           8-Nov-19                 8-Nov-99    Point Address
                                                                                                                                                                                                                                   Channel Band Conversion Apparatus For Optical
    Hunziker 1-3-6 (GH)      Hunziker 1-3-6 {GH)-US-NP       US6509987                    09/371165                                                 us                    21-Jan-03          10-Aug-19                 10-Aug-99   Transmission Systems
                                                                                                                                                                                                                                   System And Method For Adjusting Antenna Radiation
       Huo 2-8 (DD)          Huo 2-8 (DD)-US-NP              US7120431                    09/249312                                                 us                    10-Oct-06          12-Feb-19                 12-Feb-99   In A Wireless Network
                                                                                                                                                                                                                                   Channel Sharing By Diverse Multiframes In A
        Huo 4 (DD)           Huo 4 (DD)-DE-EPA               EP1189366                    01306721.0          EP1189366                             DE                    27-Apr-05           7-Aug-21                 7-Aug-01    Wireless Communications Network
                                                                                                                                                                                                                                   Channel Sharing By Diverse Multiframes In A
        Huo 4 (DD)           Huo 4 (DD)-FR-EPA               EP1189366                    01306721.0          EP1189366                             FR                    27-Apr-05           7-Aug-21                 7-Aug-01    Wireless Communications Network
                                                                                                                                                                                                                                   Channel Sharing By Diverse Multiframes In A
        Huo 4 (DD)           Huo 4 (DD)-GB-EPA               EP1189366                    01306721.0          EP1189366                             GB                    27-Apr-05           7-Aug-21                 7-Aug-01    Wireless Communications Network
                                                                                                                                                                                                                                   Channel Sharing By Diverse Multiframes In A
        Huo 4 (DD)           Huo 4 (DD)-US-NP                US6879573                    09/663355                                                 us                    12-Apr-05          15-Sep-20                 15-Sep-00   Wireless Communications Network
                                                                                                                                                                                                                                   Element And Method For Securing A Circuit
        Hwang 6{L)           Hwang 6 (L)-US-NP               US6284981                    09/432775                                                 us                     4-Sep-01           2-Nov-19                 2-Nov-99    Component To A Circuit Board


     Hwang 7-5-1 (HY)        Hwang 7-5-1 (HY)-US-NP          US7095067                    10/445414           20040238861                           us                    22-Aug-06          22-Aug-23                 27-May-03   Oxidation-Resistant Conducting Perovskites


     llas 3-3-12-9-9 (CJ     llas 3-3-12-9-9 (CJ-DE-EPA      EP1061667                    99304583.0          EP1061667                             DE                    20-Aug-03          11-Jun-19                 11-Jun-99   Improved Channel Estimation Technique


     llas 3-3-12-9-9 (CJ     llas 3-3-12-9-9 (CJ-FR-EPA      EP1061667                    99304583.0          EP1061667                             FR                    20-Aug-03          11-Jun-19                 11-Jun-99   Improved Channel Estimation Technique


     llas 3-3-12-9-9 (CJ     llas 3-3-12-9-9 (CJ-GB-EPA      EP1061667                    99304583.0          EP1061667                             GB                    20-Aug-03          11-Jun-19                 11-Jun-99   Improved Channel Estimation Technique


      llting 1-1-1 (T)       llting 1-1-1 (T)-US-NP          US5951666                    08/976758                                                 us                    14-Sep-99          24-Nov-17                 24-Nov-97   Bus System Having Both Serial And Parallel Susses
       lnnovance 15          lnnovance 15-US-CIP             US7599621                    10/952325           20060002716                           us                     6-Oct-09          12-Dec-27                 28-Sep-04   Trail Engineering In Agile Photonic Networks
                                                                                                                                                                                                                                   Method And System For Monitoring Network
        lnnovance 4          lnnovance 4 ()-US-NP            US8676956                    09/946195                                                 us                    18-Mar-14          28-Mar-24                 5-Sep-01    Resources Utilization


                                                                                                                                                                                                                                   System And Method For Measuring Network Round
           INS 11            INS 11 ()-US-NP                 US7006448                    09/675310                                                 us                    28-Feb-06          19-Feb-23                 29-Sep-00   Trip Time By Monitoring Fast Response Operations
                                                                                                                                                                                                                                   Method and Apparatus Determining the Load on a
           INS3              INS3 ()-US-NP                   US5987493                    08/986226                                                 us                    16-Nov-99           5-Dec-17                 5-Dec-97    Server in a Network




                                                                                                                     Page112of149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0253
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 120 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                    ~~:J~JfW                      liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                         :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                    ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method and Apparatus Providing for Automatically
                                                                                                                                                                                                                               Restarting a Client-Server Connection in a Distributed
           INS6            INS6 ()-US-NP                  US6216163                   09/039086                                                 us                    10-Apr-0l          11-Mar-18                 11-Mar-98   Network
                                                                                                                                                                                                                               Method For Preventing Lasing In An Optical Ring
   Israel 3-2-1-1-7 (JG)   Israel 3-2-1-1-7(JG)-US-NP     US6937823                   09/799369           20020131098                           us                    30-Aug-05           17-Jul-22                5-Mar-01    Network


   Italiano 1-50-10 (GF)   Italiano 1-50-10 {GF)-US-NP   US8028050                    10/462215           20040255049                           us                    27-Sep-11           23-Jul-30                13-Jun-03   Restoration For Virtual Private Networks
                                                                                                                                                                                                                               Communication System Based On Echo Canceler Tap
      lyengar3-1 (VJ       lyengar3-1 (VJ-US-NP          US6385176                    09/090733                                                 us                    7-May-02            4-Jun-18                 4-Jun-98    Profile


  Jackson 6-2-5-11 (RG)    Jackson 6-2-5-11 (RG)-US-NP   US5978474                    08/964340                                                 us                     2-Nov-99           4-Nov-17                 4-Nov-97    Coin Telephone Protection Device
                                                                                                                                                                                                                               Inter-System Message Delivery For SMS Text
  Jacobson 8-5-30-2 (T)    Jacobson 8-5-30-2 (T)-US-NP   US7620400                    11/267992           20070105535                           us                    17-Nov-09           1-Dec-26                 7-Nov-05    Messages
                                                                                                                                                                                                                               Methods And Apparatus For Information Indexing
                                                                                                                                                                                                                               And Retrieval As Well As Query Expansion Using
    Jacqueminl-l(C)        Jacquemin 1-1 (C)-US-NP       US6101492                    09/109506                                                 us                     8-Aug-00            2-Jul-18                 2-Jul-98   Morpho-Syntactic Analysis
                                                                                                                                                                                                                               Rate-Distortion Optimized Coding Mode Selection For
    Jacquin 19-3 (AE)      Jacquin 19-3 (AE)-US-CIP      US6167162                    09/411112                                                 us                    26-Dec-00          23-Oct-18                 4-Oct-99    Video Coders


                                                                                                                                                                                                                               System And Method For Retrieving Network
       Jai 4-13 (BJ        Jai 4-13 (BJ-US-NP            US7734761                    10/370805           20040199619                           us                     8-Jun-10          11-Oct-26                 20-Feb-03   Management Data From Multiple Network Elements


   Jakobsson 10 (BM)       Jakobsson 10 (BM)-US-NP       US6507656                    09/237522                                                 us                    14-Jan-03          27-Jan-19                 27-Jan-99   Non Malleable Encryption Apparatus And Method


                                                                                                                                                                                                                               Non Malleable Encryption Method And Apparatus
   Jakobsson 10 (BM)       Jakobsson 13-1 (BM)-US-CNT    US6931126                    09/487946                                                 us                    16-Aug-05          27-Jan-19                 19-Jan-00   Using Key-Encryption Keys And Digital Signature


   Jakobsson 11 (BM)       Jakobsson 11 (BM)-US-NP       US6529884                    09/352963                                                 us                    4-Mar-03            14-Jul-19                14-Jul-99   A Minimalistic Electronic Commerce System


                                                                                                                                                                                                                               Verification Of Correct Exponentiation Or Other
   Jakobsson 15 (BM)       Jakobsson 15 (BM)-US-NP       US6978372                    09/315628                                                 us                    20-Dec-05          20-May-19                 20-May-99   Operations In Cryptographic Applications
                                                                                                                                                                                                                               Mix And Match: A New Approach To Secure
   Jakobsson 19-3 (BM)     Jakobsson 19-3 (BM)-US-NP     US6772339                    09/524337                                                 us                     3-Aug-04          13-Mar-20                 13-Mar-00   Multi party Computation


   Jakobsson 37 (BM)       Jakobsson 37 (BM)-US-NP       US7065655                    09/717513                                                 us                    20-Jun-06          25-Aug-23                 21-Nov-00   Secure Enclosure For Key Exchange


                                                                                                                                                                                                                               Method, Apparatus, And Article Of Manufacture For
                                                                                                                                                                                                                               Generating Secure Recommendations From Market-
   Jakobsson 43 (BM)       Jakobsson 43 (BM)-US-NP       US6970839                    09/809953           20020133419                           us                    29-Nov-05          10-Mar-23                 16-Mar-01   Based Financial Instrument Prices
                                                                                                                                                                                                                               Secure Distributed Computation In Cryptographic
   Jakobsson 44-6 (BM)     Jakobsson 44-6 (BM)-US-NP     US6950937                    09/867935           20030046547                           us                    27-Sep-05           17-Jul-23                30-May-0l   Applications
                                                                                                                                                                                                                               Method And System For Quorum Controlled
    Jakobsson 5 (BM)       Jakobsson 5 (BM)-US-NP        US6587946                    09/222716                                                 us                     1-Jul-03          29-Dec-18                 29-Dec-98   Assymetric Proxy Encryption
                                                                                                                                                                                                                               Method And System For Providing Translation
    Jakobsson 5 (BM)       Jakobsson 8 (BM)-US-CNT       US6687822                    09/330194                                                 us                     3-Feb-04          29-Dec-18                 11-Jun-99   Certificates
                                                                                                                                                                                                                               Method And Apparatus For Distributing Shares Of A
                                                                                                                                                                                                                               Password For Use In Multi-Server Password
  Jakobsson 50-14 (BM)     Jakobsson 50-14 (BM)-US-NP    US7073068                    10/154746           20030229788                           us                     4-Jul-06          27-Aug-24                 24-May-02   Authentication


    Jakobsson 6 (BM)       Jakobsson 6 (BM)-US-NP        US6317833                    09/197799                                                 us                    13-Nov-01          23-Nov-18                 23-Nov-98   A Practical Mix-Based Election Scheme


       Jalloul 3 (A)       Jalloul 3 (A)-IN-NP           IN214014                     930/MAS/99                                                 IN                   23-Jan-08          20-Sep-19                 20-Sep-99   Dynamic Reduction Of Telephone Call Congestion


       Jalloul 3 (A)       Jalloul 3 (A)-JP-DIV          JP4584327                    2008209714          2009017577                            JP                    10-Sep-10           5-Nov-18                 5-Nov-99    Dynamic Reduction Of Telephone Call Congestion


       Jalloul 3 (A)       Jalloul 3 (A)-US-NP           US6324403                    09/186335                                                 us                    27-Nov-01           5-Nov-18                 5-Nov-98    Dynamic Reduction Of Telephone Call Congestion
                                                                                                                                                                                                                               Method Of Selecting Length Of Time Of Inactivity On
                                                                                                                                                                                                                               A Channel Dedicated To A User Terminal To Be
                                                                                                                                                                                                                               Detected For The Channel To Be Released, And A
                                                                                                                                                                                                                               Corresponding Network For Radio
       Jami3-1(1)          Jami 3-1(1)-GB-NP             GB2390263                    0214518.3                                                 GB                    12-May-04          24-Jun-22                 24-Jun-02   Telecommunications
                                                                                                                                                                                                                               Method Of Selecting Length Of Time Of Inactivity On
                                                                                                                                                                                                                               A Channel Dedicated To A User Terminal To Be
                                                                                                                                                                                                                               Detected For The Channel To Be Released, And A
                                                                                                                                                                                                                               Corresponding Network For Radio
       Jami3-1(1)          Jami 3-1(1)-US-NP             US6944458                    10/449178           20030236094                           us                    13-Sep-05           9-Mar-24                 30-May-03   Telecommunications
                                                                                                                                                                                                                               A Method Of Transfer Of A call Connection
                                                                                                                                                                                                                               Connecting A Telecommunications Base Station And
                                                                                                                                                                                                                               A Mobile User Terminal Between Dedicated And
                                                                                                                                                                                                                               Shared Channels, And A Corresponding
       Jami 4-2(1)         Jami 4-2(1)-DE-EPA            EP1414256                    02257398.4                                                DE                     5-Jul-06          24-Oct-22                 24-Oct-02   Telecommucations System
                                                                                                                                                                                                                               A Method Of Transfer Of A call Connection
                                                                                                                                                                                                                               Connecting A Telecommunications Base Station And
                                                                                                                                                                                                                               A Mobile User Terminal Between Dedicated And
                                                                                                                                                                                                                               Shared Channels, And A Corresponding
       Jami 4-2(1)         Jami 4-2 (1)-FR-EPA           EP1414256                    02257398.4                                                FR                     5-Jul-06          24-Oct-22                 24-Oct-02   Telecommucations System
                                                                                                                                                                                                                               A Method Of Transfer Of A call Connection
                                                                                                                                                                                                                               Connecting A Telecommunications Base Station And
                                                                                                                                                                                                                               A Mobile User Terminal Between Dedicated And
                                                                                                                                                                                                                               Shared Channels, And A Corresponding
       Jami 4-2(1)         Jami 4-2(1)-GB-EPA            EP1414256                    02257398.4                                                GB                     5-Jul-06          24-Oct-22                 24-Oct-02   Telecommucations System
                                                                                                                                                                                                                               Method Of Transfer Of A Call Connection Connecting
                                                                                                                                                                                                                               A Telecommunications Base Station And A Mobile
                                                                                                                                                                                                                               User Terminal Between Dedicated And Shared
                                                                                                                                                                                                                               Channels, And A Corresponding Telecommucations
       Jami 4-2(1)         Jami 4-2 (1)-US-NP            US8891361                    10/662917           20040082336                           us                    18-Nov-14          25-Nov-30                 15-Sep-03   System
                                                                                                                                                                                                                               Optical Fiber Jumper Cable Bend Limiter And Housing
    Janus 8-6-17 (NA)      Janus 8-6-17 (NA)-US-NP       US6445865                    09/676176                                                 us                     3-Sep-02          29-Sep-20                 29-Sep-00   Therefor
                                                                                                                                                                                                                               Method And Apparatus For Receiving Frequency
                                                                                                                                                                                                                               Modulated Signals On An Intensity Modulated
     Jennen4-3 (JG)        Jennen 4-3 (JG)-US-NP         US7650081                    10/853825           20050265732                           us                    19-Jan-10          22-Aug-28                 26-May-04   Optical Carrier


                                                                                                                                                                                                                               Method And System For Increasing The Spectral
      Jennen 7 (JG)        Jennen 7 (JG)-DE-EPA          EP1633061                    05255354.2          EP1633061                             DE                    20-Dec-06           1-Sep-25                 1-Sep-05    Efficiency Of Binary Coded Digital Signals


                                                                                                                                                                                                                               Method And System For Increasing The Spectral
      Jennen 7 (JG)        Jennen 7 (JG)-FR-EPA          EP1633061                    05255354.2          EP1633061                             FR                    20-Dec-06           1-Sep-25                 1-Sep-05    Efficiency Of Binary Coded Digital Signals


                                                                                                                                                                                                                               Method And System For Increasing The Spectral
      Jennen 7 (JG)        Jennen 7 (JG)-GB-EPA          EP1633061                    05255354.2          EP1633061                             GB                    20-Dec-06           1-Sep-25                 1-Sep-05    Efficiency Of Binary Coded Digital Signals




                                                                                                                 Page113of149
                                                                                                                                                                                                    PATENT
                                                                                                                                                                                            REEL: 044000 FRAME: 0254
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 121 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                              :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                                    Method And System For Increasing The Spectral
       Jennen 7 (JG)         Jennen 7 (JG)-US-NP               US7421204                   10/934610           20060045539                           us                     2-Sep-08          17-Mar-26                 2-Sep-04    Efficiency Of Binary Coded Digital Signals
                                                                                                                                                                                                                                    Illuminated Optical Connection Port For Use In A
                                                                                                                                                                                                                                    Fiber Distribution Shelf Assembly Of A Fiber
                             Jennings 4-9-31-11-1 (MR)-US-                                                                                                                                                                          Administration System Having Integral Line Tracking
 Jennings 4-9-31-11-1 (MR)   NP                                US6256445                   09/209221                                                 us                     3-Jul-01          11-Dec-18                 11-Dec-98   Capabilities
                                                                                                                                                                                                                                    Apparatus And Method For Deinterlacing Video
    Jiang 14-23-15 (HJ       Jiang 14-23-15 (HJ-US-NP         US7256835                    10/860942           20050270415                           us                    14-Aug-07          31-Aug-25                 4-Jun-04    Images


   Jiang 15-24-16-3 (HJ      Jiang 15-24-16-3 (HJ-US-NP       US7339626                    10/862215           20050270417                           us                    4-Mar-08           30-Mar-26                 7-Jun-04    Deinterlacing Video Images With Slope Detection


                                                                                                                                                                                                                                    A Method And Apparatus For Detecting And Dealing
       Jiang2-2(F)           Jiang 2-2 (F)-US-NP              US6069881                    08/953873                                                 us                    30-May-00          18-Oct-17                 18-Oct-97   With Malfuncting CDMA Wireless Terminals


      Jiang 2-31-6 (HJ       Jiang 2-31-6 (HJ-US-NP           US9077937                    12/266268           20100111197                           us                     7-Jul-15           29-Jul-32                6-Nov-08    Method And Apparatus For Fast Channel Change


      Jiang 2-31-6 (HJ       Jiang 2-31-6 (H)-EP-EPT                                       09748002.4          EP2364549                             EP                                        4-Nov-29                 4-Nov-09    Method And Apparatus For Fast Channel Change
                                                                                                                                                                                                                                    Evaluating Lost Communication Links With Mobile
     Jiang23-2-23(F)         Jiang 23-2-23 (F)-US-NP          US8874172                    11/239536           20070072643                           us                    28-Oct-14          24-Sep-32                 29-Sep-05   Stations


       Jiang 4-8 (HJ         Jiang 4-8 (HJ-US-NP              US7847631                    12/384512           20100253425                           us                     7-Dec-10          16-May-29                 6-Apr-09    Predistortion For Power Amplifier Linearization
                                                                                                                                                                                                                                    Method Of Power Control For A Wireless
                                                                                                                                                                                                                                    Communication System Having Multiple Information
    Jiang 8-9-3-1-20 (F)     Jiang 8-9-3-1-20 (F)-US-NP       US6535723                    09/267998                                                 us                    18-Mar-03          15-Mar-19                 15-Mar-99   Rates
                                                                                                                                                                                                                                    Device Containing Directionally Conductive
        Jin 149 (5)          Jin 149 (5)-US-NP                US5975922                    09/036902                                                 us                     2-Nov-99           9-Mar-18                 9-Mar-98    Composite Medium
                                                                                                                                                                                                                                    Article Comprising Fluorinated Amorphous Carbon
   Jin 150-17-14-35 (5)      Jin 150-17-14-35 (5)-US-NP       US6147407                    09/049256                                                 us                    14-Nov-00          27-Mar-18                 27-Mar-98   And Process For Fabricating Article


      Jin 207-30-8(5)        Jin 207-30-8 (5)-US-NP           US6869007                    10/046836           20020106528                           us                    22-Mar-05          15-Jan-22                 15-Jan-02   Oxidation-Resistant Reactive Solders And Brazes


      Jin 207-30-8(5)        Jin 207-30-8 (5)-JP-NP           JP4343479                    2002016356                                                JP                     17-Jul-09         25-Jan-22                 25-Jan-02   Oxidation-Resistant Reactive Solders And Brazes
                                                                                                                                                                                                                                    Apparatus and systems comprising a
                                                                                                                                                                                                                                    superconductive body, and method for producing
      Jin 33-31-10(5)        Jin 33-31-10 (5)-CA-NP           CA1341394                    562762                                                    CA                    22-Oct-02          22-Oct-19                 29-Mar-88   such body
                                                                                                                                                                                                                                    Superconductive Oxide Body Having Improved
                                                                                                                                                                                                                                    Properties, And Appartus and Systems Comprising
    Jin 37-35-16-13 (5)      Jin 47-45-23-15 (5)-US-CNT       US6291402                    07/426485                                                 us                    18-Sep-0l          18-Sep-18                 23-Oct-89   Such a Body
       Jindal 5 (RP)         Jindal 5 (RP)-US-NP              US6184692                    08/960396                                                 us                     6-Feb-01          29-Oct-17                 29-Oct-97   Loop-Back Test Apparatus And Technique
      Jindal 7-2 (DK)        Jindal 7-2 (DK)-US-NP            US7971262                    10/897805           20060021067                           us                    28-Jun-11           14-Jul-28                23-Jul-04   Protection Against Software Piracy


      Jocherl (RW)           Jocher 1 (RW)-US-NP              US6091971                    08/914132                                                 us                     18-Jul-00         19-Aug-17                 19-Aug-97   Plumbing Wireless Phones And Apparatus Thereof


                                                                                                                                                                                                                                    Phase-Shift-Keying Demodulator And Demodulation
     Johnson 1-18 (RE)       Johnson 1-18 (RE)-DE-EPA         EP0998084                    99308181.9          EP0998084                             DE                     7-Feb-07          18-Oct-19                 18-Oct-99   Method Using A Period-Width Windowing Technique


                                                                                                                                                                                                                                    Phase-Shift-Keying Demodulator And Demodulation
     Johnson 1-18 (RE)       Johnson 1-18 (RE)-FR-EPA         EP0998084                    99308181.9          EP0998084                             FR                     7-Feb-07          18-Oct-19                 18-Oct-99   Method Using A Period-Width Windowing Technique


                                                                                                                                                                                                                                    Phase-Shift-Keying Demodulator And Demodulation
     Johnson 1-18 (RE)       Johnson 1-18 (RE)-GB-EPA         EP0998084                    99308181.9          EP0998084                             GB                     7-Feb-07          18-Oct-19                 18-Oct-99   Method Using A Period-Width Windowing Technique


                                                                                                                                                                                                                                    Phase-Shift-Keying Demodulator And Demodulation
     Johnson 1-18 (RE)       Johnson 1-18 (RE)-US-NP          US6341146                    09/181810                                                 us                    22-Jan-02          29-Oct-18                 29-Oct-98   Method Using A Period-Width Windowing Technique
      Johnson 2 (RE)         Johnson 2 (RE)-US-NP             US6539411                    09/181815                                                 us                    25-Mar-03          29-Oct-18                 29-Oct-98   Direct Digital Synthesizer
                                                                                                                                                                                                                                    Automatic Speech Recognition Caller Input Rate
      Johnson 4 (MA)         Johnson 4 (MAJ-JP-NP             JP5051945                    2001092258                                                JP                     3-Aug-12          28-Mar-21                 28-Mar-01   Control
                                                                                                                                                                                                                                    Automatic Speech Recognition Caller Input Rate
      Johnson 4 (MA)         Johnson 4 (MA)-MX-NP             MX241699                     2001/003126                                               MX                     6-Nov-06          26-Mar-21                 26-Mar-01   Control
                                                                                                                                                                                                                                    Automatic Speech Recognition Caller Input Rate
      Johnson 4 (MA)         Johnson 4 (MAJ-US-NP             US6728671                    09/537330                                                 us                    27-Apr-04          29-Mar-20                 29-Mar-00   Control


     Johnson 5-1 (MG)        Johnson 5-1 (MG)-US-NP           US6292374                    09/087098                                                 us                    18-Sep-0l          29-May-18                 29-May-98   Assembly Having A Back Plate With Inserts
      Johnson 9 (MG)         Johnson 9 (MG)-US-NP             US6323437                    09/126481                                                 us                    27-Nov-01           30-Jul-18                30-Jul-98   Spring Clamp Coupled with Circuit Board
       JonlS-2 (M)           Jon 15-2 (M)-US-NP               US6025807                    09/267290                                                 us                    15-Feb-00          12-Mar-19                 12-Mar-99   Orientation Independent Loop Antenna
                                                                                                                                                                                                                                    A System And Method For Locating Faulty Elements
       Jones 1-1 (JB)        Jones 1-1 (JB)-US-NP             US6330305                    09/087652                                                 us                    11-Dec-0l          30-May-18                 30-May-98   In A Telephonic Distribution System
                                                                                                                                                                                                                                    Communications System And Associated Deskewing
   Jones 2-8-15-14 (NR)      Jones 2-8-15-14 (NR)-US-NP       US6819683                    09/766079           20020097752                           us                    16-Nov-04          19-Jan-21                 19-Jan-0l   And Word Framing Methods
                                                                                                                                                                                                                                    Method For Providing Green Service To A
      Jones 3-1 (DA)         Jones 3-1 (DA)-EP-EPT                                         09767016.0          EP2291993                             EP                                        8-Jun-29                 8-Jun-09    Communication Unit
                                                                                                                                                                                                                                    Improved Tunable Transmitter With Mach-Zehnder
      Joyner 17 (CH)         Joyner 17 {CH)-US-NP             US6014390                    09/016176                                                 us                    11-Jan-00          30-Jan-18                 30-Jan-98   Modulator
                                                                                                                                                                                                                                    Method And Apparatus For Quantifying An Impact Of
     Jrad 1-1-4-1 (AM)       Jrad 1-1-4-1 (AM)-US-NP          US7603259                    11/238919           20070005680                           us                    13-Oct-09          20-Sep-27                 29-Sep-05   A Disaster On A Network
                                                                                                                                                                                                                                    Method And Apparatus For The Configuration Of
       Judkal-l(J)           Judka 1-1 (J)-US-NP              US8195771                    10/452270           20040255009                           us                     5-Jun-12          10-Oct-29                 2-Jun-03    Network Elements
        Kabatl(Z)            Kabat 1 (Z)-US-NP                US6912131                    10/650199           20050047084                           us                    28-Jun-05           8-Oct-23                 27-Aug-03   Electronic Components Card Air Deflector
                                                                                                                                                                                                                                    Method And Apparatus For Quality-Of-Service Based
                                                                                                                                                                                                                                    Admission Control Using Prediction Of Scheduling
 Kadaba 15-20-19-25 (SR)     Kadaba 15-20-19-25 (SR)-US-NP    US7535839                    11/172471           20070002765                           us                    19-May-09          18-Jun-27                 30-Jun-05   Gain
                                                                                                                                                                                                                                    Method And Apparatus For Providing Congestion
 Kahn 11-5-6-1-16-10 {CL)    Kahn 11-5-6-1-16-10 {CL)-US-NP   US8553554                    12/122356           20090285099                           us                     8-Oct-13           23-Jul-28                16-May-08   Control In Radio Access Networks
                                                                                                                                                                                                                                    Method And Apparatus For Detecting And
    Kalampoukas3-l(L)        Kalampoukas 3-1 (L)-EP-EPT                                    08869733.9          EP2245826                             EP                                       17-Dec-28                 17-Dec-08   Suppressing Echo In Packet Networks
                                                                                                                                                                                                                                    Apparatus And Method For Computing The
                                                                                                                                                                                                                                    Processing Delay Of Adaptive Applications On
      Kalavade 1-1 (A)       Kalavade 1-1 (A)-US-NP           US5961599                    08/950638                                                 us                     5-Oct-99          15-Oct-17                 15-Oct-97   Network Terminals And Applications Thereof
                                                                                                                                                                                                                                    Method And Apparatus For Evaluating Effect Of Run-
                                                                                                                                                                                                                                    Time Schedulers On Performance Of End-System
      Kalavade 2-3 (A)       Kalavade 2-3 (A)-US-NP           US6393433                    09/159706                                                 us                    21-May-02          24-Sep-18                 24-Sep-98   Multimedia Applications
                                                                                                                                                                                                                                    Components For Electrical And/Or Optical Equipment
         KamS(L)             Karns (L)-US-NP                  US6005195                    09/005454                                                 us                    21-Dec-99          12-Jan-18                 12-Jan-98   Mounting Structures


                                                                                                                                                                                                                                    System And Method For Increasing Optimal
                                                                                                                                                                                                                                    Alternative Network Route Convergence Speed And
      Kamat3-5(5D)           Kamat 3-5 (SD)-US-NP             US8150998                    10/670940           20050071502                           us                     3-Apr-12          22-Jun-28                 25-Sep-03   Border Gateway Router Incorporating The Same
                                                                                                                                                                                                                                    Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)    Kamel 10-32-23-22-9 (RE)-JP-NP JP3964112                      2000264842                                                JP                     1-Jun-07           1-Sep-20                 1-Sep-00    Transmit Power In A Wireless System




                                                                                                                      Page114of149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0255
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 122 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                              :ia:~:A,m:::::::::::::::::
                                                              liiitiiiiii~:il\::::'::•:•
                                                                                           :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                            Kamel 10-32-23-22-9 (RE)-DE-                                                                                                                                                                            Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)   EPA                                EP1081876                   00307380.6                   EP1081876                          DE              27-Apr-11          29-Aug-20                 29-Aug-00   Transmit Power In A Wireless System
                                                                                                                                                                                                                                    Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)   Kamel 10-32-23-22-9 (RE)-FI-EPA EP1081876                      00307380.6                   EP1081876                           Fl             27-Apr-11          29-Aug-20                 29-Aug-00   Transmit Power In A Wireless System
                            Kamel 10-32-23-22-9 (RE)-FR-                                                                                                                                                                            Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)   EPA                                EP1081876                   00307380.6                   EP1081876                          FR              27-Apr-11          29-Aug-20                 29-Aug-00   Transmit Power In A Wireless System
                            Kamel 10-32-23-22-9 (RE)-GB-                                                                                                                                                                            Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)   EPA                                EP1081876                   00307380.6                   EP1081876                          GB              27-Apr-11          29-Aug-20                 29-Aug-00   Transmit Power In A Wireless System
                            Kamel 10-32-23-22-9 (RE)-SE-                                                                                                                                                                            Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)   EPA                                EP1081876                   00307380.6                   EP1081876                          SE              27-Apr-11          29-Aug-20                 29-Aug-00   Transmit Power In A Wireless System
                                                                                                                                                                                                                                    Method And System For Controlling Forward
 Kamel 10-32-23-22-9 (RE)   Kamel 10-32-23-22-9 (RE)-US-NP US6496531                       09/389080                                                       us              17-Dec-02           2-Sep-19                 2-Sep-99    Transmit Power In A Wireless System
                                                                                                                                                                                                                                    Filter Including A Microstrip Antenna And A
    Kaminskil-l(WJ)         Kaminski 1-l(WJ)-JP-NP            JP3470884                    11197880                                                        JP              12-Sep-03           12-Jul-19                12-Jul-99   Frequency Selective Surface
                                                                                                                                                                                                                                    Filter Including A Microstrip Antenna And A
    Kaminskil-l(WJ)         Kaminski 1-l(WJ)-KR-NP             KR351470                    19990028448                                                     KR              22-Aug-02           14-Jul-19                14-Jul-99   Frequency Selective Surface
                                                                                                                                                                                                                                    Filter Including A Microstrip Antenna And A
    Kaminskil-l(WJ)         Kaminski 1-l(WJ)-US-NP             US6147572                   09/115690                                                       us              14-Nov-00           15-Jul-18                15-Jul-98   Frequency Selective Surface
                                                                                                                                                                                                                                    Piezoelectric Array Filters And Modulators Using
    Kaminski2-3(WJ)         Kaminski2-3(WJ)-US-NP              US6320300                   09/146482                                                       us              20-Nov-01           3-Sep-18                 3-Sep-98    Crystal Transverse And Parallel Modes.


                                                                                                                                                                                                                                    Utilization Of Communication Channels Between A
  Kampmeier 6-46-8 (EE)     Kampmeier 6-46-8 {EE)-US-NP        US6728338                   09/708801                                                       us              27-Apr-04           8-Nov-20                 8-Nov-00    Central Office Switch And A Law Enforcement Agency
                                                                                                                                                                                                                                    Interferometric Operation Of Electroabsorption
        Kang 13 (I)         Kang 13 (I)-IN-PCT                                             1491/CHENP/2009              1491/CHENP/2009                    IN                                 19-Sep-27                 19-Sep-07   Modulators
                                                                                                                                                                                                                                    Interferometric Operation Of Electroabsorption
        Kang 13 (I)         Kang 13 (I)-US-NP                  US7583894                   11/534029                                                       us               1-Sep-09          29-Feb-28                 21-Sep-06   Modulators
                                                                                                                                                                                                                                    Optical Pulse Characterization Using Phase
        Kang 14 (I)         Kang 14 (I)-US-NP                  US7873272                   11/559015                    20080114556                        us              18-Jan-11           22-Jul-29                13-Nov-06   Modulation
                                                                                                                                                                                                                                    Method And Apparatus For Monitoring Optical Signal
       Kao 8-53 (Y)         Kao 8-53 (Y)-US-NP                 US7440170                   11/426035                    20070297043                        us              21-Oct-08          23-Jun-26                 23-Jun-06   To-Noise Ratio
                                                                                                                                                                                                                                    Efficient Electromagnetic Full-Wave Simulation In
       Kapur4-8 (5)         Kapur 4-8 (5)-US-NP                US6513001                   09/317118                                                       us              28-Jan-03          24-May-19                 24-May-99   Layered Semiconductor Media
                                                                                                                                                                                                                                    Routing Restorable Service-Level-Guaranteed
      Kar 2-24-24 (K)       Kar2-24-24 (K)-US-NP               US7397761                   10/357558                    20030227877                        us               8-Jul-08          24-Dec-25                 4-Feb-03    Connections Using Maximum 2-Route Flows
                                                                                                                                                                                                                                    A Cellular Radio Telecommunications Network, A
  Karimi 4-2-15-12-10-29    Karimi 4-2-15-12-10-29 (HR)-AU-                                                                                                                                                                         Method, Protocol And Computer Program For
           (HR)             NP                                AU748151                     72281/00                                                        AU              12-Sep-02          14-Dec-20                 14-Dec-00   Operating The Site
                                                                                                                                                                                                                                    A Cellular Radio Telecommunications Network, A
  Karimi 4-2-15-12-10-29    Karimi 4-2-15-12-10-29 (HR)-DE-                                                                                                                                                                         Method, Protocol And Computer Program For
           (HR)             EPA                                EP1111948                   99310300.1                   EP1111948                          DE              20-Feb-08          21-Dec-19                 21-Dec-99   Operating The Site
                                                                                                                                                                                                                                    A Cellular Radio Telecommunications Network, A
  Karimi 4-2-15-12-10-29    Karimi 4-2-15-12-10-29 (HR)-FR-                                                                                                                                                                         Method, Protocol And Computer Program For
           (HR)             EPA                                EP1111948                   99310300.1                   EP1111948                          FR              20-Feb-08          21-Dec-19                 21-Dec-99   Operating The Site
                                                                                                                                                                                                                                    A Cellular Radio Telecommunications Network, A
  Karimi 4-2-15-12-10-29    Karimi 4-2-15-12-10-29 (HR)-GB-                                                                                                                                                                         Method, Protocol And Computer Program For
           (HR)             EPA                                EP1111948                   99310300.1                   EP1111948                          GB              20-Feb-08          21-Dec-19                 21-Dec-99   Operating The Site
                                                                                                                                                                                                                                    A Cellular Radio Telecommunications Network, A
  Karimi 4-2-15-12-10-29    Karimi 4-2-15-12-10-29 (HR)-JP-                                                                                                                                                                         Method, Protocol And Computer Program For
           (HR)             NP                                JP4573430                    2000386403                                                      JP              27-Aug-10          20-Dec-20                 20-Dec-00   Operating The Site
                                                                                                                                                                                                                                    A Cellular Radio Telecommunications Network, A
  Karimi 4-2-15-12-10-29    Karimi 4-2-15-12-10-29 (HR)-KR-                                                                                                                                                                         Method, Protocol And Computer Program For
           (HR)             NP                                 KR397401                    20000079774                                                     KR              27-Aug-03          21-Dec-20                 21-Dec-00   Operating The Site
                                                                                                                                                                                                                                    Network-Independent Routing Of Communication
   Kartalopoulos 10 (SV)    Kartalopoulos 10 {SV)-US-NP        US6266333                   09/089009                                                       us               24-Jul-01          2-Jun-18                 2-Jun-98    Signals
                                                                                                                                                                                                                                    Hierarchical Encryption Technique For Dense
                                                                                                                                                                                                                                    Wavelength Division Multiplexed Systems Using A
   Kartalopoulos 12 (SV)    Kartalopoulos 12 {SV)-US-NP        US6577732                   09/250345                                                       us              10-Jun-03          16-Feb-19                 16-Feb-99   Wavelength Bus Architecture
                                                                                                                                                                                                                                    Reduction Of Optical Impairments In Wavelength
                                                                                                                                                                                                                                    Division Multiplexed Systems Employing A
   Kartalopoulos 13 (SV)    Kartalopoulos 13 {SV)-US-NP        US6580538                   09/383702                                                       us              17-Jun-03          26-Aug-19                 26-Aug-99   Wavelength Bus Architecture


   Kartalopoulos 15 (5)     Kartalopoulos 15 (5)-US-NP         US6617566                   09/848134                    20020038847                        us               9-Sep-03          29-Nov-21                 3-May-01    Apparatus And Method For Optical Pattern Detection


                                                                                                                                                                                                                                    Apparatus And Method For Temperature-
   Kartalopoulos 16 (5)     Kartalopoulos 16 (5)-US-NP         US6498681                   09/848135                    20020163724                        us              24-Dec-02          3-May-21                  3-May-01    Compensating Diffraction-Based Optical Devices


   Kasbekar32-17 (PV)       Goyal 4-35-19-7 (5)-US-CNT         US6246762                   09/075566                                                       us              12-Jun-0l          30-Sep-17                 11-May-98   Spring Biased Microphone Sub-Assemblies


   Kasbekar32-17 (PV)       Goyal 5-36-20-8 (5)-US-CIP         US6128385                   09/096759                                                       us               3-Oct-00          30-Sep-17                 12-Jun-98   Impact-Tolerant Mounting Of Acoustic Components
                                                                                                                                                                                                                                    Microphone Sub-Assemblies Using Elastomeric
   Kasbekar33-18 (PV)       Kasbekar33-18(PV)-US-NP            US5982882                   08/940833                                                       us               9-Nov-99          30-Sep-17                 30-Sep-97   Housings


                                                                                                                                                                                                                                    Source Code Monitor And Method And Apparatus for
    Kasprzyk4-2 (MZ)        Kasprzyk 4-2 (MZ)-US-NP            US6016557                   08/938438                                                       us              18-Jan-00          25-Sep-17                 25-Sep-97   Noninstusive Passive Processor Monitor


    Kasprzyk5-1 (MZ)        Kasprzyk5-1 (MZ)-US-NP             US5894509                   08/942992                                                       us              13-Apr-99           3-Oct-17                 3-Oct-97    Telephone Office Equipment Utilization Monitor
                                                                                                                                                                                                                                    Administrative Weight Assignment For Enhanced
   Kataria 2-2-3-27(D)      Kataria 2-2-3-27 (DJ-US-NP         US6385172                   09/272720                                                       us              7-May-02           19-Mar-19                 19-Mar-99   Network Operation
      Katz 30-1 {HE)        Katz 30-1 {HE)-US-NP               US6265243                   09/280172                                                       us               24-Jul-01         29-Mar-19                 29-Mar-99   Process For Fabricating Organic Circuits
      Katz 30-1 {HE)        Katz 41-4 {HE)-US-DIV              US6551717                   09/835613                                                       us              22-Apr-03          29-Mar-19                 16-Apr-0l   Process For Fabricating Organic Circuits
                                                                                                                                                                                                                                    Silicate Material And Process For Fabricating Silicate
       Katz 32 {HE)         Katz 32 {HE)-US-NP                 US6423770                   09/353898                                                       us               23-Jul-02          15-Jul-19                15-Jul-99   Material
                                                                                                                                                                                                                                    Optical Waveguide Device and Method of
       Katz 46 {HE)         Katz 46 {HE)-US-NP                 US7024065                   10/191135                    20040008961                        us               4-Apr-06          27-Nov-22                  9-Jul-02   Manufacture Therefor


                                                                                                                                                                                                                                    Access, Selection, And Downloading Of A Pre-
                                                                                                                                                                                                                                    Recorded Outgoing Greeting Message For A Voice
     Kaufman 14(5B)         Kaufman 14 (SB)-US-NP              US6035018                   09/184745                                                       us              7-Mar-00            3-Nov-18                 3-Nov-98    Messaging System From An External Source
          Kel(M)            Ke l(M)-US-NP                      US6094097                   09/132339                                                       us               25-Jul-00         11-Aug-18                 11-Aug-98   Programmable RF Power Combiner
                                                                                                                                                                                                                                    Wireless System Combining Arrangement And
       Ke2-2-2(M)           Ke2-2-2(M)-DE-EPA                  EP1111821                   00310940.2                   EP1111821                          DE               8-Jul-15           8-Dec-20                 8-Dec-00    Method Thereof
                                                                                                                                                                                                                                    Wireless System Combining Arrangement And
       Ke2-2-2(M)           Ke2-2-2(M)-FR-EPA                  EP1111821                   00310940.2                   EP1111821                          FR               8-Jul-15           8-Dec-20                 8-Dec-00    Method Thereof
                                                                                                                                                                                                                                    Wireless System Combining Arrangement And
       Ke2-2-2(M)           Ke2-2-2(M)-GB-EPA                  EP1111821                   00310940.2                   EP1111821                          GB               8-Jul-15           8-Dec-20                 8-Dec-00    Method Thereof
                                                                                                                                                                                                                                    Wireless System Combining Arrangement And
       Ke2-2-2(M)           Ke2-2-2(M)-JP-NP                  JP3641204                    2000387989                   2001244842                         JP              28-Jan-05          21-Dec-20                 21-Dec-00   Method Thereof
                                                                                                                                                                                                                                    Wireless System Combining Arrangement And
       Ke2-2-2(M)           Ke2-2-2(M)-US-NP                   US6658263                   09/853075                                                       us               2-Dec-03          21-Dec-19                 21-Dec-99   Method Thereof




                                                                                                                                Page115of149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0256
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 123 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




        Ke7(M)              Ke 7(M)-US-NP                     US6392511      09/418703                      us   21-May-02   15-Oct-19   15-Oct-99   RF Impedance Selector And/Or RF Short Switch
                                                              ZL200680046189
    Kennedy 1 (ID)          Kennedy 1 (10)-CN-PCT             .1             200680046189.1   101326720     CN   9-May-12    8-Dec-26    8-Dec-06    Dynamic Constant Folding Of A Orcuit
    Kennedy 1 (ID)          Kennedy 1 (10)-DE-EPT             EP1958332      06845177.2       EP1958332     DE   17-Oct-12   8-Dec-26    8-Dec-06    Dynamic Constant Folding Of A Orcuit
    Kennedy 1 (ID)          Kennedy 1 (10)-FR-EPT             EP1958332      06845177.2       EP1958332     FR   17-Oct-12   8-Dec-26    8-Dec-06    Dynamic Constant Folding Of A Orcuit
    Kennedy 1 (ID)          Kennedy 1 (10)-GB-EPT             EP1958332      06845177.2       EP1958332     GB   17-Oct-12   8-Dec-26    8-Dec-06    Dynamic Constant Folding Of A Orcuit
    Kennedy 1 (ID)          Kennedy 1 (10)-JP-PCT             JP5153642      2008544578       2009518965    JP   14-Dec-12   8-Dec-26    8-Dec-06    Dynamic Constant Folding Of A Orcuit
    Kennedy 1 (ID)          Kennedy 1 (1O)-KR-PCT             KR101457224    20087013707                    KR   27-Oct-14   8-Dec-26    8-Dec-06    Dynamic Constant Folding Of A Orcuit
    Kennedy 1 (ID)          Kennedy 1 (1O)-US-NP              US7471116      11/297198        20070136009   us   30-Dec-08   16-Nov-26   8-Dec-05    Dynamic Constant Folding Of A Orcuit


  Kenney 1-1-1 (DA)         Kenney 1-1-1 (DA)-US-NP           US6121965      08/953497                      us   19-Sep-00   17-Oct-17   17-Oct-97   User Interface For Graphical Application Tool
                                                                                                                                                     Non-Preemptive Memory Locking Mechanism In A
    Kermani2(BG)            Kermani 2(BG)-US-NP               US6314499      09/078037                      us   6-Nov-01    13-May-18   13-May-98   shared Resource System
                                                                                                                                                     Method And System For Abstracting Electronic
   Kermani 43 (BG)          Kermani 43 (BG)-US-NP             US7475334      09/487522                      us    6-Jan-09   19-Jan-20   19-Jan-00   Documents
                                                                                                                                                     Scheduling With Delayed Graphs For Communication
Keslassy 1-29-29-13 (I)     Keslassy 1-29-29-13 (1)-US-NP     US7489638      10/820596        20050226214   us   10-Feb-09   20-Jan-27   8-Apr-04    Networks
     Khalaf 1 (BF)          Khalaf 1 (BF)-US-NP               US5971345      09/075480                      us   26-Oct-99   11-May-18   11-May-98   Universal Antenna Mounting System
                                                                                                                                                     Data Flow Control Between A Base Station And A
     Khan 24(FU)            Khan 24 {FU)-KR-NP                KR101011935    20030019585                    KR   25-Jan-11   28-Mar-23   28-Mar-03   Mobile Station
                                                                                                                                                     Data Flow Control Between A Base Station And A
     Khan 24(FU)            Khan 24 {FU)-US-NP                US7079856      10/117513        20040203973   us   18-Jul-06   18-Jun-23   5-Apr-02    Mobile Station
                                                                                                                                                     Method Of Managing Non-Acknowledgement
  Khan 29-12-1 {FU)         Khan 29-12-1 {FU)-JP-NP           JP4410487      2003138259       2003348668    JP   20-Nov-09   16-May-23   16-May-03   Responses
                                                                                                                                                     Method Of Managing Non-Acknowledgement
  Khan 29-12-1 {FU)         Khan 29-12-1 {FU)-US-NP           US7200115      10/147473        20030214935   us   3-Apr-07    1-Apr-25    17-May-02   Responses
                                                                                                                                                     Method Of Managing Non-Acknowledgement
  Khan 29-12-1 {FU)         Khan 29-12-1 {FU)-KR-NP           KR10971892     20030029561                    KR   16-Jul-10   10-May-23   10-May-03   Responses
                                                                                                                                                     Wireless Telecommunications System And Method
    Khanna2-5(5)            Khanna 2-5 (5)-US-NP              US5999819      09/048384                      us   7-Dec-99    26-Mar-18   26-Mar-98   For Designing Same
                                                                                                                                                     Method For Operating A Wireless
    Khanna 3-7 (5)          Khanna 3-7(5)-US-NP               US6094584      09/048443                      us   25-Jul-00   26-Mar-18   26-Mar-98   Telecommunications System
                                                                                                                                                     Method For Information Retrieval From Broadcast
    Khanna5-1(5)            Khanna 5-1 (5)-US-NP              US6438593      09/082786                      us   20-Aug-02   21-May-18   21-May-98   Disk Systems
                                                                                                                                                     Method And Apparatus For Watermarking Maps And
    Khanna 8-1 (5)          Khanna 8-1 (5)-US-NP              US6813368      09/707694                      us   2-Nov-04    7-Nov-20    7-Nov-00    Other Structured Data
                                                                                                                                                     Electroplating Solution For High Speed Plating OfTin-
  Khaselev 1-1-7 (DJ        Khaselev 1-1-7 (O)-US-NP          US6808614      10/050013                      us   26-Oct-04   17-Jan-22   17-Jan-02   Copper Solder
                                                                                                                                                     Electroplating Solution for High Speed Plating ofTin-
  Khaselev2-2-8 (DJ         Khaselev 2-2-8 (O)-US-NP          US6726827      10/050014                      us   27-Apr-04   17-Jan-22   17-Jan-02   Bismuth Solder
                                                                                                                                                     Method And Apparatus For Hardware Realization
  Khayat 1-1-1-2 (Z)        Khayat 1-1-1-2 (Z)-US-NP          US6327571      09/292424                      us   4-Dec-01    15-Apr-19   15-Apr-99   Process Assessment
                                                                                                                                                     Hop-By-Hop Routing With Node-Dependent Topology
 Khotimsky 3-1-1 (DA)       Khotimsky 3-1-1 (DA)-US-NP        US6646989      09/273434                      us   11-Nov-03   20-Mar-19   20-Mar-99   Information
                                                                                                                                                     Optical Performance Monitoring Using A
  Kil per 4-14-1 (DC)       Kil per 4-14-1 (DC)-US-NP         US7154665      10/638459        20050052828   us   26-Dec-06   20-Jun-24   11-Aug-03   Semiconductor Optical Amplifier
                                                                                                                                                     Positive Optical Amplifier Power Transient
    Kil per 9-9 (DC)        Kil per 9-9 (DC)-US-NP            US8995053      11/616917        20080158659   us   31-Mar-15   28-Dec-26   28-Dec-06   Suppression
                                                                                                                                                     Parallel Backplane Physical Layer Interface With
     Kim 1-6 {CH)           Kim 1-6 {CH)-US-NP                US6101567      09/090082                      us   8-Aug-00    3-Jun-18    3-Jun-98    Scalable Data Bandwidth
                                                                                                                                                     Optical Wavelength Conversion Using Four Wave
      Kim3-2(KS)            Kim3-2 {KS)-US-NP                 US6330104      09/371989                      us   11-Dec-0l   11-Aug-19   11-Aug-99   Mixing In Fiber
     Kim 6-2 {CH)           Kim 6-2 {CH)-US-NP                US7139475      09/573563                      us   21-Nov-06   19-May-20   19-May-00   Ring Type Fiber Optic Protection
                                                                                                                                                     Built-In Self-Test Controlled By A Token Passing
     Kim 6-7-20 (I)         Kim 6-7-20 (1)-US-NP              US6237123      08/944618                      us   22-May-0l   7-Oct-17    7-Oct-97    Network And Method
                                                                                                                                                     Dual Mode Mobile Phone Operating As A Two-Way
    King 11-6(WC)           King 11-6 (WC)-US-NP              US6415158      09/240578                      us    2-Jul-02   1-Feb-19    1-Feb-99    Radio


                                                                                                                                                     Method For Making An Integrated Circuit Including
Kizilyalli 45-97-112 (IC)   Kizilyalli 45-97-112 (IC)-US-NP   US6281110      09/361733                      us   28-Aug-01   27-Jul-19   27-Jul-99   Deuterium Annealing Of Metal Interconnect Layers
                                                                                                                                                     Method And Geometry For Reduced Drift In
   Kleiman 11 (RN)          Kleiman 11 (RN)-US-NP             US6888658      10/158807        20030232458   us   3-May-05    31-May-22   31-May-02   ElectrostaticallyActuated Devices


  Kleiman 7-1-2 (RN)        Kleiman 7-1-2 (RN)-JP-NP          JP3705723      11326030                       JP   5-Aug-05    16-Nov-19   16-Nov-99   Scanning Depletion Microscopy For Carrier Profiling


  Kleiman 7-1-2 (RN)        Kleiman 7-1-2 (RN)-US-NP          US6417673      09/196489                      us    9-Jul-02   19-Nov-18   19-Nov-98   Scanning Depletion Microscopy For Carrier Profiling
                                                                                                                                                     Tapered Reinforcing Struts For Micromachined
  Klemens2-26(FP)           Klemens 2-26 {FP)-US-NP           US7916373      11/836540        20090040636   us   29-Mar-11   28-Apr-29   9-Aug-07    Structures
                                                                                                                                                     Method And Apparatus For Target Application
    Klemm 3-3 (R)           Klemm 3-3 (R)-US-NP               US6457142      09/430161                      us   24-Sep-02   29-Oct-19   29-Oct-99   Program Supervision
                                                                                                                                                     A Method And Apparatus For Merging Telephone
    Kliebhan 1 (DF)         Kliebhan 1 (DF)-US-NP             US6134560      08/991042                      us   17-Oct-00   16-Dec-17   16-Dec-97   Switching Office Databases
                                                                                                                                                     Adaptive Routing For Packet-Based Calls Using A
     Knauftl(JP)            Knauft 1 (JP)-US-NP               US8274964      11/820978        20080317003   us   25-Sep-12   26-Jul-31   21-Jun-07   Circuit-Based call Routing Infrastructure


                                                                                                                                                     ARQ Protocol Support For Variable Size Transmission
                                                                                                                                                     Data Unit Sizes Using AHierarchically Structured
  Knisely 3-4-22 (DJ        Knisely 3-4-22 (DJ-US-NP          US6317430      09/026361                      us   13-Nov-01   19-Feb-18   19-Feb-98   Sequence Numbering Approach
                                                                                                                                                     Communication System Comprising Lightning
   Knoedl 17-11 (G)         Knoedl 17-11 (G)-DE-EPA           EP0905927      98307239.8       EP0905927     DE   4-Apr-01    8-Sep-18    8-Sep-98    Protection
                                                                                                                                                     Communication System Comprising Lightning
   Knoedl 17-11 (G)         Knoedl 17-11 (G)-FR-EPA           EP0905927      98307239.8       EP0905927     FR   4-Apr-01    8-Sep-18    8-Sep-98    Protection
                                                                                                                                                     Communication System Comprising Lightning
   Knoedl 17-11 (G)         Knoedl 17-11 (G)-GB-EPA           EP0905927      98307239.8       EP0905927     GB   4-Apr-01    8-Sep-18    8-Sep-98    Protection
                                                                                                                                                     Communication System Comprising Lightning
   Knoedl 17-11 (G)         Knoedl 17-11 (G)-JP-NP            JP3378202      268849/1998                    JP   6-Dec-02    24-Sep-18   24-Sep-98   Protection
                                                                                                                                                     Communication System Comprising Lightning
   Knoedl 17-11 (G)         Knoedl 17-11 (G)-US-NP            US5987335      08/937126                      us   16-Nov-99   24-Sep-17   24-Sep-97   Protection
    Knox 44-3 (WH)          Knox 44-3 {WH)-US-NP              US6400165      09/496985                      us    4-Jun-02   2-Feb-20    2-Feb-00    Ultra-Fast Probe
                                                                                                                                                     System And Method For Subtracting Reflection
  Kochanski 43 (GP)         Kochanski 43 {GP)-US-NP           US5854661      08/940221                      us   29-Dec-98   30-Sep-17   30-Sep-97   Images From A Display Screen
                                                                                                                                                     Method And Apparatus For Text To Speech
                                                                                                                                                     Processing Using Language Independent Prosody
 Kochanski 57-4 (GP)        Kochanski 57-4 {GP)-JP-DIV        JP5634466      2012201342       2013011902    JP   24-Oct-14   5-Sep-21    5-Sep-01    Markup


 Kodialam 1-5-l(MS)         Kodialam 1-5-1 (MS)-DE-EPA        EP1014627      99309837.5       EP1014627     DE   4-Apr-07    7-Dec-19    7-Dec-99    Constrained Shortest Path Routing Method


 Kodialam 1-5-l(MS)         Kodialam 1-5-1 (MS)-FR-EPA        EP1014627      99309837.5       EP1014627     FR   4-Apr-07    7-Dec-19    7-Dec-99    Constrained Shortest Path Routing Method


 Kodialam 1-5-l(MS)         Kodialam 1-5-1 (MS)-GB-EPA        EP1014627      99309837.5       EP1014627     GB   4-Apr-07    7-Dec-19    7-Dec-99    Constrained Shortest Path Routing Method




                                                                                                  Page116of149
                                                                                                                                      PATENT
                                                                                                                              REEL: 044000 FRAME: 0257
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 124 of 156
                                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                    ~~:J~JfW
                                                           :ia:~:A,m:::::::::::::::::
                                                           liiitiiiiii~:il\::::'::•:•
                                                                                        :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
   Kodialam 1-5-l(MS)      Kodialam 1-5-1 (MS)-KR-NP        KR659920                    19990059748                                                     KR              14-Dec-06          21-Dec-19                 21-Dec-99   Constrained Shortest Path Routing Method

   Kodialam 1-5-l(MS)      Kodialam 1-5-1 (MS)-US-NP        US6321271                   09/218576                                                       us              20-Nov-01          22-Dec-18                 22-Dec-98   Constrained Shortest Path Routing Method

                                                                                                                                                                                                                                 Characterizing Achievable Flow Rates In Multi-Hop
    Kodialam 39-6 (MS)     Kodialam 39-6 (MS)-US-NP         US7660315                   11/194748                    20070025364                        us               9-Feb-10           6-Oct-27                 1-Aug-05    Mesh Networks With Orthogonal Channels


                                                                                                                                                                                                                                 Routing With Service Level Guarantees Between
    Kodialam 4-10 (MS)     Kodialam 4-10 (MS)-US-NP         US6584071                   09/366620                                                       us              24-Jun-03           3-Aug-19                 3-Aug-99    Ingress-Egress Points In A packet Network
                                                                                                                                                                                                                                 Method And Apparatus For Link Transmission
                                                                                                                                                                                                                                 Scheduling For Handling Traffic Variation In Wireless
  Kodialam 43-48-12 (MS)   Kodialam 43-48-12 (MS)-IN-PCT                                5027/CHENP/2008              5027 /CH ENP/2008                  IN                                 19-Mar-27                 19-Mar-07   Mesh Networks
                                                                                                                                                                                                                                 Method And Apparatus For Link Transmission
                                                                                                                                                                                                                                 Scheduling For Handling Traffic Variation In Wireless
  Kodialam 43-48-12 (MS)   Kodialam 43-48-12 (MS)-KR-PCT    KR101355010                 20087023839                                                     KR              17-Jan-14          19-Mar-27                 19-Mar-07   Mesh Networks
                                                                                                                                                                                                                                 Method And Apparatus For Link Transmission
                                                                                                                                                                                                                                 Scheduling For Handling Traffic Variation In Wireless
  Kodialam 43-48-12 (MS)   Kodialam 43-48-12 (MS)-US-NP     US7729257                   11/394372                    20070237081                        us               1-Jun-10           4-Jan-29                 30-Mar-06   Mesh Networks
                                                                                                                                                                                                                                 Method And Apparatus For Link Transmission
                                                                                                                                                                                                                                 Scheduling For Handling Traffic Variation In Wireless
  Kodialam 43-48-12 (MS)   Kodialam 43-48-12 (MS)-EP-EPT                                07753389.1                   EP1999669                          EP                                 19-Mar-27                 19-Mar-07   Mesh Networks
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-JP-PCT       JP5031841                    2009529193                   2010503940                         JP               6-Jul-12          12-Sep-27                 12-Sep-07   Devices
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-CN-PCT        ZL80034591.2                200780034591.2               101517972                          CN              29-Feb-12          12-Sep-27                 12-Sep-07   Devices
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-DE-EPT        EP2067310                   07838164.7                   EP2067310                          DE              19-Dec-12          12-Sep-27                 12-Sep-07   Devices
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-FR-EPT        EP2067310                   07838164.7                   EP2067310                          FR              19-Dec-12          12-Sep-27                 12-Sep-07   Devices
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-GB-EPT        EP2067310                   07838164.7                   EP2067310                          GB              19-Dec-12          12-Sep-27                 12-Sep-07   Devices
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-IN-PCT                                    1487/CHENP/2009              1487/CH ENP/2009                   IN                                 12-Sep-27                 12-Sep-07   Devices
                                                                                                                                                                                                                                 Estimation Of the Cardinality Of A Set Of Wireless
    Kodialam 46-9 (MS)     Kodialam 46-9 (MS)-US-NP         US7688180                   11/525339                    20080079544                        us              30-Mar-10          12-Dec-28                 22-Sep-06   Devices
                                                         ZL200780036105
  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-CN-PCT .0             200780036105.0                               101554015                          CN              21-Nov-12          24-Sep-27                 24-Sep-07   Anonymous Tracking Using A Set Of Wireless Devices


  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-DE-EPT    EP2074749                   07838717.2                   EP2074749                          DE               23-Jul-14         24-Sep-27                 24-Sep-07   Anonymous Tracking Using A Set Of Wireless Devices


  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-FR-EPT    EP2074749                   07838717.2                   EP2074749                          FR               23-Jul-14         24-Sep-27                 24-Sep-07   Anonymous Tracking Using A Set Of Wireless Devices


  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-GB-EPT EP2074749                      07838717.2                   EP2074749                          GB               23-Jul-14         24-Sep-27                 24-Sep-07   Anonymous Tracking Using A Set Of Wireless Devices


  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-IN-PCT                                1579/CHENP/2009              1579/CHENP/2009                    IN                                 24-Sep-27                 24-Sep-07   Anonymous Tracking Using A Set Of Wireless Devices


  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-JP-PCT   JP4906923                    2009530380                   2010505346                         JP              20-Jan-12          24-Sep-27                 24-Sep-07   Anonymous Tracking Using A Set Of Wireless Devices


  Kodialam 47-16-10 (MS)   Kodialam 47-16-10 (MS)-US-NP     US8299900                   11/824469                    20080074238                        us              30-Oct-12           4-Apr-31                 29-Jun-07   Anonymous Tracking Using A Set Of Wireless Devices
                                                                                                                                                                                                                                 Constraint-Based Routing Between Ingress-Egress
    Kodialam 5-11 (MS)     Kodialam 5-11 (MS)-US-NP         US6538991                   09/366619                                                       us              25-Mar-03           3-Aug-19                 3-Aug-99    Points In A Packet Network
                                                                                                                                                                                                                                 Routing Of Bandwidth Guaranteed Paths With
    Kodialam6-12(MS)       Kodialam 6-12 (MS)-US-NP         US7124187                   09/535206                                                       us              17-Oct-06          27-Mar-20                 27-Mar-00   Restoration In An Information Network


                                                                                                                                                                                                                                 A System And Method For Recording And Controlling
      Koeppe 1 (EC)        Koeppe 1 (EC)-US-NP              US6377858                   08/942472                                                       us              23-Apr-02           2-Oct-17                 2-Oct-97    On/Off Events Of Devices Of A Dwelling


  Kogelnik 38-18-23 {HW)   Kogelnik 38-18-23 {HW)-US-NP     US6684031                   09/099503                                                       us              27-Jan-04          18-Jun-18                 18-Jun-98   Ethernet Fiber Access Communications System
                                                                                                                                                                                                                                 Apparatus And Method For Polarization Mode
    Kogelnik 45-6 {HW)     Kogelnik 45-6 {HW)-US-NP         US6538787                   09/404892                                                       us              25-Mar-03          24-Sep-19                 24-Sep-99   Dispersion Emulation And Compensation


     Kohli 1-1-5-1 (M)     Kohli 1-1-5-1 (M)-US-NP          US7213068                   09/710551                                                       us              1-May-07           26-Apr-24                 9-Nov-00    Policy Management System


     Kola 10-13-9 (RR)     Kola 10-13-9 (RR)-US-NP          US6005197                   08/918216                                                       us              21-Dec-99          25-Aug-17                 25-Aug-97   Embedded Thin Film Passive Components


    Kolesnikov 2-1 (VJ     Kolesnikov 2-1 (VJ-US-NP         US8175854                   12/218293                    20090140767                        us              8-May-12           14-Feb-31                 14-Jul-08   Universal Circuit For Secure Function Evaluation


                                                                                                                                                                                                                                 Method Of Efficient Secure Function Evaluation Using
     Kolesnikov5 (VJ       Kolesnikov 5 (VJ-US-NP           US8923519                   12/455193                    20100306543                        us              30-Dec-14          30-Jun-33                 29-May-09   Resettable Tamper-Resistant Hardware Tokens


                                                                                                                                                                                                                                 A Method Of Efficient Secure Function Evaluation
     Kolesnikov5 (VJ       Kolesnikov 5 (V)-EP-EPT                                      10724616.7                   EP2435946                          EP                                 25-May-30                 25-May-10   Using Resettable Tamper-Resistant Hardware Tokens
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (H)-CN-NP              ZL10106954.1                200510106954.1               CN1756436A                         CN               28-Jul-10         29-Sep-25                 29-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-DE-EPA             EP1643700                   05255912.7                   EP1643700                          DE              31-Oct-07          22-Sep-25                 22-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-FR-EPA             EP1643700                   05255912.7                   EP1643700                          FR              31-Oct-07          22-Sep-25                 22-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-GB-EPA             EP1643700                   05255912.7                   EP1643700                          GB              31-Oct-07          22-Sep-25                 22-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-JP-DIV            JP5399536                    2012142579                   2012249299                         JP               1-Nov-13          29-Sep-25                 29-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-JP-NP             JP5105732                    2005283223                   2006109458                         JP              12-Oct-12          29-Sep-25                 29-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-KR-NP              KR101111157                 20050092020                                                     KR              25-Jan-12          30-Sep-25                 30-Sep-05   Cellular Network
                                                                                                                                                                                                                                 Utilization Of Overhead Channel Quality Metrics In A
      Kong 11-6 (HJ        Kong 11-6 (HJ-US-NP              US9084199                   10/954755                    20060072508                        us               14-Jul-15          9-Apr-29                 30-Sep-04   Cellular Network
                                                                                                                                                                                                                                 Method Of Interference Cancellation In
   Kong 1-6-8-7-1-1 (HJ    Kong 1-6-8-7-1-1 (HJ-US-NP       US7385944                   10/401594                    20040192208                        us              10-Jun-08          14-Nov-25                 31-Mar-03   Communication Systems
                                                                                                                                                                                                                                 Systems And Method For Measuring The
     Konik7-1-1 {WS)       Konik 7-1-1 {WS)-US-NP           US6011616                   09/166060                                                       us               4-Jan-00           2-Oct-18                 2-Oct-98    Concentricity Of A Core To A Ferrule


  Konstantinou 1-2-1 (K)   Konstantinou 1-2-1 (K)-US-NP     US6584201                   09/111225                                                       us              24-Jun-03            7-Jul-18                 7-Jul-98   Remote Automatic Volume Control Apparatus
                                                                                                                                                                                                                                 Service Restriction Control For Mobile
     Koo 11-12-1 (YL)      Koo 11-12-1 (YL)-US-NP           US6889040                   09/686024                                                       us              3-May-05           11-Oct-20                 11-Oct-00   Communications


                                                                                                                                                                                                                                 Dynamic Reconfiguration of a Wireless Network
      Koonen2 (AMJ)        Koonen 2 (AMJ)-US-NP             US5978117                   08/920716                                                       us               2-Nov-99          29-Aug-17                 29-Aug-97   Using Flexible Wavelength Multiplexing




                                                                                                                             Page117of149
                                                                                                                                                                                                      PATENT
                                                                                                                                                                                              REEL: 044000 FRAME: 0258
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 125 of 156
                                                     Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW
                                                                :ia:~:A,m:::::::::::::::::
                                                                liiitiiiiii~:il\::::'::•:•
                                                                                             :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method For Overcoming Faults In An ATM 1/0
      Koppol 1-1 {PV)         Koppol 1-1 {PV)-US-NP              US6574686                   09/444154                                                          us               3-Jun-03          20-Nov-19                 20-Nov-99   Module And Lines Connected Thereto
                                                                                                                                                                                                                                         Article Comprising An Inductive Element With A
     Korenivski 2-23 (VJ      Korenivski 2-23 (VJ-US-NP          US5847634                   08/902686                                                          us               8-Dec-98           30-Jul-17                30-Jul-97   Magnetic Thin Film
                                                                                                                                                                                                                                         Technique For Conducting A Game Over a
       Korilis 4-1 (IA)       Korilis 4-1 (IA)-US-NP             US6335744                   09/120380                                                          us               1-Jan-02           21-Jul-18                21-Jul-98   Communication Network
      Korisch 4-12 (IA)       Korisch 4-12 (IA)-US-NP            US5986608                   09/054006                                                          us              16-Nov-99           2-Apr-18                 2-Apr-98    Antenna Coupler For Portable Telephone
                                                                                                                                                                                                                                         Antenna Package For A Wireless Communications
   Korisch 7-14-1-38 (IA)     Korisch 7-14-1-38 (IA)-US-NP       US6285324                   09/396948                                                          us               4-Sep-01          15-Sep-19                 15-Sep-99   Device


    Kornblit 12-1-7-9 (A)     Kornblit 12-1-7-9 (A)-US-NP        US6021215                   08/948708                                                          us               1-Feb-00          10-Oct-17                 10-Oct-97   Dynamic Data Visualization
 Kornblit 18-14-12-2-5-1-16   Kornblit 18-14-12-2-5-1-16 (A)-                                                                                                                                                                            Method And Apparatus For Controlling Friction
             (A)              US-NP                              US7156032                   10/649285                     20050039661                          us               2-Jan-07          27-Aug-23                 27-Aug-03   Between A Fluid And A Body
 Kornblit 18-14-12-2-5-1-16   Kornblit 22-51-20-4-40-13-25                                                                                                                                                                               Method And Apparatus For Controlling Friction
             (A)              (A)-US-DIV                         US7455021                   11/518694                     20080236473                          us              25-Nov-08          22-Aug-23                 11-Sep-06   Between A Fluid And A Body
                                                                                                                                                                                                                                         Temperature Compensated, Zero Bias RF Detector
       Kossor3 (MG)           Kossor 3 (MG)-US-NP                US6430403                   09/329324                                                          us               6-Aug-02          10-Jun-19                 10-Jun-99   Circuit


                                                                                                                                                                                                                                         Methods And Systems For Providing Wide-Band
        Kott4-31 (JJ)         Kott 4-31 (JJ)-US-NP               US7236484                   10/200368                     20040013122                          us              26-Jun-07          30-May-25                 22-Jul-02   Voice Service Via A Telephone Switch System


      Kovacevic 6-1 (J)       Kovacevic 13-6 (J)-US-DIV          US6249797                   09/253410                                                          us              19-Jun-0l           29-Jul-17                17-Feb-99   Interpolating Filter Banks In Arbitrary Dimensions


      Kovacevic 6-1 (J)       Kovacevic 6-1 (J)-US-NP            US6018753                   08/902557                                                          us              25-Jan-00           29-Jul-17                29-Jul-97   Interpolating Filter Banks In Arbitrary Dimensions
      Kpodzo 1-1 (EB)         Kpodzo 1-1 (EB)-US-NP              US6384695                   09/264051                     20010040486                          us              7-May-02            8-Mar-19                 8-Mar-99    High Power Combiner Apparatus
       Krause 12 (DL)         Krause 12 (DL)-US-NP               US6467980                   09/478227                                                          us              22-Oct-02           6-Jan-20                 6-Jan-00    Apparatus For Cleaning Optical Fiber Endfaces
                                                                                                                                                                                                                                         Compact Apparatus For Cleaning Optical Fiber
      Krause 13-1 (DL)        Krause 13-1 (DL)-US-NP             US6560811                   09/638330                                                          us              13-May-03          14-Aug-20                 14-Aug-00   Endfaces
                                                                                                                                                                                                                                         Survivable Distribution Of Broadcast Signals In
       Kremer14(W)            Kremer 14 (W)-US-NP                US6807190                   09/318385                                                          us              19-Oct-04          25-May-19                 25-May-99   Loopback Rings


    Kriaras 3-11-9-7 (I)      Kriaras 3-11-9-7 (I)-US-NP         US7149194                   09/854962                     20020015394                          us              12-Dec-06          30-Nov-23                 14-May-0l   Telephone Systems
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-CN-NP                          ZL00121704.6                00121704.6                    CN1283005A                          CN               25-Feb-04           25-Jul-20                25-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-DE-EPA                         EP1073229                   00306079.5                     EP1073229                           DE               4-Sep-02           17-Jul-20                17-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-FI-EPA                         EP1073229                   00306079.5                     EP1073229                           Fl               4-Sep-02           17-Jul-20                17-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-FR-EPA                         EP1073229                   00306079.5                     EP1073229                           FR               4-Sep-02           17-Jul-20                17-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-GB-EPA                         EP1073229                   00306079.5                     EP1073229                          GB                4-Sep-02           17-Jul-20                17-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-KR-NP                          KR759235                    20000043301                                                        KR              11-Sep-07           27-Jul-20                27-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-SE-EPA                         EP1073229                   00306079.5                     EP1073229                           SE               4-Sep-02           17-Jul-20                17-Jul-00   Demodulation Method For Receiver
Krishnamoorthy 10-2-11-12- Krishnamoorthy 10-2-11-12-9
            9 (R)             (R)-US-NP                          U56782037                   09/361317                                                          us              24-Aug-04           27-Jul-19                27-Jul-99   Demodulation Method For Receiver
                              Krishnamoorthy 22-25 (AV)-US-
 Krishnamoorthy 22-25 (AV)    NP                                 US6498798                   09/298309                                                          us              24-Dec-02          23-Apr-19                 23-Apr-99   Priority-Based Statistical Multiplexer-Hub
 Krishnamoorthy 27-21-15      Krishnamoorthy 27-21-15 (AV)-                                                                                                                                                                              Word Multiplexing Of Encoded Signals Into A Higher
            (AV)              US-NP                              US7295554                   09/521693                                                          us              13-Nov-07           9-Mar-20                 9-Mar-00    Bit Rate Serial Data Stream
                                                                                                                                                                                                                                         Power Distribution Network For Optoelectronic
  Krishnamoorthy 32 (AV)      Krishnamoorthy 32 (AV)-US-NP       US6977950                   09/450054                                                          us              20-Dec-05          29-Nov-19                 29-Nov-99   Circuits
                                                                                                                                                                                                                                         Control Channel For Time Division Multiple Access
 Krishnamoorthy 6-8-3 (R)     Krishnamoorthy 6-8-3 (R)-JP-NP    JP3727510                    2000144726                                                         JP               7-Oct-05          17-May-20                 17-May-00   Systems
                                                                                                                                                                                                                                         Control Channel For Time Division Multiple Access
 Krishnamoorthy 6-8-3 (R)     Krishnamoorthy 6-8-3 (R)-KR-NP     KR777145                    20000026078                                                        KR              12-Nov-07          16-May-20                 16-May-00   Systems
                                                                                                                                                                                                                                         Control Channel For Time Division Multiple Access
 Krishnamoorthy 6-8-3 (R)     Krishnamoorthy 6-8-3 (R)-TW-NP TW167286                        89109285                      510093                              TW                3-Apr-03          15-May-20                 15-May-00   Systems
                                                                                                                                                                                                                                         Control Channel For Time Division Multiple Access
 Krishnamoorthy 6-8-3 (R)     Krishnamoorthy 6-8-3 (R)-US-NP     US6839334                   09/312793                                                          us               4-Jan-05          17-May-19                 17-May-99   Systems
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              CN-NP                              ZL00121705.4                00121705.4                    CN1283004A                          CN               14-Jan-09           25-Jul-20                25-Jul-00   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              DE-EPA                             EP1073302                   00306063.9                     EP1073302                           DE              13-Oct-04           17-Jul-20                17-Jul-00   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              Fl-EPA                             EP1073302                   00306063.9                     EP1073302                           Fl              13-Oct-04           17-Jul-20                17-Jul-00   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              FR-EPA                             EP1073302                   00306063.9                     EP1073302                           FR              13-Oct-04           17-Jul-20                17-Jul-00   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              GB-EPA                             EP1073302                   00306063.9                     EP1073302                          GB               13-Oct-04           17-Jul-20                17-Jul-00   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              US-NP                              US6490270                   09/361430                                                          us               3-Dec-02           27-Jul-19                27-Jul-99   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              CA-NP                             CA2313817                    2313817                                                           CA               15-Feb-05           12-Jul-20                12-Jul-00   Modulation Method For Transmitter
Krishnamoorthy 9-1-10-11-8 Krishnamoorthy 9-1-10-11-8 (R)-
             (R)              KR-NP                              KR738823                    20000043300                                                        KR               6-Jul-07           27-Jul-20                27-Jul-00   Modulation Method For Transmitter


   Krishnamurthyl(SM)         Krishnamurthy 1 (SM)-US-NP         US8345847                   11/802892                     20080292076                          us               1-Jan-13          30-Oct-31                 25-May-07   System And Method For call Hibernation


     Krishnan3-2-5(P)         Krishnan3-2-5 (P)-DE-EPA           EP1006701                   99309593.4                     EP1006701                           DE               8-Jul-09          30-Nov-19                 30-Nov-99   Adaptive Re-Ordering Of Data Packet Filter Rules


     Krishnan3-2-5(P)         Krishnan 3-2-5 (P)-FR-EPA          EP1006701                   99309593.4                     EP1006701                           FR               8-Jul-09          30-Nov-19                 30-Nov-99   Adaptive Re-Ordering Of Data Packet Filter Rules


     Krishnan3-2-5(P)         Krishnan3-2-5 (P)-GB-EPA           EP1006701                   99309593.4                     EP1006701                          GB                8-Jul-09          30-Nov-19                 30-Nov-99   Adaptive Re-Ordering Of Data Packet Filter Rules


     Krishnan3-2-5(P)         Krishnan 5-7-8 (P)-US-CNT          US6606710                   10/179460                     20030051165                          us              12-Aug-03           3-Dec-18                 24-Jun-02   Adaptive Re-Ordering Of Data Packet Filter Rules
                                                                                                                                                                                                                                         Method To Sequence Changes For IP Network
    Krishnan 4-1-1-1 (P)      Krishnan 4-1-1-1 (P)-US-NP         US6621798                   09/418524                                                          us              16-Sep-03          14-Oct-19                 14-Oct-99   Configuration
                              Kroupenkine 6-4-41-8 (TN)-US-                                                                                                                                                                              Optical Waveguide Devices With Electro-Wetting
 Kroupenkine 6-4-41-8 (TN)    NP                                 US6829415                   10/231614                     20040042721                          us               7-Dec-04          30-Aug-22                 30-Aug-02   Actuation
                                                                                                                                                                                                                                         System And Method For Multiple Language Access In
       Ksiazek 1 (PD)         Ksiazek 1 (PD)-US-NP               US6597765                   09/105932                                                          us               22-Jul-03         26-Jun-18                 26-Jun-98   A Telephone Network
                                                                                                                                                                                                                                         Battery Rack Having Low Resistance Compartment
                                                                                                                                                                                                                                         Dividers And Methods Of Operation And
        Kuipers 5 (R)         Kuipers 5 (R)-US-NP                US5890606                   08/890898                                                          us               6-Apr-99           10-Jul-17                10-Jul-97   Manufacture Thereof


                                                                                                                                                                                                                                         Video Hand Image-Three-Dimensional Computer
       Kumar 2-13 (5)         Kumar 2-13 (5)-US-NP               US6147678                   09/208196                                                          us              14-Nov-00           9-Dec-18                 9-Dec-98    Interface With Multiple DegreesOf Freedom
      Kumar3-5-4(5)           Kumar3-5-4(5)-DE-EPA               EP0899981                   98306550.9                     EP0899981                           DE              8-May-02           18-Aug-18                 18-Aug-98   A Method For Performing A Soft Handoff




                                                                                                                                   Page118of149
                                                                                                                                                                                                              PATENT
                                                                                                                                                                                                      REEL: 044000 FRAME: 0259
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 126 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW
                                                               :ia:~:A,m:::::::::::::::::
                                                               liiitiiiiii~:il\::::'::•:•
                                                                                            :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                             ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
      Kumar3-5-4(5)          Kumar3-5-4(5)-FI-EPA               EP0899981                   98306550.9                     EP0899981                           Fl              8-May-02           18-Aug-18                 18-Aug-98   A Method For Performing A Soft Handoff
      Kumar3-5-4(5)          Kumar 3-5-4(5)-FR-EPA              EP0899981                   98306550.9                     EP0899981                           FR              8-May-02           18-Aug-18                 18-Aug-98   A Method For Performing A Soft Handoff
      Kumar3-5-4(5)          Kumar3-5-4(5)-GB-EPA               EP0899981                   98306550.9                     EP0899981                          GB               8-May-02           18-Aug-18                 18-Aug-98   A Method For Performing A Soft Handoff
      Kumar3-5-4(5)          Kumar3-5-4(5)-SE-EPA               EP0899981                   98306550.9                     EP0899981                           SE              8-May-02           18-Aug-18                 18-Aug-98   A Method For Performing A Soft Handoff
      Kumar3-5-4(5)          Kumar 3-5-4(5)-US-NP               US6097954                   08/920779                                                          us               1-Aug-00          29-Aug-17                 29-Aug-97   A Method For Performing A Soft Handoff
                                                                                                                                                                                                                                        Gesture-Based Input Interface System With Shadow
      Kumar5-15(5)           Kumar5-15 (5)-US-NP                US6624833                   09/551041                                                          us              23-Sep-03          17-Apr-20                 17-Apr-00   Detection


                                                                                                                                                                                                                                        Enhanced Access In Wireless Communication
      Kumar5-6-5 (5)         Kumar 5-6-5 (5)-US-NP              US6507568                   08/918996                     20010043578                          us              14-Jan-03          27-Aug-17                 27-Aug-97   Systems Under Rapidly Fluctuating Fading Conditions


                                                                                                                                                                                                                                        Method And Apparatus For Processing Of Regulated
     Kumaran 14-1 (K)        Kumaran 14-1 (K)-US-NP             US7136352                   09/999302                     20020097716                          us              14-Nov-06          31-May-24                 31-Oct-01   Connections In A Communication Network


     Kumaran 16-2 (K)        Kumaran 16-2 (K)-US-NP             US7158804                   10/305614                     20040102202                          us               2-Jan-07          16-May-24                 27-Nov-02   Uplink Scheduling for Wireless Networks
                                                                                                                                                                                                                                        Method For Partitioning Mobile Stations ofa
                                                                                                                                                                                                                                        Wireless Network Between an Overlay and an
     Kumaran8-3 (K)          Kumaran8-3 (K)-DE-EPA              EP0993210                   99307653.8                     EP0993210                           DE              30-Jan-02          28-Sep-19                 28-Sep-99   Overlay
                                                                                                                                                                                                                                        Method For Partitioning Mobile Stations ofa
                                                                                                                                                                                                                                        Wireless Network Between an Overlay and an
     Kumaran8-3 (K)          Kumaran8-3 (K)-FR-EPA              EP0993210                   99307653.8                     EP0993210                           FR              30-Jan-02          28-Sep-19                 28-Sep-99   Overlay
                                                                                                                                                                                                                                        Method For Partitioning Mobile Stations ofa
                                                                                                                                                                                                                                        Wireless Network Between an Overlay and an
     Kumaran8-3 (K)          Kumaran8-3 (K)-GB-EPA              EP0993210                   99307653.8                     EP0993210                          GB               30-Jan-02          28-Sep-19                 28-Sep-99   Overlay
                                                                                                                                                                                                                                        Method For Partitioning Mobile Stations ofa
                                                                                                                                                                                                                                        Wireless Network Between an Overlay and an
     Kumaran8-3 (K)          Kumaran8-3 (K)-US-NP               US6405046                   09/369687                                                          us              11-Jun-02           6-Aug-19                 6-Aug-99    Overlay
                                                                                                                                                                                                                                        Method And Apparatus For Inter-Frequency Hand-Off
      Kuo8-5-5 (W)           Kuo8-5-5 (W)-JP-NP                JP3574945                    87948/1999                    11331912                             JP               16-Jul-04         30-Mar-19                 30-Mar-99   In Wireless CommunicationSystems
                                                                                                                                                                                                                                        Method And Apparatus For Inter-Frequency Hand-Off
      Kuo8-5-5 (W)           Kuo 8-5-5 (W)-KR-NP                KR447694                    19990010931                                                        KR              30-Aug-04          30-Mar-19                 30-Mar-99   In Wireless CommunicationSystems
                                                                                                                                                                                                                                        Method And Apparatus For Inter-Frequency Hand-Off
      Kuo8-5-5 (W)           Kuo 8-5-5 (W)-US-NP                US6181943                   09/050535                                                          us              30-Jan-0l          30-Mar-18                 30-Mar-98   In Wireless CommunicationSystems
                                                                                                                                                                                                                                        Methodology Of Reducing Areas With Multiple
                                                                                                                                                                                                                                        Dominant Pilots By Rotating The Sectored Antenna
      Kuo 9-6-2-7 (W)        Kuo 9-6-2-7 (W)-US-NP              US6038453                   08/990332                                                          us              14-Mar-00          15-Dec-17                 15-Dec-97   Pointing Direction
                                                                                                                                                                                                                                        Common Access Code Routing Using Subscriber
      Kurdukar2(PJ)          Kurdukar2 (PJ)-US-NP               US6668050                   09/391098                                                          us              23-Dec-03           7-Sep-19                 7-Sep-99    Directory Number


                                                                                                                                                                                                                                        Detecting Of Model Errors Through Simplification Of
     Kurshan 21-3 (RP)       Kurshan 21-3 (RP)-US-NP            US6311293                   09/211582                                                          us              30-Oct-01          14-Dec-18                 14-Dec-98   Model Via State Reachability Analysis


  Kurshan 23-2-2-6-2 (RP)    Kurshan 23-2-2-6-2 (RP)-US-NP      US6295515                   09/172460                                                          us              25-Sep-0l          14-Oct-18                 14-Oct-98   Static Partial Order Reduction
                                                                                                                                                                                                                                        Method And Apparatus For Voice Over IP Network
      Kutac 1-5 (GS)         Kutac 1-5 {GS)-US-NP               US7224687                   10/087565                     20030161295                          us              29-May-07           1-Aug-24                 28-Feb-02   Address Translation
                                                                                                                                                                                                                                        Inter-Switch Telecommunications System For
                                                                                                                                                                                                                                        Interconnecting Packet-Capable Time Division
                                                                                                                                                                                                                                        Multiplexed Switches With Non-Packet-Capable Time
                                                                                                                                                                                                                                        Division Multiplexed Switches Via An Asynchronous
       Kutterl(RW)           Kutterl (RW)-US-NP                 US7177305                   10/133958                                                          us              13-Feb-07          29-Apr-25                 25-Apr-02   Transfer Mode Network
                                                                                                                                                                                                                                        Increasing The Range of Access Point Cells For A
                                                                                                                                                                                                                                        Given Throughput In A Downlink Of A Wireless Local
     Kuzminskiy8 (A)         Kuzminskiy 8 (A)-US-NP             US7599714                   11/241896                     20070077968                          us               6-Oct-09           7-Oct-27                 30-Sep-05   Area Network


     Kuzminskiy9 (A)         Kuzminskiy 9 (A)-DE-EPA            EP2040390                   07115327.4                     EP2040390                           DE              14-Apr-10          30-Aug-27                 30-Aug-07   Multiple-Antenna Interference cancellation


     Kuzminskiy9 (A)         Kuzminskiy 9 (A)-FR-EPA            EP2040390                   07115327.4                     EP2040390                           FR              14-Apr-10          30-Aug-27                 30-Aug-07   Multiple-Antenna Interference cancellation


     Kuzminskiy9 (A)         Kuzminskiy 9 (A)-GB-EPA            EP2040390                   07115327.4                     EP2040390                          GB               14-Apr-10          30-Aug-27                 30-Aug-07   Multiple-Antenna Interference cancellation


   Kwong5-2-4-1 (MK)         Kwong 5-2-4-1 (MK)-US-NP           US7689973                   11/135252                     20060265629                          us              30-Mar-10          28-Jan-29                 23-May-05   Language For Development Of Test Harness Files
                                                                                                                                                                                                                                        Auto-Recording Tool For Developing Test Harness
   Kwong6-3-5-2 (MK)         Kwong 6-3-5-2 (MK)-US-NP           US7702958                   11/135707                     20060271824                          us              20-Apr-10          26-Apr-27                 24-May-05   Files
                                                                                                                                                                                                                                        Auto-Executing Tool For Developing Test Harness
   Kwong 7-4-6-3 (MK)        Kwong 7-4-6-3 (MK)-US-NP           US7890806                   11/135696                     20060271830                          us              15-Feb-11           3-Jan-27                 24-May-05   Files


   La Bombard 2-9(BM)        La Bombard 2-9 (BM)-JP-NP         JP4414632                    2002106747                                                         JP              27-Nov-09           9-Apr-22                 9-Apr-02    Consolidated Billing In A Wireless Network


   La Bombard 2-9(BM)        La Bombard 2-9 (BM)-US-NP          US7392035                   09/842899                     20020160748                          us              24-Jun-08           8-Jan-24                 27-Apr-0l   Consolidated Billing In A Wireless Network


   La Porta 17-23-3 (TF)     La Porta 17-23-3 (TF)-DE-EPA       EP0821535                   97305264.0                     EP0821535                           DE               5-Oct-05           15-Jul-17                15-Jul-97   Two-Way Wireless Messaging System


   La Porta 17-23-3 (TF)     La Porta 17-23-3 (TF)-FR-EPA       EP0821535                   97305264.0                     EP0821535                           FR               5-Oct-05           15-Jul-17                15-Jul-97   Two-Way Wireless Messaging System


   La Porta 17-23-3 (TF)     La Porta 17-23-3 (TF)-GB-EPA       EP0821535                   97305264.0                     EP0821535                          GB                5-Oct-05           15-Jul-17                15-Jul-97   Two-Way Wireless Messaging System


   La Porta 17-23-3 (TF)     La Porta 17-23-3 (TF)-JP-NP       JP3207137                    09198877                                                           JP               6-Jul-01           24-Jul-17                24-Jul-97   Two-Way Wireless Messaging System
                                                                                                                                                                                                                                        Two-Way Wireless Messaging System with Flexible
   La Porta 19-25-5 (TF)     La Porta 19-25-5 (TF)-DE-EPA       EP0825788                   97306279.7                     EP0825788                           DE               6-Feb-08          19-Aug-17                 19-Aug-97   Messaging
                                                                                                                                                                                                                                        Two-Way Wireless Messaging System with Flexible
   La Porta 19-25-5 (TF)     La Porta 19-25-5 (TF)-FR-EPA       EP0825788                   97306279.7                     EP0825788                           FR               6-Feb-08          19-Aug-17                 19-Aug-97   Messaging
                                                                                                                                                                                                                                        Two-Way Wireless Messaging System with Flexible
   La Porta 19-25-5 (TF)     La Porta 19-25-5 (TF)-GB-EPA       EP0825788                   97306279.7                     EP0825788                          GB                6-Feb-08          19-Aug-17                 19-Aug-97   Messaging
                                                                                                                                                                                                                                        Two-Way Wireless c.ellular Messaging System with
   La Porta 20-26-6 (TF)     La Porta 20-26-6 (TF)-JP-NP       JP3103786                    09216734                      2000970138                           JP              25-Aug-00          11-Aug-17                 11-Aug-97   Transaction Server
                                                                                                                                                                                                                                        Transient Tunneling For Dynamic Home Addressing
 La Porta 46-16-7-4-6 (TF)   La Porta 46-16-7-4-6 (TF)-US-NP    US7554967                   09/662531                                                          us              30-Jun-09           1-Jun-22                 15-Sep-00   On Mobile Hosts
                                                                                                                                                                                                                                        Deep Drawn Enclosure With Integrated HeatsinkAnd
    LaGrotta 12-3 (RT)       LaGrotta 12-3 (RT)-US-NP           US6374912                   09/223376                                                          us              23-Apr-02          30-Dec-18                 30-Dec-98   Fastening Details


    LaGrotta 6-14-4 (JT)     LaGrotta 6-14-4 (JT)-US-NP         US6213578                   09/373077                                                          us              10-Apr-0l          11-Aug-19                 11-Aug-99   Mounting Assembly For An Enclosure


     LaGrotta 6-2 (RT)       LaGrotta 6-2 (RT)-US-NP            US6318824                   09/181868                                                          us              20-Nov-01          29-Oct-18                 29-Oct-98   Hinged Tracking System
                                                                                                                                                                                                                                        Method And Apparatus For Heat Regulating
     LaGrotta 7-15 (JT)      LaGrotta 7-15 (JT)-US-NP           US6201221                   09/397031                                                          us              13-Mar-0l          16-Sep-19                 16-Sep-99   Electronic Products


                                                                                                                                                                                                                                        Initiation Of Network Treatment For Data Packet
                                                                                                                                                                                                                                        Associated With Real-Time Application Different
                                                                                                                                                                                                                                        From Network Treatment Applicable To Data Packet
      Laha 7-1-3-3 (5)       Laha 7-1-3-3 (5)-US-NP             US8036122                   10/406352                     20040196786                          us              11-Oct-11          23-Apr-27                 3-Apr-03    Non-Associated With The Real-Time Application
     Lakhani 1-1-6(5)        Lakhani 1-1-6 (5)-US-NP            US6064864                   09/057029                                                          us              16-May-00           8-Apr-18                 8-Apr-98    Antenna Interlocks For Housing Assembly




                                                                                                                                  Page119of149
                                                                                                                                                                                                             PATENT
                                                                                                                                                                                                     REEL: 044000 FRAME: 0260
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 127 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                          :ia:~:A,m:::::::::::::::::
                                                          liiitiiiiii~:il\::::'::•:•
                                                                                       :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Packet Filter System Bitmap Vector Of Filter Rules For
    Lakshman5-3(TV)         Lakshman 5-3 (TV)-US-NP        US5951651                   08/899423                                                          us              14-Sep-99           23-Jul-17                23-Jul-97   Routing Packet Through Network
                                                                                                                                                                                                                                   Packet Filter Method And Apparatus Employing
    Lakshman 6-5 (TV)       Lakshman 6-5 (TV)-US-NP        US6289013                   09/145433                                                          us              11-Sep-0l           2-Sep-18                 2-Sep-98    Reduced Memory
                                                                                                                                                                                                                                   Packet Classification Method And Apparatus
    Lakshman 7-6 (TV)       Lakshman 7-6 (TV)-US-NP        US6341130                   09/146122                                                          us              22-Jan-02           2-Sep-18                 2-Sep-98    Employing Two Fields
                                                                                                                                                                                                                                   Method And Apparatus For Event Monitoring In An
     Lambert 10-1 (DJ       Lambert 10-1 (DJ-US-NP         US7016806                   10/811291                                                          us              21-Mar-06           1-May-24                 26-Mar-04   Information Processing System
                            Lamoureux2-5-3-6-11 (P)-DE-                                                                                                                                                                            Intelligent Antenna Sub-Sector Switching For Time
 Lamoureux 2-5-3-6-11 (P)   EPA                            EP0984646                   99306681.0                     EP0984646                           DE               9-Jan-08          23-Aug-19                 23-Aug-99   Slotted Systems
                            Lamoureux2-5-3-6-11 (P)-FR-                                                                                                                                                                            Intelligent Antenna Sub-Sector Switching For Time
 Lamoureux 2-5-3-6-11 (P)   EPA                            EP0984646                   99306681.0                     EP0984646                           FR               9-Jan-08          23-Aug-19                 23-Aug-99   Slotted Systems
                            Lamoureux2-5-3-6-11 (P)-GB-                                                                                                                                                                            Intelligent Antenna Sub-Sector Switching For Time
 Lamoureux 2-5-3-6-11 (P)   EPA                            EP0984646                   99306681.0                     EP0984646                          GB                9-Jan-08          23-Aug-19                 23-Aug-99   Slotted Systems
                                                                                                                                                                                                                                   Intelligent Antenna Sub-Sector Switching For Time
 Lamoureux 2-5-3-6-11 (P)   Lamoureux 2-5-3-6-11 (P)-US-NP US6330458                   09/144312                                                          us              11-Dec-0l          31-Aug-18                 31-Aug-98   Slotted Systems


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-JP-NP      JP3881529                    2001184192                    2002027539                           JP              17-Nov-06          19-Jun-21                 19-Jun-0l   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-KR-NP       KR790609                    20010034450                                                        KR              24-Dec-07          18-Jun-21                 18-Jun-0l   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-US-NP       U56708040                   09/596817                                                          us              16-Mar-04          19-Jun-20                 19-Jun-00   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-DE-EPA      EP1168877                   01305054.7                     EP1168877                           DE              18-Feb-04          11-Jun-21                 11-Jun-0l   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-FI-EPA      EP1168877                   01305054.7                     EP1168877                           Fl              18-Feb-04          11-Jun-21                 11-Jun-0l   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-FR-EPA      EP1168877                   01305054.7                     EP1168877                           FR              18-Feb-04          11-Jun-21                 11-Jun-0l   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-GB-EPA      EP1168877                   01305054.7                     EP1168877                          GB               18-Feb-04          11-Jun-21                 11-Jun-0l   Link-Level Support Of Wireless Data


    Laroia 23-15-8 (R)      Laroia 23-15-8 (R)-SE-EPA      EP1168877                   01305054.7                     EP1168877                           SE              18-Feb-04          11-Jun-21                 11-Jun-0l   Link-Level Support Of Wireless Data
                                                                                                                                                                                                                                   Communication Method For Frequency Division
                                                                                                                                                                                                                                   Multiplexing Signalling Systems, With Reduced
     Laroia 7-8-2 (R)       Laroia 7-8-2 (R)-US-NP         US6301268                   09/037847                                                          us               9-Oct-01          10-Mar-18                 10-Mar-98   Average Power Requirements
                                                                                                                                                                                                                                   Method And Apparatus For Increasing The Spectral
                                                                                                                                                                                                                                   Efficiency of Dense Wavelength Division Multiplexed
     Laroia 8-9-6 (R)       Laroia 8-9-6 (R)-US-NP         US6542276                   09/143189                                                          us               1-Apr-03          28-Aug-18                 28-Aug-98   Systems
                                                                                                                                                                                                                                   System And Method For Filtering Echo/Next Signal
    Larsson 20-11 (P)       Larsson 20-11 (P)-US-NP        US6898281                   09/477910                                                          us              24-May-05           5-Jan-20                 5-Jan-00    lntetferrence
                                                                                                                                                                                                                                   Compact Mach-Zehnder Interferometer And
    Laskowski 14-7 (EJ)     Laskowski 14-7 (EJ)-US-NP      US6115520                   09/035317                                                          us               5-Sep-00           5-Mar-18                 5-Mar-98    Wavelength Reference Employing Same


       Lauer3(BA)           Lauer3 (BAJ-US-NP              US7414997                   10/800214                     20050201371                          us              19-Aug-08          16-Jun-26                 12-Mar-04   GPRS Tunneling Protocol Path Integrity Protocol
                                                                                                                                                                                                                                   Method For The Manufacture Of Elbows For
                                                                                                                                                                                                                                   Microwave Guides And Elbows Obtained According
       Le Neve 1 (A)        Le Neve 1 (A)-US-NP            US6253444                   09/315630                                                          us               3-Jul-01          20-May-19                 20-May-99   To The Method
                                                                                                                                                                                                                                   Method And Apparatus For Determining The Status
      LeDuc 3-2 (DE)        LeDuc 3-2 (DE)-US-NP           US6484202                   09/441437                                                          us              19-Nov-02          16-Nov-19                 16-Nov-99   Of A Transmission Link


                                                                                                                                                                                                                                   Method For Target-Specific Development Of Fixed-
          Leel(C)           Lee 1 (C)-US-NP                US6460177                   09/401136                                                          us               1-Oct-02          22-Sep-19                 22-Sep-99   Point Algorithms Employing C++ Class Definitions
                                                                                                                                                                                                                                   VOiP Encoded Packet Prioritization Done Per Packet
    Lee 10-14-11 (M)        Lee 10-14-11 (M)-US-NP         US7903688                   11/078012                     20060203822                          us              8-Mar-11           18-Mar-27                 11-Mar-05   In An IP Communications Network
                                                                                                                                                                                                                                   Method And Apparatus For Scheduling Data Packet
                                                                                                                                                                                                                                   Transmission Over A Multi hop Wireless Backhaul
     Lee 1-10-25-7 (5)      Lee 1-10-25-7 (5)-US-NP        US7366178                   11/225516                     20070058604                          us              29-Apr-08          17-Oct-26                 13-Sep-05   Network


                                                                                                                                                                                                                                   Method And Apparatus For Performing Active Packet
                                                                                                                                                                                                                                   Bundling In A Voice Over IP Communications System
    Lee 12-17-12 (M)        Lee 12-17-12 (M)-US-NP         US8477760                   11/288694                     20070121586                          us               2-Jul-13          12-Jun-31                 29-Nov-05   Based On Voice Concealability
                                                                                                                                                                                                                                   Method Of Assigning Uplink Reference Signals, And
        Lee 13 (JA)         Lee 13 (JA)-US-NP              US7701919                   11/414402                     20080123616                          us              20-Apr-10          18-Feb-29                 1-May-06    Transmitter And Receiver Thereof
                                                                                                                                                                                                                                   Method Of Assigning Uplink Reference Signals, And
        Lee 13 (JA)         Lee 13 (JA)-EP-EPT                                         07776213.6                     EP2016729                           EP                                 24-Apr-27                 24-Apr-07   Transmitter And Receiver Thereof


                                                                                                                                                                                                                                   Method And Apparatus For Performing Active Packet
                                                                                                                                                                                                                                   Bundling In A Voice Over-IP Communications System
      Lee 13-18(M)          Lee 13-18 (M)-US-NP            US7633947                   11/288743                     20070121594                          us              15-Dec-09          15-Oct-28                 29-Nov-05   Based On Source Location In Talk Spurts
                                                                                                                                                                                                                                   A Method And Apparatus For Supporting Short-
        Lee2(55)            Lee 2 (55)-US-NP               US8036687                   10/376378                     20040023676                          us              11-Oct-11          10-Nov-27                 28-Feb-03   Messaging In A Communication Network
                                                                                                                                                                                                                                   Configuration Management Of A Hybrid DCS-SONET
          Lee 2 (T)         Lee 2 (T)-US-NP                US6959000                   09/500387                                                          us              25-Oct-05           8-Feb-20                 8-Feb-00    Ring Network


                                                                                                                                                                                                                                   Improved System And Method For Providing Dynamic
      Lee 26-14 (CC)        Lee 26-14 (CC)-US-NP           US6882838                   09/565530                                                          us              19-Apr-05          5-May-20                  5-May-00    Call Disposition Service To Wireless Terminals


                                                                                                                                                                                                                                   Method And Apparatus For Performing Real-Time
     Lee 27-9-1-5 (C)       Lee 27-9-1-5 (C)-US-NP         U56782363                   09/848897                     20020184017                          us              24-Aug-04           4-May-21                 4-May-01    Endpoint Detection In Automatic Speech Recognition
                                                                                                                                                                                                                                   Method And Apparatus For Synchronizing Databases
          Lee 3 (T)         Lee 3 (T)-US-NP                US6721735                   09/697281                                                          us              13-Apr-04          26-Oct-20                 26-Oct-00   In A Network Management System


                                                                                                                                                                                                                                   SegmentedArchitectureForMultipleSequence
     Lee 3-9-2-9 (JA)       Lee 3-9-2-9 (JA)-JP-NP        JP5084079                    2001284240                    2002111540                           JP              14-Sep-12          19-Sep-21                 19-Sep-0l   Detection And Identification In Fading Channels


                                                                                                                                                                                                                                   SegmentedArchitectureForMultipleSequence
     Lee 3-9-2-9 (JA)       Lee 3-9-2-9 (JA)-US-NP         U56771688                   09/664646                                                          us               3-Aug-04          19-Sep-20                 19-Sep-00   Detection And Identification In Fading Channels
                                                                                                                                                                                                                                   Method And Apparatus For Diversity Control In
          Lee 4 (C)         Lee 4 (C)-US-NP                US7412381                   09/672511                                                          us              12-Aug-08          13-Nov-25                 28-Sep-00   Multiple Description Voice Communication
                                                                                                                                                                                                                                   Method And Apparatus For Diversity Control In
          Lee 4 (C)         Lee 5 (CJ-US-DIV               US7756705                   11/900045                     20080015856                          us               13-Jul-10         12-Oct-20                 6-Sep-07    Multiple Description Voice Communication
                                                                                                                                                                                                                                   SegmentedArchitectureForMultipleSequence
                                                                                                                                                                                                                                   Detection And Identification With Frequency Offset
        Lee 4(JA)           Lee 4 (JA)-US-NP               US6907091                   09/773176                                                          us              14-Jun-05          13-May-23                 31-Jan-0l   Compensation
                                                                                                                                                                                                                                   Method And Apparatus For Managing Adjunct Access
          Lee 4 (T)         Lee 4 (T)-US-NP                US7155217                   09/625889                                                          us              26-Dec-06          16-Sep-21                 26-Jul-00   And Leased Facilities
                                                                                                                                                                                                                                   Method And Apparatus For The Estimation Of Total
                                                                                                                                                                                                                                   Transmission Delay By Statistical Analysis Of
       Lee 4-7 (M)          Lee 4-7 (M)-US-NP              US7436822                   10/457104                     20040247112                          us              14-Oct-08          11-Oct-26                 9-Jun-03    Conversational Behavior


        Lee 5-1 (DJ         Lee 5-1 (DJ-US-NP              US6459758                   09/137533                                                          us               1-Oct-02          21-Aug-18                 21-Aug-98   Method And Apparatus For Discrete Tomography




                                                                                                                             Page 120 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0261
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 128 of 156
                                                Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                    ~~:J~JfW                      liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                         :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                    ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method Of Determining Random Access Channel
                                                                                                                                                                                                                               Preamble Detection Performance In A
       LeeS-l(JA)          Lee 5-1 (JA)-US-NP             US7643438                   10/649797           20050047347                           us                     5-Jan-10          21-Sep-27                 28-Aug-03   Communication System


                                                                                                                                                                                                                               Method And Apparatus For Extracting Reliability
      LeeS-25-1(1)         Lee 5-25-1 (1)-US-NP           US6587987                   09/611887                                                 us                     1-Jul-03            7-Jul-20                 7-Jul-00   Information From Partial Response Channels
                                                                                                                                                                                                                               Packet Loss Concealment Based On Statistical N-
                                                                                                                                                                                                                               Gram Predictive Models For Use In Voice-Over-IP
      LeeS-6-1 (M)         Lee 5-6-1 (M)-US-NP            US7701886                   10/856728           20050276235                           us                    20-Apr-10          18-Feb-29                 28-May-04   Speech Transmission


       Lee 6 (BH)          Lee 6 (BH)-US-NP              US6005998                    09/026856                                                 us                    21-Dec-99          20-Feb-18                 20-Feb-98   Strictly Non-Blocking Scalable Matrix Optical Switch


                                                                                                                                                                                                                               Method And Arrangement For Detecting A Random
                                                                                                                                                                                                                               Access Channel Preamble Using Multiple Antenna
       Lee 6-1 (JA)        Lee 6-1 (JA)-US-NP            US7321645                    10/651200           20050047530                           us                    22-Jan-08           13-Jul-25                29-Aug-03   Reception In A Communication System
       Lee 9-4 (JA)        Lee 9-4 (JA)-US-NP            US7995585                    11/035082           20060159013                           us                     9-Aug-11          21-Aug-27                 14-Jan-05   Method Of Controlling Transmission Rates
                                                                                                                                                                                                                               Device For Digitally Slaving The Position Of A Moving
        Lelul(P)           Lelu 1 (P)-US-PCT             US6252366                    09/462237                                                 us                    26-Jun-0l            3-Jul-18                 3-Jul-98   Part

  Lemaire27-23-22 (PJ)     Lemaire 27-23-22 (PJ)-US-NP   US6147341                    09/023425                                                 us                    14-Nov-00          13-Feb-18                 13-Feb-98   Temperature Compensating Device For Fiber Gratings


                                                                                                                                                                                                                               Method For Creating And Modifying Similar And
                                                                                                                                                                                                                               Dissimilar Databases For use In Dialing Plan
   Lennert3-2-2-2(JF)      Lennert 3-2-2-2 (JF)-US-NP    US6453032                    09/054094                                                 us                    17-Sep-02           2-Apr-18                 2-Apr-98    Configurations For Telecommunication Systems


                                                                                                                                                                                                                               Method For Creating And Modifying Similar And
                                                                                                                                                                                                                               Dissimilar Databases For Use In Hardware Equipment
   Lennert 4-3-3-3 (JF)    Lennert 4-3-3-3 (JF)-US-NP    US6169994                    09/054207                                                 us                     2-Jan-01           2-Apr-18                 2-Apr-98    Configurations For Telecommunication Systems


                                                                                                                                                                                                                               Method For Creating And Modifying Similar And
                                                                                                                                                                                                                               Dissimilar Databases For Use In Operator Services
    Lennert6-5-2 (JF)      Lennert 6-5-2 (JF)-US-NP      US6243712                    09/054206                                                 us                     5-Jun-01           2-Apr-18                 2-Apr-98    Configurations For Telecommunication Systems


                                                                                                                                                                                                                               Method For Creating And Modifying Similar And
                                                                                                                                                                                                                               Dissimilar Databases For Use In Intelligent Network
   Lennert 7-1-6-1 (JF)    Lennert 7-1-6-1 (JF)-US-NP    US6324547                    09/054329                                                 us                    27-Nov-01           2-Apr-18                 2-Apr-98    Configurations For Telecommunication Systems
                                                                                                                                                                                                                               Method For Creating And Modifying Similar And
                                                                                                                                                                                                                               Dissimilar Databases For Use In Private Branch
                                                                                                                                                                                                                               Exchange Configurations For Telecommunication
    Lennert9-8-3 (JF)      Lennert 9-8-3 (JF)-US-NP      US6272496                    09/054193                                                 us                     7-Aug-01           2-Apr-18                 2-Apr-98    Systems


    Lentine 19-9(AL)       Lentine 19-9 (AL)-US-NP       US6204942                    08/887180                                                 us                    20-Mar-0l            2-Jul-17                 2-Jul-97   Demultiplexing With Clocked Optical Receivers


   Lentine 26-20(AL)       Lentine 26-20 (AL)-US-NP      US7092471                    10/153390           20040202270                           us                    15-Aug-06          14-Oct-22                 22-May-02   Digital Phase Synchronization Circuit


                                                                                                                                                                                                                               Data Transmission System Employing Clock-Enriched
   Lentine 27-1-22 (AL)    Lentine 27-1-22 (AL)-US-NP    US6271777                    09/438794                                                 us                     7-Aug-01          12-Nov-19                 12-Nov-99   Data Coding And Sub-Harmonic De-Multiplexing
                                                                                                                                                                                                                               Method And Apparatus For Transport Of Control
   Lentine 28-23 (AL)      Lentine 28-23 (AL)-US-NP      U56754238                    09/592338                                                 us                    22-Jun-04          13-Jun-20                 13-Jun-00   Information Over A Data Link
                                                                                                                                                                                                                               Method And Apparatus For Transport Of Control
   Lentine 28-23 (AL)      Lentine 33-29 (AL)-US-DIV     US6975640                    10/810372           20040179551                           us                    13-Dec-05          13-Jun-20                 26-Mar-04   Information Over A Data Link


    Leonard 4-2 (ED)       Leonard 4-2 (ED)-JP-DIV       JP5114577                    2011003660          2011097634                            JP                    19-Oct-12          28-May-24                 28-May-04   Discontinuous Transmission Detection Method


    Leonard 4-2 (ED)       Leonard 4-2 (ED)-JP-NP        JP5062944                    2004158475          2004357303                            JP                    17-Aug-12          28-May-24                 28-May-04   Discontinuous Transmission Detection Method


    Leonard 4-2 (ED)       Leonard 4-2 (ED)-KR-DIV       KR101293514                  20110049396                                               KR                     31-Jul-13         20-May-24                 20-May-04   Discontinuous Transmission Detection Method
                                                                                                                                                                                                                               Adaptive Threshold Setting For Discontinuous
     Leonard 6 (ED)        Leonard 6 (ED)-JP-PCT         JP5047943                    2008504106          2008535381                            JP                     27-Jul-12         16-Mar-26                 16-Mar-06   Transmission Detection
                                                                                                                                                                                                                               Adaptive Threshold Setting For Discontinuous
     Leonard 6 (ED)        Leonard 6 (ED)-US-NP          US7483386                    11/096201           20060221707                           us                    27-Jan-09           4-Oct-26                 31-Mar-05   Transmission Detection


    Leuthold 9-8-3 (J)     Leuthold 9-8-3 (J)-US-NP      U56760142                    10/144477                                                 us                     6-Jul-04          10-Oct-22                 13-May-02   Delay Interferometer Optical Pulse Generator


     Li 12-17-48 (5)       Li 12-17-48 (SJ-IN-PCT                                     4935/CHENP/2008     4935/CHENP/2008                        IN                                       9-Mar-27                 9-Mar-07    Method Of OFDMA Tone Interference Cancellation


     Li 12-17-48 (5)       Li 12-17-48 (SJ-KR-PCT        KR101335968                  20087022921                                               KR                    27-Nov-13           9-Mar-27                 9-Mar-07    Method Of OFDMA Tone Interference Cancellation


     Li 12-17-48 (5)       Li 12-17-48 (5)-US-NP         US7688708                    11/388638           20070223359                           us                    30-Mar-10          29-Sep-28                 24-Mar-06   Method Of OFDMA Tone Interference Cancellation
                                                                                                                                                                                                                               Method Of Signal Demodulation In A Hybrid OFDMA-
                                                                                                                                                                                                                               CMDA System Using lntercarrier Interference
     Li 12-17-48 (5)       Li 12-17-48 (5)-EP-EPT                                     07752774.5          EP1999924                             EP                                        9-Mar-27                 9-Mar-07    Cancellation Techniques


                                                                                                                                                                                                                               Method For Managing A Database For Storing
        Li 1-6 (HJ         Li 1-6 (HJ-US-NP              US6530008                    09/450356                                                 us                    4-Mar-03           29-Nov-19                 29-Nov-99   Variable Size Data Records Using Fixed Sized Buckets
                                                                                                                                                                                                                               Optical Add/Drop Multiplexer Having
        Li 19 (YP)         Li 19 (YP)-US-NP              US5999290                    08/958496                                                 us                     7-Dec-99          27-Oct-17                 27-Oct-97   Complementary Stages
                                                                                                                                                                                                                               Class-Based Bandwidth Allocation And Admission
                                                                                                                                                                                                                               Control For Virtual Private Networks With
        Li 2-31 {X)        Li 2-31 {X)-US-CNT            US8027361                    12/506761           20090279568                           us                    27-Sep-11          19-Apr-23                 21-Jul-09   Differentiated Service
                                                                                                                                                                                                                               Class-Based Bandwidth Allocation And Admission
                                                                                                                                                                                                                               Control For Virtual Private Networks With
        Li 2-31 {X)        Li 2-31 {X)-US-NP             US7577161                    10/374931           20040165528                           us                    18-Aug-09          30-May-26                 26-Feb-03   Differentiated Service
       Li 25-5 (YP)        Li 25-5 (YP)-US-NP            US6208780                    09/234025                                                 us                    27-Mar-0l          19-Jan-19                 19-Jan-99   System And Method For Optical Monitoring
                                                                                                                                                                                                                               Method And Apparatus For Generating A Complex
        Li 2-6(Q)          Li 2-6 (Q)-IN-NP              IN210146                     962/MAS/99                                                 IN                   25-Sep-07          29-Sep-19                 29-Sep-99   Scrambling Code Sequence
                                                                                                                                                                                                                               Method And Apparatus For Generating A Complex
        Li 2-6(Q)          Li 2-6 (Q)-US-NP              US6389138                    09/190195                                                 us                    14-May-02          12-Nov-18                 12-Nov-98   Scrambling Code Sequence
                                                                                                                                                                                                                               Method and Apparatus For Providing Orcuit And
          Li 2-7 (Z)       Li 2-7 (Z)-US-NP              US7106727                    10/027761                                                 us                    12-Sep-06           14-Jul-24                21-Dec-0l   Packet-Switched Calls On A Network


      Li 2-7-1-1 (HJ       Li 2-7-1-1 (HJ-US-NP          US6594659                    09/450354                                                 us                     15-Jul-03         29-Nov-19                 29-Nov-99   Method For Creating A Toll-Free Number Audit Tape


                                                                                                                                                                                                                               Scheduling User Transmissions To Mobile Stations On
      Li 7-14-45 (5)       Li 7-14-45 (5)-US-NP          US7873055                    11/256626           20070091837                           us                    18-Jan-11          21-Feb-27                 21-Oct-05   A Reverse Link Of A Spread Spectrum Cellular System
                                                                                                                                                                                                                               Method Of Increasing The Capacity Of The Forward
                                                                                                                                                                                                                               Link MAC Channel In A Wireless Communication
      Li 8-10-23 (G)       Li 8-10-23 (G)-KR-PCT         KR101086807                  20097003792                                               KR                    18-Nov-11          17-Aug-27                 17-Aug-07   System
                                                                                                                                                                                                                               Method Of Increasing The Capacity Of The Forward
                                                                                                                                                                                                                               Link MAC Channel In A Wireless Communication
      Li 8-10-23 (G)       Li 8-10-23 (G)-US-NP          US8098643                    11/509406           20080049699                           us                    17-Jan-12          27-Oct-29                 24-Aug-06   System




                                                                                                                 Page 121 of 149
                                                                                                                                                                                                    PATENT
                                                                                                                                                                                            REEL: 044000 FRAME: 0262
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 129 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                          liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                              :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Automatic Speech Recognition With
                                                                                                                                                                                                                                    Psychoacoustically-Based Feature Extraction, Using
                                                                                                                                                                                                                                    Easily-Tunable Single-Shaped Filters Along
      Li 8-2-18 (QP)        Li 8-2-18 (QP)-US-NP               U56701291                   09/824076           20020062211                           us                    2-Mar-04            2-Apr-21                 2-Apr-01    Logarithmic-Frequency Axis
                                                                                                                                                                                                                                    Wireless Communication Handoffs Within A
       Li 9-4-23 (P)        Li 9-4-23 (P)-IN-PCT                                           4624/CHENP/2008     4624/CH ENP/2008                       IN                                      27-Feb-27                 27-Feb-07   Macrocell
                                                                                                                                                                                                                                    Wireless Communication Handoffs Within A
       Li 9-4-23 (P)        Li 9-4-23 (P)-JP-PCD              JP5667137                    2012216387          2013048449                            JP                    19-Dec-14          27-Feb-27                 27-Feb-07   Macrocell
                                                                                                                                                                                                                                    Wireless Communication Handoffs Within A
       Li 9-4-23 (P)        Li 9-4-23 (P)-JP-PCT              JP5147735                    2008558300          2009529829                            JP                     7-Dec-12          27-Feb-27                 27-Feb-07   Macrocell
                                                                                                                                                                                                                                    Wireless Communication Handoffs Within A
       Li 9-4-23 (P)        Li 9-4-23 (P)-US-CNT              US9532284                    14/551382           20150148047                           us                    27-Dec-16           1-May-26                 24-Nov-14   Macrocell
                                                                                                                                                                                                                                    Method And Apparatus For Determining Fiber
                                                                                                                                                                                                                                    Characteristics In An Optical Communication
   Libeskind2-4(MB)         Libeskind 2-4 (MB)-US-NP          US8873947                    11/850454           20090060498                           us                    28-Oct-14          28-May-31                 5-Sep-07    Network
                                                                                                                                                                                                                                    Session Resource Manager And Method For
                                                                                                                                                                                                                                    Enhancing Visibility And Control Of A Broadband
   Libman 4-1-1-1 (RE)      Libman 4-1-1-1 (RE)-US-NP         US6608814                    09/267548                                                 us                    19-Aug-03          12-Mar-19                 12-Mar-99   Network
                                                                                                                                                                                                                                    Adaptive Control Of Loading A Program In A Disk-
      Liesen3(CD)           Liesen 3 (CD)-US-NP               US7555612                    10/930286           20060059493                           us                    30-Jun-09          15-Apr-26                 31-Aug-04   Based Operating System


   Lilienthal 12-28 {PF)    Lilienthal 12-28 {PF)-US-NP       US5960592                    09/075551                                                 us                     5-Oct-99          11-May-18                 11-May-98   Protective Enclolsure For Outdoor Equipment


   Lilienthal 15-18 {PF)    Lilienthal 15-18 {PF)-US-NP       US6239359                    09/309943                                                 us                    29-May-0l          11-May-19                 11-May-99   Circuit Board RF Shielding
                                                                                                                                                                                                                                    Channel Synchronization And Impulse Sounding In
      Linl-2-25(J)          Lin 1-2-25 (J)-US-NP              US6331996                    09/086197                                                 us                    18-Dec-0l          28-May-18                 28-May-98   The Presence OfFrequencyOffset
        Lin 2 (DL)          Lin 2 (DL)-US-NP                  US5954599                    09/006534                                                 us                    21-Sep-99          13-Jan-18                 13-Jan-98   Automated Sport Boundary Officiating System
                                                                                                                                                                                                                                    Scalable Optical Demultiplexing Arrangement For
                                                                                                                                                                                                                                    Wide Band Dense Wavelength Division Multiplexed
       Lin2-l(W)            Lin2-l(W)-US-NP                   US6782203                    09/143878           20020012144                           us                    24-Aug-04          31-Aug-18                 31-Aug-98   Systems


                                                                                                                                                                                                                                    Network Management System Based On Passive
                                                                                                                                                                                                                                    Monitoring And Proactive Management For
      Lin 3-76-51 (Y)       Lin 3-76-51 (Y)-US-NP             US6405250                    09/236508                                                 us                    11-Jun-02          25-Jan-19                 25-Jan-99   Formulation Behavior State Transition Models
                                                                                                                                                                                                                                    Cross-Traffic Suppression In Wavelength Division
       Lin7-4(W)            Lin 7-4 (W)-US-NP                 US6512865                    09/652506                                                 us                    28-Jan-03          31-Aug-20                 31-Aug-00   Multiplexed Systems
                                                                                                                                                                                                                                    Active Balun Circuit For Single-Ended To Differential
                                                                                                                                                                                                                                    RF Signal Conversion With Enhanced Common-Mode
          Lin 9 (J)         Lin 9 (J)-US-NP                   US6922108                    09/877900           20020187768                           us                     26-Jul-05         24-Oct-23                 8-Jun-01    Rejection
                                                                                                                                                                                                                                    CONVERTER PROVIDING DIGITAL SCALING AND
       Littlel(JM)          Little 1 (JM)-US-NP               US6023184                    08/975901                                                 us                     8-Feb-00          16-Sep-17                 16-Sep-97   MIXING
                                                                                                                                                                                                                                    Proxy Telephone Number System For Communication
        Liu 1 (AH)          Liu 1 (AH)-US-NP                  US8842661                    11/477987           20070189264                           us                    23-Sep-14           8-Mar-32                 29-Jun-06   Network Subscribers
                                                                                                                                                                                                                                    Methods And Devices For Creating An Alternate Path
          Liu 1 (HJ         Liu 1 (HJ-US-NP                   US7508755                    10/613103           20050007950                           us                    24-Mar-09          22-Mar-26                  7-Jul-03   For A Bi-Directional LSP
          Liu 1 (T)         Liu 1 (T)-US-NP                   US6496545                    09/241992                                                 us                    17-Dec-02           2-Feb-19                 2-Feb-99    Single-Sideband Mixer
                                                                                                                                                                                                                                    Method For Optimizing Mobile Wireless
                                                                                                                                                                                                                                    Communications Routed Across Plural
      Liu 11-11 (CJ         Liu 11-11 (CJ-CN-NP               ZL122712                     00122712.2          CN1299205A                            CN                     2-Jun-04           9-Aug-20                 9-Aug-00    Interconnected Networks
                                                                                                                                                                                                                                    Method For Optimizing Mobile Wireless
                                                                                                                                                                                                                                    Communications Routed Across Plural
      Liu 11-11 (CJ         Liu 11-11 (CJ-DE-EPA              EP1076466                    00306495.3          EP1076466                             DE                     2-Apr-08           31-Jul-20                31-Jul-00   Interconnected Networks
                                                                                                                                                                                                                                    Method For Optimizing Mobile Wireless
                                                                                                                                                                                                                                    Communications Routed Across Plural
      Liu 11-11 (CJ         Liu 11-11 (CJ-FR-EPA              EP1076466                    00306495.3          EP1076466                             FR                     2-Apr-08           31-Jul-20                31-Jul-00   Interconnected Networks
                                                                                                                                                                                                                                    Method For Optimizing Mobile Wireless
                                                                                                                                                                                                                                    Communications Routed Across Plural
      Liu 11-11 (CJ         Liu 11-11 (CJ-GB-EPA              EP1076466                    00306495.3          EP1076466                             GB                     2-Apr-08           31-Jul-20                31-Jul-00   Interconnected Networks
                                                                                                                                                                                                                                    Method For Optimizing Mobile Wireless
                                                                                                                                                                                                                                    Communications Routed Across Plural
      Liu 11-11 (CJ         Liu 11-11 (CJ-JP-NP               JP4028675                    2000241961          2001127804                            JP                    19-Oct-07          10-Aug-20                 10-Aug-00   Interconnected Networks
                                                                                                                                                                                                                                    Method For Optimizing Mobile Wireless
                                                                                                                                                                                                                                    Communications Routed Across Plural
      Liu 11-11 (CJ         Liu 11-11 (CJ-US-NP               US6434139                    09/371385                                                 us                    13-Aug-02          10-Aug-19                 10-Aug-99   Interconnected Networks


                                                                                                                                                                                                                                    Method Of Determining The Capacity Of Each
                                                                                                                                                                                                                                    Transmitter Antenna In A Multiple Input/Multiple
       Liu12-32(J)          Liu 12-32 (J)-US-NP               US7154960                    10/334314           20040125900                           us                    26-Dec-06           4-Feb-25                 31-Dec-02   Output (MIMD) Wireless System
                                                                                                                                                                                                                                    Nonlinear Phase-Shift Compensation Method And
 Liu 13-2-51-23-10-16 {X)   Liu 13-2-51-23-10-16 {X)-US-NP    US7062176                    10/331217           20040125435                           us                    13-Jun-06          22-Nov-23                 30-Dec-02   Apparatus


     Liu 27-5-18(X)         Liu 27-5-18 {X)-US-NP             US8045862                    10/790434           20050191061                           us                    25-Oct-11          29-Jan-28                 27-Feb-04   Optical Communication Method And Apparatus


          Liu3(J)           Liu 3 (J)-US-NP                   US7502461                    10/883666           20060007872                           us                    10-Mar-09          17-Jun-26                  6-Jul-04   Echo Cancellation In A Communication Network


          Liu3(J)           Liu 3 (J)-CN-NP                   ZL10062119.8                 200410062119.8      CN1716798A                            CN                    2-Mar-11             2-Jul-24                 2-Jul-04   Echo Cancellation In A Communication Network


                                                                                                                                                                                                                                    Approach For QoS Control On Un-Wanted Services
                                                                                                                                                                                                                                    (e.g. VoIP Or Multimedia) Over Wireless IP Network
       Liu 31-9 (CJ         Liu 31-9 (C)-US-CNT               US8792823                    12/928900           20110090849                           us                     29-Jul-14         24-Dec-26                 22-Dec-10
                                                                                                                                                                                                                                    Method For Finding Shortest Network Routing Paths
       Liu 3-19(G)          Liu 3-19 (G)-US-NP                US6762997                    09/537791                                                 us                     13-Jul-04         29-Mar-20                 29-Mar-00   Subject To System Constraints
                                                                                                                                                                                                                                    Switching Arrangement For Fault Recovery In Optical
          Liu 4 (G)         Liu 4 (G)-US-NP                   US6782198                    09/710269                                                 us                    24-Aug-04          10-Nov-20                 10-Nov-00   WDM Ring Networks
                                                                                                                                                                                                                                    Method And System For Ultra-High Bit Rate Fiber-
    Liu 42-23-6-12 {X)      Liu 42-23-6-12 {X)-US-NP          US7609976                    11/239656           20070071454                           us                    27-Oct-09          27-Aug-28                 29-Sep-05   Optic Communications


                                                                                                                                                                                                                                    Implementing And Selecting Between Virtual Private
        Liu 6-2 (CJ         Liu 6-2 (CJ-US-NP                 US6405040                    08/938755                                                 us                    11-Jun-02          26-Sep-17                 26-Sep-97   Wireless Telecommunications Networks
                                                                                                                                                                                                                                    Cellular Call Processor Having Concurrent Instances
                                                                                                                                                                                                                                    Of Call Models To Support Mixed Media
        Liu 8-1 (CJ         Liu 20-10 (CJ-US-DIV              US6434382                    09/803860                                                 us                    13-Aug-02           27-Jul-18                12-Mar-01   Communication Connections
                                                                                                                                                                                                                                    Cellular Call Processor Having Concurrent Instances
                                                                                                                                                                                                                                    Of Call Models To Support Mixed Media
        Liu 8-1 (CJ         Liu 8-1 (CJ-US-NP                 US6285877                    09/123179                                                 us                     4-Sep-01           27-Jul-18                27-Jul-98   Communication Connections
                                                                                                                                                                                                                                    System and Method For Distributing Packet
  LivingstonEnterprise 6    LivingstonEnterprise 6 ()-US-NP   US6678283                    09/265130                                                 us                    13-Jan-04          10-Mar-19                 10-Mar-99   Processing In An lnternetworking Device
                                                                                                                                                                                                                                    Architecture For Location Independent, Automated
                                                                                                                                                                                                                                    Integration Testing And Quality Assurance Of Next
        Logan 1 (I)         Logan 1 (I)-US-NP                 US7809368                    11/423275           20070287445                           us                     5-Oct-10          16-Nov-28                 9-Jun-06    Generation
        Logan 3 (I)         Logan 3 (I)-EP-EPA                                             08290600.9          EP2139219                             EP                                       24-Jun-28                 24-Jun-08   Stimulation of Use of Telephony Networks




                                                                                                                      Page 122 of 149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0263
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 130 of 156
                                               Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                   ~~:J~JfW
                                                        :ia:~:A,m:::::::::::::::::
                                                        liiitiiiiii~:il\::::'::•:•
                                                                                     :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm System For Authorizing Of Valid Computer User
       Lopes 1 (RJ)       Lopes 1 (RJ)-US-NP             US6189105                   09/026983                                                          us              13-Feb-0l          20-Feb-18                 20-Feb-98   Using Proximity Detector
                                                                                                                                                                                                                                 A Hardware Architecture For A Configurable Cipher
     Loughran 6 (K)       Loughran 6 (K)-US-NP           US6408074                   09/177693                                                          us              18-Jun-02          22-Oct-18                 22-Oct-98   Device


                                                                                                                                                                                                                                 Method Of Transmit Beamforming For Multicasting
      Lozano 12 (A)       Lozano 12 (A)-US-NP            US7747285                   11/776046                     20090015472                          us              29-Jun-10          17-Aug-28                 11-Jul-07   In A Wireless Communication System


                                                                                                                                                                                                                                 Radio Link Protocol (RLP)/Point-To-Point Protocol
                                                                                                                                                                                                                                 (PPP) Design That Passes Corrupted Data And Error
                                                                                                                                                                                                                                 Location Information Among Layers In A Wireless
       Lu 7-l(M)          Lu 7-1 (M)-US-NP               US7031257                   09/668243                                                          us              18-Apr-06          11-Jan-23                 22-Sep-00   Data Transmission Protocol


  Lubachevsky 10-2 (BD)   Lubachevsky 10-2 (BD)-US-NP    US7257526                   09/543284                                                          us              14-Aug-07           5-Apr-20                 5-Apr-00    Discrete Event Parallel Simulation


                                                                                                                                                                                                                                 Light-Weight Low-Thermal-Expansion Polymer Foam
    Lyons 47-11 (AM)      Lyons 47-11 (AM)-KR-PCT        KR101208939                 20107027220                                                        KR              30-Nov-12          27-May-29                 27-May-09   For Radiofrequency Filtering Apppications


                                                                                                                                                                                                                                 Light-Weight Low-Thermal-Expansion Polymer Foam
    Lyons 47-11 (AM)      Lyons 47-11 (AM)-US-NP         US7847658                   12/133259                     20090302974                          us               7-Dec-10           4-Nov-28                 4-Jun-08    For Radiofrequency Filtering Applications
      Ma23-25(Z)          Ma23-25 (Z)-US-NP              US7680075                   11/435664                     20070268853                          us              16-Mar-10           6-Nov-28                 17-May-06   Identification Of Base Stations
                                                                                                                                                                                                                                 Methods And Apparatus For Providing Secure Two-
   MacKenzie15(PD)        MacKenzie 15 (PD)-US-NP        US8520844                   10/600687                     20050008152                          us              27-Aug-13           5-Jun-29                 20-Jun-03   Party Public Key Cryptosystem
                                                                                                                                                                                                                                 Extendible Feet And Baseplate For Telephone And
      Madhavl(JT)         Madhav 1 (JT)-US-NP            US6453046                   09/122613                                                          us              17-Sep-02           24-Jul-18                24-Jul-98   Other Electronic Devices
                                                                                                                                                                                                                                 Polarization Mode Dispersion Measurement Using
     Madsen 13 {CK)       Madsen 13 {CK)-JP-NP          JP3848843                    200164305                     2001296207                           JP               1-Sep-06           8-Mar-21                 8-Mar-01    Phase-Sensitive Sideband Detection
                                                                                                                                                                                                                                 Polarization Mode Dispersion Measurement Using
     Madsen 13 {CK)       Madsen 13 {CK)-US-NP           US6362874                   09/779392                                                          us              26-Mar-02           8-Feb-21                 8-Feb-01    Phase-Sensitive Sideband Detection
                                                                                                                                                                                                                                 Polarization Mode Dispersion Compensator For
     Madsen 18(CK)        Madsen 18 {CK)-US-NP           US6801721                   09/825691                     20040208604                          us               5-Oct-04           4-Apr-21                 4-Apr-01    Optical Fiber Communication Systems
                                                                                                                                                                                                                                 Polarization Mode Dispersion Compensator For
     Madsen 18(CK)        Madsen 18 {CK)-DE-EPA          EP1164724                   01304861.6                     EP1164724                           DE              11-Apr-07           4-Jun-21                 4-Jun-01    Optical Fiber Communication Systems
                                                                                                                                                                                                                                 Polarization Mode Dispersion Compensator For
     Madsen 18(CK)        Madsen 18 {CK)-FR-EPA          EP1164724                   01304861.6                     EP1164724                           FR              11-Apr-07           4-Jun-21                 4-Jun-01    Optical Fiber Communication Systems
                                                                                                                                                                                                                                 Polarization Mode Dispersion Compensator For
     Madsen 18(CK)        Madsen 18 {CK)-GB-EPA          EP1164724                   01304861.6                     EP1164724                          GB               11-Apr-07           4-Jun-21                 4-Jun-01    Optical Fiber Communication Systems


                                                                                                                                                                                                                                 Apparatus And Method for Measurement And
                                                                                                                                                                                                                                 Adaptive Control Of Polarization Mode Dispersion In
     Madsen 19(CK)        Madsen 19 {CK)-US-NP           US6807321                   10/180842                                                          us              19-Oct-04          19-Aug-22                 19-Aug-02   Optic Fiber Transmission Systems
     Madsen2(CK)          Madsen2 {CK)-US-NP             US5953467                   08/935585                                                          us              14-Sep-99          23-Sep-17                 23-Sep-97   Switchable Optical Filter
                                                                                                                                                                                                                                 Optical All Pass Filter Device Having Improved Time-
     Madsen22(CK)         Madsen22 {CK)-US-NP            US7206477                   10/442443                     20040234192                          us              17-Apr-07          21-May-23                 21-May-03   Bandwidth Behavior
                                                                                                                                                                                                                                 Integrated Polarization Beam Splitter With Quarter-
                                                                                                                                                                                                                                 Wave Plate For Polarimeter And PMD Compensation
     Madsen25(CK)         Madsen25 {CK)-US-NP            US7228037                   10/458440                     20040257564                          us               5-Jun-07          14-Apr-24                 10-Jun-03   Applications
                                                                                                                                                                                                                                 lntregrated Polarization Beam Splitter With Quarter-
                                                                                                                                                                                                                                 Wave Plate For Polarimeter And PMD Compensation
     Madsen25(CK)         Madsen 34 {CK)-US-DIV          US7889352                   11/668841                     20070296977                          us              15-Feb-11           7-Jan-24                 30-Jan-07   Applications
     Madsen8{CK)          Madsen 8 {CK)-US-NP            US6580534                   09/238222                                                          us              17-Jun-03          27-Jan-19                 27-Jan-99   Optical Channel Selector
                                                                                                                                                                                                                                 System And Method For Discovering Calendric
   Mahajan 1-4-36(5)      Mahajan 1-4-36 (5)-US-NP       US6236982                   09/152770                                                          us              22-May-0l          14-Sep-18                 14-Sep-98   Association Rules


                                                                                                                                                                                                                                 Method And Apparatus For Receiver Processing In A
   Mailaender12-l(LE)     Mailaender12-l(LE)-DE-EPA      EP1530300                   04256704.0                     EP1530300                           DE              31-Jan-07          29-Oct-24                 29-Oct-04   CDMA Communications System


                                                                                                                                                                                                                                 Method And Apparatus For Receiver Processing In A
   Mailaender12-l(LE)     Mailaender12-1 {LE)-FR-EPA     EP1530300                   04256704.0                     EP1530300                           FR              31-Jan-07          29-Oct-24                 29-Oct-04   CDMA Communications System


                                                                                                                                                                                                                                 Method And Apparatus For Receiver Processing In A
   Mailaender12-l(LE)     Mailaender12-l(LE)-GB-EPA      EP1530300                   04256704.0                     EP1530300                          GB               31-Jan-07          29-Oct-24                 29-Oct-04   CDMA Communications System


    Mailaender2(LE)       Mailaender2 {LE)-US-NP         US6647022                   09/131221                                                          us              11-Nov-03           7-Aug-18                 7-Aug-98    Interference Canceller


   Makowski 1-1-l(SL)     Makowski 1-1-1 {SL)-US-NP      US7697499                   10/447504                     20040240421                          us              13-Apr-10          30-Dec-25                 29-May-03   Method For Interoffice Trunk Testing
                                                                                                                                                                                                                                 Method And Apparatus For Flow Control Of Data In A
     Malhotra 7 (R)       Malhotra 7 (R)-US-NP           US9185036                   11/088073                     20060215550                          us              10-Nov-15          11-Aug-30                 23-Mar-05   Network
      Mandal(VK)          Manda 1 {VK)-US-NP             US6250578                   09/315484                                                          us              26-Jun-0l          20-May-19                 20-May-99   Cable Winding Housing
                                                                                                                                                                                                                                 Sol-Gel Process For Making A Fiber Preform With
    Mandich6-7{ML)        Mandich 6-7 (ML)-US-NP         US6334338                   09/109827                                                          us               1-Jan-02            2-Jul-18                 2-Jul-98   Removal Of Oxide Particles


    Mangione 1 (MT)       Mangione 1 (MT)-US-NP          US6363464                   09/414915                                                          us              26-Mar-02           8-Oct-19                 8-Oct-99    Redundant Processor Controlled System
      Mao 1-1 (VC)        Mao 1-1 (VC)-US-NP             US5960205                   08/960642                                                          us              28-Sep-99          30-Oct-17                 30-Oct-97   Upgrading The Control Of Switching Systems
                                                                                                                                                                                                                                 Polymer Material And Method For Optical Switching
    Marcuse 31-79 (DJ     Marcuse 31-79 (DJ-US-NP        US6240226                   09/133459                                                          us              29-May-0l          13-Aug-18                 13-Aug-98   And Modulation
     Marom 18(DM)         Marom 18 (DM)-US-NP            US7623790                   11/233587                     20070071441                          us              24-Nov-09           13-Jul-28                24-Sep-05   Signal Identification Method


     Martinl-3(5C)        Martin 1-3 (SC)-US-NP          US6351800                   09/201312                                                          us              26-Feb-02          29-Nov-18                 29-Nov-98   A System And Method For Assisting A Microprocessor
                                                                                                                                                                                                                                 A Method Of Reporting Poor RF Coverage In A
    Martin 43-25 (RB)     Martin 43-25 (RB)-US-NP        US8005472                   12/002920                     20090163197                          us              23-Aug-11          15-Dec-29                 19-Dec-07   Wireless Network
                                                                                                                                                                                                                                 Method And Apparatus For Message-Based Overload
                                                                                                                                                                                                                                 Control In A Distributed Call-Processor
    Matragi6-3(WA)        Matragi 6-3 (WA)-US-NP         US6977899                   09/488181                                                          us              20-Dec-05          20-Jan-20                 20-Jan-00   Communication System
                                                                                                                                                                                                                                 Technique For Video Communications Using A Coding
   Matthews 19-1 (KN)     Matthews 19-1 {KN)-US-NP       US6459731                   09/141949                                                          us               1-Oct-02          28-Aug-18                 28-Aug-98   Matched Filter Arrangement


                                                                                                                                                                                                                                 System And Method For Generating CID/CIDCW
       Mayakl (BJ         Mayak 1 (BJ-US-NP              US6192116                   09/144327                                                          us              20-Feb-0l          31-Aug-18                 31-Aug-98   Information With A User Inputted Message
                                                                                                                                                                                                                                 Method Of Creating Security Associations In Mobile
  Mccann 12-38-28 (PJ)    Mccann 12-38-28 (PJ)-US-NP     US8189544                   11/474591                     20070297377                          us              29-May-12          16-Jan-29                 26-Jun-06   IP Networks
                                                                                                                                                                                                                                 Method Of Creating Security Associations In Mobile
  Mccann 12-38-28 (PJ)    Mccann 12-38-28 (PJ)-DE-EPT    EP2039116                   07835844.7                     EP2039116                           DE              21-Dec-11          19-Jun-27                 19-Jun-07   IP Networks
                                                                                                                                                                                                                                 Method Of Creating Security Associations In Mobile
  Mccann 12-38-28 (PJ)    Mccann 12-38-28 (PJ)-FR-EPT    EP2039116                   07835844.7                     EP2039116                           FR              21-Dec-11          19-Jun-27                 19-Jun-07   IP Networks
                                                                                                                                                                                                                                 Method Of Creating Security Associations In Mobile
  Mccann 12-38-28 (PJ)    Mccann 12-38-28 (PJ)-GB-EPT    EP2039116                   07835844.7                     EP2039116                          GB               21-Dec-11          19-Jun-27                 19-Jun-07   IP Networks
     McCarthy2 (M)        McCarthy 2 (M)-US-NP           US6636569                   09/510807                                                          us              21-Oct-03          23-Feb-20                 23-Feb-00   Nyquist Band Frequency Translation
                                                                                                                                                                                                                                 Method And Apparatus For Provisioning
   McDonald 3-1 (DE)      McDonald 3-1 (DE)-US-NP        U56704030                   09/687326                                                          us              9-Mar-04           13-Oct-20                 13-Oct-00   Telecommunications Equipment




                                                                                                                           Page 123 of 149
                                                                                                                                                                                                      PATENT
                                                                                                                                                                                              REEL: 044000 FRAME: 0264
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 131 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                    ~~:J~JfW
                                                          :ia:~:A,m:::::::::::::::::
                                                          liiitiiiiii~:il\::::'::•:•
                                                                                       :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                        ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm System And Method For calibrating Single Sideband
  McDowell 4-14-2 (RL)     McDowell 4-14-2 (RL)-US-NP      US6078799                   09/094171                                                          us              20-Jun-00           9-Jun-18                 9-Jun-98    Receiver Reject Image Product


     McGowan 1 (JW)        McGowan 1 (JW)-US-NP            US6584104                   09/347462                                                          us              24-Jun-03            6-Jul-19                 6-Jul-99   Lost-Packet Replacement For A Digital Voice Signal
                                                                                                                                                                                                                                   Lost Packet Replacement For Voice Applications Over
     McGowan 2 (JW)        McGowan 2 (JW)-US-NP            U56731634                   09/526690                                                          us              4-May-04           15-Mar-20                 15-Mar-00   Packet Network


                                                                                                                                                                                                                                   Method And Apparatus For Performing Multiple Bit
  McGowan 26-23 (JW)       McGowan 26-23 (JW)-US-NP        US8121187                   11/999361                     20090147859                          us              21-Feb-12          20-Dec-30                 5-Dec-07    Rate Video Encoding And Video Stream Switching


                                                                                                                                                                                                                                   Method And Apparatus For Performing Video Coding
  McGowan 28-19 (JW)       McGowan 28-19 (JW)-US-NP        US8179960                   12/291570                     20100118958                          us              15-May-12          20-Feb-31                 12-Nov-08   And Decoding With Use Of Virtual Reference Data
                                                                                                                                                                                                                                   Controlled Routing To A Plurality Of Signaling
     McGrew 3 ( MA)        McGrew 3 (MAJ-US-NP             US6327260                   09/063175                                                          us               4-Dec-01          20-Apr-18                 20-Apr-98   Interfaces At A Single Telephonic Switch
                                                                                                                                                                                                                                   System And Method For Determining And Presenting
    McKenziel-l(WF)        McKenziel-l(WF)-US-NP           US6886113                   09/873828                     20020184554                          us              26-Apr-05           4-Jun-21                 4-Jun-01    Network Problems
                                                                                                                                                                                                                                   System And Method For Determining A Definition Of
                                                                                                                                                                                                                                   Notification Message By Using A Identifier And
                                                                                                                                                                                                                                   PropertyValue(s) Of The Notification Message To
                                                                                                                                                                                                                                   Generate An Identification Number That Best
                                                                                                                                                                                                                                   Matches The Meaning Of The Original Notification
    McKenzie2-2(WF)        McKenzie2-2(WF)-US-NP           US7016954                   09/873683                     20020188715                          us              21-Mar-06          19-Dec-23                 4-Jun-01    Message


    McKinstrie 11 (CJ)     McKinstrie 11 (CJ)-US-NP        US7436580                   11/646190                     20080158656                          us              14-Oct-08          27-Dec-26                 27-Dec-06   Optical Buffer Employing Four-Wave Mixing
                                                                                                                                                                                                                                   Polarization-Independent Four-Wave Mixing In A
  McKinstrie 13-18 (CJ)    McKinstrie 13-18 (CJ)-US-NP     US7764423                   12/259389                     20100103505                          us               27-Jul-10         23-Jan-29                 28-Oct-08   Birefringent Fiber
     Mclean2-4(N)          Mclean 2-4 (NJ-US-NP            US5904579                   08/960689                                                          us              18-May-99          29-Oct-17                 29-Oct-97   Right-Angle Adaptor For Coaxial Jacks
      McNeil l(TE)         McNeil 1 (TE)-US-NP             US5906686                   08/972547                                                          us              25-May-99          18-Nov-17                 18-Nov-97   Fiber Optic Connector Cleaning Process


                                                                                                                                                                                                                                   System And Method For Flash Photolysis Cleaning Of
      Meder2(MG)           Meder 2 (MG)-US-NP              US6254689                   09/264918                                                          us               3-Jul-01           9-Mar-19                 9-Mar-99    A Semiconductor Processing Chamber


    Meier3-24-8 {SK)       Meier 3-24-8 {SK)-US-NP         US7577086                   10/824216                     20050232141                          us              18-Aug-09          20-May-28                 14-Apr-04   Method Of Generating A Public Long Code Mask


   Mendelsohn3-1 (JP)      Mendelsohn 3-1 (JP)-US-NP       US6507316                   09/470202                     20020000934                          us              14-Jan-03          21-Dec-19                 21-Dec-99   Method For Mounting Patch Antenna
                                                                                                                                                                                                                                   Reconfigurable Plasma Antenna With Interconnected
       Metz 10 (C)         Metz 10 (C)-US-NP               US7145512                   11/093559                     20060220980                          us               5-Dec-06          30-Mar-25                 30-Mar-05   Gas Enclosures
                                                                                                                                                                                                                                   Security Bar With Multiple Internal Rolling Bars And
       Meyerl (JA)         Meyer 1 (JA)-US-NP              US7143545                   10/745884                     20050146217                          us               5-Dec-06          14-Mar-25                 26-Dec-03   Electronic Monitoring
                                                                                                                                                                                                                                   Repeater Isolation Through Antenna Polarization
       Meyer2 (CJ)         Meyer 2 (CJ)-US-NP              US6049315                   08/886199                                                          us              11-Apr-00            1-Jul-17                 1-Jul-97   Diversity


                                                                                                                                                                                                                                   System and method for providing least-cost routing
                                                                                                                                                                                                                                   of voice connections between home and foreign
        MFORM 6            MFORM 6-JP-PCT                 JP5403837                    20110529078                   2012503939                           JP               8-Nov-13          10-Sep-29                 10-Sep-09   networks using voice-over-IP infrastructure


                                                                                                                                                                                                                                   System and method for providing least-cost routing
                                                                                                                                                                                                                                   of voice connections between home and foreign
        MFORM 6            MFORM 6-US-NP                   US8335212                   12/238742                     20100080128                          us              18-Dec-12          26-Sep-28                 26-Sep-08   networks using voice-over-IP infrastructure
                                                                                                                                                                                                                                   Compact Low-Inductance Magnetorheological
      Miesnerl(JE)         Miesner 1 (JE)-US-NP            US5878997                   08/926841                                                          us              9-Mar-99           10-Sep-17                 10-Sep-97   Damper
                                                                                                                                                                                                                                   Method And Apparatus For Partial And Course
                                                                                                                                                                                                                                   Frequency Offset Estimation In A Digital Audio
      Milbarl-9(M)         Milbar 1-9(M)-JP-NP            JP5323291                    2000282034                                                         JP               26-Jul-13         18-Sep-20                 18-Sep-00   Broadcasting(DAB) System
                                                                                                                                                                                                                                   Method And Apparatus For Partial And Course
                                                                                                                                                                                                                                   Frequency Offset Estimation In A Digital Audio
      Milbarl-9(M)         Mil bar 1-9 (M)-US-NP           US6807241                   09/396058                                                          us              19-Oct-04          15-Sep-19                 15-Sep-99   Broadcasting(DAB) System
      Miller2-2 (JH)       Miller 2-2 (JH)-US-NP           US5933491                   08/886828                                                          us               3-Aug-99            1-Jul-17                 1-Jul-97   Switched Integrated Network Access System
                                                                                                                                                                                                                                   A Method Of Varying The Resistance Along A
       Mills 17(AP)        Mills 17 (AP)-US-NP             US6458676                   09/888879                                                          us               1-Oct-02          25-Jun-21                 25-Jun-0l   Conductive Layer
                                                                                                                                                                                                                                   Method Of Generating Nucleic Acid Oligomers Of
      Mills 5-7(AP)        Mills 7-8 (AP)-US-CIP           US6150102                   09/078761                                                          us              21-Nov-00           3-Feb-18                 15-May-98   Known Composition
      Mills 5-7(AP)        Mills 9-10 (AP)-US-CIP          US6537747                   09/238888                                                          us              25-Mar-03           3-Feb-18                 28-Jan-99   Data Transmission Using DNA Oligomers
      Mills 8-9(AP)        Mills 13 (AP)-US-CIP            US7297479                   09/741179                     20030022164                          us              20-Nov-07           6-Aug-21                 21-Dec-00   DNA-Based Analog Neural Networks
                                                                                                                                                                                                                                   Interference Rejection By Means Of -Space
       Minkoff3(J)         Minkoff3 (J)-US-NP              US6108564                   09/001852                                                          us              22-Aug-00          31-Dec-17                 31-Dec-97   Transformations
                                                                                                                                                                                                                                   Grounding Techniques To Improve The Performance
   Mitchell 1-2-1-1 (RC)   Mitchell 1-2-1-1 (RC)-US-NP     US6283771                   09/059507                                                          us               4-Sep-01          13-Apr-18                 13-Apr-98   Of RF Coaxial Lightning Protector
                                                                                                                                                                                                                                   Method And Apparatus For Recognition-Based Barge-
                                                                                                                                                                                                                                   In Detection In The Context Of Subword-Based
   Mitchell 1-5-11 (CD)    Mitchell 1-5-11 (CD)-US-NP      US6574595                   09/614018                                                          us               3-Jun-03           11-Jul-20                11-Jul-00   Automatic Speech Recognition
                                                                                                                                                                                                                                   Multicommodity Flow Method For Designing Traffic
                                                                                                                                                                                                                                   Distribution On A Multiple-Service Packetized
     Mitra15-15(D)         Mitra 15-15(D)-DE-EPA           EP1076472                   00306514.1                     EP1076472                           DE               4-Sep-02           31-Jul-20                31-Jul-00   Network
                                                                                                                                                                                                                                   Multicommodity Flow Method For Designing Traffic
                                                                                                                                                                                                                                   Distribution On A Multiple-Service Packetized
     Mitra15-15(D)         Mitra 15-15(D)-FR-EPA           EP1076472                   00306514.1                     EP1076472                           FR               4-Sep-02           31-Jul-20                31-Jul-00   Network
                                                                                                                                                                                                                                   Multicommodity Flow Method For Designing Traffic
                                                                                                                                                                                                                                   Distribution On A Multiple-Service Packetized
     Mitra15-15(D)         Mitra 15-15(D)-GB-EPA           EP1076472                   00306514.1                     EP1076472                          GB                4-Sep-02           31-Jul-20                31-Jul-00   Network
                                                                                                                                                                                                                                   Multicommodity Flow Method For Designing Traffic
                                                                                                                                                                                                                                   Distribution On A Multiple-Service Packetized
     Mitra15-15(D)         Mitra 15-15(D)-JP-NP           JP4567160                    2000239399                                                         JP              13-Aug-10           8-Aug-20                 8-Aug-00    Network
                                                                                                                                                                                                                                   Multicommodity Flow Method For Designing Traffic
                                                                                                                                                                                                                                   Distribution On A Multiple-Service Packetized
     Mitra15-15(D)         Mitra 15-15(D)-US-NP            US6721270                   09/370826                                                          us              13-Apr-04           9-Aug-19                 9-Aug-99    Network
                                                                                                                                                                                                                                   Decision Support Mechanisms For Bandwidth
    Mitra21-20-l(D)        Mitra 21-20-1 (DJ-US-NP         US7123588                   10/163140                                                          us              17-Oct-06           4-Jan-25                 4-Jun-02    Commerce In Communication Networks
                                                                                                                                                                                                                                   Intelligent Media Gateway Selection For Multimedia
  Mitra 26-14-14-11 (DJ    Mitra 26-14-14-11 (DJ-JP-PCT   JP5415085                    2008554367                    2009526484                           JP              22-Nov-13           8-Feb-27                 8-Feb-07    Communication Sessions
                                                                                                                                                                                                                                   Intelligent Media Gateway Selection For Multimedia
  Mitra 26-14-14-11 (DJ    Mitra 26-14-14-11 (DJ-US-NP     US8937957                   11/351367                     20070189268                          us              20-Jan-15           1-Nov-31                 10-Feb-06   Communication Sessions


  Mitra 28-14-16-31 (DJ    Mitra 28-14-16-31 (DJ-US-NP     US8055134                   12/178104                     20100021165                          us               8-Nov-11          27-Feb-30                 23-Jul-08   Optical Telecommunications Network And Method


     Mitrofanov2(O)        Mitrofanov 2 (O)-US-NP          US7608827                   11/350992                     20070181811                          us              27-Oct-09          18-Nov-27                 9-Feb-06    Near-FieldTerahertz Imaging


    Mizera 1-2-l(RB)       Mizera 1-2-1 (RB)-US-NP         US6144994                   09/104525                                                          us               7-Nov-00          25-Jun-18                 25-Jun-98   Interface For Flexible Address Bandwidth Allocation
                                                                                                                                                                                                                                   Automatic Resynchronization Of Crypto-Sync
   Mizikovsky24-1 (SB)     Mizikovsky 24-1 (SB)-US-NP      US6697490                   09/422205                                                          us              24-Feb-04          19-Oct-19                 19-Oct-99   Information




                                                                                                                             Page 124 of 149
                                                                                                                                                                                                        PATENT
                                                                                                                                                                                                REEL: 044000 FRAME: 0265
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 132 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW                        liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                            :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                       ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky 25 (5B)-DE-EPA        EP1124401                   01300755.4          EP1124401                             DE                    12-Dec-07          29-Jan-21                 29-Jan-0l   Using Update Key
                                                                                                                                                                                                                                  Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky25 (5B)-FI-EPA         EP1124401                   01300755.4          EP1124401                              Fl                   12-Dec-07          29-Jan-21                 29-Jan-0l   Using Update Key
                                                                                                                                                                                                                                  Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky 25 (5B)-FR-EPA        EP1124401                   01300755.4          EP1124401                             FR                    12-Dec-07          29-Jan-21                 29-Jan-0l   Using Update Key
                                                                                                                                                                                                                                  Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky 25 (SB)-GB-EPA       EP1124401                    01300755.4          EP1124401                             GB                    12-Dec-07          29-Jan-21                 29-Jan-0l   Using Update Key
                                                                                                                                                                                                                                  Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky25 (SB)-SE-EPA        EP1124401                    01300755.4          EP1124401                             SE                    12-Dec-07          29-Jan-21                 29-Jan-0l   Using Update Key
                                                                                                                                                                                                                                  Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky 25 (SB)-US-NP        US6853729                    09/500869                                                 us                     8-Feb-05           9-Feb-20                 9-Feb-00    Using Update Key
                                                                                                                                                                                                                                  Method And Apparatus For Performing A Key Update
    Mizikovsky 25 (SB)      Mizikovsky25 (SB)-JP-NP         JP5036099                    2001-019495                                               JP                     13-Jul-12         29-Jan-21                 29-Jan-0l   Using Update Key
                                                                                                                                                                                                                                  Bootstrapping Method For Setting Up A Security
  Mizikovsky 41-32-7 (SB)   Mizikovsky 41-32-7 (SB)-US-NP   US8667151                    11/836313           20090043901                           us                    4-Mar-14           28-May-28                 9-Aug-07    Association
                                                                                                                                                                                                                                  Automatic Duty Cycle Controller For Ultra High Speed
      Mizuhara4(O)          Mizuhara 4 (O)-US-NP            US6417709                    09/070350                                                 us                     9-Jul-02          30-Apr-18                 30-Apr-98   Digital Multiplexer
        Mobilitec5          Mobilitec5 ()-EP-EPT                                         04770602.3          EP1678911                             EP                                       10-Oct-24                 10-Oct-04   Service Platform For Cellular Telephony
        Mobilitec5          Mobilitec 5 ()-US-PCT           US8818338                    10/573832           20070088837                           us                    26-Aug-14          10-Aug-26                 10-Oct-04   Service Platform For Cellular Telephony
                                                                                                                                                                                                                                  Method And Apparatus For Providing Integrated
      Moeller12 (LB)        Moeller 12 (LBJ-US-NP           U56798930                    10/132010           20030202226                           us                    28-Sep-04          25-Apr-22                 25-Apr-02   Broadband Polarization Control
                                                                                                                                                                                                                                  Method And Apparatus For Processing Optical
     Moeller 19-8 (LB)      Moeller 19-8 (LBJ-US-NP         US7643761                    10/782231           20050185969                           us                     5-Jan-10          21-Apr-26                 19-Feb-04   Duobinary Signals
      Moeller2 (LBE)        Moeller 2 (LBE)-US-NP           US6236495                    09/167867                                                 us                    22-May-0l           7-Oct-18                 7-Oct-98    Optical Dispersion Compensation
                                                                                                                                                                                                                                  Improved Telephone Answering Method And
      Moganti l(M)          Moganti 1 (M)-US-NP             US6229878                    09/010051                                                 us                    8-May-01           21-Jan-18                 21-Jan-98   Apparatus
                                                                                                                                                                                                                                  Adaptive Polling Rate Algorithm for SN MP-Based
       Moghe2 (P)           Moghe 2 (P)-US-NP               US6173323                    08/998213                                                 us                     9-Jan-01          24-Dec-17                 24-Dec-97   Network Monitoring
                                                                                                                                                                                                                                  Method And Apparatus For Automatically Assigning
                                                                                                                                                                                                                                  Virtual Concatenation Group Members To Virtual
       Molina 1 (A)         Molina 1 (A)-US-NP              US7633950                    11/088376           20060218254                           us                    15-Dec-09          15-Oct-28                 24-Mar-05   Concatenation Groups
                                                                                                                                                                                                                                  Dispersion Managed Optical Transmission Line And
    Mollenauer 45 (LF)      Mollenauer 45 {LF)-US-NP        US6532330                    09/596454                                                 us                    11-Mar-03          19-Jun-20                 19-Jun-00   Method For Making Same
                                                                                                                                                                                                                                  Object Oriented Programming Using Standard
      Monge2-3 (DL)         Monge 2-3 (DL)-US-NP            US6105035                    09/024913                                                 us                    15-Aug-00          17-Feb-18                 17-Feb-98   Structured QueryLanguage(SQL)
                                                                                                                                                                                                                                  Real-Time Dynamic Chirp Measurements of Optical
     Monnard 5 (RH)         Monnard 5 (RH)-US-NP            US5995524                    09/170856                                                 us                    30-Nov-99          13-Oct-18                 13-Oct-98   Signal
                                                                                                                                                                                                                                  Method To Control Base Station Transmit Power Drift
  Monogioudis 12-31 (P)     Monogioudis 12-31 (P)-US-NP     US7006841                    09/741637           20020077140                           us                    28-Feb-06           17-Jul-21                20-Dec-00   During Soft Handoffs
                                                                                                                                                                                                                                  Decoderless Bit-Error-Rate Estimation For
                                                                                                                                                                                                                                  Convolutionally Encoded Transmissions In Wireless
  Monogioudis 16-32 (P)     Monogioudis 16-32 (P)-US-NP     US7430237                    09/788715           20030142727                           us                    30-Sep-08           7-Sep-25                 20-Feb-0l   Systems
                                                                                                                                                                                                                                  Compensation Based Bit-Error Rate (BER) Estimation
                                                                                                                                                                                                                                  For Convolutionally Encoded Transmissions In
  Monogioudis 17-33 (P)     Monogioudis 17-33 (P)-US-NP     US7065159                    09/808376           20020172302                           us                    20-Jun-06           5-Jan-24                 14-Mar-01   Wireless Systems


   Montgomery 4-2 (RK)      Montgomery 4-2 (RK)-US-NP       US6064260                    09/205473                                                 us                    16-May-00           4-Dec-18                 4-Dec-98    RF Amplifier With Redundant Power Supply
                                                                                                                                                                                                                                  Method For Audio Stream Monitoring On Behalf Of A
  Montgomery 9-4 (WA)       Montgomery 9-4 (WA)-US-NP       US7123709                    09/677919                                                 us                    17-Oct-06          23-Nov-22                 3-Oct-00    Calling Party


   Mooney 40-23-2 (PD)      Mooney 40-23-2 (PD)-US-NP       US6980331                    09/452198                                                 us                    27-Dec-05           2-Dec-19                 2-Dec-99    Automated Send To Embedded Fax/E-Mail Address
                                                                                                                                                                                                                                  Method For Controlling Packet Delivery In A Packet
    Mooney 5-27 (CF)        Mooney 5-27 {CF)-JP-PCT         JP4769306                    2008550380          2009524287                            JP                    24-Jun-11          10-Jan-27                 10-Jan-07   Switched Network
                                                                                                                                                                                                                                  Method For Controlling Packet Delivery In A Packet
    Mooney 5-27 (CF)        Mooney 5-27 {CF)-CN-PCT         ZL80002364.1                 200780002364.1      101371529                             CN                     27-Jul-11         10-Jan-27                 10-Jan-07   Switched Network
                                                                                                                                                                                                                                  Method For Controlling Packet Delivery In A Packet
    Mooney 5-27 (CF)        Mooney 5-27 {CF)-EP-EPT                                      07716496.0          EP1972116                             EP                                       10-Jan-27                 10-Jan-07   Switched Network
                                                                                                                                                                                                                                  Method For Controlling Packet Delivery In A Packet
    Mooney 5-27 (CF)        Mooney 5-27 {CF)-US-NP          US7782862                    11/332761           20070165643                           us                    24-Aug-10          22-Apr-29                 13-Jan-06   Switched Network
                                                                                                                                                                                                                                  Method And Apparatus For Improving Efficiency Of
       Morrarl (5)          Morrar 1 (5)-US-NP              US6418304                    09/154225                                                 us                     9-Jul-02          16-Sep-18                 16-Sep-98   High-Power Linear Amplifier
                                                                                                                                                                                                                                  Technique For Effectively Distributing
      Morrell 6(EA)         Morrell 6 (EA)-US-NP            US5934912                    08/988348                                                 us                    10-Aug-99          10-Dec-17                 10-Dec-97   Communication Connections


                                                                                                                                                                                                                                  Determining Impact Of Test Operations At A Product
      Mosher 1 (JH)         Mosher 1 (JH)-US-NP             US7089144                    10/919617           20060052966                           us                     8-Aug-06          20-Jan-25                 17-Aug-04   Assembly And Test Facility With Repairable Products
                                                                                                                                                                                                                                  Improved Method And Apparatus For Dynamic Time
     Motyka 1-1 (SD)        Motyka 1-1 (SD)-US-NP           US6400714                    09/209451                                                 us                     4-Jun-02          11-Dec-18                 11-Dec-98   Slot Assignment
                                                                                                                                                                                                                                  Wireless Communications Device Having A Compact
  Moustakas 3-4-4-2 (AL)    Moustakas 3-4-4-2 (AL)-US-NP    US6380910                    09/757993                                                 us                    30-Apr-02          10-Jan-21                 10-Jan-0l   Antenna Cluster
                                                                                                                                                                                                                                  Method For Modeling An Information capacity Of A
    Moustakas5-6(AL)        Moustakas 5-6 (AL)-US-NP        U56782257                    10/246843                                                 us                    24-Aug-04          18-Sep-22                 18-Sep-02   MultiantennaWirelessSystem
       Munoz 1 (RJ)         Munoz 1 (RJ)-US-NP              US6343124                    09/102175                                                 us                    29-Jan-02          22-Jun-18                 22-Jun-98   Telephone Networking System


    Munoz 2-10-32 (RJ)      Munoz 2-10-32 (RJ)-US-NP        U56741585                    09/565528                                                 us                    25-May-04          5-May-20                  5-May-00    Interworking Of Addressing In An Internetwork
                                                                                                                                                                                                                                  Improved Grid Layouts Of Switching And Sorting
  Muthukrishnan6-1-2 (5)    Muthukrishnan 6-1-2 (5)-US-NP   US6185220                    09/097878                                                 us                     6-Feb-01          15-Jun-18                 15-Jun-98   Networks
       Myer 50 (RE)         Myer 50 (RE)-US-NP              US5994957                    08/994830                                                 us                    30-Nov-99          19-Dec-17                 19-Dec-97   Feed Forward Amplifier Improvement
                                                                                                                                                                                                                                  Calibration System For Feed Forward Distortion
       Myer 56 (RE)         Myer 56 (RE)-US-NP              US6052023                    09/144018                                                 us                    18-Apr-00          31-Aug-18                 31-Aug-98   Reduction System


                                                                                                                                                                                                                                  Feed Forward Amplifier Improvement Incorporating
       Myer 57 (RE)         Myer 57 (RE)-US-NP              US6069531                    09/144245                                                 us                    30-May-00          31-Aug-18                 31-Aug-98   An Automatic Gain And Phase Controller


                                                                                                                                                                                                                                  Sweep Pilot Technique For A Control System That
      Myer 60-5 (RE)        Myer 60-5 (RE)-US-NP            US5926067                    09/162697                                                 us                     20-Jul-99         29-Sep-18                 29-Sep-98   Reduces Distortion Produced By Electrical Circuits


       Myer 64 (RE)         Myer 64 (RE)-US-NP              US5986499                    09/217637                                                 us                    16-Nov-99          21-Dec-18                 21-Dec-98   Pilot Signal Detection System Using Band Reject Filter
                                                                                                                                                                                                                                  Efficient Architectures For Protection Against
     Nagarajan 12 (R)       Nagarajan 12 (R)-JP-NP          JP4638079                    2001160188                                                JP                     3-Dec-10          29-May-21                 29-May-0l   Network Failures
                                                                                                                                                                                                                                  Efficient Architectures For Protection Against
     Nagarajan 12 (R)       Nagarajan 12 (R)-US-NP          US7342873                    09/587892                                                 us                    11-Mar-08          26-Jan-25                 6-Jun-00    Network Failures


                                                                                                                                                                                                                                  A Dynamic Bandwidth and Buffer Management
     Nagarajan 8-6 (R)      Nagarajan 8-6 (R)-US-NP         US6240066                    09/017586                                                 us                    29-May-0l           3-Feb-18                 3-Feb-98    Algorithm for Multi-Service ATM Switches


                                                                                                                                                                                                                                  Call Admission Control Methods And Apparatus For
    Nagarajan 9-16 (R)      Nagarajan 20-31 (R)-US-CNT      US6683852                    10/264415           20030063624                           us                    27-Jan-04          15-Dec-18                 4-Oct-02    Improving Route Selection In Packet Networks




                                                                                                                    Page 125 of 149
                                                                                                                                                                                                       PATENT
                                                                                                                                                                                               REEL: 044000 FRAME: 0266
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 133 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                          liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                               :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Route Determination with Differential Delay
                                                                                                                                                                                                                                     Compensation For Virtually-Concatenated Data
    Nagesh 13-29 {HS)        Nagesh 13-29 {HS)-US-NP           US7652986                    10/856444           20050286425                           us                    26-Jan-10          11-May-28                 28-May-04   Traffic
                                                                                                                                                                                                                                     Automatic Detection And Configuration Of OSPF
        Naik2 (T)            Naik2 (T)-US-NP                    US7006506                   09/664565                                                 us                    28-Feb-06          11-Sep-22                 18-Sep-00   Virtual Links
                                                                                                                                                                                                                                     Reverse Statistical Multiplexing To Achieve Efficient
     Najda 2-8-1 (JJ)        Najda 2-8-1 (JJ)-US-NP             US7035208                   09/449649                                                 us                    25-Apr-06          30-Nov-19                 30-Nov-99   Digital Packing With Link Protection


   Nakayama 1-2 (MK)         Nakayama 1-2 (MK)-US-NP           US6661775                    09/368931                                                 us                     9-Dec-03           5-Aug-19                 5-Aug-99    Redundant Routing With Deadlines In Data Networks


  Nandagopal 16-52 (T)       Nandagopal 16-52 (T)-US-NP        US8280928                    12/415375           20100251123                           us                     2-Oct-12          29-Sep-30                 31-Mar-09   Multi-Level Enmeshed Directory Structures
                                                                                                                                                                                                                                     Apparatus And Method For A Multi-Level Enmeshed
  Nandagopal 18-54 (T)       Nandagopal 18-54 (T)-US-NP        US8542602                    12/317807           20100165855                           us                    24-Sep-13          19-Sep-29                 30-Dec-08   Policer
     Narayanan 5 (C)         Narayanan5 (C)-US-NP              US5980120                    08/936416                                                 us                     9-Nov-99          25-Sep-17                 25-Sep-97   Fiber Array Test Method And Apparatus
                                                                                                                                                                                                                                     User Interface For Entering And Editing Data In Data
  Narayanaswamy 7 (5)        Narayanaswamy 7 (5)-US-NP         US6167411                    09/102195                                                 us                    26-Dec-00          22-Jun-18                 22-Jun-98   Entry Fields
                                                                                                                                                                                                                                     Dynamic Algorithms For Shortest Path Tree
 Narvaez-Guarnieri 1-2 (P)   Narvaez-Guarnieri 1-2 (P)-US-NP   US6098107                    08/961736                                                 us                     1-Aug-00          31-Oct-17                 31-Oct-97   Computation


 Narvaez-Guarnieri 2-3 (P)   Narvaez-Guarnieri 2-3 (P)-US-NP   US6347078                    09/132032                                                 us                    12-Feb-02          11-Aug-18                 11-Aug-98   Multiple Path Routing
                                                                                                                                                                                                                                     Methods Of Imaging Based On Wavelet Retrieval Of
    Natsev 1-33-8 (Al)       Natsev 1-33-8 (Al)-US-NP          U56751363                    09/371112                                                 us                    15-Jun-04          10-Aug-19                 10-Aug-99   Scenes


                                                                                                                                                                                                                                     Use Of A Single Broadband 557 Signaling Gateway
       Nealon3 (RJ)          Nealon 3 (RJ)-US-NP               US7573869                    10/666684           20050064907                           us                    11-Aug-09          15-Jan-26                 18-Sep-03   For Multiple Wireless Access Gateways


     Nelson 2-1-1 (DJ)       Nelson 2-1-1 (DJ)-US-NP           US7221912                    10/652213           20050048924                           us                    22-May-07          15-Apr-25                 29-Aug-03   Telecommunications Management Interface System
                                                                                                                                                                                                                                     Carrier Head With Controllable Struts For Improved
     Neston 2-14 (SA)        Neston 2-14 (SA)-US-NP            US6402590                    09/594139                                                 us                    11-Jun-02          14-Jun-20                 14-Jun-00   Wafer Planarity


     Newland 9 (PB)          Newland 9 (PB)-US-NP              US5949291                    09/010365                                                 us                     7-Sep-99          21-Jan-18                 21-Jan-98   Synthesizer With Digital Frequency Adjustment
      Newton3 (KA)           Newton 3 (KA)-US-NP               US6256519                    09/020315                                                 us                     3-Jul-01           9-Feb-18                 9-Feb-98    Cordless Telephone With Corded Operability
                                                                                                                                                                                                                                     System Architecture for and Method of Dual Path
                                                                                                                                                                                                                                     Data Processing and Management of Packets and/or
        Nexabit 1            Nexabit 1 ()-US-NP                US5918074                    08/900757                                                 us                    29-Jun-99           25-Jul-17                25-Jul-97   Cells and the Like


                                                                                                                                                                                                                                     Electronic Circuit Board Assembly and Method of
        Nexabit 10           Nexabit 10 ()-US-NP               US5991163                    09/190521                                                 us                    23-Nov-99          12-Nov-18                 12-Nov-98   Closely Stacking Boards and Cooling the Same


                                                                                                                                                                                                                                     System and Architecture for and Method of
        Nexabit3             Nexabit 3 ()-US-NP                US6259699                    09/001040                                                 us                     10-Jul-01         30-Dec-17                 30-Dec-97   Processing Packets and/or Cells in a Common Switch
                                                                                                                                                                                                                                     Protection Switching In WDM Rings Using A Shared
        Ngo 1 (DD)           Ngo 1 (DD)-US-NP                  US8417112                    10/448559           20040243888                           us                     9-Apr-13          17-Aug-29                 30-May-03   Ring Switch
       Nguyen 1 (A)          Nguyen 1 (A)-US-NP                US6191670                    09/313589                                                 us                    20-Feb-0l          18-May-19                 18-May-99   Low-Loss Duplexer Without Setting


                                                                                                                                                                                                                                     Frequency Division Duplexing System Which
     Nguyen 5-40 (M)         Nguyen 5-40 (M)-US-NP             US6333920                    08/926497                                                 us                    25-Dec-0l           8-Sep-17                 8-Sep-97    Accommodates Symmetric And Asymmetric Channels
                                                                                                                                                                                                                                     Method And Memory Cache For Cache Locking On
      Nicol 13-6 (CJ)        Nicol 13-6 (CJ)-US-NP             US6438655                    09/437271                                                 us                    20-Aug-02          10-Nov-19                 10-Nov-99   Bank-By-Bank Basis
                                                                                                                                                                                                                                     Optical Wavelength Add/Drop Multiplexer For Dual
    Nielsen 8-4-5 (TN)       Nielsen 8-4-5 (TN)-US-NP          US6559988                    09/464832                                                 us                    6-May-03           16-Dec-19                 16-Dec-99   Signal Transmission Rates
                                                                                                                                                                                                                                     System And Method For Reducing Switching
     Nithi 3-6-2 {NK)        Nithi 3-6-2 {NK)-US-NP            US7492725                    11/000182           20060114829                           us                    17-Feb-09          28-Nov-26                 30-Nov-04   Overhead In A Commuication Network
                                                                                                                                                                                                                                     Value Based Scoring For Optical Character
       Nahl 3-1 (CR)         Nahl 3-1 (CR)-US-NP               US6608944                    08/901304                                                 us                    19-Aug-03           28-Jul-17                28-Jul-97   Recognition


                                                                                                                                                                                                                                     Data Processing System Initiated Telecommunication
      Nolte 2-4 (DB)         Nolte 2-4 (DB)-US-NP              US7039681                    09/783842           20020152312                           us                    2-May-06           16-Feb-23                 15-Feb-0l   Sessions Between Patrons And Resource Providers
                                                                                                                                                                                                                                     Wireless Data Communications Using Asymmetric
  Nordgaard 2-5-10 (JK)      Nordgaard 2-5-10 (JK)-US-NP       US6628626                    09/347165                                                 us                    30-Sep-03            2-Jul-19                 2-Jul-99   Channel Allocation
                                                                                                                                                                                                                                     Methods And Apparatus For Associating And
                                                                                                                                                                                                                                     Displaying Project Planning And Management
                                                                                                                                                                                                                                     Information In Conjunction With Geographic
      Norman 1 (TA)          Norman 1 (TAJ-US-NP               US8510148                    11/069261           20060212327                           us                    13-Aug-13          16-Sep-33                 1-Mar-05    Information
                                                                                                                                                                                                                                     Efficient List Decoding Of Reed-Solomon Codes For
                                                                                                                                                                                                                                     Message Recovery In The Presence Of High Noise
    Olshevsky 1-2 (VJ        Olshevsky 1-2 (VJ-US-NP           US6631172                    09/563602                                                 us                     7-Oct-03           1-May-20                 1-May-00    Levels
                                                                                                                                                                                                                                     A Method And Apparatus For Resolving Domain
        Ong 11 (P)           Ong 11 (P)-US-NP                  US7765179                    09/201749           20020016789                           us                     27-Jul-10         27-Aug-23                 1-Dec-98    Names Of Persistent Web Resources
                                                                                                                                                                                                                                     Mobile-TCP And Method Of Establishing And
        Orsic7(M)            Orsic 7 (M)-DE-EPA                EP0998098                    99308217.1          EP0998098                             DE                    14-Jun-06          18-Oct-19                 18-Oct-99   Maintaining A Mobile-TCP Connection
                                                                                                                                                                                                                                     Mobile-TCP And Method Of Establishing And
        Orsic7(M)            Orsic 7 (M)-FR-EPA                EP0998098                    99308217.1          EP0998098                             FR                    14-Jun-06          18-Oct-19                 18-Oct-99   Maintaining A Mobile-TCP Connection
                                                                                                                                                                                                                                     Mobile-TCP And Method Of Establishing And
        Orsic7(M)            Orsic 7 (M)-GB-EPA                EP0998098                    99308217.1          EP0998098                             GB                    14-Jun-06          18-Oct-19                 18-Oct-99   Maintaining A Mobile-TCP Connection
                                                                                                                                                                                                                                     System For Coordinating Calls Between An Adjunct
    Otto 12-7-1 (MR)         Otto 12-7-1 (MR)-US-NP            US6122359                    08/923315                                                 us                    19-Sep-00           4-Sep-17                 4-Sep-97    Device And A Switching System
                                                                                                                                                                                                                                     System For Providing Virtual Called Party
      Otto 15(MR)            Otto 15 (MR)-US-NP                US6163606                    09/154135                                                 us                    19-Dec-00          16-Sep-18                 16-Sep-98   Identification In A Voice Mail System
                                                                                                                                                                                                                                     Security System And Method For Detecting Chassis
       Paas 6-7(TJ)          Paas 6-7 (TJ)-US-NP               US5877697                    08/900994                                                 us                    2-Mar-99            25-Jul-17                25-Jul-97   Tampering


     Palat 5-3-6 {SK)        Palat5-3-6 {SK)-AU-NP             AU744531                     53423/00                                                  AU                    13-Jun-02          15-Aug-20                 15-Aug-00   RAU Optimisation For UMTS URA Connected State


     Palat 5-3-6 {SK)        Palat5-3-6 {SK)-DE-EPA            EP1079655                    99306649.7          EP1079655                             DE                     9-Feb-05          23-Aug-19                 23-Aug-99   RAU Optimisation For UMTS URA Connected State


     Palat 5-3-6 {SK)        Palat5-3-6 {SK)-FR-EPA            EP1079655                    99306649.7          EP1079655                             FR                     9-Feb-05          23-Aug-19                 23-Aug-99   RAU Optimisation For UMTS URA Connected State


     Palat 5-3-6 {SK)        Palat5-3-6 {SK)-GB-EPA            EP1079655                    99306649.7          EP1079655                             GB                     9-Feb-05          23-Aug-19                 23-Aug-99   RAU Optimisation For UMTS URA Connected State


     Palat 5-3-6 {SK)        Palat5-3-6 {SK)-JP-NP             JP4365015                    2000243621                                                JP                    28-Aug-09          11-Aug-20                 11-Aug-00   RAU Optimisation For UMTS URA Connected State


     Palat 5-3-6 {SK)        Palat5-3-6 {SK)-US-NP             U56765890                    09/642559                                                 us                     20-Jul-04          1-Oct-22                 21-Aug-00   RAU Optimisation For UMTS URA Connected State


   Papatheodorou 1 (5)       Papatheodorou 1 (5)-KR-NP         KR307338                     983046                                                    KR                    20-Aug-01           4-Feb-18                 4-Feb-98    Aperture-Coupled Planar lnverted-F Antenna
       Pardo 20 (F)          Pardo 20(F)-US-NP                 US8120133                    11/519142           20080061387                           us                    21-Feb-12           1-Sep-29                 11-Sep-06   Micro-Actuator And Locking Switch
                                                                                                                                                                                                                                     Network Management System Using A Distributed
         Parkl(J)            Park 1 (J)-US-NP                  US6546415                    09/312524                                                 us                     8-Apr-03          14-May-19                 14-May-99   Names pace
                                                                                                                                                                                                                                     Controlling Customized Announcements to
                                                                                                                                                                                                                                     Subscribers and Responses Thereto in an
    Parker 1-3-17 (DG)       Parker 1-3-17(DG)-US-NP           U56771748                    10/255465                                                 us                     3-Aug-04           4-Oct-22                 26-Sep-02   Telecommunication System




                                                                                                                       Page 126 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0267
                          Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 134 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                     ~~:J~JfW
                                                           :ia:~:A,m:::::::::::::::::
                                                           liiitiiiiii~:il\::::'::•:•
                                                                                        :@~~l:~J!l,J.tf;1.l'I. ::: =~=~~~=~:J::!::1;1:rf: ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
       Patel   16   (5)     Patel 16 (SJ-DE-EPA             EP1213943                   01306907.5                     EP1213943                           DE              8-Mar-06           14-Aug-21                 14-Aug-0l   Key Conversion System And Method
       Patel   16   (5)     Patel 16 (SJ-ES-EPA             EP1213943                   01306907.5                     EP1213943                           ES              8-Mar-06           14-Aug-21                 14-Aug-0l   Key Conversion System And Method
       Patel   16   (5)     Patel 16 (SJ-FR-EPA             EP1213943                   01306907.5                     EP1213943                           FR              8-Mar-06           14-Aug-21                 14-Aug-0l   Key Conversion System And Method
       Patel   16   (5)     Patel 16 (SJ-GB-EPA             EP1213943                   01306907.5                     EP1213943                          GB               8-Mar-06           14-Aug-21                 14-Aug-0l   Key Conversion System And Method
       Patel 16 (5)         Patel 16 (SJ-IT-EPA             EP1213943                   01306907.5                     EP1213943                           IT              8-Mar-06           14-Aug-21                 14-Aug-0l   Key Conversion System And Method
       Patel 16 (5)         Patel 16 (5)-US-NP              US6857075                   09/734148                     20020071558                          us              15-Feb-05          11-Dec-20                 11-Dec-00   Key Conversion System And Method


        Patel2(5)           Patel 2 (5)-US-NP               US6118993                   09/002852                                                          us              12-Sep-00           5-Jan-18                 5-Jan-98    Effective Use Of Dialed Digits In Call Origination
                                                                                                                                                                                                                                    Method For Generating A Code Mask For Coding
       Patel 20 (5)         Patel 20 (5)-KR-NP              KR1056342                   20040027861                                                        KR               5-Aug-11          22-Apr-24                 22-Apr-04   Transmission Over A Traffic Channel
                                                                                                                                                                                                                                    Method For Generating A Code Mask For Coding
       Patel 20 (5)         Patel 20 (5)-US-NP              US7697413                   10/423947                     20040213280                          us              13-Apr-10           1-Dec-26                 28-Apr-03   Transmission Over A Traffic Channel
                                                                                                                                                                                                                                    Generating A Code Mask Based On Geographical
       Patel21(5)           Patel21(5)-EP-EPA                                           04254507.9                     EP1507428                           EP                                  28-Jul-24                28-Jul-04   Coordinate Values
                                                                                                                                                                                                                                    Generating A Code Mask Based On Geographical
       Patel21(5)           Patel 21 (5)-US-NP              US7596381                   10/641526                     20050037778                          us              29-Sep-09           27-Jul-28                15-Aug-03   Coordinate Values
                                                                                                                                                                                                                                    Generating A Code Mask Based On Geographical
       Patel21(5)           Patel 21 (5)-JP-NP             JP4542389                    2004235692                    2005065292                           JP               2-Jul-10          13-Aug-24                 13-Aug-04   Coordinate Values


       Patel3-1(5)          Patel 3-1 (5)-US-NP             US6285761                   09/034829                                                          us               4-Sep-01           4-Mar-18                 4-Mar-98    A Method For Generating Pseudo-Random Numbers


                                                                                                                                                                                                                                    Apparatus For Protecting Orcuit Pack Assemblies
      Patel 5-1 (NC)        Patel 5-1 (NC)-US-NP            US6317325                   09/510808                                                          us              13-Nov-01          23-Feb-20                 23-Feb-00   From Thermal And Electromagnetic Effects
                                                                                                                                                                                                                                    Method For Securing Over-The-Air Communication In
        Patel 6 (5)         Patel 6 (SJ-DE-EPA              EP0998080                   99305714.0                     EP0998080                           DE              25-Jan-06           20-Jul-19                20-Jul-99   A Wireless System
                                                                                                                                                                                                                                    Method For Securing Over-The-Air Communication In
        Patel 6 (5)         Patel 6 (SJ-FR-EPA              EP0998080                   99305714.0                     EP0998080                           FR              25-Jan-06           20-Jul-19                20-Jul-99   A Wireless System
                                                                                                                                                                                                                                    Method For Securing Over-The-Air Communication In
        Patel 6 (5)         Patel 6 (SJ-GB-EPA              EP0998080                   99305714.0                     EP0998080                          GB               25-Jan-06           20-Jul-19                20-Jul-99   A Wireless System
                                                                                                                                                                                                                                    Method For Securing Over-The-Air Communication In
        Patel 6 (5)         Patel 6 (5)-JP-NP              JP3513054                    214540/1999                   2000083286                           JP              16-Jan-04           29-Jul-19                29-Jul-99   A Wireless System
                                                                                                                                                                                                                                    Method For Securing Over-The-Air Communication In
        Patel 6 (5)         Patel 6 (5)-US-NP               US6374355                   09/127045                                                          us              16-Apr-02           31-Jul-18                31-Jul-98   A Wireless System
                                                                                                                                                                                                                                    Method For Two Party Authentication And Key
        Patel 7 (5)         Patel 7 (SJ-DE-EPA              EP0998095                   99305704.1                     EP0998095                           DE              25-Feb-04           20-Jul-19                20-Jul-99   Agreement
                                                                                                                                                                                                                                    Method For Two Party Authentication And Key
        Patel 7 (5)         Patel 7 (SJ-FR-EPA              EP0998095                   99305704.1                     EP0998095                           FR              25-Feb-04           20-Jul-19                20-Jul-99   Agreement
                                                                                                                                                                                                                                    Method For Two Party Authentication And Key
        Patel 7 (5)         Patel 7 (SJ-GB-EPA              EP0998095                   99305704.1                     EP0998095                          GB               25-Feb-04           20-Jul-19                20-Jul-99   Agreement
                                                                                                                                                                                                                                    Method For Two Party Authentication And Key
        Patel 7 (5)         Patel 7 (5)-US-NP               US6918035                   09/127767                                                          us               12-Jul-05           6-Jul-21                31-Jul-98   Agreement
                                                                                                                                                                                                                                    Audio Watermarking For Call Identification In A
      Patfieldl(KM)         Patfield 1 (KM)-US-NP           US7729339                   10/632196                     20050025126                          us               1-Jun-10          26-Sep-28                 31-Jul-03   Telecommunications Network


     Patfield2-l(KM)        Patfield 2-1 (KM)-US-NP         US7330465                   10/699261                     20050094624                          us              12-Feb-08           19-Jul-26                31-Oct-03   Auto Provisioning For A Voice Over IP Gateway
                                                                                                                                                                                                                                    Method And Apparatus For Load Sharing On A Wide
       Paul 19-7 (5)        Paul 19-7 (5)-US-NP             US6314465                   09/266339                                                          us               6-Nov-01          11-Mar-19                 11-Mar-99   Area Network
                                                                                                                                                                                                                                    Adaptive Communications Transcoding And Error
      Pauls3-3(RJ)          Pauls 3-3 (RJ)-US-NP            US6920150                   08/940760                                                          us               19-Jul-05         30-Sep-17                 30-Sep-97   Control
                                                                                                                                                                                                                                    A Perceptual Compression And Robust Bit-Rate
       Pauls 4 (RJ)         Pauls 4 (RJ)-US-NP              US6185253                   08/961624                                                          us               6-Feb-01          31-Oct-17                 31-Oct-97   Control System
                                                                                                                                                                                                                                    System And method For Phase Recovery In A
     Pawelski 11 (RL)       Pawelski 11 (RL)-US-NP          US6307869                   09/111597                                                          us              23-Oct-01            7-Jul-18                 7-Jul-98   Synchronous Communication System
                                                                                                                                                                                                                                    Antenna Alignment Using A Temperature-Dependent
  Pawlenko 100-20-17 (I)    Pawlenko 100-20-17 (I)-US-NP    US6933901                   10/389067                     20040178963                          us              23-Aug-05           8-Jun-23                 14-Mar-03   Driver
                                                                                                                                                                                                                                    Electromagnetic Shield Assembly With Opposed
   Pawlenko 112-25 (I)      Pawlenko 112-25 (I)-US-NP       US7113410                   10/816354                     20050219832                          us              26-Sep-06           1-Apr-24                 1-Apr-04    Hook Flanges
                                                                                                                                                                                                                                    Automatic Recycling Of Exhaust Tubes For Fiber
   Pawlenko 122-34 (I)      Pawlenko 122-34 (I)-US-NP       US7629551                   11/329581                                                          us               8-Dec-09           2-Mar-28                 11-Jan-06   Optics


      Peale 10 (DR)         Peale 10 (DR)-US-NP             US6370219                   09/294485                                                          us               9-Apr-02          20-Apr-19                 20-Apr-99   Self-Modulated, Filament-Based,Solid State Laser


      Peragine 4 (FJ)       Peragine 4 (FJ)-US-NP           US6623185                   09/595782                                                          us              23-Sep-03          16-Jun-20                 16-Jun-00   Loss Of Signal Detector For Low-Level Optical Signals


                                                                                                                                                                                                                                    A Method And Appratus For Providing Managed
      Pereiral-2(A)         Pereira 1-2 (A)-JP-NP          JP5031224                    2005313651                    2006129492                           JP               6-Jul-12          28-Oct-25                 28-Oct-05   Roaming Service In A Wireless Network


                                                                                                                                                                                                                                    A Method And Appratus For Providing Managed
      Pereiral-2(A)         Pereira 1-2 (A)-CN-NP           ZL10116090.1                200510116090.1                CN1767690A                          CN               16-Jun-10          28-Oct-25                 28-Oct-05   Roaming Service In A Wireless Network


                                                                                                                                                                                                                                    A Method And Appratus For Providing Managed
      Pereiral-2(A)         Pereira 1-2 (A)-DE-EPA          EP1653764                   05256098.4                     EP1653764                           DE              14-May-08          29-Sep-25                 29-Sep-05   Roaming Service In A Wireless Network


                                                                                                                                                                                                                                    A Method And Appratus For Providing Managed
      Pereiral-2(A)         Pereira 1-2 (A)-FR-EPA          EP1653764                   05256098.4                     EP1653764                           FR              14-May-08          29-Sep-25                 29-Sep-05   Roaming Service In A Wireless Network


                                                                                                                                                                                                                                    A Method And Appratus For Providing Managed
      Pereiral-2(A)         Pereira 1-2 (A)-GB-EPA          EP1653764                   05256098.4                     EP1653764                          GB               14-May-08          29-Sep-25                 29-Sep-05   Roaming Service In A Wireless Network
                                                                                                                                                                                                                                    Methods And Systems For Computing The Quality Of
    Perinkulam 5-9(5)       Perinkulam 5-9 (5)-US-NP        US9118919                   11/647366                     20080159410                          us              25-Aug-15           3-Dec-31                 29-Dec-06   An MPEG-2 Video Stream
                                                                                                                                                                                                                                    Method For Detecting Fraudulent Use Of A
     Peterson3 (DC)         Peterson 3 (DC)-US-NP           US6266525                   09/213905                                                          us               24-Jul-01         17-Dec-18                 17-Dec-98   Communications Systems


    Pfleging 8-13 {GW)      Pfleging 8-13 {GW)-US-NP        US7774232                   10/954411                     20060074766                          us              10-Aug-10          10-Jun-26                 30-Sep-04   Wireless Distribution Of Content Files


          Philips5          Philips 5 ()-US-NP              US6104168                   09/131244                                                          us              15-Aug-00           7-Aug-18                 7-Aug-98    Low Leakage Low Dropout Transistor Charging Circuit
          Philips 6         Philips 6{GL)-US-NP             US6363146                   09/131245                                                          us              26-Mar-02           7-Aug-18                 7-Aug-98    Reset Device


                                                                                                                                                                                                                                    Apparatus And Method For Tapping Optical
    Phillips2-30(WC)        Phillips 2-30(WC)-US-NP         US6088497                   09/163944                                                          us               11-Jul-00         30-Sep-18                 30-Sep-98   Transmissions For Analysis Of Optical Protocols
     Phipps 1-2(MV)         Phipps 1-2 (MV)-US-NP           US6219248                   09/298373                                                          us              17-Apr-0l          23-Apr-19                 23-Apr-99   Heat Sink Alignment Apparatus And Method
                                                                                                                                                                                                                                    A Primary Stage Optical Switch For An Optical Fiber
    Pimpinella25 (RJ)       Pimpinella 25 (RJ)-US-NP        US6055343                   08/935228                                                          us              25-Apr-00          22-Sep-17                 22-Sep-97   Administration System
                                                                                                                                                                                                                                    Integrated Optical Switches Using Nonlinear Optical
    Platzman8-3{PM)         Platz man 11-4 (PM)-US-DIV      US6993216                   10/769713                     20040184715                          us              31-Jan-06          29-Dec-20                 31-Jan-04   Mediums
                                                                                                                                                                                                                                    Method And Apparatus For Dense Motion Field Based
    Podilchuk 11-1 (Cl)     Podilchuk 11-1 (Cl)-US-NP       US6956898                   09/368380                                                          us              18-Oct-05           4-Aug-19                 4-Aug-99    Coding


                                                                                                                                                                                                                                    High-Capacity Digital Image Watermarking Based On
    Podilchuk 12-2 (Cl)     Podilchuk 12-2 (Cl)-US-NP       U56778678                   09/368381                                                          us              17-Aug-04           4-Aug-19                 4-Aug-99    Waveform Modulation Of Image Components




                                                                                                                              Page 127 of 149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0268
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 135 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                              :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                         ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Soft Feature Decoding In A Distributed Automatic
                                                                                                                                                                                                                                    Speech Recognition System For Use Over Wireless
  Potamianos 2-2-28 (A)      Potamianos 2-2-28 (A)-US-NP       U56760699                   09/556250                                                 us                     6-Jul-04          24-Apr-20                 24-Apr-00   Channels
                                                                                                                                                                                                                                    Bus Controller Handling A Dynamically Changing Mix
                                                                                                                                                                                                                                    Of Multiple Nonpre-Emptable Periodic And Aperiodic
     Prasanna 12 (GS)        Prasanna 12 (GS)-US-NP            US6425032                   09/292397           20010019592                           us                     23-Jul-02         15-Apr-19                 15-Apr-99   Devices
      ProdanovS (VI)         Prodanov 5 (Vl)-US-NP             US6693469                   10/128140           20020186058                           us                    17-Feb-04          23-Apr-22                 23-Apr-02   Buffer Interface Architecture
                                                                                                                                                                                                                                    Method Of Assigning Orcuit ID's In An 15-15 Compliant
     Przygienda 2 (AB)       Przygienda 2 (AB)-US-NP          US6587475                    09/148657                                                 us                     1-Jul-03           4-Sep-18                 4-Sep-98    Network


    Pugliese 1-1-1 (MR)      Pugliese 1-1-1 (MR)-US-NP        US6204444                    09/340565                                                 us                    20-Mar-0l          28-Jun-19                 28-Jun-99   EMI Shielding Gasket For An Electronic System
                                                                                                                                                                                                                                    A Nonblocking Synchronous Digital Hierarchy Column
      Raamot 11-4 (J)        Raamot 11-4 (J)-US-NP            US6108333                    09/028798                                                 us                    22-Aug-00          25-Feb-18                 25-Feb-98   Cross-Point Switch
                                                                                                                                                                                                                                    Multiple-Local Area Networks Interconnected By A
      Raamot 12-6 (J)        Raamot 12-6 (J)-US-NP            US6353858                    09/203016                                                 us                    5-Mar-02           30-Nov-18                 30-Nov-98   Switch
                                                                                                                                                                                                                                    Ethernet Cross Point Switch With Reduced
                                                                                                                                                                                                                                    Connections By Using Dual Control To The Cross
      Raamot 14-8 (J)        Raamot 14-8 (J)-US-NP            US6947439                    09/747911           20020080815                           us                    20-Sep-05          22-Dec-20                 22-Dec-00   Points In The Switch


    Rabinovich 20 (EM)       Rabinovich 20 (EM)-US-NP         US6151916                    09/089155                                                 us                    28-Nov-00           2-Jun-18                 2-Jun-98    Glass Ferrule Optical Fiber Connectors
                                                                                                                                                                                                                                    Method And System For High Bit Rate Fiber-Optic
       Raddatz 4 (L)         Raddatz 4 (L)-US-NP              US7593648                    11/095767           20060222375                           us                    22-Sep-09          26-Dec-27                 31-Mar-05   Communications
                                                                                                                                                                                                                                    Chromatic Dispersion Compensation Using
       Raddatz 5 (L)         Raddatz 5 (L)-US-NP              US7650053                    11/342471           20070177840                           us                    19-Jan-10           6-Apr-26                 30-Jan-06   Wavelength Tunable Transmitter
                                                              ZL200780039853                                                                                                                                                        Polarization Mode Dispersion Monitoring And Fault
      Raddatz 6-2 (L)        Raddatz 6-2 (L)-CN-PCT           .4                           200780039853.4      101529758                             CN                    12-Sep-12          29-Oct-27                 29-Oct-07   Correlation
                                                                                                                                                                                                                                    Polarization Mode Dispersion Monitoring And Fault
      Raddatz 6-2 (L)        Raddatz 6-2 (L)-EP-EPT                                        07853003.7          EP2082503                             EP                                       29-Oct-27                 29-Oct-07   Correlation
                                                                                                                                                                                                                                    Polarization Mode Dispersion Monitoring And Fault
      Raddatz 6-2 (L)        Raddatz 6-2 (L)-IN-PCT                                        1525/CHENP/2009     1525/CHENP/2009                        IN                                      29-Oct-27                 29-Oct-07   Correlation
                                                                                                                                                                                                                                    Polarization Mode Dispersion Monitoring And Fault
      Raddatz 6-2 (L)        Raddatz 6-2 (L)-JP-PCT           JP5165687                    2009534688          2010508707                            JP                    28-Dec-12          29-Oct-27                 29-Oct-07   Correlation
                                                                                                                                                                                                                                    Polarization Mode Dispersion Monitoring And Fault
      Raddatz 6-2 (L)        Raddatz 6-2 (L)-KR-PCT           KR101086213                  20097008187                                               KR                    17-Nov-11          29-Oct-27                 29-Oct-07   Correlation
                                                                                                                                                                                                                                    Polarization Mode Dispersion Monitoring And Fault
      Raddatz 6-2 (L)        Raddatz 6-2 (L)-US-NP            US7995918                    11/554626           20080101799                           us                     9-Aug-11          30-Apr-28                 31-Oct-06   Correlation
                                                                                                                                                                                                                                    Carry-Save Multiplier/Accumulator System And
     Raghunath 6 (KJ)        Farrokh 2-3-11 (H)-US-CIP        U56704761                    08/906537                                                 us                    9-Mar-04            1-Jun-20                 5-Aug-97    Method
                                                                                                                                                                                                                                    Wireless System And Method For Evaluating Quality
      Rahmanl(MA)            Rahman 1 (MAJ-US-NP              US6445916                    09/226612                                                 us                     3-Sep-02           7-Jan-19                 7-Jan-99    Of Service


                                                                                                                                                                                                                                    Method Of Constructing A Quickconfig Message In A
                                                                                                                                                                                                                                    lxEvolution Data Only (lxEV-DO) Communication
                                                                                                                                                                                                                                    Network And Method Of Reducing Call And Handoff
                                                                                                                                                                                                                                    Failure Rates In The lxEV-DO Network Without
       Rajan 3-5 (P)         Rajan 3-5 (P)-IN-PCT                                          5407/CHENP/2009     5407 /CH ENP/2009                      IN                                      20-Mar-28                 20-Mar-08   Introducing Additional Call Setup Latencies


                                                                                                                                                                                                                                    Method Of Constructing A Quickconfig Message In A
                                                                                                                                                                                                                                    lxEvolution Data Only (lxEV-DO) Communication
                                                                                                                                                                                                                                    Network And Method Of Reducing Call And Handoff
                                                                                                                                                                                                                                    Failure Rates In The lxEV-DO Network Without
       Rajan 3-5 (P)         Rajan 3-5 (P)-JP-PCT             JP5143850                    2009554573          2010522482                            JP                    30-Nov-12          20-Mar-28                 20-Mar-08   Introducing Additional Call Setup Latencies


                                                                                                                                                                                                                                    Method Of Constructing A Quickconfig Message In A
                                                                                                                                                                                                                                    lxEvolution Data Only (lxEV-DO) Communication
                                                                                                                                                                                                                                    Network And Method Of Reducing Call And Handoff
                                                                                                                                                                                                                                    Failure Rates In The lxEV-DO Network Without
       Rajan 3-5 (P)         Rajan 3-5 (P)-KR-PCT             KR101109507                  20097019553                                               KR                    18-Jan-12          20-Mar-28                 20-Mar-08   Introducing Additional Call Setup Latencies


                                                                                                                                                                                                                                    Method Of Constructing A Quickconfig Message In A
                                                                                                                                                                                                                                    lxEvolution Data Only (lxEV-DO) Communication
                                                                                                                                                                                                                                    Network And Method Of Reducing Call And Handoff
                                                                                                                                                                                                                                    Failure Rates In The lxEV-DO Network Without
       Rajan 3-5 (P)         Rajan 3-5 (P)-US-NP              US8260335                    11/723647           20080233936                           us                     4-Sep-12          14-Jan-30                 21-Mar-07   Introducing Additional Call Setup Latencies
                                                                                                                                                                                                                                    Method And Apparatus For Scheduling Traffic To
                                                                                                                                                                                                                                    Meet Quality Of Service Requirements In A
     Ramananl-1 (K)          Ramanan 1-1 (K)-DE-EPA           EP1083709                    00307410.1          EP1083709                             DE                     4-Oct-06          29-Aug-20                 29-Aug-00   Communication Network
                                                                                                                                                                                                                                    Method And Apparatus For Scheduling Traffic To
                                                                                                                                                                                                                                    Meet Quality Of Service Requirements In A
     Ramananl-1 (K)          Ramanan 1-1 (K)-FR-EPA           EP1083709                    00307410.1          EP1083709                             FR                     4-Oct-06          29-Aug-20                 29-Aug-00   Communication Network
                                                                                                                                                                                                                                    Method And Apparatus For Scheduling Traffic To
                                                                                                                                                                                                                                    Meet Quality Of Service Requirements In A
     Ramananl-1 (K)          Ramanan 1-1 (K)-GB-EPA           EP1083709                    00307410.1          EP1083709                             GB                     4-Oct-06          29-Aug-20                 29-Aug-00   Communication Network
                                                                                                                                                                                                                                    Method And Apparatus For Scheduling Traffic To
                                                                                                                                                                                                                                    Meet Quality Of Service Requirements In A
     Ramananl-1 (K)          Ramanan 1-1 (K)-US-NP            US7054267                    09/393949           20030185224                           us                    30-May-06          10-Sep-19                 10-Sep-99   Communication Network
      Ramsey 6 (DA)          Ramsey 6 (DA)-US-NP              US6435735                    09/577186                                                 us                    20-Aug-02          23-May-20                 23-May-00   Assembling Optical Components


                                                                                                                                                                                                                                    Prioritized Load Balancing Among Non-
    Ransom 1-3 (AJM)         Ransom 1-3 (AJM)-US-NP           US6148324                    09/002982                                                 us                    14-Nov-00           5-Jan-18                 5-Jan-98    Communicating Processes In A Time Sharing System
                                                                                                                                                                                                                                    Strictly Non-Blocking Wavelength Division
     Rasala 1-18(AP)         Rasala 1-18 (AP)-US-NP           US6535310                    09/471641                                                 us                    18-Mar-03          23-Dec-19                 23-Dec-99   Multiplexed (WDM) Cross-Connect Device
                                                                                                                                                                                                                                    Strictly Non-Blocking Wavelength Division
                                                                                                                                                                                                                                    Multiplexed (WDM) Cross-Connect Device For Use In
     Rasala 2-19(AP)         Rasala 2-19 (AP)-CN-NP           ZL00136412.X                 00136412.X          CN1301093A                            CN                    27-Apr-07          22-Dec-20                 22-Dec-00   A Heterogeneous
                                                                                                                                                                                                                                    Strictly Non-Blocking Wavelength Division
                                                                                                                                                                                                                                    Multiplexed (WDM) Cross-Connect Device For Use In
     Rasala 2-19(AP)         Rasala 2-19 (AP)-US-NP           US6487332                    09/471925                                                 us                    26-Nov-02          23-Dec-19                 23-Dec-99   A Heterogeneous


  Rashid-Farrokhi 1-11 (F)   Rashid-Farrokhi 1-11 (F)-US-NP   US6400780                    09/187878                                                 us                     4-Jun-02           6-Nov-18                 6-Nov-98    Space-Time Diversity For Wireless Systems
                                                                                                                                                                                                                                    CMOS-Compatible Polarization-Diverse Tunable
       Rasras 17 (M)         Rasras 17 (M)-US-NP              US7680362                    12/014440           20090180729                           us                    16-Mar-10          23-Mar-28                 15-Jan-08   Optical Bandpass Filter


                                                                                                                                                                                                                                    Polarization Component Processor, Method Of
                                                                                                                                                                                                                                    Processing Polarization Components And Integrated
       Rasras 20 (M)         Rasras 20 (M)-US-NP              US7822298                    12/103540           20090257706                           us                    26-Oct-10          30-Jan-29                 15-Apr-08   Photonic Circuit Employing The Same
                                                                                                                                                                                                                                    Technique For Effectively Instantiating Attributes In
      Rastogi 18-1 (R)       Rastogi 18-1 (R)-US-NP           US5946683                    08/977878                                                 us                    31-Aug-99          25-Nov-17                 25-Nov-97   Association Rules
                                                                                                                                                                                                                                    Decision Tree Classifier With Integrated Building And
      Rastogi 24-5 (R)       Rastogi 24-5 (R)-US-NP           US6247016                    09/189257                                                 us                    12-Jun-0l          10-Nov-18                 10-Nov-98   Pruning Phases




                                                                                                                      Page 128 of 149
                                                                                                                                                                                                         PATENT
                                                                                                                                                                                                 REEL: 044000 FRAME: 0269
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 136 of 156
                                               Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                   ~~:J~JfW                     liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                       :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                  ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                             Dynamic Load Balancing During Message Processing
     Rathunde 2 (DF)      Rathunde 2 (DF)-DE-EPA       EP1091602                    00308678.2          EP1091602                             DE                    14-Mar-12           3-Oct-20                 3-Oct-00    In A Wireless Communication Service Network


                                                                                                                                                                                                                             Dynamic Load Balancing During Message Processing
     Rathunde 2 (DF)      Rathunde 2 (DF)-FR-EPA       EP1091602                    00308678.2          EP1091602                             FR                    14-Mar-12           3-Oct-20                 3-Oct-00    In A Wireless Communication Service Network


                                                                                                                                                                                                                             Dynamic Load Balancing During Message Processing
     Rathunde 2 (DF)      Rathunde 2 (DF)-GB-EPA       EP1091602                    00308678.2          EP1091602                             GB                    14-Mar-12           3-Oct-20                 3-Oct-00    In A Wireless Communication Service Network


                                                                                                                                                                                                                             Dynamic Load Balancing During Message Processing
     Rathunde 2 (DF)      Rathunde 2 (DF)-US-NP        US6574477                    09/413259                                                 us                     3-Jun-03           6-Oct-19                 6-Oct-99    In A Wireless Communication Service Network
                                                                                                                                                                                                                             Loop Antenna Configuration For Printed Wire Board
     Rawles 1-8(MS)       Rawles 1-8 (MS)-US-NP        US6067052                    09/156929                                                 us                    23-May-00          18-Sep-18                 18-Sep-98   Applications


                                                                                                                                                                                                                             Method And Apparatus For Efficient Network
       Raz 3-5 (DJ        Raz 3-5 (DJ-US-NP            US6529515                    09/409153                                                 us                    4-Mar-03           30-Sep-19                 30-Sep-99   Management Using An Active Network Mechanism
                                                                                                                                                                                                                             Process For Migrating A Mobile Station Identity From
                                                                                                                                                                                                                             A Mobile Identification Number To An International
     Redell 4-31 {KL)     Redell 4-31 {KL)-US-NP       US7471949                    11/245463           20070082666                           us                    30-Dec-08          16-Jun-26                 6-Oct-05    Mobile Station Identity
                                                                                                                                                                                                                             Communication Cable Incorporating Fiberglass
      Reed 14(WC)         Reed 15 (WC)-US-DIV          US6058603                    09/172480                                                 us                    9-May-00           14-Oct-17                 14-Oct-98   Strength Members
     Reed25-2(WA)         Reed 25-2 (WA)-FR-EPA        EP1260841                    01310121.7          EP1260841                             FR                     11-Jul-07          4-Dec-21                 4-Dec-01    Grin Fiber Lenses
     Reed25-2(WA)         Reed 25-2 (WA)-US-NP         US6542665                    09/896777           20020146202                           us                     1-Apr-03          29-Jun-21                 29-Jun-0l   Grin Fiber Lenses
      Reents6(WD)         Reents 6 (WD)-US-NP          US5977540                    09/061462                                                 us                     2-Nov-99          16-Apr-18                 16-Apr-98   Laser-Assisted Particle Analysis


                                                                                                                                                                                                                             Technique For Soft Decision Metric Generation In A
       Rege 6 (KM)        Rege 6 (KM)-US-NP            US6018546                    08/931532                                                 us                    25-Jan-00          16-Sep-17                 16-Sep-97   Wireless Communications System
                                                                                                                                                                                                                             Patterned Structures Of High Refractive Index
   Reichmanis 32-10 (E)   Reichmanis 32-10 (E)-US-NP   US7008757                    10/321027           20040115566                           us                    7-Mar-06           10-Sep-23                 17-Dec-02   Materials
                                                                                                                                                                                                                             Apparatus And Method For Providing Memory
                                                                                                                                                                                                                             Address Interchanging For High Speed Memory
    Reveles 1-1-1 (FM)    Reveles 1-1-1 (FM)-US-NP     US6075785                    08/991795                                                 us                    13-Jun-00          16-Dec-17                 16-Dec-97   Accesses
                                                                                                                                                                                                                             Methods And Apparatus For Providing A Direct
                                                                                                                                                                                                                             Frequency Hopping Wireless Interface With A
      Riazi 1-16 (HJ      Riazi 1-16 (HJ-US-NP         US6748005                    09/448070                                                 us                     8-Jun-04          23-Nov-19                 23-Nov-99   Personal Computer
                                                                                                                                                                                                                             Method And Apparatus For Performing Differential
                                                                                                                                                                                                                             Modulation Over Frequency In An Orthogonal
                                                                                                                                                                                                                             Frequency Division Multiplexing (OFDM)
     Riazi 3-11-3 (HJ     Riazi 3-11-3 (HJ-CA-NP       CA2317974                    2317974                                                   CA                     2-Feb-16           8-Sep-20                 8-Sep-00    Communication System
                                                                                                                                                                                                                             Differential Coding In The Frequency Domain, For
     Riazi 3-11-3 (HJ     Riazi 3-11-3 (HJ-DE-EPA      EP1087583                    00307616.3          EP1087583                             DE                     3-Jun-15           4-Sep-20                 4-Sep-00    MulticarrierTransmission
                                                                                                                                                                                                                             Differential Coding In The Frequency Domain, For
     Riazi 3-11-3 (HJ     Riazi 3-11-3 (HJ-FR-EPA      EP1087583                    00307616.3          EP1087583                             FR                     3-Jun-15           4-Sep-20                 4-Sep-00    MulticarrierTransmission
                                                                                                                                                                                                                             Differential Coding In The Frequency Domain, For
     Riazi 3-11-3 (HJ     Riazi 3-11-3 (HJ-GB-EPA      EP1087583                    00307616.3          EP1087583                             GB                     3-Jun-15           4-Sep-20                 4-Sep-00    MulticarrierTransmission
                                                                                                                                                                                                                             Method And Apparatus For Performing Differential
                                                                                                                                                                                                                             Modulation Over Frequency In An Orthogonal
                                                                                                                                                                                                                             Frequency Division Multiplexing (OFDM)
     Riazi 3-11-3 (HJ     Riazi 3-11-3 (HJ-JP-NP       JP3607589                    2000279012          2001119370                            JP                    15-Oct-04          14-Sep-20                 14-Sep-00   Communication System
                                                                                                                                                                                                                             Method And Apparatus For Performing Differential
                                                                                                                                                                                                                             Modulation Over Frequency In An Orthogonal
                                                                                                                                                                                                                             Frequency Division Multiplexing (OFDM)
     Riazi 3-11-3 (HJ     Riazi 3-11-3 (HJ-US-NP       US7573807                    09/398502                                                 us                    11-Aug-09          17-Sep-19                 17-Sep-99   Communication System


    Richton 4-30 (RE)     Richton 4-30 (RE)-KR-NP      KR722703                     19990044893         20000029129                           KR                    22-May-07          16-Oct-19                 16-Oct-99   Wireless Assisted GPS Using A Reference Location


    Richton 4-30 (RE)     Richton 4-30 (RE)-US-NP      US6538600                    09/321075                                                 us                    25-Mar-03          27-May-19                 27-May-99   Wireless Assisted GPS Using A Reference Location
       Ritter 4 (K)       Ritter4 (K)-DE-EPA           EP1087461                    99307473.1          EP1087461                             DE                    27-Feb-13          21-Sep-19                 21-Sep-99   Mobile Radio Equipment With Yoke Antenna
       Ritter 4 (K)       Ritter4 (K)-FR-EPA           EP1087461                    99307473.1          EP1087461                             FR                    27-Feb-13          21-Sep-19                 21-Sep-99   Mobile Radio Equipment With Yoke Antenna
       Ritter 4 (K)       Ritter4 (K)-GB-EPA           EP1087461                    99307473.1          EP1087461                             GB                    27-Feb-13          21-Sep-19                 21-Sep-99   Mobile Radio Equipment With Yoke Antenna
       Ritter 4 (K)       Ritter4 (K)-US-NP            US6839569                    10/168358                                                 us                     4-Jan-05           2-Jun-20                 2-Jun-00    Mobile Radio Equipment With Yoke Antenna
                                                                                                                                                                                                                             Method and Apparatus For Fair and Efficient
                                                                                                                                                                                                                             Scheduling Of Variable-Size Data Packets In Input-
      Riverstone 1 ()     Riverstone 1 ()-US-NP        US6044061                    09/037218                                                 us                    28-Mar-00          10-Mar-18                 10-Mar-98   Buffered MultiportSwitch
                                                                                                                                                                                                                             Efficient Method and Apparatus For Allocating
                                                                                                                                                                                                                             Memory Space Used For Buffering Cells Received on
                                                                                                                                                                                                                             Several Connections in an Asynchronous Transfer
     Riverstone 15 ()     Riverstone 15 ()-US-NP       US6292492                    09/081969                                                 us                    18-Sep-0l          20-May-18                 20-May-98   Mode(ATM) Switch


                                                                                                                                                                                                                             Method and Apparatus For Supplying Requests To A
      Riverstone 2 ()     Riverstone 2 ()-US-NP        US6160812                    09/072147                                                 us                    12-Dec-00           4-May-18                 4-May-98    SchedulerlnAnlnputBuffered MultiportSwitch


     Riverstone 20()      Riverstone 20 ()-US-PCT      US7594005                    10/362493           20040010323                           us                    22-Sep-09           8-Mar-28                 16-Aug-0l   (MASQ) Means For Interfacing Devices Under SNMP
                                                                                                                                                                                                                             Method And System For Connecting Virtual Circuits
     Riverstone 22 ()     Riverstone 22 ()-US-NP       US7406518                    09/861138           20020174251                           us                     29-Jul-08         22-May-25                 18-May-0l   Across An Ethernet Switch
                                                                                                                                                                                                                             Method and System For Identifying Ports and
      Riverstone 3 ()     Riverstone 3 ()-US-NP        US5999531                    09/062377                                                 us                     7-Dec-99          17-Apr-18                 17-Apr-98   Forwarding Packets In a Multi port Switch


                                                                                                                                                                                                                             Method, System, and Computer Program Product For
     Riverstone 35 ()     Riverstone 35 ()-US-NP       US7430735                    10/140395                                                 us                    30-Sep-08           16-Jul-24                7-May-02    Providing A Software Upgrade IUn A Network Node


     Riverstone 38()      Riverstone 38 ()-US-NP       US7652988                    10/446419                                                 us                    26-Jan-10          12-Jun-26                 28-May-03   Hardware-Based Rate Control For Bursty Traffic


                                                                                                                                                                                                                             Method and Apparatus For Forwarding Variable-
                                                                                                                                                                                                                             Length Packets Between Channel-Specific Packet
      Riverstone 5 ()     Riverstone 5 ()-US-NP        US6052368                    09/084081                                                 us                    18-Apr-00          22-May-18                 22-May-98   Processors and a Crossbar Ofa Multi port Switch


     Riverstone 52 ()     Riverstone 52 ()-US-NP       US8090869                    10/359878           20030225737                           us                     3-Jan-12          12-Oct-28                 7-Feb-03    Priority-Biased Exit Queue Arbitration With Fairness
                                                                                                                                                                                                                             Network Node With Layer 3 Interfaces Configurable
     Riverstone 57()      Riverstone 57 ()-US-NP       US7466698                    10/454283                                                 us                    16-Dec-08           8-Feb-26                 4-Jun-03    By Interface Class
                                                                                                                                                                                                                             Managing Traffic In A Multi port Network Node Using
     Riverstone 58()      Riverstone 58 ()-US-NP       US7519056                    10/455510                                                 us                    14-Apr-09          17-Feb-26                 4-Jun-03    Logical Ports


                                                                                                                                                                                                                             Method and Apparatus For Forwarding Packets From
      Riverstone 6()      Riverstone 6 ()-US-NP        US6067301                    09/087064                                                 us                    23-May-00          29-May-18                 29-May-98   a Plurality of Contending Queues To An Output


     Riverstone 60 ()     Riverstone 60 ()-US-NP       US7394822                    10/454298           20030223458                           us                     1-Jul-08          24-Oct-25                 4-Jun-03    Using Reassembly Queue Sets For Packet Reassembly




                                                                                                               Page 129 of 149
                                                                                                                                                                                                  PATENT
                                                                                                                                                                                          REEL: 044000 FRAME: 0270
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 137 of 156
                                                    Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                       ~~:J~JfW                         liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                               :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm  Forwarding Traffic In A Network Using A Single
                                                                                                                                                                                                                                      Forwarding Table That Includes Forwarding
                                                                                                                                                                                                                                      Information Related To A Plurality Of Logical
      Riverstone 64 ()        Riverstone 64 ()-US-NP            US7325071                   10/340113                                                 us                    29-Jan-08           24-Jul-25                10-Jan-03    Networks
                                                                                                                                                                                                                                      Testing and Error Recovery Across Multiple Switching
      Riverstone 68 ()        Riverstone 68 ()-US-NP            US7876693                   10/453976                                                 us                    25-Jan-11          12-Mar-27                  4-Jun-03    Fabrics
                                                                                                                                                                                                                                      Method and Apparatus For Fair and Efficient
                                                                                                                                                                                                                                      Scheduling of Variable-Size Data Packets In An Input-
       Riverstone 7()         Riverstone 7 ()-US-NP            US6185221                    09/188431                                                 us                     6-Feb-01           9-Nov-18                 9-Nov-98     Buffered MultiportSwitch
                                                                                                                                                                                                                                      Efficient Mechanism For Wire-Tapping Network
      Riverstone 71 ()        Riverstone 71 ()-US-NP           US7688823                    10/455512                                                 us                    30-Mar-10           23-Jul-27                 4-Jun-03    Traffic
                                                                                                                                                                                                                                      Efficient Rendezvous Point Tree To Shortest Path
      Riverstone 74 ()        Riverstone 74 ()-US-NP           US7453807                    10/453974                                                 us                    18-Nov-08           3-Mar-26                  4-Jun-03    Tree Switch-Over Process


       Riverstone 8()         Riverstone 8 ()-US-NP            US6678274                    09/364502                                                 us                    13-Jan-04           30-Jul-19                30-Jul-99    Method and System For Managing Forwarding Tables
      Riverstone 81 ()        Riverstone 81 ()-US-NP           US7930423                    10/361984           20030233472                           us                    19-Apr-11          10-Feb-26                 11-Feb-03    Dynamic Load Balancing Within a Network
                                                                                                                                                                                                                                      Managing Routes in a Router Utilizing Threshold-
      Riverstone 82 ()        Riverstone 82 ()-US-NP           US7733880                    10/222125                                                 us                     8-Jun-10          27-Sep-27                 16-Aug-02    Specific Discard Algorithms
                                                                                                                                                                                                                                      Processing Packet Information Using An Array Of
      Riverstone 84 ()        Riverstone 84 ()-US-NP           US8477780                    10/809164           20040190512                           us                     2-Jul-13           3-Jun-29                 25-Mar-04    Processing Elements
                                                                                                                                                                                                                                      Optical FiberManagementinaChassis-Based
      Riverstone 85 ()        Riverstone 85 ()-US-NP           US7636506                    10/843898                                                 us                    22-Dec-09          29-Aug-27                 12-May-04    Network System
      Riverstone 87 ()        Riverstone 87 ()-US-NP           US7489701                    10/620668                                                 us                    10-Feb-09          10-Feb-26                 16-Jul-03    Customer-Specific Traffic Shaping


      Robinson 2 (KC)         Robinson 2 (KC)-US-NP            US5933269                    08/920279                                                 us                     3-Aug-99          22-Aug-17                 22-Aug-97    Common-Lens Reflective Magneto-Optical Switch


                              Rodriguez 2-8-3-19-13 (JS)-US-                                                                                                                                                                          Method Of Managing User Traffic To Prevent
 Rodriguez 2-8-3-19-13 (JS)   NP                               US8811173                    13/021374           20120201148                           us                    19-Aug-14           7-Aug-31                 4-Feb-11     Aggressive Users From Abusing Network Resources


    Roessler 17-14 (RJ)       Roessler 17-14 (RJ)-US-NP        US6212071                    09/378687                                                 us                     3-Apr-01          20-Aug-19                 20-Aug-99    Electrical Orcuit Board Heat Dissipation System
                                                                                                                                                                                                                                      Electrophoretic Display And Method Of Making The
      Rogers 20-7 (JA)        Rogers 20-7 (JA)-US-NP           US6337761                    09/409631                                                 us                     8-Jan-02           1-Oct-19                 1-Oct-99     Same
                                                                                                                                                                                                                                      Method For Preventing Distortions In A Flexibly
       Rogers 29(JA)          Rogers 33 (JA)-US-NP             US6655286                    09/967343           20030041762                           us                     2-Dec-03          29-Sep-21                 29-Sep-0l    Transferred Feature Pattern
                                                                                                                                                                                                                                      Heat Tunable Optical Devices With Linearity
      Rogers 40-2 (JA)        Rogers 40-2 (JA)-US-NP           US6856731                    10/410931                                                 us                    15-Feb-05          10-Apr-23                 10-Apr-03    Compensation
                                                                                                                                                                                                                                      DATENUBERTRAGUNSVERFAHREN MIT STANDIGER
                                                                                                                                                                                                                                      KENNZEICHNUNG UND
        Roi lender 3          Roi lender 3 (DH)-DE-EPA         EP1033890                    00301379.4          EP1033890                             DE                   19Jun 2013        22 Feb2020                 22 Feb 2000   WEGLENKUNGSINFORMATION


                                                                                                                                                                                                                                      PROCEDE DE TRANSFERT DE DON NEES UTILISANT
                                                                                                                                                                                                                                      IDENTIFIANTS PERMANENTS COMPRENANT DES
        Roi lender 3          Roi lender 3 (DH)-FR-EPA         EP1033890                    00301379.4          EP1033890                             FR                   19Jun 2013        22 Feb2020                 22 Feb 2000   INFORMATIONS DE ROUTAGE


                                                                                                                                                                                                                                      Method For Transferring Data Using Permanent
        Roi lender 3          Roi lender 3 (DH)-GB-EPA         EP1033890                    00301379.4          EP1033890                            GB                    19Jun 2013        22 Feb2020                 22 Feb 2000   Identifier Including Routing Information


                                                                                                                                                                                                                                      Method For Transferring Data Using Permanent
        Roi lender 3          Roi lender 3 (DH)-JP-NP          JP3954266                    2000056111                                                JP                   11 May 2007       01 Mar 2020                01 Mar 2000   Identifier Including Routing Information


                                                                                                                                                                                                                                      Method For Transferring Data Using Permanent
        Roi lender 3          Roi lender 3 (DH)-KR-NP          KR0688916                    20000010395                                               KR                   23 Feb 2007       03 Mar 2020                03 Mar 2000   Identifier Including Routing Information


                                                                                                                                                                                                                                      Method For Transferring Data Using Permanent
        Roi lender 3          Roi lender 3 (DH)-TW-NP          TWNl-140100                  89103478            453065                               TW                    01 Sep 2001       29 Feb2020                 29 Feb 2000   Identifier Including Routing Information


                                                                                                                                                                                                                                      Method For Transferring Data Using Permanent
        Roi lender 3          Roi lender 3 (DH)-US-NP          US6748227                    09/261737                                                us                    08 Jun 2004       03 Mar 2019                03 Mar 1999   Identifier Including Routing Information
                                                                                                                                                                                                                                      Method For Transferring Data Using Expanded
     Roi lender 4 (DH)        Roi lender 4 (DH)-US-NP          US6810261                    09/261735                                                 us                    26-Oct-04           3-Mar-19                 3-Mar-99     Permanent Identifier


     Roi lender 6 (DH)        Roi lender 20 (DH)-US-CNT        US7970406                    10/602588           20040005895                           us                    28-Jun-11          20-Dec-23                 25-Jun-03    Method For Transferring Data


     Roi lender 6 (DH)        Roi lender 6 (DH)-US-NP          US6603974                    09/260734                                                 us                     5-Aug-03           3-Mar-19                 3-Mar-99     Method For Transferring Data
                                                                                                                                                                                                                                      Method For Transferring Data Upon Request Using
     Roi lender 7 (DH)        Roi lender 7 (DH)-MX-NP          MX221603                     6785                                                      MX                     22-Jul-04          10-Jul-20                10-Jul-00    Permanent Identifier
                                                                                                                                                                                                                                      Method For Transferring Data Upon Request Using
     Roi lender 7 (DH)        Roi lender 7 (DH)-US-NP          US6615045                    09/353596                                                 us                     2-Sep-03           15-Jul-19                15-Jul-99    Permanent Identifier
                                                                                                                                                                                                                                      Mobile-Station Adapted For Removable User Identity
     Roi lender 8 (DH)        Roi lender 8 (DH)-US-NP          US6493553                    09/344583                                                 us                    10-Dec-02          25-Jun-19                 25-Jun-99    Modules
                                                                                                                                                                                                                                      Mobile-Station Adapted For Removable User Identity
     Roi lender 8 (DH)        Roi lender 8 (DH)-DE-EPA         EP1063859                    00304996.2          EP1063859                             DE                    19-Sep-12          13-Jun-20                 13-Jun-00    Modules
                                                                                                                                                                                                                                      Mobile-Station Adapted For Removable User Identity
     Roi lender 8 (DH)        Roi lender 8 (DH)-FR-EPA         EP1063859                    00304996.2          EP1063859                             FR                    19-Sep-12          13-Jun-20                 13-Jun-00    Modules
                                                                                                                                                                                                                                      Mobile-Station Adapted For Removable User Identity
     Roi lender 8 (DH)        Roi lender 8 (DH)-GB-EPA         EP1063859                    00304996.2          EP1063859                             GB                    19-Sep-12          13-Jun-20                 13-Jun-00    Modules
        Romy 4 (NJ)           Romy 4 (NJ)-US-NP                US7145909                    10/155270           20030219021                           us                     5-Dec-06          20-Mar-25                 24-May-02    Packet Switching Access Platform
                                                                                                                                                                                                                                      Apparatus And Method For Electromagnetic Shielding
       Rosales 1 (R)          Rosales 1 (R)-US-NP              US6229714                    09/318285                                                 us                    8-May-01           25-May-19                 25-May-99    Of Equipment cabinets
                                                                                                                                                                                                                                      Methods And Apparatus For Providing Voice
     Rosenberg 11 (JD)        Rosenberg 11 (JD)-US-NP          US6304567                    08/959794                                                 us                    16-Oct-01          29-Oct-17                 29-Oct-97    Communications Through A Packet Network
                                                                                                                                                                                                                                      Methods And Apparatus For Providing Voice
     Rosenberg 11 (JD)        Rosenberg 16 (JD)-US-CNT         US7170887                    09/977643           20020018465                           us                    30-Jan-07          10-Apr-20                 16-Oct-01    Communications Through A Packet Network


     Rosenthal 16 (EJ)        Rosenthal 16 (EJ)-US-NP          US6208718                    09/124125                                                 us                    27-Mar-0l           29-Jul-18                29-Jul-98    Emergency Interrupt Technique


        Ross 4 (PC)           Ross 4 (PC)-US-NP                US6195447                    09/008623                                                 us                    27-Feb-0l          16-Jan-18                 16-Jan-98    System And Method For Fingerprint Data Verification


                                                                                                                                                                                                                                      Garbage Collection In Object Oriented Databases
     Roy 1-5-43-13 (P)        Roy 1-5-43-13 (P)-US-NP          US6363403                    09/345826                                                 us                    26-Mar-02          30-Jun-19                 30-Jun-99    Using Transactional Cyclic Reference Counting
                                                                                                                                                                                                                                      Route Information Message For Delivery Of Prepaid
      Rudolph 8 (MJ)          Rudolph 8 (MJ)-US-NP             US7773735                    11/199687           20070041533                           us                    10-Aug-10           6-Jan-29                 9-Aug-05     Flexible Alerting Call


                                                                                                                                                                                                                                      An Apparatus And Method For Equalizing A Signal
        Rupp5 (M)             Rupp 5 (M)-US-NP                 US6389084                    09/131388                                                 us                    14-May-02           7-Aug-18                 7-Aug-98     Independent Of The Impact Of Doppler Frequency


       Russo 4 (AP)           Russo 4 (AP)-US-NP               US6173074                    08/940321                                                 us                     9-Jan-01          30-Sep-17                 30-Sep-97    Acoustic Signature Recognition And Identification
         Ryf 18 (R)           Ryf 18 (R)-US-NP                 US7750286                    11/765155           20090009719                           us                     6-Jul-10          11-Dec-28                 19-Jun-07    Compact Image Projector


                                                                                                                                                                                                                                      Methods And Systems For Improving Frame Selection
    Sam path 3-24-7 (A)       Sam path 3-24-7 (A)-US-NP        US7130657                    09/693938                                                 us                    31-Oct-06           1-Nov-23                 23-Oct-00    In Wireless Communications Networks




                                                                                                                       Page 130 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0271
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 138 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                    ~~:J~JfW                       liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                          :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                     ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Method And Apparatus For Post-Detection Maximum
                                                                                                                                                                                                                                Ratio Combining With Antenna Diversity In An
                                                                                                                                                                                                                                Orthogonal Frequency Division Multiplexing (DFDM)
    Sarraf21-13 (M)        Sarraf 21-13 (M)-US-NP          US6842421                   09/398500                                                 us                    11-Jan-05          17-Sep-19                 17-Sep-99   Communication System


                                                                                                                                                                                                                                Method And Apparatus For Estimating Power Of First
                                                                                                                                                                                                                                Adjacent Analog FM Interference In An In-Band On-
    Sarraf22-14(M)         Sarraf22-14 (M)-US-NP           US6445693                   09/396011                                                 us                     3-Sep-02          15-Sep-19                 15-Sep-99   channel (IBOC) Communication System


                                                                                                                                                                                                                                Fabricating Electronic-Photonic Devices Having An
                                                                                                                                                                                                                                Active Layer With Spherical Quantum Dots
   Sauer 2-13-11 (NJ)      Sauer 2-13-11 (NJ)-US-DIV      US8258497                    12/906809           20110032964                           us                     4-Sep-12           19-Jul-29                18-Oct-10


                                                                                                                                                                                                                                Fabricating Electronic-Photonic Devices Having An
   Sauer 2-13-11 (NJ)      Sauer 2-13-11 (NJ)-US-NP       US7842595                    12/397739           20100226400                           us                    30-Nov-10           4-Mar-29                 4-Mar-09    Active Layer With Spherical Quantum Dots


                                                                                                                                                                                                                                Method And Apparatus For Deriving A Plurality
      Savari 1 (SA)        Savari 1 (SA)-US-NP            US6456209                    09/277638                                                 us                    24-Sep-02          26-Mar-19                 26-Mar-99   Parsable Data Compression Dictionary
                                                                                                                                                                                                                                Method And Apparatus For Compressing An Input
                                                                                                                                                                                                                                String To Provide An Equivalent Decompressed
      Savari 3 (SA)        Savari 3 (SA)-US-NP            US7081839                    10/660117           20050057378                           us                     25-Jul-06         11-Sep-23                 11-Sep-03   Output String


                                                                                                                                                                                                                                Method And Apparatus For Tracking Trunk Groups
  Sawyer6-1-2-5-14 (Al)    Sawyer 6-1-2-5-14 (AJ)-US-NP   US6356757                    09/154696                                                 us                    12-Mar-02          17-Sep-18                 17-Sep-98   Between Wireless And Wireline Applications


                                                                                                                                                                                                                                Mutual Information Based Modulation Spectrogram
      Scanlon 1 (P)        Scanlon 1 (P)-DE-EPA           EP2208981                    09150567.7          EP2208981                             DE                    23-Mar-16          14-Jan-29                 14-Jan-09   Feature Subset Selection For Machine Monitoring


                                                                                                                                                                                                                                Mutual Information Based Modulation Spectrogram
      Scanlon 1 (P)        Scanlon 1 (P)-FR-EPA           EP2208981                    09150567.7          EP2208981                             FR                    23-Mar-16          14-Jan-29                 14-Jan-09   Feature Subset Selection For Machine Monitoring


                                                                                                                                                                                                                                Mutual Information Based Modulation Spectrogram
      Scanlon 1 (P)        Scanlon 1 (P)-GB-EPA           EP2208981                    09150567.7          EP2208981                             GB                    23-Mar-16          14-Jan-29                 14-Jan-09   Feature Subset Selection For Machine Monitoring
     Schnitzer6(MJ)        Schnitzer6 (MJ)-US-NP          US6643071                    10/029576           20030117715                           us                     4-Nov-03          21-Dec-21                 21-Dec-0l   Graded-Index Lens Microscopes
                                                                                                                                                                                                                                Graph Path Derivation Using Fourth Generation
      Schultz 4 (TA)       Schultz 4 (TAJ-US-NP           US6029162                    09/024411                                                 us                    22-Feb-00          17-Feb-18                 17-Feb-98   Structured Query Language


                                                                                                                                                                                                                                Method For Aggregation Of A Graph Using Fourth
      Schultz 5 (TA)       Schultz 5 (TAJ-US-NP           US6006233                    09/024841                                                 us                    21-Dec-99          17-Feb-18                 17-Feb-98   Generation Structured Query Language (SQL)
                                                                                                                                                                                                                                Object Morphing In An Object Oriented Computing
                                                                                                                                                                                                                                Environment Using Relational Database Query
      Schultz 6 (TA)       Schultz 6 (TAJ-US-NP           US6192371                    09/301147                                                 us                    20-Feb-0l          28-Apr-19                 28-Apr-99   Procedure


     Scofield 1 {WH)       Scofield 1 {WH)-US-NP          US5974902                    08/928283                                                 us                     2-Nov-99          12-Sep-17                 12-Sep-97   Portable Thermal Chamber And Testing System
                                                                                                                                                                                                                                Device And Method For Dissipating Thermal Energy
     Scofield 2 {WH)       Scofield 2 {WH)-US-NP          US6154368                    09/152886                                                 us                    28-Nov-00          14-Sep-18                 14-Sep-98   Of Electronic Circuit Components
     Scofield 3 {WH)       Scofield 3 {WH)-US-NP          US6443010                    09/464920                                                 us                     3-Sep-02          16-Dec-19                 16-Dec-99   Audible Air Flow Detector For Air Filters
                                                                                                                                                                                                                                Enhanced Thermal Dissipation Device For Circuit
     Scofield 4 {WH)       Scofield 4 {WH)-US-NP          US6359782                    09/567517                                                 us                    19-Mar-02          9-May-20                  9-May-00    Boards And Method To Use The Same
      Segen 11 (J)         Segen 11 (J)-US-NP             US6252598                    08/887765                                                 us                    26-Jun-0l            3-Jul-17                 3-Jul-97   Video Hand Image Computer Interface


                                                                                                                                                                                                                                Digital Processing Apparatus And Method To Support
    Seligmann4 (DD)        Seligmann 4 (DD)-US-NP         US6330022                    09/186181                                                 us                    11-Dec-0l           5-Nov-18                 5-Nov-98    Video Conferencing In Variable Contexts
      SelzerS(GM)          Seizers (GM)-US-NP             US6606616                    09/203631                                                 us                    12-Aug-03           1-Dec-18                 1-Dec-98    Modified Action Rules


    Seshadri 12-57 (5)     Seshadri 12-57(5)-US-NP        US6615201                    09/558425                                                 us                     2-Sep-03          25-Apr-20                 25-Apr-00   Computer Network Management
                                                                                                                                                                                                                                System And Method For Displaying A Sorted List by
      Shah 10 (NJ)         Shah 10 (NJ)-US-NP             US6154740                    09/082026                                                 us                    28-Nov-00          20-May-18                 20-May-98   Determining Sort Points in a Key Field
                                                                                                                                                                                                                                System And Method For Processing Wireless Files
       Shah 9(NJ)          Shah 9(NJ)-US-NP               US6535729                    09/082214                                                 us                    18-Mar-03          20-May-18                 20-May-98   Based On Filename Extension
                                                                                                                                                                                                                                Method For Detecting Camera-Motion Induced Scene
     Shahraray4 (BJ        Shahraray4 (BJ-US-NP           US6211912                    08/191234                                                 us                     3-Apr-01           3-Apr-18                 4-Feb-94    Changes
                                                                                                                                                                                                                                Method And Apparatus For Updating Inter-Server
      Shao 1-3 (HJ         Shao 1-3 (HJ-US-NP             US7228539                    10/462477           20040255287                           us                     5-Jun-07          22-May-25                 16-Jun-03   Communication Software


     Sharma 16 (R)         Sharma 16 (R)-US-NP            US8135836                    11/290227           20070124431                           us                    13-Mar-12           7-Aug-29                 30-Nov-05   The Resolution In Application Load Level Balancing


    Sharma 25-11 (R)       Sharma 25-11 (R)-IN-PCT                                     6420/CHENP/2008     6420/CH ENP/2008                       IN                                      23-May-27                 23-May-07   Polled Geofencing And Distinguished Ring-Back


    Sharma 25-11 (R)       Sharma 25-11 (R)-US-NP         US7873158                    11/444105           20070280448                           us                    18-Jan-11          30-Mar-29                 31-May-06   Polled Geofencing And Distinguished Ring-Back
                                                                                                                                                                                                                                Method And Apparatus For Network Mapping Using
   Shavitt 6-1-11-8 (Y)    Shavitt 6-1-11-8 (Y)-US-NP     US7065584                    09/561857                                                 us                    20-Jun-06          28-Apr-20                 28-Apr-00   End-to-End Delay Measurements
                                                                                                                                                                                                                                Determining Latency Associated With Push-To-Talk
    Sherif4-12 (MR)        Sherif 4-12 (MR)-US-NP         US7650160                    11/474611           20070298823                           us                    19-Jan-10          25-May-28                 26-Jun-06   Communications
                                                                                                                                                                                                                                Wavelength Stabilization Of Wavelength Division
       Shiehl(W)           Shiehl(W)-US-NP                US6240109                    09/257708                                                 us                    29-May-0l          25-Feb-19                 25-Feb-99   Multiplexed Channels
                                                                                                                                                                                                                                Methods And Apparatus For Speaker Specific
       Shih 2-6 (CJ        Shih 2-6 (C)-US-NP             US6813604                    09/711563                                                 us                     2-Nov-04          13-Nov-20                 13-Nov-00   Durational Adaptation
                                                                                                                                                                                                                                Electronic Device Having Thermally Managed
                                                                                                                                                                                                                                Electron Path And Method Of Thermal Management
      Simon 8{5H)          Simon 8 {SH)-US-NP             US8421072                    12/269851           20100118915                           us                    16-Apr-13          13-Feb-32                 12-Nov-08   Of Very Cold Electrons
                                                                                                                                                                                                                                Automatic Generation And Maintenance Of
     Singh2-2-l(K)         Singh 2-2-1 (K)-US-NP          US6415396                    09/277667                                                 us                     2-Jul-02          26-Mar-19                 26-Mar-99   Regression Test cases From Requirements
                                                                                                                                                                                                                                Method And Apparatus For Providing Extensible
      Singh 4-3 (NJ        Singh 4-3 (NJ-US-NP            US6484276                    09/426331                                                 us                    19-Nov-02          25-Oct-19                 25-Oct-99   Object-Oriented Fault Injection
                                                                                                                                                                                                                                Unequal Error Protection For Perceptual Audio
     Sinha 5-25 (DJ        Sinha 5-25 (DJ-US-NP           US6405338                    09/022114                                                 us                    11-Jun-02          11-Feb-18                 11-Feb-98   Coders
     Sinsky3-1 (JH)        Sinsky3-1 (JH)-US-NP           US6898214                    09/803301                                                 us                    24-May-05           9-Mar-21                 9-Mar-01    Technique For Monitoring SON ET Signal
                                                                                                                                                                                                                                Correcting Misalignment Between Data And A Carrier
      Sinsky4 (JH)         Sinsky4 (JH)-US-NP             US7068950                    10/100521           20040208635                           us                    27-Jun-06           9-Jan-24                 18-Mar-02   Signal In Transmitters


      Smith 1 (HR)         Smith 1 (HR)-JP-NP             JP3889900                    11174711                                                  JP                     8-Dec-06          21-Jun-19                 21-Jun-99   Auxiliary Monitoring Of Emergency Access Calls


      Smith 1 (HR)         Smith 1 (HR)-KR-NP             KR311841                     9922842                                                   KR                    28-Sep-0l          18-Jun-19                 18-Jun-99   Auxiliary Monitoring Of Emergency Access Calls


      Smith 1 (HR)         Smith 1 (HR)-US-NP             US6052574                    09/102177                                                 us                    18-Apr-00          22-Jun-18                 22-Jun-98   Auxiliary Monitoring Of Emergency Access Calls


      Smith 1 (HR)         Smith 1 (HR)-DE-EPA            EP0967820                    99304666.3          EP0967820                             DE                    24-Apr-02          15-Jun-19                 15-Jun-99   Auxiliary Monitoring Of Emergency Access Calls


      Smith 1 (HR)         Smith 1 (HR)-FR-EPA            EP0967820                    99304666.3          EP0967820                             FR                    24-Apr-02          15-Jun-19                 15-Jun-99   Auxiliary Monitoring Of Emergency Access Calls




                                                                                                                  Page 131 of 149
                                                                                                                                                                                                     PATENT
                                                                                                                                                                                             REEL: 044000 FRAME: 0272
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 139 of 156
                                                   Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                      ~~:J~JfW                          liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                               :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                          ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
       Smith 1 (HR)          Smith 1 (HR)-GB-EPA               EP0967820                    99304666.3          EP0967820                             GB                    24-Apr-02          15-Jun-19                 15-Jun-99   Auxiliary Monitoring Of Emergency Access Calls
                                                                                                                                                                                                                                     Address Generation Utilyzing An Adder, A Non-
       Smithl(LA)            Smith 1 (LA)-US-NP                 US6430671                   09/021319                                                 us                     6-Aug-02          10-Feb-18                 10-Feb-98   Sequential Counter,And A Latch
                                                                                                                                                                                                                                     System for Digital Filtering in a Fixed Number of
       Smith2(LA)            Smith 2 (LA)-US-NP                 US6175849                   09/021582                                                 us                    16-Jan-0l          10-Feb-18                 10-Feb-98   Clock Cycles
     Solondz 13 (MA)         Solondz 13 (MAJ-US-NP              US6667714                   09/564094                                                 us                    23-Dec-03          3-May-20                  3-May-00    Downtilt Control For Multiple Antenna Arrays
                                                                                                                                                                                                                                     Transmit Diversity and Reception Equalization for
      SolondzS (MA)          Solondz 17 (MAJ-US-DIV            U56771689                    09/839127                                                 us                     3-Aug-04           7-Nov-19                 23-Apr-0l   Radio Links
                                                                                                                                                                                                                                     Transmit Diversity and Reception Equalization for
      SolondzS (MA)          Solondz 5 (MAJ-US-NP              US6259730                    09/188563                                                 us                     10-Jul-01         10-Nov-18                 10-Nov-98   Radio Links
                                                                                                                                                                                                                                     Head Of Line Blockage Avoidance System And
      Sonnier 4(DP)          Sonnier 4 (DP)-US-NP              US7424027                    10/044765           20020101876                           us                     9-Sep-08           6-Jan-25                 9-Jan-02    Method Of Operation Thereof
                                                                                                                                                                                                                                     Optical Demultiplexer Filter System To Eliminate
      Spector3 (M)           Spector 3 (M)-US-NP               US6052499                    09/037091                                                 us                    18-Apr-00           9-Mar-18                 9-Mar-98    Cross-Talk Side-Lobes
                                                                                                                                                                                                                                     Direction Determination In Cellular Mobile
       Speight 5 (TJ)        Speights (TJ)-KR-NP               KR350009                     19990011703                                               KR                    12-Aug-02           3-Apr-19                 3-Apr-99    Communications Network
                                                                                                                                                                                                                                     Direction Determination In Cellular Mobile
       Speight 5 (TJ)        Speights (TJ)-US-NP               US6246366                    09/282821                                                 us                    12-Jun-0l          31-Mar-19                 31-Mar-99   Communications Network
                             Srivastava 11-18-10-10 (AK)-US-                                                                                                                                                                         Improving Noise Figure In Optical Amplifiers With A
Srivastava 11-18-10-10 (AK) NP                                 US6049418                    09/089863                                                 us                    11-Apr-00           3-Jun-18                 3-Jun-98    Split-Band Architecture
                                                                                                                                                                                                                                     Stable Wavelength Division Multiplexing Ring
 Srivastava 3-15-3-18 (AK)   Srivastava 3-15-3-18 (AK)-US-NP   US6025941                    08/929926                                                 us                    15-Feb-00          15-Sep-17                 15-Sep-97   Network
                                                                                                                                                                                                                                     Two-Wavelength WDM Analog CATV Transmission
  Srivastava 6-23-21 (AK)    Srivastava 6-23-21 (AK)-US-NP     US6151145                    09/010617                                                 us                    21-Nov-00          22-Jan-18                 22-Jan-98   With Low Crosstalk
                                                                                                                                                                                                                                     Use Of Doppler Direction Finding To Improve Signal
                                                                                                                                                                                                                                     Link Performance In A Wireless Communication
     Stevenson 8 (CR)        Stevenson 8 (CR)-US-NP            US7409226                    09/473650                                                 us                     5-Aug-08          29-Dec-19                 29-Dec-99   Environment


     Stewart 10 (GM)         Stewart 10 (GM)-US-NP             US7668899                    10/140150           20030212734                           us                    23-Feb-10           31-Jul-25                7-May-02    Decoupled Routing Network Method And System


    Stewartl-1-l(WI)         Stewartl-1-l(Wl)-US-NP            US6030145                    08/987820                                                 us                    29-Feb-00          10-Dec-17                 10-Dec-97   Articulated Underwater Cable Riser System


      Stiliadis 11 (DJ       Stiliadis 11 (DJ-US-NP            US7649882                    10/402589           20040008716                           us                    19-Jan-10           5-Oct-26                 28-Mar-03   Multicast Scheduling and Replication in Switches
                                                                                                                                                                                                                                     Method Of Dynamic Resource Allocations In Wireless
     Stolyar 13-50 (A)       Stolyar 13-50 (A)-US-NP           US8295231                    11/770315           20090003266                           us                    23-Oct-12           3-Dec-30                 28-Jun-07   Systems
                                                                                                                                                                                                                                     System And Methods For Allocating Resources By A
       Stolyar 9 (A)         Stolyar 9 (A)-US-NP               US8516085                    11/073513           20060203768                           us                    20-Aug-13           4-Nov-32                 7-Mar-05    Network Device
                                                                                                                                                                                                                                     Rapid Call Set-Up For Multiple Leg
    Strom 10-2-7 (TD)        Strom 10-2-7 (TD)-US-NP           US6111943                    09/162813                                                 us                    29-Aug-00          29-Sep-18                 29-Sep-98   Telecommunications Sessions
                                                                                                                                                                                                                                     Laser Communication System and Method of
                                                                                                                                                                                                                                     Operation Using Multiple Transmitters And Multiple
                                                                                                                                                                                                                                     Receivers With Dispersive Multiplexing In Multi mode
       Stuart 1 (HR)         Stuart 1 (HR)-US-NP               US6525853                    09/397015                                                 us                    25-Feb-03          15-Sep-19                 15-Sep-99   Fiber


                                                                                                                                                                                                                                     Apparatus And Method For Monitoring Signal-To-
      Stuart 10 (HR)         Stuart 10 (HR)-US-NP              US7218850                    10/636385                                                 us                    15-May-07          21-Jun-25                 7-Aug-03    Noise Ratio In Optical Transmission Systems
       Stuart 7 (HR)         Stuart 7 (HR)-US-NP               US6823144                    09/892180           20020196507                           us                    23-Nov-04          26-Jun-21                 26-Jun-0l   Optical Transmission System
                                                                                                                                                                                                                                     Call Control Model For A Packet-Based Intelligent
         Su 4-2 (5)          Su 4-2 (5)-US-NP                  US6693898                    09/495187                                                 us                    17-Feb-04           1-Feb-20                 1-Feb-00    Telecommunications Network


                                                                                                                                                                                                                                     Optical Fiber Interconnect Having Offset Ends With
       Suhir20 (E)           Suhir20 (E)-US-NP                 US6606434                    09/644166                                                 us                    12-Aug-03          23-Aug-20                 23-Aug-00   Reduced Tensile Stress And Fabrication Method


                                                                                                                                                                                                                                     Task-Independent Utterance Verification With
       Sukkar9 (RA)          Sukkar 9 (RAJ-US-NP               US6292778                    09/183720                                                 us                    18-Sep-0l          30-Oct-18                 30-Oct-98   Subword-Based Minimum Verification Error Training
                                                                                                                                                                                                                                     Code Space Sharing Among Multiple Modes Of
      Sunay2 (MO)            Su nay 2 (MO)-US-NP               US8149684                    09/660093                                                 us                     3-Apr-12            1-Jul-28                12-Sep-00   Operation
     Swerdlow3(RB)           Swerdlow 3 (RB)-US-NP             US5995504                    08/897457                                                 us                    30-Nov-99           21-Jul-17                21-Jul-97   DACS Network Architecture
                                                                                                                                                                                                                                     Cordless Communication System Operating Under
      Szalajski 1 (DJ        Szalajski 1 (DJ-DE-EPA            EP0921701                    98308976.4                                                DE                    24-Aug-05           3-Nov-18                 3-Nov-98    The DECTStandard
                                                                                                                                                                                                                                     Cordless Communication System Operating Under
      Szalajski 1 (DJ        Szalajski 1 (DJ-Fl-EPA            EP0921701                    98308976.4                                                 Fl                   24-Aug-05           3-Nov-18                 3-Nov-98    The DECTStandard
                                                                                                                                                                                                                                     Cordless Communication System Operating Under
      Szalajski 1 (DJ        Szalajski 1 (DJ-FR-EPA            EP0921701                    98308976.4                                                FR                    24-Aug-05           3-Nov-18                 3-Nov-98    The DECTStandard
                                                                                                                                                                                                                                     Cordless Communication System Operating Under
      Szalajski 1 (DJ        Szalajski 1 (DJ-GB-EPA            EP0921701                    98308976.4                                                GB                    24-Aug-05           3-Nov-18                 3-Nov-98    The DECTStandard
                                                                                                                                                                                                                                     Cordless Communication System Operating Under
      Szalajski 1 (DJ        Szalajski 1 (DJ-SE-EPA            EP0921701                    98308976.4                                                SE                    24-Aug-05           3-Nov-18                 3-Nov-98    The DECTStandard
                                                                                                                                                                                                                                     Cordless Communication System Operating Under
      Szalajski 1 (DJ        Szalajski 1 (DJ-US-NP             US6434388                    09/201497                                                 us                    13-Aug-02          30-Nov-18                 30-Nov-98   The DECTStandard
                                                                                                                                                                                                                                     Device And Method For Controlling The Quality of
   Szurkowski 21-2 {ES)      Szurkowski 21-2 {ES)-US-NP        US6421350                    08/940781                                                 us                     16-Jul-02         30-Sep-17                 30-Sep-97   Service In Data Networks
       Tailor l(M)           Tailor 1 (M)-US-NP                US6127895                    09/257754                                                 us                     3-Oct-00          25-Feb-19                 25-Feb-99   Clock Pulse Generator
                                                                                                                                                                                                                                     Method And System For Connecting calls Through
         Tao 4(X)            Tao 4 {X)-US-NP                   US7269658                    10/687119           20050085181                           us                    11-Sep-07          14-Mar-26                 16-Oct-03   Virtual Media Gateways
                                                                                                                                                                                                                                     Method For Conveying TTY Signals Over Wireless
       Tarraf 4 (AA)         Tarraf 4 (AA)-DE-EPA              EP0982904                    99306467.4          EP0982904                             DE                     6-Oct-10          17-Aug-19                 17-Aug-99   Communication Systems
                                                                                                                                                                                                                                     Method For Conveying TTY Signals Over Wireless
       Tarraf 4 (AA)         Tarraf 4 (AA)-FR-EPA              EP0982904                    99306467.4          EP0982904                             FR                     6-Oct-10          17-Aug-19                 17-Aug-99   Communication Systems
                                                                                                                                                                                                                                     Method For Conveying TTY Signals Over Wireless
       Tarraf 4 (AA)         Tarraf 4 (AA)-GB-EPA              EP0982904                    99306467.4          EP0982904                             GB                     6-Oct-10          17-Aug-19                 17-Aug-99   Communication Systems
                                                                                                                                                                                                                                     Method For Conveying TTY Signals Over Wireless
       Tarraf 4 (AA)         Tarraf 4 (AA)-KR-NP               KR621815                     19990035819                                               KR                     1-Sep-06          27-Aug-19                 27-Aug-99   Communication Systems
                                                                                                                                                                                                                                     Method For Conveying TTY Signals Over Wireless
       Tarraf 4 (AA)         Tarraf 4 (AA)-US-NP               US6434198                    09/143417                                                 us                    13-Aug-02          28-Aug-18                 28-Aug-98   Communication Systems


                                                                                                                                                                                                                                     Apparatus And Method For Conveying TTY Signals
       Tarraf6 (AA)          Tarraf 6 (AA)-US-NP               US6351495                    09/143416                                                 us                    26-Feb-02          28-Aug-18                 28-Aug-98   Over Wireless Telecommunication Systems


                                                                                                                                                                                                                                     Bridged Polysesquioxane Host Matrices Containing
                                                                                                                                                                                                                                     Lanthanides Chelated By Organic Guest Ligands, And
   Taylor-Smith 14 (RE)      Taylor-Smith 14 (RE)-US-NP        US7433118                    10/606690           20040263952                           us                     7-Oct-08          29-Sep-26                 26-Jun-03   Methods Of Making Such Matrices
                                                                                                                                                                                                                                     Method For Frequency Environment Modeling And
       Tekinay4 (5)          Tekinay 4 (5)-US-NP               US6175811                    08/984779                                                 us                    16-Jan-0l           4-Dec-17                 4-Dec-97    Characterization
          Telica 1           Telica 1 ()-US-NP                 US6581121                    09/790836                                                 us                    17-Jun-03          17-Aug-21                 22-Feb-0l   Maintenance Link System And Method
          Telica 3           Telica 3 ()-US-NP                 US6587347                    09/789743                                                 us                     1-Jul-03          27-Mar-21                 22-Feb-0l   Chassis Support And Cable Protection System
          Telica 4           Telica 4 ()-US-NP                 US6540312                    09/790837                                                 us                     1-Apr-03          23-Feb-21                 22-Feb-0l   Cable Guide System
                                                                                                                                                                                                                                     Switching System And Method Having Low,
          Telica 7           Telica 7 ()-US-NP                 US7436815                    09/790820           20010033572                           us                    14-Oct-08           8-Sep-24                 22-Feb-0l   Deterministic Latency




                                                                                                                       Page 132 of 149
                                                                                                                                                                                                          PATENT
                                                                                                                                                                                                  REEL: 044000 FRAME: 0273
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 140 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                   ~~:J~JfW                     liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                        :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                  ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                             Soft Handover System For A Multiple Sub-Carrier
    ten Brink 6-8 (5)     ten Brink6-8 (5)-JP-NP        JP3865949                    257353/1998        11178036                              JP                    13-Oct-06          11-Sep-18                 11-Sep-98   Communication System And Method Thereof


                                                                                                                                                                                                                             Soft Handover System For A Multiple Sub-Carrier
    ten Brink 6-8 (5)     ten Brink6-8 (5)-US-NP        US6038450                    08/928307                                                us                    14-Mar-00          12-Sep-17                 12-Sep-97   Communication System And Method Thereof


                                                                                                                                                                                                                             Method And Apparatus For Tracking Call History For
                                                                                                                                                                                                                             Mobile And Wireline Users Accessing The Network
   Thompson 1-4 (JA)      Thompson 1-4 (JA)-US-NP       U56782268                    09/103021                                                us                    24-Aug-04          23-Jun-18                 23-Jun-98   On Different Ports For Subsequent Calls
                                                                                                                                                                                                                             Bi-Directional Optical Transmission Using Dual
    Thompson 6 (WA)       Thompson 6 (WA)-DE-EPA        EP1168686                    01300296.9         EP1168686                             DE                     9-Oct-02          15-Jan-21                 15-Jan-0l   Channel Bands
                                                                                                                                                                                                                             Bi-Directional Optical Transmission Using Dual
    Thompson 6 (WA)       Thompson 6 (WA)-FR-EPA        EP1168686                    01300296.9         EP1168686                             FR                     9-Oct-02          15-Jan-21                 15-Jan-0l   Channel Bands
                                                                                                                                                                                                                             Bi-Directional Optical Transmission Using Dual
    Thompson 6 (WA)       Thompson 6 (WA)-GB-EPA        EP1168686                    01300296.9         EP1168686                             GB                     9-Oct-02          15-Jan-21                 15-Jan-0l   Channel Bands
                                                                                                                                                                                                                             Bi-Directional Optical Transmission Using Dual
    Thompson 6 (WA)       Thompson 6 (WA)-JP-NP         JP3737393                    2001197608         2002077062                            JP                     4-Nov-05          29-Jun-21                 29-Jun-0l   Channel Bands
                                                                                                                                                                                                                             Bi-Directional Optical Transmission Using Dual
    Thompson 6 (WA)       Thompson 6 (WA)-US-NP         US6973268                    09/608406                                                us                     6-Dec-05          5-May-22                  30-Jun-00   Channel Bands
                                                                                                                                                                                                                             Multiple-Window Method For Obtaining Improved
    Thomson 19 (DJ)       Thomson 19 (DJ)-US-NP         US6351729                    09/352417                                                us                    26-Feb-02           12-Jul-19                12-Jul-99   Spectrograms Of Signals
                                                                                                                                                                                                                             Solidification Engine And Thermal Management
      Thorn 1 (RR)        Thorn 1 (RR)-US-NP            US6332318                    09/560914                                                us                    25-Dec-0l          28-Apr-20                 28-Apr-00   System For Electronics


     Tonello 6 (AM)       Tonello 6 (AM)-JP-NP          JP3728171                    2000078070                                               JP                     7-Oct-05          21-Mar-20                 21-Mar-00   Soft Output Metrics Generation For Symbol Detectors


     Tonello 6 (AM)       Tonello 6 (AM)-US-NP          US6480552                    09/275147                                                us                    12-Nov-02          24-Mar-19                 24-Mar-99   Soft Output Metrics Generation For Symbol Detectors
      Torabi 5 (M)        Torabi 5 (M)-US-NP            US6810243                    09/845139          20020160776                           us                    26-Oct-04          30-Apr-21                 30-Apr-0l   Surrogate Service Attendant
                                                                                                                                                                                                                             Enhanced Recovery Action In Service Specific
      Torri 1-1 (RJ)      Torri 1-1 (RJ)-US-NP          US7283531                    10/624377          20050020291                           us                    16-Oct-07          12-Apr-26                 22-Jul-03   Connection Orientation Protocol
                                                                                                                                                                                                                             Obtaining Information About A Called
     Toy 1-1-11 (AR)      Toy 1-1-11 (AR)-US-NP         US6192115                    09/265027                                                us                    20-Feb-0l           9-Mar-19                 9-Mar-99    Telecommunications Party
       Tran 3 (AT)        Tran 3 (AT)-US-NP             US7002719                    10/342530          20040136045                           us                    21-Feb-06           1-May-23                 15-Jan-03   Mirror For An Integrated Device


                                                                                                                                                                                                                             A Method And Apparatus For Configuring A Network
     Trollope 2 (DS)      Trollope 2 (DS)-US-NP         US7788347                    10/956870          20060072468                           us                    31-Aug-10           2-Nov-27                 30-Sep-04   Node Using Multiple Peer-To-Peer Layers
                                                                                                                                                                                                                             Fault Tolerance Via N-Modular Software Redundancy
        Tsai 1 (T)        Tsai 1 (T)-US-NP              US6161196                    09/100826                                                us                    12-Dec-00          19-Jun-18                 19-Jun-98   Using Indirect Instrumentation
                                                                                                                                                                                                                             System And Method For Compressing Voice Over IP
     Tu 4-6-10 (M)        Tu 4-6-10 (M)-US-NP           US8284759                    11/343770          20070189278                           us                     9-Oct-12           4-Jan-29                 31-Jan-06   Headers


       Tzeng 4 (HJ        Tzeng 4 (HJ-US-NP             US6061712                    09/003767                                                us                    9-May-00            7-Jan-18                 7-Jan-98    An Improved Method For IP Routing Table Lookup
      Tzeng 7-1 (HJ       Tzeng 7-1 (HJ-US-NP           US6959323                    09/384699                                                us                    25-Oct-05          27-Aug-19                 27-Aug-99   Scalable Atomic Multicast
     Urban 1-1 (RR)       Urban 1-1 (RR)-US-NP          US6108527                    08/903873                                                us                    22-Aug-00           31-Jul-17                31-Jul-97   Wide Range Multiple Band RF Power Detector


                                                                                                                                                                                                                             Methods And Apparatus For Packetizing Data For
    Urbanke 1-5 (RL)      Urbanke 1-5 (RL)-US-NP        US6175944                    08/892855                                                us                    16-Jan-0l           15-Jul-17                15-Jul-97   Transmission Through An Erasure Broadcast Channel


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (5)-DE-EPT          EP2208386                    08844051.6         EP2208386                             DE                    26-Aug-15          24-Oct-28                 24-Oct-08   Using A Transparent Proxy Agent


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (5)-FR-EPT          EP2208386                    08844051.6         EP2208386                             FR                    26-Aug-15          24-Oct-28                 24-Oct-08   Using A Transparent Proxy Agent


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (5)-GB-EPT          EP2208386                    08844051.6         EP2208386                             GB                    26-Aug-15          24-Oct-28                 24-Oct-08   Using A Transparent Proxy Agent


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (SJ-IN-PCT                                       2871/DELNP/2010    2871/DELNP/2010                        IN                                      24-Oct-28                 24-Oct-08   Using A Transparent Proxy Agent


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (SJ-JP-PCT          JP5180313                    2010532023         2011504672                            JP                    18-Jan-13          24-Oct-28                 24-Oct-08   Using A Transparent Proxy Agent


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (SJ-KR-PCT          KR101178146                  20107008923                                              KR                    23-Aug-12          24-Oct-28                 24-Oct-08   Using A Transparent Proxy Agent


                                                                                                                                                                                                                             Method And Apparatus For Providing Call Admission
                                                                                                                                                                                                                             Control For VOiP Over Wireless Local Area Networks
      Valluru 1 (5)       Valluru 1 (5)-US-NP           US8320383                    11/930840          20090109977                           us                    27-Nov-12          16-Feb-29                 31-Oct-07   Using A Transparent Proxy Agent


   van der Gaast 9 (T)    van der Gaast 9 (T)-EP-EPA                                 07120940.7         EP2061201                             EP                                       16-Nov-27                 16-Nov-07   Ambience Personalized Session Environment


   Van Thourhout 2 (DJ    Van Thourhout 2 (DJ-US-NP     US6931036                    10/396185                                                us                    16-Aug-05          15-Apr-23                 25-Mar-03   Digitally Tunable Laser


                                                                                                                                                                                                                             Method And Apparatus For Tailored Distortion Of A
     Yannucci 28 (G)      Yannucci 28 (G)-US-NP         US6175270                    09/035213                                                us                    16-Jan-0l           5-Mar-18                 5-Mar-98    Signal Prior To Amplification To Reduce Clipping
                                                                                                                                                                                                                             Method And System For Reducing The Number Of
     Varney31 (DW)        Varney 31 (DW)-JP-PCT         JP5735497                    2012518540         2012532524                            JP                    24-Apr-15          15-Jun-30                 15-Jun-10   Presence Events Within A Network
                                                                                                                                                                                                                             Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (SJ-KR-PCT    KR101159659                  20107007761        20100068427                           KR                    19-Jun-12           1-Oct-28                 1-Oct-08    FemtoEnvironment
                                                        ZL200880110898                                                                                                                                                       Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (5)-CN-PCT    .D                           200880110898.0     101822101                             CN                    27-Mar-13           1-Oct-28                 1-Oct-08    FemtoEnvironment
                                                                                                                                                                                                                             Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (5)-DE-EPT    EP2201803                    08839160.2         EP2201803                             DE                     9-Dec-15           1-Oct-28                 1-Oct-08    FemtoEnvironment
                                                                                                                                                                                                                             Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (5)-FR-EPT    EP2201803                    08839160.2         EP2201803                             FR                     9-Dec-15           1-Oct-28                 1-Oct-08    FemtoEnvironment
                                                                                                                                                                                                                             Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (5)-GB-EPT    EP2201803                    08839160.2         EP2201803                             GB                     9-Dec-15           1-Oct-28                 1-Oct-08    FemtoEnvironment
                                                                                                                                                                                                                             Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (SJ-IN-PCT    IN278609                     1831/CHENP/2010    1831/CHENP/2010                        IN                   27-Dec-16           1-Oct-28                 1-Oct-08    FemtoEnvironment
                                                                                                                                                                                                                             Methods For Idle Registration And Idle Handoff In A
   Vasudevan 30-30 (5)    Vasudevan 30-30 (5)-US-NP     US8811334                    12/007425          20090097448                           us                    19-Aug-14          31-May-30                 10-Jan-08   FemtoEnvironment




                                                                                                               Page 133 of 149
                                                                                                                                                                                                  PATENT
                                                                                                                                                                                          REEL: 044000 FRAME: 0274
                      Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 141 of 156
                                             Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                 ~~:J~JfW                   liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                    :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                              ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Integrated Orcuit To Integrated Circuit Interface
                                                                                                                                                                                                                         Between A Personal Computer And An External
      Vegter2 (K)       Vegter 2 (K)-US-NP          US6286073                    09/203096                                                us                     4-Sep-01           1-Dec-18                 1-Dec-98    Device
                                                                                                                                                                                                                         Call Data And Hardware cache For A Dial-Up Access
    Vierling 1 (MD)     Vierling 1 (MD)-US-NP       US7088712                    09/894797          20030035418                           us                     8-Aug-06          27-Jan-24                 28-Jun-Ol   Concentrator
                                                                                                                                                                                                                         Seamless Path Switchover In A Connection-Oriented
     Voelker2 (JA)      Voelker 2 (JA)-US-NP        US6370112                    09/098151                                                us                     9-Apr-02          16-Jun-18                 16-Jun-98   Packet Network
     Votava 1 (CM)      Votava 1 (CMJ-US-NP         US6418141                    09/088604                                                us                     9-Jul-02           1-Jun-18                 1-Jun-98    Multi-Cast Enabled Web Server
                                                                                                                                                                                                                         State Variable-Based Table-Driven Modulation Signal
     Wang 11 (RC)       Wang 11 (RC)-US-NP          US6194977                    09/072813                                                us                    27-Feb-0l          5-May-18                  5-May-98    Generation
                                                                                                                                                                                                                         Method And System For Providing Wireless Mobile
                                                                                                                                                                                                                         Server And Peer-To-Peer Services With Dynamic DNS
      Wang3(JJ          Wang3 (JJ-US-NP             US6614774                    09/205963                                                us                     2-Sep-03           4-Dec-18                 4-Dec-98    Update


                                                                                                                                                                                                                         Framework For Flexible And Scalable Real-Time
      Wang3(J1J         Wang3(J1J-US-NP             US6845352                    09/533396                                                us                    18-Jan-05          22-Mar-20                 22-Mar-00   Traffic Emulation For Packet Switched Networks
                                                    ZL200880007024                                                                                                                                                       Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang 3 (YJ-CN-PCT           .2                           200880007024.2     101632267                             CN                    23-May-12           4-Jan-28                 4-Jan-08    Network
                                                                                                                                                                                                                         Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang3 (YJ-DE-EPT            EP2103050                    08705492.0         EP2103050                             DE                    24-Nov-10           4-Jan-28                 4-Jan-08    Network
                                                                                                                                                                                                                         Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang3 (YJ-FR-EPT            EP2103050                    08705492.0         EP2103050                             FR                    24-Nov-10           4-Jan-28                 4-Jan-08    Network
                                                                                                                                                                                                                         Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang3 (YJ-GB-EPT            EP2103050                    08705492.0         EP2103050                             GB                    24-Nov-10           4-Jan-28                 4-Jan-08    Network
                                                                                                                                                                                                                         Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang3 (YJ-JP-PCT            JP4847589                    2009545572         2010516183                            JP                    21-Oct-11           4-Jan-28                 4-Jan-08    Network
                                                                                                                                                                                                                         Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang 3 (YJ-KR-PCT           KR101072797                  20097016467                                              KR                     6-Oct-11           4-Jan-28                 4-Jan-08    Network
                                                                                                                                                                                                                         Traffic Load Control In A Telecommunications
      Wang3(YJ          Wang3 (YJ-US-NP             US7782901                    11/651213          20080165687                           us                    24-Aug-10          29-May-28                 9-Jan-07    Network


                                                                                                                                                                                                                         Method And System For Unified Overload And
                                                                                                                                                                                                                         Overflow Control To SupportVoip And Multiple Qos
     Wang6-12(LJ        Wang6-12 (LJ-DE-EPT         EP2163050                    08768839.6         EP2163050                             DE                    11-Jan-12          27-Jun-28                 27-Jun-08   Flow Traffic In Communication Network


                                                                                                                                                                                                                         Method And System For Unified Overload And
                                                                                                                                                                                                                         Overflow Control To SupportVoip And Multiple Qos
     Wang6-12(LJ        Wang6-12 (LJ-FR-EPT         EP2163050                    08768839.6         EP2163050                             FR                    11-Jan-12          27-Jun-28                 27-Jun-08   Flow Traffic In Communication Network


                                                                                                                                                                                                                         Method And System For Unified Overload And
                                                                                                                                                                                                                         Overflow Control To SupportVoip And Multiple Qos
     Wang6-12(LJ        Wang6-12 (LJ-GB-EPT         EP2163050                    08768839.6         EP2163050                             GB                    11-Jan-12          27-Jun-28                 27-Jun-08   Flow Traffic In Communication Network


                                                                                                                                                                                                                         Method And System For Unified Overload And
                                                                                                                                                                                                                         Overflow Control To SupportVoip And Multiple Qos
     Wang6-12(LJ        Wang6-12 (LJ-JP-PCT         JP5031897                    2010514838         2010532634                            JP                     6-Jul-12          27-Jun-28                 27-Jun-08   Flow Traffic In Communication Network


                                                                                                                                                                                                                         Method And System For Unified Overload And
                                                                                                                                                                                                                         Overflow Control To SupportVoip And Multiple Qos
     Wang6-12(LJ        Wang 6-12 (LJ-KR-PCT        KR101097034                  20097026976                                              KR                    15-Dec-11          27-Jun-28                 27-Jun-08   Flow Traffic In Communication Network


                                                                                                                                                                                                                         Method And System For Unified Overload And
                                                                                                                                                                                                                         Overflow Control To SupportVoip And Multiple Qos
     Wang6-12(LJ        Wang6-12 (LJ-US-NP          US7894337                    11/824114          20090003215                           us                    22-Feb-11           5-Jan-29                 29-Jun-07   Flow Traffic In Communication Network


                                                                                                                                                                                                                         CMOS Differential Amplifier Having Offset Voltage
      Wang9(HJ          Wang 9 (HJ-US-NP            US6064262                    09/160932                                                us                    16-May-00          25-Sep-18                 25-Sep-98   Cancellation and Common- Mode Voltage Control
                                                                                                                                                                                                                         Circuit Pack System With Semi- or Fully-Automatic
     Warmink6(SJ        Warmink 6 (SJ-US-NP         US6301709                    09/201515                                                us                     9-Oct-01          30-Nov-18                 30-Nov-98   Upgrade capability
       Wei 40(LJ        Wei 40 (LJ-US-PCT           US6516037                    09/230650                                                us                     4-Feb-03          11-Jun-18                 11-Jun-98   Multilevel Coding With Time Diversity


       Wei43(LJ         Wei 43 (LJ-US-NP            US6151370                    09/023063                                                us                    21-Nov-00          12-Feb-18                 12-Feb-98   Path-Oriented Decoder For Signal-Dependent Noise
                                                                                                                                                                                                                         Path-Oriented Decoder Using Refined Receiver Trellis
       Wei 44(LJ        Wei 44 (LJ-US-NP            US6233286                    09/049268                                                us                    15-May-0l          27-Mar-18                 27-Mar-98   Diagram
                                                                                                                                                                                                                         Termination Of Coded Or Uncoded Modulation With
       Wei45(LJ         Wei 45 (LJ-US-NP            US6421395                    09/247704                                                us                     16-Jul-02          9-Feb-19                 9-Feb-99    Path-Oriented Decoder
       Wei 46(LJ        Wei 46 (LJ-JP-PCT           JP3607675                    2001500444         2003501860                            JP                    15-Oct-04          24-May-20                 24-May-00   Turbo Code Termination
       Wei 46(LJ        Wei 46 (LJ-TW-NP            TW141920                     89109847           454391                               TW                     11-Sep-0l          22-May-20                 22-May-00   Turbo Code Termination
       Wei 46(LJ        Wei 46 (LJ-US-NP            US6266795                    09/524065                                                us                     24-Jul-01         13-Mar-20                 13-Mar-00   Turbo Code Termination
       Wei 46(LJ        Wei 47 (LJ-JP-PCT           JP3737433                    2001500443                                               JP                     4-Nov-05          24-May-20                 24-May-00   Serial-Concatenated Turbo Codes
       Wei 46(LJ        Wei 47 (LJ-TW-NP            TW184746                     89109845           548905                               TW                     21-Aug-03          22-May-20                 22-May-00   Serial-Concatenated Turbo Codes
       Wei 46(LJ        Wei 47 (LJ-US-NP            US6473878                    09/451070                                                us                    29-Oct-02          30-Nov-19                 30-Nov-99   Serial-Concatenated Turbo Codes
       Wei 46(LJ        Wei 50(LJ-US-NP             US6351832                    09/560728                                                us                    26-Feb-02          28-Apr-20                 28-Apr-00   Turbo Code Symbol Interleaver
       Wei 46(LJ        Wei 47 (LJ-KR-PCT           KR738247                     20017015059                                              KR                     5-Jul-07          24-May-20                 24-May-00   Serial-Concatenated Turbo Codes
       Wei 49(LJ        Wei 54 (LJ-US-DIV           US7272174                    11/133099          20050213671                           us                    18-Sep-07           6-Apr-20                 19-May-05   Upstream Data Transmission
       Wei 49(LJ        Wei55(LJ-US-DIV             US7245675                    11/133096          20050213670                           us                     17-Jul-07          6-Apr-20                 19-May-05   Upstream Data Transmission
       Wei 49(LJ        Wei 49 (LJ-US-NP            US6931072                    09/826686          20010055343                           us                    16-Aug-05           5-Apr-21                 5-Apr-01    Upstream Data Transmission
                                                                                                                                                                                                                         Bandwidth-Efficient Modulation In Communication
       Wei52(LJ         Wei52(LJ-US-NP              US7050493                    09/758958          20050152445                           us                    23-May-06          13-May-23                 11-Jan-0l   Systems
                                                                                                                                                                                                                         Bandwidth-Efficient Modulation In Communication
       Wei52(LJ         Wei53(LJ-US-DIV             US7167518                    11/133097          20050213675                           us                    23-Jan-07          11-Jan-21                 19-May-05   Systems
                                                                                                                                                                                                                         Distributed Scheduler For Packet Switches And
      Wellen3(JJ        Wellen3(JJ-DE-EPA           EP1215931                    00311184.6                                               DE                    11-Oct-06          14-Dec-20                 14-Dec-00   Passive Optical Networks
                                                                                                                                                                                                                         Distributed Scheduler For Packet Switches And
      Wellen3(JJ        Wellen3(JJ-FR-EPA           EP1215931                    00311184.6                                               FR                    11-Oct-06          14-Dec-20                 14-Dec-00   Passive Optical Networks
                                                                                                                                                                                                                         Distributed Scheduler For Packet Switches And
      Wellen3(JJ        Wellen3 (JJ-US-NP           US7088729                    10/020660          20020075884                           us                     8-Aug-06           4-Aug-24                 12-Dec-0l   Passive Optical Networks


                                                                                                                                                                                                                         Apparatus And Method For Guiding And Aligning
    Wentzel5(RMJ        Wentzel 5 (RMJ-US-NP        US6814607                    10/706249                                                us                     9-Nov-04          12-Nov-23                 12-Nov-03   Circuit Board Assemblies To A Backplane
                                                                                                                                                                                                                         An Effective Control Algorithm For Optical
    Werner12-13(DJ      Werner 12-13 (DJ-US-NP      US7486895                    11/301388          20070133997                           us                     3-Feb-09           6-Feb-27                 13-Dec-05   Polarization Model Dispersion Compensators


   Westbrook17(PSJ      Westbrook 17 {PSJ-US-NP     US7079246                    10/413962                                                us                     18-Jul-06          5-Apr-24                 15-Apr-03   Method And Apparatus For Measuring Polarization
                                                                                                                                                                                                                         System Comprising In-Line Wavelength Sensitive
    Westbrook9{PSJ      Westbrook 9 {PSJ-US-NP      US6591024                    09/774975          20010038729                           us                     8-Jul-03          31-Jan-21                 31-Jan-0l   Polarimeter
                                                                                                                                                                                                                         Compact Non-Blocking Non-Dilated Optical Switch
     White15(IAJ        White15(IAJ-DE-EPA          EP1005247                    99309085.1         EP1005247                             DE                    5-May-10           16-Nov-19                 16-Nov-99   Using Mode Conversion
                                                                                                                                                                                                                         Compact Non-Blocking Non-Dilated Optical Switch
     White15(IAJ        White15(IAJ-FR-EPA          EP1005247                    99309085.1         EP1005247                             FR                    5-May-10           16-Nov-19                 16-Nov-99   Using Mode Conversion




                                                                                                           Page 134 of 149
                                                                                                                                                                                              PATENT
                                                                                                                                                                                      REEL: 044000 FRAME: 0275
                      Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 142 of 156
                                               Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



1~;;mrn                  ~~:J~JfW                     liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                      :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                 ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm Compact Non-Blocking Non-Dilated Optical Switch
      WhitelS(IA)        WhitelS(IA)-GB-EPA           EP1005247                    99309085.1          EP1005247                             GB                    5-May-10           16-Nov-19                 16-Nov-99   Using Mode Conversion
                                                                                                                                                                                                                            Compact Non-Blocking Non-Dilated Optical Switch
      WhitelS(IA)        WhitelS(IA)-JP-NP            JP3745178                    11331309                                                  JP                     2-Dec-05          22-Nov-19                 22-Nov-99   Using Mode Conversion
                                                                                                                                                                                                                            Compact Non-Blocking Non-Dilated Optical Switch
      WhitelS(IA)        WhitelS(IA)-US-NP             US6151431                   09/198660                                                 us                    21-Nov-00          24-Nov-18                 24-Nov-98   Using Mode Conversion
      Widdup3(BJ)        Widdup3(BJ)-US-NP            US6798366                    10/628699                                                 us                    28-Sep-04           28-Jul-23                28-Jul-03   Architecture For A Faster Max* Computation
                                                                                                                                                                                                                            Network Mute Feature In Wireless
   Wierzbicki15-2(AL)    Wierzbicki 15-2(AL)-DE-EPA   EP0989766                    99307301.4          EP0989766                             DE                     30-Jul-03         14-Sep-19                 14-Sep-99   Telecommunications Systems
                                                                                                                                                                                                                            Network Mute Feature In Wireless
   Wierzbicki15-2(AL)    Wierzbicki 15-2(AL)-FI-EPA   EP0989766                    99307301.4          EP0989766                              Fl                    30-Jul-03         14-Sep-19                 14-Sep-99   Telecommunications Systems
                                                                                                                                                                                                                            Network Mute Feature In Wireless
   Wierzbicki15-2(AL)    Wierzbicki 15-2(AL)-GB-EPA   EP0989766                    99307301.4          EP0989766                             GB                     30-Jul-03         14-Sep-19                 14-Sep-99   Telecommunications Systems
                                                                                                                                                                                                                            Network Mute Feature In Wireless
   Wierzbicki15-2(AL)    Wierzbicki 15-2(AL)-JP-NP    JP3739979                    11266099                                                  JP                    11-Nov-05          20-Sep-19                 20-Sep-99   Telecommunications Systems
                                                                                                                                                                                                                            Network Mute Feature In Wireless
   Wierzbicki15-2(AL)    Wierzbicki 15-2(AL)-SE-EPA   EP0989766                    99307301.4          EP0989766                             SE                     30-Jul-03         14-Sep-19                 14-Sep-99   Telecommunications Systems
                                                                                                                                                                                                                            Network Mute Feature In Wireless
   Wierzbicki15-2(AL)    Wierzbicki 15-2(AL)-US-NP    US6226513                    09/159367                                                 us                    1-May-01           23-Sep-18                 23-Sep-98   Telecommunications Systems


                                                                                                                                                                                                                            Mobile Unit For Accommodating Network Mute
   Wierzbicki 16-3(AL)   Wierzbicki 16-3 (AL)-US-NP   US6216011                    09/159366                                                 us                    10-Apr-0l          23-Sep-18                 23-Sep-98   Feature In Wireless Telecommunications Systems
      Wild lO(RL)        Wild 14 (RL)-US-CIP          US6021881                    08/986293                                                 us                     8-Feb-00           22-Jul-17                6-Dec-97    Anti-Fraud String Cutter


      Wild 12(RL)        Wild 12 (RL)-US-NP           US6377246                    09/008047                                                 us                    23-Apr-02          16-Jan-18                 16-Jan-98   Article Comprising A Computer-Style Keyboard
      Wild 13 (RL)       Wild 13 (RL)-US-NP           US6039165                    09/024724                                                 us                    21-Mar-00          17-Feb-18                 17-Feb-98   Coin Change Mechanism


                                                                                                                                                                                                                            Method And Apparatus For Generating And
       Wills9(GJ)        Wills 9 (GJ)-US-NP           US6304260                    09/103921                                                 us                    16-Oct-01          24-Jun-18                 24-Jun-98   Displaying Views Of Hierarchically Clustered Data


                                                                                                                                                                                                                            Telecommunication System, Method And Telephone
      Wilson l(RJ)       Wilson 1 (RJ)-US-NP          US6496571                    09/141996                                                 us                    17-Dec-02          28-Aug-18                 28-Aug-98   With Personal Caller Identification Capability
                                                                                                                                                                                                                            System And Method For Controlling The Selectivity Of
     Wilson17(WL)        Wilson 17 {WL)-JP-NP         JP4184574                    2000130591                                                JP                    12-Sep-08          28-Apr-20                 28-Apr-00   A Holographic Memory System
                                                                                                                                                                                                                            System And Method For Controlling The Selectivity Of
     Wilson17(WL)        Wilson 17 {WL)-KR-NP         KR627542                     20000023461                                               KR                    15-Sep-06           2-May-20                 2-May-00    A Holographic Memory System
                                                                                                                                                                                                                            System And Method For Controlling The Selectivity Of
     Wilson17(WL)        Wilson 17 {WL)-US-NP         US6178019                    09/304031                                                 us                    23-Jan-0l          3-May-19                  3-May-99    A Holographic Memory System


   Wischoefferl(WS)      Wischoeffer 1 {WS)-US-NP     US6426705                    09/165484                                                 us                     30-Jul-02          2-Oct-18                 2-Oct-98    A Control That Enables/Disables A User Interface
                                                                                                                                                                                                                            Communications Channel Synchronous Micro-Cell
                                                                                                                                                                                                                            System For Integrating Circuit And Packet Data
   Witschorik 11 (CA)    Witschorik 11 {CA)-US-NP     US6396829                    09/347786                                                 us                    28-May-02            6-Jul-19                 6-Jul-99   Transmissions
                                                                                                                                                                                                                            Communications Channel Synchronous Micro-Cell
                                                                                                                                                                                                                            System For Integrating Circuit And Packet Data
   Witschorik 11 (CA)    Witschorik 11 {CA)-DE-EPA    EP1073239                    00305388.1          EP1073239                             DE                    11-Aug-10          27-Jun-20                 27-Jun-00   Transmissions
                                                                                                                                                                                                                            Communications Channel Synchronous Micro-Cell
                                                                                                                                                                                                                            System For Integrating Circuit And Packet Data
   Witschorik 11 (CA)    Witschorik 11 {CA)-FR-EPA    EP1073239                    00305388.1          EP1073239                             FR                    11-Aug-10          27-Jun-20                 27-Jun-00   Transmissions
                                                                                                                                                                                                                            Communications Channel Synchronous Micro-Cell
                                                                                                                                                                                                                            System For Integrating Circuit And Packet Data
   Witschorik 11 (CA)    Witschorik 11 {CA)-GB-EPA    EP1073239                    00305388.1          EP1073239                             GB                    11-Aug-10          27-Jun-20                 27-Jun-00   Transmissions
                                                                                                                                                                                                                            A Method For Producing Snap Fit Apertures For RF
      Witty4(RG)         Witty 4 (RG)-US-NP           US6380491                    09/383701                                                 us                    30-Apr-02          26-Aug-19                 26-Aug-99   Shield Fences
      Woo 26 (TY)        Woo 26 (TY)-US-NP            US6604147                    09/567371                                                 us                     5-Aug-03          9-May-20                  9-May-00    Scalable IP Edge Router


                                                                                                                                                                                                                            System For Operating An Ethernet Data Network
      Wood 27 (TH)       Wood 27 (TH)-US-NP           US7088921                    09/332264                                                 us                     8-Aug-06          11-Jun-19                 11-Jun-99   Over A Passive Optical Network Access System
                                                                                                                                                                                                                            Linearized Feedback Element For Two-Beam Smart
   Woodward 10 (TK)      Woodward 10 (TK)-US-NP       US5892220                    08/906366                                                 us                     6-Apr-99           5-Aug-17                 5-Aug-97    Pixel Receivers


                                                                                                                                                                                                                            Cryptographic Method And Apparatus For Restricting
                                                                                                                                                                                                                            Access To Transmitted Programming Content Using
       Wool 1 (A)        Wool 1 (A)-US-NP             US6073122                    08/911650                                                 us                     6-Jun-00          15-Aug-17                 15-Aug-97   Extended Headers


                                                                                                                                                                                                                            Cryptographic Method And Apparatus For Restricting
                                                                                                                                                                                                                            Access To Transmitted Programming Content Using
       Wool 2 (A)        Wool 2 (A)-US-NP             US6373948                    08/912186                                                 us                    16-Apr-02          15-Aug-17                 15-Aug-97   Program Identifiers
                                                                                                                                                                                                                            Combinatorial Design Method And Apparatus For
                                                                                                                                                                                                                            Multi-Ring Networks With Combined Routing And
      Wool 5-3(A)        Wool 5-3 (A)-US-NP           US6563833                    09/225991                                                 us                    13-May-03           5-Jan-19                 5-Jan-99    Flow Control
      Yaker 10 (R)       Yaker 10 (R)-US-NP           US5950167                    09/013665                                                 us                     7-Sep-99          26-Jan-18                 26-Jan-98   Remotely-Controlled Computer Operations


                                                                                                                                                                                                                            System And Method For Providing Advanced Calling
                                                                                                                                                                                                                            Features To A packet Network-Based Communication
       Yaker9 (R)        Yaker 18 (R)-US-DIV          US7974276                    10/411759           20040008621                           us                     5-Jul-11           6-May-22                 11-Apr-03   Device And Packet Network Employing The Same


                                                                                                                                                                                                                            System And Method For Providing Advanced Calling
                                                                                                                                                                                                                            Features To A packet Network-Based Communication
       Yaker9 (R)        Yaker 9 (R)-US-NP            US6594230                    09/027842                                                 us                     15-Jul-03         23-Feb-18                 23-Feb-98   Device And Packet Network Employing The Same
                                                                                                                                                                                                                            Method And Apparatus For Telecommunications
        Yang 1 (J)       Yang 1 (J)-US-NP             US6788675                    09/979812                                                 us                     7-Sep-04          14-Nov-21                 14-Nov-0l   Using Internet Protocol
                                                                                                                                                                                                                            Method And Apparatus For Telecommunications
        Yang 1 (J)       Yang 1 (J)-JP-PCT            JP3694241                    2000619894          2003500933                            JP                     1-Jul-05           7-Apr-20                 7-Apr-00    Using Internet Protocol
                                                                                                                                                                                                                            Method And Apparatus For Telecommunications
       Yang 10 (J)       Yang 10 (J)-US-DIV           US7154881                    10/706730           20040095939                           us                    26-Dec-06           2-Jan-23                 11-Nov-03   Using Internet Protocol
                                                                                                                                                                                                                            Apparatus And Method For Controlling Telephone
                                                                                                                                                                                                                            Communications During Intervals Of High call Traffic
      Yang 11-5 (Z)      Yang 11-5 (Z)-US-NP          US7116767                    10/180240           20040001577                           us                     3-Oct-06          30-Oct-23                 26-Jun-02   Volume


                                                                                                                                                                                                                            Single-Stage Dual-Band Low-Noise Amplifier For Use
       Yeh 2 (HJ)        Yeh 2 (HJ)-DE-EPA            EP0886384                    98304330.8          EP0886384                             DE                    21-Feb-07           2-Jun-18                 2-Jun-98    In A Wireless Communication System Receiver


                                                                                                                                                                                                                            Single-Stage Dual-Band Low-Noise Amplifier For Use
       Yeh 2 (HJ)        Yeh 2 (HJ)-FR-EPA            EP0886384                    98304330.8          EP0886384                             FR                    21-Feb-07           2-Jun-18                 2-Jun-98    In A Wireless Communication System Receiver


                                                                                                                                                                                                                            Single-Stage Dual-Band Low-Noise Amplifier For Use
       Yeh 2 (HJ)        Yeh 2 (HJ)-GB-EPA            EP0886384                    98304330.8          EP0886384                             GB                    21-Feb-07           2-Jun-18                 2-Jun-98    In A Wireless Communication System Receiver




                                                                                                              Page 135 of 149
                                                                                                                                                                                                 PATENT
                                                                                                                                                                                         REEL: 044000 FRAME: 0276
                       Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 143 of 156
                                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn                  ~~:J~JfW                       liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                                        :ia:~:A,m:::::::::::::::::                                                  ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                                   ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm
                                                                                                                                                                                                                              RF Filter Architecture Supporting Simultaneous
                                                                                                                                                                                                                              Filtered Reception Of A And B Bands OfThe Cellular
     Zappala 7 {CF)      Zappala 7 {CF)-US-NP            US6374094                   09/426858                                                 us                    16-Apr-02          26-Oct-19                 26-Oct-99   Radio Frequency Spectrum


                                                                                                                                                                                                                              Method And Apparatus For Discriminating Speech
      Zhangl(PJ)         Zhang 1 (PJ)-US-NP              US7487083                   09/615945                                                 us                     3-Feb-09          13-Jun-23                 13-Jul-00   From Voice-Band Data In A Communication Network


                                                                                                                                                                                                                              Method And Apparatus For Discriminating Speech
      Zhangl(PJ)         Zhang 1 (PJ)-CN-NP             ZL00122657.6                 00122657.6          CN1332441                             CN                     13-Jul-05           4-Jul-20                 4-Jul-00   From Voice-Band Data In A Communication Network
                                                                                                                                                                                                                              Computer Telephony Using A Circuit-Switched
      Zhang 2 (Y)        Zhang 2 (Y)-US-NP              US8331357                    11/084887           20060209811                           us                    11-Dec-12          12-Oct-26                 21-Mar-05   Network


                                                                                                                                                                                                                              A System And Method For Providing Automatic Gain
      Zhang2(Z)          Zhang 2 (Z)-US-NP              US6285863                    09/448237                                                 us                     4-Sep-01          24-Nov-19                 24-Nov-99   Control With High Dynamic Range
                                                                                                                                                                                                                              Telephonic Handset Employing Feed-Forward Noise
     Zheng 1-15 (DJ      Zheng 1-15 (DJ-US-NP           US7031460                    09/170835                                                 us                    18-Apr-06          13-Oct-18                 13-Oct-98   Cancellation
                                                                                                                                                                                                                              Test Unit With Programmable Transmit Timing For
      Zhong 1 (L)        Zhong 1 (L)-US-NP              US6285876                    09/056141                                                 us                     4-Sep-01           7-Apr-18                 7-Apr-98    Telecommunication Systems
                                                                                                                                                                                                                              Interleaver Adress Generator And Method Of
      Zhou 1 {GG)        Zhou 1 {GG)-US-NP              US7058874                    10/153824           20030221084                           us                     6-Jun-06          13-Feb-24                 24-May-02   Generating An Interleaver Address
                                                                                                                                                                                                                              Method And Apparatus For Spread Spectrum Pilot
     Zhou2(WW)           Zhou 2 {WW)-US-NP              US5999048                    09/006539                                                 us                     7-Dec-99          13-Jan-18                 13-Jan-98   Extraction For RF Amplifiers


                                                                                                                                                                                                                              Authenticating A Removable User Identity Module To
       Zhu 1 (HJ         Zhu 1 (HJ-US-NP                US7912452                    11/413612           20070197226                           us                    22-Mar-11          15-Oct-28                 28-Apr-06   An Internet Protocol Multimedia Subsystem (IMS)
                                                                                                                                                                                                                              Remote Reconfiguration Method For Feature-
       Zhu 1 {X)         Zhu 1 {X)-US-NP                US6240172                    09/015383                                                 us                    29-May-0l          29-Jan-18                 29-Jan-98   Function Telephone Sets


                                                                                                                                                                                                                              A Method And Apparatus For Mitigating The Effects
     Ziesse 7 (NG)       Ziesse 7 {NG)-US-NP            US6026132                    08/939452                                                 us                    15-Feb-00          29-Sep-17                 29-Sep-97   Of Rayleigh Fading At LowVehicle Speeds
                                                                                                                                                                                                                              Memory Management System Having A Linked List
     Zievers 1 (PJ)      Zievers 1 (PJ)-US-NP           US7162551                    10/699315           20050111353                           us                     9-Jan-07          30-Jun-24                 31-Oct-03   Processor
                                                                                                                                                                                                                              Contention Resolution In A Memory Management
     Zievers 2 (PJ)      Zievers 2 (PJ)-US-NP           US7120706                    10/699530           20050108464                           us                    10-Oct-06          14-Dec-24                 31-Oct-03   System
                                                                                                                                                                                                                              Memory Management System For A Data Processing
     Zievers 3 (PJ)      Zievers 3 (PJ)-US-NP           US7159049                    10/699355           20050097259                           us                     2-Jan-07          21-Sep-24                 31-Oct-03   System
                                                                                                                                                                                                                              Erbium-Doped Fiber Amplifier With Automatic Gain
     Zyskind 16 (JL)     Luo 1-10-17-9-16 (G)-US-NP     US6008932                    08/946469                                                 us                    28-Dec-99           7-Oct-17                 7-Oct-97    Control
                                                                                                                                                                                                                              Erbium-Doped Fiber Amplifier With Automatic Gain
     Zyskind 16 (JL)     Luo 2-18-25-17-29 (G)-US-DIV   US6094298                    09/348112                                                 us                     25-Jul-00          7-Oct-17                  6-Jul-99   Control


                                                                                                                                                                                                                              PROCEDE D'OBTENTION D'UNE REPRESENTATION
                                                                                                                                                                                                                              GEOGRAPHIQUE DU TRAFIC DANS UN RESEAU DE
          102865         102865-EP-EPA                                               01401494.8          EP1168866                             EP                                                                 11-Jun-0l   RADIOCOMMUNICATION MOBILE
                                                                                                                                                                                                                              Improvement Of The Tbf Handover Procedure For
          104382         104382-US-PCT                                               10/496511           20040246923                           us                                                                 22-Nov-02   Gprs


                                                                                                                                                                                                                              CONTROLE DE LA RESERVATION DE RESSOURCES
                                                                                                                                                                                                                              PARTAGEES DE CHEM INS DE CONNEXION DANS UN
                                                                                                                                                                                                                              RESEAU DE COMMUNICATION A COMMUTATION
          105501         105501-FR-NP                   FR2883439                    0550715             2883439                               FR                     20-Jul-07                                   21-Mar-05   D'ETIQUETTES DE TYPE "NON PAQUET"
                                                                                                                                                                                                                              A SYNCHRONIZATION SYSTEM USING REDUNDANT
                                                                                                                                                                                                                              CLOCK SIGNALS FOR EQUIPMENT OF A
          105961         105961-IN-PCT                                               5588/DELNP/2007                                            IN                                                                1-Feb-06    SYNCH RO NOUS TRANSPORT NETWORK
                                                                                                                                                                                                                              SEMANTIC DESCRIPTIONS/ ONTOLOGIES
          106123         106123-FR-NP                                                0653814             2906049                               FR                                                                 19-Sep-06   GENERATION FROM TEXT
                                                                                                                                                                                                                              SEMANTIC DESCRIPTIONS/ ONTOLOGIES
          106123         106123-IN-PCT                                               1545/CHENP/2009     1545/CHENP/2009                        IN                                                                17-Sep-09   GENERATION FROM TEXT
                                                                                                                                                                                                                              A METHOD FOR ACCESS BY A MOBILE STATION TO A
                                                                                                                                                                                                                              CORE NETWORK VIA A AN UNLICENSED MOBILE
          106279         106279-CN-DIV                                               201010268532.5      101917754                             CN                                                                 27-Apr-07   ACCESS NETWORK
                                                                                                                                                                                                                              A METHOD FOR ACCESS BY A MOBILE STATION TO A
                                                                                                                                                                                                                              CORE NETWORK VIAAN UNLICENSED MOBILE
          106279         106279-EP-EPA                                               06300417.0          EP1850618                             EP                                                                 28-Apr-06   ACCESS NETWORK
                                                                                                                                                                                                                              A METHOD FOR ACCESS BY A MOBILE STATION TO A
                                                                                                                                                                                                                              CORE NETWORK VIA A AN UNLICENSED MOBILE
          106279         106279-US-NP                                                11/740597           20070254653                           us                                                                 26-Apr-07   ACCESS NETWORK
                                                                                                                                                                                                                              SAVING RADIO RESOURCES DURING WIMAX PAGING
          106495         106495-CN-PCD                                               201310073145.X      103209480                             CN                                                                  2-Jul-07   (802.16e)
                                                                                                                                                                                                                              SAVING RADIO RESOURCES DURING WIMAX PAGING
          106495         106495-IN-PCT                                               45/CHENP/2009                                              IN                                                                 2-Jul-07   (802.16e)
                                                                                                                                                                                                                              Automatic Configuration of Transmission Networks
          110635         110635-CN-NP                   ZL98119230.0                 98119230.0          1227994                               CN                    17-Dec-04                                    11-Sep-98   for IP Traffic
          110750         110750-JP-NP                                                125516/99           2000029856                            JP                                                                 6-May-99    Load Sharing Algorithm
          111649         111649-GB-EPA                  EP1250024                    02360093.5          EP1250024                             GB                    23-Nov-05                                    20-Mar-02   Optischer Crossconnect
          112027         112027-CN-NP                   ZL03105416.1                 03105416.1          1450733                               CN                     8-Feb-06                                    20-Feb-03   Optical Fiber Transmission System
          114326         114326-IN-NP                                                3191/DEL/2005                                              IN                                                                17-Mar-05   Method for exchanging packets of user data


                                                                                                                                                                                                                              METHOD OF CORRECTING GAIN AND PHASE
                                                                                                                                                                                                                              IMBALANCE OF A MULTI-CARRIER TRANSMISSION
          115027         115027-EP-EPA                                               06300897.3          EP1895735                             EP                                                                 28-Aug-06   SIGNAL, TRANSMITTER AND BASE STATION
                                                                                                                                                                                                                              METHOD AND DEVICE FOR DISTRIBUTING ELECTRIC
                                                                                                                                                                                                                              POWER IN TELECOMMUNICATION CENTRAL OFFICE
          120406         120406-EP-EPA                                               00400549.2          EP1130733                             EP                                                                 29-Feb-00   EQUIPMENT.
                                                                                                                                                                                                                              METHOD FOR WAKING UP A SLEEPING DEVICE, A
                                                                                                                                                                                                                              RELATED NETWORK ELEMENT AND A RELATED
          120896         120896-JP-NP                                                2004349412          2005184805                            JP                                                                 2-Dec-04    WAKING DEVICE


          120930         120930-EP-EPA                                               04292071.0          EP1631015                             EP                                                                 23-Aug-04   DETOUR LSP BANDWIDTH CONSTRAINT PASSING
          131332         131332-CN-NP                                                200810092384.9      101296056                             CN                                                                 24-Apr-08   ASTRENGTHENEDGFP FRAMER
          131332         131332-US-NP                                                12/107754           20080267281                           us                                                                 22-Apr-08   ASTRENGTHENEDGFP FRAMER


                                                                                                                                                                                                                              INTEGRATED ELEMENT MANAGER AND INTEGRATED
          135010         135010-EP-EPT                                               99932142.5          EP1092334                             EP                                                                 30-Jun-99   MULTI-SERVICES ACCESS PLATFORM
                                                                                                                                                                                                                              Timing Reference For Scheduling Data Traffic On
          137089         137089-EP-EPA                                               98304619.4          EP0887973                             EP                                                                 11-Jun-98   Multiple Ports
                                                                                                                                                                                                                              Redundant Memory Architecture With
          137728         137728-EP-EPA                                               05300048.5          EP1571554                             EP                                                                 20-Jan-05   Defragmentation Capability
          137783         137783-EP-EPA                                               04300217.9          EP1482692                             EP                                                                 26-Apr-04   Switch Fabric Access Scheduler




                                                                                                                Page 136 of 149
                                                                                                                                                                                                   PATENT
                                                                                                                                                                                           REEL: 044000 FRAME: 0277
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 144 of 156
                              Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                     Full Mesh LSP and Full Mesh T-LDP Provisioning
                                                                                                                     Between Provider Edge Routers In Support of Layer-2
137850     137850-EP-EPA                         05300220.0        EP1580943         EP                  24-Mar-05   and Layer-3 Virtual Private Network Services


                                                                                                                     METHOD AND DEVICE FOR CONTROL AND
                                                                                                                     COMPATIBLE DELIVERY OF DIGITALLY COMPRESSED
                                                                                                                     VISUAL DATA IN A HETEROGENEOUS
                                                                                                                     COMMUNICATION NETWORK **RECEVIED FROM
139228     139228-EP-EPA                         00300597.2        EP1028593         EP                  27-Jan-00   PACKET VIDEO CORPORATION**
                                                                                                                     Core Network Interface For Packet Domain For UMA
139424     139424-US-CNT[3]                      14/934801                           us                  6-Nov-15    UNC Applications
                                                                                                                     Service peer as service provider for users in a peer-to
800153     800153-CN-DIV                         201410181962.1    103944999         CN                  17-Jun-08   peer network
                                                                                                                     Service peer as service provider for users in a peer-to
800153     800153-CN-NP                          200810109781.2    101330518         CN                  17-Jun-08   peer network
800502     800502-FR-NP              FR2916926   0755281           2916926           FR   9-Oct-09       28-May-07   Inter-systems Mobility in case of roaming
                                                                                                                     PuMMA: Pruning Mechanism in Multipoint
800832     800832-EP-EPA                         08305341.3        EP2009841         EP                  27-Jun-08   Architectures


800836     800836-IN-NP                          138/CHE/2007                        IN                  19-Jan-07   Fixed Line network broadcast calls via NGN network.


801065     801065-US-NP                          12/147780         20090005025       us                  27-Jun-08   ServerSequenceapplication programming interface
                                                                                                                     Method For Establishing A Bidirectional Point-To-
801373     801373-IN-PCT                         1418/DELNP/2010   1418/DELNP/2010   IN                   2-Sep-08   Point Connection
                                                                                                                     Methods For Using The ADSLs To Bridge The PSTN
801489     801489-EP-EPT                         08783910.6        EP2186311         EP                   7-Aug-08   Traffic To The Internet
                                                                                                                     Methods For Using The ADSLs To Bridge The PSTN
801489     801489-IN-PCT                         628/CHENP/2010                      IN                   7-Aug-08   Traffic To The Internet
                                                                                                                     Methods For Using The ADSLs To Bridge The PSTN
801489     801489-US-PCT                         12672360          20110292928       us                   7-Aug-08   Traffic To The Internet


801527     801527-EP-EPT                         07816374.8        EP2181555         EP                  19-Sep-07   Reliable EVDO VoIP to 3G1X Orcuit Voice Handoff


801527     801527-IN-PCT                         2021/CHENP/2010   2021/CHENP/2010   IN                  19-Sep-07   Reliable EVDO VoIP to 3G1X Orcuit Voice Handoff
801822     801822-CN-NP                          200810189597.3    101482869         CN                   8-Dec-08   Semantic Cookie


801822     801822-IN-PCT                         3248/CHENP/2010   3248/CHENP/2010   IN                   4-Dec-08   Semantic Cookie
801822     801822-KR-PCT                         1020107014930                       KR                   4-Dec-08   Semantic Cookie
801822     801822-US-NP                          12/329238         20090157665       us                   5-Dec-08   Semantic Cookie
                                                                                                                     FACILITATE AND ENRICH TOURISM EXPERIENCE WITH
801939     801939-KR-PCT                         20107012856                         KR                  27-Nov-08   AUTOID
801997     801997-FR-NP                          0851733           2929031           FR                  18-Mar-08   SMART MATCHING
801997     801997-US-NP                          12/404632         20090240570       us                  16-Mar-09   SMART MATCHING
                                                                                                                     Method for Simultaneous access to Home and visited
802027     802027-CN-NP                          200910203927.4    101562808         CN                  17-Apr-09   networks services in roaming
                                                                                                                     Method and apparatus to automatically send called
802103     802103-CN-PCT                         200880125304.3    CN101953142A      CN                  18-Mar-08   party available alert to calling party
                                                                                                                     Method and apparatus to automatically send called
802103     802103-EP-EPT                         08714986.0        EP2264994         EP                  18-Mar-08   party available alert to calling party
                                                                                                                     Method and apparatus to automatically send called
802103     802103-IN-PCT                         5299/CHENP/2010                     IN                  18-Mar-08   party available alert to calling party
                                                                                                                     Method and apparatus to automatically send called
802103     802103-US-PCT                         12/933116         20110021182       us                  18-Mar-08   party available alert to calling party
                                                                                                                     enhanced RUA with RTSP facilities


802594     802594-CN-PCT                         200880114953.3    101849400         CN                  12-May-08
                                                                                                                     enhanced RUA with RTSP facilities


802594     802594-US-PCT                         12/741775         20110007737       us                  12-May-08
                                                                                                                     Set pointer to a vCard about few videoconference
802732     802732-EP-EPT                         09722301.0        EP2258074         EP                  20-Mar-09   part
                                                                                                                     Set pointer to a vCard about few videoconference
802732     802732-JP-PCT                         2011500236        2011517174        JP                  20-Mar-09   part
                                                                                                                     Set pointer to a vCard about few videoconference
802732     802732-US-NP                          12/408293         20090293002       us                  20-Mar-09   part
                                                                                                                     Capability Sharing architecture and Implementation
802773     802773-CN-PCT                         200880130173.8    CN102077543A      CN                  29-Jul-08   In IM or community Network
                                                                                                                     Capability Sharing architecture and Implementation
802773     802773-EP-EPT                         08783577.3        EP2308214         EP                  29-Jul-08   In IM or community Network
                                                                                                                     Capability Sharing architecture and Implementation
802773     802773-IN-PCT                         7929/CHENP/2010                     IN                  29-Jul-08   In IM or community Network


802778     802778-EP-EPT                         08774446.2        EP2301220         EP                  27-Jun-08   Capability Grabbing Peer Device Functionality in SIP
                                                                                                                     End to End overload Control for Diameter
802797     802797-CN-PCT                         200880129218.X    CN102027725A      CN                  15-May-08   Applications
                                                                                                                     End to End overload Control for Diameter
802797     802797-EP-EPT                         08748501.7        EP2280520         EP                  15-May-08   Applications
                                                                                                                     End to End overload Control for Diameter
802797     802797-IN-PCT                         8086/CHENP/2010   8086/CHENP/2010   IN                  15-May-08   Applications
                                                                                                                     End to End overload Control for Diameter
802797     802797-US-PCT                         12/990847         20110061061       us                  15-May-08   Applications
                                                                                                                     Enhancements to SIP Forking for offering
802990     802990-JP-PCT                         2011521647        2011530849        JP                   8-Aug-08   new/improved user services
                                                                                                                     Enhancements to SIP Forking for offering
802990     802990-US-PCT                         13/057660         20110264824       us                   8-Aug-08   new/improved user services
                                                                                                                     MANAGEMENT PLATFORM AND ASSOCIATED
                                                                                                                     METHOD FOR MANAGING SMART METERS
803049     803049-CN-NP                          200910004250.1    101520863         CN                  18-Feb-09
                                                                                                                     MANAGEMENT PLATFORM AND ASSOCIATED
                                                                                                                     METHOD FOR MANAGING SMART METERS
803049     803049-IN-PCT                         4377/CHENP/2010                     IN                  13-Feb-09


                                                                                                                     Method And Device For Resource Management
803145     803145-IN-PCT                         7163/CHENP/2010   7163/CHENP/2010   IN                  14-May-09   Recording Medium For Said Method


                                                                                                                     Method for allocating frequency subchannels on an
                                                                                                                     air interface of a wireless communication system and
                                                                                                                     corresponding radio resource allocation module
803193     803193-EP-EPA                         08305150.8        EP2129178         EP                  6-May-08




                                                                       Page 137 of 149
                                                                                                             PATENT
                                                                                                     REEL: 044000 FRAME: 0278
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 145 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                        Single/Multiple Preparation triggered from
803365     803365-CN-NP                    200910265728.6    101772104         CN           29-Dec-09   Admission Failure
803411     803411-CN-PCT                   201080011671.8    CN102349265       CN           24-Feb-10   TR-069 IN SESSION TRANSACTION SUPPORT
803411     803411-EP-EPA                   09305213.2        EP2228944         EP           9-Mar-09    TR-069 IN SESSION TRANSACTION SUPPORT
803411     803411-IN-PCT                   5556/CHENP/2011                     IN           24-Feb-10   TR-069 IN SESSION TRANSACTION SUPPORT
803411     803411-JP-PCD                   201434051         2014139802        JP           25-Feb-14   TR-069 IN SESSION TRANSACTION SUPPORT
                                                                                                        Beam Forming Antenna System On Flexible Plastic
                                                                                                        Foil
803628     803628-EP-EPA                   09290073.7        EP2214261         EP           30-Jan-09
                                                                                                        Serverbased{.draganddropl betweenweb2.0
803772     803772-CN-NP                    200910174910.0    CN101727317A      CN           29-Oct-09   widgets
                                                                                                        Serverbased{.draganddropl betweenweb2.0
803772     803772-IN-PCT                   2903/CHENP/2011   2903/CHENP/2011   IN           30-Oct-09   widgets
                                                                                                        Serverbased{.draganddropl betweenweb2.0
803772     803772-JP-PCT                   2011533745        2012507098        JP           30-Oct-09   widgets
                                                                                                        Handling Out-Of-Sequence Packets In A Circuit
804001     804001-US-CNT                    13/672830        20130064248       us           8-Nov-12    Emulation Service


804144     804144-CN-PCT                   200880122616.9    102067519         CN           21-Nov-08   Method and System for Remote Device Management


804144     804144-EP-EPT                   08852347.7        EP2215777         EP           21-Nov-08   Method and System for Remote Device Management
                                                                                                        Service Management System and Method of
804144     804144-US-NP                     12/276254        20090292664       us           21-Nov-08   Operation thereof
                                                                                                        IP Phone Dynamic Power Saving Hours linked to User
                                                                                                        PresenceintheBusinessArea
804194     804194-JP-PCT                   2011549636        2012518307        JP           22-Jan-10
                                                                                                        METHOD FOR SIGNALLING OF DATA TRANSMISSION
                                                                                                        PATH PROPERTIES TO A NON-DAM OBSERVENT
804204     804204-US-PCT                    13/319132        20120051227       us           19-May-10   CLIENT
                                                                                                        Interworking Between lms/Sip And Pstn/Plmn To
                                                                                                        Exchange Dynamic Charging Information


804271     804271-IN-PCT                   359/CHENP/2012    359/CHENP/2012    IN           24-Jul-09
                                                                                                        Interworking Between lms/Sip And Pstn/Plmn To
                                                                                                        Exchange Dynamic Charging Information


804271     804271-KR-PCT                   20127004581                         KR           24-Jul-09
                                                                                                        Interworking Between lms/Sip And Pstn/Plmn To
                                                                                                        Exchange Dynamic Charging Information


804271     804271-US-PCT                    13/384717        20120250585       us           24-Jul-09


804497     804497-BR-PCT                    PI0924166-3                        BR           17-Dec-09   Procedure to command UEs staying not in idle mode


804497     804497-CN-PCT                   200980155299.5    102293025         CN           17-Dec-09   Procedure to command UEs staying not in idle mode


804497     804497-EP-EPA                   09290046.3        EP2211571         EP           23-Jan-09   Procedure to command UEs staying not in idle mode


804497     804497-IN-PCT                   5278/CHENP/2011   5278/CHENP/2011   IN           17-Dec-09   Procedure to command UEs staying not in idle mode


804497     804497-US-PCT                    13/145897        20110294532       us           17-Dec-09   Procedure to command UEs staying not in idle mode
                                                                                                        Method For Enhancing The Use Of Radio Resource,
                                                                                                        User Equipment And Network Infrastructure For
804685     804685-CN-PCT                   201080047721.8    102577588         CN           20-Oct-10   Implementing The Method
                                                                                                        Method For Enhancing The Use Of Radio Resource,
                                                                                                        User Equipment And Network Infrastructure For
804685     804685-US-PCT                    13/503117        20120263045       us           20-Oct-10   Implementing The Method
                                                                                                        System and Method for Automatically Quiting SMS-
                                                                                                        Based Parking
804713     804713-CN-PCT                   201080045915.4    102576472         CN           11-Oct-10
                                                                                                        System and Method for Automatically Quiting SMS-
                                                                                                        Based Parking
804713     804713-EP-EPA                   09290789.8        EP2312537         EP           15-Oct-09
                                                                                                        System and Method for Automatically Quiting SMS-
                                                                                                        Based Parking
804713     804713-KR-PCT                   20127012366                         KR           11-Oct-10
                                                                                                        System and Method for Automatically Quiting SMS-
                                                                                                        Based Parking
804713     804713-US-PCT                    13/497077        20120184298       us           11-Oct-10
                                                                                                        Method For Directly Manipulating Incoming
                                                                                                        Interactions In An Instant Communication Client
804723     804723-US-PCT                    13/513014        20130067374       us           26-Nov-10   Application
                                                                                                        Relaying Data Between A Base Station And User
804832     804832-JP-PCT                   2012506371        2012525031        JP           13-Apr-10   Equipment
                                                                                                        Relaying Data Between A Base Station And User
804832     804832-US-PCT                    13/265703        20120039242       us           13-Apr-10   Equipment
                                                                                                        Encryption Procedure And Device For An Audiovisual
804910     804910-CN-PCT                   201080050154.1    102598690         CN           23-Jul-10   Data Stream
                                                                                                        Encryption Procedure And Device For An Audiovisual
804910     804910-US-PCT                    13/499747        20120250860       us           23-Jul-10   Data Stream
                                                                                                        New Path Initialization Alignment Method to improve
804938     804938-CN-NP                    200910054171.1    CN101938753A      CN           30-Jun-09   ITU-T standard Q.2630.1
                                                                                                        Method For Assisting In The Development Or Use Of
804984     804984-US-PCT                    13/260617        20120047485       us           1-Apr-10    A Complex System
805051     805051-MY-PCT                    Pl2011005628                       MY           28-Apr-10   Compact Multi-Channel DQPSK Receiver
                                                                                                        Electronic Mail Server And Method For Automatically
805064     805064-CN-PCT                   201080056708.9    102656577         CN           30-Nov-10   Generating Address Lists
                                                                                                        Electronic Mail Server And Method For Automatically
805064     805064-IN-PCT                   4690/CHENP/2012   4690/CHENP/2012   IN           30-Nov-10   Generating Address Lists
                                                                                                        Electronic Mail Server And Method For Automatically
805064     805064-KR-PCT                   20127018106                         KR           30-Nov-10   Generating Address Lists
                                                                                                        Method And Processing Arrangement For Joint
805291     805291-US-PCT                    13/379179        20120163484       us           26-Apr-10   Processing Of Uplink Data


                                                                                                        Method and Apparatus for Notifying Account
805362     805362-IN-PCT                   5953/CHENP/2012   5953/CHENP/2012   IN           8-Jan-10    Information ofa Data-Type-Oriented User Equipment
                                                                                                        Method And Apparatus For Notifying Account
                                                                                                        Information Of A Data-Type-Oriented User
805362     805362-US-PCT                    13/520497        20130031231       us           8-Jan-10    Equipment




                                                                 Page 138 of 149
                                                                                            PATENT
                                                                                    REEL: 044000 FRAME: 0279
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 146 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                    Bit-wise interleaving based Multi-Protocol
805364     805364-US-PCT                      13/377615         20120151303       us                    9-Jun-10    Encapsulation Inter-burst Forward Error Correction
                                                                                                                    METHOD AND DEVICE FOR PROVIDING
                                                                                                                    COMMUNICATION
805472     805472-EP-EPT                      11731668.7                          EP                    4-Jan-11    TO USER EQUIPMENT
                                                                                                                    METHOD AND DEVICE FOR PROVIDING
                                                                                                                    COMMUNICATION
805472     805472-IN-PCT                      1399/DELNP/2012   1399/DELNP/2012   IN                    4-Jan-11    TO USER EQUIPMENT


                                                                                                                    Optoelectronic Device For Differential
                                                                                                                    Photoreception, With Automatic Compensation Of
805572     805572-CN-PCT                      201180046380.7    103119866         CN                    12-Jul-11   Phase And Amplitude Imbalances


                                                                                                                    Optoelectronic Device For Differential
                                                                                                                    Photoreception, With Automatic Compensation Of
                                                                                                                    Phase And Amplitude Imbalances
805572     805572-JP-PCT                      2013524391        2013535934        JP                    12-Jul-11


                                                                                                                    Optoelectronic Device For Differential
                                                                                                                    Photoreception, With Automatic Compensation Of
                                                                                                                    Phase And Amplitude Imbalances
805572     805572-MY-PCT                      2013000434                          MY                    12-Jul-11


                                                                                                                    Optoelectronic Device For Differential
                                                                                                                    Photoreception, With Automatic Compensation Of
                                                                                                                    Phase And Amplitude Imbalances
805572     805572-US-PCT                      13/816616         20130202316       us                    12-Jul-11
805653     805653-CN-PCT                      200980159899.9    CN102461216A      CN                   30-Jun-09    Account Sponsorship Charging


805653     805653-IN-PCT                      8162/CHENP/2011   8162/CHENP/2011   IN                   30-Jun-09    Account Sponsorship Charging
805653     805653-JP-PCT                      2012516475        2012531133        JP                   30-Jun-09    Account Sponsorship Charging


                                                                                                                    Dynamic Load Balancing And Scaling Of Allocated
805755     805755-CN-PCT                      201080043939.6    CN102550004A      CN                   15-Sep-10    Cloud Resources In An Enterprise Network


                                                                                                                    Dynamic Load Balancing And Scaling Of Allocated
805755     805755-EP-EPT                      10757679.5        EP2484096         EP                   15-Sep-10    Cloud Resources In An Enterprise Network


                                                                                                                    Dynamic Load Balancing And Scaling Of Allocated
805755     805755-IN-PCT                      2838/CHENP/2012   2838/CHENP/2012   IN                   15-Sep-10    Cloud Resources In An Enterprise Network


                                                                                                                    Dynamic Load Balancing And Scaling Of Allocated
805755     805755-US-NP                       12/571271         20110078303       us                   30-Sep-09    Cloud Resources In An Enterprise Network
                                                                                                                    Context Based Service Management and Execution
805785     805785-EP-EPA                      09305794.1        EP2290902         EP                   28-Aug-09    Architecture
805787     805787-CN-PCT                      201080060816.3    102714795         CN                   16-Dec-10    Managing SMS Spoofing Using SMPP Protocol
                                                                                                                    Neighbor Discovery For Ethernet Private Line On User
805823     805823-CN-PCT                      201080060569.7    102687466         CN                    9-Dec-10    Network Interfaces
                                                                                                                    Neighbor Discovery For Ethernet Private Line On User
805823     805823-JP-PCT                      2012546407        JP2013516822      JP                    9-Dec-10    Network Interfaces
                                                                                                                    Neighbor Discovery For Ethernet Private Line On User
805823     805823-US-PCT                      13515993          20120269093       us                    9-Dec-10    Network Interfaces


805909     805909-IN-PCT                      5786/CHENP/2012   5786/CHENP/2012   IN                    3-Jan-11    Orthogonal Multiple Description Coding
805909     805909-US-NP                       12/652390         20110164672       us                    5-Jan-10    Orthogonal Multiple Description Coding
805912     805912-MY-PCT                      Pl2012002354                        MY                   16-Dec-10    Vertical Coupler On lnP Wafer
                                                                                                                    SMTP Extension - Integrating communication
805972     805972-FR-NP           FR2951602   0957386           2951602           FR   11-May-12       21-Oct-09    hyperlinks protocol into SMTP
                                                                                                                    Using Social Networks Sites To Control Busy/No
806006     806006-CN-PCT                      201180007908.X    CN102783128A      CN                   13-Jan-11    Answer Call Coverage
                                                                                                                    Using Social Networks Sites To Control Busy/No
806006     806006-IN-PCT                      6750/CHENP/2012   6750/CHENP/2012   IN                   13-Jan-11    Answer Call Coverage
                                                                                                                    Reponding To Call Control Events Using Social
806006     806006-US-NP                       12/697337         20110188492       us                    1-Feb-10    Network Applications
                                                                                                                    Neighbor Orthogonal Training Pilots For Multi-Cell
806057     806057-BR-PCT                      Pl12007151-3      Pl12007151-3      BR                   17-Sep-10    Communication Systems
806092     806092-CN-PCT                      201180032445.2    CN102985923A      CN                    9-Jun-11    High-Dimensional Stratified Sampling
806092     806092-EP-EPT                      11726608.0        EP2585948         EP                    9-Jun-11    Hig-Dimensional Stratified Sampling


806092     806092-IN-PCT                      787/DELNP/2013    787/DELNP/2013    IN                    9-Jun-11    Hig-Dimensional Stratified Sampling
806135     806135-CN-PCT                      201080057062.6    102656928         CN                   15-Dec-10    Small cell UL interference management
806135     806135-EP-EPA                      09290942.3        EP2337408         EP                   15-Dec-09    Small cell UL interference management
806135     806135-IN-PCT                      4275/DELNP/2012                     IN                   15-Dec-10    Small cell UL interference management
806135     806135-US-PCT                      13/516076         20130102302       us                   15-Dec-10    Small cell UL interference management
806288     806288-US-NP                       13/252251         20130083997       us                    4-Oct-11    Temporally Structured Light


806347     806347-CN-PCT                      201180024282.3    102959567         CN                   2-May-11     System For Processing Data Relating To Buildings


806347     806347-KR-PCT                      20127029938                         KR                   2-May-11     System For Processing Data Relating To Buildings


806347     806347-US-PCT                      13/695848         20130110902       us                   2-May-11     System For Processing Data Relating To Buildings
                                                                                                                    Element Of A Wavelength Division Multiplexing
806369     806369-CN-PCT                      201180011964.0    CN102783067A      CN                   11-Feb-11    Optical Network
                                                                                                                    Mobile Advertising - Inventory Aggregation and
806396     806396-KR-PCT                      2012-7029775                        KR                   11-Apr-11    Management
                                                                                                                    Mobile Advertising - Inventory Aggregation and
806396     806396-US-PCT                      13/640651         20130085856       us                   11-Apr-11    Management
                                                                                                                    Control Options During Information Recording
                                                                                                                    Sessions
806421     806421-CN-PCT                      201080067767.6    CN102972001A      CN                   10-Sep-10
                                                                                                                    Control Options During Information Recording
                                                                                                                    Sessions
806421     806421-EP-EPT                      10750141.3        EP2589194         EP                   10-Sep-10
                                                                                                                    Control Options During Information Recording
                                                                                                                    Sessions
806421     806421-IN-NP                       1886/CHE/2010                       IN                    2-Jul-10
                                                                                                                    Control Options During Information Recording
                                                                                                                    Sessions
806421     806421-US-PCT                      13/701878         20130174206       us                   10-Sep-10




                                                                    Page 139 of 149
                                                                                                           PATENT
                                                                                                   REEL: 044000 FRAME: 0280
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 147 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



                                                                                                        Control capabilities For Information Recording
                                                                                                        Sessions
806422     806422-CN-PCT                   201080068073.4     103004230         CN          14-Sep-10
                                                                                                        Control capabilities For Information Recording
                                                                                                        Sessions
806422     806422-IN-NP                    2037/CHE/2010                        IN          16-Jul-10
                                                                                                        Control capabilities For Information Recording
                                                                                                        Sessions
806422     806422-JP-PCD                   201518165                            JP          14-Sep-10
                                                                                                        Control capabilities For Information Recording
                                                                                                        Sessions
806422     806422-JP-PCT                   2013518962                           JP          14-Sep-10
                                                                                                        Control capabilities For Information Recording
                                                                                                        Sessions
806422     806422-US-PCT                    13/806887         20130170404       us          14-Sep-10
                                                                                                        System And Method For Dynamically Adjusting
                                                                                                        Quality Of Service Configuration Based On Real-Time
806441     806441-CN-PCT                   201180016531.4     CN102845032A      CN          23-Mar-11   Traffic
                                                                                                        System And Method For Dynamically Adjusting
                                                                                                        Quality Of Service Configuration Based On Real-Time
806441     806441-EP-EPT                    11711429.8        EP2553887         EP          23-Mar-11   Traffic
                                                                                                        System And Method For Dynamically Adjusting
                                                                                                        Quality Of Service Configuration Based On Real-Time
806441     806441-US-NP                     12/751626         20110242978       us          31-Mar-10   Traffic
                                                                                                        Method And Appartus For Detecting A Misaligned
806554     806554-CN-PCT                   201180014619.2     CN102835100A      CN          15-Feb-11   Page
                                                                                                        Method And Appartus For Detecting A Misaligned
806554     806554-EP-EPT                    11706394.1        EP2548366         EP          15-Feb-11   Page
                                                                                                        Phase Skew Compensation At A Coherent Optical
806639     806639-US-PCT                    13/637785         20130287410       us          14-Apr-11   Receiver
                                                                                                        Automated installation and activation of software on
806680     806680-US-PCT                    13/702378         20130125111       us          21-Jun-11   CPEs by using RF-id
806801     806801-CN-PCT                   201180016962.0     CN102859406A      CN          22-Mar-11   Optical Grating Coupler
                                                                                                        Optical Grating Coupler With Adjacent Low-Index
806801     806801-US-NP                     12/756166         20110249938       us          7-Apr-10    Cavity To Increase Coupling Efficiency
                                                                                                        Power-Aware Task Management for Mobile
806875     806875-CN-PCT                   201280008536.7     CN103370969A      CN          31-Jan-12   Terminals


                                                                                                        Method And Apparatus Of Smart Power
806875     806875-US-NP                     13/024682         20120210150       us          10-Feb-11   Management For Mobile Communication Terminals
                                                                                                        System And Method For Integrating Near Field
                                                                                                        Communication Devices With Legacy Customer
806961     806961-US-NP                     12/828203         20120004972       us          30-Jun-10   Loyalty Services
                                                                                                        Feedback For Multi-User Mimo Systems
806970     806970-CN-PCT                   201180014486.9     102812646         CN          7-Mar-11
                                                                                                        Feedback For Multi-User Mimo Systems
806970     806970-US-PCT                    13/637736         20130022021       us          7-Mar-11
                                                                                                        Methods For Reducing Interference In
807000     807000-BR-PCT                    112012022758.0                      BR          14-Feb-11   Communication Systems
                                                                                                        Methods For Reducing Interference In
807000     807000-CN-PCT                   201180013114.4     CN102792607A      CN          14-Feb-11   Communication Systems
                                                                                                        Methods For Reducing Interference In
807000     807000-EP-EPT                    11706678.7        EP2545659         EP          14-Feb-11   Communication Systems
                                                                                                        Methods For Reducing Interference In
807000     807000-IN-PCT                   7665/CHENP/2012    7665/CHENP/2012   IN          14-Feb-11   Communication Systems
                                                                                                        Methods For Reducing Interference In
807000     807000-JP-PCT                   2012557057         2013522960        JP          14-Feb-11   Communication Systems


807091     807091-IN-PCT                   380/DELNP/2013                       IN           7-Jul-11   Automatic Memory Zeroing In Processor Caches


807091     807091-US-PCT                    13/810282         20130124821       us           7-Jul-11   Automatic Memory Zeroing In Processor Caches


                                                                                                        A method, a system, a server, a client, a computer
                                                                                                        program and a computer program product for
                                                                                                        determining a user guide in a computer network
807169     807169-CN-PCT                   201180065474.9     CN103370932A      CN          13-Dec-11


                                                                                                        A method, a system, a server, a client, a computer
                                                                                                        program and a computer program product for
                                                                                                        determining a user guide in a computer network
807169     807169-EP-EPA                    11290039.4        EP2482548         EP          21-Jan-11


                                                                                                        A method, a system, a server, a client, a computer
                                                                                                        program and a computer program product for
                                                                                                        determining a user guide in a computer network
807169     807169-IN-PCT                   5851/DELNP/2013                      IN          13-Dec-11


                                                                                                        A method, a system, a server, a client, a computer
                                                                                                        program and a computer program product for
                                                                                                        determining a user guide in a computer network
807169     807169-JP-PCT                   2013549741         2014510326        JP          13-Dec-11


                                                                                                        A method, a system, a server, a client, a computer
                                                                                                        program and a computer program product for
                                                                                                        determining a user guide in a computer network
807169     807169-US-PCT                    13/979966         20130297684       us          13-Dec-11
807249     807249-CN-PCT                   201180035993.0     103026727         CN          25-Jul-11   Enhanced Manifest for HAS Streaming
807249     807249-EP-EPA                    10305816.0        EP2410743         EP          23-Jul-10   Enhanced Manifest for HAS Streaming
807249     807249-JP-PCT                   2013-520167        2013535892        JP          25-Jul-11   Enhanced Manifest for HAS Streaming
807249     807249-US-PCT                    13/811470         20130185759       us          25-Jul-11   Enhanced Manifest for HAS Streaming
                                                                                                        Method For Correcting A Delay Asymmetry
807317     807317-CN-PCT                   201180045106.8     103119872         CN          15-Sep-11
                                                                                                        Method For Correcting A Delay Asymmetry
807317     807317-US-PCT                    13/819363         20130209096       us          15-Sep-11
807327     807327-US-PCT                    13/818354         20130252570       us          22-Aug-11   Urgent Call Management System
                                                                                                        A Method and a Tool for Smart Opening/Saving of
                                                                                                        Documents in Operating Systems with Folders
807332     807332-CN-PCT                   201180032717.9     102971731         CN          2-May-11    Semantic Indexing
                                                                                                        A Method and a Tool for Smart Opening/Saving of
                                            10896/CHENP/201                                             Documents in Operating Systems with Folders
807332     807332-IN-PCT                                                        IN          2-May-11    Semantic Indexing




                                                                  Page 140 of 149
                                                                                             PATENT
                                                                                     REEL: 044000 FRAME: 0281
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 148 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




807332     807332-US-PCT                    13/805440          20130159361         us       2-May-11     Access To A File System With Semantic Indexing
807366     807366-JP-PCT                   2014556620          2015510356          JP        6-Feb-13    Lensless Compressive Image Acquisition
807366     807366-US-NP                    13/367413           20130201297         us        7-Feb-12    Lensless Compressive Image Acquisition


                                                                                                         Enabling A Distributed Policy Architecture With
807498     807498-CN-PCT                   201180039075.5      CN103168486A        CN        1-Aug-11    Extended Son (Extended Self Organizing Networks)


                                                                                                         Enabling A Distributed Policy Architecture With
807498     807498-US-NP                     12/854405          20120039175         us       11-Aug-10    Extended SON (Extended Self Organizing Networks)
                                                                                                         A Monolithic Integrated Structure Comprising A
                                                                                                         Buried Heterostructure Semiconductor Optical
                                                                                                         Amplifier And A Photodetector


807519     807519-MY-PCT                   2013001105                              MY       27-Sep-11
                                                                                                         A Monolithic Integrated Structure Comprising A
                                                                                                         Buried Heterostructure Semiconductor Optical
                                                                                                         Amplifier And A Photodetector


807519     807519-SG-PCT                   2013022223                              SG       27-Sep-11
                                                                                                         A Monolithic Integrated Structure Comprising A
                                                                                                         Buried Heterostructure Semiconductor Optical
                                                                                                         Amplifier And A Photodetector


807519     807519-TW-NP                     100134992                              TW       28-Sep-11


807659     807659-CN-PCT                   201180064012.5      CN103314300A        CN       22-Dec-11    Airspeed Measurement For Jets, Cars And Trucks


807659     807659-KR-PCT                   20137017361                             KR       22-Dec-11    Airspeed Measurement For Jets, Cars And Trucks
807659     807659-US-NP                     12/983402          20120173191         us        3-Jan-11    Airspeed and Velocity of Air Measurement
                                                                                                         Method And System For Client Recovery Strategy In A
                                                                                                         Redundant Server Configuration
807660     807660-CN-PCT                   201180055353.6      CN103370903A        CN       10-Nov-11
                                                                                                         Method And System For Client Recovery Strategy In A
                                                                                                         Redundant Server Configuration
807660     807660-IN-PCT                   3799/DELNP/2013                         IN       10-Nov-11
                                                                                                         Method And System For Client Recovery Strategy In A
                                                                                                         Redundant Server Configuration
807660     807660-JP-PCT                   2013539907          2013544408          JP       10-Nov-11
                                                                                                         Method And System For Client Recovery Strategy In A
                                                                                                         Redundant Server Configuration
807660     807660-KR-PCD                   20157016641                             KR       10-Nov-11
                                                                                                         Method And System For Client Recovery Strategy In A
                                                                                                         Redundant Server Configuration
807660     807660-KR-PCT                   20137015360                             KR       10-Nov-11
                                                                                                         Method And System For Client Recovery Strategy In A
                                                                                                         Redundant Server Configuration
807660     807660-US-NP                     12/948493          20120124431         us       17-Nov-10
                                                                                                         Method Of Determining Access Times For Wireless
807721     807721-CN-PCT                   201180029761.4      CN103053215A        CN       13-Jun-11    Communication Devices
                                                                                                         Method Of Determining Access Times For Wireless
                                                                                                         Communication Devices
807721     807721-US-NP                     12/817501          20110310854         us       17-Jun-10
                                                                                                         Method Of Uplink Control Channel Allocation For A
807823     807823-BR-PCT                    1120120325230      1120120325230       BR       15-Jun-11    Relay Backhaul Link
                                                                                                         Method Of Uplink Control Channel Allocation For A
807823     807823-CN-PCT                   201180030565.9      CN103109472A        CN       15-Jun-11    Relay Backhaul Link
                                            10427/CH ENP/201   10427/CH ENP/201                          Method Of Uplink Control Channel Allocation For A
807823     807823-IN-PCT                                                           IN       15-Jun-11    Relay Backhaul Link
                                                                                                         Method Of Uplink Control Channel Allocation For A
807823     807823-JP-PCT                   2013516611          2013533690          JP       15-Jun-11    Relay Backhaul Link
                                                                                                         Data Objects Required to do SW/HW Installation
807842     807842-CN-PCT                   201180032727.2      102972006           CN       21-Jun-11    Using RF-ids and TR-069
                                                                                                         Data Objects Required to do SW/HW Installation
807842     807842-IN-PCT                   330/CHENP/2013      330/CHENP/2013      IN       21-Jun-11    Using RF-ids and TR-069
                                                                                                         Data Objects Required to do SW/HW Installation
807842     807842-JP-PCT                   2013-517165                             JP       21-Jun-11    Using RF-ids and TR-069
807846     807846-CN-PCT                   201380022214.2      CN104396269A        CN        9-Apr-13    Dynamic Interstitial Transitions
807846     807846-JP-PCT                   2015509000          2015521402          JP        9-Apr-13    Dynamic Interstitial Transitions
807846     807846-KR-PCT                   20147029788                             KR        9-Apr-13    Dynamic Interstitial Transitions
807846     807846-US-NP                     13/458523          20130290514         us       27-Apr-12    Dynamic lnterstital Transitions
                                                                                                         Conformal Antenna Array
807877     807877-BR-PCT                    112013017408-0     112013017408-0      BR       19-Dec-11
                                                                                                         Conformal Antenna Array
807877     807877-CN-PCT                   201180064226.2      CN103460508A        CN       19-Dec-11
                                                                                                         Conformal Antenna Array
807877     807877-IN-PCT                   5127/CHENP/2013     5127 /CH ENP/2013   IN       19-Dec-11
                                                                                                         Conformal Antenna Array
807877     807877-JP-PCD                   201539925           2015111940          JP       19-Dec-11
                                                                                                         Conformal Antenna Array
807877     807877-JP-PCT                   2013548415          2014503149          JP       19-Dec-11
                                                                                                         Conformal Antenna Array
807877     807877-KR-PCD                   20157016652                             KR       19-Dec-11
                                                                                                         Conformal Antenna Array
807877     807877-KR-PCT                   20137020429         20130107364         KR       19-Dec-11
                                                                                                         Peer-To-Peer Traffic Localization For Content In A
807967     807967-IN-PCT                    1120/DELNP/2013    1120/DELNP/2013     IN       28-Jul-11    Distributed Hash Table
                                                                                                         Voice Signature Solutions Architecture And Business
808234     808234-CN-PCT                   201180047832.3      CN103140890A        CN       22-Sep-11    Model
                                                                                                         Voice Signature Solutions Architecture And Business
808234     808234-JP-PCT                   2013531663          2014500991          JP       22-Sep-11    Model
808261     808261-CN-PCT                   201180067966.1      CN103477323A        CN       19-Dec-11    Seamless Scaling Of Enterprise Applications
808261     808261-IN-PCT                   5850/DELNP/2013                         IN       19-Dec-11    Seamless Scaling Of Enterprise Applications
808261     808261-JP-PCT                   2013548414          2014501994          JP       19-Dec-11    Seamless Scaling Of Enterprise Applications
808261     808261-KR-PCT                   20137020046                             KR       19-Dec-11    Seamless Scaling Of Enterprise Applications
808261     808261-US-NP                     12/984938          20120173709         us        5-Jan-11    Seamless Scaling Of Enterprise Applications
                                            BR 11 2013                                                   Setting Uplink Antenna Transmission Weights In Soft
808274     808274-BR-PCT                   008320.4                                BR        8-Sep-11    Handover
808512     808512-FR-NP                    0705155             2919084             FR        17-Jul-07   Gestion de ressources




                                                                    Page 141 of 149
                                                                                                PATENT
                                                                                        REEL: 044000 FRAME: 0282
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 149 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                        A Home Network Physical Layer Configuration
                                                                                                        Platform And Method
808546     808546-CN-PCT                   201280007086.X     103339902         CN          19-Jan-12


808546     808546-EP-EPA                    11290062.6        EP2485435         EP          31-Jan-11   Dynamic Management Of Home Networking Devices
                                                                                                        A Home Network Physical Layer Configuration
                                                                                                        Platform And Method
808546     808546-IN-PCT                   5476/CHENP/2013                      IN          19-Jan-12
                                                                                                        A Home Network Physical Layer Configuration
                                                                                                        Platform And Method
808546     808546-JP-PCT                   2013550834         2014507891        JP          19-Jan-12
                                                                                                        A Home Network Physical Layer Configuration
                                                                                                        Platform And Method
808546     808546-US-PCT                    13/978006         20130279369       us          19-Jan-12
808556     808556-CN-PCT                   201280012822.0     CN103430064A      CN          23-Feb-12   Monolithic Photonic Integrated Circuit
808556     808556-JP-PCT                   2013558021         2014514596        JP          23-Feb-12   Monolithic Photonic Integrated Circuit
808556     808556-KR-PCT                   20137024046                          KR          23-Feb-12   Monolithic Photonic Integrated Circuit
808556     808556-MY-PCT                    Pl2013003156                        MY          23-Feb-12   Monolithic Photonic Integrated Circuit
                                                                                                        Content Collaboration Among Heterogeneous
808572     808572-JP-PCT                   2013543218         2014503893        JP          1-Dec-11    Distributed Mediums
                                                                                                        Content Collaboration Among Heterogeneous
808572     808572-US-NP                     12/961833         20120143695       us          7-Dec-10    Distributed Mediums
                                                                                                        Method And Apparatus To Derive System Timing at a
808743     808743-CN-PCT                   201180062563.8     CN103283287A      CN          7-Dec-11    Wireless Base Station
                                                                                                        Method And Apparatus To Derive System Timing at a
808743     808743-EP-EPT                    11813374.3        EP2656669         EP          7-Dec-11    Wireless Base Station
                                                                                                        Method And Apparatus To Derive System Timing at a
808743     808743-IN-NP                    3940/CHE/2010                        IN          23-Dec-10   Wireless Base Station
                                                                                                        Method And Apparatus To Derive System Timing at a
808743     808743-JP-PCT                   2013545526         2014500691        JP          7-Dec-11    Wireless Base Station
                                                                                                        Method And Apparatus To Derive System Timing at a
808743     808743-US-PCT                    13/995791         20140092894       us          7-Dec-11    Wireless Base Station
                                                                                                        System And Method For Selecting An Optical Path In
808761     808761-CN-PCT                   201180068343.6                       CN          25-Nov-11   An Optical Network
                                                                                                        System And Method For Selecting An Optical Path In
808761     808761-US-PCT                    13/978674         20140334815       us          25-Nov-11   An Optical Network
                                                                                                        Detection of loss or malfunctions in electrical
                                                                                                        distribution networks
808788     808788-US-PCT                    13/817201         20130191051       us          2-Aug-11
                                                                                                        Notification of too many "No answer" of Forwarded
808870     808870-CN-PCT                   2011800719071      103650450         CN          6-Sep-11    to Number
                                                                                                        Notification of too many "No answer" of Forwarded
808870     808870-IN-NP                    2150/CHE/2011                        IN          27-Jun-11   to Number
                                                                                                        Notification of too many "No answer" of Forwarded
808870     808870-JP-PCT                   2014517480         2014524187        JP          6-Sep-11    to Number
                                                                                                        Notification of too many "No answer" of Forwarded
808870     808870-KR-PCT                   20137034802                          KR          6-Sep-11    to Number
                                                                                                        Notification of too many "No answer" of Forwarded
808870     808870-US-PCT                    14/128216         20140254584       us          6-Sep-11    to Number
                                                                                                        Method And Apparatus For Energy Efficient
808917     808917-CN-PCT                   201280063285.2     CN104011686A      CN          19-Nov-12   Distributed And Elastic Load Balancing
                                                                                                        Method And Apparatus For Energy Efficient
808917     808917-KR-PCT                   20147017088                          KR          19-Nov-12   Distributed And Elastic Load Balancing


                                                                                                        A method for transmission of reference signals, a
808922     808922-BR-PCT                    1120130316845                       BR          25-May-12   base station and a user terminal therefor


                                                                                                        A method for transmission of reference signals, a
808922     808922-CN-PCT                   2012800279729      CN103609174A      CN          25-May-12   base station and a user terminal therefor


                                                                                                        A method for transmission of reference signals, a
808922     808922-IN-PCT                   8826/CHENP/2013                      IN          25-May-12   base station and a user terminal therefor


                                                                                                        A method for transmission of reference signals, a
808922     808922-KR-PCT                    10-2013-7032242                     KR          25-May-12   base station and a user terminal therefor


                                                                                                        A method for transmission of reference signals, a
808922     808922-US-PCT                    14/124823         20140119311       us          25-May-12   base station and a user terminal therefor
                                                                                                        Efficient And Robust Feedback Of Channel State
                                                                                                        Information In Multi-Cellular Multi-User Multi-
                                                                                                        Antenna Multi-carrier Downlink Communication
809091     809091-EP-EPA                    11305647.7        EP2528290         EP          27-May-11   Systems
809109     809109-JP-PCT                   2014513964         2014525153        JP          2-May-12    Wireless Data Card
809109     809109-KR-PCT                   20147000299                          KR          2-May-12    Wireless Data Card
809109     809109-TW-NP                     101116649                           TW          10-May-12   Wireless Data Card
809109     809109-US-PCT                    14/122007         20140128027       us          2-May-12    Wireless Data Card
809132     809132-CN-PCT                   201280025817.3     103688551A        CN          24-Apr-12   Method For Authorising


809132     809132-IN-PCT                   9782/DELNP/2013    9782/DELNP/2013   IN          24-Apr-12   Method For Authorising
                                                                                                        Method For Authorising
809132     809132-JP-PCT                   2014513093         2014523664        JP          24-Apr-12
809132     809132-KR-PCT                   20137034975                          KR          24-Apr-12   Method For Authorising
                                                                                                        Method For Authorising
809132     809132-US-PCT                    14/122738         20140250446       us          24-Apr-12


                                                                                                        Method And Apparatus For Determining Uplink Noise
809271     809271-KR-PCD                   20157037225                          KR          10-Apr-12   Power In A Wireless Communication System


                                                                                                        Method And Apparatus For Determining Uplink Noise
809271     809271-KR-PCT                   20137026783        20140002000       KR          10-Apr-12   Power In A Wireless Communication System
                                                                                                        Method Of Scheduling And Admission Control For
                                                                                                        Guaranteed Bit Rate And/Or Maximum Bit Rate
809311     809311-CN-PCT                   201280018322.8     CN103493568A      CN          10-Apr-12   Services
809375     809375-CN-PCT                   201280012965.1     CN103563492A      CN          12-Mar-12   Printed Circuit Board and Diplexer Circuit
                                                                                                        Visualization ofan optical signal through linear
809408     809408-JP-PCT                   2015531560         2015530053        JP          12-Sep-13   optical sampling
                                                                                                        Polarization multiplexed, time-shifted double linear
809408     809408-TW-NP                     102133397         201424285         TW          14-Sep-13   sampling based vector signal analyzer
                                                                                                        Visualization ofan optical signal through linear
809408     809408-US-PCT                    14/427570         20150249505       us          12-Sep-13   optical sampling




                                                                  Page 142 of 149
                                                                                             PATENT
                                                                                     REEL: 044000 FRAME: 0283
                   Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 150 of 156
                                     Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA


1~;;mrn              ~~:J~JfW              liiitiiiiii~:il\::::'::•:• :@~~l:~>!\J.tf;1.l'I./: =~=~~~=~:J::!::1;1:rf:
                                            :ia:~:A,m:::::::::::::::::                                                 ::::::::::::::::::::::::::::   , ~~:! : rrmr   'l:'l<;l:':l:~'IIH:O.N
                                                                                                                                                                      ···········.:-:-:-:-:-:-:-   t~r~rnn!; 1mm TRANSMISSION METHOD AND MOBILE STATION TO
          809494     809494-BR-PCT                                       112013025960.4     112013025960.4                        BR                                                                 28-Mar-12   CARRYOUT THE METHOD
                                                                                                                                                                                                                 TRANSMISSION METHOD AND MOBILE STATION TO
          809494     809494-CN-PCT                                       201280016494.1     CN103460757A                          CN                                                                 28-Mar-12   CARRYOUT THE METHOD
                                                                                                                                                                                                                 TRANSMISSION METHOD AND MOBILE STATION TO
          809494     809494-IN-PCT                                       8818/CHENP/2013    8818/CHENP/2013                        IN                                                                28-Mar-12   CARRYOUT THE METHOD
                                                                                                                                                                                                                 TRANSMISSION METHOD AND MOBILE STATION TO
          809494     809494-KR-PCT                                       20137029376                                              KR                                                                 28-Mar-12   CARRYOUT THE METHOD
                                                                                                                                                                                                                 TRANSMISSION METHOD AND MOBILE STATION TO
          809494     809494-TW-NP                                        101111721                                               TW                                                                  2-Apr-12    CARRYOUT THE METHOD
                                                                                                                                                                                                                 TRANSMISSION METHOD AND MOBILE STATION TO
          809494     809494-US-PCT                                       14/110568          20140031046                           us                                                                 28-Mar-12   CARRYOUT THE METHOD
          809544     809544-CN-PCT                                       2012800220890      CN103518419A                          CN                                                                 8-May-12    A Mobility Concept
          809544     809544-EP-EPA                                       11305703.8         EP2533599                             EP                                                                 7-Jun-11    A Mobility Concept
          809544     809544-US-PCT                                       14/124387          20140128068                           us                                                                 8-May-12    A Mobility Concept
                                                                                                                                                                                                                 Apparatus and Method for Scheduling a Mobile
                                                                                                                                                                                                                 Terminal
          809623     809623-CN-PCT                                       2012800406847      CN103748946                           CN                                                                 17-Jul-12
                                                                                                                                                                                                                 Apparatus and Method for Scheduling a Mobile
                                                                                                                                                                                                                 Terminal
          809623     809623-US-PCT                                       14/240101          20140213274                           us                                                                 17-Jul-12
                                                                                                                                                                                                                 Emission Reporting And Monitoring
          809626     809626-JP-PCT                                       2014534990         2015504191                            JP                                                                 21-Sep-12
                                                                                                                                                                                                                 Emission Reporting And Monitoring
          809626     809626-KR-PCT                                       20147011997                                              KR                                                                 21-Sep-12
                                                                                                                                                                                                                 Emission Reporting And Monitoring
          809626     809626-US-PCT                                       14/351668          20140315528                           us                                                                 21-Sep-12


                                                                                                                                                                                                                 Electronic Transactions with Mobile Communications
                                                                                                                                                                                                                 Devices via Encoded Acoustic Signals
          809692     809692-CN-PCT                                       201180070937.0     CN103548289A                          CN                                                                 17-May-11
                                                                                                                                                                                                                 A Board-Level Heat Transfer Apparatus For
          809713     809713-CN-PCT                                       201380007365.0     CN104081887A                          CN                                                                 28-Jan-13   Communication Platforms
                                                                                                                                                                                                                 A Board-Level Heat Transfer Apparatus For
          809713     809713-IN-PCT                                       5679/DELNP/2014    5679/DELNP/2014                        IN                                                                28-Jan-13   Communication Platforms
                                                                                                                                                                                                                 A Board-Level Heat Transfer Apparatus For
          809713     809713-JP-PCT                                       2014555606         2015508919                            JP                                                                 28-Jan-13   Communication Platforms
                                                                                                                                                                                                                 A Board-Level Heat Transfer Apparatus For
          809713     809713-KR-PCT                                       20147021207                                              KR                                                                 28-Jan-13   Communication Platforms
                                                                                                                                                                                                                 Support Of IP Connections Over Trusted Non-3GPP
          809730     809730-KR-PCT                                       20147001609                                              KR                                                                 20-Jun-12   Access
                                                                                                                                                                                                                 Support Of IP Connections Over Trusted Non-3GPP
          809730     809730-US-PCT                                       14/127585          20140269551                           us                                                                 20-Jun-12   Access


          809872     809872-CN-PCT                                       201280047529.8     CN103875203A                          CN                                                                 7-Sep-12    Transmitter And Method For Optical Transmission


          809872     809872-JP-PCT                                       2014533552         2014532198                            JP                                                                 7-Sep-12    Transmitter And Method For Optical Transmission


          809872     809872-KR-PCT                                       20147008150                                              KR                                                                 7-Sep-12    Transmitter And Method For Optical Transmission


          809872     809872-MY-PCT                                       Pl2014000715       Pl2014000715                          MY                                                                 7-Sep-12    Transmitter And Method For Optical Transmission


          809872     809872-SG-PCT                                       11201400777U       11201400777U                          SG                                                                 7-Sep-12    Transmitter And Method For Optical Transmission


          809872     809872-TW-NP                                        101135001          201320646                            TW                                                                  24-Sep-12   Transmitter And Method For Optical Transmission


          809872     809872-US-NP                                        13/247760          20130077976                           us                                                                 28-Sep-11   Transmitter And Method For Optical Transmission
                                                                                                                                                                                                                 Determining Validity Of SIP Messages Without
          809882     809882-CN-PCT                                       201280040639.1     CN103891239A                          CN                                                                 21-Aug-12   Parsing
                                                                                                                                                                                                                 Determining Validity Of SIP Messages Without
          809882     809882-US-NP                                        13/217682          20130054816                           us                                                                 25-Aug-11   Parsing
                                                                                                                                                                                                                 Network-Assisted Peer-To-Peer Secure
                                                                                                                                                                                                                 Communication Establishment
          810053     810053-EP-EPT                                       12784811.7         EP2772039                             EP                                                                 22-Oct-12
                                                                                                                                                                                                                 Network-Assisted Peer-To-Peer Secure
                                                                                                                                                                                                                 Communication Establishment
          810053     810053-JP-PCT                                       2014538861         2015503261                            JP                                                                 22-Oct-12
                                                                                                                                                                                                                 Network-Assisted Peer-To-Peer Secure
                                                                                                                                                                                                                 Communication Establishment
          810053     810053-KR-PCT                                       20147011226                                              KR                                                                 22-Oct-12
                                                                                                                                                                                                                 Network-Assisted Peer-To-Peer Secure
                                                                                                                                                                                                                 Communication Establishment
          810053     810053-US-NP                                        13/283133          20130110920                           us                                                                 27-Oct-11


                                                                                                                                                                                                                 Method And System For Reducing Mac-ls Reset
          810098     810098-CN-PCT                                       201280038157.2     CN103828283A                          CN                                                                 13-Jul-12   Ambiguity For Common E-DCH Transmissions
                                                                                                                                                                                                                 Sharing Up-Link Resources In Universal Mobile
                                                                                                                                                                                                                 Telecommunications System
          810122     810122-BR-PCT                                       1120140032360                                            BR                                                                  4-Jul-12
                                                                                                                                                                                                                 Sharing Up-Link Resources In Universal Mobile
                                                                                                                                                                                                                 Telecommunications System
          810122     810122-CN-PCT                                       2012800465370      103828460                             CN                                                                  4-Jul-12
                                                                                                                                                                                                                 Sharing Up-Link Resources In Universal Mobile
                                                                                                                                                                                                                 Telecommunications System
          810122     810122-KR-PCT                                       20147006430        20140054220                           KR                                                                  4-Jul-12
                                                                                                                                                                                                                 Sharing Up-Link Resources In Universal Mobile
                                                                                                                                                                                                                 Telecommunications System
          810122     810122-US-PCT                                       14/238420          20140355573                           us                                                                  4-Jul-12
                                                                                                                                                                                                                 METHOD FOR GESTURE CONTROL, GESTURE SERVER
                                                                                                                                                                                                                 DEVICE AND
          810129     810129-CN-PCT                                       201280060048.0     CN103999506                           CN                                                                 26-Nov-12   SENSOR INPUT DEVICE
                                                                                                                                                                                                                 Method For Gesture Control, Gesture Server Device
          810129     810129-EP-EPA                                       11290560.9         EP2602691                             EP                                                                 5-Dec-11    And Sensor Input Device
                                                                                                                                                                                                                 METHOD FOR GESTURE CONTROL, GESTURE SERVER
                                                                                                                                                                                                                 DEVICE AND
          810129     810129-KR-PCT                                       20147018527        20140105812                           KR                                                                 26-Nov-12   SENSOR INPUT DEVICE
                                                                                                                                                                                                                 METHOD FOR GESTURE CONTROL, GESTURE SERVER
                                                                                                                                                                                                                 DEVICE AND
          810129     810129-US-PCT                                       14/357324          20140320274                           us                                                                 26-Nov-12   SENSOR INPUT DEVICE




                                                                                                   Page 143 of 149
                                                                                                                                                                                      PATENT
                                                                                                                                                                              REEL: 044000 FRAME: 0284
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 151 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                        Methods And Apparatus For Providing Transfer Of A
                                                                                                        Heat
                                                                                                        Load Between A Heat Source And A Heat Receiver
810263     810263-US-PCT                    14/389888         20150075752       us          15-Apr-13
                                                                                                        Creation Of Statistical Dynamic Flows Using Data And
810267     810267-CN-PCT                   201280039073.0     CN103875014A      CN          17-Jul-12   Content Aggregation


810382     810382-JP-PCT                   2015-502255        2015514363        JP          25-Mar-13   Home Network Identification Method and Device




                                                                                                        Communication Through Phase-Conjugated Optical
810791     810791-CN-PCT                   201280044717.5     CN103907294A      CN          12-Sep-12   Variants
                                                                                                        Communication Through Phase-Conjugated Optical
810791     810791-EP-EPT                    12762504.4        EP2756616         EP          12-Sep-12   Variants
                                                                                                        Communication Through Phase-Conjugated Optical
810791     810791-JP-PCT                   2014530750         2014527378        JP          12-Sep-12   Variants
                                                                                                        Communication Through Phase-Conjugated Optical
810791     810791-KR-PCT                   20147009247                          KR          12-Sep-12   Variants
                                                                                                        Communication Through Phase-Conjugated Optical
810791     810791-US-CIP                    13/411462         20130070786       us          2-Mar-12    Variants
                                                                                                        Optimization Mechanisms For Latency Reduction And
                                                                                                        Elasticity Improvement In Geographically Distributed
810815     810815-CN-PCT                   201280060122.9     CN103988179A      CN          19-Nov-12   Datacenters
                                                                                                        Optimization Mechanisms For Latency Reduction And
                                                                                                        Elasticity Improvement In Geographically Distributed
810815     810815-JP-PCT                   2014545922         2015501991        JP          19-Nov-12   Datacenters
                                                                                                        Optimization Mechanisms For Latency Reduction And
                                                                                                        Elasticity Improvement In Geographically Distributed
810815     810815-KR-PCT                   20147015281                          KR          19-Nov-12   Datacenters
                                                                                                        Optimization Mechanisms For Latency Reduction And
                                                                                                        Elasticity Improvement In Geographically Distributed
810815     810815-US-NP                     13/313730         20130151688       us          7-Dec-11    Datacenters


                                                                                                        A Femtocell Base Station, A User Terminal, A Method
                                                                                                        Of Sending Femtocell Base Station Status Information
                                                                                                        To A User Terminal, And A Method Of Receiving
810829     810829-CN-PCT                   2013800111065      CN104137620A      CN          11-Jan-13


                                                                                                        A Femtocell Base Station, A User Terminal, A Method
                                                                                                        Of Sending Femtocell Base Station Status Information
                                                                                                        To A User Terminal, And A Method Of Receiving
810829     810829-IN-PCT                   6339/CHENP/2014    6339/CHENP/2014   IN          11-Jan-13


                                                                                                        A Femtocell Base Station, A User Terminal, A Method
                                                                                                        Of Sending Femtocell Base Station Status Information
                                                                                                        To A User Terminal, And A Method Of Receiving
810829     810829-JP-PCT                   2014559116                           JP          11-Jan-13


                                                                                                        A Femtocell Base Station, A User Terminal, A Method
                                                                                                        Of Sending Femtocell Base Station Status Information
                                                                                                        To A User Terminal, And A Method Of Receiving
810829     810829-KR-PCT                   20147023562                          KR          11-Jan-13


                                                                                                        A Femtocell Base Station, A User Terminal, A Method
                                                                                                        Of Sending Femtocell Base Station Status Information
                                                                                                        To A User Terminal, And A Method Of Receiving
810829     810829-US-PCT                    14/381322         20150024795       us          11-Jan-13
810893     810893-IN-NP                    2334/DEL/2012      2334/DEL/2012     IN          27-Jul-12   Virtual Distribution Lists
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-BR-PCT                    112015000788-0                      BR           5-Jul-13
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-CN-PCT                   2013800377919      CN104472004A      CN           5-Jul-13
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-IN-PCT                   224/CHENP/2015                       IN           5-Jul-13
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-JP-PCT                   2015522034         2015529042        JP           5-Jul-13
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-KR-PCT                    10-2015-7000804                     KR           5-Jul-13
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-TW-NP                     102122368                           TW          24-Jun-13
                                                                                                        Apparatuses, Methods, and Computer Programs for
                                                                                                        Base Station Transceivers
810956     810956-US-PCT                    14/414854         20150173100       us           5-Jul-13
                                                                                                        Method And Apparatus For Defferred Scheduling For
                                                                                                        JTAGSystems
811143     811143-CN-PCT                   201280070890.2     CN104185795A      CN          25-Oct-12
                                                                                                        Method And Apparatus For Defferred Scheduling For
                                                                                                        JTAGSystems
811143     811143-JP-PCT                   2014550289         2015507743        JP          25-Oct-12


                                                                                                        Network Node And Method In A Node Operable In A
                                                                                                        Virtual Chassis System Where In It Is Determined
                                                                                                        Whether To Issue A Warning That An Administrative
811166     811166-JP-PCT                   2015541869         2016501463        JP          6-Nov-13    Action Triggers A Virtual Chassis Split
                                                                                                        Wireless Communication Systems, Replay Systems
811186     811186-KR-PCT                   20147018990                          KR          7-Jan-13    And Methods Of Relaying Data
                                                                                                        Wireless Communication Systems, Replay Systems
811186     811186-TW-NP                     102100421                           TW          7-Jan-13    And Methods Of Relaying Data


811227     811227-CN-PCT                   201380039347.0     CN104509005A      CN          23-Jul-13   Frequency Equalization For An Optical Transmitter




                                                                  Page 144 of 149
                                                                                             PATENT
                                                                                     REEL: 044000 FRAME: 0285
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 152 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




811227     811227-EP-EPT                    13747906.9         EP2878087         EP         23-Jul-13   Frequency Equalization For An Optical Transmitter


811227     811227-JP-PCT                   2015524371                            JP         23-Jul-13   Frequency Equalization For An Optical Transmitter


811227     811227-KR-PCT                   20157001883                           KR         23-Jul-13   Frequency Equalization For An Optical Transmitter


                                                                                                        Support Of Mobile-Terminated Service Delivery Over
811259     811259-KR-PCT                   20147023901         20140127284       KR         25-Jan-13   A Multi-Rat And/Or Multi-Domain Mobile Network


                                                                                                        Support Of Mobile-Terminated Service Delivery Over
811259     811259-TW-NP                     102102908                            TW         25-Jan-13   A Multi-Rat And/Or Multi-Domain Mobile Network
                                                                                                        Device And Method For Transmitting Samples Of A
811288     811288-JP-PCT                   2015-518930         2015-529028       JP         23-May-13   Digital Baseband Signal
                                                                                                        A Proactive, Location-Based Trigger For Handover
                                                                                                        And Redirection Procedures
811318     811318-US-NP                     13/633287          20140094178       us         2-Oct-12
                                                                                                        Method And Apparatus For Providing Green
                                            PCT/EP2013/07333                                            Recommendations Of Digital Contents
811405     811405-WO-PCT                                       2014079699        WO         8-Nov-13
                                                                                                        Method for Providing Automatic Repeat Request
                                                                                                        Error Control and Related Terminal and Arq Control
811414     811414-CN-PCT                   2013800466448       CN104604174A      CN         3-Sep-13    Center
                                                                                                        Method for Providing Automatic Repeat Request
                                                                                                        Error Control and Related Terminal and Arq Control
811414     811414-KR-PCT                   20157005918         20150042814       KR         3-Sep-13    Center
                                                                                                        Method for Providing Automatic Repeat Request
                                                                                                        Error Control and Related Terminal and Arq Control
811414     811414-US-PCT                    14/421990          20150222393       us         3-Sep-13    Center
811577     811577-TW-NP                     102116099          201351944         TW         6-May-13    Signaling Concept For Multi-User Detection
                                                                                                        Protected Broadcast In A Warning Message Delivery
                                                                                                        Chain
811616     811616-CN-PCT                   2013800378517       CN104488296A      CN         10-Jun-13
                                                                                                        Protected Broadcast In A Warning Message Delivery
                                                                                                        Chain
811616     811616-IN-PCT                   897/CHENP/2015                        IN         10-Jun-13
                                                                                                        Protected Broadcast In A Warning Message Delivery
                                                                                                        Chain
811616     811616-KR-PCT                   20157001210         20150023029       KR         10-Jun-13
                                                                                                        Protected Broadcast In A Warning Message Delivery
                                                                                                        Chain
811616     811616-US-PCT                    14/415317          20150140945       us         10-Jun-13
                                                                                                        Connectivity Checking Of A Bidirectional Circular
811708     811708-CN-PCT                   2013800465939       CN104604185A      CN         15-Aug-13   Path In A Communication Network


                                                                                                        Signalling Method To Implement SMS-Only
811748     811748-CN-PCT                   201380018980.1      CN104335613A      CN         1-Apr-13    Functionality For PS-Only Devices In 2G/3G Network


                                                                                                        Signalling Method To Implement SMS-Only
811748     811748-JP-PCT                   2015504653          2015518321        JP         1-Apr-13    Functionality For PS-Only Devices In 2G/3G Network


                                                                                                        Signalling Method To Implement SMS-Only
811748     811748-KR-PCT                   20147027587                           KR         1-Apr-13    Functionality For PS-Only Devices In 2G/3G Network
                                                                                                        Method And Apparatus For Supporting Short
811748     811748-US-NP                     13/780549          20140241241       us         28-Feb-13   Message Services For Packet Switched Devices
                                                                                                        A method, a server and a pointing device for
                                                                                                        enhancing presentations
811855     811855-CN-PCT                   201380041141.1      CN104520804A      CN         31-Jul-13
                                                                                                        A method, a server and a pointing device for
                                                               11274/DELNP/201                          enhancing presentations
811855     811855-IN-PCT                    11274/DELNP/2014 4                   IN         31-Jul-13
                                                                                                        A method, a server and a pointing device for
                                                                                                        enhancing presentations
811855     811855-JP-PCT                   2015524774          2015527659        JP         31-Jul-13
                                                                                                        A method, a server and a pointing device for
                                                                                                        enhancing presentations
811855     811855-KR-PCT                    1020157002774      20150037972       KR         31-Jul-13
                                                                                                        A method, a server and a pointing device for
                                                                                                        enhancing presentations
811855     811855-US-PCT                    14/417357          20150185870       us         31-Jul-13
                                                                                                        CDMA lX Accurate Distance Based call Access
811998     811998-CN-NP                    201210324112.3      CN103686927A      CN         4-Sep-12    Control
                                                                                                        Secure Data Transmission via Spatially Multiplexed
812017     812017-US-NP                     13/730270          20140186033       us         28-Dec-12   Optical Signals
                                                                                                        Failure Handling And Recovery Solution For Diameter-
812024     812024-CN-NP                    201210365803.8      CN103702306A      CN         27-Sep-12   Based LTE And IMS Online Charging
                                                                                                        WiFi AP Selection Framework In Heterogeneous
                                                                                                        Networks (HetNet)
812029     812029-BR-PCT                    112015000934.4                       BR          3-Jul-13


                                                                                                        Method And Apparatus For Resource Allocation For
812076     812076-KR-PCT                   20147033538         20150013641       KR        30-May-13    Device-To-Device Communication
                                                                                                        Electronics Cooling Through Use Of A Novel Low
812119     812119-TW-NP                     103116998                            TW         14-May-14   Profile Heat Sink Design
                                            PCT/EP2014/05905                                            Electronics Cooling Through Use Of A Novel Low
812119     812119-WO-PCT                                       2014206613        WO         5-May-14    Profile Heat Sink Design


                                                                                                        Privacy-Enabling Module For Web Applications
812171     812171-KR-PCT                   20157013218         20150077459       KR         13-Nov-13
                                                                                                        Systems And Methods For Preserving Privacy For
812171     812171-US-NP                     13/683069          20140143882       us         21-Nov-12   Web Applications
                                                                                                        Setting The Power Of A Plurality Of Optical Signals In
                                            PCT/EP2015/05747                                            An Optical Network
812218     812218-WO-PCT                                       2015155168        WO         7-Apr-15


                                            PCT/EP2014/05593                                            Method of receiving a phase-modulated polarization
812246     812246-WO-PCT                                       2014154674        WO         25-Mar-14   division multiplexed optical signal
812249     812249-EP-EPT                    13740094.1         EP2868019         EP         25-Jun-13   Reprogrammable Optical Networks
                                                               10746/DELNP/201
812249     812249-IN-PCT                    10746/DELNP/2014 4                   IN         25-Jun-13   Reprogrammable Optical Networks
812249     812249-JP-PCT                   2015520377          2015526966        JP         25-Jun-13   Reprogrammable Optical Networks




                                                                   Page 145 of 149
                                                                                              PATENT
                                                                                      REEL: 044000 FRAME: 0286
         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 153 of 156
                           Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




812249     812249-KR-PCT                      20147036945                       KR                            25-Jun-13   Reprogrammable Optical Networks
                                                                                                                          Reconfigurable Optical Networks
812249     812249-US-NP                       13/800634          20140003810    us                            13-Mar-13
812361     812361-EP-EPA                      12360056.1         EP2693653      EP                            3-Aug-12    Coordinated Multi Point Transmission Modes
                                                                                                                          Distance-Based Automatic Gain Control And
                                              PCT/US2013/06593                                                            Proximity-Effect Compensation
812458     812458-EP-EPT                                                        EP                            21-Oct-13
                                                                                                                          Distance-Based Automatic Gain Control And
                                                                                                                          Proximity-Effect Compensation
812458     812458-JP-PCT                      2015-539689                       JP                            21-Oct-13
                                                                                                                          Distance-Based Automatic Gain Control And
                                              PCT/US2013/06593                                                            Proximity-Effect Compensation
812458     812458-KR-PCT                                                        KR                            21-Oct-13
                                                                                                                          Distance-Based Automatic Gain Control And
                                                                                                                          Proximity-Effect Compensation
812458     812458-US-NP                       13/659602          20140112483    us                            24-Oct-12
                                                                                                                          Capability-Based Communications
812502     812502-US-NP                       13/726768          20140181224    us                            26-Dec-12
                                                                                                                          Mobility Robustness Optimization Based On
812517     812517-KR-PCT                      20157007526        20150052112    KR                            13-Sep-13   Reference Signal Strength Maps
812521     812521-US-NP                       13/729498          20140189774    us                            28-Dec-12   Devices And Methods For Multicast
                                              PCT/CA2013/05092
812557     812557-WO-PCT                                         2014089695     WO                            3-Dec-13    Design And Analysis Of Doherty Amplifiers


812815     812815-CN-PCT                      2013800508027      CN104685929A   CN                            30-Aug-13   User Plane Handover For Heterogeneous Networks


812815     812815-JP-PCT                      2015533506         2015530840     JP                            30-Aug-13   User Plane Handover For Heterogeneous Networks


812815     812815-KR-PCT                      20157007931        20150052145    KR                            30-Aug-13   User Plane Handover For Heterogeneous Networks


812815     812815-US-PCT                      14/431559          20150282024    us                            30-Aug-13   User Plane Handover For Heterogeneous Networks
                                                                                                                          Methods For Allocating Wireless Resources In
                                                                                                                          Wireless Network
812851     812851-EP-EPT                      13774875.2         EP2901787      EP                            25-Sep-13
                                              PCT/EP2015/05416                                                            Integrated Multi-core amplifier allowing packet-
812988     812988-WO-PCT                                         2015128476     WO                            27-Feb-15   switched operation


                                              PCT/EP2014/05890                                                            SIGNAL MODULATION BY PULSE TRAIN SEGMENTS
812995     812995-WO-PCT                                         2015165538     WO                            30-Apr-14   FOR RADIOFREQUENCY COMMUNICATIONS



813124     813124-IN-NP                       978/CHE/2013                      IN                            7-Mar-13    Multiple Tariff Switches Management
                                              PCT/IB2014/00211                                                            Controlling The Separated Charging Of A Later
813263     813263-WO-PCT                                         2015056079     WO                            12-Sep-14   Forwarded Call Of A Roaming Subscriber


                                                                                                                          Method For Operating A Base Station In A
                                                                                                                          Heterogeneous Radio Access Network And Base
                                                                                                                          Station Thereof And Method For Operating A Mobile
                                              PCT/EP2014/05914                                                            Station In A Heterogeneous Radio Access Network
813314     813314-WO-PCT                                         2014206615     WO                            6-May-14    And Mobile Station Thereof
                                              PCT/IB2015/00094
813615     813615-WO-PCT                                         2015177632     WO                            9-Apr-15    X-MapsWithFlexibleTiles
                                                                                                                          Arrangement And Method For Radio Frequency
813804     813804-EP-EPA                      13306213.3         EP2846460      EP                            5-Sep-13    Power Amplification
                                                                                                                          Arrangement And Method For Radio Frequency
                                              PCT/EP2014/05983                                                            Power Amplification
813804     813804-WO-PCT                                         2015032513     WO                            14-May-14
                                                                                                                          Dispersion Management For Inhomogeneous Fiber-
                                              PCT/US2014/05598                                                            Optic links
814098     814098-WO-PCT                                         2015042090     WO                            17-Sep-14


                                              PCT/US2014/03598                                                            Jointly Scheduling For Co-Channel Dual Connectivity
814162     814162-WO-PCT                                         2014186124     WO                            30-Apr-14   With Non-Idle Backhaul In HetNet
                                              PCT/EP2014/05654
814214     814214-WO-PCT                                         2014187601     WO                            1-Apr-14    Device to Device Communication
814368     814368-TW-NP                       103139821          201533472      TW                            17-Nov-14   Hybrid Wavelength Selective Switch
                                              PCT/US2014/06397
814368     814368-WO-PCT                                         2015077013     WO                            5-Nov-14    Hybrid Wavelength Selective Switch
                                              PCT/EP2014/07506                                                            Method Of Raising A Loss Of Frame Alarm In An
814382     814382-WO-PCT                                         2015086279     WO                            20-Nov-14   Optical Transmission Network
                                              PCT/EP2014/06767                                                            Channel Resource Allocation For Device-To-Device
814467     814467-WO-PCT                                         2015028357     WO                            19-Aug-14   Communication
                                              PCT/CA2014/05122
814520     814520-WO-PCT                                         2015100489     WO                            17-Dec-14   System And Method For Amplifier Design
                                              PCT/EP2014/00200                                                            Communication Techniques
814758     814758-WO-PCT                                         2015018498     WO                            21-Jul-14
                                              PCT/US2014/06022                                                            Method And Apparatus For Providing Allocating
814807     814807-WO-PCT                                         2015057543     WO                            13-Oct-14   Resources
                                              PCT/US2014/05026
814880     814880-WO-PCT                                         2015021345     WO                            8-Aug-14    Two-Stage D2D Discovery Procedures
                                                                                                                          Localization Activity Classification Systems And
814997     814997-US-NP                       14/152209          20150198443    us                            10-Jan-14   Methods


                                              PCT/EP2015/05740                                                            Process for guiding ina building a user connected
815215     815215-WO-PCT                                         2015165690     WO                            2-Apr-15    through at least one mobile terminal to a network
                                                                                                                          Providing A Coverage Enhanced Mode Of Operation
                                                                                                                          Within A Wireless Network
815429     815429-TW-NP                       103126571                         TW                            4-Aug-14
                                                                                                                          Providing A Coverage Enhanced Mode Of Operation
                                              PCT/EP2014/00198                                                            Within A Wireless Network
815429     815429-WO-PCT                                         2015018482     WO                            21-Jul-14


                                                                                                                          Prioritising Requests For Communication Resources
815553     815553-EP-EPA          EP2903364   14305123.3         EP2903364      EP     3-May-17   30-Jan-34   30-Jan-14   For Device To Device Wireless Communication


                                                                                                                          Systems And Methods For Localizing Audio Streams
816681     816681-US-NP                       14/502058          20160094914    us                            30-Sep-14   Via Acoustic Large Scale Speaker Arrays


                                                                                                                          Systems And Methods For Localizing Audio Streams
                                              PCT/US2015/05255                                                            Via Acoustic Large Scale Speaker Arrays
816681     816681-WO-PCT                                         2016053826     WO                            28-Sep-15




                                                                     Page 146 of 149
                                                                                                           PATENT
                                                                                                   REEL: 044000 FRAME: 0287
                        Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 154 of 156
                                                 Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                              Input Module And c.entral Control Unit For A
                                                                  PCT/EP2015/07771                                            Switching System And Switching System Thereof
        816780             816780-WO-PCT                                             2016087291          WO       26-Nov-15
                                                                                                                              Determining Dynamic User Attributes Using Dynamic
        817379             817379-IN-NP                          3808/DEL/2014                           IN       19-Dec-14   Host Configuration Protocol
                                                                                                                              System and Method for Provisioning and
                                                                                                                              Unprovisioning Multiple End Points With Respect to a
                                                                                                                              Subscriber and Service Management System
      804144(13)           804144(13)-US-NP                       12/276286          20090132685         us       21-Nov-08   Employing the Same


                                                                                                                              System and Method for Identifying Functions and
                                                                                                                              Data With Respect to a Service and a Subscriber and
      804144(14)           804144(14)-US-NP                       12/276287          20090132317         us       21-Nov-08   Service Management System Employing the Same
                                                                                                                              System and Method for Invoking a Function of a
                                                                                                                              Service in Response to an Event and Service
      804144(15)           804144(15)-US-NP                       12/276288          20090128319         us       21-Nov-08   Management System Employing the Same
                                                                                                                              System And Method For Identifying And Calling A
                                                                                                                              Function Of A Service With Respect To A Subuscriber
                                                                                                                              And Service Management System Employing The
       804144(2)           804144(2)-EP-EPT                      08851247.0          EP2215775           EP       21-Nov-08   Same
                                                                                                                              Methods For Precoding Signals For Transmission In
    Ashikhmin 23 (A)       Ashikhmin 23 (A)-BR-PCT                PI0918469.4        PI0918469           BR       14-Sep-09   Wireless MIMD System
                                                                                                                              Method For Reducing Discarded Slots And Frames In
 Bachl 8-28-24-12 (RW)     Bachl 8-28-24-12 (RW)-IN-PCT          823/CHENP/2008                          IN       16-Aug-06   A Wireless Communications System
                                                                                                                              An Architecture To Support Network-Wide Multiple-
Balachandran 57-19-4-59    Balachandran 57-19-4-59 (K)-BR-                                                                    In-Multiple-Out Wireless Communication Over An
           (K)             PCT                                    PI0919213-1        PI0919213-1         BR        3-Sep-09   Uplink
                                                                                                                              An Architecture To Support Network-Wide Multiple-
Balachandran 57-19-4-59    Balachandran 57-19-4-59 (K)-IN-                                                                    In-Multiple-Out Wireless Communication Over An
           (K)             PCT                                    1765/CHENP/2011    1765/CH ENP/2011    IN        3-Sep-09   Uplink
                                                                                                                              An Architecture To Support Network-Wide Multiple-
Balachandran 57-19-4-59    Balachandran 57-19-4-59 (K)-US-                                                                    In-Multiple-Out Wireless Communication Over An
           (K)             NP                                     12/233150          20100067435         us       18-Sep-08   Uplink


 Baryshnikov 3-3-2-4 (Y)   Baryshnikov 3-3-2-4 (Y)-JP-PCD        2013236872          201453038           JP        5-Aug-08   Meeting Optimizer


 Baryshnikov 3-3-2-4 (Y)   Baryshnikov 3-3-2-4 (Y)-JP-PCT        2010522895          2010537342          JP        5-Aug-08   Meeting Optimizer


 Baryshnikov 3-3-2-4 (Y)   Baryshnikov 3-3-2-4 (Y)-US-NP          11/895477          20090055238         us       24-Aug-07   Meeting Optimizer


  Benedikt 13-1-2(MA)      Benedikt 13-1-2 (MAJ-US-NP             11/863888          20090089268         us       28-Sep-07   XML Update Facility For An XQuery Processor
                                                                                                                              Method Of Providing Pilot Signals For Uplink Power
      Bi 54-10 (Q)         Bi 54-10 (Q)-IN-PCT                   5265/CHENP/2008     5265/CHENP/2008     IN       30-Mar-07   Control
                                                                                                                              Method Of Providing Pilot Signals For Uplink Power
      Bi 54-10 (Q)         Bi 54-10 (Q)-US-NP                     11/399121          20070237068         us        6-Apr-06   Control
                                                                                                                              A Method Of Controlling Mobile Unit Response
     Bi 57-36-4 (Q)        Bi 57-36-4 (Q)-IN-PCT                 7052/CHENP/2008     7052/CH ENP/2008    IN       22-Jun-07   Messages On An Access Channel
                                                                                                                              Method And Apparatus For Transmitting Information
                                                                                                                              Simultaneously To Multiple Destinations Over Shared
   Boccardi 1-18-1 (F)     Boccardi 1-18-1 (F)-CN-PCD            201510849467.8      CN105245264A        CN       18-Apr-08   Wireless Resources
                                                                                                                              Method And Apparatus For Transmitting Information
                                                                                                                              Simultaneously To Multiple Destinations Over Shared
   Boccardi 1-18-1 (F)     Boccardi 1-18-1 (F)-CN-PCT            200880012919.5      101689902           CN       18-Apr-08   Wireless Resources
                                                                                                                              Method And Apparatus For Transmitting Information
                                                                                                                              Simultaneously To Multiple Destinations Over Shared
   Boccardi 1-18-1 (F)     Boccardi 1-18-1 (F)-US-NP              11/790045          20080260051         us       23-Apr-07   Wireless Resources
                                                                                                                              Micro-Posts Having Improved Uniformity And A
   Balle 34-31 {CA)l2]     Balle 34-31 {CA)l2]-US-DIV             14/325514          20140322918         us        8-Jul-14   Method Of Manufacture Thereof


  Bosch 31-13-11 (P)       Bosch 31-13-11 (P)-US-CNT              13/793174          20130188651         us       11-Mar-13   Mobility In IP Without Mobile IP
 Buddhikot 19-5-19-5-3     Buddhikot 19-5-19-5-3 (MM)-US-
         (MM)              NP                                     12/132933          20090305665         us        4-Jun-08   Method Of Identifying A Transmitting Device


                                                                                                                              Implementing Rating Timer Control In A Pre-Biller To
     Cai 110-11 (Y)        Cai 110-11 (Y)-CN-NP                  200710091483.0      CN101277203A        CN       30-Mar-07   Support On-line And Off-line Charging
                                                                                                                              Charging In IMS Networks For Sessions That Are
    cai 124-2-5-5 (Y)      Cai 124-2-5-5 (Y)-US-PCT               12/808108          20100287079         us       18-Dec-07   Transferred Between Access Networks
                                                                                                                              Online Charging For Supplement Services In IMS
     Cai 131-15 (Y)        Cai 131-15 (Y)-CN-PCT                 200880127530.5      101960778           CN       26-Feb-08   Networks
                                                                                                                              Online Charging For Supplement Services In IMS
     Cai 131-15 (Y)        Cai 131-15 (Y)-US-PCT                  12/865998          20110003579         us        3-Aug-10   Networks
                                                                                                                              A Method And Apparatus For Implementing SMS
    cai 59-2-1-1 (Y)       Cai 59-2-1-1 (Y)-IN-PCT               5028/CHENP/2008     5028/CHENP/2008     IN       23-Mar-07   Spam Filtering


    cai 77-9-2-1 (Y)       Cai 77-9-2-1 (Y)-IN-PCT                11/CHENP/2009      11/CH ENP /2009     IN       28-Jun-07   Media Security For IMS Sessions
    cai 77-9-2-1 (Y)       Cai 77-9-2-1 (Y)-US-NP                 11/563508          20080010688         us       27-Nov-06   Media Security For IMS Sessions
     Casati 29-3 (A)       Casati 29-3 (A)-US-PCT                 13/143252          20120023178         us       31-Dec-09   Message Transmission
                                                                                                                              Method And Apparatus For Injecting Transient
   Chakraborty 11 (TJ)     Chakraborty 11 (TJ)-CN-PCT            200780038643.3      101529389           CN        1-Oct-07   Hardware Faults For Software Testing
                                                                                                                              Network-Based Methods And Systems For
Chandranmenon 10-12-23-    Chandranmenon 10-12-23-24                                                                          Responding To Customer Requests Based On
        24 {GP)            {GP)-CN-PCT                           200880006565.3      101622853           CN       11-Feb-08   Provider Presence Information
                                                                                                                              Network-Based Methods And Systems For
Chandranmenon 10-12-23-    Chandranmenon 10-12-23-24                                                                          Responding To Customer Requests Based On
        24 {GP)            {GP)-JP-PCD                           2015134867          20166653            JP       11-Feb-08   Provider Presence Information
                                                                                                                              Network-Based Methods And Systems For
Chandranmenon 10-12-23-    Chandranmenon 10-12-23-24                                                                          Responding To Customer Requests Based On
        24 {GP)            {GP)-US-NP                             11/712516          20080212763         us        1-Mar-07   Provider Presence Information
 Chandranmenon 9-8-20      Chandranmenon 9-8-20 (GP)-EP-                                                                      Methods, Devices And Architectures For Establishing
         {GP)              EPT                                   07796182.9          EP2036312           EP       14-Jun-07   Peer-To-Peer Sessions
 Chandranmenon 9-8-20      Chandranmenon 9-8-20 (GP)-IN-                                                                      Methods, Devices And Architectures For Establishing
          {GP)             PCT                                   6747/CHENP/2008     6747 /CH ENP/2008   IN       14-Jun-07   Peer-To-Peer Sessions
                                                                                                                              Self-calibrating Integrated Photonic Orcuits And
   Chen 60-18-12 (Y)       Chen 60-18-12 (Y)-EP-EPT              09721578.4          EP2266171           EP       17-Mar-09   Method Of Control Thereof
                                                                                                                              Method For Supporting Per-Connection Queuing For
 Choudhury 5-3-1-2 (AK)    Choudhury 5-3-1-2 (AK)-JP-DIV         2005135986          2005295581          JP        9-Feb-98   Feedback-Controlled Traffic
                                                                                                                              Self-Steering Directional Loudspeakers And A Method
     Chow 1-20 (5)         Chow 1-20 (5)-JP-PCD                  2014168990          20155993            JP       15-Oct-10   Of Operation Thereof
                                                                                                                              Self-Steering Directional Loudspeakers And A Method
     Chow 1-20 (5)         Chow 1-20 (5)-US-NP                    12/607919          20110096941         us       28-Oct-09   Of Operation Thereof




                                                                                          Page 147 of 149
                                                                                                                      PATENT
                                                                                                              REEL: 044000 FRAME: 0288
                         Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 155 of 156
                                                  Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA




                                                                                                                               Method And Architecture For Service Location In
     Chu 19-43 (TP)        Chu 19-43 (TP)-IN-PCT                  5001/CHENP/2012   5001/CHENP/2012     IN         1-Dec-10    Chord Networks
                                                                                                                               A Femtocell Base Station, And A Method Of Radio
                                                                                                                               Communication In a Network Comprising A Femtocell
    Claussen39-7 (HJ       Claussen 39-7 (H)-CN-NP                200910222736.2                        CN         17-Nov-09   Base Station
                                                                                                                               A Femtocell Base Station, And A Method Of Radio
                                                                                                                               Communication In a Network Comprising A Femtocell
    Claussen39-7 (HJ       Claussen 39-7 (H)-EP-EPA               08291103.3        EP2190236           EP         21-Nov-08   Base Station

De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                              Method And Apparatus For Error Detection In A
          3 (AJ)           (AJ)-IN-PCT                            4189/CHENP/2012                       IN         4-Nov-10    Communication System


De LindVanWijngaarden30 De LindVanWijngaarden30-3                                                                              Method And Apparatus For Error Detection In A
          3 (AJ)           (AJ)-MY-PCT                             Pl2012001810     Pl2012001810        MY         4-Nov-10    Communication System
                                                                                                                               Controlling Wireless Communications On Behalf Of
     Dou mi 1-3-4 (T)      Dou mi 1-3-4 (T)-US-NP                  11/611903        20080146189         us         18-Dec-06   Public Service Agencies


    Earnshaw3(MP)          Earnshaw3 (MP)-JP-PCT                  2009548279        2010517113          JP         29-Jan-08   Thermo-Optic Waveguide Apparatus
                                                                                                                               Systems And Methods For Providing Location
   Esh 1-18-34-14 (TD)     Esh 1-18-34-14 (TD)-US-NP               11/150458        20060291629         us         10-Jun-05   Enabled Voice Mail
                                                                                                                               Methods Of Channel Coding For Communication
       Farag 5 (EN)        Farag 5 {EN)-IN-PCT                    512/CHENP/2008    512/CHENP/2008      IN         21-Jul-06   Systems
                                                                                                                               System And Method For Producing Amplified
  Ghanadan 3-2-14(R)       Ghanadan 3-2-14 (R)-BR-NP               PI0005432-1      PI0005432-1         BR         17-Nov-00   Signal(s) Or Version(s) Thereof
                                                                                                                               Method And Apparatus For Amplifying Design
       Gillis3(PW)         Gillis3(PW)-IN-NP                      846/MAS/99                            IN         24-Aug-99   Information Into Software Products
                           Goldman 39-20-20-28 (5O)-IN-
Goldman 39-20-20-28 (50)   PCT                                    6710/CHENP/2008   6710/CHENP/2008     IN         11-Jun-07   AutoDialer Flow Control


                                                                                                                               Method and Apparatus For Providing User Status
                                                                                                                               Information When In A Telephone Conference
   Goldman 75-49 (50)      Goldman 75-49 (5O)-CN-PCT              201080043831.7    CN102577340A        CN         22-Sep-10


                                                                                                                               Method and Apparatus For Providing User Status
                                                                                                                               Information When In A Telephone Conference
   Goldman 75-49 (50)      Goldman 75-49 (5O)-IN-PCT              2386/CHENP/2012   2386/CHENP/2012     IN         22-Sep-10


                                                                                                                               Method and Apparatus For Providing User Status
                                                                                                                               Information When In A Telephone Conference
   Goldman 75-49 (50)      Goldman 75-49 (5O)-JP-PCT              2012532190        2013507050          JP         22-Sep-10


                                                                                                                               Method and Apparatus For Providing User Status
                                                                                                                               Information When In A Telephone Conference
   Goldman 75-49 (50)      Goldman 75-49 (5O)-KR-PCT              20127010722                           KR         22-Sep-10
                                                                                                                               Method And Apparatus For System Testing Using
    Goyal 19-7-15 (5)      Goyal 19-7-15 (5)-KR-PCD               20137021681                           KR         3-Mar-10    Multiple Instruction
                                                                                                                               Method And Apparatus For System Testing Using
                                                                                                                               Multipe Instruction Types
   Goyal 19-7-15 (5)12]    Goyal 19-7-15 (5)12]-JP-PCD            2013243882        201467436           JP         3-Mar-10
                                                                                                                               Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)13]    Goyal 19-7-15 (5)13]-IN-PCT            6387/CHENP/2011   6387 /CH ENP/2011   IN         3-Mar-10    Multipe Instruction Types
                                                                                                                               Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)13]    Goyal 19-7-15 (5)13]-KR-PCT            20117020512       20110122165         KR         3-Mar-10    Multipe Instruction Types
                                                                                                                               Method And Apparatus For System Testing Using
   Goyal 19-7-15 (5)13]    Goyal 19-7-15 (5)-US-NP[3]              12/495336        20100229058         us         30-Jun-09   Scan Chain Decomposition
                                                                                                                               Methods And Apparatus For Overriding
                                                                                                                               Denunciations Of Unwanted Traffic In One Or More
    Grosse 18-19 (EH)      Grosse 18-19 {EH)-EP-EPT               07874085.9        EP2105004           EP         23-Oct-07   Packet Networks


      Hahm 5(MD)           Hahm 5 (MD)-EP-EPA                     00301571.6        EP1035480           EP         28-Feb-00   Hardware Efficient Fast Hadamard Transform Engine


 Hernon 3-26-6-45-7 (DJ    Hernon 3-26-6-45-7 (D)-CN-PCD          201310298647.2    CN103402341A        CN         29-Jun-09   Monolithic Structurally Complex Heat Sink Designs


 Hernon 3-26-6-45-7 (DJ    Hernon 3-26-6-45-7 (D)-EP-EPT          09794777.4        EP2311085           EP         29-Jun-09   Monolithic Structurally Complex Heat Sink Designs


 Hernon 3-26-6-45-7 (DJ    Hernon 3-26-6-45-7 (D)-JP-PCD          2013263771        201464035           JP         29-Jun-09   Monolithic Structurally Complex Heat Sink Designs


 Hernon 3-26-6-45-7 (DJ    Hernon 3-26-6-45-7 (D)-KR-PCD          20137016666                           KR         29-Jun-09   Monolithic Structurally Complex Heat Sink Designs


 Hernon 3-26-6-45-7 (DJ    Hernon 3-26-6-45-7 (D)-US-CNT           13/941314        20130299148         us         12-Jul-13   Monolithic Structurally Complex Heat Sink Designs
       Hilt 6-12 (VJ       Hilt 6-12 (V)-CN-PCT                   200780011725.9    101416453           CN         30-Mar-07   Network Load Balancing And Overload Control
       Hilt 6-12 (VJ       Hilt 6-12 (VJ-IN-PCT                   5048/CHENP/2008                       IN         30-Mar-07   Network Load Balancing And Overload Control


   Hodes 21-37-9 (MS)      Hodes 21-37-9 (MS)-KR-PCT              20107006996                           KR         22-Sep-08   Recirculating Gas Rack Cooling Architecture
     Hodes 28 (MS)         Hodes 28 (MS)-KR-PCD                   20137029226                           KR         29-Jun-09   Stackable Thermoelectric Modules
     Hodes 28 (MS)         Hodes 28 (MS)-KR-PCT                   20117003287       20110053426         KR         29-Jun-09   Stackable Thermoelectric Modules
     Hodes 28 (MS)         Hodes 28 (MS)-US-NP                     12/172396        20100006132         us         14-Jul-08   Stackable Thermoelectric Modules
                                                                                                                               Method Of Predicting Transmission Speed
    Hoekstra 8-6 (GJ)      Hoekstra 8-6 (GJ)-IN-PCT               629/CHENP/2009    629/CHENP/2009      IN         26-Jul-07   Adaptations
                                                                                                                               Method Of Predicting Transmission Speed
    Hoekstra 8-6 (GJ)      Hoekstra 8-6 (GJ)-JP-PCT               2009523767        2010500813          JP         26-Jul-07   Adaptations


     Jiang 2-31-6 (HJ      Jiang 2-31-6 (HJ-IN-PCT                3127/CHENP/2011   3127 /CH ENP/2011   IN         4-Nov-09    Method And Apparatus For Fast Channel Change


     Jiang 2-31-6 (HJ      Jiang 2-31-6 (H)-JP-PCD                2013175565        2014039264          JP         27-Aug-13   Method And Apparatus For Fast Channel Change


     Jiang 2-31-6 (HJ      Jiang 2-31-6 (H)-US-CNT                 14/791826        20150350722         us          6-Jul-15   Method And Apparatus For Fast Channel Change
                                                                                                                               Method For Providing Green Service To A
     Jones 3-1 (DA)        Jones 3-1 (DA)-IN-PCT                  8234/CHENP/2010   8234/CHENP/2010     IN         8-Jun-09    Communication Unit
                                                                                                                               Method And Apparatus For Detecting And
   Kalampoukas3-l(L)       Kalampoukas 3-1 (L)-IN-PCT             3682/CHENP/2010   3682/CHENP/2010     IN         17-Dec-08   Suppressing Echo In Packet Networks
                                                                                                                               Method And Apparatus For Detecting And
   Kalampoukas3-l(L)       Kalampoukas 3-1 (L)-US-NP               11/967338        20090168673         us         31-Dec-07   Suppressing Echo In Packet Networks


     Kennedy 1 (ID)        Kennedy 1 (1O)-IN-PCT                  2830/CHENP/2008   2830/CHENP/2008     IN         8-Dec-06    Dynamic Constant Folding Of A Orcuit
                                                                                                                               Method And System For Abstracting Electronic
    Kermani 43 (BG)        Kermani 49 (BG)-US-CNT                  12/277778        20090083621         us         25-Nov-08   Documents


    Laroia 23-15-8 (R)     Laroia 23-15-8 (R)-BR-NP                PI0102383-7      1633                BR         13-Jun-0l   Link-Level Support Of Wireless Data
                                                                                                                               Method Of Assigning Uplink Reference Signals, And
       Lee 13 (JA)         Lee 13 (JA)-IN-PCT                     5759/CHENP/2008   5759/CHENP/2008     IN         24-Apr-07   Transmitter And Receiver Thereof




                                                                                           Page 148 of 149
                                                                                                                     PATENT
                                                                                                             REEL: 044000 FRAME: 0289
                      Case 6:20-cv-00458-ADA Document 72-7 Filed 09/03/21 Page 156 of 156
                                               Exhibit A of AMENDED SCHEDULE B1 - Assigned Patents (ALU Only Assets) of PPA



                                                                                                                            Method Of Assigning Uplink Reference Signals, And
      Lee 13 (JA)        Lee 13 (JA)-JP-PCT                    2009509613         2009535984        JP          24-Apr-07   Transmitter And Receiver Thereof




                                                                                                                            Light-Weight Low-Thermal-Expansion Polymer Foam
   Lyons 47-11 (AM)      Lyons 47-11 (AM)-IN-PCT               7799/CHENP/2010    7799/CHENP/2010   IN          27-May-09   For Radiofrequency Filtering Apppications


                                                                                                                            Light-Weight Low-Thermal-Expansion Polymer Foam
   Lyons 47-11 (AM)      Lyons 47-11 (AM)-JP-PCT               2011512454         2011523788        JP          27-May-09   For Radiofrequency Filtering Apppications


     Ma23-25(Z)          Ma23-25 (Z)-IN-PCT                    6105/CHENP/2008    6105/CHENP/2008   IN          4-May-07    Identification Of Base Stations
                                                                                                                            Method Of Creating Security Associations In Mobile
 Mccann 12-38-28 (PJ)    Mccann 12-38-28 (PJJ-IN-PCT           6978/CHENP/2008    6978/CHENP/2008   IN          19-Jun-07   IP Networks
                                                                                                                            Intelligent Media Gateway Selection For Multimedia
 Mitra 26-14-14-11 (DJ   Mitra 26-14-14-11 (DJ-IN-PCT          4056/CHENP/2008                      IN          8-Feb-07    Communication Sessions
                                                                                                                            Wireless Data Communications Using Asymmetric
 Nordgaard 2-5-10 (JKJ   Nordgaard 2-5-10 (JKJ-EP-EPA          00305229.7         EP1065897         EP          20-Jun-00   Channel Allocation
     Pardo 20 (FJ        Pardo 20 (FJ-CN-PCT                   200780033389.8     101512702         CN          7-Sep-07    Micro-Actuator And Locking Switch
     Pardo 20 (FJ        Pardo 20(FJ-EP-EPT                    07837880.9         EP2067159         EP          7-Sep-07    Micro-Actuator And Locking Switch
     Pardo 20 (FJ        Pardo 20 (FJ-IN-PCT                    1233/CHENP/2009                     IN          7-Sep-07    Micro-Actuator And Locking Switch
                                                                                                                            Patterned Structures of High Refractive Index
 Reichmanis 32-10 (EJ    Reichmanis 38-21 (EJ-US-CNT            11/316058         20060099536       us          21-Dec-05   Materials
                                                                                                                            Methods And Apparatus For Providing A Direct
                                                                                                                            Frequency Hopping Wireless Interface With A
     Riazi 1-16 (HJ      Riazi 1-16 (HJ-EP-EPA                 00306264.3         EP1075142         EP          24-Jul-00   Personal Computer


                                                                                                                            Method And Apparatus For Providing Call Admission
                                                                                                                            Control For VOiP Over Wireless Local Area Networks
     Valluru 1 (SJ       Valluru 1 (SJ-CN-PCT                  200880114078.9     101843156         CN          24-Oct-08   Using A Transparent Proxy Agent
                                                                                                                            Method And System For Reducing The Number Of
   Varney31 (DWJ         Varney 31 (DWJ-CN-PCT                 201080029512.0     CN102484617A      CN          15-Jun-10   Presence Events Within A Network
                                                                                                                            Method And System For Reducing The Number Of
   Varney31 (DWJ         Varney 31 (DWJ-EP-EPT                  10730625.0        EP2449738         EP          15-Jun-10   Presence Events Within A Network
                                                                                                                            Method And System For Reducing The Number Of
   Varney31 (DWJ         Varney 31 (DWJ-JP-PCD                 2014243158                           JP          15-Jun-10   Presence Events Within A Network
                                                                                                                            Method And System For Reducing The Number Of
   Varney31 (DWJ         Varney 31 (DWJ-KR-PCT                 20127002295                          KR          15-Jun-10   Presence Events Within A Network
                                                                                                                            Method And System For Reducing The Number Of
   Varney31 (DWJ         Varney 31 (DWJ-US-NP                   12/495308         20100332597       us          30-Jun-09   Presence Events Within A Network
                                                                                                                            Traffic Load Control In A Telecommunications
      Wang3(YJ           Wang 3 (YJ-IN-PCT                     3966/CHENP/2009                      IN          4-Jan-08    Network




                                                                                      Page 149 of 149
                                                                                                                 PATENT
RECORDED: 09/25/2017                                                                                     REEL: 044000 FRAME: 0290
